Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 1 of 903 PageID #: 1682




                    EXHIBIT B-3
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Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                48-3 Filed:
                                      Filed:01/28/22
                                             02/06/17 Page:
                                                       Page:247
                                                             of 903
                                                                of 49PageID
                                                                      PageID#:#:1683
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                                   Figures
                                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
            Case: 4:22-cv-00116-CDP Doc.
            Case: 4:17-cv-00024-CDP Doc. #:
                                         #: 1-4
                                            48-3 Filed:
                                                  Filed:01/28/22
                                                         02/06/17 Page:
                                                                   Page:348
                                                                         of 903
                                                                            of 49PageID
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                                                                                           Figure 1

                                                                                General Location Map
           AREA SHOWN                                                N
                                            0                    3              West Lake Landfill Superfund Site

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                                      Case: 4:22-cv-00116-CDP Doc.
                                      Case: 4:17-cv-00024-CDP Doc. #:
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                                                                                   02/06/17 Page:
                                                                                             Page:449
                                                                                                   of 903
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                                                                                                                    Figure 2
                       Legend
                                                                                                              Facility Layout
                           Operable Unit-1 Areas                                            N
                           Operable Unit-2 Areas                      0               800                West Lake Landfill Superfund Site

                                                                          SCALE IN FEET
                                                                                                EMSI     Engineering Management Support, Inc.
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-4Filed: 01/28/22
                                          Filed: 02/06/17Page: 5 of
                                                           Page:  1 903  PageID #:
                                                                    of 3 PageID #: 794
                                                                                   1686




            EXHIBIT 4
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       Case:
        Case:4:22-cv-00116-CDP
              4:17-cv-00024-CDP Doc.
                                 Doc.#:#:1-4
                                          48-4Filed: 01/28/22
                                                 Filed: 02/06/17Page: 6 of
                                                                  Page:  2 903  PageID #:
                                                                           of 3 PageID #: 795
                                                                                          1687




U.S. | Tue Nov 22, 2016 | 8:59pm EST

EPA delays cleanup proposal for radioactive waste in Missouri


    The U.S. government said on Tuesday it was delaying indefinitely its proposal for how to clean up
    or seal off radioactive soil buried in a St. Louis-area landfill adjacent to another waste site where
    an underground fire has been smoldering for several years.

    The postponement by the Environmental Protection Agency, citing lags in receiving "technical
    documents" needed to formulate its plan, drew an outcry from local officials angry at the potential
    public health hazard posed by the site.

    A remediation plan for the West Lake Landfill in Bridgeton, Missouri, about 20 miles (32 km)
    northeast of St. Louis, had been expected from the EPA by the end of this year.

    But the EPA decided to "extend the timeline" to allow for further documentation and review by
    experts, the agency said. No new deadline was set.

    "Given the complexity of this site and potential community impacts, we must ensure that sound
    science is driving our decision-making," EPA regional chief Mark Hague said.

    The West Lake site, originally used for agriculture, became a limestone quarry in 1939. But
    starting in the 1950s, portions of the area were used to dispose of municipal refuse, industrial
    wastes and construction debris.

    In 1973, some 8,700 tons of leached radioactive barium sulfate from the Manhattan Project, the
    World War Two-era atomic bomb-development program, were mixed with 38,000 tons of soil used
    to cover trash dumped at the site, according to the EPA.

    In 1990, the landfill and neighboring waste-disposal facilities occupying a total of 200 acres (80
    hectares) were designated by the EPA as a single Superfund site.

    Adding to concerns, a slow-burning chemical fire has been smoldering since 2010 beneath the
    surface of the adjacent Bridgeton Landfill, coming within 1,200 feet (365 meters) of the West Lake
    Landfill.


http://www.reuters.com/article/us-missouri-landfills-idUSKBN13I050
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       Case:
        Case:4:22-cv-00116-CDP
              4:17-cv-00024-CDP Doc.
                                 Doc.#:#:1-4
                                          48-4Filed: 01/28/22
                                                 Filed: 02/06/17Page: 7 of
                                                                  Page:  3 903  PageID #:
                                                                           of 3 PageID #: 796
                                                                                          1688

    The company that operates both landfills, acting under EPA orders, has since installed a barrier
    system of heat-extraction wells and other safeguards to keep the fire from reaching the radioactive
    waste.

    The EPA is now deciding whether to proceed with one of three remediation options for West Lake
    - permanently cap the waste and keep it isolated underground; remove some of the waste and
    leave a portion of it buried; or excavate all the waste.

    St. Louis County Executive Steve Stenger expressed anger at the EPA's postponement on
    Tuesday.

    "It is extremely disappointing and hard to believe that there is yet another delay in EPA's cleanup
    of the West Lake Landfill," he said. "It is time for a permanent solution."

    (Reporting by Steve Gorman in Los Angeles; Editing by Peter Cooney)




http://www.reuters.com/article/us-missouri-landfills-idUSKBN13I050
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                48-5Filed: 01/28/22
                                      Filed: 02/06/17Page:
                                                      Page:8 of 903
                                                             1 of 22PageID
                                                                    PageID#:
                                                                           #:1689
                                                                             797




           EXHIBIT 5
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                48-5Filed: 01/28/22
                                      Filed: 02/06/17Page:
                                                      Page:9 of 903
                                                             2 of 22PageID
                                                                    PageID#:
                                                                           #:1690
                                                                             798



         60 STAT.1    79TH CONG ., 2o SESS .-CHS . 723,724-AUG. 1, 1946                                755
         expenses incident to scholastic activities ; or (B) furnishing trans-           Transportation for
                                                                                       citizens of foreign
         portation for citizens of such foreign country who desire to attend           countries .
         American schools and institutions of higher learning in the continen-
         tal United States, Hawaii, Alaska (including the Aleutian Islands),
         Puerto Rico, and the Virgin Islands, and whose attendance will not
         deprive citizens of the United States of an opportunity to attend
         such schools and institutions : Provided, however, That no such agree-          Restriction on use
                                                                                       of funds .
         ment or agreements shall provide for the use of an aggregate amount
         of the currencies, or credits for currencies, of any one country in
         excess of $20,000,000 or for the expenditure of the currencies, or
         credits for currencies, of any one foreign country in excess of
         $1,000,000 annually at the official rate of exchange for such currencies,
         unless otherwise authorized by Congress, nor shall any such agree-
         ment relate to any subject other than the use and expenditure of
         such currencies or credits for currencies for the purposes herein set
         forth : Provided further, That for the purpose of selecting students            Board of Foreign
                                                                                       Scholarships .
         and educational institutions qualified to participate in this program,
         and to supervise the exchange program authorized herein, the Presi-
         dent of the United States is hereby authorized to appoint a Board of
         Foreign Scholarships, consisting of ten members, who shall serve
         without compensation, composed of representatives of cultural, edu-
         cational, student, and war veterans groups, and including representa-
         tives of the United States Office of Education, the United States
         Veterans' Administration, State educational institutions, and pri-
         vately endowed educational institutions : And Provided further,
         That in the selection of American citizens for study in foreign coun-           Veteran preference .
         tries under this paragraph preference shall be given to applicants
         who shall have served in the military or naval forces of the United
         States during World War I or World War II, and due consideration
         shall be given to applicants from all geographical areas of the
         United States . The Secretary of State shall transmit to the Con-               Report to Congress .
         gress not later than the 1st day of March of each year a report of
         operations under this paragraph during the preceding calendar year .
         Such report shall include the text of any agreements which have
         been entered into hereunder during the preceding calendar year, and
         shall specify the names and addresses of American citizens who are
         attending schools or institutions of higher learning in foreign coun-
         tries pursuant to such agreements, the names and locations of such
         schools and institutions, and the amounts of the currencies or credits
         for currencies expended for any of the purposes under this paragraph
         in each such foreign country during the preceding calendar year ."
           Approved August 1, 1946 .

         [CHAPTER 724]
                                           AN ACT
                                                                                           August 1, 1946
                       For the development and control of atomic energy .                     [S . 1717]
                                                                                         [Public Law 585]
           Be it enacted by the Senate and House of Representatives of the
         United States of America in Congress assembled,

                             DECLARATION OF POLICY                                       Atomic Energy Act
                                                                                       of 1946.
           SECTION 1 . (a) FINDINGS AND DECLARATioN .-Research and experi-
         mentation in the field of nuclear chain reaction have attained the
         stage at which the release of atomic energy on a large scale is practical .
         The significance of the atomic bomb for military purposes is evident .
         The effect of the use of atomic energy for civilian purposes upon the
         social, economic, and political structures of today cannot now be
         determined . It is a field in which unknown factors are involved .
         Therefore, any legislation will necessarily be subject to revision from
                                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-5Filed: 01/28/22
                                          Filed: 02/06/17Page: 103ofof903
                                                           Page:          PageID #:
                                                                       22 PageID #: 799
                                                                                    1691



            75 6                                      PUBLIC LAWS-OH . 724-AUG . 1, 1946              [60 STAT .

                                     time to time . It is reasonable to anticipate, however, that tapping
                                     this new source of energy will cause profound changes in our present
                                     way of life . Accordingly, it is hereby declared to be the policy of
                                     the people of the United States that, subject at all times to the para-
                                     mount objective of assuring the common defense and security, the
                                     development and utilization of atomic energy shall, so far as prac-
                                     ticable, be directed toward improving the public welfare, increasing
                                     the standard of living, strengthening free competition in private
                                    enterprise, and promoting world peace .
              Major programs.          (b) PURPOSE OF ACT.-It is the purpose of this Act to effectuate the
                                    policies set out in section 1 (a) by providing, among others, for the
                                    following major programs relating to atomic energy :
              Private research .       (1) A program of assisting and fostering private research and
                                    development to encourage maximum scientific progress ;
              Control of informa-
            tion .
                                       (2) A program for the control of scientific and technical informa-
                                    tion which will permit the dissemination of such information to
                                    encourage scientific progress, and for the sharing on a reciprocal basis
                                    of information concerning the practical industrial application of
                                    atomic energy as soon as effective and enforceable safeguards against
                                    its use for destructive purposes can be devised ;
              Federal research
            and development .
                                       (3) A program of federally conducted research and development
                                    to assure the Government of adequate scientific and technical accom-
                                    plishment ;
              Government control
            of material .
                                       (4) A program for Government control of the production, owner-
                                    ship, and use of fissionable material to assure the common defense and
                                    security and to insure the broadest possible exploitation of the fields ;
                                    and
             Administration .          (5) A program of administration which will be consistent with the
                                    foregoing policies and with international arrangements made by the
                                    United States, and which will enable the Congress to be currently
                                    informed so as to take further legislative action as may hereafter
                                    be appropriate .
                                                                ORGANIZATION
                                       SEC . 2. (a) ATOMIC ENERGY COMMISSION :
                                       (1) There is hereby established an Atomic Energy Commission
             Members .               (herein called the Commission), which shall be composed of five
                                    members. Three members shall constitute a quorum of the Commis-
                                    sion . The President shall designate one member as Chairman of the
                                    Commission.
             Appointment.              (2) Members of the Commission shall be appointed by the Presi-
                                    dent, by and with the advice and consent of the Senate. In submitting
                                    any nomination to the Senate, the President shall set forth the
             Term of office.        experience and the qualifications of the nominee. The term of office
                                    of each member of the Commission taking office prior to the expiration
                                    of two years after the date of enactment of this Act shall expire upon
                                    the expiration of such two years . The term of office of each member
                                    of the Commission taking office after the expiration of two years from
                                    the date of enactment of this Act shall be five years, except that (A)
                                    the terms of office of the members first taking office after the expiration
                                    of two years from the date of enactment of this Act shall expire, as
                                    designated by the President at the time of appointment, one at the
                                    end of three years, one at the end of four years, one at the end of
                                    five years, one at the end of six years, and one at the end of seven
                                    years, after the date of enactment of this Act ; and (B) any member
                                    appointed to fill a vacancy occurring prior to the expiration of the
                                    term for which his predecessor was appointed, shall be appointed
                                    for the remainder of such term . Any member of the Commission may
                                    be removed by the President for inefficiency, neglect of duty, or
                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-5Filed: 01/28/22
                                          Filed: 02/06/17Page: 114ofof903
                                                           Page:          PageID #:
                                                                       22 PageID #: 800
                                                                                    1692



         60 STAT.]      79TH CONG., 2D SESS.-CH . 734-AUG. 1, 1946                                     757

                                                                                        Compensation.
         malfeasance in office . Each member, except the Chairman, shall
         receive compensation at the rate of $15,000 per annum ; and the
         Chairman shall receive compensation at the rate of $17,500 per annum .
         No member of the Commission shall engage in any other business, voca-          Engaging in other
         tion, or employment than that of serving as a member of the
         Commission .
            (3) The principal office of the Commission shall be in the District         Office in D . 0 .
         of Columbia, but the Commission or any duly authorized representa-
         tive may exercise any or all of its powers in any place . The Com-
         mission shall hold such meetings, conduct such hearings, and receive
         such reports as may be necessary to enable it to carry out the provisions
         of this Act .
            (4) There are hereby established within the Commission-
                 (A) a General Manager, who shall discharge such of the                 General Manager .
               administrative and executive functions of the Commission as the
               Commission may direct . The General Manager shall be appointed
               by the President by and with the advice and consent of the
               Senate, and shall receive compensation at the rate of $15,000 per
               annum . The Commission may make recommendations to the
               President with respect to the appointment or removal of the
               General Manager .
                                                                                        Dwisians, directors .
                 (B) a Division of Research, a Division of Production, a Divi-
               sion of Engineering, and a Division of Military Application .
               Each division shall be under the direction of a Director who shall
               be appointed by the Commission, and shall receive compensation
               at the rate of $14,000 per annum . The Director of the Division
               of Military Application shall be a member of the armed forces .
               The Commission shall require each such division to exercise such          Exercise of Com-
                                                                                       mission's powers .
               of the Commission's powers under this Act as the Commission may
               determine, except that the authority granted under section 3 (a)
               of this Act shall not be exercised by the Division of Research .
            (b) GENERAL ADVISORY CoMMrrrEE .-There shall be a General                   Civilian members .
         Advisory Committee to advise the Commission on scientific and
         technical matters relating to materials, production, and research and
         development, to be composed of nine members, who shall be appointed
         from civilian life by the President . Each member shall hold office            Terms of office.
         for a term of six years, except that (1) any member appointed to fill
         a vacancy occurring prior to the expiration of the term for which his
         predecessor was appointed, shall be appointed for the remainder of
         such term ; and (2) the terms of office of the members first taking
          office after the date of the enactment of this Act shall expire, as desig-
         nated by the President at the time of appointment, three at the end
         of two years, three at the end of four years, and three at the end of
         six years, after the date of the enactment of this Act . The Committee
         shall designate one of its own members as Chairman . The Committee
         shall meet at least four times in every calendar year . The members             Per diem eompen-
                                                                                       sation ;expenses .
         of the Committee shall receive a per diem compensation of $50 for
          each day spent in meetings or conferences, and all members shall
          receive their necessary traveling or other expenses while engaged in
          the work of the Committee .
             (c) MILITARY LIAISON Coiriirvrrv.-There shall be a Military
          Liaison Committee consisting of representatives of the Departments
          of War and Navy, detailed or assigned thereto, without additional com-
          pensation, by the Secretaries of War and Navy in such number as they
          may determine. The Commission shall advise and consult with the
          Committee on all atomic energy matters which the Committees deems
          to relate to military applications, including the development, manu-
          facture, use, and storage of bombs, the allocation of fissionable material
          for military research, and the control of information relating to the
          manufacture or utilization of atomic weapons . The Commission shall
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-5Filed: 01/28/22
                                          Filed: 02/06/17Page: 125ofof903
                                                           Page:          PageID #:
                                                                       22 PageID #: 801
                                                                                    1693



            758                                         PUBLIC LAWS-CH . 724-AUG . 1, 1946               [60 STAT.

                                     keep the Committee fully informed of all such matters before it and
                                     the Committee shall keep the Commission fully informed of all atomic
              Authority to make
            recommendations .
                                     energy activities of the War and Navy Departments . The Committee
                                      shall have authority to make written recommendations to the Com-
                                     mission on matters relating to military applications from time to time
                                      as it may deem appropriate. If the Committee at any time concludes
                                     that any action, proposed action, or failure to act of the Commission
                                     on such matters is adverse to the responsibilities of the Departments
                                      of War or Navy, derived from the Constitution, laws, and treaties, the
                                      Committee may refer such action, proposed action, or failure to act
                                     to the Secretaries of War and Navy . If either Secretary concurs, he
                                     may refer the matter to the President, whose decision shall be final .
              Director of Division
            of Military Applica-         (d) APPOINTMENT OF ARMY AND NAVY OFFICERS .-Notwithstanding
            tion .                   the provisions of section 1222 of the Revised Statutes (U . S . C., 1940
                                     edition, title 10, sec . 576), section 212 of the Act entitled "An Act
                                     making appropriations for the Legislative Branch of the Government
                                     for the fiscal year ending June 30, 1933, and for other purposes",
             47 Stat. 406.           approved June 30, 1932, as amended (U . S . C ., 1940 edition, title 5,
                                     sec. 59a), section 2 of the Act entitled "An Act making appropriations
                                     for the legislative, executive, and judicial expenses of the Government
                                     for the fiscal year ending June thirtieth, eighteen hundred and ninety-
                                     five, and for other purposes", approved July 31, 1894, as amended
             29Stat.205 .             (U. S. C ., 1940 edition, title 5, sec. 62), or any other law, any active or
                                     retired officer of the Army or the Navy may serve as Director of the
                                     Division of Military Application established by subsection (a) (4)
                                      (B) of this section, without prejudice to his commissioned status as
                                     such officer. Any such officer serving as Director of the Division of
                                     Military Application shall receive, in addition to his pay from the
                                     United States as such officer, an amount equal to the difference between
                                     such pay and the compensation prescribed in subsection (a) (4) (B)
                                     of this section.
                                                                      RESEARCH
                                        SEC. 3 . (a) RESEARCH ASSISTANCE .-The Commission is directed to
                                     exercise its powers in such manner as to insure the continued conduct
                                     of research and development activities in the fields specified below by
                                     private or public institutions or persons and to assist in the acquisition
                                     of an ever-expanding fund of theoretical and practical knowledge in
              Authority of Com-      such fields . To this end the Commission is authorized and directed
            mission ..
                                     to make arrangements (including contracts, agreements, and loans)
                                     for the conduct of research and development activities relating to-
                                              (1) nuclear processes ;
                                              (2) the theory and production of atomic energy, including
                                           processes, materials, and devices related to such production ;
                                              (3) utilization of fissionable and radioactive materials for
                                           medical, biological, health, or military purposes ;
                                              (4) utilization of fissionable and radioactive materials and
                                           processes entailed in the production of such materials for all other
                                           purposes, including industrial uses ; and
                                              (5) the protection of health during research and production
                                           activities .
                                     The Commission may make such arrangements without regard to the
             Post, p.809.            provisions of section 3709 of the Revised Statutes (U . S . C ., title 41,
                                     sec . 5) upon certification by the Commission that such action is neces-
                                     sary in the interest of the common defense and security, or upon a
                                     showing that advertising is not reasonably practicable, and may make
                                     partial and advance payments under such arrangements, and may make
                                     available for use in connection therewith such of its equipment and
                                     facilities as it may deem desirable . Such arrangements shall contain
                                     such provisions to protect health, to minimize danger from explosion
                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-5Filed: 01/28/22
                                          Filed: 02/06/17Page: 136ofof903
                                                           Page:          PageID #:
                                                                       22 PageID #: 802
                                                                                    1694



          EO STAT.]      79TH CONG ., 21) SESS .-CH . 724-AUG . 1, 1946                                  759

          and other hazards to life or property, and to require the reporting
          and to permit the inspection of work performed thereunder, as the
          Commission may determine ; but shall not contain any provisions or
          conditions which prevent the dissemination of scientific or technical
          information, except to the extent such dissemination is prohibited by
          law .
             (b) RESEARCH BY THE COMMISSION .-The Commission is authorized
          and directed to conduct, through its own facilities, activities and
          studies of the types specified in subsection (a) above.

                    PRODUCTION OF FISSIONABLE MATERIAL
                                                                                        "Produce."
            SEC . 4 . (a) DEFINITION .-As used in this Act, the term "produce",
          when used in relation to fissionable material, means to manufacture,
          produce, or refine fissionable material, as distinguished from source
          materials as defined in section 5 (b) (1), or to separate fissionable
          material from other substances in which such material may be con-
          tained or to produce new fissionable material .
             (b) PROHIBITION .-It shall be unlawful for any person to own any
          facilities for the production of fissionable material or for any person
          to produce fissionable material, except to the extent authorized by
          subsection (c) .
             (C) OWNERSHIP AND OPERATION OF PRODUCTION FACILITIES :
                  (1) OWNERSHIP OF PRODUCTION FACILITIES .-The Commission,
               as agent. of and on behalf of the United States, shall be the
               exclusive owner of all facilities for the production of fissionable
               material other than facilities which (A) are useful in the conduct
               of research and development activities in the fields specified in
               section 3, and (B) do not, in the opinion of the Commission,
               have a potential production rate adequate to enable the operator
               of such facilities to produce within a reasonable period of time
               a sufficient quantity of fissionable material to produce an atomic
               bomb or any other atomic weapon .
                  (2) OPERATION OF THE CObIMISSION'S PRODUCTION FACILITIES :
               The Commission is authorized and directed to produce or to
               provide for the production of fissionable material in its own
               facilities . To the extent deemed necessary, the Commission is           Contracts .
               authorized to make, or to continue in effect, contracts with per-
               sons obligating them to produce fissionable material in facilities
               owned by the Commission . The Commission is also authorized
               to enter into research and development contracts authorizing
               the contractor to produce fissionable material in facilities owned
               by the Commission to the extent that the production of such
               fissionable material may be incident to the conduct of research
                and development activities under such contracts . Any contract          Subcontracts.
                entered into under this section shall contain provisions (A) pro-
               hibiting the contractor with the Commission from subcontracting
               any part of the work he is obligated to perform under the contract,
                except as authorized by the Commission, and (B) obligating the          Reports, etc
                                                                                                  .
                contractor to make such reports to the Commission as it may
                deem appropriate with respect to his activities under the contract,
                to submit to frequent inspection by employees of the Commission
                of all such activities, and to comply with all safety and security
                regulations which may be prescribed by the Commission . Any
                contract made under the provisions of this paragraph may be
                made without regard to the provisions of section 3709 of the
                                                                                        Post, p . 809.
                Revised Statutes (U . S . C., title 41, sec. 5) upon certification by
                the Commission that such action is necessary in the interest of
                the common defense and security, or upon a showing that, adver-
                tising is not reasonably practicable, and partial and advance
                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-5Filed: 01/28/22
                                          Filed: 02/06/17Page: 147ofof903
                                                           Page:          PageID #:
                                                                       22 PageID #: 803
                                                                                    1695



            760                                     PUBLIC LAWS-CH . 724-AUG. 1, 1946               [60 STAT.
              Determination of         payments may be made under such contracts . The President
            quantities.
                                       shall determine at least once each year the quantities of fissionable
                                       material to be produced under this paragraph .
                                          (3) OPERATION OF OTHER PRODUCTION FACILITIES .-Fissionable
                                       material may be produced in the conduct of research and develop-
                                       ment activities in facilities which, under paragraph (1) above, are
                                       not required to be owned by the Commission.
                                     (d) IRRADIATION OF MATERIALS .-For the purpose of increasing the
                                  supply of radioactive materials, the Commission and persons lawfully
                                  producing or utilizin g fissionable material are authorized to expose
                                  materials of any kind to the radiation incident to the processes of
                                  producing or utilizing fissionable material .
                                    (e) MANUFACTURE OF PRODUCTION FACILITms.-Unless authorized
                                  by a license issued by the Commission, no person may manufacture,
                                 produce, transfer, or acquire any facilities for the production of
             Licenses .          fissionable material . Licenses shall be issued in accordance with such
                                  procedures as the Commission may by regulation establish and shall
                                 be issued in accordance with such standards and upon such conditions
                                  as will restrict the production and distribution of such facilities to
                                 effectuate the policies and purposes of this Act . Nothing in this
                                 section shall be deemed to require a license for such manufacture, pro-
                                  duction, transfer, or acquisition incident to or for the conduct of
                                 research or development activities in the United States of the types
                                 specified in section 3, or to prohibit the Commission from manufac-
                                 turing or producing such facilities for its own use .
                                                      CONTROL OF MATERIALS
                                    SEC . 5. (a) FIssIoNABLE MATERIALS .-
                                    (1) DEFINITION .-As used in this Act, the term "fissionable
                                 material" means plutonium, uranium enriched in the isotope 235, any
                                 other material which the Commission determines to be capable of
                                 releasing substantial quantities of energy through nuclear chain
                                 reaction of the material, or any material artificially enriched by any
                                 of the foregoing ; but does not include source materials, as defined in
                                 section 5 (b) (1) .
                                    (2) GOVERNMENT OWNERSHIP OF ALL FISSIONABLE MATERIAL .-All
                                 right, title, and interest within or under the jurisdiction of the United
                                 States, in or to any fissionable material, now or hereafter produced,
                                 shall be the property of the Commission, and shall be deemed to be
                                 vested in the Commission by virtue of this Act . Any person owning
                                 any interest in any fissionable material at the time of the enactment of
                                 this Act, or owning any interest in any material at the time when
                                 such material is hereafter determined to be a fissionable material, or
                                 who lawfully produces an y fissionable material incident to privately
                                 financed research or development activities, shall be paid just com-
                                 pensation therefor . The Commission may, by action consistent with
                                 the provisions of paragraph (4) below, authorize any such person to
                                 retain possession of such fissionable material, but no person shall have
                                 any title in or to any fissionable material.
                                    (3) PROHIBITION.-It shall be unlawful for any person, after sixty
                                 days from the effective date of this Act to (A) possess or transfer any
                                 fissionable material, except as authorized by the Commission, or
                                 (B) export from or import into the United States any fissionable
                                 material, or (C) directly or indirectly engage in the production of
                                 any fissionable material outside of the United States .
                                    (4) DISTRIBUTION OF FISSIONABLE MA'rEiaAL.-Without prejudice
                                 to its continued ownership thereof, the Commission is authorized to
                                 distribute fissionable material owned by it, with or without charge,
             Research .          to applicants requesting such material (A) for the conduct of research
                                 or development activities either independently or under contract or
                                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-5Filed: 01/28/22
                                          Filed: 02/06/17Page: 158ofof903
                                                           Page:          PageID #:
                                                                       22 PageID #: 804
                                                                                    1696



          60 SAT
             .]           79TH CONG ., 2u SESS.-CH . 724-AUG. 1, 1946                                        761
          other arrangement with the Commission, (B) for use in medical                     Medical therapy.
          therapy, or (C) for use pursuant to a license issued under the authority
          of section 7. Such material shall be distributed in such quantities and           Post, p . 764.
          on such terms that no applicant will be enabled to obtain an amount
          sufficient to construct a bomb or other military weapon . The Com-
          mission is directed to distribute sufficient fissionable material to permit
          the conduct of widespread independent research and development
          activity, to the maximum extent practicable . In determining the
          quantities of fissionable material to be distributed, the Commission
          shall make such provisions for its own needs and for the conservation
          of fissionable material as it may determine to be necessary in the
          national interest for the future development of atomic energy. The                Restrictions.
          Commission shall not distribute any material to any applicant, and
          shall recall any distributed material from any applicant, who is- not
          equipped to observe or who fails to observe such safety standards to
          protect health and to minimize danger from explosion or other hazard
          to life or property as may be established by the Commission, or who
          uses such material in violation of law or regulation of the Commission
          or in a manner other than as disclosed in the application therefor .
             (5) The Commission is authorized to purchase or otherwise acquire               Acquisition of ma-
                                                                                           terial outside U . S .
          any fissionable material or any interest therein outside the United
          States, or any interest in facilities for the production of fissionable
          material, or in real property on which such facilities are located,
          without regard to the provisions of section 3709 of the Revised
          Statutes (U . S . C ., title 41, sec . 5) upon certification by the Commission    Post, p. 809 .
          that such action is necessary in the interest of the common defense
          and security, or upon a showing that advertising is not reasonably
          practicable, and partial and advance payments may be made under
          contracts for such purposes . The Commission is further authorized
          to take, requisition, or condemn, or otherwise acquire any interest in
          such facilities or real property, and just compensation shall be made
          therefor .
             (b SOURCE MATERIALS .-
             (1) DEFINrrioN .-As used in this Act, the term "source material"
          means uranium, thorium, or any other material which is determined
          by the Commission, with the approval of the President, to be peculiarly
          essential to the production of fissionable materials ; but includes ores
          only if they contain one or more of the foregoing materials in such
          concentration as the Commission may by regulation determine from
          time to time .
             (2) LICENSE FOR TRANSFERS REQmRED .-Unless authorized by a
          license issued by the Commission, no person may transfer or deliver,
          receive possession of or title to, or export from the United States any
          source material after removal from its place of deposit in nature,
          except that licenses shall not be required for quantities of source
          materials which, in the opinion of the Commission, are unimportant .
             (3) ISSUANCE OF LICENSES .-The Commission shall establish such
          standards for the issuance, refusal, or revocation of licenses as it may
          deem necessary to assure adequate source materials for production,
          research, or development activities pursuant to this Act or to prevent
          the use of such materials in a manner inconsistent with the national
          welfare . Licenses shall be issued in accordance with such procedures
          as the Commission may by regulation establish .
             (4) REPORTING .-The Commission is authorized to issue such regu-
          lations or orders requiring reports of ownership, possession, extraction,
          refining, shipment, or other handling of source materials as it may
          deem necessary, except that such reports shall not be required with
          respect to (A) any source material prior to removal from its place of
          deposit in nature, or (B) quantities of source materials which in the
                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-5Filed: 01/28/22
                                          Filed: 02/06/17Page: 169ofof903
                                                           Page:          PageID #:
                                                                       22 PageID #: 805
                                                                                    1697



            762                                       PUBLIC LAWS-CH. 724-AUG. 1, 1946                [6O STAT.

                                     opinion of the Commission are unimportant or the reporting of which
                                     will discourage independent prospecting for new deposits .
              Source materials .       (5) ACQUISITIoN .-The Commission is authorized and directed to
                                    purchase, take, requisition, condemn, or otherwise acquire, supplies
                                    of source materials or any interest in real property containing deposits
                                     of source materials to the extent it deems necessary to effectuate the
                                     provisions of this Act . Any purchase made under this paragraph
                                    may be made without regard to the provisions of section 3709 of the
              Post, p . 809 .       Revised Statutes (U . S . C., title 41, sec . 5) upon certification by the
                                     Commission that such action is necessary in the interest of the common
                                    defense and security, or upon a showing that advertising is not reason-
                                    ably practicable, and partial and advance payments may be made
              Guaranteed prices .
                                    thereunder . The Commission may establish guaranteed prices for all
                                    source materials delivered to it within a specified time . Just com-
                                    pensation shall be made for any property taken, requisitioned, or
                                    condemned under this paragraph .
                                       (6) ExPLoRATION .-The Commission is authorized to conduct and
                                    enter into contracts for the conduct of exploratory operations, inves-
                                    tigations, and inspections to determine the location, extent, mode of
                                    occurrence, use, or conditions of deposits or supplies of source mate-
                                    rials, making just compensation for any damage or injury occasioned
                                    thereby. Such exploratory operations may be conducted only with
                                    the consent of the owner, but such investigations and inspections
                                    may be conducted with or without such consent.
                                       (7) PUBLIC LANDS .-All uranium, thorium, and all other materials
                                    determined pursuant to paragraph (1) of this subsection to be
                                    peculiarly essential to the production of fissionable material, con-
                                    tained, in whatever concentration, in deposits in the public lands are
                                    hereby reserved for the use of the United States subject to valid claims,
                                    rights, or privileges existing on the date of the enactment of this Act
              Individual bene&t,    Provided, however, That no individual, corporation, partnership, or
            restriction.
                                    association, which had any part, directly or indirectly, in the develop-
                                    ment of the atomic bomb project, may benefit by any location, entry,
                                    or settlement upon the public domain made after such individual,
                                    corporation, partnership, or association took part in such project,
                                    if such individual, corporation, partnership, or association, by reason
                                    of having had such part in the development of the atomic bomb proj-
                                    ect, acquired confidential official information as to the existence of
                                    deposits of such uranium, thorium, or other materials in the specific
                                    lands upon which such location, entry, or settlement is made, and
                                    subsequent to the date of the enactment of this Act made such loca-
                                    tion, entry, or settlement or caused the same to be made for his, its,
              Reservation of ma-
            terials.                or their benefit . The Secretary of the Interior shall cause to be inserted
                                    in every patent, conveyance, lease, permit, or other authorization
                                    hereafter granted to use the public lands or their mineral resources,
                                    under any of which there might result the extraction of any materials
                                    so reserved, a reservation to the United States of all such materials,
              Right of U . S. to
            prospect, etc.          whether or not of commercial value, together with the right of the
                                    United States through its authorized agents or representatives at
                                    any time to enter upon the land and prospect for, mine, and remove
                                    the same, making just compensation for any damage or injury occa-
             Use of lands.          sioned thereby. Any lands so patented, conveyed, leased, or otherwise
                                    disposed of may be used, and any rights under any such permit or
                                    authorization may be exercised, as if no reservation of such materials
                                    had been made under this subsection ; except that, when such use
                                    results in the extraction of any such material from the land in quan-
                                    tities which may not be transferred or delivered without a license
                                    under this subsection, such material shall be the property of the Com-
                                    mission and the Commission may require delivery of such material
                                    to it by any possessor thereof after such material has been separated
                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:1710
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1698
                                                                                806



         60 STAT .]     79TH CONG ., 2D SESS .-CH . 724-AUG . 1, 1946                             763
                                                                                   Payments for dis
         as such from the ores in which it was contained . If the Commission covery,     mining, etc .
         requires the delivery of such material to it, it shall pay to the person
         mining or extracting the same, or to such other person as the Com-
         mission determines to be entitled thereto, such sums, including profits,
         as the Commission deems fair and reasonable for the discovery, min-
         ing, development, production, extraction, and other services performed
         with respect to such material prior to such delivery, but such pay-
         ment shall not include any amount on account of the value of such
         material before removal from its place of deposit in nature . If the
         Commission does not require delivery of such material to it, the reser-
         vation made pursuant to this paragraph shall be of no further force
         or effect .
            (c) BYPRODUCT MATERIALS .-
            (1) DFFINITION .-As used in this Act, the term "byproduct mate-
         rial" means any radioactive material (except fissionable material)
         yielded in or made radioactive by exposure to the radiation incident
         to the processes of producing or utilizing fissionable material .
            (2) DISTRIBUTION
                 .-The Commission is authorized to distribute,
         with or without charge, byproduct materials to applicants seeking such
         materials for research or development activity, medical therapy, indus-
         trial uses, or such other useful applications as may be developed . In    Preference.
         distributing such materials, the Commission shall give preference to
         applicants proposing to use such materials in the conduct of research
         and development activity or medical therapy . The Commission shall        Restrictions.
         not distribute any byproduct materials to any applicant, and shall
         recall any distributed materials from any applicant, who is not
         equipped to observe or who fails to observe such safety standards to
         protect health as may be established by the Commission or who uses
         such materials in violation of law or regulation of the Commission
         or in a manner other than as disclosed in the application therefor .
            (d) GENERAL PRovIsIONs .-The Commission shall not-                     Restrictions.
                 (1) distribute any fissionable material to (A) any person for     Distribution .
              a use which is not under or within the jurisdiction of the United
              States, (B) any foreign government, or (C) any person within
              the United States if, in the opinion of the Commission, the distri-
              bution of such fissionable material to such person would be
              inimical to the common defense and security .
                 (2) license any person to transfer or deliver, receive possession License .
              of or title to, or export from the United States any source material
              if, in the opinion of the Commission, the issuance of a license to
              such person for such purpose would be inimical to the common
              defense and security .

               MILITARY APPLICATIONS OF ATOMIC ENERGY
           SEC . 6 (a) AUTHORITY .-The Commission is authorized to-
                 (1) conduct experiments and do research and development            Experiments, etc.
              work in the military application of atomic energy ; and
                 (2) engage in the production of atomic bombs, atomic bomb tsry     Production of mili-
                                                                                        weapons .
              parts, or other military weapons utilizing fissionable materials ;
              except that such activities shall be carried on only to the extent    Consent of Presi-
                                                                                  dent.
              that the express consent and direction of the President of the
              United States has been obtained, which consent and direction shall
              be obtained at least once each year .
         The President from time to time may direct the Commission (1) to forces    Delivery to armed
                                                                                        .
         deliver such quantities of fissionable materials or weapons to the armed
         forces for such use as he deems necessary in the interest of national
                                                                                    Manufacture of
         defense or (2) to authorize the armed forces to manufacture, produce, equipment,     etc.
         or acquire any equipment or device utilizing fissionable material or
         atomic energy as a military weapon.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:1811
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1699
                                                                                807



            764                                       PUBLIC LAWS--CH . 724-AUG . 1, 1046            [6o STAT.

                                        (b) PrioxutrrloN .-It shall be unlawful for any person to manu-
                                     facture, produce, transfer, or acquire any equipment or device utilizing
                                     fissionable material or atomic energy as a military weapon, except as
                                     may be authorized by the Commission . Nothing in this subsection
                                     shall be deemed to modify the provisions of section 4 of this Act, or
                                     to prohibit research activities in respect of military weapons, or to
                                     permit the export of any such equipment or device .
                                                  UTILIZATION OF ATOMIC ENERGY
                                        SEC. 7 . (a) LICENSE REQuumn.-It shall be iilawful, except as pro-
                                     vided in sections 5 (a) (4) (A) or (B) or 6 (a), for any person to
                                     manufacture, produce, or export any equipment or device utilizing
                                     fissionable material or atomic energy or to utilize fissionable material
                                     or atomic energy with or without such equipment or device, except
                                     under and in accordance with a license issued by the Commission
                                     authorizing such manufacture, production, export, or utilization . No
                                     license may permit any such activity if fissionable material is produced
                                     incident to such activity, except as provided in sections 3 and 4 .
              Research relating to
            manufacture of equip-    Nothing in this section shall be deemed to require a license for the
            ment, etc .              conduct of research or development activities relating to the manufac-
                                     ture of such equipment or devices or the utilization of fissionable
                                     material or atomic energy, or for the manufacture or use of equipment
                                     or devices for medical therapy .
                                        (b) REPORT TO CoNGRESs.-Whenever in its opinion any industrial,
                                     commercial, or other nonmilitary use of fissionable material or atomic
                                     energy has been sufficiently developed to be of practical value, the
                                     Commission shall prepare a report to the President stating all the
                                     facts with respect to such use, the Commission's estimate of the social,
                                     political, economic, and international effects of such use and the Com-
                                     mission's recommendations for necessary or desirable supplemental
                                     legislation . The President shall then transmit this report to the
              Restriction on is-     Congress together with his recommendations . No license for any
            suance of license.
                                     manufacture, production, export, or use shall be issued by the Commis-
                                     sion under this section until after (1) a report with respect to such
                                     manufacture, production, export, or use has been filed with the Con-
                                     gress ; and (2) a period of ninety days in which the Congress was in
                                     session has elapsed after the report has been so filed . In computing
                                     such period of ninety days, there shall be excluded the days on which
                                     either House is not in session because of an adjournment of more than
                                     three days .
                                        (c) ISSUANCE or LICENSES .-After such ninety-day period, unless
                                     hereafter prohibited by law, the Commission may license such manu-
                                     facture, production, export, or use in accordance with such procedures
                                     and subject to such conditions as it may by regulation establish to
              Supplying of mate-
            rial to licensees.       effectuate the provisions of this Act . The Commission is authorized
                                     and directed to issue licenses on a nonexclusive basis and to supply
                                     to the extent available appropriate quantities of fissionable material
                                     to licensees (1) whose proposed activities will serve some useful pur-
                                     pose proportionate to the quantities of fissionable material to be con-
                                     sumed ; (2) who are equipped to observe such safety standards to
                                     protect health and to minimize danger from explosion or other hazard
                                     to life or property as the Commission may establish ; and (3) who
                                     agree to make available to the Commission such technical information
                                     and data concerning their activities pursuant to such licenses as the
                                     Commission may determine necessary to encourage similar activities
             Renewal, etc .          by as many licensees as possible . Each such license shall be issued
                                     for a specified period, shall be revocable at any time by the Commission
                                     in accordance with such procedures as the Commission may establish,
                                     and may be renewed upon the expiration of such period . Where
                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:1912
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1700
                                                                                808



         60 STAT.]      79TH CONG ., 2D SESS.-CH . 724-AUG. 1, 1946                                     765
         activities under any license might serve to maintain or to foster the
         growth of monopoly, restraint of trade, unlawful competition, or
         other trade position inimical to the entry of new, freely competitive
         enterprises in the field, the Commission is authorized and directed
         to refuse to issue such license or to establish such conditions to prevent
         these results as the Commission, in consultation with the Attorney
         General, may determine . The Commission shall report promptly to
         the Attorney General any information it may have with respect to
         any utilization of fissionable material or atomic energy which appears
         to have these results . No license may be given to any person for              Restriction .
         activities which are not under or within the jurisdiction of the United
         States, to any foreign government, or to any person within the United
         States if, in the opinion of the Commission, the issuance of a license
         to such person would be inimical to the common defense and security .
            (d) BYPRODUCT PowER.-If energy which may be utilized is pro-
         duced in the production of fissionable material, such energy may be
         used by the Commission, transferred to other Government agencies,
         or sold to public or private utilities under contracts providing for
         reasonable resale prices .

                         INTERNATIONAL ARRANGEMENTS
            SEC . 8 . (a) DEFINITION .-As used in this Act, the term "inter-
         national arrangement" shall mean any treaty approved by the Senate
         or international agreement hereafter approved by the Congress,
         during the time such treaty or agreement is in full force and effect .
            (b) EFFECT OF INTERNATIONAL ARRANGEMENTS .-Any provision of
         this Act or any action of the Commission to the extent that it conflicts
         with the provisions of any international arrangement made after the
         date of enactment of this Act shall be deemed to be of no further force
         or effect .
            (C) POLICIES CONTAINED IN INTERNATIONAL ARRANGEMENTS .-Ill the
         performance of its functions under this Act, the Commission shall give
         maximum effect to the policies contained in any such international
         arrangement.
                        PROPERTY OF THE COMMISSION
           SEC . 9. (a) The President shall direct the transfer to the Com-             Transfer of U . 8,
                                                                                      interests.
        mission of all interests owned by the United States or any Government
        agency in the following property :
           (1) All fissionable material ; all atomic weapons and parts thereof,
        all facilities, equipment, and materials for the processing, production,
        or utilization of fissionable material or atomic energy ; all processes
        and technical information of any kind, and the source thereof (includ-
        ing data, drawings, specifications, patents, patent applications, and
        other sources (relating to the processing, production, or utilization
        of fissionable material or atomic energy ; and all contracts, agreements,
        leases, patents, applications for patents, inventions and discoveries
        (whether patented or unpatented), and other rights of any kind con-
        cerning any such items ;
           (2) All facilities, equipment, and materials, devoted primarily to
        atomic energy research and development ; and
           (3) Such other property owned by or in the custody or control of
        the Manhattan Engineer District or other Government agencies as
        the President may determine .
           (b) In order to render financial assistance to those States and              Payments to States,
                                                                                      etc.
        localities in which the activities of the Commission are carried on and
        in which the Commission has acquired property previously subject to
        State and local taxation, the Commission is authorized to make pay-
        ments to State and local governments in lieu of property taxes . Such
                                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2013
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1701
                                                                                809



             766                                            PUBLIC LAWS-CH. 724-AUG. 1, 1946               [60 STAT .

                                          payments may be in the amounts, at the times, and upon the terms the
                                          Commission deems appropriate, but the Commission shall be guided
                                          by the policy of not making payments in excess of the taxes which
                                          would have been payable for such property in the condition in which
                                          it was acquired, except in cases where special burdens have been cast
                                          upon the State or local government by activities of the Commission,
                                          the Manhattan Engineer District or their agents. In any such case,
                                          any benefit accruing to the State or local government by reason of such
                                          activities shall be considered in determining the amount of the pay-
              Tax exemptions.             ment. The Commission, and the property, activities, and income of
                                          the Commission, are hereby expressly exempted from taxation in any
                                          manner or form by any State, county, municipality, or any subdivi-
                                          sion thereof.
                                                              CONTROL OF INFORMATION
                                             SEC . 10. (a) PoLIOy.-It shall be the policy of the Commission to
                                          control the dissemination of restricted data in such a manner as to
                                          assure the common defense and security . Consistent with such policy,
                                          the Commission shall be guided by the following principles :
              Exchange with
            other nations.                         (1) That until Congress declares by joint resolution that effec-
                                               tive and enforceable international safeguards against the use of
                                               atomic energy for destructive purposes have been established,
                                               there shall be no exchange of information with other nations with
                                               respect to the use of atomic energy for industrial purposes ; and
              Scientific and tech-
            nical information.                     (2) That the dissemination of scientific and technical infor-
                                               mation relating to atomic energy should be permitted and encour-
                                               aged so as to provide that free interchange of ideas and criticisms
                                               which is essential to scientific progress.
                                             (b) RESTRICTIONS .-
              "Restricted data."             (1) The term "restricted data" as used in this section means all
                                          data concerning the manufacture or utilization of atomic weapons,
                                          the production of fissionable material, or the use of fissionable material
                                          in the production of power, but shall not include any data which the
                                          Commission from time to time determines may be published without
                                          adversely affecting the common defense and security .
              Communication                  (2) Whoever, lawfully or unlawfully, having possession of, access
            with intent to injure
            U . S ., etc. ; penalties .   to, control over, or being entrusted with, any document, writing,
                                          sketch, photograph, plan, model, instrument, appliance, note or infor-
                                          mation involving or incorporating restricted data-
                                                   (A) communicates, transmits, or discloses the same to any
                                               individual or person, or attempts or conspires to do any of the
                                               foregoing, with intent to injure the United States or with intent
                                               to secure an advantage to any foreign nation, upon conviction
                                               thereof, shall be punished by death or imprisonment for life
                                               (but the penalty of death or imprisonment for life may be
                                               imposed only upon recommendation of the jury and only in cases
                                               where the offense was committed with intent to injure the United
                                               States) ; or by a fine of not more than $20,000 or imprisonment for
                                               not more than twenty years, or both ;
                                                  (B) communicates, transmits, or discloses the same to any
                                               individual or person, or attempts or conspires to do any of the
                                               foregoing, with reason to believe such data will be utilized to
                                               injure the United States or to secure an advantage to any foreign
                                               nation, shall, upon conviction, be punished by a fine of not more
                                               than $10,000 or imprisonment for not more than ten years, or
                                               both .
              Acquisition, etc., of
            documents.
                                             (3) Whoever, with intent to injure the United States or with intent
                                          to secure an advantage to any foreign nation, acquires or attempts or
                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2114
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1702
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         60 STAT .]    79TH CONG ., 2D SESS .-CH . 724-AUG . 1, 1946                                 767
         conspires to acquire any document, writing, sketch, photograph, plan,
         model, instrument, appliance, note or information involving or incor-
         porating restricted data shall, upon conviction thereof, be punished       Penalty .
         by death or imprisonment for life (but the penalty of death or impris-
         onment for life may be imposed only upon recommendation of the
         jury and on_ly in cases where the offense was committed with intent to
         injure the United States) ; or by a fine of not more than $20,000 or
         imprisonment for not more than twenty years, or both .
                                                                                    Removal, etc .
            (4) Whoever, with intent to injure the United States or with intent
         to secure an advantage to any foreign nation, removes, conceals,
         tampers with, alters, mutilates, or destroys any document, writing,
         sketch, photograph, plan, model, instrument, appliance, or note involv-
         ing or incorporating restricted data and used by any individual or
         person in connection with the production of fissionable material, or
         research or development relating to atomic energy, conducted by the
         United States, or financed in whole or in part by Federal funds, or        Penalty .
         conducted with the aid of fissionable material, shall be punished by
         death or imprisonment for life (but the penalty of death or imprison-
         ment for life may be imposed only upon recommendation of the jury
         and only in cases where the offense was committed with intent to
         injure the United States) ; or by a fine of not more than $20,000 or
         imprisonment for not more than twenty years or both .                      Prosecution.
            (5) (A) No person shall be prosecuted for any violation under this
         section unless and until the Attorney General of the United States has
         advised the Commission with respect to such prosecution and no such
         prosecution shall be commenced except upon the express direction of
         the Attorney General of the United States .                                 Investigation of des-
            (B) (i) No arrangement shall be made under section 3, no contract      ignated persons by
         shall be made or continued in effect under section 4, and no license      FBI, etc .
         shall be issued under section 4 (e) or 7, unless the person with whom
         such arrangement is made, the contractor or prospective contractor,
         or the prospective licensee agrees in writing not to permit any indi-
         vidual to have access to restricted data until the Federal Bureau of
         Investigation shall have made an investigation and report to the Com-
         mission on the character, associations, and loyalty of such individual
         and the Commission shal] have determined that permitting such person
         to have access to restricted data will not endanger the common defense
         or security.
            (ii) Except as authorized by the Commission in case of emergency,
         no individual shall be employed by the Commission until the Federal
         Bureau of Investigation shall have made an investigation and report
         to the Commission on the character, associations, and loyalty of such
         individual.
                                                                                     Persons previously
            (iii) Notwithstanding the provisions of subparagraphs (i) and          employed, etc .
         (ii), during such period of time after the enactment of this Act as
         may be necessary to make the investigation, report, and determination
         required by such paragraphs, (a) any individual who was permitted
         access to restricted data by the Manhattan Engineer District may be
         permitted access to restricted data and (b) the Commission may
         employ any individual who was employed by the Manhattan Engineer
         District.                                                                   Use of Government
            (iv) To protect against the unlawful dissemination of restricted       services .
         data and to safeguard facilities, equipment, materials, and other
         property of the Commission, the President shall have authority to
         utilize the services of any Government agency to the extent he may
         deem necessary or desirable .                                               violations .
            (C) All violations of this Act shall be investigated by the Federal
         Bureau of Investigation of the Department of Justice .
                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2215
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1703
                                                                                811



           768                                    PUBLIC LAWS-CH . 724-AUG. 1, 1946                 [60 STAT.

             Applicability of
           other laws.
                                   (6) This section shall not exclude the applicable provisions of any
                                other laws, except that no Government agency shall take any action
                                under such other laws inconsistent with the provisions of this section.
                                   (C) INSPECTIONS, RECORDS, AND REPORTS .-The Commission is-
                                        (1) authorized by regulation or order to require such reports
                                     and the keeping of such records with respect to, and to provide
                                     for such inspections of, activities and studies of types specified
                                     in section 3 and of activities under licenses issued pursuant to
                                     section 7 as may be necessary to effectuate the purposes of this
                                     Act ;
                                        (2) authorized and directed by regulation or order to require
                                     regular reports and records with respect to, and to provide for fre-
                                     quent inspections of, the production of fissionable material in
                                     the conduct of research and development activities .

                                                    PATENTS AND INVENTIONS
                                   SEC . 11 . (a) PRODUCTION AND MILITARY UTILIZATION .
                                   (1) No patent shall hereafter be granted for any invention or
                                discovery which is useful solely in the production of fissionable mate-
                                rial or in the utilization of fissionable material or atomic energy for
                                a military weapon . Any patent granted for any such invention or
                                discovery is hereby revoked, and just compensation shall be made
                                therefor.
                                   (2) No patent hereafter granted shall confer any rights with respect
                                to any invention or discovery to the extent that such invention or
                                discovery is used in the production of fissionable material or in the
                                utilization of fissionable material or atomic energy for a military
                                weapon . Any rights conferred by any patent heretofore granted for
                                any invention or discovery are hereby revoked to the extent that such
                                invention or discovery is so used, and just compensation shall be
                                made therefor .
            Reports
                  .                (3) Any person who has made or hereafter makes any invention
                                or discovery useful in the production of fissionable material or in the
                                utilization of fissionable material or atomic energy for a military
                                weapon shall file with the Commission a report containing a complete
                                description thereof, unless such invention or discovery is described in
                                an application for a patent filed in the Patent Office by such person
                                within the time required for the filing of such report . The report
                                covering any such invention or discovery shall be filed on or before
                                whichever of the following is the latest : (A) The sixtieth day after
                                the date of enactment of this Act ; (B) the sixtieth day after the com-
                                pletion of such invention or discovery ; or (C) the sixtieth day after
                                such person first discovers or first has reason to believe that such
                                invention or discovery is useful in such production or utilization .
                                   (b) USE OF INVENTIONS FOR RESEARCH .-No patent hereafter granted
                                shall confer any rights with respect to any invention or discovery to
                                the extent that such invention or discovery is used in the conduct of
            Aide, p . 758 .     research or development activities in the fields specified in section 3 .
                                Any rights conferred by any patent heretofore granted for any inven-
                                tion or discovery are hereby revoked to the extent that such invention
                                or discovery is so used, and just compensation shall be made therefor .
                                   (c) NONMILITARY UTILIZATION .-
                                   (1) It shall be the duty of the Commission to declare any patent to
                                be affected with the public interest if (A) the invention or discovery
                                covered by the patent utilizes or is essential in the uti]ization of fission-
                                able material or atomic energy ; and (B) the licensing of such inven-
                                tion or discovery under this subsection is necessary to effectuate the
                                policies and purposes of this Act .
                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2316
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1704
                                                                                812




         60 STAT.]      79TH CONG ., 2D SESS .-CH. 724-AUG . 1, 1946                                       769

            (2) Whenever any patent has been declared, pursuant to paragraph
         (1), to be affected with the public interest-
                 (A) The Commission is hereby licensed to use the invention or
              discovery covered by such patent in performing any of its powers
              under this Act ; and
                 (B) Any person to whom a license has been issued under section
              7 is hereby licensed to use the invention or discovery covered by          Ante, p . 764.
              such patent to the extent such invention or discovery is used by him
              in carrying on the activities authorized by his license under
              section 7 .
         The owner of the patent shall be entitled to a reasonable royalty fee            Royalty fee.
         for any use of an invention or discovery licensed by this subsection .
         Such royalty fee may be agreed upon by such owner and the licensee,
         or in the absence of such agreement shall be determined by the
         Commission.
            (3) No court shall have jurisdiction or power to stay, restrain,              Infringement of pat-
                                                                                        ent .
         or otherwise enjoin the use of any invention or discovery by a licensee,
         to the extent that such use is licensed by paragraph (2) above, on
         the ground of infringement of any patent . If in any action for
         infringement against such licensee the court shall determine that the
         defendant is exercising such license, the measure of damages shall
         be the royalty fee determined pursuant to this section, together with
         such costs, interest, and reasonable attorney's fees as may be fixed
         by the court . If no royalty fee has been determined, the court shall
         stay the proceeding until the royalty fee is determined pursuant to
         this section . If any such licensee shall fail to pay such royalty fee,
         the patentee may bring an action in any court of competent jurisdiction
         for such royalty fee, together with such costs, interest, and reasonable
         attorney's fees as may be fixed by the court.
            (d) ACQUISITION OF PATENTS .-The Commission is authorized to
         purchase, or to take, requisition, or condemn, and make just compen-
         sation for, (1) any invention or discovery which is useful in the
         production of fissionable material or in the utilization of fissionable
         material or atomic energy for a military weapon, or which utilizes
         or is essential in the utilization of fissionable material or atomic energy,
         or (2) any patent or patent application covering any such invention              Notification by
         or discovery . The Commissioner of Patents shall notify the Com-               Commissioner of Pat .
         mission of all applications for patents heretofore or hereafter filed          ents.
         which in his opinion disclose such inventions or discoveries and shall
         provide the Commission access to all such applications .
            (e) COMPENSATION AWARDS, AND ROYALTIES .-
            (1) PATENT COMPENSATION BOARD .-The Commission shall desig-
         nate a Patent Compensation Board, consisting of two or more
         employees of the Commission, to consider applications under this
         subsection .
           (2) ELIGIBILrrY .-
                                                                                          Applications .
                 (A) Any owner of a patent licensed under subsection (c) (2)
              or any licensee thereunder may make application to the Commis-
              sion for the determination of a reasonable royalty fee in accord-
              ance with such procedures as it by regulation may establish .
                 (B) Any person seeking to obtain the just compensation pro-
              vided in subsections (a), (b), or (d) shall make application
              therefor to the Commission in accordance with such procedures
              as it may by regulation establish .
                 (C) Any person making any invention or discovery useful in
              the production of fissionable material or in the utilization of
              fissionable material or atomic energy for a military weapon who
              is not entitled to compensation therefor under subsection (a) and
               80634• -47-rT . 1-49
                                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2417
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1705
                                                                                813




             770                                          PUBLIC LAWS-CH . 724-AUG. 1, 1946              [60 STAP.

                                             who has complied with subsection (a) (3) above may make appli-
                                             cation to the Commission for, and the Commission may grant, an
                                             award .
               Counsel                          (D) Any person making application under this subsection
                                             shall have the right to be represented by counsel.
                                           (3) STANDARDS:
               Determination of
             royalty fee.                        (A) In determining such reasonable royalty fee, the Commis-
                                             sion shall take into consideration any defense, general or special,
                                              that might be pleaded by a defendant in an action for infringe-
                                             ment, the extent to which, if any, such patent was developed
                                              through federally financed research, the degree of utility, novelty,
                                              and importance of the invention or discovery, and may consider
                                              the cost to the owner of the patent of developing such invention
                                              or discovery or acquiring such patent .
               Determination of
             compensation .                      (B) In determining what constitutes just compensation under
                                             subsection (a), (b), or (d) above, the Commission shall take into
                                             account the considerations set forth in paragraph (A) above, and
                                             the actual use of such invention or discovery, and may determine
                                             that such compensation be paid in periodic payments or in a
                                             lum sum.
                                                 ( ) In determining the amount of any award under para-
                                             graph (2) (C) of this subsection, the Commission shall take into
                                              account the considerations set forth in paragraph (A) above,
              Payment of awards .            and the actual use of such invention or discovery . Awards so
                                             made may be paid by the Commission in periodic payments or
                                             in a lump sum .
                                           (4) JUDICIAL mtvniw.-Any person aggrieved by any determination
                                        of the Commission of an award or of a reasonable royalty fee may
                                        obtain a review of such determination in the Court of Appeals for the
                                        District of Columbia by filing in such court, within thirty days after
                                        notice of such determination, a written petition praying that such
                                        determination be set aside. A copy of such petition shall be forthwith
                                        served upon the Commission and thereupon the Commission shall file
                                        with the court a certified transcript of the entire record in the pro-
                                        ceeding, including the findings and conclusions upon which the deter-
                                        mination was based . Upon the filing of such transcript the court shall
                                        have exclusive jurisdiction upon the record certified to it to affirm the
                                        determination in its entirety or set it aside and remand it to the Com-
                                        mission for further proceedings . The findings of the Commission as
                                        to the facts, if supported by, substantial evidence, shall be conclusive .
                                        The court's judgment shall be final, subject, however, to review by
                                        the Supreme Court of the United States upon writ of certiorari on
                                        petition therefor under section 240 of the Judicial Code (U . S. C .,
              36 Stat .1167.            title 28, sec . 347), by the Commission or any party to the court pro-
                                        ceeding.
                                                               GENERAL AUTHORITY
                                           SEC . 12. (a) In the performance of its functions the Commission
                                        is authorized to-
              Advisory boards.                  (1) establish advisory boards to advise with and make recom-
                                             mendations to the Commission on legislation, policies, adminis-
                                             tration, research, and other matters ;
              Standards to gov-                 (2) establish by regulation or order such standards and
            ern use of materials,
            etc .                            instructions to govern the possession and use of fissionable and
                                             byproduct materials as the Commission may deem necessary or
                                             desirable to protect health or to minimize danger from explosions
                                             and other hazards to life or property ;
              Studies,      hearings,           (3) make such studies and investigations, obtain such infor-
            etc.
                                             mation, and hold such hearings as the Commission may deem
                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2518
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1706
                                                                                814




      60 STAT .]     79Th CONG ., 2n SESS .-CH . 724-AUG. 1, 1946                                      771
            necessary or proper to assist it in exercising any authority pro-
           vided in this Act, or in the administration or enforcement of
           this Act, or any regulations or orders issued thereunder . For            Administration of
                                                                                   oaths, etc .
           such purposes the Commission is authorized to administer oaths
            and affirmations, and by subpena to require any person to appear
           and testify, or to appear and produce documents, or both, at any
            designated place . No person shall be excused from complying
           with any requirements under this paragraph because of his priv-
           ilege against self-incrimination, but the immunity provisions of
           the Compulsory Testimony Act of February 11, 1893 (U. S . C.,
                                                                                     27 Stat. 443.
           title 49, sec . 46), shall apply with respect to any individual who
           specifically claims such privilege . Witnesses subpenaed under
           this subsection shall be paid the same fees and mileage as are paid
           witnesses in the district courts of the United States ;
              (4) appoint and fix the compensation of such officers and              Officers and em-
                                                                                   ployees .
           employees as may be necessary to carry out the functions of the
           Commission . Such officers and employees shall be appointed in
           accordance with the civil-service laws and their compensation
                                                                                     42 Stat . 1488.
           fixed in accordance with the Classification Act of 1923, as amended,      5 U . S . 0 . °° 661-674 ;
           except that to the extent the Commission deems such action nec-         Supp. V, ° 661 et seq.
                                                                                     Ante, pp. 216, 219 .
           essary to the discharge of its responsibilities, personnel may be
           employed and their compensation fixed without regard to such
           laws . The Commission shall make adequate provision for admin-
           istrative review of any determination to dismiss any employee ;
              (5) acquire such materials, property, equipment, and facilities,       Acquisition of prop-
                                                                                   erty, etc .
           establish or construct such buildings and facilities, and modify
           such buildings and facilities from time to time as it may deem
           necessary, and construct, acquire, provide, or arrange for such
           facilities and services (at project sites where such facilities and
           services are not available) for the housing, health, safety, welfare,
           and recreation of personnel employed by the Commission as it
           may deem necessary ;
              (6) with the consent of the agency concerned, utilize or employ        Use of Government'
                                                                                   services, etc.
           the services or personnel of any Government agency or any State
           or local government, or voluntary or uncompensated personnel,
           to perform such functions on its behalf as may appear desirable ;
              (7) acquire, purchase, lease, and hold real and personal prop-         Purchase, sale, etc
                                                                                   of property,
                                                                                                       .,
           erty as agent of and on behalf of the United States and to sell,
           lease, grant, and dispose of such real and personal property as
           provided in this Act ; and
              (8) without regard to the provisions of the Surplus Property           Disposition of radio-
                                                                                   active materials, etc.
           Act of 1944 or any other law, make such disposition as it may             58 Stat . 765.
                                                                                     50 U . S . C§ Supp.
           deem desirable of (A) radioactive materials, and (B) any other          V, app. ° ° 1611-1646 .
           property the special disposition of which is, in the opinion of           Ante, pp . 168, 169,
                                                                                   599; post, p . 886 .
           the Commission, in the interest of the national security .
         (b) SECrrRiTY .-The President may, in advance, exempt any specific
      action of the Commission in a particular matter from the provisions
      of law relating to contracts whenever he determines that such action
      is essential in the interest of the common defense and security .
         (c) ADVISORY COMMTTTEES .-The members of the General Advisory
                                                                                     Ante, p . 757 .
      Committee established pursuant to section 2 (b) and the members of
      advisory boards established pursuant to subsection (a) (1) of this
      section may serve as such without regard to the provisions of sections
                                                                                     35 Stat . 1107, 1109.
      109 and 113 of the Criminal Code (18 U. S . C ., sees. 198 and 203) or         18 U . S . C ., Supp.
      section 19 (e) of the Contract Settlement Act of 1944, except insofar        V, ° 198 note .
                                                                                     58 Stat . 668 .
      as such sections may prohibit any such member from receiving com-              41 U . S. C ., Supp.
                                                                                   V, ° 119 .
      pensation in respect of any particular matter which directly involves
      the Commission or in which the Commission is directly interested .
                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2619
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1707
                                                                                815




        772                                          PUBLIC LAWS-CH. 724-AUG . 1, 1946                [60 STAT.

                                    COMPENSATION FOR PRIVATE PROPERTY ACQUIRED
                                     SEC . 13. (a) . The United States shall make just compensation for
                                   any property or interests therein taken or requisitioned pursuant to
         Ante, pp . 760, 768.      sections 5 and 11. The Commission shall determine such compensa-
                                   tion . If the compensation so determined is unsatisfactory to the
                                   person entitled thereto, such person shall be paid 50 per centum of the
                                   amount so determined, and shall be entitled to sue the United States
                                   in the Court of Claims or in any district court of the United States in
          36 Stat. 1093, 1136 .
          28 U . S . C . 41(20),
                                   the manner provided by sections 24 (20) and 145 of the Judicial Code
        260.                       to recover such further sum as added to said 50 per centum will make
                                   up such amount as will be just compensation .
                                      (b) In the exercise of the rights of eminent domain and condemna-
                                   tion, proceedings may be instituted under the Act of August 1, 1888
          25 Stat . 357.           (U. S . C ., title 40, sec . 257), or any other applicable Federal statute .
                                   Upon or after the filing of the condemnation petition, immediate
                                   possession may be taken and the property may be occupied, used, and
                                   improved for the purposes of this Act, notwithstanding any other law .
                                   Real property acquired by purchase, donation, or other means of
                                   transfer may also be occupied, used, and improved for the purposes
                                   of this Act, prior to approval of title by the Attorney General .
                                   JUDICIAL REVIEW AND ADMINISTRATIVE PROCEDURE
                                     SEC. 14. (a) Notwithstanding the provisions of section 12 of the
                                   Administrative Procedure Act (Public Law 404, Seventy-ninth Con-
          Ante, pp . 244, 243 .    gress, approved June 11, 1946) which provide when such Act shall
                                   take effect, section 10 of such Act (relating to judicial review) shall
                                   be applicable, upon the enactment of this Act, to any agency action
                                   under the authority of this Act or by any agency created by or under
                                   the provisions of this Act .
                                      (b) Except as provided in subsection (a), no provision of this Act
          Ante, p. 237 .           shall be held to supersede or modify the provisions of the Administra-
                                   tive Procedure Act .
          "Agency action,"
        "agency .'
                                      (c) As used in this section the terms "agency action" and "agency"
                                   shall have the same meaning as is assigned to such terms in the
          Ante, p. 237 .           Administrative Procedure Act .

                                             JOINT COMMITTEE ON ATOMIC ENERGY
                                     SEC. 15. (a) There is hereby established a Joint Committee on
                                   Atomic Energy to be composed of nine Members of the Senate to be
                                   appointed by the President of the Senate, and nine Members of the
                                   House of Representatives to be appointed by the Speaker of the
                                   House of Representatives . In each instance not more than five mem-
                                   bers shall be members of the same political party.
          Functions.                  (b) The joint committee shall make continuing studies of the
                                   activities of the Atomic Energy Commission and of problems relating
                                   to the development, use, and control of atomic energy . The Commis-
                                   sion shall keep the joint committee fully and currently informed with
                                   respect to the Commission's activities . All bills, resolutions, and
                                   other matters in the Senate or the House of Representatives relating
                                   primarily to the Commission or to the development, use, or control
          Reports.                 of atomic energy shall be referred to the joint committee . The mem-
                                   bers of the joint committee who are Members of the Senate shall
                                   from time to time report to the Senate, and the members of the joint
                                   committee who are Members of the House of Representatives shall
                                   from time to time report to the House, by bill or otherwise, their
                                   recommendations with respect to matters within the jurisdiction of
                                   their respective Houses which are (1) referred to the joint com-
                                   mittee or (2) otherwise within the jurisdiction of the joint committee .
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:2720
                                                               ofof
                                                                 90322PageID
                                                                      PageID#:
                                                                             #:1708
                                                                                816



         60 STAT.]     79TH CONG ., 2o SESS .-CH. 724-AUG . 1, 1946                                     773
           (c) Vacancies in the membership of the joint committee shall not           Vacancies.
        affect the power of the remaining members to execute the functions
        of the joint committee, and shall be filled in the same manner as in
        the case of the original selection . The joint committee shall select
        a chairman and a vice chairman from among its members.
           (d) The joint committee, or any duly authorized subcommittee               Hearings, etc .
        thereof, is authorized to hold such hearings, to sit and act at such
        places and times, to require, by subpena or otherwise, the attendance
        of such witnesses and the production of such books, papers, and docu-
        ments, to administer such oaths, to take such testimony, to procure
        such printing and binding, and to make such expenditures as it deems
        advisable. The cost of stenographic services to report such hearings
        shall not be in excess of 25 cents per hundred words . The provisions
                                                                                      2 U . S . C. °1 192-
        of sections 102 to 104, inclusive, of the Revised Statutes shall apply      194.
        in case of any failure of any witness to comply with a subpena or to
        testify when summoned under authority of this section .
                                                                                      Compensation of ex-
           (e) The joint committee is empowered to appoint and fix the com-         perts, etc .
        pensation of such experts, consultants, technicians, and clerical and
        stenographic assistants as it deems necessary and advisable, but the
        compensation so fixed shall not exceed the compensation prescribed           42 Stat . 1488.
        under the Classification Act of 1923, as amended, for comparable             5 U . S . C . °° 661-674;
        duties . The committee is authorized to utilize the services, informa-      Supp . V, ° 661 et 8e9 .
                                                                                      4nte, pp. 216, 219.
        tion, facilities, and personnel of the departments and establishments
        of the Government.
                                  ENFORCEMENT
           SnC . 16 . (a) Whoever willfully violates, attempts to violate, or         Ante, pp . 759, 760,
         conspires to violate, any provision of sections 4 (b), 4 (e), 5 (a) (3),   764 .
         or 6 (b) shall, upon conviction thereof, be punished by a fine of not        Penalty.
         more than $10,000 or by imprisonment for not more than five years, or
         both, except that whoever commits such an offense with intent to
         injure the United States or with intent to secure an advantage to any
         foreign nation shall, upon conviction thereof, be punished by death
         or imprisonment for life (but the penalty of death or imprisonment
         for life may be imposed only upon recommendation of the jury and
         only in cases where the offense was committed with intent to injure
         the United States) ; or by a fine of not more than $20,000 or by
         imprisonment for not more than twenty years, or both .
            (b) Whoever willfully violates, attempts to violate, or conspires to
         violate, any provision of this Act other than those specified in sub-
         section (a) and other than section 10 (b), or of any regulation or           Ante, p . 766.

         order prescribed or issued under sections 5 (b) (4), 10 (c), or 12
         (a) (2), shall, upon conviction thereof, be punished by a fine of not        Ante, pp. 761, 768,
                                                                                    770.
         more than $5,000 or by imprisonment for not more than two years,
         or both, except that whoever commits such an offense with intent to
         injure the United States or with intent to secure an advantage to
         any foreign nation shall, upon conviction thereof, be punished by a
         fine of not more than $20,000 or by imprisonment for not more than
         twenty years, or both .
                                                                                     Application by
            (c) Whenever in the judgment of the Commission any person has           Commission .
         engaged or is about to engage in any acts or practices which constitute
         or will constitute a violation of any provision of this Act, or any
         regulation or order issued thereunder, it may make application to
         the appropriate court for an order enjoining such acts or practices,
         or for an order enforcing compliance with such provision, and upon
         a showing by the Commission that such person has engaged or is about
         to engage in any such acts or practices a permanent or temporary
         injunction, restraining order, or other order may be granted .
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Case:4:22-cv-00116-CDP
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                                       Filed: 02/06/17Page:
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              774                                         PUBLIC LAWS-CH. 724-AUG. 1, 1946                 [60 STAT.
                Refusal toobey sub.
                    etc.                  (d) In case of failure of refusal to obey a subpena served upon
              p Ante,tp. 770 .'        any person pursuant to section 12 (a) (3), the district court for any
                                       district in which such person is found or resides or transacts business,
                                       upon application by the Commission, shall have jurisdiction to issue
                                       an order requiring such person to appear and give testimony or to
                                       appear and produce documents, or both, in accordance with the sub-
                                       pena ; and any failure to obey such order of the court may be punished
                                       by such court as a contempt thereof.
                                                                       REPORTS
                                         SEC . 17. The Commission shall submit to the Congress, in January
                                       and July of each year, a report concerning the activities of the Com-
                Additional legisla-
              tion .
                                       mission . The Commission shall include in such report, and shall at
                                       such other times as it deems desirable submit to the Congress, such
                                       recommendations for additional legislation as the Commission deems
                                       necessary or desirable .
                                                                    DEFINITIONS
                                          SEC . 18 . As used in this Act-
               "Atomic energy."           (a) The term "atomic energy" shall be construed to mean all forms
                                       of energy released in the course of or as a result of nuclear fission or
                                       nuclear transformation.
                "Government               (b) The term "Government agency" means any executive depart-
              agency. ,,
                                       ment, commission, independent establishment, corporation wholly or
                                       partly owned by the United States which is an instrumentality of
                                       the United States, board, bureau, division, service, office, officer, author-
                                       ity, administration, or other establishment, in the executive branch
                                       of the Government.
               "Person."                  (c) The term "person" means any individual, corporation, partner-
                                       ship, firm, association, trust, estate, public or private institution, group,
                                       the United States or any agency thereof, any government other than
                                       the United States, any political subdivision of any such government,
                                       and any legal successor, representative, agent, or agency of the fore-
                                       going, or other entity, but shall not include the Commission or officers
                                       or employees of the Commission in the exercise of duly authorized
                                       functions.
               "United States ."          (d) The term "United States", when used in a geographical sense,
                                       includes all Territories and possessions of the United States and the
                                       Canal Zone .
               "Researeh and de-
             velopment."
                                          (e) The term "research and development" means theoretical
                                       analysis, exploration, and experimentation, and the extension of
                                       investigative findings and theories of a scientific or technical nature
                                       into practical application for experimental and demonstration pur-
                                       poses, including the experimental production and testing of models,
                                       devices, equipment, materials, and processes .
               "Equipment or de-          (f) The term "equipment or device utilizing fissionable material
             vice utilizing fission-
             able material or atom-
             ic energy ."
                                       or atomic energy" shall be construed to mean any equipment or device
                                       capable of making use of fissionable material or peculiarly adapted for
                                       making use of atomic energy and any important component part
                                       especially designed for such equipment or devices, as determined by
                                       the Commission .
               "Facilities for the        (g) The term "facilities for the production of fissionable material"
             production of fission-
             able material ."          shall be construed to mean any equipment or device capable of such
                                       production and any important component part especially designed for
                                       such equipment or devices, as determined by the Commission .
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-5Filed: 01/28/22
                                       Filed: 02/06/17Page:
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         60 STAT .]   79TH CONG ., 21) SESS . CHS .   . 1, 1M
                                                      724,725--AUG                                         775

                                 APPROPRIATIONS
                                                                                          Appropriation au-
           SEC . 19. There are hereby authorized to be appropriated such sums           thorized .
         as may be necessary and appropriate to carry out the provisions and              Post, p . 913 .
         purposes of this Act.. The Acts appropriating such sums may appro-
         priate specified portions thereof to be accounted for upon the certifica-
         tion of the Commission only . Funds appropriated to the Commission
         shall, if obligated by contract during the fiscal year for which appro-
         priated, remain available for expenditure for four years following the
         expiration of the fiscal year for which appropriated . After such
         four-year period, the unexpended balances of appropriations shall be
         carried to the surplus fund and covered into the Treasury .
                         SEPARABILITY OF PROVISIONS
            SEC . 20. If any provision of this Act, or the application of such
         provision to any person or circumstances, is held invalid, the remainder
         of this Act or the application of such provision to persons or circum-
         stances other than those as to which it is held invalid, shall not be
         affected thereby .
                                     SHORT TITLE
            SEC . 21. This Act may be cited as the "Atomic Energy Act of 1946" .
            Approved August 1, 1946 .

         [CHAPTER 7251
                                          AN ACT                                            August 1, 1946
         To amend the Act of June 8, 1936, relating to vocational education, so as to           (s. 619]
                                                                                           [Public Law 5861
           provide for the further development of vocational education in the several
           States and Territories.
            Be it enacted by the Senate and House o f Representatives o f the
          United States o f America in Congress assembled, That the Act
          approved June 8, 1936, entitled "An Act to provide for the further
          development of vocational education in the several States and Terri-
          tories" (49 Stat. 1488, ch. 541), is amended to read as follows                 20 U.     S . C . ° ills-
                                                                                        15p.

                                    " SHORT TITLE
                                                                                          Vocational Educa-
            "SECTION 1. This Act may be cited as the `Vocational Education              tion Act of 1946.
          Act of 1946.'
                                         "DEFINITIONS

            "SEC . 2. As used in this Act-
                 "(1) the term `States and Territories' means the several
               States, the Territories of Alaska and Hawaii, the island of
               Puerto Rico, and the District of Columbia ;
                 "(2) the terms `State plan' and `State board' shall have the
                                                                                          Infra .
               meaning which said terms have in the Smith-Hughes Vocational
               Education Act; and
                 "(3) the term 'Smith-Hughes Vocational Education Act'                    20 u. S . 0 . °111-15,
               means the Act approved February 23, 1917 (39 Stat. 929,                  16-28.
               ch. 114) .
            "AUTHORIZATION FOR APPROPRIATIONS FOR VOCATIONAL EDUCATION
                                                                                           Assistants' to States
            "SEc . 3. (a) For the purpose of assisting the several States and            and Territories.
          Territories in the further development of vocational education,
          there is authorized to be appropriated for the fiscal year beginning
          July 1, 1946, and annually thereafter-
                                                                                          Agriculture .
                "(1) $10,000,000 for vocational education in agriculture
              including supervision by the vocational agriculture teachers ot l
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                   48-6Filed: 01/28/22
                                          Filed: 02/06/17Page: 301ofof903
                                                           Page:          PageID #:
                                                                       23 PageID #: 819
                                                                                    1711




            EXHIBIT 6
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  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   312ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 820
                                                                                 1712



                               PL 93–438, OCTOBER 11, 1974, 88 Stat 1233


                                   UNITED STATES PUBLIC LAWS
                                    93rd Congress - Second Session
                                     Convening January 21, 1974

               DATA SUPPLIED BY THE U.S. DEPARTMENT OF JUSTICE. (SEE SCOPE)
                      Additions and Deletions are not identified in this document.

                                         PL 93–438 (HR 11510)
                                          OCTOBER 11, 1974

 An Act tO REORGANIZE AND CONSOLIDATE CERTAIN FUNCTIONS OF THE FEDERAL
 GOVERNMENT IN A NEW ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION AND
 IN A NEW NUCLEAR REGULATORY COMMISSION IN ORDER TO PROMOTE MORE EFFICIENT
 MANAGEMENT OF SUCH FUNCTIONS.

               BE IT ENACTED BY THE SENATE AND HOUSE OF REPRESENTATIVES
                OF THE UNITED STATES OF AMERICA IN CONGRESS ASSEMBLED,

SHORT TITLE //42 USC 5801 NOTE.//

SECTION 1. THIS ACT MAY BE CITED AS THE “ENERGY REORGANIZATION ACT OF 1974”.

DECLARATION OF PURPOSE //42 USC 5801.//

SEC. 2. (A) THE CONGRESS HEREBY DECLARES THAT THE GENERAL WELFARE AND THE COMMON
  DEFENSE AND SECURITY REQUIRE EFFECTIVE ACTION TO DEVELOP, AND INCREASE THE
  EFFICIENCY AND RELIABLILITY OF USE OF, ALL ENERGY SOURCES TO MEET THE NEEDS OF
  PRESENT AND FUTURE GENERATIONS, TO INCREASE THE PRODUCTIVITY OF THE NATIONAL
  ECONOMY AND STRENGTHEN ITS POSITION IN REGARD TO INTERNATIONAL TRADE, TO
  MAKE THE NATION SELF–SUFFICIENT IN ENERGY, TO ADVANCE THE GOALS OF RESTORING,
  PROTECTING, AND ENHANCING ENVIRONMENTAL QUALITY, AND TO ASSURE PUBLIC HEALTH
  AND SAFETY.

 (B) THE CONGRESS FINDS THAT, TO BEST ACHIEVE THESE OBJECTIVES, IMPROVE GOVERNMENT
OPERATIONS, AND ASSURE THE COORDINATED AND EFFECTIVE DEVELOPMENT OF ALL ENERGY
SOURCES, IT IS NECESSARY TO ESTABLISH AN ENERGY RESEARCH AND DEVELOPMENT
ADMINISTRATION TO BRING TOGETHER AND DIRECT FEDERAL ACTIVITIES RELATING TO
RESEARCH AND DEVELOPMENT ON THE VARIOUS SOURCES OF ENERGY, TO INCREASE THE
EFFICIENCY AND RELIABILITY IN THE USE OF ENERGY, AND TO CARRY OUT THE PERFORMANCE
OF OTHER FUNCTIONS, INCLUDING BUT NOT LIMITED TO THE ATOMIC ENERGY COMMISSION'S
MILITARY AND PRODUCTION ACTIVITIES AND ITS GENERAL BASIC RESEARCH ACTIVITIES. IN
ESTABLISHING AN ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION TO ACHIEVE
THESE OBJECTIVES, THE CONGRESS INTENDS THAT ALL POSSIBLE SOURCES OF ENERGY BE
DEVELOPED CONSISTENT WITH WARRANTED PRIORITIES.
 (C) THE CONGRESS FINDS THAT IT IS IN THE PUBLIC INTEREST THAT THE LICENSING AND
RELATED REGULATORY FUNCTIONS OF THE ATOMIC ENERGY COMMISSION BE SEPARATED
FROM THE PERFORMANCE OF THE OTHER FUNCTIONS OF THE COMMISSION, AND THAT THIS
SEPARATION BE EFFECTED IN AN ORDERLY MANNER, PURSUANT TO THIS ACT, ASSURING


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                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   323ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 821
                                                                                 1713


ADEQUACY OF TECHNICAL AND OTHER RESOURCES NECESSARY FOR THE PERFORMANCE OF
EACH.
 (D) THE CONGRESS DECLARES THAT IT IS IN THE PUBLIC INTEREST AND THE POLICY OF
CONGRESS THAT SMALL BUSINESS CONCERNS BE GIVEN A REASONABLE OPPORTUNITY TO
PARTICIPATE, INSOFAR AS IS POSSIBLE, FAIRLY AND EQUITABLY IN GRANTS, CONTRACTS,
PURCHASES, AND OTHER FEDERAL ACTIVITIES RELATING TO RESEARCH, DEVELOPMENT,
AND DEMONSTRATION OF SOURCES OF ENERGY EFFICIENCY, AND UTILIZATION AND
CONSERVATION OF ENERGY. IN CARRYING OUT THIS POLICY, TO THE EXTENT PRACTICABLE,
THE ADMINISTRATOR SHALL CONSULT WITH THE ADMINISTRATOR OF THE SMALL BUSINESS
ADMINISTRATION.
 (E) DETERMINATION OF PRIORITIES WHICH ARE WARRANTED SHOULD BE BASED ON SUCH
CONSIDERATIONS AS POWER–RELATED VALUES OF AN ENERGY SOURCE, PRESERVATION OF
MATERIAL RESOURCES, REDUCTION OF POLLUTANTS, EXPORT MARKET POTENTIAL (INCLUDING
REDUCTION OF IMPORTS), AMONG OTHERS. ON SUCH A BASIS, ENERGY SOURCES WARRANTING
PRIORITY MIGHT INCLUDE, BUT NOT BE LIMITED TO, THE VARIOUS METHODS OF UTILIZING
SOLAR ENERGY.
            TITLE I—ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION
 ESTABLISHMENT //42 USC 5811.//

SEC. 101. THERE IS HEREBY ESTABLISHED AN INDEPENDENT EXECUTIVE AGENCY TO BE KNOWN
  AS THE ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION (HEREINAFTER IN THIS ACT
  REFERRED TO AS THE “ADMINISTRATION”).

OFFICERS //42 USC 5812.//

SEC. 102. (A) THERE SHALL BE AT THE HEAD OF THE ADMINISTRATION AN ADMINISTRATOR
  OF ENERGY RESEARCH AND DEVELOPMENT (HEREINAFTER IN THIS ACT REFERRED TO AS
  THE “ADMINISTRATOR”), WHO SHALL BE APPOINTED FROM CIVILIAN LIFE BY THE PRESIDENT
  BY AND WITH THE ADVICE AND CONSENT OF THE SENATE. A PERSON MAY NOT BE
  APPOINTED AS ADMINISTRATOR WITHIN TWO YEARS AFTER RELEASE FROM ACTIVE DUTY
  AS A COMMISSIONED OFFICER OF A REGULAR COMPONENT OF AN ARMED FORCE. THE
  ADMINISTRATION SHALL BE ADMINISTERED UNDER THE SUPERVISION AND DIRECTION OF
  THE ADMINISTRATOR, WHO SHALL BE RESPONSIBLE FOR THE EFFICIENT AND COORDINATED
  MANAGEMENT OF THE ADMINISTRATION.

 (B) THERE SHALL BE IN THE ADMINISTRATION A DEPUTY ADMINISTRATOR, WHO SHALL BE
APPOINTED BY THE PRESIDENT, BY AND WITH THE ADVICE AND CONSENT OF THE SENATE.
 (C) THE PRESIDENT SHALL APPOINT THE ADMINISTRATOR AND DEPUTY ADMINISTRATOR
FROM AMONG INDIVIDUALS WHO, BY REASON OF THEIR GENERAL BACKGROUND AND
EXPERIENCE ARE SPECIALLY QUALIFIED TO MANAGE A FULL RANGE OF ENERGY RESEARCH
AND DEVELOPMENT PROGRAMS.
 (D) THERE SHALL BE IN THE ADMINISTRATION SIX ASSISTANT ADMINISTRATORS, ONE OF WHOM
SHALL BE RESPONSIBLE FOR FOSSIL ENERGY, ANOTHER FOR NUCLEAR ENERGY, ANOTHER
FOR ENVIRONMENT AND SAFETY, ANOTHER FOR CONSERVATION, ANOTHER FOR SOLAR,
GEOTHERMAL, AND ADVANCED ENERGY SYSTEMS, AND ANOTHER FOR NATIONAL SECURITY.
THE ASSISTANT ADMINISTRATORS SHALL BE APPOINTED BY THE PRESIDENT, BY AND WITH
THE ADVICE AND CONSENT OF THE SENATE. THE PRESIDENT SHALL APPOINT EACH ASSISTANT
ADMINISTRATOR FROM AMONG INDIVIDUALS WHO, BY REASON OF GENERAL BACKGROUND
AND EXPERIENCE, ARE SPECIALLY QUALIFIED TO MANAGE THE ENERGY TECHNOLOGY AREA
ASSIGNED TO SUCH ASSISTANT ADMINISTRATOR.



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                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   334ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 822
                                                                                 1714


 (E) THERE SHALL BE IN THE ADMINISTRATION A GENERAL COUNSEL WHO SHALL BE APPOINTED
BY THE ADMINISTRATOR AND WHO SHALL SERVE AT THE PLEASURE OF AND BE REMOVABLE BY
THE ADMINISTRATOR.
 (F) THERE SHALL BE IN THE ADMINISTRATION NOT MORE THAN EIGHT ADDITIONAL OFFICERS
APPOINTED BY THE ADMINISTRATOR. THE POSITIONS OF SUCH OFFICERS SHALL BE CONSIDERED
CAREER POSITIONS AND BE SUBJECT TO SUBSECTION 161 D. OF THE ATOMIC ENERGY ACT.
 (G) THE DIVISION OF MILITARY APPLICATION TRANSFERRED TO AND ESTABLISHED IN THE
ADMINISTRATION BY SECTION 104(D) OF THIS ACT SHALL BE UNDER THE DIRECTION OF A
DIRECTOR OF MILITARY APPLICATION, WHO SHALL BE APPOINTED BY THE ADMINISTRATOR AND
WHO SHALL SERVE AT THE PLEASURE OF AND BE REMOVABLE BY THE ADMINISTRATOR AND
SHALL BE AN ACTIVE COMMISSIONED OFFICER OF THE ARMED FORCES SERVING IN GENERAL OF
FLAG OFFICER RANK OR GRADE. THE FUNCTIONS, QUALIFICATIONS, AND COMPENSATION OF
THE DIRECTOR OF MILITARY APPLICATION SHALL BE THE SAME AS THOSE PROVIDED UNDER THE
ATOMIC ENERGY ACT OF 1954, AS AMENDED, //42 USC 2011 NOTE.// FOR THE ASSISTANT GENERAL
MANAGER FOR MILITARY APPLICATION.
 (H) OFFICERS APPOINTED PURSUANT TO THIS SECTION SHALL PERFORM SUCH FUNCTIONS
AS THE ADMINISTRATOR SHALL SPECIFY FROM TIME TO TIME. THE ADMINISTRATOR SHALL
DELEGATE TO ONE SUCH OFFICER THE SPECIAL RESPONSIBILITY FOR INTERNATIONAL
COOPERATION IN ALL ENERGY AND RELATED ENVIRONMENTAL RESEARCH AND
DEVELOPMENT.
 (I) THE DEPUTY ADMINISTRATOR (OR IN THE ABSENCE OR DISABILITY OF THE DEPUTY
ADMINISTRATOR, OR IN THE EVENT OF A VACANCY IN THE OFFICE OF THE DEPUTY
ADMINISTRATOR, AN ASSISTANT ADMINISTRATOR, THE GENERAL COUNSEL OR SUCH OTHER
OFFICIAL, DETERMINED ACCORDING TO SUCH ORDER AS THE ADMINISTRATOR SHALL
PRESCRIBE) SHALL ACT FOR AND PERFORM THE FUNCTIONS OF THE ADMINISTRATOR DURING
ANY ABSENCE OR DISABILITY OF THE ADMINISTRATOR OR IN THE EVENT OF A VACANCY IN THE
OFFICE OF THE ADMINISTRATOR.
 RESPONSIBILITIES OF THE ADMINISTRATOR //42 USC 5813.//

SEC. 103. THE RESPONSIBILITES OF THE ADMINISTRATOR SHALL INCLUDE, BUT NOT BE LIMITED
  TO—,

 (1) EXERCISING CENTRAL RESPONSIBLITY FOR POLICY PLANNING, COORDINATION, SUPPORT,
AND MANAGEMENT OF RESEARCH AND DEVELOPMENT PROGRAMS RESPECTING ALL ENERGY
SOURCES, INCLUDING ASSESSING THE REQUIREMENTS FOR RESEARCH AND DEVELOPMENT
IN REGARD OT VARIOUS ENERGY SOURCES IN RELATION TO NEAR–TERM AND LONG–RANGE
NEEDS, POLICY PLANNING IN REGARD TO MEETING THOSE REQUIREMENTS, UNDER–TAKING
PROGRAMS FOR THE OPTIMAL DEVELOPMENT OF THE VARIOUS FORMS OF ENERGY SOURCES,
MANAGING SUCH PROGRAMS, AND DISSEMINATING INFORMATION RESULTING THEREFROM;
 (2) ENCOURAGING AND CONDUCTING RESEARCH AND DEVELOPMENT, INCLUDING
DEMONSTRATION OF COMMERCIAL FEASIBILITY AND PRACTICAL APPLICATIONS OF THE
EXTRACTION, CONVERSION, STORAGE, TRANSMISSION, AND UTILIZATION PHASES RELATED TO
THE DEVELOPMENT AND USE OF ENERGY FROM FOSSIL,NUCLEAR, SOLAR, GEOTHERMAL, AND
OTHER ENERGY SOURCES;
 (3) ENGAGING IN AND SUPPORTING ENVIRONMENTAL, BIOMEDICAL, PHYSICAL, AND SAFETY
RESEARCH RELATED TO THE DEVELOPMENT OF ENERGY SOURCES AND UTILIZATION
TECHNOLOGIES;
 (4) TAKING INTO ACCOUNT THE EXISTENCE, PROGRESS, AND RESULTS OF OTHER PUBLIC
AND PRIVATE RESEARCH AND DEVELOPMENT ACTIVITIES, INCLUDING THOSE ACTIVITIES
OF THE FEDERAL ENERGY ADMINISTRATION RELATING TRO THE DEVELOPMENT OF


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  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   345ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 823
                                                                                 1715


ENERGY RESOURCES USING CURRENTLY AVAILABLE TECHNOLOGY IN PROMOTING INCREASED
UTILIZATION OF ENERGY RESOURCES, RELEVANT TO THE ADMINISTRATION'S MISSION IN
FORMULATING ITS OWN RESEARCH AND DEVELOPMENT PROGRAMS;
 (5) PARTICIPATING IN AND SUPPORTING COOPERATIVE RESEARCH AND DEVELOPMENT
PROJECTS WHICH MAY INVOLVE CONTRIBUTIONS BY PUBLIC OR PRIVATE PERSONS OR AGENCIES,
OF FINANCIAL OR OTHER RESOURCES TO THE PERFORMANCE OF THE WORK;
 (6) DEVELOPING, COLLECTING, DISTRIBUTING, AND MAKING AVAILABLE FOR DISTRIBUTION,
SCIENTIFIC AND TECHNICAL INFORMATION CONCERNING THE MANUFACTURE OR
DEVELOPMENT OF ENERGY AND ITS EFFICIENT EXTRACTION, CONVERSION, TRANSMISSION,
AND UTILIZATION;
 (7) CREATING AND ENCOURAGING THE DEVELOPMENT OF GENERAL INFORMATION TO
THE PUBLIC ON ALL ENERGY CONSERVATION TECHNOLOGIES AND ENERGY SOURCES AS
THEY BECOME AVAILABLE FOR GENERAL USE, AND THE ADMINISTRATOR, IN CONJUNCTION
WITH THE ADMINISTRATOR OF THE FEDERAL ENERGY ADMINISTRATION SHALL, TO THE
EXTENT PRACTICABLE, DISSEMINATE SUCH INFORMATION THROUGH THE USE OF MASS
COMMUNICATIONS;
 (8) ENCOURAGING AND CONDUCTING RESEARCH AND DEVELOPMENT IN ENERGY
CONSERVATION, WHICH SHALL BE DIRECTED TOWARD THE GOALS OF REDUCING TOTAL
ENERGY CONSUMPTION TO THE MAXIMUM EXTENT PRACTICABLE, AND TOWARD MAXIMUM
POSSIBLE IMPROVEMENT IN THE EFFICIENCY OF ENERGY USE. DEVELOPMENT OF NEW AND
IMPROVED CONSERVATION MEASURES SHALL BE CONDUCTED WITH THE GOAL OF THE MOST
EXPEDITIOUS POSSIBLE APPLICATION OF THESE MEASURES;
 (9) ENCOURAGING AND PARTICIPATING IN INTERNATIONAL COOPERATION IN ENERGY AND
RELATED ENVIRONMENTAL RESEARCH AND DEVELOPMENT;
 (10) HELPING TO ASSURE AN ADEQUATE SUPPLY OF MANPOWER FOR THE ACCOMPLISHMENT
OF ENERGY RESEARCH AND DEVELOPMENT PROGRAMS, BY SPONSORING AND ASSISTING IN
EDUCATION AND TRAINING ACTIVITIES IN INSTITUTIONS OF HIGHER EDUCATION, VOCATIONAL
SCHOOLS, AND OTHER INSTITUTIONS, AND BY ASSURING THE COLLECTIMON, ANALYSIS, AND
DISSEMINATION OF NECESSARY MANPOWER SUPPLY AND DEMAND DATA;
 (11) ENCOURAGING AND CONDUCTING RESEARCH AND DEVELOPMENT IN CLEAN AND
RENEWABLE ENERGY SOURCES.
 ABOLITION AND TRANSFERS //42 USC 5814.//

SEC. 104. (A) THE ATOMIC ENERGY COMMISSION IS HEREBY ABOLISHED. SECTIONS 21 AND 22 OF
  THE ATOMIC ENERGY ACT OF 1954, AS AMENDED (42 U. S.C. 2031 AND 2032) ARE REPEALED.

 (B) ALL OTHER FUNCTIONS OF THE COMMISSION, THE CHAIRMAN AND MEMBERS OF THE
COMMISSION, AND THE OFFICERS AND COMPONENTS OF THE COMMISSION ARE HEREBY
TRANSFERRED OR ALLOWED TO LAPSE PURSUANT TO THE PROVISIONS OF THIS ACT.
 (C) THERE ARE HEREBY TRANSFERRED TO AND VESTED IN THE ADMINISTRATOR ALL
FUNCTIONS OF THE ATOMIC ENERGY COMMISSION,, THE CHAIRMAN AND MEMBERS OF
THE COMMISSION, AND THE OFFICERS AND COMPONENTS OF THE COMMISSION, EXCEPT AS
OTHERWISE PROVIDED IN THIS ACT.
 (D) THE GENERAL ADVISORY COMMITTEE ESTABLISHED PURSUANT TO SECTION 26 OF THE
ATOMIC ENERGY ACT OF 1954, AS AMENDED (42 U.S.C. 2036), THE PATENT COMPENSATION
BOARD ESTABLISHED PURSUANT TO SECTION 157 OF THE ATOMIC ENERGY ACT OF 1954,
AS AMENDED (42 U.S.C. 2187), AND THE DIVISIONS OF MILITARY APPLICATION AND NAVAL
REACTORS ESTABLISHED PURSUANT TO SECTION 25 OF THE ATOMIC ENERGY ACT OF 1954, AS
AMENDED (42 U.S.C. 2035), ARE TRANSFERRED TO THE ENERGY RESEARCH AND DEVELOPMENT
ADMINISTRATION AND THE FUNCTIONS OF THE COMMISSION WITH RESPECT THERETO, AND


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                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   356ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 824
                                                                                 1716


WITH RESPECT TO RELATIONS WITH THE MILITARY LIAISON COMMITTEE ESTABLISHED BY
SECTION 27 OF THE ATOMIC ENERGY ACT OF 1954, AS AMENDED (42 U.S.C. 2037), ARE TRANSFERRED
TO THE ADMINISTRATOR.
 (E) THERE ARE HEREBY TRANSFERRED TO AND VESTED IN THE ADMINISTRATOR SUCH
FUNCTIONS OF THE SECRETARY OF THE INTERIOR, THE DEPARTMENT OF THE INTERIOR, AND
OFFICERS AND COMPONENTS OF SUCH DEPARTMENT—,
  (1) AS RELATE TO OR ARE UTILIZED BY THE OFFICE OF COAL RESEARCH ESTABLISHED
 PURSUANT TO THE ACT OF JULY 1, 196/ (74 STAT. 336; 30 U.S.C. 661—668);
  (2) AS RELATE TO OR ARE UTILIZED IN CONNECTION WITH FOSSIL FUEL ENERGY RESEARCH
 AND DEVELOPMENT PROGRAMS AND RELATED ACTIVITIES CONDUCTED BY THE BUREAU OF
 MINES “ENERGY CENTERS” AND SYNTHANE PLANT TO PROVIDE GREATER EFFICIENCY IN THE
 EXTRACTION, PROCESSING, AND UTILIZATION OF ENERGY RESOURCES FOR THE PURPOSE OF
 CONSERVING THOSE RESOURCES, DEVELOPING ALTERNATIVE ENERGY RESOURCES, SUCH AS
 OIL AND GAS SECONDARY AND TERTIARY RECOVERY, OIL SHALE AND SYNTHETIC FUELS,
 IMPROVING METHODS OF MANAGING ENERGY–RELATED WASTES AND POLLUTANTS, AND
 PROVIDING TECHNICAL GUIDANCE NEEDED TO ESTABLISH AND ADMINISTER NATIONAL
 ENERGY POLICIES; AND
  (3) AS RELATE TO OR ARE UTILIZED FOR UNDERGROUND ELECTRIC POWER TRANSMISSION
 RESEARCH.

THE ADMINISTRATOR SHALL CONDUCT A STUDY OF THE POTENTIAL ENERGY APPLICATIONS OF
HELIUM AND, WITHIN SIX MONTHS FROM THE DATE OF THE ENACTMENT OF THIS ACT, REPORT
TO THE PRESIDENT AND CONGRESS HIS RECOMMENDATIONS CONCERNING THE MANAGEMENT
OF THE FEDERAL HELIUM PROGRAMS, AS THEY RELATE TO ENERGY.
 (F) THERE ARE HEREBY TRANSFERED TO AND VESTED IN THE ADMINISTRATOR SUCH
FUNCTIONS OF THE NATIONAL SCIENCE FOUNDATION AS RELATE TO OR ARE UTILIZED IN
CONNECTION WITH—,
  (1) SOLAR HEARING AND COOLING DEVELOPMENT; AND
  (2) GEOTHERMAL POWER DEVELOPMENT.
 (G) THERE ARE HEREBY TRANSFERRED TO AND VESTED IN THE ADMINISTRATOR SUCH
FUNCTIONS OF THE ENVIRONMENTAL PROTECTION AGENCY AND THE OFFICERS AND
COMPONENTS THEREOF AS RELATE TO OR ARE UTILIZED IN CONNECTION WITH RESEARCH,
DEVELOPMENT, AND DEMONSTRATION, BUT NOT ASSESSMENT OR MONITORING FOR
REGULATORY PURPOSES, OF ALTERNATIVE AUTOMOTIVE POWER SYSTEMS.
 (H) TO THE EXTENT NECESSARY OR APPROPRIATE TO PERFORM FUNCTIONS AND CARRY
OUT PROGRAMS TRANSFERRED BY THIS ACT, THE ADMINISTRATOR AND COMMISSION MAY
EXERCISE, IN RELATION TO THE FUNCTIONS SO TRANSFERRED, ANY AUTHORITY OR PART
THEREOF AVAILABLE BY LAW, INCLUDING APPROPRIATION ACTS, TO THE OFFICIAL OR AGENCY
FROM WHICH SUCH FUNCTIONS WERE TRANSFERRED.
 (I) IN THE EXERCISE OF HIS RESPONSIBLIITIES UNDER SECTION 103, THE ADMINISTRATOR
SHALL UTILIZE, WITH THEIR CONSENT, TO THE FULLEST EXTENT HE DETERMINES ADVISABLE
THE TECHNICAL AND MANAGEMENT CAPABILITES OF OTHER EXECUTIVE AGENCIES HAVING
FACILITIES, PERSONNEL, OR OTHER RESOURCES WHICH CAN ASSIST OR ADVANTAGEOUSLY BE
EXPANDED TO ASSIST IN CARRYING OUT SUCH RESPONSIBILITIES. THE ADMINISTRATOR SHALL
CONSULT WITH THE HEAD OF EACH AGENCY WITH RESPECT TO SUCH FACILITIES, PERSONNEL,
OR OTHER RESOURCES, AND MAY ASSIGN, WITH THEIR CONSENT, SPECIFIC PROGRAMS OR
PROJECTS IN ENERGY RESEARCH AND DEVELOPMENT AS APPROPRIATE. IN MAKING SUCH
ASSIGNMENTS UNDER THIS SUBSECTION, THE HEAD OF EACH SUCH AGENCY SHALL INSURE
THAT—,



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                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   367ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 825
                                                                                 1717


 (1) SUCH ASSIGNMENTS SHALL BE IN ADDITION TO AND NOT DETRACT FROM THE BASIC
MISSION RESPONSIBILITIES OF THE AGENCY, AND
 (2) SUCH ASSIGNMENTS SHALL BE CARRIED OUT UNDER SUCH GUIDANCE AS THE
ADMINISTRATOR DEEMS APPROPRIATE.
ADMINISTRATIVE PROVISIONS //42 USC 5815.//

SEC. 105. (A) THE ADMINISTRATOR IS AUTHORIZED TO PRESCRIBE SUCH POLICIES, STANDARDS,
  CRITERIA, PROCEDURES, RULES, AND REGULATIONS AS HE MAY DEEM TO BE NECESSARY OR
  APPROPRIATE TO PERFORM FUNCTIONS NOW OR HEREAFTER VESTED IN HIM.

 (B) THE ADMINISTRATOR SHALL ENGAGE IN SUCH POLICY PLANNING, AND PERFORM
SUCH PROGRAM EVALUATION ANALYSES AND OTHER STUDIES, AS MAY BE NECESSARY TO
PROMOTE THE EFFICIENT AND COORDINATED ADMINISTRATION OF THE ADMINISTRATION AND
PROPERLY ASSESS PROGRESS TOWARD THE ACHIEVEMENT OF ITS MISSIONS.
 (C) EXCEPT AS OTHERWISE EXPRESSLY PROVIDED BY LAW, THE ADMINISTRATOR MAY
DELEGATE ANY OF HIS FUNCTIONS TO SUCH OFFICERS AND EMPLOYEES OF THE
ADMINISTRATION AS HE MAY DESIGNATE, AND MAY AUTHORIZE SUCH SUCCESSIVE
REDELEGATIONS OF SUCH FUNCTIONS AS HE MAY DEEM TO BE NECESSARY OR APPROPRIATE.
 (D) EXCEPT AS PROVIDED IN SECTION 10I AND IN SECTION 104(D), THE ADMINISTRATOR MAY
ORGANIZE THE ADMINISTRATION AS HE MAY DEEM TO BE NECESSARY OR APPROPRIATE.
 (E) THE ADMINISTRATOR IS AUTHORIZED TO ESTABLISH, MAINTAIN, ALTER, OR DISCONTINUE
SUCH STATE, REGIONAL, DISTRICT, LOCAL, OR OTHER FIELD OFFICES AS HE MAY DEEM TO BE
NECESSARY OR APPROPRIATE TO PERFORM FUNCTIONS NOW OR HEREAFTER VESTED IN HIM.
 (F) THE ADMINISTRATOR SHALL CAUSE A SEAL OF OFFICE TO BE MADE FOR THE
ADMINISTRATION OF SUCH DEVICE AS HE SHALL APPROVE, AND JUDICIAL NOTICE SHALL BE
TAKEN OF SUCH SEAL.
 (G) THE ADMINISTRATOR IS AUTHORIZED TO ESTABLISH A WORKING CAPITAL FUND, TO
BE AVAILABLE WITHOUT FISCAL YEAR LIMITATION, FOR EXPENSES NECESSARY FOR THE
MAINTENANCE AND OPERATION OF SUCH COMMON ADMINISTRATIVE SERVICES AS HE SHALL
FIND TO BE DESIRABLE IN THE INTERESTS OF ECONOMY AND EFFICIENCY. THERE SHALL BE
TRANSFERRED TO THE FUND THE STOCKS OF SUPPLIES, EQUIPMENT, ASSETS OTHER THAN REAL
PROPERTY, LIABILITIES, AND UNPAID OBLIGATIONS RELATING TO THE SERVICES WHICH HE
DETERMINES WILL BE PERFORMED THROUGH THE FUND. APPROPRIATIONS TO THE FUND, IN
SUCH AMOUNTS AS MAY BE NECESSARY TO PROVIDE ADDITIONAL WORKING CAPITAL, ARE
AUTHORIZED. THE WORKI,NG CAPITAL FUND SHALL RECOVER, FROM THE APPROPRIATIONS
AND FUNDS FOR WHICH SERVICES ARE PERFORMED, EITHER IN ADVANCE OR BY WAY OF
REIMBURSEMENT, AMOUNTS WHICH WILL APPROXIMATE THE COSTS INCURRED, INCLUDING
THE ACRUAL OF ANNUAL LEAVE AND THE DEPRECIATION OF EQUIPMENT. THE FUND SHALL
ALSO BE CREDITED WITH RECEIPTS FROM THE SALE OR EXCHANGE OF ITS PROPERTY, AND
RECEIPTS IN PAYMENT FOR LOSS OR DAMAGE TO PROPERTY OWNED BY THE FUND.
 (H) EACH DEPARTMENT, AGENCY, AND INSTRUMENTALITY OF THE EXECUTIVE BRANCH OF THE
GOVERNMENT IS AUTHORIZED TO FURNISH TO THE ADMINISTRATOR, UPON HIS REQUEST, ANY
INFORMATION OR OTHER DATA WHICH THE ADMINISTRATOR DEEMS NECESSARY TO CARRY
OUT HIS DUTIES UNDER THIS TITLE.
 PERSONNEL AND SERVICES //42 USC 5816.//

SEC. 106. (A) THE ADMINISTRATOR IS AUTHORIZED TO SELECT, APPOINT, EMPLOY, AND FIX THE
  COMPENSATION OF SUCH OFFICERS AND EMPLOYEES, INCLUDING ATTORNEYS, PURSUANT
  TO SECTION 161 D. OF THE ATOMIC ENERGY ACT OF 1954, AS AMENDED (42 U.S.C. 2201(D)) AS




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                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   378ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 826
                                                                                 1718


 ARE NECESSARY TO PERFORM THE FUNCTIONS NOW OR HEREAFTER VESTED IN HIM AND TO
 PRESCRIBE THEIR FUNCTIONS.

 (B) THE ADMINISTRATOR IS AUTHORIZED TO OBTAIN SERVICES AS PROVIDED BY SECTION 3109
OF TITLE 5 OF THE UNITED STATES CODE.
 (C) THE ADMINISTRATOR IS AUTHORIZED TO PROVIDE FOR PARTICIPATION OF MILITARY
PERSONNEL IN THE PERFORMANCE OF HIS FUNCTIONS. MEMBERS OF THE ARMY, THE NAVY, THE
AIR FORCE, OR THE MARINE CORPS MAY BE DETAILED FOR SERVICE IN THE ADMINISTRATION
BY THE APPROPRIATE MILITARY SECREATARY, PURSUANT TO COOPERATIVE AGREEMENTS WITH
THE SECRETARY, FOR SERVICE IN THE ADMINISTRATION IN POSITIONS OTHER THAN A POSITION
THE OCCUPANT OF WHICH MUST BE APPROVED BY AND WITH THE ADVICE AND CONSENT OF THE
SENATE.
 (D) APPOINTMENT, DETAIL, OR ASSIGNMENT TO, ACCEPTANCE OF, AND SERVICE IN, ANY
APPROINTIVE OR OTHER POSITION IN THE ADMINISTRATION UNDER THIS SECTION SHALL IN
NO WAY AFFECT THE STATUS, OFFICE, RANK, OR GRADE WHICH SUCH OFFICERS OR ENLISTED
MEN MAY OCCUPY OR HOLD, OR ANY EMOLUMENT, PERQUISITE, RIGHT,PRIVILEGE, OR BENEFIT
INCIDENT TO OR ARISING OUT OF ANY SUCH STATUS, OFFICE, RANK, OR GRADE. A MEMBER SO
APPOINTED, DETAILED, OR ASSIGNED SHALL NOT BE SUBJECT TO DIRECTION OR CONTROL BY HIS
ARMED FORCE, OR ANY OFFICER THEREOF, DIRECTLY OR INDIRECTLY, WITH RESPECT TO THE
RESPONSIBILITIES EXERCISED IN THE POSITION TO WHICH APPOINTED, DETAILED, OR ASSIGNED.
 (E) THE ADMINISTRATOR IS AUTHORIZED TO PAY TRANSPORTATION EXPENSES, AND PER DIEM
IN LIEU OF SUBSISTENCE EXPENSES, IN ACCORDANCE WITH CHAPTER 57 OF TITLE 5 OF THE
UNITED STATES CODE FOR TRAVEL BETWEEN PLACES OF RECRUITMENT AND DUTY, AND WHILE
AT PLACES OF DUTY, OF PERSONS APPOINTED FOR EMERGENCY, TEMPORARY, OR SEASONAL
SERVICES IN THE FIELD SERVICE OF THE ADMINISTRATION.
 (F) THE ADMINISTRATOR IS AUTHORIZED TO UTILIZE, ON A REIMBURSABLE BASIS, THE SERVICES
OF ANY PERSONNEL MADE AVAILABLE BY ANY DEPARTMENT, AGENCY, OR INSTRUMENTALITY,
INCLUDING ANY INDEPENDENT AGENCY OF THE GOVERNMENT.
 (G) THE ADMINISTRATOR IS AUTHORIZED TO ESTABLISH ADVISORY BOARDS, IN ACCORDANCE
WITH THE PROVISIONS OF THE FEDERAL ADVISORY COMMITTEE ACT (PUBLIC LAW 92—463), //5
USC APP. I.// TO ADVISE WITH AND MAKE RECOMMENDATIONS TO THE ADMINISTRATOR ON
LEGISLATION, POLICIES, ADMINISTRATION, RESEARCH, AND OTHER MATTERS.
 (H) THE ADMINISTRATOR IS AUTHORIZED TO EMPLOY PERSONS WHO ARE NOT CITIZENS OF THE
UNITED STATES IN EXPERT, SCIENTIFIC, TECHNICAL, OR PROFESSIONAL CAPACITIES WHENEVER
HE DEEMS IT IN THE PUBLIC INTEREST.
 POWERS //42 USC 5817.//

SEC. 107. (A) THE ADMINISTRATOR IS AUTHORIZED TO EXERCISE HIS POWERS IN SUCH MANNER
  AS TO INSURE THE CONTINUED CONDUCT OF RESEARCH AND DEVELOPMENT AND RELATED
  ACTIVITIES IN AREAS OR FIELDS DEEMED BY THE ADMINISTRATOR TO BE PERTINENT TO
  THE ACQUISITION OF AN EXPANDED FUND OF SCIENTIFIC, TECHNICAL, AND PRACTICAL
  KNOWLEDGE IN ENERGY MATTERS. TO THIS END, THE ADMINISTRATOR IS AUTHORIZED
  TO MAKE ARRANGEMENTS (INCLUDING CONTRACTS, AGREEMENTS, AND LOANS) FOR
  THE CONDUCT OF RESEARCH AND DEVELOPMENT ACTIVITIES WITH PRIVATE OR PUBLIC
  INSTITUTIONS OR PERSONS, INCLUDING PARTICIPATION IN JOINT OR COOPERATIVE PROJECTS
  OF A RESEARCH, DEVELOPMENTAL, OR EXPERIMENTAL NATURE; TO MAKE PAYMENTS (IN
  LUMP SUM OR INSTALLMENTS, AND IN ADVANCE OR BY WAY OF REIMBURSEMENT, WITH
  NECESSARY ADJUSTMENTS ON ACCOUNT OF OVERPAYMENTS OR UNDER PAYMENTS); AND
  GENERALLY TO TAKE SUCH STEPS AS HE MAY DEEM NECESSARY OR APPROPRAITE TO
  PERFORM FUNCTIONS NOW OR HEREAFTER VESTED IN HIM. SUCH FUNCTIONS OF THE


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                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
    Case:(HR
PL 93–438 4:17-cv-00024-CDP        Doc. 11,
             11510), PL 93–438, OCTOBER #: 1974,
                                            48-688 Filed:   389ofof903
                                                          02/06/17
                                                        Page:
                                                   Stat 1233
                                                                       PageID #:
                                                                    23 PageID #: 827
                                                                                 1719


 ADMINISTRATOR UNDER THIS ACT AS ARE APPLICABLE TO THE NUCLEAR ACTIVITIES
 TRANSFERRED PURSUANT TO THIS TITLE SHALL BE SUBJECT TO THE PROVISIONS OF THE
 ATOMIC ENERGY ACT OF 1954, AS AMENDED, //42 USC 2011 NOTE.// AND TO OTHER AUTHORITY
 APPLICABLE TO SUCH NUCLEAR ACTIVITIES. THE NONNUCLEAR RESPONSIBILITIES AND
 FUNCTIONS OF THE ADMINISTRATOR REFERRED TO IN SECTIONS 103 AND 104 OF THIS ACT
 SHALL BE CARRIED OUT PURSUANT TO THE PROVISIONS OF THIS ACT, APPLICABLE AUTHORITY
 EXISTING IMMEDIATELY BEFORE THE EFFECTIVE DATE OF THIS ACT, OR IN ACCORDANCE WITH
 THE PROVISIONS OF CHAPTER 4 OF THE ATOMIC ENERGY ACT OF 1954, AS AMENDED (42 U.S.C.
 2051—2053).

 (B) EXCEPT FOR PUBLIC BUILDINGS AS DEFINED IN THE PUBLIC BUILDINGS ACT OF 1959,
AS AMENDED, //40 USC 601 NOTE.// AND WITH RESPECT TO LEASED SPACE SUBJECT TO
THE PROVISIONS OF REORGANIZATION PLAN NUMBERED 18 OF 1950, //5 USC APP. II.// THE
ADMINISTRATOR IS AUTHORIZED TO ACQUIRE (BY PURCHASE, LEASE, CONDEMNATION, OR
OTHERWISE), CONSTRUCT, IMPROVE, REPAIR, OPERATE, AND MAINTAIN FACILITIES AND REAL
PROPERTY AS THE ADMINISTRATOR DEEMS TO BE NECESSARY IN AND OUTSIDE OF THE
DISTRICT OF COLUMBIA. SUCH AUTHORITY SHALL APPLY ONLY TO FACILITIES REQUIRED FOR
THE MAINTENANCE AND OPERATION OF LABORATORIES, RESEARCH AND TESTING SITES AND
FACILITIES, QUARTERS, AND RELATED ACCOMMODATIONS FOR EMPLOYEES AND DEPENDENTS
OF EMPLOYEES OF THE ADMINISTRATION, AND SUCH OTHER SPECIAL–PURPOSE REAL PROPERTY
AS THE ADMINISTRATOR DEEMS TO BE NECESSARY IN AND OUTSIDE THE DISTRICT OF
COLUMBIA. TITLE TO ANY PROPERTY OR INTEREST THEREIN, REAL, PERSONAL, OR MIXED,
ACQUIRED PURSUANT TO THIS SECTION, SHALL BE IN THE UNITED STATES.
 (C)(1) THE ADMINISTRATOR IS AUTHORIZED TO PROVIDE, CONSTRUCT, OR MAINTAIN, AS
NECESSARY AND WHEN NOT OTHERWISE AVAILABLE, THE FOLLOWING FOR EMPLOYEES AND
THEIR DEPENDENTS STATIONED AT REMOTE LOCATIONS:
 (A) EMERGENCY MEDICAL SERVICES AND SUPPLIES.
 (B) FOOD AND OTHER SUBSISTENCE SUPPLIES.
 (C) MESSING FACILITIES.
 (D) AUDIOVISUAL EQUIPMENT, ACCESSORIES, AND SUPPLIES FOR RECREATION AND TRAINING.
 (E) REIMBURSEMENT FOR FOOD, CLOTHING, MEDICINE, AND OTHER SUPPLIES FURNISHED BY
SUCH EMPLOYEES IN EMERGENCIES FOR THE TEMPORARY RELIEF OF DISTRESSED PERSONS.
 (F) LIVING AND WORKING QUARTERS AND FACILITIES.
 (G) TRANSPORTATION FOR SCHOOL–AGE DEPENDENTS OF EMPLOYEES TO THE NEAREST
APPROPRIATE EDUCATIONAL FACILITIES.
  (2) THE FURNISHING OF MEDICAL TREATMENT UNDER SUBPARAGRAPH (A) OF PARAGRAPH
 (1) AND THE FURNISHING OF SERVICES AND SUPPLIES UNDER PARAGRAPHS (B) AND (C) OF
 PARAGRAPH (1) SHALL BE AT PRICES REFLECTING REASONABLE VALUE AS DETERMINED BY THE
 ADMINISTRATOR.
  (3) PROCEEDS FROM REIMBURSEMENTS UNDER THIS SECTION SHALL BE DEPOSITED IN THE
 TREASURY AND MAY BE WITHDRAWN BY THE ADMINISTRATOR TO PAY DIRECTLY THE COST
 OF SUCH WORK OR SERVICES, TO REPAY OR MAKE ADVANCES TO APPROPRIATIONS OR FUNDS
 WHICH DO OR WILL BEAR ALL OR A PART OF SUCH COST, OR TO REFUND EXCESS SUMS WHEN
 NECESSSARY; EXCEPT THAT SUCH PAYMENTS MAY BE CREDITED TO A SERVICE OR WORKING
 CAPITAL FUND OTHER WISE ESTABLISHED BY LAW, AND USED UNDER THE LAW GOVERNING
 SUCH FUNDS, IF THE FUND IS AVAILABLE FOR USE BY THE ADMINISTRATOR FOR PERFORMING
 THE WORD OR SERVICES FOR WHICH PAYMENT IS RECEIVED.
 (D) THE ADMINISTRATOR IS AUTHORIZED TO ACQUIRE ANY OF THE FOLLOWING DESCRIBED
RIGHTS IF THE PROPERTY ACQUIRED THEREBY IS FOR USE IN, OR IS USEFUL TO, THE
PERFORMANCE OF FUNCTIONS VESTED IN HIM:


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  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:3910
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1720
                                                                                828


  (1) COPYRIGHTS, PATENTS, AND APPLICATIONS FOR PATENTS, DESIGNS, PROCESSES,
 SPECIFICATIONS, AND DATA.
  (2) LICENSES UNDER COPYRIGHTS, PATENTS, AND APPLICATIONS FOR PATENTS.
  (3) RELEASES, BEFORE SUIT IS BROUGHT, FOR PAST INFRINGEMENT OF PATENTS OR
 COPYRIGHTS.
 (E) SUBJECT TO THE PROVISIONS OF CHAPTER 12 OF THE ATOMIC ENERGY ACT OF 1954, AS
AMENDED (42 U.S.C. 2161—2166), AND OTHER APPLICABLE LAW, THE ADMINISTRATOR SHALL
DISSEMINATE SCIENTIFIC, TECHNICAL, AND PRACTICAL INFORMATION ACQUIRED PURSUANT
TO THIS TITLE THROUGH INFORMATION PROGRAMS AND OTHER APPROPRIATE MEANS,
AND SHALL ENCOURAGE THE DISSEMINATION OF SCIENTIFIC, TECHNICAL, AND PRACTICAL
INFORMATION RELATING TO ENERGY SO AS TO ENLARGE THE FUND OF SUCH INFORMATION
AND TO PROVIDE THAT FREE INTERCHANGE OF IDIAS AND CRITICISM WHICH IS ESSENTIAL TO
SCIENTIFIC AND INDUSTRIAL PROGRESS AND PUBLIC UNDERSTANDING.
 (F) THE ADMINISTRATOR IS AUTHORIZED TO ACCEPT, HOLD, ADMINISTER, AND UTILIZE
GIFTS, AND BEQUESTS OF PROPERTY, BOTH REAL AND PERSONAL, FOR THE PURPOSE OF
AIDING OR FACILITATING THE WORK OF THE ADMINISTRATION. GIFTS AND BEQUESTS OF
MONEY AND PROCEEDS FROM SALES OF OTHER PROPERTY RECEIVED AS GIFTS OR BEQUESTS
SHALL BE DEPOSITED IN THE TREASURY AND SHALL BE DISBURSED UPON THE ORDER OF
THE ADMINISTRATOR. FOR THE PURPOSES OF FEDERAL INCOME, ESTATE, AND GIFT TAXES,
PROPERTY ACCEPTED UNDER THIS SECTION SHALL BE CONSIDERED AS A GIFT OR BEQUEST TO
THE UNITED STATES.
 INTERIM COORDINATION //42 USC 5818.//

SEC. 108. (A) THERE IS ESTABLISHED IN THE EXECUTIVE OFFICE OF THE PRESIDENT AN
  ENERGY RESOURCES COUNCIL. THE COUNCIL SHALL BE COMPOSED OF THE SECRETARY
  OF THE INTERIOR, THE ADMINISTRATOR OF THE FEDERAL ENERGY ADMINISTRATION, THE
  ADMINISTRATOR OF THE ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION, THE
  SECRETARY OF STATE, THE DIRECTOR, OFFICE OF MANAGEMENT AND BUDGET, AND SUCH
  OTHER OFFICIALS OF THE FEDERAL GOVERNMENT AS THE PRESIDENT MAY DESIGNATE.
  THE PRESIDENT SHALL DESIGNATE ONE OF THE MEMBERS OF THE COUNCIL TO SERVE AS
  CHAIRMAN.

 (B) IT SHALL BE THE DUTY AND FUNCTION OF THE COUNCIL TO—,
  (1) INSURE COMMUNICATION AND COORDINATION AMONG THE AGENCIES OF THE
 FEDERAL GOVERNMENT WHICH HAVE RESPONSIBILITIES FOR THE DEVELOPMENTT AND
 IMPLEMENTATION OF ENERGY POLICY OR FOR THE MANAGEMENT OF ENERGY RESOURCES;
  (2) MAKE RECOMMENDATIONS TO THE PRESIDENT AND TO THE CONGRESS FOR MEASURES TO
 IMPROVE THE IMPLEMENTATION OF FEDERAL ENERGY POLICIES OR THE MANAGEMENT OF
 ENERGY RESOURCES WITH PARTICULAR EMPHASIS UPON POLICIES AND ACTIVITIES INVOLVING
 TWO OR MORE DEPARTMENTS OR INDEPENDENT AGENCIES; AND
  (3) ADVISE THE PRESIDENT IN THE PREPARATION OF THE REORGANIZATION
 RECOMMENDATIONS REQUIRED BY SECTION 110 OF THIS ACT.
 (C) THE CHAIRMAN OF THE COUNCIL MAY NOT REFUSE TO TESTIFY BEFORE THE CONGRESS
OR ANY DULY AUTHORIZED COMMITTEE THEREOF REGARDING THE DUTIES OF THE COUNCIL
OR OTHE MATTERS CONCERNING INTERAGENCY COORDINATION OF ENERGY POLICY AND
ACTIVITIES.
 (D) THIS SECTION SHALL BE EFFECTIVE NO LATER THAN SIXTY DAYS AFTER THE ENACTMENT
OF THIS ACT OR SUCH EARLIER DATE AS THE PRESIDENT SHALL PRESCRIBE AND PUBLISH
IN THE FEDERAL REGISTER, AND SHALL TERMINATE UPON ENACTMENT OF A PERMANENT




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                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4011
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1721
                                                                                829


DEPARTMENT RESPONSIBLE FOR ENERGY AND NATURAL RESOURCES OR TWO YEARS AFTER
SUCH EFFECTIVE DATE, WHICHEVER SHALL OCCUR FIRST.
 FUTURE REORGANIZATION //42 USC 5819.//

SEC. 109. (A) THE PRESIDENT SHALL TRANSMIT TO THE CONGRESS AS PROMPTLY AS POSSIBLE,
  BUT NOT LATER THAN JUNE 30, 1975, SUCH ADDITIONAL RECOMMENDATIONS AS HE DEEMS
  ADVISABLE FOR ORGANIZATION OF ENERGY AND RELATED FUNCTIONS IN THE FEDERAL
  GOVERNMENT, INCLUDING, BUT NOT LIMITED TO, WHETHER OR NOT THERE SHALL BE
  ESTABLISHED (1) A DEPARTMENT OF ENERGY AND NATURAL RESOURCES, (2) AN ENERGY
  POLICY COUNCIL, AND (3) A CONSOLIDATION IN WHOLE OR IN PART OF REGULATORY
  FUNCTIONS CONCERNING ENERGY.

 (B) THIS REPORT SHALL REPLACE AND SERVE THE PURPPOSES OF THE REPORT REQUIRED BY
SECTION 15(A) (4) OF THE FEDERAL ENERGY ADMINISTRATION ACT. //ANTE, P. 109.//
 COORDINATION WITH ENVIRONMENTAL EFFORTS //42 USC 5820.//

SEC. 110. THE ADMINISTRATOR IS AUTHORIZED TO ESTABLISH PROGRAMS TO UTILIZE
  RESEARCH AND DEVELOPMENT PERFORMED BY OTHER FEDERAL AGENCIES TO MINIMIZE
  THE ADVERSE ENVIRONMENTAL PROTECTION AGENCY, PROJECTS. THE ADMINISTRATOR OF
  THE ENVIRONMENTAL EFFECTS OF ENERGY AS WELL AS OTHER AFFECTED AGENCIES AND
  DEPARTMENTS, SHALL COOPERATE FULLY WITH THE ADMINISTRATOR IN ESTABLISHING
  AND MAINTAINING SUCH PROGRAMS, AND IN ESTABLISHING APPROPRIATE INTERAGENCY
  AGREEMENTS TO DEVELOP COOPERATIVE PROGRAMS AND TO AVOID UNNECESSARY
  DUPLICATION.

                  TITLE II—NUCLEAR REGULATORY COMMISSION
ESTABLISHMENT AND TRANSFERS //42 USC 5841.//

SEC. 201. (A) THERE IS ESTABLISHED AN INDEPENDENT REGULATORY COMMISSION TO BE
  KNOWN AS THE NUCLEAR REGULATORY COMMISSION WHICH SHALL BE COMPOSED OF FIVE
  MEMBERS, EACH OF WHOM SHALL BE A CITIZEN OF THE UNITED STATES. THE PRESIDENT
  SHALL DESIGNATE ONE MEMBER OF THE COMMISSION AS CHAIRMAN THEREOF TO SERVE
  AS SUCH DURING THE PLEASURE OF THE PRESIDENT. THE CHAIRMAN MAY FROM TIME TO
  TIME DESIGNATE ANY OTHER MEMBER OF THE COMMISSION AS ACTING CHAIRMAN TO ACT
  IN THE PLACE AND STEAD OF THE CHAIRMAN DURING HIS ABSENCE. THE CHAIRMAN (OR THE
  ACTING CHAIRMAN IN THE ABSENCE OF THE CHAIRMAN) SHALL PRESIDE AT ALL MEETINGS
  OF THE COMMISSION AND A QUORUM FOR THE TRANSACTION OF BUSINESS SHALL CONSIST OF
  AT LEAST THREE MEMBERS PRESENT. EACH MEMBER OF THE COMMISSION, INCLUDING THE
  CHAIRMAN, SHALL HAVE EQUAL RESPONSIBILITY AND AUTHORITY IN ALL DECISIONS AND
  ACTIONS OF THE COMMISSION, SHALL HAVE FULL ACCESS TO ALL INFORMATION RELATING
  TO THE PERFORMANCE OF HIS DUTIES OR RESPONSIBILITIES, AND SHALL HAVE ONE VOTE.
  ACTION OF THE COMMISSION SHALL BE DETERMINED BY A MAJORITY VOTE OF THE MEMBERS
  PRESENT. THE CHAIRMAN (OR ACTING CHAIRMAN IN THE ABSENCE OF THE CHAIRMAN)
  SHALL BE THE OFFICIAL SPOKESMAN OF THE COMMISSION IN ITS RELATIONS WITH THE
  CONGRESS, GOVERNMENT AGENCIES, PERSONS, OR THE PUBLIC, AND, ON BEHALF OF THE
  COMMISSION, SHALL SEE TO THE FAITHFUL EXECUTION OF THE POLICIES AND DECISIONS OF
  THE COMMISSION, AND SHALL REPORT THEREON TO THE COMMISSION FROM TIME TO TIME OR
  AS THE COMMISSION MAY DIRECT. THE COMMISSION SHALL HAVE AN OFFICIAL SEAL WHICH
  SHALL BE JUDICIALLY NOTICED.




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                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4112
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1722
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 (B) (1) MEMBERS OF THE COMMISSION SHALL BE APPOINTED BY THE PRESIDENT, BY AND WITH
THE ADVICE AND CONSENT OF THE SENATE.
  (2) APPOINTMENTS OF MEMBERS PURSUANT TO THIS SUBSECTION SHALL BE MADE IN SUCH A
 MANNER THAT NOT MORE THAN THREE MEMBERS OF THE COMMISSION SHALL BE MEMBERS OF
 THE SAME POLITICAL PARTY.
 (C) EACH MEMBER SHALL SERVE FOR A TERM OF FIVE YEARS, EACH SUCH TERM TO COMMENCE
ON JULY 1, EXCEPT THAT OF THE FIVE MEMBERS FIRST APPOINTED TO THE COMMISSION, ONE
SHALL SERVE FOR ONE YEAR, ONE FOR TWO YEARS, ONE FOR THREE YEARS, ONE FOR FOUR
YEARS, AND ONE FOR FIVE YEARS, TO BE DESIGNATED BY THE PRESIDENT AT THE TIME OF
APPOINTMENT.
 (D) SUCH INITIAL APPOINTMENTS SHALL BE SUBMITTED TO THE SENATE WITHIN SIXTY DAYS
OF THE SIGNING OF THIS ACT. ANY INDIVIDUAL WHO IS SERVING AS A MEMBER OF THE
ATOMIC ENERGY COMMISSION AT THE TIME OF THE ENACTMENT OF THIS ACT, AND WHO MAY
BE APPOINTED BY THE PRESIDENT TO THE COMMISSION, SHALL BE APPOINTED FOR A TERM
DESIGNATED BY THE PRESIDENT, BUT WHICH TERM SHALL TERMINATE NOT LATER THAN THE
END OF HIS PRESENT TERM AS A MEMBER OF THE ATOMIC ENERGY COMMISSION, WITHOUT
REGARD TO THE REQUIREMENTS OF SUBSECTION (B) (2) OF THIS SECTION. ANY SUBSEQUENT
APPOINTMENT OF SUCH INDIVIDUALS SHALL BE SUBJECT TO THE PROVISIONS OF THIS SECTION.
 (E) ANY MEMBER OF THE COMMISSION MAY BE REMOVED BY THE PRESIDENT FOR
INEFFICIENCY, NEGLECT OF DUTY, OR MALFEASANCE IN OFFICE. NO MEMBER OF THE
COMMISSION SHALL ENGAGE IN ANY BUSINESS, VOCATION, OR EMPLOYMENT OTHER THAN
THAT OF SERVING AS A MEMBER OF THE COMMISSION.
 (F) THERE ARE HEREBY TRANSFERRED TO THE COMMISSION ALL THE LICENSING AND
RELATED REGULATORY FUNCTIONS OF THE ATOMIC ENERGY COMMISSION, THE CHAIRMAN
AND MEMBERS OF THE COMMISSION, THE GENERAL COUNSEL, AND OTHER OFFICERS
AND COMPONENTS OF THE COMMISSION—WHICH FUNCTIONS OFFICERS, COMPONENTS, AND
PERSONNEL ARE EXCEPTED FROM THE TRANSFER TO THE ADMINISTRATOR BY SECTION 104(C)
OF THIS ACT.
 (G) IN ADDITION TO OTHER FUNCTIONS AND PERSONNEL TRANSFERRED TO THE COMMISSION,
THERE ARE ALSO TRANSFERRED TO THE COMMISSION—,
  (1) THE FUNCTIONS OF THE ATOMIC SAFETY AND LICENSING BOARD PANEL AND THE ATOMIC
 SAFETY AND LICENSING APPEAL BOARD;
  (2) SUCH PERSONNEL AS THE DIRECTOR OF THE OFFICE OF MANAGEMENT AND BUDGET
 DETERMINES ARE NECESSARY FOR EXERCISING RESPONSIBILITIES UNDER SECTION 205,
 RELATING TO, RESEARCH, FOR THE PURPOSE OF CONFIRMATORY ASSESSMENT RELATING TO
 LICENSING AND OTHER REGULATION UNDER THE PROVISIONS OF THE ATOMIC ENERGY ACT OF
 1954, AS AMENDED, //42 USC 2011 NOTE.// AND OF THIS ACT.
 LICENSING AND RELATED REGULATORY FUNCTIONS RESPECTING SELECTED ADMINISTRATION
FACILITIES //42 USC 5842.//

SEC. 202. NOTWITHSTANDING THE EXCLUSIONS PROVIDED FOR IN SECTION 110 A. OR ANY OTHER
  PROVISIONS OF THE TOMIC ENERGY ACT OF 1954, AS AMENDED (42 U.S.C. 2140(A)), THE NUCLEAR
  REGULATORY COMMISSION SHALL, EXCEPT AS OTHERWISE SPECIFICALLY PROVIDED BY
  SECTION 110 B. OF THE ATOMIC ENERGY ACT OF 1954, AS AMENDED (42 U.S.C. 2140(B)), OR OTHER
  LAW, HAVE LICENSING AND RELATED REGULATORY AUTHORITY PURSUANT TO CHAPTERS 6,
  7, 8, AND 1/ OF THE ATOMIC ENERGY ACT OF 1954, AS AMENDED, //42. USC 2071—2112, 2131—2140.//
  AS TO THE FOLLOWING FACILITIES OF THE ADMINISTRATION:

 (1) DEMONSTRATION LIQUID METAL FAST BREEDER REACTORS WHEN OPERATED AS PART OF
THE POWER GENERATION FACILITIES OF AN ELECTRIC UTILITY SYSTEM, OR WHEN OPERATED


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                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4213
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1723
                                                                                831


IN ANY OTHER MANNER FOR THE PURPOSE OF DEMONSTRATING THE SUITABILITY FOR
COMMERCIAL APPLICATION OF SUCH A REACTOR.
 (2) OTHER DEMONSTRATION NUCLEAR REACTORS—EXCEPT THOSE IN EXISTENCE ON THE
EFFECTIVE DATE OF THIS ACT—WHEN OPERATED AS PART OF THE POWER GENERATION
FACILITIES OF AN ELECTRIC UTILITY SYSTEM, OR WHEN OPERATED IN ANY OTHER MANNER FOR
THE PURPOSE OF DEMONSTRATING THE SUITABLILITY FOR COMMERCIAL APPLICATION OF SUCH
A REACTOR.
 (3) FACILITIES USED PRIMARILY FOR THE RECEIPT AND STORAGE OF HIGH–LEVEL RADIOACTIVE
WASTES RESULTING FROM ACTIVITIES LICENSED UNDER SUCH ACT.
 (4) RETRIEVABLE SURFACE STORAGE FACILITES AND OTHER FACILITIES AUTHORIZED FOR THE
EXPRESS PURPOSE OF SUBSEQUENT LONG–TERM STORAGE OF HIGH–LEVEL RADIOACTIVE WASTE
GENERATED BY THE ADMINISTRATION, WHICH ARE NOT USED FOR, OR ARE PART OF, RESEARCH
AND DEVELOPMENT ACTIVITIES.
 OFFICE OF NUCLEAR REACTOR REGULATION //42 USC 5843.//

SEC. 203. (A) THERE IS HEREBY ESTABLISHED IN THE COMMISSION AN OFFICE OF NUCLEAR
  REACTOR REGULATION UNDER THE DIRECTION OF A DIRECTOR OF NICLEAR REACTOR
  REGULATION, WHO SHALL BE APPOINTED BY THE COMMISSION, WHO MAY REPORT DIRECTLY
  TO THE COMMISSION, AS PROVIDED IN SECTION 209, AND WHO SHALL SERVE AT THE PLEASURE
  OF THE BE REMOVABLE BY THE COMMISSION.

 (B) SUBJECT TO THE PROVISIONS OF THIS ACT, THE DIRECTOR OR NUCLEAR REACTOR
REGULATION SHAL PERFORM SUCH FUNCTIONS AS THE COMMISSION SHALL DELEGATE
INCLUDING:
  (1) PRINCIPAL LICENSING AND REGULATION INVOLVING ALL FACILITIES, AND MATERIALS
 LICENSED UNDER THE ATOMIC ENERGY ACT OF 1954, AS AMENDED, //42 USC 2011 NOTE.//
 ASSOCIATED WITH THE CONSTRUCTION AND OPERATION OF NUCLEAR REACTORS LICENSED
 UNDER THE ATOMIC ENERGY ACT OF 1954, AS AMENDED;
  (2) REVIEW THE SAFETY AND SAFEGUARDS OF ALL SUCH FACILITIES, MATERIALS, AND
 ACTIVITIES, AND SUCH REVIEW FUNCTIONS SHALL INCLUDE, BUT NOT BE LIMITED TO—,
 (A) MONITORING, TESTING AND RECOMMENDING UPGRADING OF SYSTEMS DESIGNED TO
PREVENT SUBSTANTIAL HEALTH OR SAFETY HAZARDS; AND
 (B) EVALUATING METHODS OF TRANSPORTING SPECIAL NUCLEAR AND OTHER NUCLEAR
MATERIALS AND OF TRANSPORTING AND STORING HIGH–LEVEL RADIOACTIVE WASTES TO
PREVENT RADIATION HAZARDS TO EMPLOYEES AND THE GENERAL PUBLIC.
  (3) RECOMMEND RESEARCH NECESSARY FOR THE DISCHARGE OF THE FUNCTIONS OF THE
 COMMISSION.
 (C) NOTHING IN THIS SECTION SHALL BE CONSTRUED TO LIMIT IN ANY WAY THE FUNCTIONS
OF THE ADMINISTRATION RELATING TO THE SAFE OPERATION OF ALL FACILITIES RESULTING
FROM ALL ACTIVITIES WITHIN THE JURISDICTION OF THE ADMINISTRATION PURSUANT TO THIS
ACT.
 OFFICE OF NUCLEAR MATERIAL SAFETY AND SAFEGUARDS //42 USC 5844.//

SEC. 204. (A) THERE IS HEREBY ESTABLISHED IN THE COMMISSION AN OFFICE OF NUCLEAR
  MATERIAL SAFETY AND SAFEGUARDS UNDER THE DIRECTION OF A DIRECTOR OF NUCLEAR
  MATERIAL SAFETY AND SAFEGUARDS, WHO SHALL BE APPOINTED BY THE COMMISSION, WHO
  MAY REPORT DIRECTLY TO THE COMMISSION AS PROVIDED IN SECTION 209, AND WHO SHALL
  SERVE AT THE PLEASURE OF AND BE REMOVABLE BY THE COMMISSION.




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                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4314
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1724
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 (B) SUBJECT TO THE PROVISIONS OF THIS ACT, THE DIRECTOR OF NICLEAR MATERIAL SAFETY
AND SAFEGUARDS SHALL PERFORM SUCH FUNCTIONS AS THE COMMISSION SHALL DELEGATE
INCLUDING:
  (1) PRINCIPAL LICENSING AND REGULATION INVOLVING ALL FACILITES AND MATERIALS,
 LICENSED UNDER THE ATOMIC ENERGY ACT OF 1954, AS AMENDED, //42 USC 2011 NOTE.//
 ASSOCIATED WITH THE PROCESSING, TRANSPORT, AND HANDLING OF NUCLEAR MATERIALS,
 INCLUDING THE PROVISION AND MAINTENANCE OF SAFEGUARDS AGAINST THREATS, THEFTS,
 AND SABOTAGE OF SUCH LICENSED FACILITIES, AND MATERIALS.
  (2) REVIEW SAFETY AND SAFEGUARDS OF ALL SUCH FACILITIES AND MATERIALS LICENSED
 UNDER THA ATOMIC ENERGY ACT OF 1954, AS AMENDED, AND SUCH REVIEW SHALL INCLUDE,
 BUT NOT BE LIMITED TO—,
 (A) MONITORING, TESTING, AND RECOMMENDING UPGRADING OF INTERNAL ACCOUNTING
SYSTEMS FOR SPECIAL NUCLEAR AND OTHER NUCLEAR MATERIALS LICENSED UNDER THE
ATOMIC ENERGY ACT OF 1954, AS AMENDED;
 (B) DEVELOPING, IN CONSULTATION AND COORDINATION WITH THE ADMINISTRATION,
CONTINGENCY PLANS FOR DEALING WITH THREATS, THEFTS, AND SABOTAGE RELATING TO
SPECIAL NUCLEAR MATERIALS, HIGH–LEVEL RADIOACTIVE WASTES AND NUCLEAR FACILITIES
RESULTING FROM ALL ACTIVITIES LICENSED UNDER THE ATOMIC ENERGY ACT OF 1954, AS
AMENDED;
 (C) ASSESSING THE NEED FOR, AND THE FEASIBILITY OF, ESTABLISHING A SECURITY AGENCY
WITHING THE OFFICE FOR THE PERFORMANCE OF THE SAFEGUARDS FUNCTIONS, AND A REPORT
WITH RECOMMENDATIONS ON THIS MATTER SHALL BE PREPARED WITHING ONE YEAR OF
THE EFFECTIVE DATE OF THIS ACT AND PROMPTLY TRANSMITTED TO THE CONGRESS BY THE
COMMISSION.
  (3) RECOMMENDING RESEARCH TO ENABLE THE COMMISSION TO MORE EFFECTIVELY
 PERFORM ITS FUNCTIONS.
 (C) NOTHING IN THIS SECTION SHALL BE CONSTRUED TO LIMIT IN ANY WAY THE
FUNCTIONS OF THE ADMINISTRATION RELATING TO THE SAFEGUARDING OF SPECIAL NUCLEAR
MATERIALS, HIGH–LEVEL RADIOACTIVE WASTES AND NUCLEAR FACILITIES RESULTING FROM
ALL ACTIVITIES WITHIN THE JURISDICTION OF THE ADMINISTRATION PURSUANT TO THIS ACT.
                      OFFICE OF NUCLEAR REGULATORY RESEARCH

SEC. 205. (A) THERE IS HEREBY ESTABLISHED IN THE COMMISSION AN OFFICE OF NUCLEAR
  REGULATORY RESEARCH UNDER THE DIRECTION OF A DIRECTOR OF NUCLEAR REGULATORY
  RESEARCH, WHO SHALLL BE APPOINTED BY THE COMMISSION, WHO MAY REPORT DIRECTLY
  TO THE COMMISSION AS PROVIDED IN SECTION 209, AND WHO SHALL SERVE AT THE PLEASURE
  OF AND BE REMOVABLE BY THE COMMISSION.

 (B) SUBJECT TO THE PROVISIONS OF THIS ACT, THE DIRECTOR OF NUCLEAR REGULATORY
RESEARCH SHALL PERFORM SUCH FUNCTIONS AS THE COMMISSION SHALL DELEGATE
INCLUDING:
  (1) DEVELOPING RECOMMENDATIONS FOR RESEARCH DEEMED NECESSARY FOR
 PERFORMANCE BY THE COMMISSION OF ITS LICENSING AND RELATED REGULATORY
 FUNCTIONS.
  (2) ENGAGING IN OR CONTRACTING FOR RESEARCH WHICH THE COMMISSION DEEMS
 NECESSARY FOR THE PERFORMANCE OF ITS LICENSING AND RELATED REGULATORY
 FUNCTIONS.
 (C) THE ADMINISTRATOR OF THE ADMINISTRATION AND THE HEAD OF EVERY OTHER FEDERAL
AGENCY SHALL—,




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                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4415
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1725
                                                                                833


  (1) COOPERATE WITH RESPECT TO THE ESTABLISHMENT OF PRIORITIES FOR THE FURNISHING
 OF SUCH RESEARCH SERVICES AS REQUESTED BY THE COMMISSION FOR THE CONDUCT OF ITS
 FUNCTIONS;
  (2) FURNISH TO THE COMMISSION, ON A REIMBURSABLE BASIS, THROUGH THEIR OWN
 FACILITIES OR BY CONTRACT OR OTHER ARRANGEMENT, SUCH RESEARCH SERVICES AS THE
 COMMISSION DEEMS NECESSARY AND REQUESTS FOR THE PERFORMANCE OF ITS FUNCTIONS;
 AND
  (3) CONSULT AND COOPERATE WITH THE COMMISSION ON RESEARCH AND DEVELOPMENT
 MATTERS OF MUTUAL INTEREST AND PROVIDE SUCH INFORMATION AND PHYSICAL ACCESS TO
 ITS FACILITIES AS WILL ASSIST THE COMMISSION IN ACQUIRING THE EXPERTISE NECESSARY TO
 PERFORM ITS LICENSING AND RELATED REGULATORY FUNCTIONS.
 (D) NOTHING IN SUBSECTIONS (A) AND (B) OF THIS SECTION OR SECTION 201 OF THIS ACT SHALL
BE CONSTRUED TO LIMIT IN ANY WAY THE FUNCTIONS OF THE ADMINISTRATION RELATING TO
THE SAFETY OF ACTIVITIES WITHIN THE JURISDICTION OF THE ADMINISTRATION.
 (E) EACH FEDERAL AGENCY, SUBJECT TO THE PROVISIONS OF EXISTING LAW, SHALL COOPERATE
WITH THE COMMISSION AND PROVIDE SUCH INFORMATION AND RESEARCH SERVICES, ON A
REIMBURSABLE BASIS, AS IT MAY HAVE OR BE REASONABLY ABLE TO ACQUIRE.
 NONCOMPLIANCE //42 USC 5846.//

SEC. 206. (A) ANY INDIVIDUAL DIRECTOR, OR RESPONSIBLE OFFICER OF A FIRM CONSTRUCTING,
  OWNING, OPERATING, OR SUPPLYING THE COMPONENTS OF ANY FACILITY OR ACTIVITY
  WHICH IS LICENSED OR OTHERWISE REGULATED PURSUANT TO THE ATOMIC ENERGY ACT
  OF 1954 AS AMENDED, //42 USC 2011 NOTE.// OR PURSUANT TO THIS ACT, WHO OBTAINS
  INFORMATION REASONABLY INDICATING THAT SUCH FACILITY OR ACTIVITY OR BASIC
  COMPONENTS SUPPLIED TO SUCH FACILITY OR ACTIVITY—,

 (1) FAILS TO COMPLY WITH THE ATOMIC ENERGY ACT OF 1954, AS AMENDED, OR ANY
APPLICABLE RULE, REGULATION, ORDER, OR LICENSE OF THE COMMISSION RELATING TO
SUBSTANTIAL SAFETY HAZARDS, OR
 (2) CONTAINS A DEFECT WHICH COULD CREATE A SUBSTANTIAL SAFETY HAZARD, AS DEFINED
BY REGULATIONS WHICH THE COMMISSION SHALL PROMULGATE, SHALL IMMEDIATELY NOTIFY
THE COMMISSION OF SUCH FAILURE TO COMPLY, OR OF SUCH DEFECT, UNLESS SUCH PERSON
HAS ACTUAL KNOWLEDGE THAT THE COMMISSION HAS BEEN ADEQUATELY INFORMED OF SUCH
DEFECT OR FAILURE TO COMPLY.
  (B) ANY PERSON WHO KNOWINGLY AND CONSCIOUSLY FAILS TO PROVIDE THE NOTICE
 REQUIRED BY SUBSECTION (A) OF THIS SECTION SHALL BE SUBJECT TO A CIVIL PENALTY IN AN
 AMOUNT EQUAL TO THE AMOUNT PROVIDED BY SECTION 234 OF THE ATOMIC ENERGY ACT OF
 1954, AS AMENDED. //42 USC 2282.//
  (C) THE REQUIREMENTS OF THIS SECTION SHALL BE PROMINENTLY POSTED ON THE PREMISES
 OF ANY FACILITY LICENSED OR OTHERWISE REGULATED PURSUANT TO THE ATOMIC ENERGY
 ACT OF 1954, AS AMENDED. //42 USC 2011 NOTE.//
  (D) THE COMMISSION IS AUTHORIZED TO CONDUCT SUCH REASONABLE INSPECTIONS AND
 OTHER ENFORCEMENT ACTICITIES AS NEEDED TO INSURE COMPLIANCE WITH THE PROVISIONS
 OF THIS SECTION.
 NUCLEAR ENERGY CENTER SITE SURVEY //42 USC 5847.//

SEC. 207. (A) (1) THE COMMISSION IS AUTHORIZED AND DIRECTED TO MAKE OR CAUSE TO BE MADE
  UNDER ITS DIRECTION, A NATIONAL SURVEY, WHICH SHALL INCLUDE CONSIDERATION OF
  EACH OF THE EXISTING OR FUTURE ELECTRIC RELIABILITY REGIONS, OR OTHER APPROPRIATE
  REGIONAL AREAS, TO LOCATE AND IDENTIFY POSSIBLE NUCLEAR ENERGY CENTER SITES. THIS



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                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4516
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1726
                                                                                834


 SURVEY SHALL BE CONDUCTED IN COOPERATION WITH OTHER INTERESTED FEDERAL, STATE,
 AND LOCAL AGENCIES, AND THE VIEWS OF INTERESTED PERSONS, INCLUDING ELECTRIC
 UTILITIES, CITIZENS' GROUPS, AND OTHERS, SHALL BE SOLICITED AND CONSIDERED.

 (2) FOR PURPOSES OF THIS SECTION, THE TERM “NUCLEAR ENERGY CENTER SITE” MEANS ANY
SITE, INCLUDING A SITE NOT RESTRICTED TO LAND, LARGE ENOUGH TO SUPPORT UTILITY
OPERATIONS OR OTHER ELEMENTS OF THE TOTAL NUCLEAR FUEL CYCLE, OR BOTH INCLUDING,
IF APPROPRIATE, NUCLEAR FUEL REPROCESSING FACILITIES, NUCLEAR FUEL FABRICATION
PLANTS, RETRIEVABLE NUCLEAR WASTE STORAGE FACILITIES, AND UNRANIUM ENRICHMENT
FACILITIES.
 (3) THE SURVEY SHALL INCLUDE—,
  (A) A REGIONAL EVALUATON OF NATURAL RESOURCES, INCLUDING LAND, AIR, AND
 WATER RESOURCES, AVAILABLE FOR USE IN CONNECTION WITH NUCLEAR ENERGY CENTER
 SITES; ESTIMATES OF FUTURE ELECTRIC POWER REQUIREMENTS THAT CAN BE SERVED BY
 EACH NUCLEAR ENERGY CENTER SITE; AN ASSESSMENT OF THE ECONOMIC IMPACT OF
 EACH NUCLEAR ENERGY SITE; AND CONSIDERATION OF ANY OTHER RELEVANT FACTORS,
 INCLUDING BUT NOT LIMITED TO POPULATION DISTRIBUTION, PROXIMITY TO ELECTRIC LOAD
 CENTERS AND TO OTHER ELEMENTS OF THE FUEL CYCLE, TRANSMISSION LINE RIGHTS–OF–
 WAY, AND THE AVAILABILITY OF OTHER FUEL RESOURCES;
  (B) AN EVALUATION OF THE ENVIRONMENTAL IMPACT LIKELY TO RESULT FROM
 CONSTRUCTION AND OPERATION OF SUCH NUCLEAR ENERGY CENTERS WILL RESULT IN
 GREATER OR LESSER ENVIRONMENTAL IMPACT THAN SEPARATE SITING OF THE REACTORS
 AND/OR FUEL CYCLE FACILITIES; AND
  (C) CONSIDERATION OF THE USE OF FEDERALLY OWNED PROPERTY AND OTHER PROPERTY
 DESIGNATED FOR PUBLIC USE, BUT EXCLUDING NATIONAL PARKS, NATIONAL FORESTS,
 NATIONAL WILDERNESS AREAS, AND NATIONAL HISTORIC MONUMENTS.
 (4) A REPORT OF THE RESULTS OF THE SURVEY SHALL BE PUBLISHED AND TRANSMITTED
TO THE CONGRESS AND THE COUNCIL ON ENVIRONMENTAL QUALITY NOT LATER THAN
ONE YEAR FROM THE DATE OF THE ENACTMENT OF THIS ACT AND SHALL BE MADE
AVAILABLE TO THE PUBLIC, AND SHALL BE UPDATED FROM TIME TO TIME THEREAFTER
AS THE COMMISSION, IN ITS DISCRETION, DEEMS ADVISABLE. THE REPORT SHALL INCLUDE
THE COMMISSION'S EVALUATION OF THE RESULTS OF THE SURVEY AND ANY CONCLUSIONS
AND RECOMMENDATIONS, INCLUDING RECOMMENDATIONS FOR LEGISLATION, WHICH THE
COMMISSION MAY HAVE CONCERNING THE FEASIBILITY AND PRACTICALITY OF LOCATING
NUCLEAR POWER REACTORS AND/OR OTHER ELEMENTS OF THE NUCLEAR FUEL CYCLE ON
NUCLEAR ENERGY CENTER SITES. THE COMMISSION IS AUTHORIZED TO ADOPT POLICIES WHICH
WILL ENCOURAGE THE LOCATION OF NUCLEAR POWER REACTORS AND RELATED FUEL CYCLE
FACILITIES ON NUCLEAR ENERGY CENTER SITES INSOFAR AS PRACTICABLE.
 ABNORMAL OCCURRENCE REPORTS //42 USC 5848.//

SEC. 208. THE COMMISSION SHALL SUBMIT TO THE CONGRESS EACH QUARTER A REPORT LISTING
  FOR THAT PERIOD ANY ABNORMAL OCCURRENCES AT OR ASSOCIATED WITH ANY FACILITY
  WHICH IS LICENSED OR OTHERWISE REGULATED PURSUANT TO THE ATOMIC ENERGY ACT OF
  1954 AS AMENDED, //42 USC 2011 NOTE.// OR PURSUANT TO THIS ACT. FOR THE PURPOSES OF
  THIS SECTION AN ABNORMAL OCCURRENCE IS AN UNSCHEDULED INCIDENT OR EVENT WHICH
  THE COMMISSION DETERMINES IS SIGNIFICANT FROM THE STANDPOINT OF PUBLIC HEALTH OR
  SAFETY. NOTHING IN THE PRECEDING SENTENCE SHALL LIMIT THE AUTHORITY OF A COURT TO
  REVIEW THE DETERMINATION OF THE COMMISSION. EACH SUCH REPORT SHALL CONTAIN—,

(1) THE DATE AND PLACE OF EACH OCCURRENCE;



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                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4617
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1727
                                                                                835


(2) THE NATURE AND PROBABLE CONSEQUENCE OF EACH OCCURRENCE;
(3) THE CAUSE OR CAUSES OF EACH; AND
(4) ANY ACTION TAKEN TO PREVENT REOCCURRENCE;

THE COMMISSION SHALL ALSO PROVIDE AS WIDE DISSEMINATION TO THE PUBLIC OF THE
INFORMATION SPECIFIED IN CLAUSES (1) AND (2) OF THIS SECTION AS REASONABLY POSSIBLE
WITHIN FIFTEEN DAYS OF ITS RECEIVING INFORMATION OF EACH ABNORMAL OCCURRENCE
AND SHALL PROVIDE AS WIDE DISSEMINATION TO THE PUBLIC AS REASONABLY POSSIBLE OF
THE INFORMATION SPECIFIED IN CLAUSES (3) AND (4) AS SOON AS SUCH INFORMATION BECOMES
AVAILABLE TO IT.
 OTHER OFFICERS //42 USC 5849.//

SEC. 209. (A) THE COMMISSION SHALL APPOINT AN EXECUTIVE DIRECTOR FOR OPERATIONS, WHO
  SHALL SERVE AT THE PLEASURE OF AND BE REMOVABLE BY THE COMMISSION.

 (B) THE EXECUTIVE DIRECTOR SHALL PERFORM SUCH FUNCTIONS AS THE COMMISSION MAY
DIRECT, EXCEPT THAT THE EXECUTIVE DIRECTOR SHALL NOT LIMIT THE AUTHORITY OF THE
DIRECTOR OF ANY COMPONENT ORGANIZATION PROVIDED IN THIS ACT TO COMMUNICATE
WITH OR REPORT DIRECTLY TO THE COMMISSION WHEN SUCH DIRECTOR OF A COMPONENT
ORGANIZATION DEEMS IT NECESSARY TO CARRY OUT HIS RESPONSIBILITIES.
 (C) THERE SHALL BE IN THE COMMISSION NOT MORE THAN FIVE ADDITIONAL OFFICERS
APPOINTED BY THE COMMISSION. THE POSITIONS OF SUCH OFFICERS SHALL BE CONSIDERED
CAREER POSITIONS AND BE SUBJECT TO SUBSECTION 161 D, OF THE ATOMIC ENERGY ACT. //42 USC
2201.//
                TITLE II—MISCELLANEOUS AND TRANSITIONAL PROVISIONS
 TRANSITIONAL PROVISIONS //42 USC 5871.//

SEC. 301. (A) EXCEPT AS OTHERWISE PROVIDED IN THIS ACT, WHENEVER ALL OF THE FUNCTIONS
  OF PROGRAMS OF AN AGENCY, OR OTHER BODY, OR ANY COMPONENT THEREOF, AFFECTED
  BY THIS ACT, HAVE BEEN TRANSFERRED FROM THAT AGENCY, OR OTHER BODY, OR ANY
  COMPONENT THEREOF BY THIS ACT, THE AGENCY, OR OTHER BODY, OR COMPONENT THEREOF
  SHALL LAPSE. IF AN AGENCY, OR OTHER BODY, OR ANY COMPONENT THEREOF, LAPSES
  PURSUANT TO THE PRECEDING SENTENCE, EACH POSITION AND OFFICE THEREIN WHICH
  WAS EXPRESSLY AUTHORIZED BY LAW, OR THE INCUMBENT OF WHICH WAS AUTHORIZED TO
  RECEIVE COMPENSATION AT THE RATE PRESCRIBED FOR AN OFFICE OR POSITION AT LEVEL II,
  III, IV, OR V OF THE EXECUTIVE SCHEDULE (5 U.S.C. 5313—5316), SHALL LAPSE.

 (B) ALL ORDERS, DETERMINATIONS, RULES, REGULATIONS, PERMITS, CONTRACTS,
CERTIFICATES, LICENSES, AND PRIVILEGES—,
  (1) WHICH HAVE BEEN ISSUED, MADE, GRANTED, OR ALLOWED TO BECOME EFFECTIVE BY
 THE PRESIDENT, ANY FEDERAL DEPARTMENT OR AGENCY OR OFFICIAL THEREOF, OR BY A
 COURT OF COMPETENT JURISDICTION, IN THE PERFORMANCE OF FUNCTIONS WHICH ARE
 TRANSFERRED UNDER THIS ACT, AND
  (2) WHICH ARE IN EFFECT AT THE TIME THIS ACT TAKES EFFECT, SHALL CONTINUE IN
 EFFECT ACCORDING TO THEIR TERMS UNTIL MODIFIED, TERMINATED, SUPERSEDED, SET
 ASIDE, OR REVOKED BY THE PRESIDENT, THE ADMINISTRATOR, THE COMMISSION, OR OTHER
 AUTHORIZED OFFICIALS, A COURT OF COMPETENT JURISDICTION, OR BY OPERATION OF LAW.
 (C) THE PROVISIONS OF THIS ACT SHALL NOT AFFECT ANY PROCEEDING PENDING, AT THE TIME
THIS SECTION TAKES EFFECT, BEFORE THE ATOMIC ENERGY COMMISSION OR ANY DEPARTMENT
OR AGENCY (OR COMPONENT THEREOF) FUNCTIONS OF WHICH ARE TRANSFERRED BY THIS ACT;
BUT SUCH PROCEEDINGS, TO THE EXTENT THAT THEY RELATE TO FUNCTIONS SO TRANSFERRED,


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                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4718
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1728
                                                                                836


SHALL BE CONTINUED. ORDERS SHALL BE ISSUED IN SUCH PROCEEDINGS, APPEALS SHALL BE
TAKEN THEREFROM, AND PAYMENTS SHALL BE MADE PURSUANT TO SUCH ORDERS, AS IF
THIS ACT HAD NOT BEEN ENACTED; AND ORDERS ISSUED IN ANY SUCH PROCEEDINGS SHALL
CONTINUE IN EFFECT UNTIL MODIFIED, TERMINATED, SUPERSEDED, OR REVOKED BY A DULY
AUTHORIZED OFFICIAL, BY A COURT OF COMPETENT JURISDICTION, OR BY OPERATION OF
LAW. NOTHING IN THIS SUBSECTION SHALL BE DEEMED TO PROHIBIT THE DISCONTINUANCE OR
MODIFICATION OF ANY SUCH PROCEEDING UNDER THE SAME TERMS AND CONDITIONS AND TO
THE SAME EXTENT THAT SUCH PROCEEDING COULD HAVE BEEN DISCONTINUED IF THIS ACT HAD
NOT BEEN ENACTED.
 (D) EXCEPT AS PROVIDED IN SUBSECTION (F)—,
  (1) THE PROVISIONS OF THIS ACT SHALL NOT AFFECT SUITS COMMENCED PRIOR TO THE DATE
 THIS ACT TAKES EFFECT, AND
  (2) IN ALL SUCH SUITS PROCEEDINGS SHALL BE HAD, APPEALS TAKEN, AND JUDGMENTS
 RENDERED, IN THE SAME MANNER AND EFFECT AS IF THIS ACT HAD NOT BEEN ENACTED.
 (E) NO SUIT , ACTION, OR OTHER PROCEEDING COMMENCED BY OR AGAINST ANY OFFICER
IN HIS OFFICIAL CAPACITY AS AN OFFICER OF ANY DEPARTMENT OR AGENCY, FUNCTIONS OF
WHICH ARE TRANFERRED BY THIS ACT, SHALL ABATE BY REASON OF THE ENACTMENT OF THIS
ACT. NO CAUSE OF ACTION BY OR AGENCY, FUNCTIONS OF WHICH ARE TRANSFERRED BY THIS
ACT, SHALL ABATE BY REASON OF THE ENACTMENT OF THIS ACT. NO CAUSE OF ACTION BY OR
AGAINST ANY DEPARTMENT OR AGENCY, FUNCTIONS OF WHICH ARE TRANSFERRED BY THIS
ACT, OR BY OR AGAINST ANY OFFICER THEREOF IN HIS OFFICIAL CAPACITY SHALL ABATE BY
REASON OF THE ENACTMENT OF THIS ACT. CAUSES OF ACTIONS, SUITS, ACTIONS, OR OTHER
PROCEEDINGS MAY BE ASSERTED BY OR AGAINST THE UNITED STATES OR SUCH OFFICIAL AS
MAY BE APPROPRIATE AND, IN ANY LITIGATION PENDING WHEN THIS SECTION TAKES EFFECT,
THE COURT MAY AT ANY TIME, ON ITS OWN MOTION OR THAT OF ANY PARTY, ENTER ANY ORDER
WHICH WILL GIVE EFFECT TO THE PROVISIONS OF THIS SECTION.
 (F) IF, BEFORE THE DATE ON WHICH THIS ACT TAKES EFFECT, ANY DEPARTMENT OR AGENCY,
OR OFFICER THEREOF IN HIS OFFICIAL CAPACITY, IS A PARTY TO A SUIT, AND UNDER THIS
ACT ANY FUNCTION OF SUCH DEPARTMENT, AGENCY, OR OFFICER IS TRANSFERRED TO
THE ADMINISTRATOR OR COMMISSION, OR ANY OTHER OFFICIAL, THEN SUCH SUIT SHALL
BE CONTINUED AS IF THIS ACT HAD NOT BEEN ENACTED, WITH THE ADMINISTRATOR OR
COMMISSION, OR OTHER OFFICIAL, AS THE CASE MAY BE, SUBSTITUTED.
 (G) FINAL ORDERS AND ACTIONS OF ANY OFFICIAL OR COMPONENT IN THE PERFORMANCE
OF FUNCTIONS TRANSFERRED BY THIS ACT SHALL BE SUBJECT TO JUDICIAL REVIEW TO THE
SAME EXTENT AND IN THE SAME MANNER AS IF SUCH ORDERS OR ACTIONS HAD BEEN MADE OR
TAKEN BY THE OFFICER, DEPARTMENT, AGENCY, OR INSTRUMENTALITY IN THE PERFORMANCE
OF SUCH FUNCTIONS IMMEDIATELY PRECEDING THE EFFECTIVE DATE OF THIS ACT. ANY
STATUTORY REQUIREMENTS RELATING TO NOTICES, HEARINGS, ACTION UPON THE RECORD, OR
ADMINISTRATIVE REVIEW THAT APPLY TO ANY FUNCTION TRANSFERRED BY THIS ACT SHALL
APPLY TO THE PERFORMANCE OF THOSE FUNCTIONS BY THE ADMINISTRATOR ORE COMMISSION,
OR ANY OFFICER OR COMPONENT.
 (H) WITH RESPENCT TO ANY FUNCTION TRANSFERRED BY THIS ACT AND PERFORMED AFTER
THE EFFECTIVE DATE OF THIS ACT, REFERENCE IN ANY OTHER LAW TO ANY DEPARTMENT OR
AGENCY, OR ANY OFFICER OR OFFICE, THE FUNCTIONS OF WHICH ARE SO TRANSFEREED, SHALL
BE DEEMED TO REFER TO THE ADMINISTRATION, THE ADMINISTRATOR OR COMMISSION, OR
OTHER OFFICE OR OFFICIAL IN WHICH THIS ACT VESTS SUCH FUNCTIONS.
 (I) NOTHING CONTAINED IN THIS ACT SHALL BE CONSTRUED TO LIMIT, CURTAIL, ABOLISH, OR
TERMINATE ANY FUNCTION OF THE PRESIDENT WHICH HE HAD IMMEDIATELY BEFORE THE
EFFECTIVE DATE OF THIS ACT; OR TO LIMIT, CURTAIL, ABOLISH, OR TERMINATE HIS AUTHORITY



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                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4819
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1729
                                                                                837


TO PERFORM SUCH FUNCTION; OR TO LIMIT, CURTAIL, ABOLISH, OR TERMINATE HIS AUTHORITY
TO DELEGATE, REDELEGATE, OR TERMINATE ANY DELEGATION OF FUNCTIONS.
 (J) ANY REFERENCE IN THIS ACT TO ANY PROVISION OF LAW SHALL BE DEEMED TO INCLUDE, AS
APPROPRIATE, REFERENCES THERETO AS NOW OR HERE–AFTER AMENDED OR SUPPLEMENTED.
 (K) EXCEPT AS MAY BE OTHERWISE EXPRESSLY PROVIDED IN THIS ACT, ALL FUNCTIONS
EXPRESSLY CONFERRED BY THIS ACT SHALL BE IN ADDITION TO AND NOT IN SUBSTUTUTION
FOR FUNCTIONS EXISTING IMMEDIATELY BEFORE THE EFFECTIVE DATE OF THIS ACT AND
TRANSFERRED BY THIS ACT.
 TRANSFER OF PERSONNEL AND OTHER MATTERS //42 USC 5872.//

SEC. 302. (A) EXCEPT AS PROVIDED IN THE NEXT SENTENCE, THE PERSONNEL EMPLOYED
  IN CONNECTION WITH, AND THE PERSONNEL POSITIONS, ASSETS, LIABILITIES, CONTRACTS,
  PROPERTY, RECORDS, AND UNEXPENDED BALANCES OF APPROPRIATIONS, AUTHORIZATIONS,
  ALLOCATIONS, AND OTHER FUNDS EMPLOYED, HELD, USED, ARISING FROM, AVAILABLE
  TO OR TO BE MADE AVAILABLE IN CONNECTION WITH THE FUNCTION AND PROGRAMS
  TRANSFERRED BY THIS ACT, ARE, SUBJECT TO SECTION 202 OF THE BUDGET AND
  ACCOUNTING PROCEDURES ACT OF 1950 (31 U.S.C. 581C), CORRESPONDINGLY TRANSFERRED
  FOR APPROPRIATE ALLOCATION. PERSONNEL POSITIONS EXPRESSLY CREATED BY LAW,
  PERSONNEL OCCUPYING THOSE POSITIONS ON THE EFFECTIVE DATE OF THIS ACT, AND
  PERSONNEL AUTHORIZED TO RECEIVE COMPENSATION AT THE RATE PRESCRIBED FOR OFFICES
  AND POSITIONS AT LEVELS II, III, IV, OR V OF THE EXECUTIVE SCHEDULE (5 U.S.C. 5313—5316) ON
  THE EFFECTIVE DATE OF THIS ACT SHALL BE SUBJECT TO THE PROVISIONS OF SUBSECTION (C)
  OF THIS SECTION AND SECTION 301 OF THIS ACT.

 (B) EXCEPT AS PROVIDED IN SUBSECTION (C), TRANSFER OF NONTEMPORARY PERSONNEL
PURSUANT TO THIS ACT SHALL NOT CAUSE ANY SUCH EMPLOYEE TO BE SEPARATED OR
REDUCED IN GRADE OR COMPENSATION FOR ONE YEAR AFTER SUCH TRANSFER.
 (C) ANY PERSON WHO. ON THE EFFECTIVE DATE OF THIS ACT, HELD A POSITION COMPENSATED
IN ACCORDANCE WITH THE EXECUTIVE SCHEDULE PRESCRIBED IN CHAPTER 53 OF TITLE 5
OF THE UNITED STATES CODE, AND WHO, WITHOUT A BREAK IN SERVICE, IS APPOINTED IN
THE ADMINISTRATION TO A POSITION HAVING DUTIES COMPARABLE TO THOSE PERFORMED
IMMEDIATELY PRECEDING HIS APPOINTMENT SHALL CONTINUE TO BE COMPENSATED IN HIS
NEW POSITION AS NOT LESS THAN THE RATE PROVIDED FOR THIS PREVIOUS POSITION.
 INCIDENTAL DISPOSITIONS /42 USC 5873.//

AUTHORIZED TO MAKE SUCH ADDITIONAL INCIDENTAL DISPOSITIONS OF PERSONNEL,
PERSONNEL POSITIONS, ASSETS, LIABILITIES, CONTRACTS, PROPERTY, RECORDS, AND
UNEXPENDED BALANCES OF APPROPRIATIONS, AUTHORIZATIONS, ALLOCATIONS, AND OTHER
FUNDS HELD, USED, ARISING FROM, AVAILABLE TO OR TO BE MADE AVAILABE IN CONNECTION
WITH FUNCTIONS TRANSFERRED BY THIS ACT, AS HE MAY DEEM NECESSARY OR APPROPRIATE
TO ACCOMPLISH THE INTENT AND PURPOSE OF THIS ACT.
 DEFINITIONS //42 USC 5874.//

SEC. 304. AS USED IN THIS ACT—,

 (1) ANY REFERENCE TO “FUNCTION” OR “FUNCTIONS” SHALL BE DEEMED TO INCLUDE
REFERENCES TO DUTY, OBLIGATION, POWER, AUTHORITY, RESPONSIBILITY, RIGHT, PRIVILEGE,
AND ACTIVITY, OR THE PLURAL THEREOF, AS THE CASE MAY BE; AND
 (2) ANY REFERENCE TO “PERFORM” OR “PERFORMANCE”, WHEN USED IN RELATION TO
FUNCTIONS, SHALL BE DEEMED TO INCLUDE THE EXERCISE OF POWER, AUTHORITY, RIGHTS,
AND PRIVILEGES.


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                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:4920
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1730
                                                                                838


AUTHORIZATION OF APPROPRIATIONS //42 USC 5875.//

SEC. 305. (A) EXCEPT AS OTHERWISE PROVIDED BY LAW, APPROPRIATIONS MADE UNDER THIS ACT
  SHALL BE SUBJECT TO ANNUAL AUTHORIZATION.

 (B) AUTHORIZATION OF APPROPRIATIONS TO THE COMMISSION SHALL REFLECT THE NEED
FOR EFFECTIVE LICENSING AND OTHER REGULATION OF THE NUCLEAR POWER INDUSTRY IN
RELATION TO THE GROWTH OF SUCH INDUSTRY.
 COMPTROLLER GENERAL AUDIT //42 SUC 5876.//

SEC. 306. (A) SECTION 166. “COMPTROLLER GENERAL AUDIT” OF THE ATOMIC ENERGY ACT OF
  1954, AS AMENDED, //42 USC 2206.// SHALL BE DEEMED TO BE APPLICABLE, RESPECTIVELY, TO THE
  NUCLEAR AND NONUCLEAR ACTIVITIES UNDER TITLE I AND TO THE ACTIVITIES UNDER TITLE
  II. //ANTE, PP. 1234, 1242.//

 (B) THE COMPTROLLER GENERAL OF THE UNITED STATES SHALL AUDIT, REVIEW, AND
EVALUATE THE IMPLEMENTATION OF THE PROVISIONS OF TITLE II OF THIS ACT BY THE
NUCLEAR SAFETY AND LICENSING COMMISSION NOT LATER THAN SIXTY MONTHS AFTER THE
EFFECTIVE DATE OF THIS ACT, THE COMPTROLLER GENERAL SHALL PREPARE AND SUBMIT TO
THE CONGRESS A REPORT ON HIS AUDIT, WHICH SHALL CONTAIN, BUT NOT BE LIMITED TO—,
  (1) AN EVALUATION OF THE EFFECTIVENESS OF THE LICENSING AND RELATED REGULATORY
 ACTIVITIES OF THE COMMISSION AND THE OPERATIONS OF THE OFFICE OF NUCLEAR SAFETY
 RESEARCH AND THE BUREAU OF NUCLEAR MATERIALS SECURITY;
  (2) AN EVALUATION OF THE EFFECT OF SUCH COMMISSION ACTIVITIES ON THE EFFICIENCY,
 EFFECTIVENESS, AND SAFETY WITH WHICH THE ACTIVITIES LICENSED UNDER THE ATOMIC
 ENERGY ACT OF 1954, AS AMENDED, ARE CARRIED OUT;
  (3) RECOMMENDATIONS CONCERNING ANY LEGISLATION HE DEEMS NECESSARY, AND THE
 REASONS TEREFOR, FOR IMPROVING THE IMPLEMENTATION OF TITLE II.
 REPORTS //42 USC 5877.//

SEC. 307. (A) THE ADMINISTRATOR SHALL, AS SOON AS PRACTICABLE AFTER THE END OF EACH
  FISCAL YEAR, MAKE A REPORT TO THE PRESIDENT FOR SUBMISSION TO THE CONGRESS ON THE
  ACTIVITIES OF THE ADMINISTRATION DURING THE PRECEDING FISCAL YEAR. SUCH REPORT
  SHALL INCLUDE A STATEMENT OF THE SHORT–RANGE AND LONG–RANGE GOALS, PRIORITIES,
  AND PLANS OF THE ADMINISTRATION TOGETHER WITH AN ASSESSMENT OF THE PROGRESS
  MADE TOWARD THE ATTAINMENT OF THOSE OBJECTIVES AND TOWARD THE MORE EFFECTIVE
  AND EFFICIENT MANAGEMENT OF THE ADMINISTRATION AND THE COORDINATION OF ITS
  FUNCTIONS.

 (B) DURING THE FIRST YEAR OF OPERATION OF THE ADMINISTRATION, THE ADMINISTRATOR,
IN COLLABORATION WITH THE SECRETARY OF DEFENSE, SHALL CONDUCT A THOROUGH
REVIEW OF THE DESIRABILITY AND FEASIBILITY OF TRANSFERRING TO THE DEPARTMENT
OF DEFENSE OR OTHER FEDERAL AGENCIES THE FUNCTIONS OF THE ADMINISTRATOR
RESPECTING MILITARY APPLICATION AND RESTRICTED DATA, AND WITHIN ONE YEAR AFTER
THE ADMINISTRATOR FIRST TAKES OFFICE THE ADMINISTRATOR SHALL MAKE A REPORT TO
THE PRESIDENT, FOR SUBMISSION TO THE CONGRESS, SETTING FORTH HIS COMPREHENSIVE
ANALYSIS, THE PRINCIPAL ALTERMATIVES, AND THE SPECIFIC RECOMMENDATIONS OF THE
ADMINISTRATOR AND THE SECREATARY OF DEFENSE.
 (C) THE COMMISSION SHALL, AS SOON AS PRACTICABLE AFTER THE END OF EACH FISCAL
YEAR, MAKE A REPORT TO THE PRESIDENT FOR SUBMISSION TO THE CONGRESS ON THE
ACTIVITIES OF THE COMMISSION DURING THE PRECEDING FISCAL YEAR. SUCH REPORT SHALL


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                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:5021
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1731
                                                                                839


INCLUDE A CLEAR STATEMENT OF THE SHORT–RANGE AND LONG–RANGE GOALS, PRIORTITIES,
AND PLANS OF THE COMMISSION AS THEY RELATE TO THE BENIFITS, COSTS, AND RISKS OF
COMMERICIAL NUCLEAR POWER. SUCH REPORT SHALL ALSO INCLUDE A CLEAR DESCRIPTION
OF THE COMMISSION'S ACTIVITIES AND FINDINGS IN FOLLOWING AREAS—,
  (1) INSURING THE SAFE DESIGN OF NUCLEAR POWERPLANTS AND OTHER LICENSED FACILITIES;
  (2) INVEISTIGATING ABNORMAL OCCURRENCES AND DEFECTS IN NUCLEAR POWERPLANTS
 AND OTHER LICENSED FACILITIES;
  (3) SAFEGUARDING SPECIAL NUCLEAR MATERIALS AT ALL STAGES OF THE NUCLEAR FUEL
 CYCLE;
  (4) INVESTIGATING SUSPECTED, ATTEMPTED, OR ACTUAL THEFTS OF SPECIAL NUCLEAR
 MATERIALS IN THE LICENSED SECTOR AND DEVELOPING CONTINGENCY PLANS FOR DEALING
 WITH SUCH INCIDENTS;
  (5) INSURING THE SAFE, PERMANENT DISPOSAL OF HIGH–LEVEL RADIOAVTIVE WASTES
 THROUGH THE LICENSING OF NUCLEAR ACTIVITIES AND FACILITIES;
  (6) PROTECTING THE PUBLIC AGAINST THE HAZARDS OF LOW–LEVEL RADIOACTIVE EMISSIONS
 FROM LICENSED NUCLEAR ACTIVITIES AND FACILITIES.
 INFORMATION TO COMMITTEES //42 USC 5878.//

SEC. 308. THE ADMINISTRATOR SHALL KEEP THE APPROPRIATE CONGRESSIONAL COMMITTEES
  FULLY AND CURRENTLY INFORMED WITH RESPECT TO ALL OF THE ADMINISTRATION'S
  ACTIVITIES.

TRANSFER OF FUNDS //42 USC 5879.//

SEC. 309. THE ADMINISTRATOR, WHEN AUTHORIZED IN AN APPROPRIATION ACT, MAY, IN
  ANY FISCAL YEAR, TRANSFER FUNDS FROM ONE APPROPRIATION TO ANOTHER WITHIN
  THE ADMINISTRATION; EXCEPT, THAT NO APPROPRIATION SHALL BE EITHER INCREASED
  OR DECREASED PURSUANT TO THIS SECTION BY MORE THAN 5 PER CENTUM OF THE
  APPROPRIATION FOR SUCH FISCAL YEAR.

                      CONFORMING AMENDMENTS TO CERTAIN OTHER LAWS

SEC. 310. SUBCHAPTER II (RELATING TO EXECUTIVE SCHEDULE PAY RATES) OF CHAPTER 53 OF
  TILTE 5, UNITED STATES CODE, IS AMENDED AS FOLLOWS:

 (1) SECTION 5313 IS AMENDED BY STRIKING OUT “(8) CHAIRMAN, ATOMIC ENERGY COMMISSION.”
AND INSERTING IN LIEU THEREOF “(8) CHAIRMAN, NUCLEAR REGULATORY COMMISSION.”, AND
BY ADDING AT THE END THEREOF THE FOLLOWING:
 “(22) ADMINISTRATOR OF ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION.”.
 (2) SECTION 5314 IS AMENDED BY STRIKING OUT “(42) MEMBERS, ATOMIC ENERGY COMMISSION.”
AND INSERTING IN LIEU THEREOF “(42) MEMBERS, NUCLEAR REGULATORY COMMISSION.”, AND
BY ADDING AT THE END THEREOF THE FOLLOWING:
 “(60) DEPUTY ADMINISTRATOR, ENERGY RESEARCH AND DEVELOPMENT AMINISTRATION.”.
 (3) SECTION 5315 IS AMENDED BY STRIKING OUT PARAGRAPH (50), AND BY ADDING AT THE END
THEREOF THE FOLLOWING:
                           “(100) ASSISTANT ADMINISTRATORS, ENERGY
                      RESEARCH AND DEVELOPMENT ADMINISTRATION (6).
 “(101) DIRECTOR OF NUCLEAR REACTOR REGULATION, NUCLEAR REGULATORY COMMISSION.
                      “(102) DIRECTOR OF NUCLEAR MATERIAL SAFETY AND
                      SAFEGUARDS, NUCLEAR REGULATORY COMMISSION.




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                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:5122
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1732
                                                                                840


                            “(103) DIRECTOR OF NUCLEAR REGULATORY
                        RESEARCHT, NUCLEAR REGULATORY COMMISSION.
     “(104) EXECUTIVE DIRECTOR FOR OPERATIONS, NUCLEAR REGULATORY COMMISSION.”
 (4) SECTION 5316 IS AMENDED BY STRIKING OUT PARAGRAPHS (29), (62), (69), AND (102), BY
STRIKING OUT “(81) GENERAL COUNSEL OF THE ATOMIC ENERGY COMMISSION,” AND INSERTING
IN LIEU THEREOF “(81 GENERAL COUNSEL OF THE NUCLEAR REGULATORY COMMISSION.”, AND
BY ADDING AT THE END THEREOF THE FOLLOWING:
      “(134) GENERAL COUNSEL, ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION.
  “(135) ADDITIONAL OFFICERS, ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION (8).
              “(136) ADDITIONAL OFFICERS, NUCLEAR REGULATORY COMMISSION (5).”.
 SEPARABILITY //42 USC 5801 NOTE.//

SEC. 311. IF ANY PROVISION OF THIS ACT, OR THE APPLICATION THEREOF TO ANY PERSON OR
  CIRCUMSTANCE, IS HELD INVALID, THE REMAINDER OF THIS ACT, AND THE APPLICATION OF
  SUCH PROVISION TO OTHER PERSONS OR CIRCUMSTANCES, SHALL NOT BE AFFECTED THEREBY.

EFFECTIVE DATE AND INTERIM APPOINTMENTS //42 USC 5801 NOTE//

SEC. 312. (A) THIS ACT SHALL TAKE EFFECT ONE HUNBDRED AND TWENTY DAYS AFTER THE
  DATE OF ITS ENACTMENT, OR ON SUCH EARLIER DATE AS THE PRESIDENT MAY PRESCRIBE AND
  PUBLISH IN THE FEDERAL REGISTER; EXCEPT THAT ANY OF THE OFFICERS PROVIDED FOR IN
  TITLE I OF THIS ACT MAY BE NOMINATED AND APPOINTED, AS PROVIDED BY THIS ACT, AT ANY
  TIME AFTER THE DATE OF ENACTMENT OF THIS ACT. FUNDS AVAILABLE TO ANY DEPARTMENT
  OR AGENCY (OR ANY OFFICIAL OR COMPONENT THEREOF), ANY FUNCTIONS OF WHICH ARE
  TRANSFERRED TO THE ADMINISTRATOR AND THE COMMISSION BY THIS ACT, MAY, WITH THE
  APPROVAL OF THE PRESIDENT, BE USED TO PAY THE COMPENSATION AND EXPENSES OF ANY
  OFFICER APPOINTED PURSUANT TO THIS SUBSECTION UNTIL SUCH TIME AS FUNDS FOR THAT
  PURPOSE ARE OTHERWISE AVAILABLE.

 (B) IN THE EVENT THAT ANY OFFICER REQUIRED BY THIS ACT TO BE APPOINTED BY AND
WITH THE ADVICE AND CONSENT OF THE SENATE SHALL NOT HAVE ENTERED UPON OFFICE
ON THE EFFECTIVE DATE OF THIS ACT, THE PRESIDENT MAY DESIGNATE ANY OFFICER, WHOSE
APPOINTMENT WAS REQUIRED TO BE MADE BY AND WITH THE ADVICE AND CONSENT OF THE
SENATE AND WHO WAS SUCH AN OFFICER IMMEDIATELY PRIOR TO THE EFFECTIVE DATE OF THIS
ACT, TO ACT IN SUCH OFFICE UNTIL THE OFFICE IS FILLED AS PROVIDED IN THIS ACT. WHILE SO
ACTING, SUCH PERSONS SHALL RECEIVE COMPENSATION AT THE RATES PROVIDED BY THIS ACT
FOR THE RESPECTIVE OFFICES IN WHICH THEY ACT.
                            TITLE IV—SEX DESCRIMINATION
 SEX DISCRIMINATION PROHIBITED //42 USC 5891.//

SEC. 401. NO PERSON SHALL ON THE GROUND OF SEX BE EXCLUDED FROM PARTICIPATION
  IN, BE DENIED A LICENSE UNDER, BE DENIED THE BENEFITS OF, OR BE SUBJECTED TO
  DISCRIMINATION UNDER ANY PROGRAM OR ACTIVETY CARRIED ON OR RECEIVING FEDERAL
  ASSISTANCE UNDER ANY TITLE OF THIS ACT. THIS PROVISION WILL BE ENFORCED THROUGH
  AGENCY PROVISIONS AND RULES SIMILAR TO THOSE ALREADY ESTABLISHED, WITH RESPECT
  TO RACIAL AND OTHER DISCRIMINATION, UNDER TITLE VI OF THE CIVIL RIGHTS ACT OF
  1964. //42 USC 2000D.// HOWEVER, THIS REMEDY IS NOT EXCLUSIVE AND WILL NOT PREFJUDICE
  OR CUT OFF ANY OTHER LEGAL REMEDIES AVAILABLE TO A DISCRIMINATEE.

                                        LEGISLATIVE HISTORY:




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                                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page:
PL Case:   4:17-cv-00024-CDP
   93–438 (HR                       Doc. #:
              11510), PL 93–438, OCTOBER 11, 48-6
                                             1974, 88Filed:
                                                       Page:5223
                                                               ofof
                                                                 90323PageID
                                                             02/06/17
                                                      Stat 1233       PageID#:
                                                                             #:1733
                                                                                841


                      HOUSE REPORTS: NO. 93—707 (COMM. ON GOVERNMENT
                    OPERATIONS) AND NO. 93—1445 (COMM. OF CONFERENCE).
 SENATE REPORT NO. 93—980 ACCOMPANYING S. 2744 (COMM. ON GOVERNMENT OPERATIONS).
                                      CONGRESSIONAL RECORD:
                     VOL. 119 (1973): DEC. 19, CONSIDERED AND PASSED HOUSE.
   VOL. 120 (1974): AUG. 15, CONSIDERED AND PASSED SENATE, AMENDED, IN LIEU OF S. 2744.
                        OCT. 9, HOUSE AGREED TO CONFERENCE REPORT.
                       OCT. 10, SENATE AGREED TO CONFERENCE REPORT.
                     WEEKLY COMPILATION OF PRESIDENTIAL DOCUMENTS:
                     VOL. 10, NO. 41 (1974): OCT. 11, PRESIDENTIAL STATEMENT.

Approved October 11, 1974.

PL 93–438, 1974 HR 11510

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                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 531ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 842
                                                                                    1734




            EXHIBIT 7
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 542ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 843
                                                                                    1735


  68   ST^T.]                        PUBLIC            LAW           703--AUG.                   30,      1954                                                              919


   Public         Law     703                                                                                         CHAPTER              1073
                                                                   AN         ACT
                                                                                                                                                    Auk.      at 30.  1954
                                                                                                                                                                • 9757]
   To amend        the    Atomic       Energy          Act         of 1946,           as     amended,           and    for     other   purposes.


     Be it enacted by the Senate and House of Representatives      of the
  United   States of America   im Congress assembled,  That the Atomic                                                                             Act^t°ffiaCof
                                                                                                                                                          19s4.znergT
  Energy   Act of 1946, as amended, is amended to read as follows:                                                                                  60 m.t.
                                                                                                                                                    42   USC
                                                                                                                                                             7ss.
                                                                                                                                                                1801
                                                                                                                                                   note.

                              "ATOMIC                       ENERGY                         ACT          OF         1954

                          "CHAPTER           1.     DECLARATION_                    FINDINGS.           AND      PURPOSE                             Post, p. 921.

  "Sec.    1. Declaration.
  "Sec.    2. Findings.
  "Sec.    3. Purpose.
                                                   "CHAPTER             2.        DEFINITIONS

   "See.    11. Definitions.
                                                  "CHAI_rER          3. OaeANIZ_nON

  "Sec.    21. Atomic    Energy              Commission.
  "See.    2'2. Members.
  "See. 23. Office.
   "Sec.   24. General   Manager.
   "Sec.   25. Divisions    and Offices.
   "Sec.   26. General   Advisory     Committee.
   "Sec.   27. Military    Liaison   Committee.
   "Sec.   28. Appointment       of Army, Navy,                              or Air Force              Officers.

                                                    "CHAPTEa                 4.    RESEARCH                                                          Poet.     p,   927.

  "See.    31.    Research         Assistance.
  "Sec.    32.    Research         by the Commission.
  "See.    33.    Research         for Others.

                        "CHAffER        5.    PRODUCTION                OF        SPECIAL        NUCLEAR           MATERIAL                          Post.     p.   928.


  "See. 41. Ownership                and Operation                 of Production                  Facilities.
  "Sec. 42. Irradiation               of Materials.
  *'Sec. 43. Acquisition              of Production                 Facilities.
  "Sec. 44. Disposition               of Energy.

                                   "CHAIVI'ER          6.     SPECIAL               NUC/,EAB           MATERIAL                                      Poat.     p.   929.


   "Sec. 51. Special     Nuclear      Material
   "'See. 52. Government        Ownership      of All Special   Nuclear   Material.
   "Sec. 53. Domestic       Distribution      of Special   Nuclear    Material.
   "Sec. 54. Foreign      Distribution      of Special   Nuclear   Material.
   "See. 55. Acquisition.
   "Sec. 56. Fair    Price,
   "Sec. 57. Prohibition.
                                                                                                                                                     Poet,     p.   932.

   "See. 61. Source Material.
   "See. 62. License    for Transfers                    Required.
   "Sec. 63. Domestic      Distribution                   of Source Material.
   "See. 64. Foreign      Distribution                  of Source   Material,
   "Sec. 65. Reporting.
   "Sec. 66. Acquisition.
   "Sec. 67. Operations       on Lands                 Belonging                  to the United           States.
   "'See. 68. Public Lands.
   "See. 69. Prohibition.
                                        "CHAPTER              8.     _YPRODITCT                 MATERIAL                                             Post.     p.   955.

   "See.    81.   Domestic      Distribution.
   "See.    82.   Foreign      Distribution             of Byproduct                       Material.

                         "'CHAPTER      9.        MILITARY          APPLICATION                  OF    ATOMIC         _NEROY                          Pont.    p.   936.,


   "See.   91. Authority.
   "See.   92. Prohibition.
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 553ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 844
                                                                                    1736


   92O                                                           PUBLIC           LAW       703--AITG.              30,     1954                  [68   STAT.


    Post,   p. 936.                                          "CHAPTER         10.    ATOMIC          ENERGY         LICENSES

                        "flee,     101.     License       Required.
                        "See.      102.     Finding        of Practical       Value.
                        "flee.     103.     Commercial           Licenses.
                        "See.      104.     Medical        Therapy       and  Research               and    Development.
                        "See.      105.     Antitrust        Provisions.
                        "Sec.      106.     Classes       of Facilities.
                        "'See.     107.     Operators'         Licenses.
                        "See.      106.     War      or   National       Emergency.
                        "'See.     109.     Component           Parts     of Facilities.
                        "flee.     110.     Exclusions.

    Poat,   p. 939.                                         "CHAPT_:R         11.    INTERNATIONAL                 ACTIVITIES

                        "See.      121.     Effect    of International         Arrangements.
                        "Sec.      122.     Policies     Contained       in International                  Arrangements.
                        "flee.     123.     Cooperation        with   other    Nations.
                        "See.      1.24.    International         Atomic     Pool.

    Post,   p, 940.                                          "CItAPTER        1-°, CONTROL             OF INFORMATION
                        "flee,     141.     Policy.
                        "See,      142.     Classification         and Deelassiflcation          of            Restricted          Data.
                        "See.      143.     Department           of Defense       Participation.
                        "flee.     144.     International           Cooperation.
                        "'slec.    145.     Restrictions.
                        "' See.    146.     General        Provisions.

    Post,   p.   943,                                        "CHAPTEIt        1._3. PATENTS            AND      INVENTIONS

                        "'See.     151      Military       Utilization.
                        "See.      152,     Inventions         Conceived         During        Commission              Contracts.
                        "See.      153.     Nonmilitary           Utilization.
                        "See.      154.     Injunctions.
                        "See.      155.     Prior    Art.
                        "See.      156.     Commission           Patent       Licenses.
                        "'See.     157.     Compensation,             Awards,        and      Royalties.
                        "'sleC.    158.     Monopolistic           Use     (ff Patents.
                        ",qec.     159.     Federally        Financed          Research.
                        "See.      160.     Saving       Clause.

    Post,   p. 948.                                               "CIL_PT_a         14.    GENERAL         AUTHOIITY


                        "See.      161.     General       Provisions.
                        "See.      162.     Contracts.
                        "See.      163.     Advisory         Committees.
                        "Sec.      164.     Electric      Utility      Contracts.
                        "See.      165.     Contract        Practices.
                        "See.      166.     Comptroller           General      Audit.
                        "See.      167.     Claim      Settlements.
                        "See.      168.     Payments         in lieu    of Taxes.
                        "Se('.     169.     No Subsidy.

    Poet.   p. 952.                        "CHAPTER         15.    COMPENSATION              FOR     PnIVATE         PROPERTY              ACQUIRED

                        "'._ec.    171.     Just   Compensation.
                        "See.      172.     Condemnation          of      Real    Property.
                        "'See.     173.     Patent    Application           Disclosures.
                        "See.      I74,     Attorney     General          Approval       of Title.

    Post,   p, 953.                        "CHAP'I'ER      16.    JUDICIAL        REVIEW       AND ADMINISTRATIVE                      PROCEDuRe

                         "sle('.    181.    General.
                        "slec.      182.    License       Applications.
                        "See.      l_l.     Terms      of Licenses.
                        "See.       184.    Inalienability          of Licenses.
                        "See.      185.     Construction          Permits.
                        "See.       186,    Revocation.
                        "see.      187.     Modification         of License.
                        "See.       188.    Continued         Operation      of F.tcilities.
                        "See.      189.     Hearings        and Judicial         Review.
                                                                                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 564ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 845
                                                                                    1737




    68   STAT.]                       PUBLIC           LAW     703-.-AUG.             30,     1954                                                               921


                              "CHAI_FER      17.     JOINT    (_'OMMITTEE         O.N" ATOMIc'       ENEB_;Y                               Post,   p.    956,

     "See.     201. Membership.
     "See.      202. Authority      and Duty.
     "See.      203. Cilairman.
     "See.      204. Powers.
     "See.      205. Staff anti Assistance.
     "See.     2(_;. Classification    of Information.
     "See.     2_7. Records.
                                                 "CFL_.PTER      18.     ]_NFORCEM}:;_r                                                    Pomb    p,    058.


     "See.     22.1.    General     Provisions.
     "See.     222.     Violation    of Sp_cll_c Sections.
     "See.     22.3.    Violation     of Sections    Generally.
     "See.     224.     Communication          of Restricted     Data.
     "'See.    225.     Receipt    of Restricted     Data.
     "See.     226.     Tampering       with Restricted      Data.
     "See.     227.     Disclosure     of Restricted      Data.
     "See.     22S.     Statute    of Limitations.
     "see.     22.9.    Other Laws.
     "See.     _30.     Injunction      Proceedings.
     "See.     231.     Contempt      Proceedings.

                                            "CHAP'I'EB        19.._*[ISCEI.LANEOUS                                                        Poet,    p.    9riO.

    "See.      241.     Transfer      of Property.
    "See.      251.     Report to Congress.
    "See.      261.     Appropriations.
    "See.      271.     Agency     Jurisdiction.
     "See.     272.     Applicability      of Federal         Power    Act.
    "See.      273.     Licensing      of Government           Agencies.
    "Sec.      281.     Separability.
    "Set:.     291.     Short Title.

     "CHAPTER                  1.   DECLARATION,                            FINDIBTGS,                  A_ND         PURPOSE

       "SEcTtc_             1. DEct_m_TmN._Atomic                            energy         is capable         of    application
    for peaceful             as well   as mi]itary             purposes.               It     is therefore            declared       to   Polity    of    t/.    S.

    be the policy            of the United     States           that--
                   "a. the development,         use,           and control    of atomic       energy     shall   be
               directed    so as to make        the            maximum     contribution         to the general
              welf_,re,    subject   at all times              to the paramount        objective     of making
              the maximum          contribution                to the common        defense      and   secm'ity;
              and
                '%. the development,                use, and     control      of atomic        energy    shah    be
           directed        so as to promote             world     peace,     improve        the general       wel-
           fare,     increase       the standard         of living,      and     strengthen-free          compe-
           tition     in private        enterprise.
        "SEe.     2. F1Nvlzc_s.--The             Congvess       of the United          States     hereby   makes
    the following           findings      concerning         the development,            use, and control        of
    atomic       energy:
        "a. The          development,              utilization,          and     control        of atomic       energy      for
    military          and     for     all other         purposes          are vital        to the common             defense
    and     security.
       "b. In permitting                    the    property           of the United              States    to be used         by
    others,      such       use must          be regulated           in the national             interest    and in order
    to provide            for    the     common             defense        and     security         and   to protect        the
    health      and       safety      of the public.
       "c. The         processing            and     utilization         of source,          byproduct,        and    special
    nuclear        material          affect      interstate         and      foreign        commerce         and    must      be
    regulated          in the national               interest.
       ad.     The       processing      and   utilization                 of source,    b_'product,         and            special
    nuclear           material      must     be regulated                   in the    natmnal        interest               and     in
     order  to provide              for   the      common              defense       and     security          and    to   protect
    the health    and           safety      of     the public.
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 575ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 846
                                                                                    1738



      922                                                           PUBLIC        LAW Y0_--AUG.             30,   1954                [68   STAT.


                                          "e. Source         and special         nuclear     material,        production         facilities,       and
                                      utilization        facilities     are affected     with the public          interest,     and regulation
                                      by the United           States     of the production          and utilization         of atomic         energy
                                      and of the facilities               used in connection            therewith        is necessary          in the
                                      national        interest       to assure      the common           defense      and security            and to
                                      protect      the health         and safety       of the public.
                                          "f. The necessity             for protection        against       possible      interstate        damage
                                      occurring        from the operation             of facilities      for the production             or utiliza-
                                      tion of source           or special     nuclear     material       places     the operation          of those
                                      facilities      ill interstate        commerce       for the purposes             of this Act.
                                          "g. Funds        of the United          States   may be provided             for the development
                                      and use of atomic               energy     under    conditions        which      will provide          for the
                                      common         defense        and security       and promote          the general        welfare.
                                          "h. It is essential          to the common         defense       and security         that title to all
                                      special      nuclear        material      be in the United             States      while      such special
                                      nuclear       material        is within     the United        States.
                                          "SF_c. 3. Pv_eosv..--It              is the purpose           of this Act to effectuate                  the
           Prc_r      _8.
                                      policies      set forth        above by providing            foru
                                                 "a. a program             of conducting,         assisting,      and fostering           research
                                              and development              in order to encourage                maximum           scientific      and
                                              industrial        progress;
                                                 "b. a program           for the dissemination            of unclassified          scientific     and
                                              technical        information          and for the control,                dissemination,            and
                                            declassification       of Restricted           Data,     subject     to appropriate         safe-
                                            guards,     so as to encourage           scientific     and industrial         progress;
                                                "c. a program         for Government              control      of the possession,         use,
                                            and production          of atomic       energy       and special       nuclear     mater_al      so
                                            directed       as to make         the maximum            contribution        to the common
                                            defense     arid security      an _l the national         welfare;
                                                "d. a program        to encourage         widespread         participation        in the de-
                                            velopment        and utilization        of atomic       energy      for peaceful       purposes
                                            to t_e maximum            cxter_t consistent          with the common             defense     and
                                            seo,xity      and with       the health        and safety         of the public;
                                                "e. a program           of international            cooperation         to promote         the
                                            common       defense    and security         and to make avaihble              to cooperatin_
                                            nations     the benefits       of peaceful        applications        of atomic      energy      as
                                            widely     as cxpanding         technology       andconsiderations             of the common
                                            defense     and security        will permit;        and




                                            action     as may      be appropriate.

                                                                  "CHAPTER               2.   DEFINITIONS

                                          "SEe. 11. DEFINI_rmNs._The             intent    of Congress      in the definitions       as
                                      given    in this section       should  be construed         from the words         or phrases
                                      used in the definitions.         As used in this Act -
                                          "a. The term 'agency            of the United         States'   means     the executive
                                      branch     of the United       States,  or any Government            agency,     or the legis-
                                      lative   branch       of the United      States,    or any agency,         committee,      com-
                                      mission,     office, or other establishment           in the legislative      branch,    or the
                                      judicial    branch      of the United     States,    or any office, agency,        committee,
                                      commi_ion,          or other establishment         in the judicial       branch.
          "*Agzeement           for
      c oo_4Rr    atiof_e   _             "b. The terra 'agreement            for cooperation'          means     any agreement
                                      with another         nation   or regional      defense    organization,       authorized      or
                                      permitted      by sections    54, 57, 64, 89_, 103, 104, or 144, and made pursuant
                                      to section    19,3.
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 586ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 847
                                                                                    1739


    68STAT-]                        PUBLICLAW703--AUG.30, 1954                                                                                                       923

         "C. The term 'atomic energy' means all forms oi _energy released in                                                              "Atomic                 °ne_.


     the course of nuclear                 fission or nuclear             transformation.
                                                                                                                                          **Atomic           we     mpo
         "d. The term 'atomic                    weapon'          means        any device           utilizinff       atomic        o(1.     s_

    energy,        exclusive           of the means              for transporting                or propelling             the
     device      (where         such means             is a separable             and divisible            part      o3 the
    device),        the principal             purpose        of which         is for use as, or for develop-
    ment of, a weapon,                   a weapon          prototype,         or a weapon             test device.
                                                                                                                                        "eBypt        od_t         ma-
         "e. The term 'byproduct                       material'         means      any radioactive               material         t °rlltllto       t_

     (except       special       nuclear        material)          yielded       in or made radioactive                     by
    exposure          to the radiation                incident          to the process             of proctucing             or
     utilizing       special       nuclear       material.
         "f. The term 'Commission'                        means        the Atomic           Energy         Commission.                    "Co,_.ion."
         "g. The term 'common                        defense         and security'           means         the common
    defense       and security             of the United             States.
         "h. The term 'defense                    information'            means       any information                in any          0q_.te_..                h_
    category         determined            by any Government                  agency       authorized          to classify         re,iron.-
    information,             as being        information            respecting,         relating       to, or affecting
    the national           defense.
         "i. The        term 'design'             means         (1)      specifications,           plans,      drawings,                 "q_,.ir,.-
     blueprints,         and other items of like nature;                            (2) the information                  con-
     tained      therein;        or (3) the research                   and development                 data pertinent
     to the information                contained        therein.
                                                                                                                                         "'Oovernme,t
        "j. The term               'Government              agency'         means        any executive              depart-       _enoy.             t_*
    ment, commission,                   independent           establishment,             corporation,           wholly       or
     partly      owned         by the United               States       of America           which        is an instru-
     mentality         of the United            States,      or any board, bureau, division,                       service,
     office, officer, authority,                administration,              or other establishment                   in the
     executive        branch of the Go_,oernment.
         "k. The term             'international            arrangement'             means        any international                  ..;,tor.,tto,_,
    agreement           hereafter          approved          by the Congress               or any treaty            during        ,-*_°,,,_t.-
    the time such agreement                       or treaty         is in full force and effect, but does
    not include           any agreement              for cooperation.
         "1. The term              'Joint       Committee'             means       the Joint           Committee            on           -jo,_             Coffi=lt-
                                                                                                                                  tee.      ._
    Atomic        Energy.
        "m. The term 'operator'                        means          any individual              who manipulates                        -op.r.to_.-
    the controls           of a utilization            or production             facility.
        "n. The term 'person'                    means       (1) any individual,                corporation,           part-             ..penon.-
    nership_        firm, association,              trust,      estate,      public      or private          institution,
    group,      tlovernment               agency      other than the Commission,                          any State or
    any political           subdivision          of, or any political              entity     within        a State, any
    foreign      government               or nation       or any political             subdivision          of any such
    government             or nation,          or other        entity;       and (2) any legal                 successor,
    representative,             agent, or agency              of the foregoing.
        "o. The term _produce',                       when       used in relation               to special         nuclear               ,q,,od,e°.,,
    material,         means       (1) to manufacture,                   make,      produce,         or refine special
    nuclear       material;           (9_) to separate           special      nuclear        material        from      other
    substances          in which          such material            may be contained;                 or (3) to make
    or to produce             new special          nuclear       material.
        "p. The term 'production                          facility'       means        (I)     any equipment                or      ..prod,trio,                    t=-
   device determined                  by rule of the Commission                      to be capable           of the pro-          etU*,.-
   duction       of special          nuclear       material        in such quantity              as to be of signifi-
   cance      to the common                  defense       and security,            or in such manner                  as to
   affect the health             and safety           of the public;            or (2) any important                   com-
   ponent       part especially               designed         for such equipment                  or device         as de-
   termined         by the Commission.
       "_t. The         term       'research         and development'                  means         (1)     theoretical            .q_n°,_oh .rid
   analysis,         exploration,            or experimentation;                   or (2)         the extension            of     _vozopm,   t."
   investigative            findings         and theories           of a scientific          or technical           nature
   into practical             applfcation           for experimental                and demonstration                   pur-
                                                                                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 597ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 848
                                                                                    1740



     924                                                                        PUBLIC        LAW 703--AUG.            30,   1954                     [68   STATo




                                                  t_oses, including    tile expemmental                   production         and    testing           of models,
                                                    evices, equipment,     materials, and                 processes.
         ''Restricted                                    •             •             o                ?                                       •   *                 -
     Dat    a. "




                                                   classified      or removed        from tile Restricted              Data category         pursuant       to
                                                   section     142.
             I_ou_ce                   rnRt_
     rial.       "_                                    "s. The term 'source material'                 means      (1) uranium,         thorium,       or any
                                                   other material         which is determined            by the Commission             pursuant       to the
                                                   provisions        of section     61 to be source material;               or (2) ores containing
                                                   one or more of the foregoin_                   nmteria]s,       in such concentration              as the
                                                   Commission           may by regulatl_on          determine          from time to time.
        "Special                  nuclear
     material.             'P
                                                       "t. The term 'special            nuclear      material'       means     (1) plutonium,           ura-
                                                   nium     enriched      in the isotope        233 or in the isotope             235, and any "other
                                                   material       which the Commission,              pursuant         to the provisions         of section
                                                   51, determines          to be special         nuclear       material,      but does not include
                                                   source      material;     or (2) any material               artificially     enriched        by any of
                                                   tile foregoing,       but does not include          source material.
             '#Un/ted           States"'
                                                       "u. The term 'United              States',     when used in a geographical                     sense,
                                                   includes       all Territories      and possessions           of the United         States,     and the
                                                  Canal Zone.
           "Utilization                     fa-
     cility.          '_                               "v. The term 'titilization         facility'     means       (1) any equipment            or device,
                                                  except      all atomic     weapon,      determined         by rule of the Commission                 to be
                                                  capable      of making        use of special        nuclear      material      in such quantity          as
                                                  to be of significance            to the common            defense       and security,        or in such
                                                  manner        as to affect the health           and safety         of the public,       or peculiarly
                                                  adapted        for making       use of atomic energy               in such quantity          as to be of
                                                  significance        to the common         defense      and security,        or in such manner            as
                                                  to affect       the health      and safety        of the public;          or (2) any important
                                                  component          part especially        designed       for such equipment              or device       as
                                                  determined         by the Commission.

                                                                            "CHAPTER              3. ORGANIZATION

                                                      "SEC. 21. ATOmiC E_l_G_r CoMMrSSmN._There                              is hereby established
                                                  all Atomic       Energy       Commission,        which shall be composed                of five mem-
                                                  bers, each of whom shall be a citizen                  of the United         States.      The Presi-
                                                  dent shall       designate        one member          of the Commission               as Chairman
                                                  thereof     to serve as such during               the pleasure         of the President.           The
                                                  Chairman        may from time to time designate                     any other member            of the
                                                  Commission         as Acting        Chairman        to act in the place and stead of the
                                                  Chairman        during      his absence.        The Chairman             (or the Acting        Chair-
                                                  man in the absence             of the Chairman)           shall preside        at all meetings        of
                                                  the Commission            and a quorum           for the transaction            of business      shall
                                                  consist    of at least three members              present.       Each member            of the Com-
                                                  mission,     including       tim Chairman,          shall have equal responsibility                and
                                                  authority      in all decisions       and actions       of the Commission            and shall have
         Actlon_
                                                  one vote.       Action      of the Commission           shall be determined           by a majority
                                                  vote of the members             present.      The Chairman            (or Acting       Chairman       in
                                                  the absence       of the Chairman)             shall be the official spokesman                 of the
                                                  Commission         ill its relations       with tlle Congress.           Government         agencies.
                                                  l)ersons,    or the public,        and, on behalf         of the Commission,             shall see tO
                                                  the faithful      execution       of tile policies      and decisions        of the Commission,
                                                  and shall report         thereon     to the Commission           from time to time or as the
        Ssm|.
                                                  Commission         may direct.           The Commission            shall    have an official seal
                                                  which     shall be judicially         noticed.
                                                     "SEe. 22. Mm_Er.aS_--
        Appo|_fment
    te_l_         etc.                                "a. _Iembers         of the Commission             shall   be appointed           by the Presi-
                                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 608ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 849
                                                                                    1741



     68   STAT.]                 PUBLIC      LAW 70_.-AUG.           30,   1954                                                      925


     dent, by and with tile advice           and consent       of tile Senate.      Ill _bmit-
     ting any nomination            to the Senate,     the President     shall   set forth     the
     experience       and qualifications      of tile nominee.        The term      of office of
     each member         of the Commission      taking    office after June 30, 1950, shall
     be five years,       except   that  (1) the terms     of office of the members          first
     taking     office after     June 30, 1950, shall      expire,    as designated      by the
     President      at the time of the appointment,         one at the end of one year, one
     at the end of two years, one at the end of,three     years, one at the end of
     four years,  and one at the end of five years, after June 30, 1950; and
      (9.) any member   appointed   to fill a vacancy     occurring   prior to the
     expiration  of the term for which    his predecessor    was appointed,   shall
     be appointed      for the remainder"         of such term.             Any     member      of the
     Commission       may be renmved         b_ the President           for il_fficiency,      neglect
     of duty,   or ma|feasance         in office.     Each     member,          except     the Chair-
     nmn, shall     receive    compensation        at the rate         of $18,000        per annum;
     and the member         designated      as Chairman          shall     receive     compensation
     at the rate of $20,000       per annum.
        "b. No member         of the Commission            shall     engage       in any business_
     vocation,    or employment         other than     that     of serving         as a nlember        of
     the Conunission.
        "SEc. 03. Or_cz._The               principal      office of the Commission          shall be
     in or near the District          of Columbia,         but the Commission          or any duly
     authorized     representative        may exercise         any or all of its lmwers       in any
     place;     however,     the     Commission         shall      maintain   an office for the
     service    of process     and papers        within     the District    of Columbia.
        "SEc. "->4. G_:.wFmxL MA_._Gr.R.---Thel_e                is hereby   established      within
     the Commission         a General        Manager,       who shall discharge         such of the
     administrative        and     executive      functions        of the Commission          as the
     Comnn_smn_ . ma. _ direct.           _he Genelal      Manager      shall be aplmmted.
                                                                                        .        by
     the (ommlssmn,            shall serve    at the pleasure     of the Commlssmn,           shall
     be removable         by the Commission,         and shall     receive    compensation         at
     a rate     determined        by the Commission,          but not in excess       of $20_000
     per annum.
        "'Szc.     25. DxvIsm._s        A._v Or-FICEs._There          is hereby      established
     within      the Commission--
                                                                                                                  Program            d/vl-
               "a.    a Division     of Military    Application     and such other program                    I ioniQ

            divisions     (not to exceed       ten in nnmber)       as the Commissionlnay
             determine       to be necessary    to the discharge        of its responsibilities,
             including      a division    or <lix isions   the primary       responsibilities           of
             which     include   the development        and application      of civilian      uses      of
                                                                                                                 D/rectoes.
             atomic     energy.      Each      such division       shall    be under       the direction
             of a Director      who simll be appointed             by the Commission            and shall
             receive    compensation          _.it a rate    deternfined       by the Commission,
             but not in excess           of $16,000       per annmn.          The     Director     of the
              Division     of 3[ilitar_:      Application       shall    be an active         member     of
             the Armed       Forces.       the ()ommission          shall require       each such divi-
             sion to exercise      such of the Commission's              administrative         and exec-
             utive    powers    as the ('ommission           may determine          ;
                 "'b. an Office of the General            Counsel      under    the direction       of the       Gtn_ral       COUnIMt       |.


             General      Counsel     who shall be appointed              by the Commission            and
             shall receive      compensation          at a rate determined            by the Commis-
             sion, but not in excess of $16,0C_)per                 ammm;        and
                                                                                                                  Inspection        Divi-
                 "c. an Inspection          Division      under     the direction        of a Director        $1one

             who shall be appointed             by the Comm;.ssion           and shall receive        com-
             pensation      at a rate       determined        by the Commission,              but not in
             excess    of $16.t}(}0 pet: annum.        The Inspection Division   shall be
             responsible     for gathering     information   to show whether   or not the
             contractors,     licensees,   and officers and employees   of the Commis-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-7Filed: 01/28/22
                                          Filed: 02/06/17Page: 619ofof903
                                                           Page:          PageID #:
                                                                       44 PageID #: 850
                                                                                    1742


 926                                                             PUBLIC           LAW       703--AUG.          301 1954                      [$8    STAT.



                                         sion are complying                   with the provisions               of this Act (except                    those
                                         provisions            for     which        the Federal             Bureau        of Investigation                   is
                                         responsible)             and the appropriate                    rules     and regulations                  of the
                                         Commission.
                                   "SEC. fig. GRNFAtAL ADVISORY Co_MXTT_.g.---There                                           shall be a General
                               Advisory            Committee             to advise       the Commission               on scientific            and tech-
                               nical        matters          relating        to materials,             production,           and research                 and
                               development,               to be composed              of nine members,              who shall be appointed
                               fronl civilian              life by the President.                      Each      member          shall hold office
                               for a term of six years, except                           that      (a) any member               appointed             to fill
                               a vacancy             occurring         prior      to tile expiration            of the term for which                      his
                               predecessor              was appointed,               shall be appointed               for the remainder                     of
                               such term;               and (b) the terms                  of office of the members                       first taking
                               office after August                  1, 1946, shall expire,              as designated           bv the President
                               at the time ofapp0intment,                              three      at the end of two'years,                       three at
                               the end of four years,                      and three at the end of six years, after August
                               1. 1946.            The Committee                 shall designate             one of its own members                         as
                               Chairman.                 Tile Committee                shall     meet at least four times in evel\v
                               calendar           year.         The members               of the Committee                 shall receive              a per
                               diem compensation                     for each day spent in meetings                         or conferences,               and
                               all members               shall receive           their     necessary         travelhlg        or other expenses
                               while engaged                in the work of the Committee.
                                   "SIgC. "9-7. MILITARY Lt._Xso_                          Co_[_TTEz._There                     is hereby             estab-
                               lished a Military                  Liaison       Committee           consisting       of__
                                             "a. a Chairman,                who shall be the head thereof                       and who shall be
                                         appointed           by the President,               by and with            the advice           and consent
                                         of the Senate,              who shall          serve at tile pleasure                 of the President,
                                         and who shall receive                    compensation             at the rate prescribed                    for an
                                         Assistant         _ecretary          of Defense;           and
                                             "b. a representative                 or representatives             from each of the Depart-
                                         ments        of tile Arm_;, Navy.                 and Air Force.              in equal numbers,                     as
                                         determined            by the _ec_etal:y             of Defense,         to be assigned              from each
                                         Department              by the Secretary              thereof,       and who will serve without
                                         additional          compensation.
                               The Chairman                  of the Committee                may designate            one of the members                    of
                               the Committee                  as Acting           Chairman           to act during            his absence.               The
                               Commission                shall advise          and consult          with the Department                    of Defense,
                               through          the Committee,               on all atomic          energy matters            which the Depart-
                               ment         of Defense             deems       to relate        to mihtary          applications              of atomic
                               weapons            or atomic           energy        including         the development,                manufacture,
                               use, and storage                  of atomic          weapons,         the allocation           of special           nuclear
                               material          for military            research,       and the control            of information                relatine:
                               to the manufacture                   or utilization          of atomic weapons;                and shall keep the
                               Department                of Defense,           through         the Committee,              fully     and currently
                               informed            of all such matters               before      tile Commission.               The Department
                               of Defense,             through          the Committee,              shall keep the Commission                           fully
                               and        currently           informed           on all matters              within       the Depm"ement                     of
                               Defense           which the Commission                      deems to _elate            to the development                     or
     Authc¢ity    of   De-
 fense     DepMrtmente
                               application             of atomic           energy.        The Department                 of Defense,             through
                               the Committee,                 shall have the authority                    to make written             recommenda-
                               tions to the Commission                        from time to time on matters                        relating         to mili-
                               tary applications                  of atomic         energy       as the Department                of Defense             may
                               deem appropriate.                     If the Department                of Defense        at any time concludes
                               that any request,                 action,      proposed        action, or failure            to act on the part of
                               the Commission                   is adverse        to the responsibilities              of the Department                     of
                               Defense,          the Secretary              of Defense          shall l_efer the matter                 to the Presi-
                               dent whose decision                   shall be final.
    Dlrectm.,       Dtw   t-
 sionof       Military             "SEc.        "28.   APPOINTMENT                OF ARMY,          NAVY,      OR   Am Fosct:             OIlTICERS.        ---
 Appli¢    mtio_               Notwithstanding                    the provisions            of any other law, any active                        ot_cer of
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:6210
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1743
                                                                                851


  68   STAT.]                   PUBLIC          LAW      T03--AUG.          30, 1954                                                           9_7

  tile Army,      Navy,    or Air Force may serve as Director                   of the Division
  of Military      Application       without    prejudice       to his commissioned           status
  as such officer.       Any such officer serving            as Director       of the Division
  of Military      Application      shall receive     in addition       to his pay and allow-
  ances,    including     special    and incentive        pays,    an amount        equal    to the
  difference      between     such    pay and allowances,             including      special     and
  incentive      pays, and the compensation             prescribed        in section     25.    Not-                        t_ Lc_='_         ran-
  withstanding        the provisions       of any other law, any active                or retired                           let,,,,           co=-
  officer of the Army,        Navy, or Air Force may serve as Chairman                        of the
  Military-    Liaison    Committee       without     prejudice      to his active      or retired
  status    as such officer.       Any such officer serving              as Chairman         of the
  Military     Liaison    Committee       shall receive,        in addition     to his pay and
  allowances,     including special    and incentive    pays, or in addition     to his
  retired    pay. an amount    equal to the difference       between   such pay and
  allowances,    including  special and incentive      pays, or between    his retired
  pay, and the compensation        prescribed   for the Chairman     of the Military
  Liaison     Committee.

                                   "CHAPTER                 4. RESEARCH

      "SEc. 31. RESEARCH ASSlSTANCt.--
      "a. The Commission                       is directed       to exercise         its powers        in such ma:_-
  her as to insure                the continued             conduct         of research         and developrnetxt
  activities        in the fields specified                below, by private             or public institutions
  or persons,          and to assist in the acquisition                         of an ever-expanding               fund
  of theoretical              and practical             knowledge             in such fields.           To this end
  the Conmlission                  is authorized             and directed             to make        arrangements
  (including            contracts,            agreements,           and       loans)      for the conduct              of
  research       and development                   activities      relating       to--
             "(1)      lmclear         processes;
             "(2)        the theory             and production               of atomic        energy,       including
          l_rocesses,        materials,          and devices          related      to such production;
             "(3)        utilization           of special         nuclear         material       and radioactive
         material          for medical,            biological,         agricultural,         health,     or military
         purposes;
             "(4)      utilization           of special        nuclear       material,       atomic energy,          and
         radioactive             material         and pl_cesses             entailed      in the utili_t|0n            or
         production             of atomic           energy" or such material                  for all other pur-
         poses,       including          industrial         uses, the generation               of usable       energy,
         :rod the demonstration                      of the practical            value of utilization           orpro-
         duction         facilities         for industrial           or commercial             purposes;        and
             "(5)       the protection                of health           and the        promotion          of safety
         during         research          and production                activities.
     "b.. The Commission                     may (1) make arrangements                          pursuant        to this
 section,      without          regard to the provisions                    of section      3709 of the Revised
                                                                                                                              41   usc   5.
 _tatutes,        as amended,              upon certification               by the Commission               that such
 action is necessary                 in the interest           of tile common            defense      and security,
 or upon a showing                 by the Commission                 that advertising           is not reasonably
 practicable;             (2) make              partial       and advance              payments          under      such
 _wrangements;               and (3) make available                      for use in connection             therewith
 such of its equipment                     and facilities          as it may deem desirable.
    "c. The alTangements                         made pursuant               to this section         shall contain
 such provisions               (1) to protect health,                 (2) to minimize            danger      to life or
 property,         and (3) to require the reporting                           and to permit the inspection
 o+f work performed                     thereunder,            as the Commission                 may      determine.
 N o such arrangement                     shall contain          any provisions            or conditions         which
 prevent       the dissemination                  of scientific       or technical         information,         except
 to the extent           such dissemination                 is prohibited           by law.
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Case:
Case:  4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                          Doc.#:  1-4
                                   48-7Filed:
                               #: PUBLIC      01/28/22
                                         Filed: 02/06/17Page:
                                                          Page:6311
                                                                  ofof
                                                                    903   PageID
                                                                       44[68
                                                                           PageID  #:
                                                                                    #:1744
                                                                                       852
   928                                    LAW 703--AUG. 30, 1954             STAT.

                            "SEc. 32. RESEARCH BY THE CoM_xssIo_._The                         Commission        is author-
                        ized and directed           to conduct,    through     its own facilities,       activities     and
                        studies,, of the types specified" in section            31.
                             SEc. 33. R_;SEARCH FOR OTHERS.--_Vhere                    the Commission           finds pri-
                        vate facilities       or laboratories     are inadequate      to the purpose,       it is author-
                        ized to conduct          for other persons,       through      its own facilities,          such of
                        those    activities      and studies     of the types       specified     in section       31 as it
                        deems      appropriate        to the development         of atomic      energy.       The Com-
                        mission      is authorized        to determine      and make        such charges          as in its
                        discretion       lnay    be desirable      for the conduct          of such     activities      and
                        studies.

                             "CHAPTER                         5. PRODUCTION      OF                     SPECIAL        NUCLEAR
                                                                        MATERIAL

                           "S_:c.         41.     OWNERSHIP            AND      OPERATION          OF    PRODUCTION      FACILITIES._

                                    "a.         O_VNERSt|IP        OF        PRODUCTION          FACILITIES._The          Conin_lssion,

                              as agent of and on behalf        of the United         States,   shall be the exclu-
                              sive owner of all production          facilities     other than facilities        which
                               (1) are useful    in the conduct      of research       and development         activi-
                              ties in the fields specified     in section      31, and do not, in the opinion
                              of the Commission,        imve a potential         production       rate adequate        to
                              enable   the user of such facilities          to produce       within    a reasonable
                              period    of time a sufficient      quantity       of special      nuclear    material
                              to produce    an atomic     weapon;     or (2) are licensed          by the Commis-
                              sion pursuant    to section   103 or 104.
                                    "b.      OPERATION            OF    TItlE    CO_IMISSION_S            PRODUCTION     FACILITIES.---

                              The   Commission           is authorized       and directed      to produce      or to pro-
                              vide for the production                of special    nuclear      material      in its own
                              production       facilities.       To the extent       deemed      necessary,     the Com-
                              mission      is authorized       to make,       or to continue       in effect,   contracts
                              with persons        obligating       them to produce         special    nuclear    material
                              in facilities      owned      by the Commission.            The Commission             is also
                             authorized         to enter       into     research    and     development         contracts
                             •mthorizing        the contractor         to produce     special     nuclear     material     in
                              facilities      owned         by the Commmsion               to the extent          thatthe       produc-
                             tion of such special               nuclear     material       may be incident             t_ the conduct
                             of     research         and      development            activities         under       such     contracts.
                             Any contract              entered      into under         this section        shall contain          provi-
                             sions      (1) prohibiting            the contractor          from       subcontracting          any part
                             of the work            he is obligated          to perform          under      the contract,         except
                             as authorized              by the Commission;                  and       (2) obligating           the con-
                             tractor        (A)      to make        such reports          pertaining          to activities        under
                             the contract            to the Commission                as the Commission                 may     require,
                              (B)      to submit         to inspection         by employees              _f the Commission              of
                             all such activities,              and (C) to comply               with all safety            and security
                             regulations           which        may      be prescribed          by the Commission.                   Any
                             contract        made         under      the provisions            of this paragrap!l               may     be
                             made        without         regard        to the provisions               of sectioli        3_09 of the
        41   USC   So
                             Revised         Statutes,        as amended,          upon      certification        by the Commis-
                             sion that         such      action     is necessary         in the interest            of the common
                             defense        and security,          or upon        a showing          by the Commission               that
                             advertising           is not reasonably              practicable.            Partial        and advance
                             payments            may       be made         under      such      contracts.           The     President
                             shall      determine          in writing        at least once each year                  the quantities
                             of special         nuclear       material       to be produced             under      this section      and
                             shall      specify       in such      determination            the quantities            of special      nu-
                             clear      material        to be available          for distribution           by the Commission
                             pursuant         to section        53 or 54.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:6412
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1745
                                                                                853
    68      STAT.]                       PUBLIC     LAW 703--AUG.         30,    1954                                    929


                  _C°    OPERATION         OF   OTHER   PRODUCTION       _'AcILrrlEs.MSpecial              nuclear
               material    may be produced      ill the facilities which under                       this section
               are not required      to be owned by the Commission.
           "_EC.     4_. IRRADIATION       OF  MAT_IALS.--The       Commission                          and     per-
    sons lawfully           producing          or utilizing       special      nuclear       niaterial       are au-
    thorized       to expose         matelials        of any kind to the radiation                     incident     to
    the processes          of producing           or utilizing        special     nuclear        material.
        "SEc. 43. ACQUISITION OF PRt_I)UCTION FAcILITIES.---The                                     Commission
    is authorized          to purchase          any interest        in facilities        for the production
    of special       nuclear        materials,       or in real prol)erty           on which         such facili-
    ties are located,          without       regard      to the provisions          of section         3709 of the
    Revised       Statutes,         as amended,          upon certification            by the Commission
    that such action            is necessary        in the interest        of the common             defense      and
    security,      or upon a showing               by the Commission              that advertising             is not
    reasomtblv         practicable.            P_trtial    and advance          payments          may be made
    under     ton'tracts       for such purposes.             The Conmllssion              is further       author-
    ized to requisition,             condemn,        or otherwise         acquire      any interest          in such
    production          facilities,      or to condemn             or otherwise           acquire        such    real
    pro l_eI'tv , and just compensation                     shall be nlade therefor.
        "_E¢;._44.       DlsPos1"rm._"         OF ES_RO_'._If            energy       is produced           at pro-
    duction      facilities       of the Commission               or is pr_luced              in experimental
    utilization       facilities       of the Commissiou,               such energy           may be used           by
    the Commission,              or transfcrred          to other      Government            agencies,       or sold
    to publicly,          cooperatively,           or privately          owned       utilities       or users       at
    reasonable         and      nondiscriminatory              priees.        If the energy              produced
    is e!ectric      energy,       the price    shall be subject        to regulation      6y the appro-
    re'late     a__eney haviIIg           jurisdiction.          In contracting       for the disposal
    of such e_leI'gv,           the C-omnlission          shall    give preference      and priority        to
    public     bodies      and cooperatives             or to privately       owned    utilities    provid-
    ing electric        utility     selwices   to high cost al_eas not being           served     by public
    lmdies       or cooperatives.             Nothing        in this     Act shall     be construed         to
    authorize         the     Commission          to engage         in the sale or distribution             of
    energy       for cominercial           u_ except        such energy       as may be produced            by
    the Commission                incident     to the operation           of research       and    develop-
    ment     facilities        of the Cominission,             or of production        facilities     of the
    Comlni_sion.

                     "CHAPTER               6. SPECIAL          NUCLEAR              MATERIAL

        "SF.c.   51. SPECL_L         N_CI_EAn        MAT_mAL._The               Commission           may
    determine       from     time to time that other              nlaterial      is special     nuclear
    material      in addition        to that     specified      in the definiti-on          as Sl_cial
    nuclear    material.        Before     making      any such determination,               the Com-
    mission    must     find that such material            is capable        of releasing      substan-
    tial quantities       of atomic     energy     and must find that the determination
    that such material          is special   nuclear      material       is in the interest       of the
    common      defense      and security,      and the President             must    have expressly
    assented    in writing        to the determination.               The Comini_ion's            deter-
    ruination,    together      with the assent       of the President,          shall be submitted
    to the Joint Committee             and a period       of thirty       days shall elapse        while
    Congress      is in session      (in computing         such thil_ty days, there shall be
    excluded      the days       on which      either    House        is not in session         because
    of an adjournment         for more than three days)          before the determination
    of the Commission         may become        effective: Provided,    however,   That the
    Joint     Committee,     after    having     received  such deterlnination,     may    by
     resolution   in writing,      waive    the conditions    of or all or any portion      of
    such thirty-day      period.
        "SEC.    5"2. GOVERNMENT            OWNERSHIP       OF ALL      SFEC'IAL NUCLEAX
    _fATERL_L._All       rights,    title, and interest     in or to any special    nuclear




         39777   O----55--pt.    1--61
                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:6513
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
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          93O                                        PUBLIC     LAW     703--AUG. 30, 1954                   [68   STAY.



                          material  within or under the jurisdiction           of the United States, now or
                          hereafter   produced,     shall be the property         of the United       States and
                          shall be administered       and controlled     by the Commission           as agent of
                          and on behalf of the United States by virtue of this Act.                  Any person
                          owuing any interest       in any special nuclear material          at the time when
                          such material    is hereafter    determined     to be a special nuclear        material
                          shall be paid just compensation         therefor.       Any person who lawfully
                          produces   any special nuclear       material,    except pursuant       to a contract
                          with the Commission         under the provisions         of section 31 or 41, shall
                          be paid a fair price, determined        pursuant      to section 56, for producing
                          such material.
                             "SEc. 53. I)OM_STIC DmT_BUTION                 or    SPECIAL    NUCLEAR        MATE-

                          RIAL._

                             %. The Commi_ion         is authorized    to issue licenses for the possession
                          of, to make available      for the period of the license, and to distribute
                          special nuclear material       within the United States to qualified appli-
                          cants requesting      such material_--
                                    "(1) for the conduct of research       and development        activities     of
                                the types specified    in section 31 ;
                                    "(2) for use in the conduct of research and development                activi-
                                ties or in medical      therapy    under    a license    issued pursuant         to
                                section   104 ; or
                                    "(3)  for use under a license issued pursuant            to section 103.
                             "b. The Commission        shall establish, by rule, minimum            criteria for
                          the issuance of specific or general licenses _or the distribution            of special
                          nuclear material     depending     upon the degree of importance           to the com-
                          mon defense and security        or to the healthand      safet_y of the public of--=_
                                    "(1) the physical characteristics      of the specml nuclear material
                                to be distributed;
                                   a__($),,_ the quantities   of special    nuclear    material    to be distributed;
                                   "(3)    the intended       use of the special         nuclear   material     to be
                                distributed.
            Ch_"ge   so      %. The Commission          may make a reasonable           charge, determined       pur-
                          suant to this section, for the use of special nuclear                  material   licensed
                          and distributed      under subsection        53 a. (1) or subsection        53 a. (2) and
                          shall make a reasonable         charge determined          pursuant to this section for
                          the use of special nuclear            material      licensed   and distributed       under
                          subsection     53 a. (3).    The Commission           shall establish criteria    in writ-
                          ing for the determination          of whether      a charge will be made for the use
                          of special nuclear       material     licensed    and distributed      under subsection
                          53 a. (1) or subsection           53 a. (_), considering,         among other things,
                          whether     the licensee is a nonprofit        or eleemosynary       mttitut_on and the
                          purposes,, for which. . the special nuclear materml" will" be used.
                              d. In determining          the reasonable         charge to be made by the Com-
                          mission for the use of special nuclear                 material     distributed     to licensees
                          of utilization     or production        faciliti_      l icem_l    pursuant to section 103
                          or 104, in addition to consideration               of the cost thereof, the Commission
                          shall take into consideration--
                                   "(I) the use to be made of the special nuclear                     material;
                                   "(_)   the extent to which the use of the special nuclear                     material
                                will advance        the development             of the peaceful         uses of atomic
                                energy;
                                   "(3)    the energy       value of the special nuclear                material     in the
                                particular     use for which the license is issued;
                                   "(4)    whether      the special         nuclear     material     is to be used in
                               facilities    licensed     pursuant      to section 103 or 104. In this respect,
                               the Commission          shall, insofar        as practicable,      make uniform,        non-
                               discriminatory         char_        for the use of special nuclear                material
                               distributed       to facilihes    licensed pursuant           to section 103; and
                                                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:6614
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1747
                                                                                855
   68 STAT.]                PUBLIC       LAW V03--AUG.          30, 1954                                                         931

            "(5)    with respect          to special      nuclear     material       consumed      in a
         facility    licensed      pursuant        to section      103, the Comnli_ion            shall
         nmke a further           charge based on the cost to the Commission,                         as
         estimated      by the Commission,              or the average        fair price paid for
         the production         of such special nuclear             material    as determined        by
         section 56, whichever            is lower.
                                                                                                               Llconse       e o n d l-
      "e. Each license issued pursuant                 to this section shall contain and be                t|OrlSe
   subject to the following            conditions--
             "(1) title to all special             nuclear    material     shall at all times be
         in the United States;
             "('2) no rigi_t to the special nuclear material                   shall be conferred
         by the license except as defined by the license;
           ""(3)    neither     the license nor any right under the license shall
         be assigned or otherwise             transferred       in violation     of the provisions
         of this Act;
             "(4) all special nuclear material                shall be subject to the right of
         recapture       or control        reserved       by section      108 and to all other
         provisions      of this Act;
             "(5) no special nuclear             material     ntay be used in any utilization
         or production        facility     except in accordance           with the provisions        of
         this Act;
             "(6) special nuclear material               shall be distributed         only on terms,
         as may be established            by rule of the Commission,              such that no user
         will be permitted to construct an atomic weapon;
             "(7) special nuclear material shall be distributed                       only pursuant
         to such kafety         standards         as may be established              by rule of the
         Commission         to protect health and to minimize                    danger to life or
         property;      and
                (8) the licensee        will hold the United              States and the Com-
          mission     harmless       from any damages              resulting      from the use or
          possession     of special nuclear           material     by the licensee.                           Distttb_ioa          for
      "f. The Commission               is directed        to distribute      within the United
                                                                                                           lnd@pendent              re-
   States sufficient special            nuclear      material      to permit        the conduct of         UO_Chs      m$C.

   widespread        independent         |_esearch and development                 activities   to the
   maximum         extent practicable            and within the limitations                set by the
   President     pursuant      to section 41. In the event that applications                     for
   special nuclear      material      exceed the amount available for distribution,
   preference     shall be given to those activities                 which are most likely, in
   the opinion of the Commission,                 to contribute        to basic research, to the
   development       of peacetime          uses of atomic energy, or to the economic
   and military     strength of the _Tation.                _
      "SEc.   54. FOREION       DISTlglBUTION          OP  _'_PECIAL      _N_UCLEAIt Ma_mAk--
   The Commission          is authorized          to cooperate         with any nation      by dis-
   tributing special nuclear material               and to distribute such special nuclear
   material,    pursuant      to the terms of an agreement                     for COOl_ration to
   which such nation is a party and which is made in accortlance                               with
   section 123.
      "SF.c. 55. AcQutstTlO_._The                Commission          is authorized    to purchase
   or otherwise acquire any s[mcial nuclear material                      or any interest therein
   outside the United States without                  regard to the provisions           of section
                                                                                                              41   USC      S.
   3709 of the Revised Statutes,                 as amended,         upon certification      by the
   Commission       that such action is necessary in the interest of the common
   defense and security, or upon a showingby                      the Commission       that adver-
   tising is not l_asonably            practicable.       Partial       and advance payments
   maybe      made under contracts for such purposes.
      "SEe. 56. FAro P_icE._In                determining        the fair price to be paid by
   the Commission        pursuant to section 52 for the production                     of any spe-
   cial nuclear    material,     the Commission           shall take into consideration          the
   value of the special nuclear material for its intended use by the United
                                                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:6715
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1748
                                                                                856

       932                                                          PUBLIC     LAW 703---AUG.       30. 1954              [68 STAT.

                                         States and may give such weight to tiie actual cost of producing that
                                         material    as the Commission      finds to be equitable.      The fair'price,    as
                                         may be determined         by the Commission,        shall apply    to all licensed
                                         producers     of the same material    : Proeided,   however,   That the Commis-
                                         sion may establish      guaranteed   fair prices for all special nuclear mate-
                                         rial delivered     to the Commission       i_or such period   of time as it may
                                         deem necessary but not to exceed seven years.
                                            "SEC.   57.   PROHIBITION.--

                                            "a.    It shall be unlawful for any person to--
                                                    "(1) possess or transfer any special nuclear           material     which is
                                                the property     of the United States except as authorized by the Com-
                                                mission pursuant to subsection 53 a. ;
                                                    "(2)   tranfer or receive any special nuclear material              in inter-
                                                state commerce except as authorized           by the Commission        pursuant
                                                to suh_ection      53 a., or export from or import           into tile United
                                                States any special nuclear material         ; and
                                                  • (3) directly" or .lndlrectly., engage mthe. productmn           of any spe-
                                                cml nuclear mstema|           outslde of the Umted       States except       (A)
                                                under an agreement        for cooperation     made pursuant to section 123,
                                                or (B) upon authorization           by the Commission     after a determina-
                                                tion that such activity        will not be inimical to the interest of the
                                                United States.
                                            "b. The Commission           shall not distribute     any special nuclear      mate-
                                         rial--
                                                    "(1)   to any person for a use which is not under the jurisdiction
                                                of the United      States except pursuant to the provisions           of section
                                                54; or
                                                    "(2)   to any person within the I_Tnited States, if the Commission
                                                finds that the distribution        of such special nuclear material to such
                                                person would be inimical to the common defense and security.

                                                            "CH_.kPTER         7. SOURCE          MATERIAL

                                             "Sr_c. 61. So,ca             MATE_AL.--The            Commission      may determine
                                         from time to time that other material is source material                     in addition to
                                         those specified        in the definition         of source material.      Before making
                                         such determination,            the Commission          must find that such material         is
                                         essential    to the production           of special nuclear material        and must find
                                         that the determmation              that such material         is source material    is in the
                                         interest of the common defense and security, and the President                           must
           Submittal          of   d_
       terminJ,           t ion     to   have expressly         assented      in writing to the determination.            The Com-
       Joint       Committeeo            missions       determination,         together     with the assent of the President,
                                         shall be submitted         to the Joint Committee            and _ period of thirty days
                                         shall elapse while Congress                is in session (in computing          such thirty
                                         days, there shall be excluded                the days on which either House is not
                                         in session because of an adjournment                   of more than three days) before
                                         the determination          of the Commission           may become effective: Provided,
                                         however, That the Joint Committee,                    after having received such deter-
                                         mination,       may by resolution            in writing      waive the conditions       of or
                                         all or any portion of such thirty-day                period.
                                             "Sl_c. 62.   LIcg1_Sl_     lroR TI_aNSrERS       Rr_um_.--Unless        authorized     by
                                         a general       or specific license          issued by the Commission,           which the
                                         Commission         is hereby authorized           to issue, no person may transfer or
                                         z_eceive in interstate        commerce,        transfer, deliver, receive possession of
                                         or title to, or import into or export from the United States any source
                                         material after removal from its place of deposit in nature, except that
                                         licenses shall not be required for quantities                   of source material     which,
                                         in the opinion of the Conunission,                 are unimportant.
                                                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:6816
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1749
                                                                                857

    58 STAT,]                    PUBLIC        LAW 703--AUG.            30, 1954                                                 933

        "SEc. 63. DOMESTIC DmTamv'rio_                          oF SOURCE MATERIAL.---
        "a. The Comnfission                  is authorized       to issue licenses for and to dis-                   Liconlel.


    tribute source material                   within the United            States to qualified            appli-
    cants requesting             such material--
                "(1) for the conduct of research and development                                activities     of
            the types specified in section 31;
                "'(2) for use in the conduct of research                      atrd development           activi-
            ties or in medical            therapy      under a license issued pursuant                   to sec-
            tion 104 ;
                "(3) for use under a license igsued pursuant                            to section      103; or
                •'(4) for any other use apl)roved                    by the Commission              as an aid
            to seance        or industry.
        "b. The Commission                  shall establish,       by rule, minimum criteria for
    the issuance           of specific or general              licenses       for the distribution             of
    source material           depending          upon the degree of importance                   to the com-
    mon defense and security                   or to the health and safety of the public of__
                "(1)     the phyMca] characteristics                 of the source material                to be
            distributed;
               "{'2) the quantities             of source material           to be distributed;          and
                "(3) tire intended             use of the source material              to be distributed.
        "c. The Commission                    may make a reasonable                  charge      determined          Ch_ges,


    pursuant         to subsection        161 m. for the source n|aterial                licensed and dis-
    tribu ted under subsection                  63 a. (1), subsection          63 a. (2), or subsection
    63 a. (4), and shall m'tke a reasonable                       charge determined             pursuant       to
    subsection         161 m., for the source                material       licensed       and distributed
    under subsection             63 a. (3).         The Commission             shall establish        criteria
    in writing        for the determination              of whether a charge will be made for
    the source material               licensed and distributed                 under      subsection       63 a.
    (1), subsection          63 a. (2), or subsection               63 a. (4), considering,             among
    other things, whether               the licensee is a nonprofit             or eleemosynary           instf-
    tution ar_(! the lmrposes                 for which the source material                 will be used.
       "SEc. 64. FOREI(;N I)ISTRIr_UTION OF SouRcE MATernAL--The                                          Com-
    mission        is authorized          to cooperate        with any nation              by distributing
   source material           and to distribute           source material         pursuant to the terms
   of an agreement              for cooperation           to which such ]ration is a party and
    which is n|ade in accordance                      with section        1_3.      The Commission              is
   also authorized             to distribute          _urce     material       outside of the United
   States upon a determination                        by the Commission               that such activity
    will not be inimical to tire interests of the United                             States.
       "SEo. 65. Rm_oa_o._The                        Commission         is authorized         to issue such
   rules, regulations,            or orders requiring reports of ownership,                      tmsses_ion,
   extraction,         refining, shipment,            or other handling           of source material as
   it may deem necessary,                   except that such reports shall not be required
   with respect to (a) any source materiul                         prior to removal from its place
   of deposit in nature, or (b) quantities                       of source material which in the
   opinion o _ the Commi_ion                     are unimportant          or the reporting          of which
   will discourage            independent           prospecting       for new deposits.
         Szc. 66. Acqvrmaao.u.--The                   Commismon          is authorized        and directed,
   to the extent it deems necessary                        to effectuate        the provisions         of this
   &ct_
               "a. to purchase,          take, requisition,        condemn,        or otherwise acquire
           su,ptplies of source material               ;
               • b. to purchase,          condemn,        or otherwise         acquire any interest in
           real property           containing        deposits     of source material;             and
              "e. to purchase,            condemn, or otherwise                acquire rights to enter
           upon any real property                  deemed by the Commission                  to have p0_i-
           bilities     of containing             deposits     of source material              in order to
          conduct prospecting                 and exploratory         operations       for such depo6jts.
   Any purchase            made under this section may be made without regard to
                                                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:6917
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1750
                                                                                858


      934                                                             PUBLIC          LAYt 703--AUG.              30,    1954                  [68 STAT.

         41    USC     5.
                                    the provisions           of section       3709 of the Revised           Statutes,     as amended,
                                    upon      certification        by the Commission              that   such   action     is necessary
                                    in the interest         of the common         defense     and security,       or upon a showing
                                    by the Commission                 that    advertising       is not reasonably           practicable.
                                    Partial      and advanced          payments       maybe       made under contracts           for such
                                    purposes.          The Commission             may establish        guaranteed       prices      for all
                                    source     materia!       delivered      to it within      a spec]fied    time.     Just compen-
                                    sation     shai_ i,v ma4e          kot" any right,      property_      or interest     in property
                                    taken,      requisitioned,         condemned,         or otherwise        acquired       under      this
                                    section.
                                        ';SEC.     67.   OPERATIONS           ON    LANDS       BELONGING           TO   THE     U_'ITED       STA'I'FAB.--

                                     "I he Commission               is authorized,            to tile extent            it deems           necessary         to
                                     effectuate        the provisions             of this Act,           to issue leases              or permits           for
                                     prospecting          for, exploration               for, mining           of, or removal                of deposits
                                     of source material              in lands       belonging         to the United            States:         Provided,
                                     however,        That notwithstanding                   any other provisions                of law, such leases
                                     or permits          may      be issued         for lands        admmistered              for national             park,
                                     monument,           and wildlife           purposes        only when the President                       by Execu-
                                     tive Order declares               that the requirements                  of the common                 defense       and
                                     security       make       such     action       necessary.
                                         "SEc. 68. PvBtzc            LA_s.--
                                         "a. No individual,               corporation,            partnership,           or association,             which
                                     had any part,           directly       or indirectly,          in the development                  of the atomic
                                     energy       program,          may      benefit       by any location,               entry,        or settlement
                                     upon      the public           domain         made       after      such      individual,             corporation,
                                     partnership,         or association           took part in such project,                  if such individual,
                                     corporation,         partnership_           or association,           by reason        of having           had such
                                     part in the development                   of the atomic            energy       program,           ac¢luired        con-
                                     fidential      official     information            as to the existence                of deposits            of such
                                     uranium,        thorium,        or other materials               in the specific          lands upon which
                                    such location,           entry,     or settlement           is made,        and subsequent               to the date
                                    of the enactment               of this Act made such location,                         entry,       or settlement
                                    or caused         the same to be made                  for his, or its, or their benefit.
                                        "b. In cases where                an_ patent,           conveyance,           lease, permit,             or other
                                    authorization            has been issued,               which       reserved         to the United               States
                                    source       materials         and the right            to enter       upon       the land and prospect
                                    for, mine,        and remove            the same, the head of the Government                                    agency
                                    which       issued      the patent,          conveyance,           lease,     permit,        or other author-
                                    lzatlon       shall,     on application              of the holder             thereof,         issue      a new or
                                   supplemental            patent,       conveyance,          lease, permit,          or other authorization
                                    without        such reservation.                 If any rights             have      been granted               by the
                                    United        States     pursuant         to any such reservation                  then such patent                shall
                                    be made subject             to those rights,           but the patentee            shall be subrogated                  to
                                    the rights        of the United             States.
                                        "c. Notwithstanding                  the provisions             of the Atomic               Energy          Act of
        60 mat.       755,
        42    USC          1801     1946, as amended,               and particularly               section       5 (b)      (7) thereTa-f, or the
     note.   llO$(b)        (7).
        (57 Stito    S39.
                                    provisions         of the Act of August                  1"2, 1953 (67 Stat. 539),                    and particu-
        30 USC       SOl*SOS,       larly section        3 thereof,        any mining           claim,     heretofore          located         under      the
     $03,
                                    mining       laws of the United                States,      for or based upon a discovery                           of a
                                   mineral        deposit       which      is a source          material        and which,            except       for the
                                   possible       contrary        construction          of said Atomic             Energy         Act, would           have
                                   bee_n locatable            under       such      mining         laws,     shall,      insofar         as adverseh,
                                   affected       by such possible             contrary        construction,          be valid         and effective,
                                    in all respects           to the same extent                 as if said         mineral         deposit        were      a
                                   locatable        mineral       deposit       other than a source               material.
                                       "Sr.c. 69. PRonml_o_-.---The                      Commission           shall not license any person
                                   to transfer         or deliver,        receive       _ion               of or title to, or import                    into
                                   or export        from the United              States      any source         material         if, in the opinion
                                   of the Commission,                 the issuance           of a license          to such person               for such
                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7018
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1751
                                                                                859

   68 8"rAT.]                PUBLIC       LAW 703--AUG.           30, 1954                                  935

   purpose  would be inimical to the common                      defense     and security       or the
   health and safety of the public.

                   "CHAPTER             8. BYPRODUCT                 MATERIAL

       "SF.c. 81. DOMESTIC DISTRIBUTION.m_TO                         person      may transfer          or
   receive      in interstate          commerce,        manufacture,          produce,       transfer,
   acquire, own, possess, import, or export any byproduct material, except
   to the extent authorized             by this section or by section 82. The Commis-
   sion is authorized           to issue general or specific licenses                 to applicants
   seeking to use byproduct                material     for research or development                pur-
   poses, for medical          therapy, industrial           uses, agricultural        uses, or such
   other useful applications             as may be developed.             The Commission           may
   distribute,      sell, loan, or lease such byproduct                 material      as it owns to
   licensees      with or without             charge:       Provided,      however_       That,      for
   byproduct        material      to be distributed        by the Commission           for a charge,
   tile Commission         shall establish prices on such equitable basis as, in the
   opinion of the Commission,                (a) will provide         reasonable      compensation
   to the Government            for such material,           (b) will not discourage           the use
   of such material           or the development               of sources      of supply of such
   material independent              of the Commission,              and (c) will encourage
   research and development.                In distributing       such material, the Commis-
   sion shall give preference             to applicantsproposing            to use such material
  either in the conduct of research                      and development            or in medical
   therapy.       Licensees of the Commission               may distmbute byproduct mate-
   rial only to applicants           therefor who are licensed by the Commission                       to
  receive such byproduct                material.      The Commission            shall not permit
  the distribution         of any byproduct            material     to any licensee, and shall
  recall or order the recall of any distributed                   material from any licensee,
  who is not equipped               to observe or who fails to observe such safety
  standards        to protect health as may be established                   by the Commission
  or who uses such material in violation of law'or regulation of the Com-
  mission      or in a manner other than as disclosed                         in the application
  therefor or approved by the Commission.                         The Commission           is author-
  ized to establish classes of byproduct                    material     and to exempt certain
  classes or quantities            of material       or kinds of uses or users from the
  requirements          for a license set forth in this section when it makes a
  finding that the exemption                of such classes or quantities             of such mate-
  rial or such kinds of uses or users will not constitute                         an unreasonable
  risk to the common defense and security and to the health and safety
  of the public.
      "SEe.    8"2. FOREIOIq       D_STmBVT]OS Or Brraonucr                   MA_AL.---
      "a. The Commission              is authorized       to cooperate      with any nation           by
  distributing        byproduct material,           and to disti-ibute byproduct material,
  pursuant       to the terms of an agreement                 for cooperation        to which such
  nation is party and which is made in accordance                          with section 193.
      "b. The Commission                is also authorized           to distribute        byproduct
  material       to any person          outside the United           States upon application
  therefor      by such person and demand such charge                          for such material
  as would be charg_l             for the material        if it were distributed          within the
  United     States:       Provided,       ho_e_er,      That the Commission               shall not
  distribute      any such material           to any person under this section if, in its
  opinion,      such distribution          would be inimical           to the common           defense
  and security:           And lyro_ided          further,       That the Commission                may
  require such reports regarding                   the use of material           distributed       pur-
  suant to the provisions             of'this section as it deems necessary.
      "c. The Commission               is authorized        to license others to distribute
  byproduct        material     to any person outside the United States under the
  same conditions,          except as to charges,             as would be applicable            if the
  material      were distributed          by the Commission.
                                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7119
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1752
                                                                                860

      936                                     PUBLIC    LAW V03--AUG.         30, 1954             [68   8TAT.



                      "CHAPTER           9. MILITARY          APPLICATION                 OF    ATOMIC
                                                          ENERGY

                      "SEc. 91. AUTHORITy.i
                      "a. The Commission      is authorized    to--
                           "(I)  conduct experiments         and do research    and development
                         work in the military    application    of atomic energy; and

                         w e 'a_2)n e;gr_ge   _xntphtet _rt°ds uUcC_i
                                                                   °nt °vfit'_s_   c l_vi_ _      _r o_t _;
                          to the extent that the express consent and direction                 of the Presl-
                          dent of the United States has been obtained,                which consent and
                          direction   shall be obtained at least once each year.
                       "b. The President         from time to time may direct the Commission
                    (1) to deliver such quantities             of special nuclear material        or atomic
                   weapons to the Department              of Defense for such use as he deems neck. -
                   sary in the interest          of national        defense,   or (2) to authorize        the
                   Department         of Defense        to manufacture,       produce,     or acquire    any
                   atomic weapon or utilization             facility for military    purposes: Provi_d,
                   _o_ve_;er, That such authorization               shall not extend to the production
                   of special nuclear material other than that incidental                 to the operation
                   of such utilization       facilities.
                       "Sr_. 99. PROHmXT_ON.---It shall be unlawful                   for any person to
                   transfer      or receive in interstate           commerce,     manufacture,      produce,
                   transfer, acquire, possess, import, or export any atomic weapon, except
                   as may be authorized         by the Commission          pursuant to the provisions      of
                   section 91. Nothing           in this section shall be deemed to modify                the
                   provisions      of subsection 31 a. or section 101.

                             "CHAPTER            10. ATOMIC          ENERGY          LICENSES

                      "SEe. 101. L1cz_rsz       REQ_ImT_.--It       shall be unlawful,         except    as pro-
                   vided in section 91, for any person within the United States                       to trans-
                   fer or receive in interstate commerce, manufacture,  produce,                      transfer,
                   acquire,    possess,      import,    or export      any utilization       or production
                   facility   except under and in accordance               with a license issued by the
                   Commission        pursuant to section 103 or 104.
                      "Swc. 10'2. Fx_DI_a or PXaC-_CAL VAL_r_.--Whenever                        the Commis-
                   sion has made a finding in writing                 that any type of utilization             or
                   production       facilit}, has _veen sufficiently      developed     to be of practical
                   value for industrial          or commercial        purposes,    the Commission           may
                   thereafter     issue licenses for such type of facility            pursuant to section
                   103.
                      "Sv_. 103. COM_AL                 LXCZ_s_._
                      "a. Subsequent         to a finding by the Commission            as required in sec-
                   tion 10'2, the Commission            may issue licenses to transfer           or receive in
                   interstate   commerce, manufacture,            produce, transfer, acquire, possess,
                   import, or export under the terms of an agreement                       for cooperation
                   arranged pursuant           to section 193, such type of utilization             or produc-
                   tion facility.        Such licenses     shall be issued in accordance              with the
                   provisions     of chapter 16 and subject to such conditions                    as the Com-
                   mission may by rule or regulation              establish to effectuate        the purposes
                   and provisions        of this Act.
                      "b. The Commission           shall issue such |icenses on a nonexclusive              basis
                   to persons applying          therefor   (1) whose proposed         activities     will serve
                   a useful_ purpose         proportionate      to the quantities      of special nuclear
                   material    or source material         to be utilized;      (9) who are equipped to
                   observe and who agree to observe such safety standards                           to protect
                   health and to minimize            danger to life or property as the Commission
                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7220
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1753
                                                                                861



 68 STAT.]                      PUBLIC          LAW 703--AUG.              30, 1954                                         937


  may by rule establish;                     and (:_) who agree to make available                               to the
  Commission           such technical           information             and data concerning                activities
  under such hcnses     •   e          as the Commlss_on
                                                    ,t        .    •      may determine        .      necessary        to
  promote        tile common             defen_         and security           and to protect           the health
  and safety of tile public.                    All such information                       may be used by the
 Commi._ion            only for the purposes                  of the common defense and security
  ;u_d to protect the health and safety of the public.
     "c. Each such license shal! be issued for a specified period, as deter-
  mined by tile Commission,                        depending            on the type of activity                  to be
  licensed, but not exceeding                    forty years, and may _e renewed                           upon the
  expiration         of such period.
     "d. No license under this section                             may be given to any person                        for
  activities      which are not under or within the jurisdiction                                    of the United
  States,     except          for the export             of production              or utilization         facilities
  under terms of an agreement                            for cooperation                arranged      pursuant         to
 section 1"23_or except under the provisions                                  of section 109. No license
  may be issued to any corporation                              or other entity if the Commission
 knows or has reason to believe it is owned, controlled,                                       or dominated by
 an alien, a foreign                  corporation,           or a foreign               government.           In any
 event, no license may be issued to any person within the United States
  if, in the opinion of the Commi_ion,                               the issuance           of a license to such
  l_r3on would be inimical to the common defense and security                                               or to the
 health      and safety of the public.
       SEC. 104. MEDICAL THZR,tPT ,_ND RESEAm:H AND D_.VtLOP_ZWr.--
     "a. The Commission                    is authorized          to issue licenses to persons apply-
 ink therefor           for utilization            facilities        for use ivy.medical             therapy,         in
 issuing such licenses the Commission                                is directed to permit              the widest
 amount of effective medical therapy possible with the amount of special
 nuclear material available                     for such purposes                  and to impose the mini-
 mmn amount of regulation                         consL_ent with its obligations                        under this
 Act to promote                 the common defense and security                              and to protect          the
 health and safety of the public.
     "b. The Commission                   is authorized           to i_ue licenses to persons apply-
 ing therefor           for utilization            and production               facilities       involved       in the
 conduct of research                 and development                 activities         leading to the demon-
 stration      of the practical              value of such facilities                   for industrial       or com-
 mercial purl_es.                   In issuing licenses under this subsection,                            the Com-
 mission shall impose the minimum                                  amount of such regulations                       and
 terms of license as will permit the Commission                                      to fulfill its obligations
 under this Act to promote                        the common defense                       and security        and to
 protect tile health and safety of the public and will be compatible                                              with
 the regu|ations               and telmls of license which would apply m the event
 that a commercial                 license were later to be i_ued pursuant                               to ._tion
 103 for that type of facility.                        In i_uing         such licenses, priority shall he
 give!l to those activities                  which will, in the opinion of the Commission,
 lead to major advances in the application                                  of atomic energy for indus-
 trial or commercial                 purposes.
     "c. The Commission                   is authorized           to i_sue licenses to persons apply-
 ing therefor             for utilization             and production                facilities      useful in the
 conduct       of research            and development                 activiti .es of the tvl__ specified
 in section 31 and which are not facilities                                of the type sp_ified               in sub-
 section 104 b. Tile Commission                            is directed        to impose only such mini-
 mum amount of regulation                           of the licensee as the Commission                             finds
 will pe rmit , the Commission                     to fulfill its oobligations   ,    .       under this Act to
 promote        the common               defense        and security          and to protect            the health
 and safety          of the public and will permit                           the conduct of widespread
 and diverse research                  and development.
     "d. No license under this section                             may be given to any person                        for
 hctivities      which are not under or within'the                            jurisdiction         of the United
 States, except              for the exl_rt              of production              or utilization         facilities
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7321
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1754
                                                                                862


    9.38                                                           PUBLIC LAW 703--AUG.                    30, 1954                 [68 STA'r.

                                      under terms of an agreement                      for cooperation           arranged         pursuant       to
                                      section 103 or except under the pro_islons                         of section 109.            No license
                                            aY be i_ued        to any corporation           or other entity if the Commission
                                              ows or llas reason to believe it is owned, controlled,                          or dominated
                                      by an alien, a foreign              corporation,       or a foreign         government.             In any
                                      e_vent, no license may be issued to any person within the United States
                                      if, in the opinion of the Commission,                      the issuance of a license to such
                                      person would be inimical                   to the common defense                and security or to
                                      the health and safety of the public.
                                            "S_.      105. A.WTITRVST PRO_SIO_S.w
                                             "a. Nothing       contained       in this Act, including             the provisions           which
                                      vest title to all special nuclear material                    in the tTnited States, shall re-
                                      lieve any person from the operation of the followin_                             Acts, as amended.
       26   Stat.    209.
                                      'An Act to protect trade and commerce against unla'wful restraints an([
       15   USC      1-7.             monopohes'           apjaroved July second, eighteen hundred and ninety; sec-
                                     tions seventy-three             to seventy-seven,         reclusive,       of an Act entitled 'An
                                     Act to reduce taxation,                 to provide      revenue f()r the Government,                      and
                                      for other purposes              approved August           twenty-seven,          eighteen hundred
       28  Stat.      570.
       15  _         8-11.           and ninety-four;             'An Act to supplement              existing laws against unlaw-
       38  Star.      730.            ful restraints           and monopolies,            and for other purposes'                    approved
       IS   USC          12-27,      ......                                                                             _-_     A     --
   44;    |8      USC        402;    October         fifteen, nineteen hundred and fourteen;                     and An Act to create
   29 USC        52,     53.
       38 $tat,       717,
                                     a Federal Trade Commission,                      to define its powers and duties, and for
       15 USC        41-48.          other purposes'            approved September            twenty-six,        nineteen hundred and
                                     fourteen.           In the event a licensee is found by a court of competent
                                     lurisdiction,         either in an original action in that court or in a proceed-
                                     ing to enforce            or review the findings             or orders of any Government
                                    agency_ having jurisdiction                  under the laws cited above, to have violated
                                    any of the provisions                  of such laws in the conduct of the licensed
                                    activity,         the Commission             may suspend,         revoke,       or take such other
                                    action as it may deem necessary with _                                    to any license issued by
                                    the Commission              under the provisions of thin Act.
                                            "b. The Commission             shall report      promptly        to the Attorney           General
                                    any information              it may have with re_a_t to any utilization                         of special
                                    nuclear          material or atomic energy whlch appears                       to violate or to tend
                                    toward the violation               of any of the foregofng                Acts, or to restrict free
                                    competition           in private enterprise.
                                            "c. Wh_ever          the Comml_ssion pro]p_,                to issue any license to any
                                    person und.er section 103, it shall notify the Attorney                                 General of the
                                    proposed` license an(/the protzaeed terms and conditions thereof, except
                                    such classes or types of hcenses, as the Commission,                              with the approval
                                    of the Attorney General, may determine                           would not significantly                affect
                                    the licensee-s activities               under the antitrust            laws as specified             in sub-
                                    section 105 a. Within                 a reasonable      time, in no event to exceed 90 days
                                    after receiving             such notification,         the Attol_e 5 General shall advise
                                    the Commission               whether,       insofar as he can determine,                  the proposed
                                    license would tend to create or maintain a situation inconsistent                                        wit_
       Publication             in
   lr/_,                            the antitrust           laws, and such advice shall be published                        in the Federal
                                    Register.           Upon the request of the Attorney                  (}eneral,       the Commission
                                    shall furnish or cause to be furnished such information                                as the Attorney
                                    General determines                to be appropriate           or necessary to enable him to
                                    give the advice called for by this section.
                                           "Szc. 106. CLAssr_ or FACILITIES.---The                       Commission           may--
                                                  "a. group the facilities             licensed either          under section             10_ or
                                               under_section      104 into clasees which may include either production
                                               or utilization      facilities     or both, upon the basis of the similarity
                                               of operating       and technical        characteristics         of the facilities;
                                                  "I_. define the various activities              to be carried on at each such
                                               class of facility;     and
                                                  "c. designate the amounts of special nuclear material                             available
                                               for use by each such facility.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7422
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1755
                                                                                863


 68 STAT.]                 PUBLIC       LAW 703--AUG.           30, 1954                                  939

   "SEe.       107. OrF_ATOnS' LIc_sF.s_The                  Commission         shallw
              a. prescribe       uniform      conditions     for licensing        individuals        as
        operators of any of the various classes of production                         and utiliza-
         tion facilities     licensed in this Act;
            "b. determine the qualifications              of such individuals;
            %. issue licenses to such individuals                in such form as the Com-
        mission may prescribe;             and
            "d. suspendsuch          licenses for violations        of any provision          of this
        Act or any rule or regulation                  issued thereunder           whenever        the
         Commission         deems such action desirable.
     "SEe. 108. WAR oR NATIO_rAr_ EMF_GE_rcT.wWhenever                              the Congress
 declares that a state of war or national                 emergency       exists, the Commis-
 sion is authorized          to suspend any licenses granted under this Act if in
 its judgment           such action is necessary            to the common defense                 and
security.          The Commission          is authorized        during such period, if the
Commission            finds it necessary       to the common defense and security, to
order the recapture             of any special nuclear material distributed                    under
the provisions            of subsection      53 a., or to order the operation                of any
 facility licensed under section 103 or 105, and is authomzed                         to order the
entry into any plant or facility                in order to recapture such material,                or
to operate such facility.                Just compensation           shall be paid for any
damages caused by the recapture of any special nuclear material                                 or by
the operation           of any such facility.
    "S_c. 109. Co_,vo_rr               PARTs Or FAc_rrms.mWith                  respect to those
utilization         and production        facilities   which are so determined                by the
Commission            pursuant to subsection         11 p. (2) or 11 v. (2) the Commis-
sion may (a) issue general licenses for activities                    required to be licensed
under section 101, if the Commission                    determines      in writing that such
general       licensing     will not constitute        an unreasonable         risk to the com-
mon defense and security, and (b) issue licenses for the export of such
facilities,      if the Commission        determines      in writing that each export will
not constitute an unreasonable                risk to the common defense and security.
    "SEc. 110. Exc_uslo._s._Nothing                   in this chapter shall be deemed_
            "a. to require a license for (1) the processing,                     fabricating,       or
        refining of special nuclear material,                or the separation          of special
        nuclear       material,    or the separation          of specia_l nuclear         material
        from other substances,           under contract with and for the account of
       the Commission;            or (_) the construction         or operation        of facilities
        under contract with and for the account of the Commission;                                  or
            "b. to require a license for the manufacture,                        production,        or
       acquisition         by the Department            of Defense        of any utilization
        facility     authorized     pursuant to section 91, or for the use of such
        facility by the Department               of Defense or a contractor            thereof.

           "CHAPTER            11. INTERNATIONAL                      ACTIVITIES

   "SEe. 121. EF_T_r or I._NATIONAL                  Am_ANOEMZ_S.---Any                 pro_-
vision of this Act or any action of the Commission                   to the extent and
during the time that it conflicts            with the provisions         of any inter-
national   arrangement    made after the date of enactment                 of this Act
shall be deemed to be of no force or effect.
   "SF_.    122. POLICIES    CONTAINED           I_  INTEIINATION'AL         AIt_AI_OZ-


_ZNTS.---In the performance         of its functions       under this Act, the Com-
mission shall g_ve maximum             effect to the policies contained             in any
international    arrangement     made after the date of enactment                   of this
Act.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7523
                                                               ofof
                                                                 90344PageID
                                                                      PageID#: #:1756
                                                                                  864
      940                           PUBLIC LAW703--AUG. 30, 1954        [68 S'rAT.

                           "SI_c.      1_3.   COOPERATION         WITH      OTHER      NATI_._NS.----NO      cooperation
                       with any nation or regional defense organization                          pursuant to sections
                       54, .r_7,6'4, 8_, 103, 104, or 144 shall be undertaken                  until--
                                    "a. the Commission          or, in the case of those agreements              for coop-
                                eration arranged pursuant              to subsection 144 b., the Department               of
                                Defense       has submittecl      to the President         the proposed agreement
                                 for cooperation,        together with its recommendation                thereon, which
                                 proposed agreement           shall include (1) the terms, conditions,               dura-
                                 tion, nature, and scope of the cooperation;                  (2) a guaranty        by the
                                 cooperating        party that security safeguards              and standards        as set
                                 forth in the agreement           for coo[rJeration will be maintained;               (3) a
                                guaranty       by the cooperating         party that any material            to be trans-
                                 ferred pursuant          to such agreement         will not be used for atomic
                                 weapons, or for research on or development                   of atomic weapons, or
                                 for any other military purpose; and (4) a guaranty by the cooper-
                                ating party that any material or any Restricted                       Data to be trans-
                                 ferred pursuant           to the agreement         for cooperation          will not be
                                transferred       to unauthorized        persons or beyond the jurisdiction               of
                                the cooperating           party, except as specified           in tile agreement         for
                                cooperation;
                                    "b. the President        has approved and authorized               the execution      of
                                the proposed agreement               for cooperation,        and has made a deter-
                                ruination in writing that the performance                    of the proposed agree-
                                ment will promote and will not constitute                      an unreasonable         risk
                                to the common defense and security;                  and
                                    "c. the proposed agreement              for cooperation,         together with the
                    ......      approval       and the determination            of the President,         has been sub-
                                mittea      ¢o tne ,Joint Committee           and a period of thirty days has
                                elapsed while Congress              is in session      (in computing         such thirty
                                days, there shall be excluded              the days on which either House is
                                not m session because of an adjournment                   of more than three days).
                           "SEc. 124. IlqTI_NATIONAL ATOMIC PooL._The                            President     is author-
                      ized to enter into an international                       arrangement          with a group         of
                      nations         providing       for international         cooperation       in the nonmilitary
                      applications           of atomic energy and he may thereafter                     cooperate      with
                      that group of nations                 pursuant to sections 54, 57, 64, 82, 103, 104, or
                      144 a.: P_.wwlded, howe_er, That the cooperation                             is undertaken       pur-
                      suant to an agreement                   for cooperation        entered      into in accordance
                      with section            1_._.

                                 "CHAPTER             1'2. CONTROL            OF INFORMATION

                         "SEc. 141. PonxcY.--It     shall be tile policy of the Commission             to
                     control the dissemination       and declassification      of Restricted   Data in
                     such a manner as to assure the common defense and security.                   Con-
                     sistent with such policy, the Commission            shall be guided by the fol-
                     lowin_     principles:
                         "a. -Until effective and enforceable     international   safeguards    against
                     the use of atomic energy for destructive             purpose s have been estab-
                     lished by an international       arrangement,      there shall be no exchange
                     of Restricted     Data with other nations      except as authorized     by section
                      144; and
                         "b. The dissemination    of scientific and technical      information    relat-
                     ing to atomic energy should be permitted               and encouraged     so as to
                     provide that free interchange       of ideas and criticism     which is essential
                     to scientific and industrial    progress and public understanding           and to
                     enlarge the fund of technical        information.
                                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
                              #: 1-4
                                  48-7Filed: 01/28/22
                                        Filed: 02/06/17Page:
                                                        Page:7624
                                                                ofof
                                                                  90344PageID
                                                                       PageID#:
                                                                              #:1757
                                                                                 865
68 STAT.]                    PUBLIC         LAW 703--AUG.              30,   1954                                                          941

   "SEc.       14_.    CLASSIFICATION              AND     DECLASSIFICATION                OF    RESTRICTED

DATA.--

     "a. The Commission                 shall     from     time      to time determine             the data,
 within     tlle definition       of Restricted          Data, which can be published                    with-
 out undue         risk to the common                defense      and security         and shall        there-
 upon     cause such data to be declassified                    and removed         from the category
 of Restricted           Data.
     "b. The         Commission            shall      maintain          a continuous            review        of
 Restricted        Data and of any Classification                     Guides     issued    for the guid-
 ance of those          in the atomic         energy       program        with respect        to the areas
 of Restricted          Data which         have been declassified              in order to determine
 which     information          may be declassified             and removed         from the category
 of Restricted          Data     without         undue      risk to the common               defense        and
 security.
     "c. In the case of Restricted                   Data       which     the Commission             and the
 Department           of Defense         jointly      determine         to relate     primarily        to the
 military       utilization       of atomic         weapons,        the determination             that such
 data may be published                  without       constituting         an unreasonable            risk to
 the common            defense     and security           shall    be made        by the Commission
 and the Department                of Defense          jointly,      and if the Commission                  and
the Department              of Defense          do not agree,          the determination             shall be
made by the President.
    "d. The Commission                 shall      remove       from     the Restricted          Data      cate-
gory     such data as the Commission                         and the Department                of Defense
j'ointly      determine         relates      primarily          to the mi]itary           utilization         of
atomic        weapons         and     which        the    Commission            and     Department            of
Defense        jointly      determine        can be adequately              safeguarded         as defense
information:           P_*w_,ided,      ]_o_e_,e_', That no such data so removed                          from
the Restricted           Data category            shall be transmitted             or otherwise          made
available       to any nation           or regional         defense       organization,        while      such
data remains            defense     information,           except      pursuant       to an agreement
_or cooperation            entered      into in accordance              with subsection          144 b.
    "e. The Commission                 shall     remove       from      the Restricted          Data      cate-
gory       such information                concerning          the atomic       energy        programs          of
other nations             as the Commission               and the Director           of Central        Intelli-
gence jointly             determine       to be necessary           to carry out the provisions                 of
                                                                                                                     _|  gtat,    498.
section       102 (d)          of the National             Security      Act of 1947, as amended,                    $0U$C       403(d).
and      can be adequately                 safeguarded           as defense       information.
    t'SEC.     143.      DEPARTMENT           OF   DEFENSE PalrrICIPATtON._The                       Commis-
sion may authorize                  any of its employees,                or employees           of any con-
tractor,       prospective          contractor,        licensee      or prospective         licensee     of the
Commission              to permit       any employee            of an agency        of the Department
of Defense            or of _s contractors,              or any member          Of the Armed            Forces
to have access             to Restricted         Data       required     in the performance              of his
duties       and so certified           by the head of the appropriate                       agency      of the
Department              of Defense        or his designee:            Provided,      however,        That the
head of the appropriate                     agency     of the Department              of Defense         or his
desigtlee       has determined,             in accordance           with the established           _rsonnel
security       procedures          and standards            of such agency,        that permitting            the
member          or employee           to have       access to such Restricted                Data     wil| not
endanger            the common           defense      and security:           A_d     p'rovlde(l/u_'ther,
That       the Secretary            of Defense           finds that       the established          personnel
and       other       security       procedures          and     standards       of such         agency       are
adequate         and in reasonable             conformity         to the standards         estabhshed          by
the Commission               under section         145.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7725
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1758
                                                                                866

        942                                                      PUBLIC        LAW T03.-AUG.           30, 1954                [68 STAT.

                                         "SEc.    144.   INTERNATIONAL           C00PERATION._

                                           "a. The President         may authorize the Commission                    to cooperate with
                                       another nation and to communicate                  to that nation Restricted             Data on--
                                                 "(1)    refining, purification,         and subsequent treatment                 of source
                                              material;
                                                 _ (2) reactor development;
                                                   (3) production        of special nuclear material;
                                                 "(4)    health and safety;
                                                 "(5)    industrial      and other applications               of atomic energy            for
                                              peaceful purposes; and
                                                "(6)     research and development              relating    to the foregoing:
                                       Provided,      Aowever, That no such cooperation                      shall involve t-he com-
                                       munication       of Restricted       Data relating to the design or fabrication                     of
                                      atomic weapons:            And Frovided        further, That the cooperation                is under-
                                       taken pursuant         to an agreement        for cooperation          entered into in accord-
                                       ance with section           123, or is undertai_en             pursuant       to an agreement
                                      existing on the effective date of this Act.
                                          "b. Tile President         may authorize         the Department             of Defense_ " with
                                      the assistance of the Commission,                 to cooperate        with another nation or
                                      with a reg_'onal defense organization                   to which the United States is a
                                      party,      and to communicate               to that nation             or organization           such
                                      Restricted      Data as is necessary to--
                                                "(1)    the development          of defense plans;
                                                "(2) the training of personnel              in t_he employment            of and defense
                                              against atomic weapons;             and
                                                "(3)    the evalua_tzo"n of the capabilities               of potential        enemies in
                                             the employment          of atomic weapons,
                                      while such other nation or organization                          is participating          with the
                                      United States l_ursuant to an international                        arrangement         [)y substan-
                                      tial and nmterml            contributions       to the mutual           defense      and security. :
                                      Provided,       howe_er, That no such cooperatzon" shs_l! involve commum-.
                                      cation of Restricted            Data relating         to the design or fabrication                   of
                                      atomic weapons except with regard-to                    external characteristics,             includ-
                                      ing size, weight, and shape, yields and effects, and systems employed
                                      in the delivery or use thereof but not including                       any data in these cate-
                                      gories unless in the joint                judgment         of the Commission                and the
                                      Department         of Defense       such data will not reveal important                    informa-
                                      tion concerning          the design or fabrication              of the nuclear components
                                      of an atomic weapon:              And prodded          further,      That the cooperation             is
                                      undertaken       pursuant to an agreement               entered into in accordance with
                                     section 1_.
                                         "Szc. 145. Rzs_luc_o_s._
             Inv    • • t igatlons
        by     C_C.                      "a. No arrangement            shall be made under section 31, no contract shall
                                      be made or continued            in effect under section 41, and no license shall be
                                      issued under section 103 or 104, unless the person with whom such
                                      arrangement          is made, the contractor          or prospective         contractor,       or the
                                      prospective       licensee agrees in writing               not to permit any individual
                                     to have access to Restricted              Data until the Civil Service Commission
                                     shall have made an investigation                    and report         to the Commission             on
                                     the character,          associations,     and loyalty         of such individual,             and the
                                      Commission          shall have determined             that permitting             such person        to
                                      have access to Restricted            Data will not endanger the common defense
                                     and security.
                                         "b. Except as authorized            by the Commission            or the General Manager
                                     upon a determination               by the Commission              or General         Manager that
                                     such action is clearly consistent                 with the national            interest, no indi-
                                     vidual shall be employed by the Commission                         nor shall the Commission
                                     permit       any individual         to have access to Restricted                  Data until the
                                     Civil Service Commission               shall have made an investigation                  and report
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7826
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1759
                                                                                867

  68 STAT.]                    PUBLIC     LAW 703.-AUG.     30, 1954                                                          943

   to the Commission        on the character,       associations,     and loyalty of such
   individual,    and the Commission         shall have determined          that permitting
   such person to have access to Restricted                Data will not endanger           the
   common defense and security.
                                                                                                       Inve     8 t lgett_s
      "c. In the event an investigation         made pursuant        to subsections a. and        bF     FBI.
   b. of this section develops any data reflecting that the individual                     who
   is the subject of the investigation          is of questionable       loyalty,    the Civil
   Service C omnlission       shall refer the matter to the Federal                Bureau of
   Investigation     for the conduct of a full field investigation,             the results of
   which shall be furnished to the Civil Service Commission                     for its infor-
  mation and appropriate           action.
      "d. If the President       deems it to be in the national            interest, he may
   from time to time cause investigations                of any group or class which
  are required by subsections            a. and b. of this ssetion to be made by
  the Federal      Bureau     of Investigation        instead of by the Civil Service
  Commission.
      "e. lgotwithstanding        the provisions      of subsectimm       a. and b. of this
  section, a majority        of the members of the Commission                   shall certify
  those specific lx_sitions which are of a high degree of importance                         or
  sensitivity    and upon such certification            the investigation        and reports
  required by such provisions           shall be made by the Federal               Bureau of
  Investigation      instead of by the Civil Service Commission.
                                                                                                       Z s t abl     lahment
      "f. The Commission         shall establish standards          and specifications       in
  writing as to the scope and extent of investigations                  to be made by the
                                                                                                  18ti_li,           etCo
  Civil Service Commission             pursuant      to sutmections      a. and b. of this
  section.     Such standards       and specifications       shall be based on the loca-
  tion and class or kind of work to be done, and shall, among other
  considerations,       take into account         the degree of importance              to the
  common defense and security of the Restricted                    Data to which access
  will be vermitted.
    "SEO   "14(_.   GENEI_AL      PROVISIONS.--"

     "a. Sections   141 to 145, inclusive, shall not exclude the applicable
  provisions    of any other laws, except     that no Government     agency
  shall take any action under       such other laws inconsistent  with tl_e
  provisions   of those sections.
     "b. The Con]mission   shall have no power to control or restrict the
  dissemination  of information    other titan as granted by this or any
  other law.

             "'CHAPTER            13. PATENTS         AND     INVENTIONS

     "S_c. 151. MILITARY     UTIhlZATION.--

     "a. ]go patent shall hereafter         be granted for any invention    or dis-
  covery which is useful solely in the utilization             of special  nuclear
  material   or atomic energy in an atomic weapon.            Any patent granted
  for any such invention     or discovery       is hereby revoked,  and just com-
  l_ensation   shall be made therefor.
     "b. 1go patent hereafter granted shall confer any rights with respect
  to any invention      or discovery    to the extent that such invention             or
  discovery     is used in the utilization     of special      nuclear     material   or
  atomic    energy    in atomic   weapons.      Any rights       conferred       by any
  patent heretofore      granted for any invent'_on or discovery            are hereby
  revoked to the extent that such invelltion        or discovery       is so used, anal
  just compensation      shall be made therefor.
     "c. Any pelion who has made or hereafter             makes any invention         or          tim
                                                                                                     Report
                                                                                                         to
                                                                                                                  ot  trivet,-
                                                                                                                Commla*
  discovery useful (1) in the production        or utilization    of special nuclear              SlO_.

  materia! or atomic energy;         (2) in the utilization      of special nuclear
  material    in an atomic weapon;        or (3) in the utilizatlo" n of atomic
  energy in an atomic weapon, shall file with the Commission                   a report
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:7927
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1760
                                                                                868

  944                                    PUBLIC     LAW 703--AUG.        30, 1954             [68 STAT.

                containing       a complete      description    thereof    unless such invention       or
                discovery      is described     in an application       for a patent filed with the
                Commissioner        of Patents by such person within the time required for
                tile filing of such report.          The report covering       any such invention      or
                discovery     shall be filed on or before whichever            of the following    is the
                later: either the ninetieth           day after completion         of such invention
                or discovery;      or the ninetieth       day after such person first discovers        or
                first has reason to believe that such invention             or discovery    is useful in
                such production        or utilization.
                    "d. The Commissioner            of Patents    shall notify the Commission          of
                all. applications     for patents heretofore        or hereafter    filed which, in his
                opinion,     disclose inventions        or discoveries     required     to be reported
                under subsection        151 c., and shall provide the Commission               access to
                all such applications.
                  "SEc.   ][52.   INVENTIONS    CONCF_VED      DURING     COMMISSION      CON_I_ACTS.--

               Any invention or discovery,           useful in the production          or utilization     of
               special nuclear material         or atomic energy_ made or conceived                 under
                any contract, subcontract,        arrangement_        or other relationship      with the
               Commission,       regardless      of whether         the contract      or arrangement
               involved the expenditure         of funds by the Commission,            shall be deemed
               to have been made or conceived                by the Commission,        except that the
               Commission       may waive its claim to any such invention                  or discovery
               if made or conceived        by any person at or in connection             with any lab-
               oratory under the jurisdiction         of the Commission         as provided in section
               38, or under such other circumstances                 as the Commission        may deem
               appropriate.      No patent for any invention             or discovery_ useful in the
               production     or utilization    of special nuclear material          or atomic energT,
               shall be issued unless the applicant files with the application_                 or within
               30 days after request therefor by the Commissioner                  of Patents, a state-
               ment under oath setting forth the full facts surrounding                     the making
               or conception      of the invention       or discovery      described in the applica-
               tion and whether the invention            or discovery      was made or conceived in
               the course of, ill connection        with, or under the terms of any contract,
               subcontract,    arrangement_       or other relationship        with the Commission,
               regardless    of whether        the contract        or arrangement         involved      the
               expenditure      of funds by the Commission.                   The Commissioner           of
               Patents    shall forthwith       forward       copies of the application          and the
               statement to the Commission.
                  "The Commissioner         of Patents may proceed with the application                and
               issue the patent to the applicant          (if the invention or discovery         is other-
               wise patentable)      unless the Commission,            within 90 days after receipt
               of copies of the application        and statement, directs the Commissioner          of
               Patents to issue the p_ttent to the Commission              (if the in_ ention or dis-
               covery is otherwise     patentable)       to be held by the Commission           as the
               agent of and on behalf of the United States.
                   "If the Commission       files such a direction      with the Commissioner       of
               Patents,    and if the applicant's        statement     claims, and the applicant
               still believes_ that the invention          or discovery      was not made or con-
               ceived in the course of, in connection              with, or under the terms of
               any contract,    subcontract_        arrangement,     or other relationship       with
               the Commission      entitling      the Commission       to take title to the appli-
               cation or the patent, the applicant          may, within 30 days after notifica-
               tion of the filing of such a direction, request a hearing before a Board
               of Patent Interferences.            The Board shall have the power to hear
               and determine     whether the Commission            was entitled to the direction
               filed with the Commissioner           of Patents.     The Board shall follow the
               rules and procedures       established     for interference      cases and an aPiCal
               may be taken by either the applicant               or the Commission         from the
               final order of the Board to the Court of Customs and Patent Appeals
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
  Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                          Doc.#:
                               #: 1-4
                                   48-7Filed: 01/28/22
                                         Filed: 02/06/17Page:
                                                         Page:8028
                                                                 ofof
                                                                   90344PageID
                                                                        PageID#:
                                                                               #:1761
                                                                                  869

68 STAT.]                        PUBLIC    LAW V03--AUG. 3_, 1954                                  945

 in accordance        with the procedures           governing        the appeals     from the
 Board of Patent Interferences.
    "If the statement        filed by the applicant           should thereafter       be found
 to contain false material           statements      any notification       by the Commis-
 sion that it has no objections            to the issuance of a patent to the appli-
 cant shall not be deemed in any respect to constitute                       _ waiver of the
 provisions of this section or of any applicable                  civil or criminal statute,
 and the Commission            may have the tftle to the patent transferred                   to
 the Commission          on the records of the Commissioner                    of Patents     in
 accordance      with the provisions          of this section.
    "SEc. 153. NONMILITARY" UTILIZATION.--
    "a. The Commission            may, after giving the patent owner an oppor-
 tunity for a hearing, declare any patent to be affected with the pu_blic
 interest if (1) the invention            or discovery       covered by the patent is of
 primary      importance      in the production         or utilization    of special nuclear
 material or atomic energy; and (2) the licensing of such invention                           or
 discovery      under    this section      is of primary         importance      to effectuate
 the policies and purposes of this Act.
    "b. Whenever        any patent has been declared affected with the public
 interest, puI_uant to subsection 153 a._
           "(1) the Commission           is hereby licensed to use the invention              or
        discovery covered by such patent in performing                    any of its powers
       under this Act ; and
           "(2)   any person may apply to the Commission                     for a nonexclu-
       sire patent license to use the invention                  or discovery      covered by
       such patent, and the Commission                  shall gr_tnt such patent        license
       to the extent that it finds that the use of the invention or discovery
       is of primary       importance        to the cmlduct of an activity             by such
       person authorized         under this Act.
    "c. Any person--
           "(1) who has made application               to the Commission         for a license
       under sections 53, 62, 63, 81, 103, or 104, or a permit or ]ease under
       section 67;
           "(2) to whom such license, permit, or lease has been issued by
       the Commission;
           "(3) who is authorized          to conduct such activities          as such appli-
       cant is conducting         or proposes to conduct under a general license
       issued by the Commission            under sections 62 or 81 ; or
           "(4)   whose     activities      or proposed        activities    are authorized
       under section 31,
may at any time make application                    to the Commission           for a patent
license for'the use of an invention or discovery                  useful in tlle production
or utilization     of special nuclear material or atomic energy covered by a
patent.       Each such application           shall set forth the nature and purpose
of the use which the applicant               intends to make of the patent license,
the steps taken by the ap_,licant               to obtain a patent license from the
owner of the patent, al_d a statement                   of the effects, as estimated         by
the applicant,        on the authorized           activities     which will result from
failure     to obtain such patent license and which will result from the
grantingofsuch         patentlY.tense.                         .     .                    . .

for
  " "                "              :" .      ". .   "         ._               .




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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8129
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1762
                                                                                870

    946                                        PUBLIC      LAW 708-.AUG.     80, 1954             [68 8TAT.

                          "(2) the Commission     shall         hold a hearing within 60 days after
                       the fili ngofsuch  al)plication           at a time and place designated  by
                       LIIC   _OIIIlllISS1OH    _   an(l

                            "(3) in tile event an applicant         applies for two or more patent
                        licenses,    tile Commission       may, in its discretion,      order the con°
                        solidation      of such applications,     and if the patents are owned by
                        more than one owner, such owners may be made parties                     to one
                        hearing.
                     "e. If, after any hearing conducted             pursuant to subsection     153 d._
                  the Commission          finds that--
                            "(1)   the invention       or discovery    covered by the patent is of
                        primary      importance      in the production      or ut{lization   of special
                        nuclear material        or atomic energy;
                           "(2) the licensing of such invention           or discovery   is of pr!mary
                        importance    to the conduct of the activities         of the applicant,
                           "(3) the activities    to which the patent license are proposed to
                        be applied by such applicant            are of primary importance         to the
                        furth6rance   of policies and purposes of this Act; and
                           "(4) such applicant        cannot otherwise        obtain a patent license
                        from the owner of the patent              on terms which the Commission
                        deems to be reasonable         for the intended use of the patent           to be
                        made by such applicant,
                  the Commission        shall license the applicant          to use the invention      or
                  discovery    covered by the patent for the purposes stated in such appli-
                  cation on terms deemed equitable              by the Commission        and generally
                  not less fair than those granted by the patentee or by the Commission
                  to similar licensees for comparable         use.
                     "f. The Commission        shall not grant any patent license pursuant to
                  subsection    153 e. for any other purpose          than that stated in the appli-
                  cation.     Nor shall the Commission            grant   any patent license to any
                  other applicant      for a patent      license on the same patent         without an
                  application    being made by such applicant           pursuant to subsection 153 c.,
                  and withollt separate        notification      and hearing      as provided    in sub-
                  section    153 d., and without a separate finding as provided               in subsec-
                  tion 153 e.




                  absence of such agreement          shall be determined       for each patent license
                  by the Commission         pursuant to subsection 157 e.
                      "h. The provisions        of this section      shall apply to any patent               the
                  application      for which shall have been filed before Septeml6er                   1, 1959.
                        Sr_c. 154. I._JU_CTtO_S._No          court shall have jurisdiction           or power
                  to sta Y , restrain,    or otherwise
                                              •            enjoin the use of any invention   •    •     or dis-
                  coverv by a patent hcensee, to the extent that such use is hcensed by
                  subsection      153 b. or 153 e. If, in any action against                    such patent
                  licensee, the court shall determine             that the defendant           is exercising
                  such license, the measure          of damages       shall be the royalty          fee deter-
                  mined pursuant        to subsection     157 c., together with such costs, interest,
                  and reasonable        attorney's    fees as may be fixed by the court.                 If no
                  royalty     fee has been determined,         the court shall stay the proceeding
                  until the royalty       fee is determined       pursuant   to subsection         157 c. If
                  any such patent licensee shall fail topay such royalty fee, the patentee
                  may bring an action in any court ofcompetellt                   jurisdiction        for such
                  royalty     fee, together     with such costs, interest,      and reasonable           attor-
                  ney's fees as may be fixed by the court.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8230
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1763
                                                                                871


   68     8TAT.]              PUBLIC   LAW 70S.-AUG.        30, 1954                                               947

        "S_c. 155. Pmo_ Awr.--In        connection     with applications     for patents
    covered by this Chapter, the fact that the invention              or discovery    was
    known or used l_fore shall be a bar to the patenting             of such invention
    or discovery    even though       such prior knowledge          or use was under
    secrecy within the atonuc energy program of the United States.
       "SEc. 156. CoMMIssioN        PATENT LIcENsEs.--The           Commission       shall
    establish standard    specifications     UL_On which it may grant a patent
    license to use any patent held by the Commission                or declared to be
    affected with the public interest pursuant to subsection 153 a. Such a
   patent Jicense shall not waive any of the other provisions               of this Act.
       "SEc. 157. COMPENSA_ON, Aw,_mS, Am) ROTAL'rl]_.----
       "a. PATENT COZiPENSATIONBo_).--The                Commission     shall designate
   a Patent Compensation        Board to consider ap.plications          under this sec-
   tion.     The members of the Board shall recezve a per diem compensa-
   tion for each day spent in meetings            or conferences,    and all members
   shall receive their necessary traveling         or other expe_nses while engaged
   in the work of the Board.           The members of the Board may serve as
   such without     regard to the provisions         of sections 281, 9.83, or 984 of
                                                                                                 62 St.t.   197.
   Title 18 of the United States Code, exce.p.t in so far as such sections
   may prohibit any such member from receiving compensation                    in respect
   of any particular     matter which directly          involves  the Commission        or
   in which the Commission         is directly interested.
        "b.   ELIGIBILITY._

       "(1) Any owner of a patent licensed under section 158 or subsec-
   tions 153 b. or 153 e., or any patent licensee thereunder                     may make
   application      to the Commission       for the determination         of a reasonable
   royalty    fee in accordance        with such procedures          as the Commission
   by regulation      may establish.
      "(2) Any person seeking to obtain the just compensation                      provided
   in section    151 shall make application          therefor    to the Commission          in
   accordance with such procedures            as the Commission       may by regulation
   establish.
      "(3)    Any person making any invention              or discovery       useful in the
   production      or utilization   of special nuclear material        or atomic energy,
   who is not entitled to compensation             or a royalty therefor         under this
   Act and who has complied with the provisions                 o_section     151 c. hereof
   may make application           to the Commission         for, and the Commission
   may grant, an award.            The Commission         may als?, upon the recom-
   mendation      of the General Advisory. Committee,            and with the approval
   of the President, grant         an award "for any especially          meritorious     con-
   tribution    to the development,        use, or control of atomic energy.
      "Co     STANDA]RD6._

      "(1) In determining         a reasonable     royalty      fee as provided     for in
   subsections   153 b. or 153 e., the Commission           shall take into considera-
   tion (A) the advice of the Patent             Compensation           Board;   (B) any
   defense, general or special, that might be pleaded by a defendant                  in an
   action for infringement;        (C) the extent to which, if any, such patent
   was developed      through      federally   financed       research;    and   (D)    the
   degree of utility,    novelty,     and importance         of the invention      or dis-
   covery, and may consider           the cost to the owner of the patent                of
   developing    such invention       or discovery     or acquiring       such patent.
      "(2)   In determining       what constitutes       _nst compensation        as pro-
   vided for in section 151, or in determininK             the amount of any award
   1ruder subsection    157 b. (3), the Commission             shall take into account
   the considerations    set forth in subsection       157 c. (1) and the actual use
   of such _;nvention or discovery.          Such compensation           may be paid by
   the Commission     in periodic    payments or in alump sum.
      "SEc. 158. MONOPOLISTICUSE OF PAT_NTs.---W_nenever                    the owner of
   any patent hereafter      granted     for any invention         or discovery    of pri-
                                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8331
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1764
                                                                                872

  948                                              PUBLIC      LAW 703--AUG.        30, 1954               [_8   8TAT.



                           mary use in tile utilization          or production      of special nuclear material
                           or atomic energy is found by a court of competent                   jurisdiction     to have
                           intentionally     used such patent in a manner so as to violate                       any of
                           the antitrust laws specified in subsection            105 a., there may be included
                           in the jud_?Tnent of the court, in its discretion             and in addition         to any
                           other lawful      .sanctions,    a requirement       that such owner license such
                           patent    to ally other licensee of the Commission                 who demonstrates         a
                           need therefor.       Such licensee shall pay a reasonable               royalty fee, to be
                           determined     in accordance        with section 157, to the owner of the patent.
                               "Sac. 159. FEDFJtALLY FINAlqCIII) R_sE_CH.---Nothing                        in this Act
                           shall affect the right of the Commission            to require that patents granted
                           on inventions,       made or conceived           during     the course of federally
                           financed research or operations,             be assigned     to the United         States.
                              "SEe. 160. SAVINO CLAUSz.--Any              patent application         on which a pat-
                           ent was denied by the United States Patent                   Office under sections 11
    60
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          Stat.
          USC
                   7611o
                   1811.
                            (a) (1), 11 (a) (_), or 11 (b) of the Atomic Energy Act of 1946, and
                           which is not prohibited          by section 151 or section 155 of this Act may
                           be reinstated    upon application         to the Commissioner          of Patents within
                           one year after enactment           of this Act and shall then be deeme_ to have
                           been continuously         pending      since its original      filing date: P_'wnided,
                           however,     That no patent issued upon any patent application                      so rein-
                           stated shall in any way furnish             a basis of claim against the Govern-
                           ment of the United         States.

                                          "CHAPTER           14. GENERAL            AUTHORITY

                              "S_c. 161. Gzrcra_r. l_ovmio_s.--In              the performance         of its func-
                           tions the Commission         is authorized    tom
                                    "a. establish    advisory boards to advise with and make recom-
                                 mendations      to the Commission         on legislation,     policies,    adminis-
                                tration, research, and other matters, provided that the Commission
                                issues regulations       setting forth the scope, procedure,             and limita-
                                tions of the authority_ of each such board;
                                    "b. establish by rule, regulation,         or order, such standards           and
                                instructions     to govern the _ion               and use of special nuclear
                                material,     source material,      and byl)roduct       materia|     as the Com-
                                mission may deem necessary or desirable to promote the common
                                defense and security or to protect health or to minimize                   danger to
                                life or property;
                                    "c. make such studies and investigations,              obtain such informa-
                                tion, and hold such meetings          or hearings as the Commission              may
                                deem necessary        or proper to assist it in exercising          any authority
                                provided     in this Act, or in the administration             or enforcement       of
                                this Act, or any regulations        or orders it_ued thereunder.            For such
                                purposes the Commission            is authorized     to administer        oaths and
                                affirmations,     and by subpena      to require any person to appear and
                                testify, or to appear and produce documents, or both, at any desig.-
                                hated place.       No person shall be excut_d            from complying          with
                                any requirements         under this paragraph         because of his privilege
                                against self-incrimination,          but the immunity          provisions     of the
   27    Star,     443.
   49    USC      46.           Compulsory       Testimony      Act of February 11,1893, shall apply with
                                respect to any individual          who st_ifically       claims such privilege.
                                Witnesses     subpenaed       under this subsection shall be paid the same
                                fees and mileage       as are paid witnesses in the district courts of tim
                                United States,
                                    "d. appoint      and fix the compensation             of such off_ers         and
                                employees      as may be necessary        to carry out the functions           of the
                                Commission.         Such officers and employees           shall be appointed        in
                                accordance      with the civil-service        laws and their         compensation
                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8432
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1765
                                                                                873

  68 S'raT.]            PUBLIC      LAW 703--AUG.         30, 1954                                                    949

                                                                                                   63 rater.    9$4,
       fixed in accordance with the Classification            Act of 1949, as amended,             S USC     1071    note.
       except     that, to the extent the Commission                deems such action
       necessary     to the discharge      of its responsibilities,       personnel     mawr
       be employed and their compensation               fixed without regard to such
       laws: Provlded,       ho_oever, That no officer or employee            (except such
       officers and employees        whose compensation           is fixed by law, and
       scientific and technical       personnel)     whose position would be sub-
       ject to the Classification        Act of 1949, as amended,             if such Act
       were applicable      to such position,      shall be paid a salary          at a rate
       in excess of the rate payable             under such Act for positions               of
       equivalent difficulty or responsibility.           The Commissio n shall make
       adequate provision for administrative             review of any determination
       to d_smiss any employee;
          "e. acquire such material,         property,      equipment,      and facilities,
       establish    or construct    such b_ildings        and facilities,     and modify
       such buildings      and facilities     from time to time, as it may deem
       necessary,     and construct,      acquire, provide,      or arrange        for such
       facilities   and services    (at project     sites where such facilities          and
       services are not available)       for the housing, health, safety_ welfare,
       and recreation      of personnel      employed       by the Commission           as it
       may deem necessary,         subject to the provz"sions of section 174;
          "f. with the consent of the agency concerned,                utilize or employ
       the services or personnel       of any Government           agency or any State
       or local government,        or voluntary       or uncompensated           personnel,
       to perform      such functions     on its behalf as may appear desirable;


             j            p     ""               "         ,                 ,       ,gr        ,
       and dispose of such real and personal                 property       as provided      in
       this Act;
           "h. consider in a single application          one or more of the activi-
       ties for which a license is required by this Act, combine in a single
       license one or more of such activities,         and permit the applicant or
       licensee to incorporate       by reference pertinent        informatidn       already
       filed with the Commission;
           "i. prescribe such regulations        or orders as it may deem neces-
       sary (1) to protect         Restricted   Data received by any person                  in
       connection      with any activity       authorized       pursuant       to this Act,
        (2) to guard against the loss or diversion of any special nuclear
       material     acquired by any person pttrsuant              to section 53 or pro-
       duced by any person          in connection    with any activity           authorized
       pursuant to this Acty and Lo prevent any use or disposition                   thereof
       which the Commission           may determine       to be inim|cal        to the com-
       mon defense and security, and[(_(3) to govern any activity                    author-
       ized pursuant       to this Act, inc|uding       standards         and restrictions
       governing      the design, location,      and operation         of facilities     u._d
       in the conduct of such activity,         in order to protect health and to
       minimize     danger to life orproperty;
           "j. without regard to tl_e pr_ov]sions            of the Federal        Property
       and Administrat|ve         Services Act of 1949, as amended, except sec-                    _ s_t. 371.
                                                                                                   40 UBC 471 _tep
       tion 207 of that Act, or any other law, make such dis l_sition                        as _.
       it may deem desirable of (1) radioactive                materials,      and (2) any
       other property , the special disposition         of which is, in the opinion
       of the Commission,        in the interest of the national security:               Pro-
       vlded,    however,     That the property          furnished         to licensees      in
       accordance      with the provision_      of subsection       161 m. shall not be
       deemed to be property          disposed of by the Commission                pursuant
       to this subsection ;
                                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8533
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1766
                                                                                874

   95O                                     PUBLIC LAW 703-.AUG.                30, 1954              [68   _TAT.



                     d"k.     authorize     such of its members, officers, and employees                      as it
                       eems necessary in the interest of the common defense and secu-
                     rity to carry firearms              while in the discharge              of their official
                     duties.    The Commission may also authorize                     such of those employ-
                     .ees of its contractors       engaged in the protection             of property owned
                     by the United States and located at facilities                       owned by or con-
                     tracted to the United States as it deems necessary in the interests
                     of the common defense                and securi/.y to carry firearms while in
                     the discharge       of their official duties;              .
                         "L secure the admittance             free of duty into the Umted States of
                     purchases     made abroad of source materials,                    upon certification        to
                     the Secretary      of the Treasury           that such entry is necessary in the
                     interest of the common defense and security;
                         "m. enter into agreements               with persons h'censed under section
                     103 or 104 for such periods              of time as the Commission             may deem
                     necessary or desirable(l)                to provide for the processing,                fabri-
                     cating, separating,        or refining in facilities          owned by the Commis-
                     sion of source,        .byproduct,       or other material          or special nuclear
                     material owned by or made available to such licensees and which
                     is utilized or produced in the conduct of the licensed activity, and
                      (2) to sell, lease, or otherwise              make available         to such licensees
                     such quantities       of source or byproduct             material, and other mate-
                     rial not defined as special nuclear material                    pursuant to this Act,
                     as may be necessary for the conduct of the h_censed activity : Pro-
                     vided, )iowever,         That any such agreement                  may be canceled by
                     the licensee at any time upon payment                    of such reasonable          cancel-
                     lation charges        as may be_                   upon by the licensee            and the
                     Commission:         And Frovided-further,              That the C__m_      mission shall
                     establish prices to l_e paid by licensees for material or services to
                     be furnished        by the Commission               pursuant       to this subsection,
                     which prices shall be established                   on such a nondiscriminatory
                     basis as, in the opinion of the Commission,                   will provide reasonable
                    compensation         to the Government              for such material          or services
                    and will not discourage                the development           of sources     of supply
                     independent       of the Commission;
                        "n. a_ign      scientific,      technical,     professional,       and administra-
                    tive employees         for instruction,         education,      or training      by public
                    or private       agencies,       ir_titutions       of learning,        l_boratories,       or
                    industrial     or commercial           organizations       and to p_ay_the whole or
                    any part of the salaries of such employees,                    costs of their transpor-
                    tation and per diem in lieu of subsistence                 in accordance       with appli-
                    cable laws and regulations,              and training       charges     incident to their
                    assignments       (including        tuition and other related fees) : Provided,
                    Ao_ever,     That (1) not more than one per centum of the eligible
                    employees      shall be so assigned             during any fiscal year, and (2}
                    any such assignment             shall be approved in advance by the Com-
                    mission or shall be in accordance                 with a training program previ-
                    ously approved by the Commission:                     And provided         further,      That
                    appropriations         or other funds           available     to the Commission            for
                    salaries or expenses           shall be available          for the purposes           of this
                    subsection;
                        "o. delegate      to the General Manager                  or other officers of the
                    Commission        any of those functions             assigned      to it under this Act
                    except     those specified         in sections      51, 57 a. (3), 61, 10'2 (with
                    respect to the finding of practical                value),      108, 1___, 145 b. (with
                    respect to the determinatmn                 of those persons        to whom the Corn°
                    minion      may reveal Restricted               Data in the national             interest),
                    145 e., and 161 a.;
                        "p. require by rule. regulation,              or order, such rep0rta , and the
                    keeping of such records with respect to, and to provide for such
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8634
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1767
                                                                                875

    68   St'AT.]                     PUBLIC          LAW 703-,AUG.                30,     1954                                                                 951


            inspections   of, activities      and studies         of types     specified     in section
            31 and of activities      under       licenses    issued    pursuant       to sections    53,
            63, 81,103,  and 104, as may be necessary                 to effectuate      the purposes
            of this Act, including       section       105; and
               "q. make,   promulgate,         issue, rescind,       and amend        such rules and
            regulations   as may be necessary              to carry     out the purposes         of this
            Act.
        "SEc.      16"2. Co_TBACTS.-_The                       President           may,       in advance,             exempt
    ,ny specific         action      of the Commission                    in a particular            matter        from      the
    provisions         of law relating               to contracts            whenever           he determines              that
    such     action       is essential          in the interest               of the common                  defense        and
    security.
        "SEc.      163. ADvmoRV               Co3tMIT_mEs.--The                      members           of the General
    Advisory         Committee            established           pursuant          to section        26 and the mem-
    bers of advisory               boards        established            pursuant          to section           161 a. may
    serve as such without                  regard        to the provisions                of sections          281,283,       Jr
                                                                                                                                       62   It_.     697.
    +284 of Title           18 of the United                   States       Code,       except        insofar        as such
    _ctions       may prohibit             any such member                    from      receiving          compensation
    in respect        of any particular                matter        which         directly      involves         the Corn+
    mission       or in which           the Commission                   is directly         interested.
        "SP+c.      164.      ELECTRIC           UTILITY           CO_+_RACTs._The                     Commission               is
    authorized          in connection           with the construction                    or operation           of the Oak
    Ridge,       Paducah,          and       Portsmouth              installations            of the Commission,
                                                                                                                                       St   _        665.
     without       regard       to section         3679 of the :Revised                    Statutes,         as amended,
    to enter into new contracts                      or modify            or confirm          existing        contracts        to
    provide       for electric         utility       services       for periods            not excelling             twenty-
    five years,        and such contracts                   shall be subject               to termination              by the
    Commission            upon       payment           of cancellation               costs as provided                in such
    contracts,        and any appropriation                       presently           or hereafter           made       avail-
    able to the Commission                      shall       be available             for the payment                 of such
    cancellation          costs.       Any        such cancellation                   payments          shall      be taken
    into consideration               in determination                  of the rate to be charged                        in the
    event the Commission                   or any other agency                    of the Federal             Government
    shall purchase            electric       utility      services        from       the contractor             subsequent
    to the cancellation               and during            the life of the original                    contract.          The
    authority        of the Commission                   under this section                to enter into new con-
    tra.cts or modify             or confirm           existing         contracts         to provide           for electric
    utility    services        includes,        in case such electric                  utility     services        are to be
    furnished          to the       Commission                by the         Tennessee          *Valley         Authority,
    authority        to contract        with any l_rson                to furnish         electric       utility     services
    to the Tennessee             Valley        Authority           in replacement               thereof.          Any con°
    tract hereafter           entered       into by the Commission                       pursuant         to this section
    shall be submitted              to the Joint Committee                        and a period            of thirty       days
    shall elapse while Congress                     is in session          (in computing             such thirty          days,
    there shall be excluded                 the days on which                  either      House is not in Session
    because      of adjournment                for more than three days)                         before       the contract
    of the Commission                shall become            effective:        Provided,          however,         That the
    Joint     Committee,            after      having          received         the proposed             contract+         may
    by re_lution            in writing,         waive        the conditions             of or all or any portion
    of such thirty-day               period.
       "Szc.     165. Co_'r_acT              P_AcrIcr_._
       "a. In carrying              out the purposes                 of this Act the Commission                           shall
    not use the cost-plus-percentage-of-cost                                  system        of contracting.


                                                                                                                                        60_1t.       755.
                                                                                                                                        42     UIC          1101
      fter t e da e of enactment      of this Act to provide,    for direct    payment                                               note.

    or direct   reimbursement      by the Commission       of any Federal        income
    taxes on behalf     of any contractor    performing    such contract     for profit.
        "SEc. 16(}. Co_IP_o_        GENCI,XL AUi)IT_O          moneys    appropriated
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8735
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1768
                                                                                876

   952                                   PUBLIC      LAW 70a,"AUG.        a0,   I054            [68 8"rAT.

                  for the purposes      of this Act shall be available            for payments        under
                  any contract     with the Commission,           negotiated      without     advertising_
                 except contracts with any foreign government                   or any agency thereof
                 a na contracts    wltn Iorelgn      producers,     unless such contract includes a
                 clause to the effect that the Comptroller            General of the United States
                 or any_ of his duly authorized          representatives       shall, until the expira-
                 tion of three years after final payment,            have access to and the right to
                 examine any directly pertinent           books, documents,         papers, and records
                 of the contractor       or any of his subcontractors             engaged. in the per-
                 formance     of, and involving       transactions      reiated to such contracts          or
                 subcontract:      Pro_'ided,    kowe'oer,      That no moneys so appropriated
                 snail ve avaimme xor payment under such contract which includes any
                 pro_sion     precluding      an audit by the General Accounting                  Off_e of
                 any transaction     unaer sucn contract.
                    "Sr_.  167. _CLAIM SffrrLz_Ts.--The               Commission,       acti .n_ on behalf
                 of the United _tates, is authorized          to consider, ascertain, adjust, deter-
                 mine, settle, and pay, any claim for money damage of $5,000 or less
                 against the United       States for bodily injury, death, or damage to or
                 loss of real or _per?onal property              resulting     from any detonation,
                 expJcelon, or radmtlon        produced m the conduct of the Commission's
                 program for .testing atomic weapons, where such claim is presented                        to
                the Commlssmn        in writing within one year after the accident or inci-
                dent out of which the claim arises: Pt'm, ided, ]_owever, That the dam-
                 age to or loss of property,         or bodily injury or death, shall not have
                .been cause_i_ in whole or in part by any negligence                or wrongful     act on
                the .part of the claimant,        h_s agents_ or employees.            Any such settle-
                meng unaer the authority           of this section shall be final and conclusive
                for all purposes,      notwithstanding         any other provision         of law to the
                contrary.
                    "SI_. 168. PAI_ENTS IN LIEU Or Txx_.--In                    order to render finan-
                cial assistance    to those States and localities          in which the activities        of
                the Commission        are carried on, and in which the Commission                       has
                acqm .r_i .property      previously     subject   to State and local taxation,           the
                •_omm.lsslon is authorized        to make payments to State and local govern-
                ments in heu of property taxes. Such payments                  may be in the amounts,
                 _ _     t lines, ane. upon the _rm.s the Cmnmiss!on           deems appropriate,
                   ut the uommlsmonsnal]         ve graded by the pohcy of not making pay-
                 ments m excess of the taxes which would have been payable                    for such
                property      in the condition    in which it was acquired,          except in cases
                 wnere, special burdens have been cast upon the State or local govern-
                ment by activities of the Commmsion,         the Manhattan         Engineer    District
                or their agents.       In any such case, any benefit accruing to the State or
                local government        by reason of such activities      shall be considered          in
                determining       the amount of the payment.
                    "Sr_. 169. No Sv_sm_r.--N'o          funds of the Commission              shall be
                employed in the construction         or operation    of facilities    licensed under
                .section 103 or 104 except under contract         or other arrangement         entered
                into pursuant to section 31.

                "CHAPTER         15. COMPENSATION      FOR               PRIVATE         PROPERTY
                                              ACQUIRED

                   "Sr_. 171. Jus_r CoMPzNSATm_.--The          United States shall make just
                compe_nsation for any property       or interests    therein taken or requisi-
                tinned pursuant     to sections 43, 52 (with respect to the material         for
                which the United      States is required    to pay just compensation),        66,
                and 10.8.. Except in case of real property        or any interest therein,   the
                _ommmmon      shall_determ.ine   and pay such just compensation.          If the
                compensation    so determined    is unsatisfactory      to the person entitled
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8836
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1769
                                                                                877


 68 8"rA'r.]             PUBLIC     LAW 703--AUG.        30, 1954                                                          953


 thereto, such person shall be paid 75 per centumof          tile amount so
 determined,   and shall be entitled to sue the United _tates in the Court
 of Claims or in any district court of the United States for the district
 in which such claimant is a resident in the manner provided by section
 1346 of Title 28 of the United States Code to recover such further sum                             62   Star.      955.


 as aclded to said 75 per centum         will constitute     just compensation.
    "SEC.    172.   CONDE_fNATIO_        OF  REAL    PRoPF_m_.--Prcceedings          for
                                                                                                  62 k4tt.     9lid;, 937;
  condemnation     shall be instituted     pursuant to the provisions        of the Act        46   atet.    1421[.
                                                                                                 40       UtIC        257.
 approved August        1, 1888, as amended,         and sechon     1403 of Title 28           2S 1l_.2SIle.
 of the United States Code.          The Act approved February             26, 1931, as
 amended, shall be applicable to any such proceedings.
    "SEe. 173. PATENT APPLICATION DISCLOSUBES.----In the event that the
  Commission     communicates      to any nation       any Restricted      Data based
 on any patent application         not belonging        to the United      States, just
 compensation      shall be paid by the United States to the owner of the
  patent application.      The Commission         shall determine       such compen-
 sation.    If the compensation        so determined       is unsatisfactory      to the
 person entitled thereto, such person shall be paid 75 per centum of the
 amount so determined,       and shall be entitled to sue the United States
  in the Court of Claims or in any district court of the United States
 for the district in which such claimant           is a resident in a manner pro-
                                                                                                    62   atat.      933.
 vided by section 1346 of Title 08 of the United States Code to recover
 such further     sum as added to such 75 per centum                  will constitute
 just compensation.
    "S_.   174. ATTOitNET GENEItAL APPROVAL OF TXTL_.--All real prop-
 e_y acquired under this Act shall be subject to the provisions                  of sec-
                                                                                                    40   UqlC      2S$.
 tion 355 of the Revised Statutes,            as amended : P_ovided,           however',
 That real property acquired by purchase or donation,                 or other means
 of transfer may also be occupied, used, and improved               for the purposes
 of this Act prior to approvalof         title by the Attorney      General in those
 cases where the President          determines      that such action is required
 in the interest of the common defense and security.

"CHAPTER            16. JUDICIAL       REVIEW         AND     ADMINISTRATIVE
                                    PROCEDURE

    "SEe. 181. GzN_L._The                  provisions     of the Administrative        Pro-
                                                                                                 60 ltato           237.
 cedure Act (Public Law 404, Seventy-ninth                    Congress, approved June            5 UIC           ]tOO1 not,to
 11, 1946) shall apply to all agency action taken under this Act, and
 the terms 'agency' and 'agency action' shall have the meaning specified
 in the Administrative         Procedure       Act: Prodded,        howe_er, That in the
case of agency proceedings             or actions which involve Restricted          Data or
defense information,          the Commission          shall provide by regulation        for
such parallel      procedures      as will effectively      safeguard     and prevent dis-
closure of Restricted          Data or defense          information      to unauthorized
 persons    with minimum          impairment        of the procedural        rights which
 would be available if Restricted            Data or defense information           were not
illvolved.
    "S_:G. 182. LICENSE AVI'LICATIONS.--
    "a. Each application         for a license hereunder shall be in writing and
shall specifically      state such information          as the Commission,       by rule or
regulation,      may determine         to be necessary      to decide such of the tech-
nical and financial qualifications            of the applicant,      the character of the
applicant,      the citizenship      of the applicant,      or any other qualifications
o_ the applicant         as the Commission          .may deem appropriate           for the
license.     In connection       with applications         for licenses to operate pro-
duction or utilization        facilities,   the appIicant      shall state such technical
specifications,     including     information       of the amount, kind, and source
of special nuclear material             required, the place of the use, the specific
                                                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:8937
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1770
                                                                                878

      954                                                     PUBLIC      LAW 703--AUG.         30, 1954             [68 STAT.

                                     characteristics     of the facility,     and such other information      as the Com-
                                     mission may, by rule or regulation,            deem necessary in order to enable
                                     it-to find that the utilization        or production   of special nuclear material
                                     will be in accord with the common defense                   and security     and will
                                     provide     adequate     protection     to the health and safety of the public.
                                     Such technical specifications          shall be a part of any license issued.      The
                                     Commission may at any time after the filing of the original application,
                                     and before the expiration          of the license, require further written state-
                                     ments in order to enable the Commission                 to determine    whether the
                                     application      should be granted        or denied or whether a license should
                                     be modified       or revoked.        All applications     and statements      shall be
                                     signed by the applicant          or licensee under oath or affirmation.
         C o      mm        erclml
       power.
                                         "b. The Commission          shall not issue any license for a utilization        or
                                      production     facility  for the generation      of commercial    power under sec-
                                      tion 103, until it has given notice in writing to such regulatory             agency
                                      as may have jurisdiction          over the rates and services of the proposed
                                      activity, to municipalities,       private utilities, public bodies, and coopera-
                                      tives within transmission         distance authorized     to engage in the distri-
         Notice        in     FR.
                                      bution of electric energy and until it has published                notice of such
                                      application     once each week for four consecutive          weeks in the Federal
                                      Register,   and until four weeks after the last notice.
                                         '%. The Commission,         in issuing any license for a utilization              or pro-
                                     duction facilit)     for the generation        o_ commercial        power under section
                                     103, shall give preferred         consideration     to applications       for such facili-
                                     ties which ,viii be located           in high cost power           areas in the United
                                     States if there are conflicting          applications      for a limited opportunity
                                     for such license.       Where such conflicting           applications      resulting     from
                                     limited opportunity        for such license include those submitted by public
                                     or cooperative       bodies such applications              shall be given          preferred
                                     consideration.
                                         "Szc. 183. TF_MS Or LIc_sEs.--Each                 license shall be in such form
                                     and contain such terms and conditions                  as the Commission            may, by
                                     rule or regulation,       prescribe     to effectuate     the provisions       of this Act,
                                     including     the following        provisions:
                                         "a. Title to all special nuclear material                utilized or produced           by
                                     facilities   pursuant     to the license, shall at all times be in the Unite_
                                     States.
                                         "b. No right to the special nuclear material                  shall be conferred        by
                                     the license ex-cept as defined by the license.
                                         "c_ Neither    the license nor any right under the license shall be
                                     assigned     or otherwise      transferred      in violation       of the provisions         of
                                     this Act.
                                          "d. Every license issued under this Act shall be subject to the right
                                      of recapture or control reserved by section 108, and to all of the other
                                      provisions    of this Act, now or hereafter in effect and to all valid rules
                                      and regulations      of the Commission.
                                          "SEc. 184. INAUElVAmLITY OF LICFA_TSES.---NOlicense granted here-
                                      under and no right to utilize              or produce       special     nuclear material
                                      granted hereby shall be transferred,              assigne_ or in any manner dis-
                                      posed of, either voluntarily           or involuntarily,        directly    or indirectly,
                                      through transfer       of control of any license to any person, unless the
                                      Commission      shall, after securing       i_dl information,        find that the trans-
                                      fer is in accordance       with the provisions        of this Act, and shah give its
                                      consent in writing.         The Commission          may give such consent to the
                                      creation of a mortgage,         pledge, or other lien upon any facility owned
                                      or thereafter     acquired by a licensee, or upon any leasehold                     or other
                                      interest in such property,          and the rights of the creditors              so secured
                                      may thereafter      be enforced       by any court subject to rules and regula-
                                      tions established      by the Commission             to protect       public health       and
                                      safety    and promot_       the common         defense     and security.
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       Case:
       Case:4:22-cv-00116-CDP
             4:17-cv-00024-CDP Doc.
                               Doc.#:
                                    #: 1-4
                                        48-7Filed: 01/28/22
                                              Filed: 02/06/17Page:
                                                              Page:9038
                                                                      ofof
                                                                        90344PageID
                                                                             PageID#:
                                                                                    #:1771
                                                                                       879

 68    STAT.]                 PUBLIC        LAW 703.--AUG.           30,   1954                                                       955


     "SEe.    185. CONSTRUCTIO.N" PERMITs.--All                  applicants        for licenses       to
 construct      or modify      production       or utilization         facilities      shall,   if the
 application       is otherwise      acceptable        to the Commission,               be initially
 granted      a construction      permit.       The construction             permit       shall state
 the earliest      and latest     dates    for the completion             of the construction
 or modification.        Unless    the construction         or modification         of tile facility
 is completed        by tile completion          date,    the construction            permit      shall
 expire,    and all rights      thereunder      be forfeited,        unless      upon good cause
 shown,     the Commission         extends     the completion          date.      Upon      the com-
 pletion     of the construction         or modificatmn           of the facility,          upon the
 filinlg of any additional            information         needed      to bring        the original
 appncation       up to (late, and upon finding               that the facility          authorized
has been constructed      and will operate      in conformity      with the applica-
tion as amended       and in conformitv        with the provisions         of this Act
and of the rules and regulations        of t_he Commissmn,       and in the absence
of any good cause being         shown    to the Commission        wh_: the granting
of a license    would   not be in accordance         with the pros isions       of this
Act, the Commission       shall   thereupon     issue a license    to the applicant.
For all other purposes      of this Act, a construction        permit    is deemed   to
be a 'license'.
   "S_.    186. R_'OCATXON.---
      "a. Any    license may        be revoked          for any material false statement in
the application or any statement of fact required under section 18"2,
or because of conditions re_ ealed by such application or statement of
fact or any report, record, or inspection or other means which would
warrant the _ommission     to refuse to grant a license on an original
application, or for failure to construct or operate a facility in accord-
ance with the terms of the construction permit or license or the techni-
cal specifications in the application, or for violation of, or failure to
observe any of the terms and provisions of this Act or of any regula-
tion of the Commission.
                                                                                                               50 Stat.   242.
      "b. The Commission     shall            follow     the provisions    of section           9 (b)     of   S t_c    1oo_'o).
the     Administrative   Procedure                Act   in revoking     any license.




                                                                                                               S L_C    1001       note.




all licenses     shall be subject         to amendment,           revision,      or modification,        by
reason     of amendments            of this Act or by reason             of rules and regulations
issued    in accordance         with the terms        of this Act.
    "SEc.     188. CONTINUED             OPERATION OF FACILITIES.--_Vhenever                            the
Commission          finds    that the _ublic            convenience          and necessity         or the
production        program         of the commission             requires       continued      operation
of a production           facility     or utilization         facility      the license      for which
has been revoked           pursuant        to section      186, the Commission               may,    after
consultation        with the appropriate                regulatory        agency,      State    or Fed-
era!, having       jurisdiction,        order that possession               be taken      of and such
rac.lhty     be operated        for such period          of time as the public            convenience
and necessity         or the production           program         of the Commission             may,      in
the judgment           of the Commission,              require,      or until      a license      for the
operation       of the facility         shall   become        effective.        Just compensation
shall be paid for the use of the facility.
   "SEe. 189. HEARINGS AND JUDICIAL'I_EVIEW._
   "a.    In any proceeding           under      this   Act,   for the     granting,      suspending,
                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:9139
                                                               ofof
                                                                 90344PageID
                                                                      PageID#:
                                                                             #:1772
                                                                                880

   956                                              PUBLIC       LAW 708--AUG.         30, 1954              [68   STAT.




                           revoking, or amending of any license or construction          permit, or appli-
                           cation to transfer control, and in any proceeding          for the issuance or
                           modification    of rules and regulations      dealing   with the activities   of
                           licensees, and in any proceeding      for the payment     of compensation,   an
                           award or royalties     under sections     153, 157, 186 c., or 188, the Com-
                           mission shall grant a hearing upon the request of any person whose_
                           interest may be affected by the proceeding,         and shall admit any such
                           person as a party to such proceeding.
                               "b. Any final order entered in any proceeding        of the kind specified
                           in subsection a. above shall be subject to judiciaI review in the manner
                           prescribed   in the Act of December 29, 1950, as amended (ch. 1189, 64
     5   USC       1031-
   1042,   1009.
                           _tat. 1129), and to the provisions      of section 10 of the Administrative
                           Procedure    Act, as amended.

                           "CHAPTER           17. JOINT         COMMITTEE              ON    ATOMIC         ENERGY

                              "SEe. 201.     MEMBF_HIP.---There            is hereby    established     a Joint     Com-
                           mittee on Atomic           Energy       to be composed         of nine Members           of the
                           Senate to be appointed by the President                  of the Senate, and nine Mem-
                           bers of tile House of Representatives                 to be appointed       by the Speaker
                           of the House of Representatives.                  In each instance not more than five
                           Members      shall be members             of the same political         party.
                              "SEc. 202. AUTHORITY AND Dm_.---The                     Joint Committee          shall make
                           continuing     studies of the activities of the Atomic Energy Commission
                           and of problems           relating      to the development,          use, and control         of
                           atomic energy.          During       the first sixty days of each session of the
                           Congress, the Joint Committee                 shall conduct hearings in either open
                           or executive     session for the pur lx_e of receiving information                     concern-
                           ing the develo_)ment,         growth, and state of the atomic energy industry.
                           The Commission          shall keep the Joint Committee                fully and currently
                           informed      with respect         to all of the Commission's              activities.      The
                           Department       of Defense shall keep the Joint Committee                     fully and cur-
                           rently informed        with respect to all matters            within the Department           of
                           Defense     relating     to the development,            utilization,    or application        of
                           atomic energy.         Any Government              agency shall furnish any informa-
                           tion requested by the Joint Committee                     with respect to the activities
                           or responsibilities        of that agency in the field of atomic energy.                     All
                           bills, resolutions,     and other matters in the Senate or the House of Rep-
                           resentatives     relating     primarily       to the Commission         or to the develop-
                           ment, use, or control of atomic energy shall be referred                          to the Joint
                           Committee.        The members           of the Jo]/lt Committee          who are Members
                           of the Senate shall from time to time report to the Senate,                             and the
                           members      of the Joint Committee               who are Members          of the House of
                           Representatives        shall from time to time _report to the House, by. _bill
                           or otherwise,      their recommendations               with respe:ct to matters          within
                           the jurisdiction       of their respective          Houses which are referred to the
                           Joint Committee           or otherwise         within    the jurisdiction        of the Joint
                           Committee.
                               "SEe. 203. CHarsMAN.--Vacancies                   in the membership          of the Joint
                            Committee      shall not affect the power              of the remaining           members to
                            execute the functions         of the Joint Committee,            and shall he filled in the
                            same manner as in the case of the original selection.                     The Joint Com-
                            mittee shall select a Chairman               and a Vice Chairman           from amongits
                            members at the beginning            of each Congresa           The Vice Chairman s_all
                            act in the place and steadof            the Chairman in the absence of the Chair-
                            man.     The Chairmanship             shall alternate      between the Senate and the
                            House of Representatives             with each Congress, and the Chai _rnmnshall
                            be selected by the Members                from that House entitled to the t3hair-
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Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
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      manship.             Tile Vice Chairman                  shall be chosen               from the House                 other
      than that of the Chairman                         by the Members                from      that House.
          "Sr_.      204. PowFats.--In                 carrying       out its duties            under        this Act, the
      Joint     Committee,              or any duly              authorized           subcommittee                thereof,        is
      authorized           to hold such             hearings       or investigations,                 to sit and act at
      such places          and times,          to require,        by subpena            or otherwise,            the attend-
      ance of such            witnesses         and the production                 of such books, papers,                     and
      documents,           to administer              such oaths,          to take such testimony,                     to pro-
      cure such printing                 and binding,            and to make such expenditures                               as it
      deems      advisable.            The Joint           Committee           may make such rules resl_Ct-
      lng its orl[anization               and procedures               as it deems           nec_ary:              Provided,
      howe_'er,         Tlmt     no measure            or recommendation                  shall be reported                 from
      the Joint Committee                  unless       a majority          of the committee               assent.           Sub-
      penas may be issued                  over the signature                 of the Chairman                 of the Joint
      Committee            or by any             member         designated            by him          or by the Joint
      Committee,            and may be served                  by such person                or persons           as may be
      designated          by such Chairman                 or member.             The Chalrman                 of the Joint
      Committee           or any member                thereof      may administer                oaths to witnesses.
      The Joint           Committee           may       u_ a committee                 seal.      The provisions                of     Committee       seal.
                                                                                                                                       2 IJSC    192-194.
     sections       1_2 to 104, inclusive,               of the Revised            Statutes,         as amended,            shall
      apply in case of any failure                       of any witness             to comply           with a subpena
      or to testify           when summoned                   under       authorit_          of this section.                The
     expenses           of the Joint           Committee           shall be pald from                    the contingent
     fund of the Senate                 from       funds      appropriated             for the Joint             Commzttee
      upon vouchers              approved          by the Chairman.                   The cost of stenographic
     serwce       to report         public       hearings        shall not be in excess                 of the amounts
     prescribed           by law for reporting                  the hearings             of standing            committees
     of the Senate.                The cost of stenographic                       service       to report           executive
     hearings         shall     be fixedat            an equitable           rate by the Joint                 Committee.
     Members            of the Joint          Committee,           and its employees                  and consultants,
     while      traveling           on official          business       for the Joint                Committee,              may
     receive      either       the per diem allowance                      authorized          to be paid to Mem-
     bers     of Congress              or its employees,                  or their         actual        and        necessary
    expenses         provided          an itemized           statement          of such expenses                is attached
    to the voucher.
        "SEC.      205.      STAFF      AND     Ass|sTANCz._The                  Joint       Committee            is empow-
    ered to appoint              and fix the compensation                      of such experts,               consultants,
    technicians,           and staff employees                  as it deems           necessary          and advisable.
    The Joint            Committee          is authorized          to utilize        the services,          information,
    facilities,         and personnel            of the departments                 and establishments                  of the
    Government.                 The Joint           Committee           is authorized             to permit           such      of
    its membel_,             employees,           and consultants              as it deems            necessary          in the
    interest        of common             defense         and security           to carry          firearms          while      in
    the discharge             of their official          duties     for the committee.
        "SEc.      _06.      CLASSIFICATION              OF   I_FORMATt0N.--The                     Joint       Committee
    may classify            information             originating         within        the committee              in accord-
    ance with standards                  used generall, y l_y the executive                        branch         for classi-
    fying      Restricted          Data or defense              reformation.
        "S_c.      907. RECOeVS.--The                    Joint      Committee             shall      keep       a complete
    record       of all committee                  actions,      including          a record           of the votes            on
    any question              on which           a record         vote      is demanded.                All committee
    records,       data, charts,          and files shall be the property                         of the Joint            Com-
    mittee      and shall be kept in the offices of the Joint                                  Committee             or other
    places      as the Joint             Committee            may      direct      under        such security              safe-
    guards       as the Joint            Committee            shall determine               in the interest             of the
    common          defense        and security.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
                                                       Page:9341
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   958                                    PUBLIC       LAW _0a--AUG.          30, 1954              [68 STAT.

                                       "CHAPTER            _18. ENFORCEMENT

                    "SF_. 221. G_EP_L           P_OVLSmNS.m
                    "a. To protect        against      the unlawful         dissemination       of Restricted
                Data and to safeguard           facilities,    equipment,       materials, and other prop-
                erty of the Commission,            the President         shall h.ave authority        to utilize
                the services of any Government                   agency to the extent he may deem
                necessary or desirable.
                    "b. Tile Federal         Bureau of Investigation               of the Department            of
                Justice    shall investigate        all alleged       or suspected      criminal     violations
                of this Act.
                    "c. No action shall be brought against an_. individual                      or person for
                any violation under this Act unless and untd the Attorney                           General of
                the United States has advised tile Commission                         with respect to such
                action and no such action shall be commenced                       except by the Attorney
                General of tile United States: Provided,                   however, That no action shall
                be brought under sections 222, 223, 224, 225 or 220 except by the express
                direction of the Attorney           General.
                    "SEc.  _2.   VIOLATION       OF SPECIFIC       SF_c_oNs.--Whoever           willfully     vio-
                lates, attempts        to violate, or conspires             to violate, any provision            of
                sections 57, 9_, or 101, or whoever                 unla_ fully interferes,        attempts      to
                interfere,     or conspires to interfere           with any recapture         or entry under
                section 108, shall, upon conviction               thereof, be pumshed bY a fine of not
                more titan $10,000 or by imprisonment                      for not more than five years,
                or both, except that whoever commits                      such an offense with intent to
                injure the United States or with intent to secure an advantage                            to any
                foreig_l nation shall, upon conviction                 thereof, be punished by death or
                imprisonment         for life (but the penalty of death or imprisonment                        for
                life may be imposed only upon recommendation                          of the jury), or by a
                fine of not more than $20,000 or by imprisonment                          for not more than
                twenty years, or both.
                    "Szo. 223. VIOLaTIO_r OF SECTIONS G_Nr_l_LLY.--Whoever                             willfully
                violates, attempts         to violate, or conspires to violate, any provision                    of
                this Act for w]iich no penalty              is specifically    provided or of any regula-
                tion or order prescrib_l          or issued under section 65 or subeections 161 b.,
                i., or p. shall, upon conviction               thereof, be punished          by a fine of not
                more than $5,000 or by imprisonment                     for not more than two years, or
                both, except that whoever commits such an offense with intent to injure
                the United States or with intent to secure an advantage                        to any foreign
                 nation, shall, upon conviction thereof, be punished by a fine of not more
                than $20,000 or by imprisonment                   for not more than twenty years, or
                both.
                    "SEe. 224. Co_uNICA_ON                    or Rr_rmc.rm_ DATA.---Whoever,                 law-
                   Ully or unlawfully,        having possession            of, access to, control over, or
                    ing entrusted      with any document, writing, sketch, photograph,                      plan,
                 model,     instrument,       appliance,        note, or information             involving       or
                 incorporating       Restricted      Data--.                .                                .    .



                      secure an advantage       to any foreign     nation,  upon conviction
                      thereof, shall be punished     by death or imprisonment    for life (but
                      the penalty of death or imprisonment      for life may be imposed only
                      upon recommendation       of the jury), or by a fine of not more than
                      $'20,000 or imprisonment     for not more than twenty years, or both ;



                      the United      States    or to secure     an advantage       to any foreign       nation,
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
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                                                       Page:9442
                                                               ofof
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68   STAT.]               PUBLIC      LAW     703--AUG.      80,   1954                               959

      shall, upon conviction,      be punished        by a fine of not more than
      $10,000 or imprisonment       for not more than ten years, or both.
   "SEc.  _25.  RECEIPT    OF I_ESq[?RICTIED    DATA._Vtr]loever,       with intent to
injure the United States or with intent to secure an advantage                   to any
foreign nation, acquires, or attempts or conspires to acquire any docu-
ment, writing,      sketch, photograph,          plan, model, instrument,         appli-
ance, note, or information       involving     or incorporating       Restricted   Data
shall, upol_ conviction     thereof, be punished           by death or imprisonment
for life (but the penalty of death or imprisonment                    for life may be
imposed only upon recommendation                 of the july),     or by a fine oi _ not
more than $20,000 or imprisonment               for not more than twenty years,
or both.
   "SEc. 226. TAMPERINO      wITH    RESTlZlCTED     DATA._t_Fhoever,       with intent
to injurethe United States or with intent to secure an advantage to
any i_oreignnation,removes, conceals,tampers with, alters,                            mutilates,
or destroysany document_ writing,sketch,photograph, plan, m odel_
instrument, appliance, or note involving or incorporating Restricted
Data and used by any individual or person in connection with the
production of specialnuclear material, or research or development
relatingto atomlc energy, conducted by the United Stat.e_b                           or financed
in whole or in part by Federal funds, or conducted with the aid of
specialnuclear material,shallbe punished by death or imprisonment
for life (but the penalty of death or imprisonment for lifemay be
imposed only upon recommendation of the jury), or by a fineof not
more than $20,000 or imprisonment for not more than twenty years,
or both.
    "SEC.   22_'.    DISCLOSURE      OF   RESTRICTED         DATA.--Whoever,            being or
having been an employee               or member         of the Commission,            a member
of the Armed Forces, an employee of any agency of the United States,
or being or having been a contractor                      of the Commission             or of an
agency of the United States, or being or having been an emp_lo_yee of
a contractor       of the Commission          or of an agency of the United States,
or being or having been a licensee of the Commission,                               or being or
having been an employee of a licensee of the Commission,                             knowingly
communicates,           or whoever      conspires       to communicate           or to recel_ve,
any Restricted          Data, knowing        or having reason to believe that such
data is Restricted          Data, to any person not authorized                  to receive Re-
stricted Data pursuant to the provisions                    of this Act or under rule or
regulation       of the Commission           issued pursuant           thereto, knowing          or
having    re._son to believe such person is not so authorized                         to receive
Restricted       Data shall, upon conviction               thereof,     be punishable        by a
fine of not more than $2,500.
   _SF._.  228.     STATUTE     OF LIm[ITATIONs._Except               for a capital offense,
no individual        or person shall be prosecuted,           trl"ed, or pum_shed for any
offense _prescribed or defined in sections 924 to 226, inclusive,                         of this
Act unless the indictment              is found or the information                 is instituted
within ten years next after such offense shall have been committed.
   "SEc. 229. OTH_Z LAws.--Sections                   294 to 228 shall not exclude the
applicable      provisions     of any other lawa
   _Szc. 230. L_jU_CTio_             PsocF_wNos.--Whenever                  in.the judgment
of the Commission            any person has engaged             or is about to engage in
any acts or. practices which constitute                or will constitute        a violation of
any provmlon of this Act, or any regulation                         or order issued there-
under, the Attorney           General on behalf of the United States may make
application       to the appropriate        court for an order enjoining               such acts
or practices, or for an order enforcing               compliance        with such provision,
and upon a showing by the Commission                      that such person has engaged
or is about to engage in any such acts or practices,                         a permanent         or
temporary         injunction,     restraining       order,     or other        order may         be
granted.
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:  9543
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                                 "SEC. 231. CONTEMPT PSOCEEDINCS.--In case of failure or refusal to
                              obey a subpena served upon any person pursuant          to subsection    161 c.,
                              the district  court for any district     in which such person is found or
                              resides or transacts  business, upon application     by the Attorney      Gen-
                              eral on behalf of tile United States, shall have jurisdiction      to issue an
                              order requiring such person to appear and give testimony         or to appear
                              and produce documents,      or both, ill accordance  with the subl_ena; and
                              any failure   to obey such order of the court may be punished by such
                              court as a contempt    thereof.

                                                   "CHAPTER              19. MISCELLANEOUS

                                  "SEe. 241. TRANSFER OF PRoPERTY.---Nothing                           in this Act shall be
                              deemed to repeal, modify,                amend, or alter the provisions                 of section
           80   Stat, 765.    9 (a) of the Atomic Energy Act of 1946, as heretofore                           amended.
           42   USC 180_a).
                                   "SEc. 251. REI_)RT TO CoNaR_ss._The                      Commission        shall submit to
                              the Congress,         in January        and July of each year, a report                concerning
                              the activities       of the Commission.                The Commission          shall include in
                              such report, and shall at such other times as it deems desirable submit
                              to the Congress,          such recommendations               for additional        legislation      as
                              the Commission           deems necessary or desirable.
                                   "SEc. 261. AppRoPRIATIONS.---There                     are hereby       authorized        to be
                              appropriated         such sums as may be necessary and appropriate                         to carry
                              out the provisions           and purposes           of this Act except such as may be
                              necessary for acquisition              or condemnation         of any real property or any
                               facility or for plant or facility acquisition,                 construction,      or expansion.
                               The Acts appropriating              such sums may appropriate               specified portions
                               thereof to be accounted for upon the certification                        of the Commission
                              only.       Funds appropriated             to the Commission           shall, if obligated          by
                               contract during t_e ]iscal year for which appropriated,                           remain avail
                               able for expenditure            for four years following              the expiration         of the
                               fiscal year for which appropriated.                                                        _ _..
                                    "SEc    271. AoE_cr          _URXSVICTION.mNothing                in this Act shall be
                               construed to affect the authority                 or regulations      of any Federal, State:
                               or local agency with respect to the generation,                     sale, or transmission          of
                               electric power.
                                    "SEc.  _7_.    APPLICABILITY          OF FEDERAL        POWER     AcT._Every          licensee
                               under this Act who holds a license from the Commission                              for a utiliza-
                               tion or production           facility    for the generation          of commercial          electric
                               energy under section 103 and who transmits                          such electric energy in
                                interstate      commerce       or sells it at wholesale            in interstate       commerce
                               shall be subject to the regulatory                provisions of the Federal Power Act.
                                     "S_.   273. LICE_SINO OF GOV_NMENT A_ENCIEs._Nothing                                   in this
                                Act shall preclude          any Government             agency now or hereafter             author-
                                ized b_y law to engage in the production,                   marketing,      or distributiol_       of
                                electric energy from obtaining                a license under section 103, if qualifie<!
                                under the provisions           of section 103, for the construction               and operation
                                of production        or utilization       facilities    for the primary purpose of pro-
                                ducing electric energy for disposition                 for ultimate public consumption.
                                     "SEc. 281. SEPARAmTJ_._If                 any provision of this Act or the appli-
                                cation of such provision to any person or circumstances,                         is held in_ alid,
                                 the remainder        of this Act or the application              of such provision to per-
                                sons or circumstances            other than those as to which it is held invalid,
                                shall not be affected thereby.
                                      "SEC. 291. SHoJrr T_TLE.mThis                  Act may be cited as the 'Atomic
                                 Energy Act of 1954'."
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4
                                 48-7Filed: 01/28/22
                                       Filed: 02/06/17Page:
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          Szo. 2.--
          a. Section 1 (d) of the Act of December                  29, 1950 (64 Stat. 1129), is           s mc 10al(d).
       amended by inserting before the period at the end thereof a semicolon
      and the following:         "when such order was entered by the Atomic Energy
      Commission,        'agency' means that Commission".
          b. Section      2 of the Act of December              29, 1950 (64 Stat. 1129), is              s tmc 1o32.
                                                                                                          Court    of  Apo
       amended by inserting            before the period at the end of the first para- _.1., J,ri.dte-
      graph     thereof a comma and the following:                   "and (d) of the Atomic            ti,.
      Energy      Commission          made reviewable        by section       189 of the Atomic
      Energy Act of 1954, as amended".                                                                    Ant., p. _S.
          SEC. 3. There is hereby retroceded              to the State of New Mexico the                  No,, mffiico.
      exclusive     jurisdiction        heretofore     acquired     from the State of New                 _..,l--.
       Mexico by the United States of America over the following                            land of
      the United       States Atomic Energy             Commission        in Bernalillo     County
      and within        the boundaries         of the SaRdis base, Albuquerque,                 New
      Mexico.
          Be_ginning at the center quarter corner of section 30, township                           10
       north , range 4 east, yew               Mexico     principal       meridian,      Bernalillo
       County, New Mexico, thence south no degrees twenty-three                            minutes
       thirty seconds west one thousand nine hundred forty-seven                       and twenty
      one-hundredths         feet, thence north eighty-nine            degrees thirty-six      min-
      utes forty-five       seconds east two thousand             sixty-eight      and forty one-
      hundredths       feet, thence north eighty-nine              degrees three minutes          fif-
      teen seconds east five hundred forty-six                feet, thence north no degrees
      thirty-nine     minutes      no seconds east two hundred thi_y-two                  and sev-
      enty one-hundredths            feet, thence north eighty-nine              degrees twenty-
      one minutes no seconds west eight hundred fifty-two                        and twenty one-
      hundredths       feet, thence north no degr_s              thirty-nine      minutes no sec-
      onds east five hundred             and sixty one-hundredths             feet, thence along
      the back of the south curb of West Sandia Drive, Sandia Base, Ber-
      nalillo County, New Mexico, eight hundre_l sixty-five                        and sixty one-
      hundredths       feet, thence north no degrees thirty-nine                  minutes   no sec-
      onds east one thousand three hundred thirty-five                    and three-tenths       feet
      to a point south eighty-nine              degrees twenty-seven          minutes forty-five
      seconds west a distance of thirty feet from the quarter corner common
      to sections 30 and 29, township               10 north, range 4 east, thence south
      eighty-nine      degrees, twenty-seven          minutes forty-five        seconds west two
      thousand      six hundred         twenty-three      and forty one-hundredths               feet
      to the point of beginning.
         This retrocession         of jurisdiction      shall take effect upon acceptance
      by the State of New Mexico.
         Approved       August 30, 1954, 9:44 a.m., E.D.T.


      Public      Law 704                                                      CHAPTER          1074
                                           AN ACT
                                                                                                          Au[_,st     $0,      1954
      To authorize and direct the construction of bridges over the Potomac ]giver, and                              me.19so]
                                     for other purposes.

      g/nBe it enacted   by the Senate  and House of Representatives                          of the
                                                                                                           PotogmSc         l|ver
          ited States  of America   in Congress  assembled,

           TITLE           I--BRIDGE         IN   VICINITY       OF    CONSTITUTION
                                                  AVENUE

      That (a) the Commissioners      of the District of Columbia     are author-
      ized and directed to construct, maintain,   and operate a low-level bridge
      over the Potomac    River, from the vicinity     of Constitution    Avenue




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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4
                                   48-8Filed: 01/28/22
                                          Filed: 02/06/17Page: 971ofof903
                                                           Page:          PageID #:
                                                                       63 PageID #: 886
                                                                                    1778




            EXHIBIT 8
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  Case: 4:22-cv-00116-CDP Doc. #:#:1-4
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                                           Filed: 02/06/17Page: 982ofof903
                                                            Page:          PageID #:
                                                                        63 PageID #: 887
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                           S. REP. 83-1699, S. Rep. No. 1699, 83RD Cong., 2ND Sess.
                             1954, 1954 U.S.C.C.A.N. 3456, 1954 WL 3225 (Leg.Hist.)
                              *3456 P.L. 83-703, ATOMIC ENERGY ACT OF 1954
                                             Senate Report No. 83-1699,
                                        June 30, 1954 (To accompany S. 3690)
                                             House Report No. 83-2181,
                                      July 12, 1954 (To accompany H.R. 9757)
                                           Conference Report No. 83-2639,
                                      Aug. 6, 1954 (To accompany H.R. 9757)
                                           Conference Report No. 83-2666,
                                      Aug. 16, 1954 (To accompany H.R. 9757)
                     The House bill was passed in lieu of the Senate bill after substituting for its
                   language the text of the Senate bill, therefore the Senate Report is set out. Two
                  Conference Reports were submitted with this legislation, both of which are set out.

            (CONSULT NOTE FOLLOWING TEXT FOR INFORMATION ABOUT OMITTED
         MATERIAL. EACH COMMITTEE REPORT IS A SEPARATE DOCUMENT ON WESTLAW.)

                                              Senate Report No. 83-1699

                                                       June 30, 1954
  THE Joint Committee on Atomic Energy, to whom was referred the bill (S. 3690) to amend the Atomic Energy Act
of 1946, as amended, and for other purposes, having considered the same, unanimously report favorably thereon and
recommend that the bill do pass. Some individual members of the Joint Committee hold divergent views on certain
sections of the bill which are attached hereto or will be presented appropriately in their respective Houses.

   This report describes the background of S. 3690, which is the committee-approved revision of S. 3323 on which public
and executive hearings have been held, sets forth the basic considerations which impelled the Joint Committee to report
it favorably, and furnishes a section-by-section analysis of the bill.


                            *3457 CHANGING PERSPECTIVES IN ATOMIC ENERGY

  The primary purpose of S. 3690 is to bring the Atomic Energy Act of 1946 into accord with atomic progress and
to make our Nation's Legislative controls better conform with the scientific, technical, economic, and political facts of
atomic energy as they exist today-- almost a decade after S. 1717 became the law of the land (Public Law 555, 79th Cong.).

  The organic law was written at the very outset of the atomic era. Those who participated in drafting that law were
keenly aware that many unknown factors were involved in measuring the future impact of this new source of energy upon
our national life. Indeed, the law warned in its findings and declaration that ‘any legislation will necessarily be subject
to revision from time to time.‘ We deem it a tribute to the special committee which drafted S. 1717, 79th Congress, and
to the late Senator Brien McMahon, sponsor of the legislation and subsequently chairman of the Joint Committee, that
the organic law has served our Nation so well for nearly a full decade. We would also record our satisfaction with the
fact that, at a time when atomic energy was popularly associated only with the atom bomb, the organic law specifically
called attention to constructive uses of the atom, by declaring that--

  Subject at all times to the paramount objective of assuring the common defense and security, the development and
utilization of atomic energy shall, so far as practicable, be directed toward improving the public welfare, increasing the
standard of living, strengthening free competition in private enterprise, and promoting world peace.



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  Case: 4:22-cv-00116-CDP Doc. #:#:1-4
    Case:
S. REP.     4:17-cv-00024-CDP
        83-1699,                    48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                               01/28/22
                                           Filed: 02/06/17Page: 993ofof903
                                                            Page:          PageID #:
                                                                        63 PageID #: 888
                                                                                     1780



  Under the Atomic Energy Act of 1946, our Nation has developed, in the form of our atomic-weapon stockpile, a
degree of deterring power which may well constitute the free world's greatest material asset in its effort to avert another
worldwide war. The elementary requirements of national security have compelled us to give military uses of the atom
top priority. Yet we have simultaneously developed, to a considerable degree, beneficent applications of this new force.

  The past 8 years have witnessed extraordinary scientific and technical achievements in atomic energy, both on the
peacetime and military sides. Technological developments-- some promising longer and richer lives for all privileged to
share in the peacetime benefits of the atom, and others posing grave threats to the very existence of civilization-- have
proceeded much more rapidly than was expected in 1946. As a result, atomic-energy legislation which was once fully
responsive to assuring the common defense and promoting the national welfare must mow be revised to take account of
existing realities in atomic energy, in our Nation and throughout the world.

   When the original act was written, the United States possessed a monopoly of atomic weapons. In a world where just
and lasting peace was fervently sought though not yet assured, simple prudence dictated stringent security regulations
aimed at prolonging our monopoly. It was widely believed that the Soviet Union might not explode its first atomic bomb
for many years to come, and that still more years might pass before it could produce atomic weapons in quantity. In
point of fact, however, the Soviet Union broke our atomic monopoly less than 3 years after the Atomic Energy Act of
1946 was put on the statute books. In the fall of 1953, less than a *3458 year after our first full-scale fusion-weapon test,
the Soviets also achieved a thermonuclear explosion. This clearly does not mean that the security regulations contained
in the Atomic Energy Act of 1946 served no useful purpose, or that an indiscriminate relaxation of these safeguards
is now in order. It does mean that our provisions for the control of information must now be revised to protect our
national interest in a world where the forces of evil have added to their conventional arms a growing ability to launch
a devastating atomic blow against the free world.

  When the organic law was enacted, atomic bombs were regarded by most as strategic weapons. Tactical applications
of the military atom were but dimly perceived. Still less was it recognized that the time would soon come when tactical
atomic weapons could profoundly, perhaps even decisively, affect the operations of the ground forces defending Western
Europe. With our Nation the sole possessor of atomic weapons, and with these weapons husbanded for a strategic
counterblow against an aggressor, there was no need for acquainting friendly nations with information concerning the
effects and military employment of tactical atomic weapons. Today, however, we are engaged with our allies in a common
endeavor, involving common planning and combined forces, to dam the tide of Red military power and prevent it
from engulfing free Europe. America's preponderance in atomic weapons can offset the numerical superiority of the
Communist forces, and serve emphatic notice on the Soviet dictators that any attempt to occupy free Europe, or to
push further anywhere into the free world, would be foredoomed to failure. Yet, so long as our law prohibits us from
giving our partners in these joint efforts for common defense such atomic information as is required for realistic military
planning, our own national security suffers.

  To contrast still further differences between the perspective of 1946 and that of 1954: It was commonly believed 8 years
ago that the generation of useful power from atomic energy was a distant goal, a very distant goal. Atomic energy then
was 95 percent for military purposes, with possible 5 percent for peacetime uses. The resources of the Atomic Energy
Commission and of its contractors appeared fully adequate to develop atomic-power reactors at a rate consistent with
foreseeable technical progress. Moreover, there was little experience concerning the health hazards involved in operating
atomic plants, and this fact was in itself a compelling argument for making the manufacture and use of atomic materials
a Government monopoly.

  Today, however, we can draw on the experience acquired in designing, building, and operating more than a score of
atomic reactors. It is now evident that greater private participation in power development need not bring with it attendant
hazards to the health and safety of the American people. Moreover, the atomic-reactor art has already reached the point



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                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
    Case:
S. REP.     4:17-cv-00024-CDP
        83-1699,
                                       Filed:
                 S. REP. 83-1699 (1954)Doc.
                                    48-8      01/28/22
                                           Filed:        Page:
                                                  02/06/17     1004of
                                                           Page:    of903 PageID#:
                                                                       63 PageID #:889
                                                                                   1781


where atomic power at prices competitive with electricity derived from conventional fuels is on the horizon, though not
within our immediate reach. For more than 2 1/2 years, the experimental breeder reactor has actually been producing
relatively small amounts of electricity at the national reactor testing station in Idaho. The land-based prototype of the
atomic engine propelling the U.S.S. Nautilus has already produced more than enough power to send an atomic submarine
around the world, fully submerged and at full speed. The Westinghouse Electric Corp. and the Duquesne Power & Light
Co. are *3459 now constructing the Nation's first large-scale atomic-power reactor, which will generate 60,000 kilowatts
of electricity-- an amount sufficient to furnish light and power for a sizable city.

   Many technological problems remain to be solved before widespread atomic power, at competitive prices, is a reality.
It is clear to us that continued Government research and development, using Government funds, will be indispensable
to a speedy and resolute attack on these problems. It is equally clear to us, however, that the goal of atomic power at
competitive prices will be reached more quickly if private enterprise, using private funds, is now encouraged to play a
far larger role in the development of atomic power than is permitted under existing legislation. In particular, we do not
believe that any developmental program carried out solely under governmental auspices, no matter how efficient it may
be, can substitute for the cost-cutting and other incentives of free and competitive enterprise.

  Today we are not alone in the drive to achieve peacetime atomic power. Eight years ago, besides the United States,
only the United Kingdom, Canada, and-- as we have recently come to find-- the Soviet Union, had major atomic energy
projects in being. The possibility of cooperating with other nations to gain mutual advantage in the area of peacetime
power appeared far in the future. As against this, however, more than 20 countries now have vigorous atomic energy
programs, and several of them are pressing toward the construction of atomic power plants to turn out useful amounts
of electricity.

  In 1946, finally, our Nation earnestly hoped that worldwide agreement on international control of atomic energy
might soon be secured. It was reasonable, therefore, that the original act should prohibit an exchange of information on
commercial uses of atomic energy with other nations until such time as the Congress declared that effective and enforcible
international safeguards against the use of atomic energy for destructive purposes had been established.

  But our hopes of 1946 have been thwarted by unremitting Soviet opposition to the United Nations plan for the
control of atomic energy. Although we would be morally derelict if we abandoned our hopes for the eventual effective
international regulation of all armaments, legislative policy cannot now be founded on the expectation that the prospect
of such control is either likely or imminent.

  In summary: Statutory provisions which were in harmony with the state of atomic development in 1946 are no longer
consistent with the realities of atomic energy in 1954. Legislation not responsive to the needs and problems of today can
serve only to deny our Nation, and like-minded nations as well, the true promise of atomic energy-- both in augmenting
the total military strength of the free world, and in increasing opportunities for beneficent uses of the atom.


                                     HISTORY OF PROPOSED LEGISLATION

  As the committee of Congress required by statute to ‘make continuing studies of the development, use and control
of atomic energy,‘ the joint committee has, since it first met in 1947, concerned itself with the relationship between
a changing and growing atomic program and the overall legislative requirements of this new field. As a result, the
joint committee has, *3460 from time to time, recommended to the Congress certain amendments to the basic law as
circumstances have demanded.

  In the summer of 1952, the committee decided to begin an intensive study of the problems of atomic power
development, and requested the Commission to prepare a statement of its views on this matter. Pending completion of the
Commission statement, the committee prepared and issued in December 1952, a 415-page print entitled ‘Atomic Power


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                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
    Case:
S. REP.     4:17-cv-00024-CDP
        83-1699,
                                       Filed:
                 S. REP. 83-1699 (1954)Doc.
                                    48-8      01/28/22
                                           Filed:        Page:
                                                  02/06/17     1015of
                                                           Page:    of903 PageID#:
                                                                       63 PageID #:890
                                                                                   1782


and Private Enterprise.‘ This print, the first compilation on the subject, sought to illuminate the problems associated
with increased peacetime atomic energy developments.

  In the spring of 1953 the Commission submitted its policy statement on atomic power, and the committee held extensive
hearings on the subject. During the course of these hearings, the Atomic Energy Commission emphasized that maximum
progress in this area required greater contributions in manpower, dollars, and resources from private enterprise, and
that legislative revisions would be needed to make this possible. Witnesses from the Department of Defense and the
Department of State reported that our nation could invigorate its atomic power development effort without subtracting
from our atomic military strength, and that such a broadened attack on peacetime power would advantage our country
in its international relations.

  The testimony of executive branch representatives and of spokesmen for science, industry, labor, and management
heard by the joint committee in the course of the 1953 hearings on atomic power development appears in the 649 page
joint committee publication on the subject of Atomic Power Development and Private Enterprise, published in the fall
of 1953.

  The committee has, in addition, maintained a continuing and active interest in all other phases of the atomic
program affected by the proposed legislation. Last spring, its Security Subcommittee inquired into the procedures of
the Atomic Energy Commission for safeguarding classified information. Its Research and Development Subcommittee
held extended hearings on the Commission's 5-year reactor development program and on other related scientific and
engineering activities. The weapons program has demanded a large portion of the committee's intense attention.

  Thus, through studies, inspections, meetings, hearings, and continuing day-to-day contact with the atomic energy
program the committee has amassed a body of information and experience which forms the base underlying the
legislation now recommended.

  On February 17 of this year, the President of the United States submitted to the Congress a series of recommendations
incorporating the proposals of the executive branch for amending the Atomic Energy Act of 1946. These amendments,
aimed at ‘strengthening the defense and economy of the United States and of the free world,‘ sought to accomplish the
following:

  First, widened cooperation with our allies in certain atomic energy matters;

  Second, improved procedures for the control and dissemination of atomic energy information; and

  Third, encouragement of broadened participation in the development of peacetime uses of atomic energy in the United
States.

  Following submission of the President's message to the Congress, the Joint Committee, sitting at a subcommittee of
the whole, drafted a series of amendments to the Atomic Energy Act of 1946. On April 15 and 19, the chairman and vice
chairman of the Joint Committee introduced into the *3461 House and Senate H.R. 8862 and S. 3323, the resulting
companion bills. At the time these bills were introduced, attention was drawn to the fact that they would undoubtedly be
subject to revision by the Joint Committee during the course of public and executive hearings on the proposed legislation.

  The committee met almost daily in its consideration of these bills and held many public hearings, at which witnesses
representing Government and industry were heard.

  Throughout, our deliberations were marked with the spirit of nonpartisanship which has characterized the work
of the Joint Committee from its inception. Virtually all differences of opinion originally existing between committee



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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
    Case:
S. REP.     4:17-cv-00024-CDP
        83-1699,
                                       Filed:
                 S. REP. 83-1699 (1954)Doc.
                                    48-8      01/28/22
                                           Filed:        Page:
                                                  02/06/17     1026of
                                                           Page:    of903 PageID#:
                                                                       63 PageID #:891
                                                                                   1783


members concerning specific provisions of the legislation were resolved in the course of our discussions, and through a
more complete understanding of the problems and the provisions of the measure, and our hearings ended with essential
unanimity having been reached on the general provisions of the bills.

  On June 30, new bills incorporating the revisions made during the executive meetings on H.R. 8862 and S. 3323, were
introduced. It is these bills, H.R. 9757 and S. 3690, which we now unanimously report favorably.

  We are aware of the heavy responsibility we now assume in commending this legislation to the Congress, and thereby
to the American people. Many imponderables are still involved in trying to chart the future course of atomic progress,
and we presume that the legislative changes we now recommend will themselves undoubtedly require revision from time
to time.

   It is our deep conviction, however, that this legislation will speed atomic progress and will promote the security and
well-being of the Nation. It accomplishes the purposes set forth in the President's February 17 message to the Congress.
It addresses itself to a needed, across-the-board modernization of the Atomic Energy Act of 1946. It proposes changes
wherever 8 years of testing the organic law in the hard crucible of actual experience has led the committee to conclude
that revisions would make for greater security, efficiency, and economy in the operation of our national atomic energy
program.


                     THE PRESIDENT'S MESSAGE AND THE PROPOSED AMENDMENTS

                         Widened cooperation with our allies in certain atomic energy matters

  H.R. 9757 and S. 3690 authorize the negotiation of bilateral agreements for cooperation with foreign nations in the area
of peacetime uses of atomic energy under carefully stipulated safeguards. The Commission may transfer and exchange
restricted data dealing with industrial, nonmilitary uses of atomic energy. Also, under explicity stated safeguards, the
Commission may transfer to another nation, party to an ‘agreement for cooperation,‘ atomic materials in quantities
needed for the development or utilization of atomic energy for nonmilitary and research purposes. Besides allowing
bilateral agreements in this field, the legislation also authorizes the President to enter into an international arrangement
with a group of nations for the purpose of international cooperation in nonmilitary applications of atomic energy and
thereafter to cooperate with that group of nations, pursuant to agreements for cooperation. The legislation provides a
mechanism to implement *3462 the President's peacetime International Atomic Pool Plan, outlined in his speech before
the United Nations on December 8, 1953.

  On the military side, the legislation permits the Department of Defense, under comprehensive security safeguards, to
transfer to another nation, or to a regional defense organization of which we are a member, restricted data concerning
the tactical employment of atomic weapons. Such information includes data necessary to the development of defense
plans, the training of personnel in the employment of, and defense against, atomic weapons, and the evaluation of
the capabilities of potential enemies in the employment of atomic weapons. The types of information that may be
communicated to others to achieve these objectives are carefully delineated, and it is made clear that no information
which would reveal important or significant data on the design or fabrication of the nuclear portions of atomic weapons,
or on the detailed engineering of other important parts of atomic weapons, can be revealed.

  We believe that peacetime international atomic energy cooperation on the basis of the terms set forth in this legislation
will redound to the mutual benefit of all concerned in such common undertakings. We believe also that the degree of
military atomic cooperation envisaged in these amendments will increase the effectiveness of our joint defense planning
with other nations in our mutual defense. We further believe that the attendant gains to our own security will more than
offset the risks taken when any classified military information, irrespective of its sensitivity or quantity, passes beyond
our exclusive control.



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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
    Case:
S. REP.     4:17-cv-00024-CDP
        83-1699,
                                       Filed:
                 S. REP. 83-1699 (1954)Doc.
                                    48-8      01/28/22
                                           Filed:        Page:
                                                  02/06/17     1037of
                                                           Page:    of903 PageID#:
                                                                       63 PageID #:892
                                                                                   1784



  In making our recommendations for international cooperation, we have proceeded under the policy that security
restrictions which prove to be onerous or unnecessary can always be relaxed, whereas the act of abandoning exclusive
control over any item of information is irrevocable. Accordingly, we have approached these sections of legislation with
great circumspection-- preferring to resolve any doubts on the side of caution.


              Improvement of procedures for the control and dissemination of atomic energy information

  The information control provisions of the organic law and of these bills are built around the concept of restricted data,
which the Atomic Energy Act of 1946 defines as ‘all data concerning the manufacture or utilization of atomic weapons,
the production of fissionable material, or the use of fissionable material in the production of power, but shall not include
any data which the Commission from time to time determines may be published without adversely affecting the common
defense and security.‘

  Clearance for access to restricted data has been contingent upon an investigation as to character, associations, and
loyalty of the individual. The same investigative requirements have applied to all personnel employed by the Atomic
Energy Commission or its contractors, whether such employees would in fact have subsequent access to only small
amounts of classified information of little security significance, or whether their positions required broad and continuing
access to the most sensitive data in the atomic program. The amended legislation would permit the Atomic Energy
Commission, on the basis of established criteria, to relate the scope of background investigation required to the extent and
sensitivity of the classified information to which an employee would have access while on the project. We believe *3463
that such a practice will make for greater overall security and greater protection of atomic secrets, by permitting the
resources of our investigative agencies to be concentrated on those areas where painstaking and scrupulous background
checks are most urgently required.

  As atomic weapons have more and more assumed the status of conventional armaments in our military services,
an incrasing number of Department of Defense personnel have required access to restricted data. The Atomic Energy
Commission is now permitted to disclose restricted data to military personnel qualifying for such information on a need-
to-know basis and possessing the appropriate service clearance. At the same time, Commission contractors are prohibited
from revealing or disclosing restricted data to military personnel on the basis of their military clearance, requiring instead
that potential recipients first secure an Atomic Energy Commission clearance-- based on investigation by the Federal
Bureau of Investigation or by the Civil Service Commission. The amendments would remedy this administrative anomaly
by permitting contractors and licensees of the Commission to give Department of Defense personnel access to restricted
data under conditions which would assure safeguarding of the information.

  Much restricted data concerns the military utilization of atomic weapons. Responsibility for the control of all restricted
data, however, is vested in the Atomic Energy Commission. In certain instances, the Department of Defense has desired
to remove military utilization information from the restricted data category, and without putting it in the public domain,
to handle it under the safeguards used to protect other classified military information. Under the Atomic Energy Act of
1946, however, information can be removed from the restricted data category only through declassification, following a
Commission determination that the publication of this data would not adversely affect the common defense and security.
To meet this problem, the bill would permit information relating primarily to the utilization of atomic weapons to be
removed from the restricted data category after a joint determination by the Commission and the Department of Defense
that the data related primarily to military utilization, and that it should and could be safeguarded under the Espionage
Act and other applicable statutes. The Department of Defense would also be given a voice with the Atomic Energy
Commission in declassification actions involving restricted data which relates primarily to military utilization of atomic
weapons.




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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
    Case:
S. REP.     4:17-cv-00024-CDP
        83-1699,
                                       Filed:
                 S. REP. 83-1699 (1954)Doc.
                                    48-8      01/28/22
                                           Filed:        Page:
                                                  02/06/17     1048of
                                                           Page:    of903 PageID#:
                                                                       63 PageID #:893
                                                                                   1785


  The joint committee has been keenly aware of the critical role of information control in helping assure this Nation's
continued atomic supremacy. We have recommended legislative changes in this area only after exhaustive consideration
of all the factors involved, and on the basis of our carefully considered judgment that these changes will promote our
common defense and security.


                              The domestic development of peacetime uses of atomic energy

  The organic law makes the production and use of fissionable material a Government monopoly. Private industry is
permitted neither to own nor possess such material, nor to own or operate atomic reactors or other facilities capable of
producing or utilizing these same materials. The basic law stipulates that ‘All right, title, and interest within or under the
jurisdiction of the United States, in or to any fissionable material, now or hereafter produced, shall be the property of
the Commission, and shall be deemed to *3464 be vested in the Commission by virtue of this act.‘ It defines ‘fissionable
material‘ as ‘plutonium, uranium enriched in the isotope-235, or any other material which the Commission deems to
be capable of releasing substantial quantities of energy through nuclear chain reactions of the material, or any material
artifically enriched by any of the foregoing. * * * ‘

  The phrase ‘fissionable material‘ is stricken from the proposed legislation, and the new words ‘special nuclear material‘
are substituted in its stead. This change is intended to clarify the original provision of the act to give to the Commission,
in addition to the power to determine and regulate the use of materials utilizable in the fission process, the power to
perform the same functions in respect to materials which can be utilized in fusion processes.

  This report has already summarized the considerations underlying the stringent prohibitions of the Atomic Energy
Act of 1946 against private participation in atomic energy. It has also made clear that changing conditions now not only
permit but require a relaxation of these prohibitions if atomic energy is to contribute in the fullest possible measure to
our national security and progress.

  The recommended legislation therefore permits the Commission to license private industry, to possess and use special
nuclear materials. The United States Government, however, would retain title to such materials. The legislation also
permits private persons, under license of the Commission, to own reactors intended to produce and utilize such materials.

   It is our firmly held conviction that increased private participation in atomic power development, under the terms
stipulated in this proposed legislation, will measurably accelerate our progress toward the day when economic atomic
power will be a fact. It is likewise our conviction that the safeguards written into this legislation will prevent special
interests from winning undue advantages at the expense of the national interest.

  We do not believe that the efforts of free enterprise, using its own resources and moneys, are by themselves adequate
to achieve the speediest possible attack on the goal of peacetime power. Neither do we believe that maximum progress
toward this objective will be afforded by an effort relying exclusively on governmental research and development, using
the public's moneys. We believe, rather, that teamwork between Government and industry-- teamwork of the type
encouraged by these amendments-- is the key to optimum progress, efficiency, and economy in this area of atomic
endeavor. In other words, our legislative proposals aim at encouraging flourishing research and development programs
under both Government and private auspices.

  We are mindful of the fact that in the immediate future, relatively few firms may be involved in this effort.
We acknowledge that dangers of restrictive patent practices are present, though not inherent, in such a situation.
Accordingly, we recommend to the Congress that holders of patents on inventions of primary importance to the
peacetime uses of atomic energy be required to license such patents to others in return for fair royalties. This requirement
of compulsory licensing will apply to all patents in the field which are sought in the next 5 years.




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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
    Case:
S. REP.     4:17-cv-00024-CDP
        83-1699,
                                       Filed:
                 S. REP. 83-1699 (1954)Doc.
                                    48-8      01/28/22
                                           Filed:        Page:
                                                  02/06/17     1059of
                                                           Page:    of903 PageID#:
                                                                       63 PageID #:894
                                                                                   1786



                                                      Other matters

  During the course of its deliberations on these amendments, the committee has scrutinized the entire organic law,
revising it in such instances *3465 where 8 years of experience have argued that changes were desirable. As a result, all
of the 21 sections of the Atomic Energy Act of 1946 have been changed. Some of the proposed revisions affect matters of
substance-- they attempt to afford legislative answers for problems not existing at the time the organic law was drafted.
Many of the suggested changes are minor-- they are in the nature of perfecting amendments, or else they resolve possible
ambiguities in the construction of the language of the original law. These revisions are set forth in the section-by-section
analysis, and in the columnar comparison sections of this report.

  Considered in their entirety, the amendments, in our opinion, make our Nation's atomic energy legislation a more
responsive and adequate instrument for dealing with the problems posed by the advent and evolution of this epochal
new force.

  Yet we are aware that legislation, standing by itself, can never substitute for prudent and courageous administration
of our atomic enterprise by the responsible officials of the executive branch, for continuing understanding and support
of our atomic program in the Congress, and-- most of all-- for that enlightened and informed public opinion which is
the bedrock of wise national policy in our democratic society.

  We have every confidence that the domestic problems created by atomic energy can be resolved through the application
of wisdom, willingness of compromise, and good will. We are no less confident that the critical international problems
arising out of the growth of nuclear stockpiles could likewise be amenable to resolution through these same means.

  We in America cannot be held accountable for the failure of the Communist rulers to join with the free nations of the
world in ushering in an era of true atomic peace. We in America are accountable, however, for what we ourselves do,
or do not do, in our strivings toward this goal.

  We of this generation have been visited with a new form of energy which can ravage this planet beyond recognition,
or make it fair beyond the wildest dreams of our fathers. It is the hope, it is the prayer of those of us who now commend
this legislation to the Congress that the atom will be not the destroyer but the servant of humanity.


                          CHAPTER 1. DECLARATION, FINDINGS, AND PURPOSES

  In this chapter are set forth the basic statements of policy and aims of the legislation and the constitutional findings
in support of the legislation.

  Section 1: The aim of the bill is to assure that atomic energy makes the maximum contribution to the general welfare of
the Nation, subject to the paramount objective of having it make the maximum contribution to the common defense and
security. The ends toward which the development of atomic energy are directed are further stated to be ‘to promote world
peace, improve the general welfare, increase the standard of living, and strengthen free competition in private enterprise.‘

  Section 2: The legal basis of the proposed legislation is the constitutional powers of the United States including, among
others, to provide for the common defense; to raise and support armies; to provide and maintain a navy; to make all
needful rules and regulations respecting the territory or other property belonging to the United States; and to regulate
commerce with foreign nations and among the several States.

  *3466 Title to special nuclear material is vested in the United States so that there is adequate means of providing the
United States with the materials for weapons or other preempting national uses in times of need. The use of the special



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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 106
                                                           Page: 10ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1787
                                                                                     895


nuclear material by others in facilities which, for the first time, are permitted to be owned by persons other than the
United States Government, is regulated under the power, among the others cited, of the United States to provide for the
regulation of its own property. In view of the broad powers conferred upon the Congress by article 4, section 3, clause
2, of the Constitution, there can be no doubt of the authority of the Congress to exercise ist powers to provide for any
manner of regulation needed to protect the national interests, and the interests of the public.

  Section 3: The bill specifies that the Commission shall carry out programs of encouraging research; of disseminating
technical information and controlling and declassifying restricted data; of controlling atomic energy and special nuclear
material; of encouraging widespread participation in the atomic-energy program; and of international cooperation,
subject to suitable safeguards; and of administration.


                                              CHAPTER 2. DEFINITIONS.

  All definitions set forth in the bill are collected in this chapter. Those portions of the definitions which require
substantive action have, in most cases, been separated from the definitions and have been put into the appropriate section
of the bill. Some of the definitions which merit particular attention are:

   Section 11c: ‘Atomic energy‘ is defined to mean ‘all forms of energy released in the course of nuclear fission or nuclear
transformation.‘ This definition includes both fission and fusion types of nuclear reactions. It has been clarified to mean
only that energy released ‘in the course of‘ nuclear fission or nuclear transformation. The definition in the act also includes
energy released ‘as a result of‘ such fission or transformation, and is scientifically broader than is necessary or desirable.
It s deletion in the bill will not change the intended scope of the act or jurisdiction of the Atomic Energy Commission.

  Section 11 d: ‘Atomic weapon‘ is defined for the first time to express the intent of Congress in using the phrase in
the act. The definition specifically excludes airplanes, submarines, or rockets which may carry the weapons, unless the
propulsive power is in integral part of the weapon itself. It also makes clear that devices that are the developmental
forerunners of any atomic weapon are classed as atomic weapons.

  Section 11 i: ‘Design) is defined for the first time to mean the documents containing specifications of any item, the
information contained on the documents, and the data from research and development pertinent to the information
contained on the documents.

  Section 11 m: ‘Operator‘ is defined as any person who manipulates the controls of a production facility or a utilization
facility. This definition is incorporated in order to permit the Commission to license the actual operators of nuclear
reactors under section 107 in the same way that the Civil Aeronautics Board licenses airplane pilots and the way the
Federal Communications Commission licenses radio engineers. The owners of the facilities would be licensed under
other sections of the bill.

   *3467 Section 11 p: ‘Production facility‘ is defined as any facility which is determined to be capable of the production
of special nuclear material in such quantity as to be of significance to the common defense and security or in such manner
as to affect the health and safety of the public, or any important component part especially designed for such facility.
This determination must be made by rule of the Commission. A facility which is not found by rule of the Commission
to fall within the above definition is exempt from licensing as a facility, though the owner must still have a license for
any special nuclear material involved.

  Section 11 r: ‘Restricted data‘ is defined to include all data concerning (1) the design, manufacture, or utilization of
atomic weapons; (2) the production of special nuclear material; or (3) the use of special nuclear material in the production
of energy. The definition provides that data declassified or removed from the category is removed from the definition.
While this definition differs from that of the act by specifically including the ‘design‘ of atomic weapons, it was always


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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 107
                                                           Page: 11ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1788
                                                                                     896


intended that this be included within the definition of restricted data, since it is perhaps the most important area of secret
information in the atomic energy field that this Nation possesses. The Commission has always considered that the design
of the weapons was covered under the definition of restricted date included in the act, and the Congress has concurred
in that belief. Thus, by Public Law 235, 82d Congress (65 Stat. 692), the Congress permitted the interchange of limited
portions of restricted data information with other nations with the very first proviso ‘that no such arrangement shall
involve the communication of restricted data on design and fabrication of atomic weapons.‘

  Section 11 t: ‘Special nuclear material‘ is defined to mean plutonium, uranium enriched in the isotope 233 or in the
isotope 235 or any other material which the Commission determines to be special nuclear material pursuant to the
provisions of section 51. The latter section is so constructed that materials essential to fusion processes could be found to
be special nuclear materials in addition to materials essential to fission processes. Because the bill covers such materials
used in fusion processes, the restrictive term ‘fissionable material‘ used in the act has been changed to ‘special nuclear
material.‘

  Section 11 v: ‘Utilization facility‘ has a definition parallel to that of ‘production facility‘ but based on the utilization
of atomic energy or special nuclear material rather than on the production of special nuclear material.


                                            CHAPTER 3. ORGANIZATION

  This chapter establishes the Atomic Energy Commission and certain various subordinate and auxiliary units to assist
the Commission in the discharge of its statutory duties.

  Section 21 establishes the Commission as a five-man body, and gives the President the power to designate one member
as the Chairman of the Commission. The Chairman is authorized to designate an Acting Chairman. In providing that all
members shall have equal responsibility and authority and that all members shall have one vote in Commission actions,
the five-man rule of the Commission's activities is maintained and strengthened. The right of the members to have access
to all information within the Commission flows from this responsibility and authority. The Chairman is given *3468
the task of being the official spokesman for the Commission (which does not ban the holding or expression of separate
or dissenting views by any member) and of seeing to the faithful execution of the policies decided on by the Commission.
This status should centralize the responsibility for carrying out the wishes of the Commission.

  Section 22 provides for 5-year terms of the members of the Commission and for the rotation of these terms. It provides
for the removal of the members by the President only for cause. It also provides for the compensation of the members
at $18,000 per annum, and for the compensation of the Chairman at $20,000 per annum-- as does the present act.

  Section 23 provides that the principal office of the Commission may be in or near the District of Columbia, but requires
the Commission, in any event, to maintain an office for the service of process in the District of Columbia in view of the
many new licensing activities established by the bill.

  Section 24 provides for the appointment of a General Manager to perform those administrative and executive functions
of the Commission that the Commission may direct; provides that his service shall be at the pleasure of the Commission;
and provides that the annual salary of the General Manager shall not exceed $20,000.

  Section 25 establishes certain important program and statutory divisions and offices within the Commission. There
are 11 program divisions permitted by the bill, including the Division of Military Application. The latter is required to
be headed by an active member of the Armed Forces. All program division directors are to receive an annual salary of
not to exceed $16,000. In addition, the Office of the General Counsel is recognized as meriting statutory recognition,
especially in view of the many new complex legal problems entering the program with the many new licensing and
regulatory provisions in the bill. There is also a statutory Inspection Division established by the bill with the duty of


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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 108
                                                           Page: 12ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1789
                                                                                     897


gathering information to show whether or not contractors, licensees, and officers and employees of the Commission
are complying with the provisions of the act, and the rules and regulations of the Commission. This Division will be
responsible for those provisions of the act not supervised by the Federal Bureau of Investigation. This is the Division
to which complaints can be referred when there is concern about the operations of licensees under the new provisions.
It is not intended that the Inspection Division replace other necessary management inspection services such as auditing
of contractor books and Commission records except as such activities may be necessary to fulfill the responsibilities of
the Inspection Division in particular instances.

  Section 26 establishes the General Advisory Committee. This Committee consists of nine members appointed by the
President and advises the Commission on technical matters involved in the operation of the Commission.

  Section 27 establishes the Military Liaison Committee. This Committee acts as a communication link between the
Department of Defense and the Commission, through which each keeps the other fully *3469 and currently informed
of relevant developments. It was originally established in the Atomic Energy Act of 1946 so that the military departments
would be sure of having an adequate means of voicing any concern about the activities of a civilian Commission if those
activities adversely affected the common defense and security.

  Since the passage of the act, the Department of Defense has been established to integrate the various military
responsibilities. Therefore, the bill specifies that the Department of Defense (rather than the Military Liaison Committee)
shall have the responsibility of taking exception to action or proposed action of the Commission, and provides that in
such cases the matter shall be referred to the President for resolution.

   Section 28 permits the appointment of active officers to serve as director of the Division of Military Application, and
of active or retired officers to serve as the Chairman of the Military Liaison Committee. In either case the bill clearly
provides, as has always been congressional intent, that the total amount of compensation to be paid to any such officer
is the amount prescribed by sections 25 and 27, respectively.


                                               CHAPTER 4. RESEARCH

  This chapter provides the Commission with the statutory authority to see that adequate research is performed in the
program.

  Section 31 provides the Commission with the authority to enter contracts or other arrangement to have research work
performed for the Commission within very broad scientific areas.

  Section 32 provides the Commission with authority to engage in research within those areas if it so desires.

   Section 33 permits the Commission to have research within those same areas performed in its facilities for other persons
if adequate facilities are not available elsewhere to those persons. The Commission is permitted to make such charge for
the performance of this work as it may deem desirable.


                       CHAPTER 5. PRODUCTION OF SPECIAL NUCLEAR MATERIAL

  This chapter provides the Commission with the authority to produce special nuclear material, or to have such material
produced.

  Section 41 provides that the Commission, as the agent of the United States, shall be the owner of all production facilities
for the production of special nuclear material other than those which are useful for the types of research specified in



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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 109
                                                           Page: 13ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1790
                                                                                     898


section 31 above, and do not have a capacity sufficient to permit an operator to manufacture enough special nuclear
material to produce an atomic weapon. It also permits licensees of the Commission to own production facilities. This
provision requiring Commission ownership of all other production facilities is part of the basic requirements for having
civilian rather than military control of the atomic energy program. In connection with its own production facilities,
however, the Commission is permitted to have the actual operation carried on by other persons under contract to it
and under its direction and control. The total amount *3470 of special nuclear material to be produced each year in
Commission-owned facilities aer to be determined by the President who also determins the amount of special nuclear
material to be available each year for distribution by the Commission to licensees of the Commission.

  Section 42 permits the irradiation of materials in facilities lawfully producing or utilizing special nuclear materials.

  Section 43 permits the Commission to acquire production facilities or to acquire real property for the construction of
production facilities for its own needs.

  Section 44 permits the Commission to dispose of usable energy generated in the production facilities or in the
experimental utilization facilities owned by the Commission. If the energy is sold to publicly or privately owned utilities
or users, the price is to be subject to regulation by the appropriate agency, State or Federal, having jurisdiction. This
section will permit the Commission to dispose of that utilizable energy it produces in the course of its own operations,
but does not permit the Commission to enter the power-producing business without further congressional authorization
to construct or operate such commercial facilities.


                                   CHAPTER 6. SPECIAL NUCLEAR MATERIAL

  This chapter deals with activities involving materials capable of releasing substantial quantities of atomic energy. For
all purposes of the bill, such materials are defined as special nuclear material.

  Section 51 provides that any material capable of releasing substantial quantities of atomic energy may be found by
the Commission to be special nuclear material, provided that the determination is found to be in the interests of the
common defense and security. In that case the President must agree with the determination and it must come before the
joint committee before it can be effective. In view of the potentially great impact any future declaration of the addition
of further materials to the category of special nuclear material could have on the economy of the Nation, these statutory
steps were deemed to be necessary. Furthermore, at any such time the United States would be required to pay just
compensation to the then owners of the material, and this might require large appropriations. It is believed that this
provision gives the Commission the statutory basis it needs for including new materials within this category, and still
provides adequate safeguards to assure that this power is not abused. It should be noted that the scientific basis on
which the first Commission determination is to be based-- namely, the release of substantial quantities of atomic energy--
permits the inclusion in this category for the first time materials essential to fusion processes as well as those essential
to fission processes.

  Section 52 provides that title to all special nuclear material is to be in the United States, with the Commission acting
as the agent of the United States in this connection. The provision requires the payment of just compensation to those
who own special nuclear material at the time it is later determined to be special nuclear material. It also provides that
those who *3471 hereafter lawfully produce special nuclear material, except under a contract with the Commission, are
to be paid a fair price for the production of such material, as determined by section 56.

  Section 53 sets forth the uses for which the Commission may license and distribute special nuclear material. These
include research of the type specified in section 31, research and development or medical therapy under a license under
section 104, or commercial operation under a license issued under section 103. The Commission is authorized to issue
general or special licenses for the possession of special nuclear material, and to make a charge for the use of such material.


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                                                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 110
                                                           Page: 14ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1791
                                                                                     899


The Commission is required to make a charge for such use if it is in connection with a commercial license issued under
section 103. An additional charge for special nuclear material consumed by a licensee under section 103 is based on the
cost to the Commission of producing or acquiring the special nuclear material. The charges for the other uses are in the
discretion of the Commission, but must be established by rule so as to be fair to all in similar situations. The statutory
conditions on permitting the use or possession by others of special nuclear material are set forth, and include:

  1. Title shall remain in the United States.

  2. Only those rights specified in the license are to be granted to the licensee.

  3. No license is transferable except pursuant to the bill.

  4. All special nuclear material is subject to the right of recapture or control in the event of war or a national emergency.

  5. Special nuclear material may be used or produced in utilization and production facilities only in accordance with
the provisions of the bill.

  6. The possession shall be subject to such terms that no user will be permitted to construct an atomic weapon.

  7. The possession is subject to the health and safety standards established by the Commission.

  8. The licensee will hold the United States and the Commission harmless from damages resulting from the use or
possession of the material.

  In distributing the material, the Commission is directed to encourage independent research.

  Section 54 permits the Commission to cooperate with any nation pursuant to an agreement for cooperation and to
distribute special nuclear material to that nation. (See sec. 123.)

  Section 55 permits the Commission to acquire special nuclear material outside of the United States.

  Section 56 provides that the fair price to be paid to those lawfully producing special nuclear material (other than
under contract) is to be based primarily on the value of the United States of the intended use of the material, and only
secondarily to the actual cost of producing the material in licensed facilities. The fair price is to be uniform to all producers
at any one time, and the Commission is authorized to guarantee fair prices for periods of up to 7 years. This authorization
permits the Commission to announce guaranteed prices at any time for a period extending beyond that specified in any
earlier guaranty, but not beyond 7 years from such subsequent announcement.

   *3472 Section 57 contains prohibitions against having or using special nuclear material except in accordance with the
provisions of the bill. One special provision prohibits any person from directly or indirectly producing special nuclear
material outside of the United States, except under an agreement for cooperation (see sec. 123), or upon an express
determination that such activity will not be inimical to the interests of the United States. This provision is designed to
permit those who might teach abroad, or who might wish to sell unclassified services or parts of facilities (not including
those parts found by the Commission to be production or utilization facilities because of their special characteristics),
or who might wish to help build facilities abroad have an opportunity to do so with prior Commission approval. This
section would not permit the disclosure of restricted data, or the export of production or utilization facilities. These are
permitted only under section 144a and sections 103 and 104, respectively. This section also contains prohibitions and
limitations on the activities of the Commission with respect to the distribution of special nuclear material.




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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 111
                                                           Page: 15ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1792
                                                                                     900



                                          CHAPTER 7. SOURCE MATERIAL

  This chapter specifies the provisions for the location, mining, production, and distribution of source materials.

  Section 61 gives the Commission the authority to designate new materials as source materials if the Commission finds
that such materials are essential to the production of special nuclear materials. The Commission must also find that the
determination of an additional material as source material is in the interest of the common defense and security, and
the President must concur in these determinations. Any such determination comes before the joint committee before it
can become effective.

 Section 62 prohibits any person from transferring any source material except pursuant to a license issued by the
Commission.

  Section 63 specifies the criteria under which the Commission is authorized to distribute source material within the
United States. In addition to such distribution for use in research of the type specified in section 31, for use in a research
and development facility, or for medical therapy, licensed under section 104, or for use in a commercial facility licensed
under section 103, as is permitted for special nuclear material, source material may also be distributed for any other
use approved by the Commission as an aid to science or industry. The criteria for having the Commission establish
general or specific licensing provisions are set forth. Also, the method of establishing prices for the source materials so
sold is specified. This is tied to the method of charging for materials generally furnished to licensees under section 161
m., and the price is to be such that the Government will receive reasonable compensation, and yet will not discourage
the development of sources of supply independent of the Government. The Commission is given authority to determine
whether or not charges shall be made for the use of such material, depending, among other factors, upon whether or not
a profit is to be made from such use by the distributee.

  Section 64 permits the Commission to distribute source material to another nation which is party to an agreement for
cooperation (see sec. 123). It also authorizes the Commission to distribute source materials outside of *3473 the United
States upon a finding that such distribution will not be inimical to the interests of the United States.

  Section 65 permits the Commission to require reports on the handling of source material as it deems desirable, but no
such report is to be required for amount before they are removed from their place of deposit in nature, or if they involve
amounts deemed by the Commission to be insignificant.

  Section 66 gives the Commission authority to condemn or acquire supplies of source material, interest in real property
containing source material, or rights of entry into property believed to have possibilities of containing source material.

  Section 67 gives the Commission authority to lease lands belonging to the United States for mining or prospecting for
source materials. The Commission has exercised this right in the past based on the reservation to the United States of all
rights to source materials in the public lands. This reservation is contained in the act. The Commission believes that it
needs to have the power to lease granted to it, now that this reservation is no longer carried in the bill. Three situations
can be envisioned when it might be desirable to lease expressly granted to it, now that this reservation is no longer carried
in the bill. Three situations can be envisioned when it might be desirable to lease land belonging to the United States
which might contain deposits of source materials: (1) Those lands which are withdrawn from mining locations; (2) those
lands which in the opinion of the Commission are not reasonably susceptible of mining development under the mining
laws; or (3) those lands on which source materials have been discovered as a result of exploratory work performed under
the direction of any Government agency.




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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 112
                                                           Page: 16ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1793
                                                                                     901


  It is the intent of Congress that this leasing power should be invoked only where it is the only means of achieving
private development of deposits of source material in lands belonging to the United States. It is not intended to supplant
the mining laws in any normal situation.

  Section 68 prohibits any person connected with the program who acquires confidential official information concerning
deposits of source material in the course of his duties from gaining any private benefit from this information. This section
also directs the head of any Government agency that heretofore has issued any conveyances of lands belonging to the
United States containing reservations to the United States of all rights to source material to reissue such conveyances
upon application of the present holder without any such reservation. Any rights issued to others under those reservations
have been preserved. The bill deletes the reservation of source materials in public lands to the United States. With respect
to this deletion, the Atomic Energy Commission has observed:

  This deletion of the reservation would represent no economic loss to the Government since at no time has the Atomic
Energy Commission paid less for source materials originating on lands subject to the reservation than it has for source
materials originating on lands to which the reservation has no application. The principal practical effect of the reservation
thus far has been detrimental to the Commission's program in that, although neither the Commission nor the Department
of the Interior believes there is legal ground for it, doubt has arisen in the mining industry as to whether a mining claim
based on the discovery of a source material alone is legally valid. Complete deletion of the reservation would place source
materials on the same footing as any other materials within the scope of the mining laws of 1872, as amended, and
thereby leave no doubt whatsoever on this score.

   *3474 Provision is also made to assure that mining claims involving source materials located during the period from
1946 to the present, under the mining laws, are recognized as valid. This provision is proposed because of a 1947 ruling in
a Government agency which cast doubt on the validity of these claims. This provision has been approved by the Senate
and House Committees on Interior and Insular Affairs, by the Commission, and by the Department of the Interior.

  Section 69 prohibits the Commission from licensing any person to have source material if such licensing would be
inimical to the common defense and security or to the health and safety of the public.


                                       CHAPTER 8. BYPRODUCT MATERIAL

  Section 81: This section permits the Commission to distribute and permit other persons producing byproduct materials
to distribute such material to licensees of the Commission who will abide by Commission regulations on the use of those
materials, the regulations having been imposed to protect the common defense and security and the health and safety
of the public.

  Section 82 permits the Commission to distribute byproduct materials abroad under an agreement for cooperation (see
sec. 123), or upon an express finding that each such distribution will not be inimical to the interests of the United States.
The Commission is also permitted to license others to make foreign distribution of byproducts upon the same terms as
the Commission makes such distribution (except as to the charges to be made for the material).


                        CHAPTER 9. MILITARY APPLICATIONS OF ATOMIC ENERGY

  This chapter sets forth the authorizations and limitations relating to atomic weapons.

  Section 91 authorizes the Commission to engage in the research, development, and production of atomic weapons,
except that the President must at least once each year give his express consent to the activities of the Commission in
such production. The President, furthermore, is authorized to direct the Commission to transfer special nuclear material



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                                                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 113
                                                           Page: 17ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1794
                                                                                     902


or atomic weapons to the Department of Defense. The President may also authorize the Department of Defense to
manufacture or acquire any atomic weapon or utilization facility for military purposes. However, the Department of
Defense is prohibited from manufacturing special nuclear material except incident to the operation of any utilization
facility for military purposes that is authorized pursuant to this section.

  Section 92 prohibits any person from having or dealing with any atomic weapons except as authorized in section 91.


                                     CHAPTER 10. ATOMIC ENERGY LICENSES

 This chapter sets forth the provisions and conditions for licensing the facilities which utilize or produce special nuclear
material.

  Section 101 contains a prohibition against having or dealing with any utilization or production facility except pursuant
to a license issued by the Commission.

   Section 102 requires the Commission to find that a type of utilization or production facility is of practical value before
it can issue licenses for *3475 commercial installations of such facilities under section 103. This finding separates the
issuance of research and development licenses for any facility under section 104 b, and the issuance of commercial licenses
under section 103. This finding of practical value is required by act, which also requires a report to be filed with Congress
with respect to the social, political, economic, and international effects of the utilization of special nuclear material before
the issuance of any license. In view of the provisions in the act requiring the Commission to keep the joint committee fully
and currently informed, the addition provisions in the bill requiring the joint committee to investigate the development of
the atomic-energy industry during the first 60 days of each session of Congress, and the amount of study that has already
been put into this proposed legislation, it is felt that the requirement for the report to Congress should be discontinued.

  Section 103: This section specifies the conditions for the issuance of licenses for types of utilization or production
facilities that have been found to be of practical value. For each such type, the Commission is required to issue licenses
to all qualified applicants without other discretion on its part. The licensed operations are subject to regulation by the
Commission in the interest of the common defense and security and in order to protect the health and safety of the
public. The Commission is authorized to issue licenses for specified periods up to 40 years. Licenses cannot be granted
to any person where the issuance of such a license would be inimical to the common defense and security or the health
and safety of the public.

  Section 104 provides the conditions for the issuance of licenses for medical therapy purposes, and for research and
development facilities. With respect to the use of utilization facilities in medical therapy, the Commission is required to
permit the widest amount of effective medical therapy possible with the amount of special nuclear material available for
the purposes. The Commission is directed to impose only the minimum amount of regulation on medical therapy licenses.

  With respect to utilization and production facilities which are in the research and development stage, but which look
toward the demonstration of any type of facility as having practical value, the Commission is authorized to issue licenses
and is directed to impose only those regulations which would be compatible with any regulations which might be imposed
later if that type of facility is shown to be of practical value. The Commission is directed to issue licenses giving priority
to those facilities which will lead to major advances in the application of atomic energy for industrial or commercial
purposes.

  With respect to other research and development facilities, the Commission is authorized to issue licenses for them and
to impose the minimum amount of regulation.




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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 114
                                                           Page: 18ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1795
                                                                                     903


   All of the facilities authorized to be licensed under this section are subject to the same general conditions as facilities
licensed under section 103, namely, ownership and control in United States citizens, and operation to be consonant with
the common defense and security and with the health and safety of the public.

  Section 105 contains the antitrust provisions relating to licensing. It declares the antitrust laws to be applicable to the
atomic-energy program *3476 even though title to special nuclear material is vested in the United States. It requires the
Commission to report apparent antitrust violations to the Attorney General. It also provides for hearings and judicial
review in case there is any claim by the Attorney General or the Federal Trade Commission that a proposed license of
any production or utilization facility would violate the antitrust laws.

  Section 106 authorizes the Commission to group production and utilization facilities together for licensing purposes
since there is no facility known today which is purely a production facility, or purely a utilization facility. It also permits
the Commission to define the activities to be carried on by any licensed facility.

  Section 107 requires the Commission to license the operators of utilization or production facilities in a manner similar
to the Civil Aeronautics Authority licensing of airmen and the Federal Communications Commission licensing of radio
operators.

   Section 108 provides the Commission with the authority to recapture any special nuclear material licensed or to operate
any facility licensed under section 103 or 104, if Congress declares that a state of war or national emergency exists and
if the Commission finds that such recapture or operation is needed in the interest of the common defense and security.

  Section 109 permits the Commission to exercise less stringent regulation over those component items which are defined
as production or utilization facilities merely because the Commission finds that they are important component parts of
such facilities.

  Section 110 clearly excludes the contract operations of the Commission from the licensing provisions of the bill, and
also excludes the activities of the Department of Defense authorized by section 91 from the licensing provisions.


                                   CHAPTER 11. INTERNATIONAL ACTIVITIES

  This chapter provides for international arrangements in the field of atomic energy, and also includes statutory
provision for agreements for cooperation which do not rise to the stature of international arrangements. An international
arrangement is defined to be a treaty or an executive agreement approved by both Houses of Congress.

  Section 121 declares that the provisions of the statute are to be superseded by the terms of any international
arrangement during the time that such terms conflict with the provisions of the statute. The force of this section is, of
course, in existing law even without any statutory provision. It is, however, reincorporated from the act.

  Section 122 provides that the Commission shall give maximum effect to the policies contained in international
arrangements, and is in the act.

  Section 123 contains the provisions to be included in, and the procedures to be followed in entering into, agreements
for cooperation with another nation or with a regional defense organization. The provisions to be incorporated in any
such agreement for cooperation include:

  (1) The terms, conditions, duration, nature, and scope of the cooperation;




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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 115
                                                           Page: 19ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1796
                                                                                     904


  (2) A guaranty by the cooperating party that security safeguards and standards as set forth in the agreement for
cooperation will be maintained;

   *3477 (3) A guaranty by the cooperating party that any material to be transferred pursuant to any such agreement
will not be used for atomic weapons, or for research or on development of atomic weapons, or for any other military
purpose; and

  (4) A guaranty by the cooperating party that any material or any restricted data to be transferred pursuant to the
agreement for cooperation will not be transferred to unauthorized persons or beyond the jurisdiction of the cooperating
party, except as specified in the agreement.

  The procedures that any such agreement for cooperation must take is:

 (1) It must be approved by the Commission, or, in the case of the transfer of restricted data for the development of
military plans pursuant to section 144 b., the Department of Defense.

  (2) The President must approve the agreement for cooperation. He must also make a determination in writing that the
performance of the agreement for cooperation will promote and will not constitute an unreasonable risk to the common
defense and security.

  (3) The proposed agreement for cooperation together with the Presidential approval and determination must lie before
the joint committee for 30 days while Congress is in session.

  Through the provisions that are required to be incorporated in the agreement for cooperation and through the
procedures set forth in this section, there are amply and sufficient statutory safeguards on the international cooperation.
Almost any cooperation with any foreign country can be said to involve some risk to the common defense and security of
the United States. The provisions incorporated in section 123 are designed to permit cooperation where, upon weighing
those risks in the light of the safeguards provided, there if found to be no reasonable risk to the common defense and
security in permitting the cooperation.

  It should be specifically pointed out that no cooperation is permitted which would disclose the basic secrets involved in
the design or fabrication of atomic weapons. In section 144 a., the section dealing with cooperation relating to restricted
data, the subject matter in which such cooperation is possible, is specified to include only:

  (1) Refining, purification, and subsequent treatment of source material;

  (2) Reactor development;

  (3) Production of special nuclear material;

  (4) Health and safety;

  (5) Industrial and other applications of atomic energy for peaceful purposes; and

  (6) Research and development relating to the foregoing.

  This subsection provides further, that ‘no such cooperation shall involve the communication of Restricted Data
relating to the design or fabrication of atomic weapons.‘




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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 116
                                                           Page: 20ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1797
                                                                                     905


  In section 144 b., the section permitting cooperating with a nation or regional defense organization with respect to
restricted data, the subject matter includible in that cooperation is limited to that restricted data necessary to:

  (1) The development of defense plans;

  *3478 (2) The training of personnel in the employment of and defense against atomic weapons; and

  (3) The evaluation of the capabilities of potential enemies in the employment of atomic weapons.

  This subsection provides further than ‘no such cooperation shall involve communication of restricted data relating to
the design or fabrication of atomic weapons except with regard to the external characteristics, including size, weight,
and shape, yields and effects, and systems employed in the delivery or use thereof but not including any data in these
categories unless in the joint judgment of the Atomic Energy Commission and the Department of Defense such data will
not reveal important information concerning the design or fabrication of the nuclear components of an atomic weapon.‘

  The cooperation permissible under this section, then, is the transfer of that information which will permit those who
are our allies to participate intelligently in planning the defense of the free world against atomic attack from Russia, and
to know the effects of any weapons that will be available for use by the United States in helping those other nations join
in defending the free world against any such attack.

  Section 124 permits the President, once an international atomic pool has been established by an international
arrangement (which must be approved by the Congress), to cooperate thereafter with the group of nations involved in
that pool by means of agreements for cooperation. This gives the President a means of implementing an international
atomic pool plan.


                                   CHAPTER 12. CONTROL OF INFORMATION

  This chapter sets forth provisions for the protection of secret information relating to atomic energy.

  Section 141 sets forth the policies for dealing with restricted data; namely, that the Commission shall control the
dissemination and classification of restricted data in such a manner as to assure the common defense and security; that
the exchange of restricted data with other nations before enforcible international safeguards against the use of atomic
energy for destructive purposes have been established are forbidden except pursuant to agreements for cooperation under
section 144; and that dissemination of technical information is to be encouraged so as to have the free interchange of
ideas and criticism which is essential to scientific and industrial progress and public understanding and to enlarge the
fund of technical information.

  Section 142 directs the Commission to declassify that information within the definition of restricted data that can be
published without due risk to the common defense and security. It also directs the Commission to make continuous
reviews of restricted data and of the classification guides so as to determine which information can be so declassified
and published. That restricted data which the Commission and the Department of Defense jointly agree relate primarily
to the utilization of atomic weapons, and which they jointly determine can be published without undue risk to the
common defense and security, can be removed from the classification of restricted data. The President is authorized
to settle any disputes respecting such determinations. In addition, the Commission with the concurrence *3479 of the
Department of Defense, can remove from the category of restricted data any information which they jointly determine
relate primarily to the utilization of atomic weapons and which they determine can be adequately protected as defense
information.However, any restricted data so classified as defense information cannot be transferred to any other nation
except pursuant to an agreement for cooperation in accordance with subsection 144 b. The Commission is also authorized
to remove from the category of restricted data any information relating to the atomic-energy programs of other nations


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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 117
                                                           Page: 21ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1798
                                                                                     906


that the Commission and the Director of Central Intelligence jointly determine to be necessary to carry out the provisions
of section 102 d. of the National Security Act of 1947.

  Section 143 authorizes the Commission to permit those in its program to provide access to restricted data to persons
associated with the Department of Defense, where such access is required in the performance of the duties of the person
to whom such access is to be granted, and the head of the agency or department in the Department of Defense so
certifies. Furthermore, the head of that agency in the Department of Defense must certify that is has been established
in accordance with the usual procedures of that agency that permitting such person to have the access permitted will
not endanger the common defense and security and the Secretary of Defense must find that the security procedures are
adequate and in reasonable conformity with the standards established by the Commission.

  Section 144 permits the President to authorize the Commission, pursuant to agreements for cooperation, to
communicate certain types of restricted data which relate to the nonmilitary aspects of atomic energy to other nations.
(The specific fields are described in the discussion of sec. 123 above.) This section also permits the President to authorize
the Department of Defense to cooperate with another nation or with a regional defense organization, pursuant to an
agreement for cooperation and to disclose certain limited types of restricted data relating to the use of atomic weapons.
(The specific areas of disclosure permitted are also set forth in the discussion of sec. 123 above.) This section also requires
that the other nation or regional defense organization participate with the United States pursuant to an international
arrangement by making substantial and material contributions to the mutual defense and security.

  Section 145 requires personnel investigations by the Federal Bureau of Investigation or by the Civil Service
Commission of persons who will be employed by the Commission or given access to restricted data. It permits the
Commission or the General Manager (and this permission rests solely with those named) to exempt persons from this
requirement where such exemption is clearly consistent with the national interest. The Federal Bureau of Investigation is
required to handle any cases in which the Civil Service Commission finds any information which indicated questionable
loyalty. It is also required to conduct investigations for those groups or classes of persons specified by the President, or
for those positions certified by the Commission to have a high degree of importance of sensitivity. The Commission is
authorized to establish the scope and extent of the less sensitive investigations permitted to be conducted by the Civil
Service Commission, depending upon the degree of importance to the common defense and security of the restricted
data to which access will be permitted.

   *3480 Section 146 continues the application to restricted data and to persons in the atomic energy program of
other laws relating to the protection of information. It also forbids the Commission from controlling or restricting any
information outside of any powers granted by any law.


                                    CHAPTER 13. PATENTS AND INVENTIONS

  This chapter sets forth the provisions under which patents may be issued, and used in the atomic energy field.

  Section 151 forbids the issuance of any patent on an invention or discovery useful solely in the utilization of atomic
energy or of special nuclear material in an atomic weapon. Where inventions or discoveries have uses other than in
weapons, patent rights are forbidden to the extent that the fields are set forth above are involved. Any person making
any invention or discovery generally useful in the field of atomic energy, is required to report that invention or discovery
to the Commission, or to file a patent application on it within 90 days. The Commissioner of Patents is required to keep
the Commission fully informed of all applications in the field of atomic energy. These latter provisions are to keep the
Commission fully and currently aware of all technology in the field of atomic energy.

  Section 152 permits the Commission to find that a patent is of primary importance in the production or utilization of
special nuclear material or atomic energy, and that the licensing of the invention is of primary importance to effectuate


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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 118
                                                           Page: 22ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1799
                                                                                     907


the policies and purposes of the act. Upon making such a finding, the Commission may declare the patent to be affected
with the public interest. Thereafter the Commission itself is licensed to use the invention, and other persons engaged in
activities authorized by the bill may apply to the Commission for and may be granted a patent license to use the patent
if the Commission finds that such a patent license is of primary importance to the conduct of such activities.

  The bill also authorizes any person engaged in an atomic energy activity authorized by the bill to apply to the
Commission for a license on a patent which was declared to be affected with the public interest. In such cases, the
Commission is required to grant a patent license to such person after hearing all materially interested parties, if the
Commission finds (1) that the idea or invention involved is of primary importance in the production or utilization of
special nuclear material or atomic energy; (2) that the licensing of such patent is of primary importance to the activities
of the applicant; (3) that the activities to which the patent license is to be applied are of primary importance to the
furtherance of the policies of the bill; and (4) that the applicant cannot obtain a patent license from the owner of the
patent on terms which the Commission deems reasonable. The Commission is required to see that the owner of any
patent declared to be affected with the public interest, or licensed by this section, receives a reasonable royalty fee for
any such use of the patent.

  Section 153 provides that no injunction may be issued against the holder of a patent license issued under the provisions
of section 152 and that in any court action brought against such a patent licensee, the action is to be stayed until the
royalty is determined pursuant to those provisions of this bill.

   *3481 Section 154 provides that no patent may be issued on an invention or discovery known before in this country
even though such invention has been known or used in the atomic program in secret.

  Section 155 requires the Commission to establish standard specifications for the issuing of any patent license for any
patent held by the Commission.

   Section 156 establishes a Patent Compensation Advisory Board to consider applications under this chapter. The
members are to be paid a per diem and may serve without regard to the conflict of interest statutes except as atomic energy
matters may be involved. The Board may hear applications from the owners of patent licensed under the compulsory
licensing provisions or from the owners or persons seeking to obtain just compensation for patent rights eliminated by the
statute and may also hear applications for awards by persons who have made any invention or discovery not otherwise
entitled to compensation or royalty. The Commission is permitted, upon the recommendation of the General Advisory
Committee and with the approval of the President, to grant an award for any especially meritorious contribution to the
development, use or control of atomic energy.

  In determining the reasonable royalty to be paid, the Commission is required to consider the advice of the Patent
Compensation Advisory Board, any defense which might be pleaded in an action for infringement, the extent of any
Federal financing involved, and the degree of utility, novelty, or importance of the invention, and may consider the
cost of developing or acquiring the patent. In determining just compensation and awards, the Commission is required
to consider the extent of actual use of the invention or discovery as well as those considerations involved in royalty
determinations.

  Section 157 declares that the Commission may continue to require that patents made or conceived during the course
of federally financed research or operation be assigned to the United States.

  Section 158 permits any person who had applied for a patent which was earlier prohibited by the act, and which would
now be permitted by the bill, to reinstate his application for the patent. No patent so reinstated can form the basis of
a claim against the United States.




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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 119
                                                           Page: 23ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1800
                                                                                     908



                                      CHAPTER 14. GENERAL AUTHORITY

  This chapter sets forth the general powers of the Commission in operating or regulating any of the activities authorized
by this bill.

  Section 161 permits the Commission to: Establish advisory boards; to issue rules on the possession of dangerous
materials; to hold hearings; to appoint officers and employees; to acquire property; to use the personnel or services of
any other Government agency; to acquire real or personal property including patents; to combine in one license one
or more of the activities of which licenses are required by the bill; to prescribe regulations to protect restricted data,
to guard against the loss of diversion of special nuclear material, and to govern activities authorized pursuant to the
bill, including health and safety regulations; to dispose of radioactive materials or property where special disposition is
needed in the interests of national security; to authorize its personnel to carry firearms and also to authorize employees
of the contractors who protect the property of the United States *3482 to carry firearms; to import, duty free, source
and other material obtained abroad; to enter agreements with licensees under section 103 or 104 to provide services or
materials to such licensees where those services and materials are not otherwise commercially available; to permit small
numbers of its employees to obtain further instruction and training outside of the Commission each year; to delegate
to its employees and officers all functions authorized by the act except those specified functions which have the highest
degree of importance to the program; to require persons in the program to keep records and reports and to authorize
the inspection of the activities of persons in the program and to make rules and regulations necessary to carry out the
purposes of the act.

  Section 162 permits the President to exempt any action of the Commission that he deems essential to the interests of
common defense and security from the provisions of law relating to contracts.

  Section 163 permits members of the General Advisory Committee and members of the advisory boards to serve without
regard to the conflict of interest statutes.

  Section 164, which is unchanged from present law, permits the Commission to enter into contracts for electric utility
services for periods not exceeding 25 years in connection with the construction or operation of Oak Ridge, Paducah, and
Portsmouth. The contracts may provide cancellation costs for termination of the contracts.

  Section 165 prohibits the Commission from using cost-plus-percentage-of-cost contracts in its operations.

  Section 166 requires the Commission to require its contractors and their subcontractors to submit to auditing of their
books by the Comptroller General of the United States.

  Section 167 permits the Commission to settle damages arising out of its program for testing atomic weapons, where
the amounts do not exceed $5,000, where the claim is submitted within 1 year, and where the damage is not caused in
whole or in part by negligence of the claimant.

  Section 168 requires the Commission to make payments in lieu of taxes to States or localities where activities of the
Commission are carried on, and where the Commission has acquired property previously subject to State and local taxes.
The Commission is to make the payments it deems appropriate but is to be guided by the policy of not making payments
in excess of taxes which would have been payable on the property in the condition in which it was acquired except in
cases where special burdens have been cast upon a State or local government by the activities of the Commission.

  Section 169 provides that no funds of the Commission are to be employed in the construction or operation of
production or utilization facilities licensed under section 103 or 104, except pursuant to contract entered into in
accordance with the provisions of section 31.


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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 120
                                                           Page: 24ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1801
                                                                                     909




                   CHAPTER 15. COMPENSATION FOR PRIVATE PROPERTY ACQUIRED

  This chapter establishes the rules for acquiring property condemned and used for public purposes.

  Section 171 requires that, where the United States takes any interest in property for which just compensation is required
to be paid under the *3483 terms of this bill, the Commission shall determine and pay such just compensation except
in the case of real property. If that determination is not satisfactory, the Commission is required to pay 75 percent of
the amount and the claimant is entitled to sue in the Court of Claims, or in the district court for the district in which he
resides, for such further sum as added to the 75 percent will constitute just compensation.

  Section 172 requires that real property shall be condemned pursuant to the normal condemnation statutes and
procedures.

  Section 173 requires the Commission to pay just compensation for the disclosure of restricted data to any foreign
nation where such restricted data is based on a patent application owned by a person other than the United States. If the
claimant does not believe the Commission's determination of the amount to be just compensation is a proper amount,
the Commission is required to pay 75 percent of the amount, and the claimant can sue for such further sum as added
to the 75 percent will constitute just compensation.

   Section 174 requires the Commission to receive the approval of the Attorney General on the title of any real property
to be occupied, used, or improved by the Commission except where the President determines that prior approval of the
title by the Attorney General is not required in the interest of the common defense and security.


             CHAPTER 16. JURISDICTIONAL REVIEW AND ADMINISTRATIVE PROCEDURE

  This chapter describes the procedures and conditions for issuing licenses under the bill.

  Section 181 makes the provisions of the Administrative Procedures Act applicable to all agency actions of the
Commission. Where publication of data involved in agency action is contrary to the national security and common
defense, then identical secret procedures are required to be set up within the Commission. The Commission is required
to grant a hearing to any party materially interested in any agency action.

  Section 182 sets forth the information that the Commission may require in any application for a license so as to assure
the Commission of adequate information on which to fulfill its obligations to protect the common defense and to protect
the health and safety of the public.

   With respect to a production or utilization facility to be licensed under a commercial license under section 103, notice
is required to be given to the applicable regulatory agency having jurisdiction over the rates and services of the proposed
activity and notice is also required to be published once each week for 4 consecutive weeks in the Federal Register. No
license may issue until 4 weeks after the last such notice.

  In issuing commercial licenses for utilization or production facilities under section 103 where all other conditions are
equal and there are conflicting applications for a limited opportunity for a license, the Commission is required to give
preferred consideration to facilities which will be located in high-cost power areas.

  Section 183 provides that the licenses shall include a term reserving title to all special nuclear material to the United
States; a term granting no right to special nuclear material save as defined by the license; a term *3484 prohibiting



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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 121
                                                           Page: 25ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1802
                                                                                     910


the assignment of the license in violation of the act; and a term reserving the right to recapture or control, contained
in section 108, and submitting the license to any changes of the act or to any changes in the rules and regulations of
the Commission.

  Section 184 prohibits any license from being transferred, assigned, or disposed of, directly or indirectly, unless the
Commission finds that the transfer is in accordance with the provisions of the act. The Commission is permitted to
consent to the creation of a mortgage, pledge, or other lien on any facility licensed under the act.

  Section 185 permits the Commission to issue construction permits to applicants for a production or utilization facility,
describes the terms of the construction permit, and requires the issuance of a license if the construction is carried out in
accordance with the terms of the construction permit.

  Section 186 sets forth the grounds on which the revocation of a license may be based; brings the revocation procedures
under the provisions of the Administrative Procedure Act (without limiting the procedures specified in that act in their
application to any other section of the bill); and permits the Commission, upon revocation of a license, to retake special
nuclear material held by the licensee. In cases of extreme importance, the Commission is permitted to recapture the
special nuclear material or to operate any facility even before the procedures of the Administrative Procedure Act have
been initiated.

  Section 187 requires that all licenses shall be subject to amendment, revision, or modification by reason of amendments
to the act or by reason of rules, regulations of the Commission issued in accordance with the terms of the act.

  Section 188 permits the Commission to continue the operation of facilities whose licenses are revoked, if public
convenience and necessity, or the production program of the Commission require continued operation of the facility.
The Commission is required to consult with the appropriate regulatory agency having jurisdiction in cases concerning
the public convenience.

  Section 189 provides for judicial review of a final order of the Commission entered in certain agency actions. The
review is provided by the act establishing judicial review for the actions of other regulatory agencies.


                           CHAPTER 17. JOINT COMMITTEE ON ATOMIC ENERGY

  This chapter establishes the joint committee and sets forth the provisions governing its operations.

   Section 201 establishes the joint committee consisting of 9 Members of the Senate and 9 Members of the House with
a limitation that not more than 5 Members of each House shall be members of the same political party.

  Section 202 requires the joint committee to make continuing studies of the activities of the Commission, and of
problems relating to the development, use, and control of atomic energy. The committee is directed during the first 60
days of each session to conduct hearings on the state of the atomic-energy industry but this is not intended to limit the
activity *3485 of the joint committee with respect to the industry throughout the balance of the years. The Commission
and the Department of Defense are required to keep the joint committee fully and currently informed with respect to
all atomic-energy matters. It is the intent of Congress that the joint committee be informed while matters are pending,
rather than after action has been taken. All Government agencies are required to furnish any information relating to
atomic energy requested by the joint committee. All matters in the Congress relating primarily to the Commission or to
the development, use, or control of atomic energy are required to be referred to the joint committee, and the members
from the joint committee from the Senate and from the House are required to report to their respective Houses their
recommendations with respect to matters within the jurisdiction of the Houses which are referred to the joint committee.




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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 122
                                                           Page: 26ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1803
                                                                                     911


   Section 203 permits the joint committee to operate regardless of any vacancies in the membership. The joint committee
is required to select a chairman and a vice chairman from its members with the chairmanship alternating between the
two Houses with each Congress. Only those members of that House entitled to the chairmanship vote on the election of
the chairman. The vice chairman, who must be a Member of the other House, is selected in the same way.

  Section 204 permits the joint committee to hold hearings, meetings, investigations, to require the attendance of
witnesses, to make rules for its organization, to issue subpenas, to administer oaths, to use a committee seal, and to pay
for necessary expenses from the contingent fund of the Senate from funds appropriated for the joint committee.

   Section 205 permits the joint committee to appoint experts, consultants, technicians, and staff employees, and to utilize
the services, facilities, and personnel of the departments of Government. The joint committee is permitted to authorize
its personnel to carry firearms in the discharge of their official duties.

  Section 206 permits the joint committee to classify information originating within the committee in accordance with
the standards used generally for the classification of restricted data or defense information.

  Section 207 requires the joint committee to keep a record of all committee actions and requires that the committee
records are the property of the joint committee to be kept in the offices of the joint committee under such security
safeguards as the joint committee shall determine in the interest of the common defense and security.


                                           CHAPTER 18. ENFORCEMENT

  This chapter establishes the provisions for enforcing the bill.

  Section 221 permits the President to utilize the services of any Government agency to protect the property of the
Commission or to prevent the unlawful dissemination of restricted data. The Federal Bureau of Investigation is required
to investigate all alleged or suspected criminal violations of the bill. No action may be brought for any violation of the
act until the Attorney General has advised the Commission with respect to such action. All actions are required to be
brought by the Attorney General as the legal representative of the Commission before the courts. *3486 In those cases
involving the death penalty, action may be brought only on the express direction of the Attorney General himself.

  Section 222 establishes criminal penalties for violation of certain of the prohibition sections within the act. The
maximum penalty, if the offense is committed with intent to injure the United States or with intent to secure an advantage
to any foreign nation, is, on recommendation of the jury, death or imprisonment for life.

  Section 223 establishes the criminal penalties for violation of all of the balance of the provisions of the act or for
rules and regulations issued under certain specified limited statutory authority. There are lesser penalties attached to this
section, though the maximum penalty, if the offense is committed with intent to injure the United States or with intent
to secure an advantage to any foreign nation, is, $20,000 or 20 years or both.

  Section 224 establishes the penalties for the disclosure of restricted data with intent to injure the United States or with
intent to secure an advantage to a foreign nation. The maximum penalty is, on recommendation of the jury, death or
imprisonment for life.

  Section 225 establishes criminal penalties for acquiring restricted data with intent to injure the United States or with
intent to secure advantage to any foreign nation. The maximum penalty is, on recommendation of the jury, death or
imprisonment for life.




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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 123
                                                           Page: 27ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1804
                                                                                     912


  Section 226 establishes criminal penalties for altering or changing any restricted data with intent to injure the United
States or with intent to secure an advantage to any foreign nation. The maximum penalty is, on recommendation of the
jury, death or imprisonment for life.

  Section 227 prohibits any person authorized to have restricted data from knowingly communicating, or whoever
conspires to communicate or to receive, restricted data to any person known not to be authorized to receive restricted
data, knowing that the information communicated is restricted data. The penalty is a fine of $2,500.

  Section 228 establishes a 10-year period of limitation for noncapital offenses described in sections 224, 225, and 226.

  Section 229 continues the applicability of any other laws (including the espionage law) to the field of atomic energy.

  Section 230 permits the Attorney General to petition a court on behalf of the Commission for the injunction of any
act which the Commission believes will violate any provision of the bill.

  Section 231 permits the Attorney General to petition a court for an order requiring any witness to obey a subpena
served upon the witness by the Commission or to obtain an order of the court punishing the witness for contempt in
the event the order of the court is disobeyed.


                                          CHAPTER 19. MISCELLANEOUS

  This chapter includes several sections of general applicability.

  Section 251 requires the Commission to make an annual report to Congress on its activities including recommendations
for legislation.

  Section 261 authorizes appropriations necessary and appropriate to carry out the provisions of the act, except such
sums as may be necessary for the acquisition or condemnation of real property or for plant *3487 construction or
expansion, and keeps the sums appropriated available for expenditure for 4 years following the expiration of the fiscal
year for which the sums were appropriated. The Commission is required to obtain congressional approval of new
construction, or expansion, of its plants.

  Section 271 preserves the regulatory power of any appropriate agency with respect to the generation, sale, or
transmission of electric power.

  Section 281 is the standard separability section.

  Section 291 provides the short title of the act as the ‘Atomic Energy Act of 1954.‘

  Section 2 of the bill amends the act establishing judicial review from certain regulatory agencies by adding final orders
of the Atomic Energy Commission to the provisions of the act.

 Section 3 of the bill retrocedes exclusive jurisdiction of the residential area of the Commission's establishment at Sandia
Base, Albuquerque, N. Mex.

  Section 4 of the bill continues in effect the provisions of the section of the Atomic Energy Act requiring all governmental
properties relating to atomic energy to be transferred to the Commission.




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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 124
                                                           Page: 28ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1805
                                                                                     913



                                          SEPARATE VIEWS ON PATENTS

  Although I joined my colleagues on the Joint Committee in reporting favorably the bill, H.R. 9757, I deeply regret
that I find myself in complete disagreement with them with respect to that portion of the bill dealing with patents. Under
ordinary circumstances, a divergence of individual views could await discussion when the bill is under consideration by
the House. In this instance, however, the issue is so fundamental and, in my opinion, carries within it implications of
possible consequences which would be so destructive of the American enterprise system that I feel compelled to protest.

  The message of President Eisenhower to the Congress on February 17, 1954, urged that the Congress remove the
statutory prohibition against utilization of atomic energy in the nonmilitary field and recommended that the normal
patent processes in this area be allowed, but circumscribed by subjecting such patents to a system of compulsory licensing.
This recommendation was made by the President--

  to assure that the limited number of companies, which as Government contractors now have access to the program,
cannot build a patent monopoly which would exclude others desiring to enter the field.

  At the outset it should be emphasized that the usual provisions of the antitrust laws with respect to monopoly, including
patents or combinations of patents, still obtain with their full force and effect, and are made specifically applicable to
all phases of the atomic energy field.

  As originally introduced, H.R. 8862 and S. 3323 contained a provision, section 152, which would, in my opinion,
adequately protect the public interest. That section was eliminated by the committee, and compulsory licensing is now
contained in chapter 13, section 152, of H.R. 9757 and S. 3690.

   *3488 The proposal I advocated to meet the President's objective was to require all applicants for patents in the
atomic-energy field to file a statement under oath in connection with their application for patent in which would be
disclosed how and when the discovery was conceived. All applications, together with the sworn statements, would be
referred by the Commissioner of Patents to the Atomic Energy Commission which would be authorized to interpose
an objection to the issue of a patent if the Commission found that the invention or discovery was conceived during the
course of any relationship with the Government by the applicant. Inventions found to have been discovered during the
course of such a relationship would be held by the Commission in the name of the United States and become part of the
public domain. Inventions not discovered in the course of such relationship, or of such minor nature as in the opinion
of the Commission to not justify public ownership, could then be processed into a normal patent with all the customary
rights and liabilities. This proposal was not accepted by the Joint Committee.

  The proposal adopted by the Joint Committee, upon recommendation of the Atomic Energy Commission as a
compromise, would require all patents in this field for which applications may be filed within the next 5 years, to be
subject to use by any person whatever, irrespective of the wishes of the patentee, upon payment of such royalty as the
Commission may consider fair and reasonable.

  My objection to this resort to a system of compulsory licensing is threefold:

  1. It is unconstitutional;

  2. It is unnecessary in order to adequately protect the public interest and prevent undue enrichment or preferential
position of persons and corporations engaged in the atomic program; and

  3. It is wholly foreign and hostile to American tradition and practice, and the system of private enterprise.




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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 125
                                                           Page: 29ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1806
                                                                                     914



                             COMPULSORY LICENSING IS UNCONSTITUTIONAL

  Article I, section 8, of the Constitution declares that the Congress shall have power ‘to promote the Progress of Science
and useful Arts, by securing for limited Times to Authors and Inventors and exclusive Right to their respective Writings
and Discoveries.‘ An exhaustive discussion of the constitutional question is not possible at this time. Such study as I
have been able to make, however, establishes the fact that at common law at the time the Constitution was drafted, the
word ‘patent‘ had an indefinite and unsettled meaning with respect to the exclusive nature of the right of the patentee,
and a variety of limitations upon the use of patents had been enacted by the colonial legislatures, except South Carolina,
many of which invaded or circumscribed to some degree the full and sole right of the discoverer to his invention. The
framers of our Constitution were aware of this condition. They did not use the word ‘patent,‘ although that word had
been specifically proposed in the Convention, but rather very deliberately chose the expression ‘the exclusive right,‘
subject only to duration ‘for limited times.‘ Under this concept, the word ‘patent‘ was given and has acquired a clear and
unmistakable meaning: the sole and exclusive right of *3489 an inventor to his discovery subject only to the possibility
that the exclusive use might be limited by law to a definite period of time.

   Authorities credit Charles Pinckney of South Carolina as being the author of the patent clause in the Constitution.
Pinckney also proposed to the Constitutional Convention that Congress be given the ‘exclusive right‘ to coin money and
to regulate the militia. In addition, it was he who made the proposal dealing with patents which was eventually accepted,
and which contains the phrase ‘exclusive right.‘ In connection with the power of Congress to coin money, the Convention
finally determined not to use the expression ‘the exclusive right‘ but it did retain that expression in connection with
patents. Certainly no one would argue that the Congress does not have the exclusive right to coin money although the
Constitution is silent in this respect. How then, can one argue that by choosing to use the explicit language ‘exclusive
right‘ in connection with patents, the framers intended the Congress to have authority to pass a law which would give
a patentee something less than the ‘exclusive right‘ over his patent?

  Furthermore, it should be noted that the First Congress, in enacting the first statute, interpreted this constitutional
provision and used the words ‘sole and exclusive‘ with respect to the granting of a patent. The addition of the word ‘sole‘
could be regarded as meaningless since it is synonymous with ‘exclusive.‘ The only constitutional authority given the
Congress was to grant an ‘exclusive right.‘ Therefore it would appear that the word ‘sole‘ was included in the first statute
on patents in order to fortify the concept of exclusiveness.

  In the second patent statute, in 1793, the word ‘full‘ was substituted for the word ‘sole‘, giving further evidence of the
purposes and intent of the founders of this Government with respect to patents.

  The only invasion of the exclusive right of a patentee, which has ever been attempted, and quite properly successfully
retained, is the right of the Government to the use of a patent for its own purposes, upon payment of just compensation.
This theory does not apply to compulsory licensing wherein the Government appropriates property (patent) not for its
own use, but for the use of an individual and for the latter's eventual profit or gain, which is the effect of the committee
proposal.

  There is no question but that a system of compulsory licensing is a clear invasion of the exclusive right in a patent.
Although the Constitution is silent, the Government may withhold or deny patents in any area it may determine, or
Government may use for its own purposes any patent once issued, upon payment therefor, but Government cannot
violate the exclusive right of a patentee other than to impose a time limitation.


                                 COMPULSORY LICENSING IS UNNECESSARY




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                                                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 126
                                                           Page: 30ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1807
                                                                                     915


   It is argued by those in support of compulsory licensing that the large companies and thousands of persons who have
been engaged as Government contractors or employees in the atomic energy program should not be allowed to obtain a
preferential position because of that association and thereby be enabled to obtain patent privileges which might foreclose
the use of those patents by other persons. With this objective, I fully concur. But it is argued that compulsory licensing
is the only way to forestall this development. That is not so. The Congress might (although there still *3490 would be
some doubt of its constitutionality) impose a time limitation upon this type of patent for a period less than the normal
17 years; i.e., 5 years, 10 years, or any other period. Or the Congress might, by law, declare that any discovery found in
the course of any relationship with the Government as contractor, subcontractor, employee, or collaborator be declared
to be public property and become a part of the public domain.

  The latter is the course which I recommend with the firm conviction that it adequately protects the public interest in
any atomic energy patent over which the Government may have a legitimate claim.


                       COMPULSORY LICENSING IS UN-AMERICAN AND DANGEROUS

  Even if there were no doubt of the constitutionality of compulsory licensing, even if there were no other course to
follow in order to reach this situation, it still would be an unwise step to take.

  This is not the first time compulsory licensing has been proposed to be injected into the American economic system.
For the last 2 or 3 decades there have been proposals of this nature presented to Congress. As recently as 13 years ago, a
special committee created by the Congress, the Temporary National Economic Committee, recommended the adoption
of a system of compulsory licensing of patents. This followed the recommendation made by President Roosevelt in a
message to Congress in January 1938 that compulsory licensing be adopted. In 1938, the Committee on Patents of the
House held hearings in which violent protest was made against the proposal upon the ground that it would hurt the
small company and the small inventor, and not effect the large company. No action has ever been taken on any of these
proposals, largely for the reason, I believe, that the Congress recognized the inherent danger to our economic system of
such a practice. Compulsory licensing would destroy the incentive of our citizens to find new ways of doing things in a
better, more efficient, and less costly manner. It would destroy the force which compels competitors to seek an alternative
way of performing the same function as may be covered by an existing patent.

   In order to minimize the harmful effect of this proposal, it is argued that this limitation is for but 5 years and in a
limited field. If it is logical for 5 years, then why not 10 years, or 20 years, or even indefinitely. If it is logical in the atomic-
energy field, then why not in other fields of economic endeavor such as electronics, radio, automobile, aircraft, or any
other, if not all, segments of our economy. Once this initial step has been taken, the bars will be down, the pressures will
begin to mount year after year to extend this principle into all aspects of our productive machinery and, once adopted,
will eventually destroy it. It is true that the McMahon Act provided for compulsory licensing, but at the same time
it also prohibited private patents in the atomic field, thereby completely nullifying the effectiveness of the compulsory
licensing provision.


                                                         CONCLUSION

  The Government has no right, in my opinion, to commandeer for someone else's use the discovery which any person
might make in the atomic-energy field, or any other field, if the discovery occurs independently of any *3491 association
with Government. The small company, the individual inventor, the Thomas Edison, the Alexander Bell, or any other
person who might contribute to our physical well-being by his own genius, financial resources, perseverance, and
ambition will be dealt a death blow by this or any other system of compulsory licensing.




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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 127
                                                           Page: 31ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1808
                                                                                     916


  In the unlikely event that a discovery occurs which is so essential to the peacetime atomic program that its general use
by all interested persons is highly desirable in the public interest, let the Government negotiate for its purchase. Rather
should we sacrifice dollars, if necessary, than surrender a principle so basic in our industrial order and so necessary to
our economic prosperity.

  Since the proposal is so patently unconstitutional; since it contains possible results which inevitably will be so damaging
to our economic well-being; and since there is another course available through which the fear of unjust enrichment
to, or preferential position of, those who are now or have been engaged in the atomic-energy program can be met, I
strongly urge that section 152 as now contained in H.R. 9757 be rejected and be replaced by the original recommendation
contained in H.R. 8862.

  Compulsory licensing is not creeping socialism; it is socialism run rampant. This proposal is the initial lurch in the
direction of that rampage. It must not be made.

                                           STERLING COLE.
  I subscribe to the foregoing views of Mr. Cole.

                                            JAMES E. VAN ZANDT.

                             SEPARATE VIEWS ON INTERNATIONAL ACTIVITIES

  I have been impressed by the spirit of patriotic unselfishness and the display of bipartisanship demonstrated by the
committee and its staff through the long days spent in preparation of this bill.

  The atomic energy program is both highly technical and complex. The framers of this law had to examine and
understand the past and present complexities of nuclear energy activities and try somehow to predict the future. Issues
arose which went to the very roots of individual political and economical philosophies, and yet these were resolved by
the members of the committee in a spirit of compromise and good will which is the very essence of our democratic
legislative process. The difficult questions of compulsory licensing of patents, of antitrust provisions, and of licensing
and regulatory provisions were settled in this fashion.

   I am frank to state that several portions of this bill do not have my unqualified endorsement, but I am compelled
to join the majority in its favorable report on S. 3690 because, on balance, the compromises reached have been for the
greater good, and I can accept-- as should any reasonable man in a position of responsibility-- something less than what I
think is perfect in each of its parts if the whole structure is worthwhile. But to compromise on anything of deep principle
is personally and morally repugnant to me. Therefore, in all conscience, I must append a statement of my views on the
all-important matter of international cooperation.

  I urge that section 124 of the bill be struck, and that the words ‘group *3492 of nations‘ be inserted in sections 11b,
54, 57, 64, 82, 103, 104, and 144 to make those sections read as in the committee print of May 21, 1954.

   I have not taken this position lightly; I take it because I believe the very existence of our civilization depends on our
finding some way to end safely the mounting atomic and hydrogen armaments race which bodes to annihilate man and
all his works. To my mind, the key to finding such a solution lies in the hearts of men of good will everywhere; it is
a solemn duty for us, the most powerful Nation on earth, to seize the initiative in bringing about a renascence of the
cooperative spirit of common humanity that is needed to solve the basic causes of war-- want, hunger, poverty, and
disease. President Eisenhower gave voice to these thoughts when he addressed the United Nations General Assembly
last December. There he boldly outlined a plan to bring the great benefits of atomic energy to mankind everywhere.
To my mind, in this address the President did what we must now do-- he rose to meet the basic problem head on. His
proposal gave heart to all.


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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 128
                                                           Page: 32ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1809
                                                                                     917



  In testimony before the Joint Committee on June 3, 1954, the Secretary of State, Mr. John Foster Dulles, made some
highly important comments on the subject of international arrangements for the sharing of atomic knowledge:


                                                           ****

  As I see it, a main purpose of the proposed legislation is to do just that-- ‘to increase our emphasis on the peaceful
uses of atomic power at home and abroad.‘


                                                           ****

  We cannot any longer adhere to the theory that knowledge, because it is capable of use for destruction, must be denied
for uses of construction.


                                                           ****

  By amending the Atomic Energy Act now as proposed, we will be laying some of the groundwork for a future era of
peace when atomic energy inevitably will be doing constructive work in the world.


                                                           ****

  Three circumstances, (1) the developing Soviet program, (2) our dependence on foreign uranium, and (3) legitimate
hopes for nuclear power abroad, combine to create the need to amend the international cooperation provisions of the
Atomic Energy Act of 1946.


                                                           ****

  Other countries are making progress in atomic power technology. There is a growing tendency for certain raw materials
supplying nations which are not industrially well advanced to turn to such other countries for nuclear power information
because they have been disappointed by our inability to give them significant help. It is clear to me that if this trend
continues the interests of the United States will be seriously and detrimentally affected. There is no need here to emphasize
how important it is for us to stay ahead of the U.S.S.R. in providing knowledge of how to put atomic energy to peaceful
uses.

 In extending abroad, under proper security safeguards, the evolving technology of atomic energy for peaceful purposes,
we shall tighten the bonds that tie our friends abroad to us, we shall assure material resources that we need, and we shall
maintain world leadership in atomic energy-- leadership which today is such a large element of our national prestige.


                                                           ****

  In modernizing our atomic-energy law I feel that we will be taking three steps in the direction of peace: First, we will
be increasing the deterrent factor represented by our weapons stockpile by the provisions we have requested permitting
us to integrate certain tactical weapons information *3493 into our foreign military planning. Second, by being able
to give our friends abroad atomic energy information and material, we shall be strengthening out capacity to build the
raw material base on which our entire atomic energy program rests; and , third, we will be strengthening the ties which
unite the free nations by a sense of fellowship.



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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 129
                                                           Page: 33ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1810
                                                                                     918



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  Perhaps most significant of all, however, are the hundreds of millions of people in the world who, having heard of the
promise of atomic energy, wait eagerly to see if there are benefits in it for them in addition to the military shield which
has held off the aggressive forces of Soviet communism for almost a decade. The military atom is a fearsome thing, even
to those who owe their liberties to it. The constructive uses of atomic energy could promote both peace and plenty, and
so holds a special place in man's dream of the future.

  The bills which your Committee is considering need to be enacted if our Nation is to serve its own interests and at the
same time to show the world anew that our national interests harmonize with the interest of men everywhere.


                                                           ****

  I believe the Secretary of State clearly and forcibly pointed out that the provisions of the bill which are most important
to our very survival are those that treat with international cooperation. I share that view.

  I also believe that the development of atomic power in this country is important. Coming from an area of the United
States which has high-power costs and no foreseeable way of reducing these costs except by the speedy development of
this new, primordial source of energy-- I believe I am as aware as any man of the responsibilities of this Congress to
provide fully for the fastest development of atomic energy for peacetime uses in this country.

  The United States Government has expended many billions of dollars in the development of its atomic program.
While the primary purpose of this was the creation of armaments, there were secondary discoveries and advancements
of importance in the peacetime uses of nuclear power. Despite this activity, the field of peacetime development is still
embryonic. To hasten advancement in this art, it is being proposed to Congress that the private business community of
the United States be allowed to share in the opportunities of developing useful applications of what has been but barely
touched on in our Government monopoly of the field. In this we can say that the greater good is in making available to
the people of the United States at the earliest moment the fruits of such combined Government and private development.
We can hardly say that permitting friendly nations to collectively share in some small part of our knowledge for the
purpose of the peace and good of all mankind is not equally advantageous.

   Our responsibilities transcend our national borders. We have developed materials, knowledge, and techniques which,
if exploited fully for the benefit of all mankind, will redound not only to our international credit, but more importantly
to the establishment of peace and prosperity in all portions of the globe. We are not alone in this race for atomic-power
development. Twenty nations, as the majority report points out, are embarked upon atomic development programs. Not
the least of these programs is that of the Soviet Union which now stands second in the world effort on the searching out
of the atom's secrets. Coupled with this is the fact that we and the free world are joined against the Soviet Union in a
competition for the *3494 minds and souls of men. This competition will not be won by words, but by deeds. Consider
the effect on the downtrodden of Asia, for example, if the Soviet Union should seize the initiative in bringing to these
power-starved nations the great benefits of atomic energy. I say on that day we shall have lost the battle.

  It is argued that our national security is in greater jeopardy if we deal with a ‘group of nations‘ as against dealing with
one nation at a time, in transmitting information on peacetime developments of atomic energy. I find it very difficult to
reconcile this distinction and I would further point out that this is not so, for the information with which we are here
concerned is of a low degree of sensitivity and is far removed from the area of information on atomic weapons and
atomic production that we must carefully circumscribe.




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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 130
                                                           Page: 34ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1811
                                                                                     919


  It is argued by the majority that S. 3690 offers, in section 124, a possible mechanism for the President to employ in
bringing to reality his great plan for speaking atomic blessings to all. I maintain that the bill as presented does little more
than restate the powers he already has under the Constitution and existing law. It is no more than an indication-- and
a half-hearted indication at that-- of congressional encouragement. It is, to my mind, inadequate and I urge favorable
consideration to the amendment on this subject which I will introduce on the floor of the Senate.

  In explanation of why I believe that amendment, which will insert the important phrase ‘group of nations‘ in the
international portions of the bill, is of transcendent importance, I would point out the following:

  Section 123 of the bill contains carefully drawn conditions under which the Government is authorized to cooperate
bilaterally with another nation in the field of peacetime development of atomic energy or with a regional defense
organization on tactical uses of atomic weapons. These stringent safeguards are:

  (1) The agreement for cooperation must include (a) the terms, conditions, duration, nature, and scope of the
cooperation; (b) a guaranty by the cooperating party that security safeguards and standards as set forth in the agreement
will be maintained; (c) a guaranty by the cooperative party that any material to be transferred will not be used for
atomic weapons or for any other military purpose; and (d) a guaranty by the cooperating party that any material or any
restricted data to be transferred will not be further transferred to any unauthorized person or beyond the jurisdiction
of a cooperating party.

  (2) The agreement for cooperation must be approved by the Commission, or, in the case of a transfer of military data,
the Department of Defense.

  (3) The President himself must approve the agreement for cooperation and he must also determine in writing that the
performance of the agreement for cooperation will promote and will not constitute an unreasonable risk to the common
defense and security.

  (4) The proposed agreement for cooperation, together with the President's approval and determination, must lie before
the Joint Committee on Atomic Energy for 30 days while Congress is in session.

  These conditions are indeed adequate to protect the national interest. It should be noted that these agreements for
cooperation can be entered *3495 into only bilaterally; that is to say, the statute does not authorize the President to
enter into agreements for cooperation with a group of nations or with an international agency unless, as specified in
section 124, an international agreement has previously been entered into with a group of nations.This means that the
President must negotiate a treaty (which must receive the approval of two-thirds of the Senate before it can be effective),
or an executive agreement (which, under the terms of the law, must be submitted to both Houses of Congress and receive a
favorable majority vote before it can become effective), before he can cooperate under the bill with any group of nations.

   I would submit that this is an unwarranted and unwise restriction and destroys the pool idea suggested by the President.
If the President can deal with a single nation in the atomic field under the stringent safeguards prescribed in this bill,
then he should be able to deal with a group of nations under the same stringent arrangement.

  Section 124, which purports to deal with the international atomic pool, is, in my considered opinion, nothing more
than a restatement of what the President can do now under existing law, without the necessity of passing this bill.

  In short, section 124 is illusory and a naked grant, since unless we add the phrase ‘group of nations,‘ we are, under the
language of this bill, giving voice to a pious hope, but in fact giving no additional authority to the President to carry out
his atomic-pool plan which he does not already have under existing law.




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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 131
                                                           Page: 35ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1812
                                                                                     920


  While I consider it desirable and important for us to cooperate bilaterally in the field of peacetime atomic energy, I
feel nevertheless that the real solution to the problem which drives men to war will not be found until we deal broadly
and collectively with many nations in a spirt of cooperation and partnership to bring the God-given benefits of this new
source of power to our friends all over the world. It is for these reasons that I urge the reinsertion of the phrase ‘group
of nations‘ in the international section of the bill.

  The very foundation of our foreign policy has been built on a philosophy of collectiveness. As a result we have seen
the free world grow stronger step by step. It would be wiser for us to take no action at all, rather than injure the spirt
of unity which now prevails in the free world. Psychologically, I am afraid that we do exactly this if we make it more
difficult for us to deal with a group of nations as against dealing with one nation in this very important field.

 Because of this deep-seated feeling I am constrained to disagree with the committee on this point and submit my own
minority view.

                                           JOHN O. PASTORE.
  I subscribe to the foregoing views of Senator Pastore.

                                           MELVIN PRICE.
                                           CHET HOLIFIELD.

                               *3496 SEPARATE VIEWS OF REPRESENTATIVE
                           HOLIFIELD AND REPRESENTATIVE PRICE ON H.R. 9757

                                                   INTRODUCTION

  The atomic-energy bill is one of the most important bills before the Congress. It proposes to chart the future course
of peacetime atomic-energy development. So deep and farreaching is its potential impact on the American economy and
upon our position in world affairs that we consider it necessary to set forth our own views and reservations concerning
the bill.

  As members of the Joint Committee on Atomic Energy we have endeavored always to act in a spirit of nonpartisanship.
The duties and responsibilities committed to the jurisdiction of our committee are too directly concerned with the
Nation's security and welfare to allow the play of partisan politics. In the same objective way we have tried to approach
this legislation.

  During the course of the committee hearings and conferences, we have presented what we believed were constructive
proposals for improving the bill. Some were accepted in whole or in part and others rejected. Among the committee
members there were, and presumably still are, many differences of opinion and interpretation regarding particular
provisions of the bill. We respect those differences, and although we were willing to have the bill reported out for floor
debate, the public importance of this measure compels us to recount here what we consider still its major defects.

  The discussion proceeds under the following headings:

  1. The Legislative Setting

  2. Questionable Form and Timing

  3. Evasion of 7-B Report

  4. Placing AEC Chairman on Pedestal



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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 132
                                                           Page: 36ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1813
                                                                                     921



  5. Withholding Information From Commissioners

  6. Overriding the Commission's Will

  7. Limiting AEC Power Production

  8. Inadequate Power Licensing Provisions

  9. Need for Division of Civilian Power Application

  10. ‘Passing the Buck‘ on Monopoly Prevention

  11. Limiting Access to Patents

  12. Built-In Subsidy Feature

  13. Omission of Labor-Management Provision

  14. Complicating International Arrangements

  15. Increasing Military Posture


                                                 1. The legislative setting

  The atomic energy program of the United States is governed by the Atomic Energy Act of 1946, known as the
McMahon Act. The basic legislation, enacted in 1946, has been amended from time to time in certain respects, but the
original pattern of Government control has not been substantially altered.

  The monumental contributions of the atomic energy program under the McMahon Act to the common defense and
security and to the protection of the free world need not be recited here. They testify to the basic worth of the legislation
and to the wisdom of those who conceived it. President *3497 Eisenhower affirmed this testimony when he said in a
special message to the Congress on February 17, 1954, that ‘ * * * the act in the main is still adequate to the Nation's
needs.‘

  The question that now confronts the Congress is what changes are necessary and desirable in the McMahon Act.
Unquestionably, some changes are in order. The swift pace of atomic technology, the development of new atomic
weapons, the ending of the American monopoly in atomic bombs, all provide-- as the President observed in his message--
a new setting for the legislative problem.

   The broad objectives to be sought by new legislation are not in dispute. Changing requirements of mutual defense
demands a freer exchange of atomic information with our allies. Beyond atomic armament for mutual defense, there
is the mutual benefit of working together with friendly countries to develop the peacetime uses of atomic energy. At
home as well as abroad, this great source of energy holds forth the exciting promise of industrial progress and higher
standards of living.

  Whether the bill now before us would enhance the achievement of these objectives is an exceedingly complex question.
The answers, we believe, are both yes and no. The negative side weighs so heavily that we cannot support the bill without
further amendment.


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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 133
                                                           Page: 37ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1814
                                                                                     922




                                              2. Questionable form and timing

   The method of presentation and the timing of the proposed legislation, in our opinion, are most unfortunate. It
represents a complete rewriting of the McMahon Act, carrying over some provisions of the existing law intact, modifying
others, and adding entirely new sections. Thus the Congress is confronted, in the closing days of this session, with a
‘single package‘ bill comprehending a bewildering array of technical matters. Some are timely; others could well be
postponed. The form and wording of the bill, with its many new definitions, cross-referenced and interrelated sections,
make it virtually impossible for the Congress to select the more urgent matters for action at this time. In is an ‘all or
none‘ proposition.

  Before this bill was drafted, we took the position, and Mr. Holifield stated publicly, that the Congress should put first
things first and enact those amendments which might be necessary to implement the President's proposal, made before
the United Nations General Assembly, for an atomic pool or resources to encourage peacetime development of atomic
energy among nations and to prepare the way for international accord on atomic armaments. We see no compelling
reason why the legislative requirements to facilitate an exchange of atomic information with friendly nations, whether
for purposes of mutual defense or peacetime endeavor, have to be coupled with the granting of private ownership and
patent rights in atomic energy to domestic corporations. Defense of the free nations and world peace demand more
urgent attention than the desire of a few industrial and utility companies to own and operate atomic reactors.

  Furthermore, international obligations and domestic aims in atomic energy development may conflict if
simultaneously pursued now. We advert to this matter below.

  When President Eisenhower submitted his special message of February 17 on atomic energy, he asked the Congress
to ‘approve a number of amendments to the Atomic Energy Act.‘ His recommendations did not *3498 contemplate a
complete rewriting of the McMahon Act. Accompanying his message were drafts of two separate bills, prepared by the
Atomic Energy Commission, proposing to amend the McMahon Act in roder to (1) widen cooperation with our allies in
certain atomic energy matters and improve procedures for the control and dissemination of atomic energy information;
and (2) encourage broader industrial participation in the development of peacetime uses of atomic energy here at home.

  The President's two-package presentation, whether we agree with his particular recommendations or not, at least
would have afforded the Congress an opportunity to act on atomic energy matters of more immediate concern without
having to consider, as it does now, the whole range of controversial matters embodied in H.R. 9757. Joint Committee
members have every right to prepare their own legislation, and, indeed, are to be commended for their initiative. However,
the sponsors of the pending bill would have been well advised to take a two-package approach and act first upon the
President's suggestions relating to cooperation with our allies, rather than ask the Congress to swallow the whole mass
of complicated legislation in one gulp.

  Defense and peace requirements in atomic energy which involve our allies should have been first on the agenda. Then
the Congress could have taken a long, hard look at the pending proposals to confer private ownership and patent rights
in the atomic field.


                                                  3. Evasion of 7-B report

  The framers of the McMahon Act, preoccupied as they were with the awesome implications of the atomic bomb,
nevertheless registered their desire ‘to promote the use of atomic energy in all possible fields for peacetime purposes ‘ (79th
Cong., 2d sess., S. Rept. No. 1211, p. 20). In anticipation of such peacetime uses, they decided that the Congress should




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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 134
                                                           Page: 38ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1815
                                                                                     923


have the benefit of a comprehensive report from the Atomic Energy Commission whenever atomic energy developments
appeared to be of practical value. Section 7(b) of the McMahon Act reads, in part, as follows:


                                                   Report to Congress.

  Whenever in its opinion any industrial, commercial, or other nonmilitary use of fissionable material or atomic energy
has been sufficiently developed to be of practical value, the Commission shall prepare a report to the President stating all
the facts with respect to such use, the Commission's estimate of the social, political, economic, and international effects
of such use, and the Commission's recommendations for necessary or desirable supplemental legislation. The President
shall then transmit this report to the Congress, together with his recommendations.

  The Atomic Energy Commission has never seen fit to prepare and present the report required by section 7(b) of
the McMahon Act. One year ago the Commission submitted to the Joint Committee informally a draft of legislation
intended to promote wider industrial participation in the atomic energy program, asserting at the same time that atomic
energy developments had not reached the stage of practical value and that therefore a report under section 7(b) would
be premature.

  The President's message of February 17, transmitting new drafts of legislation from the Commission, states hopefully
that peacetime use of atomic energy ‘can soon become a reality‘ but makes no mention whatever of a 7(b) report. A
Joint Committee request in writing to the Commission *3499 dated July 31, 1953, for the required report, elicited a
promise to file an ‘interim ‘ report before 1954. The final gesture as a substitute for actual compliance was an extended
speculative essay on the prospects for future industrial development of atomic energy which comprised the major portion
of the testimony presented by AEC Chairman Lewis Strauss in his appearance before the Joint Committee during the
June 1954 hearings.

  If a 7(b) report is premature, as the Commission held last year and still appears to hold by its failure to produce
the report, then legislation such as the pending bill, which would lay down a blueprint for industrial activities in the
atomic energy field, also is premature. If, on the other hand, the stage of ‘practical value‘ is at hand, the Atomic Energy
Commission has evaded the clear intent of Congress set forth in section 7(b) of the McMahon Act.

  The sponsors of H.R. 9757 proposed to escape from this dilemma by the simple expedient of eliminating the
requirement for a 7(b) report to Congress. The Congress now is asked to legislate for the peacetime uses of atomic
energy without the benefit of the careful and comprehensive report from the Commission contemplated by the framers
of the McMahon Act. We do not agree with the contention in the majority report (p. 19) that the Commission's
general obligation to keep the committee informed, and the proposed new obligation of the committee to investigate the
development of the atomic energy industry during the first 60 days of each session of Congress, justify discontinuance
of the requirement for the report.

  This omission is not a mere matter of form or one to be taken lightly. The ‘social, economic, political, and international
effects‘ of using this new source of energy are certain to be profound and wide ranging, even if we discount the more
exaggerated and optimistic claims. Surely the Congress is entitled, before legislating, to have the expert analysis and
advice of the independent Commission it created to administer the atomic energy program.

  The sponsors of H.R. 9757 have retained a watered-down version of the 7(b) report in connection with licensing
activities, minus the essential feature of presentation to the Congress. In section 102 of the pending bill the Atomic Energy
Commission would have to make a finding in writing as to the ‘practical value‘ of ‘any type of utilization or production
facility‘ before issuing a license in a given case. This is a modification of the McMahon Act provision which tied the
7(b) report to a specific requirement that before any license could be issued by the Commission for the manufacture,
production, export, or use of atomic energy equipment or devices a report had to be filed with the Congress concerning the


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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 135
                                                           Page: 39ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1816
                                                                                     924


activity sought to be licensed, which report was to lie before the Congress for 90 days before issuance of the license. The
framers of the McMahon Act evidently regarded industrial licensing in this field so important as to justify a congressional
review of specific licensing actions.


                                          4. Placing AEC Chairman on pedestal

  In considering legislation which proposes a complete overhaul of the McMahon Act, our Joint Committee might well
have undertaken a systematic review of all phases of the Atomic Energy Commission's organization and management.
This it did not do. The committee's interest in the *3500 management of the atomic energy program was directed mainly
to a proposal to make the chairman of the Commission its ‘principal officer.‘ Seemingly innocuous and trivial at first,
this proposal has opened up issues of such gravity and importance that it merits extended discussion.

 Why the sponsors of the pending bill desired to elevate by statutory prescription the Chairman of the Atomic Energy
Commission, it is difficult to say. Under the McMahon Act, basic authority to administer the atomic-energy program
was vested in a five-man Commission responsible for important policy decisions. The act also provided for a General
Manager to whom the Commission could delegate ‘executive and administrative‘ functions. The General Manager is the
Commission's director of operations, responsible for day-to-day administration.

  This organizational arrangement, which brings to bear the collective judgment of the 5-man Commission on crucial
matters in the atomic-energy program, while centering in 1 officer the responsibility for directing its farflung operational
activities, appears to be well conceived and conducive to good administration. Three of the five Commissioners
testified as to its efficacy. The General Manager gave a clear and explicit statement of his duties and relationship
to the Commission. No important evidence had ever been brought before the Joint Committee to indicate that the
organizational arrangement was unsatisfactory and should be altered by law.

  Nevertheless, Chairman Strauss appeared before the Joint Committee to ask for additional authority in the Chairman's
office. He disavowed any responsibility for originating the ‘principal officer‘ proposal, suggesting that the Chairman's
role should be defined more precisely than by the simple designation ‘principal officer.‘ Mr. Strauss rested his argument
on the recommendations of the first Hoover Commission that the chairman of certain regulatory commissions be made
responsible for carrying on the executive and administrative tasks of these commissions.

  Since Mr. Strauss relied so heavily on the Hoover Commission report, it is well to emphasize that the Atomic Energy
Commission (hardly more than a year old when the Hoover Commission started to work) specifically was excluded from
the Hoover Commission studies on independent regulatory commissions.

  The Task Force Report on Regulatory Commissions (appendix N), upon which the Hoover Commission based its
report, states at page 3:

  Although the Atomic Energy Commission has certain regulatory powers and is an independent commission, it has
been excluded partly because so large a part of its work is operational, and partly because so many of its problems appear
to be unique.

  Again the task force report states at page 29:

  To avoid misunderstanding, we emphasize that our examination has been limited to the regulatory commissions; we
have not made any study of primarily operating commissions such as the Atomic Energy Commission and the Tennessee
Valley Authority, both of which combine a governing board with an executive official to manage the operations of the
agency. Consequently we do not intend to imply any judgment on such an organization for these purposes.




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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 136
                                                           Page: 40ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1817
                                                                                     925


  The statements we have quoted make it clear and certain that the first Hoover Commission's recommendations
concerning regulatory commissions *3501 in general were not intended to apply to the Atomic Energy Commission
in particular. Mr. Hoover has expressed his personal opinion in a telegram to Chairman Cole that the general
recommendations are applicable to the Atomic Energy Commission, but there is no warrant for that opinion in the
reports of the Hoover Commission. Whether the decision of that group not to study the organization of the Atomic
Energy Commission was based on ‘security reasons, ‘ as Mr. Hoover asserts, or on the unique and largely operational
character of the agency, as the task force reported, the fact remains that the Atomic Energy Commission was not studied.

  In an effort to bring the Atomic Energy Commission within the organization pattern which the Hoover Commission
recommended for regulatory commissions generally, Mr. Strauss maintained in his testimony that the relationship of
Chairman and General Manager in the Atomic Energy Commission is analogous to that of chairman and executive
officer in the recommended organization of regulatory commissions. This analogy is inaccurate and misleading.

  The Hoover Commission task force regarded the executive officer as the designee of the chairman, working under the
chairman's active direction, speaking in his name, reporting to him exclusively, taking from him the burden of routine
administrative detail but keeping away from policy matters which are the business of the Commission itself (see Task
Force Report on Regulatory Commissions, appendix N, pp. 47-48). In other words, the executive officer is the chairman's
helper in discharging day-to-day administrative duties which the task force proposed to be vested in the chairman of
the regulatory commission.

  Under the law governing the Atomic Energy Commission, the General Manager enjoys a much more important
position than that of Chairman's helper. He receives a salary of $20,000 per annum, equal to that of the Chairman and
exceeding by $2,000 that of each other Commission. He performs ‘executive or administrative‘ duties delegated by the
whole Commission, whereas the executive officer, in Mr. Strauss' analogy, would be merely carrying out such duties
vested in the Chairman.

  The anomalous situation that would be created by increasing the Chairman's statutory authority is highlighted by
Mr. Hoover's suggestion that the phrase ‘principal officer‘ be clarified by substituting ‘administrative and executive
authority.‘ Precisely this authority now is vested by law in the General Manager by delegation from the Commission
as a whole.

  Commissioner Smyth, in his testimony before the Joint Committee, pointed out cogently that to give the Chairman
greater administrative authority implied that he should assume the functions of the General Manager who has been
responsible, since the establishment of the Commission, for day-to-day administration of the Commission's business and
staff. ‘If the Chairman were to become the senior administrative officer of the Commission, with the General Manager
as his deputy,‘ Commissioner Smyth observed, ‘the essential purpose of our commission form of organization would be
defeated.‘ It was his judgment that in such a case ‘the other Commissioners would be left uninformed and essentially
without function‘ (hearings, pt. II, p. 785).

  To accept Mr. Strauss' analogy for the Atomic Energy Commission could only mean that 1 of 2 alternative
developments would ensue: either *3502 the General Manager would be reduced in status and authority to a mere
executive assistant of the Chairman; or else a straight line of authority or ‘chain of command‘ would be created,
running from the Chairman as ‘principal officer‘ to the General Manager in his present position as directing officer of
operations, with the four other Commissioners being shunted aside. Under any such arrangement, to use the expression
of Commissioner Zuckert, ‘you would have a Chairman and four junior grade Commissioners.‘ The Commission would
be maintained in form, but there would be one-man administration in substance.

  Although Mr. Strauss said he retained a preference for the commission form of organization in the atomic energy field,
his conviction was a half-hearted one; a substantial portion of his testimony on this matter was given over to the argument



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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 137
                                                           Page: 41ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1818
                                                                                     926


that ‘you can't operate a large business by committee. ‘ In this approach he had the backing of one Commissioner,
Joseph Campbell, the newest appointee. Mr. Campbell, it appeared, was not quite sure what his duties were as AEC
Commissioner or whether a Commission even was necessary; he was ‘not sold‘ on the commission form of organization
and wanted a ‘more coherent chain of command.‘ Adding up the testimony of Messrs. Strauss and Campbell leaves the
net impression that they have little use for the commission form of organization but that they are not quite ready to say so.

  A year ago, when President Eisenhower designated Mr. Strauss to be Chairman of the Atomic Energy Commission,
the New York Times in an editorial warmly applauded the choice and made this observation about the agency Mr.
Strauss was to head:

  The Atomic Energy Commission is probably the most important technical body in the world today. It commands
intellectual, financial, and industrial resources of unprecedented magnitude. Its power is immense, its decisions have an
influence which is far reaching. For those reasons it has responsibilities that far transcend those of other Government
agencies, except those that are concerned with national defense and with foreign affairs.

  That editorial statement is enough to suggest why the Congress placed the management and direction of the atomic
energy program in a five-man commission. The undertaking is vast, the responsibilities great, and there is still much
pioneering work to do, as the Commissioners Smyth and Zuckett emphasized before the Joint Committee. A commission,
the latter said, would make surer progress in charting the tasks ahead ‘than a line organization of the kind that builds
bridges, fights wars, or sells toothpaste.‘

  Similarly, the Joint Committee reported after its extended investigation of the atomic energy program in 1949:

   The framers of the McMahon Act deliberately established a five-man directorate, rather than a single administrator,
to control our atomic enterprise for the very purpose of assuring that diverse viewpoints would be brought to bear upon
issues so far reaching as those here involved (81st Cong., 1st sess., Rept. No. 1169, p. 81).

  Therefore we are deeply disturbed at the indications that the Atomic Energy Commission is disintegrating as a
commission under the chairmanship of Mr. Strauss. Three of five Commissioners, Mr. Smyth, an eminent scientist; Mr.
Murray, an experienced businessman; and Mr. Zuckert, an *3503 able public administrator, registered their concern
with the Joint Committee over the increasing centralization of authority in the Chairman. They urged the Congress
to resist this tendency, and expressed the fear that the designation of the Chairman as ‘principal officer‘ would only
accelerate it. We agree with them, and we will not support any statutory provision which reinforces the dominance of
the Chairman to the detriment of the Commission as a whole.

   The committee decided to strike ‘principal officer‘ from section 21 of the bill, and the phrase does not appear in the
final version, H.R. 9757. The committee also wrote language into that section specifying that each Commissioner ‘shall
have equal authority and responsibility.‘ However the Chairman's position was singled out by the following language:

  The Chairman (or the Acting Chairman in the absence of the Chairman) shall be the official spokesman of the
Commission in its relations with the Congress, Government agencies, persons or the public, and, on behalf of the
Commission, shall see to the faithful execution of the policies and decisions of the Commission, and shall report thereon
to the Commission from time to time or as the Commission may direct.

  This particular phraseology apparently represents an attempt to write into law part of an informal description of
the Chairman's role which Commissioner Smyth presented to the committee. So far as we know, this is the first time
a Federal statute proposes to give the chairman of a commission formal status as ‘official spokesman.‘ Whatever the
legal effect of this phrase, we believe it would be a mistake to pin down by law the Chairman's accepted position as chief
spokesman of the agency.



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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 138
                                                           Page: 42ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1819
                                                                                     927



  Designating the Chairman as ‘official spokesman‘ and obliging him ‘to see to the faithful execution of the policies and
decisions of the Commission,‘ are either redundant or a roundabout way of granting him the additional authority he
seeks. If redundant, as Commissioner Smyth pointed out in connection with the ‘principal officer‘ proposal, the wording
had best be eliminated. It does not appear in the McMahon Act and its inclusion now would be construed as meaningful
since the Congress cannot be assumed to legislate for idle or trivial reasons. If the language is not redundant, this is a
grant of new authority which, uncertain though its dimensions, conflicts with the ‘equal authority and responsibility‘ of
the other Commissioners and overlaps or replace the authority and responsibility of the General Manager.


                                   5. Withholding information from Commissioners

  It was generally acknowledged in the testimony of the other Commissioners that Mr. Strauss is a strong and vigorous
Chairman, and this, in itself, is a matter for commendation and not criticism. But Mr. Strauss emerges in a dual role;
he is not only Chairman of the Atomic Energy Commission, but also special adviser on atomic energy affairs to the
President. He admits he ‘wears two hats,‘ as they say in Washington. By putting on the hat of special adviser, he can
plead the confidence of the Chief Executive and keep his fellow Commissioners in the dark about atomic affairs of the
greatest significance.

  Three of the five Commissioners, with a combined record of nearly 12 years of service on the Commission, have testified
in substance before the Joint Committee that the present Chairman has not taken them fully into *3504 his confidence;
that they were not informed about certain important actions affecting the atomic energy field; that their access to the
President has been virtually cut off; and that there is an increasing tendency to one-man rule in the Commission.

  These Commissioners first read in the newspapers the President's speech before the United Nations General Assembly,
calling for an international atomic pool of resources to promote peaceful development of atomic energy. Commissioner
Smyth, the only scientist on the Commission and senior in length of service, was not even consulted when the Chairman
called for an international conference of scientists. A press conference announcement by the President to the effect that
atomic weapons have reached optimum size, came as a surprise to the other Commissioners. Since Mr. Strauss became
Chairman, none of the others, with the exception of Mr. Campbell, has had an opportunity to visit the White House or
to discuss atomic matters with the President.

  There was a noticeable and understandable reluctance among these three Commissioners to place on the public record
instances of disaffection and discord in the Commission. And there are those who argue that the Chairman was fully
within his rights in withholding information from his fellow Commissioners because of his separate and privileged status
as special adviser to the Present on atomic energy matters. Nevertheless, there is enough in the testimony, taken together
with evidence from other sources, to warrant the conclusion that the Atomic Energy Commission has fallen to a low
point in harmony and effectiveness.

  In trying to treat generously of the ‘strong man‘ propensities in their Chairman, several Commissioners pointed out
that atomic energy is becoming a subject of increasing interest to military men, diplomats, and industrialists; that the
difficulties and disturbances in the Atomic energy Commission reflect the changing role of the agency in relation to other
agencies of Government and the public; and that, in keeping with these changes, the Chairman necessarily is called upon
to take an active part in affairs not directly related to the internal business of the Commission.

  There is an important element of truth in these assertions. But the larger truth is that the Congress intended the Atomic
Energy Commission to administer the atomic-energy program. There is every reason to suppose that a Commission well
organized, with a normal amount of self-discipline and good sense in each Commissioner, with a Chairman possessed
of tact and understanding and a degree of administrative ability, can keep the President fully informed and well advised
on all atomic-energy matters without distorting the Commission pattern of organization.


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                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 139
                                                           Page: 43ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1820
                                                                                     928



  It goes without saying that the President can select whomever he pleases to advise him on atomic energy. It does not
go, in our judgment, that the President and the Chairman of the Commission can utilize the device of ‘special adviser‘
to thwart the objectives of the Atomic Energy Act and disrupt the performance of the Commission by putting a blank
wall between the Chairman and the other Commissioners.

  One of the Commissioners took pains to prepare and submit to Chairman Strauss a detailed memorandum on the
latter's dual status as Chairman and ‘special adviser‘ in an effort to determine where the Commission stood. Mr. Strauss
himself acknowledged that a ‘psychological conflict *3505 ‘ had been created by his two-hat role. He offered to lay
aside the hat of ‘special adviser‘ if the other Commissioners so desired. The suggestion ought to be accepted.Maintenance
of the integrity of the Commission, of full and equal access by the Commissioners to the information necessary to the
proper performance of their duties, will contribute more lasting benefit to the Nation than setting the Chairman on a
pedestal closer to the President's ear.

  In this context, we are constrained to note that the committee majority, though willing to acknowledge in the bill
the ‘equal authority and responsibility‘ of the five Commissioners, were unwilling to write in a guaranty that these
Commissioners would have full and equal access to atomic information. The committee report states (p. 10):

  The right of the members to have access to all information within the Commission flows from this responsibility and
authority.

  Undoubtedly this is the case, but explicit statutory affirmation is in order, considering the committee majority's
insistence on writing new language with regard to the Chairman's position.

  Whether the committee report is intended to mean that atomic information outside the Commission does not come
within the purview of the Commissioners' authority and responsibility is uncertain. In any event, we consider the omission
of the information guaranty in the bill a sad commentary on the extent to which distrust and suspicion condition the
affairs of Government.

  Our committee chairman has stated publicly his view that a majority of the Commission at some future time might
want to vote to withhold from 1 or 2 Commissioners information on a particular subject. With great affection and respect
for our committee chairman, we must say that this suggestion astounds us. It throws doubt upon the ability of a President
of the United States to select Commissioners deserving of trust and respect. It throws doubt on the competence of our
investigative agencies in checking background of such appointees; and it throws doubt on the judgment and wisdom of
the Senate in confirming them.

  When and where do doubt and suspicion come to rest if they are carried into the highest levels of government? They
will eat like a cancer at the vital organs of free government in a democracy.


                                          6. Overriding the Commission's will

  The independence and integrity of the Atomic Energy Commission as a commission are seriously threatened not only
from within, by the position of dominance assumed by the Chairman, but from without by overriding orders of the
President.

  The Nation is treated with the unpleasant spectacle of the Commission being ordered, against its better judgment, to
enter into a 25-year contract with a private utility syndicate. This contract is not for the purpose of providing utility
services to the atomic energy program. It has all the earmarks of a smart play, figured out in the White House and the




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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 140
                                                           Page: 44ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1821
                                                                                     929


Budget Bureau, to have the Atomic Energy Commission run interference for the private utilities in their contest with
the Tennessee Valley Authority.

  The committee's immediate interest in this activity stems from the fact that the contract is being negotiated under color
of the authority *3506 granted in section 12(d) of the McMahon Act, as amended, which section is carried over intact
as section 164 of H.R. 9757.

  When the Atomic Energy Commission sought and received this authority from the Congress to make long-term
contracts, and to pay cancellation charges to the utility groups involved in the event the contracts were terminated, the
authority was specifically limited to utility services for the Oak Ridge, Paducah, and Portsmouth installations of the
Commission. As the former General Manager, Marion W. Boyer, testified in answer to a question from Congressman
Holifield at the time the authorizing legislation was being considered by the committee:

  In other words, it is limited to the power requirements for those three installations. It is not a wide-open authority.

  Although many Members of Congress had misgivings about this particular grant of authority, which really served no
other purpose than the convenience of the private utilities in financing construction of their new plants, the members
understandably were unwilling to overturn arrangements already made for supplying electricity to the atomic energy
projects. The proposed new contract, however, has nothing to do with the power needs of the atomic energy program.
In the words of Commissioners Smyth and Zuckert:

 The present proposal would create a situation whereby the AEC would be contracting for power not one kilowatt of
which would be used in connection with the Commission production activities (hearings, pt. II, p. 958).

  The scheme is for the Commission to maintain its present firm contract for TVA power to run the Paducah plant
while contracting for some 600,000 kilowatts of additional power to be delivered by the private utility group to the TVA
for service in the Memphis area, several hundred miles away from any atomic-energy installation. In other words, the
AEC would become a ‘power broker, ‘ purchasing power it does not need for an area far removed from its activities.
The TVA would be forced into buying the power from the private group through AEC instead of building its own plant
to serve the Memphis area.

  Over the life of the contract, the taxpayers would foot a bill of at least $90 million over and above the cost of power
that TVA could produce itself. The $90 million figure is the AEC'S own estimate; the TVA estimate is that this new
proposal would result in $140 million added cost to the taxpayers.

  The members of the Commission and their General Manager struck us as rather shamefaced about the whole business
when they came before the committee. They said in effect: ‘This proposal did not originate with us. We don't like it but
higher authority has decreed it, and we will be good soldiers and carry out orders.‘

  The General Manager testified that the proposal ‘originated in the Bureau of the Budget as an administration policy.‘
He cited instructions received from the Bureau of the Budget to proceed with negotiations looking toward a definitive
contract, despite his advice to the Bureau ‘that the Commission did not agree on the wisdom of AEC entering into this
type of contract‘ (hearings, pt. II, pp. 946 ff.).

   *3507 Chairman Strauss and Commissioner Campbell were the only Commission members who did not object; in
fact; Mr. Strauss had been apprised of the Bureau's intentions at least a month before the matter was brought up at
a Commission meeting. The meeting in question was held January 19, 1954, 2 days before the budget message of the
President was presented to the Congress, stating that ‘arrangements are being made to reduce, by the fall of 1957, existing
commitments of the Tennessee Valley Authority to the Atomic Energy Commission by 500,000 to 600,000 kilowatts.‘ The



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                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 141
                                                           Page: 45ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1822
                                                                                     930


‘arrangements,‘ involving discussions with the interested utility groups, had been going on at least since early December
of 1953, and, when finally revealed, did not propose to reduce existing TVA commitments to AEC but to compel the
TVA purchase of new and additional power from private sources.

  Commissioners Smyth and Zuckert, in a joint letter to the Director of the Bureau of the Budget, undertook to express
their personal views that the proposed action was ‘awkward and unbusinesslike‘ and ‘involves the AEC in a matter
remote from its responsibilities.‘ Commissioner Murray took substantially the same position in testimony before the
committee. It is noteworthy that Mr. Murray, as the Commissioner responsibile for initiating the first long-term contract
between the Commission and a private-utility group, frankly acknowledged the unsatisfactory performance of that group
in comparison with the TVA, and strongly objected to the proposed new contract (hearings, pt. II, p. 1001).

  A great deal more is involved here than a simple controversy between private and public power. Is the Atomic Energy
Commission, created by the Congress as an independent agency of Government to administer the vast atomic-energy
program, which now represents a public investment of $12 billion, to lay aside its collective judgment in deference-- nay,
subservience-- to unrelated budgetary and power policies of the current administration?

  Who, one may well ask, is in charge of the Atomic Energy Commission? Are there not five Commissioners duly
appointed and confirmed under the law, sworn to administer it faithfully, and answerable to the Congress as well as the
president for their performance? Or does ‘higher authority‘ take over whenever the Budget Bureau or the White House
has a pet scheme to promote?

  As Members of Congress and of this committee, we are interested in the efficient performance of Government agencies.
We have supported constructive proposals to improve the organization and management of the executive branch.
Certainly, the President as the Chief Executive and the appointed heads of the departments and agencies should have
the requisite authority to organize their administrative units in a manner conducive to efficient execution of the laws
passed by the Congress.

  But there is a line to be drawn between Presidential direction of the executive branch for good administration and
Presidential usurpation of the authority of independent commissions. The members of the Atomic Energy Commission
do not serve at the pleasure of the President. They are appointed by him, of course, but the Senate confirms the
appointments, and the period of tenure is fixed by law. The President can remove a Commissioner only for ‘inefficiency,
neglect of duty, or malfeasance in office.‘

   *3508 The administration of the atomic energy program is vested by law in the Commission, not in the President. True
enough, the President is charged with certain responsibilities of the highest importance, such as directing the Commission
to deliver atomic weapons to the Armed Forces for such use as he deems necessary in the national defense; and the
President is given extraordinary authority to exempt the Commission from Federal statutes relating to contracts when he
determines such action necessary to the common defense and security. But the President is not authorized to substitute
his judgment for that of the Commission members in matters committed to their administration, and certainly he is not
authorized to direct the Commission to engage in matters foreign to their duties.

  For the benefit of the members of the Atomic Energy Commission we say this: The Commission will forfeit the respect
of the public and insult the dignity of its high office if it allows itself to become a puppet agency for the execution of
purposes alien to the Atomic Energy Act.

  Our own committee too has a responsibility in connection with this matter. It is proposing to reenact authority which,
in our view, provides no legal justification whatever for the contract under negotiation. None of the three installations
named in section 164 of the bill is involved in the proposed new electrical power arrangements, and only by the most




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                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 142
                                                           Page: 46ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1823
                                                                                     931


violent stretching of an incidental phrase can the General Counsel for the Atomic Energy Commission wrap the cloak
of legality around this action.

  This latest move of the AEC at the behest of the Budget Bureau illustrates the danger of legislating quickly without
laying down adequate standards. As the Federal Power Commission observed in connection with section 164:

  Here again the grant of power is without any definition of governing standards, any policy guide, or any limitation of
any kind. Apparently this may ratify or authorize ratification of existing contracts. The Federal Power Commission has
not indicated any position as to the terms of the contracts heretofore entered into (hearings, pt. II, p. 1133).

  We should take the opportunity now to make clear the intent of Congress in originally enacting this section if the plain
wording and legislative history of the amendment leave any doubt on that score. We regret that the committee majority
has voted down clarifying language and has refused to adopt a motion disapproving the transaction in question. Our
responsibility and obligation in this regard are all the greater, since we are asking the Congress to add prerogatives in
this bill to the committee's already important jurisdiction and status.


                                          7. Limiting AEC power production

  A remarkable series of incongruities show up with regard to the power position of the Atomic Energy Commission.

  The determination to cast the Commission in the role of ‘power broker‘ under the proposed new contract would
commit that agency to continuing responsibilities for a 25-year period in a filed which is external to the Commission's
own concerns and power needs.

  This contractual arrangement would bring the AEC into the conventional power business as an additional Government
agency and tie it to TVA'S future power activities despite the professed intention of that agency and the present
administration to limit the role of Government in business.

  The AEC already has entered into two long-term contracts, and is about to become involved in a third, for the supply
of electrical energy from conventional *3509 private sources for the next quarter century, even while freely predicting
that electrical energy from atomic sources will be available in the next decade.

  Most incongruous of all, the AEC wants to stay out of the atomic power business, a field in which it might be expected
to have a legitimate and continuing function.

  The Atomic Energy Commission is the largest single consumer of electricity in the world. When presently authorized
facilities are completed, the Commission will be utilizing capacity of the New England States. Its consumption of
electrical energy in the near future may reach 8 or 10 percent of the Nation's total.

  In view of its enormous power needs, which will come to represent an outlay of $150 million to $200 million a
year, one would expect the AEC to show initiative and enterprise in adapting its own facilities to supply a substantial
portion of these needs rather than to waste the heat energy created by nuclear fission. The framers of the McMahon Act
contemplated use of atomic power by AEC as well as the transfer or sale of such power to others when they provided
in section 7(d) of the act:

  Byproduct power.-- If energy which may be utilized is produced in the production of fissionable material, such energy
may be used by the Commission, transferred to other Government agencies, or sold to public or private utilities under
contracts providing for reasonable resale prices.




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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 143
                                                           Page: 47ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1824
                                                                                     932


  Back in 1946 when this section was written, the atomic energy program was centered primarily upon the development
and production of atomic weapons. Atomic power was still a remote possibility and the section pertaining to its
production was embryonic. Now that we stand on the threshold of the atomic power era and consider legislation designed
to usher it in, singular indeed is the fact that the new legislation does not enlarge upon the embryo, so far as AEC
production of atomic power is concerned.

   Section 7(d) of the McMahon Act is now section 44 of H.R. 9757, dignified only by having a whole section number to
itself, and containing a few minor word changes, but still an incidental item tucked away in a corner of the bill instead
of becoming a full-fledged set of provisions to launch a positive program of Federal development in the atomic power
field. If anything, the language in the new bill is more restrictive than in the existing act.

   The Federal Power Commission, in an extended analysis of the proposed atomic energy legislation, criticizes among
things the paucity of legislative standards with respect to section 44. It points out that the sale of byproduct power is not
a new problem and calls attention to the series of acts in which the Congress has provided detailed and explicit standards
governing the disposition of electric power from projects involving the development of irrigation, water conservation,
flood control, and navigation improvement projects. The Federal Power Commission then remarks:

  Corresponding enunciation of policy in the sale of byproduct power from Government atomic energy installations
may present some new or different problems, but the precedents cited are sufficient to suggest that the Congress has been
jealous to enunciate the policy to be effectuated by the agency marketing the power and has not been willing to leave the
responsibility for policy to the agency (hearings, pt. II, p. 1132).

   *3510 One of the long-established Federal policies to which the Federal Power Commission adverted is the according
of preference to municipal, cooperative, or other public bodies in the sale of federally generated power. Section 44,
covering the marketing by the Atomic Energy Commission of surplus energy from its own nuclear operations, contains
no such preference. This is in conflict with the policy established by every law governing the marketing of federally
generated power within the last 50 years. The section should be amended to accord with established Federal power policy.

  The Atomic Energy Commission, whether for lack of a positive congressional mandate or because of preoccupation
with atomic weapons has never been a ‘power-minded‘ agency. It has steadily backed away from any concept of
Government responsibility for the production of atomic power. It regards the atomic power authorization in section
7(d) of the McMahon Act as incidental and unlikely to be productive of any important achievements. Chairman Strauss
describes the AEC'S planned power reactor program for the next few years as a ‘minimum program‘ by choice. The future
power role conceived for this agency by the present administration is a narrow and declining one. President Eisenhower
said in his message to the Congress of February 17, 1954:

  The creation of opportunities for broadened industrial participation may permit the Government to reduce its own
reactor research and development after private industrial activity is well established. For the present, in addition to
contributing toward the advancement of power-reactor technology, the Government will continue to speed progress in
the related technology of military propulsion reactors.

  A draft of proposed legislation accompanying the President's message contains this language:

  Nothing in this act shall be construed to authorize the Commission to engage in the sale or distribution of electrical
energy for commercial use except such energy as may be produced by the Commission incident to the operation of
research and development facilities or facilities for the production of fissionable material.




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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 144
                                                           Page: 48ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1825
                                                                                     933


  That proposed restriction was incorporated in an earlier version of H.R. 9757, but the sponsors were persuaded finally
to strike it out. The majority report on the bill, however, construes the restriction to be still applicable to section 44. It
states in this regard (p. 15):

  This section will permit the Commission to dispose of that utilizable energy it produces in the course of its
own operations, but does not permit the Commission to enter into the power-producing business without further
congressional authorization to construct or operate such commercial facilities.

  We fail to see why the Commission should be enjoined from producing atomic power for commercial use when it would
be given broad authority to license others for such production. If the Nation is to realize the maximum power benefits
from its investment in this new resource, a positive program of atomic power production by the Federal Government is
essential. The history of electrical power development in this country affords ample evidence that a reasonable balance
between public and private power serves as the most important check on monopoly control in the vital field of energy
resources. The very magnitude of economically feasible nuclear power-plants persuades us to believe that the balance
will be thrown heavily in favor *3511 of private monopoly unless provision is made for Federal development of atomic
power, particularly where supply in desired by public or cooperative systems.

  The committee members are convinced, for security and perhaps other reasons, and have affirmed in the pending bill,
that the special material which produces nuclear energy should remain the property of the United States. Another finding
in section 2 of the bill is that--

 In permitting the property of the United States to be used by others, such use must be regulated in the national interest
***

  It is judicially established beyond question in our constitutional system that what the United States owns and permits
others to use, it may use itself and dispose in any manner the Congress sees fit, including the transformation of owned
resources into electrical energy and the transmission of such energy to market. Private companies engaged in similar and
competing enterprises have no vested right to be free from Federal Government competition (Ashwander v. Tennessee
Valley Authority, 297 U.S. 288, 56 S.Ct. 466; Tennessee Electric Power Co. v. Tennessee Valley Authority, 306 U.S.
118, 59 S.Ct. 366).


                                         8. Inadequate power licensing provisions

  H.R. 9757 not only fails to mark out a clear and constructive program for Federal production of atomic power; it is
altogether deficient in the matter of safeguards to protect the public interest in the licensing of non-Federal agencies to
produce and sell atomic power.

  As noted above, the nuclear energy resource itself will remain the property of the Federal Government. Thus, in terms
of the public interest, the use of nuclear energy and the use of the energy in the falling water of streams should be subject
to the same safeguards established by law.

  These safeguard involve far more than the bare assurance that the electricity generated from the resource shall be
subject to the ordinary processes of utility regulation. They are based on the principles that public resource must be
conserved and developed for the best possible use, that it must be always kept open for public use if the people so decide,
and that, whatever States may do or fail to do about it, the use must always be directed at providing electricity at the
lowest possible rates through preventing private capitalization of the value inherent in the right to use a public resource.

 The very fact that there are still six States which have set up no State agency to regulate the rates charged by privately
owned electric utilities reveals the extraordinary importance of these public resource safeguards, and the necessity for


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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 145
                                                           Page: 49ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1826
                                                                                     934


their incorporation in any legislation designed to facilitate the use of atomic energy as a source of commercial power.
These safeguards for the right of the people to get the full value out of their resources, without any toll being taken above
what is necessary to assure the funds required for development, have already been formulated in detail by Congress in
the Federal Power Act which prescribes how hydroelectric resources may be used. They include:

  (1) Safeguard for the prior right of Federal development of the resource in any specific case where this will best serve
the public interest

  (2) Safeguard for the prior right of public bodies and cooperatives, as against a private applicant for a license for any
specific development of the resource.

   *3512 (3) Safeguards for the right to public hearing in connection with any application, with specific provision for
admission of interested States, State commissions, municipalities, representatives of interested consumers or competitors
as parties.

  (4) Safeguards for the right of Federal or other public recapture of any development by a private licensee at the end
of the license period on payment of no more than the license's net investment in the project.

  (5) Safeguards for reasonable rates to consumers by provision requiring licensees as a condition of any license to agree
to Federal regulation where States have provided no regulation of electric rates, with further provision that in any rate
proceeding the licensee can claim no more than net investment in the development for rate base purposes.

  (6) Safeguards for the preferred position of public and cooperative electric systems to obtain power supply from Federal
development of the resource.

  The bill, as reported, is wholly lacking in such safeguards. It would enable the Atomic Energy Commission to turn
this greatest energy resource over to private power monopoly under licenses unconditioned except for the requirements
of national security and public health and safety. Aside from section 271, providing that nothing in this act shall affect
the authority or regulations of Federal, State, and local regulatory agencies, it is barren of any recognition of the public
interest in securing electric energy from this new resource at the lowest possible rates. Experience has shown clearly that
such regulatory authority is entirely inadequate to protect the public interest in electric power developed from public
resources, unless supplemented by specific standards governing licenses and the availability of public or cooperative
competition in the distribution of electric energy.

  The bill includes no provision to encourage public or cooperative distribution of nuclear power. Furthermore, it
includes no provisions assuring that privately owned electric utilities producing nuclear electric energy under license from
the Commission shall sell the power at the lowest possible rates consonant with sound business practices.

  The following comments on specific licensing features of the bill indicate what we consider essential requirements for
protection of the public interest in the use of this new public resource for the generation of commercial electric power.

  Section 103(b), establishing the minimum qualifications for applicants for commercial licenses to construct, own, and
operate facilities for the utilization and production of special nuclear material or atomic energy, contains no provisions
requiring agreement by the applicant, where the end result is generation of electric energy for sale, to claim no more
than net investment in such facilities for ratemaking purposes. Such a limitation is placed upon all licenses for use of
the people's waterpower resources under the Federal Power Act. This section of the bill should be amended to bring it
in line with established Federal power policy.




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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 146
                                                           Page: 50ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1827
                                                                                     935


  Section 103(c), providing for a limitation on the term of commercial licenses issued by the Commission for the
ownership and operation of facilities for the utilization and production of special nuclear material or atomic energy,
contains no provision for the right of the United States, after reasonable notice, to take over, maintain, and operate
such facilities at the end of the license period on payment to the licensee of its net investment, plus *3513 severance
damages, if any. All private hydroelectric power developments, licensed under the Federal Power Act, are subject to such
a provision. This section should be amended to bring it in line with established Federal power policy.

  Section 182(b), providing for due notice to the public before the issuance of any license for utilization or production
facilities which generate commercial power, is lacking as to both breadth of notice required and provision of specific
procedures in connection with license applications to assure full protection of the rights of interested parties. It also lacks
specific recognition of those interests whose rights may be affected by Commission action or whose participation may
be in the public interest.

  To dure these deficiencies, where generation of nuclear-electric power is the primary purpose involved, we believe
the section should be amended to provide that notice of applications shall also be sent to municipalities and to public
and cooperative electric systems within transmission distance; that, in case of protests, conflicting applications, or
proposals for special conditions, interested parties shall be accorded opportunity for intervention, hearing, petition for
rehearing, and appeal, in general accord with the procedures now prevailing under Federal power legislation; and that the
Commission may admit as parties interested States, State commissions, municipalities, public and cooperative electric
systems, or representatives of interested consumers or security holders, or any competitor of a party to such proceedings,
or any other person whose participation may be in the public interest.

  Section 182(c), providing for preferred consideration to applications for facilities which will be located in high-cost
power areas in the United States, lacks a similar provision which has been the policy of the Government since the Federal
Power Act became law in 1920, according preferred consideration to public bodies where their applications conflict with
those of privately owned systems. We believe this lack should be overcome to bring the section into line with establishing
Federal power policy.

  Section 183, providing specific terms which must be included in licenses for the ownership and operation of facilities for
the utilization or production of special nuclear material or atomic energy, is completely lacking in provision for Federal
accounting control of licensees where such licensees are not not also engaged in the transmission of electricity or sale of
electricity in interstate commerce for resale. Such accounting control should be vested in the Federal Power Commission
which is responsible for such regulation over licensees for hydroelectric power developments, and is provided for, with
enforcement authority, in sections 301, 302, 304, and 306 of the Federal Power Act. We believe that the bill should be
amended to make these sections applicable to licensees for atomic power development.

  Section 185, providing for the issuance of construction permits to applicants whose applications are otherwise
satisfactory to the Commission, should be specifically subject to the same procedural safeguards, assuring interested
parties full opportunity for notice, hearing, and appeal before issuance, as are provided in connection with the issuance
of licenses under section 182. We believe that the section should be amended to make the same procedure specified in
section 182 mandatory before construction permits are issued.

  The parallels between electrical energy from nuclear and hydropower sources were called to the attention of the
committee in earlier hearings during *3514 the summer of 1953 by a member of the Federal Power Commission and
again during the present hearings by Chairman Kuykendall of the Federal Power Commission, who supplied a detailed
analysis of pending atomic-energy legislation. This material will be found in part II of the committee's recent hearings
at pages 1124 through 1133.




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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 147
                                                           Page: 51ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1828
                                                                                     936


 In view of the Federal proprietary interest and congressional authority in the field of atomic energy, the Federal Power
Commission observes--

  * * * it becomes pertinent to test any legislative proposals with respect to non-Federal development of atomic energy
to see whether the public interest in atomic energy is protected and benefited as adequately as the Congress of an earlier
generation sought to do for the Nation's interest in water power (p. 1128).

  The Federal Power Commission observes further that--

  * * * the grant of the (license) privilege should depend not solely on the negative consideration that national defense
will not be harmed, but on the affirmative ground of benefit to the public interest in electric power and other products
of the operation of nuclear reactors as well (ibid.).

  Unfortunately, the present bill reflects nothing of this advice from the Nation's outstanding independent power agency,
but relies mainly on negative considerations in licensing. The analysis of the Federal Power Commission is sufficient to
indicate that the bill is still incomplete, so far as it comes within the scope of power policy.


                                   9. Need for Division of Civilian Power Application

   Our concern goes not alone to the omission of public interest safeguards in power licensing. If the use of nuclear energy
as a source of commercial electric power is to be accorded the consideration which its importance warrants, this should
be reflected in the statutory organization of the Commission. It cannot be left wholly to the discretion of the Commission
which may be at any given time, and is now, weighted in favor of playing down the Government responsibilities in this
field.

  Specifically, we believe there should be a statutory Division of Civilian Power Application, counterbalancing the
statutory Division of Military Application, with positive responsibility for the commercial development of nuclear
electric power by Federal or non-Federal public and private agencies.

  There should also be an Electric Power Liaison Committee, corresponding with the Military Liasion Committee,
with provision for full cooperation between the Atomic Energy Commission and those Federal agencies responsible
for carrying out other phases of Federal power policy. This would provide a basis, now lacking in the bill, for Federal
construction and operation of nuclear powerplants where required in connection with Federal regional programs.

  The Electric Power Liaison Committee might well be composed of one representative each of the Federal Power
Commission, the Securities and Exchange Commission, the Rural Electrification Administration, the Tennessee Valley
Authority, the Bureau of Reclamation, the Bonneville Power Administration, the Southwest Power Administration,
the Southeast Power Administration, and the Corps of Engineers, with an independent Chairman appointed by the
President, by and with the consent of the Senate, serving at the pleasure of the President.

   *3515 This Committee would advise with the Atomic Energy Commission in connection with all activities directed at
the development of power from nuclear energy with a view to assuring its maximum contribution to the general welfare.
Such advice would include assistance in the formulation of standards as specific problems arise. But dependence on ad
hoc decisions alone for the determination of standards affecting the economics of atomic power development and use
would be unsatisfactory in the extreme. It is for this reason that we favor amendments which would authorize and direct
the Division of Civilian Power Application and the Federal Power Commission, in their respective spheres, to apply
substantially the same public interest safeguards in connection with the licensing of atomic powerplants as are applied
in licensing hydroelectric developments under the Federal Power Act.




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                                                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 148
                                                           Page: 52ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1829
                                                                                     937


   The Nation's interest in ample supplies of low-cost electric power to meet the requirements of an expanding economy
is great. It reaches into every farm home and commercial or industrial establishment. It makes the difference between
vigorous and retarded regional development. It is a vital factor in the economical operation of farms. It contributes to
continually rising living standards. All this has been emphasized in many official reports, including that of the President's
Materials Policy Commission, which made an exhaustive analysis of the future requirements of our civilization.

  The quality of the legislation which opens the atomic energy resource to development as a part of the country's total
energy economy will have a profound effect on the attainment of these goals. We are convinced that enactment of the
present bill without mature consideration of the changes which we propose would be a disserve to the people of the
United States. No delay required to perfect the bill to meet the requirements of the general welfare could result in a
minute fraction of the losses that would inevitably follow an ill-considered transfer of atomic power development to
private monopoly.


                                      10. ‘Passing the buck‘ on monopoly prevention

   The fact that electrical utilities are more or less natural monopolies in the areas they serve makes it unlikely that the
antitrust provisions in section 105 of the bill will have any important bearing on the licensing of utilities for atomic
power production and distribution. Indeed that section empowers the Atomic Power Commission, with the approval of
the Attorney General, to exempt such classes or types of licenses as it may determine would not significantly affect the
licensee's activities under the antitrust laws.

  With regard to the provisions of section 105 generally, we believe it is a mistake to relieve the Commission of the
affirmative responsibility contained in the McMahon Act, and deleted in this bill, to exercise its licensing authority in a
manner to prevent the growth of monopoly or restraint of trade. Section 7(c) of the McMahon Act reads in part:

  Where activities under any license might serve to maintain or to foster the growth of monopoly, restrict of trade,
unlawful competition, or other trade position inimical to the entry of new, freely competitive enterprises in the field, the
Commission is authorized and directed to refuse to issue such license or to establish such conditions to prevent these
results as the Commission, in consultation with the Attorney General, may determine. The Commission shall report
promptly to the Attorney General any information it may have with respect to any utilization of fissionable material or
atomic energy with appears to have these results.

   *3516 Section 105a of H.R. 9757 would permit the Commission to suspend or revoke a license only after a court
of competent jurisdiction has found a licensee to be guilty of violating the antitrust laws. It seems to us that here the
Commission locks the bar after the horse is stolen. In a new, developing field of industrial endeavor, resort to the
cumbersome and protracted procedures, sometimes extending over many years, which eventuate in final adjudication of
antitrust violations, can have little effect in assuring the maintenance of free competitive enterprise.

  Section 105c of the bill does add a procedure whereby some preventive action can be taken against monopoly or
restraint of trade. It is left to the Attorney General or the Federal Trade Commission to determine whether ‘the
proposed license would tend to create or maintain a situation inconsistent with the antitrust laws.‘ In the event of such a
determination, the applicant is permitted to file a petition with the Federal Trade Commission for a hearing, and if the
Commission finds adversely, the applicant would have recourse to the courts.

   We are uncertain as to the legal effect of a court finding which would put an applicant in a position ‘inconsistent with
the antitrust laws‘ without necessarily being guilty of violating the antitrust laws. In any event, we see little validity in the
arguments which led the sponsors of the bill to relieve the Atomic Energy Commission of the affirmative responsibility
cited above.




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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 149
                                                           Page: 53ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1830
                                                                                     938


  A review of Federal statues demonstrates rather convincingly that many departments and agencies of the Federal
Government are charged by law with such positive responsibility and authority to prevent or discourage monopoly of
other restraints of trade, or to actively promote competition and participation by small business, in various fields of
endeavor. It is specious reasoning, in our opinion, to say that Atomic Energy Commission, as the agency charged with
the administration of the atomic energy program, should pass wholly on to others the responsibility for taking steps to
insure equality of opportunity by all businesses, large and small, to participate in that program and to share the privileges
and benefits arising from it.


                                              11. Limiting access to patents

  Intimately tied up with the crucial issues of monopoly or competition in the atomic energy field is the extent to which
private patents are authorized and others have access to the patented inventions or discoveries.

  The patent question is one of the most controversial in the atomic energy field. It arose in the very beginning, when the
drafters of the McMahon Act decided to make an outright ban on patents for inventions or discoveries which concerned
the production of fissionable material or the utilization of such material in atomic weapons. In the nonmilitary field,
patents could be granted, but were subject to a ‘public interest‘ declaration under stated conditions, in which case the
Atomic Energy Commission and its licensees automatically were entitled to their use, with reasonable compensation to
the owner. This constituted a form of compulsory patent licensing.

  Since the licensing provisions of the McMahon Act were never utilized, and the Commission acquired practically all
of its patents through arrangements with its contractors, who were operating with public funds, the ‘public interest‘
provision remained a dead letter. It is this feature which H.R. 9757 adopts with modifications, broadening the permissible
area of private *3517 patenting and authorizing others to have access to the patented inventions or discoveries under
certain conditions.

  An earlier version of the pending bill proposed to remove the ban on patents in the production of special (fissionable)
material, whether for industrial or weapons uses, leaving only the patent ban on utilization of special material in an
atomic weapon. The provision for ‘public interest‘ declarations also was eliminated, in effect opening up the whole
nonmilitary atomic energy field (and part of the military) for private patenting without any obligation to license others
in the use of the patented inventions or discoveries.

  We commend the committee majority for withdrawing those earlier provisions and for recognizing in the report (p.
9) that the dangers of restrictive patent practices are present because few firms may be involved in the atomic energy
program for the immediate future. The fact that a few large industrial corporations, as contractors to the Atomic Energy
Commission, have acquired an overwhelming head start on would-be competitors by virtue of technical know-how
acquired on the inside, is enough to warrant the utmost care on the part of the Congress in legislating patent privileges.

  The committee has reverted substantially to the position taken by President Eisenhower when he said in his message
of February 17, 1954, to the Congress:

  Until industrial participation in the utilization of atomic energy acquires a broader base, considerations of fairness
require some mechanism to assure that the limited number of companies, which as Government contractors now have
access to the program, cannot build a patent monopoly which would exclude others desiring to enter the field. I hope
that participation in the development of atomic power will have broadened sufficiently in the next 5 years to remove
the need for such provisions.

  While we believe that the President's proposal for compulsory patent licensing is necessary until such time as interested
industrial concerns are on a more equal footing in their acquisition of skills and experience in atomic technology, we


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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 150
                                                           Page: 54ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1831
                                                                                     939


believe both the President and the sponsors of this bill are unduly optimistic in the hope that a period of 5 years will
suffice to reach that stage. It will take at least 5 years to construct a sufficient number of reactors for making comparative
evaluations of performance, and it will take at least 5 years more to accumulate the economic and engineering data for
these evaluations.

  The Congress would be better advised, as an able patent attorney and former Deputy General Counsel of the Atomic
Energy Commission testified before the committee, to strike the September 1, 1959, termination date and leave open
the time for legislative removal of compulsory licensing. The Congress could then enact the necessary legislation at such
time as a broadened industrial base for atomic energy became evident. At the very minimum the period of compulsory
patent licensing should extend for 10 years.

   The question next arises whether the language of the bill is designed to make effective the compulsory licensing of
patents or whether it is designed to make this process difficult and unusual. Although it is not easy to judge the effect
of the prolix and unduly cumbersome provisions in this regard, we are inclined to the conclusion that the compulsory
licensing provision is an extremely limited guaranty of accessibility to patented inventions.

   *3518 Perhaps the simplest way to establish compulsory licensing would have been to carry over the provision in
section 11(c) (2) of the McMahon Act which provides that whenever any patent is declared by the Atomic Energy
Commission to be affected with the public interest, not only is the Commission automatically licensed to use the invention
or discovery covered by the patent (a provision retained in the present bill), but any person licensed by the Commission
automatically is licensed to use the invention or discovery covered by the patent.

  Under section 152 of the pending bill, whenever a patent has been declared affected with the public interest, the
Commission automatically is licensed to use the invention or discovery covered by such patent, but another person
desiring to use the patented invention or discovery must apply to the Commission for a patent license, which shall be
granted to the extent that the Commission finds that the invention or discovery is of primary importance to the conduct
of an activity by such person authorized under the act.

  In other words the initiative and the burden of proof now would lie with the applicant who must demonstrate to the
satisfaction of the Commission that the use of the invention or discovery is of primary importance to his business. The
limiting aspect of this requirement was brought to the attention of the committee in earlier hearings by Caspar Ooms, a
patent attorney, formerly United States Patent Commissioner and Chairman of the AEC Patent Compensation Board.
Mr. Ooms, who suggested patent revisions in the McMahon Act very similar to those now embodies in H.R. 9757,
testified before the committee last July (pp. 458-9) that by eliminating the automatic licensing feature of the McMahon
Act even though a patent is declared affected with a public interest:

  * * * each applicant for a license must demonstrate separately that the license is necessary to effectuate the policies and
purposes of the act. This restriction is maintained to make the invocation of this licensing power an exception and an
infrequently used device. It is intended to guard against the fear that the inventor who is willing to devote his resources
to making developments in this field would be compelled to share his contributions with his competitors and to insure
that he will be required to give licenses only in the extreme and infrequent situation where that is necessary to accomplish
the designs of this legislation.

  Before a patent reaches the stage of being declared affected with the public interest, several other conditions are
interposed by H.R. 9757. In the first place the patent owner is entitled to a hearing before such declaration. Presumably
he could present arguments why the patent should be withheld from the public interest sphere, and, if overruled, could
appeal to the courts under the Administrative Procedure Act, as provided in section 181. Court action, conceivably,
could consume a goodly portion of the 5-year period in which the compulsory licensing requirement obtains.




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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 151
                                                           Page: 55ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1832
                                                                                     940


 Secondly, declaring a patent ‘to be affected with the public interest‘ would be optional or discretionary with the Atomic
Energy Commission, whereas under the McMahon Act the declaration is mandatory provided two conditions are met.
The pertinent provision of the McMahon Act follows:

  (1) It shall be the duty of the Commission to declare any patent to be affected with the public interest if (A) the invention
or discovery covered by the patent utilizes or is essential in the utilization of fissionable material or atomic energy; and
(B) the licensing of such invention or discovery *3519 under this subsection is necessary to effectuate the policies and
purposes of this act.

  In contrast section 152a of the pending bill provides:

  The Commission may, after giving the patent owner an opportunity for a hearing, declare any patent to be affected
with the public interest if: (1) the invention or discovery covered by the patent is of primary importance in the production
or utilization of special nuclear material or atomic energy; and (2) the licensing of such invention or discovery under this
section is of primary importance to effectuate the policies and purposes of this act.

  It will be noted that under the present bill the concept of ‘primary importance‘ applies to two conditions, whereas
in the McMahon Act the mere fact of utilizing fissionable material or atomic energy satisfies one of the conditions.
Under the present bill, conceivably, the Atomic Energy Commission could decide that an invention or discovery is of
primary importance in the atomic energy field but is not of primary importance to effectuate the purposes of the act.
‘Primary importance‘ is a strong phrase, and its strength is doubled in section 152a of the bill. We can conceive that
many inventions or discoveries would not meet the double-strength criterion and yet be important.

  Furthermore, it must be borne in mind that what may be of primary importance to the small business may not be of
primary importance to the Atomic Energy Commission or to the atomic energy field generally.

  If the ‘public interest‘ feature of the patent survives the objection of the owner and the hearing procedure, and meets
the double test of primary importance under section 152a, then a person may apply for a license under 152b, which
requires still a third test of primary importance.

   In the event the Commission fails to make a ‘public interest‘ declaration, prospective or actual licensees or persons
otherwise authorized may apply to the Commission under section 152c for a patent license for the use of a patented
invention or discovery. The Commission then undertakes a hold a hearing within 60 days (sec. 152d) and must issue the
license (sec. 152e) if it finds that the invention or discovery meets three tests of ‘primary importance ‘ and an additional
condition.

 The application that can survive this procedure will be an impressive one indeed. The patent attorneys may derive
more satisfaction from section 152 than the would-be user of the invention.

   In issuing a patent license under section 152e, the ‘primary importance‘ of which is triple tested, still the Commission
itself would not be automatically licensed to use the invention or discovery. We believe the same privilege of automatic
licensing for Commission use should apply here as in the case of ‘public interest‘ patents under section 152b.

  In the event the Commission turns down a patent license application for failing to meet the three ‘primary importance‘
criteria under sections 152a and 152b, it is unlikely that a license application for the same invention or discovery under
section 152c would ever come within reach of meeting the three ‘primary importance‘ criteria of section 152e. The
unlikelihood is the more apparent in case two or more applicants desire the use of the same patented invention, for the
Commission would then be faced with the dubious proposition under section 152e (3) that the use by each is ‘of primary
importance to the furtherance of policies and purposes of this Act.‘



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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 152
                                                           Page: 56ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1833
                                                                                     941



   *3520 In connection with research, we note a serious omission in the patent sections of H.R. 9757. The provision
contained in section 11(b) of the McMahon Act and carried over to an earlier version of the pending bill, which prohibited
any patent rights with respect to any invention or discovery to the extent used in research and development activities in
the atomic-energy program, has been deleted.

  Failure to enact this provision undoubtedly would be a deterrent to research. It would appear that those desiring to
utilize patented inventions or discoveries in research would have to go through the cumbersome procedures of applying
for a patent license under section 152c, d, e, f, and g. The elimination of this patent ban in research, for reasons which
are not clear to us, is contrary to the recommendations of the Atomic Energy Commission. We believe the provision
should be reinstated.

  Other questionable features in the patent sections we note as follows:

  While patents are banned in the case of inventions or discoveries useful solely in the utilization of special nuclear
material or atomic energy in an atomic weapon, they are not banned in the production of such material. Since special
nuclear material can be utilized both for weapons and non-weapons, apparently a producer of such material could get
a patent on basic production processes whether the material is used for weapons or not. We do not believe that the area
of patentability should extend to inventions or discoveries that affect the weapons field.

  Although drastic penalties are provided for violations of certain provisions in the bill, no penalty is provided for failing
to report inventions or discoveries under section 151c, which could involve matters of strategic significance to the atomic-
energy program.

  The Patent Compensation Advisory Board created under section 156a, being ‘advisory‘ only, apparently could not
be delegated authority to make final decisions, as under the McMahon Act, in the event the Commission found itself
bogged down with matters of compensation, awards, and royalties to the detriment of major responsibilities.


                                                12. Built-in subsidy feature

  Section 2h of the bill makes this finding:

 It is essential to the common defense and security of the United States that title to all special nuclear material be in the
United States while such special nuclear material is within the United States.

  Accepting as fundamental to the legislation this finding, which is implemented in section 52 and other sections of the
bill, nevertheless we wish to point out some of its implications for the development of atomic-energy enterprise.

  What this bill proposes in effect is to relinquish the Federal Government's exclusive ownership rights in the facilities
which produce or use nuclear material but to retain its exclusive ownership rights in the material itself. As a consequence,
the incidents of private and public ownership are intermingled in such a way that not only may vexations problems
of administration and accounting control arise, but the private companies licensed for a maximum period of 40 years
to own and operate production facilities (atomic reactors) legally can depend on the Government to compensate them
adequately for whatever they produce during the life of the license. This constitutes a built-in subsidy for licensed atomic
enterprise until about *3521 the year 2000 A.D. The subsidy implications have been recognized and objected to by
industrial spokesman appearing before our Joint Committee.

 Since the Government, under the bill, owns any nuclear material which now or may hereafter be produced in privately
owned plants, it cannot refuse to take and pay for what is produced. If the Government pays less than the cost of


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                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 153
                                                           Page: 57ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1834
                                                                                     942


production in a given plant, the action would, in effect, be confiscatory. Therefore the provision in section 56 of the bill
that the Atomic Energy Commission shall pay the same fair price to all licensed producers of the same material means
that the highest cost and least efficient producer will set the pace on price schedules.

  The fact that the Commission is obligated by the same section to consider the value of the material for official
Government use in determining a fair price constitutes no ground for paying less than it costs to produce the material.
Conceivably, by some happy turn of international events, the Government's requirements of material for atomic weapons
could be drastically reduced; and new discoveries of source materials or greatly improved processes of production in the
Government's own plants could yield a surplusage of material, reducing its value to the Government to virtually nothing.
Still the Government would have to take the material it owns off the hands of private producers at a price fair to them
for the 40 years during which they may be licensed to do business.

  Even though the Commission can establish ‘guaranteed fair prices‘ for only 7 years at a time, as provided in section
56, the Commission is not thereby relieved of the obligation to pay fair prices throughout the life of the license.

   If the Commission, to forestall the possibility that it may be saddled in the future with huge amounts of nuclear material
it doesn't need or want, insists on writing into licenses under section 53e or section 183 a cancellation provision against
such contingencies, or issues licenses for a much shorter period than 40 years, it is obvious that few firms would be
persuaded to enter the field under such uncertainties.

  Again, to forestall such conditions, the Commission might easily persuade itself to grant licenses to only a handful
of the largest or most efficient producers, thereby denying wide access to competing industrial firms or other interested
sectors of industry.

  The intertwined complexities implicit in the obligation to compensate producers for the material automatically owned
by the Government and to charge licensed users for such material, create further subsidy possibilities.

   Section 53 deals with the Commission as a distributor of special nuclear material to qualified applicants, including
licensees under section 103; while sections 52 and 56 deal with the Commission as a purchaser of special nuclear material
from licensed producers who produce such material in the burning of the nuclear fuel secured from the Commission.
In the first instance, the Commission is authorized to make a ‘reasonable charge,‘ in the second, to pay a ‘fair price.‘
But the vague generalities set up in lieu of standards to guide the Commission in determining both these critical figures
leaves a degree of discretion in the administrative body that would enable it to pay considerably more for the production
than it charged for the original supply of special nuclear material, thus affording private utilities, let us say, subsidies of
undetermined magnitude for their participation in the development *3522 of nuclear power. Such subsidies resulting
from dual transactions might well escape the public eye.

  The Federal Power Commissions analysis submitted by Chairman Kuykendall, in pointing out the lack of legislative
standards and the subsidy possibilities for electric utilities in the sections discussed immediately above, added this note:

  If subsidies are to be permitted, consideration should be given to the question of the desirability of provisions for
passing the benefits of such subsidies on to the public (hearings, pt. II, p. 1131).

   The legal ramifications of the intermingled incidents of public and private ownership in nuclear-producing facilities
have not been explored by the Committee. We venture to suggest that private firms, including utilities, may very well
find themselves subject to a variety of Federal statutes affecting Government business in private plants, including the
Walsh-Healey Act and other labor standards laws, inasmuch as the nuclear material used in their operations will be
Government property.




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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 154
                                                           Page: 58ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1835
                                                                                     943



                                     13. Omission of labor-management provisions

  Labor strikes at the Oak Ridge and Paducah plants of the Atomic Energy Commission at the very time when
comprehensive legislation to revise the Atomic Energy Act is before the Congress, serves to highlight an area of legislative
concern which the sponsors of H.R. 9757 have completely ignored.

  Chronic discontent and frequent strife are attributes of employment in atomic occupations. The labor unions in these
occupations believe they are unduly handicapped by the use of secrecy and security as a weapon of management to
bludgeon their members into submission and to distort or nullify the procedures of collective bargaining. Many union
representatives believe, too, that the Atomic Energy Commission has been completely oriented to the management side
in labor disputes.

  Whether or not legislative provisions can be written to alleviate the persistent sore spots in atomic labor-management
relations, certainly the legislation can at least provide for more effective labor-management representation in the
councils of the Atomic Energy Commission. The American Federation of Labor representative who testified before our
Committee on two separate occasions has voiced the federation's belief that steps toward this end would have a salutary
effect. He also observed (hearings, pt. I, p. 278):

  It is worth noting that the membership of the Atomic Energy Commission and other top jobs in that agency have
been filled by individuals drawn from the legal profession, Government, business, and finance. Corporation lawyers,
investment bankers, Government bureaucrats would seem to be blessed in some mysterious manner with a genius for
administering atomic-energy affairs that has been denied to trade-union leaders and officials. We believe that in the ranks
of organized labor there are many able and public-spirited administrators who could bring a fresh view to the Atomic
Energy Commission and its work and perform a very useful service.

  Although the legislation cannot dictate whom the President should appoint to the Commission, at least it can provide
for a labor-management advisory committee, coordinate with other advisory committees provided in the bill. Such a
committee might well be composed of equal numbers *3523 of management and labor representatives, with a public
chairman appointed by the President, by and with the consent of the Senate, and serving at the pleasure of the President.

  The fields of interest and attention on the part of the labor-management advisory committee would encompass more
than assistance in promoting healthier attitudes toward collective-bargaining problems in an area hedged in by difficult
security requirements.

  The whole difficult area of personnel security, which would involve, under this bill, investigations by the Civil Service
Commission and the FBI of the ‘character, associations, and loyalty‘ of privately employed persons having access to
restricted data, might well come under the continued scrutiny of the labor-management advisory committee.

  Assistance could be provided in the application of safety standards, adequate workman's compensation provisions,
and other protective measures in licenses for new and hazardous atomic occupations.

  Studies and preparatory steps could be undertaken to minimize the impact of atomic enterprises in industries or areas
whose populations depend on competing activities for a livelihood. The economic distress of the coal-mining industry,
for example, might become even worse by the substitution of atomic fuel for coal in generating electrical power.

  The framers of the McMahon Act had such eventualities in mind when they wrote a requirement for the 7 (b) report
discussed above. The special Senate Committee on Atomic Energy reported in 1946 (79th Cong., 2d sess., S. Rept. 1211,
p. 20):




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                                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 155
                                                           Page: 59ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1836
                                                                                     944


  The committee is aware, nonetheless, that the sudden introduction of certain devices utilizing the power released by
nuclear fission might precipitate profound economic disorganization. Great industrial installations representing nation-
wide investments, employing many thousands of workers, might be rendered obsolete.


                                       14. Complicating international arrangements

  We stated at the outset our conviction that international matters relating to atomic energy would be better treated
in legislation separate from that which seeks to open the atomic field to domestic private enterprise and profitmaking
opportunities. Our dependence on foreign sources of uranium, our mutual defense requirements, our moral and economic
obligations to assist less privileged nations, our never-ending search for world peace-- all these would seem to pose
problems of an order and magnitude that press more urgently for solution than how to make a profit from the atom.

  Some years ago our Government outlined a plan for the international control of atomic weapons. The plan embraced
procedures, carefully drawn, to provide for the gradual transfer of our atomic facilities to international control without
endangering national security. It was conceived that the international atomic authority would maintain an inspection
system to make sure that no nation would deviate from the control arrangements for aggressive ends.

  The Soviets would have no part of this plan. In those days, especially before they had atomic weapons, they insisted
that such weapons be banned outright by treaty rather than put under the control of an international authority. Nor did
they take kindly to the idea of inspectors *3524 coming behind the Iron Curtain. In the face of persistent and stubborn
refusal by Soviet Russia to consider a control agency, our plan became dormant.

  But the United States has never abandoned as a stated policy its willingness to participate in a really effective program
of atomic armament control. The goal may be too remote for achievement in our time, but certainly we should do nothing
to throw obstacles in the way of that achievement. Whether the creation of vested ownership rights in atomic facilities by
private persons will narrow our opportunities to negotiate in matters which may determine the life or death of civilized
society is a question deserving of our most earnest consideration.

  When President Eisenhower proposed in an address to the United Nations General Assembly the creation of an
international agency to develop peacetime uses of atomic energy, new hope was kindled among peoples everywhere that
somehow this might be a vehicle for promoting world peace. Even the Soviets did not dare to ignore the compelling force
of this appeal for cooperative peaceful endeavor.

  Reportedly, our Secretary of State entered into preliminary discussions with the Soviets on the President's proposal.
So far as we know, nothing productive resulted from these meetings. Although the dismal record of Soviet intransigence
leaves little to hope for, we see nothing to be gained by closing the door entirely to possible participation by Soviet Russia
in an atomic pool plan for peaceful uses.

  Section 124 of the bill would seem to close that door. Whereas the President would be authorized to enter into
an international arrangement with a group of nations providing for international cooperation in the nonmilitary
applications of atomic energy, and to cooperate with that group in specified atomic endeavor, the proviso is entered that
the cooperation must accord with the conditions presented in section 123.

  Section 123 requires that agreements for cooperation cannot be undertaken until a series of conditions are fulfilled
by the other nation or nations involved, including acceptable security safeguards and standards. It would be utterly
unrealistic to suppose that Soviet Russia could ever comply with the security and other requirements laid down in section
123, even though the atomic pool is intended for nonmilitary uses.




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                                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 156
                                                           Page: 60ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1837
                                                                                     945


  The international atomic pool provision comprising section 124 seems to be a last-minute insertion to suggest that the
bill is intended to implement President Eisenhower's proposal. Actually, the legislative requirements, if any, of the atomic
pool proposal never have been communicated to us. President Eisenhower in his February 17 message to the Congress
making recommendations for legislation to facilitate cooperation in atomic affairs with other nations, stated as follows:

  These recommendations are apart from my proposal to seek a new basis for international cooperation in the field
of atomic energy as outlined in my address before the General Assembly of the United Nations last December.
Consideration of additional legislation which may be needed to implement that proposal should await the development
of areas of agreement as a result of our discussions with other nations (83d Cong. 2d Sess., H. Doc. No. 328, p. 4).

   Not only would section 124 preclude the ‘new basis for international cooperation‘ which the President seeks; the
wording of the section is *3525 confusing and self-contradictory. It would authorize the President to enter an
‘international arrangement,‘ which by definition in section 11 k excludes ‘any agreement for cooperation‘; and yet section
124 requires that an ‘agreement for cooperation‘ is necessary if the desired cooperation is to be exercised.

  The United States might very well find itself in the position under section 124 of consummating agreements with other
nations without being able to exercise the cooperation promised by the agreement unless such cooperation conformed
rigidly to the formula contained in section 123.

  If the contention is that the President could further the atomic pool idea by the conventional treaty route, or by an
international agreement (which requires approval by both Houses of Congress under the bill) independent of section
124, then it is difficult to see what purpose the section serves, except a restrictive one.

  The President has broad authority now to negotiate treaties under the Constitution. Section 124 attempts to prescribe a
rigid and more restrictive formula of negotiation upon the President and his Secretary of State. The authority to negotiate
treaties in our opinion should be left unfettered, subject always of course to Senate debate and final ratification.

  No additional authority is conferred upon the President by the second method embodied in the term ‘international
arrangement,‘ I.E., ‘international agreement.‘ The President already has the right to send to Congress any international
agreement for legislative approval.

  Section 124 on its face seems to authorize the President to ‘enter into an international arrangement with a group of
nations,‘ but the proviso requires compliance with the provisions of section 123, which provides for bilateral agreement
only between the United States and an individual nation on all peacetime exchange of nuclear material or nuclear
information. The reference therefore to a ‘group of nations‘ is misleading because of the proviso. Again it is restrictive
and inflexible rather than helpful. It could prove to be embarrassing.

  While President Eisenhower's original proposal evidently contemplated a single international atomic pool for
peacetime purposes under one universal agreement, our country may be obliged, or may wish, to proceed by smaller
group or regional stages, particularly in view of the Soviet Union's negative response. If the negotiations must be
undertaken through a bilateral approach, then the language of section 124 which on its face indicates a multilateral
agreement, again becomes ambiguous and restrictive on the President.

  Section 124 appears to us a premature attempt to legislate in a delicate field where international diplomatic negotiations
are pending, and it conflicts with the President's admonition in his message to the Congress that legislation to implement
the atomic pool proposal ‘should await the development of areas of agreement as a result of our discussions with other
nations.‘




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                                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 157
                                                           Page: 61ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1838
                                                                                     946


  Section 123, which sets forth a method of cooperation other than treaties or international agreements, is the principa4
section of the bill dealing with the authority of the President to make executive agreements on the international plane.
The President cannot make any such agreement unless it is approved by the Atomic Energy Commission or, in case
of agreements *3526 related to defense and military matters, by the Department of Defense. Note that the Atomic
Energy Commission is an independent agency whose members serve, not at the pleasure of the President, but for a fixed
statutory term.

  We seriously question the subordination of the President's authority in the conduct of foreign affairs to the judgment of
officials who may not be in a position to weigh the importance of countervailing risks, as is the President. In the present
juncture of world affairs it cannot be assumed in case of doubt that no agreement is preferable to the only obtainable
agreement, even though the obtainable agreement has not all the provisions which those charged with the technical
judgments would like it to have. In place of requiring the consent of the Atomic Energy Commission or the Department
of Defense, we would prefer merely that the President, before making an agreement, be required to obtain a statement
from the Commission or the Department of Defense as to the desirability and sufficiency of the agreement in respect
to the matters referred to in section 123a.

  Many of the provisions in section 123 as well as some of the provisions in section 144 to which we will refer seem in
part to be based on the obsolete and false assumption that we have a monopoly of atomic materials and weapons, that
our allies will have only what we give them and will have nothing to give in return. We know that Great Britain, for
instance, has manufactured and explored atomic bombs.

  Section 144a and section 144b both carry a proviso that international cooperation shall not involve the communication
of restricted data relating to the design and fabrication of atomic weapons except as to limited external characteristics.
Taken in conjunction with the broad definition of ‘design‘ in section 11i, which includes drawings, blueprints, etc., and
the development data behind the design, these restrictions ultimately may work to our own disadvantage. They hark
back to the time when we had or thought we had a monopoly in this field.

  While it is not suggested that there should be a free interchange of restricted data, we fear that any blanket refusal to
exchange restricted data under any and all circumstances in the future might debar us from cooperation in particular
projects where we might have much more to gain than to lose. Great Britain, for example, might come up with dome
discovery comparable in this field to the jet engine in aviation and might be debarred from working with us on it because
of our own shortsighted and nonreciprocal policies.

  Having in mind that a 1951 amendment which comprises section 10(a)(3) of the McMahon Act set forth similar
restrictions on communicating design and fabrication data, nevertheless we believe that new legislation must consider
the changing role of atomic armament in mutual defense. An understanding of this part of the bill is important and we
offer this explanation of its meaning so that each Member may judge as to whether it goes too far or not far enough.

  The exchange of information on weapons is limited to ‘external characteristics, including size, weight, and shape, yields
and effects, and systems employed in the delivery or use thereof.‘ These areas of disclosure in the main would permit
our military personnel to show our allies an atomic or thermonuclear weapon and describe these external characteristics,
also *3527 the explosive power in terms of equivalent tons of TNT, the blast effect in terms of square miles destroyed,
and the degree of radioactive poisoning of land, water, and air in the vicinity. It would allow disclosure of methods of
bomb delivery, whether by plane, artillery device, guided missile, etc.

 Apparently American military personnel would be permitted to train allied personnel in attaching or installing such
weapons in delivery vehicles or devices (sec. 144b (2)). But they would not be allowed to instruct our allies as to how the
weapons are constructed internally, how they are assembled or disassembled, or how they are triggered for explosion.




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                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 158
                                                           Page: 62ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1839
                                                                                     947


  It is obvious that we do not intend to deliver any of these weapons to any military ally for their own use, as complete
knowledge of the internal working would be necessary for such use or adjustment in case the weapon failed to ‘work‘
just prior to release.

  Therefore we must acknowledge that the bill does not implement the use of our atomic or hydrogen weapons by our
allies on behalf of the defense of the free world. It does not make it possible to include such armament in the common
arsenal of the North Atlantic Treaty Organization forces, except as they are retained in our sole custody.

  Therefore we raise the following questions:

  For what purpose do we contemplate training allied military personnel under such limitations?

  Will such training be considered seriously by those who receive it?

  Will the imparted knowledge of ‘effect‘ of atomic-hydrogen weapons be considered as inadequate and be used as
propaganda by the enemies of America to deride our lack of faith in our allies?

  The language of this bill relating to the highly important subject of foreign relations, with immediate reference to
sections 123, 124, 141, and 144 is complicated, ambiguous, restrictive, and potentially embarrassing to the President. It
adds nothing to the President's treaty powers or the right of Congress to pass specific legislation.

  In the lowest strata of ‘agreement for cooperation‘ with foreign nations, the restrictive procedures imposed would
seem to be of limited assistance in the exchange or use of nuclear materials and information with our allies. Those who
fear vital disclosure of security information need have but little fear. Those who hope for wider dissemination of nuclear
information have but little grounds for their hope.


                                             15. Increasing military posture

  Although we do not believe H.R. 9757 departs in my fundamental way from the accepted principle of civilian control
and management of the atomic energy program, we wish to take this opportunity to alert the Congress and the public
to the possibilities that lie ahead.

  It is generally acknowledged that atomic weapons are rapidly achieving a conventional status in military planning for
national and allied defenses. Accordingly, we may except that the military will steadily seek increasing control over the
weapons phases of the atomic energy program. This is not said in criticism but only as a reminder that there are bounds
which the military must not transgress if the principle of civilian control is to be maintained.

  Military influence in the Atomic Energy Commission is by no means lacking and, we believe, it is more pervasive than
heretofore.

   *3528 Apart from the exercise of military influence within the Commission, formal organizational arrangements
and procedures have been established under the McMahon Act, slightly modified in the pending bill, to administer the
military application of atomic energy and to effect the proper liaison between the Commission and the Department of
Defense. We believe the Joint Committee should have inquired into the efficacy of these arrangements in connection
with the proposed revisions of the McMahon Act.

  The pending bill gives new authority and responsibility to the Department of Defense in various atomic affairs.




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                                                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case: 4:22-cv-00116-CDP Doc. #:#:1-4
   Case:
S. REP.    4:17-cv-00024-CDP
        83-1699,                   48-8Filed:
                 S. REP. 83-1699 (1954)Doc.
                                              01/28/22
                                          Filed: 02/06/17Page: 159
                                                           Page: 63ofof903
                                                                        63 PageID
                                                                           PageID #:
                                                                                  #: 1840
                                                                                     948


  The Department of Defense would be permitted to produce nuclear material in connection with atomic facilities
operated for power and other purposes within the military programs (sec. 91b (2)).

  The Department of Defense would be authorized to manufacture, produce, or acquire atomic utilization facilities,
and its contractors would be likewise authorized, without the need for a license from the Atomic Energy Commission
(sec. 110b).

   The Department of Defense would have to approve agreements for cooperation undertaken by the President, or by the
Department itself at the President's direction, with other nations with respect to specified atomic matters according to the
language in sections 123 and 144 B. In effect, an attempt has been made to give power to the Department of Defense to
check Presidential action. The grant of power is questionable on constitutional grounds in our opinion, as the President
is Commander in Chief and therefore can direct the Department of Defense in matters pertaining to national defense.

  The Department of Defense would have joint authority with the Atomic Energy Commission to decide whether certain
atomic data could be communicated to other nations (sec. 144b).

  The Department of Defense has joint authority with the Commission to determine when data relating to atomic
weapons may be published and what information may be removed from the restricted category in the weapons field
(sec. 142c and d).

  Employees of the Department of Defense, members of the Armed Forces, and contractors of the Department would be
authorized to have access to restricted data in certain circumstances determined by the Department of Defense (sec. 143).

  We cite these provisions to indicate the increasing military posture of the atomic energy program.

                                            CHET HOLIFIELD.
                                            MELVIN PRICE.

(Note: 1. PORTIONS OF THE SENATE, HOUSE AND CONFERENCE REPORTS, WHICH ARE
DUPLICATIVE OR ARE DEEMED TO BE UNNECESSARY TO THE INTERPRETATION OF THE LAWS,
ARE OMITTED. OMITTED MATERIAL IS INDICATED BY FIVE ASTERISKS: *****. 2. TO RETRIEVE
REPORTS ON A PUBLIC LAW, RUN A TOPIC FIELD SEARCH USING THE PUBLIC LAW NUMBER, e.g.,
TO(99-495))


S. REP. 83-1699, S. Rep. No. 1699, 83RD Cong., 2ND Sess. 1954, 1954 U.S.C.C.A.N. 3456, 1954 WL 3225 (Leg.Hist.)

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                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDPDoc.
                          Doc.#:#:1-4  Filed:
                                    48-9      01/28/22
                                           Filed:        Page:
                                                  02/06/17     1601of
                                                           Page:    of903 PageID#:
                                                                       18 PageID #:949
                                                                                   1841




             EXHIBIT 9
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 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1612of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:950
                                                                                    1842


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)




       H.R. REP. 95-1480(I), H.R. REP. 95-1480, H.R. Rep. No. 1480(I), 95TH Cong., 2ND Sess. 1978, 1978
                                   U.S.C.C.A.N. 7433, 1978 WL 8518 (Leg.Hist.)
              **7433 P.L. 95-604, URANIUM MILL TAILINGS RADIATION CONTROL ACT OF 1978
                                             SEE PAGE 92 STAT. 3021
                      HOUSE REPORT (INTERIOR AND INSULAR AFFAIRS COMMITTEE)
                           NO. 95-1480(I), AUG. 11, 1978 (TO ACCOMPANY H.R. 13650)
                  HOUSE REPORT (INTERSTATE AND FOREIGN COMMERCE COMMITTEE)
                          NO. 95-1480(II), SEPT. 30, 1978 (TO ACCOMPANY H.R. 13650)
                                         CONG. RECORD VOL. 124 (1978)
                                  DATES OF CONSIDERATION AND PASSAGE
                                           HOUSE OCTOBER 3, 14, 1978
                                         SENATE OCTOBER 13, 15, 1978
                      NO SENATE REPORT WAS SUBMITTED WITH THIS LEGISLATION.


(CONSULT NOTE FOLLOWING TEXT FOR INFORMATION ABOUT OMITTED MATERIAL. EACH COMMITTEE
                    REPORT IS A SEPARATE DOCUMENT ON WESTLAW.)


                                          HOUSE REPORT NO. 95-1480(I)

                                       AUG. 11, 1978
*1 THE COMMITTEE ON INTERIOR AND INSULAR AFFAIRS TO WHOM WAS REFERRED THE BILL (H.R.
13650) TO AUTHORIZE THE SECRETARY OF ENERGY TO ENTER INTO COOPERATIVE AGREEMENTS WITH
CERTAIN STATES RESPECTING RESIDUAL RADIOACTIVE MATERIAL AT EXISTING SITES, TO PROVIDE FOR
THE REGULATION OF URANIUM MILL TAILINGS UNDER THE ATOMIC ENERGY ACT OF 1954, AND FOR
OTHER PURPOSES, HAVING CONSIDERED THE SAME, REPORTS FAVORABLY THEREON WITH AN
AMENDMENT AND RECOMMENDS THAT THE BILL AS AMENDED DO PASS.


                                                     ****


                                          *11 BACKGROUND AND NEEDS

URANIUM MILL TAILINGS ARE THE SANDY WASTE PRODUCED BY THE URANIUM ORE MILLING PROCESS.
BECAUSE ONLY 1 TO 5 POUNDS OF USEABLE URANIUM IS EXTRACTED FROM EACH 2,000 POUNDS OF ORE,
TREMENDOUS QUANTITIES OF WASTE ARE PRODUCED AS A RESULT OF MILLING OPERATIONS. THESE
TAILINGS CONTAIN MANY NATURALLY-OCCURING HAZARDOUS SUBSTANCES, BOTH RADIOACTIVE AND
NONRADIOACTIVE. THE GREATEST THREAT TO PUBLIC HEALTH AND SAFETY IS PRESENTED BY THE
LONG RADIOACTIVE DECAY PROCESS OF RADIUM INTO RADON-222, AN INERT GAS WHICH MAY CAUSE
CANCER OR GENETIC MUTATIONS. THIS DECAY PROCESS, AND THE DANGERS WHICH ACCOMPANY IT,
WILL CONTINUE FOR A BILLION YEARS. AS A RESULT OF BEING FOR ALL PRACTICAL PURPOSES, A
PERPETUAL HAZARD, URANIUM MILL TAILINGS PRESENT THE MAJOR THREAT OF THE NUCLEAR FUEL
CYCLE.

IN ITS EARLY YEARS, THE URANIUM MILLING INDUSTRY WAS UNDER THE DOMINANT CONTROL OF THE
FEDERAL GOVERNMENT. AT THAT TIME, URANIUM WAS BEING PRODUCED UNDER FEDERAL
CONTRACTS FOR THE GOVERNMENT’S MANHATTAN ENGINEERING DISTRICT AND ATOMIC ENERGY
COMMISSION PROGRAM. UNDER THESE CONTRACTS, URANIUM TAILINGS PILED UP SO THAT **7434 NOW
NEARLY 90 MILION TONS OF SUCH WASTE ARE ATTRIBUTABLE TO FEDERALLY-INDUCED PRODUCTION.
OF THIS AMOUNT, ABOUT 27 MILLION TONS OF TAILINGS HAVE BEEN LEFT AT SITES WHERE NO
COMMERCIAL MILLING HAS TAKEN PLACE AND WHICH ARE NOT THE RESPONSIBILITY OF ANY ACTIVE
MILLING COMPANY.
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 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1623of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:951
                                                                                    1843


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)




FROM THE EARLY 1940’S THROUGH THE EARLY 1970’S THERE WAS LITTLE OFFICIAL RECOGNITION OF
THE HAZARDS PRESENTED BY THESE TAILINGS. FEDERAL REGULATION OF THE INDUSTRY WAS
MINIMAL. AS A CONSEQUENCE, MILL TAILINGS WERE LEFT AT SITES, MOSTLY IN THE SOUTHWEST, IN
AN UNSTABILIZED AND UNPROTECTED CONDITION. SOME OF THESE TAILINGS WERE USED FOR
CONSTRUCTION PURPOSES IN THE FOUNDATIONS AND WALLS OF PRIVATE AND PUBLIC BUILDINGS.
THERE, THROUGH THE CONCENTRATED EMISSION OF RADON GAS, THE HAZARD OF THE TAILINGS AND
PUBLIC EXPOSURE INCREASED SUBSTANTIALLY.

IN 1971 THE SUBCOMMITTEE ON RAW MATERIALS OF THE JOINT COMMITTEE ON ATOMIC ENERGY
BEGAN TO INVESTIGATE THE DANGERS PRESENTED BY THE USE OF URANIUM MILL TAILINGS FOR
CONSTRUCTION PURPOSES. TESTIMONY AT *12 THOSE HEARINGS LEAD TO THE PASSAGE OF
LEGISLATION IN 1972 AUTHORIZING THE FEDERAL GOVERNMENT TO ENTER INTO A COOPERATIVE
PROGRAM WITH THE STATE OF COLORADO TO PROVIDE A PROGRAM OF REMEDIAL ACTION TO REMOVE
THE TAILINGS FROM SITES AND STRUCTURES IN GRAND JUNCTION, COLO., WHERE THEY CONSTITUTED
A THREAT TO PUBLIC HEALTH. UNDER THAT PROGRAM, 75 PERCENT OF THE COSTS OF THE REMEDIAL
ACTION, WERE PAID BY THE FEDERAL GOVERNMENT AND THE STATE OF COLORADO PAID THE
REMAINDER.

CONCURRENTLY, PUBLIC AND FEDERAL ATTENTION BEGAN TO FOCUS ON REGULATION OF THE ACTIVE
COMMERCIAL URANIUM MILLING INDUSTRY. WITH THE ADVENT OF THE NATIONAL ENVIRONMENTAL
POLICY ACT, MORE SCRUTINY WAS APPLIED TO LICENSING STANDARDS AND REQUIREMENTS FOR THE
CONTROL AND DISPOSAL OF URANIUM MILL TAILINGS. THE ATOMIC ENERGY COMMISSION, AND ITS
SUCCESSOR, THE NUCLEAR REGULATORY COMMISSION, HAVE RETAINED AUTHORITY FOR LICENSING
URANIUM MILLS UNDER THE ATOMIC ENERGY ACT SINCE 1954. STATES MAY LICENSE URANIUM
MILLING UNDER THEIR OWN AUTHORITIES THROUGH AGREEMENT WITH THE COMMISSION. FIVE OF THE
TWENTY-FIVE ‘AGREEMENT STATES‘ NOW HAVE SUCH LICENSING PROGRAMS.

THE STATES AND THE COMMISSION HAVE CONTINUED, SINCE THE EARLY 1970’S, TO UPGRADE THEIR
STANDARDS FOR URANIUM MILL LICENSING, IN RESPONSE TO A GROWING AWARENESS OF THE THREAT
TO PUBLIC HEALTH PRESENTED BY THESE MATERIALS. IN MAY 1975, THE NUCLEAR RESOURCES
DEFENSE COUNCIL PETITIONED THE COMMISSION TO PREPARE A GENERIC ENVIRONMENTAL IMPACT
STATEMENT TO EVALUATE THE REGULATORY PROGRAMS FOR URANIUM MILLING AT BOTH THE
FEDERAL AND STATE LEVELS, AND TO ADOPT IMPROVED REGULATIONS FOR MILLING OPERATIONS.
SUBSEQUENTLY, THE COMMISSION BEGAN THE EVALUATION. THE DRAFT GENERIC ENVIRONMENTAL
IMPACT STATEMENT ON URANIUM MILLING REGULATION, AND PROPOSED NEW MILLING REGULATIONS,
ARE EXPECTED TO BE COMPLETED BY NRC THIS YEAR. BUT THE STEPS WHICH HAVE BEEN TAKEN TO
CONTROL FUTURE URANIUM MILLING OPERATIONS DO NOT REMEDY EXISTING PUBLIC HEALTH
HAZARDS RESULTING FROM THE UNSTABILIZED PILES OF WASTES PRODUCED IN PRIOR DECADES.

IN 1974 CONGRESS REQUESTED THE ENERGY RESEARCH AND DEVELOPMENT ADMINISTRATION TO
SURVEY AND ASSESS THE PROBLEM PRESENTED BY THE TAILINGS LOCATED AT 22 SITES THROUGHOUT
THE SOUTHWEST. ON THE BASIS OF THE RESULTING STUDIES, THE ADMINISTRATION PROPOSED
LEGISLATION THIS YEAR TO AUTHORIZE A REMEDIAL PROGRAM SIMILAR TO THAT IMPLEMENTED AT
GRAND JUNCTION, COLO., TO CLEAN UP EXISTING INACTIVE SITES. THE COST OF THE PROGRAM TO THE
FEDERAL GOVERNMENT IS EXPECTED TO BE $180 **7435 MILLION. TO PREVENT ANY FUTURE
OCCURRENCE OF A SITUATION OF THIS KIND THE NUCLEAR REGULATORY COMMISSION WAS ASKED BY
THE CHAIRMAN OF THE COMMITTEE ON INTERIOR AND INSULAR AFFAIRS, REPRESENTATIVE MORRIS K.
UDALL, TO SUBMIT DRAFT LEGISLATION PROVIDING IT WITH NECESSARY AUTHORITY TO
COMPREHENSIVELY REGULATE THE URANIUM MILL OPERATIONS AND ACTIVITIES. THIS DRAFT
LEGISLATION WAS INTRODUCED AND CONSIDERED BY THE COMMITTEE IN DEVELOPING ITS
RECOMMENDATIONS.

WITHOUT THE AUTHORITIES INCLUDED IN H.R. 13650, THE CONDITIONS ADDRESSED BY THE REMEDIAL

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                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1634of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:952
                                                                                    1844


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



PROGRAM WOULD BE LEFT WITHOUT REMEDY, AND THE AUTHORITY OF THE COMMISSION TO
ESTABLISH UNIFORM RATIONAL STANDARDS FOR WASTE DISPOSAL FROM URANIUM MILLS WOULD
NOT BE CLEAR.


                                           *13 PURPOSE AND SUMMARY

THE URANIUM MILL TAILINGS CONTROL ACT, AS PROPOSED, IS INTENDED TO PROTECT THE PUBLIC
HEALTH AND SAFETY AND THE ENVIRONMENT FROM HAZARDS ASSOCIATED WITH WASTES FROM THE
URANIUM ORE MILLING PROCESS. IF ENACTED, THE LEGISLATION WILL REQUIRE EVERY REASONABLE
EFFORT TO BE MADE BY THE STATES, THE FEDERAL GOVERNMENT, AND PRIVATE INDUSTRY TO
PROVIDE FOR THE DISPOSAL, STABILIZATION AND CONTROL IN A SAFE AND ENVIRONMENTALLY
SOUND MANNER OF SUCH TAILINGS TO PREVENT OR MINIMIZE THE DIFFUSION OF RADON OR THE
ENTRY OF OTHER HAZARDS INTO THE ENVIRONMENT.

TITLE I OF H.R. 13650, IN COOPERATION WITH INTERESTED STATES, INDIAN TRIBES, AND PERSONS WHO
OWN OR CONTROL INACTIVE MILL TAILINGS SITES, PROVIDES A PROGRAM OF ASSESSMENT AND
REMEDIAL ACTION AT SUCH SITES. SUCH ACTIONS MAY INCLUDE, WHERE APPROPRIATE, THE
REPROCESSING OF TAILINGS TO EXTRACT RESIDUAL URANIUM AND OTHER VALUABLE MINERALS.

TITLE II CLARIFIES AND REINFORCES THE AUTHORITY OF THE NUCLEAR REGULATORY COMMISSION TO
REGULATE THE PRODUCTION AND DISPOSAL OF URANIUM MILL TAILINGS AT ACTIVE SITES, AND
PROVIDES FOR THE APPLICATION OF MINIMUM FEDERAL STANDARDS TO SUCH ACTIVITIES IN STATES
WHICH REGULATE THEM UNDER AUTHORITY PERMITTED BY THE ATOMIC ENERGY ACT.

H.R. 13650 ALSO PROVIDES THAT ALL FINAL DISPOSAL AREAS FOR URANIUM MILL TAILINGS BE
TREATED IN ACCORDANCE WITH FEDERAL POLICY REGARDING OTHER NUCLEAR WASTES, IN THAT
SUCH DISPOSAL SITES WOULD BE TRANSFERRED TO THE FEDERAL GOVERNMENT FOR PERMANENT
CUSTODY AND PROTECTION.


                                                INCLUSION OF SITES

AS REPORTED BY THE COMMITTEE, H.R. 13650 AUTHORIZES FEDERAL PARTICIPATION IN THE
REDUCTION OF HAZARDS FROM THE 22 INACTIVE URANIUM MILL TAILINGS SITES. THESE SITES, WHICH
ARE FOUND AT 20 DIFFERENT LOCATIONS, HAVE BEEN STUDIED BY THE DEPARTMENT OF ENERGY IN AN
EFFORT TO ASSESS THE NEED FOR REMEDIAL ACTION. ALL OF THEM CONSIST OF TAILINGS RESULTING
FROM OPERATIONS UNDER FEDERAL CONTRACTS. NONE ARE NOW UNDER ACTIVE LICENSE BY THE
NUCLEAR REGULATORY COMMISSION. WHILE IT IS BELIEVED THAT THESE SITES ARE THE ONLY ONES
WHICH POSSESS ALL SUCH CHARACTERISTICS, THE BILL PERMITS THE INCLUSION OF ANY OTHER SITES
MEETING THOSE CHARACTERISTICS. TWO OTHER SITES WHICH CONTAIN TAILINGS RESULTING
ENTIRELY FROM FEDERAL CONTRACTS, BUT WHICH ARE NOW OWNED BY COMPANIES OPERATING
UNDER ACTIVE URANIUM MILLING LICENSES ARE TO BE STUDIED TO DETERMINE WHETHER THE STATE
OF NEW MEXICO, WHICH LICENSES THE MILLS, HAS THE AUTHORITY TO REQUIRE THE COMPANIES TO
REDUCE OR ELIMINATE ANY HAZARDOUS CONDITIONS WHICH MAY EXIST AS A RESULT OF THE
CONDITION OF THE SITES.

**7436 THE COMMITTEE QUESTIONED THE EXPENDITURE OF FEDERAL FUNDS TO CLEAN UP URANIUM
MILL TAILINGS IN CASES WHERE THE COMMERCIAL URANIUM MILLING INDUSTRY CAN BE REQUIRED
THROUGH REGULATORY AUTHORITIES TO ASSUME THOSE COSTS. IT WOULD SEEM THEREFORE, THAT
THE SECRETARY OF ENERGY NEED NOT DESIGNATE ANY SITES TO BE INCLUDED IN THE AUTHORIZED
PROGRAM WHICH ARE CURRENTLY UNDER ACTIVE LICENSE, OR WHICH CONTAIN TAILINGS FROM
COMMERCIAL PRODUCTION, UNLESS IT CAN BE SHOWN, THAT THE TAILINGS HAZARDS COULD IN NO
WAY BE REMEDIED WITHOUT SUCH DESIGNATION.


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                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1645of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:953
                                                                                    1845


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



                                               *14 DIVISION OF COSTS

H.R. 13650 REQUIRES STATES AND THE FEDERAL GOVERNMENT TO SHARE THE COSTS OF REMEDIAL
ACTION FOR INACTIVE TAILINGS SITES. THE COSTS TO BE SHARED INCLUDE EXPENSES FOR REMOVING
OR REDUCING HAZARDS BOTH AT THE PROCESSING SITE AND AT LOCATIONS AND STRUCTURES
CONTAMINATED WITH TAILINGS FROM THE SITE. ENVIRONMENTAL IMPACT STATEMENTS TO BE
PREPARED FOR DETERMINING REMEDIES FOR EACH SITE WILL BE PAID FOR BY THE DEPARTMENT OF
ENERGY. COSTS OF LONG-TERM MAINTENANCE AND MONITORING OF FINAL DISPOSAL SITES WILL ALSO
BE BORNE BY THE DEPARTMENT. STATES ARE REQUIRED TO ASSUME ALL COSTS OF PURCHASING THE
INACTIVE PROCESSING SITES AND ANY NECESSARY NEW DISPOSAL SITES (IN CASES WHERE TAILINGS
WILL BE REMOVED FROM THE ORIGINAL PROCESSING SITES).

A CEILING IS PLACED ON ANY STATE’S SHARE OF REMEDIAL COSTS. THE CEILING EQUALS ONE-FOURTH
OF 1 PERCENT OF THE STATE’S GENERAL REVENUES, NOT INCLUDING FEDERAL FUNDS, IN THE STATE’S
LAST FISCAL YEAR ENDING BEFORE ENACTMENT OF THE ACT. THE COMMITTEE BASES FIGURES FOR
STATES’ GENERAL REVENUES ON THOSE USED BY THE DEPARTMENT OF COMMERCE FOR ITS
DETERMINATIONS.

THE COMMITTEE BELIEVES THAT NO STATE’S PARTICIPATION IN THE REMEDIAL PROGRAM SHOULD BE
PRECLUDED BY THE STATE’S INABILITY TO OBLIGATE FUNDS TO MEET ITS SHARE OF PROGRAM COSTS.
THE COMMITTEE CONSIDERED IN ITS DELIBERATIONS THE EFFECT OF EXISTING STATE LAWS
PROHIBITING DEFICIT SPENDING OR LIMITING THE EXTENT TO WHICH STATES MAY BE INDEBTED BY
THEIR LEGISLATURES.

THE FUNDING FORMULA ARRIVED AT BY THE COMMITTEE BOTH INSURES THAT EACH STATE MAY
PARTICIPATE IN THE PROGRAM, AND DISTRIBUTES THE BURDEN OF PAYMENTS ACCORDING TO STATES’
ABILITY TO PAY. IT ALSO TAKES INTO ACCOUNT THE TREMENDOUS FINANCIAL BURDEN PLACED ON
UTAH AND COLORADO WHERE THE NUMBER AND SIZE OF INACTIVE PROCESSING SITES ARE
SUBSTANTIAL.

THE COMMITTEE FORMULA WOULD ALLOW EACH STATE TO PROVIDE ITS SHARE OF PROGRAM COSTS
THROUGH A ONE-TIME APPROPRIATION FROM ITS LEGISLATIVE BODY. THIS PROTECTS THE FEDERAL
GOVERNMENT FROM HAVING TO SUPPLEMENT THE FEDERAL SHARE DUE TO THE FAILURE OF SOME
FUTURE LEGISLATURE TO APPROPRIATE FUNDS COMMITTED BY A PREVIOUS LEGISLATURE.

THE FOLLOWING CHART SHOWS ESTIMATED SHARE OF PROGRAM COSTS BASED ON THE COMMITTEE
FORMULA FOR EACH AFFECTED STATE. SHARES ARE SHOWN UNDER THE CEILING ONLY WHEN A
STATE’S SHARE OF PROGRAM COSTS WOULD MEET OR EXCEED THE CEILING.

TABULAR OR GRAPHIC MATERIAL SET FORTH AT THIS POINT IS NOT DISPLAYABLE
*15 **7437 ALL COSTS FOR REMEDIAL ACTIVITIES UNDERTAKEN ON INDIAN LANDS ARE THE
RESPONSIBILITY OF THE FEDERAL GOVERNMENT.


                                  DETERMINATION AND PRIORITY OF REMEDY

IT IS THE PRIMARY RESPONSIBILITY OF THE DEPARTMENT OF ENERGY TO DETERMINE THE
APPROPRIATE REMEDY FOR EACH INACTIVE URANIUM MILL TAILINGS SITE INCLUDED UNDER THE
LEGISLATION. THE DEPARTMENT IS REQUIRED TO CONSULT WITH ADMINISTRATOR OF THE
ENVIRONMENTAL PROTECTION AGENCY IN MAKING SUCH DETERMINATIONS. THE DEPARTMENT MUST
HAVE THE CONCURRENCE OF THE STATE WHERE THE SITE IS LOCATED, AND THE NUCLEAR
REGULATORY COMMISSION, IN ITS DETERMINATION OF REMEDIES BEFORE ANY REMEDIAL ACTION IS
UNDERTAKEN. IN CASES WHERE SITES ARE LOCATED ON INDIAN LANDS, HOWEVER, THE STATE DOES
NOT HAVE A CONCURRENCE ROLE. THERE, THE DEPARTMENT MUST CONSULT WITH THE APPROPRIATE
TRIBE AND THE ADMINISTRATOR AND GAIN THE CONCURRENCE OF THE SECRETARY OF THE INTERIOR

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                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1656of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:954
                                                                                    1846


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



AND THE COMMISSION.

THE PUBLIC IS TO HAVE A STRONG ROLE IN THE SELECTION OF ANY REMEDY THROUGH PROCEDURES
PROVIDED BY THE NATIONAL ENVIRONMENTAL POLICY ACT. IT IS EXPECTED THAT THE SECRETARY
WILL GIVE FULL CONSIDERATION TO THE WISHES OF THE PUBLIC AS EXPRESSED THROUGH THOSE
PROCESSES.

THE COMMITTEE ALSO EXPECTS THE SECRETARY TO PROCEED WITH IMPLEMENTATION OF REMEDIES IN
ACCORD WITH NECESSITY FOR REDUCING THE MOST THREATENING HAZARDS FIRST. IN SETTING
PRIORITIES FOR IMPLEMENTATION OF REMEDIAL PROGRAMS, THE SECRETARY SHOULD GIVE SPECIAL
CONSIDERATION TO SITES AT SALT LAKE CITY, UTAH, AND RIVERTON AND CONVERSE, WYO.


                                                    CAVEAT EMPTOR

IN SOME CASES WHERE THE DEPARTMENT WILL REMEDY INACTIVE TAILINGS HAZARDS, TAILING WILL
BE REMOVED FROM THE ORIGINAL PROCESSING SITES AND DISPOSED OF AT MORE SUITABLE
LOCATIONS. IN SUCH CASES, THE STATE WHERE THE SITE IS LOCATED MAY SELL THE ORIGINAL,
CLEANED-UP PROCESSING SITE ON THE PUBLIC MARKET. H.R. 13650 REQUIRES THAT WHEN A STATE
SELLS ANY PROCESSING SITE, IT MUST EXECUTE AND RECORD A DOCUMENT GIVING ALL FUTURE
PROSPECTIVE BUYERS NOTICE THAT THE SITE WAS ONCE USED FOR THE DISPOSAL OF RADIOACTIVE
MATERIALS. THE RECORD IS ALSO REQUIRED TO NOTE THAT THE SITE WAS CLEANED UP UNDER THE
REMEDIAL PROGRAM SO THAT HAZARDS WERE ELIMINATED OR REDUCED TO ACCEPTABLE LEVELS.

**7438 IT IS THE INTENT OF THE COMMITTEE THAT SUCH NOTICE BE IMPLEMENTED THROUGH THE
SIMPLEST MECHANISM POSSIBLE PURSUANT TO STATE LAW, AS LONG AS IT PROVIDES A FAIR
OPPORTUNITY FOR NOTICE TO PROSPECTIVE BUYERS. THE COMMITTEE DOES NOT INTEND THAT SUCH
NOTICE IMPLY THAT THE LAND AS A RESULT OF HAVING BEEN USED AS A DISPOSAL SITE WOULD
CONSTITUTE A HAZARD TO PUBLIC HEALTH.


                          AUTHORITY OF THE NUCLEAR REGULATORY COMMISSION

THE COMMISSION, IN KEEPING WITH ITS RESPONSIBILITIES AND AUTHORITIES UNDER THE ATOMIC
ENERGY ACT AND THE NATIONAL ENVIRONMENTAL POLICY ACT, IS THE LEAD AGENCY IN
REGULATION, OVERSIGHT AND MANAGEMENT OF URANIUM MILL TAILINGS-RELATED ACTIVITIES. IT IS
ONE OF THE MAJOR PURPOSES OF H.R. 13650 TO CLARIFY AND REINFORCE THESE COMMISSION
RESPONSIBILITIES, WITH RESPECT TO URANIUM MILL TAILINGS AT BOTH ACTIVE AND INACTIVE SITES.

*16 IN ESTABLISHING REQUIREMENTS OR PROMULGATING REGULATIONS FOR LICENSING OR FOR
OVERSIGHT OF THE DEPARTMENT’S REMEDIAL ACTIVITIES, THE COMMISSION MUST SET ALL
STANDARDS AND REQUIREMENTS RELATING TO MANAGEMENT CONCEPTS, SPECIFIC TECHNOLOGY,
ENGINEERING METHODS, AND PROCEDURES TO BE EMPLOYED TO ACHIEVE DESIRED LEVELS OF
CONTROL FOR LIMITING PUBLIC EXPOSURE, AND FOR PROTECTING THE GENERAL ENVIRONMENT. THE
COMMISSION’S STANDARDS AND REQUIREMENTS SHOULD BE OF SUCH NATURE AS TO SPECIFY, FOR
EXAMPLE, EXCLUSION AREA RESTRICTIONS ON SITE BOUNDARIES, SURVEILLANCE REQUIREMENTS,
DETAILED ENGINEERING REQUIREMENTS, INCLUDING LINING FOR TAILINGS PONDS, DEPTH, AND TYPES
OF TAILINGS COVERS, POPULATION LIMITATIONS, OR INSTITUTIONAL ARRANGEMENTS SUCH AS
FINANCIAL SURETY REQUIREMENTS OR SITE SECURITY MEASURES. THE COMMISSION SHOULD ISSUE
ALL NECESSARY PERMITS OR LICENSES FOR URANIUM MILL TAILINGS SITES.

THE NRC IS ALSO RESPONSIBLE FOR IMPLEMENTING GENERAL STANDARDS AND CRITERIA
PROMULGATED BY THE ADMINISTRATOR OF THE ENVIRONMENTAL PROTECTION AGENCY. NRC MUST
ASSURE THAT THE TECHNOLOGY, ENGINEERING METHODS, OPERATIONAL CONTROLS, SURVEILLANCE
REQUIREMENTS AND INSTITUTIONAL ARRANGEMENTS EMPLOYED AT THE SITES PROVIDE THE

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 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1667of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:955
                                                                                    1847


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



NECESSARY BARRIERS AND LEVELS OF CONTROL TO LIMIT PUBLIC EXPOSURE, AND PROTECT THE
ENVIRONMENT FROM RADIOLOGICAL AND TOXIC NONRADIOLOGICAL SUBSTANCES ASSOCIATED WITH
URANIUM MILL TAILINGS MATERIALS, AS SPECIFIED BY THE EPA STANDARDS AND CRITERIA.

WITH RESPECT TO NONRADIOLOGICAL MATTERS, THE NRC, THROUGH ITS ENVIRONMENTAL REVIEW
UNDER THE NEPA MANDATE, WOULD IMPOSE CONTROLS CONSISTENT WITH THOSE IMPOSED BY EPA ON
SIMILAR MATERIALS CONTAINED IN OTHER SOLID WASTES SUBJECT TO EPA AUTHORITY.

THE COMMITTEE RECEIVED TESTIMONY REGARDING AUTHORITIES OF THE EPA UNDER THE SOLID
WASTE DISPOSAL ACT WHICH COULD BE BENEFICIALLY APPLIED TO THE MANAGEMENT OF URANIUM
MILL TAILINGS. WHILE IT IS IN NO WAY THE INTENT OF THE COMMITTEE TO IMPLY THAT THE EPA OR
THE SOLID WASTE DISPOSAL ACT SHOULD GOVERN THE REGULATORY ACTIVITIES OF THE
COMMISSION, IT IS THE COMMITTEE’S DESIRE THAT THE COMMISSION EXAMINE THE MANAGEMENT
CONCEPTS BEING DEVELOPED FOR THE EPA SOLID WASTE DISPOSAL PROGRAM, AND ASSESS THEM FOR
POSSIBLE INCORPORATION INTO NRC REGULATIONS WHERE SUCH CONCEPTS COULD IMPROVE
REGULATION OF TAILINGS.

IT ALSO THE DESIRE OF THE COMMITTEE THAT THE NRC AND THE STATES, IN IMPLEMENTING NEW
STANDARDS AND REGULATIONS FOR MILL TAILINGS CONTROL, CONSIDER POSSIBLE DIFFERENCES IN
APPLICABILITY OF SUCH REQUIREMENTS TO **7439 EXISTING TAILINGS DISPOSAL SITES VERSUS NEW
SITES. SPECIFICATIONS FOR TAILINGS SITE SELECTION AND IMPOUNDMENT DESIGN, IN PARTICULAR,
ONCE IMPLEMENTED BY A LICENSEE, MAY BE REVERSIBLE ONLY AT GREAT COST. IN ALL CASES SUCH
CONSIDERATIONS MUST, OF COURSE, BE WEIGHED AGAINST THE COMMITTEE’S REQUIREMENT IN
SECTION 161(X) OF THE ATOMIC ENERGY ACT, AS AMENDED BY SECTION 203 OF H.R. 13650, THAT THE
COMMISSION REGULATE TO THE MAXIMUM EXTENT PRACTICABLE IN SUCH A WAY THAT DISPOSAL
SITES FOR TAILINGS WILL BE STABILIZED SUFFICIENTLY BY THE LICENSEE TO PRECLUDE ANY
NECESSITY FOR LONG-TERM MAINTENANCE AND MONITORING.


                         AUTHORITY OF THE ENVIRONMENTAL PROTECTION AGENCY

IT IS THE RESPONSIBILITY OF THE ENVIRONMENTAL PRODUCTION AGENCY TO ESTABLISH GENERALLY
APPLICABLE STANDARDS AND CRITERIA FOR THE PROTECTION OF THE GENERAL ENVIRONMENT,
CONSIDERING RADIOLOGICAL AND NONRADIOLOGICAL ASPECTS OF TAILINGS. THE EPA STANDARDS
AND CRITERIA SHOULD BE DEVELOPED TO LIMIT THE EXPOSURE (OR POTENTIAL EXPOSURE) OF THE
PUBLIC *17 AND TO PROTECT THE GENERAL ENVIRONMENT FROM EITHER RADIOLOGICAL OR
NONRADIOLOGICAL SUBSTANCES TO ACCEPTABLE LEVELS THROUGH SUCH MEANS AS ALLOWABLE
CONCENTRATIONS IN AIR OR WATER, QUANTITIES OF THE SUBSTANCES RELEASED OVER A PERIOD OF
TIME, OR BY SPECIFYING MAXIMUM ALLOWABLE DOSES OR LEVELS TO INDIVIDUALS IN THE GENERAL
POPULATION. THE EPA STANDARDS AND CRITERIA SHOULD NOT INTERJECT ANY DETAILED OR
SITE-SPECIFIC REQUIREMENTS FOR MANAGEMENT, TECHNOLOGY OR ENGINEERING METHODS ON
LICENSEES OR ON THE DEPARTMENT OF ENERGY. NOR SHOULD EPA INCORPORATE ANY REQUIREMENTS
FOR PERMITS OF LICENSES FOR ACTIVITIES CONCERNING URANIUM MILL TAILINGS WHICH WOULD
DUPLICATE NRC REGULATORY AUTHORITY OVER THE TAILINGS SITES.


                                            ENVIRONMENTAL REVIEWS

TITLE II REQUIRES THAT STATES WHICH LICENSE URANIUM MILLING OR MILL TAILINGS DISPOSAL
ACTIVITIES PREPARE A WRITTEN, INDEPENDENT ENVIRONMENTAL ANALYSIS OR REVIEW AS PART OF
ITS LICENSING PROCESS. THE COMMITTEE CONSIDERS THE INDEPENDENT PREPARATION AND PUBLIC
DISTRIBUTION OF SUCH AN ANALYSIS ESSENTIAL TO COMPETENT LICENSING OF URANIUM MILLING
ACTIVITIES. THE COMMITTEE ALSO RECOGNIZES THAT THE RESOURCES OF A STATE ARE NOT
EQUIVALENT TO THOSE OF A FEDERAL AGENCY. DIRECT APPLICATION OF ALL THE PROCEDURES AND
REQUIREMENTS EMBODIED IN THE NATIONAL ENVIRONMENTAL POLICY ACT, AND IMPLEMENTED BY

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 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1678of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:956
                                                                                    1848


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



THE COMMISSION IN ITS LICENSING PROCESS, MAY NOT BE APPROPRIATE TO REQUIRE OF THE STATES.
SOME LATITUDE SHOULD BE GIVEN TO ALLOW STATES TO PREPARE ENVIRONMENTAL REVIEWS
APPROPRIATE TO THEIR NEEDS AND MEANS. THE COMMISSION MUST NOT, HOWEVER, ALLOW STATES
TO LICENSE URANIUM MILLING ACTIVITIES WITH LESS THAN THOROUGH AND COMPREHENSIVE
ENVIRONMENTAL ASSESSMENTS DUE TO A LACK OF FINANCIAL MEANS IN THE STATE TO MEET
FEDERAL ENVIRONMENTAL IMPACT REVIEW STANDARDS.


                                    FEDERAL CUSTODY OF TAILINGS STATES

IT IS THE INTENT OF H.R. 13650 THAT ALL FINAL DISPOSAL SITES FOR URANIUM MILL TAILINGS BE
PLACED ULTIMATELY UNDER FEDERAL CUSTODY. THE PRESIDENT IS GIVEN THE RESPONSIBILITY FOR
DESIGNATING AN APPROPRIATE AGENCY TO ACT AS CUSTODIAN FOR THE SITES. IT IS EXPECTED THAT
THE DESIGNATED AGENCY **7440 SHOULD BE THE DEPARTMENT OF ENERGY, OR AN AGENCY WITH
SIMILAR RESPONSIBILITIES IN THE AREA OF NUCLEAR WASTE MANAGEMENTS.

THE COMMITTEE BELIEVES THAT URANIUM MILL TAILINGS SHOULD BE TREATED BY THE CUSTODIAN
IN ACCORDANCE WITH THE SUBSTANTIAL HAZARD THEY WILL PRESENT UNTIL LONG AFTER OUR
EXISTING INSTITUTIONS CAN BE EXPECTED TO LAST IN THEIR PRESENT FORMS. ANY DECISION BY A
CUSTODIAN WHETHER TO ALLOW ANY USE BY THE PUBLIC OF TAILINGS DISPOSAL SITES MUST TAKE
INTO CONSIDERATION THE FRAGILE NATURE OF DISPOSAL TECHNIQUES WHEN THEY ARE MEASURED
AGAINST THE TEST OF A BILLION YEARS OF EROSIVE INFLUENCE.

THE NUCLEAR REGULATORY COMMISSION SHOULD CONSIDER ITS RESPONSIBILITIES FOR OVERSIGHT
OF THE CUSTODIAN IN A SIMILAR LIGHT.


                           LICENSE TERMINATION AND LONG-TERM MAINTENANCE

URANIUM MILL TAILINGS DISPOSAL SITES SHOULD IN ALL CASES BE CONTROLLED AND REGULATED BY
STATES AND THE COMMISSION, TO THE MAXIMUM EXTENT ALLOWED BY THE STATE OF THE ART, TO
INSURE THAT THE PUBLIC AND THE *18 ENVIRONMENT WILL BE PROTECTED FROM THE HAZARDS OF
THE TAILINGS FOR AS LONG AS THEY MAY REMAIN A HAZARD. IT IS THE INTENT OF THE COMMITTEE
THAT THE COSTS OF SUCH PROTECTION SHALL BE INTERNALIZED WHEREVER POSSIBLE BY THE
COMMERCIAL URANIUM MILLING INDUSTRY.

H.R. 13650 REQUIRES THAT BEFORE THE TRANSFER OF CUSTODY OF ANY DISPOSAL SITES TO THE
FEDERAL GOVERNMENT, THE COMMISSION SHALL HAVE MADE ARRANGEMENTS TO INSURE THAT SUCH
PILES ARE STABILIZED TO PROVIDE LONG-TERM PROTECTION. PRIOR TO DETERMINATION OF LICENSES
FOR COMMERCIAL TAILINGS, THE COMMISSION SHALL HAVE COLLECTED FROM LICENSEES FUNDS
ADEQUATE TO COVER COSTS OF LONG-TERM MAINTENANCE AND MONITORING, IF ANY SUCH
MEASURES WILL BE NECESSARY.


                                         SECTION-BY-SECTION ANALYSIS


                 TITLE I-- RESIDUAL RADIOACTIVE MATERIAL AT CERTAIN EXISTING SITES

TITLE I AUTHORIZES THE SECRETARY OF ENERGY TO ENTER INTO AGREEMENTS WITH STATES TO
REMEDY RADIOACTIVE HAZARDS ASSOCIATED WITH URANIUM MILL TAILINGS CREATED UNDER
CONTRACT TO THE FEDERAL GOVERNMENT.

SECTION 101 SETS OUT DEFINITIONS OF TERMS USED TO DESCRIBE SITES AND MATERIALS COVERED BY
THE LEGISLATION, AND THOSE DESIGNATING AGENCIES AND OFFICIALS PARTICIPATING IN THE
PROGRAM.
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 Case:
  Case:4:22-cv-00116-CDP
         4:17-cv-00024-CDPDoc.
                           Doc.#:#:1-4  Filed:
                                     48-9      01/28/22
                                            Filed:        Page:
                                                   02/06/17     1689of
                                                            Page:    of903 PageID#:
                                                                        18 PageID #:957
                                                                                    1849


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)




SECTION 102 SPECIFIES AND DEFINES SITES WHERE ABANDONED URANIUM MILL TAILINGS PILES ARE
LOCATED WHICH WOULD BE COVERED UNDER THE ACT. THESE INCLUDE SITES IN THREE CATEGORIES:
(1) 22 SITES WHICH HAVE BEEN SURVEYED BY THE DEPARTMENT OF ENERGY AND WHICH HAVE BEEN
DETERMINED BY THE SECRETARY TO BE IN NEED OF REMEDIAL ACTION AND QUALIFIED FOR FEDERAL
FINANCIAL ASSISTANCE; (2) TWO SITES WHICH MEET THE CRITERIA FOR ASSISTANCE EXCEPT THAT
THEY ARE UNDER ACTIVE LICENSE BY THE STATE OF NEW MEXICO (THE COMMISSION IS REQUIRED TO
MAKE A STUDY TO DETERMINE WHETHER STATES HAVE THE AUTHORITY TO COMPEL THE OWNERS OF
THE PILES TO CLEAN THEM UP; IF THE STUDY CONCLUDES SUCH AUTHORITY DOES NOT EXIST, THE
SECRETARY IS REQUIRED TO INCLUDE THE SITES UNDER THE ACT); AND (3) ANY OTHER URANIUM
TAILINGS SITES WHICH THE SECRETARY MAY DETERMINE WITHIN 5 YEARS TO HAVE BEEN CREATED
UNDER FEDERAL CONTRACT AND NOT TO BE UNDER ACTIVE NRC LICENSE.

**7441 SECTION 103 AUTHORIZES THE SECRETARY OF ENERGY TO ENTER INTO COOPERATIVE
ARRANGEMENTS WITH STATES TO CLEAN UP MILL TAILINGS PILES, AND DESCRIBES CONDITIONS
WHICH WOULD APPLY TO THE AGREEMENTS. THE CONDITIONS INCLUDE:

SECTION 103(B). A SPLIT OF PROGRAM COSTS SUCH THAT THE FEDERAL GOVERNMENT PAYS 90
PERCENT, AND EACH STATES PAYS 10 PERCENT, OF THE COSTS OF REMEDIAL ACTION WITHIN EACH
STATE. A CEILING IS PLACED ON ANY STATE’S SHARE OF COSTS. THE CEILING EQUALS 0.25 PERCENT OF
THE STATE’S GENERAL REVENUE IN THE STATE’S FISCAL YEAR ENDING THE YEAR BEFORE THE
ENACTMENT OF THE ACT. THE DIFFERENCE BETWEEN THE STATE’S CEILING AND TOTAL COSTS WOULD
BE PAID BY THE FEDERAL GOVERNMENT. PROGRAM COSTS DO NOT INCLUDE ANY COSTS OF
ENVIRONMENTAL IMPACT STATEMENTS, LAND ACQUISITION OR LONG-TERM CARE OF DISPOSAL SITES.

SECTION 103(C)(1). SELECTION OF THE APPROPRIATE REMEDIAL ACTION FOR EACH SITE BY THE
SECRETARY OF ENERGY, WITH THE CONCURRENCE OF THE STATE AND THE NUCLEAR REGULATORY
COMMISSION, AND IN CONSULTATION WITH THE ENVIRONMENTAL PROTECTION AGENCY.

*19 SECTION 103(C)(2). STATE ACQUISITION OF ALL DESIGNATED SITES AND ANY REQUIRED NEW FINAL
DISPOSAL SITES FOR TAILINGS.

SECTION 103(C)(3). TRANSFER OF TITLE, WITHOUT COST, TO THE U.S. GOVERNMENT OF ANY FINAL
DISPOSAL SITES FOR TAILINGS, TO BE MAINTAINED IN PERPETUITY BY A DESIGNATED CUSTODIAN.

SECTION 103(C)(4)-(5). STATES MAY SELL ANY CLEANUP SITES NOT USED AS FINAL DISPOSAL SITES.
PROFITS RESULTING FROM INCREASED VALUE OF PROPERTY AFTER REMEDIAL ACTION IS COMPLETED
WOULD BE SPLIT BETWEEN STATE AND FEDERAL GOVERNMENTS IN PROPORTION TO TOTAL PROGRAM
COSTS.

SECTION 103(C)(6). ACTIONS TAKEN TO REMEDY HAZARDOUS MILL TAILINGS SITES MUST BE
PERFORMED BY THE SECRETARY OF ENERGY OR BY A CONTRACTOR AUTHORIZED BY THE SECRETARY,
UNLESS OTHERWISE DETERMINED BY THE SECRETARY.

SECTION 103(C)(7)-(8). STATES MAY CONTRACT WITH PRIVATE COMPANIES FOR RECOVERY OF ANY
VALUABLE MINERALS IN TAILINGS PILES. THE GOVERNMENT’S SHARE OF ANY PROFITS FROM SUCH
RECOVERY ARE TO BE SPLIT BETWEEN STATE AND FEDERAL GOVERNMENT IN PROPORTION TO TOTAL
PROGRAM COSTS.

SECTION 104 AUTHORIZES THE SECRETARY TO ENTER INTO ARRANGEMENTS WITH INDIAN TRIBES TO
CLEAN UP MILL TAILINGS PILES ON TRIBAL PROPERTY. THE CONDITIONS APPLIED TO AGREEMENTS
WITH INDIAN TRIBES ARE THE SAME AS THOSE FOR STATES, EXCEPT THAT:

(1) THE FEDERAL GOVERNMENT PAYS 100 PERCENT OF PROGRAM COSTS.

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 169
                                                            Page: 10ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1850
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H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)




(2) APPROPRIATE REMEDIAL ACTION IS DETERMINED BY THE SECRETARY IN CONSULTATION WITH THE
INDIAN TRIBE AND WITH THE CONCURRENCE OF THE SECRETARY OF THE INTERIOR.

(3) MINERAL RECOVERY OPERATIONS WOULD BE CONDUCTED UNDER CONTRACT WITH THE
SECRETARY OF THE INTERIOR, AND 100 PERCENT OF ANY GOVERNMENT PROFITS WOULD BE PAID TO
THE FEDERAL GOVERNMENT.

SECTION 105 AUTHORIZES THE SECRETARY TO INCLUDE IN TOTAL PROGRAM COSTS FUNDS FOR THE
REIMBURSEMENT OF INDIVIDUALS WHO HAVE UNDERTAKEN REMEDIAL ACTION AT THEIR OWN COST
ON SITES OR STRUCTURES WHICH WOULD HAVE BEEN REMEDIED UNDER THE ACT. THE SITES OR
STRUCTURES MUST BE AT **7442 LOCATIONS OTHER THAN THE ORIGINAL PROCESSING SITE, AND THE
ACTIONS MUST HAVE BEEN UNDERTAKEN PRIOR TO ENACTMENT OF THE ACT.

SECTION 106 REQUIRES THE SECRETARY TO CONDUCT RESEARCH TO DETERMINE WHETHER THE
HAZARDS OF MILL TAILINGS PILES COULD BE REMEDIED BY EXTRACTING THE DANGEROUS MATERIALS
IN THE PILES.

SECTION 107 AUTHORIZES THE SECRETARY TO PROMULGATE RULES AND REGULATIONS NECESSARY TO
CARRY OUT THE ACT.

SECTION 108 REQUIRES THE ADMINISTRATOR OF THE ENVIRONMENTAL PROTECTION AGENCY TO
PROMULGATE WITHIN 180 DAYS GENERAL STANDARDS AND CRITERIA FOR PROTECTION OF THE
ENVIRONMENT AGAINST HAZARDS OF THE URANIUM MILL TAILINGS. SUCH STANDARDS WOULD BE
APPLICABLE TO THE ACTIVITIES OF THE DEPARTMENT OF ENERGY IN REMEDYING THE MILL TAILINGS
HAZARDS UNDER THE ACT.

SECTION 109 AUTHORIZES THE COMMISSION TO PROMULGATE, IMPLEMENT AND ENFORCE
REGULATIONS GOVERNING PERMANENT FEDERAL CUSTODY OF URANIUM MILL TAILINGS DISPOSAL
SITES AND GOVERNING THE ACTIVITIES OF THE DEPARTMENT OF ENERGY UNDER TITLE I OF THE ACT.
IN ADDITION, THE SECTION INSURES THAT NO REGULATORY GAP WILL EXIST DURING THE 3-YEAR
GRACE PERIOD WHEN LICENSES ARE NOT REQUIRED FOR THE TYPE OF BYPRODUCT MATERIAL NEWLY
DEFINED IN TITLE II.

*20 SECTION 110 AUTHORIZES $180 MILLION EFFECTIVE OCTOBER 1, 1979, FOR THE DEPARTMENT OF
ENERGY TO CARRY OUT THE PURPOSES OF TITLE I OF THE ACT. THE FUNDS ARE TO REMAIN AVAILABLE
UNTIL EXPENDED.

SECTION 111 BRINGS THE AUTHORIZATION INTO COMPLIANCE WITH THE BUDGET ACT.


                      TITLE II-- URANIUM MILL TAILINGS LICENSING AND REGULATION

TITLE II REINFORCES THE AUTHORITY OF THE NUCLEAR REGULATORY COMMISSION TO REGULATE THE
URANIUM MILL PROCESS AND MILL TAILINGS DISPOSAL. THE ‘AGREEMENT STATES‘ PROGRAM, UNDER
WHICH CERTAIN STATES LICENSE URANIUM MILLING ACTIVITIES, IS MODIFIED TO REQUIRE THAT
STATE LICENSING STANDARDS BE EQUIVALENT TO THE EXTENT PRACTICABLE TO THOSE OF THE
COMMISSION, AND TO REQUIRE PUBLIC PARTICIPATION AND ENVIRONMENTAL REVIEW AS PART OF THE
STATE LICENSING PROCEDURES. TITLE II ALSO REINFORCES THE NRC’S AUTHORITY TO MAKE
FINANCIAL ARRANGEMENTS WITH URANIUM MILLING COMPANIES TO INSURE PROPER STABILIZATION
AND CARE OF URANIUM MILL TAILINGS.

SECTION 201 AMENDS THE DEFINITION OF ‘BYPRODUCT MATERIAL‘ IN THE ATOMIC ENERGY ACT TO
INCLUDE URANIUM MILL TAILINGS. PREVIOUSLY, TAILINGS HAVE BEEN CONTROLLED THROUGH THE
LICENSING PROCESS FOR URANIUM MILLS. THIS AMENDMENT WOULD SUBJECT TAILINGS TO SPECIFIC
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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 170
                                                            Page: 11ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1851
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H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



LICENSING AUTHORITY. (SECTION 209 REQUIRES THAT THE MILLING AND MILL TAILINGS LICENSING
PROCESS BE CONSOLIDATED.)

SECTION 202 REQUIRES THAT ALL FINAL DISPOSAL SITES FOR URANIUM MILL TAILINGS BE
TRANSFERRED, UPON TERMINATION OF LICENSES, TO THE FEDERAL GOVERNMENT FOR PERMANENT
FEDERAL CUSTODY. THE PRESIDENT IS REQUIRED TO DESIGNATE AN APPROPRIATE AGENCY TO ACT AS
CUSTODIAN FOR THE TAILINGS. THE DESIGNATED CUSTODIAN IS AUTHORIZED TO ACCEPT DONATIONS
OF SITES WHICH HAVE BEEN USED FOR LICENSED TAILINGS DISPOSAL BUT WHICH MAY NOT BE
REQUIRED TO BE TRANSFERRED BY THE COMMISSION. THIS PROVISION INSURES THAT NO OWNER OF
DISPOSAL SITES WOULD BE COMPELLED TO REMAIN UNDER PERPETUAL COMMISSION LICENSE AS A
RESULT OF POSSESSING **7443 BYPRODUCT MATERIAL. TITLE TO ALL TAILINGS SITES IS REQUIRED TO
BE TRANSFERRED TO THE UNITED STATES WITHOUT COST.

SECTION 203 AUTHORIZES THE COMMISSION TO REQUIRE SECURE FINANCIAL ARRANGEMENTS FROM
LICENSEES FOR MILL TAILINGS STABILIZATION AND, IF NECESSARY, FOR LONG-TERM CARE COSTS.
SUCH FINANCIAL ARRANGEMENTS MAY BE IN THE FORM OF BONDS, SURETIES, FEES OR OTHER
COLLATERAL TO INSURE THAT FLEXIBILITY MAY BE EXERCISED IN REQUIREMENTS TO PREVENT
UNNECESSARY HARDSHIP FOR FIRMS OF DIFFERING SIZE OR FINANCIAL BACKGROUND.

SUBPARAGRAPH (1) REQUIRES THE COMMISSION TO REGULATE URANIUM MILLING AND MILL TAILINGS
DISPOSAL IN SUCH A WAY THAT WHEN LICENSES ARE TERMINATED RECLAMATION AND
STABILIZATION HAS BEEN IMPLEMENTED BY THE LICENSEE IN SUCH WAY AS TO INSURE, TO THE
MAXIMUM EXTENT ALLOWABLE BY THE STATE OF TECHNICAL ART, THAT THE DISPOSAL SITES WILL
NOT REQUIRE ANY LONG-TERM MAINTENANCE AND MONITORING TO PROTECT THE PUBLIC AND THE
ENVIRONMENT.

SUBPARAGRAPH (2) REQUIRES THAT, IN ANY CASE WHERE LONG-TERM MAINTENANCE AND
MONITORING IS DETERMINED TO BE NECESSARY BY THE COMMISSION, THE APPROPRIATE LICENSEE
WILL PAY SUCH COSTS. THE COMMISSION IS REQUIRED TO HAVE OBTAINED ANY SUCH FUNDS FROM
THE LICENSEE PRIOR TO TERMINATION OF THE LICENSE.

*21 SECTION 204 AMENDS THE ATOMIC ENERGY ACT TO PROVIDE FOR ADHERENCE BY AGREEMENT
STATES TO MINIMUM FEDERAL STANDARDS FOR URANIUM MILL TAILINGS CONTROL. SUBSECTIONS (A)
THROUGH (D) ALLOW STATES TO DISCONTINUE LICENSING OF URANIUM MILLING AND MILL TAILINGS
CONTROL, WHILE RETAINING AUTHORITY TO LICENSE OTHER MATERIALS LICENSABLE UNDER THE
AGREEMENT STATES PROGRAM. UNDER CURRENT LAW, STATES WHICH DID NOT WANT TO REGULATE
URANIUM MILLING WOULD HAVE TO TERMINATE THEIR COMPLETE AGREEMENTS WITH THE
COMMISSION.

SUBSECTION (E) REQUIRES THAT, FOLLOWING 3 YEARS AFTER ENACTMENT OF THE ACT, STATE
LICENSING STANDARDS FOR URANIUM MILL TAILINGS AND URANIUM MILLING MUST TO THE EXTENT
PRACTICABLE BE EQUIVALENT TO, OR EXCEED, THOSE OF THE COMMISSION. IN ADDITION, LICENSES
ISSUED BY STATES MUST REQUIRE THAT UPON TERMINATION OF SUCH LICENSES MILL TAILING
DISPOSAL SITES WILL BE TRANSFERRED WITHOUT COST TO PERMANENT FEDERAL CUSTODY. STATE
LICENSING PROCEDURES ARE REQUIRED TO INCLUDE PROVISIONS FOR PUBLIC PARTICIPATION AND
ENVIRONMENTAL REVIEW.

THE SUBSECTION ALSO PROVIDES FOR STATES TO TRANSFER FEES THEY MAY COLLECT FOR
LONG-TERM CARE OF URANIUM MILL TAILINGS DISPOSAL SITES TO THE FEDERAL GOVERNMENT WHEN
THE SITES BECOME INACTIVE. ALL URANIUM MILL TAILINGS DISPOSAL SITES WILL BE TRANSFERRED
FOR PERMANENT CUSTODY UNDER THE ACT TO THE FEDERAL GOVERNMENT, WHICH WILL IMPLEMENT
ANY NECESSARY LONG-TERM CARE REQUIREMENTS.

STATES MAY IMPOSE AND COLLECT LONG-TERM CARE FEES UNDER THEIR OWN AUTHORITIES, WHEN

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 171
                                                            Page: 12ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1852
                                                                                      960


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



STATES LICENSE URANIUM MILLING AND MILL TAILINGS DISPOSAL ACTIVITIES. SEVERAL STATES
ALREADY COLLECT LONG-TERM CARE FEES FROM LICENSEES. THIS SUBSECTION PROVIDES THAT
COLLECTED MAINTENANCE FEES WILL BE TRANSFERRED TO THE FEDERAL GOVERNMENT ALONG WITH
THE SITES WHICH WILL REQUIRE THE MAINTENANCE.

SUBSECTION (F) RESERVES THE RIGHT OF THE COMMISSION TO DETERMINE THAT MILL TAILINGS PILES
CREATED UNDER AGREEMENT STATE LICENSING HAVE MET APPLICABLE REQUIREMENTS BEFORE THEY
ARE TURNED OVER TO FEDERAL CUSTODY.

**7444 SUBSECTION (G) REQUIRES THE COMMISSION TO REVIEW THE REGULATORY PROGRAMS OF EACH
AGREEMENT STATES, AS SOON AS PRACTICABLE 3 YEARS AFTER THE DATE OF ENACTMENT OF THE
ACT, TO DETERMINE WHETHER THE STANDARDS APPLIED BY THE STATE ARE AT LEAST EQUIVALENT
TO THOSE OF THE COMMISSION. IF THE COMMISSION DETERMINES THAT THE STATE’S PROGRAM DOES
NOT COMPLY, IT MAY SUSPEND OR TERMINATE THAT PART OF ITS AGREEMENT WITH THE STATE UNDER
WHICH THE STATE IS PERMITTED TO LICENSE AND REGULATE URANIUM MILLING AND MILL TAILINGS
ACTIVITIES. REGULATORY AUTHORITY WOULD THEN REVERT TO THE COMMISSION.

SECTION 205 AUTHORIZES THE COMMISSION TO PROMULGATE, IMPLEMENT AND ENFORCE
REGULATIONS GOVERNING PERMANENT FEDERAL CUSTODY OF URANIUM MILL TAILINGS DISPOSAL
SITES AND GOVERNING THE ACTIVITIES OF THE DEPARTMENT OF ENERGY UNDER TITLE I OF THE ACT.
IN ADDITION, THE SECTION INSURES THAT NO REGULATORY GAP WILL EXIST DURING THE 3-YEAR
GRACE PERIOD WHEN LICENSES ARE NOT REQUIRED FOR THE TYPE OF BYPRODUCT MATERIAL NEWLY
DEFINED IN TITLE II.

SECTION 206 REQUIRES THE ENVIRONMENTAL PROTECTION AGENCY TO SET GENERAL STANDARDS AND
CRITERIA FOR THE PROTECTION OF THE ENVIRONMENT OUTSIDE THE BOUNDARIES OF MILL TAILINGS
DISPOSAL SITES. THE STANDARDS AND CRITERIA WOULD WOULD BE APPLICABLE TO BOTH
RADIOLOGICAL AND NONRADIOLOGICAL HAZARDS IN THE PILES. AUTHORITIES OF THE EPA UNDER
OTHER LAWS WOULD NOT BE ABRIDGED BY THE NEW REQUIREMENTS.

*22 SECTION 207 AUTHORIZES $500,000 FOR GRANTS TO AGREEMENT STATES TO ASSIST THEM IN
REVISION OF CURRENT REGULATORY PROGRAMS TO IMPLEMENT PROVISIONS OF THE ACT.

SECTION 208 PROVIDES EFFECTIVE DATES FOR THE PROVISIONS OF THE ACT SUCH THAT:

(1) NO. LICENSES WOULD BE REQUIRED UNDER THE NEW DEFINITION OF BYPRODUCT MATERIAL UNTIL
3 YEARS FOLLOWING ENACTMENT.

(2) UPGRADED REQUIREMENTS UNDER AGREEMENT STATES LICENSING PROGRAMS WOULD BE APPLIED
RETROACTIVELY ONLY TO THE EXTENT PRACTICABLE FOR A GRADE PERIOD FOLLOWING ENACTMENT
OF THE ACT. FOR EACH LICENSEE, SUCH PERIOD WOULD BE FOR 3 YEARS FOLLOWING ENACTMENT, OR
UNTIL THE TIME AT WHICH THE LICENSEE’S LICENSE WOULD FIRST BE REQUIRED TO BE RENEWED,
WHICHEVER IS THE LONGER PERIOD FOR A SPECIFIC LICENSEE. IN NO CASE MAY SUCH GRACE PERIOD
BE LONGER THAN 5 YEARS FOLLOWING ENACTMENT OF THE ACT.

(3) REQUIREMENTS FOR TRANSFER OF TITLE TO FINAL DISPOSAL SITES UNDER EITHER NRC OR STATE
LICENSING ARE APPLICABLE ONLY TO THE EXTENT PRACTICABLE TO LICENSES ISSUED BEFORE THE
DATE OF ENACTMENT OF THE ACT.

(4) AUTHORITY TO REQUIRE SECURE FINANCIAL ARRANGEMENTS WOULD TAKE EFFECT IMMEDIATELY.

THE AUTHORITY OF AGREEMENT STATES TO CONTINUE LICENSING URANIUM MILLING AND TAILINGS
DISPOSAL ACTIVITIES UNDER THEIR OWN AUTHORITIES DURING THE PERIOD PRECEDING REQUIREMENT
OF LICENSES FOR BYPRODUCT MATERIAL AS NEWLY DEFINED IS MADE CLEAR.

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 172
                                                            Page: 13ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1853
                                                                                      961


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)




SECTION 209 REQUIRES THE COMMISSION TO CONSOLIDATE, TO THE EXTENT PRACTICABLE, LICENSES
AND LICENSING PROCEDURES FOR THE URANIUM MILLING PROCESS AND FOR URANIUM MILL TAILINGS
CONTROL.

SECTION 210 PROHIBITS THE COMMISSION FROM REQUIRING LICENSES FOR ANY ACTIVITIES
UNDERTAKEN UNDER TITLE I OF THE ACT, EXCEPT THAT ANY MINERAL RECOVERY OPERATIONS ON
ABANDONED MILL TAILINGS PILES WOULD BE SUBJECT TO LICENSING.


      **7445 LEGISLATIVE HISTORY, HEARINGS AND COMMITTEE ACTION AND RECOMMENDATION

H.R. 13650 IS AN AMALGAM OF FOUR BILLS INTRODUCED DURING THE 2D SESSION OF THE 95TH
CONGRESS. TO FACILITATE CONSIDERATION OF THE RECOMMENDATIONS OF THE SUBCOMMITTEE ON
ENERGY AND THE ENVIRONMENT, IT WAS INTRODUCED AS A CLEAN BILL.

THE FOUR INITIAL PROPOSALS REPRESENTED TWO BASIC PURPOSES: THREE 1 PROPOSED A REMEDY FOR
HAZARDS AT INACTIVE SITES WHICH RESULTED FROM THE PRODUCTION OF RADIOACTIVE MATERIALS
FOR THE ATOMIC ENERGY COMMISSION UNDER FEDERAL CONTRACT AND THE FOURTH 2 PROVIDED FOR
IMPROVED REGULATION OF URANIUM MILL TAILINGS AT ACTIVE URANIUM MILLING SITES.

HEARINGS WERE HELD BY THE SUBCOMMITTEE ON ENERGY AND THE ENVIRONMENT ON THE PROBLEM
AT INACTIVE SITES ON JUNE 26 AND 27, 1978. TESTIMONY WAS PRESENTED ON H.R. 13382 JULY 10 AND 17.

WITNESSES AT THESE HEARINGS AGREED ON THE NECESSITY FOR REDUCING OR ELIMINATING
HAZARDS PRESENTED BY URANIUM MILL TAILINGS. SUBSTANTIAL DISAGREEMENT AROSE REGARDING
THE APPROPRIATE SHARE STATES AND THE FEDERAL GOVERNMENT SHOULD PAY OF THE COSTS OF
ANY REMEDIAL PROGRAM *23 FOR TAILINGS AT INACTIVE SITES, WITH A SIGNIFICANT NUMBER OF
WITNESSES AND MEMBERS ARGUING THAT THE REMEDIAL PROGRAM COSTS SHOULD BE COMPLETELY
ASSUMED BY THE FEDERAL GOVERNMENT.

ON AUGUST 3, 5, AND 9 OF 1978, THE COMMITTEE REVIEWED THE RECOMMENDATIONS OF THE
SUBCOMMITTEE ON ENERGY AND THE ENVIRONMENT WITH RESPECT TO H.R. 13650, AND ON AUGUST 9
BY UNANIMOUS VOICE VOTE RECOMMENDED THAT THE BILL BE ENACTED, WITH AN AMENDMENT.


                                              OVERSIGHT STATEMENT

SINCE THE LEGISLATION, IF ENACTED, WOULD AFFECT LAWS GOVERNING THE DISPOSAL OF NUCLEAR
WASTE AND THE REGULATION OF THE DOMESTIC NUCLEAR INDUSTRY, THE COMMITTEE ON INTERIOR
AND INSULAR AFFAIRS, PURSUANT TO RULE X, CLAUSES 2(B)(1) AND 3(E), WOULD HAVE OVERSIGHT
RESPONSIBILITY OVER ANY ACTION OF THE SECRETARY OF ENERGY OR THE NUCLEAR REGULATORY
COMMISSION TO COMPLY WITH THE MANDATE OF THE LEGISLATION. NO RECOMMENDATIONS WERE
SUBMITTED TO THE COMMITTEE PURSUANT TO RULE X, CLAUSE (2)(B)(2).


                                COST ESTIMATE AND BUDGET ACT COMPLIANCE

IN ACCORDANCE WITH RULE XIII, CLAUSE 7(A) OF THE HOUSE OF REPRESENTATIVES, THE COMMITTEE
HAS MADE AN ESTIMATE OF THE BUDGET AUTHORITY WHICH WOULD BE REQUIRED TO CARRY OUT H.R.
9203 FOR THE FISCAL YEAR BEGINNING ON OCTOBER 1, 1979.

EFFECTIVE OCTOBER 1, 1978, THE BILL AUTHORIZES $180 MILLION TO BE APPROPRIATED FOR THE
DEPARTMENT OF ENERGY TO CARRY OUT THE REMEDIAL PROGRAM UNDER TITLE I. THIS AMOUNT IS IN
ADDITION TO $3 MILLION AUTHORIZED BY H.R. 11392 FOR THE DEPARTMENT TO CARRY OUT ACTIVITIES

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 173
                                                            Page: 14ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1854
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H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



UNDER TITLE I DURING FISCAL YEAR 1979, WHICH AUTHORIZATION IS SUBJECT TO ENACTMENT OF THIS
ACT.

**7446 ANOTHER $500,000 IS AUTHORIZED FOR FISCAL YEAR 1980 FOR THE NUCLEAR REGULATORY
COMMISSION TO MAKE GRANTS TO STATES TO AID THEM IN IMPLEMENTING THE REQUIREMENTS OF
TITLE II.

NO COST ESTIMATE FROM THE CONGRESSIONAL BUDGET OFFICE WAS TIMELY SUBMITTED TO THE
COMMITTEE FOR INCLUSION IN THIS REPORT.


                                              INFLATIONARY IMPACT

IN ACCORDANCE WITH RULE XI, CLAUSE 2(1)(4) OF THE RULES OF THE HOUSE OF REPRESENTATIVES,
THE COMMITTEE HAS DETERMINED THAT THIS LEGISLATION WILL HAVE NO SIGNIFICANT IMPACT ON
PRICES OR COSTS AFFECTING THE NATIONAL ECONOMY.


                                             DEPARTMENTAL REPORTS

THE COMMITTEE RECEIVED REPORTS FROM TWO ADMINISTRATION AGENCIES EXPRESSING CONCERNS
WITH CERTAIN ASPECTS OF H.R. 13650. ON JULY 13, A COMMUNICATION FROM THE ENVIRONMENTAL
PROTECTION AGENCY SUGGESTED AMENDMENTS TO WHAT BECAME TITLE II OF H.R. 13650. (THE EPA
LETTER EXPRESSED SUPPORT FOR LEGISLATION IN TITLE I OF THE BILL.) ON AUGUST 3, 1978, THE
DEPARTMENT OF ENERGY SENT A LETTER EXPRESSING OBJECTIONS TO THREE ACTIONS OF THE
SUBCOMMITTEE ON ENERGY AND THE ENVIRONMENT WITH RESPECT TO TITLE I OF THE BILL. BOTH
COMMUNICATIONS ARE PRINTED BELOW:

*24 U.S. ENVIRONMENTAL PROTECTION AGENCY,

WASHINGTON, D.C., JULY 13, 1978.

HON. MORRIS UDALL,

CHAIRMAN, SUBCOMMITTEE ON ENERGY AND THE ENVIRONMENT,

COMMITTEE ON INTERIOR AND INSULAR AFFAIRS,

HOUSE OF REPRESENTATIVES,

WASHINGTON, D.C.

DEAR MR. CHAIRMAN: IT HAS COME TO MY ATTENTION THAT YOUR SUBCOMMITTEE IS PLANNING TO
PROCEED ON JULY 17 WITH MARKING UP TWO BILLS DEALING WITH THE PROBLEM OF URANIUM MILL
TAILINGS. ONE OF THE BILLS, H.R. 12535, IS THE ADMINISTRATION BILL FOR REMEDIAL ACTION FOR
INACTIVE URANIUM MILL TAILINGS SITES. WE HAVE TESTIFIED ON THIS BILL BEFORE CONGRESSMAN
DINGELL’S SUBCOMMITTEE ON ENERGY AND POWER, AND WE SUPPORT IT. THE OTHER BILL IS H.R.
13382, THE URANIUM MILL TAILINGS LICENSING ACT OF 1978, WHICH WAS INTRODUCED BY YOU ON
JUNE 29, 1978, AND WE HAVE NOT HAD AN OPPORTUNITY TO COMMENT OR TESTIFY ON THIS BILL
BEFORE YOUR SUBCOMMITTEE PRIOR TO MARKUP. BASED ON OUR REVIEW OF THE BILL, WE DO HAVE
SOME SUBSTANTIVE PROBLEMS WHICH COULD EASILY BE SOLVED BY AMENDING THE BILL AS
DESCRIBED BELOW.

H.R. 13382 HAS SEVERAL PURPOSES:


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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 174
                                                            Page: 15ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1855
                                                                                      963


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



1. TO AUTHORIZE THE COMMISSION TO EXERCISE DIRECT LICENSING AND REGULATION OF THE
NATURALLY OCCURRING DAUGHTER PRODUCTS OF URANIUM AND THORIUM FOUND IN URANIUM MILL
TAILINGS;

2. TO REINFORCE THE COMMISSION’S AUTHORITY TO REQUIRE SECURE FINANCIAL ARRANGEMENTS TO
INSURE THE PROPER DECOMMISSIONING, DECONTAMINATION, RECLAMATION, AND LONG-TERM CARE
IF NECESSARY, OF RADIOACTIVELY CONTAMINATED SITES, STRUCTURES, AND EQUIPMENT;

3. TO FACILITATE STATE OWNERSHIP AND AUTHORIZE FEDERAL OWNERSHIP OF MILL TAILINGS
DISPOSAL AREAS; AND

**7447 4. TO AUTHORIZE STATE REGULATION OF URANIUM MILL TAILINGS UNDER SECTION 274 OF THE
ACT AND TO REQUIRE AGREEMENT STATES TO REGULATE URANIUM MILL TAILINGS WITHIN THEIR
JURISDICTION TO AT LEAST THE SAME SUBSTANTIVE STANDARDS REQUIRED BY THE COMMISSION FOR
ITS LICENSEES.

OUR CONCERNS DEAL MAINLY WITH THE FIRST POINT, WHICH WOULD BE ACCOMPLISHED BY
INCLUDING URANIUM MILL TAILINGS UNDER THE DEFINITION OF ‘BYPRODUCT MATERIALS ‘ UNDER
THE ATOMIC ENERGY ACT OF 1954, AS AMENDED, THEREBY REMOVING URANIUM MILL TAILINGS FROM
THE SCOPE OF THE RESOURCE CONSERVATION AND RECOVERY ACT OF 1976 (RCRA).

EPA IS CONCERNED ABOUT CONSISTENCY BETWEEN REGULATORY APPROACHES TO THE URANIUM
MILL TAILINGS PROBLEM. THE NRC LEGISLATION IS APPLICABLE ONLY TO URANIUM MILL TAILINGS,
BUT OTHER WASTES, NOTABLY THOSE FROM THE PHOSPHATE INDUSTRY, POSE SIMILAR HAZARDS DUE
TO QUANTITY, CONFIGURATION AND RADIONUCLIDE CONTENT AND WILL BE REGULATED UNDER
RCRA. LIKE URANIUM TAILINGS, THESE WASTES ARE GENERATED IN LARGE QUANTITIES; THEY
CONTAIN RADIUM, THE PRINCIPAL RADIONUCLIDE OF CONCERN; THEY ARE DISPERSED THROUGHOUT A
NONRADIOACTIVE MEDIUM IN RELATIVELY LOW CONCENTRATIONS; AND THEY CREATE A HEALTH
HAZARD TO MEMBERS OF THE PUBLIC CHRONICALLY EXPOSED TO SUCH MATERIAL. IT WOULD BE
DUPLICATIVE AND INCONSISTENT TO HAVE DIFFERENT REGULATIONS FOR SIMILAR *25 WASTES
RENDERED HAZARDOUS BY IDENTICAL RADIOACTIVE CONSTITUENTS. COMPLICATIONS MAY ARISE
ESPECIALLY IN CONNECTION WITH THE REGULATION OF DISPOSAL BY THE PHOSPHATE INDUSTRY. FOR
EXAMPLE, SOME PHOSPHATE MINING WASTES ARE BEING REPROCESSED TO EXTRACT URANIUM.

EPA IS ALSO CONCERNED ABOUT THE NONRADIOACTIVE HAZARDOUS CHARACTERISTICS OF THE
WASTE. UNDER SECTION 6001 OF RCRA, ALL DEPARTMENTS, AGENCIES AND INSTRUMENTALITIES OF
THE FEDERAL GOVERNMENT ARE SUBJECT TO SUBSTANTIVE AND PROCEDURAL RCRA REQUIREMENTS.
IF THE URANIUM MILL TAILINGS ALSO HAVE TOXIC CHARACTERISTICS, THEIR MANAGEMENT SHOULD
BE COMPATIBLE WITH RCRA PROVISIONS.

TO ADDRESS THESE CONCERNS, SEVERAL AMENDMENTS SHOULD BE MADE TO THE BILL. FIRST, IT
SHOULD SPECIFY THAT FOR THE PURPOSES OF 40 CFR 190, THE URANIUM FUEL CYCLE STANDARDS, AND
FOR ALL OTHER PURPOSES, THE BILL IS NOT INTENDED TO AFFECT EPA’S GENERALLY APPLICABLE
AUTHORITY UNDER THE ATOMIC ENERGY ACT, AS AMENDED, AND REORGANIZATION PLAN NO. 3 OF
1970, OR ANY EPA AUTHORITY UNDER THE CLEAN AIR ACT.

THE BILL SHOULD ALSO REQUIRE EPA TO SET ENVIRONMENTAL STANDARDS AND CRITERIA FOR
MANAGEMENT OF URANIUM MILL TAILINGS AND SPECIFY THAT THE LICENSING BY NRC UNDER THE
AMENDED ATOMIC ENERGY ACT IMPLEMENT THESE STANDARDS AND CRITERIA. THE BILL SHOULD
FURTHER PROVIDE THAT THE LICENSE CONDITIONS REQUIRED BY NRC CONTAIN SUBSTANTIVE
REQUIREMENTS COMPARABLE TO THOSE OF RCPA. THE FOLLOWING LANGUAGE COULD INCORPORATE
THESE SUGGESTIONS INTO THE BILL:

‘THE ENVIRONMENTAL PROTECTION AGENCY SHALL, AFTER NOTICE OF PROPOSED RULEMAKING AND

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 175
                                                            Page: 16ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1856
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H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



OPPORTUNITY FOR ORAL PRESENTATION OF VIEWS, DATA AND ARGUMENTS, PRESCRIBE STANDARDS
AND CRITERIA TO ASSURE THAT PUBLIC HEALTH AND THE ENVIRONMENT ARE ADEQUATELY
PROTECTED IN CONNECTION WITH THE MANAGEMENT OF URANIUM MILL TAILINGS. THE STANDARDS
AND CRITERIA SHALL BE APPLICABLE TO HAZARDOUS RADIOACTIVE AND NONRADIOACTIVE
CHARACTERISTICS OF THE URANIUM MILL TAILINGS.

**7448 ‘IN DEVELOPING CRITERIA AND STANDARDS UNDER THIS ACT, EPA WILL AVOID DUPLICATION OF
EFFORTS AND ENSURE CONSISTENCY TO THE MAXIMUM EXTENT PRACTICABLE WITH THE
REQUIREMENTS OF RCRA OF 1976, THE CLEAN AIR ACT OF 1970, AS AMENDED, AND ANY OTHER
FEDERAL LAW RELATING TO PROTECTION OF THE ENVIRONMENT.

‘NRC SHALL IMPLEMENT THESE STANDARDS AND CRITERIA IN ITS LICENSING ACTIVITIES UNDER THE
ATOMIC ENERGY ACT OF 1954, AS AMENDED. NRC SHALL ALSO ADOPT AND ENFORCE REQUIREMENTS
GOVERNING URANIUM MILL TAILINGS PROVIDING FOR THE USE BY LICENSEES OF ADDITIONAL
MEASURES COMPARABLE TO THOSE REQUIRED FOR HAZARDOUS MATERIALS UNDER SUBTITLE C OF
RCRA.‘

THE APPROACH THIS LANGUAGE TAKES TO SETTING STANDARDS AND CRITERIA HAS THE ADDITIONAL
BENEFIT OF BASIC CONSISTENCY WITH THE APPROACH TAKEN IN THE ADMINISTRATION’S BILL, H.R.
12535, DEALING WITH REMEDIAL ACTION AT INACTIVE SITES.

I HOPE THESE COMMENTS WILL BE HELPFUL TO THE SUBCOMMITTEE IN ITS CONTINUED WORK ON THE
URANIUM MILL TAILINGS PROBLEM.

SINCERELY YOURS,

DOUGLAS M. COSTLE.

*26 DEPARTMENT OF ENERGY,

WASHINGTON, D.C., AUGUST 3, 1978.

HON. MORRIS K. UDALL,

CHAIRMAN, COMMITTEE ON INTERIOR AND INSULAR AFFAIRS,

WASHINGTON, D.C.

DEAR MR. CHAIRMAN: ON JULY 20 AND 27, 1978, THE SUBCOMMITTEE ON ENERGY AND ENVIRONMENT
CONDUCTED A MARKUP OF THE RESIDUAL RADIOACTIVE MATERIALS ACT OF 1978 (THE
ADMINISTRATION BILL). DURING THE MARKUP THE SUBCOMMITTEE AGREED TO THE FOLLOWING
CHANGES IN THE ADMINISTRATION BILL WITH RESPECT TO WHICH THE DEPARTMENT OF ENERGY (DOE)
WISHES TO EXPRESS ITS CONCERN:

1. A 90-PERCENT FEDERAL/10-PERCENT STATE SHARE OF THE COSTS OF THE REMEDIAL ACTION WITH AN
ABSOLUTE CEILING ON ANY STATE’S CUMULATIVE SHARE EQUAL TO ONE-QUARTER OF 1 PERCENT OF
THE STATE’S GENERAL REVENUE IN THE YEAR OF ENACTMENT;

2. A CONCURRENCE ROLE, AS OPPOSED TO A CONSULTATION ROLE, FOR THE STATES IN THE
DETERMINATION OF THE REMEDIAL ACTION; AND

3. DELETION OF THE SUBSECTIONS OF THE ADMINISTRATION BILL RELATING TO THE RELEASE OF THE
UNITED STATES FROM LIABILITY IN CONNECTION WITH THE PERFORMANCE OF THE REMEDIAL ACTION.


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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 176
                                                            Page: 17ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1857
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H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



                                             COST SHARING FORMULA

FOR REASONS MADE CLEAR IN THE SUBCOMMITTEE RECORD, DOE IS OPPOSED TO THE FUNDING
FORMULA AGREED TO BY THE SUBCOMMITTEE. OF PARTICULAR CONCERN IS THE CEILING IMPOSED ON
A STATE’S CONTRIBUTION TO THE REMEDIAL ACTION PROGRAM. IN PRACTICE, IMPOSITION OF SUCH A
CEILING COULD CREATE SERIOUS PROBLEMS ONCE THE REMEDIAL ACTION PROGRAM IS UNDERWAY.

ONE OF DOE’S PRIMARY OBJECTIVES WITH RESPECT TO THIS PROGRAM IS THE ACCOMPLISHMENT OF
THE CLEANUP OF THE 22 SPECIFIED SITES WITHIN THE ESTIMATED BUDGET OF BETWEEN $80 MILLION
AND $125 MILLION. IN ORDER TO ACHIEVE THIS GOAL IT IS IMPERATIVE THAT THE STATES HAVE MORE
THAN A MINIMAL, PRELIMINARY FINANCIAL INVOLVEMENT IN THE REMEDIAL PROGRAM. SHOULD
CHANGES IN THE PROGRAM BECOME NECESSARY AFTER ITS COMMENCEMENT, **7449 THE STATES
SHOULD HAVE AN ONGOING CONCERN WITH THE RELATIVE COSTS ASSOCIATED WITH THESE CHANGES.
ADDITIONALLY, THE SECRETARY HAS BEEN PROVIDED DISCRETIONARY AUTHORITY TO DESIGNATE
WITHIN 5 YEARS OF ENACTMENT OF THE LEGISLATION ADDITIONAL SITES FOR THE PURPOSE OF
REMEDIAL ACTION. IT IS REASONABLE TO EXPECT THAT A SIGNIFICANT AMOUNT OF PRESSURE WILL BE
EXERTED UPON THE SECRETARY BY STATE AND PRIVATE PARTIES TO DESIGNATE ADDITIONAL SITES
WITHIN THIS 5-YEAR PERIOD. AT A MINIMUM ADDITIONAL SITES, IF DESIGNATED, SHOULD BE
EXEMPTED FROM APPLICATION OF THE CEILING IN ORDER TO MINIMIZE SUCH PRESSURE.


                                                    STATE ROLE

UNDER THE ADMINISTRATION BILL, THE APPROPRIATE REMEDIAL ACTION WOULD BE DETERMINED BY
THE SECRETARY AFTER CONSULTATION WITH THE STATE; THE STATE WOULD THEN DESIGNATE THE
DISPOSAL SITE OR LONG-TERM STABILIZATION OF THE TAILINGS. IN PROPOSING THIS TYPE OF STATE
ROLE, IT WAS DOE’S INTENTION TO AFFORD THE STATES FULL PARTICIPATION AT EVERY LEVEL OF THE
DECISION MAKING PROCESS. THEREFORE, THE PHILOSOPHY UNDERLYING THE SUBCOMMITTEE’S
DECISION TO PROVIDE CONCURRENCE AUTHORITY TO THE *27 STATES IS NOT DISSIMILAR TO DOE’S
OBJECTIVES. WE ARE CONCERNED, HOWEVER, AS TO HOW STATES COULD OBTAIN AUTHORITY TO
GRANT THIS CONCURRENCE UNDER STATE LAW. SUCH AUTHORITY, IF REQUIRED TO BE SECURED
THROUGH NEW STATE LEGISLATION, COULD CAUSE SIGNIFICANT DELAYS IN THE REMEDIAL ACTION
PROGRAM AND CREATE UNNECESSARY PROBLEMS WITHIN THE STATES. THE LANGUAGE IN THE
ADMINISTRATION BILL ACHIEVES THE SAME OBJECTIVES WITHOUT CREATING SUCH POTENTIAL
LEGISLATIVE HURDLES.


                                               RELEASE OF LIABILITY

THE QUESTION OF LIMITING THE LIABILITY OF THE UNITED STATES IN CONNECTION WITH THE
PERFORMANCE OF THE REMEDIAL ACTION IS A SENSITIVE AND COMPLEX ONE, AND WARRANTS A MORE
THOROUGH STUDY THAN IS CONTAINED IN THE ONE PARAGRAPH SUMMARY IN THE ISSUE PAPER
PRESENTED TO THE SUBCOMMITTEE ON JULY 20, 1978.

THE LANGUAGE PROPOSED BY THE ADMINISTRATION EFFECTS ONLY A LIMITED RELEASE OF LIABILITY
DATING FROM ENACTMENT OF THE LEGISLATION THROUGH THE COMPLETION OF THE REMEDIAL
ACTION. SUCH A RELEASE WOULD NOT AFFECT THE U.S. LIABILITY, IF ANY, EITHER PRIOR TO OR AFTER
COMPLETION OF THE REMEDIAL ACTION. SINCE THE BASIS UPON WHICH THE REMEDIAL ACTION
PROGRAM IS BEING UNDERTAKEN IS ONE OF COMPASSIONATE RATHER THAN LEGAL RESPONSIBILITY,
DOE CONSIDERS THE INCLUSION OF A LIMITED RELEASE OF LIABILITY TO BE REASONABLE AND
PROPER.

WHILE WE RECOGNIZE AND UNDERSTAND THE MOTIVATIONS WHICH HAE PROMPTED THE
SUBCOMMITTEE’S ACTIONS WITH RESPECT TO THE ADMINISTRATION BILL, THE MODIFICATIONS
ADOPTED ARE CONTRARY TO DOE’S OBJECTIVES AS EXPRESSED ABOVE. WITH RESPECT TO THE THREE

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    48-9Filed: 01/28/22
                                           Filed: 02/06/17Page: 177
                                                            Page: 18ofof903
                                                                         18 PageID
                                                                            PageID #:
                                                                                   #: 1858
                                                                                      966


H.R. REP. 95-1480(I), H.R. REP. 95-1480(I) (1978)



MAJOR ISSUES OF FUNDINGS, STATE ROLE, AND LIABILITY, DOE IS CONCERNED THAT THE
SUBCOMMITTEE’S CHANGES COULD RESULT IN DELAYS IN IMPLEMENTATION OF AND COST OVERRUNS
FOR THE REMEDIAL ACTIONS.

**7450 WE APPRECIATE THE TIME AND EFFORT THAT THE SUBCOMMITTEE HAS SPENT IN MARKING UP
THIS LEGISLATION. MY STAFF AND I WILL BE HAPPY TO PROVIDE ANY ASSISTANCE THE FULL
COMMITTEE MAY REQUIRE DURING ITS MARKUP.

SINCERELY,

JOHN F. O’LEARY,

DEPUTY SECRETARY.


                                                      ****


1 H.R. 12535, INTRODUCED BY MR. UDALL (FOR THE ADMINISTRATION), H.R. 12938, INTRODUCED BY MR.
MARRIOTT, AND H.R. 13049, INTRODUCED BY MR. JOHNSON OF COLORADO.

2 H.R. 13382 BY MR. UDALL.

(Note: 1. PORTIONS OF THE SENATE, HOUSE AND CONFERENCE REPORTS, WHICH ARE DUPLICATIVE OR
ARE DEEMED TO BE UNNECESSARY TO THE INTERPRETATION OF THE LAWS, ARE OMITTED. OMITTED
MATERIAL IS INDICATED BY FIVE ASTERISKS: *****. 2. TO RETRIEVE REPORTS ON A PUBLIC LAW, RUN A
TOPIC FIELD SEARCH USING THE PUBLIC LAW NUMBER, e.g., TO(99-495))


H.R. REP. 95-1480(I), H.R. REP. 95-1480, H.R. Rep. No. 1480(I), 95TH Cong., 2ND Sess. 1978, 1978 U.S.C.C.A.N. 7433,
1978 WL 8518 (Leg.Hist.)

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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4 Filed:
                                   48-10     01/28/22
                                          Filed:       Page:
                                                 02/06/17    1781ofof903
                                                          Page:       28 PageID
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         EXHIBIT 10
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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4 Filed:
                                    48-10     01/28/22
                                           Filed:       Page:
                                                  02/06/17    1792ofof903
                                                           Page:       28 PageID
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)




      H.R. REP. 95-1480(II), H.R. REP. 95-1480, H.R. Rep. No. 1480(II), 95TH Cong., 2ND Sess. 1978, 1978
                                  U.S.C.C.A.N. 7450, 1978 WL 8519 (Leg.Hist.)
             **7450 P.L. 95-604, URANIUM MILL TAILINGS RADIATION CONTROL ACT OF 1978
                                            SEE PAGE 92 STAT. 3021
                     HOUSE REPORT (INTERIOR AND INSULAR AFFAIRS COMMITTEE)
                          NO. 95-1480(I), AUG. 11, 1978 (TO ACCOMPANY H.R. 13650)
                  HOUSE REPORT (INTERSTATE AND FOREIGN COMMERCE COMMITTEE)
                         NO. 95-1480(II), SEPT. 30, 1978 (TO ACCOMPANY H.R. 13650)
                                        CONG. RECORD VOL. 124 (1978)
                                 DATES OF CONSIDERATION AND PASSAGE
                                          HOUSE OCTOBER 3, 14, 1978
                                        SENATE OCTOBER 13, 15, 1978
                     NO SENATE REPORT WAS SUBMITTED WITH THIS LEGISLATION.


(CONSULT NOTE FOLLOWING TEXT FOR INFORMATION ABOUT OMITTED MATERIAL. EACH COMMITTEE
                    REPORT IS A SEPARATE DOCUMENT ON WESTLAW.)


                                          HOUSE REPORT NO. 95-1480(II)

                                                 SEPTEMBER 30, 1978

                                                       ****

*1 THE COMMITTEE ON INTERSTATE AND FOREIGN COMMERCE, TO WHOM WAS REFERRED THE BILL
(H.R. 13650) TO AUTHORIZE THE SECRETARY OF ENERGY TO ENTER INTO COOPERATIVE AGREEMENTS
WITH CERTAIN STATES RESPECTING RESIDUAL RADIOACTIVE MATERIAL AT EXISTING SITES, TO
PROVIDE FOR THE REGULATION OF URANIUM MILL TAILINGS UNDER THE ATOMIC ENERGY ACT OF 1954,
AND FOR OTHER PURPOSES, HAVING CONSIDERED THE SAME, REPORT FAVORABLY THEREON WITH AN
AMENDMENT AND RECOMMEND THAT THE BILL AS AMENDED DO PASS.


                                                       ****


                                              *23 PURPOSE OF THE BILL

H.R. 13650, AS REPORTED BY THE COMMITTEE, ESTABLISHED A REMEDIAL ACTION PROGRAM AT
CERTAIN INACTIVE URANIUM MILL TAILINGS SITES FOR THE PURPOSE OF PROTECTING THE PUBLIC
FROM POSSIBLE RADIATION HEALTH HAZARDS RESULTING FROM SUCH TAILINGS, AMENDS THE
ATOMIC ENERGY ACT OF 1954 TO REGULATE CONTROL, AND LICENSE CERTAIN BYPRODUCT MATERIAL
AT EXISTING AND FUTURE ACTIVE MILL TAILINGS OPERATINGS, AND PROVIDES A STUDY OF CERTAIN
SITES, AND, IN ADDITION, POSSIBLE LIMITED REMEDIAL ACTION AT SUCH SITES IF REGULATORY
AUTHORITY UNDER THE 1954 ACT, AS AMENDED BY THIS BILL, PROVES INADEQUATE.


                                          *24 LEGISLATIVE BACKGROUND

ON APRIL 27, 1978 THE DEPARTMENT OF ENERGY, ON BEHALF OF THE ADMINISTRATION, SUBMITTED TO
THE CONGRESS LEGISLATION TO ESTABLISH A REMEDIAL ACTION PROGRAM AT INACTIVE MILL
TAILINGS SITES THROUGH COOPERATIVE ARRANGEMENTS BETWEEN THE SECRETARY OF ENERGY AND
THE STATES AND INDIAN TRIBES. ON MAY 3, 1978, THE CHAIRMAN OF THE COMMITTEE ON INTERIOR
AND INSULAR AFFAIRS, CONGRESSMAN MORRIS K. UDALL, AND THE CHAIRMAN OF THE COMMITTEE,

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4 Filed:
                                    48-10     01/28/22
                                           Filed:       Page:
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                                                           Page:       28 PageID
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



CONGRESSMAN HARLEY O. STAGGERS, INTRODUCED THE ADMINISTRATION PROPOSAL AS H.R. 12535.

**7451 ON JUNE 29, 1978, CONGRESSMAN UDALL ALSO INTRODUCED H.R. 13382 WHICH PROVIDED FOR
THE REGULATION OF ACTIVE URANIUM MILL TAILINGS SITES. THAT BILL WAS BASED ON A PROPOSAL
DEVELOPED BY THE NUCLEAR REGULATORY COMMISSION.

THREE BILLS, SIMILAR TO H.R. 12535, WERE INTRODUCED BY CONGRESSMAN MARRIOTT. THEY ARE:

H.R. 11698, INTRODUCED ON MARCH 21, 1978.

H.R. 12229, INTRODUCED ON APRIL 19, 1978 AND CO-SPONSORED BY CONGRESSMEN ARMSTRONG,
BAUMAN, EDWARDS OF OKLAHOMA, HANSEN, JOHNSON OF COLORADO, KAZEN, LUJAN, MURPHY OF
PENNSYLVANIA, RHODES, RONCALIO, RUDD, RUNNELS, SKUBITZ, SYMMS, AND WEAVER.

H.R. 12938, INTRODUCED ON JUNE 1, 1978, WAS ALSO CO-SPONSORED BY THESE CONGRESSMEN AND
CONGRESSMEN MCDADE, RUPPE, AND STUMP.

ALL OF THESE BILLS WERE REFERRED JOINTLY TO THE COMMITTEE ON INTERIOR AND INSULAR
AFFAIRS AND THIS COMMITTEE. HEARINGS WERE HELD ON THE BILL IN JUNE 1978 BY THE
SUBCOMMITTEE ON ENERGY AND THE ENVIRONMENT OF THE INTERIOR AND INSULAR AFFAIRS
COMMITTEE. ON JULY 28, 1978, CHAIRMAN UDALL INTRODUCED H.R. 13650 WHICH IS COSPONSORED BY
CONGRESSMEN LUJAN, SHARP, MARRIOTT, JOHNSON OF COLORADO, MCKAY, VENTO, KAZEN,
RONCALIO, BAUMAN, AND RHODES. H.R. 12535 AND H.R. 13382, AS WELL AS SOME FEATURES OF THE
OTHER BILLS.

THE SUBCOMMITTEE ON ENERGY AND POWER, CHAIRED BY CONGRESSMAN JOHN D. DINGELL, HELD
HEARINGS ON ALL OF THESE BILL ON JUNE 19 AND 20 AND ON AUGUST 2, 1978. TESTIMONY WAS
RECEIVED FROM REPRESENTATIVES OF INDUSTRY, THE NATIONAL GOVERNORS ASSOCIATION, THE
ENVIRONMENTAL POLICY CENTER, THE DEPARTMENT OF ENERGY, THE NUCLEAR REGULATORY
COMMISSION, AND THE ENVIRONMENTAL PROTECTION AGENCY.

ON AUGUST 11, 1978, THE COMMITTEE ON INTERIOR AND INSULAR AFFAIRS REPORTED H.R. 13650 IN
AMENDED FORM (H. REPT. 95-1480, PART I). ON SIMILAR VERSION OF THE BILL. THEREAFTER,
SUBCOMMITTEE CHAIRMAN DINGELL AND CHAIRMAN UDALL, TOGETHER WITH REPRESENTATIVES OF
THE MINORITY ON BOTH COMMITTEES, DEVELOPED AMENDMENTS TO THE ENERGY AND POWER
VERSION IN ORDER TO RECONCILE THE TWO VERSIONS AND HAVE THE AMENDED BILL CONSIDERED BY
THE FULL HOUSE. THE COMMITTEE REPORTED H.R. 13650 WITH AN AMENDMENT THAT INCLUDES THE
PROVISIONS SUGGESTED BY THE COMMITTEE ON INTERIOR AND INSULAR AFFAIRS. CHAIRMAN UDALL
HAS INDICATED THAT HE SUPPORTS THIS AMENDED VERSION.


                                 *25 BACKGROUND AND NEED FOR LEGISLATION


                                  A. NEED FOR A REMEDIAL ACTION PROGRAM

URANIUM MILLS ARE A PART OF THE NUCLEAR FUEL CYCLE. THEY EXTRACT URANIUM FROM ORE FOR
EVENTUAL USE IN NUCLEAR WEAPONS AND POWERPLANTS, LEAVING RADIOACTIVE SAND-LIKE
WASTE-- COMMONLY CALLED URANIUM MILL TAILINGS-- IN GENERALLY UNATTENDED PILES. AS A
RESULT OF MANY YEARS OF URANIUM ORE PROCESSING, ABOUT 140 MILLION TONS HAVE NOW
ACCUMULATED AT ACTIVE AND INACTIVE MILLING SITES, ACCORDING TO THE NUCLEAR REGULATORY
COMMISSION.

**7452 NRC CHAIRMAN, DR. JOSEPH N. HENRIE, DESCRIBES HOW THESE PILES ARE A HAZARD TO THE
PUBLIC HEALTH:

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4 Filed:
                                    48-10     01/28/22
                                           Filed:       Page:
                                                  02/06/17    1814ofof903
                                                           Page:       28 PageID
                                                                          PageID #:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)




THE NRC BELIEVES THAT LONG-TERM RELEASE FROM TAILINGS PILES MAY POSE A RADIATION HEALTH
HAZARD IF THE PILES ARE NOT EFFECTIVELY STABILIZED TO MINIMIZE RADON RELEASES AND
PREVENT UNAUTHORIZED USE OF THE TAILINGS.


                                                      ****

UNLIKE HIGH-LEVEL RADIOACTIVE WASTE FROM THE BACK END OF THE NUCLEAR FUEL CYCLE, WHICH
CONTAINS PRODUCTS OF THE FISSION REACTION, MILL TAILINGS CONTAIN ONLY NATURALLY
OCCURRING RADIOACTIVE ELEMENTS, IN SMALL QUANTITIES. THE RADIOACTIVE DECAY OF THESE
ELEMENTS LEADS TO PRODUCTION OF RADON, A RADIOACTIVE GAS WITH A HALF-LIFE OF ABOUT FOUR
DAYS, WHICH CAN DIFFUSE FROM A TAILINGS PILE INTO THE ATMOSPHERE AND SUBSEQUENTLY
EXPOSE PERSONS TO RADIATION FAR AWAY FROM THE PILE. THE INCREASED EXPOSURE COMPARED TO
EXPOSURE FROM RADON ALREADY IN THE ATMOSPHERE FROM OTHER SOURCES IS EXCEEDINGLY
SLIGHT, BUT THIS INCREASE IS IN EFFECT PERMANENT. THIS IS BECAUSE RADON PRODUCTION IN MILL
TAILINGS CONTINUES FOR TIMES OF THE ORDER OF A HUNDRED THOUSAND YEARS, SO THE TAILINGS
PILE BECOMES A PERPETUAL SOURCE INJECTING A SMALL AMOUNT OF RADON INTO THE ATMOSPHERE,
UNLESS SOME ACTION IS TAKEN TO KEEP THE RADON FROM ESCAPING.

THE HEALTH EFFECTS OF THIS RADON PRODUCTION ARE TINEY AS APPLIED TO ANY ONE GENERATION,
BUT THE SUM OF THESE EXPOSURES CAN BE MADE LARGE BY COUNTING FAR INTO THE FUTURE, LARGE
ENOUGH IN FACT TO BE THE DOMINANT RADIATION EXPOSURE FROM THE NUCLEAR FUEL CYCLE.
WHETHER IT IS MEANINGFUL TO ATTACH SIGNIFICANCE TO RADIATION EXPOSURES THOUSANDS OF
YEARS IN THE FUTURE, OR CONVERSELY, WHETHER IT IS JUSTIFIABLE TO IGNORE THEM, ARE
QUESTIONS WITHOUT EASY ANSWERS. THE MOST SATISFACTORY APPROACH IS TO REQUIRE EVERY
REASONABLE EFFORT TO DISPOSE OF TAILINGS IN A WAY THAT MINIMIZES RADON DIFFUSION INTO THE
ATMOSPHERE.

THE ASSISTANT ADMINISTRATOR FOR AIR AND WASTE MANAGEMENT OF THE ENVIRONMENTAL
PROTECTION AGENCY, MR. DAVID G. HAWKINS, TESTIFIED CONCERNING THE HEALTH PROBLEMS AT
THESE SITES AS FOLLOWS:

A SUMMARY TABLE IS GIVEN BELOW WHICH LISTS EACH SITE AND AN ESTIMATE OF THE 25-YEAR
CUMULATIVE POTENTIAL LUNG CANCERS FROM INHALATION OF RADON DAUGHTERS IF THE SITE WERE
LEFT AS IT IS.

*26 THE PEOPLE IN THE AREA ARE NOT NECESSARILY ‘THREATENED‘ BY THESE TAILINGS. THE RISK FOR
POTENTIAL LUNG CANCER IS INCREASED DUE TO RADON EMANATING FROM THE TAILINGS PILE. THE
CALCULATIONS GIVEN IN THE TABLE REFLECT A STATISTICAL INCREASE IN EFFECTS BASED ON THE
NUMBER OF PEOPLE ESTIMATED TO BE EXPOSED. THEREFORE HIGHLY POPULATED AREAS SHOW
GREATER TOTAL EFFECTS THAN LOW POPULATION AREAS. IN ALL CASES THE INDIVIDUAL RISK IS LESS
THAN 1X10.4 PER YEAR.

**7453 SUMMARY OF PHASE II REPORTS-- HEALTH EFFECTS

SITE . . . . . 25-YEAR POTENTIAL LUNG CANCERS

VITRO (SALT LAKE CITY, UTAH) . . . . . 24

DURANGO, COLO . . . . . 6

SHIPROCK, N. MEX . . . . . 5

GRAND JUNCTION, COLO . . . . . 3
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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4 Filed:
                                    48-10     01/28/22
                                           Filed:       Page:
                                                  02/06/17    1825ofof903
                                                           Page:       28 PageID
                                                                          PageID #:
                                                                                 #: 1863
                                                                                    971


H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)




RIVERTON, WYO . . . . . 2

GUNNISON, COLO . . . . . 1

RIFLE, COLO. (OLD AND NEW) . . . . . 1

MEXICAN HAT, UTAH . . . . . .2

LAKEVIEW, OREG . . . . . .2

FALLS CITY, TEX . . . . . .1

TUBA CITY, ARIZ . . . . . .1

NATURITA, COLO . . . . . .1

AMBROSIA LAKE, N. MEX . . . . . .1

GREEN RIVER, UTAH . . . . . .02

SLICK ROCK, COLO. (2 SITES) . . . . . .02

MAYBELL, COLO . . . . . .02

MONUMENT VALLEY, ARIZ . . . . . .02

LOWMAN, IDAHO . . . . . .002

CONVERSE COUNTY, WYO . . . . . .001

THE POTENTIAL HEALTH EFFECTS FROM RADON DAUGHTERS WERE CALCULATED BY DOE’S
CONTRACTOR ON A ABSOLUTE RISK BASIS. THIS IS THE NUMERICAL INCREASE IN THE NUMBER OF
CANCERS PER UNIT OF EXPOSURE. ANOTHER BASIS FOR THE RISK ESTIMATES IS THE RELATIVE RISK
APPROACH, WHICH MAY GIVE RISK VALUES HIGHER BY AN ORDER OF MAGNITUDE. THE RELATIVE RISK
ESTIMATE, IS THE ESTIMATED PERCENT INCREASE IN CANCER PER UNIT OF EXPOSURE.
UNFORTUNATELY, EXISTING INFORMATION DOES NOT ALLOW ONE TO MAKE AN UNEQUIVOCAL
CHOICE, AND THUS IT MUST BE KEPT IN MIND THAT THESE PROJECTIONS OF HEALTH IMPACT ARE
SOMEWHAT UNCERTAIN AND BASED ON EXTRAPOLATIONS FROM A SELECT POPULATION, NAMELY
UNDERGROUND URANIUM MINERS

THE DOE AND OTHERS CONTEND THAT AT THESE INACTIVE SITES, TAILINGS ‘RESULTED FROM THE
OPERATIONS OF PRIVATE COMPANIES WHICH PROCESSED URANIUM ORE UNDER PROCUREMENT
CONTRACTS‘ FOR THE ATOMIC ENERGY COMMISSION FROM THE MID-1940’S TO 1970 AND THAT
STABILIZATION OF THE PILES ‘WAS NOT INCLUDED IN THESE CONTRACTS, LARGELY BECAUSE THESE
TAILINGS WERE NOT BELIEVED TO BE A PROBLEM.‘

IN MAY 1966, AN OFFICIAL OF THE FORMER AEC TESTIFIED BEFORE A SENATE COMMITTEE, SAYING:

THE COMMISSION RECOGNIZES THAT, LIKE TAILINGS PILES FROM OTHER ORE MILLING OPERATIONS,
TAILINGS CLOSE TO COMMUNITIES MAY INVOLVE DUSTING OR EROSION, OR MAY BE CONSIDERED
UNSIGHTLY. SOME OF THESE TAILINGS ACCUMULATIONS STARTED BEFORE WORLD WAR I WHEN
COLORADO ORES WERE PROCESSED FOR RADIUM RECOVERY. OTHER USE OF THE SAME ORES FOR
VANADIUM RECOVERY *27 AT A LATER TIME ADDED MORE TAILINGS. SINCE 1948 URANIUM AND

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
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                                    48-10     01/28/22
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



VANADIUM RECOVERY OPERATIONS MADE FURTHER ADDITIONS. BECAUSE MOST OF THE TAILINGS
HAVE RESULTED FROM OPERATIONS **7454 UNDER AEC URANIUM PROCUREMENT CONTRACTS, THE
COMMISSION IS ESPECIALLY INTERESTED IN APPROPRIATE REMEDIAL ACTIONS. THROUGH ITS DIVISION
OF RAW MATERIALS, THE COMMISSION HAS TAKEN ACTION AND WILL CONTINUE TO TAKE ACTION
THAT INVOLVES THE COOPERATIVE EFFORTS OF BOTH THE MILLING INDUSTRY AND STATE AGENCIES.
THIS INCLUDES THE ENCOURAGEMENT OF VOLUNTARY CONTROL BY THE MILLING COMPANIES AND
SUPPORT FOR THE DEVELOPMENT OF ADEQUATE AND EFFECTIVE STATE REGULATIONS COMPATIBLE
WITH EXECUTIVE ORDER 11258 ON ABATEMENT OF WATER POLLUTION BY FEDERAL ACTIVITIES. THE
COMMISSION PLANS TO CONTINUE ITS COOPERATIVE EFFORT WITH FEDERAL, STATE, AND LOCAL
AUTHORITIES AND WITH THE MILLING INDUSTRY TO ACHIEVE ADEQUATE POLLUTION CONTROL THE
COMMISSION WILL CONTINUE TO PARTICIPATE IN SPECIAL STUDIES, SPECIAL SURVEILLANCE, OR
OTHER TECHNICAL ASSISTANCE THAT MAY BE APPROPRIATE.

LATE IN 1966, THREE FEDERAL AGENCIES, INCLUDING AEC, ISSUED A ‘JOINT FEDERAL AGENCY POSITION
REGARDING CONTROL OF URANIUM MILL TAILINGS‘ WHICH STATES:

THE FEDERAL WATER POLLUTION CONTROL ADMINISTRATION, THE PUBLIC HEALTH SERVICE, AND THE
ATOMIC ENERGY COMMISSION AGREE THAT INACTIVE TAILINGS PILES RESULTING FROM URANIUM
MILLING OPERATIONS SHOULD BE STRUCTURALLY STABILIZED AND CONTAINED TO PREVENT WATER
AND WIND EROSION. ACTIVE TAILINGS PILES SHOULD BE MANAGED TO MINIMIZE SUCH EROSION
DURING USE.

PLANNING, MANAGEMENT, STABILIZATION AND CONTAINMENT OF TAILINGS PILES ARE VIEWED AS
BEING THE RESPONSIBILITY OF THE INDIVIDUAL MILL OWNERS. MILL OWNERS SHOULD DEVELOP,
WITHOUT UNDUE DELAY, SPECIFIC PLANS FOR ACCOMPLISHING SUCH MANAGEMENT, STABILIZATION
AND CONTAINMENT, AND SUBMIT SUCH PLANS THROUGH THE APPROPRIATE STATE REGULATORY
AGENCIES FOR APPROVAL. THE STAFFS OF THE FEDERAL WATER POLLUTION CONTROL
ADMINISTRATION, THE PUBLIC HEALTH SERVICE, AND THE ATOMIC ENERGY COMMISSION WILL BE
AVAILABLE TO THE STATE REGULATORY AGENCIES, UPON REQUEST, TO PROVIDE ADVICE AND
ASSISTANCE REGARDING THE DEVELOPMENT OF PILE STABILIZATION AND CONTAINMENT OBJECTIVES
AND MEASURES FOR ACHIEVING THEM.

COMPLIANCE BY MILL OWNERS WITH APPROVED PLANS FOR STABILIZATION AND CONTAINMENT
SHOULD BE RECOGNIZED AS CONSTITUTING FULFILLMENT OF MILL OWNER RESPONSIBILITY WITH
REGARD TO SUCH TAILINGS PILES. OBTAINING AND ENFORCEMENT OF TAILINGS PILES STABILIZATION
AND CONTAINMENT PLANS SHOULD REST INITIALLY WITH THE STATES CONCERNED.

THE DOE SAID THAT RESULTS OF THE EFFORTS MADE UNDER THE 1966 AGREEMENT WERE ‘FAR FROM
SATISFACTORY‘.

PRIOR TO THAT AGREEMENT, THE PUBLIC HEALTH SERVICE RECOMMENDED THAT ‘MEASURES SHOULD
BE TAKEN TO PREVENT THE EROSION AND SPREAD OF URANIUM MILL TAILINGS‘, ALTHOUGH STATING
THAT THERE ‘IS CURRENTLY NO SIGNIFICANT IMMEDIATE HAZARD ASSOCIATED WITH URANIUM MILL
TAILINGS ACTIVITIES ANYWHERE IN THE COLORADO RIVER BASIN.‘ ALSO, IN 1960, A WATER POLLUTION
CONFERENCE FOR THE COLORADO RIVER BASIN WAS HELD AND, AS A RESULT, MILL DISCHARGES WERE
REPORTEDLY REDUCED.

**7455 *28 THUS, IT IS CLEAR THAT IN THE 1960’S, THE FEDERAL GOVERNMENT AND SOME STATES
RECOGNIZED A HEALTH PROBLEM WITH THESE TAILINGS, BUT APPARENTLY THEY DID NOT RECOGNIZE
THE MAGNITUDE OF IT UNTIL THE EARLY 1970’S, WHEN AN INVESTIGATION BEGAN INTO THE USE OF
THESE TAILINGS FOR CONSTRUCTION PURPOSES.

REGULATORY AUTHORITY OVER TAILINGS PRESENTLY IS EXERTED BY THE NRC AND THE SO-CALLED
AGREEMENT STATES INDIRECTLY AS PART OF THE LICENSING OF ACTIVE MILLING OPERATIONS UNDER

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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4 Filed:
                                    48-10     01/28/22
                                           Filed:       Page:
                                                  02/06/17    1847ofof903
                                                           Page:       28 PageID
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



THE ATOMIC ENERGY ACT OF 1954. ONCE THESE OPERATIONS CEASE, HOWEVER, THE NRC AND THE
STATES GENERALLY HAVE NO FURTHER ROLE. AS ALREADY NOTED, THE FORMER ATOMIC ENERGY
COMMISSION WHICH REGULATED THESE MILLS DID NOT CONSIDER THE TAILINGS A SIGNIFICANT
HEALTH PROBLEM UNTIL THE LATE 1960’S.

IN 1972, CONGRESS ENACTED PUBLIC LAW 92-314 WHICH PROVIDES FINANCIAL ASSISTANCE TO THE
STATE OF COLORADO TO LIMIT RADIATION EXPOSURE RESULTING FROM THE USE OF THESE TAILINGS
FOR CONSTRUCTION PURPOSES IN GRAND JUNCTION, COLO. THAT LAW WAS AMENDED ON FEBRUARY
21, 1978, BY PUBLIC LAW 95-236 WHICH WAS ALSO CONSIDERED BY THIS COMMITTEE.

IN 1974, CONGRESS DIRECTED THAT THE THEN ENERGY RESEARCH AND DEVELOPMENT
ADMINISTRATION STUDY ALL INACTIVE URANIUM MILL TAILING SITES. A TWO-PHASED STUDY WAS
CONDUCTED OF A TOTAL OF 22 INACTIVE MILL SITES. MOST OF THESE PRODUCED URANIUM UNDER
CONTRACTS WITH THE AEC DURING THE PERIOD 1947 THROUGH 1970. THESE STUDIES WERE ALL
COMPLETED IN JANUARY 1978. ON THE BASIS OF THESE STUDIES THE DEPARTMENT OF ENERGY
DEVELOPED H.R. 12535 TO AUTHORIZE A REMEDIAL ACTION PROGRAM TO CLEAN UP THESE INACTIVE
SITES AND TO REDUCE, TO THE EXTENT PRACTICABLE, POSSIBLE PUBLIC EXPOSURE TO RADIATION
FROM THESE UNSTABILIZED TAILINGS PILES.

IN A COMMENTARY ON THE ADMINISTRATION’S PROPOSAL, THE GENERAL ACCOUNTING OFFICE, IN A
JUNE 20, 1978 REPORT ENTITLED, ‘THE URANIUM MILL TAILINGS CLEANUP: FEDERAL LEADERSHIP AT
LAST‘, EXPRESSED SUPPORT FOR THE ENACTMENT OF LEGISLATION TO DEAL WITH THIS HEALTH
PROBLEM, BUT POINTED OUT SEVERAL DISADVANTAGES AS FOLLOWS:

THE PROPOSED PROGRAM IS ESTIMATED TO COST UP TO $126 MILLION, WITH THE FEDERAL
GOVERNMENT BEARING THE HEAVIEST BURDEN, WHILE RECEIVING THE LEAST DIRECT BENEFITS.
MORE IMPORTANT, THE CLEANUP PROGRAM COULD BE CONSIDERED AS A PRECEDENT FOR THE
FEDERAL GOVERNMENT TO PAY FOR CLEANING UP OTHER NUCLEAR FACILITIES-- A FAR MORE COSTLY
ENDEAVOR THAN THE MILL TAILINGS CLEANUP. THIS IS EXTREMELY IMPORTANT BECAUSE THE
QUESTION OF WHO SHOULD PAY FOR CLEANING UP NUCLEAR FACILITIES HAS NOT YET BEEN
ANSWERED, PRIMARILY BECAUSE VERY LITTLE DECOMMISSIONING OF THESE FACILITIES HAS BEEN
DONE TO DATE.

FINALLY, WHILE NOT AS SERIOUS AS THE ABOVE, THE TECHNOLOGY TO STABILIZE THE MILL TAILINGS
HAS NOT BEEN FULLY DEVELOPED, POSSIBLY PREVENTING A TRULY SATISFACTORY RESOLUTION OF
THE PROBLEM AT THIS TIME.


                                     B. NEED FOR A REGULATORY PROGRAM

AS ALREADY NOTED, THE NRC NOW REGULATES THESE TAILINGS AT ACTIVE MILLS INDIRECTLY
THROUGH ITS LICENSING OF SOURCE MATERIAL MILLING *29 UNDER THE ATOMIC ENERGY ACT OF 1954,
LARGELY AS A RESULT OF THE ENACTMENT OF THE NATIONAL ENVIRONMENTAL POLICY ACT OF 1969.
STATES ARE PERMITTED **7456 UNDER THE 1954 ACT TO LICENSE URANIUM MILLING UNDER THEIR OWN
AUTHORITIES THROUGH AGREEMENT WITH THE NRC. FIVE OF THE 25 ‘AGREEMENT STATES‘ NOW HAVE
SUCH LICENSING PROGRAMS. HOWEVER, TAILINGS ARE NOT NOW SOURCE MATERIAL LICENSABLE BY
THE NRC. THUS, ONCE THE UNDERLYING SOURCE MATERIAL LICENSE FOR THE MILL TERMINATES,
THERE IS NO LONGER A ‘CLEAR LEGAL BASIS FOR FURTHER COMMISSION REGULATORY CONTROL OF
THE MILL TAILINGS‘, ACCORDING TO DR HENRIE. HE ADDED:

THE ENVIRONMENTAL PROTECTION AGENCY CAN EXERT REGULATORY AUTHORITY OVER URANIUM
MILL TAILINGS UNDER THE RESOURCE CONSERVATION AND RECOVERY ACT OF 1976. HOWEVER, EPA
HAS NO AUTHORITY OVER THE GENERATION OF THE TAILINGS (THE SOURCE MATERIAL MILLING
LICENSED BY THE COMMISSION OR AN AGREEMENT STATE) AND SO FAR THEY HAVE NOT DEVELOPED
ANY REGULATION TO IMPLEMENT THEIR AUTHORITY OVER THE DISPOSAL OF TAILINGS. I SHOULD
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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4 Filed:
                                    48-10     01/28/22
                                           Filed:       Page:
                                                  02/06/17    1858ofof903
                                                           Page:       28 PageID
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                                                                                 #: 1866
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



PERHAPS POINT OUT THAT THE RCRA DOES NOT GIVE ANY AUTHORITY WHATEVER TO THE NRC, AND
CONSEQUENTLY THE COMMISSION HAS NOT BEEN ABLE TO BASE ANY PLANS FOR TAILINGS
REGULATIONS ON THE PROVISIONS OF THAT ACT. FINALLY, TO COMPLETE THE COMPLICATED
REGULATORY PICTURE, IN AGREEMENT STATES IT IS THE STATE IN MOST CASES, RATHER THAN THE
COMMISSION, THAT EXERCISES REGULATORY CONTROL OVER THE URANIUM MILLING AND TAILINGS.

THIS SITUATION WAS DISCUSSED AT THE ENERGY AND POWER SUBCOMMITTEE HEARINGS ON H.R. 12535
AND RELATED BILLS ON JUNE 20, 1978. CHARMAN DINGELL URGED THE NRC TO SUBMIT QUICKLY TO
CONGRESS LEGISLATION TO DEAL WITH THIS PROBLEM IN ORDER TO PREVENT A REPEAT OF THE
SITUATION THAT LED TO THE NEED FOR, AND THE DEVELOPMENT OF, REMEDIAL LEGISLATION.
CHAIRMAN UDALL MADE A SIMILAR REQUEST. H.R. 13382 WAS THE RESULT OF THOSE REQUESTS.


                                                 COMMITTEE ACTION

THE COMMITTEE ON INTERSTATE AND FOREIGN COMMERCE MET TO CONSIDER H.R. 13650 ON
SEPTEMBER 26, 1978. THE COMMITTEE APPROVED THE BILL WITH AN AMENDMENT IN THE NATURE OF A
SUBSTITUTE ON THAT DAY AND ORDERED IT REPORTED TO THE HOUSE BY A UNANIMOUS VOTE, A
QUORUM BEING PRESENT.

THE COMMITTEE IS CONVINCED THAT ALL TAILINGS POSE A POTENTIAL AND SIGNIFICANT RADIATION
HEALTH HAZARD TO THE PUBLIC. LEGISLATION IS NEEDED NOW TO STABILIZE AND CONTROL ALL
SUCH TAILINGS IN A SAFE AND ENVIRONMENTALLY SOUND MANNER AND TO MINIMIZE OR ELIMINATE
RADIATION HEALTH HAZARDS TO THE PUBLIC. THIS REMEDIAL ACTION PROGRAM WILL AFFECT 26
MILLION OF THE 140 MILLION TONS OF TAILINGS NOW LOCATED AT VARIOUS MILL SITES.

THE COMMITTEE, HOWEVER, IS ALSO CONVINCED THAT IT WOULD BE A GRIEVOUS AND COSTLY
MISTAKE TO AUTHORIZE A REMEDIAL PROGRAM FOR INACTIVE MILL SITES WITHOUT ALSO ENACTING
REGULATORY LEGISLATION TO CONTROL THE EVEN MORE SERIOUS PROBLEM AT ACTIVE MILL SITES.
THIS PORTION OF THE BILL WILL CONTROL ABOUT 120 MILLION TONS OF THE TAILINGS AT ACTIVE
OPERATIONS.

THE COMMITTEE’S AMENDMENT JOINS THE TWO PROGRAMS IN ONE BILL.

IN AUTHORIZING A REMEDIAL ACTION PROGRAM, THE COMMITTEE DOES NOT RECOGNIZE ANY
FEDERAL RESPONSIBILITY OR LIABILITY FOR THESE TAILINGS. THE COMMITTEE REALIZES THAT THEY
WERE LARGELY DERIVED FROM MILLING OPERATIONS CONDUCTED UNDER FEDERAL CONTRACT.
HOWEVER, THAT IS NOT THE COMPELLING REASON FOR RECOMMENDING A REMEDIAL ACTION
PROGRAM. THE **7457 *30 SIGNIFICANT FACTOR IS THE LACK OF ADEQUATE AUTHORITY UNDER THE
ATOMIC ENERGY ACT OF 1954 TO REGULATE THESE TAILINGS. AS THE NRC TESTIFIED:

HISTORICALLY, THE NRC AND ITS PREDECESSOR AGENCY HAVE NOT HAD REGULATORY JURISDICTION
OVER URANIUM MILL TAILINGS AFTER MILL OPERATIONS ARE TERMINATED BECAUSE THE TAILINGS
ARE NOT THEMSELVES LICENSABLE MATERIAL. REGULATORY CONTROL OVER TAILINGS IS EXERTED
INDIRECTLY AS PART OF THE COMMISSION’S LICENSING OF ONGOING MILLING OPERATIONS PURSUANT
TO LICENSING AUTHORITY OVER SOURCE MATERIALS. THEREFORE, AFTER OPERATIONS HAD CEASED
AT THE 22 INACTIVE SITES BEING CONSIDERED AND ALL LICENSABLE QUANTITIES OF SOURCE
MATERIAL REMOVED, THE REGULATORY STAFF HAD NO FURTHER ROLE.

THE LACK OF ANY CONTROL OVER THESE INACTIVE SITES UNDER THE 1954 ACT AND OTHER LAWS TO
REQUIRE CLEAN UP OF THESE SITES IS THE PRINCIPAL BASIS FOR COMMITTEE ACTION TO AUTHORIZE
THIS REMEDIAL PROGRAM. THIS SITUATION DOES NOT EXIST AT ACTIVE MILL TAILINGS SITES. THOSE
SITES, EVEN THOSE WITH TAILINGS DERIVED FROM FEDERAL CONTRACTS, ARE SUBJECT TO NRC
REGULATION AS A RESULT OF THE ENACTMENT OF NEPA IN 1970. THE NRC CAN REQUIRE THESE
OPERATORS, AS A CONDITION TO THE GRANTING OF A LICENSE, TO TAKE STEPS TO STABILIZE THESE
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 Case:
  Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4 Filed:
                                    48-10     01/28/22
                                           Filed:       Page:
                                                  02/06/17    1869ofof903
                                                           Page:       28 PageID
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



PILES, ALTHOUGH THE CONTROL IS NOT ADEQUATE. INDEED, THE NRC TESTIFIED THAT IT HAS
OBTAINED COMMITMENTS FROM SOME LICENSEES TO COPE WITH THE PROBLEM TO SOME DEGREE.
THIS BILL WILL PROVIDE ADDITIONAL AUTHORITY TO EFFECTIVELY CONTROL TAILINGS AT THESE
ACTIVE AND ALL FUTURE SITES.

THE EXISTENCE OF FEDERAL CONTRACTS IN THE 1950’S AND 1960’S PROVIDES AN ADDITIONAL BASIS
FOR ESTABLISHING THIS PROGRAM, AS DOES THE FACT THAT SOME SITES ARE NO LONGER OWNED BY
PERSONS WHO OPERATED THE MILLS PRIOR TO CLOSING, BUT WE STRESS THAT THE LACK OF ANY
SPECIFIC STATUTORY AUTHORITY REQUIRING THE EFFECTIVE STABILIZATION OF THESE MILLS BY THE
NRC OR THE STATES AFTER OPERATIONS CEASED AND LICENSES TERMINATED IS THE PRINCIPAL
REASON FOR RECOMMENDING THIS PROGRAM.

IT IS FOR THIS AND OTHER REASONS THAT THE COMMITTEE ALSO STRESSES THAT IT DOES NOT
CONSIDER THIS BILL A PRECEDENT TO BE FOLLOWED IN THE CASE OF OTHER WASTE MANAGEMENT
PROBLEMS, SUCH AS THE ONE NOTED BY THE GAO EARLIER IN THIS REPORT. THE SITUATION AT THESE
INACTIVE SITES IS QUITE UNIQUE IN THAT THERE WAS ONCE FEDERAL LICENSING OF THE OPERATIONS,
BUT, DUE TO A LOOPHOLE IN THE LAW, THE SITES ESCAPED CONTROL AFTER OPERATIONS CEASED.
MOREOVER, IN EACH CASE, MOST, IF NOT ALL, OF THE PRODUCTION WAS FOR FEDERAL PURPOSES.


                                                      SITES INCLUDED

TITLE I OF THE BILL PROVIDES FOR THE DESIGNATION OF THE SITES BY THE SECRETARY OF ENERGY TO
BE ELIGIBLE FOR REMEDIAL ACTION. THE BILL, AS REPORTED BY THE COMMITTEE, DOES NOT
SPECIFICALLY IDENTIFY THE SITES AS DID THE VERSION REPORTED BY THE COMMITTEE ON INTERIOR
AND INSULAR AFFAIRS, BECAUSE THE COMMITTEE WAS INFORMED BY THE DOE IN A SEPTEMBER 5,
1978, RESPONSE TO AN INQUIRY BY SUBCOMMITTEE CHAIRMAN DINGELL, THAT THE 22 SITES STUDIED
BY THE DOE ARE NOT ALL LOCATED WITHIN THE 20 NAMED LOCATIONS REFERENCED IN THAT
COMMITTEE’S VERSION OF H.R. 13650. THE DOE SAID:

IT IS CORRECT THAT NOT ALL OF THE SITES ARE LOCATED WITHIN THE BOUNDARIES OF THE
COMMUNITIES LISTED IN THE BILL. FURTHER, SOME **7458 *31 OF THESE COMMUNITIES ARE PROBABLY
NOT INCORPORATED, AND THUS DO NOT HAVE WELL DEFINED BOUNDARIES. SEVERAL OF THE
DESIGNATIONS DO NOT REFER TO COMMUNITIES * * * THE SITES WHICH ARE CLEARLY OUTSIDE OF THE
COMMUNITIES LISTED IN THE (INTERIOR COMMITTEE) BILL ARE:

UTAH-- MEXICAN HAT.

COLORADO-- RIFLE (NEW), GUNNISON, NATURITA, MAYBELL, SLICK ROCK (2 SITES).

NEW MEXICO-- AMBROSIA LAKE (NOT AS COMMUNITY).

WYOMING-- RIVERTON, CONVERSE COUNTY (NOT A COMMUNITY).

TEXAS-- FALLS CITY.

ARIZONA-- TUBA CITY, MONUMENT VALLEY (NOT A COMMUNITY).

IDAHO-- LOWMAN.

THERE IS AN ACTIVE MILL OPERATED BY CONOCO-PIONEER NEAR FALLS CITY, TEXAS, AND TWO
ACTIVE MILLS IN THE AMBROSIA LAKE AREA IN MCKINLEY COUNTY, NEW MEXICO, OWNED BY
KERR-MCGEE CORP., AND UNITED NUCLEAR-HOMESTAKE PARTNERS.

THE FOLLOWING TABLE SHOWS EACH OF THE INACTIVE SITES STUDIED AT WHICH TAILINGS EXIST, THE
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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
                              #: 1-4  Filed:
                                  48-10      01/28/22
                                          Filed:        Page:
                                                 02/06/17     18710
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                                                                         PageID#:
                                                                                #:1868
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



NAME OF THE CONTRACTOR THAT PROVIDED PROCESSED URANIUM TO THE UNITED STATES, AND
OTHER RELEVANT DATA:

TABLE 1

TABULAR OR GRAPHIC MATERIAL SET FORTH AT THIS POINT IS NOT DISPLAYABLE
**7459 *32 OF THE SITES NAMED IN TABLE I THE FOLLOWING, ACCORDING TO THE DOE, WOULD BE
CONSIDERED AS ELIGIBLE FOR DESIGNATION UNDER TITLE I OF THE BILL AS REPORTED BY THE
COMMITTEE:

1. SALT LAKE CITY, UTAH.

2. GREEN RIVER, UTAH.

3. MEXICAN HAT, UTAH.

4. DURANGO, COLO.

5. GRAND JUNCTION, COLO.

6. RIFLE, COLO. (2 LOCATIONS).

7. GUNNISON, COLO.

8. NATURITA, COLO.

9. MAYBELL, COLO.

10. SLICK ROCK, COLO. (2 LOCATIONS).

11. SHIPROCK, N. MEX.

12. AMBROSIA LAKE, N. MEX.

13. RIVERTON, WYO.

14. CONVERSE COUNTY, WYO.

15. LAKEVIEW, OREG.

16. FALLS CITY, ARIZ.

17. TUBA CITY, ARIZ.

18. MONUMENT VALLEY, ARIZ.

19. LOWMAN, IDAHO.

20. CANONSBURG, PA.

THE FOLLOWING TABLE PROVIDES SOME ADDITIONAL DATA ABOUT THESE INACTIVE SITES AND OTHER
GOVERNMENT-OWNED AND ACTIVE SITES THAT ARE NOT COVERED BY TITLE I OF THIS BILL:


                                        TABLE II. URANIUM MILL TAILINGS
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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
                              #: 1-4  Filed:
                                  48-10      01/28/22
                                          Filed:        Page:
                                                 02/06/17     18811
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                                                                    90328PageID
                                                                         PageID#:
                                                                                #:1869
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



THE FOLLOWING TABULATION WAS DEVELOPED BY THE DEPARTMENT OF ENERGY TO SHOW THE
FOLLOWING:

COLUMN 1. TAILINGS WERE ACCUMULATED AS A RESULT OF TOTAL CONCENTRATED PRODUCTION
(U(3O(8)) PURCHASED BY THE AEC.

COLUMN 2. TAILINGS ACCUMULATED AS A RESULT OF CONCENTRATE PRODUCTION (U(3O(8))
PARTIALLY PURCHASED BY AEC AND PARTIALLY PURCHASED ON THE OPEN MARKET-- TAILINGS
COMMINGLED.

COLUMN 3. TAILINGS ACCUMULATED AS A RESULT OF CONCENTRATE PRODUCTION (U(3O(8)) SUPPLIED
TO THE OPEN MARKET-- NONE PURCHASED BY THE AEC.

TABULAR OR GRAPHIC MATERIAL SET FORTH AT THIS POINT IS NOT DISPLAYABLE

                           **7460 *33 COST OF REMEDIAL ACTION AT INACTIVE SITES

AS PROPOSED BY THE ADMINISTRATION AND THE COMMITTEE ON INTERIOR AND INSULAR AFFAIRS,
DOE WOULD PAY 100 PERCENT OF THE COSTS OF REMEDIAL ACTION AT INACTIVE SITES INVOLVING
INDIAN LANDS. THE COMMITTEE HAS NOT ALTERED THAT PROPOSAL. THE ESTIMATED COST OF
REMEDIAL ACTION AT INDIAN LANDS IS BETWEEN $10 AND $21 MILLION, ACCORDING TO THE
DEPARTMENT OF ENERGY.

IN ADDITION, THE ADMINISTRATION PROPOSED THAT THE REMEDIAL ACTION INVOLVING NON-INDIAN
LANDS WOULD BE COST-SHARED WITH THE STATES. THE FEDERAL SHARE PROPOSED WOULD BE A
MAXIMUM OF 75 PERCENT. THE STATES WOULD PAY THE REMAINDER.

VARIOUS OTHER APPROACHES WERE SUGGESTED TO LIMIT THE STATES SHARE SIGNIFICANTLY. THE
COMMITTEE, IN REPORTING THIS BILL, INCREASED THE MAXIMUM FEDERAL SHARE TO 90 PERCENT.

THE COMMITTEE REJECTED SUGGESTIONS THAT THIS PROGRAM BE FUNDED ENTIRELY BY THE
FEDERAL GOVERNMENT OF THAT THE SHARE OF THE STATES BE LIMITED TO LESS THAN 10 PERCENT OF
THE COSTS, AND AT THE SAME TIME, PROVIDE ALL MANNER OF STATE APPROVALS OR CONCURRENCES
IN THE REMEDIAL **7461 *34 ACTION PROGRAM. THE COMMITTEE IS CONCERNED ABOUT THE
PRECEDENT OF SUCH PROPOSALS AND ABOUT THEIR EFFECT ON THE FEDERAL BUDGET.

THE COMMITTEE IS PARTICULARLY CONCERNED ABOUT THE COST OF THIS PROGRAM. THE RANGE OF
THE ESTIMATED COST OF THE PART OF THE PROGRAM SUBJECT TO COST SHARING UNDER THE
ADMINISTRATION PROPOSAL OF A MAXIMUM OF 75 PERCENT IS BETWEEN $80 MILLION AND $120
MILLION DEPENDING ON THE EXTENT OF REMEDIAL ACTION REQUIRED. THIS ESTIMATE INCLUDES NO
ESCALATION FIGURE. IT IS BASED ON COST ESTIMATES PREPARED AT THE TIME THE REPORTS WERE
PREPARED DURING 1976 AND EARLY 1977. IN AN AUGUST 15, 1978, LETTER TO SUBCOMMITTEE
CHAIRMAN DINGELL, THE DOE SAID:

FOR THE PURPOSE OF ADJUSTING FOR ESCALATION, A STARTING DATE OF JULY 1, 1977, IS REASONABLE.
RECENTLY, ESCALATION HAS BEEN AROUND 10 PERCENT PER YEAR. IN A REMEDIAL PROGRAM
ESTIMATED TO REQUIRE 8 YEARS TO CONDUCT, ESCALATION BECOMES A MAJOR FACTOR. IT IS A
COMPELLING REASON FOR STARTING AND COMPLETING THE WORK ON EACH SITE AT THE EARLIEST
POSSIBLE DATE. ASSUMING REMEDIAL LEGISLATION WERE TO BE ENACTED BY OCTOBER 1978, AND THE
EPA STANDARDS AND CRITERIA WERE PROMULGATED IN 6 MONTHS. DOE COULD BEGIN REMEDIAL
WORK BY JULY 1979. AT 10 PERCENT ESCALATION, THE ESTIMATED PROGRAM COST BY THEN WOULD
BECOME $97 TO $52 MILLION. THE EFFECT ON ESCALATION THEREAFTER WILL DEPEND ON THE
SCHEDULE ON WHICH THE WORK IS PERFORMED.

THE STATES RECEIVED SOME BENEFITS FROM THE FEDERAL CONTRACTS WHEN THE MILLS WERE
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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



OPERATING. THE WILL CLEARLY BENEFIT SUBSTANTIALLY FORM THIS PROGRAM THROUGH THE
IMPROVEMENT OF THESE SITES SO THAT THEY CAN BE PUT TO BENEFICIAL USE AGAIN. THE DOE
ESTIMATES THAT THE MARKET VALUE OF ANY OF THESE SITES WILL BE ENHANCED SIGNIFICANTLY
AFTER THE REMEDIAL ACTION. FOR EXAMPLE, THE DOE ESTIMATES THAT THE DURANGO, COLO., SITE
WILL HAVE A MARKET VALUE OF $10,000 PER ACRE AND THAT THE GRAND JUNCTION AND GARRISON
SITES WILL HAVE A VALUE OF $8,000 PER ACRE. THE SALT LAKE CITY, UTAH, SITE IS ESTIMATED TO
HAVE A $13,000 PER ACRE MARKET VALUE AFTER DECONTAMINATION. THE PRESENT VALUE OF THESE
SITES IS FAR LESS.

GIVEN THESE CONSIDERATIONS, PLUS THE ADDITIONAL FACTOR THAT THE COMMITTEE, LIKE THE DOE,
DOES NOT BELIEVE THAT THE FEDERAL GOVERNMENT IS RESPONSIBLE FOR THESE TAILINGS, THE
COMMITTEE BELIEVES THAT THE 90 PERCENT MAXIMUM FEDERAL SHARE IS MORE THAN GENEROUS. AT
THE 90 PERCENT LEVEL, THE DEPARTMENT OF ENERGY ESTIMATES THAT THE RANGE FOR THE FEDERAL
SHARE IS BETWEEN $98 MILLION AND $180 MILLION. THE COMMITTEE ALSO BELIEVES THAT SINCE THE
BULK OF THE COSTS WILL BE PAID BY THE NATION’S TAXPAYERS, THE STATES SHOULD NOT HAVE
‘CONCURRENCE‘ OR ‘VETO‘ AUTHORITY OVER THE REMEDIAL ACTION PROGRAM, ALTHOUGH THE
COMMITTEE INTENDS THAT DOE CLEARLY CONSULT WITH THE STATES.


                        SECTION-BY-SECTION ANALYSIS AND COMMITTEE COMMENTS


                                              SECTION 1-- SHORT TITLE

THIS SECTION PROVIDES THAT THE SHORT TITLE FOR THE ACT IS THE ‘URANIUM MILL TAILINGS
RADIATION CONTROL ACT OF 1978‘.


                                       SECTION 2-- FINDINGS AND PURPOSES

SUBSECTION (A) SETS FORTH SEVERAL CONGRESSIONAL FINDINGS. THERE IS A GENERAL FINDING THAT
URANIUM MILL TAILINGS POSE A POTENTIAL AND SIGNIFICANT **7462 *35 RADIATION HEALTH HAZARD
TO THE PUBLIC AND THAT THE PROTECTION OF THE PUBLIC HEALTH, SAFETY, AND WELFARE AND THE
REGULATION OF INTERSTATE COMMERCE REQUIRE A FEDERAL EFFORT TO PROVIDE FOR THE
STABILIZATION, DISPOSAL, AND CONTROL, IN A SAFE AND ENVIRONMENTALLY SOUND MANNER, OF
THE TAILINGS IN ORDER TO PREVENT AND MINIMIZE HEALTH AND ENVIRONMENTAL HAZARDS. IN
ADDITION, THERE ARE FINDINGS THAT AT CERTAIN INACTIVE SITES SUCH TAILINGS RESULTED FROM
FEDERAL CONTRACTS FOR THE PURCHASE OF URANIUM AT A TIME WHEN THE HEALTH HAZARDS WERE
NOT APPARENTLY FULLY RECOGNIZED BY FEDERAL AGENCIES, ALTHOUGH SOME ENVIRONMENTAL
HAZARDS WERE RECOGNIZED AS EARLY AS 1960 BY GOVERNMENTAL AGENCIES; THAT SUCH SITES ARE
NOT NOW SUBJECT TO REGULATION UNDER THE ATOMIC ENERGY ACT OF 1954; THAT MILLING
OPERATIONS AT THESE SITES TERMINATED PRIOR TO 1973; THAT IN 1972, CONGRESS AUTHORIZED A
SIMILAR REMEDIAL ACTION PROGRAM IN GRAND JUNCTION, COLO., CONCERNING SUCH TAILINGS; AND
THAT THE PUBLIC INTEREST REQUIRES FINANCIAL ASSISTANCE TO UNDERTAKE REMEDIAL ACTIONS
CONCERNING THESE INACTIVE SITES.

SUBSECTION (B) SETS FORTH THE PURPOSES OF THIS ACT. THE FIRST PURPOSE IS TO PROVIDE A
PROGRAM TO ASSESS THE TAILINGS AT INACTIVE SITES AND TO PROVIDE REMEDIAL ACTION AT SUCH
SITES, INCLUDING THE REPROCESSING, AS APPROPRIATE, OF TAILINGS TO EXTRACT THE MINERALS
THAT HAVE A SIGNIFICANT VALUE FROM SUCH TAILINGS, WHERE PRACTICABLE, IN ORDER TO
STABILIZE AND CONTROL SUCH TAILINGS. THE SECOND PURPOSE IS TO PROVIDE FOR THE REGULATION
OF SUCH TAILINGS AT DURING ACTIVE OPERATIONS AND AFTER TERMINATION OF THOSE MILL
OPERATIONS IN ORDER TO STABILIZE AND CONTROL SUCH TAILINGS IN A SAFE AND
ENVIRONMENTALLY SOUND MANNER AND TO MINIMIZE OR ELIMINATE RADIATION HEALTH HAZARDS
TO THE PUBLIC.

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                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)




                                      TITLE I-- REMEDIAL ACTION PROGRAM


                                             SECTION 101-- DEFINITIONS

THIS SECTION DEFINES SEVERAL TERMS USED IN THE ACT. OF PARTICULAR IMPORTANCE ARE THE
TERMS ‘PROCESSING SITE‘ AND ‘RESIDUAL RADIOACTIVE MATERIALS‘. THE FORMER IS COMPOSED OF
THE SITES, INCLUDING THE MILL, WHERE THERE ARE RESIDUAL RADIOACTIVE MATERIALS AND AT
WHICH ALL OR SUBSTANTIALLY ALL THE URANIUM WAS PRODUCED FOR SALE TO A FEDERAL AGENCY
PRIOR TO JANUARY 1971 UNDER A CONTRACT WITH THAT AGENCY. IT DOES NOT INCLUDE A SITE
OWNED OR CONTROLLED BY A FEDERAL AGENCY PRIOR TO JANUARY 1, 1978, OR ONE THAT IS OWNED
OR CONTROLLED BY A FEDERAL AGENCY AFTER THAT DATE. ALSO, IT DOES NOT INCLUDE A SITE THAT
IS LICENSED UNDER THE ATOMIC ENERGY ACT OF 1954, WHICH LICENSE IS IN EFFECT ON JANUARY 1,
1978, OR IS LICENSED AFTER SUCH DATE. THE TERM ALSO INCLUDED STRUCTURES AND BUILDINGS
LOCATED IN THE VICINITY OF SUCH SITE WHICH ARE CONTAMINATED WITH RESIDUAL RADIOACTIVE
MATERIALS DERIVED FROM SUCH SITE. THE SECRETARY OF ENERGY, IN CONSULTATION WITH THE NRC,
WILL DETERMINE WHICH STRUCTURES AND BUILDINGS ARE ELIGIBLE TO BE INCLUDED AS PART OF THE
DESIGNATED PROCESSING SITE. IT IS EXPECTED THAT THE SECRETARY AND THE NUCLEAR
REGULATORY COMMISSION WILL USE SOUND JUDGEMENT IN THIS REGARD AND BE CONCERNED ABOUT
COSTS, AS WELL AS HEALTH.

THE TERM ‘RESIDUAL RADIOACTIVE MATERIAL‘ IS THE TAILINGS WASTES THAT THE SECRETARY OF
ENERGY DETERMINES TO BE RADIOACTIVE. IT ALSO INCLUDES OTHER WASTES WHICH THE SECRETARY
DETERMINES TO BE RADIOACTIVE.


                              SECTION 102-- DESIGNATIONS OF PROCESSING SITES

THIS SECTION PROVIDES FOR THE DESIGNATION BY THE DOE OF PROCESSING SITES AND THE
ESTABLISHMENT OF PRIORITIES FOR REMEDIAL ACTION AT THOSE **7463 *36 SITES. IN DESIGNATING
SITES, THE SECRETARY OF ENERGY MUST CONSULT WITH THE ENVIRONMENTAL PROTECTION AGENCY,
THE NUCLEAR REGULATORY COMMISSION, AND THE STATES. IN THE CASE OF INDIAN LANDS, HE
WOULD CONSULT WITH THE TRIBAL OFFICIALS AND THE INTERIOR DEPARTMENT, AS WELL AS THE EPA
AND NRC. THE DESIGNATIONS WILL ALSO ESTABLISH THE BOUNDARIES OF THE PROCESSING SITE.

THE COMMITTEE IS CONCERNED THAT THE DOE EXPEND FUNDS ON A PRIORITY BASIS IN ORDER TO
CORRECT THE MOST SERIOUS PROBLEMS FIRST. THUS, THE BILL REQUIRES THE DOE TO ASSESS THE
HEALTH HAZARD TO THE PUBLIC AT EACH SITE WITH THE HELP OF THE EPA AND ESTABLISH PRIORITIES
FOR REMEDIAL ACTION. IT IS INTENDED THAT DOE RELY HEAVILY ON THE EPA ADVICE IN
ESTABLISHING THESE PRIORITIES.

BOTH THE DESIGNATIONS AND PRIORITIES MUST BE COMPLETED WITHIN 1 YEAR AFTER ENACTMENT.
WITHIN 30 DAYS THEREAFTER, THE DOE MUST NOTIFY THE STATES AND INDIAN TRIBES OF THE
DESIGNATIONS AND PRIORITIES. THE BILL DOES NOT AUTHORIZE DESIGNATION OR THE
ESTABLISHMENT OF PRIORITIES AFTER THE ONE YEAR DEADLINE. HOWEVER, THE COMMITTEE DOES
RECOGNIZE THAT DESIGNATION OF ALL STRUCTURES AND BUILDINGS ‘IN THE VICINITY‘ OF A
PROCESSING SITE MAY NOT BE PRACTICABLE WITHIN THIS TIMEFRAME AND ALLOWS SOME
FLEXIBILITY. THE COMMITTEE EXPECTS THE DOE TO ACT EXPEDITIOUSLY ON THESE DESIGNATIONS AS
WELL. AT THE SAME TIME, THE DOE SHOULD BE ASSURED THAT SERIOUS CONTAMINATION THAT POSES
A HEALTH HAZARD OF THE STRUCTURES AND BUILDINGS ACTUALLY EXISTS.

THE BILL PRECLUDES JURISDICTIONAL REVIEW OF THE DESIGNATIONS AND PRIORITIES.


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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



                               SECTION 103-- STATE COOPERATIVE AGREEMENTS

ONCE THE DESIGNATIONS ARE MADE AND ALL PRIORITIES ARE ESTABLISHED, THE DOE MAY
NEGOTIATE AND ENTER INTO COOPERATIVE AGREEMENTS WITH THE AFFECTED STATES PURSUANT TO
THIS SECTION FOR THE PURPOSE OF CARRYING OUT REMEDIAL ACTION ON NON-INDIAN LANDS. AGAIN
THE BILL STRESSES THAT AGREEMENTS SHOULD BE DEVELOPED IN ACCORDANCE WITH THE PRIORITIES
ESTABLISHED SO THAT THE SITES THAT POSE THE GREATEST DANGER TO THE POPULATION CENTERS
WILL BE ADDRESSED FIRST. THE BILL, HOWEVER, DOES NOT PRECLUDE THE DOE FROM PROCEEDING TO
A LOWER PRIORITY SITES IN THOSE CASES, FOR EXAMPLE, WHERE AGREEMENT DOES NOT APPEAR
CERTAIN OR WHERE THE BEST TYPE OF REMEDIAL ACTION IS NOT FULLY KNOWN. THE PROVISION
RECOGNIZES THAT THERE ARE A LIMITED AMOUNT OF FUNDS AND TIME AVAILABLE AND THAT THE
SERIOUSNESS OF THE HEALTH DANGER TO POPULATION CENTERS SHOULD BE THE PRINCIPAL
CRITERION FOR ACTION.

SUBSECTION (B) REQUIRES THAT THE DOE INCLUDE TERMS AND CONDITIONS NECESSARY TO
IMPLEMENT REMEDIAL ACTION AND INSURE EFFECTIVE COMPLETION OF SUCH ACTION.

SUBSECTION (C) PLACES A DUTY ON THE STATE, NOT ON THE DOE, TO OBTAIN WRITTEN CONSENT FROM
THE OWNER OF THE SITE AUTHORIZING THE REMEDIAL ACTION, UNLESS THE SITE IS ACQUIRED. THIS
CONSENT MUST ALSO BE OBTAINED FOR THE BUILDINGS AND STRUCTURES IN THE VICINITY OF THE
SITE. THE REMEDIAL ACTION IS IN ESSENCE A VOLUNTARY PROGRAM. THE DOE CANNOT ACQUIRE THE
PROCESSING SITE. ONLY THE STATE CAN DO SO. IF THE STATE DOES NOT, CONSENT IS REQUIRED.

THE CONSENT MUST INCLUDE A WAIVER RELEASING THE UNITED STATES OF ANY LIABILITY OR CLAIM
CONCERNING THE REMEDIAL ACTION AND HOLDING THE GOVERNMENT HARMLESS AGAINST ANY
CLAIM ARISING OUT OF THE PERFORMANCE OF THE REMEDIAL ACTION. THE WAIVER WOULD APPLY TO
THE PROPERTY OWNER, **7464 *37 HIS HEIRS, SUCCESSORS, AND ASSIGNS. THIS PROVISION IS SIMILAR
TO SECTION 202(D) OF PUBLIC LAW 92-314. IT IS NOT A TOTAL RELEASE OF LIABILITY. IT WOULD NOT
AFFECT THOSE NOT COVERED BY THE RELEASE WHO MIGHT FILE A CLAIM AGAINST THE UNITED
STATES, ALTHOUGH THE COMMITTEE STRESSES THAT NOTHING IN THIS BILL SHOULD BE CONSTRUED
TO RECOGNIZE ANY LIABILITY ON THE PART OF THE UNITED STATES FOR ANY OCCURRENCE PRIOR TO
ENACTMENT OR AFTER ENACTMENT. FURTHER, THE ACT DOES NOT AFFECT OTHER RESPONSIBILITIES
OR REQUIREMENTS UNDER OTHER PROVISIONS OF LAW, INCLUDING WORKMAN’S COMPENSATION
LAWS.

THE COMMITTEE NOTES THAT THE PROPERTY OWNER WILL BENEFIT FROM THE VOLUNTARY REMEDIAL
ACTION PROVIDED BY THIS ACT. CLEARLY, THE COMMITTEE DOES NOT WANT TO FIND THAT AT SOME
LATER DATE THE UNITED STATES IS FACED WITH A CLAIM FROM SUCH OWNER, HIS HEIRS, SUCCESSORS
OR ASSIGNS CONCERNING SUCH REMEDIAL ACTION OR ARISING FROM SUCH ACTION.

THIS SECTION ALSO REQUIRES THAT EACH COOPERATIVE AGREEMENT PROVIDE EFFECTIVE
ASSURANCE THAT THE DOE, NRC, AND EPA HAVE A PERMANENT RIGHT OF ENTRY AT ANY TIME TO
INSPECT THE PROCESSING SITES COVERED BY THE AGREEMENTS, TO CARRY OUT THE AGREEMENT,
AND TO ENFORCE THE ACT AND ANY RULES PRESCRIBED UNDER THIS ACT. IN THE CASE OF
STRUCTURES AND BUILDINGS IN THE VICINITY OF THE SITE, THIS RIGHT OF ENTRY CAN BE
TERMINATED WHEN THE SECRETARY DETERMINES THAT THE REMEDIAL ACTION IS COMPLETED.

NO COOPERATIVE AGREEMENT MAY BE EFFECTIVE UNTIL IT IS CONCURRED IN BY THE NRC. I IS THE
INTENTION OF THE COMMITTEE THAT THE SECRETARY AND THE NRC WILL WORK OUT A PROCEDURE
WHERE REPRESENTATIVES OF BOTH WILL PARTICIPATE IN THE DEVELOPMENT OF THE AGREEMENT SO
THAT CONCURRENCE WILL NOT BE DELAYED. HOWEVER, IT IS ALSO IMPORTANT TO STRESS THAT THE
NRC, AS AN INDEPENDENT AGENCY, IS NOT EXPECTED TO RUBBER STAMP THESE AGREEMENTS, BUT TO
APPROVE ONLY THOSE THAT CLEARLY MEET THE REQUIREMENTS AND PURPOSES OF THIS ACT.

SUBSECTION (F) AUTHORIZES THE DOE IN ANY COOPERATIVE AGREEMENT ENTERED INTO WITH A
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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



STATE OR AN INDIAN TRIBE TO PROVIDE FOR THE REIMBURSEMENT OF THE ACTUAL COSTS INCURRED
FOR REMEDIAL ACTION PERFORMED ON STRUCTURES OR BUILDINGS IN THE VICINITY OF A PROCESSING
SITE. THE SECRETARY WILL DETERMINE THE COSTS FOR REIMBURSEMENT. THE REIMBURSEMENT CAN
ONLY BE MADE TO THE PROPERTY OWNER OF RECORD AT THE TIME OF THE REMEDIAL ACTION AND
ONLY FOR COSTS INCURRED BY SUCH OWNER. THE REMEDIAL ACTION MUST HAVE BEEN COMPLETED
PRIOR TO ENACTMENT OF THIS LEGISLATION AND THE APPLICATION MUST HAVE BEEN FILED BY THE
OWNER WITH THE SECRETARY AND THE AFFECTED STATE OF INDIAN TRIBE WITHIN ONE YEAR AFTER A
COOPERATIVE AGREEMENT IS APPROVED BY THE SECRETARY AND THE NRC. THE REMEDIAL ACTION
MUST ACHIEVE THE PURPOSES OF THE ACT AND BE CONSISTENT WITH EPA STANDARDS. QUITE
CLEARLY UNLESS THE REMEDIAL ACTION WAS PROPERLY DONE, REIMBURSEMENT WOULD NOT BE
APPROPRIATE. THE REIMBURSEMENT IS, OF COURSE SUBJECT TO THE FINDING AND PERCENTAGE
LIMITATIONS OF THIS ACT.


                 SECTION 104-- ACQUISITION AND DISPOSITION OF LANDS AND MATERIALS

THE COOPERATIVE AGREEMENT WILL REQUIRE THAT THE AFFECTED STATE ACQUIRE THE PROCESSING
SITE BEFORE REMEDIAL ACTION IS INITIATED IF SUCH ACQUISITION IS DETERMINED APPROPRIATE BY
THE SECRETARY AND THE NRC. THE ACQUISITION IS TO INCLUDE SUBSURFACE INTERESTS, AS WELL AS
SUBSURFACE INTERESTS IF THE SECRETARY AND THE NRC DETERMINE THAT SUCH INTERESTS BE
ACQUIRED. SUCH ACQUISITION IS TO BE ACCOMPLISHED PURSUANT TO STATE LAW. IT IS NOT
INTENDED THAT THE DOE ACQUIRE THIS SITE.

**7465 *38 PROVISION IS ALSO MADE FOR REMOVAL OF THE RESIDUAL RADIOACTIVE MATERIALS FROM
THE PROCESSING SITE TO ANOTHER SITE, IF THE DOE AND NRC AGREE THAT SUCH REMOVAL IS
APPROPRIATE. THE AGREEMENT WILL SPECIFY THAT THE DEPOSITORY SITE TO BE ACQUIRED BY THE
STATE. SUCH ACQUISITION WILL INCLUDE SUBSURFACE INTERESTS IF THE SECRETARY AND THE NRC
BELIEVE SUCH ACQUISITION APPROPRIATE.

THE COMMITTEE IS CONCERNED ABOUT THE COST OF ACQUISITION UNDER SECTION AND EXPECT THAT
IT BE UTILIZED ONLY WHEN NECESSARY AND THAT CARE BE TAKEN TO ACQUIRE THE LANDS AND
INTERESTS AT THE LOWEST COST. THE COMMITTEE INTENDS THAT IF THE MATERIALS ARE TO BE
REMOVED FROM A PROCESSING SITE, THE DOE AND NRC WILL PROBABLY NOT NEED TO ACQUIRE THAT
SITE BUT MERELY PROVIDE THAT STATE ENTER INTO AN AGREEMENT WITH THE PROPERTY OWNER FOR
SUCH REMOVAL. THE COMMITTEE BELIEVES THAT THE ACQUISITION MUST INCLUDE SUBSURFACE
INTERESTS TO PREVENT THE CREATION OF FUTURE HAZARDS TO THE PUBLIC THROUGH DISRUPTION OF
THE TAILINGS IN AN ATTEMPT TO RECOVER UNDERLYING MINERALS.

NO ACQUISITION IS REQUIRED IN THE CASE OF STRUCTURES AND BUILDINGS OUTSIDE THE PROCESSING
AND DEPOSITORY SITE.

ONCE THE MATERIALS ARE REMOVED FROM A PROCESSING SITE, THE COMMITTEE IS CONCERNED THAT
FUTURE PURCHASERS ARE GIVEN NOTICE THAT THE SITE CONTAINING THESE MATERIALS HAS BEEN
CLEANED UP. THE SECRETARY IS REQUIRED TO ISSUE REGULATIONS FOR SUCH NOTICE THAT THE
STATES MUST FOLLOW, INCLUDING PROVISION FOR NOTICE IN LOCAL LAND RECORDS. OF PARTICULAR
CONCERN, IS THAT THE PERSON PURCHASING THE SITE IMMEDIATELY AFTER THE MATERIALS ARE
REMOVED OR OTHERWISE CLEANED UP IS GIVEN ADEQUATE AND EFFECTIVE NOTICE BY THE SELLER.
OTHER THAN THE USE OF NOTICE IN THE LAND RECORDS, IT IS NOT INTENDED THAT SUBSEQUENT
SELLERS PROVIDE FUTURE PURCHASERS SUCH DATA. PRESUMABLY, THE LAND RECORDS CAN BE
FLAGGED SO THAT A TITLE SEARCHER WILL AUTOMATICALLY NOTIFY FUTURE PURCHASERS.

THE STATE MAY DISPOSE OF THE PROCESSING SITE ACQUIRED BY IT AFTER COMPLETION OF THE
REMEDIAL ACTION OR THE STATE MAY RETAIN THE SITE OR DONATE IT FOR PUBLIC PURPOSES OR
TRANSFER IT, WITHOUT COST, TO THE UNITED STATES. SUCH DISPOSAL MUST BE APPROVED BY THE
DOE AND THE NRC. BEFORE OFFERING TO SELL THE LANDS, THE STATE MUST GIVE THE PERSON WHO
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                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



SOLD THE PROPERTY TO THE STATE AN OPPORTUNITY TO ACQUIRE IT ABACK AT THE FAIR MARKET
VALUE DETERMINED AS OF THE DATE OF THE SALE TO SUCH PERSON.

THE COOPERATIVE AGREEMENTS SHALL PROVIDE THAT TITLE TO THE RESIDUAL RADIOACTIVE
MATERIALS OR THE ENTIRE TAILINGS, PLUS THE LANDS AND INTERESTS THEREIN, ACQUIRED BY A
STATE FOR THEIR FINAL DISPOSITION SHALL BE TRANSFERRED TO THE SECRETARY OF ENERGY AT NO
COST TO THE UNITED STATES, EXCEPT POSSIBLE ADMINISTRATIVE AND LEGAL COSTS INCURRED AS A
RESULT OF THE TRANSFER. THIS PROVISION IS NOT TO BE CONSTRUED TO PREVENT THE SECRETARY
FROM SHARING THE COSTS OF ACQUISITION BY THE STATE AS PROVIDED IN THIS ACT. ONCE
TRANSFERRED, THE MATERIALS AND LAND AND INTERESTS THEREIN CANNOT BE DISPOSED OF EXCEPT
AS PROVIDED IN THIS SECTION.

IF THE STATES SELLS A PROCESSING SITE, IT MUST REIMBURSE THE UNITED STATES FROM THE
PROCEEDS OF THE SALE. THE STATE MUST ALSO SELL THE SITE AT FAIR MARKET VALUE AS
DETERMINED BY THE DOE. PROCEEDS FROM SUCH SALE, PLUS ANY OTHER MONIES RECEIVED BY THE
DOE UNDER THIS ACT MUST BE DEPOSITED AS MISCELLANEOUS RECEIPTS. THE ANNUAL REPORT OF
THE SECRETARY SHOULD INDICATE THE SUMS SO DEPOSITED.

SUBSECTION (H) AUTHORIZES THE DOE TO DISPOSE OF SUBSURFACE MINERALS UNDERLYING THE SITE
ON WHICH SUCH MATERIALS ARE LOCATED AFTER SUCH SITE **7466 *39 HAS BEEN TRANSFERRED TO
THE DOE. THE MINERALS MUST BE DISPOSED OF BY SALE OR LEASE AND IN ACCORDANCE WITH
APPLICABLE LAWS OF THE UNITED STATES CONCERNING THE SALE OR LEASE OF MINERALS. HOWEVER,
THE SECRETARY MAY ONLY DO SO IF THERE IS ADEQUATE ASSURANCE THAT MINERAL DEVELOPMENT
DOES NOT DISTURB THE DEPOSITORY SITE. THERE MUST ALSO BE AN NRC LICENSE. IF THE DEPOSITORY
SITE IS DISTURBED, THE DOE MUST PROVIDE FOR TERMINATION OR SUSPENSION OF MINERAL
DEVELOPMENT AND REQUIRE THE MINERAL DEVELOPER TO RESTORE THE SITE AT NO COST TO THE
UNITED STATES.


                           SECTION 105-- INDIAN TRIBE COOPERATIVE AGREEMENTS

THIS SECTION PROVIDES FOR COOPERATIVE AGREEMENTS BETWEEN THE DOE AND INDIAN TRIBES. THE
PROVISIONS ARE NEARLY IDENTICAL TO THE PROVISIONS OF SECTION 103.

THE COMMITTEE DOES NOT INTEND BY THIS ACT TO AFFECT THE RESPONSIBILITIES OF THE SECRETARY
OF THE INTERIOR AS TRUSTEE FOR ANY INDIAN TRIBE. HOWEVER, THE COMMITTEE INTENDS THAT ANY
RELEASE EXECUTED UNDER SECTION 105 SHALL BE FULLY BINDING ON THE INDIAN TRIBE AND THAT
THE SECRETARY OF THE INTERIOR, IN EXERCISING SUCH RESPONSIBILITIES, IS ALSO FULLY BOUND BY
SUCH WAIVER AND MAY NOT RECOGNIZE ANY CLAIM COVERED BY IT.


                              SECTION 106-- ACQUISITION OF LAND BY SECRETARY

THIS SECTION AUTHORIZES THE DOE TO ACQUIRE LANDS FOR THE PURPOSE OF CONSOLIDATING IN A
SAFE AND ENVIRONMENTALLY SOUND MANNER RESIDUAL RADIOACTIVE MATERIALS WHICH ARE
REMOVED FROM PROCESSING SITES OR WHERE OTHERWISE NECESSARY TO CARRY OUT THE PURPOSES
OF THIS ACT. THE COMMITTEE RECOGNIZES THAT IT MAY NOT BE SAFE OR ENVIRONMENTALLY SOUND
OR PRACTICABLE TO HAVE A SERIES OF DEPOSITORY SITES SCATTERED AMONG SEVERAL STATES.
CONSOLIDATION OF THESE MATERIALS INTO A FEW SITES MAY BE A BETTER SOLUTION. THIS SECTION
PROVIDES THAT OPTION.

THE SECTION AUTHORIZES ACQUISITION BY PURCHASE, INCLUDING CONDEMNATION, DONATION, OR
EXCHANGE. IT ALSO PROVIDED FOR THE TRANSFER OF PUBLIC LANDS ADMINISTERED BY INTERIOR
AND AVAILABLE FOR THIS PURPOSE. SURPLUS LANDS COULD ALSO BE USED.


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                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



IN EACH ACQUISITION, THE DOE IS REQUIRED TO CONSULT WITH THE STATE WHERE THE ACQUISITION
WILL OCCUR. IN THE CASE OF A PROPOSED ACQUISITION, IN A STATE WHERE THERE IS NO DESIGNATED
PROCESSING SITE AND NO ACTIVE URANIUM MILL OPERATING, THE SECRETARY MUST OBTAIN THE
CONCURRENCE OF THE GOVERNOR BEFORE ACQUIRING THE LAND. THE COMMITTEE BELIEVES THAT
CONCURRENCE IS APPROPRIATE WHERE A STATE DOES NOT HAVE TAILINGS. BUT IT DOES NOT APPEAR
REASONABLE TO GIVE A STATE SUCH CONCURRENCE AUTHORITY OVER A FEDERAL PROGRAM IF THAT
STATE ALREADY HAS ACTIVE OR INACTIVE MILL TAILINGS.

BEFORE FEDERAL LANDS MAY BE TRANSFERRED TO THE SECRETARY, THE AGENCY ADMINISTERING
THOSE LANDS MUST CONCUR. MOREOVER, THE TRANSFER MUST BE CONSISTENT WITH THE LAWS
APPLICABLE TO THOSE LANDS. THE COMMITTEE DOES NOT INTEND BY THIS SECTION TO ENCOURAGE
THE USE OF FEDERAL LANDS, PARTICULARLY THOSE THAT ARE PART OF THE NATIONAL PARK, FISH
AND WILDLIFE, AND FOREST SYSTEMS.


                                      SECTION 107-- FINANCIAL ASSISTANCE

THIS SECTION AUTHORIZES THE DOE TO PAY UP TO 90 PERCENT OF THE ACTUAL COSTS OF REMEDIAL
ACTION AT THE DESIGNATED PROCESSING SITE, INCLUDING THE BUILDINGS AND STRUCTURES IN THE
VICINITY OF SUCH SITE. LAND ACQUISITION IS ALSO TO BE COST SHARED, INCLUDING ANY
PREPARATORY OR OTHER WORK AT A DEPOSITORY SITE. THE STATE MUST PAY THE REMAINING **7467
*40 SHARE OF THE COSTS. HOWEVER, THE STATE CANNOT USE FEDERAL FUNDS TO PAY THIS SHARE.
THE FEDERAL SHARE WILL NOT COVER ANY STATE COSTS INCURRED IN THE DEVELOPMENT,
PREPARATION, OR EXECUTION OF COOPERATIVE AGREEMENT, OTHER THAN LAND ACQUISITION COSTS.

IN THE CASE OF INDIANS, THE DOE WILL PAY ALL THE COSTS.


                                         SECTION 108-- REMEDIAL ACTION

THIS SECTION PROVIDES THAT THE DOE OR A PERSON DESIGNATED BY THE DOE SHALL SELECT AND
PERFORM THE REMEDIAL ACTION IN ACCORDANCE WITH EPA GENERAL STANDARDS. THE NRC MUST
CONCUR IN BOTH THE SELECTION AND PERFORMANCE. PROVISION IS ALSO MADE FOR CONSULTATION
WITH THE INDIAN TRIBE AND THE SECRETARY OF INTERIOR. IN THE CASE OF SITES IN NON-INDIAN
LANDS, THE STATES ARE INTENDED TO HAVE A SIGNIFICANT ROLE IN THE SELECTION BECAUSE THEY
ARE SHARING IN THE COSTS. IT IS INTENDED THAT THE DOE HAVE COMPLETE FLEXIBILITY IN
SELECTING CONTRACTORS SO LONG AS THE NRC CONCURS.

THE DOE IS ALSO DIRECTED TO USE TECHNOLOGY IN PERFORMING REMEDIAL ACTION THAT WILL
INSURE COMPLIANCE WITH THE EPA STANDARDS AND INSURE THE SAFE AND ENVIRONMENTALLY
SOUND STABILIZATION OF THE MATERIALS. THE COMMITTEE IS CONCERNED ABOUT THE ADEQUACY OF
THE TECHNOLOGY TO DEAL WITH THIS PROBLEM. IT IS INTENDED THAT THE DOE NOT RUSH HEADLONG
INTO USING TECHNOLOGY THAT MAY BE EFFECTIVE FOR A SHORT PERIOD OF TIME. THE COMMITTEE
DOES NOT WANT TO VISIT THIS PROBLEM AGAIN WITH ADDITIONAL AID. THE REMEDIAL ACTION MUST
BE DONE RIGHT THE FIRST TIME.

NO PROVISION FOR R AND D WAS INCLUDED BECAUSE IT IS BELIEVED THAT THE DOE HAS ADEQUATE R
AND D AUTHORITY NOW. THE COMMITTEE URGES THAT THE DOE AND EPA MOVE RAPIDLY TO IMPROVE
THE TECHNOLOGY FOR REMEDIAL ACTION.

THIS SECTION PRECLUDES UNDERTAKING ANY REMEDIAL ACTION BEFORE EPA FINALLY
PROMULGATES GENERAL STANDARDS. CLEARLY, THIS IS ESSENTIAL. THE DOE SHOULD NOT PROCEED
UNTIL THESE STANDARDS ARE DEVELOPED. EVEN THE SELECTION OF DEPOSITORY SITES COULD BE
AFFECTED BY SUCH STANDARDS.


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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



IT SHOULD BE NOTED THAT NOTHING IN THIS TITLE SHOULD BE CONSTRUED AS AFFECTING ANY
EXISTING RESPONSIBILITY OF NRC, DOE, AND EPA TO COMPLY WITH NEPA CONCERNING THIS
REMEDIAL ACTION PROGRAM.

SUBSECTION (B) REQUIRES THE DOE TO EVALUATE THE MINERAL CONTENT OF THESE MATERIALS AND
TO DETERMINE IF RECOVERY IS PRACTICABLE. THE DOE IS THEN AUTHORIZED, WITH NRC
CONCURRENCE, TO ENTER INTO CONTRACTS FOR RECOVERY OF THE MINERALS, CONSISTENT WITH THE
EPA STANDARDS AND THE PURPOSES OF THIS ACT. THIS RECOVERY MAY TAKE PLACE AS PART OF THE
REMEDIAL ACTION EFFORT. THE COST OF RECOVERY, INCLUDING RELATED WORK, TO INSURE
COMPLIANCE WITH SUCH STANDARDS AND PURPOSES WILL BE PAID BY THE PERSON RECOVERING THE
MINERALS. THE STATES AND THE SECRETARY WILL PARTICIPATE IN THE NET PROFITS. THE AMOUNT OF
THE PROFIT TO BE SHARED WILL BE DETERMINED BY THE DOE AS PART OF THE AGREEMENT. THE
COMMITTEE’S INTENTION IS THAT THE PERSON RECOVERING THE MINERALS BE ABLE TO MAKE A
REASONABLE PROFIT. CLEARLY, SUCH RECOVERY SHOULD ONLY BE UNDERTAKEN IF IT IS CONSISTENT
WITH THE PURPOSES OF THIS ACT AND WILL NOT IMPEDE EFFECTIVE AND PROMPT REMEDIAL ACTION.


                                                 SECTION 109-- RULES

THIS SECTION PROVIDES FOR DOE RULES AND REGULATIONS IN ACCORDANCE WITH SECTION 501 OF
THE DOR ORGANIZATION ACT.


                                     **7468 *41 SECTION 110-- ENFORCEMENT

THIS SECTION PROVIDES FOR ENFORCEMENT THROUGH THE USE OF CIVIL PENALTIES AND EQUITABLE
REMEDIES AS APPROPRIATE. SECTION 502(C) OF THE DOE ORGANIZATION ACT APPLIES TO THIS
SECTION.


                                       SECTION 111-- PUBLIC PARTICIPATION

THIS SECTION DIRECTS THE DOE, EPA, AND NRC TO ALLOW THE PUBLIC AN OPPORTUNITY TO
PARTICIPATE, PARTICULARLY AT THE LOCAL LEVEL, IN THE DESIGNATION OF PROCESSING SITES AND
THE ESTABLISHMENT OF PRIORITIES, AND IN THE SELECTION OF DEPOSITORY SITES, THE EXECUTION OF
COOPERATIVE AGREEMENTS, AND OTHER MATTERS. HEARINGS AT THE LOCAL LEVEL ARE REQUIRED,
WHERE REQUESTED. THE OBJECTIVE IS TO GIVE THE PEOPLE AND OFFICIALS AFFECTED AN
OPPORTUNITY TO LEARN WHAT IS PLANNED FOR THEIR AREA AND ITS IMPACT ON THEM. IT IS NOT
INTENDED THAT HEARINGS BE HELD AT ALL SITES, HOWEVER. MOREOVER, IT IS EXPECTED THAT THIS
PROVISION WILL NOT DELAY THE PROGRAM, BUT SHOULD BE HELPED IN GAINING PUBLIC SUPPORT.


                                 SECTION 112-- TERMINATION; AUTHORIZATION

THIS SECTION REQUIRES THAT THE REMEDIAL ACTION PROGRAM TERMINATE 7 YEARS AFTER THE EPA
STANDARDS ARE FINALLY PROMULGATED, UNLESS CONGRESS EXTENDS THE PROGRAM BY LATE
AUTHORIZATION. THIS TERMINATION IS LIMITED TO THE REMEDIAL ACTION PROGRAM ONLY. IT IS NOT
INTENDED TO TERMINATE THE ENFORCEMENT OR OTHER AUTHORITIES UNDER THE ACT FOR
MAINTAINING AND MONITORING DEPOSITORY SITES ONCE REMEDIAL ACTION IS COMPLETED.

THIS SECTION ALSO PROVIDES THAT APPROPRIATION FOR TITLE I SHALL BE ESTABLISHED IN ANNUAL
AUTHORIZATION AND APPROPRIATION ACTS FOR THE DOE. FUNDS FOR FISCAL YEAR 1979 ARE
INCLUDED IN THE DOE AUTHORIZATION BILL FOR FISCAL YEAR 1979 (H.R. 11392) WHICH IS PENDING
HOUSE FLOOR ACTION.


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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                  48-10      01/28/22
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



                                             SECTION 113-- LIMITATION

THIS SECTION IS INTENDED TO INSURE COMPLIANCE WITH BUDGET ACT REQUIREMENTS.


                                       SECTION 114-- REPORTS TO CONGRESS

SUBSECTION (A) PROVIDES FOR AN ANNUAL REPORT TO CONGRESS CONCERNING ACTIONS UNDER
TITLE I AND TITLE II OF THE BILL.

SUBSECTION (B) DIRECTS THE DOE TO REPORT BY JULY 1979 TO CONGRESS CONCERNING VARIOUS
LOCATIONS UNDER THE JURISDICTIONS OF THE DOE AND OTHER FEDERAL AGENCIES WHERE RESIDUAL
RADIOACTIVE MATERIALS OR OTHER RADIOACTIVE WASTES ARE LOCATED. THESE WASTES DO NOT
INCLUDE SPEND FUEL FROM NUCLEAR POWER REACTORS. THE REPORT MUST IDENTIFY THE SITE AND
THE AGENCY WITH JURISDICTION. IT WILL ALSO IDENTIFY STRUCTURES, BUILDINGS, OR OTHER
IMPROVEMENTS IN THE VICINITY OF THE SITES WHICH ARE CONTAMINATED OR MAY BE
CONTAMINATED BY SUCH MATERIALS OR TAILINGS. THE REPORT MUST DESCRIBE THE CONDITION OF
THE SITES AND MATERIALS AND TAILINGS AND WHAT HAS BEEN DONE OR IS PLANNED TO STABILIZE
THE SITES AND MAKE THEM SAFE, INCLUDING A TIMETABLE FOR ACTION, IF NEEDED. THE COMMITTEE
EXPECTS THAT THE EPS AND THE NRC WILL PARTICIPATE IN THE STUDY AND REPORT.

THE COMMITTEE UNDERSTANDS THERE THAT ARE A NUMBER OF FEDERALLY OWNED OR CONTROLLED
SITES WITH SUCH MATERIALS OR TAILINGS, SUCH AS THE TVA SITE MENTIONED EARLIER AND A DOE
SITE IN LEWISTON, N.Y., AND SOME IN NEW JERSEY. THE COMMITTEE WANTS TO HAVE THESE SITES
IDENTIFIED BY THE DOE AND HAVE DATA CONCERNING THE HEALTH OR ENVIRONMENTAL PROBLEMS
ASSOCIATED WITH THE SITES AND ON WHAT, IF ANYTHING, IS BEING DONE TO ELIMINATE SUCH
PROBLEMS AND WHEN.


             **7469 *42 SECTION 115-- ACTIVE OPERATIONS; LIABILITY FOR REMEDIAL ACTION

THIS SECTION PROHIBITS DOE FROM EXPENDING FUNDS FOR REMEDIAL ACTION AT ACTIVE MILL
TAILING SITES. THE COMMITTEE IS AWARE THAT AT SOME MILLS, TAILINGS WERE ACCUMULATED
YEARS AGO UNDER FEDERAL CONTRACT. BUT, AS NOTED EARLIER IN THIS REPORT, THE TAILINGS ARE
COMMINGLED WITH TAILINGS DERIVED FROM COMMERCIAL OPERATIONS. ALSO, THEY ARE SUBJECT
TO REGULATION BY THE NRC OR THE STATES. CONSISTENT WITH THE VIEWS OF THE COMMITTEE
CHAIRMAN DINGELL HAS RECENTLY WRITTEN TO THE DOE CONCERNING THESE MILLS TO OBTAIN
MORE DATA. THE COMMITTEE EXPECTS NRC TO EXERCISE ALL ITS RESPONSIBILITY CONCERNING
THESE SITES UNDER THE 1954 LAW.

THIS SECTION ALSO DIRECTS THE JUSTICE DEPARTMENT TO STUDY EACH SITE ELIGIBLE FOR REMEDIAL
ACTION UNDER TITLE I IN ORDER TO DETERMINE THE IDENTITY OF THOSE WHO OWNED OR
CONTROLLED THE SITE BEFORE ENACTMENT OF THIS ACT, INCLUDING PAST OWNERS. THE STUDY MUST
ALSO DETERMINE THE LEGAL RESPONSIBILITY, IF ANY, OF SUCH PERSONS UNDER ANY LAW OR RULE
OF LAW IN EFFECT AT THE TIME THE MILL WAS PRODUCING URANIUM FOR FEDERAL PURPOSES FOR
THE RECLAMATION OR REMEDIAL ACTION AT THE SITE. JUSTICE MUST PROVIDE A REPORT OF ITS
FINDINGS TO CONGRESS. BASED ON THE STUDY, THE ATTORNEY GENERAL IS DIRECTED, TO THE
EXTENT HE DEEMS APPROPRIATE AND IN THE PUBLIC INTEREST, TO TAKE ACTION UNDER FEDERAL OR
STATE LAW, IN EFFECT AT THE TIME OF THE FEDERAL CONTRACT FOR THE THE PURCHASE OF URANIUM
FROM THE MILL, TO REQUIRE REIMBURSEMENT FROM SUCH PERSON OF ALL OR PART OF REMEDIAL
ACTION COSTS OF THE UNITED STATES FOR WHICH HE DETERMINES SUCH PERSON IS LIABLE.

DURING HEARINGS CONCERNING THIS LEGISLATION, THE DOE CONTENDED THAT IT WAS DIFFICULT TO
‘FIX LEGAL RESPONSIBILITY FOR THE TAILINGS PROBLEM‘. THE DOE SAID:


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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
                              #: 1-4  Filed:
                                  48-10      01/28/22
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                                                 02/06/17     19720
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



THE FEDERAL GOVERNMENT AND STATES DO NOT APPEAR TO BE LEGALLY RESPONSIBLE SINCE THEY
EXERTED NEITHER OPERATIONAL CONTROL OR REGULATORY JURISDICTION OVER THE TAILINGS. THE
FEDERAL GOVERNMENT WAS A MERE PURCHASER OF PRODUCT FROM A NUMBER OF
PRIVATELY-OWNED COMPANIES.

INSOFAR AS THE COMPANIES THAT OPERATED THE MILLS ARE CONCERNED, WE HAVE A RATHER MIXED
BAG OF CIRCUMSTANCES. SOME COMPANIES HAVE ACTED RESPONSIBLY AND ENDEAVORED TO
ESTABLISH AND MAINTAIN A COVER OF VEGETATION ON THE TAILINGS TO STOP WIND AND WATER
EROSION. OTHERS SOLD THE PROPERTIES OR SIMPLY ALLOWED THE LEASE ON THE LAND TO EXPIRE.
SOME OF THE CORPORATIONS NO LONGER EXIST. THERE WERE NO REQUIREMENTS IN THE
GOVERNMENT CONTRACTS FOR TAILINGS STABILIZATION AND THE COMPANIES WERE NOT AWARE OF
THE POTENTIAL HEALTH AND SAFETY RISKS RESULTING FORM EXPOSURE TO THE TAILINGS. IT
THEREFORE IS QUESTIONABLE WHETHER ANY COMPANIES ARE LEGALLY RESPONSIBLE.

IN RESPONSE TO QUESTIONS, THE DOE PROVIDED TWO MEMORANDA PREPARED BY THE AEC WHICH
PURPORT TO BE ‘LEGAL OPINIONS‘ CONCERNING AEC’S REGULATION OF THE TAILINGS. NEITHER
OPINION APPEARS TO DEAL WITH THE QUESTION AT ISSUE. INDEED, ONE OPINION DEALS WITH THE
QUESTION OF TRANSFERRING WASTES FROM THE MILLS TO OTHER PERSONS AND NOT WITH THE
QUESTION OF STABILIZATION AND CONTROL AT THE MILLS.

**7470 *43 THE COMMITTEE IS NOT PERSUADED THAT LIABILITY EXISTS OR DOES NOT EXIST. THE
OBJECTIVE OF THIS PROVISION IS TO REQUIRE A CAREFUL STUDY BY THE JUSTICE DEPARTMENT TO
RESOLVE THE ISSUE AND, IF APPROPRIATE, TO REQUIRE ACTION TO RECOVER COSTS FROM THE
RESPONSIBLE PERSONS. CLEARLY, IF A SITE IS NOT CURRENTLY OWNED OR CONTROLLED BY THE
PERSON WHO CONTRACTED WITH THE UNITED STATES TO SELL THE URANIUM, SUCH ACTION TO
RECOVER REMEDIAL ACTION COSTS INAPPROPRIATE. BUT IT IS THE INTENTION OF THE COMMITTEE
THAT WE FIND OUT. THE COMMITTEE STRESSES THAT THIS SECTION IS NOT INTENDED TO CREATE NEW
OR ADDITIONAL LAW UNDER WHICH JUSTICE COULD RECOVER COSTS. JUSTICE MUST LOOK TO THE
LAW AS IT WAS AT OR PRIOR TO TERMINATION OF MILL OPERATIONS.


                      TITLE II-- URANIUM MILL TAILINGS LICENSING AND REGULATION

THIS TITLE AMENDS THE ATOMIC ENERGY ACT OF 1954. IT REINFORCES THE URANIUM MILL PROCESS
AND MILL TAILINGS DISPOSAL. THE ‘AGREEMENT STATES‘ PROGRAM, UNDER WHICH CERTAIN STATES
LICENSE URANIUM MILLING ACTIVITIES, IS MODIFIED TO REQUIRE THAT STATE LICENSING STANDARDS
BE EQUIVALENT TO THOSE OF THE COMMISSION, AND IT REQUIRES PUBLIC PARTICIPATION AND
ENVIRONMENTAL REVIEW AS PART OF THE STATE LICENSING PROCEDURES. TITLE II ALSO REINFORCES
THE NRC’S AUTHORITY TO MAKE FINANCIAL ARRANGEMENTS WITH URANIUM MILLING COMPANIES TO
INSURE PROPER STABILIZATION AND CARE OF URANIUM MILL TAILINGS.


                                              SECTION 201-- DEFINITION

THIS SECTION AMENDS THE DEFINITION OF ‘BYPRODUCT MATERIAL‘ IN THE ATOMIC ENERGY ACT OF
1954 TO INCLUDE URANIUM MILL TAILINGS AND OTHER WASTES. PREVIOUSLY, TAILINGS HAVE BEEN
CONTROLLED THROUGH THE LICENSING PROCESS FOR URANIUM MILLS. THIS AMENDMENT WOULD
SUBJECT TAILINGS TO SPECIFIC LICENSING AUTHORITY. (SECTION 209 REQUIRES THAT THE MILLING
AND MILL TAILINGS LICENSING PROCESS BE CONSOLIDATED.)


                                    SECTION 202-- CUSTODY OF DISPOSAL SITE

THIS SECTION ADDS A NEW SECTION 83 TO CHAPTER 8 OF THE ATOMIC ENERGY ACT OF 1954.


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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



SUBSECTION (A) OF THE THE NEW SECTION REQUIRES THAT ANY LICENSE ISSUED OR RENEWED UNDER
SECTIONS 62 OR 81 OF THE 1954 ACT, AFTER THE EFFECTIVE DATE OF THE SECTION, FOR AN ACTIVITY
RESULTING IN THE PRODUCTION OF ANY BYPRODUCT MATERIAL AS DEFINED IN SECTION 11E.(2) OF THE
1954 ACT MUST CONTAIN TERMS AND CONDITIONS PRESCRIBED BY THE NRC. THESE TERMS AND
CONDITIONS ARE PRIMARILY DESIGNED TO ASSURE THAT, PRIOR TO TERMINATION OF ANY LICENSE,
THE LICENSEE WILL COMPLY WITH DECONTAMINATION, DECOMMISSIONING, AND RECLAMATION
STANDARDS PRESCRIBED BY THE NRC PURSUANT TO THE NEW SECTION 161X OF THE 1954 ACT FOR THE
MILL SITES, INCLUDING ANY DEPOSITORIES OF THE BYPRODUCT MATERIAL. SUCH TERMS AND
CONDITIONS WILL ALSO PROVIDE THAT TITLE AND CONTROL OF SUCH BYPRODUCT MATERIAL SHALL
BE TRANSFERRED TO THE UNITED STATES. LICENSES IN EFFECT ON ENACTMENT OF THIS ACT MUST,
DEPENDING ON WHICH EVENT JUST OCCURES, EITHER CONTAIN SUCH TERMS AND CONDITIONS WHEN
NEXT RENEWED AFTER THE EFFECTIVE DATE OF THE SECTION OR SHALL COMPLY WITH THESE
STATUTORY PROVISIONS UPON TERMINATION OF THE LICENSE.

SUBSECTION (B) REQUIRES THAT LICENSES ISSUED AFTER THE EFFECTIVE DATE OF THE NEW SECTION
83 MUST INCLUDE TERMS AND CONDITIONS FOR THE TRANSFER OF LAND USED TO DISPOSE OF
TAILINGS FROM ACTIVE OPERATIONS TO THE **7471 *44 UNITED STATES. THIS WILL OCCUR BEFORE
TERMINATION OF THE LICENSE, BUT AFTER THE LAND HAS MET THE REQUIREMENTS OF SUBSECTION
(A). THIS TRANSFER WILL INCLUDE SURFACE AND SUBSURFACE INTERESTS. SIMILAR PROVISION IS
MADE FOR THE TRANSFER OF SUCH INTEREST TO THE UNITED STATES IN THE CASE OF A LICENSE IN
EFFECT BEFORE THE EFFECTIVE DATE OF THIS SECTION. HOWEVER, IN SUCH CASE, THE NRC HAS SOME
DISCRETION BECAUSE SUCH LICENSES MAY NOT OWN THE SUBSURFACE OR EVEN THE SURFACE
INTERESTS AND THUS COULD NOT TRANSFER THE LAND TO THE UNITED STATES.

ONCE TITLE TO THE LAND AND INTERESTS THEREIN ARE TRANSFERRED TO THE UNITED STATES THEY
CANNOT BE DISPOSED OF. HOWEVER, THE UNDERLYING MINERALS MAY BE SOLD OR LEASED AS
PROVIDED IN SECTION 104(H) OF THIS ACT.

THE ABOVE PROVISIONS CONCERNING TRANSFER OF TITLE DO NOT APPLY TO INDIAN LANDS. IN THE
CASE OF THOSE LANDS, PROVISION IS MADE FOR AGREEMENTS BETWEEN THE NRC AND THE INDIANS
TO ASSURE PROPER MAINTENANCE AND MONITORING BY THE UNITED STATES.

THE NRC IS REQUIRED TO MAKE A DETERMINATION AT THE TIME OF TERMINATION OF A LICENSE THAT
THESE REQUIREMENTS AND STANDARDS HAVE BEEN MET. THE DETERMINATION MUST BE IN WRITING.


                     SECTION 203-- AUTHORITY TO ESTABLISH CERTAIN REQUIREMENTS

THIS SECTION AMENDS SECTION 161 OF THE 1954 ACT BY ADDING A NEW SECTION TO THAT SECTION
PROVIDING FOR THE ISSUANCE BY RULE, REGULATION, OR ORDER OF STANDARDS AND INSTRUCTIONS
CONCERNING FINANCIAL ARRANGEMENTS WHICH MUST BE MADE BY LICENSEES FOR THE COST OF
STABILIZATION AND, IF NECESSARY, THE LONG-TERM COST OF MAINTENANCE AND MONITORING. SUCH
ARRANGEMENTS MUST BE MADE BEFORE A LICENSE IS TERMINATED, AND MAY BE BY BOND, SURETY,
OR OTHER MEANS TO INSURE THAT THE NRC HAS THE FLEXIBILITY TO EFFECTIVELY IMPLEMENT THIS
PROVISION FULLY.

SUBPARAGRAPH (1) REQUIRES THE COMMISSION TO REGULATE THE DISPOSAL OF URANIUM MILLING
AND MILL TAILINGS IN SUCH A WAY THAT, WHEN EACH LICENSE IS TERMINATED, RECLAMATION AND
STABILIZATION ALREADY HAS BEEN IMPLEMENTED BY THE LICENSEE AND SO THAT NO LONG-TERM
MAINTENANCE AND MONITORING IS REQUIRED TO PROTECT THE PUBLIC AND THE ENVIRONMENT.

THIS SECTION IS EFFECTIVE ON THE DATE OF ENACTMENT.

THE COMMITTEE INTENDS THAT THE NRC COMPLY WITH THE APPLICABLE PROVISIONS OF THE
SO-CALLED ADMINISTRATIVE PROCEDURES ACT IN ISSUING THE RULES, REGULATIONS, OR ISSUING
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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                                 02/06/17     19922
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



ORDERS AUTHORIZED BY THIS SECTION. THIS IS NOT INTENDED TO MEAN THAT SUCH RULEMAKING,
ETC., IS SUBJECT TO THE ADJUDICATION PROVISIONS OF THAT LAW. BUT, AS A MINIMUM, THE
RULEMAKING PROVISIONS OF THIS LAW (5 U.S.C. 553) SHALL APPLY.

THE COMMITTEE NOTES THAT MANY OF THE PROVISIONS OF TITLE II OF THE ACT MAY MAKE IT
DIFFICULT FOR EXISTING LICENSEES TO COMPLY WITH BECAUSE OF THE FINANCIAL IMPACT OR THE
TIME IT WILL TAKE TO DO SO. THE NRC SHOULD TAKE SUCH FACTORS INTO ACCOUNT AND PROVIDE A
MEANS TO ALLEVIATE OR MITIGATE THOSE PROBLEMS WHERE APPROPRIATE WHILE ASSURING THAT
THE PURPOSES OF THIS ACT ARE FULLY MET. THE COMMITTEE BELIEVES AND EXPECTS THAT THESE
PURPOSES SHOULD BE MET WITHOUT CAUSING MILL CLOSINGS AND PUTTING PEOPLE OUT OF WORK.
AT THE SAME TIME, THE COMMITTEE RECOGNIZES THAT, DESPITE PAST EFFORTS BY A LICENSEE, THE
CONTROL AND STABILIZATION MAY NOT BE ADEQUATE TO MEET THE REQUIREMENTS OF THESE
AMENDMENTS TO THE 1954 ACT.


                                    SECTION 204-- COOPERATION WITH STATES

THIS SECTION AMENDS SECTION 274 OF THE ATOMIC ENERGY ACT TO PROVIDE FOR ADHERENCE BY
AGREEMENT STATES TO MINIMUM FEDERAL STANDARDS FOR URANIUM MILL TAILINGS CONTROL,
STABILIZATION AND DISPOSAL. **7472 *45 IT ALLOWS STATES TO DISCONTINUE LICENSING OR
URANIUM MILLING AND MILL TAILINGS, WHILE RETAINING AUTHORITY TO CONTINUE LICENSING
OTHER RADIOACTIVE MATERIALS LICENSABLE UNDER THE AGREEMENT STATES’ PROGRAM. UNDER
CURRENT LAW, STATES WHICH DID NOT WANT TO REGULATE URANIUM MILLING WOULD HAVE TO
TERMINATE THEIR ENTIRE AGREEMENT PROGRAM WITH THE COMMISSION. IT ALSO AMENDS CURRENT
PROVISIONS OF LAW CONCERNING THE REVIEW OF THESE AGREEMENTS.

SUBSECTION (E) ADDS A NEW SUBSECTION TO SECTION 274. IT REQUIRES THAT STATE STANDARDS FOR
LICENSING URANIUM MILL TAILINGS AND URANIUM MILLING MUST TO THE EXTENT PRACTICABLE BE
EQUIVALENT TO, OR EXCEED, THOSE OF THE COMMISSION. IN ADDITION, LICENSES ISSUED BY STATES
MUST REQUIRE THAT, UPON TERMINATION OF SUCH LICENSES, MILL TAILINGS DISPOSAL SITES WILL BE
TRANSFERRED WITHOUT COST TO PERMANENT FEDERAL CUSTODY. STATE LICENSING PROCEDURES
ARE REQUIRED TO INCLUDE PROVISIONS FOR PUBLIC PARTICIPATION AND ENVIRONMENTAL REVIEWS.
THIS NEW SUBSECTION INCLUDES THE PREPARATION OF A WRITTEN ANALYSIS ‘CONSISTENT WITH‘ THE
PROVISIONS OF NEPA. THE COMMITTEE STRESSES THE WORDS ‘CONSISTENT WITH‘. IT IS NOT THE
INTENTION THAT A STATE ENACT NEPA LAWS OR ADOPT GUIDELINES SUCH AS ARE NOW IN EFFECT
UNDER NEPA. THE INTENT IS TO INSURE THAT ANY ANALYSIS (BY A STATE) IS CARRIED OUT IN A
MANNER THAT IS CONSISTENT WITH NEPA, SO THAT MILLS LOCATED IN A NON-AGREEMENT STATE ARE
NOT SUBJECT TO DIFFERENT REQUIREMENTS THAN THEIR COMPETITORS WHICH ARE LOCATED IN AN
AGREEMENT STATE. INDEED, THAT IS AN OBJECTIVE OF THE ENTIRE SUBSECTION.

SUBSECTION (F) RESERVES THE RIGHT OF THE COMMISSION TO DETERMINE THAT MILL TAILINGS PILES
CREATED UNDER AGREEMENT STATE LICENSING HAVE MET APPLICABLE REQUIREMENTS BEFORE THEY
ARE TURNED OVER TO FEDERAL CUSTODY.

SUBSECTION (G) REQUIRES THE COMMISSION TO REVIEW THE REGULATORY PROGRAMS OF EACH
AGREEMENT STATES, AS SOON AS PRACTICABLE 3 YEARS AFTER THE DATE OF ENACTMENT OF THE
ACT, TO DETERMINE WHETHER THE STANDARDS APPLIED BY THE STATE ARE AT LEAST EQUIVALENT
TO THOSE OF THE COMMISSION. IF THE COMMISSION DETERMINES THAT THE STATE’S PROGRAM DOES
NOT COMPLY, IT MAY SUSPEND OR TERMINATE THAT PART OF ITS AGREEMENT WITH THE STATE UNDER
WHICH THE STATE IS PERMITTED TO LICENSE AND REGULATE URANIUM MILLING AND MILL TAILINGS
ACTIVITIES. REGULATORY AUTHORITY WOULD THEN REVERT TO THE COMMISSION.

PROVISION IS ALSO MADE FOR AMENDING SUCH AGREEMENTS TO INSURE THAT FEES COLLECTED BY
STATES FOR RECLAMATION OR LONG-TERM MAINTENANCE AND MONITORING ARE TRANSFERRED TO
THE UNITED STATES UPON TERMINATION OF A LICENSE. ALSO, IF SUCH FEES ARE COLLECTED, THEY
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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



MUST BE ADEQUATE. THE COMMITTED DOES NOT WANT TO HAVE THIS PROVISION CONSTRUED AS
REQUIRING OR DISCOURAGING SUCH FEES. THAT IS A STATE DECISION.

SIMILARLY, THE COMMITTEE INTENDS THAT STATE LAWS AND PROCEDURES GOVERN THE LICENSING,
BUT THIS ACT ESTABLISHES MINIMUM PROCEDURES FOR THIS PURPOSE.

SUBSECTION (H) CONTINUES FOR 3 YEARS STATE CONTROL OVER THESE TAILINGS. AFTER THAT
PERIOD, IF A STATE HAS NOT ENTERED INTO AN AGREEMENT, THE NRC WILL LICENSE THE MILLS.


      SECTION 205-- AUTHORITIES OF COMMISSION RESPECTING CERTAIN BYPRODUCTS MATERIAL

SECTION 205 AUTHORIZES THE COMMISSION TO PROMULGATE, IMPLEMENT AND ENFORCE
REGULATIONS GOVERNING PERMANENT FEDERAL CUSTODY OF URANIUM MILL TAILINGS DISPOSAL
SITES AND GOVERNING THE ACTIVITIES OF THE DEPARTMENT OF ENERGY UNDER TITLE I OF THE ACT.


**7473 *46 SECTION 206-- AUTHORITY OF ENVIRONMENTAL PROTECTION AGENCY RESPECTING CERTAIN
                                     BYPRODUCT MATERIAL

SUBSECTION (A)(1) REQUIRES EPA TO SET STANDARDS OF GENERAL APPLICABILITY FOR SITES COVERED
BY TITLE I OF THIS BILL. THE STANDARDS MUST BE CONSISTENT WITH THE SOLID WASTE DISPOSAL
ACT.

THE COMMITTEE OBSERVES THAT EPA TESTIFIED THAT IT COULD SET SUCH STANDARDS IN 6 MONTHS.
THE COMMITTEE WAS SKEPTICAL AND ALLOWED MORE TIME. HOWEVER, EPA IS ENCOURAGED TO ACT
WITHIN THE 6 MONTHS GOAL EPA ESTABLISHED FOR ITSELF.

SUBSECTION (A)(2) PROVIDES FOR SUCH GENERAL STANDARDS FOR THE TITLE II PROGRAM.

THESE PROVISIONS DIFFER FROM THOSE IN THE VERSION OF H.R. 13650 AS REPORTED BY THE
COMMITTEE ON INTERIOR AND INSULAR AFFAIRS. SINCE REPORTING, BOTH COMMITTEES HELD
CONSIDERABLE DISCUSSIONS WITH THE EPA AND NRC AND DEVELOPED THESE PROVISIONS. IN AN
AUGUST 9, 1978, LETTER TO SUBCOMMITTEE CHAIRMAN DINGELL, ADMINISTRATOR COSTLE SAID:

TITLE II WOULD PROSPECTIVELY GRANT THE URANIUM MILL TAILINGS LICENSING FUNCTION TO THE
NRC. WE AGREED THAT NRC WOULD ESTABLISH MANAGEMENT REQUIREMENTS FOR THE URANIUM
MILL TAILINGS; THAT SUCH REQUIREMENTS WOULD BE COMPARABLE, TO THE MAXIMUM EXTENT
PRACTICABLE, TO REQUIREMENTS APPLICABLE TO THE POSSESSION, TRANSFER, AND DISPOSAL OF
SIMILAR HAZARDOUS MATERIAL UNDER THE SOLID WASTE DISPOSAL ACT, AS AMENDED BY THE
RESOURCE CONSERVATION AND RECOVERY ACT OF 1976; AND THAT IN ESTABLISHING GENERAL
MANAGEMENT REQUIREMENTS, THE NRC WOULD OBTAIN THE CONCURRENCE OF EPA.

UNDER BOTH TITLES, EPA WOULD RETAIN ITS GENERALLY APPLICABLE STANDARDS-SETTING
AUTHORITY UNDER THE ATOMIC ENERGY ACT OF 1954, AS AMENDED.

I BELIEVE THIS FORMULATION FOR AGENCY RESPONSIBILITY WILL BEST CONTRIBUTE TO AN
EFFECTIVE PROGRAM FOR THE CONTROL OF URANIUM MILL TAILINGS. BOTH EPA AND NRC BELIEVE IT
IS NECESSARY TO IMPLEMENT SUCH A PROGRAM AS SOON AS POSSIBLE.

THE COMMITTEE BILL DOES NOT CONTAIN A DISCLAIMER CONCERNING THE CLEAN AIR ACT AND THE
FEDERAL WATER POLLUTION CONTROL ACT. IT IS UNNECESSARY. THE BILL DOES NOT AFFECT THOSE
LAWS SPECIFICALLY, NOR IS IT INTENDED TO DO SO BY IMPLICATION OR OTHERWISE. THE COMMITTEE
DID NOT THINK IT WISE TO MENTION SOME ENVIRONMENTAL LAWS SINCE FAILURE TO MENTION SOME
WOULD PRECLUDE THE APPLICABILITY OF THOSE NOT MENTIONED. THE COMMITTEE MERELY

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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
                              #: 1-4  Filed:
                                  48-10      01/28/22
                                          Filed:        Page:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



STRESSES THAT THIS ACT DOES NOT CHANGE THOSE LAWS.


                       SECTION 207-- AUTHORIZATION OF APPROPRIATION FOR GRANTS

THIS SECTION AUTHORIZES $500,00 IN FISCAL YEAR 1980 FOR GRANTS TO THOSE STATES WITH
AGREEMENTS WITH THE NRC.


                                          SECTION 208-- EFFECTIVE DATE

THE BILL IS EFFECTIVE ON ENACTMENT UNLESS OTHERWISE STATED.


                 **7474 *47 SECTION 209-- CONSOLIDATION OF LICENSES AND PROCEDURES

THIS SECTION DIRECTS THE NRC TO CONSOLIDATE ALL LICENSE AND LICENSING PROCEDURES UNDER
AMENDMENTS MADE BY THIS TITLE WITH OTHER SUCH LICENSE AND LICENSING PROCEDURES UNDER
THE 1954 ACT, TO THE GREATEST EXTENT PRACTICABLE.


             TITLE III-- STUDY AND DESIGNATION OF TWO MILL TAILING SITES IN NEW MEXICO

THIS TITLE PROVIDES FOR A STUDY BY THE NRC OF TWO ACTUAL MILL SITES IN NEW MEXICO WHICH
PURPORTEDLY HAVE SEGREGATED THOSE TAILINGS PILES THAT WERE DERIVED FROM PRODUCTION
FOR URANIUM FOR FEDERAL PURPOSES. FROM THOSE DERIVED FROM PRODUCTION OF URANIUM FOR
COMMERCIAL PURPOSES THE NRC MUST DETERMINE IF THE 1954 LAW, AS AMENDED BY THIS BILL,
PROVIDES EFFECTIVE REGULATION AND CONTROL OF THESE SITES. IF THE STUDY CONCLUDES THAT
SUCH LAW IS NOT ADEQUATE, THEN THE DOE MAY, WITHIN 90 DAYS AFTER COMPLETION OF THE
STUDY, DESIGNATE THE SITES AS ELIGIBLE FOR ASSISTANCE UNDER TITLE I OF THE BILL. THIS
DESIGNATION WILL ENABLE THE DOE TO ENTER INTO AGREEMENTS WITH NEW MEXICO FOR REMEDIAL
ACTION AT SUCH SITES. BEFORE THE DESIGNATION BECOMES FINAL, THE DESIGNATION, TOGETHER
WITH COST AND OTHER DATA, MUST BE REPORTED TO CONGRESS, AND WAIT FOR THE LAPSE OF 120
CALENDAR DAYS BEFORE INITIALING AGREEMENT WITH THE STATE AND REMEDIAL ACTION.


                                                 ECONOMIC IMPACT

THIS LEGISLATION IS NOT EXPECTED TO HAVE ANY SIGNIFICANT INFLATIONARY IMPACT. OVER THE
NEXT 7 YEARS, 22 TAILING SITES WILL BE TREATED AT A TOTAL COST RANGING ANYWHERE FROM $15
MILLION TO $200 MILLION, DEPENDING LARGELY UPON WHETHER TAILINGS WILL BE TREATED AND
STORED AT THEIR PRESENT LOCATION OR, INSTEAD, MOVED TO NEWLY PREPARED DISPOSAL SITES.
LITTLE OF THIS COST IS EXPECTED TO BE INCURRED DURING THE NEXT 3 YEARS BECAUSE OF THE TIME
REQUIRED TO IDENTIFY AND PREPARE DISPOSAL SITES. ADDITIONAL COSTS MAY BE BORNE BY
INDIVIDUAL STATES IF NEW DISPOSAL SITES ARE REQUIRED. BUT EVEN TAKING THESE ADDITIONAL
COSTS INTO ACCOUNT, THE IMPACT OF THE LEGISLATION ON INFLATION AND OVERLY ECONOMIC
PERFORMANCE IS EXPECTED TO BE IMMEASURABLE.


                                                COST OF LEGISLATION

THE COMMITTEE REQUESTED A REPORT FORM THE CONGRESSIONAL BUDGET OFFICE WHEN HR. 13650
WAS ORDERED REPORTED ON SEPTEMBER 26, 1978. HOWEVER, THE CBO WAS UNABLE TO RESPOND BY
THE TIME OF FILING OF THIS REPORT

THE BILL DOES NOT AUTHORIZE ANY APPROPRIATIONS IN FISCAL YEAR 1979.

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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                              #: 1-4  Filed:
                                  48-10      01/28/22
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                                                                                #:1883
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)




                   OVERSIGHT STATEMENT-- COMMITTEE ON GOVERNMENT OPERATIONS

NO FINDINGS OR RECOMMENDATIONS ON OVERSIGHT ACTIVITIES PURSUANT TO CLAUSE 2(B)(2) RULE X
AND CLAUSE 2(1)(2)(D) UNDER RULE XI OF THE RULES OF THE HOUSE OF REPRESENTATIVES HAVE BEEN
SUBMITTED BY THE COMMITTEE ON GOVERNMENT OPERATIONS FOR INCLUSION IN THIS REPORT.


                                         **7475 DEPARTMENTAL REPORTS

THE COMMITTEE RECEIVED THE FOLLOWING REPORTS:

*48 DEPARTMENT OF ENERGY,

WASHINGTON, D.C., SEPTEMBER 14, 1978.

HON. JOHN D. DINGELL,

CHAIRMAN, SUBCOMMITTEE ON ENERGY AND POWER, COMMITTEE ON INTERSTATE AND FOREIGN
COMMERCE, HOUSE OF REPRESENTATIVES, WASHINGTON, D.C.

DEAR MR. CHAIRMAN: THIS IS IN RESPONSE TO YOUR REQUEST FOR THE VIEWS OF THE DEPARTMENT OF
ENERGY (DOE) ON THE AUGUST 14, 1978, COMMITTEE PRINT, CITED AS THE ‘URANIUM MILL TAILINGS
RADIATION CONTROL ACT OF 1978.‘

A NUMBER OF CHANGES AGREED TO BY THE SUBCOMMITTEE IN ITS MARKUP OF THE ‘RESIDUAL
RADIOACTIVE MATERIALS ACT OF 1978‘ (THE ADMINISTRATION BILL) CAUSE US SOME CONCERN. AS
YOU KNOW, THE ADMINISTRATION BILL PROVIDED FOR A COOPERATIVE FEDERAL/STATE PROGRAM IN
WHICH THE FEDERAL GOVERNMENT WOULD PAY 75 PERCENT OF THE DIRECT COSTS OF REMEDIAL
ACTION, WHILE THE STATE WOULD PAY 25 PERCENT. THE JUSTIFICATIONS FOR THIS FINANCING
FORMULA WERE CLEARLY SET FORTH IN OUR TESTIMONY BEFORE THE SUBCOMMITTEE. DOE
CONSIDERS THE REASONS FOR THE 75/15 PERCENT SPLIT TO BE COMPELLING AND PERSUASIVE;
HOWEVER, WE UNDERSTAND THE MOTIVATIONS WHICH INFLUENCED THE SUBCOMMITTEE TO LIMIT
THE STATES’ SHARE TO 10 PERCENT OF THE COSTS OF THE PROGRAM. WHILE DOE PREFERS THE
FUNDING FORMULA OF THE ADMINISTRATION BILL, WE NEVERTHELESS ARE PLEASED WITH THE
SUBCOMMITTEE’S DECISION NOT TO IMPOSE A CEILING UPON THE STATES’ CONTRIBUTION TO THE
REMEDIAL ACTION PROGRAM.

WITH RESPECT TO THE QUESTION OF LIMITING THE LIABILITY OF THE UNITED STATES IN CONNECTION
WITH THE PERFORMANCE OF THE REMEDIAL ACTION, DOE CONTINUES TO SUPPORT THE LANGUAGE
PROPOSED IN THE ADMINISTRATION BILL, WHICH PROVIDED FOR A RELEASE OF LIABILITY DATING
FROM ENACTMENT OF THE LEGISLATION THROUGH THE COMPLETION OF THE REMEDIAL ACTION. SUCH
A RELEASE WOULD NOT HAVE AFFECTED THE UNITED STATES’ LIABILITY, IF ANY, FOR ACTIONS TAKEN
EITHER PRIOR TO OR AFTER COMPLETION OF THE REMEDIAL ACTION, BUT WOULD MERELY HAVE
PROTECTED THE UNITED STATES DURING THE TIME SPECIFIED. IN ANY EVENT, ALTHOUGH WE WOULD
PREFER A BROADER WAIVER, DOE IS PLEASED THAT THE CONCEPT OF A LIMITED RELEASE OF LIABILITY
HAS BEEN ACCEPTED BY THE SUBCOMMITTEE AS REFLECTED IN SECTION 102(C) OF THE COMMITTEE
PRINT.

AS WE UNDERSTAND IT, THE LICENSING AND REGULATION PORTION OF THE COMMITTEE PRINT
PROVIDES THAT THE ENVIRONMENTAL PROTECTION AGENCY (EPA) WILL PROMULGATE PERFORMANCE
STANDARDS FOR THE REMEDIAL ACTION WHILE THE NUCLEAR REGULATORY COMMISSION IS TO HAVE
EXCLUSIVE JURISDICTION OVER THE LICENSING OF URANIUM MILL TAILINGS AND ENFORCEMENT OF
THE PERFORMANCE STANDARDS SET BY EPA. WE TRUST THAT THE REPORT LANGUAGE WILL CLEARLY

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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



DEFINE THE RESPECTIVE ROLES OF THESE TWO AGENCIES IN ORDER TO AVOID ANY POSSIBLE CONFLICT
OR INCONSISTENCY.

MY STAFF AND I APPRECIATE THE TIME AND EFFORT YOUR SUBCOMMITTEE HAS SPENT IN MARKING UP
THIS LEGISLATION. WE WILL BE HAPPY TO PROVIDE THE FULL COMMITTEE WITH ANY FURTHER
INFORMATION OR ASSISTANCE IT MAY REQUIRE DURING ITS MARKUP.

**7476 THE OFFICE OF MANAGEMENT AND BUDGET HAS ADVISED THAT THERE IS NO OBJECTION TO THE
SUBMISSION OF THIS REPORT FROM THE STANDPOINT OF THE ADMINISTRATION’S PROGRAM.

SINCERELY,

JOHN F. O’LEARY,

DEPUTY SECRETARY.

*49 U.S. DEPARTMENT OF THE INTERIOR,

OFFICE OF THE SECRETARY,

WASHINGTON, D.C., SEPTEMBER 15, 1978.

HON. HARLEY O. STAGGERS,

CHAIRMAN,

COMMITTEE ON INTERSTATE AND FOREIGN COMMERCE,

U.S. HOUSE OF REPRESENTATIVES

WASHINGTON, D.C.

DEAR MR. CHAIRMAN: THIS RESPONDS TO YOUR REQUEST FOR OUR VIEW ON H.R 13650 AS REPORTED BY
THE SUBCOMMITTEE ON ENERGY AND POWER OF THE HOUSE INTERSTATE AND FOREIGN COMMERCE
COMMITTEE, THE PROPOSED ‘URANIUM MILL TAILINGS RADIATION CONTROL ACT OF 1978.‘

WE DO NOT OBJECT TO ENACTMENT OF H.R. 13650 AS REPORTED BY THE SUBCOMMITTEE ON ENERGY
AND POWER OF THE HOUSE INTERSTATE AND FOREIGN COMMERCE COMMITTEE IF THE BILL IS
AMENDED AS SUGGESTED HEREIN.

TITLE I OF HR. 13650 WOULD AUTHORIZE THE SECRETARY OF ENERGY TO ENTER INTO COOPERATIVE
AGREEMENTS WITH STATES TO PERFORM REMEDIAL ACTION AT INACTIVE URANIUM PROCESSING
SITES. TITLE II WOULD AMEND THE ATOMIC ENERGY ACT OF 1954 TO INCLUDE URANIUM MILL TAILINGS
WITHIN THE DEFINITION OF ‘BYPRODUCT MATERIAL‘ AND WOULD REQUIRE THE NUCLEAR
REGULATORY COMMISSION LICENSES AND RENEWALS REQUIRE THAT PRIOR TO TERMINATION OF A
LICENSE, THE LICENSEE COMPLY WITH NRC-ESTABLISHED DECONTAMINATION, DECOMMISSIONING
AND RECLAMATION STANDARDS AND REQUIREMENTS, AND THAT OWNERSHIP OF THE BYPRODUCT
MATERIAL BE TRANSFERRED TO THE UNITED STATES ON TERMINATION.

WE HAVE THE FOLLOWING COMMENTS ON THE PROVISIONS OF H.R. 13650 AS REPORTED BY THE
SUBCOMMITTEE ON ENERGY AND POWER OF THE HOUSE INTERSTATE AND FOREIGN COMMERCE
COMMITTEE. SECTION 104(B)(2) PROVIDES THAT STATE ACQUISITION OF A SITE FOR DISPOSITION AND
STABILIZATION OF RESIDUAL RADIOACTIVE MATERIALS SHALL NOT BE REQUIRED IF THE SECRETARY
OF ENERGY, WITH THE CONCURRENCE OF THE NUCLEAR REGULATORY COMMISSION, DESIGNATES A

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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



SITE OWNED BY A FEDERAL AGENCY FOR SUCH DISPOSITION AND STABILIZATION, WE BELIEVE THAT
SECTION 104(B)(2) SHOULD INCORPORATE THE PROVISION IN SECTION 106(A), GOVERNING ACQUISITION
OF LAND BY THE SECRETARY OF ENERGY, WHICH PERMITS THE SECRETARY OF THE INTERIOR TO MAKE
PUBLIC LANDS AVAILABLE TO THE SECRETARY OF ENERGY FOR DISPOSITION OF RESIDUAL
RADIOACTIVE MATERIALS IN ACCORDANCE WITH OTHER APPLICABLE PROVISIONS OF LAW. WE ALSO
SUGGEST THAT SECTION 106(A)(2) BE AMENDED TO READ: ‘THE SECRETARY OF THE INTERIOR MAY
MAKE AVAILABLE PUBLIC LANDS ADMINISTERED BY HIM FOR SUCH PURPOSES . . . ‘

SECTION 105(A)(1) OF THE BILL PROVIDES THAT COOPERATIVE AGREEMENTS ENTERED INTO BETWEEN
THE SECRETARY OF ENERGY AND INDIAN TRIBES SHALL REQUIRE THAT INDIAN TRIBES EXECUTE A
WAIVER RELEASING THE UNITED STATES FORM ANY LIABILITY CONCERNING THE REMEDIAL ACTION
PERFORMED BY THE SECRETARY OF ENERGY OR HIS DESIGNEE. THIS PROVISION SHOULD BE AMENDED
TO INCLUDE THE STATEMENT THAT THE PROVISION DOES NOT AFFECT **7477 THE RESPONSIBILITIES OF
THE SECRETARY OF THE INTERIOR AS TRUSTEE FOR ANY INDIAN TRIBE.

IN ORDER TO CONSOLIDATE RESIDUAL RADIOACTIVE MATERIALS FOR STORAGE IN A SAFE MANNER,
SECTION 106 OF THE BILL AUTHORIZES THE SECRETARY OF ENERGY TO ACQUIRE LAND, AND PROVIDES,
IN ADDITION, THAT THE SECRETARY OF THE INTERIOR MAY ‘MAKE AVAILABLE PUBLIC LANDS FOR
SUCH PURPOSES *50 IN ACCORDANCE WITH OTHER APPLICABLE PROVISIONS OF LAW.‘ WE BELIEVE
THAT SECTION 106(A)(2) SHOULD APPLY TO ALL MANAGERS OF FEDERALLY OWNED LAND, NOT JUST
THE SECRETARY OF THE INTERIOR.

SECTION 108(A)(1) AUTHORIZES THE SECRETARY OF ENERGY TO SELECT AND PERFORM REMEDIAL
ACTION. THE SELECTION AND PERFORMANCE OF REMEDIAL ACTION IS TO BE DONE WITH THE
CONCURRENCE OF THE NUCLEAR REGULATORY COMMISSION AND IN CONSULTATION, AS
APPROPRIATE, WITH THE INDIAN TRIBE AND THE SECRETARY OF THE INTERIOR. THE LAST SENTENCE OF
SECTION 108(A)(1) PROVIDES THAT SINCE A STATE ‘MUST SHARE IN THE COSTS OF SUCH REMEDIAL
ACTION, THE STATE SHALL PARTICIPATE FULLY IN THE SELECTION THEREOF.‘ THE WORD ‘SUCH‘
APPEARS TO IMPLY THAT STATES PAY PART OF THE COSTS OF REMEDIAL ACTION PURSUANT TO
AGREEMENTS BETWEEN THE SECRETARY OF ENERGY AND INDIAN TRIBES. SINCE THIS IS NOT THE CASE,
WE RECOMMEND THAT THE LAST SENTENCE OF SECTION 108(A)(1) BE AMENDED TO SAY, ‘SINCE A
STATE MUST, PURSUANT TO AN AGREEMENT BETWEEN THE SECRETARY OF ENERGY AND THE STATE,
SHARE IN THE COSTS OF REMEDIAL ACTION, THE STATE SHALL PARTICIPATE FULLY IN THE SELECTION
OF THE TYPE OF REMEDIAL ACTION TO BE PERFORMED.‘

THE OFFICE OF MANAGEMENT AND BUDGET HAS ADVISED THAT THERE IS NO OBJECTION TO THE
PRESENTATION OF THIS REPORT FROM THE STANDPOINT OF THE ADMINISTRATION’S PROGRAM.

SINCERELY,

GUY R. MARTIN,

ASSISTANT SECRETARY.


                                                      ****


*58 SUPPLEMENTAL VIEWS ON H.R. 13650-- URANIUM MILL TAILINGS RADIATION CONTROL ACT OF 1978

WE CONCUR WITH THE MAJORITY ON THE NEED TO TAKE REMEDIAL ACTION TO SAFELY DISPOSE OF
RESIDUAL URANIUM MILL TAILINGS. THESE TAILINGS ARE UNAVOIDABLE BY-PRODUCT OF THE FIRST
STAGE OF THE NUCLEAR FUEL CYCLE. WHEN URANIUM IS EXTRACTED FROM RAW ORE, A
RADIOACTIVE, SAND-LIKE WASTE REMAINS. THIS WASTE-- CALLED URANIUM MILL TAILINGS-- CAN
CONSTITUTE A HEALTH HAZARD UNLESS PROPER DISPOSAL METHODS ARE UTILIZED. BY SHARING

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 Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                         Doc.#:
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H.R. REP. 95-1480(II), H.R. REP. 95-1480(II) (1978)



COSTS ON A 90/10 BASIS WITH THE AFFECTED STATES, THE FEDERAL GOVERNMENT CAN EFFECTIVELY
DO ITS PART TO SAFELY DISPOSE OF THESE TAILINGS, WHICH WERE ONCE THOUGHT TO BE HARMLESS.

WE REMAIN CONCERNED, HOWEVER, ABOUT THE ATTORNEY GENERAL’S AUTHORITY TO STUDY THE
LIABILITY (FOR REMEDIAL ACTION COSTS), IF ANY, OF FORMER OWNERS OR OPERATORS OF THESE
PROCESSING SITES. AFTER ALL, WHEN THESE FORMER OWNERS OR OPERATORS NEGOTIATED THEIR
COST-PLUS CONTRACTS **7478 WITH THE FEDERAL GOVERNMENT, A VERY SMALL AMOUNT WAS SET
ASIDE FOR TAILINGS DISPOSAL BECAUSE THE TAILINGS WERE NOT BELIEVED TO BE HEALTH HAZARDS.
THE COST OF REMEDIAL ACTION NOW CONTEMPLATED TO SAFELY DISPOSE OF THESE TAILINGS FAR
EXCEEDS THAT PRIOR BARGAINED-FOR AMOUNT, AN WILL NEGATE BARGAINED-FOR PROFITS.

AFTER THE STUDY IS COMPLETED, THE ATTORNEY GENERAL IS AUTHORIZED TO TAKE ACTION UNDER
ANY APPROPRIATE LAW TO REQUIRE PAYMENT BY A PERSON FOUND TO BE LIABLE. WE DO NOT
BELIEVE THAT THE ATTORNEY GENERAL SHOULD BE EMPOWERED TO ENFORCE STATE LAWS IN
TAKING ACTION AGAINST THESE FORMER OWNERS OR OPERATORS. HOWEVER, THE MAJORITY HAS
ASSURED US THAT THE ATTORNEY GENERAL MUST EXERCISE DISCRETION IN INSTITUTING ANY CIVIL
ACTIONS TO RECOVER REMEDIAL COSTS. SPECIFICALLY, THE MAJORITY HAS AGREED THAT IF THE SITE
IS NOT CURRENTLY OWNED OR CONTROLLED BY THE PERSONS WHO CONTRACTED WITH THE UNITED
STATES, SUCH CIVIL ACTION MAY BE INAPPROPRIATE. IT IS ALSO OUR UNDERSTANDING WITH THE
MAJORITY THAT NO NEW FEDERAL AUTHORITY IS BEING CONFERRED ON THE ATTORNEY GENERAL BY
THIS PROVISION OF THIS BILL.

WITH THESE UNDERSTANDINGS, WE SUPPORT H.R. 13650 AND URGE BIPARTISAN SUPPORT FOR THIS
MEASURE.

CLARENCE J. BROWN,

JAMES M. COLLINS

NORMAN F. LENT.

CARLOS J. MOORHEAD.

MATTHEW J. RINALDO.


(Note: 1. PORTIONS OF THE SENATE, HOUSE AND CONFERENCE REPORTS, WHICH ARE DUPLICATIVE OR
ARE DEEMED TO BE UNNECESSARY TO THE INTERPRETATION OF THE LAWS, ARE OMITTED. OMITTED
MATERIAL IS INDICATED BY FIVE ASTERISKS: *****. 2. TO RETRIEVE REPORTS ON A PUBLIC LAW, RUN A
TOPIC FIELD SEARCH USING THE PUBLIC LAW NUMBER, e.g., TO(99-495))


H.R. REP. 95-1480(II), H.R. REP. 95-1480, H.R. Rep. No. 1480(II), 95TH Cong., 2ND Sess. 1978, 1978 U.S.C.C.A.N.
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#:1-4 Filed:
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                             PUBLIC LAW 95-604—NOV. 8, 1978                              92 STAT. 3021

     Public Law 95-604
     95th Congress
                                           An Act
     To authorize the Secretary of Energy to enter into cooperative agreements            _ Nov. °» 1978
       with certain States respecting residual radioactive material at existing sites,      [H.R. 13650]
       to provide for the regulation of uranium mill tailings under the Atomic Energy
       Act of 1954, and for other purposes.

      Be it enacted by the Senate and House of Representatives of the
     United States of America in Congress assembled,                  Uranium Mill
                                                                                         Tailings
                             SHORT TITLE AND TABLE OP CONTENTS                           Radiation Control
                                                                      Act of 1978.
       SECTION 1. This Act may be cited as the "Uranium Mill Tailings 42 USC 7901
                                                                      note
     Radiation Control Act of 1978".                                       -
                                   TABLE OP CONTENTS
     Sec. 1. Short title and table of contents.
     Sec. 2. Findings and purposes.

                           TITLE I—REMEDIAL ACTION PROGRAM
     Sec. 101. Definitions.
     Sec. 102. Designation of processing sites.
 *   Sec. 103. State cooperative agreements.
     Sec. 104. Acquisition and disposition of land and materials.
     Sec. 105. Indian tribe cooperative agreements.
     Sec. 106. Acquisition of lands by Secretary.
     Sec. 107. Financial assistance.
     Sec. 108. Remedial action.
     Sec. 109. Rules.
     Sec. 110. Enforcement.
     Sec. 111. Public participation.
     Sec. 112. Termination; authorization.
     Sec. 113. Limitation.
     Sec. 114. Reports to Congress.
     Sec. 115. Active operations; liability for remedial action.

     TITLE II—URANIUM MILL TAILINGS LICENSING AND REGULATIONS
     Sec. 201. Definition.
     Sec. 202. Custody of disposal site.
     Sec. 203. Authority to establish certain requirements.
     Sec. 204. Cooperation with States.
     Sec. 205. Authorities of Commission respecting certain byproduct material.
     Sec. 206. Authority of Environmental Protection Agency respecting certain
                  byproduct material.
     Sec. 207. Authorization of appropriations for grants.
     Sec. 208. Effective date.
     Sec. 209. Consolidation of licenses and procedures.

     TITLE III—STUDY AND DESIGNATION OP TWO MILL TAILINGS SITES
                                    IN NEW MEXICO
     Sec. 301. Study.
     Sec. 302. Designation by Secretary.

                                   FINDINGS AND PURPOSES

       SEC. 2. (a) The Congress finds that uranium mill tailings located at 42 USC 7901.
     active and inactive mill operations may pose a potential and signifi-
     cant radiation health hazard to the public, and that the protection of




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                              48-11     01/28/22
                                     Filed:       Page:
                                            02/06/17    2083ofof903
                                                     Page:       24 PageID
                                                                    PageID #
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     92 STAT. 3022                  PUBLIC LAW 95-604—NOV. 8, 1978

                     the public health, safety, and welfare and the regulation of interstate
                     commerce require that every reasonable effort be made to provide for
                     the stabilization, disposal, and control in a safe and environmentally
                     sound manner of such tailings in order to prevent or minimize radon
                     diffusion into the environment and to prevent or minimize other
                     environmental hazards from such tailings,
                        (b) The purposes of this Act are to provide—
                             (1) in cooperation with the interested States, Indian tribes, and
                          the persons who own or control inactive mill tailings sites, a pro-
                          gram of assessment and remedial action at such sites, including,
                          where appropriate, the reprocessing of tailings to extract residual
                          uranium and other mineral values where practicable, in order to
                          stabilize and control such tailings in a safe and environmentally
                          sound manner and to minimize or eliminate radiation health
                          hazards to the public, and
                             (2) a program to regulate mill tailings during uranium or
                          thorium ore processing at active mill operations and after ter-
                          mination of such operations in order to stabilize and control such
                          tailings in a safe and environmentally sound manner and to mini-
                          mize or eliminate radiation health hazards to the public.
                               T I T L E I—REMEDIAL ACTION PROGRAM
                                                   DEFINITIONS

     42 USC 7911.      SEC. 101. For purposes of this title—
                            (1) The term "Secretary" means the Secretary of Energy.
                            (2) The term "Commission" means the Nuclear Regulatory
                         Commission.
                            (3) The term "Administrator" means the Administrator of
                         the Environmental Protection Agency.
                            (4) The term "Indian tribe" means any tribe, band, clan, group,
                         pueblo, or community of Indians recognized as eligible for services
                         provided by the Secretary of the Interior to Indians.
                            (5) The term "person" means any individual, association, part-
                         nership, corporation, firm, joint venture, trust, government entity,
                         and any other entity, except that such term does not include any
                         Indian or Indian tribe.
                            (6) The term "processing site" means—
                                 (A) any site, including the mill, containing residual radio-
                              active materials at which all or substantially all of the ura-
                              nium was produced for sale to any Federal agency prior to
                              January 1, 1971 under a contract with any Federal agency,
                              except in the case of a site at or near Slick Rock, Colorado,
                              unless—
                                      (i) such site was owned or controlled as of January 1,
                                   1978, oris thereafter owned or controlled, by any Federal
                                   agency, or
                                      (ii) a license (issued by the Commission or its pred-
     42 USC 2011                   ecessor agency under the Atomic Energy Act of 1954
     note.                         or by a State as permitted under section 274 of such Act)
     42 USC 2021.                  for the production at such site of any uranium or thorium
                                   product derived from ores is in effect on January 1,1978,
                                   or is issued or renewed after such date; and
                                 (B) any other real property or improvement thereon
                              which—



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4:22-cv-00116-CDP
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                                            02/06/17    2094ofof903
                                                     Page:       24 PageID
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                   PUBLIC LAW 95-604—NOV. 8, 1978                             92 STAT. 3023

                     i) is in the vicinity of such site, and
                     h) is determined by the Secretary, in consultation
                 with the Commission, to be contaminated with residual
                 radioactive materials derived from such site.
       Any ownership or control of an area by a Federal agency which
       is acquired pursuant to a cooperative agreement under this title
       shall not be treated as ownership or control by such agency for
       purposes of subparagraph ( A ) ( i ) . A license for the production
       of any uranium product from residual radioactive materials shall
       not be treated as a license for production from ores within the
       meaning of subparagraph (A) (ii) if such production is in accord-
       ance with section 108(b).
          (7) The term "residual radioactive material" means—
               (A) waste (which the Secretary determines to be radio-
            active) in the form of tailings resulting from the processing
            of ores for the extraction of uranium and other valuable con-
            stituents of the ores; and
               (B) other waste (which the Secretary determines to be
            radioactive) at a processing site which relate to such process-
            ing, including any residual stock of unprocessed ores or low-
            grade materials.
          (8) The term "tailings" means the remaining portion of a
       metal-bearing ore after some or all of such metal, such as uranium,
       has been extracted.
          (9) The term "Federal agency" includes any executive agency
       as defined in section 105 of title 5 of the United States Code.
          (10) The term "United States" means the 48 contiguous States
       and Alaska, Hawaii, Puerto Rico, the District of Columbia, and
       the territories and possessions of the United States.
                     DESIGNATION OF PROCESSING SITES

      SEC. 102. (a) (1) As soon as practicable, but no later than one year 42 USC 7912.
   after enactment of this Act, the Secretary shall designate processing
   sites at or near the following locations:
           Salt Lake City, Utah
           Green River, Utah
           Mexican Hat, Utah
           Durango, Colorado
           Grand Junction, Colorado
           Rifle, Colorado (two sites)
           Gunnison, Colorado
           Naturita, Colorado
           Maybell, Colorado
           Slick Rock, Colorado (two sites)
           Shiprock, New Mexico
           Ambrosia Lake, New Mexico
           Riverton, Wyoming
           Converse County, Wyoming
           Lakeview, Oregon
           Falls City, Texas
           Tuba City, Arizona
           Monument Valley, Arizona
           Lowman, Idaho
           Cannonsburg, Pennsylvania




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                              48-11     01/28/22
                                     Filed:       Page:
                                            02/06/17    2105ofof903
                                                     Page:       24 PageID
                                                                    PageID #
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    92 STAT. 3024                     PUBLIC LAW 95-604—NOV. 8, 1978

    Remedial action.   Subject to the provisions of this title, the Secretary shall complete
                       remedial action at the above listed sites before his authority termi-
                       nates under this title. The Secretary shall within one year of the date
                       of enactment of this Act also designate all other processing sites
                       within the United States which he determines requires remedial
                       action to carry out the purposes of this title. In making such designa-
                       tion, the Secretary shall consult with the Administrator, the Commis-
                       sion, and the affected States, and in the case of Indian lands, the
                       appropriate Indian tribe and the Secretary of the Interior.
                          (2) As part of. his designation under this subsection, the Sec-
                       retary, in consultation with the Commission, shall determine the
                       boundaries of each such site.
                          (3) No site or structure with respect to which remedial action is
     86 Stat. 222.     authorized under Public Law 92-314 in Grand Junction, Colorado,
                       may be designated by the Secretary as a processing site under this
                       section.
    Health hazard         (b) Within one year from the date of the enactment of this Act, the
    assessment.        Secretary shall assess the potential health hazard to the public from
                       the residual radioactive materials at designated processing sites.
                       Based upon such assessment, the Secretary shall, within such one year
                       period, establish priorities for carrying out remedial action at each
                       such site. In establishing such priorities, the Secretary shall rely
                       primarily on the advice of the Administrator.
    Notification.         (c) Within thirty days after making designations of processing
                       sites and establishing the priorities for such sites under this section,                       *
                       the Secretary shall notify the Governor of each affected State, and,
                        where appropriate, the Indian tribes and the Secretary of the Interior.
                          (d) The designations made, and priorities established, by the Sec-
                       retary under this section shall be final and not be subject to judicial
                       review.
                          (e) (1) The designation of processing sites within one year after
                       enactment under this section shall include, to the maximum extent
                       practicable, the areas referred to in section 101 (6) (B).
                          (2) Notwithstanding the one year limitation contained in this sec-
                       tion, the Secretary may, after such one year period, include any area
                       described in section 101(6) (B) as part of a processing site designated
                       under this section if he determines such inclusion to be appropriate
                       to carry out the purposes of this title.
                                           STATE COOPERATIVE AGREEMENTS

     42 USC 7913.         SEC. 103. (a) After notifying a State of the designation referred
                       to in section 102 of this title, the Secretary subject to section 113, is
                       authorized to enter into cooperative agreements with such State to
                       perform remedial actions at each designated processing site in such
                       State (other than a site located on Indian lands referred to in section
                       105). The Secretary shall, to the greatest extent practicable, enter into
                       such agreements and carry out such remedial actions in accordance
                       with the priorities established by him under section 102. The Secre-
                       tary shall commence preparations for cooperative agreements with
                       respect to each designated processing site as promptly as practicable
                       following the designation of each site.
    Terms and             (b) Each cooperative agreement under this section shall contain
    Conditions.        such terms and conditions as the Secretary deems appropriate and
                       consistent with the purposes of this Act, including, but not limited




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                   Doc.#:
                        #: 1-4  Filed:
                            48-11      01/28/22
                                    Filed:        Page:
                                           02/06/17     2116of
                                                    Page:    of903 PageID#:
                                                                24 PageID #
                    PUBLIC LAW 95-604—NOV. 8, 1978                          92 STAT. 3025

   to, a limitation on the use of Federal assistance to those costs which
   are directly required to complete the remedial action selected pursuant
   to section 108.
      (c) (1) Except where the State is required to acquire the processing Written consent,
   site as provided in subsection (a) of section 104, each cooperative
   agreement with a State under section 103 shall provide that the State
   shall obtain, in a form prescribed by the Secretary, written consent
   from any person holding any record interest in the designated process-
   ing site for the Secretary or any person designated by him to perform
   remedial action at such site.
      (2) Such written consent shall include a waiver by each such person Waiver,
   on behalf of himself, his heirs, successors, and assigns—
            (A) releasing the United States of any liability or claim thereof
         by such person, his heirs, successors, and assigns concerning such
         remedial action, and
            (B) holding the United States harmless against any claim by
         such person on behalf of himself, his heirs, successors, or assigns
         arising out of the performance of any such remedial action.
      (d) Each cooperative agreement under this section shall require
   the State to assure that the Secretary, the Commission, and the Admin-
   istrator and their authorized representatives have a permanent right
   of entry at any time to inspect the processing site and the site provided
   pursuant to section 104(b) (1) in furtherance of the provisions of this
   title and to carry out such agreement and enforce this Act and any
   rules prescribed under this Act. Such right of entry under this section
   or section 106 into an area described in section 101(6) (B) shall ter-
   minate on completion of the remedial action, as determined by the
   Secretary.
       (e) Each agreement under this section shall take effect only upon
   the concurrence of the Commission with the terms and conditions
   thereof.
      (f) The Secretary may, in any cooperative agreement entered into
   under this section or section 105, provide for reimbursement of the
   actual costs, as determined by the Secretary, of any remedial action
   performed with respect to so much of a designated processing site as
   is described in section 101(6) ( B ) . Such reimbursement shall be made
   only to a property owner or record at the time such remedial action
    was undertaken and only with respect to costs incurred by such
   property owner. No such reimbursement may be made unless—
             (1) such remedial action was completed prior to enactment of
         this Act, and unless the application for such reimbursement was
         filed by such owner within one year after an agreement under this
         section or section 105 is approved by the Secretary and the Com-
         mission, and
             (2) the Secretary is satisfied that such action adequately
         achieves the purposes of this Act with respect to the site con-
         cerned and is consistent with the standards established by the
         Administrator pursuant to section 275(a) of the Atomic Energy
         Act of 1954.                                                         Post, p. 3039.
          ACQUISITION AND DISPOSITION OF LANDS AND MATERIALS

     SEC. 104. (a) Each cooperative agreement under section 103 shall 42 USC 7914.
   require the State, where determined appropriate by the Secretary with
   the concurrence of the Commission, to acquire any designated process-
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                    Doc.#:
                         #: 1-4  Filed:
                             48-11      01/28/22
                                     Filed:        Page:
                                            02/06/17     2127of
                                                     Page:    of903 PageID#:
                                                                 24 PageID #
     92 STAT. 3026                   PUBLIC LAW 95-604—NOV. 8, 1978

                        ing site, including where appropriate any interest therein. In deter-
                        mining whether to require the State to acquire a designated processing
                        site or interest therein, consideration shall be given to the prevention
                        of windfall profits.
     Residual               (b) (1) If the Secretary with the concurrence of the Commission
     radioactive        determines that removal of residual radioactive material from a proc-
     material, removal, essing site is appropriate, the cooperative agreement shall provide
                        that the State shall acquire land (including, where appropriate, any
                        interest therein) to be used as a site for the permanent disposition
                        and stabilization of such residual radioactive materials in a safe and
                        environmentally sound manner.
                            (2) Acquisition by the State shall not be required under this sub-
                        section if a site located on land controlled by the Secretary or made
                        available by the Secretary of the Interior pursuant to section 106
                         (a) (2) is designated by the Secretary, with the concurrence of the
                        Commission, for such disposition and stabilization.
                            (c) No State shall be required under subsection (a) or (b) to
                        acquire any real property or improvement outside the boundaries of—
                                  (1) that portion of the processing site which is described in
                               section 101(6) (A), and
                                  (2) the site used for disposition of the residual radioactive
                               materials.
                            (d) In the case of each processing site designated under this title
                        other than a site designated on Indian land, the State shall take such
                        action as may be necessary, and pursuant to regulations of the Secre-
                        tary under this subsection, to assure that any person who purchases
                        such a processing site after the removal of radioactive materials from
                        such site shall be notified in an appropriate manner prior to such
                        purchase, of the nature and extent of residual radioactive materials
                        removed from the site, including notice of the date when such action
     Notification.      took place, and the condition of such site after such action. If the
                        State is the owner of such site, the State shall so notify any prospec-
                        tive purchaser before entering into a contract, option, or other arrange-
     Rules and          ment to sell or otherwise dispose of such site. The Secretary shall
     regulations.        issue appropriate rules and regulations to require notice in the local
                         land records of the residual radioactive materials which were located
                         at any processing site and notice of the nature and extent of residual
                         radioactive materials removed from the site, including notice of the
                         date when such action took place.
                             (e) (1) The terms and conditions of any cooperative agreement with
                         a State under section 103 shall provide that in the case of any lands
                         or interests therein acquired by the State pursuant to subsection (a),
                         the State, with the concurrence of the Secretary and the Commission,
                         may—
                                    A} sell such lands and interests,
                                    B) permanently retain such land and interests in lands (or
                               donate such lands and interests therein to another governmental
                               entity within such State) for permanent use by such State or
                               entity solely for park, recreational, or other public purposes, or
                                   (C) transfer such lands and interests to the United States as
                               provided in subsection (f).
                         No lands may be sold under subparagraph (A) without the consent
                         of the Secretary and the Commission. No site may be sold under sub-
                         paragraph (A) or retained under subparagraph (B) if such site is
                         used for the disposition of residual radioactive materials.



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 4:17-cv-00024-CDP Doc.
                   Doc.#:
                        #: 1-4  Filed:
                            48-11      01/28/22
                                    Filed:        Page:
                                           02/06/17     2138of
                                                    Page:    of903 PageID#:
                                                                24 PageID #
                   PUBLIC LAW 95-604—NOV. 8, 1978                         92 STAT. 3027

     (2) Before offering for sale any lands and interests therein which
   comprise a processing site, the State shall offer to sell such lands
   and interests at their fair market value to the person from whom the
   State acquired them.
     (f) (1) Each agreement under section 103 shall provide that title
   to—
           (A) the residual radioactive materials subject to the agreement,
        and
           (B) any lands and interests therein which have been acquired
        by the State, under subsection (a) or (b), for the disposition
        of such materials,
   shall be transferred by the State to the Secretary when the Secretary
    (with the concurrence of the Commission) determines that remedial
   action is completed in accordance with the requirements imposed pur-
   suant to this title. No payment shall be made in connection with the
   transfer of such property from funds appropriated for purposes of
   this Act other than payments for any administrative and legal costs
   incurred in carrying out such transfer.
      (2) Custody of any property transferred to the "United States under
   this subsection shall be assumed by the Secretary or such Federal
   agency as the President may designate. Notwithstanding any other
   provision of law, upon completion of the remedial action program
   authorized by this title, such property and minerals shall be main-
   tained pursuant to a license issued by the Commission in such manner
   as will protect the public health, safety, and the environment. The
   Commission may, pursuant to such license or by rule or order, require
   the Secretary or other Federal agency having custody of such prop-
   erty and minerals to undertake such monitoring, maintenance, and
   emergency measures necessary to protect public health and safety and
   other actions as the Commission deems necessary to comply with the
   standards of section 275(a) of the Atomic Energy Act of 1954. The Post, p. 3039.
   Secretary or such other Federal agency is authorized to carry out
   maintenance, monitoring and emergency measures under this subsec-
   tion, but shall take no other action pursuant to such license, rule or
   order with respect to such property and minerals unless expressly
   authorized by Congress after the date of enactment of this Act. The
   United States shall not transfer title to property or interest therein
   acquired under this subsection to any person or State, except as pro-
   vided in subsection (h).
       (g) Each agreement under section 103 which permits any sale
    described in subsection (e) (1) (A) shall provide for the prompt reim-
   bursement to the Secretary from the proceeds of such sale. Such reim-
   bursement shall be in an amount equal to the lesser of—
            (1) that portion of the fair market value of the lands or inter-
         ests therein which bears the same ratio to such fair market
         value as the Federal share of the costs of .acquisition by the State
         to such lands or interest therein bears to the total cost of such
         acquisition, or
            (2) the total amount paid by the Secretary with respect to
         such acquisition.
    The fair market value of such lands or interest shall be determined Fair market
    by the Secretary as of the date of the sale by the State. Any amounts value,
    received by the Secretary under this title shall be deposited in the
    Treasury of the United States as miscellaneous receipts.




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  4:17-cv-00024-CDP Doc.
                    Doc.#:
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                             48-11      01/28/22
                                     Filed:        Page:
                                            02/06/17     2149of
                                                     Page:    of903 PageID#:
                                                                 24 PageID #
      92 STAT. 3028                   PUBLIC LAW 95-604—NOV. 8, 1978

                         (h) No provision of any agreement under section 103 shall prohibit
                      the Secretary of the Interior, with the concurrence of the Secre-
                      tary of Energy and the Commission, from disposing of any subsur-
                      face mineral rights by sale or lease (in accordance with laws of the
                      United States applicable to the sale, lease, or other disposal of such
                      rights) which are associated with land on which residual radioactive
                      materials are disposed and which are transferred to the United
                      States as required under this section if the Secretary of the Interior
                      takes such action as the Commission deems necessary pursuant to a
                      license issued by the Commission to assure that the residual radioac-
                      tive materials will not be disturbed by reason of any activity carried
                      on following such disposition. If any such materials are disturbed by
                      any such activity, the Secretary of the Interior shall insure, prior to the
                      disposition of the minerals, that such materials will be restored to a
                      safe and environmentally sound condition as determined by the Com-
                      mission, and that the costs of such restoration will be borne by the
                      person acquiring such rights from the Secretary of the Interior or from
                      his successor or assign.

                                      INDIAN TRIBE COOPERATIVE AGREEMENTS

      42 USC 7915.       SEC. 105. (a) After notifying the Indian tribe of the designation
                      pursuant to section 102 of this title, the Secretary, in consultation with
                      the Secretary of the Interior, is authorized to enter into a cooperative
                      agreement, subject to section 113, with any Indian tribe to perform
                      remedial action at a designated processing site located on land of
                      such Indian tribe. The Secretary shall, to the greatest extent prac-
                      ticable, enter into such agreements and carry out such remedial actions
                      in accordance with the priorities established by him under section 102.
                      In performing any remedial action under this section and in carrying
                      out any continued monitoring or maintenance respecting residual
                      radioactive materials associated with any site subject to a cooperative
                      agreement under this section, the Secretary shall make full use of
                      any qualified members of Indian tribes resident in the vicinity of any
      Terms and       such site. Each such agreement shall contain such terms and conditions
      conditions.     as the Secretary deems appropriate and consistent with the purposes
                      of this Act. Such terms and conditions shall require the following:
                               (1) The Indian tribe and any person holding any interest m
                            such land shall execute a waiver (A) releasing the United States
                            of any liability or claim thereof by such tribe or person concern-
                            ing such remedial action and (B) holding the United States harm-
                            less against any claim arising out of the performance of any such
                            remedial action.
                               (2) The remedial action shall be selected and performed in
                            accordance with section 108 by the Secretary or such person as
                            he may designate.
                               (3) The Secretary, the Commission, and the Administrator and
                            their authorized representatives shall have a permanent right of
                            entry at any time to inspect such processing site in furtherance
                            of the provisions of this title, to carry out such agreement, and
                            to enforce any rules prescribed under this Act.
                      Each agreement under this section shall take effect only upon concur-
                      rence of the Commission with the terms and conditions thereof.
                          (b) When the Secretary with the concurrence of the Commission
                      determines removal of residual radioactive materials from a process-



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4:17-cv-00024-CDP Doc.
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                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 215
                                                   Page: 10ofof903
                                                                24 PageID
                                                                   PageID #
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                   PUBLIC LAW 95-604—NOV. 8, 1978                             92 STAT. 3029

  ing site on lands described in subsection (a) to be appropriate, he shall
  provide, consistent with other applicable provisions of law, a site or
  sites for the permanent disposition and stabilization in a safe and
  environmentally sound manner of such residual radioactive materials.
  Such materials shall be transferred to the Secretary (without payment        Transfer to
  therefor by the Secretary) and permanently retained and maintained           Secretary of the
  by the Secretary under the conditions established in a license issued        Interior.
  by the Commission, subject to section 104(f) (2) and (h).
                   ACQUISITION OF LAND BY        SECRETARY

    SEC. 106. Where necessary or appropriate in order to consolidate in 42 USC 7916.
  a safe and environmentally sound manner the location of residual
  radioactive materials which are removed from processing sites under
  cooperative agreements under this title, or where otherwise necessary
  for the permanent disposition and stabilization of such materials in
  such manner—
          (1) the Secretary may acquire land and interests in land for
       such purposes by purchase, donation, or under any other authority
       of law or
          (2) the Secretary of the Interior may make available public
       lands administered by him for such purposes in accordance with
       other applicable provisions of law.
  Prior to acquisition of land under paragraph (1) or (2) of this sub- Consultation,
  section in any State, the Secretary shall consult with the Governor
  of such State. No lands may be acquired under such paragraph (1)
  or (2) in any State in which there is no (1) processing site designated
  under this title or (2) active uranium mill operation, unless the Sec-
  retary has obtained the consent of the Governor of such State. No
  lands controlled by any Federal agency may be transferred to the
  Secretary to carry out the purposes of this Act without the concurrence
  of the chief administrative officer of such agency.

                           FINANCIAL ASSISTANCE

     SEC. 107. (a) In the case of any designated processing site for which 42 USC 7917.
  an agreement is executed with any State for remedial action at such
  site, the Secretary shall pay 90 per centum of the actual cost of such
  remedial action, including the actual costs of acquiring such site (and
  any interest therein) or any disposition site (and any interest therein)
  pursuant to section 103 of this title, and the State shall pay the remain-
  der of such costs from non-Federal funds. The Secretary shall not pay
  the administrative costs incurred by any State to develop, prepare,
  and carry out any cooperative agreement executed with such State
  under this title, except the proportionate share of the administrative
  costs associated with the acquisition of lands and interests therein
  acquired by the State pursuant to this title.
     (b) In the case of any designated processing site located on Indian
  lands, the Secretary shall pay the entire cost of such remedial action.
                             REMEDIAL ACTION

    SEC. 108. (a) (1) The Secretary or such person as he may designate 42 USC 7918.
  shall select and perform remedial actions at designated processing sites
  and disposal sites in accordance with the general standards prescribed



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                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
                  Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 216
                                                   Page: 11ofof903
                                                                24 PageID
                                                                   PageID #
                                                                          #
     92 STAT. 3030                    PUBLIC LAW 95-604^-NOV. 8, 1978

                       by the Administrator pursuant to section 275 a. of the Atomic Energy
     Post, p. 3039.     Act of 1954. The State shall participate fully in the selection and
                       performance of a remedial action for which it pays part of the cost.
                       Such remedial action shall be selected and performed with the con-
                       currence of the Commission and in consultation, as appropriate, with
                       the Indian tribe and the Secretary of the Interior.
                          (2) The Secretary shall use technology in performing such remedial
                       action as will insure compliance with the general standards promul-
                       gated by the Administrator under section 275 a. of the Atomic Energy
                       Act of 1954 and w^ll assure the safe and environmentally sound
                       stabilization of residual radioactive materials, consistent with exist-
                       ing law. No such remedial action may be undertaken under this section
                       before the promulgation by the Administrator of such standards.
     Evaluation.          (b) Prior to undertaking any remedial action at a designated site
                       pursuant to this title, the Secretary shall request expressions of inter-
                       est from private parties regarding the remilling of the residual radio-
                       active materials at the site and, upon receipt of any expression of
                       interest, the Secretary shall evaluate among other things the mineral
                       concentration of the residual radioactive materials at each designated
                       processing site to determine whether, as a part of any remedial action
                       program, recovery of such minerals is practicable. The Secretary, with .
                       the concurrence of the Commission, may permit the recovery of such
                       minerals, under such terms and conditions as he may prescribe to carry
                       out the purposes of this title. No such recovery shall be permitted
                       unless such recovery is consistent with remedial action. Any person "
                       permitted by the Secretary to recover such mineral shall pay to the
                       Secretary a share of the net profits derived from such recovery, as
                       determined by the Secretary. Such share shall not exceed the total
                       amount paid by the Secretary for carrying out remedial action at such
                       designated site. After payment of such share to the United States
                       under this subsection, such person shall pay to the State in which
                       the residual radioactive materials are located a share of the net profits
                       derived from such recovery, as determined by the Secretary. The
                       person recovering such minerals shall bear all costs of such recovery.
                       Any person carrying out mineral recovery activities under this para-
                       graph shall be required to obtain any necessary license under the
                       Atomic Energy Act of 1954 or under State law as permitted under
     42 USC 2021.       section 274 of such Act.
                                                       RULES

     42 USC 7919.        SEC. 109. The Secretary may prescribe such rules consistent with
                       the purposes of this Act as he deems appropriate pursuant to title V
                       of the Department of Energy Organization Act.
                                                   ENFORCEMENT

     42 USC 7920.          SEC. 110. (a)(1) Any person who violates any provision of this
                       title or any cooperative agreement entered into pursuant to this title
                       or any rule prescribed under this Act concerning any designated proc-
                       essing site, disposition site, or remedial action shall be subject to an
                       assessment by the Secretary of a civil penalty of not more than $1,000
     Notice, hearing   per day per violation. Such assessment shall be made by order after
     opportunity.      notice and an opportunity for a public hearing, pursuant to section
                       554 of title 5, United States Code.
                          (2) Any person against whom a penalty is assessed under this sec-
                       tion may, within sixty calendar days after the date of the order of


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4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
                  Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 217
                                                   Page: 12ofof903
                                                                24 PageID
                                                                   PageID #
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                    PUBLIC LAW 95-604—NOV. 8, 1978                             92 STAT. 3031

   the Secretary assessing such penalty, institute an action in the United
   States court of appeals for the appropriate judicial circuit for judicial
   review of such order in accordance with chapter 7 of title 5, United
   States Code. The court shall have jurisdiction to enter a judgment           5 USC 500 et seq.
   affirming, modifying, or setting aside in whole or in part, the order of     Jurisdiction,
   the Secretary, or the court may remand the proceeding to the Secre-
   tary for such further action as the court may direct.
      (3) If any person fails to pay an assessment of a civil penalty after
   it has become a final and unappealable order, the Secretary shall
   institute an action to recover the amount of such penalty in any appro-
   priate district court of the United States. In such action, the validity
   and appropriateness of such final assessment order or judgment shall
   not be subject to review. Section 402(d) of the Department of Energy
   Organization Act shall not apply with respect to the functions of the        42 USC 7172.
   Secretary under this section.
      (4) No civil penalty may be assessed against the United States or
   any State or political subdivision of a State or any official or employee
   of the foregoing.
      (5) Nothing in this section shall prevent the Secretary from enforc-
   ing any provision of this title or any cooperative agreement or any
   such rule by injunction or other equitable remedy.
      (b) Subsection (a.) shall not apply to any licensing requirement
   under the Atomic Energy Act of 1954. Such licensing requirements             42 USC 2011
   shall be enforced by the Commission as provided in such Act.                 note.
                            PUBLIC PARTICIPATION

     SEC. 111. In carrying out the provisions of this title, including the 42 USC 7921.
   designation of processing sites, establishing priorities for such sites,
   the selection of remedial actions, and the execution of cooperative
   agreements, the Secretary, the Administrator, and the Commission
   shall encourage public participation and, where appropriate, the Sec-
   retary shall hold public hearings relative to such matters in the States
   where processing sites and disposal sites are located.
                       TERMINATION J AUTHORIZATION

     SEC. 112. (a) The authority of the Secretary to perform remedial 42 USC 7922.
   action under this title shall terminate on the date seven years after
   the date of promulgation by the Administrator of general standards
   applicable to such remedial action unless such termination date is
   specifically extended by an Act of Congress enacted after the date of
   enactment of this Act.
     (b) The amounts authorized to be appropriated to carry out the
   purposes of this title by the Secretary, the Administrator, the Com-
   mission, and the Secretary of the Interior shall not exceed such
   amounts as are established in annual authorization Acts for fiscal year
   1979 and each fiscal year thereafter applicable to the Department of
   Energy. Any sums appropriated for the purposes of this title shall
   be available until expended.
                                 LIMITATION

     SEC. 113. The authority under this title-to^enter into contracts or 42 USC 7923.
   other obligations requiring the United States to make outlays may



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4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
                  Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 218
                                                   Page: 13ofof903
                                                                24 PageID
                                                                   PageID #:
                                                                          #:
    92 STAT. 3032                   PUBLIC LAW 95-604—NOV. 8, 1978

                    be exercised only to the extent provided in advance in annual author-
                    ization and appropriation Acts.
                                              REPORTS TO CONGRESS

    42 USC 7924.        SEC. 114. (a) Beginning on January 1,1980, and each year thereafter
                     until January 1,1986, the Secretary shall submit a report to the Con-
                       ress with respect to the status of the actions required to be taken by the
                    f  ecretary, the Commission, the Secretary of the Interior, the Adminis-
                     trator, and the States and Indian tribes under this Act and any amend-
                    ments to other laws made by this Act. Each report shall—
                             (1) include data on the actual and estimated costs of the pro-
                          gram authorized by this title;
                             (2) describe the extent of participation by the States and
                          Indian tribes in this program;
                             (3) evaluate the effectiveness of remedial actions, and describe
                          any problems associated with the performance of such actions;
                          and
                             (4) contain such other information as may be appropriate.
                    Such report shall be prepared in consultation with the Commission,
                    the Secretary of the Interior, and the Administrator and shall contain
                    their separate views, comments, and recommendations, if any. The
                    Commission shall submit to the Secretary and Congress such portion
                    of the report under this subsection as relates to the authorities of
                    the Commission under title I I of this Act.
                        (b) Not later than July 1,1979, the Secretary shall provide a report
                    to the Congress which identifies all sites located on public or acquired
                    lands of the United States containing residual radioactive materials
                    and other raidoactive waste (other than waste resulting from the pro-
                    duction of electric energy) and specifies which Federal agency has
                    jurisdiction over such sites. The report shall include the identity of
                    property and other structures in the vicinity of such site that are
                    contaminated or may be contaminated by such materials and the
                    actions planned or taken to remove such materials. The report shall
                    describe in what manner such sites are adequately stabilized and
                    otherwise controlled to prevent radon diffusion from such sites into
                    the environment and other environmental harm. If any site is not so
                    stabilized or controlled, the report shall describe the remedial actions
                    planned for such site and the time frame for performing such actions.
                    In preparing the reports under this section, the Secretary shall avoid
                    duplication of previous or ongoing studies and shall utilize all infor-
                    mation available from other departments and agencies of the United
    Cooperation.    States respecting the subject matter of such report. Such agencies
                    shall cooperate with the Secretary in the preparation of such report
                    and furnish such information as available to : them and necessary for
                    such report.
                        (c) Not later than January 1,1980, the Administrator, in consulta-
                    tion with the Commission, shall provide a report to the Congress which
                    identifies the location and potential health, safety, and environmental
                    hazards of uranium mine wastes together with recommendations, if
                    any, for a program to eliminate these hazards.
                        (d) Copies of the reports required by this section to be submitted
                    to the Congress shall be separately submitted to the Committees on
                    Interior and Insular Affairs and on Interstate and Foreign Commerce



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4:22-cv-00116-CDP Doc.
4:17-cv-00024-CDP Doc. #:
                       #: 48-11
                          1-4 Filed: 01/28/22
                                 Filed: 02/06/17Page: 219
                                                  Page: 14ofof903 PageID #
                                                               24 PageID #
                    PUBLIC LAW 95-604—NOV. 8, 1978                           92 STAT. 3033

   of the House of Representatives and the Committee on Energy and
   Natural Resources of the Senate.
      (e) The Commission, in cooperation with the Secretary, shall ensure
   that any relevant information, other than trade secrets and other
   proprietary information otherwise exempted from mandatory dis-
   closure under any other provision of law, obtained from the conduct
   of each of the remedial actions authorized by this title and the sub-
   sequent perpetual care of those residual radioactive materials is docu-
   mented systematically, and made publicly available conveniently for
   use.
            ACTIVE OPERATIONS; LIABILITY FOR REMEDIAL ACTION

      SEC. 115. (a) No amount may be expended under this title with           42 USC 7925.
   respect to any site licensed by the Commission under the Atomic
   Energy Act of 1954 or by a State as permitted under section 274 of        42 USC 2011
   such Act at which production of any uranium product from ores             note,
                                                                             42
    (other than from residual radioactive materials) takes place.               USC 2021.
      (b) In the case of each processing site designated under this title,   Study,
   the Attorney General shall conduct a study to determine the identity
   and legal responsibility which any person (other than the United
   States, a State, or Indian tribe) who owned or operated or controlled
    (as determined by the Attorney General) such site before the date of
   the enactment of this Act may have under any law or rule of law for
   reclamation or other remedial action with respect to such site. The
   Attorney General shall publish the results of such study, and provide
   copies thereof to the Congress, as promptly as practicable following
   the date of the enactment of this Act. The Attorney General, based on
   such study, shall, to the extent he deems it appropriate and in the
   public interest, take such action under any provision of law in effect
   when uranium was produced at such site to require payment by such
   person of all or any part of the costs incurred by the United States
   for such remedial action for which he determines such person is liable.

   T I T L E II—URANIUM MILL TAILINGS LICENSING AND
                   REGULATION D E F I N I T I O N
      SEC. 201. Section l i e . of the Atomic Energy Act of 1954, is amended 42 USC 2014.
   to read as follows:
      "e. The term 'byproduct material' means (1) any radioactive mate- "Byproduct
   rial (except special nuclear material) yielded in or made radioactive material."
   by exposure to the radiation incident to the process of producing or
   utilizing special nuclear material, and (2) the tailings or wastes
   produced by the extraction or concentration of uranium or thorium
   from any ore processed primarily for its source material content."
                          CUSTODY OF DISPOSAL SPTE

     SEC. 202. (a) Chapter 8 of the Atomic Energy Act of 1954, is 42 USC 2111 et
   amended by adding the following new section at the end thereof: seq.
     "SEC. 83. OWNERSHIP AND CUSTODY OF CERTAIN BYPRODUCT MATE-               42 USC   2113.
   RIAL AND DISPOSAL SITES.—
     "a. Any license issued or renewed after the effective date of this
   section under section 62 or section 81 for any activity which results 42 USC 2002,
   in the production of any byproduct material, as defined in section l i e . 2111.
                                                                               42 USC 2014.


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                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
                  Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 220
                                                   Page: 15ofof903
                                                                24 PageID
                                                                   PageID #
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    92 STAT. 3034                      PUBLIC LAW 95-604—NOV. 8, 1978

                        (2), shall contain such terms and conditions as the Commission deter-
                       mines to be necessarj' to assure that, prior to termination of such
                       license—
                                 " (1) the licensee will comply with decontamination, decommis-
                             sioning, and reclamation standards prescribed by the Commission
                              for sites (A) at which ores were processed primarily for their
                             source material content and (B) at which such byproduct material
                             is deposited, and
                                 "(2) ownership of any byproduct material, as denned in sec-
    42 USC 2014.              tion 11 e. (2), which resulted from such licensed activity shall
                              be transferred to (A) the United States or (B) in the State in
                              which such activity occurred if such State exercises the option
                              under subsection b. (1) to acquire land used for the disposal of
                              byproduct material.
                       Any license in effect on the date of the enactment of this section shall
                       either contain such terms and conditions on renewal thereof after the
                       effective date of this section, or comply with paragraphs (1) and (2)
                       upon the termination of such license, whichever first occurs.
    Rule, regulation      " ( b ) ( 1 ) ( A ) The Commission shall require by rule, regulation, or
    or order.          order that prior to the termination of any license which is issued after
                       the effective date of this section, title to the land, including any inter-
                       ests therein (other.than land owned by the United States or by a
                       State) which is used for the disposal of any byproduct material, as
                       denned by section l i e . (2), pursuant to such license shall be trans-
                        ferred to—
                                 " (A) the United States, or
                                  " ( B ) the State in which such land is located, at the option of
                              such State.
                           "(2) Unless the Commission determines prior to such termination
                        that transfer of title to such land and such byproduct material is not
                        necessary or desirable to protect the public health, safety, or welfare
                        or to minimize or eliminate danger to life or property. Such deter-
                       mination shall be made in accordance with section 181 of this Act.
                        Notwithstanding any other provision of law or any such determina-
                        tion, such property and materials shall be maintained pursuant to a
                        license issued by the Commission pursuant to section 84(b) in such
                        manner as will protect the public health, safety, and the environment.
                           "(B) If the Commission determines by order that use of the surface
                        or subsurface estates, or both, of the land transferred to the United
                        States or to a State under subparagraph (A) would not endanger the
                        public health, safety, welfare, or environment, the Commission, pur-
                        suant to such regulations as it may prescribe, shall permit the use of
                        the surface or subsurface estates, or both, of such land in a manner
                        consistent with the provisions of this section. If the Commission
                        permits such use of such land, it shall provide the person who trans-
                        ferred such land with the right of first refusal with respect to such
                        use of such land.
                           "(2) If transfer to the United States of title to such byproduct
                        material and such land is required under this section, the Secretary
                        of Energy or any Federal agency designated by the President shall,
                        following the Commission's determination of compliance under sub-
                        section c , assume title and custody of such byproduct material and
                        land transferred as provided in this subsection. Such Secretary or
                        Federal agency shall maintain such material and land in such manner
                        as will protect the public health and safety and the environment. Such
                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
                  Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 221
                                                   Page: 16ofof903
                                                                24 PageID
                                                                   PageID #
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                     PUBLIC LAW 95-604—NOV. 8, 1978                          92 STAT. 3035

    custody may be transferred to another officer or instrumentality of
    the United States only upon approval of the President.
       "(3) If transfer to a State of title to such byproduct material is
    required in accordance with this subsection, such State shall, following
    the Commission's determination of compliance under subsection d.,
    assume title and custody of such byproduct material and land trans-
    ferred as provided in this subsection. Such State shall maintain such
    material and land in such manner as will protect the public health,
    safety, and the enviromnent.
       "(4) In the case of any such license under section 62, which was 42 USC 2092.
    in effect on the effective date of this section, the Commission may
    require, before the termination of such license, such transfer of land
    and interests therein (as described in paragraph (1) of this sub-
    section) to the United States or a State in which such land is located,
    at the option of such State, as may be necessary to protect the public
    health, welfare, and the environment from any effects associated with
    such byproduct material. In exercising the authority of this para-
    graph, the Commission shall take into consideration the status of the
    ownership of such land and interests therein and the ability of the
    licensee to transfer title and custody thereof to the United States or
    a State.
       " (5) The Commission may, pursuant to a license, or by rule or order,
    require the Secretary or other Federal agency or State having cus-
     tody of such property and materials to undertake such monitoring,
    maintenance, and emergency measures as are necessary to protect the
    public health and safety and such other actions as the Commission
    deems necessary to comply with the standards promulgated pursuant
    to section 84 of this Act. The Secretary or such other Federal agency Post, p. 3039.
    is authorized to carry out maintenance, monitoring, and emergency
    measures, but shall take no other action pursuant to such license, rule
    or order, with respect to such property and materials unless expressly
    authorized by Congress after the date of enactment of this Act.
       " (6) The transfer of title to land or byproduct materials, as denned
     in section 11 e. (2), to a State or the United States pursuant to this sub- 42 USC 2014.
     section shall not relieve any licensee of liability for any fraudulent
     or negligent acts done prior to such transfer.
        "(7) Material and land transferred to the United States or a State
     in accordance with this subsection shall be transferred without cost
     to the United States or a State (other than administrative and legal
     costs incurred in carrying out such transfer). Subject to the provi-
     sions of paragraph (1) (B) of this subsection, the United States or a
     State shall not transfer title to material or property acquired under
     this subsection to any person, unless such transfer is in the same man-
    ner as provided under section 104 (h) of the Uranium Mill Tailings
     Radiation Control Act of 1978.
       "(8) The provisions of this subsection respecting transfer of title
     and custody to land shall not apply in the case of lands held in trust
     by the United States for any Indian tribe or lands owned by such
     Indian tribe subject to a restriction against alienation imposed by
     the United States. In the case of such lands which are used for the dis-
     posal of byproduct material, as defined in section 11 e. (2), the licensee
     shall be required to enter into such arrangements with the Commission
     as may be appropriate to assure the long-term maintenance and moni-
     toring of such lands by the United States.
       "c. Upon termination on any license to which this section applies,
     the Commission shall determine whether or not the licensee has com-



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                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
4:22-cv-00116-CDP Doc.
4:17-cv-00024-CDP Doc. #:
                       #: 48-11
                          1-4 Filed: 01/28/22
                                 Filed: 02/06/17Page: 222
                                                  Page: 17ofof903
                                                               24 PageID
                                                                  PageID #
                                                                         #
   92 STAT. 3036                      PUBLIC LAW 95-604—NOV. 8, 1978

                     {>lied with
                      icense.".
                                   all applicable standards and requirements under such
   Effective date.       (b) This section shall be effective three years after the enactment
   42 USC 2113         of this Act.
   note
        -                (c) The table of contents for chapter 8 of the Atomic Energy Act
                      of 1954, is amended by inserting the following new item after the
                      item relating to section 82:
                      "Sec. 83. Ownership and custody of certain byproduct material and disposal
                      sites.".
                                AUTHORITY TO ESTABLISH CERTAIN         REQUIREMENTS

   42 USC 2201.           SEC. 203. Section 161 of the Atomic Energy Act of 1954, is
                       amended by adding the following new subsection at the end thereof:
                          "x. Establish by rule, regulation, or order, after public notice, and
   42 USC 2231.         in accordance with the requirements of section 181 of this Act, such
                       standards and instructions as the Commission may deem necessary or
                       desirable to ensure—
                              "(1) that an adequate bond, surety, or other financial arrange-
                            ment (as determined by the Commission) will be provided,
                            before termination of any license for byproduct material as
   42 USC 2014.              denned in section 11 e. (2), by a licensee to permit the completion
                            of all requirements established by the Commission for the decon-
                            tamination, decommissioning, and reclamation of sites, structures,
                            and equipment used in conjunction with byproduct material as so
                            defined, and
                               "(2) that—
                                    "(A) in the case of any such license issued or renewed after
                                 the date of the enactment of this subsection, the need for long
                                 term maintenance and monitoring of such sites, structures
                                 and equipment after termination of such license will be
                     ,           minimized and, to the maximum extent practicable,
                                 eliminated; and
                                    " ( B ) in the case of each license for such material (whether
                                 in effect on the date of the enactment of this section or issued
                                 or renewed thereafter), if the Commission determines that any
                                 such long-term maintenance and monitoring is necessary, the
                                 licensee, before termination of any license for byproduct
                                 material as defined in section 11 e. (2), will make available
                                 such bonding, surety, or other financial arrangements as may
                                 be necessary to assure such long-term maintenance and
                                 monitoring.
                       Such standards and instructions promulgated by the Commission pur-
                       suant to this subsection shall take into account, as determined by the
                       Commission, so as to avoid unnecessary duplication and expense, per-
                       formance bonds or other financial arrangements which are required by
                       other Federal agencies or State agencies and/or other local govern-
                       ing bodies for such decommissioning, decontamination, and reclama-
                       tion and long-term maintenance and monitoring except that nothing
                       in this paragraph shall be construed to require that the Commission
                       accept such bonds or arrangements if the Commission determines that
                       such bonds or arrangements are not adequate to carry out subpara-
                       graphs (1) and (2) of this subsection.".

                                             COOPERATION WITH STATES

   42 USC 2021.         SEC. 204. (a) Section 274 b. of -the Atomic Energy Act of 1954, is
                      amended by adding "as defined in section 11 e. (1) 'after the words



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                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
4:22-cv-00116-CDP Doc.
4:17-cv-00024-CDP Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 223
                                                   Page: 18ofof903
                                                                24 PageID
                                                                   PageID #
                                                                          #
                     PUBLIC LAW 95-604—NOV. 8, 1978                              92 STAT. 3037

    "byproduct materials" in paragraph (1) by renumbering paragraphs
     (2) and (3) as paragraphs (3) and ( 4 ) ; and by inserting the follow-
    ing new paragraph immediately after paragraph ( 1 ) :
            "(2) byproduct materials as defined in section 11 e. (2);".
       (b) Section 274 d. (2) of such Act is amended by inserting the fol-       42 USC 2021.
    lowing before the word "compatible": "in accordance with the
    requirements of subsection o. and in all other respects".
       (c) Section 274 n. of such Act is amended by adding the following
    new sentence at the end thereof: "As used in this section, the term          "Agreement."
    'agreement' includes any amendment to any agreement.".
       (d) Section 274 j . of such Act is amended—
            (1) by inserting "all or part of" after "suspend";
            (2) by inserting " (1)" after "finds that"; and
            (3) by adding at the end before the period the following: ",
         or (2) the State has not complied with one or more of the require-
         ments of this section. The Commission shall periodically review          Review,
         such agreements and actions taken by the States under the agree-
         ments to ensure compliance with the provisions of this section.".
       (e) (1) Section 274 of such Act is amended by adding the following
    new subsection at the end thereof:
       "o. In the licensing and regulation of byproduct material, as defined
    in section 11 e. (2) of this Act, or of any activity which results in
    the production of byproduct material as so defined under an agreement
    entered into pursuant to subsection b., a State shall require—
            "(1) compliance with the requirements of subsection b. of sec-
         tion 83 (respecting ownership of byproduct material and land),
         and
            " (2) compliance with standards which shall be adopted by the
         State for the protection of the public health, safety,, and the
         environment from hazards associated with such material which
         are equivalent, to the extent practicable, or more stringent than,
         standards adopted and enforced by the Commission for the same
         purpose, including requirements and standards promulgated by
         the Commission and the Administrator of the Environmental
         Protection Agency pursuant to sections 83, 84, and 275, and              Ante, p. 3033.
            "(3) procedures which—                                                Post, p. 3039.
                  "(A) in the case of licenses, provide procedures under
               State law which include—
                       "(i) an opportunity, after public notice, for written
                    comments and a public hearing, with a transcript,
                       "(ii) an opportunity for cross examination, and
                       "(iii) a written determination which is based upon
                    findings included in such determination and upon the
                    evidence presented during the public comment period
                    and which is subject to judicial review;
                  "(B) in the case of rulemaking, provide an opportunity
               for public participation through written comments or a pub-
               lic hearing and provide for judicial review of the rule;
                  "(C) require for each license which has a significant impact
               on the human environment a written analysis (which shall
               be available to the public before the commencement of any
               such proceedings) of the impact of such license, including
               any activities conducted pursuant thereto, on the environ-
               ment, which analysis shall include—



                                              21
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
4:22-cv-00116-CDP Doc.
4:17-cv-00024-CDP Doc. #:
                       #: 48-11
                          1-4 Filed: 01/28/22
                                 Filed: 02/06/17Page: 224
                                                  Page: 19ofof903 PageID #
                                                               24 PageID #
    92 STAT. 3038                   PUBLIC LAW 95-604—NOV. 8, 1978

                                       "(i) an assessment of the radiological and nonradio-
                                     logical impacts to the public health of the activities to
                                     be conducted pursuant to such license;
                                       "(ii) an assessment of any impact on any waterway
                                     and groundwater resulting from such activities ;
                                       "(iii) consideration of alternatives, including alter-
                                     native sites and engineering methods, to the activities to
                                     be conducted pursuant to such license; and
                                       "(iv) consideration of the long-term impacts, includ-
                                     ing decommissioning, decontamination, and. reclamation
                                     impacts, associated with activities to be conducted pur-
                                     suant to such license, including the management of any
                                     byproduct material, as defined by section 11 e. ( 2 ) ; and
                                  " (D) prohibit any major construction activity with respect
                               to such material prior to complying with the provisions of
                               subparagraph (C).
                     If any State under such agreement imposes upon any licensee any
                     requirement for the payment of funds to such State for the reclama-
                     tion or long-term maintenance and monitoring of such material, and
                     if transfer to the United States of such material is required in accord-
    Ante, p. 3033.     ance with section 83 b. of this Act, such agreement shall be amended
                     by the Commission to provide that such State shall transfer to the
                     United States upon termination of the license issued to such licensee
                     the total amount collected by such State from such licensee for such
                     purpose. If such payments are required, they must be sufficient to
                     ensure compliance with the standards established by the Commission
    42 USC 2201.      pursuant to section 161 x. of this Act. No State shall be required under
                     paragraph (3) to conduct proceedings concerning any license or
                     regulation which would duplicate proceedings conducted by the
                     Commission.".
    42 USC 2021.         (f) Section 274 c. of such Act is amended by inserting the follow-
                     ing new sentence after paragraph (4) thereof: "The Commission shall
                     also retain authority under any such agreement to make a determina-
                     tion that all applicable standards and requirements have been met
                     prior to termination of a license for byproduct material, as defined
    42 USC 2014.      in section 11 e. (2).".
    42 USC 2021          (g) Nothing in any amendment made by this section shall preclude
    note-      .     any State from exercising any other authority as permitted under the
                     Atomic Energy Act of 1954 respecting any byproduct material, as
                     defined in section 11 e. (2) of the Atomic Energy Act of 1954.
    42 USC 2021          (h) (1) On or before the date three years after the date of the enact -
    note.            ment of this Act, notwithstanding any amendment made by this title,
                     any State may exercise any authority under State law respecting
                     byproduct material, as defined in section 11 e. (2) of the Atomic
                     Energy Act of 1954, in the same manner, and to the same extent, as
                     permitted before the enactment of this Act.
                         (2) An agreement entered into with any State as permitted under
                     section 274 of the Atomic Energy Act of 1954 with respect to byprod-
                     uct material as defined in section 11 e. (2) of such Act, may be
                      entered into at any time after the date of the enactment of this Act
                     but no such agreement may take effect before the date three years after
                     the date of the enactment of this Act.




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4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
                  Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 225
                                                   Page: 20ofof903
                                                                24 PageID
                                                                   PageID #
                                                                          #
                      PUBLIC LAW 95-604—NOV. 8, 1978                              92 STAT. 3039

   AUTHORITIES OF COMMISSION RESPECTING CERTAIN BYPRODUCT MATERIAL

     S E C 205. (a) Chapter 8 of the Atomic Energy Act of 1954, is 42 USC 2111 et
   amended by adding the following new section at the end thereof: seq.
     "SEC. 84. AUTHORITIES OF COMMISSION RESPECTING CERTAIN BYPROD-               42 USC       2114.
   DUCT MATERIAL.—
     "a. The Commission shall insure that the management of any
   byproduct material, as denned in section 11 e. (2), is carried out in such     42 USC 2014.
   manner as— .
          "(1) the Commission deems appropriate to protect the public
       health and safety and the environment from radiological and non-
       radiological hazards associated with the processing and with the
       possession and transfer of such material,
          "(2) conforms with applicable general standards promulgated
       by the Administrator of the Environmental Protection Agency
       under section 275, and                                                      Infra.
          "(3) conforms to general requirements established by the Com-
       mission, with the concurrence of the Administrator, which are,
       to the maximum extent practicable, at least comparable to
       requirements applicable to the possession, transfer, and disposal
       of similar hazardous material regulated by the Administrator
       under the Solid Waste Disposal Act, as amended.                            42 USC 6901
     "b. In carrying out its authority under this section, the Commission         note,
                                                                                  R
   is authorized to—                                                                  "le, regulation
           "(1) by rule, regulation, or order require persons, officers, o r order,
         or instrumentalities exempted from licensing under section 81
         of this Act to conduct monitoring, perform remedial work, and to 42 USC 2111.
         comply with such other measures as it may deem necessary or
         desirable to protect health or to minimize danger to life or prop-
         erty, and in connection with the disposal or storage of such
         byproduct material; and
           "(2) make such studies and inspections and to conduct such
         monitoring as may be necessary.
   Any violation by any person other than the United States or any Civil penalty,
   officer or employee of the United States or a State of any rule, regula-
   tion, or order or licensing provision, of the Commission established
   under this section or section 83 shall be subject to a civil penalty in Ante, p. 3033.
   the same manner and in the same amount as violations subject to a
   civil penalty under section 234. Nothing in this section affects any 42 USC 2282.
   authority of the Commission under any other provision of this Act.".
      (b) The first sentence of section 81 of the Atomic Energy Act of 42 USC 2111.
   1954, is amended to read as follows: "No person may transfer or
   receive in interstate commerce, manufacture, produce, transfer,
   acquire, own, possess, import, or export any byproduct material,
   except to the extent authorized by this section, section 82 or section 84.". 42 USC 2112.
      (c) The table of contents for such chapter 8 is amended by insert- Supra.
   ing the following new item after the item relating to section 83:
   "Sec. 84. Authorities of Commission respecting certain byproduct material.".

   AUTHORITY OF ENVIRONMENTAL PROTECTION AGENCY RESPECTING CERTAIN
                        BYPRODUCT MATERIAL

     SEC. 206. (a) Chapter 19 of the Atomic Energy Act of 1954, is
   amended by inserting after section 274 the following new section: 42 USC 2021.
     "SEC. 275. HEALTH AND ENVIRONMENTAL STANDARDS FOR URANIUM 42 USC 2022.
   M I L L TAILINGS.—



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                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 05:28 PM
4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
                  Doc. #:
                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 226
                                                   Page: 21ofof903
                                                                24 PageID
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     92 STAT. 3040                      PUBLIC LAW 95-604—NOV. 8, 1978

     Rule.                  "a. As soon as practicable, but not later than one year after the date
                         of enactment of this section, the Administrator of the Environ-
                         mental Protection Agency (hereinafter referred to in this section as
                         the 'Administrator') shall, by rule, promulgate standards of general
                         application (including standards applicable to licenses under section
                         104(h) of the Uranium Mill Tailings Radiation Control Act of 1978)
                         for the protection of the public health, safety, and the environment
                         from radiological and nonradiological hazards associated with resid-
                         ual radioactive materials (as denned in section 101 of the Uranium
                         Mill Tailings Radiation Control Act of 1978) located at inactive
                         uranium mill tailings sites and depository sites for such materials
                         selected by the Secretary of Energy, pursuant to title I of the Ura-
                         nium Mill Tailings Radiation Control Act of 1978. Standards pro-
                         mulgated pursuant to this subsection shall, to the maximum extent
                         practicable, be consistent with the requirements of the Solid Waste
     42 USC 6901         Disposal Act, as amended. The Administrator may periodically revise
     note.               any standard promulgated pursuant to this subsection.
     Rule.                  "b. (1) As soon as practicable, but not later than eighteen months
                         after the enactment of this section, the Administrator shall, by rule,
                         promulgate standards of general application for the protection of the
                         public health, safety, and the environment from radiological and non-
                         radiological hazards associated with the processing and with the pos-
                         session, transfer, and disposal of byproduct material, as denned in
     42 USC 2014.        section 11 e. (2) of this Act, at sites at which ores are processed pri-
                         marily for their source material content or which are used for the
                         disposal of such byproduct material.
                            "(2) Such generally applicable standards promulgated pursuant to
                         this subsection for nonradiological hazards shall provide for the pro-
                         tection of human health and the environment consistent with the
                         standards required under subtitle C of the Solid Waste Disposal Act,
                         as amended, which are applicable to such hazards: Provided, however,
                         That no permit issued by the Administrator is required under this
                         Act or the Solid Waste Disposal Act, as amended, for the processing,
                         possession, transfer, or disposal of byproduct material, as denned in
                         section 11 e. (2) of this Act. The Administrator may periodically
                         revise any standard promulgated pursuant to this subsection. Within
                         three years after such revision of any such standard, the Commission
     42 USC 2021.        and any State permitted to exercise authority under section 274 b. (2)
                         shall apply such revised standard in the case of any license for
                         byproduct material as defined in section 11 e. (2) or any revision
                         thereof.
     Publication in         "c. (1) Before the promulgation of any rule pursuant to this section,
     Federal Register.   the Administrator shall publish the proposed rule in the Federal
     Notice, hearing     Register, together with a statement of the research, analysis, and other
     opportunity.        available information in support of such proposed rule, and provide
                         a period of public comment of at least thirty days for written com-
                         ments thereon and an opportunity, after such comment period and
                         after public notice, for any interested person to present oral data,
                         views, and arguments at a public hearing. There shall be a transcript
     Consultation.       of any such hearing. The Administrator shall consult with the Com-
                         mission and the Secretary of Energy before promulgation of any such
                         rule.                                                 .
     Judicial review.       "(2) Judicial review of any rule promulgated under this section
                         may be obtained by any interested person only upon such person filing




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4:22-cv-00116-CDP
4:17-cv-00024-CDP Doc.
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                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 227
                                                   Page: 22ofof903
                                                                24 PageID
                                                                   PageID #
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                     PUBLIC LAW 95-604—NOV. 8, 1978                               92 STAT. 3041

   a petition for review within sixty days after such promulgation in the
   United States court of appeals for the Federal judicial circuit in which
   such person resides or has his principal place of business. A copy of
   the petition shall be forthwith transmitted by the clerk of court to the
   Administrator. The Administrator thereupon shall file in the court the
   written submissions to, and transcript of, the written or oral proceed-
   ings on which such rule was based as provided in section 2112 of title
   28, United States Code. The court shall have jurisdiction to review
   the rule in accordance with chapter 7 of title 5, United States Code,           5 USC 701 et seq.
   and to grant appropriate relief as provided in such chapter. The
   judgment of the court affirming, modifying, or setting aside, in whole
   or in part, any such rule shall be final, subject to judicial review by
   the Supreme Court of the United States upon certiorari or certifica-
   tion as provided in section 1254 of title 28, United States Code.
      "(3) Any rule promulgated under this section shall not take effect
   earlier than sixty calendar days after such promulgation.
      "d. Implementation and enforcement of the standards promulgated
   pursuant to subsection b. of this section shall be the responsibility of
   the Commission in the conduct of its licensing activities under this Act.
   States exercising authority pursuant to section 274 b. (2) of this Act          42 USC 2021.
   shall implement and enforce such standards in accordance with sub-
   secton o. of such section.
      "e. Nothing in this Act applicable to byproduct material, as defined
   in section 11 e. (2) of this Act, shall affect the authority of the Adminis-   42 USC 2014.
   trator under the Clean Air Act of 1970, as amended, or the Federal             42 USC 7401
                                                                                  not
   Water Pollution Control Act, as amended.".                                        e-
                                                                                  33
      (b) The table of contents for chapter 19 of the Atomic Energy Act               USC 1 2 5 1
   is amended by inserting the following new item after the item relat             note.
   ing to section 274:                                                             42 USC 2018 et
                                                                                   seq.
   "Sec. 275. Health and environmental standards for uranium mill tailings.".

                AUTHORIZATION OF APPROPRIATION FOR GRANTS
      SEC. 207. There is hereby authorized to be appropriated for fiscal
   year 1980 to the Nuclear Regulatory Commission not to exceed $500,000
   to be used for making grants to States which have entered into agree-
   ments with the Commission under section 274 of the Atomic Energy
   Act of 1954, to aid in the development of State regulatory programs
   under such section which implement the provisions of this Act.
                                 EFFECTIVE DATE

     SEC. 208. Except as otherwise provided in this title the amendments 42 USC 2014
   made by this title shall take effect on the date of the enactment of note,
   this Act.
                 CONSOLIDATION OF LICENSES AND PROCEDURES

     SEC. 209. The Nuclear Regulatory Commission shall consolidate, to 42 USC 2113
   the maximum extent practicable, licenses and licensing procedures note,
   under amendments made by this title with licenses and licensing
   procedures under other authorities contained in the Atomic Energy
   Act of 1954.                                                        42 USC 2011
                                                                                   note.




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4:17-cv-00024-CDP Doc.
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                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 228
                                                   Page: 23ofof903
                                                                24 PageID
                                                                   PageID #
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     92 STAT. 3042                  PUBLIC LAW 95-604—NOV. 8, 1978

                      T I T L E III—STUDY AND DESIGNATION OF TWO MILL
                                   TAILINGS S I T E S IN NEW MEXICO
                                                         STUDY

     42 USC 7941.      SEC. 301. The Commission, in consultation with the Attorney Gen-
                     eral and the Attorney General of the State of New Mexico, shall con-
                     duct a study to determine the extent and adequacy of the authority of
                     the Commission and the State of New Mexico to require, under the
                     Atomic Energy Act of 1954 (as amended by title I I of this Act) or
     42 USC 2021.    under State authority as permitted under section 274 of such Act
                     or under other provision of law, the owners of the following active
                     uranium mill sites to undertake appropriate action to regulate and
                     control all residual radioactive materials at such sites to protect public
                     health, safety, and the environment: the former Homestake-New
                     Mexico Partners site near Milan, New Mexico, and the Anaconda
     Report to       carbonate process tailings site near Bluewater, New Mexico. Such
     Congress.       study shall be completed and a report thereof submitted to the Con-
                     gress and to the Secretary within one year after enactment of this
                     Act, together with such recommendations as may be appropriate. I f
                     the Commission determines that such authority is not adequate to
                     regulate and control such materials at such sites in the manner pro-
                     vided in the first sentence of this section, the Commission shall include
                     in the report a statement of the basis for such determination. Nothing
                     in this Act shall be construed to prevent or delay action by a State as
                     permitted under section 274 of the Atomic Energy Act of 1954 or
                     under any other provision of law or by the Commission to regulate
                     such residual radioactive materials at such sites prior to completion
                     of such study.
                                           DESIGNATION BY SECRETARY

     42 USC 7942.       SEC. 302. (a) Within ninety days from the date of his receipt of the
                     report and recommendations submitted by the Commission under
                     section 301, notwithstanding the limitations contained in section
                     101(6) (A) and in section 115(a), if the Commission determines, based
                     on such study, that such sites cannot be regulated and controlled by
                     the State or the Commission in the manner described in section 301,
                     the Secretary may designate either or both of the sites referred to in
                     section 301 as a processing site for purposes of title I. Following such
                     designation, the Secretary may enter into cooperative agreements
                     with New Mexico to perform remedial action pursuant to such title
                     concerning only the residual radioactive materials at such site result-
                     ing from .uranium produced for sale to a Federal agency prior to
     Submittal to    January 1, 1971, under contract with such agency. Any such designa-
     congressional   tion shall be submitted by the Secretary, together with his estimate of
     committees.     the cost of carrying out such remedial action at the designated site, to
                     the Committee on Interior and Insular Affairs and the Committee on
                     Interstate and Foreign Commerce of the House of Representatives
                     and to the Committee on Energy and Natural Resources of the Senate.
                        (b) (1) No designation under subsection (a) shall take effect before
                     the expiration of one hundred and twenty calendar days (not includ-
                     ing any day in which either House of Congress is not in session




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4:17-cv-00024-CDP Doc.
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                       #: 1-4
                          48-11Filed: 01/28/22
                                  Filed: 02/06/17Page: 229
                                                   Page: 24ofof903
                                                                24 PageID
                                                                   PageID #
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                      PUBLIC LAW 95-604—NOV. 8, 1978                                    92 STAT. 3043

    because of an adjournment of more than three calendar days to a day
    certain or an adjournment sine die) after receipt by such Committees
    of such designation.
       (c) Except as otherwise specifically provided in subsection (a), any
    remedial action under title I with respect to any sites designated under
    this title shall be subject to the provisions of title I (including the
    authorization of appropriations referred to in section 112(b)).
      Approved November 8, 1978.




   LEGISLATIVE HISTORY:
   HOUSE REPORT No. 95-1480, Pt. I (Comm. on Interior and Insular Affairs) and Pt. II
                   (Comm. on Interstate and Foreign Commerce).
   CONGRESSIONAL RECORD, Vol. 124 (1978):
        Oct. 3, considered and passed House.
        Oct. 13, considered and passed §enate, amended.
        Oct. 14, House concurred in Senate amendment with amendments.
        Oct. 15, Senate concurred in House amendment.




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  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 230 of 903 PageID #: 1911

Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
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                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 231 of 903 PageID #: 1912

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                                              U.S. District Court
                                     Eastern District of Missouri (St. Louis)
                                CIVIL DOCKET FOR CASE #: 4:17-cv-00024-CDP


 Dailey et al v. Bridgeton Landfill, LLC et al                                      Date Filed: 01/06/2017
 Assigned to: District Judge Catherine D. Perry                                     Date Terminated: 03/23/2020
 Case in other court: Circuit Court St. Louis County 21st Judicial                  Jury Demand: Both
                      Circu, 16SL-CC04240                                           Nature of Suit: 890 Other Statutory Actions
 Cause: 28:1441 Petition for Removal                                                Jurisdiction: Federal Question
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                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
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                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 236 of 903 PageID #: 1917

 Defendant
 Rock Road Industries, Inc.                                          represented by Allyson Elisabeth Cunningham
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  (See above for address)
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Mallinckrodt LLC                                                    represented by David R. Erickson
 TERMINATED: 03/20/2018                                                             SHOOK HARDY, LLP
                                                                                    2555 Grand Blvd.
                                                                                    Kansas City, MO 64108
                                                                                    816-474-6550
                                                                                    Fax: 816-421-5547
                                                                                    Email: derickson@shb.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Steven D. Soden
                                                                                  SHOOK HARDY, LLP
                                                                                  2555 Grand Blvd.
                                                                                  Kansas City, MO 64108
                                                                                  816-474-6550
                                                                                  Fax: 816-421-5547
                                                                                  Email: ssoden@shb.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 MI Holdings Inc.                                                    represented by David R. Erickson
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Defendant
 Cotter Corporation N.S.L.                                           represented by Brian O'Connor Watson
                                                                                    RILEY SAFER LLP
                                                                                    70 W. Madison

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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
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                                                                   Suite 2900
                                                                   Chicago, IL 60602
                                                                   (312) 471-8776
                                                                   Fax: (312) 471-8701
                                                                   Email: bwatson@rshc-law.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                         Dale A. Guariglia
                                                                         BRYAN CAVE LLP - St Louis
                                                                         One Metropolitan Square
                                                                         211 N. Broadway
                                                                         Suite 3600
                                                                         St. Louis, MO 63102
                                                                         314-259-2606
                                                                         Fax: 314-552-8606
                                                                         Email: daguariglia@bclplaw.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         John McGahren
                                                                         MORGAN AND LEWIS, LLP
                                                                         502 Carnegie Center
                                                                         Princeton, NJ 08540-6241
                                                                         609-919-6600
                                                                         Email: jmcgahren@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Stephanie Feingold
                                                                         MORGAN AND LEWIS, LLP
                                                                         502 Carnegie Center
                                                                         Princeton, NJ 08540-6241
                                                                         609-919-6643
                                                                         Fax: 609-919-6701
                                                                         Email:
                                                                         stephanie.feingold@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Su Jin Kim
                                                                         MORGAN AND LEWIS LLP
                                                                         1701 Market Street
                                                                         Phildelphia, PA 19103
                                                                         215-963-1738
                                                                         Fax: 215-963-5001
                                                                         Email: su.kim@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Erin Lynn Brooks
                                                                         BRYAN CAVE LLP - St Louis
                                                                         One Metropolitan Square
                                                                         211 N. Broadway
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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 238 of 903 PageID #: 1919
                                                                   Suite 3600
                                                                   St. Louis, MO 63102
                                                                   314-259-2393
                                                                   Fax: 314-259-2020
                                                                   Email: erin.brooks@bclplaw.com
                                                                   ATTORNEY TO BE NOTICED
 Defendant
 Commonwealth Edison Company                                         represented by Dale A. Guariglia
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 John McGahren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Stephanie Feingold
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Erin Lynn Brooks
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Exelon Corporation                                                  represented by Dale A. Guariglia
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 John McGahren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Stephanie Feingold
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Erin Lynn Brooks
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Mallinckrodt Inc.                                                   represented by David R. Erickson
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 239 of 903 PageID #: 1920
  Date Filed             #     Docket Text
  01/06/2017              1 NOTICE OF REMOVAL from Circuit Court for 21st Judicial Circuit, case number
                            16SL-cc04240, with receipt number 0865-5752287, in the amount of $400 Jury Demand,,
                            filed by Cotter Corporation N.S.L.. (Attachments: # 1 Civil Cover Sheet, # 2 Original
                            Filing Form, # 3 Exhibit Exhibit A, # 4 Exhibit Exhibit B, # 5 Exhibit Exhibit C, # 6
                            Exhibit Exhibit D)(Guariglia, Dale) (Attachment 1 replaced on 1/9/2017) (MFG).
                            (Entered: 01/06/2017)
  01/06/2017              2 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Cotter Corporation N.S.L.. Parent companies: General Atomics Uranium Resources,
                            LLC,. (Guariglia, Dale) (Entered: 01/06/2017)
  01/06/2017              3 NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Cotter Corporation
                            N.S.L. Sent To: Plaintiff (Guariglia, Dale) (Entered: 01/06/2017)
  01/06/2017              4 Consent to Removal by Defendant MI Holdings Inc.. (Erickson, David) (Entered:
                            01/06/2017)
  01/06/2017              5 Consent to Removal by Defendant Mallinckrodt Inc.. (Erickson, David) (Entered:
                            01/06/2017)
  01/06/2017              6 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendants
                            MI Holdings Inc., Mallinckrodt Inc.. Publicly held company: Mallinckrodt plc,.
                            (Erickson, David) (Entered: 01/06/2017)
  01/06/2017              7 Consent to Removal by Defendant Allied Services L.L.C.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017              8 Consent to Removal by Defendant Bridgeton Landfill, LLC. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017              9 Consent to Removal by Defendant Republic Services, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             10 Consent to Removal by Defendant Rock Road Industries, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             11 DEMAND for Trial by Jury by Defendants Allied Services L.L.C., Bridgeton Landfill,
                            LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             12 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Allied Services L.L.C... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             13 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Bridgeton Landfill, LLC.. (Beck, William) (Entered: 01/06/2017)
  01/06/2017             14 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Republic Services, Inc... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             15 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Rock Road Industries, Inc... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             17 Petition (Removal/Transfer) Received From: St. Louis County Circuit Court, filed by
                            Michael Dailey, Robbin Dailey.(MFG) (Entered: 01/09/2017)
  01/09/2017             16 ENTRY of Appearance by Erin Lynn Brooks for Defendant Cotter Corporation N.S.L..
                            (Brooks, Erin) (Entered: 01/09/2017)
  01/09/2017                   Case Opening Notification: All parties must file the Notice Regarding Magistrate Judge
https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                                  9/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:       MOED01/28/22
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                                                                               Page: 240 of 903 PageID #: 1921
                           Jurisdiction Form consenting to or opting out of the Magistrate Judge jurisdiction. Click
                           here for the instructions. and all non-governmental organizational parties (corporations,
                           limited liability companies, limited liability partnerships) must file Disclosure of
                           Organizational Interests Certificate (moed-0001.pdf). Judge Assigned: Honorable Shirley
                           P. Mensah. (MFG) (Entered: 01/09/2017)
  01/09/2017             18 Pursuant to Local Rule 2.08, the assigned/referred magistrate judge is designated and
                            authorized by the court to exercise full authority in this assigned/referred action or matter
                            under 28 U.S.C. Sec. 636 and 18 U.S.C Sec. 3401. (CSAW) (Entered: 01/09/2017)
  01/10/2017             19 NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Cotter Corporation
                            N.S.L. Notice of Removal Filed with State Court Sent To: State Court - Executed
                            (Attachments: # 1 Exhibit)(Brooks, Erin) (Entered: 01/10/2017)
  01/12/2017             20 NOTICE Consent to Removal: by Defendant Exelon Corporation re 1 Notice of Removal
                            Petition, (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             21 NOTICE Consent to Removal: by Defendant Commonwealth Edison Company re 1
                            Notice of Removal Petition, (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             22 CJRA ORDER (GJL). IT IS HEREBY ORDERED that the above styled case is randomly
                            reassigned from Magistrate Judge Shirley P. Mensah to District Judge Catherine D. Perry.
                            In all future documents filed with the Court, please use the following case number
                            4:16CV1407 CDP. (ARL) (Entered: 01/12/2017)
  01/12/2017             23 ENTRY of Appearance by Erin Lynn Brooks for Defendants Commonwealth Edison
                            Company, Exelon Corporation. (Brooks, Erin) (Entered: 01/12/2017)
  01/12/2017             24 ENTRY of Appearance by Dale A. Guariglia for Defendants Commonwealth Edison
                            Company, Exelon Corporation. (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             25 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Commonwealth Edison Company. Parent companies: Exelon Energy Delivery Company,
                            LLC, Subsidiaries: RITELine Illinois, LLC, Publicly held company: None,. (Guariglia,
                            Dale) (Entered: 01/12/2017)
  01/12/2017             26 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Exelon Corporation. Parent companies: None, Subsidiaries: None, Publicly held
                            company: None,. (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             27 Joint MOTION to Transfer Case to Judge Audrey G. Fleissig by Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                            Inc.. (Beck, William) (Entered: 01/12/2017)
  01/13/2017             28 MOTION to Dismiss Case and Memorandum in Support by Defendants MI Holdings
                            Inc., Mallinckrodt Inc.. (Erickson, David) (Entered: 01/13/2017)
  01/13/2017             29 ANSWER to Complaint by Allied Services L.L.C..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             30 ANSWER to Complaint by Bridgeton Landfill, LLC.(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             31 ANSWER to Complaint by Republic Services, Inc..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             32 ANSWER to Complaint by Rock Road Industries, Inc..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             33 JOINT MOTION to Dismiss Case and Memorandum in Support by Defendants Allied
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
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                                                                             Page: 241 of 903 PageID #: 1922
                           Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services,
                           Inc., Rock Road Industries, Inc.. (Guariglia, Dale) Modified on 1/17/2017 (CBL).
                           (Entered: 01/13/2017)
  01/13/2017             34 MOTION to Dismiss Case by Defendants Commonwealth Edison Company, Exelon
                            Corporation. (Attachments: # 1 Exhibit Declaration of Scott N. Peters, # 2 Exhibit
                            Declaration of Bruce G. Wilson)(Guariglia, Dale) (Entered: 01/13/2017)
  01/17/2017             35 ENTRY of Appearance by William Garland Beck for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck,
                            William) (Entered: 01/17/2017)
  01/17/2017             36 ENTRY of Appearance by Robert G. Rooney for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Rooney,
                            Robert) (Entered: 01/17/2017)
  01/17/2017             37 ENTRY of Appearance by Allyson Elisabeth Cunningham for Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                            Inc.. (Cunningham, Allyson) (Entered: 01/17/2017)
  01/17/2017             38 ENTRY of Appearance by Patricia L. Silva for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Silva,
                            Patricia) (Entered: 01/17/2017)
  01/17/2017             39 First MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold. The Certificate of
                            Good Standing was attached.(Filing fee $100 receipt number 0865-5764575) by
                            Defendant Cotter Corporation N.S.L.. (Attachments: # 1 Certificate of Good Standing
                            Certificate for Stephanie Feingold)(Feingold, Stephanie) (Entered: 01/17/2017)
  01/17/2017             40 First MOTION for Leave to Appear Pro Hac Vice John McGahren. The Certificate of
                            Good Standing was attached.(Filing fee $100 receipt number 0865-5764681) by
                            Defendants Commonwealth Edison Company, Cotter Corporation N.S.L., Exelon
                            Corporation. (Attachments: # 1 Certificate of Good Standing Certificate for John
                            McGahren)(McGahren, John) (Entered: 01/17/2017)
  01/17/2017             41 AMENDED MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold. The
                            Certificate of Good Standing was attached.(Filing fee $100 receipt number 0865-
                            5764786) by Defendants Cotter Corporation N.S.L., Commonwealth Edison Company,
                            Exelon Corporation. (Attachments: # 1 Certificate of Good Standing Certificate for
                            Stephanie Feingold)(Feingold, Stephanie) Modified on 1/18/2017 (CBL). (Entered:
                            01/17/2017)
  01/18/2017             42 Consent MOTION for Extension of Time to File Response/Reply as to 34 MOTION to
                            Dismiss Case , 33 MOTION to Dismiss Case and Memorandum in Support, 27 Joint
                            MOTION to Transfer Case to Judge Audrey G. Fleissig, 28 MOTION to Dismiss Case
                            and Memorandum in Support by Plaintiffs Michael Dailey, Robbin Dailey. (Stolze,
                            Steven) (Entered: 01/18/2017)
  01/18/2017             43 MOTION for Leave to Appear Pro Hac Vice Richard S. Lewis. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5767364) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Lewis,
                            Richard) (Entered: 01/18/2017)
  01/19/2017             44 Docket Text ORDER: Re: [40, 41, 43] MOTIONS for Leave to Appear Pro Hac Vice
                            John McGahren, Stephanie Feingold, Richard S. Lewis: ORDERED GRANTED; 39 First
                            MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold: ORDERED DENIED
                            AS MOOT; 42 Consent MOTION for Extension of Time to File Response/Reply to


https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                               11/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                              - CM/ECF (LIVE)
                                                                           Page: 242 of 903 PageID #: 1923
                           various motions : ORDERED GRANTED.. Signed by District Judge Catherine D. Perry
                           on 1/19/17. (CDP) (Entered: 01/19/2017)
  02/03/2017             45 MOTION for Leave to Appear Pro Hac Vice Michael G. Stag. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5793529) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing #1)(Stag,
                            Michael) (Entered: 02/03/2017)
  02/03/2017             46 Docket Text ORDER: Re: 45 MOTION for Leave to Appear Pro Hac Vice Michael G.
                            Stag; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 2/3/17.
                            (CDP) (Entered: 02/03/2017)
  02/03/2017             47 Consent MOTION for Leave to File in Excess of Page Limitation by Plaintiffs Michael
                            Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 02/03/2017)
  02/06/2017             48 (MOTION WITHDRAWN PER ORDER 67 DATED 4/6/17) MOTION to Remand Case
                            to State Court by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1, #
                            2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                            Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                            13, # 14 Exhibit 14)(Lewis, Richard) Modified on 4/6/2017 (EAB). (Entered:
                            02/06/2017)
  02/06/2017             49 Docket Text ORDER: Re: 47 Consent MOTION for Leave to File in Excess of Page
                            Limitation; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            2/6/17. (CDP) (Entered: 02/06/2017)
  02/07/2017             50 Consent MOTION for Leave to Modify the Briefing Schedule on Defendants' Motions to
                            Dismiss by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis, Richard) (Entered:
                            02/07/2017)
  02/07/2017             51 Docket Text ORDER: Re: 50 Consent MOTION to Modify the Briefing Schedule on
                            Defendants' Motions to Dismiss; ORDERED GRANTED; responses to motions to
                            dismiss will be due 21 days after the Court rules on the Motion to Remand. Signed by
                            District Judge Catherine D. Perry on 2/7/17. (CDP) (Entered: 02/07/2017)
  02/08/2017             52 RESPONSE in Opposition re 27 Joint MOTION to Transfer Case to Judge Audrey G.
                            Fleissig filed by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis, Richard) (Entered:
                            02/08/2017)
  02/09/2017             53 First MOTION for Extension of Time to File Response/Reply as to 48 MOTION to
                            Remand Case to State Court by Defendant Cotter Corporation N.S.L.. (McGahren, John)
                            (Entered: 02/09/2017)
  02/09/2017             54 Amended MOTION for Extension of Time to File by Defendant Cotter Corporation
                            N.S.L.. (McGahren, John) (Entered: 02/09/2017)
  02/09/2017             55 Docket Text ORDER: Re: 54 Amended MOTION for Extension of Time to File respone
                            to motion to remand ; ORDERED GRANTED. Signed by District Judge Catherine D.
                            Perry on 2/9/17. (CDP) (Entered: 02/09/2017)
  02/14/2017             56 MOTION for Leave to Appear Pro Hac Vice Michaela G. Spero. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5811844) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Spero,
                            Michaela) (Entered: 02/14/2017)
  02/15/2017             57 JOINT REPLY MEMORANDUM in Support of Motion re 27 Joint MOTION to Transfer
                            Case to Judge Audrey G. Fleissig filed by Defendants Allied Services L.L.C., Bridgeton
                            Landfill, LLC, Commonwealth Edison Company, Cotter Corporation N.S.L., Exelon

https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                               12/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
                                                                - CM/ECF (LIVE)
                                                                             Page: 243 of 903 PageID #: 1924
                           Corporation, MI Holdings Inc., Mallinckrodt Inc., Republic Services, Inc., Rock Road
                           Industries, Inc.. (Beck, William) Modified on 2/16/2017 (CBL). (Entered: 02/15/2017)
  02/16/2017             58 Docket Text ORDER: Re: 56 MOTION for Leave to Appear Pro Hac Vice Michaela G.
                            Spero by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. Signed by
                            District Judge Catherine D. Perry on 2/16/2017. (CBL) (Entered: 02/16/2017)
  02/16/2017             59 ORDER. I have fully considered the arguments raised by the parties in the motion to
                            transfer this case to another judge of this district. No party has the right to have a case
                            assigned to any particular judge of this court, and the random assignment of cases serves
                            the interests of justice. Accordingly, IT IS HEREBY ORDERED that defendants' motion
                            to transfer this case to the Honorable Audrey G. Fleissig 27 is denied. Signed by District
                            Judge Catherine D. Perry on 2/16/2017. (CBL) (Entered: 02/16/2017)
  02/21/2017             60 MOTION for Leave to Appear Pro Hac Vice Swathi Bojedla. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5820974) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Bojedla,
                            Swathi) (Entered: 02/21/2017)
  02/21/2017             61 Docket Text ORDER: Re: 60 MOTION for Leave to Appear Pro Hac Vice Swathi
                            Bojedla; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            2/21/17. (CDP) (Entered: 02/21/2017)
  02/24/2017             62 Consent MOTION for Extension of Time to File Response/Reply to Defendants'
                            Response to Plaintiffs' Motion to Remand by Plaintiffs Michael Dailey, Robbin Dailey.
                            (Lewis, Richard) (Entered: 02/24/2017)
  02/24/2017             63 Docket Text ORDER: Re: 62 Consent MOTION for Extension of Time to File
                            Response/Reply ; ORDERED GRANTED. Signed by District Judge Catherine D. Perry
                            on 2/24/17. (CDP) (Entered: 02/24/2017)
  02/27/2017             64 MEMORANDUM in Opposition re 48 MOTION to Remand Case to State Court filed by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Commonwealth Edison
                            Company, Cotter Corporation N.S.L., Exelon Corporation, MI Holdings Inc.,
                            Mallinckrodt Inc., Republic Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1
                            Affidavit Declaration of Stephanie Feingold in Support of Opposition to Motion to
                            Remand, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7
                            Exhibit F, # 8 Exhibit G)(McGahren, John) (Entered: 02/27/2017)
  03/16/2017             65 REPLY to Response to Motion re 48 MOTION to Remand Case to State Court filed by
                            Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1)(Lewis, Richard)
                            (Entered: 03/16/2017)
  04/05/2017             66 MOTION to Withdraw 48 MOTION to Remand Case to State Court by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Text of Proposed Order)(Stag,
                            Michael) (Entered: 04/05/2017)
  04/06/2017             67 ORDER. IT IS HEREBY ORDERED that plaintiffs' motion to withdraw their motion to
                            remand [Doc No. 66 ] is granted. Plaintiffs have twenty-one (21) days from the date of
                            this order to file a response to the motions to dismiss. Signed by District Judge Catherine
                            D. Perry on 4/6/17. (EAB) (Entered: 04/06/2017)
  04/20/2017             68 MOTION for Leave to File Amended Complaint and Modify the Briefing Schedule for
                            Responsive Pleadings and/or Motions to Dismiss (Unopposed) by Plaintiffs Michael
                            Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1 - First Amended Complaint)(Lewis,
                            Richard) (Entered: 04/20/2017)
  04/21/2017             69 Docket Text ORDER: Re: 68 MOTION for Leave to File Amended Complaint and
                            Modify the Briefing Schedule for Responsive Pleadings and/or Motions to Dismiss
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
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                                                                              Page: 244 of 903 PageID #: 1925
                           (Unopposed) : ORDERED GRANTED; amended complaint deemed filed today; original
                           motions to dismiss [28, 33, 34] denied as moot without prejudice to defendants' right to
                           file motions to dismiss directed to amended complaint within 21 days. Signed by District
                           Judge Catherine D. Perry on 4/21/17. (CDP) (Entered: 04/21/2017)
  04/21/2017             70 AMENDED COMPLAINT against defendant Allied Services L.L.C., Bridgeton Landfill,
                            LLC, Cotter Corporation N.S.L., Mallinckrodt LLC, Republic Services, Inc., Rock Road
                            Industries, Inc.,Terminating MI Holdings Inc., Commonwealth Edison Company and
                            Exelon Corporation filed by Michael Dailey, Robbin Dailey.(MCB) (Entered:
                            04/24/2017)
  05/12/2017             71 MOTION to Dismiss Case, MEMORANDUM in Support and REQUEST for Oral
                            Argument by Defendant Mallinckrodt LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                            (Erickson, David) Modified on 5/15/2017 (CBL). (Entered: 05/12/2017)
  05/12/2017             72 Joint MOTION to Dismiss Case and Memorandum in Support by Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services,
                            Inc., Rock Road Industries, Inc.. (McGahren, John) (Entered: 05/12/2017)
  05/12/2017             73 ANSWER to 70 Amended Complaint, by Allied Services L.L.C..(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             74 ANSWER to 70 Amended Complaint, by Bridgeton Landfill, LLC.(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             75 ANSWER to 70 Amended Complaint, by Republic Services, Inc..(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             76 ANSWER to 70 Amended Complaint, by Rock Road Industries, Inc..(Beck, William)
                            (Entered: 05/12/2017)
  05/26/2017             77 MEMORANDUM in Opposition re 72 Joint MOTION to Dismiss Case and
                            Memorandum in Support, 71 MOTION to Dismiss Case (Omnibus Opposition to Both
                            Motions to Dismiss) filed by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B)(Lewis, Richard) (Entered: 05/26/2017)
  05/31/2017             78 Consent MOTION for Extension of Time to File Response/Reply as to 77 Memorandum
                            in Opposition to Motion, and MOTION for Leave to Exceed Page Limitation by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L.,
                            Mallinckrodt LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William)
                            Modified on 6/1/2017 (CBL). (Entered: 05/31/2017)
  06/01/2017             79 Docket Text ORDER: Re: 78 Consent MOTION for Extension of Time and to exceed
                            page limits: ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            6/1/17. (CDP) (Entered: 06/01/2017)
  06/06/2017             80 *** Incorrect PDF filed. See Document 81 REPLY to Response to Motion re 71
                            MOTION to Dismiss Case filed by Defendant Mallinckrodt Inc.. (Erickson, David)
                            Modified on 6/7/2017 (CBL). (Entered: 06/06/2017)
  06/06/2017             81 REPLY to Response to Motion re 71 MOTION to Dismiss Case (corrected filing) filed
                            by Defendant Mallinckrodt LLC. (Erickson, David) (Entered: 06/06/2017)
  06/06/2017             82 REPLY to Response to Motion re 72 Joint MOTION to Dismiss Case and Memorandum
                            in Support filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter
                            Corporation N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (McGahren,
                            John) (Entered: 06/06/2017)
  07/13/2017             83 MOTION to Consolidate Cases by Defendants Allied Services L.L.C., Bridgeton

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
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                                                                            Page: 245 of 903 PageID #: 1926
                           Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William)
                           (Entered: 07/13/2017)
  07/13/2017             84 MEMORANDUM in Support of Motion re 83 MOTION to Consolidate Cases filed by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.,
                            Rock Road Industries, Inc.. (Attachments: # 1 Exhibit A)(Beck, William) (Entered:
                            07/13/2017)
  07/25/2017             85 Consent MOTION for Extension of Time to File Response/Reply as to 83 MOTION to
                            Consolidate Cases by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC,
                            Republic Services, Inc., Rock Road Industries, Inc.. (Rooney, Robert) (Entered:
                            07/25/2017)
  07/25/2017             86 Docket Text ORDER: Re: 85 Consent MOTION for Extension of Time to File
                            Response/Reply as to 83 MOTION to Consolidate Cases ; ORDERED GRANTED.
                            Signed by District Judge Catherine D. Perry on 7/25/17. (CDP) (Entered: 07/25/2017)
  08/07/2017             87 REPLY to Response to Motion re 83 MOTION to Consolidate Cases filed by Defendants
                            Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road
                            Industries, Inc.. (Beck, William) (Entered: 08/07/2017)
  10/23/2017             88 Docket Text ORDER: Re: 83 MOTION to Consolidate Cases ; ORDERED DENIED as
                            moot as other case has been remanded to state court. Signed by District Judge Catherine
                            D. Perry on 10/23/17. (CDP) (Entered: 10/23/2017)
  10/27/2017             89 MEMORANDUM AND ORDER. (See Full Order.) IT IS HEREBY ORDERED that
                            defendant Mallinckrodt LLC's motion to dismiss [# 71 ] and defendants Allied Services
                            LLC, Bridgeton Landfill LLC, Cotter Corporation, Republic Services Inc., and Rock
                            Road Industries, Inc.'s motion to dismiss [# 72 ] are GRANTED in part and DENIED in
                            part. Counts II through IV of the First Amended Complaint are dismissed. Plaintiffs'
                            claims for medical monitoring and emotional distress are also dismissed. IT IS
                            FURTHER ORDERED that defendants' requests for oral argument on the motions to
                            dismiss are DENIED. This case will be set for a Rule 16 Scheduling Conference by
                            separate order. Signed by District Judge Catherine D. Perry on 10/27/2017. (CBL)
                            (Entered: 10/27/2017)
  10/27/2017             90 ORDER SETTING RULE 16 CONFERENCE. (See Full Order.) This case is assigned to
                            Track: 3 (Complex). Joint Scheduling Plan due by 12/1/2017. Rule 16 Conference set for
                            12/8/2017 09:30 AM in Chambers before District Judge Catherine D. Perry. Signed by
                            District Judge Catherine D. Perry on 10/27/2017. (CBL) (Entered: 10/27/2017)
  11/10/2017             91 ANSWER to 70 Amended Complaint, by Mallinckrodt LLC.(Erickson, David) (Entered:
                            11/10/2017)
  11/10/2017             92 ANSWER to 70 Amended Complaint, by Cotter Corporation N.S.L..(McGahren, John)
                            (Entered: 11/10/2017)
  11/28/2017             93 ORDER. IT IS HEREBY ORDERED that the Scheduling Conference pursuant to
                            Fed.R.Civ.P. 16, is reset from December 8, 2017 to Friday, December 15, 2017 at 10:30
                            a.m. in my chambers. The Joint Proposed Scheduling Plan is now due no later than
                            December 8, 2017. Signed by District Judge Catherine D. Perry on 11/28/17. (EAB)
                            (Entered: 11/28/2017)
  12/08/2017             94 JOINT SCHEDULING PLAN by Defendant Cotter Corporation N.S.L.. on behalf of all
                            parties. (McGahren, John) (Entered: 12/08/2017)
  12/11/2017             95 SUPPLEMENTAL re 94 Joint Scheduling Plan Exhibit A to Joint Scheduling Plan by
                            Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered: 12/11/2017)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                         - CM/ECF (LIVE)
                                                                      Page: 246 of 903 PageID #: 1927
  12/22/2017      96 MOTION to Withdraw as Attorney ;attorney/firm Richard S. Lewis, Michaela G. Spero,
                      Swathi Bojedla, and Hausfeld LLP by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis,
                      Richard) (Entered: 12/22/2017)
  12/22/2017             97 Docket Text ORDER: Re: 96 MOTION to Withdraw as Attorney ;attorney/firm Richard
                            S. Lewis, Michaela G. Spero, Swathi Bojedla, and Hausfeld LLP by Plaintiffs Michael
                            Dailey, Robbin Dailey. (Lewis, Richard) filed by Michael Dailey, Robbin Dailey ;
                            ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 12/22/17.
                            (CDP) (Entered: 12/22/2017)
  12/22/2017             98 MOTION to Withdraw as Attorney ;attorney/firm DeFeo, Stolze, Calvert by Plaintiffs
                            Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 12/22/2017)
  12/27/2017             99 MOTION to Withdraw 98 MOTION to Withdraw as Attorney ;attorney/firm DeFeo,
                            Stolze, Calvert by Plaintiffs Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered:
                            12/27/2017)
  12/27/2017           100 Docket Text ORDER: 99 MOTION to Withdraw 98 MOTION to Withdraw as Attorney
                           by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. 98 MOTION to
                           Withdraw as Attorney Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: DENIED
                           AS MOOT. Signed by District Judge Catherine D. Perry on 12/27/2017. (CBL) (Entered:
                           12/27/2017)
  12/28/2017           101 ENTRY of Appearance by Steven D. Soden for Defendant Mallinckrodt LLC. (Soden,
                           Steven) (Entered: 12/28/2017)
  01/02/2018           102 INITIAL CASE MANAGEMENT ORDER. This case is assigned to Track: 3 (Complex).
                           Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan and the
                           Differentiated Case Management Program of the United States District Court of the
                           Eastern District of Missouri, and the Rule 16 Conference held on December 15, 2017, the
                           Court will set an initial schedule for this case to proceed as detailed herein. (See Full
                           Order.) Signed by District Judge Catherine D. Perry on 1/2/2018. (CBL) (Entered:
                           01/02/2018)
  01/12/2018           103 MOTION for Leave to Appear Pro Hac Vice Barry Cooper. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6330831) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing
                           Certificate of Good Standing (Barry J. Cooper))(Cooper, Barry) (Entered: 01/12/2018)
  01/16/2018           104 Docket Text ORDER: Re: 103 MOTION for Leave to Appear Pro Hac Vice Barry
                           Cooper by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. Signed by
                           District Judge Catherine D. Perry on 1/16/2018. (CBL) (Entered: 01/16/2018)
  02/08/2018           105 MOTION to Withdraw as Attorney ;attorney/firm Michael Stag/Smith Stag by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Stag, Michael) (Entered: 02/08/2018)
  02/20/2018           106 MOTION to Withdraw as Attorney ;attorney/firm DeFeo, Stolze, Calvert by Plaintiffs
                           Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 02/20/2018)
  02/21/2018           107 Docket Text ORDER: Re: [105, 106] MOTIONS to Withdraw as Attorney ;attorney/firm
                           Michael Stag/Smith Stag, attorney/firm DeFeo, Stolze, Calvert ; ORDERED GRANTED.
                           Signed by District Judge Catherine D. Perry on 2/21/18. (CDP) (Entered: 02/21/2018)
  02/21/2018           108 MOTION for Extension of: TIME ON INITIAL CASE MANAGEMENT ORDER
                           SCHEDULE and MOTION for Status Conference by Plaintiffs Michael Dailey, Robbin
                           Dailey. (Cooper, Barry). (Added MOTION for Status Conference on 2/22/2018.) (CBL).
                           (Entered: 02/21/2018)
  02/22/2018           109 AMENDED MOTION re: 108 MOTION for Extension of: TIME ON INITIAL CASE
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                               - CM/ECF (LIVE)
                                                                            Page: 247 of 903 PageID #: 1928
                           MANAGEMENT ORDER SCHEDULE and MOTION for Status Conference by
                           Plaintiffs Michael Dailey, Robbin Dailey. (Cooper, Barry) Modified on 2/23/2018 (CBL).
                           (Entered: 02/22/2018)
  02/26/2018           110 MOTION for Leave to Appear Pro Hac Vice Celeste Brustowicz. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6400783) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)
                           (Brustowicz, Celeste) (Entered: 02/26/2018)
  02/27/2018           111 ORDER. As requested by the parties, the Court will hold a telephone status conference to
                           discuss the disputes between the parties and the motion for extension of time as to the
                           Initial Case Management Order. Accordingly, IT IS HEREBY ORDERED that plaintiffs'
                           Motion for Leave to Appear Pro Hac Vice Celeste Brustowicz 110 is GRANTED. IT IS
                           FURTHER ORDERED that a telephone conference with counsel will be held on
                           Monday, March 5, 2018 at 2:00 p.m. Counsel for plaintiffs Michael and Robbin Dailey
                           will place the call and have all necessary counsel on the line before joining the
                           undersigned at (314) 244-7520. Signed by District Judge Catherine D. Perry on
                           2/27/2018. (CBL) (Entered: 02/27/2018)
  02/28/2018           112 RESPONSE to Motion re 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing, 109 MOTION to
                           Amend/Correct 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing filed by Defendants
                           Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic
                           Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1 Exhibit 1)(McGahren, John)
                           (Entered: 02/28/2018)
  03/02/2018           113 MOTION for Leave to Appear Pro Hac Vice Victor T. Cobb. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6408510) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Cobb,
                           Victor) (Entered: 03/02/2018)
  03/02/2018           114 Docket Text ORDER: Re: 113 MOTION for Leave to Appear Pro Hac Vice Victor T.
                           Cobb; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 3/2/18.
                           (CDP) (Entered: 03/02/2018)
  03/02/2018           115 REPLY to Response to Motion re 108 MOTION for Extension of: TIME ON INITIAL
                           CASE MANAGEMENT ORDER SCHEDULE MOTION for Hearing, 109 MOTION to
                           Amend/Correct 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing filed by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Attachment Declaration by Barry J.
                           Cooper, Jr., Esq.)(Cooper, Barry) (Entered: 03/02/2018)
  03/05/2018           116 Minute Entry for proceedings held before District Judge Catherine D. Perry: Telephone
                           Conference held on 3/5/2018. Parties present for telephone conference. Parties discuss
                           case status with the court. Certain discovery deadlines and dispositive motions deadlines
                           extended 60 days. Amended case management order to follow with complete details.
                           (Court Reporter:Gayle Madden, Gayle_Madden@moed.uscourts.gov, 314-244-7987)
                           (FTR Gold Operator initials:N/A) (FTR Gold: No) (EAB) (Entered: 03/05/2018)
  03/05/2018           117 Joint MOTION for Protective Order by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc., Rock Road Industries,
                           Inc.. (Rooney, Robert) (Entered: 03/05/2018)
  03/05/2018           118 MEMORANDUM in Support of Motion re 117 Joint MOTION for Protective Order filed
                           by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation
                           N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1 Exhibit A,

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
                                                                - CM/ECF (LIVE)
                                                                             Page: 248 of 903 PageID #: 1929
                           # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Rooney, Robert) (Entered:
                           03/05/2018)
  03/06/2018           119 AMENDED CASE MANAGEMENT ORDER - IT IS HEREBY ORDERED that
                           plaintiffs' amended motion for an extension of time of initial case management order
                           schedule [#109] is GRANTED in part as follows: 1. The parties shall complete all
                           discovery related to the samples collected at Plaintiffs home and property, and the issue
                           of whether the levels of radioactive contamination are sufficient to show a PAA violation,
                           no later than May 2, 2018. 2. Any motions for summary judgment or motions for
                           judgment on the pleadings pertaining to the issue of whether plaintiffs can show levels of
                           radioactive contamination sufficient to show a violation of the PAA must be filed no later
                           than June 4, 2018. Opposition briefs shall be filed no later than thirty days after the
                           motion or July 5, 2018, whichever is earlier. Any reply brief may be filed no later than
                           ten days following the response brief or July 16, 2018, whichever is earlier. IT IS
                           FURTHER ORDERED that plaintiffs' first motion for an extension of time of initial case
                           management order schedule [#108] is DENIED as moot. All other provisions of the
                           Initial Case Management Order [ECF # 102] remain in full force and effect. Failure to
                           comply with any part of this order may result in the imposition of sanctions. ( Discovery
                           Completion due by 5/2/2018. Dispositive Motions due by 6/4/2018.) Signed by District
                           Judge Catherine D. Perry on March 6, 2018. (MCB) (Entered: 03/06/2018)
  03/16/2018           120 STIPULATION FOR DISMISSAL with Prejudice of Mallinckrodt LLC Only by
                           Defendant Mallinckrodt LLC. (Erickson, David) Modified on 3/19/2018 (CBL).
                           (Entered: 03/16/2018)
  03/20/2018           121 Docket Text ORDER: Re: 117 Joint MOTION for Protective Order ; ORDERED
                           GRANTED without objection. Signed by District Judge Catherine D. Perry on 3/20/18.
                           (CDP) (Entered: 03/20/2018)
  03/20/2018           122 Docket Text ORDER: Re: 120 STIPULATION FOR DISMISSAL with Prejudice of
                           Mallinckrodt LLC Only ; ORDERED GRANTED and plaintiffs' claims against defendant
                           Mallinckrodt, LLC are dismissed with prejudice with each side to pay its own costs.
                           Signed by District Judge Catherine D. Perry on 3/20/18. (CDP) (Entered: 03/20/2018)
  03/27/2018           123 MOTION for Leave to Amend Complaint, Remand, Stay Pending Discovery and
                           Alternatively Amend CMO by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: #
                           1 Memo in Support of Motion to Amend Complaint, Remand, Stay Pending Discovery
                           and Alternatively Amend CMO)(Brustowicz, Celeste) (Entered: 03/27/2018)
  04/02/2018           124 Joint MOTION for Extension of Time to File Response/Reply as to 123 MOTION for
                           Leave to Amend Complaint, Remand, Stay Pending Discovery and Alternatively Amend
                           CMO by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter
                           Corporation N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (Rooney,
                           Robert) (Entered: 04/02/2018)
  04/03/2018           125 Docket Text ORDER: Re: 124 Joint MOTION for Extension of Time to File
                           Response/Reply ; ORDERED GRANTED over plaintiffs' objection. Signed by District
                           Judge Catherine D. Perry on 4/3/18. (CDP) (Entered: 04/03/2018)
  04/06/2018           126 Consent MOTION for Leave to File in Excess of Page Limitation by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                           Inc.. (Rooney, Robert) (Entered: 04/06/2018)
  04/09/2018           127 Docket Text ORDER: Re: 126 Consent MOTION for Leave to File in Excess of Page
                           Limitation by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc., Rock Road Industries, Inc. ORDERED: LEAVE GRANTED. Signed by
                           District Judge Catherine D. Perry on 4/9/2018. (CBL) (Entered: 04/09/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
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                                                                       Page: 249 of 903 PageID #: 1930
  04/10/2018    128 MEMORANDUM in Opposition re 123 MOTION for Leave to Amend Complaint,
                      Remand, Stay Pending Discovery and Alternatively Amend CMO filed by Defendant
                      Cotter Corporation N.S.L.. (Feingold, Stephanie) (Entered: 04/10/2018)
  04/10/2018           129 RESPONSE in Opposition re 123 MOTION for Leave to Amend Complaint, Remand,
                           Stay Pending Discovery and Alternatively Amend CMO filed by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                           Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Rooney, Robert) (Entered:
                           04/10/2018)
  04/12/2018           130 MOTION for Leave to Appear Pro Hac Vice Su Jin Kim. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6481333) by Defendant
                           Cotter Corporation N.S.L.. (Attachments: # 1 Certificate of Good Standing)(Kim, Su)
                           (Entered: 04/12/2018)
  04/12/2018           131 Docket Text ORDER: Re: 130 MOTION for Leave to Appear Pro Hac Vice Su Jin Kim
                           by Defendant Cotter Corporation N.S.L. ORDERED: GRANTED. Signed by District
                           Judge Catherine D. Perry on 4/12/2018. (CBL) (Entered: 04/12/2018)
  04/16/2018           132 MOTION for Extension of: Time to File Reply to Defendants' Responses In Opposition
                           to 123 Plaintiffs' Motion for Leave to Amend Complaint to dismiss Price-Anderson Act
                           Claims and Reinstate State Law Claims, Motion to Remand, Motion to Stay Pending
                           Discovery and Alternatively Motion to Amend Case Management Order by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) Modified on 4/17/2018 (CBL).
                           (Entered: 04/16/2018)
  04/17/2018           133 AMENDED DISCLOSURE OF CORPORATE INTERESTS by Defendant Rock Road
                           Industries, Inc. . (Beck, William) Modified on 4/17/2018 (CBL). (Entered: 04/17/2018)
  04/17/2018           134 Docket Text ORDER: Re: 132 MOTION for Extension of: Time to File Reply to
                           Defendants' Responses In Opposition to 123 Plaintiffs' Motion for Leave to Amend
                           Complaint to dismiss Price-Anderson Act Claims and Reinstate State Law Claims,
                           Motion to Remand, Motion to Stay Pending Discovery and Alternatively Motion to
                           Amend Case Management Order by Plaintiffs Michael Dailey, Robbin Dailey ;
                           ORDERED Motion is GRANTED. Signed by District Judge Catherine D. Perry on April
                           17, 2018. (MCB) (Entered: 04/17/2018)
  04/24/2018           135 REPLY to Response to Motion re 123 MOTION for Leave to Amend Complaint,
                           Remand, Stay Pending Discovery and Alternatively Amend CMO filed by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit Landfill Defendants Motion to
                           Dismiss in Adams, # 2 Exhibit Deferral of regulatory oversight to US EPA, # 3 Exhibit
                           Declaration of Richard Stewart, # 4 Exhibit Ware II Petition for writ of certiorari, # 5
                           Exhibit Declaration of Stephanie Feingold, # 6 Exhibit Cotter's response to CERCLA
                           request)(Brustowicz, Celeste) (Entered: 04/24/2018)
  04/26/2018           136 Joint MOTION for Leave to File a Sur-Reply by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc..
                           (Attachments: # 1 Exhibit A, # 2 Certificate of Service)(Feingold, Stephanie) (Entered:
                           04/26/2018)
  04/27/2018           137 Docket Text ORDER: Re: 136 Joint MOTION for Leave to File a Sur-Reply by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L.,
                           Republic Services, Inc.; ORDERED GRANTED. Signed by District Judge Catherine D.
                           Perry on 4/27/18. (KXS) (Entered: 04/27/2018)
  04/27/2018           138 RESPONSE to Motion re 136 Joint MOTION for Leave to File a Sur-Reply filed by
                           Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) (Entered: 04/27/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
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                                                                      Page: 250 of 903 PageID #: 1931
  05/08/2018    139 SURREPLY to Motion re 123 MOTION for Leave to Amend Complaint, Remand, Stay
                      Pending Discovery and Alternatively Amend CMO filed by Defendants Allied Services
                      L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.. (Beck, William) (Entered:
                      05/08/2018)
  05/08/2018           140 ENTRY of Appearance by Peter F. Daniel for Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc.. (Daniel, Peter) (Entered: 05/08/2018)
  05/08/2018           141 SURREPLY to Motion re 123 MOTION for Leave to Amend Complaint, Remand, Stay
                           Pending Discovery and Alternatively Amend CMO filed by Defendant Cotter
                           Corporation N.S.L.. (Feingold, Stephanie) (Entered: 05/08/2018)
  05/18/2018           142 MOTION to Exclude Motion and Memorandum in Support Requesting Plaintiffs be
                           Prevented and Enjoined from using Information and Materials they Withheld Until Late
                           in the Discovery Period by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC,
                           Republic Services, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Beck, William)
                           (Entered: 05/18/2018)
  05/25/2018           143 RESPONSE to Motion re 142 MOTION to Exclude Motion and Memorandum in Support
                           Requesting Plaintiffs be Prevented and Enjoined from using Information and Materials
                           they Withheld Until Late in the Discovery Period filed by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Brustowicz,
                           Celeste) (Entered: 05/25/2018)
  05/30/2018           144 REPLY to Response to Motion re 142 MOTION to Exclude Motion and Memorandum in
                           Support Requesting Plaintiffs be Prevented and Enjoined from using Information and
                           Materials they Withheld Until Late in the Discovery Period filed by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.. (Beck, William)
                           (Entered: 05/30/2018)
  06/01/2018           145 MOTION for Extension of Time to File Dispositive Motion ;Proposed extension date
                           6/11/2018, MOTION for Leave to File in Excess of Page Limitation by Defendant Cotter
                           Corporation N.S.L.. (McGahren, John) (Entered: 06/01/2018)
  06/01/2018           146 Consent MOTION for Leave to File Excess Pages by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc.. (Silva, Patricia) (Entered: 06/01/2018)
  06/02/2018           147 MOTION for Extension of Time to File Dispositive Motion ;Proposed extension date
                           June 11, 2018 by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc.. (Beck, William) (Entered: 06/02/2018)
  06/04/2018           148 Docket Text ORDER: Re: 145 MOTION for Extension of Time to File Dispositive
                           Motion and MOTION for Leave to File in Excess of Page Limitation by Defendant Cotter
                           Corporation N.S.L.; 147 MOTION for Extension of Time to File Dispositive Motion by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.; 146
                           Consent MOTION for Leave to File Excess Pages by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc. ; ORDERED: Motions are GRANTED. (
                           Dispositive Motions due by 6/11/2018.) Signed by District Judge Catherine D. Perry on
                           June 4, 2018. (MCB) (Entered: 06/04/2018)
  06/05/2018           149 MEMORANDUM AND ORDER - IT IS HEREBY ORDERED that plaintiffs' motion
                           for leave to amend, to remand, and to stay [#123] is GRANTED ONLY with respect to a
                           STAY of future Amended Case Management Order (ECF No. 119) deadlines, and is
                           HELD IN ABEYANCE with respect to leave to amend, remand, and alternatively,
                           amendment of the case management order. Once the Court has ruled pending motions, a
                           new schedule shall be established for this matter, if necessary. Signed by District Judge
                           Catherine D. Perry on June 5, 2018. (MCB) (Entered: 06/05/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                           - CM/ECF (LIVE)
                                                                        Page: 251 of 903 PageID #: 1932
  06/06/2018    150 NOTICE of Supplemental Authority re 123 MOTION for Leave to Amend Complaint,
                      Remand, Stay Pending Discovery and Alternatively Amend CMO by Defendants Allied
                      Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc. . (Attachments: # 1
                      Exhibit A)(Daniel, Peter) (Entered: 06/06/2018)
  06/12/2018           151 ORAL MOTION for Argument by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Republic Services, Inc.. (Beck, William) (Entered: 06/12/2018)
  06/20/2018           152 MOTION for Leave to Appear Pro Hac Vice Stuart H. Smtih. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6600931) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Smith,
                           Stuart) (Entered: 06/20/2018)
  06/21/2018           153 Docket Text ORDER: Re: 152 MOTION for Leave to Appear Pro Hac Vice Stuart H.
                           Smith ; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 6/21/18.
                           (CDP) (Entered: 06/21/2018)
  03/14/2019           154 MOTION to Withdraw as Attorney by Robert G. Rooney ;attorney/firm Robert G.
                           Rooney by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc., Rock Road Industries, Inc.. (Rooney, Robert) (Entered: 03/14/2019)
  03/18/2019           155 Docket Text ORDER: Re: 154 MOTION to Withdraw as Attorney by Robert G. Rooney
                           by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.,
                           Rock Road Industries, Inc.; ORDERED: Motion is GRANTED. Signed by District Judge
                           Rodney W. Sippel on behalf of District Judge Catherine D. Perry on March 18, 2019.
                           (MCB) (Entered: 03/18/2019)
  04/08/2019           156 MEMORANDUM AND ORDER. (See Full Order.) IT IS HEREBY ORDERED that
                           plaintiffs' motion for leave to amend and to remand, or to amend case management order
                           123 is denied without prejudice. Defendants' motion to prevent plaintiffs from using
                           material and information 142 is denied as moot. IT IS FURTHER ORDERED that not
                           later than April 29, 2019, plaintiffs shall file either: 1) a motion to dismiss this case
                           without prejudice under Fed. R. Civ. P. 41(a)(2); or 2) a renewed motion for leave to file
                           a Second Amended Complaint, accompanied by the proposed amended complaint. The
                           Federal Rules of Civil Procedure and the Local Rules of this Court govern the time to file
                           any responses and/or replies to plaintiffs' motion. IT IS FURTHER ORDERED that
                           defendants' Motion for Oral Argument 151 is denied. The parties thus far have clearly
                           and articulately presented their respective arguments in their prepared briefs. If I
                           determine that oral argument is necessary to assist in my consideration of plaintiffs'
                           anticipated motion to dismiss or to amend, I will not hesitate to schedule a hearing. IT IS
                           FURTHER ORDERED that the case management deadlines in this case remain stayed.
                           Signed by District Judge Catherine D. Perry on 4/8/2019. (CBL) (Entered: 04/08/2019)
  04/29/2019           157 MOTION for Leave to File a 2nd Amended Complaint by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Memo in Support of Motion, # 2 Exhibit 2nd Amended
                           Complaint)(Smith, Stuart) (Entered: 04/29/2019)
  05/06/2019           158 MOTION for Extension of Time to File Response/Reply as to 157 MOTION for Leave to
                           File a 2nd Amended Complaint by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Republic Services, Inc.. (Daniel, Peter) (Entered: 05/06/2019)
  05/06/2019           159 Docket Text ORDER: Re: 158 MOTION for Extension of Time to File Response to
                           MOTION for Leave to File a 2nd Amended Complaint ; ORDERED GRANTED. Signed
                           by District Judge Catherine D. Perry on 5/6/19. (CDP) (Entered: 05/06/2019)
  05/20/2019           160 RESPONSE to Motion re 157 MOTION for Leave to File a 2nd Amended Complaint
                           filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services,

https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                              21/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
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                                                                             Page: 252 of 903 PageID #: 1933
                           Inc.. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Beck, William) (Entered:
                           05/20/2019)
  05/20/2019           161 MEMORANDUM in Opposition re 157 MOTION for Leave to File a 2nd Amended
                           Complaint Pursuant to April 8, 2019 Order filed by Defendant Cotter Corporation
                           N.S.L.. (McGahren, John) (Entered: 05/20/2019)
  05/20/2019                   NOTICE: IF YOU HAVE ALREADY UPGRADED YOUR PACER ACCOUNT YOU
                               CAN DISREGARD THIS NOTICE. IF YOU DO NOT UPGRADE YOU WILL NOT
                               BE ABLE TO FILE IN THE SYSTEM AFTER MAY 31, 2019. PLEASE UPGRADE
                               IMMEDIATELY. If you are using a shared account to file cases, you will need to create
                               an individual account; instructions can be found
                               at:https://www.moed.uscourts.gov/sites/moed/files/Register-for-New-PACER-
                               account.pdf. If you already have an individual account, it will need to be upgraded;
                               instructions can be found https://www.moed.uscourts.gov/sites/moed/files/Upgrade-
                               Current-PACER-Account.pdf. If you need further assistance contact the MOED CM/ECF
                               Help Desk at 314-244-7650 or moedml_cmecf_help@moed.uscourts.gov. (CSAW)
                               (Entered: 05/20/2019)
  05/22/2019           162 MOTION for Extension of Time to File Response/Reply as to 157 MOTION for Leave to
                           File a 2nd Amended Complaint by Plaintiffs Michael Dailey, Robbin Dailey. (Cobb,
                           Victor) (Entered: 05/22/2019)
  05/28/2019           163 Docket Text ORDER: Re: 162 MOTION for Extension of Time to File Response/Reply ;
                           ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 5/28/19. (CDP)
                           (Entered: 05/28/2019)
  06/10/2019           164 REPLY to Response to Motion re 157 MOTION for Leave to File a 2nd Amended
                           Complaint filed by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1
                           (Judgment denying appeal), # 2 Exhibit 2 (Silva Deposition Transcript))(Brustowicz,
                           Celeste) (Entered: 06/10/2019)
  10/22/2019           165 ORDER : IT IS HEREBY ORDERED that plaintiffs Motion for Leave to File a Second
                           Amended Complaint 157 is GRANTED, and the Clerk of Court is instructed to file and
                           docket plaintiffs Second Amended Complaint (ECF 157-2) as of todays date. IT IS
                           FURTHER ORDERED that plaintiffs shall have twenty-one (21) days from the date of
                           this Order within which to file a motion to remand, and defendants shall have fourteen
                           (14) days thereafter within which to respond. Any reply brief may be filed within seven
                           (7) days of the response. Signed by District Judge Catherine D. Perry on 10/22/2019.
                           (KCB) (Entered: 10/22/2019)
  10/22/2019           166 SECOND AMENDED COMPLAINT against defendant Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc., Rock Road
                           Industries, Inc., filed by Michael Dailey, Robbin Dailey.(KCB) (Entered: 10/22/2019)
  10/23/2019           167 Docket Text ORDER: Defense counsel have contacted chambers indicating uncertainty
                           about whether the Court's orders somehow meant that they were not obligated to respond
                           to the Second Amended Complaint. To clear up any confusion: Defendants must respond
                           to the Second Amended Complaint within the time set by the Federal Rules of Civil
                           Procedure. Signed by District Judge Catherine D. Perry on 10/23/19. (CDP) (Entered:
                           10/23/2019)
  11/04/2019           168 MOTION for Extension of Time to File Answer to Plaintiffs' Second Amended
                           Complaint by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/04/2019)
  11/05/2019           169 Docket Text ORDER Re: 168 MOTION for Extension of Time to File Answer to
                           Plaintiffs' Second Amended Complaint by Defendant Cotter Corporation N.S.L..
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                              - CM/ECF (LIVE)
                                                                           Page: 253 of 903 PageID #: 1934
                           (McGahren, John); ORDERED GRANTED. Signed by District Judge Catherine D. Perry
                           on 11/5/2019. (BRP) (Entered: 11/05/2019)
  11/05/2019           170 ANSWER to 166 Amended Complaint by Allied Services L.L.C..(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           171 ANSWER to 166 Amended Complaint by Bridgeton Landfill, LLC.(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           172 ANSWER to 166 Amended Complaint by Republic Services, Inc..(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           173 NOTICE Exhibit 1 to Defendants' Answers to Plaintiffs' Second Amended Complaint: by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc. re
                           171 Answer to Amended Complaint, 172 Answer to Amended Complaint, 170 Answer to
                           Amended Complaint (Beck, William) (Entered: 11/05/2019)
  11/12/2019           174 MOTION to Remand Case to State Court to State Court by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Memo In Support of Motion to Remand)(Brustowicz,
                           Celeste) (Entered: 11/12/2019)
  11/12/2019           175 MOTION to Dismiss Case by Defendant Cotter Corporation N.S.L.. (McGahren, John)
                           (Entered: 11/12/2019)
  11/25/2019           176 MOTION to Stay by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit
                           Memo in Support of Unopposed Motion to Stay)(Brustowicz, Celeste) (Entered:
                           11/25/2019)
  11/25/2019           177 MOTION for Leave to File in Excess of Page Limitation for Response to Plaintiffs'
                           Motion to Remand by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/25/2019)
  11/26/2019           178 Docket Text ORDER: Re: 177 MOTION for Leave to File in Excess of Page Limitation ;
                           ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 11/26/19.
                           (CDP) (Entered: 11/26/2019)
  11/26/2019           179 Docket Text ORDER: Re: 176 MOTION to Stay : ORDERED GRANTED to the extent
                           that deadlines for briefing the motion to dismiss are stayed pending the Court's ruling on
                           the motion to remand. Signed by District Judge Catherine D. Perry on 11/26/19. (CDP)
                           (Entered: 11/26/2019)
  11/26/2019           180 MEMORANDUM in Opposition re 174 MOTION to Remand Case to State Court to
                           State Court filed by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/26/2019)
  11/26/2019           181 RESPONSE to Motion re 174 MOTION to Remand Case to State Court to State Court
                           filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services,
                           Inc.. (Beck, William) (Entered: 11/26/2019)
  12/02/2019           182 MOTION for Extension of Time to File Response/Reply as to 174 MOTION to Remand
                           Case to State Court to State Court, 180 Memorandum in Opposition to Motion, 181
                           Response to Motion by Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste)
                           (Entered: 12/02/2019)
  12/03/2019           183 Amended MOTION to Amend/Correct 182 MOTION for Extension of Time to File
                           Response/Reply as to 174 MOTION to Remand Case to State Court to State Court, 180
                           Memorandum in Opposition to Motion, 181 Response to Motion , MOTION for
                           Extension of Time to File Response/Reply by Plaintiffs Michael Dailey, Robbin Dailey.
                           (Brustowicz, Celeste) . (Entered: 12/03/2019)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
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                                                                       Page: 254 of 903 PageID #: 1935
  12/03/2019    184 Docket Text ORDER Re: 183 Amended MOTION to Amend/Correct 182 MOTION for
                      Extension of Time to File Response/Reply as to 174 MOTION to Remand Case to State
                      Court to State Court, 180 Memorandum in Opposition to Motion, 181 Response to
                      Motion , MOTION for Extension of Time to File Response/Reply by Plaintiffs Michael
                      Dailey, Robbin Dailey; OREDERED GRANTED. 182 MOTION for Extension of Time
                      to File Response/Reply as to 174 MOTION to Remand Case to State Court to State
                      Court, 180 Memorandum in Opposition to Motion, 181 Response to Motion by Plaintiffs
                      Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) filed by Michael Dailey, Robbin
                      Dailey; ORDERED DENIED AS MOOT. Signed by District Judge Catherine D. Perry on
                      12/3/2019. (BRP) Modified on 12/4/2019 (BRP). (Entered: 12/03/2019)
  12/10/2019           185 REPLY to Response to Motion re 174 MOTION to Remand Case to State Court to State
                           Court filed by Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) (Entered:
                           12/10/2019)
  03/23/2020           186 MEMORANDUM AND ORDER: IT IS HEREBY ORDERED that plaintiffs Michael
                           and Robbin Daileys' Motion to Remand 174 is GRANTED. IT IS FURTHER ORDERED
                           that this case is REMANDED to the Circuit Court of St. Louis County, Missouri, from
                           which it was removed. All other motions that remain pending in this action are reserved
                           for ruling by that court. Signed by District Judge Catherine D. Perry on 3/23/2020.
                           (TMT) (Entered: 03/23/2020)
  04/04/2020           187 ENTRY of Appearance by Brian O'Connor Watson for Defendant Cotter Corporation
                           N.S.L.. (Watson, Brian) (Entered: 04/04/2020)



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      4:17-cv-00024-CDP Doc.
                        Doc.#:
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                                 118-4      01/28/22
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Case: 4:22-cv-00116-CDP
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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

  MICHAEL DAILEY, et al.,          )
                                   )
          Plaintiffs,              )
                                   )
      vs.                          )                    Case No. 4:17 CV 24 CDP
                                   )
  BRIDGETON LANDFILL, LLC, et al., )
                                   )
          Defendants.              )

                    AMENDED CASE MANAGEMENT ORDER

        As discussed with counsel in the telephone conference held March 5, 2018,

        IT IS HEREBY ORDERED that plaintiffs’ amended motion for an

  extension of time of initial case management order schedule [#109] is GRANTED

  in part as follows:

         1.     The parties shall complete all discovery related to the samples
  collected at Plaintiffs’ home and property, and the issue of whether the levels of
  radioactive contamination are sufficient to show a PAA violation, no later than
  May 2, 2018.

         2.     Any motions for summary judgment or motions for judgment on the
  pleadings pertaining to the issue of whether plaintiffs can show levels of
  radioactive contamination sufficient to show a violation of the PAA must be filed
  no later than June 4, 2018. Opposition briefs shall be filed no later than thirty
  days after the motion or July 5, 2018, whichever is earlier. Any reply brief may be
  filed no later than ten days following the response brief or July 16, 2018,
  whichever is earlier.

        IT IS FURTHER ORDERED that plaintiffs’ first motion for an extension

  of time of initial case management order schedule [#108] is DENIED as moot.
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Case: 4:22-cv-00116-CDP
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        All other provisions of the Initial Case Management Order [ECF # 102]

  remain in full force and effect.

        Failure to comply with any part of this order may result in the imposition of

  sanctions.




                                          CATHERINE D. PERRY
                                          UNITED STATES DISTRICT JUDGE

  Dated this 6th day of March, 2018.




                                           -2-
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   Case: 4:17-cv-00024-CDPDoc. #: #:1-4120Filed:
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


 MICHAEL DAILEY and ROBBIN DAILEY,                           Case No. 4:17-cv-00024-CDP

                             Plaintiffs,

               v.

 BRIDGETON LANDFILL, LLC, REPUBLIC
 SERVICES, INC. ALLIED SERVICES, LLC,
 ROCKROAD INDUSTRIES, INC.,
 MALLINCKRODT, LLC, and COTTER
 CORPORATION,

                             Defendants.



                        STIPULATION OF DISMISSAL WITH PREJUDICE
       COMES NOW, Plaintiffs Michael and Robbin Dailey and Defendant Mallinckrodt LLC

(“Mallinckrodt” ) by and through their attorneys of record, and file their stipulation of dismissal of the

claims of Michael and Robbin Dailey against Mallinckrodt only, with prejudice. Each party to pay their

own costs. Plaintiffs specifically reserve their claims against all Defendants that are not Mallinckrodt.

IT IS SO STIPULATED.

Dated: March 16, 2018                                Respectfully submitted,

                                                      /s/ David R. Erickson
                                                      SHOOK, HARDY & BACON LLP
                                                      David R. Erickson, # 31532MO
                                                      Steven D. Soden, # 41917MO
                                                      2555 Grand Boulevard
                                                      Kansas City, MO 64108-2613
                                                      Telephone: 816.474.6550
                                                      Facsimile: 816.421.5547
                                                      derickson@shb.com
                                                      ssoden@shb.com

                                                      ATTORNEYS FOR DEFENDANT
                                                      MALLINCKRODT LLC
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                                              /s/ Celeste Brustowicz
                                              COOPER LAW FIRM, LLC
                                              Barry J. Cooper Jr.
                                              508 St. Phillip Street
                                              New Orleans, LA 70116

                                              Celeste Brustowicz
                                              1525 Religious Street
                                              New Orleans, LA 70130

                                              KEANE LAW LLC
                                              Ryan Keane
                                              7777 Bonhomme Ave #1600
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                                              ryan@keanelawllc.com

                                              JOHNSON GRAY LLC
                                              Anthony Gray
                                              7710 Carondelet Avenue
                                              Clayton, MO 63105
                                              Telephone: (314) 385-9500

                                              ATTORNEYS FOR PLAINTIFFS
                                              MICHAEL AND ROBBIN DAILEY
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 16, 2018, I electronically filed the foregoing document with the
Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to counsel
of record.



                                                               /s/ David R. Erickson
                                                               Attorney for Defendant
                                                               Mallinckrodt LLC
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Case: 4:22-cv-00116-CDP
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                                       UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF MISSOURI
                                             EASTERN DIVISION

      MICHAEL DAILEY, et al.,                                       )
                                                                    )
              Plaintiffs,                                           )
                                                                    )
              v.                                                    )   Case No. 4:17 CV 24 CDP
                                                                    )
      BRIDGETON LANDFILL, LLC, et al.,                              )
                                                                    )
              Defendants.                                           )


  PLAINTIFFS’ MOTION FOR LEAVE TO AMEND COMPLAINT TO DISMISS PRICE-
   ANDERSON ACT CLAIMS AND REINSTATE STATE LAW CLAIMS, MOTION TO
    REMAND, MOTION TO STAY PENDING DISCOVERY AND ALTERNATIVELY
               MOTION TO AMEND CASE MANAGEMENT ORDER


             Come now, Robbin and Michael Dailey, through undersigned counsel, and hereby move

  this court for an order: 1) granting leave to amend Plaintiffs’ Complaint to eliminate Price-

  Anderson Act (“PAA”) claims and reinstate state law claims; 2) remanding this matter to state

  court; 3) staying pending discovery deadlines while Court determines whether jurisdiction is

  proper; and alternatively; 4) amending Case Management Order to focus on the release of radiation

  constituting PAA violation.

             This matter was initially filed in the 21st Judicial Circuit of the State of Missouri alleging

  numerous state law claims related to radioactive wastes that were dumped in the West Lake

  Landfill.1 Defendants’ filed a Notice of Removal based on the argument that this Court has subject

  matter jurisdiction over this action because it arises under the Price-Anderson Act.2




  1
      ECF No. 17 - Plaintiffs’ Original State Court Petition.
  2
      ECF No. 1 - Notice of Removal.

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Case: 4:22-cv-00116-CDP
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          Plaintiffs’ prior lead counsel filed a Motion to Remand but withdrew said motion before

  the Court made a ruling. On the record as it existed, both Defendants’ counsel and Plaintiffs’ prior

  lead counsel believed that the PAA applied giving this Court federal subject matter jurisdiction.

  Thereafter, Plaintiffs’ prior lead counsel erroneously amended the state court Petition to assert

  PAA claims based on the same facts and circumstances alleged in the Original Petition.3

          Undersigned counsel only recently became involved in this matter as evidenced by our

  recent motions for pro hac vice admission4 and our first motion to this court to extend the initial

  CMO deadlines.5 Undersigned counsel have now had the opportunity to review file materials and

  confer at length with defense counsel about the applicability of the PAA. Undersigned counsel

  believes and submits via this motion that the PAA does not apply to these Defendants under the

  circumstances sued on.

          Federal courts are courts of limited jurisdiction and “they possess only that power

  authorized by Constitution and statute.”6 All doubt must be resolved against federal jurisdiction.7

  “If at any time before final judgment it appears that the district court lacks subject matter

  jurisdiction, the case shall be remanded.” 8

          The issue at this stage is not “whether plaintiffs’ soil, dust, and runoff samples can prove

  radioactive contamination levels sufficient to show a violation of the Price-Anderson Act” as

  indicated in this Court’s Initial CMO,9 but rather, whether the PAA even applies to this case and

  whether this court has subject matter jurisdiction. While this Court has considered whether the


  3
    ECF No. 70 - Plaintiffs Amended Complaint.
  4
    ECF Nos. 103, 110, and 113 - Motions for Pro Hac Vice Admission
  5
    ECF Nos. 108 and 109 - Motion for Extension of CMO and Amended Motion for Extension of CMO.
  6
    Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994).
  7
    Kirkland v. Wyeth (In re Prempro Prods. Liab. Litig.), 591 F. 3d 613, 620 (8th Cir. 2010)
  8
    28 U.S.C. § 1447(c).
  9
    ECF No. 102 - Initial Case Management Order.

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Case: 4:22-cv-00116-CDP
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                           Doc.                 01/28/22
                                            Filed: 03/27/18Page: 2953 of
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  PAA preempts state law when the PAA is plead, this Court has not considered whether the PAA

  should apply in the first place. Before determining whether there is contamination sufficient to

  show a violation of the PAA, the Court must first determine whether Plaintiffs’ causes of action

  are as a matter of law PAA claims under the terms of 42 U.S.C. §§ 2210(n)(2) and 2014(hh).

          Plaintiffs’ contend that the PAA does not apply and this Court lacks subject matter

  jurisdiction, requiring that this matter be remanded. Accordingly, Plaintiffs bring this motion for

  leave to file an amended complaint eliminating their PAA claims and reinstating their state law

  claims and motion to remand this matter to state court. While this Court considers whether it has

  jurisdiction, the current CMO deadlines and the depositions currently scheduled should be stayed

  until these issues are briefed, argued and determined.10 Alternatively, at the very least, the current

  CMO should be amended to reflect the appropriate standard for a breach of the PAA.

          This motion is based on Judge Jean C. Hamilton’s ruling in Strong v. Republic Servs., Inc.,

  2017 WL 4758958 (E.D. Mo. 2017). The Strong case deals with the exact same landfills and

  radioactive waste at issue in this matter as well as many of the same Defendants. The Strong court

  determined that: 1) there cannot be federal jurisdiction under the PAA without a license or an

  indemnity agreement; and 2) Cotter’s 1969 Source Material License does not apply to Plaintiffs’

  claim because the license does not cover uranium mill tailings.11 Based on these holdings, the

  Strong Court remanded the case back to state court based on lack of jurisdiction.

          As discussed in Strong, it is implicit in the legislative history of the PAA that the terms

  “nuclear incident” and “occurrence” are inextricably intertwined with licenses and indemnification

  agreements, suggesting licenses and indemnification agreements are an integral part of the PAA’s



  10
     Depositions of Plaintiffs, Robbin and Michael Dailey, and expert, Marco Kaltofen, currently scheduled for the
  third week of April.
  11
     Strong v. Republic Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017).

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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4123Filed:
                           Doc.                 01/28/22
                                            Filed: 03/27/18Page: 2964 of
                                                             Page:    of 903 PageID
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  statutory scheme and that there cannot be a “nuclear incident” without an applicable license or

  indemnity agreement.

          After determining that a license or indemnity agreement is required for the PAA to apply,

  the Strong Court then considered whether Cotter’s 1969 Source Materials License would be

  sufficient to confer jurisdiction. The court reasoned that in 1969 when Cotter received the license

  and in 1973 when the radioactive waste at issue were dumped in the West Lake Landfill, the

  definition of “byproduct material” did not include uranium or thorium mill tailings. It was not until

  1978 that Congress amended the definition of “byproduct material” to include uranium and

  thorium mill tailings.12 Moreover, the Uranium Mill Tailing Radiation Control Act of 1978

  (“UMTRCA”), which first included uranium mill tailings in the definition of byproduct material,

  states that the amendments “shall take effect on the date of the enactment of the Act.” 13 Based on

  this analysis, the Strong court concluded that “Cotter’s 1969 Source Material License could not

  have covered uranium mill tailings.”14

          Even if this Court determines that the PAA applies and that jurisdiction is proper, the CMO

  should be amended to reflect the appropriate standard for a breach of the PAA as discussed in

  McClurg v. Mallinckrodt, Inc., No. 4:12-CV-00361-AGF, 2017 WL 2929444 (E.D. Mo. July 7,

  2017). In McClurg, the Court held that “the regulations provide that a breach occurs whenever

  excessive radiation is released, whether or not anyone is present in the area exposed.”15 Thus, if it

  is determined that the PAA applies and jurisdiction is proper, the CMO should focus on the release




  12
     42 U.S.C. § 2014(e)(2). See Kerr–McGee Chem. Corp. v. U.S. Nuclear Regulatory Comm'n, 903 F.2d 1, 2–3 (D.C.
  Cir. 1990)
  13
     PL 95–604 (HR 13650), Nov. 8, 1978, 92 Stat. 3021, Title II—Uranium Mill Tailings Licensing and Regulation
  Definition, Sec. 208.
  14
     Strong v. Republic Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017)
  15
     McClurg v. Mallinckrodt, Inc., No. 4:12-CV-00361-AGF, 2017 WL 2929444, at *6 (E.D. Mo. July 7, 2017

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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4123Filed:
                           Doc.                 01/28/22
                                            Filed: 03/27/18Page: 2975 of
                                                             Page:    of 903 PageID
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  of radioactive materials as opposed to whether plaintiffs’ soil, dust, and runoff samples can prove

  radioactive contamination levels sufficient to show a violation of the PAA.

         WHEREFORE, Plaintiffs respectfully submit that good grounds exist for this Court to

  determine that the PAA does not apply in this matter because Defendants do not possess an

  appropriate license or indemnity agreement to trigger the PAA. Plaintiffs’ should be granted leave

  to amend their Complaint to eliminate the erroneous PAA claims and reinstate their state law

  claims and this Court should remand this matter back to state court based upon lack of jurisdiction.

  The current CMO deadlines and depositions scheduled should be stayed while this Court

  determines whether the PAA applies here and that jurisdiction is proper. At the very least, the

  CMO should be amended to reflect the appropriate standard for a breach of the PAA which focuses

  on the “release” of radiation as discussed in McClurg v. Mallinckrodt, Inc., No. 4:12-CV-00361-

  AGF, 2017 WL 2929444 (E.D. Mo. July 7, 2017).

                                 ORAL ARGUMENT REQUESTED

         Pursuant to Local Rule 78-4.02, Plaintiffs request oral argument on their Motion for Leave

  to Amend Complaint to Dismiss Price-Anderson Act Claims and Reinstate State Law Claims,

  Motion to Remand, Motion to Stay Pending Discovery and Alternatively Motion to Amend Case

  Management Order. Oral argument is warranted to provide the opportunity to discuss the complex

  issues presented, the parties’ position on these issues, and the cited case law. In particular, oral

  argument will afford the parties an opportunity to discuss and answer any questions the Court may

  have regarding these issues.



                           [Certificate and Signature on Following Page.]




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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4123Filed:
                           Doc.                 01/28/22
                                            Filed: 03/27/18Page: 2986 of
                                                             Page:    of 903 PageID
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                                                Respectfully submitted,

                                                /s/ Celeste Brustowicz
                                                Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                                Celeste Brustowicz (LSBA 16835), Pro Hac Vice
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                                                ATTORNEYS FOR PLAINTIFFS,
                                                MICHAEL AND ROBBIN DAILEY


                                  CERTIFICATE OF SERVICE

           I hereby certify that on March 27, 2018, I electronically filed the foregoing document
  with the Clerk of Court by using the CM/ECF system which will send a notice of electronic
  filing to counsel of record.
                                                /s/ Celeste Brustowicz
                                                Celeste Brustowicz (LSBA 16835)




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Case:4:22-cv-00116-CDP
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                                 123-1      01/28/22
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                                                03/27/18     2991of
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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

     MICHAEL DAILEY, et al.,                                 )
                                                             )
          Plaintiffs,                                        )
                                                             )
          v.                                                 )          Case No. 4:17 CV 24 CDP
                                                             )
     BRIDGETON LANDFILL, LLC, et al.,                        )
                                                             )
          Defendants.                                        )

     PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTIONS FOR LEAVE TO
     AMEND COMPLAINT TO DISMISS PRICE-ANDERSON ACT CLAIMS AND
  REINSTATE STATE LAW CLAIMS, TO REMAND, TO STAY PENDING DISCOVERY
        AND ALTERNATIVELY TO AMEND CASE MANAGEMENT ORDER

          Federal courts of limited jurisdiction “possess only that power authorized by Constitution

 and statute.”1 All doubt must be resolved against federal jurisdiction.2 Perhaps most importantly,

 “[i]f at any time before final judgment it appears that the district court lacks subject matter

 jurisdiction, the case shall be remanded.” 3

          “At the threshold of every action asserting liability growing out of a nuclear incident, then,

 there is a federal definitional matter to be resolved: Is this a public liability action? If the answer

 to that question is ‘yes,’ the provisions of the Price-Anderson Act apply.”4 The real issue, despite

 Defendants’ contentions here, is not “whether plaintiffs’ soil, dust, and runoff samples can prove

 radioactive contamination levels sufficient to show a violation of the Price-Anderson Act” as per

 the Court’s Initial Case Management Order (”CMO”),5 but rather, whether the Price-Anderson Act



 1
   Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 114 S. Ct. 1673, 128 L. Ed. 2d 391 (1994).
 2
   In re Prempro Prod. Liab. Litig., 591 F.3d 613, 620 (8th Cir. 2010).
 3
   28 U.S.C.A. § 1447(c).
 4
   In re TMI Litig. Cases Consol. II, 940 F.2d 832, 855 (3d Cir. 1991)
 5
   ECF No. 102 - Initial Case Management Order.

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      4:17-cv-00024-CDP Doc.
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                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3002of
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 (“PAA”) applies to the allegations made. The essence of the Daileys’ complaint is that radioactive

 wastes were illegally dumped in an illegal landfill in 1973. While this Court determined the PAA

 preempts state law when the PAA is plead, this Court has not considered whether the PAA should

 apply in the first place. Before determining whether there is contamination sufficient to show a

 violation of the PAA, the Court must first determine whether Plaintiffs’ causes of action are as a

 matter of law PAA claims under 42 U.S.C. §§ 2210(n)(2) and 2014(hh).

         Plaintiffs’ contend that the PAA does not apply, and this Court lacks subject matter

 jurisdiction requiring remand. Plaintiffs move for leave to file an amended complaint eliminating

 the erroneously added PAA claims and reinstating their state law claims and for remand. While

 this Court considers this complex-environmental toxic tort case, the current CMO deadlines and

 the depositions currently scheduled should be stayed until these issues are briefed, argued, and

 determined.6 At the very least, the current CMO should be amended to reflect the correct standard

 for a breach of the PAA.7

         As recognized by Judge Jean C. Hamilton in Strong v. Republic Servs., Inc., 2017 WL

 4758958 (E.D. Mo. 2017), a case dealing with the exact same landfill here, the PAA does not apply

 because the Defendants lack the appropriate federal license or indemnity agreement needed to

 trigger the PAA and its exclusive federal jurisdiction. Without an appropriate and applicable

 federal license or an indemnification agreement, there can be no “nuclear incident” and thus no

 “public liability action” under the PAA. This issue has been extensively discussed with defense

 counsel without resolution, thus, Plaintiffs’ bring the instant motion.




 6
   Depositions of Plaintiffs, Robbin and Michael Dailey, and expert, Marco Kaltofen, currently scheduled for the
 third week of April.
 7
   The initial PAA inquiry must focus on where the materials were released and not the Plaintiffs’ property. See
 McClurg v. Mallinckrodt, Inc., No. 4:12-CV-00361-AGF, 2017 WL 2929444 (E.D. Mo. July 7, 2017).

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Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
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                             #: 1-4  Filed:
                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3013of
                                                         Page:    of903 PageID#:
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          Even if this Court determines that the PAA applies as to Cotter (since the Landfill

 defendants cannot make such claim) and that jurisdiction is proper, the CMO should be amended

 to reflect the appropriate standard for a breach of the PAA as set forth in McClurg v. Mallinckrodt,

 Inc., No. 4:12-CV-00361-AGF, 2017 WL 2929444 (E.D. Mo. July 7, 2017). There, the Court held

 that “the regulations provide that a breach occurs whenever excessive radiation is released,

 whether or not anyone is present in the area exposed.”8 If it is determined, contrary to the decision

 in Strong, that the PAA applies and jurisdiction is proper, the CMO should be amended to focus

 on the release of radioactive materials from Defendants’ properties and not whether plaintiffs’

 soil, dust, and runoff samples can prove radioactive contamination levels sufficient to show a

 violation of the PAA. Since Defendants have, upon information and belief, already produced this

 information in other cases, there is absolutely no burden to them to reproduce the information here.

     I.   Procedural Background:

          Plaintiffs’ initially filed this matter in the 21st Judicial Circuit of the State of Missouri

 alleging numerous state law claims arising out of 1973 illegal actions.9 The claims were made

 against three groups of Defendants: 1) “Landfill Defendants”10, 2) “Radioactive Waste Generator

 Defendants”11 and 3) “Radioactive Waste Disposer Defendants”12.

          On December 15, 2016 Defendants’ removed, arguing subject matter jurisdiction existed

 under the Price Anderson Act.13 Defendants filed Motions to Dismiss on January 13, 2017.14

          Thereafter, Plaintiffs’ then lead counsel filed a Motion to Remand.15 Plaintiffs’ then lead



 8
   McClurg, 2017 WL 2929444, at *6.
 9
   ECF No. 17 - Plaintiffs’ Original State Court Petition.
 10
    Bridgeton Landfill, LLC, Rock Road Industries, Inc., Republic Services, Inc. and Allied Services, LLC.
 11
    MI Holdings and Mallinckrodt, Inc. Plaintiffs’ settled this matter with Mallinckrodt.
 12
    Cotter Corporation, Commonwealth Edison Company and Exelon Corporation.
 13
    ECF No. 1 – Notice of Removal.
 14
    ECF Nos. 28, 33, 34 – Defendants’ Motions to Dismiss Original Complaint.
 15
    ECF No. 48 – Plaintiffs’ Motion to Remand.

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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3024of
                                                         Page:    of903 PageID#:
                                                                     15 PageID #:1916
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 counsel filed a Motion to Withdraw the Motion to Remand on March 5, 2017, before this Court

 ever issued a ruling.16 Following that, Plaintiffs’ then lead counsel filed an Amended Complaint

 alleging PAA violations and numerous state law claims.17 Undersigned counsel believes that the

 Amended Complaint was improper because this is not, in fact, a PAA case.

         Defendants filed Motions to Dismiss the Amended Complaint on May 12, 2017.18

 Defendants Motions to Dismiss were fully briefed and the Court determined that “[a]lthough the

 Eighth Circuit has not addressed the issue of PAA preemption of state-law claims, numerous other

 courts have found that the PAA is the sole avenue for recovery when a public liability action for a

 nuclear incident is plead.”19 This Court agreed with the reasoning of those courts and dismissed

 Plaintiffs’ state law claims determining that when the PAA is plead, as Plaintiffs’ had done, it

 preempts all state law claims. The Court’s decision did not determine whether the PAA applies in

 the first place.

         The Court issued an Initial CMO determining that this is a complex litigation and allowed

 discovery only focusing on whether plaintiffs’ soil, dust, and runoff samples can prove radioactive

 contamination levels sufficient to show a violation of the PAA.20 Plaintiffs’ submit that the CMO

 incorrectly focuses on contamination samples from their property when it should focus on

 radioactive contamination released from Defendants’ property.21

  II.    Legal Framework:

         Given the complicated history and structure of the PAA, a brief overview is necessary

 especially where courts have described the structure of the PAA as “complicated,” “interlocking,”



 16
    ECF No. 66 – Plaintiffs’ Motion to Withdraw Motion to Remand.
 17
    ECF No. 70 – Plaintiffs’ Amended Complaint.
 18
    ECF Nos. 71, 72 – Defendants Motions to Dismiss Amended Complaint.
 19
    ECF No. 89 – Memo and Order.
 20
    ECF No. 102 - Initial Case Management Order.
 21
    McClurg, supra

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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3035of
                                                         Page:    of903 PageID#:
                                                                     15 PageID #:1917
                                                                                 1984




 and “us[ing] words in unintuitive ways.”22

         In 1954 Congress enacted the Atomic Energy Act (“AEA”) to encourage the private sector

 to become involved in atomic energy. The AEA provided for federal regulation and licensing of

 private construction, ownership, and operation of commercial nuclear power reactors.23 In 1957,

 Congress amended the AEA with the PAA “which provided certain federal licensees with a system

 of private insurance, government indemnification, and limited liability for claims of ‘public

 liability.’”24 The PAA “mandated that an assured ‘pool’ of available funds be established to cover

 certain liabilities which might arise out of the activities related to licenses.” 25 In 1988, it was

 amended (“Amendments Act”), long after the 1973 illegal dumping and release to which the

 Daileys complain, to “alter the breadth of the compensation system to cover activity related to

 disposal of nuclear waste,” to “create a federal cause of action,” and to “channel[] liability to

 licensees.”26 The amendments also provided for “removal of, and original federal jurisdiction over,

 claims arising from a ‘nuclear incident’”27 As of 1973 when the remaining Defendants illegally

 dumped and released radioactive waste, no federal law or regulation covered their specific

 activities.

         Under 10 C.F.R. § 40.3, “[a] person subject to the regulations in this part may not receive

 title to, own, receive, possess, use, transfer, provide for long-term care, deliver or dispose of

 byproduct material or residual radioactive material as defined in this part or any source material

 after removal from its place of deposit in nature, unless authorized in a specific or general license

 issued by the Commission under the regulations in this part.


 22
     Estate of Ware v. Hosp. of the Univ. of Pennsylvania, 871 F.3d 273, 280 (3d Cir. 2017).
 23
     Pac. Gas & Elec. Co. v. State Energy Res. Conservation & Dev. Comm'n, 461 U.S. 190, 103 S. Ct. 1713, 75 L. Ed.
 2d 752 (1983).
 24
    .El Paso Nat. Gas Co. v. Neztsosie, 526 U.S. 473, 119 S. Ct. 1430, 143 L. Ed. 2d 635 (1999).
 25
     Gilberg v. Stepan Co., 24 F. Supp. 2d 325, 333 (D.N.J.), supplemented, 24 F. Supp. 2d 355 (D.N.J. 1998).
 26
     In re TMI Litigation Cases Consol. II, 940 F.2d at 853–854.
 27
     Id. at 853.

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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3046of
                                                         Page:    of903 PageID#:
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        The PAA’s jurisdictional provision, 42 U.S.C.A. § 2210(n)(2), vests federal district courts

 with original jurisdiction over “any public liability action arising out of or resulting from a nuclear

 incident.”

        “Public liability action” is defined in 42 U.S.C.A. § 2014(hh) (West) as:

        The term “public liability action”, as used in section 2210 of this title, means any
        suit asserting public liability. A public liability action shall be deemed to be an
        action arising under section 2210 of this title, and the substantive rules for decision
        in such action shall be derived from the law of the State in which the nuclear
        incident involved occurs, unless such law is inconsistent with the provisions of such
        section.

        “Public liability” is defined in 42 U.S.C.A. § 2014(w) as:

        any legal liability arising out of or resulting from a nuclear incident ... except ...
        (iii) whenever used in subsections (a), (c), and (k) of section 2210 of this title,
        claims for loss of, or damages to, or loss of use of property which is located at the
        site of and used in connection with the licensed activity where the nuclear incident
        occurs. ‘Public liability’ also includes damage to property of persons
        indemnified: Provided, That such property is covered under the terms of the
        financial protection required, except property which is located at the site of and
        used in connection with the activity where the nuclear incident occurs.

         “Licensed activity” is defined in 42 U.S.C.A. § 2014(p) as “an activity licensed pursuant

 to this chapter and covered by the provisions of 42 U.S.C.A. § 2210(a) of this title.”

        “Nuclear incident” is defined in 42 U.S.C.A. § 2014(q) as:

        any occurrence, including an extraordinary nuclear occurrence, within the United
        States causing, within or outside the United States, bodily injury, sickness, disease,
        or death, or loss of or damage to property, or loss of use of property, arising out of
        or resulting from the radioactive, toxic, explosive or other hazardous properties of
        source, special nuclear, or byproduct material.... And provided further, That as the
        term is used in section 2210(c) of this title, it shall include any such occurrence
        outside both the United States and any other nation if such occurrence arises out of
        or results from the radioactive, toxic, explosive, or other hazardous properties of
        source, special nuclear, or byproduct material licensed pursuant to subchapters V,
        VI, VII, and IX of this division, which is used in connection with the operation of
        a licensed stationary production or utilization facility or which moves outside the
        territorial limits of the United States in transit from one person licensed by the
        Nuclear Regulatory Commission to another person licensed by the Nuclear
        Regulatory Commission.

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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
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                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3057of
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            “Extraordinary nuclear occurrence” is defined in 42 U.S.C.A. § 2014(j) as:

            any event causing a discharge or dispersal of source, special nuclear, or byproduct
            material from its intended place of confinement in amounts offsite, or causing
            radiation levels offsite, which the Nuclear Regulatory Commission or the Secretary
            of Energy, as appropriate, determines to be substantial, and which the Nuclear
            Regulatory Commission or the Secretary of Energy, as appropriate, determines has
            resulted or will probably result in substantial damages to persons offsite or property
            offsite..... The Nuclear Regulatory Commission or the Secretary of Energy, as
            appropriate, shall establish criteria in writing setting forth the basis upon which
            such determination shall be made. As used in this subsection, “offsite” means away
            from “the location” or “the contract location” as defined in the applicable Nuclear
            Regulatory Commission or the Secretary of Energy, as appropriate, indemnity
            agreement, entered into pursuant to section 2210 of this title.

            “Person indemnified” is defined in 42 U.S.C.A. § 2014(t) as:

            The term “person indemnified” means (1) with respect to a nuclear incident
            occurring within the United States or outside the United States as the term is used
            in section 2210(c) of this title, ... the person with whom an indemnity agreement is
            executed or who is required to maintain financial protection, and any other person
            who may be liable for public liability ....

  III.      The Price-Anderson Act Does Not Apply Without an Appropriate License or
            Indemnity Agreement:

            This is not a PAA case because the PAA does not apply unless a nuclear incident has

 occurred and been properly proven, and a nuclear incident by definition can only occur when

 Defendants are licensed participants in the nuclear industry or they are a party to an

 indemnification agreement under 42 U.S.C.A. § 2210. Without a federal license or an

 indemnification agreement, there is no “nuclear incident” and thus no “public liability action.”

            The issue is not “whether plaintiffs’ soil, dust, and runoff samples can prove radioactive

 contamination levels sufficient to show a violation of the Price-Anderson Act” as indicated in this

 Court’s Initial complex litigation CMO,28 but rather, whether the PAA even applies. The current

 CMO does not address the threshold issue in this matter: do the Defendants have the appropriate


 28
      ECF No. 102 - Initial Case Management Order.

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Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
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                             #: 1-4  Filed:
                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3068of
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                                                                     15 PageID #:1920
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 license or indemnity agreement that would trigger the PAA along with its exclusive federal

 jurisdiction?

          This issue has not yet been considered here, but was considered by this Court in Strong,

 2017 WL 4758958 - a case dealing with the exact same landfill and materials. After going through

 the PAA’s legal framework and conducting an analysis of the facts, Judge Jean C. Hamilton

 determined that with respect to this landfill: 1) there cannot be federal jurisdiction under the PAA

 without a license or an indemnity agreement; and 2) Cotter’s 1969 Source Material License does

 not apply to Plaintiffs’ claim because the license does not cover uranium mill tailings.29

              a. Need for an Indemnity Agreement

          In Gilberg, 24 F. Supp. 2d 325, the court held that for there to be a public liability action

 under the PAA, an indemnity agreement is required. In other words, there is no federal subject

 matter jurisdiction without an indemnity agreement. In reaching this conclusion, the court

 reasoned:

          “[I]t is a fundamental principle of statutory construction (and, indeed, of language
          itself) that the meaning of a word cannot be determined in isolation. but must be
          drawn from the context in which it is used.” (citation omitted). In this regard, it is
          significant that the definition of nuclear incident employs “occurrence” in concert
          with the clause “including an extraordinary nuclear occurrence,” so as to read,
          “[t]he term ‘nuclear incident’ means any occurrence, including an extraordinary
          nuclear occurrence.” § 2014(q).

          In the absence of an indemnification agreement, entered into under 42 U.S.C. §
          2210 and covering the activities which gave rise to the liability alleged, there can
          be no “occurrence,” that is, no event at the site of “licensed activity,” that would
          constitute a “nuclear incident.” Without a nuclear incident, there is no claim for
          public liability, and without a claim for public liability, there is no federal
          jurisdiction under Price–Anderson. 30




 29
    Strong, 2017 WL 4758958. Further, Cotter never possessed proper licensure and/or permits to dispose of radioactive
 material as required by 10 C.F.R. § 20.301.
 30
    Gilberg, 24 F. Supp. 2d 325, 332 (D.N.J.), supplemented, 24 F. Supp. 2d 355 (D.N.J. 1998).

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Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 123-1      01/28/22
                                         Filed:        Page:
                                                03/27/18     3079of
                                                         Page:    of903 PageID#:
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          The Gilberg Court concluded that “whether as a matter of statutory construction or the

 structure and history of the Act, no claim for public liability can lie [under the PAA] in the absence

 of an applicable indemnity agreement.” 31

              b. Need for a License

          In Samples v. Conoco, Inc., 165 F. Supp. 2d 1303 (N.D. Fla. 2001), the Court considered

 whether a license is necessary for federal subject matter under the PAA. The defendant in Samples,

 claimed that the “clear language of the PAA covers any claim of injury to property allegedly

 caused by certain nuclear material” and that “Congress did not limit the scope of the PAA's ‘public

 liability’ provisions to Nuclear Regulatory Commission (NRC) licensees and Department of

 Energy (DOE) contractors.”32 Referring to the defendant's argument as “Hogwash,” the Court

 held that “the word ‘occurrence’ as used in the definition of ‘nuclear incident’ means ‘that event

 at the site of the licensed activity, or activity for which the Commission has entered into a

 contract, which may cause damage.”33 Finding that there had not been a nuclear incident under

 the PAA’s definition, the court concluded that because the defendant failed to demonstrate that it

 was a DOE contractor or a NRC licensee, the case did not state a claim under the PAA.34

          Admittedly, there appears to be jurisprudence to the contrary but none is binding on this

 Court.35 After considering these cases, the Strong Court, relying on the legislative



 31
    Id. at 343. See also Joseph v. Sweet, 125 F. Supp. 2d 573, 576 (D. Mass. 2000) (“[T]he prerequisite for a claim to
 fall within the scope of the [PAA] [is] the existence of an indemnification agreement between the government and the
 defendant with respect to the complained of activity.”) (citing Heinrich ex rel. Heinrich v. Sweet, 62 F. Supp. 2d 282,
 296–97 (D. Mass. 1999)).
 32
    Samples, 165 F. Supp. 2d at 1320–21
 33
    Id. at 1321 (quoting S. REP. NO. 296, at 16 (1957) (quoted in 10 C.F.R. § 8.2at 202 (2001)).
 34
    Id. at 1321–22.
 35
    Estate of Ware, 871 F.3d 273, cert. docketed (“we do not decide whether the possession of a license…might affect
 the Act’s applicability to a particular case. We note only that these implicit limitations on the Price Anderson Act’s
 scope would not preclude its application here.”); Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th Cir. 2000);
 O'Conner v. Commonwealth Edison Co., 807 F. Supp. 1376 (C.D. Ill. 1992), aff'd, 13 F.3d 1090 (7th Cir. 1994);
 Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d 800 (N.D. Ill. 1999); Cotromano v. United Techs. Corp., 7 F.
 Supp. 3d 1253 (S.D. Fla. 2014)

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Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                123-1Filed: 01/28/22
                                        Filed: 03/27/18Page: 308
                                                         Page: 10ofof903
                                                                      15 PageID
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                                                                                #: 1989
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 history36, determined that “[i]t is implicit in the language of the above quoted legislative history

 that the terms ‘nuclear incident’ and ‘occurrence’ are inextricably intertwined with ‘licenses’ and

 ‘indemnification agreements,’ thus suggesting licenses and indemnification agreements are an

 integral part of the PAA's statutory scheme and that there cannot be a nuclear incident without an

 applicable license or indemnity agreement.” 37 The Strong Court held:

        Given the conflicting interpretations of the PAA regarding whether there must be a
        license or an indemnity agreement for the PAA to apply and, hence, for a federal
        court to have subject matter jurisdiction, and considering that conflicts should be
        resolved by finding no federal preemption, the Court finds that this matter should
        be resolved in favor of finding that there cannot be federal jurisdiction under the
        PAA without a license or an indemnity agreement. See Cook, 790 F.3d at
        1094; Hughes, 99 F.Supp.3d at 283; Gilberg, 24 F.Supp.2d at 343. In any case, the
        Court finds persuasive authority holding that, “whether as a matter of statutory
        construction or the structure and history of the PAA,” a license or an indemnity
        agreement is a prerequisite for federal subject matter jurisdiction pursuant to the
        PAA. Gilberg, 24 F.Supp.2d at 343.38

        Strong applies to this case which concerns the same radioactive wastes, the same landfill,

 and many of the same Defendants. As in Strong, Defendants here must prove whether they have

 the requisite license or indemnity agreement in order for the PAA to apply. It is doubtful the

 Landfill Defendants will have such proof, considering they have judicially admitted that the PAA

 does not apply to them because they were not licensed to accept or receive radioactive materials.39



 36
    THE OCCURRENCE WHICH IS THE SUBJECT OF THIS DEFINITION IS THAT EVENT AT THE SITE OF
 THE LICENSED ACTIVITY, OR ACTIVITY FOR WHICH THE COMMISSION HAS ENTERED IN TO A
 CONTRACT, WHICH MAY CAUSE DAMAGE, RATHER THAN THE SITE WHERE THE DAMAGE MAY
 PERHAPS BE CAUSED. THE SITE MUST BE WITHIN THE UNITED STATES. . . . IT DOES NOT MATTER
 WHAT LICENSE MAY BE APPLICABLE IF THE OCCURENCE IS WITHIN THE UNITED STATES. . . . THE
 INDEMNIFICATION AGREEMENTS ARE INTENDED TO COVER DAMAGES CAUSED BY NUCLEAR
 INCIDENTS FOR WHICH THERE MAY BE LIABILITY NO MATTER WHEN THE DAMAGE IS
 DISCOVERED, I.E., EVEN AFTER THE END OF THE LICENSE. THAT IS WHY THE DEFINITION OF
 ‘NUCLEAR INCIDENT’ HAS THE PHRASE ‘ANY OCCURENCE * * * CAUSING BODILY INJURY,
 SICKNESS, DISEASE, OR DEATH’ AND WHY THE DEFINITION OF ‘PUBLIC LIABILITY’ IS TIED TO ANY
 LEGAL LIABILITY ARISING OUT OF, OR RESULTING FROM, A NUCLEAR INCIDENT. 1957 WL 5103, at
 *1817–18 (May 9, 1957).
 37
    Strong, 2017 WL 4758958
 38
    Id.
 39
    Paulette M. Adams, et al., v. MI Holdings, Inc., et al, Case No. 4:12CV641, ECF No.15 at 2, 3, 10.

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Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
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                                123-1Filed: 01/28/22
                                        Filed: 03/27/18Page: 309
                                                         Page: 11ofof903
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 More specifically, Defendant Rock Road Industries and Defendant Bridgeton Landfill, LLC

 previously argued that plaintiffs’ claims under the PAA should be dismissed because the PAA “is

 wholly inapplicable to Rock Road and Bridgeton Landfill, as the West Lake Landfill is not a

 nuclear facility subject to licensing by the Nuclear Regulatory Commission.”40 Rock Road and

 Bridgeton Landfill also argued that they “are, nor have they ever been, Nuclear Regulatory

 Commission licensees”41, and that they “are not, and have not ever been, subject to the Price-

 Anderson Act.”42

                 c. Cotter’s 1969 “Source Material License” Does Not Apply to the Radioactive
                    Waste at Issue

           It is true that Cotter was issued a “Source Material License” for uranium on December 3,

 1969. However, the Strong Court considered the effect of Cotter’s license and determined that it

 was inapplicable:

           in 1969, when Cotter obtained the Source Material License, and, in 1973, when the
           Landfills allegedly accepted the material at issue, the definition of “byproduct
           material” did not include uranium or thorium mill tailings. It was not until 1978
           that Congress expanded the definition of “byproduct material” to include uranium
           and thorium mill tailings. 42 U.S.C. § 2014(e)(2). See Kerr-McGee Chem. Corp. v.
           U.S. Nuclear Regulatory Comm'n., 903 F.2d 1, 2–3 (D.C. Cir. 1990) (“The AEA
           made no provision for regulating waste materials generated during the extraction
           or concentration of source material.”; “[b]y the 1960's and early 1970's, federal and
           state authorities began to realize that wastes, or ‘mill tailings,’ resulting from the
           extraction or concentration of source material posed a significant public health
           problem.”; “Title II brought mill tailings within the NRC's licensing authority by
           adding a new category to the AEA's definition of byproduct material, namely, the
           tailings or wastes produced by the extraction or concentration of uranium or
           thorium from any ore processed primarily for its source material content.”)
           (quoting 42 U.S.C. § 2014(e)(2)).

           Notably, the Uranium Mill Tailings Radiation Control Act of 1978 (UMTRCA),
           which first included uranium mill tailings in the definition of byproduct material,
           states that, except as otherwise provided by 42 U.S.C. § 2014, the amendments
           made by Title II of the UMTRCA “shall take effect on the date of the enactment of

 40
    Id. at 3.
 41
    Id. at 2.
 42
    Id. at 10.

                                                    11
                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                123-1Filed: 01/28/22
                                        Filed: 03/27/18Page: 310
                                                         Page: 12ofof903
                                                                      15 PageID
                                                                         PageID #:
                                                                                #: 1991
                                                                                   1924



          this Act.” PL 95–604 (HR 13650), Nov. 8, 1978, 92 Stat. 3021, Title II—Uranium
          Mill Tailings Licensing and Regulation Definition, Sec. 208. Moreover,
          “[r]etroactivity [is] not favored in the law,” and “[C]ongressional enactments ... will
          not be construed to have retroactive effect unless their language requires this
          result.” Simmons v. Lockhart, 931 F.2d 1226, 1230 (8th Cir. 1991)(quoting Bowen
          v. Georgetown Univ. Hosp., 488 U.S. 204, 208, 109 S.Ct. 468, 102 L.Ed.2d 493
          (1988)). Thus, Cotter's 1969 Source Material License could not have covered
          uranium mill tailings.43

          The radioactive waste here is the same radioactive waste in Strong.”44 Cotter’s 1969

 Source Material License does not apply to the radioactive wastes at issue; it had no license to

 dispose of such waste. There is no license nor indemnity agreement that supports – as it must –

 federal subject matter jurisdiction under the PAA.

  IV.     Even if it is Determined that the Price-Anderson Act Applies and Jurisdiction if
          Proper the Initial Case Management Order Should be Amended to Reflect
          Appropriate Standard for Breach of the Price Anderson Act

      As discussed in McClurg, 2017 WL 2929444, a case dealing with the same radioactive waste

 here, the appropriate standard for a breach of the PAA is based on the release of radioactive

 contamination, as opposed to the radioactive contamination present on Plaintiffs’ property. The

 McClurg Court noted that while § 20.105 of 10 C.F.R. Part 20 defines the levels of radiation

 permitted in unrestricted areas, § 20.106 of 10 C.F.R. Part 20 defines the levels of radioactivity

 permitted in liquid or airborne effluents released off premises. It provides that licensees ‘shall not

 possess, use, or transfer licensed material so as to release to an unrestricted area radioactive

 material in concentrations which exceed the limits specified in Appendix ‘B’, Table II of this part,

 except as authorized....' Appendix B then lists more than 100 isotopes of almost 100 radioactive

 elements and provides the maximum permissible level of releases. 45




 43
    Strong, 2017 WL 4758958
 44
    ECF No. 17 - Plaintiffs’ Original State Court Petition.
 45
    In re TMI, 67 F.3d 1103, 1109 (3d Cir. 1995).

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                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                123-1Filed: 01/28/22
                                        Filed: 03/27/18Page: 311
                                                         Page: 13ofof903
                                                                      15 PageID
                                                                         PageID #:
                                                                                #: 1992
                                                                                   1925



            The McClurg Court agreed with the Third Circuit that this language “does not suggest that

 a breach occurs only when persons are exposed to excessive radiation. Instead, the regulations

 provide that a breach occurs whenever excessive radiation is released, whether or not anyone is

 present in the area exposed.”46 The McClurg Court reiterated the elements of a public liability

 action: “(1) the defendants released radiation into the environment in excess of the levels permitted

 by federal regulations in effect [at the time of the alleged nuclear incident]; (2) the plaintiffs were

 exposed to this radiation (although not necessarily at levels prohibited by those regulations); (3)

 the plaintiffs have injuries; and (4) radiation was the cause of those injuries.”47 Based on this

 analysis, the current CMO does not reflect the correct standard for a PAA breach. It should focus

 on the 1973 release of radioactive materials from Defendants property.

   V.       Conclusion and Relief Requested

            The CMO does not consider the threshold issue: does the PAA apply to these Defendants

 under the circumstances sued on? While this Court has determined that the PAA preempts all state

 law claim claims when it is plead, this Court has not yet considered whether the PAA should apply

 in the first place. This is because Plaintiffs’ prior lead counsel withdrew their Motion to Remand

 before the Court ruled and Plaintiffs’ prior lead counsel filed an Amended Complaint that

 affirmatively plead the PAA.

            As discussed above, this matter is analogous to Strong and this Court should reach the same

 conclusion as Judge Jean C. Hamilton in that: 1) there cannot be federal jurisdiction under the

 PAA without a license or an indemnity agreement; and 2) Cotter’s 1969 Source Material License

 does not apply to Plaintiffs’ claim because the license does not cover uranium mill tailings. As in

 Strong, this matter should be remanded to state court because this Court lacks jurisdiction under


 46
      McClurg, 2017 WL 2929444, at *6 (E.D. Mo. July 7, 2017
 47
      In re TMI Litig., 193 F.3d 613, 659 (3d Cir. 1999), amended, 199 F.3d 158 (3d Cir. 2000).

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                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                123-1Filed: 01/28/22
                                        Filed: 03/27/18Page: 312
                                                         Page: 14ofof903
                                                                      15 PageID
                                                                         PageID #:
                                                                                #: 1993
                                                                                   1926



 the PAA. The current CMO deadlines and pending discovery should be stayed while the court

 considers these issues.

        If it is determined that the PAA does in fact apply here, at the very least, the CMO should

 be amended to reflect the appropriate standard for a PAA violation, namely the “release” of

 radioactive materials from Defendants’ property.

        Plaintiffs respectfully submit that good grounds exist for this Court to determine that the

 PAA does not apply in this matter because Defendants do not possesses an appropriate license or

 indemnity agreement to trigger the PAA. Accordingly, Plaintiffs contend that their PAA

 allegations in their Amended Complaint were not proper and as such Plaintiffs’ should be granted

 leave to amend their Complaint to dismiss the PAA claims and reinstate their state law claims.

 Following the reinstatement of Plaintiffs’ state law claims, this matter should be remanded. In the

 alternative, the CMO should be amended to focus on the 1973 release of radioactive contamination

 from Defendants’ property as opposed to the radioactive contamination present on Plaintiffs’

 property.

                                              Respectfully submitted,

                                              /s/ Celeste Brustowicz
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                                              ATTORNEYS FOR PLAINTIFFS,
                                              MICHAEL AND ROBBIN DAILEY




                                                 14
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                123-1Filed: 01/28/22
                                        Filed: 03/27/18Page: 313
                                                         Page: 15ofof903
                                                                      15 PageID
                                                                         PageID #:
                                                                                #: 1994
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on March 27, 2018, I electronically filed the foregoing document
 with the Clerk of Court by using the CM/ECF system which will send a notice of electronic
 filing to counsel of record.
                                               /s/ Celeste Brustowicz
                                               Celeste Brustowicz (LSBA 16835)




                                                 15
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    128Filed: 01/28/22
                                          Filed: 04/10/18Page: 314
                                                           Page:   of 17
                                                                 1 of 903PageID
                                                                          PageID#:#:1935
                                                                                     1995




                         THE UNITED STATES DISTRICT COURT FOR
                           THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


 MICHAEL DAILEY and ROBBIN DAILEY,

                                Plaintiffs,               Case No. 4:17-cv-00024

        v.

 BRIDGETON LANDFILL, LLC, et al.,

                                Defendants.


     MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
   LEAVE TO AMEND COMPLAINT TO DISMISS PRICE-ANDERSON ACT CLAIMS
     AND REINSTATE STATE LAW CLAIMS, TO REMAND, TO STAY PENDING
   DISCOVERY OR, ALTERNATIVELY, TO AMEND CASE MANAGEMENT ORDER

        Defendant Cotter Corporation (N.S.L.) (“Cotter”) (improperly named as Cotter

 Corporation) submits this memorandum of law in opposition to Plaintiffs Michael Dailey and

 Robbin Dailey’s (“Plaintiffs”) Motion for Leave to Amend their First Amended Complaint, to

 Remand the Matter to State Court, Stay Discovery, and, Alternatively, Amend the Court’s Case

 Management Order.

        The crux of Plaintiffs’ instant motion appears to be that because they have added a new

 lead attorney to their case (from a law firm that has been involved in this matter since its

 inception), they are entitled to turn back the clock to November 2016 to eliminate their claims

 pursuant to the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq., and have the matter (in

 its pre-removal, pre-amendment, and pre-motion-to-dismiss form) remanded to state court.

 Plaintiffs’ self-styled “motion to amend” is procedurally improper, and should be viewed

 through the lens of Rule 41(a), rather than under the more liberal standards of Rule 15. Further,

 regardless of the standard applied, Plaintiffs are not entitled to simply dismiss their PAA claims



                                                  -1-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     128Filed: 01/28/22
                                           Filed: 04/10/18Page: 315
                                                            Page:   of 17
                                                                  2 of 903PageID
                                                                           PageID#:#:1936
                                                                                      1996




  and resurrect their state-law claims given the prejudice this would pose to Defendants.

  Moreover, Plaintiffs’ attempt to cast doubt on this Court’s jurisdiction ignores that the Court

  implicitly ruled as part of its October 27, 2017 Order and Memorandum that Plaintiffs’ claims

  fall within the ambit of the PAA. See ECF No. 89. The overwhelming majority of circuit and

  district court decisions support this Court’s prior conclusion that Plaintiffs have alleged a nuclear

  incident as defined by the PAA. In short, Plaintiffs should not be permitted to dismiss their PAA

  claims and reinstate their dismissed state-law causes of action, and their request for remand to

  state court should similarly be denied. The Court should also deny Plaintiffs’ request to amend

  the Court’s Initial Case Management Order (the “CMO”), ECF No. 102, and their request to stay

  discovery during the pendency of the instant motion, as further discussed below.

                                            ARGUMENTS

  I.     Plaintiffs Have Failed to Demonstrate Any Basis for Dismissing their PAA Claim

         A.      Plaintiffs’ Motion Is an End-Run Around Rule 41(a), and, If Granted, Would
                 Prejudice Defendants

         Plaintiffs’ motion should be viewed as a motion for voluntary dismissal pursuant to Rule

  41(a), rather than under the less-stringent Rule 15(a) motion to amend standard. “[W]hen a

  plaintiff seeks to dismiss some, but not all, of his or her claims,” courts will generally view that

  motion as one for leave to amend the pleadings, subject to the liberal standards of Rule 15(a),

  rather than a motion to dismiss under Rule 41(a). See Paglin v. Saztec Int’l, Inc., 384 F. Supp.

  1184, 1189 (W.D. Mo. 1993). Here, however, the effect of Plaintiffs’ motion would be to

  eliminate the sole remaining count in their Amended Complaint—their PAA claims against

  Defendants—for the purpose of returning to state court to re-litigate their previously dismissed

  state-law causes of action. Given that Plaintiffs seek to dismiss all of their claims against

  Defendants, this motion should be subject to the strictures of Rule 41(a), which is concerned



                                                   -2-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     128Filed: 01/28/22
                                           Filed: 04/10/18Page: 316
                                                            Page:   of 17
                                                                  3 of 903PageID
                                                                           PageID#:#:1937
                                                                                      1997




  chiefly with protecting defendants from prejudice. See Millsap by Millsap v. Lamb Mem. Hosp.,

  111 F.R.D. 481, 483 (S.D. Iowa 1986) (primary interest of Rule 41 is protecting defendants); see

  also Fisher v. Puerto Rico Marine Mngt., Inc., 940 F.2d 1502 (11th Cir. 1991) (stating that “Rule

  41(a)(2) exists chiefly for the protection of defendants”). As such, to deny the instant motion,

  this Court need only find “plain legal prejudice arising from the dismissal.” Armstrong v.

  Adams, 869 F.3d 410, 414 (8th Cir. 1989).

         Although case law does not precisely define “plain legal prejudice,” courts commonly

  consider the following factors: the extent to which the action has progressed; the movant’s

  diligence in prosecuting the suit or bringing the motion; the “duplicative expense” of re-litigating

  the matter; and the adequacy of plaintiffs’ explanation for the motion. See 8 James W. Moore,

  Moore’s Federal Practice § 41.40[6]; see also U.S. v. $32,820.56, 838 F.3d 930, 937 (8th Cir.

  2016) (finding that courts may consider whether party has presented a proper explanation for

  desire to dismiss claim and whether dismissal would result in waste of judicial time and effort).

  Courts may also consider whether the motion was made at a critical juncture in the case. See 8

  James W. Moore, Moore’s Federal Practice § 41.40[6]. Further, the Eighth Circuit generally

  disapproves of permitting plaintiffs to voluntarily dismiss claims merely to deprive a defendant

  of otherwise proper federal jurisdiction. See, e.g., Donner v. Alcoa, 709 F.3d 694, 699 (8th Cir.

  2013); Thatcher v. Hanover Ins. Grp., Inc., 659 F.3d 1212, 1214-1215 (8th Cir. 2011).

         Here, to grant Plaintiffs’ motion would substantially prejudice Defendants. This matter

  has been before this Court since January 2017, after having been filed in state court in November

  2016. In that time, Defendants have opposed a motion to remand, moved to dismiss both

  Plaintiffs’ initial pleading and Plaintiffs’ Amended Complaint, answered that Amended

  Complaint, participated in case management conferences, engaged in settlement discussion with




                                                  -3-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     128Filed: 01/28/22
                                           Filed: 04/10/18Page: 317
                                                            Page:   of 17
                                                                  4 of 903PageID
                                                                           PageID#:#:1938
                                                                                      1998




  Plaintiffs, initiated and exchanged discovery, engaged in several meet and confers, and are now

  in the midst of preparing to take depositions of Plaintiffs’ witnesses with the specific purpose of

  briefing potentially dispositive motions in two months’ time. The result of this activity has been

  a considerable expenditure of time, resources and money by Defendants, as well as this Court’s

  active participation in crafting the current CMO and limiting the scope of discovery (and burden

  on Defendants) given the nature of Plaintiffs’ claims. Furthermore, Plaintiffs effectively

  abandoned the issues raised in the current motions when they withdrew their motion to remand

  in April 2017 and amended their pleading to assert PAA claims against Defendants. Plaintiffs’

  sole explanation for the dramatic change in course embodied in the instant motion is, in essence,

  that their “new” counsel has a different litigation strategy from her predecessors.

           The timing of Plaintiffs’ motion “at a critical juncture in the case” weighs against

  granting it.1 After the dismissal of their state law claims, Plaintiffs now face the possibility that

  their sole remaining claim under the PAA will be dismissed pursuant to the upcoming dispositive

  motions contemplated by the CMO. Obviously concerned by the risk of losing on that issue,

  Plaintiffs are desperate to either escape this Court’s jurisdiction or yet again create delay.

           Perhaps most egregiously, the stated purpose of the instant motion is to eliminate

  Plaintiffs’ federal cause of action in order to deprive this Court of jurisdiction and permit

  Plaintiffs to re-litigate their previously dismissed state-law causes of action in state court. Such a

  motive would run afoul of the Eight Circuit’s general disapproval of plaintiffs attempting to

  dismiss claims simply to deprive defendants of the benefits of otherwise proper federal

  jurisdiction. See Donner, 709 F.3d at 699; Thatcher, 659 F.3d at 1214-15. For these reasons,

  1
    Plaintiffs recently filed an opposed Motion for Extension of Time in the Initial CMO on February 22, 2018, see
  ECF No. 109, which the Court granted on March 6, 2018, see ECF No. 119. Exactly three weeks later—after
  Defendants had (re)noticed depositions for both plaintiffs and a third-party witness for the third week of April (dates
  offered by and agreed to by Plaintiff)— Plaintiffs filed the current motion seeking, among other things, to suspend
  their discovery obligations.


                                                           -4-
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    128Filed: 01/28/22
                                          Filed: 04/10/18Page: 318
                                                           Page:   of 17
                                                                 5 of 903PageID
                                                                          PageID#:#:1939
                                                                                     1999




 this Court should not further Plaintiffs’ attempt to avoid Rule 41(a), and should deny this motion

 on the basis that it would result in plain legal prejudice for Defendants.

        B.      Even Under Rule 15(a), Plaintiffs Should Not Be Permitted to Amend Their
                Amended Complaint to Dismiss Their PAA Claims

        Assuming arguendo that Plaintiffs’ motion is properly viewed as a request for leave to

 amend their pleadings (for the second time), Plaintiffs’ undue delay, dilatory motives, bad faith,

 and the ultimate prejudice to Defendants warrant denial of their motion.

        “After an answer has been filed in response to the plaintiff’s complaint, the plaintiff ‘may

 amend the party’s pleading only by leave of court . . . and leave shall be freely given when

 justice so requires.’” Bell v. Allstate Life Ins. Co., 160 F.3d 452, 454 (8th Cir. 1998) (quoting

 Rule 15(a)). A motion for leave to amend, however, is properly denied where there is “undue

 delay, bad faith or dilatory motive on the part of the movant, [and] undue prejudice to the

 opposing party by virtue of allowance of the amendment.” Id. (internal quotation omitted).

        With respect to undue delay and dilatory motive, Plaintiffs initially challenged this

 Court’s subject matter jurisdiction in a motion to remand premised chiefly on the view that the

 PAA did not apply to their alleged radiation injuries. After withdrawing that motion, Plaintiffs

 amended their pleadings to embrace claims under the PAA. Thereafter, Plaintiffs prosecuted this

 case on the basis of those PAA claims, alongside a number of state-law based causes of action.

 Now, after having all their state-law based claims dismissed as preempted by the PAA, for the

 sole purpose of defeating this Court’s jurisdiction, Plaintiffs seek to turn back the clock to

 November 2016, before Defendants removed the case to federal court.

        Plaintiffs’ explanation for this sudden change in tack—occurring long after Plaintiffs first

 amended their pleadings and Defendants proceeded with motions to dismiss, submitted answers

 to pleadings, participated in multiple conferences with this Court, settled with and dismissed



                                                  -5-
                                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     128Filed: 01/28/22
                                           Filed: 04/10/18Page: 319
                                                            Page:   of 17
                                                                  6 of 903PageID
                                                                           PageID#:#:1940
                                                                                      2000




  claims against one Defendant with prejudice,2 and conducted discovery—underscores that

  Plaintiffs filed the instant motion in bad faith. Plaintiffs’ justification for seeking to dismiss their

  PAA claims is their new counsel’s belief “that the Amended Complaint was improper because

  this is not, in fact, a PAA case” (i.e., counsel changed their minds). Change of counsel (if adding

  a new attorney to a previously appearing firm even counts as such) is not grounds for undoing

  over a year of litigation, particularly where it renders Defendants’ expenditure of time, resources,

  and money, as well as this Court’s limited and valuable time and attention, wholly meaningless.

  Taken to its logical conclusion, were Plaintiffs’ view correct, a party could seek to amend its

  pleadings (and delay resolution of the case) without limit by simply having “new” counsel, with

  a new litigation strategy, make an appearance and question prior counsel’s actions.

          Ultimately, for the reasons set forth in Section I. A., supra, to permit Plaintiffs to amend

  their pleading to eliminate a claim they now seemingly regret (and to reinstate state law claims

  that were properly dismissed) would prejudice Defendants, who have incurred considerable

  expense prosecuting their defense of this case. The instant motion should therefore be denied.

          C.       This Court Has Implicitly Found That It Has Jurisdiction

          Contrary to Plaintiffs’ claim that this Court’s jurisdiction is unclear because it is

  undecided “whether the [PAA] applies to allegations made” by Plaintiffs, this Court has

  implicitly found that it has subject matter jurisdiction. Specifically, in finding that Plaintiffs’

  state-law claims were preempted by the PAA, this Court held that “[b]ecause [Plaintiffs] allege

  that [D]efendants ‘caused damage to Plaintiffs’ property and/or the loss of use of the Plaintiffs’

  property which constitutes a ‘nuclear incident’ or series of ‘nuclear incidents’ under the [PAA],’

  their amended complaint asserts a federal cause of action . . . that supplants all state causes of


  2
   On March 16, 2018, this Court entered a Stipulation of Dismissal with prejudice dismissing Plaintiffs’ claims
  against Mallinckrodt, LLC. See ECF No. 120.


                                                          -6-
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    128Filed: 01/28/22
                                          Filed: 04/10/18Page: 320
                                                           Page:   of 17
                                                                 7 of 903PageID
                                                                          PageID#:#:1941
                                                                                     2001




 action.” ECF No. 89, p. 13 (quoting Amended Complaint at ¶ 104, p. 30). Thereafter, in

 addressing Defendants’ argument that Plaintiffs failed to allege facts sufficient to assert PAA

 claims, the Court found that Plaintiffs’ “amended complaint contains enough factual allegations

 of a violation of the PAA to survive a motion to dismiss.” ECF No. 89, p. 19. Here, for

 purposes of pleading a claim, the Court has already determined that the PAA applies to

 Plaintiffs’ allegations, and by natural extension, that this Court has jurisdiction. As such,

 Plaintiffs’ claim that the application of the PAA to their allegations is undecided lacks merit. See

 Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th Cir. 2000) (“the Price Anderson Act does

 confer exclusive federal jurisdiction over the claims in this case.”) (emphasis added).

        D.      Plaintiffs Rely on Defunct or Irrelevant Case Law to Maintain that
                Indemnity and Licensure Are Prerequisites to Jurisdiction Under the PAA

        Plaintiffs also attempt to manufacture doubt concerning this Court’s jurisdiction by

 claiming that the PAA does not apply where the defendants lack an indemnity agreement with

 the United States or an Atomic Energy Commission (“AEC”) or Nuclear Regulatory

 Commission (“NRC”) license. However, the overwhelming majority of federal circuit and

 district courts have concluded that the PAA applies to nearly all claims alleging radiation-based

 injuries or damages, and the cases Plaintiffs rely on to limit the scope of federal jurisdiction are

 either inapplicable or no longer good law.

        Since the passage of the PAA in 1957, the federal government has regulated the

 generation, processing, use, and handling of radioactive materials through a comprehensive

 federal scheme designed to preempt the states from regulating the health and safety aspects of

 essentially all radioactive materials. See Pacific Gas & Elec. Co. v. State Energy Res.

 Conservation & Dev. Comm’n, 461 U.S. 190, 212 (1983); Skull Valley Band of Goshute Indians

 v. Nielson, 376 F.3d 1223, 1240-45 (10th Cir. 2004); see also Kerr-McGee Corp. v. Farley, 115



                                                  -7-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     128Filed: 01/28/22
                                           Filed: 04/10/18Page: 321
                                                            Page:   of 17
                                                                  8 of 903PageID
                                                                           PageID#:#:1942
                                                                                      2002




  F.3d 1498, 1508 (10th Cir. 1997) (“Hazards arising from atomic radiation were made a

  particularly federal concern, as to which the state had no authority to regulate.”). Against this

  backdrop, and following the proliferation of lawsuits arising out of the 1979 Three Mile Island

  incident, Congress amended the PAA in 1988 to create an exclusive and retroactive federal cause

  of action—called a “public liability action”—for any “public liability” arising from a “nuclear

  incident.” El Paso Natural Gas Co. v. Neztsosie, 526 U.S. 473, 477 (1999); see also McClurg v.

  Mallinckrodt, Inc., 2015 WL 857455, at *6 (E.D. Mo. Feb. 27, 2015) (citing 42 U.S.C. §§ 2014

  (hh), 2014(w); Pub. L. No. 100-408 § 20 (b)(1), 102 Stat. 1084 (“The amendments [governing

  judicial review of claims arising out of a nuclear incident] shall apply to nuclear incidents

  occurring before, on, or after the date of the enactment of this Act”); In re TMI Litig. Cases

  Consol. II, 940 F.2d 832, 857 (3d Cir. 1991), cert. denied, 503 U.S. 906 (1992). The PAA

  defines “public liability” as “any legal liability arising out of or resulting from a nuclear incident

  . . . .” 42 U.S.C. § 2014(w). Under the plain language of § 2014(hh), the PAA will apply to “any

  suit asserting public liability,” arising from a “nuclear incident.” Indeed, since being amended in

  1988, courts throughout the country have recognized that the PAA preempts state-law causes for

  injuries stemming from radioactive materials. See Adkins v. Chevron Corp. 960 F. Supp. 2d 761,

  767 (E.D. Tenn. 2012) (finding virtually every court to address the issue—including the Third,

  Sixth, Seventh, Ninth, Tenth and Eleventh Circuits—has held that the PAA “completely

  preempts state law causes of action for public liability arising out of or resulting from nuclear

  incidents”); McClurg v. MI Holdings, Inc., 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013).

         Given Congress’ goal “to expand the scope of federal jurisdiction” through the 1988

  amendments to the PAA, courts have generally rejected efforts by plaintiffs to reduce the scope

  of federal jurisdiction. See, e.g., Acuna, 200 F.3d at 339 (rejecting attempt to limit PAA




                                                   -8-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
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                                           Filed: 04/10/18Page: 322
                                                            Page:   of 17
                                                                  9 of 903PageID
                                                                           PageID#:#:1943
                                                                                      2003




  jurisdiction to indemnitees of United States); Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d

  800,804-06 (N.D. Ill. 1999) (rejecting attempt to limit PAA jurisdiction and recognizing that

  “nuclear incident” was intentionally defined broadly to avoid situation where defendants were

  left without a federal forum and were forced to defend against lawsuits “in various jurisdictions

  under various state laws”). Indeed “[t]he plain language of the statute indicates that the

  possession of a license for radioactive material is unrelated to the jurisdiction issue. None of the

  statutory definitions limit the jurisdiction over nuclear claims to licensed activity.” Cotromano v.

  United Techs. Corp., 7 F. Supp. 3d 1253, 1257 (S.D. Fla. 2014); see also Estate of Ware ex rel.

  Boyer v. Hosp. of Univ. of P.A., 73 F. Supp. 3d 519, 530 (E.D. Pa. 2014) (rejecting view “that the

  PAA is limited to nuclear incidents occurring at utilization and production facilities and other

  licensed facilities”) (internal quotations marks omitted). As a result, the PAA is “broad enough

  to create a federal forum for any tort claims even remotely involving atomic energy production.

  The [PAA] on its face provides the sole remedy for the torts alleged.” Farley, 115 F.3d at 1504.

         Despite the widely recognized principle of broad federal jurisdiction over claims

  asserting radiation-based injuries, Plaintiffs insist that this Court should adopt a narrow view of

  its own jurisdiction based on a few defunct or otherwise inapposite cases. For example,

  Plaintiffs maintain that this Court should adopt the reasoning set forth in Gilberg v. Stepan Co.,

  24 F. Supp. 2d 325, 340 (D.N.J. 1998), concerning the absence of federal jurisdiction where the

  defendant has no indemnity agreement with government. Plaintiffs fail to mention, however,

  that Gilberg’s tortuous reasoning and statutory interpretation are no longer good law within its

  own circuit, as it was flatly rejected by the Third Circuit in Estate of Ware v. Hosp. of the Univ.

  of Pa., 871 F.3d 273, 282-83 (3rd Cir. 2017). Accord Acuna, 200 F.3d at 339 (noting Gilberg’s

  analysis and rejecting attempt to curb federal jurisdiction over claim for radiation injuries);




                                                   -9-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:323
                                                                10 of
                                                                   of 903 PageID#:#:1944
                                                                      17 PageID      2004




 Carey, 60 F. Supp. 2d at 806-07 (criticizing and declining to follow Gilberg); Cotromano, 7 F.

 Supp. 3d at 1258 (same). In any event, Gilberg is distinguishable here because the defendant

 actually had a license, but the Court in Gilberg required both a license and an indemnity.

          Plaintiffs also rely on Joseph v. Sweet, 125 F. Supp. 2d 573 (D. Mass. 2000), an

 inapplicable district court decision arising from a doctor and hospital’s use of experimental

 nuclear medicine on two patients in the 1950s and 1960s. In that case, however, while the court

 mentioned in passing the need for indemnification between the defendant and government as a

 prerequisite to a PAA claim, the court acknowledged that issue was not actually disputed by any

 of the parties, who accepted that the PAA covered the claims by one of the plaintiffs who was

 allegedly injured in the 1960s. Id. at 576. With respect to the plaintiff who was injured in the

 1950s, the district court found that the injury pre-dated the existence of the PAA, rendering it

 inapplicable to the plaintiff’s claim. Ibid.

          In support of their argument that AEC and/or NRC licensure is essential to this Court’s

 jurisdiction under the PAA, Plaintiffs rely on Samples v. Conoco, Inc., 165 F. Supp. 2d 1303

 (N.D. Fla. 2001). The chief issues raised in Samples, however, related to whether the federal

 court had jurisdiction under an entirely different federal statute, the Comprehensive

 Environmental Response, Compensation and Liability Act of 1980, 42 U.S.C. § 9601 et seq. Id.

 at 1320-21. The extent of the court’s discussion concerning the PAA3 in Samples is confined to

 a few paragraphs discussing an argument that the defendants appeared to have included as an

 afterthought. Id. at 1321 (quoting Acuna, 200 F.3d at 339); cf. Farley, 115 F.3d at 1504 (noting

 that jurisdiction under the PAA is “broad enough to create a federal forum for any tort claims

 even remotely involving atomic energy production”).


 3
   The holding in Samples also has been criticized by the Third Circuit in Estate of Ware, 871 F.3d at 283, which is
 the same Third Circuit decision that rendered Gilberg defunct.


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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:324
                                                                11 of
                                                                   of 903 PageID#:#:1945
                                                                      17 PageID      2005




          Notwithstanding this lack of support in the case law for their arguments, Plaintiffs insist

 that this Court adopt reasoning set forth in Strong v. Republic Servs., Inc., 283 F. Supp. 3d 759

 (E.D. Mo. 2017)4 and find that there cannot be federal jurisdiction under the PAA without a

 license or an indemnity agreement and that Cotter’s 1969 License does not create jurisdiction

 because it does not apply to uranium mill tailings. However, Strong’s statement concerning the

 need for a nuclear indemnity or license to establish federal jurisdiction appears to be based

 almost exclusively on the New Jersey district court’s reasoning in Gilberg, 24 F. Supp. 2d at 343,

 which, as noted above, has been criticized and rejected by the Third Circuit in Estate of Ware,

 871 F.3d at 283, and by various other courts. Furthermore, Strong should not be afforded much

 weight in the instant matter given that Cotter was not a party to the litigation in Strong (a fact

 Plaintiffs neglect to mention in their brief), and had no opportunity to brief the issues considered

 by the Court concerning either the jurisdictional issues or Cotter’s 1969 License.

          Further, contrary to Plaintiffs’ suggestion, the Court in Strong did not conclude that

 Cotter’s 1969 license could not support jurisdiction under the PAA.5 Rather, the Court merely

 found that Cotter’s license did not extend to uranium mill tailings, while simultaneously

 declining to determine, based on the record before it, whether the radioactive materials allegedly

 in the landfill were, in fact, uranium mill tailings. Strong, 283 F. Supp. 3d at 773.

          Significantly, Plaintiffs’ claim that the radioactive materials were unlicensed mill tailings

 that fell outside the scope of AEC or NRC licensure is flatly contradicted by the fact that the

 AEC issued licenses for the materials ultimately possessed and handled by Cotter prior to the

 passage of Uranium Mill Tailings Radiation Control Act of 1978 (“UMTRCA”), a statute which

 4
   Despite this decision (which seems to be at the core of Plaintiffs’ arguments) being filed on October 20, 2017,
 Plaintiffs did not raise it to this Court’s attention until March 27, 2018—over five months after it was entered.
 5
   It should be noted that at all relevant times, Cotter was the holder of an AEC License, which authorized Cotter to
 process source material in anticipation of shipping it elsewhere. See ECF No. 64-1, Declaration of Stephanie
 Feingold (“Feingold Decl.”), Ex. D (License SUB-1022 issued to Cotter on December 30, 1969).


                                                         -11-
                                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:325
                                                                12 of
                                                                   of 903 PageID#:#:1946
                                                                      17 PageID      2006




 the Court in Strong heavily relied upon in determining that Cotter’s license did not include

 uranium mill tailings. On February 14, 1966, the AEC issued License No. SMA-862 for

 Continental Mining & Milling Co., to possess and take other actions with “source material.” See

 Feingold Decl., Ex. A (AEC License No. SMA-862). The source material is described in the

 license as “uranium and thorium” of up to “125,000 tons of residues . . . .” See Feingold Decl.,

 Ex. A. The AEC also issued licenses for these materials in 1963, 1966, and 1969. See Feingold

 Decl., Exs. B (License SMB-654 issued to Contemporary Metals Corporation on December 31,

 1963); C (License No. SMC-907 issued to Commercial Discount Corporation on December 29,

 1966); D (License SUB-1022 issued to Cotter on December 30, 1969).6 Cotter’s License No.

 SUB-1022 was terminated on November 13, 1974. See Feingold Decl., Ex. E (November 13,

 1974 letter from AEC informing Cotter of the termination of License No. SUB-1022).

         In their Amended Complaint, Plaintiffs essentially admit that materials referenced in the

 license included the so-called “mill tailings” that they contend were not licensed by the NRC or

 AEC. See Amend Compl. ¶ 43 (“In the 1960’s, leftover mill tailings (ore residues, and uranium,

 and radium-bearing process wastes) . . . were moved to a storage site on Latty Avenue”); ¶ 52

 (“In the late 1960’s, Cotter purchased [u]ranium mill tailings stored at both SLAPS and at the

 Latty Avenue Site”). The AEC’s licensure of these materials demonstrates, contrary to

 Plaintiffs’ arguments, that the AEC (and, later, the NRC) understood these residues to be subject

 to their jurisdiction, and exercised that jurisdiction by issuing the referenced licenses. Further,

 even if Plaintiffs had not performed an about-face from their prior position that the radioactive

 material in the Landfill supported a PAA claim, a determination regarding the regulatory and

 chemical characteristics of that material is premature at this early stage of the proceedings.

 6
  Continental Mining & Milling Co., Contemporary Metals Corporation and Commercial Discount Corporation were
 prior licensees of the radioactive materials stored at SLAPS and the Latty Avenue Site, a subset of which Cotter
 ultimately handled and was granted a license for in 1969. See Feingold Decl. ¶ 5, Ex. D.


                                                      -12-
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:326
                                                                13 of
                                                                   of 903 PageID#:#:1947
                                                                      17 PageID      2007




        Here, Plaintiffs are the “masters” of their claims, Caterpillar Inc. v. Williams, 482 U.S.

 386, 394, (1987), and having alleged PAA claims against Defendants—claims that withstood

 Defendants’ prior motions to dismiss—they cannot simply disclaim those causes of action on the

 basis that it has become inconvenient for their new counsel’s litigation strategy. As such,

 Plaintiffs’ arguments lack merit and their motion should be denied.

 II.    Plaintiffs Have Failed to Provide Any Basis to Warrant Amending the CMO

        Likely sensing that their attempt to unmake their PAA claims to let them start over in

 state court is doomed, Plaintiffs request, in the alternative, that the Court radically modify the

 CMO “to Reflect the Appropriate Standard for Breach of the [PAA].” ECF No. 123-1, p. 12.

 Specifically, Plaintiffs want the CMO to “focus on the 1973 release of radioactive materials from

 Defendants [sic] property,” citing this Court’s decision in McClurg v. Mallinckrodt, Inc., 217

 WL 2929444, at *6 (E.D. Mo. July 7, 2017), in support of that view. ECF No. 123-1, p. 13.

 However, Plaintiffs have failed to present any basis for amending the CMO or modifying the

 limited scope of discovery permitted at this stage in the case.

        In its decision granting in part, and denying in part, Defendants’ motions to dismiss, the

 Court found that determining the specific standard of care applicable to Plaintiffs’ PAA claims

 was “at this stage of the litigation . . . premature,” thus leaving that issue for another day. ECF

 No. 89, p. 19. Thereafter, following conferences with the Court, and after Defendants raised

 serious concerns regarding “whether plaintiffs’ soil, dust, and runoff samples can provide

 radioactive contamination levels sufficient to show a violation of the [PAA],” this Court entered

 the initial, limited CMO, “in the interests of economy,” to permit the parties to address “both the

 chain of custody and origination of some of the samples taken, but also the appropriate legal




                                                 -13-
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:327
                                                                14 of
                                                                   of 903 PageID#:#:1948
                                                                      17 PageID      2008




 standards and whether the samples establish contamination levels sufficient to be a PAA

 violation.” ECF No. 102, pp. 1-2.

        Plaintiffs insist, however, that discovery should be focused on the “release of radioactive

 materials from Defendants’ property” (without identifying which property they mean) rather than

 the presence of radioactive materials in their own home. Plaintiffs ignore that part of the purpose

 of the CMO was to advance the proportionality principles of the Federal Rules of Civil

 Procedure and save the parties time, resources and money by limiting initial discovery to

 whether Plaintiffs can show the presence of radioactive materials in their own home—an

 essential component of their claim, and a far less onerous undertaking for all involved than

 investigating purported historical “releases” dating back over forty years. In short, if Plaintiffs

 cannot demonstrate the presence of radioactive materials on their property at a level sufficient to

 sustain a claim under the PAA, then any public liability claims they may have under the PAA are

 moot. While Plaintiffs place considerable emphasis on this Court’s decision in McClurg

 concerning the applicable standard of care, they fail to note that McClurg, unlike the instant

 matter, revolves around claims for personal injury, as opposed to Plaintiffs’ claims for property

 damage at a single site. As such, contrary to Plaintiffs’ suggestion, McClurg is hardly definitive

 concerning the ultimate standard of care applicable to the instant case. In light of the above, the

 Court should deny Plaintiffs’ motion and leave the CMO in place without modification.

 III.   The Court Should Not Stay Discovery During the Pendency of This Motion

        This Court has previously extended the time for the parties to conduct discovery under

 the CMO in response to Plaintiffs’ February 22 motion, see ECF No. 119, and the parties should

 not be delayed any further in addressing issues that may quickly and definitively resolve this

 case. Plaintiffs have also failed to provide any explanation or argument to support their view




                                                 -14-
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:328
                                                                15 of
                                                                   of 903 PageID#:#:1949
                                                                      17 PageID      2009




 that the pendency of the instant motion warrants a stay in the CMO deadlines and pending

 discovery. Indeed, granting Plaintiffs’ request for a stay substantially prejudices Defendants by

 needlessly delaying upcoming dispositive motions that may resolve this matter conclusively for

 Defendants. Plaintiffs have consistently dragged their feet throughout this litigation, and the

 instant motion is further evidence of Plaintiffs’ goal to bring an action they apparently no longer

 have the appetite for to a screeching halt. The Court should not reward such dilatory behavior.

        Accordingly, the Court should not further delay the potential resolution of this matter and

 should deny Plaintiffs’ request for a stay during the pendency of their motion.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs’ motion should be denied. Plaintiffs should not be

 permitted to dismiss their PAA claims simply to evade this Court’s jurisdiction, given the

 prejudice it would have to Defendants, who have devoted significant resources over the past year

 to move this case toward a speedy resolution. Furthermore, this Court has federal question

 jurisdiction over this matter under the PAA because it arises from a nuclear incident and asserts

 claims for damages related to radiation injuries. Lastly, Plaintiffs’ requests for a modification of

 the CMO or a stay in this matter are meritless and should be denied.

 Dated: April 10, 2018                             Respectfully submitted,


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                                                 -15-
                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:329
                                                                16 of
                                                                   of 903 PageID#:#:1950
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                                          -16-
                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    128 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:330
                                                                17 of
                                                                   of 903 PageID#:#:1951
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 10, 2018, I electronically filed the foregoing document

 with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

 filing to counsel of record, and caused the same to be served upon the following by U.S. mail,

 first-class postage:


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                                                              /s/ John McGahren




                                                -17-
                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 331
                                                            Page:   of 18
                                                                  1 of 903PageID
                                                                           PageID#:#:1952
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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 MICHAEL DAILEY, et al.,                    )
                                            )
               Plaintiffs,                  )
                                            )
 vs.                                        )
                                            )   Case No. 4:17-cv-00024-CDP
 BRIDGETON LANDFILL, LLC, et al.,           )
                                            )
               Defendants.                  )

     DEFENDANTS BRIDGETON LANDFILL, LLC, REPUBLIC SERVICES, INC.,
        ALLIED SERVICES, LLC, AND ROCK ROAD INDUSTRIES, INC.’S
   RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE TO AMEND,
      MOTION TO REMAND, MOTION TO STAY PENDING DISCOVERY AND,
      ALTERNATIVELY, MOTION TO AMEND CASE MANAGEMENT ORDER
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 332
                                                            Page:   of 18
                                                                  2 of 903PageID
                                                                           PageID#:#:1953
                                                                                      2013




  I.     Introduction

         Plaintiffs’ request to radically alter the nature of their claims ignores the year-and-a-half

  of litigation they instituted, the last eleven months of which arose following Plaintiffs’ voluntary

  addition of claims under the Price-Anderson Act, 42 U.S.C. § 2011 et seq. Plaintiffs’ current

  lead counsel now appears to have a new strategy at odds with the affirmative statements

  Plaintiffs made to the Court in their First Amended Complaint (Doc. No. 70) (the “Complaint”).

  This change in direction, independent of anything other than adding a new lawyer to the team,

  does not permit Plaintiffs a do-over of their case. Defendants Bridgeton Landfill, LLC

  (“Bridgeton”), Republic Services, Inc. (“Republic”), Allied Services, LLC (“Allied Services”),

  and Rock Road Industries, Inc. (“Rock Road”) (collectively, “Defendants”), along with

  Defendant Cotter Corporation (N.S.L.) (“Cotter”), have actively engaged in litigation structured

  by Plaintiffs’ allegations and causes of action. Allowing Plaintiffs to change their minds this

  late in the litigation will severely prejudice Defendants and Cotter.

         The legal conclusions made in Plaintiffs’ Motion regarding the Price-Anderson Act (the

  “PAA” or “Act”) are incorrect. The 1988 amendments to the Act confer exclusive federal

  jurisdiction over actions in which a party asserts legal liability for bodily injury, sickness, or

  property damage caused by hazardous properties of radioactive materials. Plaintiffs rely on a

  handful of cases that erroneously use pre-amendment language of the Act to construe the post-

  amendment Act. The PAA’s plain language and recent Circuit Court decisions demonstrate that

  Plaintiffs are incorrect. Additionally, although a license is not necessary to trigger the PAA, a

  license is at the heart of this case because it is the basis upon which Cotter deposited

  radioactively impacted material at the West Lake Landfill (also referred to as the “Landfill”).




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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 333
                                                            Page:   of 18
                                                                  3 of 903PageID
                                                                           PageID#:#:1954
                                                                                      2014




           Plaintiffs’ claims are governed by the PAA, which preempts state law claims. As such,

  the case should proceed as pled by the Plaintiffs, and the Court should not amend its Case

  Management Order or otherwise stay discovery.

  II.      Plaintiffs Pleaded a PAA Cause of Action

           The Complaint, explicitly, affirmatively, and directly alleging a PAA claim, has been the

  operative pleading for over eleven months. Doc. No. 70 (filed April 21, 2017). The “U”-turn

  now desired by Plaintiffs would completely reshape the case. Almost a year ago, Plaintiffs

  withdrew their Motion to Remand and embraced the PAA. See Doc. No. 66. State law claims

  were later dismissed as preempted by the Act. Doc. No. 89. Now, Plaintiffs want to rewrite

  their allegations, remand the case, and re-litigate their previously dismissed state law claims.

           Plaintiffs did not make an “erroneous” amendment. See Doc. Nos. 123-1 at 2; 123 at 2.

  Such a characterization suggests a mere clerical error. Rather, Plaintiffs made a purposeful

  decision to forego remand and amend their Complaint to add PAA claims. Doc. Nos. 66, 68, 70.

           Current lead-counsel, the Cooper Law Firm (including Barry Cooper) signed the

  Complaint filed in April 2017 which alleges the PAA claim and the Motion for Leave to Amend

  to add the PAA claims. Doc. Nos. 68, 70. It is disingenuous, at best, to say Plaintiffs’ current

  counsel have only “recently” been involved. See Doc. No. 123 at 2.1 Moreover, the pleadings

  belong to Plaintiffs, not the law firm or lawyers. Whether or not the Cooper Law Firm had filed

  entries of appearance or pro hac vice motions, its involvement in the Complaint’s amendment is

  clear.




           1
            Fed. R. Civ. P. 11 provides that an attorney or law firm on a pleading represents to the Court that “the
  claims, defenses, and other legal contentions are warranted by existing law[.]” Fed. R. Civ. P. 11(b), (c).



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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 334
                                                            Page:   of 18
                                                                  4 of 903PageID
                                                                           PageID#:#:1955
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  III.     Plaintiffs’ Reading of the PAA is Incorrect

           Plaintiffs’ argument that licenses and indemnity agreements are prerequisites to

  application of the PAA is simply wrong. Plaintiffs allege the Act does not apply to their claims

  because “[w]ithout a federal license or an indemnification agreement, there is no ‘nuclear

  incident and thus no ‘public liability action.’” Doc. No. 123-1 at 7. In support, Plaintiffs rely on

  a tortured reading of the statute and a handful of non-binding cases which misunderstand the

  1988 expansion of the Act.

           A.       1988 Amendments Broadened the Act

           Plaintiffs’ arguments lie in a misunderstanding of amendments made to the PAA in 1988.

  Prior to 1988, automatic federal jurisdiction under the Act applied only to claims arising out of

  an “extraordinary nuclear occurrence.”2 Acuna v. Brown & Root, Inc., 200 F.3d 335, 339 (5th

  Cir. 2000). The Three Mile Island nuclear power plant accident laid bare the difficulty in the

  Act’s narrow applicability. Because the accident did not meet the substantiality requirements of

  an “extraordinary nuclear occurrence,” the resulting claims could not be consolidated in federal

  court. El Paso Nat. Gas Co. v. Neztsosie, 526 U.S. 473, 477 (1999).

           As a result, Congress amended the Act to broaden federal jurisdiction. Id. The 1988

  Amendments Act amended section 2210(n)(2) to read, in relevant part:

           With respect to any public liability action arising out of or resulting from a
           nuclear incident, the United States district court in the district where the nuclear
           incident takes place…shall have original jurisdiction without regard to the
           citizenship of any party or the amount in controversy. Upon motion of the
           defendant…any such action pending in any State court…shall be removed…to the
           United States district court having venue under this subsection.



           2
             Under the PAA, an “extraordinary nuclear occurrence” is a release of radioactive material which results in
  offsite radiation levels and damage which are found to be substantial in nature by the Nuclear Regulatory
  Commission. See 42 U.S.C. § 2014(j). The substantiality requirement was the component which limited the cases
  that qualified for PAA jurisdiction in the pre-1988 amendment period.



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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 335
                                                            Page:   of 18
                                                                  5 of 903PageID
                                                                           PageID#:#:1956
                                                                                      2016




           The amendment also added section 2014(hh), defining “public liability action” as “any

  suit asserting public liability.” “Public liability,” means, inter alia, “any legal liability arising

  out of or resulting from a nuclear incident or precautionary evacuation[.]” 42 U.S.C. § 2014(w).

  “Nuclear incident,” is defined, inter alia, as:

           any occurrence, including an extraordinary nuclear occurrence, within the United
           States causing, within or outside the United States, bodily injury, sickness,
           disease, or death, or loss of or damage to property, or loss of use of property,
           arising out of or resulting from the radioactive, toxic, explosive, or other
           hazardous properties of source, special nuclear, or byproduct material[.]

  42 U.S.C. § 2014(q).3

           Federal jurisdiction now exists “over any actions ‘asserting public liability’ arising from a

  ‘nuclear incident,’ which generally includes any ‘occurrence’ causing physical harm [or property

  damage] resulting from the radioactive properties of nuclear materials.” Estate of Ware v. Hosp.

  of the Univ. of Pa., 871 F.3d 273, 279 (3d Cir. 2017) (hereinafter “Estate of Ware II”) (citing El

  Paso, 5287 U.S. at 279). The amendments “deliberately increased the scope of the Act’s

  coverage.” Id. “[O]ne purpose behind the 1988 amendments was to expand the scope of federal

  jurisdiction beyond actions arising from ‘extraordinary nuclear occurrences’ only.” Acuna, 200

  F.3d at 339.

           Because the 1988 amendments introduced new phrases to broaden federal jurisdiction,

  pre-1988 definitions, including that of “extraordinary nuclear occurrence,” should not be used to

  restrict the Act’s application.

           B.       The Act Is Not Limited to Licensees or Indemnitees

           The PAA’s application to a public liability action is not further limited under the Act.

  Statutory interpretation begins “with the language of the statute” and the inquiry ceases “[i]f the

           3
             Plaintiffs’ Motion does not challenge the application of the PAA in a property damage case or assert a
  position regarding the operative standard of care. Consequently, these issues are not addressed by Defendants in this
  Response.



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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 336
                                                            Page:   of 18
                                                                  6 of 903PageID
                                                                           PageID#:#:1957
                                                                                      2017




  statutory language is unambiguous and the statutory scheme is coherent and consistent[.]”

  Kingdomware Techs., Inc. v. United States, 136 S. Ct. 1969, 1976 (2016). Because

  “occurrence,” as used in the definition of “nuclear incident,” is not defined, the “fundamental”

  canon of statutory construction requires the Court “follow express statutory definitions” and

  “give terms their ordinary meaning.” Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d 800,

  805-06 (N.D. Ill. 1999). “[O]ccurrence” simply means “happening or event” and a “nuclear

  occurrence” for which jurisdiction is appropriate means any “[happening or event]…causing

  bodily injury, loss or damage to property…arising out of or resulting from” radioactive material.

  Id. at 805-06. This interpretation is entirely in keeping with Congress’ intent to expand federal

  court jurisdiction. Jurisdiction is proper in this case because Plaintiffs’ allegations seek redress

  under the PAA for damage allegedly due to radioactive materials. Both the Act’s plain language

  and the weight of case law are contrary to Plaintiffs’ position.

                  i.     A License is Not a Prerequisite to Application of the Act

          The definition of a “public liability action” does not require the involvement of a

  licensee. The PAA applies when an occurrence causes harm to person or property due to

  radioactive sources. 42 U.S.C. § 2014(q). “[A] ‘public liability action’ is a suit in which a party

  asserts that another party bears any legal liability arising out of an incident in which the

  hazardous properties of radioactive material caused bodily injury, sickness, or property damage.”

  McClurg v. MI Holdings, Inc., 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013) (citing Cotroneo v.

  Shaw Env't & Infrastructure, Inc., 639 F.3d 186, 194 (5th Cir. 2011)). Nothing in the PAA or its

  definition of a “nuclear incident” limits jurisdiction under the Act based on whether a defendant

  is also a licensee.




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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 337
                                                            Page:   of 18
                                                                  7 of 903PageID
                                                                           PageID#:#:1958
                                                                                      2018




          Indeed, federal courts have repeatedly held that the PAA applies to a broad range of

  radiation injuries. “In passing the Price-Anderson Act, Congress recognized that a nuclear

  incident might be caused by any number of participants in the nuclear industry beyond the actual

  licensee.” O'Conner v. Commonwealth Edison Co., 807 F. Supp. 1376, 1378 (C.D. Ill. 1992),

  aff'd, 13 F.3d 1090 (7th Cir. 1994). See also Estate of Ware v. Hosp. of the Univ. of Pa., 73 F.

  Supp. 3d 519, 530 (E.D. Pa. 2014) (hereinafter “Estate of Ware I”) (expressly rejecting that a

  public liability claim under the PAA is “limited to nuclear incidents occurring at utilization and

  production facilities and other licensed facilities”) (internal quotations omitted); Cotromano v.

  United Techs. Corp., 7 F. Supp. 3d 1253, 1257-58 (S.D. Fla. 2014) (“demonstration of a license

  for radioactive materials is not a prerequisite to federal jurisdiction under the plain language of

  the [PAA.]”); Carey, 60 F. Supp. 2d at 804 (rejecting argument to limit PAA to release from a

  facility that is licensed by the NRC and covered by an indemnification agreement).

          Plaintiffs rely on a 2001 decision out of the Northern District of Florida for their

  “license” argument. That case, Samples v. Conoco, Inc., 165 F. Supp. 2d 1303 (N.D. Fla. 2001)

  deals primarily with the Comprehensive Environmental Response, Compensation, and Liability

  Act of 1980 (“CERCLA”), 42 U.S.C. § 9601, et seq. The PAA is discussed only in a few

  paragraphs at the end of the fourteen-page opinion. 165 F. Supp. 2d at 1320-21. The Third

  Circuit held Samples is “unpersuasive” regarding PAA jurisdiction. Estate of Ware II, 871 F.3d

  at 282 n. 7.

                 ii.     An Indemnification Agreement is Not a Prerequisite to PAA Jurisdiction

          Nor does the PAA limit itself to parties to indemnification agreements. The Act provides

  that a “person indemnified” by the licensee and the federal government is “the person with

  whom an indemnity agreement is executed or who is required to maintain a financial protection,




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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 338
                                                            Page:   of 18
                                                                  8 of 903PageID
                                                                           PageID#:#:1959
                                                                                      2019




  and any other person who may be liable for public liability.” 42 U.S.C. § 2014(t) (emphasis

  added). If only those with an indemnification agreement could be sued for public liability, then

  Congress’ express directive that indemnification extends to “and any other person who may be

  liable for public liability” would be superfluous because no other person could be liable. The

  entire bolded clause, above, would mean nothing.

          Federal courts have held the Act’s plain meaning indicates the PAA is not limited to

  parties to indemnification agreements. The Fifth Circuit Court of Appeals wrote, “There is

  nothing in the definition of ‘nuclear incident’ which suggests it should be contingent

  on…whether the facility is covered under the separate indemnification portions of the Act.”

  Acuna, 200 F.3d at 339. See also Estate of Ware I, 73 F. Supp. 3d at 530-31 (adopting analysis of

  courts “which have concluded that possession of…an indemnification agreement is unrelated to

  establishing jurisdiction under PAA”); Cotromano, 7 F. Supp. 3d at 1259 (“Whether or not

  Defendants have indemnification agreements with the federal government is not dispositive of

  the applicability of Price-Anderson”); Carey, 60 F. Supp. 2d at 806 (“there can be an

  [extraordinary nuclear occurrence] to which no indemnity agreement applies.”).

          Plaintiffs rely heavily on a 1998 Magistrate Judge’s ruling from the District of New

  Jersey to argue that an indemnification agreement is a prerequisite to public liability. Doc. No.,

  123-1 at 8-9 (citing Gilberg v. Stepan Co., 24 F. Supp. 325 (D.N.J. 1998)).4 Gilberg found an

  indemnification agreement was a jurisdictional requirement based on its misunderstanding of the

  definition of “occurrence.” See 24 F. Supp. 2d at 331-40. The Gilberg court limited

  “occurrence” to the more narrowly defined “extraordinary nuclear occurrence,” and failed to

  give the term its broad, ordinary meaning. See id. at 331-32, 339-40.

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            Plaintiffs also cite Joseph v. Sweet, 125 F. Supp. 2d 573 (D. Mass 2000). Joseph addresses
  indemnification agreements only in passing, relying on Gilberg without its own unique reasoning.



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                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     129Filed: 01/28/22
                                           Filed: 04/10/18Page: 339
                                                            Page:   of 18
                                                                  9 of 903PageID
                                                                           PageID#:#:1960
                                                                                      2020




          As a District Court in the Northern District of Illinois held, “There are, in fact, numerous

  problems with the path Gilberg takes.” Carey, 60 F. Supp. 3d at 806. The critical flaw in the

  Gilberg reasoning is its determination that “occurrence,” as used in the definition of “nuclear

  incident,” should be equated with the more narrow term “extraordinary nuclear occurrence.” See

  id. at 332. As if to highlight the confused and confusing nature of the opinion, the Magistrate

  Judge candidly admitted his “path to this result is not entirely self-evident[.]” Id. at 340.

          Gilberg’s analysis (and Plaintiffs’ arguments here) was expressly rejected by the Third

  Circuit last September. In Estate of Ware II, 871 F.3d at 283, the Third Circuit held, “What

  Gilberg misses is that ‘one purpose behind the 1988 amendments was to expand the scope of

  federal jurisdiction beyond actions arising from extraordinary nuclear occurrences[.]’” (quoting

  Acuna, 200 F.3d at 339). The court found Gilberg’s attempts to reintroduce the limitations of

  “extraordinary nuclear occurrence” into the 1988 amendments to be contrary to Congressional

  intent. Id.

          Other federal courts are in accord. The Fifth Circuit in Acuna, 200 F.3d at 339, noted

  case law refuting the arguments made in Gilberg. District Courts in the Eleventh and Seventh

  Circuits have also disagreed with Gilberg. Cotromano, 7 F. Supp. 3d at 1258 (“A plain reading

  of the [PAA] contradicts the Gilberg court’s flawed reasoning”); Carey, 60 F. Supp. 2d at 807

  (criticizing Gilberg for its “use of a narrowing term to restrict what was obviously intended to be

  a broader term,” selective application of statutory construction, and a reading that is “at odds

  with Congress’ intent when it enacted the Amendments Act”).

                 iii.    Strong Does Not Bind This Court

          Plaintiffs also focus on Strong v. Republic Servs., No. 4:17CV1645JCH, 2017 U.S. Dist.

  LEXIS 173951 (E.D. Mo. Oct. 20, 2017), to challenge jurisdiction under the PAA. Strong




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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:340
                                                                10 of
                                                                   of 903 PageID#:#:1961
                                                                      18 PageID      2021




 reviewed the above PAA case law, but then focused on the flawed rationale in Gilberg, which

 has been the subject of repeated criticism. In particular, Strong fell into a lengthy Gilberg-esque

 discussion about how jurisdiction under the PAA is affected by the terms “extraordinary nuclear

 occurrence,” “nuclear incident,” and indemnification agreements. 2017 U.S. Dist. LEXIS 173951

 at *17-30. Consequently, the path to the result in Strong, like Gilberg, is not entirely self-

 evident.5

         As discussed above, before the 1988 amendments to the Act, “extraordinary nuclear

 occurrence” was the critical requirement which afforded automatic federal jurisdiction under the

 PAA. In the 1988 amendments, federal jurisdiction was redrawn to cover any “nuclear

 incident,” which is defined more broadly than the old “extraordinary nuclear occurrence.” The

 Gilberg court struggled with this concept and Strong seems to have followed. As the Fifth

 Circuit held in Acuna when plaintiffs there attempted to follow a Gilberg-like line of thought,

 “attempts to reintroduce the limitations of ‘extraordinary nuclear occurrence’ into the 1988

 amendments’ substitution of ‘nuclear incident’ rely on faulty statutory interpretation and are

 contrary to Congressional intent.” 200 F.3d at 339. Strong, like Gilberg, failed to follow the

 plain language of the statute.

         Perhaps Strong’s most glaring misstep is in its use of part of the legislative history for the

 1957 amendments to the Atomic Energy Act to reach the mistaken conclusion that “the terms

 ‘nuclear incident’ and ‘occurrence’ are inextricably intertwined with ‘licenses’ and

 ‘indemnification agreements,’ thus suggesting…there cannot be a nuclear incident without an

 applicable license or indemnity agreement.” 2017 U.S. Dist. LEXIS 173951 at *28. It was

 ultimately on this basis that the Strong court found against PAA jurisdiction.

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          Because Defendants’ removal in Strong was based on federal question jurisdiction under the PAA, the
 subsequent remand was not appealable. As a result, Defendants had no avenue for relief at that time.



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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:341
                                                                11 of
                                                                   of 903 PageID#:#:1962
                                                                      18 PageID      2022




        There are two reasons why this conclusion is demonstrably incorrect. First, as discussed

 supra, the plain language of the PAA provides that a “person indemnified” is “the person with

 whom an indemnity agreement is executed or who is required to maintain a financial protection,

 and any other person who may be liable for public liability.” 42 U.S.C. § 20147(t) (emphasis

 added). There is no need to peer 60 years into the past to understand the meaning of this

 unambiguous languageespecially when the intervening decades had witnessed critical

 amendments to the Act.

        Second, if the Strong court had simply read one paragraph further in the legislative

 history, the error in its conclusion would have been revealed:

        The definition “person indemnified” means more than just the person with
        whom the indemnity agreement is executed….The phrase “person indemnified”
        also covers any other persons who may be liable….[I]t is not meant to be limited
        solely to those who may be found liable due to their contractual relationship
        with the licensee. In the hearings, the question of protecting the public was raised
        where some unusual incident, such as negligence in maintaining an airplane
        motor, should cause an airplane to crash into a reactor and thereby cause damage
        to the public. Under this bill the public is protected and the airplane company can
        also take advantage of the indemnification and other proceedings. The proposed
        AEC limitation to those in privity with the licensee was reconsidered by the
        Commission, and the Commission decided to accept the premise of the original
        bills which would make the person indemnified any person who might be found
        liable, regardless of the contractual relation.

 S. REP. NO. 85-296 (May 9, 1957), reprinted in 1957 U.S.C.C.A.N. 1803, 1818 (1957)

 (emphasis added) (a true and accurate copy of which is attached as Exhibit 1). In other words,

 contrary to the Strong decision, even the legislative history confirms that no indemnity

 agreement is necessary.

        Simply put, whether the conduct alleged by Plaintiffs is a licensed activity or not, or by a

 NRC licensee or not, and whether any indemnification agreement applies or not, has no bearing

 on whether the PAA applies and supplies jurisdiction to this Court because none of these




                                                 10
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:342
                                                                12 of
                                                                   of 903 PageID#:#:1963
                                                                      18 PageID      2023




 conditions is used to define “occurrence” or, therefore, a “nuclear incident” following the 1988

 amendment. Because Plaintiffs seek redress for a nuclear incident, the PAA applies and all state

 law causes of action are completely preempted. Accordingly, Plaintiffs’ Motion should be

 denied.

           C.     Plaintiffs Misrepresent Defendants’ Statements in Adams

           Defendants have not “judicially admitted” the PAA does not apply to them. See Doc. No.

 123-1 at 10. Adams v. MI Holdings, Inc. (Eastern District of Missouri Case No. 4:12-cv-00641)

 named only Defendants Rock Road and Bridgeton, and not Republic or Allied. The Adams

 Complaint incorrectly alleged “Defendants or their predecessors and/or agents have at all

 relevant times held such federal [Nuclear Regulatory Commission] licenses.” Case No. 4:12-cv-

 00641, Doc. No. 1 ¶ 65. A PAA claim was alleged based upon the possession of these licenses

 and activities in which Defendants Rock Road and Bridgeton were never involved. Id. ¶¶ 63-69.

           In Defendants Rock Road and Bridgeton’s Memorandum in Support of Motion to

 Dismiss (Doc. No. 15), Rock Road and Bridgeton refuted the specific allegations appearing in

 the Adams Complaint and the purported effect of those allegations. Rock Road and Bridgeton

 did not make a general statement of PAA applicability. Rock Road and Bridgeton’s Reply

 Memorandum (Doc. No. 65) specifically addressed the argument Plaintiffs make here, stating:

           It was not the intent of Rock Road and Bridgeton Landfill to argue that non-NRC
           licensees like defendants Rock Road and Bridgeton Landfill could not ever be
           subject to public liability actions under the Price-Anderson Act. Rather,
           defendants simply state that the allegations contained in Count One of the
           Complaint, as a matter of fact and by the Complaint’s own terms, do not apply to
           defendants Rock Road and Bridgeton Landfill.

 Case No. 4:12-cv-00641, Doc. No. 65 at 12.

           The Adams Motion to Dismiss argued against the exact allegations asserted by those

 plaintiffs. As clarified in the Reply Memorandum, the Adams plaintiffs failed to properly allege



                                                 11
                                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:343
                                                                13 of
                                                                   of 903 PageID#:#:1964
                                                                      18 PageID      2024




 a PAA claim against Rock Road and Bridgeton because of the specific wording of that

 Complaint. By contrast, the instant lawsuit is unquestionably a public liability action alleging a

 nuclear incident, bringing it within the ambit of the PAA and preempting the state law claims. In

 failing to include Defendants’ clear statement from the Adams Reply Memorandum, Plaintiffs

 misrepresent the pleadings and Defendants Rock Road and Bridgeton’s position in that case.

 IV.     The Daileys’ Lawsuit Should Not Be Remanded Because These Claims Are PAA

         A.       Cotter’s 1969 Source Material License Applies

         Fundamentally, this case concerns radioactive materials that were allegedly handled,

 transported, disposed of and possessed by Cotter as a licensee of the Atomic Energy Commission

 (“AEC”). The Daileys allege the material at the West Lake Landfill originated from a storage

 site on Latty Avenue in Hazelwood, Missouri (the “Latty Avenue Site”), and that the movement

 and disposal of the material at the Landfill resulted in contamination of their property. Doc. No.

 70 ¶¶ 43-46, 94. The material and activities at the Latty Avenue Site were covered by Source

 Material License No. SUB-1022, issued to Cotter by the AEC (the “Cotter License”). Doc. No.

 64-1 (Feingold Decl.) ¶ 5, Ex. D.6 Handling, processing, and movement (including off-site

 disposition) of the radioactive material located at the Latty Avenue Site was activity the license

 not only contemplated but required of the licensee, Cotter. Further, in support of its application

 for termination of the license, Cotter certified that the material had been disposed of in

 accordance with federal law. Letter from Edward J. McGrath to W. Burkhardt (May 10, 1974),

 enclosing Certification of Status of Source Material Activities (“Application for Termination”), a

 true and accurate copy of the relevant portion of which is attached as Exhibit 3. The license was

         6
             The Feingold Declaration (Doc. No. 64-1) describes and attaches Source Material Licenses issued
 between 1963 and 1969 by the Atomic Energy Commission for radioactive material stored and activities performed
 at the St. Louis Airport Site (“SLAPS”) and the Latty Avenue Site. Doc. No. 64-1, ¶¶ 1-5, Ex. A-D. For ease of
 reference, Defendants have attached a true and accurate copy of the Feingold Declaration (and exhibits referenced
 therein) as Exhibit 2 to this Response.



                                                        12
                                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:344
                                                                14 of
                                                                   of 903 PageID#:#:1965
                                                                      18 PageID      2025




 terminated by the AEC in reliance on Cotter’s Certification and Application for Termination

 (among other things). See Feingold Decl. (Exhibit 2) ¶ 6, Ex. E. Thus, Cotter’s disposal of

 material at the West Lake Landfill arose from a licensed activity, and the Cotter License is

 inextricably part of Plaintiffs’ claim of property damage.

             Contrary to Plaintiffs’ description, Strong did not hold that the Cotter License did not

 apply to the waste at the West Lake Landfill. Judge Hamilton did not feel the license would

 extend to uranium mill tailings, but declined to decide if the material deposited at the Landfill

 was, in fact, uranium mill tailings. In fact, she pointed out the Defendants “do not specifically

 acknowledge, nor does the record reflect that, the material deposited at the Landfill[]

 was…uranium mill tailings.”7 Strong, 2017 U.S. Dist. LEXIS 173951 at *32. In other words, the

 section of Judge Hamilton’s opinion quoted by Plaintiffs addresses a mere hypothetical, and

 there was no finding that mill tailings were placed in the Landfill.

             B.         State Law Claims Are Preempted

             The absence of a proposed amended complaint makes it difficult to predict precisely how

 Plaintiffs seek to change their case, other than to simply reinstate their original pleading in this

 action, notwithstanding the intervening 18 months of amendment and procedural

 history. Regardless, however, it is clear from their Motion that they intend to base it on the same

 allegations of exposure to radioactive waste from the West Lake Landfill or from transport of the

 material to the Landfill that has been at the center of the case since its initial filing in November

 2016. Regardless of how Plaintiffs now characterize their claims, they effectively allege a

 “public liability action” because they assert Defendants are liable for alleged property damage

 due to the hazardous properties of radioactive material. See McClurg, 933 F. Supp. 2d at 1186

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                 Significantly, Defendants have denied, and continue to deny, that mill tailings were deposited at the
 Landfill.



                                                                13
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:345
                                                                15 of
                                                                   of 903 PageID#:#:1966
                                                                      18 PageID      2026




 (public liability action “is a suit in which a party asserts that another party bears any legal

 liability arising out of an incident in which the hazardous properties of radioactive material

 caused…property damage.”).

        This Court has already found such allegations are “undoubtedly” public liability actions

 under the Price-Anderson Act. Doc. No. 89 at 15 (“The Court notes that almost every paragraph

 of the amended complaint in these two state-law counts mentions the radioactive

 contamination….Undoubtedly, these allegations fall under the PAA’s definition of ‘nuclear

 incident…’”). Even if all of the references to the PAA are removed from the Complaint, this

 will remain a PAA case under the exclusive jurisdiction of this Court.

 V.     Amendment at This Time Is Untimely and Prejudicial

        If Plaintiffs intend to add to, amend, amplify, revise, or in any other way change their

 claims, then the Motion should be denied because they have not provided the Court a proposed

 amended complaint. While Rule 15 does not require a party to provide a copy of a proposed

 amended complaint and the Local Rules are silent, this District has ruled that a party must submit

 the proposed amendment along with its Motion, or at least give “some indication as to what

 might be added to the complaint to make it viable.” Grace v. Wallace, 2016 U.S. Dist. LEXIS

 104652 August 9, 2016) (citing Clayton v. White Hall School Dist., 778 F.2d 457, 460 (8th Cir.

 1985)); Wolgin v. Simon, 722 F.2d 389, 395 (8th Cir. 1983); see also Geier v. Mo. Ethics

 Comm’n, 715 F.3d 674 (8th Cir. 2013) (particularity requirement of Fed. R. Civ. P. 7(b) is met

 by supplying the Court with the proposed amendment along with the motion.).

        The Court should deny the Motion because it has not been informed in any detail what

 the proposed amended complaint would claim. The only “indication” Plaintiffs have provided is

 the vague statement: “eliminate the erroneous PAA claims and reinstate the state law claims[.]”




                                                   14
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:346
                                                                16 of
                                                                   of 903 PageID#:#:1967
                                                                      18 PageID      2027




 Doc. No. 123 at 5. Plaintiffs have not made clear whether they have an alternative basis for state

 court claims, additional facts for state court claims, additional parties to add, or any other detail.

 Defendants are severely prejudiced by the absence of specificity in the motion. Plaintiffs’ bare

 conclusions are inadequate.

        Further, Plaintiffs’ request is tantamount to a motion for dismissal under Rule 41.

 Defendants adopt and incorporate by reference the arguments made by Defendant Cotter

 regarding Rule 41.

        A restructuring of Plaintiffs’ claims at this late date would prejudice Defendants by

 eliminating eighteen months of work. This case was originally filed in Missouri state court in

 November 2016. Since then, Defendants have removed the case, opposed a motion to remand,

 filed two motions to dismiss, filed answers to Plaintiffs’ complaints, appeared before the Court,

 exchanged written discovery, participated in meet and confers, and actively engaged in discovery

 discussions. The depositions of Plaintiffs Robin and Michael Dailey are scheduled for April

 17th and 18th. The deposition of Marco Kaltofen, who coordinated testing of samples at the

 Dailey property, is set for April 20th. Defendants are diligently trying to serve a subpoena upon

 Lucas Hixson who is believed to have collected samples at the Dailey property.8 The Court’s

 June 4th dispositive motion deadline is not far in the distance. A complete reversal of the claims

 in this case, going back to the original pleading filed in state court, would render useless the

 substantial work and expense already devoted to the defense over nearly 18 months.




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            Defendants have reason to believe Mr. Hixson is actively avoiding service of a subpoena.



                                                         15
                                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    129 Filed:
                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:347
                                                                17 of
                                                                   of 903 PageID#:#:1968
                                                                      18 PageID      2028




 VI.      The Case Management Order Should Not Be Amended and Discovery Should Not

          Be Stayed

          Plaintiffs are again asking the Court to reconsider its Case Management Order (“CMO”)

 more than thirteen weeks after its entry.9 The parties had the opportunity to discuss case

 management at the Court’s December 15, 2017 Rule 16 conference. The Court was aware of the

 applicable law and representations by Plaintiffs’ counsel when it entered the CMO on January 2,

 2018. The Order’s scope is proper and satisfies Rule 26(b)’s requirement that discovery be

 limited to matters “relevant to any party's claim or defense and proportional to the needs of the

 case[.]” If Plaintiffs’ property lacks sufficient proof of contamination, there is no case.

          Similarly, discovery should not be stayed while the Court considers this Motion.

 Discovery has already been delayed on Plaintiffs’ request. Doc. Nos. 102, 119. Plaintiffs’

 depositions are now set for April 17 and 18. The Motion does not offer any justification for

 staying discovery. Plaintiffs’ attempt to further delay the case should not be indulged.

 VII.     Conclusion

          Plaintiffs cannot disregard their own claims. The Price-Anderson Act still applies despite

 the fact their current counsel (evidently) no longer likes the case Plaintiffs filed. A (nominal)

 change of representation does not justify an about-face eighteen months into litigation.

          Although the Court’s analysis and Defendants’ response is hampered by Plaintiffs’

 failure to attach a proposed amended pleading, Plaintiffs’ legal arguments in the Motion are not

 supported by the PAA’s plain language or interpreting case law. Neither a license nor an

 indemnification agreement is a jurisdictional prerequisite to application of the PAA. Further, a

 license is at the origin of this case because the disposition of material at the West Lake Landfill

          9
            Notably, Plaintiffs have already made a request to the Court for modification of the CMO during the
 status conference set at their request on March 5, 2018. At that time, the Court granted Plaintiffs’ request for
 additional time, but denied their attempt to change the remaining requirements contained in the CMO.



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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
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                                         Filed:01/28/22
                                                04/10/18 Page:
                                                          Page:348
                                                                18 of
                                                                   of 903 PageID#:#:1969
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 occurred during the pendency of the Cotter License. Plaintiffs’ case arises under the PAA. This

 case should continue under the allegations and causes of action Plaintiffs made in the operative

 Complaint.



 Dated: April 10, 2018                               Respectfully submitted,


                                                     /s/ Robert G. Rooney
                                                     William G. Beck (26849MO)
                                                     Robert Rooney (43381MO)
                                                     Allyson E. Cunningham (64802MO)
                                                     2345 Grand Boulevard, Suite 2200
                                                     Kansas City, Missouri 64108-2618
                                                     (816) 292-2000 (telephone)
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                                                     wbeck@lathropgage.com
                                                     rrooney@lathropgage.com
                                                     acunningham@lathropgage.com

                                                     Patricia Lehtinen Silva (67213MO)
                                                     Pierre Laclede Center
                                                     7701 Forsyth Boulevard, Suite 500
                                                     Clayton, Missouri 63105
                                                     (314) 613-2800 (telephone)
                                                     (314) 613-2801 (facsimile)
                                                     psilva@lathropgage.com

                                                     ATTORNEYS FOR DEFENDANTS
                                                     BRIDGETON LANDFILL, LLC,
                                                     REPUBLIC SERVICES, INC.,
                                                     ALLIED SERVICES, LLC, and
                                                     ROCK ROAD INDUSTRIES, INC.



                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 10, 2018, I electronically filed the foregoing document via
 the Court’s CM/ECF system, which will serve notice on all counsel of record.

                                                     /s/ Robert G. Rooney




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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                          Filed:       Page:
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                                                          Page:          PageID#:#:1970
                                                                      3 PageID      2030




                          Exhibit 1
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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                          Filed:       Page:
                                                 04/10/18    3502ofof903
                                                          Page:          PageID#:#:1971
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                                    ATOMIC ENERGY


                ATOMIC ENERGY ACT OF 1954—AMENDMENT
                                  For text of Act see p. 629

              Senate Report No. 296, May 9, 1957 [To accompany S. 2051]
             House Report No. 435, May 9, 1957 [To accompany H.R. 7383]
             The House bill was passed in lieu of the Senate bill, but with
                 Senate amendments. The Senate Report is set out.

                                  Senate Report No. 296

         MHE Joint Committee on Atomic Energy, having considered the subject
         matter of the amendment to the Atomic Energy Act of 1954 to protect the
         public by providing governmental indemnity and granting limitation of
         liability for persons in the atomic energy program, by establishing the
         Committee on Reactor Safeguards as a statutory committee, and by re-
         quiring publication of its safety reports and public hearings on certain
         facility license applications, report an original bill S. 2051 and recommend
         that the bill do pass.
                                      BACKGROUND
            When the Atomic Energy Act of 1954 was passed, it was the hope of
         Congress that the provisions in the laws liberalizing the statutory restric-
         tions which had hitherto given the Government a monopoly in the atomic
         energy field would encourage the entrance of private industry into the
         program, and speed the further development of the peaceful uses of atomic
         energy.
            It was brought to the attention of the Joint Committee in the 1956 hear-
         ings, which the Joint Committee is required to hold under section 202 of
         the Atomic Energy Act of 1954, that the problem of possible liability in
         connection with the operation of reactors is a major deterrent to further
         industrial participation in the program. While the 202 hearings held in
         1957 indicate that it may not be the most important deterrent—that appears
         to be the current lack of economic incentive—the problem of liability has
         become a major roadblock.
            The Joint Committee held hearings on this problem in May and June last
         year. At that tune it considered proposals which had been drawn up in
         the committee and the Atomic Energy Commission. It voted out the com-
         mittee version, but these bills were not brought up for debate on the floor
         of either House. This year the committee bills were again introduced and
         further hearings were held on them. The Atomic Energy Commission sug-
         gested a number of amendments to the committee bills. The Commission
          recommendations are incorporated in the record of the hearings for 1957.

                        SAFETY OF REACTOR OPERATIONS
           The Atomic Energy Commission reports that—
               Nuclear reactors have been operated in the United States since De-
             cember 2, 1942, with a safety record better than that of other industry.
             More than 100 reactor-years of regular operating experience have
             been accumulated, including experience with reactors of high power
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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                   129-1     01/28/22
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                                    LEGISLATIVE HISTORY

             NELIA insurance policy. The indemnification agreements are intended to
             cover damages caused by nuclear incidents for which there may be liability
             no matter when the damage is discovered, i. e., even after the end of the
             license. That is why the definition of "nuclear incident" has the phrase
             "any occurrence * * * causing bodily injury, sickness, disease, or
             death" and why the definition of "public liability" is tied to "any legal
             liability arising out of, or resulting from, a nuclear incident * * *."
             The suggested limitation to the loss of the use of property when evacuated
             under order of public authority was not accepted as being too limiting an
             exception. However, it is not the intention of the committee to have
             the damage to property which is included in the term "nuclear incident"
             include the diminution in value or other similar causes of action which may
             occur, namely, from the location of an atomic energy activity at a particular
             site.
                The definition "person indemnified" means more than just the person with
             whom the indemnity agreement is executed. In the case of license this
             agreement will be executed with the licensee. Where the Commission and
             a contractor decide to take advantage of the provisions of this act, an
             indemnity agreement will be executed with the prime contractor. The
             phrase "person indemnified" also covers any other persons who may be
             liable. For a licensee for a reactor, this would mean in addition to the
             licensee that the indemnification extends to such persons as the subcon-
             tractors of the licensee, including those responsible for the design and
             construction of the reactor and the supplying of parts. However, it is not
             meant to be limited solely to those who may be found liable due to their
             contractual relationship with the licensee. In the hearings, the question of
             protecting the public was raised where some unusual incident, such as
             negligence in maintaining an airplane motor, should cause an airplane to
             crash into a reactor and thereby cause damage to the public. Under this
             bill the public is protected and the airplane company can also take advan-
             tage of the indemnification and other proceedings. The proposed AEC
             limitation to those in privity with the licensee was reconsidered by the
             Commission, and the Commission decided to accept the premise of the
             original bills which would make the person indemnified any person who
             might be found liable, regardless of the contractual relation.
                 One point mentioned several times in the hearings related to the possible
              liability of a carrier transporting spent fuel elements from a reactor to a
              processing plant. If such a company, whether through negligence or other-
              wise, should have an accident which would spill the radioactive materials
              into a stream, this bill would afford protection to the public and to the
              carrier, even though the carrier is not required to be a licensee under the
              Atomic Energy Act of 1954. However, those transmitting the material
              are required to be licensees and to see that appropriate safety measures are
              taken during the shipment. The Atomic Energy Commission has had ex-
              tensive experience in shipping radioactive materials back and forth across
              the country without any of these possible incidents having yet occurred.
              Having the agreement run to the benefit of any other person who may be lia-
              ble will parallel the policies which the insurance companies are planning to
              issue. They, too, will be entered into with the licensee or prime contractor
              and will run for the benefit of any other person who may be liable. This
              method of approach was suggested by the insurance companies since they

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Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
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                                 129-2      01/28/22
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                         Exhibit 2
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                                         Filed:        Page:
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                                                         Page:    of903 PageID#:
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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


 MICHAEL DAILEY and ROBBIN DAILEY,
                                                         Case No. 4:17-cv-00024
                                Plaintiffs,
                                                         DECLARATION OF STEPHANIE R.
          v.                                             FEINGOLD, ESQ. IN OPPOSITION
                                                         TO PLAINTIFFS’ MOTION TO
 BRIDGETON LANDFILL, LLC, REPUBLIC                       REMAND TO STATE COURT
 SERVICES, INC., ALLIED SERVICES, LLC,
 ROCK ROAD INDUSTRIES, INC., MI
 HOLDINGS, INC., MALLINCKRODT, INC.,
 COTTER CORPORATION,
 COMMONWEALTH EDISON COMPANY, and
 EXELON CORPORATION,

                                Defendants.


 Stephanie R. Feingold, of full age, hereby declares as follow:

          1.      I am a partner with the law firm of Morgan, Lewis & Bockius LLP, attorneys for

 Defendant Cotter Corporation (N.S.L.) (“Cotter”) (improperly named as Cotter Corporation), and

 have been admitted pro hac vice to represent Cotter in connection with this matter. As counsel

 for Cotter, I am fully familiar with the facts set forth herein and make this Declaration based on

 personal knowledge.

          2.      Attached hereto as Exhibit A is a true and correct copy of Source Material

 License No. SMA-862, issued by the Atomic Energy Commission on February 14, 1966, to

 Continental Mining & Milling Company.




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      4:17-cv-00024-CDP Doc.
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                                         Filed:        Page:
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           3.     Attached hereto as Exhibit B is a true and correct copy of Source Material License

 No. SMB-654, issued by the Atomic Energy Commission on December 31, 1963, to

 Contemporary Metals Corporation.

           4.     Attached hereto as Exhibit C is a true and correct copy of Source Material License

 No. SMC-907, issued by the Atomic Energy Commission on December 29, 1966, to Commercial

 Discount Corporation.

           5.     Continental Mining & Milling Co., Contemporary Metals Corporation, and

 Commercial Discount Corporation were prior licensees of the radioactive materials stored at St.

 Louis Airport Site and the Latty Avenue Site, for which Cotter was granted a source material

 license in 1969. Attached hereto as Exhibit D is a true and correct copy of Source Material

 License No. SUB-1022, issued by the Atomic Energy Commission on December 30, 1969, to

 Cotter.

           6.     Cotter’s source material license remained in effect until the Atomic Energy

 Commission terminated it on November 13, 1974. Attached hereto as Exhibit E is a true and

 correct copy of the November 13, 1974 letter from the Atomic Energy Commission informing

 Cotter of the termination of Source Material License No. SUB-1022.

           7.     Attached hereto as Exhibit F is a true and correct copy of the March 21, 2014

 Letter from the EPA Regional Administrator Karl Brooks to Missouri Attorney General Chris

 Koster.

           8.     Attached hereto as Exhibit G is a true and correct copy of the November 17, 2016

 letter from EPA General Counsel Alyse Stoy to Plaintiffs’ attorneys Richard S. Lewis and Daniel

 T. DeFeo.

           I declare under penalty of perjury that the foregoing is true and correct.



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Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
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                                                04/10/18     3565of
                                                         Page:    of903 PageID#:
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Case:4:22-cv-00116-CDP
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                        Doc.#:
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                                                         Page:    of903 PageID#:
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                          EXHIBIT B
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Case:
Case: 4:22-cv-00116-CDP
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                        Doc. #:
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      4:17-cv-00024-CDP Doc.
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      4:17-cv-00024-CDP Doc.
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                                129-2Filed: 01/28/22
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                        Doc. #:
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                                129-2Filed: 01/28/22
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                                                         Page: 13ofof903
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      4:17-cv-00024-CDP Doc.
                        Doc. #:
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                                129-2Filed: 01/28/22
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Case:
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                                129-2Filed: 01/28/22
                                        Filed: 04/10/18Page: 366
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Case: 4:22-cv-00116-CDP
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                        Doc. #:
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                                129-2Filed: 01/28/22
                                        Filed: 04/10/18Page: 367
                                                         Page: 16ofof903
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Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
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                                129-2Filed: 01/28/22
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Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
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                                129-2Filed: 01/28/22
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      4:17-cv-00024-CDP Doc.
                        Doc. #:
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                                129-2Filed: 01/28/22
                                        Filed: 04/10/18Page: 371
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Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
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                                        Filed: 04/10/18Page: 372
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                                          Filed: 04/10/18Page: 373
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                   UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                  REGION 7
                                          11201 RENNER BOULEVARD
                                               LENEXA, KS 66219

                                                 MAR 2 1 2014
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                                                                                            OFFICE OF
                                                                                   THE REGIONAL ADMINISTRATOR
The Honorable Chris Koster
Attorney General of Missouri
P.O. Box 899
Jefferson City, MO 65102

Dear Mr. Koster:

I valued the opportunity to speak with you last week about the need to ensure continued protection of
public health at the West Lake Superfund site through effective federal-state partnership. The State of
Missouri and the Environmental Protection Agency have been using our respective regulatory and
oversight powers to keep holding the responsible parties to their duties: controlling the SSE at
Bridgeton Sanitary Landfill, separating the West Lake Landfill from the SSE, and completing selection
and implementation of a protective long-term Superfund remedy at West Lake.

As we discussed, Region 7's team of experts continues taking several decisive actions at the West Lake
Superfund site. The EPA intends soon to conclude an agreement with the United States Army Corps of
Engineers to enlist Corps construction expertise for the isolation barrier to separate West Lake from the
SSE. I will keep you and the Missouri Department of Natural Resources closely informed about the
status of this project. And I concur with your recommendation that you and I promptly take that
opportunity to inform the community about isolation barrier construction activities before they begin.

EPA's jurisdiction under the Comprehensive Environmental Response, Compensation, and Liability
Act, also known as Superfund, covers release of hazardous substances wherever they have come to be
located. EPA is committed to taking actions that compel the West Lake/Bridgeton PRPs to bear the
costs legally required to contain and manage radiologically impacted material (RIM) resulting from the
disposal of leached barium sulfate, regardless of where it is located at the site.

EPA's jurisdiction extends to wherever hazardous substances are located within the landfill complex.
We will of course, closely cooperate with your office and the MDNR to align CERCLA work with PRP
duties compelled by your Order at Bridgeton. I assure you that EPA work at the West Lake/Bridgeton
NPL site will respect state authority while ensuring consistent site evaluations and appropriate allocation
of federal and state responsibilities.

The Order your Office established in the Circuit Court of St. Louis County exercised State
environmental-protection authorities which EPA considers complementary to our CERCLA powers.
The State's lead in compelling the PRPs to control the subsurface smoldering event better enables this
agency to compel the PRPs to isolate Bridgeton's SSE from West Lake. I believe that continuing to
coordinate state and federal work will best accomplish our mutual goal to keep the public protected from
environmental contaminants and nuisances, no matter their origin within the NPL site.



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                                          Filed: 04/10/18Page: 374
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We will continue to coordinate and communicate with you and your colleagues in the State of Missouri
as we work to accomplish our shared goal of protecting the health of all Missourians.




                                                  Karl Brooks
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Case:
Case: 4:22-cv-00116-CDP
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                         UNITED STATES ENVIRONMENTAL          PROTECTION       AGENCY
                                            REGION 7
                                           11201 Renner Boulevard
                                           Lenexa, Kansas 66219
  PRO"^




                                             NOV 1 7 2016

ADVANCE COPY VIA ELECTRONIC                      MAIL

Richard S. Lewis
Hausfeld, LLP
1700 K Street, NW
Suite 650
Washington, DC 20006

Daniel T. DeFeo
DeFeo & Kolker, LLC
1627 Main Street, Suite  801
Kansas City, Missouri 64108

          RE:    Request for Data

Dear Counsel:

On November 15, 2016,         the  U.S.   Environmental    Protection provided
                                                                             Agency
                                                                                a copy of (EPA)
                                                                                             a
Petition filed by you on behalf of your clients,   Michael
                                                     Robbin Dailey.
                                                              and This Petition       contains  certain
allegations regarding radioactive  contamination   at    the        Dailey's          property,        s
following:

   •      Paragraph 7: "Dusts inside the Dailey Home          shownwere
                                                                     to contain radioactive     Th-230     at levels
          at least two hundred times higherBackground  than    levels..."
   •      Paragraph 12: "Plaintiffs firstlearned that the Dailey Property         was      contaminated      with
          radioactive material in 2016."
   •      Paragraph 90: "The Dailey Property    is contaminated by radioactive     material."
   •      Paragraph 91: "Samples taken on and around the                  Dailey Property
                                                                                      highly elevated
                                                                                                confirm      a
          presence of radioactive particles         in    the      soil     and      dust."
   •      Paragraph 92: "Dust samples from    inside the Dailey Home contain          decay       products     of
          radioactive isotopes U-238..

We have also received your November           16,      2016       letter        to        EPA Region
Hague providing the December       2015      published      journal      article,     Asmap
                                                                                          a            and
public health agency, EPA takes      very      seriously       any        information          that       rela
exposure to hazardous substances,     pollutants     or EPAcontaminants.
                                                               notes that the samples       identified    in
the summary table were   collected     in July        2016,       but       this       information
several months later.



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 Case: 4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                 129-2Filed: 01/28/22
                                         Filed: 04/10/18Page: 377
                                                          Page: 26ofof903 PageID #:
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Page 2

Out of an abundance of        caution,    EPA      is        developing
                                                             sampling of dustsa and plan
                                                                                       soils     at forthe      Dai
home and other areas in Bridgeton.         In order         for      us       to      develop              a
assess the potential for unacceptable         exposure
                                             to radioactive contaminants, EPA needs            the        relevant
that you have. We ask that    immediately
                                   you      provide the        soil  and dust      data
                                                                                     the Dailey
                                                                                             not      just        fro
residence associated with the        allegations      referenced      by       you
                                                                                 any other
                                                                                        in similarthe            Pet
data you possess from nearby residences, businesses       and publicly    accessible        locations          in
will utilize this data to inform the development              of       a    sampling             plan.

Specifically, EPA requests all laboratory       data,       laboratory         reports,         and      any
Plan or other written
                    procedures that describe how      the     samples       analyzed
                                                                             were     andcollected,
                                                                                            validated.
Further, EPA asks thatyou provide documentation identifying        the       specific        locations       wher
collected. Once EPA has an opportunity           to      review        this        collect
                                                                                   data    and and          metho
analyze these samples our Agency         will  determine         the appropriate         next        steps.

EPA continues to emphasize      that our Agency        will     evaluate         all we scientifically
                                                                                           greatly
appreciate your expedited attention    in    providing      this         information.
                                                                                 the allegations
                                                                                               Wein                      un
the Petition have caused great concernyour client
                                              for and others in the         Bridgeton      community,
                                                                                              we                         an
take these concerns seriously.   do
                                 Please
                                    not hesitate to contact me         at     (913)      551-7826      if
questions.


                                                           Sincerely,




                                                           Alyse Stoy,
                                                           Associate Deputy Regional        Counsel
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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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 Case:4:22-cv-00116-CDP
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 Case:4:22-cv-00116-CDP
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 Case:4:22-cv-00116-CDP
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 Case:4:22-cv-00116-CDP
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

  MICHAEL DAILEY, et al.,                          )
                                                   )
                 Plaintiffs,                       )
                                                   )
         vs.                                       )
                                                   )      Case No. 4:17-cv-00024-CDP
  BRIDGETON LANDFILL, LLC, et al.                  )
                                                   )
                 Defendants.                       )


               AMENDED DISCLOSURE OF ORGANIZATIONAL INTERESTS

         Pursuant to Rule 3-2.09 of the Local Rules of the United States District Court for the

  Eastern District of Missouri and Rule 7.1 of the Federal Rules of Civil Procedure, Counsel of

  record for Defendant Rock Road Industries, Inc. hereby discloses the following change

  organizational interests:

         1.      The parent companies of the corporation:

         Effective April 9, 2018, Rock Road Industries, Inc. merged into Bridgeton Landfill, LLC,

  which is a wholly owned subsidiary of Allied Waste North America, LLC, which is a wholly

  owned subsidiary of Allied Waste Industries, LLC, which is a wholly owned subsidiary of

  Republic Services, Inc., a publicly held corporation.

         2.      Subsidiaries not wholly owned:

                 None.

         3.      Any publicly held corporation or company that owns ten percent (10%) or

  more of the corporation’s stock:

                 None.
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4133Filed:
                           Doc.                 01/28/22
                                            Filed: 04/17/18Page: 3862 of
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  Dated: April 16, 2018                      LATHROP GAGE LLP


                                             By: /s/ William G. Beck
                                                 William G. Beck          26849MO
                                                 Peter F. Daniel          33798MO
                                                 Allyson E. Cunningham 64802MO
                                                 2345 Grand Boulevard, Suite 2200
                                                 Kansas City, Missouri 64108-2618
                                                 Telephone:        (816) 292-2000
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                                                 wbeck@lathropgage.com
                                                 pdaniel@lathropgage.com
                                                 acunningham@lathropgage.com

                                                    Patricia Lehtinen Silva 67213MO
                                                    Pierre Laclede Center
                                                    7701 Forsyth Boulevard, Suite 500
                                                    Clayton, Missouri 63105
                                                    Telephone:        (314) 613-2800
                                                    Telecopier:       (314) 613-2801
                                                    psilva@lathropgage.com

                                                    ATTORNEYS FOR DEFENDANTS


                                CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above pleading was served via the U.S. District Court
  ECM/ECF system on all counsel of record, this 16th day of April, 2018.


                                                 /s/ William G. Beck
                                                 An Attorney for Defendants




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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
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                                           Filed: 04/24/18Page: 387
                                                            Page:   of 14
                                                                  1 of 903PageID
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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

   MICHAEL DAILEY, et al.,                             )
                                                       )
          Plaintiffs,                                  )
                                                       )
          v.                                           )         Case No. 4:17 CV 24 CDP
                                                       )
   BRIDGETON LANDFILL, LLC, et al.,                    )
                                                       )
          Defendants.                                  )


  PLAINTIFFS’ REPLY TO DEFENDANTS’ OPPOSITIONS TO PLAINTIFFS’ MOTION
    FOR LEAVE TO AMEND COMPLAINT TO DISMISS PRICE-ANDERSON ACT
  CLAIMS AND REINSTATE STATE LAW CLAIMS, MOTION TO REMAND, MOTION
   TO STAY PENDING DISCOVERY AND ALTERNATIVELY MOTION TO AMEND
                        CASE MANAGEMENT ORDER

    I.   Introduction

         On December 15, 2016, Michael and Robin Dailey filed this action in state court based on

  state law for property damage arising out of the 1973 illegal dumping and continued presence of

  radioactive materials at the Bridgeton/West Lake Landfill. Such actions not only subject

  Defendants to tort liability but could also be considered a felony under 18 U.S.C.A. § 831. Cotter

  (who illegally dumped radioactive materials) and the Landfill Defendants (owners/operators of

  Bridgeton/West Lake Landfill) removed the case. A motion to remand was filed but abandoned

  before adjudication.

         Then, on April 21, 2017, an amended complaint was filed alleging federal jurisdiction

  under the Price Anderson Act (“PAA”). A Rule 16 conference followed and so too did a CMO

  which limited all discovery to radiation levels found on the Daileys’ property. No transcript of that

  conference is available so undersigned counsel has no way of knowing if the Landfill defendants


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 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
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                                           Filed: 04/24/18Page: 388
                                                            Page:   of 14
                                                                  2 of 903PageID
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  disclosed to this court their contrary position in Paulette M. Adams, et al., v. MI Holdings, Inc., et

  al, Case No. 4:12CV641, ECF No.15, where they claimed that “Count One, arising under the Price-

  Anderson Act, is wholly inapplicable to Rock Road and Bridgeton Landfill, as the West Lake

  Landfill is not a nuclear facility subject to licensing by the Nuclear Regulatory Commission” and

  that “the West Lake Landfill and defendants Rock Road and Bridgeton Landfill are not, and have

  not ever been, subject to the Price-Anderson Act.”1 Despite Defendants argument to the contrary,

  Plaintiffs do not see how providing quoted text “misrepresents” their position.

          Also, undersigned counsel has no way of knowing if the Landfill Defendants informed this

  court of Judge Jean C. Hamilton’s October 20, 2017 decision in Strong v. Republic Servs., Inc.,

  2017 WL 4758958 (E.D. Mo. 2017), a case involving the same landfill and same wastes that was

  remanded based on lack of subject matter jurisdiction because the PAA did not apply. It seems

  that Defendants should have since a Motion to Consolidate the Dailey and Strong cases was filed

  by the Landfill Defendants.2 Shortly after the December 15, 2017 Rule 16 conference, the Daileys’

  previous attorneys withdrew in a series of motions with their present attorneys enrolling on January

  16, 2018, February 27, 2018 and March 2, 2018.

          A status conference was held; Plaintiffs sought an extension of the CMO deadlines and a

  discussion of it generally. Defendants argued that Plaintiffs’ counsel, Barry Cooper’s presence in

  the case, meant that no extra time was due. Mr. Cooper’s declaration which outlined his extremely

  limited role was filed. This court granted the extension. The court also stated to proceed with the

  CMO and file a motion to change it. Thus, the present motion which seeks to reinstate the state

  law claims, to remand the case and alternatively to amend to CMO. The reasons are that (1)


  1
    See Exhibit 1 – Defendants Rock Road Industries and Bridgeton Landfill, LLC’s Memorandum in Support of
  Motion to Dismiss; Paulette M. Adams, et al., v. MI Holdings, Inc., et al, Case No. 4:12CV641, ECF No.15 at 2, 3,
  10.
  2
    ECF. Nos. 83, 84 and 87.

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     135Filed: 01/28/22
                                           Filed: 04/24/18Page: 389
                                                            Page:   of 14
                                                                  3 of 903PageID
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  Plaintiffs’ as masters of their complaint wish to pursue their claims under state law; (2) since this

  is a court of limited jurisdiction an adjudication of whether PAA applies or not is required;

  Honorable Judge Jean C. Hamilton has already found that there is no PAA jurisdiction and the

  federal government via the Nuclear Regulatory Commission determined long ago that the NRC

  has no jurisdiction over the byproducts produced when processing source material3; and (3) the

  CMO as currently drafted incorrectly focuses on the Dailey property and not the Latty Avenue

  property which was subject to Cotter’s license.

            In opposition, Defendants claim that they are prejudiced, that the law is in their favor, and

  that undersigned counsel seek to unduly delay and misinform the court. Each of these assertions

  are laid bare below. To be sure, plaintiffs possess the evidence necessary to establish a PAA claim

  and their discovery responses will be supplemented shortly. The Daileys have been forced to spend

  tens of thousands of dollars to acquire this unnecessary evidence. The PAA is complicated and the

  best minds in the field agree with Plaintiffs.4 Finally, prejudice exists in this case but not as

  defendants’ claim.

      II.   The Price-Anderson Act in Not Applicable To This Matter, Despite Plaintiffs’
            Previous Counsel Pleading as Such

               a. Environmental and administrative law expert determined that the Price-
                  Anderson Act is not applicable under these circumstances

            Richard Stewart, an environmental and administrative law expert, has determined that the

  Price-Anderson Act (“PAA”) does not apply under these circumstances. Mr. Stewart has over forty

  years of experience researching and teaching U.S. environmental and administrative law at various



  3
    See Strong v. Republic Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017); See also In the Matter of Envirocare of
  Utah & Snake River All., 56 N.R.C. 53, 2000 WL 34400480 (N.R.C. Dec. 13, 2000); See also Exhibit 2 – Nuclear
  Regulatory Commission letter to the EPA regarding deferral of regulatory oversight to the U.S. Environmental
  Protection Agency for the West Lake Landfill, Bridgeton, Missouri dated June 16, 1995.
  4
    See Exhibit 3 – Declaration of Richard B. Stewart. (April 24, 2018)

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     135Filed: 01/28/22
                                           Filed: 04/24/18Page: 390
                                                            Page:   of 14
                                                                  4 of 903PageID
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  institutions, including Harvard and NYU, and his specialty is nuclear waste regulation and law.

  Mr. Stewart has authored a number of books and articles on nuclear waste regulation and law.

  Further, Mr. Stewart worked as Assistant Attorney General for Environment and Natural

  Resources of the United States Department of Justice.5

           Mr. Stewart has reviewed the history of the radioactive legacy wastes in the St. Louis area

  and has concluded the following as it relates to this lawsuit:

           (1) Plaintiffs claims do not fall within the exclusive jurisdiction of the PAA and
               accordingly may be maintained in Missouri state courts under Missouri state law; 6

           (2) The PAA does not preempt Plaintiffs’ state law trespass and nuisance claims; 7 and

           (3) Assuming arguendo that Plaintiffs’ claims are PAA “public liability” actions, Plaintiffs
               must only prove that radioactive releases from Latty Avenue exceeded federal radiation
               standards at the landfill fencepost; they need not prove exceedances on their property.8

               b. Ware II is not dispositive as to the Price-Anderson Act’s applicability in this
                  matter

           The Defendants rely on Estate of Ware v. Hosp. of the Univ. of Pa., 871 F.3d 273 (3rd Cir.

  2017) (hereinafter “Ware II”) to suggest that our argument is based on defunct or inapplicable law.

  In Ware II, the court held that “we do not decide whether the possession of a license, the intent of

  any nuclear energy release, or the medical use of nuclear material, might affect the Act’s

  applicability to a particular case. We note only that these implicit limitations on the Price-Anderson

  Act’s scope would preclude its applications here.”9 (emphasis added) The court in Ware II

  determined that the PAA applied in that case because the University of Pennsylvania was licensed

  for the same activities that were sued upon. That is not the case here. The Landfill Defendants have



  5
    See Exhibit 3 – Declaration of Richard B. Stewart. (April 24, 2018)
  6
    Id at page 3.
  7
    Id at page 7.
  8
    Id at page 9.
  9
    Estate of Ware v. Hosp. of the Univ. of Pa., 871 F.3d 273 (3rd Cir. 2017)

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     135Filed: 01/28/22
                                           Filed: 04/24/18Page: 391
                                                            Page:   of 14
                                                                  5 of 903PageID
                                                                           PageID#:#:2018
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  no license whatsoever and Cotter’s license does not apply to the wastes at issue. Moreover, even

  if the license applied to the waste at issue, it did not apply to illegal dumping of the material in an

  unlicensed facility. It is also important to note that the Strong decision, which determined that

  jurisdiction is not proper under these circumstances, was decided after the decision in Ware II.

             Moreover, a petition for writ of certiorari was filed in Ware II on December 15, 2017 and

  it was docketed by the Supreme Court on March 12, 2018. The writ of certiorari presents two

  questions: (1) did the District Court err in applying the Price-Anderson Act to a case where

  Petitioner was injured while conducting research at the University of Pennsylvania with

  radioactive materials; and (2) did the District Court err by not remanding the state law claims once

  the Price-Anderson Act claims were voluntarily withdrawn by Petitioner?10 On April 18, 2018,

  this writ of certiorari was distributed for Conference of May 10, 2018.11

                  c. This Court has not determined whether jurisdiction is proper

             Despite Defendants’ assertion that this court has “implicitly” found that it has jurisdiction,

  this Court has never determined whether jurisdiction is proper because Plaintiffs’ Motion to

  Remand was withdrawn before the court ever ruled. While it is true that this Court has determined

  that the PAA preempts all state claims when it is plead, this Court did not determine whether the

  PAA should apply in the first place.

                  d. Like Strong, the NRC has already determined that wastes at issue are not
                     subject to regulation
             Cotter argues that the AEC’s licensure of the materials at issue demonstrates that the AEC

  and later the NRC understood these residues to be subject to their jurisdiction. This is not correct.

  The NRC considered the issue of whether materials produced during processing of source material



  10
       See Exhibit 4 – Ware II Petition for writ of certiorari
  11
       www.supremecourt.gov

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     135Filed: 01/28/22
                                           Filed: 04/24/18Page: 392
                                                            Page:   of 14
                                                                  6 of 903PageID
                                                                           PageID#:#:2019
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  was subject to their jurisdiction concluding that if the actions were taken prior to 1978, they were

  not.

            “In 1978, the Uranium Mill Tailings Radiation Control Act (UMTRCA) [Pub. L. No. 95-

  604] was enacted. As then Chairman Hendrie of the NRC explained to Congress, the agency at the

  time did not have direct regulatory control over uranium mill tailings. The tailings themselves did

  not fall into any category of NRC-licensable material. As of 1978, NRC was regulating tailings at

  active mills indirectly through its licensing of source material milling operations under the Atomic

  Energy Act of 1954 (AEA), largely as a result of the enactment of the National Environmental

  Policy Act (NEPA). Operating uranium mill licenses were conditioned to require proper

  disposition and stabilization for environmental issues after operations had ceased. However,

  tailings were not source material licensable by the NRC. Thus once the underlying source material

  license terminates, there would no longer be a clear basis for regulating the tailings.”12 (emphasis

  added).

               e. Even if it is determined that Cotter’s license applies to the wastes at issue, it
                  certainly does not apply to the illegal dumping of said waste at the West Lake
                  Landfill.
            Based on the language in Cotter’s license, the license was issued “authorizing the licensee

  to receive, possess, and import the source material designated below; to use such material for the

  purpose(s) and at the place(s) designated below; and to deliver or transfer such material to persons

  authorized to receive it in accordance with the regulations in said Part.”13 The source material

  designated in the license is uranium and the location designated is 9200 Latty Avenue. 14 Nothing

  in the license indicates that disposal at the West Lake Landfill was authorized.


  12
     In the Matter of Envirocare of Utah & Snake River All., 56 N.R.C. 53, 2000 WL 34400480 (N.R.C. Dec. 13,
  2000)
  13
     See Exhibit 5 - Stephanie Feingold’s Declaration and attached AEC licenses. Cotter license SUB-1022.
  14
     Id.

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     135Filed: 01/28/22
                                           Filed: 04/24/18Page: 393
                                                            Page:   of 14
                                                                  7 of 903PageID
                                                                           PageID#:#:2020
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          Thus, even if it is determined that Cotter’s “source material” license is determined to apply

  to the wastes at issue, despite the NRC’s conclusion that it did not, Cotter’s license still does not

  apply to this matter because it does not cover the illegal disposal of the wastes at the West Lake

  Landfill, an unlicensed disposal facility. For Defendants to imply otherwise is disingenuous.

  Attached hereto are some non-certified documents from an EPA proceeding wherein Cotter states

  that they have no connection to the West Lake Landfill.15

              f. The broad jurisdictional definition proposed by Defendants would lead to
                 absurd results
          Defendants argue that following the 1988 amendments to the PAA, federal jurisdiction

  exists “over any actions ‘asserting public liability’ arising from a ‘nuclear incident,’ which

  generally includes any ‘occurrence’ causing physical harm [or property damage] resulting from

  the radioactive properties of nuclear materials.” Estate of Ware v. Hosp. of the Univ. of Pa., 871

  F.3d 273, 279 (3d Cir. 2017)

          Applying the PAA to every case involving nuclear material or radiation leads to absurd

  results. Based on Defendants assertions, the PAA covers all nuclear tortfeasors, no matter the

  circumstances. For example, as the Defendants would have it, the PAA applies to the properly

  licensed owner of a nuclear plant as well as the corporate opportunist who forgoes licensing and

  regulations in order to accept nuclear waste at a discount.

          Such an extreme change to the PAA was not Congress’ intent and it is not supported by

  the language of the 1988 amendment. If Congress intended to extend the benefits of the PAA to

  all nuclear wrongdoers, it would have used a word other than “occurrence” to define “nuclear

  incident”. At the very least, Congress would have provided an alternative definition of



  15
    See Exhibit 6 - Cotter Corporation’s responses to EPA’s CERCLA 104(e) Information Requests dated July 12,
  1991 at pages 10, 13, 21, 22.

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 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
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                                           Filed: 04/24/18Page: 394
                                                            Page:   of 14
                                                                  8 of 903PageID
                                                                           PageID#:#:2021
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  “occurrence” to include events that do not take place at a “location” as set forth in an applicable

  indemnity agreement or license. Congress chose to do neither, thus, “occurrence” continues to

  have the same meaning after the amendment that it did before the amendment: an event taking

  place at a location identified in a license or indemnity agreement held by a defendant. This Court

  should resist Defendants’ invitation to depart from the purpose and language of the PAA by

  assigning an interpretation that would have absurd consequences.

  III.     Defendants fail to demonstrate prejudice, in fact, Plaintiffs have been prejudiced

           Defendants argue that this motion should be denied because it would prejudice the

  Defendants. But, Defendants fail to demonstrate what prejudice would result from ensuring that

  jurisdiction is proper. The only prejudice Defendants assert is the delay in brining this motion.

  Delay in seeking to amend, alone, is an insufficient justification to deny leave. Prejudice to the

  nonmovant must also be shown.16 Any prejudice to the nonmoving party must be weighed against

  the prejudice to the moving party by not allowing the amendment. 17 Where the requested

  amendments are based on facts similar to the original complaint, leave is normally granted.18

           If anything, Plaintiffs have been prejudiced in the following ways:

           (1) Defendants attach documents to their oppositions which were not produced based on
               Defendants’ interpretation of the current CMO. Defendants refuse to consider
               producing anything that is related to activities outside of the Plaintiffs’ property.

           (2) Defendants attach a declaration by Stephanie Feingold “authenticating” a number of
               licenses issued by the Atomic Energy Commission. These documents cannot be
               “authenticated” by an attorney for Defendant whose parents likely hadn’t met at the
               time the documents were created.

           (3) The documents “authenticated” by Stephanie Feingold do not add up. Specifically,
               licenses SMB-654, SMA-862 and SMC-907 all list the “source material” as “uranium
               and thorium” and the maximum quantity of “125,00 tons of residues”. The license

  16
      Bell v. Allstate Life Ins. Co., 160 F.3d 452, 455 (8th Cir.1998) (citing Buder v. Merrill Lynch, Pierce, Fenner &
  Smith, Inc., 644 F.2d 690, 694 (8th Cir.1981))
  17
     Id
  18
     Id

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     135Filed: 01/28/22
                                           Filed: 04/24/18Page: 395
                                                            Page:   of 14
                                                                  9 of 903PageID
                                                                           PageID#:#:2022
                                                                                      2076




               issued to Cotter, SUB-1022, lists the “source material” as uranium only and the
               maximum quantity of “unlimited”. The link between Cotter’s license and the alleged
               prior licensees is not explained or understood by a review of the documents. Cotter did
               not have a license for Thorium like the previous licenses and Thorium is a contaminant
               that Plaintiffs complain of. Moreover, each of these licenses refers to an application,
               yet none have been produced. 19

          (4) The issues concerning the PAA are jurisdictional and Plaintiffs are prejudiced by being
              forced to participate in litigation that could get thrown out at any point because there is
              not appropriate jurisdiction.

          (5) Plaintiffs are currently unable to stop the CMO discovery even though it incorrectly
              focuses on the Plaintiffs’ property. Since filing this motion, three several hour
              depositions have taken place, one of them out of state, at a tremendous cost to Plaintiffs.

          The Landfill Defendants argue that Plaintiffs’ should not be permitted to amend the

  complaint because we did not provide some indication as to what might be added to the complaint

  to make it viable. The purpose of Plaintiffs’ motion is not to add claims to make it viable, in fact,

  the purpose of Plaintiffs’ motion is quite the opposite. Moreover, Plaintiffs motion is clear that the

  relief requested is that the PAA claims be dismissed and the state law claims be reinstated.

          Cotter argues that the crux of our motion appears to be that we are entitled to turn back the

  clock to November 16 to eliminate Price Anderson Act (“PAA”) claims and have this matter

  remanded based on the fact that Plaintiffs’ have a new lead attorney. To the contrary, Plaintiffs’

  brought this Motion because the law dictates that result based on lack of jurisdiction. Federal courts

  of limited jurisdiction “possess only that power authorized by Constitution and statute.” 20 All

  doubt must be resolved against federal jurisdiction.21 “If at any time before final judgment it

  appears that the district court lacks subject matter jurisdiction, the case shall be remanded.”22




  19
     See Exhibit 5 – Stephanie Feingold’s Declaration and attached AEC licenses.
  20
     Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377, 114 S. Ct. 1673, 128 L. Ed. 2d 391 (1994).
  21
     In re Prempro Prod. Liab. Litig., 591 F.3d 613, 620 (8th Cir. 2010).
  22
     28 U.S.C.A. § 1447(c).

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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    135 Filed:
                                         Filed:01/28/22
                                                04/24/18 Page:
                                                          Page:396
                                                                10 of
                                                                   of 903 PageID#:#:2023
                                                                      14 PageID      2077




 (emphasis added). “At the threshold of every action asserting liability growing out of a nuclear

 incident, then, there is a federal definitional matter to be resolved: Is this a public liability action?23

  IV.     The parties cannot confer jurisdiction on this Court

          Cotter argues that Plaintiffs’ “effectively abandoned the issues raised in the current motions

 when they withdrew their motion to remand in April 2017 and amended their pleading to assert

 PAA against Defendants.” Contrary to this argument, Plaintiffs’ cannot “effectively abandon” the

 issue of whether jurisdiction is proper.

          “[N]o action of the parties can confer subject-matter jurisdiction upon a federal court.”24

 In other words, “subject-matter jurisdiction, because it involves a court’s power to hear a case, can

 never be forfeited or waived.”25 “Indeed, the independent establishment of subject matter

 jurisdiction is so important that a party ostensibly invoking federal jurisdiction may later challenge

 it.”26

          Here, even though Plaintiffs’ previous attorneys affirmatively invoked the PAA, this Court

 has an “independent obligation to determine whether subject-matter jurisdiction exists, even in the

 absence of a challenge from any party.”27 This court has never determined whether the PAA

 applies in the first place and this is the purpose of Plaintiffs’ Motion.

           V.   Even if it is determined that the PAA applies despite the decision in Strong, the
          current CMO does not address the appropriate standard for breach of the PAA




 23
    In re TMI Litig. Cases Consol. II, 940 F.2d 832, 855 (3d Cir. 1991)
 24
    Ins. Corp. of Ireland, Ltd. v. Compagnie des Bauxites de Guinee, 456 U.S. 694, 702, 102 S.Ct. 2099, 72 L.Ed.2d
 492 (1982).
 25
    United States v. Cotton, 535 U.S. 625, 630, 122 S.Ct. 1781, 152 L.Ed.2d 860 (2002).
 26
    13 Wright & Miller § 3522, pp. 122–23
 27
    Arbaugh v. Y & H Corp., 546 U.S. 500, 514 (2006)

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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                    135 Filed:
                                         Filed:01/28/22
                                                04/24/18 Page:
                                                          Page:397
                                                                11 of
                                                                   of 903 PageID#:#:2024
                                                                      14 PageID      2078




          Cotter argues that discovery should focus on whether Plaintiffs can show the presence of

 radioactive materials in their own home. Similarly, the Landfill Defendants argue that if Plaintiffs’

 property lacks sufficient proof of contamination, there is no case.

          Plaintiffs cite McClurg v. Mallinckrodt, Inc., No. 4:12-CV-00361-AGF, 2017 WL 2929444

 (E.D. Mo. July 7, 2017) to demonstrate that the focus in determining whether a breach of the PAA

 has occurred should be on the “release” of contaminants from the Defendants property. Cotter

 argues that the McClurg decision revolves around claims for personal injury as opposed to property

 damage. Plaintiffs fail to see how this distinction changes the focus in determining whether a

 breach of the PAA has occurred. Moreover, Defendants fail to cite any laws or regulations that

 would demonstrate the appropriate standard for a breach of the PAA. According to the expert, Dr.

 Stewart, the release measurements should be taken from the fencepost of the licensed location,

 here that is the Latty Avenue site.28

  VI.     Despite Defendants’ assertions, undersigned counsel only recently became involved
          in this matter and there has been no undue delay, dilatory motives or bad faith.
          Cotter argues that “sole explanation” for this Motion is that “new” counsel has a different

 litigation strategy and that the “stated purpose” is to eliminate the federal cause of action in order

 to deprive jurisdiction and permit “relitigation” of previously dismissed state- law causes of

 action.29 The Landfill Defendants go as far as to say that it is “disingenuous, at best, to say that

 Plaintiffs’ current counsel have only “recently” been involved.30

          There is nothing “disingenuous” to say that Plaintiffs’ current counsel only recently

 became involved. This issue was raised in Plaintiffs’ Motion and Amended Motion for Extension

 of Time on Initial Case Management Order Schedule and Unopposed Motion for Status


 28
    See Exhibit 3 – Declaration of Richard B. Stewart. (April 24, 2018)
 29
    ECF. No. 128.
 30
    ECF. No. 129

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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    135 Filed:
                                         Filed:01/28/22
                                                04/24/18 Page:
                                                          Page:398
                                                                12 of
                                                                   of 903 PageID#:#:2025
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 Conference to Discuss CMO31. The issue was further discussed in Plaintiffs’ Reply to Defendants’

 Opposition to Plaintiffs’ Motion for Extension of Time on Initial Case Management Order

 Schedule and the attached Declaration of Barry J. Cooper, Jr., Esq.32

         Based on these pleadings, Defendants are fully aware that Plaintiffs’ current counsel only

 recently became involved and that we have been diligently getting caught up to speed. While it is

 true that Barry J. Cooper, Jr. has been involved since the inception of this case, Mr. Cooper served

 in a limited role.33 More importantly, due to personal circumstances, Mr. Cooper had no

 involvement with this matter since it was removed in January 2017 until he was admitted pro hac

 vice in January of 2018.34 Plaintiffs’ other current attorneys of record, Celeste Brustowicz and

 Victor Cobb, had no prior involvement with this matter and were not admitted pro hac vice until

 February 27, 2018 and March 2, 2018 respectively.

 VII.    Conclusion
         If the PAA applies it would greatly limit the Daileys’ recovery. The reason for the liability

 limitations is based on a legislative prerogative to protect the public and encourage the nuclear

 industry. Fundamentally, why should the Landfill defendants obtain the PAA’s benefits when they

 were never part of the licensing/indemnity scheme? And, why should Cotter obtain these liability

 benefits when it violated its license by dumping unlicensed material in a non-licensed facility?

         On its face, the PAA is not a model of clarity and the cases interpreting it are nuanced.

 There is, however, the Strong case, in this courthouse, involving the same defendants and the same

 issues. This case is about as on point as it gets. It is going to state court- and this case should too.

 Judge Hamilton is in good company as the premier nuclear regulatory agency of the United States


 31
    ECF Nos. 108 and 109.
 32
    ECF Nos. 115 and 115-1.
 33
    ECF No. 115-1.
 34
    Id.

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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    135 Filed:
                                         Filed:01/28/22
                                                04/24/18 Page:
                                                          Page:399
                                                                13 of
                                                                   of 903 PageID#:#:2026
                                                                      14 PageID      2080




 Government, the Nuclear Regulatory Commission has spoken on this issue – authoritatively –

 concluding if the waste was produced prior to 1978 it is not subject to NRC regulations and

 licenses. Had the defendants’ legal positions in Adams and the Strong decision been made known

 to the court then perhaps the applicability of the PAA would have resolved before. No matter, it

 did not. It is correct for this court to determine if subject matter jurisdiction exists.

         The issue of prejudice is raised as the Daileys are seeking a course change. Admittedly,

 there was some delay caused by the change in the Daileys attorney. But as it relates to the

 defendants, there has been no delay; they have proceeded along with the CMO they demanded.

 They refused to conduct discovery outside of the CMO and prevented the Daileys some of the

 basic information that they now use to support their opposition. Prejudice does not exist because

 there was a delay. Prejudice must be articulable. Here, the defendants have nothing to say. They

 did not produce anything and obtained all the information they sought from the Daileys. The

 Daileys, on the other hand, have been denied the ordinary discovery procedures available to other

 litigants by virtue of an ill-conceived and incorrect CMO resulting in unnecessarily spending tens

 of thousands of dollars.

                                                 Respectfully submitted,

                                                 /s/ Celeste Brustowicz
                                                 Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                                 Celeste Brustowicz (LSBA 16835), Pro Hac Vice
                                                 Victor T. Cobb (LSBA 36830), Pro Hac Vice
                                                 COOPER LAW FIRM, LLC
                                                 1525 Religious Street
                                                 New Orleans, Louisiana 70130
                                                 E-mail:bcooper@sch-llc.com
                                                         cbrustowicz@sch-llc.com
                                                         vcobb@sch-llc.com

                                                 ATTORNEYS FOR PLAINTIFFS,
                                                 MICHAEL AND ROBBIN DAILEY

                              [Certificate of Service on Following Page.]
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    135 Filed:
                                         Filed:01/28/22
                                                04/24/18 Page:
                                                          Page:400
                                                                14 of
                                                                   of 903 PageID#:#:2027
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 24, 2018 I electronically filed the foregoing document with
 the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to
 counsel of record.
                                              /s/ Celeste Brustowicz
                                              Celeste Brustowicz (LSBA 16835)




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 Case: 4:22-cv-00116-CDP
    Case:                 Doc.
          4:12-cv-00641-AGF    #: 1-4
                             Doc. #: 15Filed: 01/28/22
                                          Filed: 05/07/12Page: 4011 of
                                                           Page:    of 903 PageID#:#:96
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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF MISSOURI

PAULETTE M. ADAMS, et al.,                                 )
                                                           )
                  Plaintiffs,                              )   Case No. 4:12 – CV – 00641 – JCH
                                                           )
vs.                                                        )
                                                           )
MI HOLDINGS, INC., et al.,                                 )
                                                           )
Defendants.                                                )


       DEFENDANTS ROCK ROAD INDUSTRIES AND BRIDGETON LANDFILL, LLC’S
               MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

                                                       Introduction

         Plaintiffs are sixteen individuals who allege that they have been injured through exposure to

radioactive contamination from properties located within the Coldwater Creek watershed, many

immediately adjacent to Coldwater Creek. 1 Plaintiffs allege exposure to residues from the processing of

radioactive materials that were stored at these sites – each of which is a part of the Formerly Utilized

Sites Remedial Action Program (“FUSRAP”) – either by direct contact with the St. Louis FUSRAP sites

or indirectly through off-site migrations from the St. Louis FUSRAP sites located within the Coldwater

Creek watershed and upgradient of plaintiffs’ own residences or public recreation areas.

         Yet, the West Lake Landfill, owned by Defendants Rock Road Industries (“Rock Road”) and

Bridgeton Landfill, LLC (“Bridgeton Landfill”), is not located along Coldwater Creek or even within the

Coldwater Creek watershed. 2 The West Lake Landfill is not upgradient from the residences and

recreational areas where plaintiffs allege they were exposed to radionuclides. The West Lake Landfill is


         1
           A companion case to this case, McClurg et al. v. MI Holdings, Inc. et al., 12-cv-00361 - AGF was filed by the
same attorneys for the plaintiffs in this case in this Court on February 28, 2012 and assigned to District Judge Audrey G.
Fleissig. Rock Road and Bridgeton Landfill are concurrently filing a similar motion in the McClurg case.
         2
           A watershed is “the land area from which water drains into a stream, river, or reservoir.” U.S. Environmental
Protection Agency Drinking Water Glossary, August 28, 2009,
http://water.epa.gov/lawsregs/guidance/sdwa/upload/2009_08_28_sdwa_fs_30ann_glossary_web.pdf .


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 Case: 4:22-cv-00116-CDP
    Case:                 Doc.
          4:12-cv-00641-AGF    #: 1-4
                             Doc. #: 15Filed: 01/28/22
                                          Filed: 05/07/12Page: 4022 of
                                                           Page:    of 903 PageID#:#:97
                                                                       16 PageID      2083




not, nor has it ever been, a FUSRAP site. And Rock Road and Bridgeton Landfill, as owners of the

West Lake Landfill, are not, nor have they ever been, Nuclear Regulatory Commission licensees. In

light of these distinctions, plaintiffs’ addition of Rock Road and Bridgeton Landfill as defendants in this

litigation is perplexing, as plaintiffs' allegations do not attempt to establish any connection between the

West Lake Landfill and plaintiffs’ alleged exposure to radioactive materials.

        Plaintiffs’ allegations are set forth in their 39-page Complaint, which contains 107 separate

paragraphs, only two of which mention Rock Road or Bridgeton Landfill and only nine of which

mention the West Lake Landfill. Plaintiffs’ allegations regarding the West Lake Landfill relate to the

receipt of soils containing trace amounts of leached barium sulfate residues for use as landfill cover from

July to October 1973. Based on the receipt of these soils, plaintiffs allege that the West Lake Landfill is

contaminated with “hazardous, toxic, and radioactive wastes.” Complaint at ¶ 35. Plaintiffs make no

specific allegations that they have been exposed to radioactive materials from the West Lake Landfill

via any exposure pathway. Further, while plaintiffs allege exposure to radioactive residues through the

St. Louis FUSRAP sites, no plaintiff makes any specific allegation of exposure to any contamination

within four miles of the West Lake Landfill. On its face, plaintiffs’ Complaint fails to even attempt to

connect any alleged releases of materials or residues at the West Lake Landfill to plaintiffs’ alleged

injuries. Thus, the Complaint fails to state a claim upon which relief may be granted against Rock Road

and Bridgeton Landfill. 3

        First, plaintiffs make very few specific allegations against Rock Road or Bridgeton Landfill or

related to the West Lake Landfill. Those allegations that plaintiffs do make are either mere conclusions

that do not apply to Rock Road, Bridgeton Landfill, or the West Lake Landfill, or are supported by such

threadbare factual allegations that they are not entitled to the presumption of truth. Second, plaintiffs’

        3
          The considerations raised in this Motion may be applicable to other defendants, but Rock Road and Bridgeton
Landfill make no statement through this Motion as to the truth of the allegations in the Complaint that relate to other
defendants.


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 Case: 4:22-cv-00116-CDP
    Case:                 Doc.
          4:12-cv-00641-AGF    #: 1-4
                             Doc. #: 15Filed: 01/28/22
                                          Filed: 05/07/12Page: 4033 of
                                                           Page:    of 903 PageID#:#:98
                                                                       16 PageID      2084




allegations, even taken as true, fail to state a plausible claim upon which relief may be granted. 4 Count

One, arising under the Price-Anderson Act, is wholly inapplicable to Rock Road and Bridgeton Landfill,

as the West Lake Landfill is not a nuclear facility subject to licensing by the Nuclear Regulatory

Commission. Counts Two through Seven are common law claims, and Count Eight is a claim for

medical monitoring damages – all of which fall under Missouri state law. Although some of the

elements plaintiffs must plead in Counts Two through Eight will vary by claim, each of these Counts

requires pleading the essential element of causation. Because plaintiffs fail to even attempt to connect

any alleged contamination at the West Lake Landfill with their alleged injuries, plaintiffs fail to state a

claim upon which relief can be granted for each count in the Complaint.

                                              Statement of Alleged Facts 5

A.       The Manhattan Project

         Plaintiffs’ Complaint is based on activities conducted as a part of the Manhattan Project

commissioned by the U.S. Army through the Manhattan Engineering District (“MED”) during and after

World War II. Complaint at ¶¶ 16-17. Through the MED, from 1942 to 1957, the facility in downtown

St. Louis that became Mallinckrodt Chemical Works (the facility now known as the St. Louis

Downtown Site or “SLDS”) processed natural uranium into uranium oxide, trioxide, and metal uranium.

Complaint at ¶ 17.

B.       The North St. Louis County Sites and the Coldwater Creek Watershed

         The MED then acquired a north St. Louis County property near the St. Louis Airport and

immediately adjacent to Coldwater Creek (the St. Louis Airport Site or “SLAPS”) for storage of the


         4
            The Complaint does not distinguish among the Defendants in Counts One through Eight, so, for purposes of this
Motion, Rock Road and Bridgeton Landfill assume that plaintiffs plead all eight counts against Rock Road and Bridgeton
Landfill.
          5
            As required, Rock Road and Bridgeton Landfill will treat Plaintiffs’ allegations as true solely for the purpose of
their motion to dismiss. See Data Mfg., Inc. v. United Parcel Service, 557 F.3d 849, 851 (8th Cir. 2009) (in deciding a Rule
12(b)(6) motion to dismiss, “factual allegations of a complaint are assumed true”). In doing so, Rock Road and Bridgeton
Landfill do not admit these allegations.


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 Case: 4:22-cv-00116-CDP
    Case:                 Doc.
          4:12-cv-00641-AGF    #: 1-4
                             Doc. #: 15Filed: 01/28/22
                                          Filed: 05/07/12Page: 4044 of
                                                           Page:    of 903 PageID#:#:99
                                                                       16 PageID      2085




residues from materials processed at SLDS. Complaint at ¶ 18. In 1966, a private company purchased

the SLAPS residues for their valuable metal content and had them hauled to a site on Latty Avenue. Id.

at ¶ 19. Part of this site later became the Hazelwood Interim Storage Site (“HISS”) and part became the

Futura Coatings Site (together, the “Latty Avenue Sites”). Id. at ¶¶ 19, 29.

        In addition to SLAPS and the Latty Avenue sites, several properties in the vicinity of SLAPS and

the HISS were allegedly contaminated through the transportation of materials from the SLAPS to HISS

and/or through migration of the residues from the SLAPS to the nearby vicinity properties via wind or

surface water runoff to Coldwater Creek. Id. at ¶¶ 20, 29, 31, 46. Coldwater Creek is a water body that

originates south of the SLAPS, continues in a northeasterly direction along the western border of the

SLAPS, and flows through the Cities of Hazelwood and Florissant, through unincorporated areas of St.

Louis County, and discharges to the Missouri River. Id. at ¶ 28.

        At the direction of Congress, the SLAPS, HISS and Futura Coatings, and their vicinity properties

were added to the Formerly Utilized Sites Remedial Action Program (“FUSRAP”), a program

established for the cleanup of sites not owned by the Department of Energy, but contaminated from past

activities involving radioactive materials. Complaint at ¶ 20. The West Lake Landfill is not now nor

has it ever been a part of FUSRAP.

C.      The Alleged Involvement of Rock Road, Bridgeton Landfill, and the West Lake Landfill

        Rock Road and Bridgeton Landfill own the property located at 13570 St. Charles Rock Road in

Bridgeton, Missouri, known as the West Lake Landfill. Complaint at ¶¶ B.13-14, 35. The West Lake

Landfill reportedly received soil mixed with leached barium sulfate, uranium and thorium from the

uranium ore processing residues that were stored at the Latty Avenue sites. Id. at ¶¶ 35, 45. Plaintiffs

allege that the West Lake Landfill has been “contaminated with hazardous, toxic, and radioactive

wastes.” Id. at ¶ 35.




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 Case: 4:22-cv-00116-CDP
   Case:  4:12-cv-00641-AGFDoc. #: #:
                             Doc.  1-415Filed: 01/28/22
                                          Filed: 05/07/12Page:
                                                          Page:405 of 16
                                                                 5 of 903PageID
                                                                          PageID#:#:100
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         Plaintiffs make several generalized allegations related to the location of the West Lake Landfill,

but fail to reveal that, unlike SLAPS and the Latty Avenue Sites, the West Lake Landfill is located well

outside the Coldwater Creek watershed, 4.6 miles away from the closest plaintiff's exposure.

   Map of Plaintiff Locations, North County St. Louis FUSRAP Sites, and West Lake Landfill 6




Plaintiffs allege that the West Lake Landfill is “located upstream from the intake for the Missouri

American Water Company, which supplies drinking water to Florissant and North County, and the

Chain of Rocks, which supplies drinking water to the city of St. Louis.” Complaint at ¶ 36. Plaintiffs

also allege that the West Lake Landfill “lies partially within the Missouri River geomorphic flood plain

in northwest St. Louis County.” Id. at ¶ 36. Plaintiffs allege that “groundwater beneath the West Lake


         6
           This map, a copy of which is attached hereto as Exhibit A, was compiled using facts from the following publicly
available sources: (a) addresses of plaintiffs' alleged exposure, the Latty Avenue Sites, and the West Lake Landfill, as alleged
in the Complaint and mapped via on-line mapping tools; (b) Coldwater Creek Watershed as defined by the Metropolitan St.
Louis Sewer District and depicted in the map by the St. Louis County Planning Department, attached hereto as Exhibit B; (c)
Coldwater Creek and municipal boundaries available through on-line mapping programs; and (d) location of the St. Louis
FUSRAP sites not specified in the Complaint as depicted in Figures 2-2 and 2-4 of the Record of Decision for the North St.
Louis County Sites, prepared by the U.S. Army Corps of Engineers, St. Louis Office, Formerly Utilized Site Remedial
Action Program, attached as Exhibit C.
         The facts used to compile the map are the type of facts that are not subject to reasonable dispute because they can be
accurately and readily determined from sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201 (2011);
U.S. v. Brink, 795 F.Supp.2d565, 569, n.1 (S.D. Tex. 2011) (courts can take judicial notice of geographic locations and
boundaries when the court has been furnished with government maps). Pursuant to Federal Rule of Evidence 201, Rock
Road and Bridgeton Landfill respectfully request that the Court take judicial notice of the locations depicted in the map based
on the Complaint and the attached Exhibits B – C.


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                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
 Case: 4:22-cv-00116-CDP
   Case:  4:12-cv-00641-AGFDoc. #: #:
                             Doc.  1-415Filed: 01/28/22
                                          Filed: 05/07/12Page:
                                                          Page:406 of 16
                                                                 6 of 903PageID
                                                                          PageID#:#:101
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Landfill is shallow, and monitoring wells showed radionuclide concentrations above Maximum

Contaminant Levels (‘MCL’).” Id. at ¶ 37.

        Yet plaintiffs make no attempt to tie these allegations to plaintiffs’ own exposure or to plaintiffs’

alleged injuries. Rather, plaintiffs conclusively allege that the West Lake Landfill “poses a potential

threat to on site users,” and state generically that “the potential for future exposure exists based on both

direct contact with the waste materials and the possibility that off-site migration will continue to occur.”

Id. at ¶¶ 37, 38. None of the plaintiffs’ allegations associate this exposure with plaintiffs or their alleged

injuries.

                                                 Argument

                            Standard for a Rule 12(b)(6) Motion to Dismiss

        When ruling on a Rule 12(b)(6) motion to dismiss for failure to state a claim, courts take as true

the alleged facts and determine whether they are sufficient to raise more than a speculative right to

relief. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). The court does not accept as true any

allegation that is a legal conclusion. Aschcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 1949-50 (2009).

The complaint must have “a short and plain statement of the claim showing that the [plaintiff] is entitled

to relief in order to give the defendant fair notice of what the . . . claim is and the grounds upon which it

rests.” Twombly, 550 U.S. at 555 (quoting Fed. R. Civ. P. 8(a)(2)).

        While detailed factual allegations are not necessary, a complaint that contains “labels and

conclusions,” and “a formulaic recitation of the elements of a cause of action” is not sufficient.

Twombly, 550 U.S. at 555; Iqbal, 129 S.Ct. at 1949. The complaint must set forth enough facts to state a

claim to relief that is plausible on its face. Twombly, 550 U.S. at 570; Iqbal, 129 S.Ct. at 1949. Based

on Twombly, the Eighth Circuit recently held:

        While a plaintiff need not set forth detailed factual allegations or specific facts that
        describe the evidence to be presented, the complaint must include sufficient factual



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                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
 Case: 4:22-cv-00116-CDP
   Case:  4:12-cv-00641-AGFDoc. #: #:
                             Doc.  1-415Filed: 01/28/22
                                          Filed: 05/07/12Page:
                                                          Page:407 of 16
                                                                 7 of 903PageID
                                                                          PageID#:#:102
                                                                                     2088




       allegations to provide the grounds on which the claim rests. A district court, therefore, is
       not required to divine the litigant’s intent and create claims that are clearly not raised, and
       it need not conjure up unpled allegations to save a complaint.

Gregory v. Dillard’s, Inc., 565 F.3d 464, 473 (8th Cir. 2009) (quotations and citations omitted).

For a claim to have facial plausibility, the plaintiff must plead factual content that “allows the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 129 S.Ct. at

1949. If the claims are only conceivable, not plausible, the complaint must be dismissed. Twombly, 550

U.S. at 570; Iqbal, 129 S.Ct. at 1950.

       When considering a motion to dismiss under Fed. R. Civ. P. 12(b)(6), courts engage in a two-

step inquiry. See, e.g., Clark v. Wal-Mart, 2010 WL 7701137 at *1 (E.D. Mo. July 30, 2010); McKay v.

GMAC Mortgage, LLC, 2010 WL 2518590 (E.D. Mo. June 14, 2010); Ginsburg v. InBev NV/SA, 649

F.Supp.2d 943, 948 (E.D. Mo. 2009); In re Estate of Butters v. Ash, 2009 WL 1536606 at *2 (E.D.Mo.

May 28, 2009). First, courts identify the allegations in the complaint that are not entitled to the

assumption of truth. Iqbal, 129 S.Ct. 1950-51. These include legal conclusions and “[t]hreadbare

recitals of the elements of a cause of action [that are] supported by mere conclusory statements.” Id. at

1949. Second, courts determine whether the complaint states a plausible claim for relief. Id. at 1950-51.

This is a “context-specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Iqbal, 129 S.Ct. at 1950. In this step, courts review the factual allegations in the

complaint “to determine if they plausibly suggest an entitlement to relief.” Id. at 1951.

  I.   Plaintiffs’ Allegations as They Relate to the West Lake Landfill are Devoid of Factual
       Support and are Mere Legal Conclusions Not Entitled to the Presumption of Truth

       The first step in a court’s analysis of a 12(b)(6) motion is to identify the allegations in the

complaint that are not entitled to the assumption of truth. See, e.g., McKay v. GMAC Mortgage, LLC,

2010 WL 2518590 (E.D. Mo. June 14, 2010). In their Complaint, plaintiffs make little attempt to plead

specific factual allegations related to Rock Road, Bridgeton Landfill, or the West Lake Landfill. Rather,



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                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
 Case: 4:22-cv-00116-CDP
   Case:  4:12-cv-00641-AGFDoc. #: #:
                             Doc.  1-415Filed: 01/28/22
                                          Filed: 05/07/12Page:
                                                          Page:408 of 16
                                                                 8 of 903PageID
                                                                          PageID#:#:103
                                                                                     2089




plaintiffs’ mere recitation of the elements of each of their counts completely omits mention of

Defendants Rock Road or Bridgeton Landfill or of operations at the West Lake Landfill. All of

plaintiffs’ allegations relating to site history, investigation and contamination, topography and drainage

of contaminants, and each allegation in their eight separate counts, refer solely to “Defendants’”

activities related to “the St. Louis FUSRAP Sites,” from which plaintiffs, correctly, specifically exclude

the Landfill. These are precisely the type of conclusions and recitals of legal elements that fail under

Twombly and Iqbal.

           a. Plaintiffs’ Blanket Allegations Against the "Defendants" are Conclusions Not
              Entitled to the Presumption of Truth

           Plaintiffs make no attempt to plead any conduct on the part of Rock Road or Bridgeton

Landfill that affected plaintiffs, let alone how such conduct could have caused plaintiffs’ exposure to

materials that caused the injuries plaintiffs allege. In the Complaint, the only paragraphs that mention

Rock Road or Bridgeton Landfill specifically are paragraphs B.13 and B.14, which allege that Rock

Road and Bridgeton Landfill currently own the West Lake Landfill and are identified by EPA as

potentially responsible parties for that site. Complaint at ¶¶ B.13 – 14. The remaining paragraphs make

no further mention of Rock Road or Bridgeton Landfill, but refer only to the conduct of “Defendants” as

a group.

           In Paragraph 13, plaintiffs introduce a blanket allegation regarding the conduct of all

defendants: “Defendants or their predecessors in interest were engaged in the business of processing,

distributing, transporting, storing, handling and/or disposing” of the radioactive materials. Complaint at

¶ 13. This blanket allegation or a slight variation of it appears throughout the remainder of the

Complaint, but nowhere in the Complaint do plaintiffs specify the conduct of defendants Rock Road or

Bridgeton Landfill that would make these entities liable. See id. at ¶ 13, 21, 59, 65, 71, 73, 78, 82, 98.

Further, plaintiffs’ own allegations limit Rock Road and Bridgeton Landfill’s involvement in this



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                                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
 Case: 4:22-cv-00116-CDP
   Case:  4:12-cv-00641-AGFDoc. #: #:
                             Doc.  1-415Filed: 01/28/22
                                          Filed: 05/07/12Page:
                                                          Page:409 of 16
                                                                 9 of 903PageID
                                                                          PageID#:#:104
                                                                                     2090




controversy to their status as owners of the West Lake Landfill. See id. at ¶¶ B.13 – B.14. Defendants

Rock Road and Bridgeton Landfill are entitled to know the bases for the claims plaintiffs allege against

them, and generic allegations against all defendants fall well short of the standard required for this Court

to presume the truth of these allegations.

             b. By Their Own Terms, Plaintiffs’ Blanket Allegations Regarding Their Alleged
                Exposure through the St. Louis FUSRAP Sites Do Not Apply to the West Lake Landfill

         Plaintiffs also make little attempt to plead exposure to materials from the West Lake Landfill,

nor do they plead how any alleged exposure to materials from the West Lake Landfill could have caused

their injuries. Plaintiffs’ only allegations specific to the West Lake Landfill are limited and do not plead

that any alleged exposure at the Landfill affected plaintiffs at all. Complaint at ¶¶ B.6, B.11, B.13 –14,

21, 35 – 38, 45. The remaining allegations are devoid of any mention of the West Lake Landfill, but

rather refer to operations and/or activities conducted at the “St. Louis FUSRAP Sites,” Complaint at ¶¶

57, 58, 59, 60, 61, 66, 73, 74, 78, 82, 84, 85, 88, 91, 94, or the individual FUSRAP Sites. Id. at ¶¶ 17,

18, 19, 20, 22 – 24, 25 – 32, 33 – 34, 39, 40, 41, 42, 43, 44, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56.

         The West Lake Landfill is not, nor was it ever, a part of the Formerly Utilized Sites Remedial

Action Program (“FUSRAP”). Indeed, by plaintiffs’ own definition, the term “St. Louis FUSRAP

Sites” excludes the West Lake Landfill. Complaint at p. 18, n. 5 (“The St. Louis FUSRAP Sites include:

(1) the St. Louis Downtown Site (‘SLDS’); (2) the St. Louis Airport Site (‘SLAPS’); (3) the Hazelwood

Interim Storage Site (‘HISS’); (4) the Vicinity Properties (‘VPs’); and (5) the Madison Site.”). 7

Plaintiffs’ repetition of blanket conclusions regarding the St. Louis FUSRAP Sites, which admittedly do

not apply to the West Lake Landfill, is insufficient to meet the pleadings standards set forth in Twombly




         7
          While plaintiffs list West Lake Landfill as one of the “four separate geographic areas” where “Defendants
processed, stored, handled, and/or disposed of large volumes of hazardous, toxic, and radioactive materials,” this allegation
does not place West Lake among the St. Louis FUSRAP sites. Complaint at ¶ 21.


                                                               9
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
 Case: 4:22-cv-00116-CDP
   Case: 4:12-cv-00641-AGFDoc.
                           Doc.#: #:1-415 Filed:
                                           Filed:01/28/22
                                                  05/07/12 Page:
                                                            Page:410
                                                                  10 of
                                                                     of 903 PageID#:#:105
                                                                        16 PageID      2091




and Iqbal. Because none of these counts makes any allegations applicable to the West Lake Landfill,

the Complaint on its face fails to state a claim against Rock Road and Bridgeton Landfill.

 II.   Even Assuming the Truth of Plaintiffs’ Allegations, the Complaint Fails to State Plausible
       Claims upon which Relief Can Be Granted

           a. Plaintiffs’ Allegations in Count I Do Not Apply to the West Lake Landfill

       Despite plaintiffs’ indiscriminate allegations to the contrary, the West Lake Landfill and

defendants Rock Road and Bridgeton Landfill are not, and have not ever been, subject to the Price-

Anderson Act, 42 U.S.C. § 2011, et seq. Complaint at ¶ 64. Plaintiffs allege that all “Defendants” are

“engaged in the development, use, and control of atomic energy within the terms of the Atomic Energy

Act” and “have at all relevant times held such federal licenses.” Complaint at ¶ 65. Contrary to

plaintiffs’ allegations, Rock Road and Bridgeton Landfill have never been engaged in the development,

use, and control of atomic energy within the terms of the Atomic Energy Act, and are not now, nor were

they ever, Nuclear Regulatory Commission (“NRC”) licensees pursuant to the statutory provisions cited

by plaintiffs in the Complaint. Complaint at ¶ 65. Plaintiffs’ attempt to lump Rock Road and Bridgeton

Landfill together with other defendants in the litigation through their generic, stock allegations is

insufficient to create a claim against these defendants under the Price-Anderson Act. Further,

allegations related to Count One specify activities conducted at the St. Louis FUSRAP Sites. Complaint

at ¶ 66. By the allegations in the Complaint, the West Lake Landfill is not now and was not ever a St.

Louis FUSRAP site. Complaint at 18, n. 5. Because the allegations in Paragraphs 63 to 69 of the

Complaint do not apply to Rock Road or Bridgeton Landfill, Count One fails to state a claim against

these defendants upon which relief can be granted.




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                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
 Case: 4:22-cv-00116-CDP
   Case: 4:12-cv-00641-AGFDoc.
                           Doc.#: #:1-415 Filed:
                                           Filed:01/28/22
                                                  05/07/12 Page:
                                                            Page:411
                                                                  11 of
                                                                     of 903 PageID#:#:106
                                                                        16 PageID      2092




           b. Plaintiffs’ Threadbare Allegations Regarding the West Lake Landfill Fail to State How
              Plaintiffs Were Exposed to Materials at the West Lake Landfill or How Such Exposure
              Caused Plaintiffs’ Alleged Injuries, as Required for Counts Two through Eight in
              Plaintiffs’ Complaint

       Under Missouri law, each of the common law counts plaintiffs allege against Rock Road and

Bridgeton Landfill requires plaintiffs to plead and prove causation. See Chism v. W.R. Grace & Co.,

158 F.3d 988, 990 (8th Cir. 1998) (Missouri law requires plaintiff to establish a causal connection

between the defendant’s conduct and the plaintiff's resulting injury for negligence and strict liability

claims); Gerling America Ins. Co. v. Cont'l Cement Co. / Missouri Fuel Recycler, 2007 WL 2757641, *7

(E.D. Mo. Sept. 20, 2007) (citing Sill v. Burlington N. R.R., 87 S.W.3d 386, 392 (Mo. Ct. App. S.D.

2002) (“a claimant may proceed on a negligence per se claim if the following four elements are met . . .

the violation of the statute was the proximate cause of the injury.”)); Bailey v. Bayer CropScience, 563

F.3d 302, 310 (8th Cir. 2009) (citing Gibson v. Brewer, 952 S.W.2d 239, 249 (Mo. 1997) (to succeed on

a claim for intentional or reckless infliction of emotional distress, plaintiff must plead defendant

intentionally or recklessly caused severe emotional distress that results in bodily harm)); T-Mobile USA

v. Yoak, 2011 WL 2792435 at *1 (E.D. Mo. July 8, 2011) (under Missouri law, causation is an element

of a claim for intentional infliction of emotional distress); Moore v. Higgins, 2008 WL 2225724 at *12

(W.D. Mo. May 29, 2008) (plaintiff failed to show defendant’s conduct caused emotional distress or that

such distress resulted in injury); Bass v. Nooney Co., 646 S.W.2d 765, 772-73 (Mo. 1983) (to succeed on

a claim of negligent infliction of emotional distress, plaintiff must plead and prove the defendant should

have realized his conduct involved an unreasonable risk of causing distress); Meyer ex rel. Coplin v.

Fluor Corp., 220 S.W.3d 712, 717 (Mo. 2007) (medical monitoring is not a new tort, but a compensable

item of damage when liability is established under traditional tort theories). Despite the required

causation element, plaintiffs fail to allege how they have been exposed to any materials at the West Lake

Landfill and how their exposure could have caused their alleged injuries.



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 Case: 4:22-cv-00116-CDP
   Case: 4:12-cv-00641-AGFDoc.
                           Doc.#: #:1-415 Filed:
                                           Filed:01/28/22
                                                  05/07/12 Page:
                                                            Page:412
                                                                  12 of
                                                                     of 903 PageID#:#:107
                                                                        16 PageID      2093




      The primary allegations related to the West Lake Landfill are found in paragraphs 35 – 38 of the

Complaint. In this section, plaintiffs allege that the West Lake Landfill “has been contaminated with

hazardous, toxic, and radioactive wastes.” Complaint at ¶ 35. Even taking this allegation as true,

plaintiffs do not assert how such contamination from the West Lake Landfill caused their alleged

injuries. See Complaint at ¶¶ 36-38. Rather, plaintiffs simply allege that the location of the West Lake

Landfill situates it upstream from the intake sources for the Missouri American Water Company, which

supplies drinking water to Florissant and North County and within the Missouri River geomorphic flood

plain. Complaint at ¶ 36. The Complaint provides no allegations regarding how plaintiffs came into

contact with the alleged wastes, for example by dermal contact, ingestion or airborne exposure. Further,

plaintiffs do not allege how exposure by any pathway could have caused their individual injuries.

      Plaintiffs also allege that the groundwater beneath the West Lake Landfill shows radionuclide

concentrations above MCL’s. Complaint at ¶ 37. Even taking this statement as true, plaintiffs do not

allege if or how they were exposed to the groundwater beneath the West Lake Landfill. Plaintiffs’ only

statements regarding how these allegedly elevated concentrations could cause exposure to anyone are

that the Landfill “poses a potential threat to on-site users” from external gamma radiation and radon gas

emissions, and that “a potential health threat exists” from the wastes at the site. Complaint at ¶¶ 37, 38.

Yet plaintiffs never state if or how they themselves could be exposed as “on-site users” or if or how such

“potential health threat” could apply to them. Plaintiffs’ claim of a potential for future exposure that is

“based on both direct contact with the waste materials and the possibility that off-site migration will

continue to occur” is also insufficient. Complaint at ¶ 38. Plaintiffs do not allege how they might come

into “direct contact” with the waste. Complaint at ¶ 38. And plaintiffs’ allegation that “off-site

migration will continue to occur” is both incorrect and insufficient, as no off-site migration has




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 Case: 4:22-cv-00116-CDP
   Case: 4:12-cv-00641-AGFDoc.
                           Doc.#: #:1-415 Filed:
                                           Filed:01/28/22
                                                  05/07/12 Page:
                                                            Page:413
                                                                  13 of
                                                                     of 903 PageID#:#:108
                                                                        16 PageID      2094




occurred, nor have plaintiffs alleged how such future “off-site migration” could expose them to the

waste. Complaint at ¶ 38.

      Further, these allegations fail to put these defendants on notice of how any alleged exposure could

have caused plaintiffs’ injuries. Complaint at ¶¶ 35 – 38. Even if plaintiffs had alleged how they were

exposed to materials from the West Lake Landfill, that fact alone would be insufficient to plead that

Rock Road and Bridgeton Landfill caused plaintiffs’ injuries. Plaintiffs must allege how the alleged

exposure could have caused their injuries in order to maintain any of the Missouri state common law

claims asserted in Counts Two through Eight of the Complaint. Because plaintiffs fail to plead if or how

they were exposed to any materials from the West Lake Landfill and fail to plead if or how any such

exposure could have caused their injuries, Counts Two through Eight of the Complaint fail to state

claims upon which relief can be granted as to these two defendants.

           c. The Facts Plaintiffs Do Provide Make it Implausible that Plaintiffs Could Have Been
              Exposed to Contamination from the West Lake Landfill or that Such Exposure Could
              have Caused Plaintiffs’ Alleged Injuries

       In their Complaint, plaintiffs make specific allegations regarding “Topography and Drainage of

Contaminants.” Complaint at ¶¶ 52 – 62. As in the other sections of the Complaint, plaintiffs do not

mention Rock Road, Bridgeton Landfill, or the West Lake Landfill. Id. Rather than support plaintiffs’

claims against Rock Road and Bridgeton Landfill, these general allegations make any claim that

plaintiffs were exposed to contamination at the West Lake Landfill – or that such exposure caused

plaintiffs’ alleged injuries – highly implausible. Taking these allegations in the context of the Complaint

as a whole, plaintiffs fail to state a claim upon which relief can be granted as to these defendants.

       Plaintiffs allege that “Defendants” in general caused recurrent releases of materials into the

environment in and around plaintiffs’ residences. Complaint ¶¶ 14, 60. Plaintiffs then allege that these

releases occurred through discharges into public water bodies, including Coldwater Creek, through the




                                                     13
                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
 Case: 4:22-cv-00116-CDP
   Case: 4:12-cv-00641-AGFDoc.
                           Doc.#: #:1-415 Filed:
                                           Filed:01/28/22
                                                  05/07/12 Page:
                                                            Page:414
                                                                  14 of
                                                                     of 903 PageID#:#:109
                                                                        16 PageID      2095




exposure of workers to these materials, and/or through the improper disposal of the materials.

Complaint at ¶ 60.

        First, as depicted on the map in the Statement of Alleged Facts and attached hereto as Exhibit A,

unlike the plaintiffs’ properties or the north St. Louis County FUSRAP Sites, the West Lake Landfill is

not located within the Coldwater Creek watershed. As such, it is implausible that any contamination at

the West Lake Landfill could migrate to Coldwater Creek. The Landfill lies within a separate

watershed, and the closest point of Coldwater Creek is four miles away. The West Lake Landfill is not

upgradient to Coldwater Creek or the Florissant Basin. Thus, contamination of Coldwater Creek or the

Florissant Basin by migration through surface water or groundwater from the West Lake Landfill is

implausible. Even if migration to surface or groundwater were plausible, plaintiffs fail to allege how

they came in contact with the surface water or groundwater or how such contact caused their alleged

injuries.

        Second, plaintiffs’ potential exposure by “the exposure of workers to these materials who then in

turn spread contamination outside the worksite” is completely implausible, as there are no “workers”

exposed to these materials at the West Lake Landfill, and no plaintiff alleges that they were exposed

through contact with a “worker” at the West Lake Landfill, or how such contact could have caused their

injuries.

        Finally, the closest plaintiff’s residence to the West Lake Landfill is 4.6 miles away. Even if

radioactive materials were disposed of at the West Lake Landfill, and even if those materials were

disposed of improperly, plaintiffs fail to address how such improper disposal could have exposed them

to the material such a distance or, even if they were exposed, how such exposure could have caused their

alleged injuries.




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 Case: 4:22-cv-00116-CDP
   Case: 4:12-cv-00641-AGFDoc.
                           Doc.#: #:1-415 Filed:
                                           Filed:01/28/22
                                                  05/07/12 Page:
                                                            Page:415
                                                                  15 of
                                                                     of 903 PageID#:#:110
                                                                        16 PageID      2096




                                               Conclusion

       The Complaint’s relative silence with regard to defendants Rock Road Industries, Inc., Bridgeton

Landfill, LLC, and the West Lake Landfill speaks volumes. If plaintiffs had specific factual allegations

to bring against Rock Road and Bridgeton Landfill, they would have included those in the Complaint.

However, the face of the Complaint shows that the addition of the West Lake Landfill as a source site –

and therefore the addition of Rock Road and Bridgeton Landfill as defendants – was a mere afterthought

by plaintiffs’ counsel.

       The purpose of pleading is to put a defendant on notice of the claims alleged against it. This

purpose is not served by thin and conclusory allegations. Rock Road and Bridgeton Landfill are hard

pressed to answer a complaint that only mentions them twice and does not state any plausible connection

between the plaintiffs’ alleged injuries and the property they own. Because the Complaint fails to state a

claim upon which this Court can grant relief, defendants Rock Road and Bridgeton Landfill respectfully

request that the Court grant dismissal of all counts under Federal Rule of Civil Procedure 12(b)(6).

                                                  Respectfully Submitted,

                                                  __/s/ John Ryan_________________________
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                                                  Jessica Merrigan, # 54982MO
                                                  2345 Grand Blvd., Suite 220
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                                                  Attorneys for Defendants Rock Road Industries and
                                                  Bridgeton Landfill, LLC




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 Case: 4:22-cv-00116-CDP
   Case: 4:12-cv-00641-AGFDoc.
                           Doc.#: #:1-415 Filed:
                                           Filed:01/28/22
                                                  05/07/12 Page:
                                                            Page:416
                                                                  16 of
                                                                     of 903 PageID#:#:111
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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served electronically by

means of the Court's CM/ECF filing system on May 7th, 2012 to:

Eric J. Carlson                                   Stephen Glen Jeffrey
Byron, Carlson, Petri & Kalb, LLC                 Jeffery Law Group
411 St. Louis Street                              20 S. Central Ave., Suite 306
P.O. Box 527                                      St. Louis, MO 63105
Edwardsville, IL 62025                            314-561-8503
618-656-0066                                      Fax: 314-714-6510
Fax: 618-655-4004                                 Email: sjeffery@jefferylawgroup.com
Email: ejc@bcpklaw.com
                                                  Attorney for Defendants Jarboe Realty and
Attorney for Plaintiffs                           Investment Company, Inc. and DJR Holdings
                                                  Inc.


                                                  __/s/ John Ryan_________________________




                                                   16
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 417 of 903 PageID #: 2098


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                               WASHINGTON, D.C   2O555-OO01


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 Michael Sanderson, Director
 Superfund Division
 U.S. Environmental Protection Agency
 Region VII
 726 Minnesota Avenue
 Kansas City, KS 66101
 SUBJECT: DEFERRAL OF REGULATORY OVERSIGHT TO THE U.S. ENVIRONMENTAL
          PROTECTION AGENCY FOR THE WEST LAKE LANDFILL, BRIDGETON, MISSOURI
 Dear Mr. Sanderson:
 The Nuclear Regulatory Commission is deferring regulatory oversight to
 Environmental Protection Agency (EPA) for the remedial actions at the West
 Lake Landfill site in Bridgeton, Missouri. I have enclosed a paper written by
 the NRC staff entitled "Deferral of Regulatory Oversight to the U.S.
 Environmental Protection Agency for Two Sites with Radioactive Contamination
 and Landfill Disposal of Licensed Material from Remediation of a Third Site."
 In this paper, the NRC staff proposed to defer, to EPA, the regulation of the
 remediation of two sites: E.I. DuPont, Newport, DE; and West Lake Landfill,
 Bridgeton, MO. These sites contain both hazardous and radioactive waste, both
 are in various stages of remediation by EPA, and neither hold a current NRC
 license. The NRC staff consulted with EPA, the State, and other interested
 parties in developing this paper.
 The NRC and EPA conduct regulatory programs for site remediation under the
 Atomic Energy Act and the Resource Conservation and Recovery Act (RCRA), and
 the Comprehensive Environmental Response, Compensation, and Liability Act,
 respectively. Based on the reviews to date, the NRC has concluded that the
 remedial programs being administered by EPA at these two sites are adequate to
 protect the public and the environment from the risks associated with the
 radioactive contamination at these sites.
 Therefore, on April 28, 1995, the Commission approved the staff's request to
 defer to EPA for the oversight of remediation activities at these two sites.
 The deferral of these sites is considered in effect as of the receipt of this
 letter. In addition, the West Lake Landfill will be removed from NRC's Site
 Decommissioning Management Plan (SDMP) list.
 The NRC staff does not plan to take any further action on the West Lake
 Landfill site unless specifically requested by EPA.




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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 418 of 903 PageID #: 2099




   M. Sanderson                           -2-

   If you have any questions concerning these actions, please contact Heather
   Astwood of my staff on 415-5819.
                                        Sincerely,



                                        Michael F. Weber, Chief
                                        Low-Level Waste and Decommissioning
                                          Projects Branch
                                        Division of Waste Management
                                        Office of Nuclear Material Safety
                                          and Safeguards
   Enclosure: As stated
   cc: Steve Kinser, ERA RVII
       Steve Sturgess, MO-DNR
       Ed Sadler, MO-DNR
       James W. Wagoner, DOE
       Doug Borrow, Laidlaw
       Conrad Bowers, Mayor
         of Bridgeton, MO
       Jerome T. Wolf
       Charlotte Nitzel
       James F. Gunn
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 419 of 903 PageID #: 2100



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                               POLICY ISSUE
  March 9, 1995                  (Notation Vote)                   SECY-95-056

  FOR:                     The Commissioners
  FROM:                    James M. Taylor
                           Executive Director
                                       **
                                              for Operations
  SUBJECT:                 DEFERRAL OF REGULATORY OVERSIGHT TO THE U.S.
                           ENVIRONMENTAL PROTECTION AGENCY FOR TWO
                           SITES WITH RADIOACTIVE CONTAMINATION AND
                           LANDFILL DISPOSAL OF LICENSED MATERIAL FROM
                           REMEDIATION OF A THIRD SITE

  PURPOSE:
  To obtain the Commission's approval for the staff to defer to the U.S.
  Environmental Protection Agency (EPA) for the oversight of remediation
  activities involving radioactive contamination at two sites and for staff's
  intent to allow disposal of licensed radioactive material in a hazardous waste
  landfill.
  SUMMARY:

 The Nuclear Regulatory Commission and EPA conduct regulatory programs for site
 remediation under the Atomic Energy Act (AEA) and the Resource Conservation
 and Recovery Act (RCRA), and the Comprehensive Environmental Response,
 Compensation, and Liability Act (CERCLA), respectively. Under certain
 conditions, NRC staff believes it would be appropriate for NRC to defer to
 EPA, or an authorized State environmental protection program, for the
 oversight of remediation of radioactively contaminated sites under NRC




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 NOTE:    TO BE MADE PUBLICLY AVAILABLE WHEN THE FINAL SRM IS MADE AVAILABLE.


                                                                           Enclosure
                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 420 of 903 PageID #: 2101
 The Commissioners                       - 2 -

 jurisdiction. The staff is proposing to defer, to ERA and an authorized State
 environmental program, regulation of remediation of two unlicensed sites:
 E.I. DuPont, Newport, DE; and West Lake Landfill, Bridgeton, MO. In addition,
 the staff intends to authorize disposal of licensed material generated from
 remediating Dow Chemical sites in Midland and Bay City, MI, in a hazardous
 waste landfill regulated by the Michigan Department of Natural Resources under
 the EPA-authorized RCRA program. Remediation activities at these sites are at
 various stages of completion. Based on reviews to date, the staff believes
 that the remedial actions and disposal required by ERA, or the authorized
 State program, will be sufficient to protect the public and the environment
 from the risks associated with the radioactive contamination at these sites.
 Deferral would conserve Federal and licensee resources, streamline the
 remediation process by eliminating duplicative agency reviews, and simplify
 the review process by consolidating regulatory oversight within a single
 agency. If the Commission approves deferral and disposal, the staff would:
 continue to provide limited technical assistance to ERA or State agencies, on
 request, for all sites (licensed and non-licensed); monitor remediation
 activities; and review all relevant documents developed by the licensee and
 ERA or State for each site with an NRC license.
 BACKGROUND:
 As part of NRC's decommissioning program for nuclear f a c i l i t i e s under the AEA,
 some contaminated facilities pose special problems because of the presence of
 both non-radiological and radiological hazards, limited technical and
 financial v i a b i l i t y of licensees, and concurrent regulatory jurisdiction over
 various aspects of decommissioning. Some of the sites are being, or w i l l be,
 remediated under EPA's Superfund Program, in accordance with CERCLA and the
 National Contingency Plan in 40 CFR Part 300. Other sites involve assessment
 and disposal of hazardous waste under EPA's RCRA Program. S i m i l a r interfaces
 exist between NRC and State regulatory programs, in which EPA's authority
 under CERCLA and RCRA has been delegated to States. ERA actively promotes
 delegation of the RCRA program to authorized States and tends to defer to
 States that are w i l l i n g to oversee preparation of the Remedial
 Investigation/Feasibility Studies (RI/FS) for i n d i v i d u a l sites.
 Although the RCRA and CERCLA Programs both address hazards to the environment,
 CERCLA is the more comprehensive statute because it addresses both operating
 and inactive facilities and includes hazardous materials, as well as source,
 special nuclear, and byproduct material as defined in the AEA. The staff
 previously discussed EPA's RCRA and CERCLA Programs in SECYs 93-235 and
 93-322. RCRA uses a general regulatory program to manage hazardous waste from
 generation to ultimate disposal. CERCLA provides authority to respond
 whenever there is a release or potential release of hazardous material. The
 facility owner or operator implements RCRA corrective action, whereas CERCLA
 responses may be implemented by a number of different parties, including
 private or public responsible parties, States, or Federal authorities. CERCLA
 "hazardous substances" include RCRA "hazardous wastes," as well as toxic
 pollutants under the Clean Water Act (CWA), Clean Air Act (CAA), and Toxic
 Substances Control Act (TSCA). Although source, special nuclear, and
 byproduct materials are excluded from regulation under CWA, TSCA, and RCRA,
 they are included under the CAA, so they are included within the scope of
 CERCLA. Consequently, ERA can require remediation of both non-radiological
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 421 of 903 PageID #: 2102
  The Commissioners                   - 3 -

  and radiological contamination, including source, special nuclear, and
  byproduct material, in accordance with CERCLA. 1
  As a general policy, ERA has declined listing NRC-licensed sites for
  remediation on the National Priorities List (NPL), in deference to NRC
  regulation under the AEA, provided that remediation is progressing under an
  NRC license. However, ERA has required remediation under RCRA or CERCLA at
  sites that exhibited non-radiological contamination (e.g., chromium
  contamination at the Shieldalloy facility in Newfield, NJ) or that were
  licensed by Agreement States (e.g., Homestake uranium m i l l in Milan, NM).
  Based on the most recent version of the NPL (February 1994), the total number
  of sites listed on the NPL is 1191. The Superfund Program is well-
  established, and has defined remediation procedures and criteria, including
  those that address radioactive materials. Although the remediation process
  and criteria are not identical to NRC's, they are parallel in scope and
  purpose, and in the staff's judgment, are generally adequate for the
  protection of the public and the environment. A detailed explanation of the
  Superfund site remediation and closure process is given in Enclosure 1 of
  SECY-93-235.
 The Commission has previously considered staff recommendations to establish
 procedures for transferring sites from NRC to EPA, for remediation under the
 Superfund Program. In a staff requirements memorandum (SRM) concerning
 SECY-89-224, dated August 22, 1989, the Commission stated that it w i l l decide
 whether to pursue the transfer of sites, to EPA, for remediation, on a
 case-by-case basis, or through a memorandum of understanding (MOD). The
 March 16, 1992, general MOD between EPA and NRC explicitly excludes matters
 arising under CERCLA and RCRA. Since the general MOU was signed, NRC staff
 has negotiated site-specific cooperative agreements for remediation of the
 Homestake uranium m i l l , under CERCLA, and the Sequoyah Fuels and Engelhard
 Corporation facilities, under RCRA. The staff is also currently discussing
 cooperative agreements with State agencies in Ohio and Pennsylvania.
 In another SRM dated December 21, 1989, the Commission rejected the staff's
 recommendation to develop a protocol with EPA to govern the application of
 Superfund to contaminated sites. Instead of developing a protocol, the
 Commission directed the staff to provide, for each site the staff proposes to
 defer to EPA or a State agency, under Superfund, analyses of: (1) the cleanup
 standard that would apply under Superfund, and the differences between that
 standard and the AEA standard; (2) the rights and authorities the State would
 have if Superfund were extended to the site; and (3) the rights and
 authorities that private citizens would have to sue the Federal Government or
 the licensee(s), using the citizen-suit provisions of Superfund.
 More recently, the staff proposed to the Commission, in SECY 93-235, to
 communicate with EPA about transferring the Safety Light Corporation (SLC)
 site at Bloomsburg, PA, to EPA, to supervise site remediation under Superfund.
 The rationale for the transfer was to accelerate the remediation of the site

      1
        CERCLA does not cover releases that are subject to NRC required
 financial protection pursuant to Section 170 of the AE Act (i.e., Price
 Anderson), nor releases from a processing site under Title I of the Uranium
 Mill Tailing Radiation Control Act of 1978.
                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 422 of 903 PageID #: 2103
 The Commissioners                       - 4 -


 and l i m i t the Federal resources devoted to the litigation to compel SLC to
 remediate the site. The paper explained that during the first half of 1993,
 the staff and the licensee tried unsuccessfully to settle the litigation and
 the staff believed, as of the date of the paper, that further negotiations
 would be futile and litigation would resume shortly. While the Commission was
 considering SECY-93-235, the parties resumed negotiations; and in an SRM dated
 November 2, 1993, the Commission returned SECY-93-235 to the staff,
 "...pending the outcome of the negotiations," and instructed the staff to
 "...keep the Commission informed of further developments and, based on the
 outcome of the negotiations, submit recommendations for further action to the
 Commission, should that be necessary." The staff recently completed
 negotiations with SLC and successfully concluded a settlement agreement that
 governs characterization and remediation planning for the Bloomsburg site.
 In a related matter, SECY-93-136 presented the Commission with an analysis of
 the State of Utah decision to allow Envirocare of Utah to use only
 institutional controls as a means of reducing the risk to the public health
 and safety after closure, without government land ownership. ERA regulations
 do not always require government land ownership of sites such as these. The
 Commission determined that this approach was adequate for protection of the
 public health and safety in this particular case, and in a Director's Decision
 under 10 CFR 2.206 issued by the Office of State Programs on January 26, 1995,
 the Commission did not revoke Utah's Agreement State status.
 DISCUSSION:
 At sites where radioactive and non-radioactive materials are located in
 distinct and separate areas, NRC and ERA oversight and regulation of remedial
 actions can proceed effectively and efficiently. Although the effectiveness
 of the government's response and oversight can be strengthened through
 interagency cooperation, each area can be remediated independently in
 accordance with each agency's requirements and administrative process.
 However, independent regulation of remedial activities is not always possible.
 There are some sites that contain commingled radioactive and non-radioactive
 contamination. At other sites, the contamination is not commingled, but
 remediation of one type of contamination would affect the responsible party's
 ability or approach to characterization and remediation of the other type of
 contamination. In other cases, although the predominant hazard may be
 associated with one type of contamination, the licensee or property owner is
 not capable, technically or financially, to remediate either type of
 contamination, thus preventing timely and effective completion of necessary
 decommissioning or remedial actions. In yet other cases, the responsible
 party desires a coordinated government response to reduce overall costs,
 improve efficiency, and promote a compatible solution for both types of
 contamination.
 Under certain circumstances, the staff believes it would be appropriate for
 NRC to defer to ERA or authorized State oversight of remediation efforts,
 under CERCLA, RCRA, or State statutes. Deferral at these sites would reduce
 the amount of d u p l i c a t i v e effort by both agencies and by the site owners. For
 example, the types of analyses performed by ERA as part of the development of
 the RI/FS, under CERCLA (40 CFR 300.430), are very s i m i l a r to the analyses
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 423 of 903 PageID #: 2104
 The Commissioners                    - 5 -

 conducted by NRC in developing an Environmental Impact Statement (EIS) under
 the National Environmental Policy Act of 1969 (NEPA) and 10 CFR Part 51. Both
 agencies require submission of fairly extensive information on the
 environmental characteristics of the contaminated sites and the nature and
 extent of contamination. In addition, the agencies require preparation and
 submission of a plan for implementing remedial measures found necessary to
 remove or contain contamination in accordance with applicable remediation
 criteria. EPA's plan is called a Remedial Design; NRC calls this a
 decommissioning plan.
 Without cooperation between the agencies, therefore, it is conceivable that
 site owners could be required by the government to develop separate reports
 for each agency on site characterization, assessment of remediation
 alternatives, projected environmental impacts, plans for remedial measures,
 and documentation that the remedial measures were appropriately implemented.
 Such an approach could result in an unnecessarily duplicative and burdensome
 effort by the site owners and by the agencies.
 At worst, the requirements of one agency could explicitly conflict with those
 of the other agency, thus frustrating the government's overall intent to
 ensure protection of the public and the environment from residual
 contamination. If, for example, EPA decided to allow hazardous waste to
 remain onsite, to avoid excessive worker exposure and cost, and NRC decided
 that commingled radioactive waste would have to be exhumed and disposed of
 offsite, it would be difficult and burdensome, if not impossible, for the site
 owner to simultaneously comply with-the requirements of both agencies. The
 conflict would be especially significant if one action preceded the other
 (e.g., EPA requires a cover to be placed over the waste; NRC later determines
 that the radioactive waste needs to be removed for off-site disposal).
 The staff believes that it is appropriate to rely on EPA's environmental
 remediation programs to ensure protection of the public and environment at the
 DuPont and Westlake Landfill sites. Both cases may rely, at least in part, on
 institutional controls to ensure long-term protection. As discussed
 previously and in the attachments, such reliance on institutional controls is
 somewhat inconsistent with NRC's established policies for low-level
 radioactive waste disposal (cf. State or Federal land ownership requirement
 for low level waste disposal in 10 CFR 61.59(a)). However, the staff believes
 that EPA remediation w i l l be sufficient to provide adequate protection under
 the Atomic Energy Act.
 In addition, deferral to EPA provides numerous savings in terms of reducing
 the administrative and regulatory burden on responsible parties conducting the
 remediation and in conserving NRC staff resources. The staff estimates that
 deferral of each site should save between 0.25 and 0.5 FTE per year in direct
 staff resources required to oversee remediation at the sites. These resources
 would partially duplicate the oversight functions that EPA staff will provide
 in overseeing the safe and protective execution of the planned remedial
 actions. In addition, deferral should save NRC an additional 0.5 FTE per year
 and S600K in program support that could be necessary at each site to prepare
 an Environmental Impact Statement (EIS) to support consideration of exemptions
 from NRC's existing requirements for decommissioning for unrestricted use.
                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 424 of 903 PageID #: 2105
 The Commissioners                      - 6 -

 Since November 1993, the staff has initiated several EISs to consider
 exemption requests as appropriate considering the requirements in 10 CFR Part
 51. Deferral should also improve the timeliness of remediation by avoiding
 the potential delay that could be associated with administration of
 independent and complementary regulatory approval processes for remediation.
 Remediation could be further delayed by opportunities for legal challenges to
 NRC approval of remedial actions.
 Allowing disposal of the Dow wastes in the hazardous waste landfill cells in
 Midland may also allow a small increase in the long-term risk to the public
 and environment due to some reliance on institutional controls. As previously
 described for the Westlake and DuPont site remediation projects, however, NRC
 staff believes that such disposal would provide adequate protection of the
 public, and any small increase in the associated risk is counterbalanced by
 the improvements in efficiency, reduction in regulatory and administrative
 burden, and savings of NRC and responsible party resources.
 The staff does not consider, however, that these cases would necessarily
 establish a precedent for resolution of other waste disposal and
 decommissioning cases or establishment of general requirements in these areas.
 The decisions on deferral and on approving waste disposal are specific to
 these cases. In the cases of DuPont and Westlake Landfill, the radioactive
 components appear to be intimately mixed with non-radiological contaminants
 and wastes that are not subject to the Commission's jurisdiction. In fact, at
 least for some of the wastes, the dominant risks to the public and environment
 may be attributable to the non-radiological contaminants. In addition, both
 sites are already listed on the National Priorities List for remediation under
 CERCLA, and the basis for listing and selection of the remedies included
 consideration of the radiological contaminants.
 In the Dow case, the staff has considered the merits of disposing of the
 specific wastes present at the Dow sites and under the specified conditions
 for disposal as proposed by the licensee and the State. Staff has already
 approved other disposals of radioactive waste in or adjacent to hazardous
 waste landfill cells in accordance with the provisions of 10 CFR 20.302 and
 20.2002. Each of these disposals has been based on a site-specific review by
 the NRC staff to ensure adequate protection of the public and that potential
 radiological doses do not exceed NRC's l i m i t s in 10 CFR Part 20. In most
 cases, the staff has assured that the potential doses do not exceed a small
 fraction of the public dose l i m i t . The Dow case is especially significant,
 however, because it involves the disposal of a relatively large volume of
 radioactive waste that w i l l be generated in decommissioning an SDMP site and
 that intrusion into the waste, if it were to occur, could result in doses that
 may exceed the public dose l i m i t (e.g., if the intruder were to live on top of
 exposed waste for an extended period). The staff believes that the likelihood
 of such intrusion is remote in the Dow case because of the design of the
 disposal cells and the use of the general area for disposal of hazardous
 waste. It is likely that an intruder into the waste would recognize that a
 waste disposal cell had been breached and could suffer risk from the non-
 radiological contaminants in adjacent cells even if the NRC did not authorize
 disposal of the radioactive waste.
 The staff would be prepared to entertain similar requests to the Dow request
 from licensees to dispose of licensed material in hazardous waste l a n d f i l l s or
                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 425 of 903 PageID #: 2106
  The Commissioners                     - 7 -

 other suitable disposal facilities (e.g., monofills, sanitary landfills) in
 accordance with the requirements of 10 CFR 20.2002. In such cases, as with
 the Dow case, the burden would rest with the licensee to demonstrate that the
 requirements of 10 CFR Part 20 will be satisfied, specifically that the
 potential doses w i l l be consistent with the Part 20 l i m i t s and are as low as
 is reasonably achievable. Credit for institutional controls, such as those
 that accompany Dow's proposal, would also be considered on a site-specific
 basi s.
 For these reasons, the staff believes that NRC should defer to EPA or State
 oversight regulatory programs for specific aspects of the remediation of two
 contaminated sites: E.I. DuPont, Newport, DE; Cotter Corporation (West Lake
 Landfill), Bridgeton, MO; and allow disposal of radioactive waste from
 remediation in a RCRA permitted landfill for Dow Chemical, Midland and Bay
 City (Salzburg Landfill), MI. By deferral, the staff means a variety of
 approaches depending on the specific status of the contaminated sites.
 For the DuPont site, the staff proposes to recognize EPA's approved remedial
 measures under CERCLA as being sufficiently protective of the public and
 environment. The site is not currently licensed by NRC; NRC licensing and
 oversight of the remediation of a small quantity of thorium waste in a
 landfill would not be necessary, nor required, under the AEA. No further
 action would be taken by the NRC staff, unless specifically requested by EPA.
 For the West Lake Landfill site, EPA has already agreed to assume lead
 responsibility for the site. The West Lake Landfill is listed in NRC's Site
 Decommissioning Management Plan (SDMP). The NRC staff is proposing to defer
 to EPA oversight of remedial measures under CERCLA. EPA's remediation of the
 site already considers both radioactive and non-radioactive materials. The
 site is not currently licensed by NRC; the staff would take no further action
 at the site after deferral, unless specifically requested by EPA. NRC would
 remove the site from the SDMP after EPA completes remedial measures at the
 site.
 Regarding the Dow Chemical sites in Midland and Bay City, Michigan, the staff
 proposes to allow the licensee to dispose of thorium-contaminated waste in a
 licensee-owned and permitted hazardous waste landfill designed and operated in
 accordance with the RCRA requirements administered by EPA and the State of
 Michigan. The staff would authorize disposal in accordance with NRC
 requirements in 10 CFR 20.2002 and support the decision with an Environmental
 Assessment that would presume the effectiveness of RCRA controls in ensuring
 protection of the public and environment. Regulatory responsibility for the
 management and long-term control of the thorium in the disposal site would, in
 theory rest with NRC. However, in terminating the license, NRC would
 recognize that controls for the hazardous waste, developed under RCRA, w h i l e
 relying on land use restrictions which are not dependant on State or EPA
 regulatory power, w i l l be adequate for the thorium as well. In allowing
 disposal in the Salzburg Landfill, NRC would be recognizing that disposal of
 thorium-contaminated wastes in a hazardous waste landfill may be acceptable
 under the AEA, instead of requiring offsite disposal at a licensed radioactive
 waste disposal facility. The Dow storage sites are listed in the SDMP and are
 being remediated under an NRC license. NRC staff would continue to license
 and regulate the remedial measures directed at removing the thorium waste from
 its present locations. At such time as all waste has been satisfactorily
                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 426 of 903 PageID #: 2107
  The Commissioners                       - 8 -

  disposed of in the hazardous waste landfill and residual radioactivity has
  been reduced in accordance with existing criteria, the staff would terminate
  Dow's license for the Midland and Bay City sites and no further action would
  be taken by the NRC staff.
  Background information for the DuPont, Westlake Landfill, and Dow sites is
  provided in Attachments 1 to 3, respectively. The potential advantages and
  disadvantages of deferral for each site are summarized in Attachment 4.
  Requested Analysis:
 In accordance with the Commission's previous direction on information to
 support deferral decisions, the staff provides the following analyses of:
 (1) the cleanup standard that would apply under Superfund and the differences
 between that standard and the AEA standard; (2) the rights and authorities the
 State would have if Superfund were extended to the site; and (3) the rights
 and authorities that private citizens would have to sue the Federal Government
 or the licensee(s), using the citizen-suit provisions of Superfund. The
 following analyses are presented in generic terms that would apply to all
 three sites. The discussion about remediation criteria is only pertinent at
 this time to the West Lake Landfill site; ERA has already decided to stabilize
 the thorium waste in place at the Dupont site, and the thorium waste from Dow
 would be disposed of in an RCRA-regulated landfill cell. To compare specific
 EPA and NRC remediation standards for the West Lake Landfill, more information
 would be needed on the remediation criteria EPA intends to implement at that
 site. EPA w i l l determine these criteria through the RI/FS and Record of
 Decision (ROD) process, as described below.
    (1) Remediation Standard
       As previously stated, both NRC and EPA have been granted the authority
       to regulate radioactive materials, in certain situations. To determine
       what remediation standards would govern the remedial actions at a
       specific site, EPA would perform a Feasibility Study (FS). This study
       is the basis for the development of a ROD that establishes remediation
       standards and remedial actions for each site. EPA would prepare the FS
       after the site had been scored and entered on the NPL, as explained in
       Enclosure 1 of SECY-93-235.
       EPA's requirements for FSs in 40 CFR 300.430(e)(2)(i) require that the
       lead agency establish remedial action alternatives, including
       remediation objectives and goals. The remediation goals establish
       acceptable exposure levels to protect human health and the environment
       and are developed considering: applicable or relevant and appropriate
       requirements (ARARs) under Federal or State environmental laws,
       drinking-water standards and goals, water-quality criteria, and other
       factors. For known or suspected carcinogens (including ionizing
       radiation), acceptable exposure levels are generally concentration
       levels that represent an excessA upper-bound lifetime cancer probability,
       for an i n d i v i d u a l , of about 10" and a cancer 6 probability of 10"6 for as
       many in the population as practical. The 10" probability is used as
       the point of departure for determining remediation goals when ARARs are
       not a v a i l a b l e or are not sufficiently protective, because of the
       presence of m u l t i p l e contaminants or m u l t i p l e pathways.
                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 427 of 903 PageID #: 2108
 The Commissioners                       - 9 -

       These risk goals do not necessarily take into account human intrusion in
       the future. If human intrusion were to be considered in the dose
       pathway analysis, the calculated dose for thorium contaminated sites
       could be in excess of 100 mrem/yr assuming standard exposure scenarios
       (e.g., resident farmer scenario). Therefore, sites with significantly
       elevated thorium concentrations would not necessarily meet the
       provisions of the proposed NRC rule on radiological criteria for
       decommissioning (proposed amendments to 10 CFR Part 20; 59 FR 43200).
       The statement of considerations for the proposed rule acknowledges that
       some sites could not meet the limits proposed in the rule. Deferral to
       the Federal Superfund/RCRA approach is a possible way to address these
       cases.
       NRC risk analyses differ from ERA risk analyses in several ways. ERA
       calculates risk based on the chance of developing cancer. NRC relates
       risk to both the chance of developing cancer and the chance of a
       fatality as a result of cancer. NRC staff calculated the risk to a
       maximally exposed member of the public who at some time in the future,
       could2 reside on top of the site. By using          a general risk estimate of
       5xlO" fatal cancers per sievert (5xlO~4 per rem) of received dose
       developed for exposure of a large population, NRC can estimate a
       potential risk, to an individual, produced by a specific exposure.
       Nevertheless, were an actual measured exposure to occur, the staff
       recognizes that it would be more appropriate to estimate the risk to
       that i n d i v i d u a l using the cancer risk tables developed by the National
       Cancer Institute.
       In general, NRC has not relied on institutional controls as a means for
       protecting the public or the environment for decommissioning purposes.
       However, ERA and DOE have relied on institutional controls to prevent or
       reduce the likelihood for human intrusion and otherwise protect the
       public (e.g., restrictions on groundwater use). Staff compared
       regulatory considerations of institutional controls in SECY-93-322,
       dated November 26, 1993. Reliance on institutional controls directly
       affects projected risks to exposed humans.
       Based on information provided by the ERA staff, NRC has reviewed 19 RODs
       for sites that include some radiological contamination. Most cases
       involved contamination by radium-226 and its decay products and other
       naturally-occurring radionuclides. In most of the RODs, ERA selected
       ARARs based on EPA's standard, for remedial action, at uranium m i l l
       tailings sites in 40 CFR Part 192. In many cases, ERA also identified
       NRC guidance in Regulatory Guide 1.86 "Termination of Operating Licenses
       for Nuclear Reactors," as an ARAR for surface contamination on b u i l d i n g s
       and equipment. Other sources of ARARs for radiological contamination
       include: NRC's air concentration l i m i t s in 10 CFR Part 20, Appendix B;
       State guidance on acceptable surface contamination; DOE orders for
       acceptable public and worker doses; Federal and State water quality
       standards; and Federal and State air-emission l i m i t s .
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 428 of 903 PageID #: 2109
 The Commissioners                      - 10 -

   (2) State Authority under Superfund
       For facilities covered by CERCLA, 42 USC 9605, et sec?., the States are
       encouraged to enter into cooperative agreements to enable them to
       undertake certain actions, under the National Contingency Plan (NCR), as
       the lead agencies. State and local response organizations are expected
       to initiate measures necessary to protect the public health and safety,
       consistent with the containment and cleanup requirements in the NCR.
       The RI/FS required under 40 CFR 300.430(d) and (e) are to be performed
       by a lead agency, in coordination with any support agencies. Under
       40 CFR 300.5, the State may be designated as the lead agency to plan and
       implement a response, if it is operating pursuant to a contract or
       cooperative agreement, under Section 104(d)(l) of CERCLA, or designated
       as the lead agency in a Superfund Memorandum of Agreement (SMOA) or
       other agreement. In addition, even if the State does not serve as lead
       agency, the lead agency is required to consult with the local officials
       and community representatives before commencing field work for the
       remedial investigation. Under 40 CFR 300.430(c), support agencies are
       afforded an opportunity to identify their own ARARs, under 40 CFR
       300.430(d)(3). Support agencies are to be notified, by the lead agency,
       of the alternatives that w i l l be evaluated in detail, to facilitate the
       identification of ARARs and any appropriate guidance to be considered,
       under 40 CFR 300.430(e)(8).
       In addition to the above, 40 CFR 300.430(e)(9)(iii)(H) requires that the
       State's concerns be assessed, including its views on the preferred and
       other alternatives for remedial action and the ARARs or proposed use of
       waivers.
       Further, 40 CFR 300.430(f)(1)(i)(C) provides that the lead agency must
       consult with the State, and that State and community acceptance are
       modifying criteria that are to be considered in the remedy selection.
       Section 300.430(f)(4)(i) provides that the State's views are to be
       considered by the lead agency in its final remedy selection from among
       the various alternatives.
   (3) The Rights of Private Citizens under Superfund
       As discussed above, ERA is to solicit community participation in the
       identification of ARARs and other aspects of the RI/FS process. In
       addition, private citizens are authorized under CERCLA to undertake a
       response action to eliminate a release of a hazardous substance,
       pollutant, or contaminant, subject to the citizens' compliance with the
       provisions of 40 CFR 300.700. Various mechanisms are provided in CERCLA
       for a private citizen to recover the cost of such response action.
       These mechanisms are summarized in 40 CFR 300.700, and include:
       (a) recovery of the response cost, plus interest, from the
       parties found to be l i a b l e ; and (b) recovery from Superfund of the
       private citizen's reasonable costs, plus interest.
       In addition, "citizens suits" are authorized under Section 310 of
       CERCLA. Private citizens are authorized to commence a c i v i l action, on
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 429 of 903 PageID #: 2110
  The Commissioners                      - 11 -

        their own behalf, against: (a) any person who is alleged to be in
        violation of any standard, regulation, condition, requirement, or order
        under CERCLA; and (b) any Federal official who is alleged to have failed
        to perform a required duty, under CERCLA. Judicial relief, in such
        actions, may consist of an order to enforce and/or correct the violation
        or an order imposing any c i v i l penalty provided for the violation; and
        the court may award the prevailing party his costs of l i t i g a t i o n ,
        including reasonable attorney and expert witness fees.
  RECOMMENDATIONS:
  That the Commission:
     1. Approve deferral to EPA's CERCLA program for the remediation of the
        thorium waste located on the E. I. DuPont Superfund site in Newport, DE.
     2. Approve deferral to EPA's Superfund program for remediation of the West
        Lake Landfi11/Cotter Corporation site in Bridgeton, MO.
     3. Approve staff's plans to pursue a request submitted by Dow
        Chemical Company for an exemption from the unrestricted release
        provisions of 10 CFR 40.42(f)(3) and to authorize disposal of
        thorium waste from remediation in a l a n d f i l l in accordance with
        10 CFR 20.2002. The landfill would be regulated under Michigan
        hazardous waste regulations that implement the RCRA program for
        long term control of the waste in the Salzburg Landfill cells,
        including reliance on institutional and State control and long-
        term monitoring of the Salzburg Landfill site in Midland, MI.
    4. Note:
        a. That although EPA is authorized to regulate byproduct, source, and
        special nuclear material under CERCLA and CAA, the State agencies, if
        they are not NRC Agreement States, are not authorized except under CAA.
        That even though NRC is allowing disposal under the RCRA program
        administered by EPA and Michigan Department of Natural Resources, NRC
        staff w i l l continue to regulate remediation of the Dow Chemical storage
        sites in Michigan, which are currently licensed by NRC. With respect to
        the disposal in the Salzburg landfill, the staff will continue to review
        pertinent documents to ensure Michigan is not applying significantly
        less stringent waste disposal requirements than NRC.
       b. That reliance on institutional controls over the long term may not
       provide as high a level of protection for the public health and
       environment as that attained if there were no reliance on institutional
       controls. This lower level of assurance results from the lack of a
       guarantee that there will always be a responsible party to maintain the
       controls.
                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 430 of 903 PageID #: 2111
 The Commissioners                      - 12 -

 COORDINATION:
 The Office of the General Counsel has reviewed this paper and has no legal
 objection. NRC staff consulted with ERA and the States of Delaware, Missouri,
 and Michigan in preparing this paper. Neither ERA nor the States objected to
 the staff's proposed approach.


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                                             /J^mes M. Ta/lor
                                                (ecutive Director
                                                 for Operations


 Attachments:
 1. Bkgd Info for E.I. DuPont
 2. Bkgd Info for Cotter Corporation
       West Lake Landfill
 3. Bkgd Info for Dow Chemical
 4. Adv/Disadv of Prop Options by Site

 Commissioners' comments or consent should be provided d i r e c t l y to the Office
 of the Secretary by COB Friday, March 24, 1995.

 Commission Staff Office comments, if any, should be submitted to the Commissioners
 NLT March 17, 1995, with an information copy to the Office of the Secretary.
 If the paper is of such a nature that it requires additional review and comment,
 the Commissioners and the Secretariat should be apprised of when comments may
 be expected.


 Distribution:
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                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 431 of 903 PageID #: 2112

                           BACKGROUND INFORMATION FOR THE
                         E.I. DUPONT NEWPORT, DELAWARE, SITE

  The E.I. DuPont site   is located in Newport, Delaware, near 1-95, 2 1-495, and
  the Christina River.    The entire site is approximately 485,600 m (120 acres)
  and contains a paint   pigment production facility, a chromium dioxide
  production facility,   and two industrial landfills (North and South) which are
  closed.
 DuPont was licensed by the U.S. Atomic Energy Commission (AEC) and began using
 radioactive materials at this site in 1961, for the processing of thorium into
 metal alloys. The alloys consisted mostly of nickel, some chromium and
 molybdenum, and thorium (approximately 2 to 5 percent by weight thorium-232).
 Waste materials from this process were buried in the North Landfill,
 reportedly, in accordance with 10 CFR 20.304 regulations that were in effect
 at the time. According to DuPont, the thorium waste was placed in glass jars
 that were subsequently placed in 55-gallon barrels together with disposable
 protective clothing and debris from the waste-handling operations. The
 barrels were then buried in a specific, although uncertain, section of the
 North Landfill and covered with 3 m (10 feet) of soil. The area where the
 thorium was buried is estimated to be 40 m by 10 m (130 ft by 35 ft) and
 contains approximately 20 tons of thorium metal, which were placed in the
 North Landfill over a 7 year period.
 DuPont believes most of the thorium in the North Landfill consists of thorium
 oxide, a relatively insoluble form of thorium. However, DuPont's records, as
 well as information in the Nuclear Regulatory Commission's docket files,
 indicate that thorium nitrate, a more soluble form of thorium, and other salts
 could also have been disposed of in the North Landfill. Long-term releases
 from these other forms of the thorium waste could be greater than from the
 thorium oxide. They could also pose a greater threat to shallow groundwater
 beneath the North Landfill site, because of leaching and subsequent transport.
 The thorium burials comprised a small portion of the North Landfill area. The
 remaining portion of the North Landfill was used for the disposal of
 lithophone wastes (an inorganic paint pigment based on zinc and barium),
 organic pigment wastes, chromium wastes, and other miscellaneous wastes,
 including the off-specification thoriated nickel and other thorium wastes.
 The Environmental Protection Agency (EPA) initiated the Comprehensive
 Environmental Response, Compensation, and L i a b i l i t y Act (CERCLA) Program for
 remediation of the site in the 1980s and proposed the site for inclusion on
 the National Priorities List (NPL) in 1987. EPA proposed the site for
 remediation under CERCLA because of extensive non-radiological contamination.
 DuPont used historical records and interviews with retired employees to
 estimate the quantity of thorium that was buried in the l a n d f i l l . However,
 the records are not complete and the exact quantity and form of the thorium
 are not known. Although the entire DuPont site is currently undergoing
 remediation, remediation of the North Landfill is of the most concern to NRC
 because of the thorium buried in the landfill. The North Landfill is only a
 small section of the entire 120-acre site.



                                                     Attachment 1
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 432 of 903 PageID #: 2113

                                          -2-
 Based on available records of the burials, NRC staff believes that at least
 some of the thorium wastes in the North Landfill exceeds the concentration
 criteria in Options 1 and 2 of the 1981 Branch Technical Position (BTP)
 entitled: "Disposal or Onsite Storage of Thorium or Uranium Wastes from Past
 Operations" (46 FR 52061). NRC identified these criteria as the pertinent
 release criteria in the Site Decommissioning Management Plan (SDMP) Action
 Plan of April 16, 1992 (57 FR 13389) coupled with the principle that residual
 radiation be reduced to as low as is reasonably achievable (ALARA). Because
 thorium concentrations are expected to exceed these criteria in some areas by
 a substantial margin (e.g., 10,000 pCi/g thorium-232), the NRC staff would
 generally not consider onsite disposal as a viable disposal action.
 In addition, as described above, it is possible that there are soluble forms
 of thorium in the landfill, which could become mobile and enter the
 groundwater beneath the site or the river adjacent to the site. DuPont has
 not attempted to characterize the thorium waste in the landfill for the
 following reasons: (1) the exact location of the thorium in the landfill is
 not known; (2) intrusive and extrusive sampling may be necessary because the
 waste is very heterogeneous, which would make accurate sampling through a
 limited number of boreholes difficult; and (3) exposure to the hazardous
 material in the landfill would cause risks to workers during the
 characterization and sampling process.
 Monitoring well sampling found slightly elevated levels of radium-226 and
 radium-228 in the groundwater adjacent to the landfill. DuPont believes the
 elevated levels are representative of background. Elevated levels of radium
 were not found in surrounding wells or in wells located between the l a n d f i l l
 and the well containing the elevated readings.
 EPA w i l l require DuPont to place a low-permeability cover system over the
 l a n d f i l l , capable of reducing infiltration by over 99 percent, to minimize
 groundwater contamination below the site. In addition, DuPont is required to
 construct a physical barrier wall extending from the top on the landfill,
 along the river bank and down to the base of the Columbia aquifer. This wall
 w i l l cause mounding of the groundwater in the l a n d f i l l . Groundwater
 extraction wells w i l l be installed to control this mounding. The recovered
 groundwater shall be treated. This wall will prevent the contaminated
 groundwater from entering the river. Monitoring w i l l be needed to ensure
 there w i l l not be erosion of the river bank and the potential for erosion from
 the river into the l a n d f i l l itself.
 The potential risks produced by the thorium contamination are small compared
 with the risks posed by the other hazardous waste in the North L a n d f i l l , as
 well as the materials on the remaining portions of the site. EPA's risk
 assessment supporting the ROD concluded that non-radiological risks
 predominate over radiological risks associated with the thorium waste buried
 in the l a n d f i l l . EPA requires in the ROD that DuPont: monitor groundwater to
 detect any potential migration of thorium or its decay products; apply
 institutional controls to restrict public access to the waste and to
 groundwater beneath and adjacent to the site; and assess the existence of
 radiological contamination at other locations onsite. The remedial action
 identified in the ROD was developed through a public process that involved
 DuPont, State of Delaware, local community officials, members of the p u b l i c ,
 and other interested parties.
 The NRC staff believes that the remedial action required by EPA, under CERCLA,
                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 433 of 903 PageID #: 2114

                                        -3-
 would be sufficient to protect the public and the environment from the risks
 associated with the thorium waste. Although NRC and ERA staffs suspect that a
 majority of the thorium is in the relatively insoluble oxide form, there is a
 possibility that some more soluble thorium compounds exist in the l a n d f i l l .
 However, with the cap, wall along the river bank, groundwater monitoring,
 institutional controls, and groundwater use restrictions, the staff believes
 that any significant contamination of the groundwater by thorium is unlikely
 to occur. However, if it does, the staff believes the contamination would be
 accompanied by other contaminants, promptly detected, and mitigated before
 causing any significant health or environmental hazards.
 Since the site is not currently licensed by NRC, the staff would not undertake
 any other activities directly related to remediation of the site, including:
 performing reviews of licensing (Superfund-required) documents; undertaking
 site visits or inspections; monitoring ERA progress on the remediation; and
 examining the completion of cleanup activities.
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 434 of 903 PageID #: 2115


                            BACKGROUND INFORMATION FOR THE
                        WEST LAKE LANDFILL/COTTER CORPORATION
                               BRIDGETON, MISSOURI SITE


   The West Lake Landfill is a 809,000 m2 (200-acre) tract located in St. Louis
   County, Missouri, approximately 16 miles northwest of downtown St. Louis.
   Beginning in 1962, portions of the property were used as an unregulated dump
   for solid and liquid industrial wastes, municipal refuse, and construction
   debris. In 1973, Cotter Corporation, a Nuclear Regulatory Commission
   licensee, disposed of over 39,000 metric tons of uranium ore processing
   residues and contaminated soil in two areas covering about 64,750 m2 (16
   acres) of the site. This is a relatively small portion of the larger
   809,000 m2 (200-acre) site. In 1976, the unregulated landfill was closed, and
   in following years, the Missouri Department of Natural Resources issued
   several permits for various portions of the 809,000 m2 site. Efforts to
   remediate the site included NRC survey and site characterization work in the
   1980s. In 1990, the Environmental Protection Agency (ERA) listed West Lake
   Landfill as a Superfund site by adding it to the National Priorities List.
   Under Superfund, EPA is now regulating remediation of the site for both
   radiological and other hazardous wastes.
  The radioactive wastes in the two soil areas are mostly covered by other
  landfill materials. The site poses no immediate radiological threat to the
  public. Radioactive wastes, in concentrations greater than the current NRC
  standards for unrestricted release, are found in two soil piles and include
  uranium-238, thorium-230, and radium-226. Elevated levels of radioactivity
  (gross alpha particle contamination) have been detected in groundwater
  monitoring wells onsite, indicating slight contamination above background.
   The NRC staff proposes to defer to EPA's Superfund Program for the remediation
   of uranium contamination. NRC staff has already acknowledged that EPA's
   Superfund Program is responsible for the remediation of the radioactive waste
   on this site.   A letter dated May 1991 states that ". . . EPA is taking the
   lead for site remediation activities . . . ." NRC staff has performed limited
   reviews of EPA-required documents, including the Remedial Investigation/
   Feasibility Study for the site, that included considerations of both
  radiological and non-radiological material onsite. The NRC staff believes the
  remedial actions that would be required by EPA, under the Comprehensive
  Environmental Response, Compensation, and Liability Act (CERCLA), would be
  sufficient to protect the public and the environment from the risks associated
  with the uranium contamination.
  Under this deferral scenario, NRC staff would continue to provide certain
  technical support to EPA, at the specific request of EPA. In addition, NRC
  would retain a copy of the Record of Decision in the permanent files for the
  site. The staff would take no further action at the site after deferral to
  EPA, since the site is not currently licensed by the NRC.




                                                   Attachment 2
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 435 of 903 PageID #: 2116

               BACKGROUND INFORMATION FOR THE DOW CHEMICAL COMPANY
                      BAY CITY AND MIDLAND, MICHIGAN, SITES
  Dow Chemical Company possesses thorium-contaminated waste under a Nuclear
  Regulatory Commission license at two sites in Michigan: Bay City and Midland.
  The Bay City site is located 1 mile south of Saginaw Bay and is 20 miles east
  of Midland, Michigan. The thorium-contaminated waste at this site is stored
  in a fenced-in
             3
                 area owned by Dow Chemical Company. Approximately 30,500 m3
  (40,000 yd ) of thorium-contaminated waste is estimated to be stored at the
  Bay City site. This waste has an average concentration of 188 pCi/g thorium-
  232, with a range of from 2 to 7000 pCi/g thorium-232. Dow estimates that
  there are about 9.2 Ci of thorium-232 and an equivalent amount of thorium-228
  at the Bay City location.
 The estimated volume of the thorium-contaminated waste at the Midland site is
 over 9000 m3 (12,000 yd3). The area where the waste is stored at the Midland
 site measures 50 m by 90 m (160 ft by 300 ft) and is roped off. The waste is
 covered by a clay cover that is approximately 1-meter thick. The thorium-
 contaminated waste storage area is located within a larger industrial complex
 that Dow owns and controls access to. The radioactivity in the waste varies
 substantially and ranges up to 2000 pCi/g, with an average of 29 pCi/g
 thorium-232 and an equivalent activity concentration of thorium-228. Dow
 estimates that there is approximately 0.46 Ci of thorium-232 in the waste at
 this site.
 In 1956, the U.S. Atomic Energy Commission gave Dow Chemical Company a license
 to use thorium metal and compounds to produce thorium-magnesium alloys. The
 alloying process produced a thorium-contaminated waste. In 1973, the license
 was amended to authorize storage only at Dow's Bay City and Midland sites in
 Michigan, and at the Madison site in I l l i n o i s . The Madison site is now under
 the regulatory authority of the I l l i n o i s Department of Nuclear Safety.
 Thorium-contaminated waste and associated contaminated soil are currently
 being stored at both sites. Dow proposes to dispose of its thorium-
 contaminated waste in two dedicated disposal cells at the Dow-owned and
 operated Salzburg Landfill in Midland. The Salzburg Landfill is permitted by
 the Michigan Department of Natural Resources and the Environmental Protection
 Agency (ERA), for the disposal of hazardous and non-hazardous solid wastes.
 The Salzburg Landfill, is relatively large [615,100 m2 (152 acres)], and is
 located 1.5 miles from the Midland site and 20 miles from the Bay City site.
 The proposed disposal cell design, for the thorium-contaminated waste, would
 be comprised of, from the bottom, a 6 meter clay underliner with a hydraulic
 conductivity of less than 10"6 cm/s; 1 meter
                                         7
                                              of recompacted clay with
 hydraulic conductivity of less than 10" cm/s; a synthetic liner with a leak
 detection and removal system consisting of a 0.33-meter sand drainage layer;
 1.5 meters of clay; a geosynthetic liner; and a 0.33-meter sand leachate
 drainage layer. This liner would underlie the thorium-contaminated waste
 which would be covered by 1 meter of clay; a 100-mil HOPE synthetic liner;
 0.33 meters of drainage medium; almost a meter (91 cm) of a frost protection
 layer; and 0.66 meters of top soil. No l i q u i d wastes are allowed to be
 disposed of at the Salzburg Landfill. The approximate design area for one of
 the proposed thorium-contaminated waste disposal cells is 61 m (200 ft) long
 by 40 m (125 ft) wide, and the other is 221 m (725 ft) long by 23 m (75 ft)


                                                    Attachment 3
                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 436 of 903 PageID #: 2117

                                           -2-
  wide. Both disposal cells w i l l be covered by a unified cover. There are 16
  shallow monitoring wells around the proposed disposal cells. These monitoring
  wells are required under Resource Conservation and Recovery Act (RCRA) and
  State of Michigan hazardous waste requirements. Groundwater monitoring wells
  and domestic wells in the area are sampled as part of the Salzburg Landfill
  monitoring program.
  The NRC staff proposes to allow Dow Chemical Company to dispose of licensed
  material in EPA-approved RCRA designed cells in accordance with 10 CFR 20.2002
  and thereby be exempt from NRC's unrestricted release criteria of 10 CFR
  40.42(j)(3) [Although the amended rule does not refer to unrestricted release,
  but to release in accordance with NRC requirements, the criteria of the SDMP
  Action Plan apply. These are essentially unrestricted release criteria.] Dow
  has requested to bury thorium-contaminated waste in the Salzburg l a n d f i l l , per
  10 CFR 20.2002, at concentrations above NRC's SDMP Action Plan criteria for
  unrestricted release.
  There is a parallel between what is being proposed by Dow and the burial of
  low-level waste under 10 CFR Part 61. The performance objectives for the
  disposal of low-level radioactive waste, as stated in 10 CFR Part 61 and the
  Final Environmental Impact Statement for Part 61 (NUREG-0945), are to: 1)
  protect public health and safety (and the environment) over the long term; 2)
  protect the inadvertent intruder; 3) protect workers and the public during the
  short-term operational phase; and 4) provide long-term stability, to eliminate
  the need for active long-term maintenance after operations cease. The staff
  believes that disposal of the thorium waste in the landfill would be generally
  consistent with these objectives, although the staff has not completed the
  kind of detailed review that would be required for a license application under
  10 CFR Part 61.
  For thorium contamination of the type presently stored by Dow under its
  license, the dominant exposure pathway is direct exposure from human
  intrusion. Thorium-232 has an extremely long half-life (in excess of 14
  b i l l i o n years). Thus, the potential hazard w i l l continue to exist whether the
  material is excavated and shipped to a licensed disposal site (at an estimated
  cost of about $28 m i l l i o n if disposed at Envirocare or significantly more if
  disposed at a licensed low-level waste disposal facility) or excavated and
  shipped to the Salzburg Landfill (at a cost of about $5 m i l l i o n ) . The primary
  safety issue then becomes how to minimize the potential for human intrusion
  over the long term under either disposal alternative. Dilution of the
  contamination was not considered due to the significant increases in waste
  volume that would be required to substantially reduce thorium concentrations
  down to levels approaching natural background for soils in the Midland area.
  As a regulated hazardous waste disposal facility, institutional controls would
  be required to be maintained over the Salzburg Landfill under hazardous and
  solid waste regulations. Dow states that, even though the concentration of
  thorium in the waste exceeds NRC's criteria for unrestricted release, the co-
  location of the thorium waste disposal cells with the hazardous and solid
 waste disposal cells would offer sufficient institutional control to deter
 intrusion over the long term. The institutional controls offered by hazardous
 and solid waste regulations involve environmental monitoring and reporting,
 maintenance and release control, and controls on the post-closure use of the
 land (i.e., no disturbance of the waste or any components of the disposal
 unit). There are additional requirements for post-closure financial assurance
  and a schedule for closure. Dow estimates that the pre-closure operational
                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 437 of 903 PageID #: 2118

                                          -3-
  period for the Salzburg Landfill will extend until approximately the year
  2045. The post-closure institutional control period generally lasts 30 years
  and can be extended by the ERA Regional Administrator or State agency. The
  Salzburg Landfill is not a remote site, but because of the existence of the
  hazardous waste already buried there, the land can never be used productively
  again for farming and other non-industrial applications without extensive
  remediation. Dow has already imposed restrictive covenants in the Salzburg
  Landfill deed, in accordance with ERA requirements for hazardous waste
  landfills. If the thorium wastes are buried in the Salzburg Landfill, Dow
  proposes a requirement (to be inserted into the deed) to notify NRC (or its
  successor) before disturbing the landfill.
  On balance, the staff believes that disposing of the thorium wastes at the
  Salzburg Landfill constitutes an as low as reasonably achievable (ALARA)
  approach to remediation of the Bay City and Midland sites, and that the
  conditions and restrictions placed on the landfill, combined with the RCRA
  regulatory and cell design provisions, provide a comparable level of
  protection of human health and the environment, as is provided at other
  licensed low-level waste disposal sites. In the Office of the General
  Counsel's opinion, Dow's proposed restrictive covenants appear adequate to
  support an exemption. With one exception, the restrictive covenants, and the
  co-location of the thorium-contaminated waste disposal cells with hazardous
  and solid waste disposal cells, appear to achieve the same effect as if this
  thorium-contaminated waste were buried at a location where State or Federal
  control alone is considered sufficient to guarantee institutional care.
  Inadvertent intrusion into the thorium waste disposal cells would be
  controlled by the restrictive covenants on the deed as proposed by Dow in its
  exemption request. The one exception is that, as with the Envirocare facility
  in Utah, there is no assurance that, for the very long term, there w i l l be a
  responsible party with the obligation to take additional remedial action
  should this become necessary.
  Therefore, NRC staff proposes to allow disposal of licensed radioactive
  material in the landfill operated by Dow and regulated by ERA and the State of
  Michigan. This decision would be supported by an appropriate Environmental
  Assessment, which would presume the adequacy of the cell design and
  institutional controls (including ERA and Michigan regulation) in protecting
  humans and the environment. NRC staff would notice in the Federal Register
  its intent to issue a license amendment to allow the disposal of the waste in
  the Salzburg Landfill, including the exemption. Pursuant to Subpart L of 10
  CFR Part 2, the notice w i l l offer an opportunity for an informal hearing. The
  hearing would include approval of the decommissioning plan and the transfer
  and disposal under 20.2002 at the Salzburg l a n d f i l l . Following completion of
 the necessary safety and environmental reviews, NRC staff anticipates issuing
 the amendment, provided the safety and environmental reviews are favorable.
 Because the Dow storage sites are currently licensed by the NRC, the staff
 would monitor the remedial activities being performed by Dow to ensure that
 NRC requirements are satisfied. The staff would review all pertinent
 documents and would terminate the license after disposal of the radioactive
 material currently in storage at the Bay City and Midland sites and the
 storage sites are cleaned up to unrestricted use standards.
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 438 of 903 PageID #: 2119




            ADVANTAGES AND DISADVANTAGES OF
              PROPOSED OPTIONS FOR EACH SITE




                                                         Attachment 4
                                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
                      Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 439 of 903 PageID #: 2120



                                                        E. I. DUPONT CORPORATION

                                                Administrative Alternatives for the
                                           Remediation of the Newport, Delaware, Site

                  Deferral to EPA Superfund                                        NRC Maintains Responsibility
Advantages                                                          Advantages
    •   Allows DuPont to continue remediation a c t i v i t i e s           Remediation of the thorium contamination down to
        in a timely and effective manner.                                   Option 1 or 2 levels 2 would reduce risk to
                                                                            inadvertent intruders.
    •   Reduces delays and expense produced from
        duplicative regulation.                                             Provides higher level of assurance that remediation
                                                                            is conducted in a satisfactory manner, from NRC's
    •   Ensures consistency in remediation decision for                     perspective.
        both radiological and non-radiological waste.
    •   Avoids need for an NRC license.
    •   Promotes interagency cooperation and consistency
        in selection of remedial actions.




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               Option 1 or 2 of the 1981 Branch Technical Position "Disposal or Onsite Storage
         of Thorium or Uranium Wastes from Past Operations."
                                                                     -2-
                                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
                  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 440 of 903 PageID #: 2121


Disadvantages                                             Disadvantages
       Relies on institutional controls for protection            May ultimately find that current proposed
       of the public.                                             remediation is acceptable and preferable, after
                                                                  additional expense and time.
      Could require removal at some point in the
      future, if the thorium contaminates the                     If exhumation would be required, could result in
      groundwater.                                                increased risk to workers from exposure to non-
                                                                  radiological and radiological wastes in the landfill
       Reduces assurance of satisfactory remediation              and extended storage of waste pending access to
       from NRC's perspective.                                    disposal facilities.
                                                                  Increases costs for DuPont, ERA, and NRC.
                                                                  May require additional effort to establish location
                                                                  of thorium waste in landfill.
                                                                  Could require NRC license.
                                                                  Could delay or impair remedial actions for the other
                                                                  wastes onsite, pending resolution of the thorium
                                                                  waste disposal issue._____________________




                                                           -3-
                                                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
                        Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 441 of 903 PageID #: 2122


                                                     WEST LAKE LANDFILL/COTTER CORPORATION
                                                    Administrative Alternatives for the
                                                Remediation of the Bridgeton, Missouri, Site

         Deferral to ERA Superfund                                                   NRC Maintains Responsibility
Advantages                                                              Advantages
    •   Continues established lead r e s p o n s i b i l i t i e s        •   Maintains NRC control of the remediation under Atomic
        between NRC and ERA (ERA lead).                                       Energy Act.
    •   Reduces costs and delays produced from duplicative                •   May result in lower risk to public and environment if
        regulat ion.                                                          site is remediated to Option 1 or 2 levels.
    •   Avoids need for an NRC license.                                   •   Avoids reliance on institutional controls.
    •   Promotes consistency in NRC and ERA remedial
        deci sions.
Disadvantages                                                           Disadvantages
    •   Reduces assurance that NRC w i l l find the remedial              •   Increases costs and duplicative effort for regulating
        action satisfactory because ERA has not yet                           agencies and Cotter Corporation.
        selected remedial action for the uranium
        contamination.                                                    •   May delay the remediation of the non-radioactive
                                                                              materials onsite.
    •    Introduces p o s s i b i l i t y that additional remediation
        may be necessary in the future.                                   •   May produce conflicts for Cotter if NRC and ERA
                                                                              approve inconsistent remedial actions.
    •   Places remediation outside of NRC control; no
        assurance when remedial actions w i l l occur.                    •   May require imposition of a license through order, if
                                                                              Cotter objects to license and one is required.
                                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
                   Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 442 of 903 PageID #: 2123


                                                   DON CHEMICAL COMPANY
                                          Administrative Alternatives for the
                               Remediation of the Midland and Bay City, Michigan, Sites

             Approve Site Disposal Request                                      Removal & Offsite Disposal
Advantages                                                   Advantages
       Reduces costs and delays from duplicative                     Maintains NRC control of the disposal of the
       regulation.                                                   radioactive waste.
       Allows timely completion of remediation and                   May reduce long-term risks if wastes were disposed
       termination of NRC licenses for the Midland and               of at a licensed disposal facility for radioactive
       Bay City sites.                                               waste that does not rely on institutional controls.
       Could reduce public and worker risks                          Reduces by one the number of radioactive waste
       from near site disposal as compared to                        disposal sites in the country.
       transporting waste across country.
       Promotes consistency between NRC and ERA in terms
       of remediation decisions.

Disadvantages                                                Disadvantages
       Additional remediation under NRC control may be         •     Relies on limited disposal capacity for radioactive
       necessary at the Salzburg Landfill at some point              waste.
       in the future, if warranted.
                                                               •     Increases costs for regulating agencies and Dow
       Establishes precedent for disposal of radioactive             Chemical.
       wastes in hazardous waste l a n d f i l l and for
       reliance on institutional controls.                     •     May delay remediation of the Midland and Bay City
                                                                     sites, pending resolution of waste disposal
                                                                     location.




                                                              -5-
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 443 of 903 PageID #: 2124




                                UNITED STATES DISTRICT
                              COURT EASTERN DISTRICT OF
                              MISSOURI EASTERN DIVISION

  MICHAEL DAILEY, et al.                              )
                                                      )
         Plaintiffs,                                  )
                                                      )       CASE NO.       4 :17-CV-00024
  v.                                                  )
                                                      )
  BRIDGETON LANDFILL, LLC, et al.                     )
                                                      )
         Defendants.                                  )


                       DECLARATION OF RICHARD B. STEWART



         I, RICHARD B.STEWART, 40 Washington Square South, 411F, New York, NY
  10012, submit this Declaration on behalf of Plaintiffs in the above titled matter.
  Expert Qualifications
  I am presently University Professor and John Edward Sexton Professor of Law, New York
  University School of Law, and Director, Frank J. Guarini Center on Environmental, Energy
  and Land Use Law. As I explain more fully below, I have over forty years’ experience
  researching and teaching U.S. environmental and administrative law at various institutions,
  including Harvard and NYU. An important specialty of mine is nuclear waste regulation and
  law. I co-authored an authoritative book on US nuclear waste regulation and law; Richard B
  Stewart and Jane B Stewart, FUEL CYCLE TO NOWHERE? U.S. LAW AND POLICY ON NUCLEAR
  WASTE (Vanderbilt University Press, 2011). As shown on my attached curriculum vitae, I’ve
  also authored a number of substantial articles on nuclear waste regulation and law. I also have
  significant experience as a practitioner in these fields, including as Assistant Attorney General
  for Environment and Natural Resources of the United States Department of Justice (“DOJ”),
  an office which I held in the period 1989-1991, and as counsel.


  I have taught U.S. environmental and administrative law for over 40 years, and have
  published 18 books and monographs and over 100 articles, essays and book chapters in
  these fields. I am a graduate of Yale University (summa cum laude), the University of
  Oxford (University College, Rhodes Scholar, First Class Honors), and Harvard Law
  School (magna cum laude; Editor, Harvard Law Review). Following a clerkship with Mr.
  Justice Potter Stewart, Supreme Court of the United States, I practiced law for several years
  with the Washington, D.C. law firm of Covington and Burling LLP. I joined the Harvard
  Law School faculty in 1971 and taught there for 17 years, becoming Byrne Professor of

                                                 1
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 444 of 903 PageID #: 2125




  Administrative Law in 1984. I was also a faculty member of the John F. Kennedy School of
  Government at Harvard in the period 1984- 1989. I joined the NYU Law School faculty in
  1992 as Emily Kempin Professor of Law. I hold honorary degrees from the University of
  Rome La Sapienza and the Erasmus University, Rotterdam. I have also been a visiting
  professor of law at numerous universities, including Yale University, t he University of
  California-Berkeley, and the European University Institute Florence, and a visiting scholar
  at the faculty of laws, University College London and Sciences Po Law School, Paris.

  In 1989, on appointment by President George H. W. Bush, I became Assistant Attorney
  General for Environment and Natural Resources of DOJ, leading a staff of 400 lawyers
  representing the federal government in a wide variety of environmental and natural
  resources litigation. Among other matters, I was responsible for prosecuting Exxon for the
  Exxon Valdez spill and dealt with other major cases involving spills of oil and hazardous
  substances.

  Following my government service I joined the NYU Law School faculty. From 1993 to 2002 I
  was of counsel for the law firm of Sidley Austin LLP, specializing in environmental law, in
  particular hazardous substances liability. Since that time, as well as during my tenure at
  Harvard, I have been involved in a number of environmental and administrative law cases,
  including cases involving pollution and hazardous substances liability I have served as a
  director of the Health Effects Institute and Chairman and Trustee of the Environmental
  Defense Fund, two leading U.S. nonprofit environmental organizations. My full curriculum
  vita is attached.

 Factual Background

 This report is based on the following factual assumptions and documents, provided to me by
 counsel:

 In 1942, as a part of the Manhattan Project and pursuant to contracts with the federal
 government, Mallinckrodt processed uranium ore from the Belgian Congo at a facility in
 downtown St. Louis, Missouri, in order to extract uranium for use in nuclear weapons. The
 residues from the ore processing, known as mill tailings, contain radioactive decay products as
 well as heavy metals. Mallinckrodt ceased processing operations in 1957. Subsequently, the
 government sold the mill tailings from these operations. These tailings from Congolese ore,
 along with Colorado Raffinate waste and other contaminated materials, were stored at a site near
 the St. Louis airport (“SLAPS”). In the 1960s, some of the mill tailings at SLAPs were moved to
 a storage site on Latty Avenue in Hazelwood, Missouri for processing by Cotter.

 In 1967, Cotter Corp. purchased from Commercial Discount Corporation mill tailings that had
 been stored at both sites as “U3O8 bearing residues.” Cotter at that time issued a full
 indemnification to Commercial Discount Corporation. On December 3, 1969 the Atomic Energy
 Commission (“AEC”) issued a source material license to Cotter for work at the Latty Avenue
 site at least 2 years after Cotter had already obtained the Congo Ore waste. On or about
 November 13, 1974, the AEC terminated the license. There is no evidence that Cotter executed a

                                                2
                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 445 of 903 PageID #: 2126




 financial responsibility and indemnity agreement with the government to ensure compensation
 for third parties that might be injured by its activities regarding the mill tailings. In 1973, Cotter
 sent approximately 46,700 tons of mill tailings and residual material from the Latty Avenue site
 to the West Lake Landfill for disposal; the landfill was not equipped or licensed to receive
 radioactive wastes. No license was issued by AEC to Cotter for the transfer or disposal of the
 tailings. Subsequently, the landfill caught fire and radioactive contamination from the tailings
 was released from the landfill site to surrounding neighborhoods. EPA has designated the landfill
 as a Superfund Site and is planning to remediate it under CERCLA, but no remediation has yet
 commenced. The levels of radioactive releases from the restricted area of the Latty Avenue site
 have exceeded applicable federal health and environmental regulatory standards.

 Plaintiffs in the instant case acquired in 1999 a residence in Bridgeton, Missouri, located less
 than 700m from the fencepost boundary of the landfill. They seek to maintain in Missouri state
 courts claims for damages and other relief for contamination of their property under Missouri
 law of nuisance and trespass.

 Issues Addressed in this Declaration

 In this Declaration, I provide my expert opinion on three basic issues:

 First, do the plaintiffs’ claims fall under the exclusive federal jurisdiction of the Price Anderson
 Act and accordingly must be maintained in federal rather than state court?

 Second, are plaintiffs’ state law claims for nuisance and trespass preempted by the Price
 Anderson Act?

 Third, assuming that plaintiffs’ claims are governed by the Price Anderson Act, what is the
 standard that the plaintiffs must meet in order to establish a claim for property damage liability?
 More specifically, is it sufficient that they show that applicable federal radiation protection
 standards were exceeded at the fencepost of the Latty Avenue site and/or the Bridgeton Landfill,
 or must they show that they were exceeded on their property?


    I.      Plaintiffs’ Claims Do Not Fall Within the Exclusive Jurisdiction of the Price
            Anderson Act and Accordingly May be Maintained in Missouri State Courts
            under Missouri State Law

          The Price Anderson Act provides for exclusive federal court jurisdiction over “public
 liability” claims arising out of a “nuclear incident,” which includes “extraordinary nuclear
 occurrences.” The issue in this case is whether injuries caused by releases of radioactivity from
 the mill tailings disposed of at the SLAPS sites, Latty Avenue sites, and/or Bridgeton Landfill
 represent such an “incident” or “occurrence.” This question of statutory construction must be
 answered on the basis not only of the statutory language, but the role of Price Anderson Act
 public liability claims within the overall structure and purpose of the Act. Furthermore, we deal
 here with the question of whether a federal statute displaces and preempts state jurisdiction over
 liability claims based on state tort law. Based on federalism considerations, the Supreme Court

                                                   3
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 446 of 903 PageID #: 2127




 has held that in such cases a federal statute should not be interpreted as preemptive of traditional
 state common law remedies unless the intent of Congress to preempt them is clear. Cipollone v.
 Liggett Group, Inc., 505 U.S. 504 (1992). Applying these considerations and principles to the
 circumstances here, it is manifest that plaintiffs’ claims are not subject to the exclusive federal
 jurisdiction of the Price Anderson Act, and are not preempted by the Act; accordingly that such
 claims may be maintained in the Missouri state courts.

 The basic purpose of the Price Anderson Act was to redress the disincentives posed by the threat
 of far-reaching liability to private firms’ participation in the development of nuclear power and
 other nuclear-related activities involving certain types of nuclear materials, specifically special
 nuclear material, source material, and byproduct material. As set forth in 42 U.S. C. § 2210, the
 means by which Congress implemented this objective was to provide an a federally administered
 liability and insurance scheme to pay “public liability” claims (discussed below) in order to
 ensure compensation for injuries suffered by third parties caused by participating nuclear
 licensees or contractors, while at the same time providing those licensees or contractors with
 protection against the risk of massive, uninsurable liabilities. Authority to administer the system
 was originally given to the Atomic Energy Commission (“AEC”); its regulatory authorities were
 transferred in 1975 to the Nuclear Regulatory Commission (“NRC”) and its operational
 authorities to the Department of Energy. These government authorities are authorized to require
 nuclear licensees or contractors to establish a basic level of insurance or other financial
 responsibility to cover their nuclear-related liabilities; in turn, such licensees or contractors
 receive indemnity agreements under which the government will cover any excess liabilities. The
 liability of participating licensees or contractors is capped. Liabilities in excess of the cap are
 covered by an insurance pool established and overseen by AEC/NRC and financed by premiums
 assessed against nuclear facility operators. Also, all licensees receiving indemnity agreements
 are required to pay a fee to the government. This liability cap and insurance umbrella system,
 including government indemnity agreements, was designed to cushion liability risks for
 participating licensees and contractors conducting their nuclear related activities in accordance
 with federal licensing and regulatory requirements.

    A. Plaintiffs’ Claims Do Not Fall Within the Jurisdiction of the Price Anderson Act Because
       the Mill Tailings that Defendants Disposed of at the Bridgeton Landfill Are Not Subject
       to the Atomic Energy Act and the Price Anderson Act

 The Price Anderson Act’s public liability provisions cover “nuclear incident” for harms “arising
 out of or resulting from the radioactive, toxic, explosive or other hazardous properties of source,
 special nuclear, or byproduct material.” 42 U.S.C.§ 2014(q). The terms “special nuclear
 material,” “source material,” and “byproduct material.” are defined in the Atomic Energy Act
 (“AEA”). For the reasons explained below, the mill tailings disposed of by defendants in the
 Bridgeton landfill in 1973 did not fall within any of these three categories of materials, and
 therefore plaintiffs’ claims for injuries caused by radioactive releases from the mill tailings do
 not fall within the jurisdiction of the Price Anderson Act.

 The disposed mill tailings are not “special nuclear material,” which the AEA defines (1)
 plutonium, uranium enriched in the isotope 233 or in the isotope 235 . . . or (2) any material


                                                  4
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 447 of 903 PageID #: 2128




 artificially enriched by any of the foregoing . . . but does not include source material.” 42 U.S. C.
 § 2014(aa).

 The disposed mill tailings are not “source material,” which the AEA defines as “(1) uranium,
 thorium, or any other material which is determined by the Commission . . . to be source material;
 or (2) ores containing one or more of the foregoing materials, in such concentration as the
 Commission may by regulation determine from time to time.” 42 U.S. C. § 2014(z). Although
 Cotter apparently purchased the tailings issue here in the hope that they might be used to extract
 triuranium octoxide (U3O8), experience apparently proved that such extraction was infeasible,
 and Cotter disposed of the mill tailings as refuse in the Bridgeton Landfill.

 Finally, the disposed mill tailings are not “byproduct material.” At the time of the disposal in
 1973 and prior to the 1978 amendments discussed below, the Atomic Energy Act, Section 11(e),
 defined “byproduct material” as “any radioactive material (except special nuclear material)
 yielded in or made radioactive by exposure to the radiation incident to the process of producing
 or utilizing special nuclear material.” 68 Stat. at 922-924 (codified as amended at 42 U.S.C. §
 2014). This definition did not include mill tailings from the processing of uranium ores, which
 does not involve radiation exposures. Accordingly, AEC and subsequently NRC determined that
 mill tailings were not subject to their AEA regulatory authority. See Kerr-McGee Chem. Corp. v.
 U.S. Nuclear Regulatory Commission, 903 F.2d 1, 2-3 (D.C. Cir. 1990) (“The AEA made no
 provision for regulating waste materials generated during the extraction or concentrating of
 source material.”)

 Subsequently, Congress in 1978 enacted the Uranium Mill Tailings Radiation Control Act
 (UMTRCA), establishing a federal program for regulation and remediation of mill tailings. In
 doing so, it amended the AEA definition of “byproduct material” to include mill tailings,
 modifying Section 11(e) to add as subsection (2): “the tailings or wastes produced by the
 extraction or concentration of uranium or thorium from any ore processed primarily for its source
 material content.” 42 U.S. C.. § 2014(e)(2). NRC subsequently considered whether this expanded
 AEA definition of byproduct material applied retroactively to include mill tailings previously
 generated by facilities that had ceased operations prior to UMTRCA’s enactment. In an
 exceedingly thorough 25 page determination, the Director of the NRC Office of Nuclear
 Materials Safety and Safeguards determined, on behalf of the Commission, that such tailings are
 not “byproduct material” covered by the 1978 amendment to AEA and accordingly are not
 subject to regulation under UMTRCA. In the Matter of Envirocare of Utah and Snake River
 Alliance, 56 NRC 53 (2002). Under the controlling Supreme Court precedent established in
 Skidmore v. Swift & Co, 323 U.S. 134 (1944) this thorough, cogently reasoned determination,
 reflecting the expertise and informed judgment of NRC, must receive substantial judicial
 deference. Further, the Director’s determination accords with the general presumption against
 interpreting statutes as having retroactive application. Landgraf v. USI Film Prods, 511 U.S. 244
 (1994). Accordingly, the mill tailings generated by Mallinckrodt’s processing operations, that
 ceased in 1957, and which were disposed of by Cotter in the Bridgeton Landfill in 1973, were
 not and are not “byproduct material” subject to the AEA and therefore cannot provide the basis
 for a public liability action under the Price Anderson Act.




                                                   5
                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 448 of 903 PageID #: 2129




        B. Plaintiffs’ Claims Do Not Fall Within the Jurisdiction of the Price Anderson Act
          Because Defendants’ Disposal of Mill Tailings at the Bridgeton Landfill Was Not
          Undertaken Pursuant to an Appropriate Federal License or Indemnity Agreement

 As previously explained, the Price Anderson Act’s scheme for liability, insurance, and
 compensation for certain nuclear -related injuries, including capping operator liability, applies
 only to conduct undertaken pursuant to an appropriate federal license and/or government
 indemnity agreement. Defendants’ disposal of mill tailings at Bridgeton Landfill was not
 conducted pursuant to any such license and there is no evidence that it was undertaken pursuant
 to any such indemnity agreement. Accordingly, the radioactive releases from the Bridgeton
 Landfill do not represent a “nuclear incident” covered by the public liability provisions of the
 Price Anderson Act, and plaintiffs’ claims against defendants are not subject to the Act’s federal
 jurisdiction.

 The liability provisions of the Price Anderson Act apply only when the conduct causing injury
 was carried out in accordance with an appropriate government license and/or indemnity
 agreement.

 The Price Anderson Act provides for a scheme of “public liability” and compensation for injuries
 arising out of activities involving specified nuclear materials (as discussed above). More
 specifically, this scheme applies only to a “nuclear incident” “including an extraordinary nuclear
 occurrence.”

 “Public liability” is defined in 42 U.S.C. § 2014(w) as:

    any legal liability arising out of or resulting from a nuclear incident ... except ...
   (iii) whenever used in subsections (a), (c), and (k) of section 2210 of this title, claims for loss of, or
    damages to, or loss of use of property which is located at the site of and used in connection with the
    licensed activity where the nuclear incident occurs. ‘Public liability’ also includes damage to property
    of persons indemnified: Provided, That such property is covered under the terms of the financial
    protection required, except property which is located at the site of and used in connection with the
    activity where the nuclear incident occurs. (Emphasis added)

  “Nuclear incident” is defined in 42 U.S.C.§ 2014(q) as:

    any occurrence, including an extraordinary nuclear occurrence, within the United States causing,
    within or outside the United States, bodily injury, sickness, disease, or death, or loss of or damage to
    property, or loss of use of property, arising out of or resulting from the radioactive, toxic, explosive or
    other hazardous properties of source, special nuclear, or byproduct material.... And provided further,
    That as the term is used in section 2210(c) of this title, it shall include any such occurrence outside
    both the United States and any other nation if such occurrence arises out of or results from the
    radioactive, toxic, explosive, or other hazardous properties of source, special nuclear, or byproduct
    material licensed pursuant to subchapters V, VI, VII, and IX of this division, which is used in
    connection with the operation of a licensed stationary production or utilization facility or which moves
    outside the territorial limits of the United States in transit from one person licensed by the Nuclear
    Regulatory Commission to another person licensed by the Nuclear Regulatory Commission.
    (Emphasis added)


 “Extraordinary nuclear occurrence” is defined in 42 U.S.C.A. § 2014(j) as:

                                                            6
                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 449 of 903 PageID #: 2130




    any event causing a discharge or dispersal of source, special nuclear, or byproduct material from its
    intended place of confinement in amounts offsite, or causing radiation levels offsite, which the Nuclear
    Regulatory Commission or the Secretary of Energy, as appropriate, determines to be substantial, and
    which the Nuclear Regulatory Commission or the Secretary of Energy, as appropriate, determines has
    resulted or will probably result in substantial damages to persons offsite or property offsite..... The
    Nuclear Regulatory Commission or the Secretary of Energy, as appropriate, shall establish criteria in
    writing setting forth the basis upon which such determination shall be made. As used in this subsection,
    “offsite” means away from “the location” or “the contract location” as defined in the applicable
    Nuclear Regulatory Commission or the Secretary of Energy, as appropriate, indemnity agreement,
    entered into pursuant to section 2210 of this title. (Emphasis added)

 “Person indemnified” is defined in 42 U.S.C.A. § 2014(t) as:

    The term “person indemnified” means (1) with respect to a nuclear incident occurring within the
    United States or outside the United States as the term is used in section 2210(c) of this title, ... the
    person with whom an indemnity agreement is executed or who is required to maintain financial
    protection, and any other person who may be liable for public liability .... (Emphasis added)

 While hardly a model of legislative drafting, these provisions make sufficiently clear that the
 Act’s public liability provisions are limited to injuries resulting from activities carried on by a
 party in accordance with a government regulatory license and/or an agreement for government
 indemnification. This limitation is the logical corollary of the Price Anderson Act scheme of
 providing a liability cap and insurance umbrella for activities that are subject to government
 licensing and regulation and/or have a government indemnity agreement. The Act, as amended in
 1988 excludes punitive damages in public liability claims; such exclusion is logical in a
 government supervised insurance system that provides for assured compensation of those
 suffering injury, for capping nuclear operators’ liability, and for government regulatory controls
 that would provide safeguards against hazard.

 Defendants’ operations at the Latty Avenue and SLAPS sites do not appear to be the subject of
 any indemnity agreement with the United States. In fact, the transaction documents show that
 Cotter indemnified its predecessor in title. Furthermore, the disposal of mill tailings at Bridgeton
 Landfill was not undertaken pursuant to an appropriate federal license or government indemnity
 agreement, and accordingly do not give rise to a “public liability” claim under the exclusive
 jurisdiction of the Price Anderson Act.

 The landfill defendants have never had a government license or indemnity agreement. Cotter’s
 disposal of mill tailings at Bridgeton Landfill was not undertaken pursuant to or authorized by a
 federal license, and in fact violated the AEC license that it possessed, which was limited to the
 Latty Avenue site. There is no evidence that Cotter ever obtained a government indemnity
 agreement pursuant to the Price Anderson Act for its operations at any of the sites. Thus, landfill
 defendants and Cotter have failed to show that plaintiffs’ claims fall within the federal
 jurisdiction of the Price Anderson Act.

     II.      The Price Anderson Act Does Not Preempt Plaintiffs’ State Law Trespass and
              Nuisance Claims



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                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 450 of 903 PageID #: 2131




 As shown above, plaintiffs state law trespass and nuisance claims do not fall within the exclusive
 jurisdiction of the Price Anderson Act. As shown in this section of my Declaration, these state
 law claims are not preempted by the Price Anderson Act. They may accordingly be maintained
 in the Missouri state courts.

 In enacting the Price Anderson Act, Congress did not preclude maintenance of any and all state
 law claims for nuclear -related harms. As shown above, the Act provides jurisdiction only over
 those claims involving special nuclear, source, or byproduct material arising out of conduct by a
 defendant operating in accordance with an appropriate government license and/or indemnity
 agreement. It does not preempt state law claims that fall outside of its jurisdiction. The Act does
 not reflect congressional intent to occupy the entire field of all nuclear -related claims, nor would
 maintenance in state court under state law of claims not covered by the Act conflict with the
 Act’s scheme.

 The well-reasoned opinion by Judge (now Justice) Gorsuch for the court in Cook v. Rockwell Int’l
 Corp., 790 F.3d 1088, 1099 (10th Cir. 2015), cert. dismissed sub nom. Dow Chem. Co. v. Cook, 136 S.
 Ct. 2055 (2016), provides an exceedingly sound analysis of the issues and justification for these
 conclusions. As Judge Gorsuch shows, the Price Anderson Act does not extend to all nuclear -
 related activities and resulting injuries. Nor does it preempt the field, so as to preclude state law
 recovery for such injuries when they are not subject to compensation under the Act. Further, the
 congressional scheme in the Act can function perfectly well in tandem with state court decision
 of state law actions involving claims not covered by the Price Anderson Act system. Indeed, the
 availability of state law claims, which could include punitive damage awards, would strengthen
 the Price Anderson Act system by giving operators incentives to subject their activities to federal
 regulatory and financial responsibility/indemnity requirements.

 As Cook points out, courts that have stated in unqualified terms that the Price Anderson Act and
 its exclusive federal jurisdiction encompasses all nuclear-related injury claims have failed to
 address the limitations in the Act’s coverage. As shown above, the Act covers only claims
 arising out of a “nuclear incident” “including an extraordinary nuclear occurrence,”
 involving specified nuclear-related materials in activities subject to federal regulation and/or
 indemnity agreements. Precluding state law claims that do not meet these limitations would leave
 injured parties in limbo, without any remedy.

 Cook’s refusal to preempt all state law claims was anticipated in Bennett v. Mallinkrodt, Inc.,
 698 S.W.2d 854 (Mo. Ct. App. 1985), cert denied, 106 S. Ct. 2903 (1986), which held that action
 by plaintiffs who lived or worked near defendant’s radiopharmaceutical plant was not preempted
 by the Price Anderson Act. The court found that the Act embodied an underlying principle of
 interfering with state law to the minimum extent necessary. Id. at 860-861. After the Supreme
 Court declined to review the decision, the radiopharmaceutical industry unsuccessfully sought
 congressional amendment of the Price Anderson Act to preempt state law claims.

 As Cook properly emphasized, the federalism canon of statutory construction embraced by the
 Supreme Court dictates that the Price Anderson Act should not be interpreted to preempt state
 law claims that do not fall within its “public liability” scheme. Court must not interpret federal
 statutes to preempt traditional state tort law remedies unless the congressional intent to do so is


                                                   8
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 451 of 903 PageID #: 2132




 clear. Cipollone v. Liggett Group, Inc., 505 U.S. 504 (1992); Riegel v. Medtronic, Inc., 552 U.S.
 312, 334 (2008). No such intent can be found in the Price Anderson Act .

 Furthermore, interpreting the Price Anderson Act to preempt state law claims that do not qualify
 as “public liability” claims under the Act would leave injured parties without any redress for the
 harms that they have suffered. Depriving such parties of any remedy at all would likely violate
 due process. Under the canon of constitutional avoidance enunciated by the Supreme Court,
 courts should construe federal statutes so as to avoid presenting such serious constitutional
 issues. United States v. Witkovich, 353 U.S. 194 (1957); NLRB v. Catholic Bishop of Chicago,
 440 U.S. 490 (1979). Accordingly, courts should not interpret the Price Anderson Act to preempt
 state law claims for injuries for which PAA does not itself provide a remedy.

     III.    Assuming Arguendo that Plaintiffs’ Claims are Price Anderson Act “Public
             Liability” Actions, Plaintiffs Must Only Prove that Radioactive Releases from
             Latty Avenue Exceeded Federal Radiation Standards at the Fencepost; They
             Need Not Prove Exceedances on their Property

 In this part of my Declaration, I assume arguendo that plaintiffs’ claims for trespass and
 nuisance represent a Price Anderson Act public liability action. I conclude that in order to
 maintain such an action, plaintiffs must prove that releases of radioactivity from the SLAPS and
 Latty Avenue facilities exceeded federal radiation standards outside the restricted area or
 boundary of the facilities. They are not required to prove that such standards have been exceeded
 on their property.

 In re TMI, 67 F.3d 1103 (3d Cir. 1995), involved Price Anderson Act public liability actions for
 injuries allegedly suffered as a result of radioactive releases from the 3 Mile Island nuclear
 power plant. The Third Circuit held that in order to recover, plaintiffs must show that “(1) the
 defendants released radiation into the environment [in excess of the levels permitted by federal
 regulations]; (2) the plaintiffs were exposed to this radiation (although not necessarily at levels
 prohibited by [those regulations]); (3) plaintiffs have injuries; and (4) radiation was the cause of
 those injuries.”67 F.3d at 1110. It further held that the relevant regulations for determining an
 exceedance are the NRC regulations at 10 CFR§ 20.106, which define the levels of radioactivity
 permitted in liquid or airborne effluents released off of restricted premises. The Third Circuit
 rejected the argument that a breach of duty occurs only when persons are exposed to radiation in
 excess of federal exposure standards. “Instead, the regulations provide that a breach occurs
 whenever excessive radiation is released, whether or not anyone is present in the area
 exposed.” Id. at 1116.The Court of Appeals’ reasoning is eminently sound, and consistent with
 the public interest in ensuring compliance with all regulatory requirements for nuclear
 operations. The Third Circuit’s ruling on this point was correctly followed in McClurg
 v.Mallinckrodt, Inc., 2017 WL 2929444 (U.S. Dist. Ct, E.D. Missouri, Eastern Div. 2017).

  I declare under penalty of perjury that the foregoing is true and correct.




 Richard B. Stewart     Dated April 24 2018

                                                   9
                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 452 of 903 PageID #: 2133



                                       RICHARD B. STEWART

                                       - CURRICULUM VITAE -


 Employment/Appointments:

                         University Professor
                         John E. Sexton Professor of Law
                         Director, Center on Environmental, Energy and Land Use Law
                         New York University
 Courses Taught:

                         Environmental Law, Administrative Law, International Environmental Law and
                         Policy, Law and Globalization,

 Current Research Interests
 and Activities:

                         Co-founder of major research projects on Global Administrative Law and
                         MegaReg: Regulatory and Justice Dimensions of Economic Globalization,
                         Institute for International Law, New York University School of Law, in
                         collaboration with various universities around the world.,

                         Currently researching and preparing for publication books/articles on private and
                         hybrid global regulation, “megaregional” trade/regulatory regimes, climate
                         regulation and finance, climate, self-regulation in global supply chains, nuclear
                         waste law and policy, science, law, and governance in the Arctic, global
                         administrative law, environmental protection and market economics and
                         incentives.

 Previous Employment/Appointments:


         2012            Visiting Professor, Yale Law School

         2009-10         Fellow, The Straus Institute for the Advanced Study of Law and Justice

         2005-6, 1999    Visiting Professor of Law, University of Rome “La Sapienza”

         2000            Visiting Professor of Law, University of Bologna

         1993-2002       Of Counsel, Sidley and Austin, specializing in environmental regulation and
                         liabilities

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                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 453 of 903 PageID #: 2134




       1993:        Jean Monnet Visiting Professor
                    European University Institute, Florence

       1991-92:     Visiting Professor of Law
                    Georgetown University School of Law

       1989-91:     Assistant Attorney General for Environment and Natural Resources U.S.
                    Department of Justice

       1984-89:     Byrne Professor of Administrative Law
                    Harvard Law School

                    Member of the Faculty
                    J. F. Kennedy School of Government
                    Harvard University

       1986-87:     Visiting Professor of Law
                    University of Chicago Law School

       1984:        Visiting Fellow, European University Institute
                    Florence, Italy

       1980:        Visiting Scholar
                    U.S. Environmental Protection Agency

       1979-80:     Visiting Professor of Law
                    University of California, Berkeley

       1975-84:     Professor of Law
                    Harvard Law School

       1971-75:     Assistant Professor of Law
                    Harvard Law School

       1973:        Special Counsel, Senate Select Committee on
                    Presidential Campaign Activities

       1967-71:     Attorney, Covington Burling
                    888 Sixteenth Street, N.W.
                    Washington, DC 20006
                    Specializing in antitrust, regulatory, and general appellate litigation matters

       1966-67:     Law Clerk to Mr. Justice Potter Stewart

                                                 11
                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 454 of 903 PageID #: 2135



                        Supreme Court of the United States

 Other Current Activities, Memberships, Honors:

                        Advisory Trustee and Member, Litigation Review Committee, Environmental
                        Defense Fund

                        Management Committee and Researcher, Consortium for Risk-Based Evaluation
                        with Stakeholder Participation (CRESP), university-based nuclear waste cleanup
                        research and policy institution serving as independent advisor to U.S. Department
                        of Energy

                        Editorial Boards: Review of European Community and International
                        Environmental Law; Oxford Journal of Environmental Law; International Journal
                        of BioSciences and Technology (hon.)

                        Member, American Law Institute, Phi Beta Kappa; U.S. College of
                        Environmental Lawyers.

                        American Bar Association 2009 Annual Award for Environmental Stewardship


                        Fellow, International Association of Administrative law


                        Fellow, American College of Environmental Lawyers

                        Fellow, American Academy of Arts and Sciences;

                        Edmond J. Randolph Award, U.S. Department of Justice;

                        2009 American Bar Association Annual Award for Environmental Stewardship

                        Rhodes Scholar

                        Dr. (honors causa), Erasmus University, Rotterdam (1993); Awarded for
                        contributions to environmental law and protection through scholarship on
                        economic incentives for environmental protection and service as US Assistant
                        Attorney General in prosecuting EXXON for the Exxon Valdez oil spill.

                        Dr. (honors causa), University of Rome “La Sapienza” (2005). Awarded for
                        contributions to environmental and administrative law including through
                        scholarship on economic incentives for environmental protection.

 Past Activities:


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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 455 of 903 PageID #: 2136



                    Director, Health Effects Institute, 1997-2007


                    Principal Investigator, Project on International Trade and Regulatory Conflicts
                    over Genetically Modified Foods and Crops, with special emphasis on position of
                    developing countries. Funded by $435,000 grant from Rockefeller Foundation

                    Co-Principal Investigator, Project on Capacity-Building for Environmental
                    Legislation in the People’s Republic of China, training staff of Environmental
                    Protection Committee of National People’s Congress and relevant ministries and
                    assisting them in revising and strengthening China’s environmental laws. Grants
                    totally $1.4 million from Asian Development Bank.

                    Consultant to United Nations Commission on Trade and Developments
                    (UNCTAD) on legal and institutional issues presented in development of
                    international greenhouse gas emissions trading systems.

                    Member UNEP Group of Experts on Liability and Compensation for
                    Environmental Damage from Military Activities, 1995-1996

                    Chief Reporter, American Law Institute
                    Project on Product and Process Injuries, 1985-1989

                    Member, Board of Trustees, Environmental Defense Fund, 1976-1989
                    (Chairman, 1980-83). Advisory t Trustee, 1993-present.

                    U.S. Congress Office of Technology Assessment,
                    Advisory Committee on New Clean Air Act Issues

                    Academic Advisory Board, Foundation for Research on Economics and the
                    Environment

                    Consultant, Administrative Conference of the United States,
                    U.S. Environmental Protection Agency;
                    U.S. Federal Trade Commission;
                    President's Commission on Three Mile Island;
                    U.S. Congress Office of Technology Assessment;
                    National Research Council Committee on Environmental Decisionmaking and
                    Chairman, Panel on Legal Considerations

 Education:

        1963-66:    Harvard Law School
                    LL.B. magna cum laude

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                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 456 of 903 PageID #: 2137



                      Editor, Harvard Law Review

        1961-63:      Rhodes Scholar, Oxford University.
                      MA with First Class Honors in Philosophy,
                      Politics and Economics

        1957-61:      Yale University, B.A. summa cum laude
                      History, the Arts, Letters. Junior
                      Phi Beta Kappa

        1953-57:      University School, Shaker Heights, Ohio

 Permanent address:

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                           Mobile: (646) 306-1397




                                                14
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 457 of 903 PageID #: 2138



                                     SELECTED PUBLICATIONS

 Books and Monographs:

 Private and Hybrid Global Regulatory Governance (with Benedict Kingsbury) (forthcoming, Oxford
 University Press)

 Megaregulation Contested: Global Economic Ordering After TPP (co-editor and author) (forthcoming,
 Oxford University Press, 2018)

 Carbon Capture and Storage: Emerging Legal and Regulatory Issue (2d ed. 2018) (co-editor)

 Symposium on International Regulatory Cooperation and Conflict, 48 L.& Contemp Probs –(2016)(with
 R. Bull. N. Mahboubi & J. Wiener)

 Special Issue on Building Blocks for Addressing Climate Change, Climactic Change (
 2016)(with M. Oppenheimer and B. Rudyk)

 Hacia El Derecho Administrativo Global: Fundamentos, Principios y Ámbito de Aplicación (2015)
        (with Benedict Kingsbury)

 Fuel Cycle to Nowhere? U.S. Law and Policy on Nuclear Waste (2011) (with J. Stewart)

 Breaking the Logjam : Environmental Protection that Will Work (2010)(with D. Schoenbrod and K.
 Wyman)(paper ed. 2012)

 Climate Finance: Regulatory and Funding Strategies for Climate Change and Sustainable Development
 (with B. Kingsbury and B. Rudyk) (editor and principal author)(2009)

 Administrative Law and Regulatory Policy (7th ed.)(2008)(with S. Breyer, C. Sunstein & A. Vermuele)

 Symposium on Global Administrative Law (37:4 NYU Journal of International Law and Politics, 2005)
 (ed. with B. Kingsbury)

 Symposium on The Emergence of Global Administrative Law (68:3-4 Law and Contemporary Problems,
 2005) (ed. with B. Kingsbury, N. Krisch, and J. Weiner)

 Beyond Kyoto: Reconstructing Global Climate Policy (2003) (with J. Wiener)

 The Reformation of American Administrative Law (in Chinese) (2002)

 The Clean Development Mechanism: Building International Private-Public Partnership (United Nations
 Conference on Trade and Development) (2000) (lead author)




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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 458 of 903 PageID #: 2139



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 Global Regime (Cambridge University Press, 2000) (Editor, with R. Revesz & P. Sands)

 Legal Issues Presented By a Pilot International Greenhouse Gas Trading System, United Nations
         Conference on Trade and Development (1996) (with P. Sands and J. Wiener)

 Natural Resource Damages: A Legal, Economic and Policy Analysis. Washington, D.C. The
         National Legal Center for the Public Interest (1995)

 Analyzing Superfund: Economics, Science, and Law (Editor, with R. Revesz) (Resources for the Future
        1995)

 Markets Versus Environment? (The Robert Schuman Centre, European University Institute) (1995)

 Environmental Law and Policy, Little, Brown & Co. (1994) (with P. Menell)

 Integration Through Law: Environmental Protection Policy Law (1985) (with E. Rehbinder) De Guyter
          (paperback edition, 1987)

 Environmental Law & Policy (2d ed. 1978) (with J. Krier)

 Articles, Book Chapters, Essays and Reviews:

 Private And Hybrid Governance in a State-Centered World, in Private and Hybrid Global Regulatory
 Governance (with Benedict Kingsbury) (forthcoming, Oxford University Press)

 Megaregulatory Administrative Law: An Instrument of Political Control, in Megaregulation Contested:
 Global Economic Ordering After TPP (forthcoming, Oxford University Press, 2018) (co-author)

 Introduction: Contested Megaregulation, the Trans-Pacific Partnership, and the Future of Global
 Economic Ordering,

 TPP as Megaregulation, in Megaregulation Contested: Global Economic Ordering After TPP
 (forthcoming, Oxford University Press, 2018) (co-author)

 Remote Control: Treaty Requirements for Regulatory Procedures, 104 Cornell L. Rev.104 __
 (November 2018)] (co-author)

 Lancet Commission on Pollution and Health, Report (2017)(co-author)

 State Regulatory Capacity and Administrative Law and Governance under Globalization, in N. Parillo
 and J. Mashaw, eds., in N. Parrillo & J. Mashaw, eds Administrative Law from the Inside Out (2017)




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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 459 of 903 PageID #: 2140




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 El Derecho Administrativo Global: Fundamentos, Principios y Ámbito de
 Aplicación (with Benedict Kingsbury)(2017)

 Introduction to Special Issue on the Building Blocks Strategy for Addressing Climate Change, Climactic
 Change (2016)(with M. Oppenheimer and B. Rudyk)(2015-16)

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 Administrative Law (2016) (2014-15)

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 Responsiveness, 108 Am Jl Intl L 211 (2014)

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 (forthcoming, 2015)(with R. Bull. N. Mahboubi & J. Wiener)

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 Oppenheimer and B. Rudyk) (28 May 2013)

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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 460 of 903 PageID #: 2141




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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 461 of 903 PageID #: 2142



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        Environment 160 (with James L. Connaughton and Lesley C. Foxhall) (2001)

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         Economy, and Sustainable Development: (Richard Revesz, Philippe Sands and Richard Stewart
         eds.) Europe, the United States, and the Global Regime (Cambridge University Press, 2000)

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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 462 of 903 PageID #: 2143




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       Environmental Law, The Economy, and Sustainable Development: (Richard Revesz,
       Philippe Sands and Richard Stewart eds.) Europe, the United States, and the Global
        Regime (Cambridge University Press, 2000)

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        Regulatory Programs: Lessons from Section 316 of the Clean Water Act, 8 NYU Environmental
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        System, 88 Geo. L. J. 2167 (2000)

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         Community & International Environmental Law 290 (1996) (with P. Sands)

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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 463 of 903 PageID #: 2144




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         El Derecho Comparado (1993)

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        Institutions 1992 University of Chicago Legal Forum 41

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          Law Review 1329 (1992)

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        Resource Damages in the United States, 4 Milieu Aansprakelijkheid - Environmental Liability
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 464 of 903 PageID #: 2145



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          Environment: The Regulation of Genetically Engineered Organisms Used in the Environment
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       Organizations) 101 Harv. L. Rev. 371 (1987)

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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 465 of 903 PageID #: 2146



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        Collective Decision Making: Applications from Public Choice Theory (C. Russell, ed., 1979)

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        Judicial Review of Administrative Action, 7 Envir. L. 463 (1977)

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        Decisionmaking: Lessons From the Clean Air Act, Iowa L. Rev. (1977); also in Committee on
        Environmental Decision Making, National Research Council, IIB Decision Making in the
        Environmental Protection Agency (1977) (with P. Spector)

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        (1976) (with Roberts)

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                                                                                                3/18




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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 467 of 903 PageID #: 2148
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 468 of 903 PageID #: 2149
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 469 of 903 PageID #: 2150
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 470 of 903 PageID #: 2151
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 471 of 903 PageID #: 2152
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 472 of 903 PageID #: 2153
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 473 of 903 PageID #: 2154
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 474 of 903 PageID #: 2155
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 475 of 903 PageID #: 2156
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 476 of 903 PageID #: 2157
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 477 of 903 PageID #: 2158
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 478 of 903 PageID #: 2159
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 479 of 903 PageID #: 2160
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 480 of 903 PageID #: 2161
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 481 of 903 PageID #: 2162
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 482 of 903 PageID #: 2163
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 483 of 903 PageID #: 2164
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 484 of 903 PageID #: 2165
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 485 of 903 PageID #: 2166
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 486 of 903 PageID #: 2167
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 487 of 903 PageID #: 2168
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 488 of 903 PageID #: 2169
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 489 of 903 PageID #: 2170
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 490 of 903 PageID #: 2171
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 491 of 903 PageID #: 2172
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 492 of 903 PageID #: 2173
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 493 of 903 PageID #: 2174
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 494 of 903 PageID #: 2175
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 495 of 903 PageID #: 2176
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 496 of 903 PageID #: 2177
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 497 of 903 PageID #: 2178
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 498 of 903 PageID #: 2179
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 499 of 903 PageID #: 2180
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 500 of 903 PageID #: 2181
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 501 of 903 PageID #: 2182
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 502 of 903 PageID #: 2183
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 503 of 903 PageID #: 2184
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 504 of 903 PageID #: 2185
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 505 of 903 PageID #: 2186
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 506 of 903 PageID #: 2187
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 507 of 903 PageID #: 2188
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 508 of 903 PageID #: 2189
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 509 of 903 PageID #: 2190
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 510 of 903 PageID #: 2191
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 511 of 903 PageID #: 2192
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 512 of 903 PageID #: 2193
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 513 of 903 PageID #: 2194
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 514 of 903 PageID #: 2195
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 515 of 903 PageID #: 2196
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 516 of 903 PageID #: 2197
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 517 of 903 PageID #: 2198
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 518 of 903 PageID #: 2199
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 519 of 903 PageID #: 2200
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 520 of 903 PageID #: 2201
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 521 of 903 PageID #: 2202
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 522 of 903 PageID #: 2203
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 523 of 903 PageID #: 2204
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 524 of 903 PageID #: 2205
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 525 of 903 PageID #: 2206
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 526 of 903 PageID #: 2207
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 527 of 903 PageID #: 2208
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 528 of 903 PageID #: 2209
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 529 of 903 PageID #: 2210
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 530 of 903 PageID #: 2211
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 531 of 903 PageID #: 2212
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 532 of 903 PageID #: 2213
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 533 of 903 PageID #: 2214
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 534 of 903 PageID #: 2215
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 535 of 903 PageID #: 2216
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 536 of 903 PageID #: 2217
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 537 of 903 PageID #: 2218
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 538 of 903 PageID #: 2219
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 539 of 903 PageID #: 2220
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 540 of 903 PageID #: 2221
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 541 of 903 PageID #: 2222
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 542 of 903 PageID #: 2223
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 543 of 903 PageID #: 2224
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 544 of 903 PageID #: 2225
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 545 of 903 PageID #: 2226
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 546 of 903 PageID #: 2227
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 547 of 903 PageID #: 2228
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 548 of 903 PageID #: 2229
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 549 of 903 PageID #: 2230
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 550 of 903 PageID #: 2231
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 551 of 903 PageID #: 2232
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 552 of 903 PageID #: 2233
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 553 of 903 PageID #: 2234
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 554 of 903 PageID #: 2235
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 555 of 903 PageID #: 2236
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 556 of 903 PageID #: 2237
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 557 of 903 PageID #: 2238
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 558 of 903 PageID #: 2239
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 559 of 903 PageID #: 2240
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 560 of 903 PageID #: 2241
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 561 of 903 PageID #: 2242
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 562 of 903 PageID #: 2243
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 563 of 903 PageID #: 2244
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 564 of 903 PageID #: 2245
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 565 of 903 PageID #: 2246
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 566 of 903 PageID #: 2247
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 567 of 903 PageID #: 2248
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 568 of 903 PageID #: 2249
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 569 of 903 PageID #: 2250
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 570 of 903 PageID #: 2251
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 571 of 903 PageID #: 2252
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 572 of 903 PageID #: 2253
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 573 of 903 PageID #: 2254
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 574 of 903 PageID #: 2255
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 575 of 903 PageID #: 2256
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 576 of 903 PageID #: 2257
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 577 of 903 PageID #: 2258
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 578 of 903 PageID #: 2259
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 579 of 903 PageID #: 2260
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 580 of 903 PageID #: 2261
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 581 of 903 PageID #: 2262
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 582 of 903 PageID #: 2263
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 583 of 903 PageID #: 2264
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 584 of 903 PageID #: 2265
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 585 of 903 PageID #: 2266
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 586 of 903 PageID #: 2267
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 587 of 903 PageID #: 2268
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 588 of 903 PageID #: 2269
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                             THE UNITED STATES DISTRICT COURT FOR
                               THE EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


  MICHAEL DAILEY and ROBBIN DAILEY,
                                                                   Case No. 4:17-cv-00024
                                     Plaintiffs,

          v.

  BRIDGETON LANDFILL, LLC, et al.,

                                     Defendants.


           DEFENDANTS’ JOINT MOTION FOR LEAVE TO FILE A SUR-REPLY

          Defendants Cotter Corporation (N.S.L.) (“Cotter”) (improperly named as Cotter

  Corporation); Bridgeton Landfill, LLC (“Bridgeton”)1; Republic Services, Inc. (“Republic”); and

  Allied Services, LLC (“Allied Services”) (collectively, “Defendants”) respectfully request leave

  of this Court to file a sur-reply to the Reply brief filed by Plaintiff on April 24, 2018, ECF No.

  135.

          Plaintiffs have improperly attempted to introduce new issues through their reply brief and

  the attached Declaration of Plaintiffs’ undisclosed expert Richard Stewart (hereinafter, “Stewart

  Report”)—in clear defiance of basic procedural requirements and Court rules—for the purpose

  of prejudicing Defendants and foreclosing their ability to respond. Such prejudicial behavior

  should not be countenanced by the Court and, as such, Defendants should be permitted to file a

  sur-reply to address the new contentions in Plaintiffs’ reply brief, or, alternatively to strike the

  Stewart Report and all associated arguments. A proposed order granting Defendants leave to file

  a sur-reply is attached hereto as Exhibit A.


  1
   Rock Road Industries, Inc., named as a defendant by Plaintiffs, was merged into Bridgeton Landfill, LLC effective
  April 9, 2018. See ECF No. 133.


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                                        LEGAL STANDARD

         The local rules of the Eastern District of Missouri provide that a matter is fully briefed

  upon the filing of the original motion and memorandum, any memoranda in opposition, and any

  reply memoranda in support of the motion. Additional memoranda—namely a sur-reply—may

  be filed by the parties “only with leave of Court.” See E.D. Mo. L.R. 7-4.01(C).

         It is improper to raise a new argument in a reply brief. FTC v. Neiswonger, 580 F.3d

  769, 775 (8th Cir. 2009). As such, district courts routinely grant motions to file additional

  memoranda “when a party is ‘unable to contest matters presented to the court for the first time’

  in the last scheduled pleading.” See Ben-Kotel v. Howard Univ., 319 F.3d 532, 536 (D.C. Cir.

  2003) (quoting Lewis v. Rumsfeld, 154 F. Supp. 2d 56, 61 (D.D.C. 2001); see also Fun Servs. of

  Kansas City, Inc. v. Love, No. 11-0244, 2011 WL 1843253, at *3 (W.D. Mo. May 11, 2011)

  (permitting non-moving party to file sur-reply because plaintiff “raised some new arguments in

  her reply”). Here, Plaintiffs’ attempt to introduce new issues by means of the procedurally

  tenuous Stewart Report warrants granting Defendants leave to file a sur-reply.

                                            ARGUMENT

                  Plaintiffs’ Reply Brief Raises New Issues and Arguments Not
                            Previously Raised in Their Moving Papers

         In the instant case, Plaintiffs have unquestionably presented new issues in their reply

  brief that were not raised, in the first instance, in their moving papers. As such, if Defendants are

  not permitted an opportunity to file a sur-reply, they will be severely prejudiced.

         Here, Plaintiffs have improperly appended, incorporated, and relied upon the Stewart

  Report, in which Mr. Stewart purports to “provide [his] expert opinion” to address: (1) whether

  “plaintiffs’ claims fall under the exclusive federal jurisdiction of the Price-Anderson Act”; (2)

  whether “plaintiffs’ state law claims for nuisance and trespass [are] preempted by the Price-



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  Anderson Act”; and (3) “what is the standard that the plaintiffs must meet in order to establish a

  claim for property damage liability.” As a preliminary matter, these “expert” opinions relate to

  purely legal issues, such as the nature of this Court’s jurisdiction, the preemptive effect of the

  Price-Anderson Act over certain state-law based causes of action, and the applicable legal

  standard plaintiffs must meet to plead a claim for property damages under the PAA. It is

  hornbook law, however, that experts may not opine regarding purely legal issues or give

  opinions that amount to nothing more than conclusions of law. S. Pine Helicopters, Inc. v.

  Phoenix Aviation Managers, Inc., 320 F.3d 838, 841 (8th Cir. 2003) (“As we have had occasion

  to remark before . . . expert testimony on legal matters is not admissible. Matters of law are for

  the trial judge . . . .”); see also In re Genetically Modified Rice Litigation, 666 F. Supp. 2d 1004,

  1025 (E.D. Mo. 2009) (stating that “it is not appropriate for expert witnesses to draw legal

  conclusions” and that “[e]xpert witnesses must do more than simply summarize documents with

  a tilt favoring a litigant) (internal quotation marks omitted)); Peters v. Woodbury Cnty., 979 F.

  Supp. 2d 901 (N.D. Iowa 2013) (stating that “an expert may not opine that the conduct in

  question transgressed the applicable legal standard”); Barragan v. Tyson Foods, Inc., 2008 WL

  1776439, at *1, *8 (N.D. Iowa Apr. 17, 2008) (striking witnesses designation as expert and

  concluding, inter alia, that her testimony “are comprised of nothing more than inadmissible legal

  conclusions”). Indeed, the Stewart Report appears to be little more than an additional legal brief

  filed in further support of Plaintiffs’ motion. As such, Defendants require additional time to

  evaluate the Stewart Report, consider its substance and, if necessary, depose Mr. Stewart.

         Furthermore, Plaintiffs’ attempt to introduce the Stewart Report at this stage in the

  litigation runs roughshod over the basic procedural requirements applicable to expert reports and

  the corresponding protections otherwise accorded to Defendants. Plaintiffs’ inclusion of and




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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4136Filed:
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  reliance upon the Stewart Report in their reply brief has denied Defendants the opportunity to

  address any of the “expert opinions” discussed by Mr. Stewart. At a minimum, Defendants must

  be afforded a meaningful chance to respond to the Stewart Report and Plaintiffs’ argument

  reliant upon the same.

          Setting aside the fact that the Stewart Report improperly opines regarding purely legal

  issues, Plaintiffs failed to disclose the identity of Mr. Stewart to Defendants, in contravention of

  intent of Federal Rule of Civil Procedure 26(a)(2)(A). Further, Plaintiffs failed to provide

  Defendants with a copy of the Stewart Report prior to attaching it in support of their reply brief,

  clearly ignoring the spirit and intent of Rule 26(a)(2)(B). Disturbingly, it appears that Plaintiffs’

  decision to withhold the Stewart Report was calculated to deny Defendants the chance to depose

  Mr. Stewart pursuant to Rule 26(b)(4)(A), and to engage an end-run around the parties’

  upcoming dispositive motions concerning, among other things, the standard applicable to

  Plaintiffs’ claims (a topic about which the Stewart Report purports to opine).

         Ultimately, given the new issues raised in the Stewart Report, the fact that Mr. Stewart’s

  “opinions” pertain to purely legal issues and constitute legal conclusions, and the inherent

  prejudice to Defendants posed by Plaintiffs’ decision to ignore basic discovery rules, Defendants

  should be allowed file a sur-reply to Plaintiffs’ reply brief. Furthermore, Defendants should be

  given time to move to strike the Stewart Report. As such, Defendants request two weeks – a

  period equal to the amount of time Plaintiffs had to prepare their reply brief – through and

  including May 8, 2018, to file a sur-reply.

                                           CONCLUSION

         Defendants’ Motion for Leave to File a Sur-reply should be granted. Plaintiffs’ attempt

  to introduce new issues by means of the Stewart Report not only prejudices Defendants, but also




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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4136Filed:
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                                            Filed: 04/26/18Page: 6145 of
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  ignores basic procedural requirements for relying upon expert evidence. For the foregoing

  reasons, Defendants respectfully request permission to file a sur-reply to Plaintiffs’ Reply Brief

  on or before May 8, 2018.


  Dated: April 26, 2018                           Respectfully submitted,

                                                  /s/ Stephanie R. Feingold
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4136Filed:
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                                              REPUBLIC SERVICES, INC, and
                                              ALLIED SERVICES, LLC.




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                     EXHIBIT A
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                        THE UNITED STATES DISTRICT COURT FOR
                          THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


  MICHAEL DAILEY and ROBBIN DAILEY,
                                                        Case No. 4:17-cv-00024
                                Plaintiffs,
                                                        [PROPOSED] ORDER
         v.

  BRIDGETON LANDFILL, LLC, et al.,

                                Defendants.


        This matter is before the Court on Defendants’, Cotter Corporation (N.S.L.) (improperly

 named as Cotter Corporation); Bridgeton Landfill, LLC; Republic Services, Inc.; and Allied

 Services, LLC (collectively, “Defendants”), Motion for Leave to File Sur-reply. Having fully

 considered the motion, being duly advised as to the merits and for good cause shown,

        IT IS HEREBY ORDER THAT Defendants’ motion is granted;

        IT IS FURTHER ORDERED THAT Defendants shall have two (2) weeks, through

 and including May 8, 2018, to file a sur-reply.

        SO ORDERED this ____ day of __________, 2018.




                                                    Honorable Catherine D. Perry, U.S.D.J.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 26, 2018, I electronically filed the foregoing document

 with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

 filing to counsel of record, and caused the same to be served upon the following by U.S. mail,

 first-class postage:


  Celeste Brustowicz
  Victor T. Cobb
  Cooper Law Firm L.L.C.
  1525 Religious Street
  New Orleans, LA 70130

  Barry J. Cooper, Jr.
  Cooper Law Firm, L.L.C.
  508 St. Philip Street
  New Orleans, LA 70116



                                                              /s/ Stephanie Feingold
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

   MICHAEL DAILEY, et al.,                            )
                                                      )
          Plaintiffs,                                 )
                                                      )
          v.                                          )        Case No. 4:17 CV 24 CDP
                                                      )
   BRIDGETON LANDFILL, LLC, et al.,                   )
                                                      )
          Defendants.                                 )

                             PLAINTIFFS’ OBJECTION TO
                        DEFENDANT’S JOINT MOTION FOR LEAVE


         NOW COMES, through undersigned counsel, Michael and Robin Dailey, who object to

  defendants’ joint motion for leave to file additional briefing. The delay in ruling on plaintiffs’

  motion means the Daileys will continue to incur unnecessary expenses. As it stands, they have

  participated in three-CMO related depositions and defendants have a fourth scheduled in

  Masachusetts on May 15, 2018.

                                               Respectfully submitted,

                                               /s/ Celeste Brustowicz                          .
                                               Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                               Celeste Brustowicz (LSBA 16835), Pro Hac Vice
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                                               ATTORNEYS FOR PLAINTIFFS,
                                               MICHAEL AND ROBBIN DAILEY

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 27, 2018, I electronically filed the foregoing document with
  the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to
  counsel of record.

                                               /s/ Celeste Brustowicz                             .
                                               Celeste Brustowicz (LSBA 16835)




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                          IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 MICHAEL DAILEY, et al.,                             )
                                                     )
                 Plaintiffs,                         )
                                                     )
 vs.                                                 )
                                                     )   Case No. 4:17-cv-00024-CDP
 BRIDGETON LANDFILL, LLC, et al.,                    )
                                                     )
                 Defendants.                         )

        DEFENDANTS BRIDGETON, REPUBLIC, AND ALLIED SERVICES’
                             SUR-REPLY TO
  PLAINTIFFS’ MOTION FOR LEAVE TO AMEND, MOTION TO REMAND, MOTION
   TO STAY PENDING DISCOVERY AND, ALTERNATIVELY, MOTION TO AMEND
                       CASE MANAGEMENT ORDER


         I.      Introduction

         Plaintiffs’ Reply to Defendants’ Oppositions to Plaintiffs’ Motion for Leave to Amend,

  Motion to Remand, Motion to Stay pending Discovery and, Alternatively, Motion to Amend

  Case Management Order (“Reply,” Doc. No. 135) makes new arguments not made in either

  Plaintiffs’ original Motion or any Defendants’ Response. Plaintiffs also attach exhibits not found

  in any prior filings. Specifically, Plaintiffs for the first time introduce an “expert,” Richard

  Stewart, to allege the Price-Anderson Act (“PAA”) is inapplicable. See Doc. No. 135 at 3-4.

  Plaintiffs rely on a nine-page single-spaced declaration by Stewart never previously filed or

  produced. Id. Ex. 3 (“the Stewart Report”). Accordingly, Defendants Bridgeton Landfill, LLC

  (“Bridgeton”), Republic Services, Inc. (“Republic”), and Allied Services, LLC (“Allied

  Services”) (collectively, “Defendants”), file this sur-reply specifically opposing Plaintiffs’ new

  material inappropriately added to the Reply.
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                           Doc.                 01/28/22
                                            Filed: 05/08/18Page: 6222 of
                                                             Page:    of 903 PageID
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         II.     Legal Standards

         It is improper to raise a new argument in a reply brief. See Fed. Trade Comm'n v.

  Neiswonger, 580 F.3d 769, 775 (8th Cir. 2009). A reply “must be limited to addressing the

  arguments raised by the [response],” Petty v. Portofino Council of Coowners, Inc., 702 F. Supp.

  2d 721, 730 n.3 (S.D. Tex. 2010).

         Experts may not opine on purely legal issues or give opinions that amount to nothing

  more than conclusions of law. S. Pine Helicopters, Inc. v. Phoenix Aviation Managers, Inc., 320

  F.3d 838, 841 (8th Cir. 2003) (“As we have had occasion to remark before . . . expert testimony

  on legal matters is not admissible. Matters of law are for the trial judge ….”); see also In re

  Genetically Modified Rice Litigation, 666 F. Supp. 2d 1004, 1025 (E.D. Mo. 2009) (“it is not

  appropriate for expert witnesses to draw legal conclusions,” and “[e]xpert witnesses must do

  more than simply summarize documents with a tilt favoring a litigant”) (internal quotation marks

  omitted)); Peters v. Woodbury Cnty., 979 F. Supp. 2d 901 (N.D. Iowa 2013) (stating that “an

  expert may not opine that the conduct in question transgressed the applicable legal standard”);

  Barragan v. Tyson Foods, Inc., 2008 WL 1776439, at *1, *8 (N.D. Iowa Apr. 17, 2008) (striking

  witness’s designation as expert and concluding, inter alia, that her testimony “are comprised of

  nothing more than inadmissible legal conclusions”).

         III.    Argument

                 A.      Plaintiffs’ Disclosure In Their Reply Is Inappropriate

         Defendants learned of Stewart as Plaintiffs’ expert for the first time in the Reply. Neither

  the Stewart Report nor Stewart’s identify had ever been disclosed previously. This eliminates

  Defendants’ ability to respond to Plaintiffs’ arguments. Such practice frustrates the Federal

  Rules of Civil Procedure’s system of Motion, Response, Reply which allow the parties to ferret




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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4139Filed:
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  out their positions to the Court. See Neiswonger, 580 F.3d at 775 (improper to raise new

  argument in reply). Introducing a brand new expert at this late stage is inappropriate.

         Highlighting the languid approach Plaintiffs have taken to timely disclosures, Stewart

  was disclosed in a reply in support of Plaintiffs’ own motion for which they have the burden of

  persuasion. That is, even if Plaintiffs thought a motion paper sufficed as proper disclosure

  (which, it would not), Plaintiffs could have named Stewart in the original Motion. Having failed

  to do so, Plaintiffs caused Defendants to have to ask for leave to file a sur-reply, the Court to rule

  on Defendants’ motion for leave, and Defendants to file the instant sur-reply. This duplication of

  the proceedings only impedes efficient resolution of this matter.

                 B.      Stewart Presents Improper Legal Opinions

         Reliance on Stewart is also inappropriate because he opines only on purely legal issues.

  His Report is essentially a new brief in the guise of an exhibit. In fact, the guise is rather thin.

  The Stewart Report’s stated goals are to provide “expert opinion” on (1) whether “plaintiffs’

  claims fall under the exclusive federal jurisdiction of the Price-Anderson Act”; (2) whether

  “plaintiffs’ state law claims for nuisance and trespass [are] preempted by the Price-Anderson

  Act”; and (3) “what is the standard that the plaintiffs must meet in order to establish a claim for

  property damage liability.” Doc. No. 135-3 at 3. These are clearly legal questions on which no

  expert is required.

         Stewart’s stated qualifications are, essentially, that he has practiced as an environmental

  law attorney and has served as a law school professor. Id. at 1. Plaintiffs have essentially

  brought in another lawyer for their legal team to tell the Court how to rule. He is making

  arguments for Plaintiffs, yet it is unclear whether he has been admitted to practice in this Court,

  where he is licensed, and whether he meets the Court’s requirements for appearance in this case.




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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4139Filed:
                           Doc.                 01/28/22
                                            Filed: 05/08/18Page: 6244 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2305
                                                                                     2251



           Stewart admits that whether Plaintiffs’ claims are subject to the exclusive jurisdiction of

  the PAA is a “question of statutory construction.” See id. at 3-7. He also waxes about Cook v.

  Rockwell Int’l Corp., 790 F.3d 1088 (10th Cir. 2015), which the Court has already analyzed

  (Doc. No. 89 at 11-13). See id.at 7-9. Stewart offers opinion as well on the proper standard for a

  PAA claim. Id. at 9. This opinion is truly only a commentary on court cases In re TMI, 67 F.3d

  1103 (3rd Cir. 1995) and McClurg v. Mallinckrodt, Inc., 2017 WL 2929444 (E.D. Mo. July 7,

  2017). Id. Such conclusions are purely the province of the Court and inappropriate for an expert

  witness. See, e.g., S. Pine Helicopters, Inc., 320 F.3d at 841 (legal opinion are “matters of law

  are for the trial judge”) In re Genetically Modified Rice Litigation, 666 F. Supp. 2d at 1025

  (“[e]xpert witnesses must do more than simply summarize documents with a tilt favoring a

  litigant.”).

           C.       Stewart’s Improper Legal Opinions are Based on Unsupported Factual
                    Assumptions

           The Stewart Report is also faulty in that it is based on factual assumptions not supported

  in the record. Stewart relies on a conclusion that the materials in the West Lake Landfill are

  “uranium mill tailings.” Doc. No 135-3 at 2-5. Therefore, he surmises, the material cannot be

  part of a PAA claim. Id. Stewart never explains why he thinks the materials are mill tailings.

  The closest Defendants find to an explanation is the blanket description that the Report is based

  on “factual assumptions and documents” provided by Plaintiffs’ counsel.1 Id. at 2. In fact, the

  material at the West Lake Landfill has never been determined to be mill tailings. Stewart’s

  failure to state the basis for his opinion is compounded by Plaintiffs’ late disclosure prohibiting




           1
            Defendants Bridgeton, Republic and Allied reserve to another day, after an opportunity to depose
  Professor Stewart, the question whether an attorney, offering legal opinions to a Court is permitted to rely on factual
  assumptions provided by counsel, rather than facts.



                                                           -4-
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4139Filed:
                           Doc.                 01/28/22
                                            Filed: 05/08/18Page: 6255 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2306
                                                                                     2252



  Defendants from taking Stewart’s deposition. Because the Stewart Report relies on unsupported

  assumptions, its conclusions cannot be considered.

            IV.    Conclusion

            The new arguments and expert report filed by Plaintiff for the first time in their Reply go

  beyond the allowable scope of a reply brief and beyond the proper use of an expert. The

  materials do more than simply respond to the positions taken in Defendants’ Response. Rather,

  Plaintiffs attempt to add to their legal team through the Stewart Report. Plaintiffs’ reliance in

  their Reply brief on an expert whom they had never before disclosed cannot be permitted. The

  gamesmanship deprived Defendants of the ability to depose Stewart and otherwise defend

  against his conclusions. Nor does it foster the cooperation and transparency both the Federal

  Rules and this Court encourage between parties. Plaintiffs’ Reply should have stayed within the

  confines of Defendants’ Response. Having failed to do so, Plaintiffs only burden the Court with

  additional filings and delay resolution of this matter. The Reply as a whole does not provide any

  founded reason for granting Plaintiffs’ Motion. Accordingly, Plaintiffs’ Motion should be

  denied.




                                                    -5-
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4139Filed:
                           Doc.                 01/28/22
                                            Filed: 05/08/18Page: 6266 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2307
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  Dated: May 8, 2018                                   Respectfully submitted,


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                                                       REPUBLIC SERVICES, INC.; AND
                                                       ALLIED SERVICES, LLC


                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 8, 2018, I electronically filed the foregoing document via the
  Court’s CM/ECF system, which will serve notice on all counsel of record.

                                                       /s/    William G. Beck




                                                 -6-
                                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    141Filed: 01/28/22
                                          Filed: 05/08/18Page: 627
                                                           Page:   of 16
                                                                 1 of 903PageID
                                                                          PageID#:#:2256
                                                                                     2308




                             THE UNITED STATES DISTRICT COURT FOR
                               THE EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


 MICHAEL DAILEY and ROBBIN DAILEY,

                                     Plaintiffs,                    Case No. 4:17-cv-00024

          v.

 BRIDGETON LANDFILL, LLC, et al.,

                                     Defendants.


  SUR-REPLY IN OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE TO AMEND
   COMPLAINT TO DISMISS PRICE-ANDERSON ACT CLAIMS AND REINSTATE
     STATE LAW CLAIMS, TO REMAND, TO STAY PENDING DISCOVERY OR,
         ALTERNATIVELY, TO AMEND CASE MANAGEMENT ORDER

          With the permission of the Court (Dkt. 137), Defendant Cotter Corporation (N.S.L.)

 (“Cotter”) (improperly named as Cotter Corporation) submits this Sur-Reply in further

 opposition to Plaintiffs Michael Dailey and Robbin Dailey’s (“Plaintiffs”) pending motion (Dkt.

 123) (“Motion”).

          Instead of responding to the substantial body of legal authority cited in Defendants’ briefs

 in opposition (Dkt. 128, 129),1 Plaintiffs, in their reply brief (Dkt. 135), have improperly resorted

 to introducing new arguments, documents and issues. This defect is most notable in the newly

 introduced declaration from Richard Stewart (“Stewart Report”), which purports to provide

 expert opinions on purely legal issues in support of their motion, as if Stewart’s opinion carries

 greater weight than the text of the Price-Anderson Act (“PAA”), its legislative history,2 and the

 1
   Plaintiffs do not appear to contest that the proper standard to evaluate their motion to amend is Rule 41(a), which
 governs voluntary dismissals (and thereby focuses on prejudice to defendants), rather than Rule 15(a), which
 governs amendment of complaints.
 2
   Plaintiffs also conspicuously fail to address the legislative history cited in the Landfill Defendants’ brief in
 opposition, which directly undermines the rationale used in Strong v. Republic Servs., 2017 WL 4758958 (E.D. Mo.
 Oct. 20, 2017) (see Dkt. 129 at 11). Plaintiffs also erroneously argue that Court’s decision in Strong involved “the


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 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     141Filed: 01/28/22
                                           Filed: 05/08/18Page: 628
                                                            Page:   of 16
                                                                  2 of 903PageID
                                                                           PageID#:#:2257
                                                                                      2309




  pronouncements from multiple federal courts that have decided against Plaintiffs’ stated position.

  The Stewart Report is clearly improper legal opinion that invades the province of the Court, and

  this Court should accordingly strike it. In addition, Plaintiffs’ reliance in their reply on an

  inapposite and non-binding staff director decision from the Nuclear Regulatory Commission

  (“NRC”) to support their claim that the radioactive materials giving rise to their claims against

  Defendants were not subject to federal regulation, and thus fall outside the scope of the PAA, 42

  U.S.C. § 2011 et seq., exceeds the scope of the issues in the Motion and opposition briefs, and in

  any event fails in its own right. Furthermore, Plaintiffs contend that this Court should ignore the

  Third Circuit’s well-reasoned and thoughtful opinion in Estate of Ware v. Hosp. of the Univ. of

  Pa., 871 F.3d 273, 282-83 (3rd Cir. 2017), simply because a petition for writ of certiorari was

  filed with the Supreme Court in connection with that case and “because the University of

  Pennsylvania was licensed for the same activities that were sued upon,” which they contend “is

  not the case here.” Dkt. 135 at 4. However, the mere filing of a petition for certiorari does not

  strip Ware of its persuasive authority, nor does the existence of a license that Plaintiffs find

  acceptable in Ware make the reasoning of the Ware II opinion any less applicable to this case.

  Similarly, Plaintiffs’ introduction of new arguments alleging criminal activity is not only

  improper for a reply brief, but outside the scope of this action altogether, not to mention

  inflammatory and wholly unsupported. Lastly, Plaintiffs have provided no basis to modify the

  January 2, 2018 Case Management Order and March 6, 2018 Amended Case Management Order

  (collectively, the “CMO”), see Dkts. 102 & 119, which properly limit the scope of discovery in

  this case to the threshold issue of whether Plaintiffs can demonstrate actionable levels of



  same defendants and the same issues” as this case, and so, the same result should follow. As previously stated by
  Cotter in its opposition brief, Cotter was never a party to the Strong matter, nor did Judge Hamilton hold in Strong
  that the materials disposed of in the West Lake Landfill were, in fact, uranium mill tailings. See Dkt. 129, p. 13.
  Finally, Strong was wrongly decided, and this Court should not follow it.


                                                           -2-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    141Filed: 01/28/22
                                          Filed: 05/08/18Page: 629
                                                           Page:   of 16
                                                                 3 of 903PageID
                                                                          PageID#:#:2258
                                                                                     2310




 radioactive contamination on their property. For these reasons, Plaintiffs’ reply brief does not

 cure the fundamental defects of their moving brief and their Motion should be denied, and the

 Stewart Report should be disregarded and stricken altogether.

                                           ARGUMENTS

 I.     The Court Should Disregard the Stewart Report Given that It Is Procedurally
        Improper and Substantively Defective

        The Court should disregard the Declaration of Richard Stewart (“Stewart Report”)—a

 document which is at the very core of Plaintiffs’ reply brief—given that it has been submitted in

 contravention of basic rules of procedure and contains glaring substantive defects.

        As a threshold matter, “[i]t is generally improper to raise a new argument in a reply

 brief.” Fed. Trade Comm'n v. Neiswonger, 580 F.3d 769, 775 (8th Cir. 2009). Here, Plaintiffs

 have improperly used their reply brief to address a range of topics that exceed the scope of both

 their moving papers as well as Defendants’ opposition briefs, including, but not limited to: the

 entirety of the Stewart Report, as well as the topics and issues about which Stewart purports to

 opine, see Dkt. 135, pp. 3-4, 11; Dkt. 135-3; Plaintiffs’ newly minted claims that Defendants

 have acted in an illegal fashion and violated 18 U.S.C. § 831, a federal criminal statute chiefly

 concerned with the use of nuclear materials by terrorists, see Dkt. 135, pp. 1, 3, 7; and Plaintiffs’

 reliance on “some non-certified documents from an EPA proceeding wherein Cotter states that

 they have no connection to the West Lake Landfill,” see Dkt. 135, p. 7; Dkt. 135-6. Ultimately,

 “the scope of the reply brief must be limited to addressing the arguments raised by the

 [response],” Petty v. Portofino Council of Coowners, Inc., 702 F. Supp. 2d 721, 730 n.3 (S.D.

 Tex. 2010), and Plaintiffs’ consistent efforts to skirt basic procedural norms should not be

 countenanced.




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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    141Filed: 01/28/22
                                          Filed: 05/08/18Page: 630
                                                           Page:   of 16
                                                                 4 of 903PageID
                                                                          PageID#:#:2259
                                                                                     2311




          A.       Plaintiffs Have Ignored Basic Procedural Norms by Incorporating the
                   Stewart Report as Part of Their Reply Brief

          Plaintiffs’ reliance upon the Stewart Report is wholly improper at this stage in the

 litigation given that such reliance violates the terms and spirit of a host of applicable rules of

 procedure. As such, the Court should strike the Stewart Report.

          Plaintiffs failed to disclose the Stewart Report—which purports to provide Stewart’s

 “expert opinion”—to Defendants prior to including it in the reply brief, in violation of various

 rules concerning the use of expert reports and testimony. Not only did Plaintiffs fail to disclose

 the identity of Stewart to Defendants at any point in time, thus violating the intent of Rule

 26(a)(2)(A), Plaintiffs also failed to provide Defendants with a copy of the Stewart Report prior

 to attaching it in support of their reply brief, clearly ignoring the spirit and intent of Rule

 26(a)(2)(B). It appears that Plaintiffs’ decision to withhold the Stewart Report (thus denying

 Defendants the chance to timely depose Stewart pursuant to Rule 26(b)(4)(A)) was calculated to

 engage in an end-run around the parties’ upcoming dispositive motions concerning, among other

 things, the standard applicable to Plaintiffs’ claims (a topic about which the Stewart Report

 purports to opine). Ultimately, Plaintiffs’ efforts to skirt the basic procedural requirements for

 the introduction of expert reports, opinions and testimony have prevented Cotter from probing

 the bases for Stewart’s purported expert opinions, resulting in severe prejudice to Cotter.3

          Given Plaintiffs’ disregard for the rules and procedures otherwise applicable to their

 reliance on expert opinions, as well as their obvious gamesmanship, the Court should disregard

 the Stewart Report to protect Cotter from further prejudice.
 3
   Ironically, throughout their reply brief, Plaintiffs complain that they have been prejudiced by Cotter. For instance,
 they complain that “Defendants attach a declaration by [counsel for Cotter] authenticating a number of licenses
 issued by the Atomic Energy Commission.” Dkt. 135, p. 8. Cotter did not attach this declaration to its opposition
 brief, however; rather, this declaration was part of the record for the Defendants’ February 27, 2017 opposition to
 Plaintiffs’ motion for remand. See Dkt. 64-1 (Declaration of Stephanie Feingold); Dkts. 64-2 through 64-5 (relevant
 licenses). It is unclear how Plaintiffs are prejudiced by Cotter citing materials that have been a part of the record of
 this case for well over a year.


                                                           -4-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                    141Filed: 01/28/22
                                          Filed: 05/08/18Page: 631
                                                           Page:   of 16
                                                                 5 of 903PageID
                                                                          PageID#:#:2260
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        B.      Stewart’s Opinions Concerning Purely Legal Matters and His Conclusions of
                Law Exceed the Scope of Proper Expert Testimony

        Setting aside Plaintiffs’ indifference toward the procedural requirements surrounding the

 use of expert reports, opinions, and testimony, the Stewart Report purports to opine on a range of

 topics that exceed the scope of permissible expert testimony.

        It is well established that experts may not opine regarding purely legal issues or give

 opinions that amount to nothing more than conclusions of law. S. Pine Helicopters, Inc. v.

 Phoenix Aviation Managers, Inc., 320 F.3d 838, 841 (8th Cir. 2003) (“As we have had occasion

 to remark before . . . expert testimony on legal matters is not admissible. Matters of law are for

 the trial judge ….”); see also In re Genetically Modified Rice Litigation, 666 F. Supp. 2d 1004,

 1025 (E.D. Mo. 2009) (“it is not appropriate for expert witnesses to draw legal conclusions,” and

 “[e]xpert witnesses must do more than simply summarize documents with a tilt favoring a

 litigant”) (internal quotation marks omitted)); Peters v. Woodbury Cnty., 979 F. Supp. 2d 901

 (N.D. Iowa 2013) (stating that “an expert may not opine that the conduct in question transgressed

 the applicable legal standard”); Barragan v. Tyson Foods, Inc., 2008 WL 1776439, at *1, *8

 (N.D. Iowa Apr. 17, 2008) (striking witness’s designation as expert and concluding, inter alia,

 that her testimony “are comprised of nothing more than inadmissible legal conclusions”).

        Despite these holdings from courts within the Eighth Circuit, in the Stewart Report,

 Stewart purports to “provide [his] expert opinion” concerning: (1) whether “plaintiffs’ claims fall

 under the exclusive federal jurisdiction of the Price-Anderson Act”; (2) whether “plaintiffs’ state

 law claims for nuisance and trespass [are] preempted by the Price-Anderson Act”; and (3) “what

 is the standard that the plaintiffs must meet in order to establish a claim for property damage

 liability.” See Dkt. 135-3, p. 3. His “expert” opinions concerning these purely legal issues,

 however, as well as his accompanying legal conclusions, stray far afield of what is permitted in



                                                 -5-
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 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     141Filed: 01/28/22
                                           Filed: 05/08/18Page: 632
                                                            Page:   of 16
                                                                  6 of 903PageID
                                                                           PageID#:#:2261
                                                                                      2313




  an expert report or as expert testimony. For instance, in the Stewart Report, Stewart concedes

  that whether Plaintiffs’ claims are subject to the exclusive jurisdiction of the PAA is a “question

  of statutory construction,” after which he proceeds to opine concerning the correct interpretation

  of the Act’s jurisdictional provisions. See Dkt. 135-3 pp. 3-7. Yet, as this Court has previously

  held, the meaning or interpretation of a law or regulation “is a matter for the court to decide;

  expert testimony is neither helpful nor proper.” In re Genetically Modified Rice Litigation, 666

  F. Supp. 2d at 1021 (citing S. Pine Helicopters, Inc., 320 F.3d at 841). As such, Stewart’s

  opinions concerning the PAA’s jurisdictional requirements fall squarely outside the permitted

  bounds of expert testimony.

          Similarly, Stewart opines as to whether the PAA preempts Plaintiffs’ previously

  dismissed claims for trespass and nuisance, while expounding upon the merits of the Tenth

  Circuit’s opinion in Cook v. Rockwell Int’l Corp., 790 F.3d 1088 (10th Cir. 2015)—the sole

  decision to recognize a distinction between nuclear occurrences that give rise to PAA claims and

  so-called “lesser nuclear occurrences,” to which the PAA is not applicable. See Dkt. 135-3, pp.

  7-9. Regardless of the merits of his legal opinion concerning these issues, “matters of law are for

  the trial judge,” and in instances where the question to be decided is “whether federal law was

  contravened . . . expert opinion as to that [is] simply inadmissible.” S. Pine Helicopters, Inc.,

  320 F.3d at 841.4 As such, Stewart’s purported “expert” opinions concerning whether Plaintiffs’

  previously dismissed claims for trespass and nuisance are preempted by the PAA have no

  bearing on the instant motion and should be disregarded.




  4
    Further, in arguing in favor of the holding in Cook, Stewart explicitly relies on his own improper expert opinions
  concerning the correct interpretation of the PAA’s jurisdictional provisions. See Dkt. 135-3, p. 8 (“As shown above,
  the Act covers only claims arising out of a ‘nuclear incident’ ‘including an extraordinary nuclear occurrence,’
  involving specified nuclear-related materials in activities subject to federal regulations and/or indemnity
  agreements.”).


                                                          -6-
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     141Filed: 01/28/22
                                           Filed: 05/08/18Page: 633
                                                            Page:   of 16
                                                                  7 of 903PageID
                                                                           PageID#:#:2262
                                                                                      2314




         Lastly, to the extent that Stewart proffers his expert opinion regarding the standard for

  proving a PAA claim, see Dkt. 135-3, p. 9, his opinions are little more than legal conclusions

  dressed up with the trappings of expert testimony. Indeed, this entire section of the Stewart

  Report is largely a recitation of the Third Circuit’s holding in In re TMI, 67 F.3d 1103 (3d Cir.

  1995), followed by Stewart’s commentary as to the soundness of that decision and its adoption

  by the Court in McClurg v. Mallinckrodt, Inc., 2017 WL 2929444 (E.D. Mo. July 7, 2017).

  However, in relying on Stewart’s “expert” opinion in their reply brief, Plaintiffs blatantly ignore

  that “it is not appropriate for expert witnesses to draw legal conclusions,” and that “[e]xpert

  witnesses must do more than simply summarize documents with a tilt favoring a litigant.” See In

  re Genetically Modified Rice Litigation, supra at 1025.

         In light of the above, it is clear that the “expert” opinions proffered by Stewart pertain to

  purely legal issues and are tantamount to impermissible conclusions of law. As such, the Court

  should disregard the Stewart Report and all of Plaintiffs’ arguments that rely upon it.

         C.      The Stewart Report Is Based on Unsupported Factual Assumptions and
                 Alleged Contamination at Properties Unrelated to Plaintiffs’ Complaint

         In addition to impermissibly opining about purely legal issues and proffering

  impermissible conclusions of law, Stewart fails to disclose the basis for the key factual

  assumptions underlying his opinions, and confusingly refers to alleged contamination at sites and

  locations other than the West Lake Landfill. As such, Plaintiffs should not be permitted to rely

  on the Stewart Report in support of their motion.

         Throughout his report, Stewart repeatedly declares that the materials allegedly disposed

  of in the West Lake Landfill were “uranium mill tailings,” which he concludes cannot form the

  basis of a PAA claim. See Dkt. 135-3, pp. 2-5. However, nowhere in his report does Stewart

  explain the basis for his conclusion that these materials were “uranium mill tailings,” other than a



                                                  -7-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     141Filed: 01/28/22
                                           Filed: 05/08/18Page: 634
                                                            Page:   of 16
                                                                  8 of 903PageID
                                                                           PageID#:#:2263
                                                                                      2315




  perfunctory statement to the effect that the Stewart Report “is based on the following factual

  assumptions and documents, provided to [Stewart] by counsel.” See Dkt. 135-3, p. 2. Indeed,

  the character and nature of those materials has not yet been determined and remains a contested

  issue in this case. As a result, the Stewart Report either assumes facts not currently in evidence

  or is based on information that has not yet been, but should be, disclosed to Cotter.

         Furthermore, the Stewart Report erroneously states that “[t]he issue in this case is

  whether injuries caused by releases of radioactivity from the mill tailings disposed of at the

  SLAPS sites, Latty Avenue sites, and/or Bridgeton Landfill represent” a nuclear incident or

  extraordinary nuclear occurrence. See Dkt. 135-3, p. 3. The Stewart Report also insists that

  emissions of radioactive materials from the Latty Avenue site (as opposed to the West Lake

  Landfill), as measured “from the fencepost of the licensed location,” should form the basis for

  any PAA claim against Defendants. However, since the inception of this matter, Plaintiffs’

  theory of the case – as articulated in their pleadings – has been that their property was

  contaminated by radioactive materials that were either emitted from the West Lake Landfill or

  were spread while those materials were transported to the West Lake Landfill. See e.g., Dkt. 1-3

  (Plaintiffs’ Initial Complaint), ¶ 98, Dkt. 70 (Plaintiffs’ Amended Complaint), ¶ 99. Simply put,

  the Stewart Report’s discussion of emissions from SLAPS or the Latty Avenue site is completely

  irrelevant to Plaintiffs’ allegations and goes well beyond the scope of the Case Management

  Orders (Dkt. 102, 119) that the Court has put in place.

         In light of the above, the Court should disregard the improper “expert” opinions stated in

  the Stewart Report as well as Plaintiffs’ arguments that rely upon the same.




                                                  -8-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     141Filed: 01/28/22
                                           Filed: 05/08/18Page: 635
                                                            Page:   of 16
                                                                  9 of 903PageID
                                                                           PageID#:#:2264
                                                                                      2316




  II.      Other New Issues and Arguments Raised by Plaintiffs’ in Their Reply Brief

           In addition to their inclusion of and reliance upon the procedurally improper and

  substantively defective Stewart Report, Plaintiffs introduce a host of other new issues and

  arguments they failed to raise in their opening brief, as discussed below. As with the Stewart

  Report, these new arguments were improperly included in Plaintiffs’ reply brief.

  Neiswonger, 580 F.3d at 775.

           A.       Plaintiffs Rely On an Inapposite Staff Director Decision from the NRC to
                    Support their View that the Radioactive Materials Underlying Their Claims
                    Were Beyond Federal Regulatory Jurisdiction5

           In their reply brief, Plaintiffs introduce new arguments premised on Envirocare of Utah

  & Snake River All., 56 N.R.C. 53 (Dec. 13, 2000), to contend that the NRC has already

  determined that it did not have jurisdiction regarding the sorts of radioactive materials allegedly

  disposed of in the West Lake Landfill and that, as a result, the PAA does not apply to their

  claims.6 Indeed, Plaintiffs go so far as to claim that, through Envirocare, “the [NRC] has spoken

  on this issue—authoritatively—concluding that if waste was produced prior to 1978 it is not

  subject to NRC regulations and license.”                 See Dkt. 135, p. 13. However, not only does

  Envirocare not actually support Plaintiffs’ claims, as addressed below, but Plaintiffs

  misleadingly cite that decision as if it were a published adjudicatory decision entitled to

  significant judicial deference. There is no deference due to Envirocare, however, because it was

  issued by an NRC staff director7 and thus, is neither a court decision nor even an agency


  5
    Plaintiffs raised this identical argument in their 2017 motion to remand, Dkt. 48. Thus, there is no reason why it
  could not have been raised in their moving brief. See Defendants’ Opposition, Dkt. 64, pp. 14-16, for further
  discussion and argument on this point.
  6
    Plaintiffs also misleadingly suggest in their reply brief that the NRC has already determined in Envirocare that
  Cotter’s source material license did not apply to the radioactive materials underlying Plaintiffs’ claims. See Dkt.
  135, p. 7 (stating that “even if it is determined that Cotter’s “source material license is determined to apply to the
  wastes at issues, despite the NRC’s conclusion [in Envirocare] that it did not . . .”). This is patently false. Cotter
  was not a party to Envirocare, nor did that staff direction decision involve the West Lake Landfill.
  7
    The proper cite for Envirocare is 56 NRC 53, DD-00-06, which reflects a “director’s decision.”


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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                         Filed:01/28/22
                                                05/08/18 Page:
                                                          Page:636
                                                                10 of
                                                                   of 903 PageID#:#:2265
                                                                      16 PageID      2317




 adjudicatory decision. A director’s decision is issued in response to any member of the public

 who files a petition with the NRC staff to modify, suspend, or revoke an existing license. See 10

 C.F.R. § 2.206; see also Envirocare, 56 NRC at 53 (the Petitioners “filed separate petitions

 pursuant to 10 C.F.R. § 2.206”). Indeed, as recognized in Pacific Gas & Electric Co. (Diablo

 Canyon Nuclear Plant, Units 1 and 2), LBP-93-9, 37 NRC 433, 443-44 (1993), which is an

 adjudicatory decision of the NRC, a staff director’s decision does not “constitute an adjudicatory

 decision under section 189b. of the Atomic Energy Act of 1954, as amended.”               As such,

 Plaintiffs have mischaracterized the nature of Envirocare’s authority.

        Were this not enough to demonstrate why this Court should disregard Envirocare, the

 director’s decision in Envirocare was narrowly tailored to answer questions that are neither

 relevant to, nor binding on, this lawsuit.      The question before the NRC staff director in

 Envirocare was whether the NRC’s regulatory jurisdiction “extends to those ore processing

 residuals or mill tailings currently being remediated by the [Army Corps of Engineers] under the

 [Formerly Utilized Sites Remedial Action Program (FUSRAP)].” Envirocare, 56 NRC at 61.

 The allegations in this action, however, have nothing to do with NRC’s current jurisdiction over

 radioactive materials at the West Lake Landfill (which, moreover, are not being remediated by

 the Army Corps, nor is the Landfill being managed under the FUSRAP program). Rather,

 without reference to the PAA, the Envirocare “decision” explicitly pertains to mill tailings,

 which Plaintiffs assume and allege are present at West Lake, but which Defendants dispute.

 Plaintiffs insist that this decision proves their point, when the thrust of the decision is whether

 NRC had jurisdiction over the disposal of mill tailings from FUSRAP sites – facts not

 demonstrated here. In sum, Envirocare has no bearing on preemption under the PAA or the

 definition of the materials that could potentially give rise to a nuclear incident under the PAA.




                                                 -10-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    141 Filed:
                                         Filed:01/28/22
                                                05/08/18 Page:
                                                          Page:637
                                                                11 of
                                                                   of 903 PageID#:#:2266
                                                                      16 PageID      2318




         B.       Although a Petition for Writ of Certiorari Was Filed in Connection with the
                  Ware Case, that Does Not Render that Opinion Any Less Persuasive Here

         In their reply brief, Plaintiffs suggest that this Court should disregard the Third Circuit’s

 holding in Estate of Ware v. Hosp. of the Univ. of Pa., 871 F.3d 273, 282-83 (3rd Cir. 2017)—

 which rejected the holding from Gilberg v. Stepan Co., 24 F. Supp. 2d 325, 340 (D.N.J. 1998)

 that Plaintiffs chiefly rely upon in support of their motion—because a petition for writ of

 certiorari was filed with the Supreme Court in that matter. Setting aside the low likelihood that

 the Supreme Court will grant certiorari,8 Ware is not the only case to have rejected or criticized

 Gilberg. See Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th Cir. 2000) (noting Gilberg’s

 analysis and rejecting attempt to curb federal jurisdiction over claim for radiation injuries);

 Carey v. Kerr-McGee Chem. Corp., 60 F. Supp. 2d 800,806-07 (N.D. Ill. 1999) (criticizing and

 declining to follow Gilberg); Cotromano v. United Techs. Corp., 7 F. Supp. 3d 1253, 1258 (S.D.

 Fla. 2014) (same). Regardless, Ware’s rejection of Gilberg and its capacity as persuasive

 authority for this Court remain unchanged notwithstanding the filing of the petition for writ of

 certiorari (which petition, furthermore, was filed in December 2017, and thus was available at

 the time of Plaintiffs’ filing of its moving brief; see Dkt. 135, p.5).

         C.       Plaintiffs Erroneously Contend that the CMO Fails to Reflect the
                  Appropriate Standard for a PAA Claim

         Relying on the improper expert opinions contained in the Stewart Report, Plaintiffs

 maintain that the operative CMO should be amended to focus on “the ‘release of contaminants

 from Defendants [sic] property,” and that “the release measurements should be taken from the

 fencepost of . . . the Latty Avenue site.” See Dkt. 135, p. 11.

 8
   The chances of the Supreme Court granting this writ for certiorari are remarkably low. For instance, in the 2016
 term, despite the Supreme Court docketing over 6,305 cases, it only granted petitions for certiorari 74 times, which
 constitutes a “success rate” for petitions of roughly 1.2 percent. The Supreme Court’s Journal for the 2016 term,
 which contains statistics concerning, among other things, grants of petitions for writs of certiorari is available at
 https://www.supremecourt.gov/orders/Jnl16.pdf.


                                                        -11-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
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                                         Filed:01/28/22
                                                05/08/18 Page:
                                                          Page:638
                                                                12 of
                                                                   of 903 PageID#:#:2267
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         Plaintiffs’ arguments, however, are premised upon two false assumptions.                              First,

 Plaintiffs incorrectly assume that Stewart’s “expert” opinion regarding the correct standard of

 care is determinative of this issue and binding on the Court—it is not. As set forth above, the

 opinions contained in the Stewart Report, including those regarding the correct standard

 applicable to a PAA claim, pertain to purely legal issues and are tantamount to impermissible

 conclusions of law. Indeed, Plaintiffs seems to have forgotten that one of the purposes of the

 upcoming dispositive motions contemplated by the CMO is to address what standard is

 applicable to Plaintiffs’ PAA claims.

         Second, as part of their effort to shift the focus of discovery in this early phase of

 litigation away from the alleged radioactive contamination on their property to the purported

 releases of radiation from Defendants’ property,9 Plaintiffs incorrectly assume that they need not

 demonstrate presence of radioactive materials in their own home in order to maintain a claim

 against Defendants. In so doing, Plaintiffs wholly ignore the CMO in this matter, which was

 intentionally prepared to advance the proportionality principles of the Federal Rules of Civil

 Procedure by limiting discovery at this initial phase to the threshold issue of whether they can

 demonstrate the presence of radioactive contamination in their own home—a far less

 burdensome task for all involved compared to investigating purported historical “releases” from

 unrelated properties, dating back over forty years. As such, and in light of the above, the Court

 should not modify the scope of discovery permitted under the CMO.




 9
   Bizarrely, Plaintiffs now contend via the Stewart Report that releases should be measured at the fencepost of Latty
 Avenue, even though their entire theory of the case (as set forth in the pleadings) is premised on emissions of
 radioactive materials from West Lake Landfill or from hauling activities to and from the West Lake Landfill.
 Plaintiffs cannot simply amend their pleadings through their briefing.


                                                        -12-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    141 Filed:
                                         Filed:01/28/22
                                                05/08/18 Page:
                                                          Page:639
                                                                13 of
                                                                   of 903 PageID#:#:2268
                                                                      16 PageID      2320




 D.     Without Citing Any Relevant Legal Authority, Plaintiffs Erroneously State
        That Cotter Engaged in Illegal Activities and Felonious Conduct

        Finally, Plaintiffs introduce new arguments – without any basis or support – that Cotter

 illegally and feloniously disposed of radioactive materials in the West Lake Landfill, even going

 so far as to suggest that Cotter’s alleged actions violated 18 U.S.C. § 831, a federal statute

 adopted by Congress to criminalize the use of certain nuclear materials in connection with

 terrorist activities and radioactive dispersal devices.         See Pub. L. 104-132 § 501(a)

 (Congressional findings concerning, among other things, “that threat that nuclear materials will

 be obtained and used by terrorist and other criminal organizations”). Setting aside the obviously

 inflammatory nature of these wholly unsupported claims, it is unclear how this statute would

 apply to Plaintiffs’ allegations given that none of the materials Cotter is alleged to have handled

 or disposed of fit within the definitions of “nuclear material” and “nuclear byproduct material” as

 set forth in the statute. See 18 U.S.C. § 831(g)(1) (defining nuclear material); 18 U.S.C. §

 831(g)(2) (defining nuclear byproduct material).

        Further suggesting that Cotter has somehow engaged in criminal conduct, Plaintiffs

 maintain that Cotter’s source material license is inapplicable to the instant case because “it does

 not cover the illegal disposal of the wastes at the West Lake Landfill, an unlicensed disposal

 facility.” See Dkt. 135, p. 7. In an effort to bolster this specious claim, Plaintiffs attach and cite

 to “some non-certified documents from an EPA proceeding wherein Cotter states that they have

 no connection to the West Lake Landfill.” See Dkt. 135, p. 7, fn. 15 (referencing Exhibit 6 to the

 reply brief – Cotter Corporation’s responses to the EPA’s July 12, 1991 CERCLA 104(e)

 Information Requests). However, Plaintiffs have grossly mischaracterized Cotter’s responses, as

 any reading of the actual documents will show.




                                                 -13-
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    141 Filed:
                                         Filed:01/28/22
                                                05/08/18 Page:
                                                          Page:640
                                                                14 of
                                                                   of 903 PageID#:#:2269
                                                                      16 PageID      2321




                                          CONCLUSION

         For the foregoing reasons, Plaintiffs’ motion should be denied. Instead of responding to

 Defendants’ substantial and substantive arguments, they introduce in their reply brief new issues,

 arguments, and evidence, including production of the Stewart Report, which the Court should

 disregard and strike altogether, as it is procedurally improper and substantively defective.

 Plaintiffs further rely on unpersuasive “authority” from the NRC that is inapplicable here

 because that decision dealt with what were clearly uranium mill tailings, whereas it has not been

 established that the wastes at issue fall into this category, and Defendants have contested

 Plaintiffs’ bald conclusions that the materials at West Lake are uranium mill tailings throughout

 this litigation.   Plaintiffs’ arguments fail because they cannot, and do not, rebut the legal

 authority Defendants have cited. Resorting to improper expert opinions, ad hominem attacks,

 and generally out-of-scope arguments and issues does not save their arguments or the basic

 premise of their original motion. Moreover, Plaintiffs’ repeated efforts to move the goalposts in

 this case at every possible juncture serve only to drive up Defendants’ costs by requiring filing of

 multiple motions (such as the instant one). Accordingly, this Court should end Plaintiffs’

 repeated attempts to re-wind the clock, delay these proceedings, and ignore the existing CMOs,

 so the parties can proceed to dispositive motions and timely resolution of this matter.

 Dated: May 8, 2018                                Respectfully submitted,

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                                                -14-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    141 Filed:
                                         Filed:01/28/22
                                                05/08/18 Page:
                                                          Page:641
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                                                                   of 903 PageID#:#:2270
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                                          -15-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    141 Filed:
                                         Filed:01/28/22
                                                05/08/18 Page:
                                                          Page:642
                                                                16 of
                                                                   of 903 PageID#:#:2271
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 8, 2018, I electronically filed the foregoing document with

 the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

 to counsel of record, and caused the same to be served upon the following by U.S. mail, first-

 class postage:


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                                                             /s/ Stephanie Feingold




                                               -16-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     142Filed: 01/28/22
                                           Filed: 05/18/18Page: 643
                                                            Page:   of 10
                                                                  1 of 903PageID
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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.,                            )
                                                    )
                 Plaintiffs,                        )
                                                    )
 vs.                                                )   Case No. 4:17-cv-00024-CDP
                                                    )
 BRIDGETON LANDFILL, LLC, et al.,                   )
                                                    )
                 Defendants.                        )   ORAL ARGUMENT REQUESTED




             DEFENDANTS’ MOTION AND MEMORANDUM IN SUPPORT
             REQUESTING PLAINTIFFS BE PREVENTED AND ENJOINED
           FROM USING INFORMATION AND MATERIALS THEY WITHHELD
                    UNTIL LATE IN THE DISCOVERY PERIOD

         Defendants Bridgeton Landfill, LLC, Republic Services, Inc., and Allied Services, LLC

  (“Defendants”), by and through counsel, respectfully request that the data, information and other

  materials, and a purported expert report produced by Plaintiffs in the final days and hours before

  the discovery deadline be unavailable for Plaintiffs’ use during the period covered by the Court’s

  Amended Case Management Order. Defendants also seek an opportunity for oral argument on

  this Motion. In support of this Motion, Defendants state as follows:

                                          INTRODUCTION

         In this case, Plaintiffs allege their property has been contaminated by radioactive

  material. Following the Rule 16 Conference, this Court issued an Initial Case Management

  Order focused on the issue of whether there is contamination present that would rise to the level

  of a Price-Anderson Act (“PAA”) violation. The parties were to provide information regarding

  this issue by February 9 in their Initial Disclosures, and focus additional discovery on this issue.



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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     142Filed: 01/28/22
                                           Filed: 05/18/18Page: 644
                                                            Page:   of 10
                                                                  2 of 903PageID
                                                                           PageID#:#:2273
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         This has not happened. Despite Plaintiffs’ obligations to timely provide information and

  materials in disclosures and in response to discovery, it is now clear they withheld massive

  amounts of information, data, and materials, and orchestrated a data dump in the final days and

  hours of the discovery period defined in the Court’s order. By doing so, they have severely

  curtailed Defendants’ ability to assess or challenge this information and data in the period

  designated for discovery. For this reason, Plaintiffs should not be allowed to use the electronic

  files, “supplemental” discovery responses and “supplemental” Initial Disclosures, and report

  produced at the end of the discovery period in any motion, response, or reply filed in accordance

  with Paragraph 2 of the Amended Case Management Order (Doc. No. 119). Alternatively, if the

  Court allows Plaintiffs to use any of these materials, Defendants seek additional time to analyze

  the late-produced materials, conduct additional discovery into them, and challenge and rebut

  Plaintiffs’ purported expert if he will be allowed to give opinions in this initial phase of the

  litigation despite the out-of-time production of his report.

                                             ARGUMENT

  A.     The Court’s Discovery Phase Under the Case Management Order

         On December 15, 2017, the Court held a Rule 16 Conference with all the parties, and

  invited the parties to begin written discovery immediately. On January 2, 2018, the Initial Case

  Management Order (“CMO”) was issued. In this CMO, the Court limited discovery to issues

  “related to the samples collected at Plaintiffs’ home and property, and the issue of whether the

  levels of radioactive contamination are sufficient to show a PAA violation.” Discovery was to

  be completed “no later than March 2, 2018.” Doc. No. 102 at 2.

         Plaintiffs sought an extension of the deadlines under the CMO and the Court issued its

  Amended Case Management Order (“Amended CMO”) with an identical limitation on the scope



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                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 06:26 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     142Filed: 01/28/22
                                           Filed: 05/18/18Page: 645
                                                            Page:   of 10
                                                                  3 of 903PageID
                                                                           PageID#:#:2274
                                                                                      2326




  of discovery, but a modification to the deadline ordering that the parties “shall complete all

  discovery” by May 2, 2018. Doc. No. 119 at 1 (emphasis added).

  B.     Defendants’ Discovery to Plaintiffs and Efforts to Obtain Complete Responses

         Soon after the Rule 16 Conference, Defendants issued their first request for production of

  documents to plaintiffs.1 This discovery focused on requesting documents related to the

  sampling and testing performed on Plaintiffs’ property, including lab data, chain of custody

  evidence, and quality assurance protocols used in sample collection through analysis, as well as

  documentation that the protocols were followed. Also, field sampling plans, field survey data,

  field notes, protocols for conducting sampling and the use of field instruments, and the results of

  any field testing were requested.

         On January 23, 2018, defendant Bridgeton Landfill, LLC (“Bridgeton”) issued its First

  Interrogatories and First Request for Production of Documents to Plaintiffs. In the

  interrogatories, Bridgeton sought the identification of any test that allegedly detected

  radionuclides on the Plaintiffs’ property, the testing performed, date of the sampling used in the

  test, the identity of the individual performing the sampling as well as any witness present, the

  testing entity, the party performing any analysis or interpretation of the testing, and how the

  results of any testing or analysis was memorialized. Also, Plaintiffs were asked to state the dose

  limit they contend is necessary for a PAA violation in this case and the basis for that contention,

  as well as the method or analysis they had used to demonstrate a PAA violation, if any.

         In the First Request for Production of Documents, Bridgeton sought photographs

  supporting the allegations in the Complaint, photos of the interior of the Plaintiffs’ home, and




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             This set of discovery was propounded by all Defendants to Plaintiffs.

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     142Filed: 01/28/22
                                           Filed: 05/18/18Page: 646
                                                            Page:   of 10
                                                                  4 of 903PageID
                                                                           PageID#:#:2275
                                                                                      2327




  documents supporting both the Plaintiffs’ position regarding the applicable dose limit in this case

  and any claim that there is contamination sufficient to constitute a violation of the PAA.

           In an attempt to ensure that Plaintiffs were providing everything in their possession or

  control, Defendants sent five separate, substantial pieces of correspondence seeking to learn if

  information or material existed that had not been produced. Those letters were sent to Plaintiffs’

  counsel on February 19, March 22, March 23, April 2, and April 12, 2018. In addition, issue-

  intensive meet and confer conference calls occurred on February 14 and March 28, 2018. These

  letters and conference calls resulted in additional productions from Plaintiffs. At the end of those

  efforts, Plaintiffs’ counsel represented that they provided everything in their possession or

  control. Based on this representation, there was no reason to pursue a motion to compel with this

  Court.

  C.       Plaintiffs Serve an “Expert” Report on May 3, 2018 at 12:02 a.m.

           Early on the morning of May 3, 2018 (after the close of discovery), Plaintiffs served the

  report of Phillip Plato on Defendants. Approximately 25 minutes earlier, at 11:37 p.m. (CDT),

  Plaintiffs served “Supplemental and Amended Responses” to Bridgeton’s First Interrogatories

  and Request for Production of Documents. In that “supplemental” response, Plaintiffs identified,

  for the first time in any document or conversation, Phillip Plato, and provided “Draft #3” of his

  report. Plato’s final draft appeared in defense counsel’s email inboxes 25 minutes later at 12:02

  a.m. on May 3, with a request from Plaintiffs’ counsel to disregard the one sent at 11:37 p.m.

  The Plato report attempts to formulate an opinion to support the allegation that the Dailey

  property has been contaminated. However, even now the Plato report is incomplete. For

  example, he has failed to provide key information, including the calculations used by him to

  determine his purported dose and risk assessment at the Dailey property.



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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     142Filed: 01/28/22
                                           Filed: 05/18/18Page: 647
                                                            Page:   of 10
                                                                  5 of 903PageID
                                                                           PageID#:#:2276
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           Earlier, at 5:33 p.m. (CDT) on May 2, 2018, Plaintiffs also served their “Supplemental

  Initial Disclosures,” which identified at least 23 categories and thousands of pages of documents

  not previously identified in any prior Initial Disclosure.2 At that time, Plaintiffs’ counsel wrote

  that he would “share a Dropbox folder with all materials referenced shortly.” That Dropbox link

  was provided later in the evening. This Drobpox contained 3.28 gigabytes of data.

           The last-minute “supplemental” Initial Disclosures, data dump, “supplemental” discovery

  responses, and out-of-time “expert” report left Defendants with no opportunity before the end of

  the discovery period to analyze the new productions or assess and test the validity or

  admissibility of the Plato report. Much like the report of Richard Stewart, which was sprung on

  Defendants in an earlier reply brief, it appears that Plaintiffs’ decision to withhold the Plato

  report until the last hours of discovery was intended to deny Defendants the chance to timely

  depose him pursuant to Rule 26(b)(4)(A), and calculated to engage in an end-run around the

  parties’ upcoming dispositive motions concerning, among other things, the standard applicable to

  Plaintiffs’ claims and the level of contamination allegedly present at Plaintiffs’ property.

  Ultimately, Plaintiffs’ efforts to skirt the basic procedural requirements for the introduction of

  expert reports, opinions, and testimony have prevented Defendants from probing the bases for

  Plato’s opinions, resulting in severe prejudice to Defendants.3

  D.       Plaintiffs Also Mischaracterized the Contents of a Thumb Drive Produced at the

           Deposition of Marco Kaltofen

           On April 20, 2018, Plaintiffs engaged in a similar effort to sandbag Defendants. Despite

  the fact Marco Kaltofen was the individual who coordinated and hired others to do all of the

            2
              Initial Disclosures were due under the Court’s CMO on February 9, 2018. No attempt was made by
  Plaintiffs to supplement the Initial Disclosures between February 9 and the evening of May 2, 2018.
           3
             At this juncture, Defendants are opposing Plaintiffs’ use of the Plato report based only on the timing of its
  late production. Defendants reserve the right to raise additional issues should the Court allow Plaintiffs to use the
  report or allow Plato to testify.

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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     142Filed: 01/28/22
                                           Filed: 05/18/18Page: 648
                                                            Page:   of 10
                                                                  6 of 903PageID
                                                                           PageID#:#:2277
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  sampling at the Dailey home, Plaintiffs did not voluntarily produce him. Instead, Defendants

  had to subpoena him to appear in Boston for his deposition. At that deposition, Plaintiffs and

  Kaltofen produced for the first time a thumb drive, which was marked as Deposition Exhibit 10.

  During the Kaltofen deposition, plaintiffs’ counsel, Celeste Brustowicz, represented to defense

  counsel that the contents of the thumb drive was “a duplicate of everything that appears here that

  [sic] has already been produced with the exception of the spreadsheets and, I believe, the

  photograph we discussed off the record.”4 Deposition of M. Kaltofen, 71:5-19, an accurate copy

  of the relevant part of which is attached as Exhibit A.

          Taking Ms. Brustowicz at her word, the thumb drive did not become a significant area of

  questioning during the deposition. Although there was some discussion of limited additional

  materials on the thumb drive (e.g., Kaltofen’s bills to counsel and contract for services), the

  extent of the materials contained on the thumb drive was not revealed. Only after the deposition

  was complete did defense counsel learn that Ms. Brustowicz’s characterization of the contents of

  Exhibit 10 was incorrect, and that it in fact contained over four gigabytes of data and over four

  thousand files.

          Had the contents of the drive been disclosed, defense counsel could have questioned

  Kaltofen about the material or, at least, requested an adjournment of the deposition to allow for a

  meaningful review of the contents before the deposition was reconvened. Once the Brustowicz

  mischaracterization was made and accepted, however, there was no opportunity to further

  explore the drive with Kaltofen or anyone else because the production of the drive on April 20

  occurred only 12 days (and only eight business days) before the close of discovery.




           4
             At this point in time, Plaintiffs had produced some documents from Eberline, Microvision, and AccuStar
  labs, some field notes (some were reported to be lost), photographs, and data from a survey instrument.

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  E.       Plaintiffs Should Not Be Rewarded for Their Intentional Efforts to Withhold

           Evidence Until the Last Moment of the Discovery Period

           It is now apparent, in light of the last-second production of materials, that Plaintiffs

  believe they can withhold information and produce it in a manner that prevents Defendants from

  having a meaningful opportunity to review it or ask questions of witnesses about it.5 They have

  employed a modus operandi that is now clear and undeniable: they delay the release of

  information and production of materials, even after representing that they have nothing

  remaining, and then engage in last-minute data dumps and discovery “supplementation” which

  provide the defense no time to review or challenge it, or depose witnesses about it.

           The Plato report, the data developed and used for the Plato report, the supplemental

  disclosures and discovery responses, and the 3.26 gigabytes of data on the Dropbox were not

  produced until the evening and night of May 2, and early morning hours of May 3, 2018.

  Likewise, the contents of the thumb drive produced during the April 20, 2018 deposition of

  Kaltofen should have been identified and produced much earlier. Kaltofen was the individual

  responsible for coordinating all sampling at the Dailey property, and it is now clear the vast

  majority of the drive, if not its entirety, had been in his possession for months and possibly years.

  It is also indisputable that Plaintiffs and their counsel had control over the ability to produce the

  data and other information in Kaltofen’s possession – as was definitively demonstrated when he

  ultimately produced the material at his April 20, 2018 deposition. Plaintiffs’ counsel’s decision

  to, even then, mischaracterize the contents of the previously unproduced drive speaks volumes to

  their intent and the strategy behind the now-revealed effort to withhold evidence until a time late



           5
             The attempt to spring experts and expert reports without notice was also attempted by Plaintiffs when they
  identified and used the report of undisclosed “expert” Richard Stewart in an earlier reply brief. See Doc Nos. 135
  and 135-3.

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  enough in discovery to prevent Defendants from any real opportunity to review it or question

  witnesses about it.

                                          RELIEF SOUGHT

         Because this motion stems from the schedule established under the Amended CMO,

  relief is sought under Fed. R. Civ. P. 16(f) and this Court's inherent power to enforce its own

  orders. See Travel Tags, Inc. v. UV Color, Inc., No. 09-1619 (JRT/AJB), 2010 U.S. Dist. LEXIS

  144874, at *5 (D. Minn. Apr. 9, 2010) (citation omitted).

         Plaintiffs should not be rewarded for under-handed tactics. The decision to withhold the

  Plato identification and report, the underlying data, the supplemental disclosures, the 3.28

  gigabytes of data, and the supplemental discovery responses until the night of May 2 and

  morning of May 3, 2018 is calculated and improper. Accordingly, all the materials produced by

  Plaintiffs on May 2 and 3, 2018 should be unavailable to them during this phase of the litigation.

         Similarly, the thumb drive produced on April 20, 2018 (Kaltofen Exhibit 10), which was

  ultimately found to contain over 4 gigabytes of data and four thousand files, should be

  unavailable to Plaintiffs during this phase of the litigation and plaintiffs should not be allowed to

  refer or use it in any way. Any other outcome would be severely prejudicial, especially after the

  contents of the thumb drive were incorrectly represented.

         Any other outcome would also be unjust. Defendants were not given an opportunity to

  review the material with sufficient time to meaningfully use it or challenge it before the end of

  discovery. Similarly, the late identification of Plato and the production of his report out of time

  have prevented Defendants from questioning him, challenging his theories and methods, or

  exploring his knowledge about the validity of the underlying data he uses. Defendants have been

  severely prejudiced by Plaintiffs’ sandbagging efforts and last minute production tactics, and

  respectfully request that the Court prevent and enjoin Plaintiffs from using the contents of the
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  thumb drive (Exhibit 10 of the Kaltofen deposition), and all supplemental discovery responses

  and disclosures and reports (as well as data and materials provided with those reports and

  supplemental responses) that were produced on May 2 and 3, 2018. This use prohibition should,

  at least, apply to any briefing and responses to briefing contemplated under Paragraph 2 of the

  Amended CMO. A proposed order providing for this relief is attached as Exhibit B to this

  Motion. Alternatively, if the Court allows Plaintiffs to use this material, Defendants seek

  additional time to analyze the late-produced materials, conduct additional discovery into it, and

  challenge and rebut Phillip Plato’s report if his testimony will be allowed.

         Finally, Defendants seek an opportunity to be heard in oral argument on this Motion. Not

  only is this a time-sensitive matter in light of the briefing deadline of June 4, 2018, but the relief

  sought in this Motion would affect the materials that could be used in those briefs and may affect

  the deadline under the Amended CMO.

  Dated: May 18, 2018                            LATHROP GAGE LLP


                                                 By: /s/ William G. Beck
                                                     William G. Beck         26849MO
                                                     Peter F. Daniel         33798MO
                                                     Robert G. Rooney        43381MO
                                                     Allyson E. Cunningham 64802MO
                                                     2345 Grand Boulevard, Suite 2200
                                                     Kansas City, Missouri 64108-2618
                                                     Telephone:       (816) 292-2000
                                                     Telecopier:      (816) 292-2001
                                                     wbeck@lathropgage.com
                                                     pdaniel@lathropgage.com
                                                     acunningham@lathropgage.com




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                                                  Patricia Lehtinen Silva 67213MO
                                                  Pierre Laclede Center
                                                  7701 Forsyth Boulevard, Suite 500
                                                  Clayton, Missouri 63105
                                                  Telephone:        (314) 613-2800
                                                  Telecopier:       (314) 613-2801
                                                  psilva@lathropgage.com

                                                  ATTORNEYS FOR DEFENDANTS


                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2018, I electronically filed the foregoing document via
 the Court’s CM/ECF system, which will serve notice on all counsel of record.



                                                 /s/ William G. Beck
                                                 An Attorney for Defendants




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                         Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI


              Michael Dailey, et al.,  )
                        Plaintiffs,    )
                                       )           Case
                  versus               )           No. 4:17-CV-00024-CDP
                                       )
              Bridgeton Landfill, LLC, )
              et al.,                  )
                         Defendants.   )




                  VIDEOTAPED DEPOSITION OF MARCO KALTOFEN, PH.D.

                                      April 20, 2018

                                         9:29 a.m.

                                    Lathrop Gage, LLP

                               28 State Street, Suite 700

                                 Boston, Massachusetts




               ---- Reporter: Julie Thomson Riley, RDR, CRR ----
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         1 APPEARANCES:

         2    Counsel for the Defendants Bridgeton Landfill, LLC,

         3    Republic Services, Inc., Allied Services, LLC, and

         4    Rock Road Industries, Inc.:

         5    Lathrop Gage, LLP

         6         by William G. Beck, Esquire

         7         2345 Grand Boulevard, Suite 2200

         8         Kansas City, Missouri 64108-2618

         9         (816) 292-2000

       10          wbeck@lathropgage.com

       11

       12     Counsel for the Plaintiffs:

       13     Cooper Law Firm, LLC

       14          by Celeste Brustowicz, Esquire

       15          508 Rue Saint Philip Street

       16          New Orleans, Louisiana 70116

       17          (504) 291-1344

       18          cbrustowicz@sch-11c.com

       19

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         1 APPEARANCES (continued)

         2    Counsel for the Defendant Cotter Corporation:

         3    Morgan, Lewis & Bockius, LLP

         4         by John McGahren, Esquire

         5         502 Carnegie Center

         6         Princeton, New Jersey 08540

         7         (609) 919-6641

         8         john.mcgahren@morganlewis.com

         9

       10

       11     Also Present:

       12     Shawn Budd, Videographer

       13

       14

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         1                 MR. BECK: Thank you.

         2                 (Document was marked Exhibit No. 10 for

         3    identification.)

         4    BY MR. BECK:

         5         Q.      Dr. Kaltofen, I'm going to hand you what

         6    I've now marked, jumping over some numbering, as

         7    Exhibit 10, which is a thumb drive you brought to

         8    the deposition today. Is that what that is?

         9         A.      Yes, sir.

       10          Q.      All right. That will be with the record.

       11     We'll make copies for everybody for their copies of

       12     the deposition --

       13                  MS. BRUSTOWICZ: I appreciate it.

       14          Q.      -- and we'll know what you produced today.

       15                  MS. BRUSTOWICZ: Which is a duplicate of

       16     everything that appears here that has already been

       17     produced with the exception of the spreadsheets and,

       18     I believe, the photograph we discussed off the

       19     record.

       20                  THE WITNESS: Somebody take this out of my

       21     custody. It's so tiny.

       22                  MR. BECK: The court reporter has all the

       23     exhibits.

       24                  THE WITNESS: Ah, there you go. It's not
       25     my worry then.



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         1                      CERTIFICATE OF REPORTER

         2         I, Julie Thomson Riley, RDR, CRR, do certify

         3    that the deposition of Marco Kaltofen, Ph.D., in the

         4    matter of Michael Dailey, et al. vs. Bridgeton

         5    Landfill, LLC, et al., on April 20, 2018, was

         6    stenographically recorded by me; that the witness

         7    provided satisfactory evidence of identification, as

         8    prescribed by Executive Order 455 (03-13), issued by

         9    the Governor of the Commonwealth of Massachusetts,

       10     before being sworn by me, a Notary Public in and for

       11     the Commonwealth of Massachusetts; that the

       12     transcript produced by me is a true and accurate

       13     record of the proceedings to the best of my ability;

       14     that I am neither counsel for, related to, nor

       15     employed by any of the parties to the above action;

       16     and further that I am not a relative or employee of

       17     any attorney or counsel employed by the parties

       18     thereto, nor financially or otherwise interested in

       19     the outcome of the action.

       20

       21     April 29, 2018

       22                                 Julie Thomson Riley, RDR, CRR

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                         Exhibit B
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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MICHAEL DAILEY, et al.,                          )
                                                  )
                Plaintiffs,                       )
                                                  )
 vs.                                              )   Case No. 4:17-cv-00024-CDP
                                                  )
 BRIDGETON LANDFILL, LLC, et al.,                 )
                                                  )
                Defendants.                       )


                                      [PROPOSED] ORDER

        Upon consideration of Defendants’ Motion Requesting Plaintiffs Be Prevented and

 Enjoined From Using Information and Materials They Withheld Until Late in the Discovery

 Period [#____], the Court finds good cause for the relief requested.

        IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED. Plaintiffs shall

 not be able to use any of the following materials as support in any motion, response, or reply

 filed in accordance with paragraph 2 of the Amended Case Management Order [#119]:

        (1)     All materials contained on the thumb drive identified as Exhibit 10 to the

 Kaltofen deposition; and

        (2)     All documents and materials produced for or served on Defendants as

 supplemental initial disclosures, supplemental discovery responses, or expert reports on May 2

 and 3, 2018.


                                              CATHERINE D. PERRY
                                              UNITED STATES DISTRICT JUDGE

 Dated this _____ day of May, 2018.




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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.,                            )
                                                    )
                 Plaintiffs,                        )
                                                    )
 vs.                                                )   Case No. 4:17-cv-00024-CDP
                                                    )
 BRIDGETON LANDFILL, LLC, et al.,                   )
                                                    )
                 Defendants.                        )   ORAL ARGUMENT REQUESTED




             DEFENDANTS’ MOTION AND MEMORANDUM IN SUPPORT
             REQUESTING PLAINTIFFS BE PREVENTED AND ENJOINED
           FROM USING INFORMATION AND MATERIALS THEY WITHHELD
                    UNTIL LATE IN THE DISCOVERY PERIOD

         Defendants Bridgeton Landfill, LLC, Republic Services, Inc., and Allied Services, LLC

  (“Defendants”), by and through counsel, respectfully request that the data, information and other

  materials, and a purported expert report produced by Plaintiffs in the final days and hours before

  the discovery deadline be unavailable for Plaintiffs’ use during the period covered by the Court’s

  Amended Case Management Order. Defendants also seek an opportunity for oral argument on

  this Motion. In support of this Motion, Defendants state as follows:

                                          INTRODUCTION

         In this case, Plaintiffs allege their property has been contaminated by radioactive

  material. Following the Rule 16 Conference, this Court issued an Initial Case Management

  Order focused on the issue of whether there is contamination present that would rise to the level

  of a Price-Anderson Act (“PAA”) violation. The parties were to provide information regarding

  this issue by February 9 in their Initial Disclosures, and focus additional discovery on this issue.



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         This has not happened. Despite Plaintiffs’ obligations to timely provide information and

  materials in disclosures and in response to discovery, it is now clear they withheld massive

  amounts of information, data, and materials, and orchestrated a data dump in the final days and

  hours of the discovery period defined in the Court’s order. By doing so, they have severely

  curtailed Defendants’ ability to assess or challenge this information and data in the period

  designated for discovery. For this reason, Plaintiffs should not be allowed to use the electronic

  files, “supplemental” discovery responses and “supplemental” Initial Disclosures, and report

  produced at the end of the discovery period in any motion, response, or reply filed in accordance

  with Paragraph 2 of the Amended Case Management Order (Doc. No. 119). Alternatively, if the

  Court allows Plaintiffs to use any of these materials, Defendants seek additional time to analyze

  the late-produced materials, conduct additional discovery into them, and challenge and rebut

  Plaintiffs’ purported expert if he will be allowed to give opinions in this initial phase of the

  litigation despite the out-of-time production of his report.

                                             ARGUMENT

  A.     The Court’s Discovery Phase Under the Case Management Order

         On December 15, 2017, the Court held a Rule 16 Conference with all the parties, and

  invited the parties to begin written discovery immediately. On January 2, 2018, the Initial Case

  Management Order (“CMO”) was issued. In this CMO, the Court limited discovery to issues

  “related to the samples collected at Plaintiffs’ home and property, and the issue of whether the

  levels of radioactive contamination are sufficient to show a PAA violation.” Discovery was to

  be completed “no later than March 2, 2018.” Doc. No. 102 at 2.

         Plaintiffs sought an extension of the deadlines under the CMO and the Court issued its

  Amended Case Management Order (“Amended CMO”) with an identical limitation on the scope



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                                           Filed: 05/18/18Page: 663
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  of discovery, but a modification to the deadline ordering that the parties “shall complete all

  discovery” by May 2, 2018. Doc. No. 119 at 1 (emphasis added).

  B.     Defendants’ Discovery to Plaintiffs and Efforts to Obtain Complete Responses

         Soon after the Rule 16 Conference, Defendants issued their first request for production of

  documents to plaintiffs.1 This discovery focused on requesting documents related to the

  sampling and testing performed on Plaintiffs’ property, including lab data, chain of custody

  evidence, and quality assurance protocols used in sample collection through analysis, as well as

  documentation that the protocols were followed. Also, field sampling plans, field survey data,

  field notes, protocols for conducting sampling and the use of field instruments, and the results of

  any field testing were requested.

         On January 23, 2018, defendant Bridgeton Landfill, LLC (“Bridgeton”) issued its First

  Interrogatories and First Request for Production of Documents to Plaintiffs. In the

  interrogatories, Bridgeton sought the identification of any test that allegedly detected

  radionuclides on the Plaintiffs’ property, the testing performed, date of the sampling used in the

  test, the identity of the individual performing the sampling as well as any witness present, the

  testing entity, the party performing any analysis or interpretation of the testing, and how the

  results of any testing or analysis was memorialized. Also, Plaintiffs were asked to state the dose

  limit they contend is necessary for a PAA violation in this case and the basis for that contention,

  as well as the method or analysis they had used to demonstrate a PAA violation, if any.

         In the First Request for Production of Documents, Bridgeton sought photographs

  supporting the allegations in the Complaint, photos of the interior of the Plaintiffs’ home, and




         1
             This set of discovery was propounded by all Defendants to Plaintiffs.

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  documents supporting both the Plaintiffs’ position regarding the applicable dose limit in this case

  and any claim that there is contamination sufficient to constitute a violation of the PAA.

           In an attempt to ensure that Plaintiffs were providing everything in their possession or

  control, Defendants sent five separate, substantial pieces of correspondence seeking to learn if

  information or material existed that had not been produced. Those letters were sent to Plaintiffs’

  counsel on February 19, March 22, March 23, April 2, and April 12, 2018. In addition, issue-

  intensive meet and confer conference calls occurred on February 14 and March 28, 2018. These

  letters and conference calls resulted in additional productions from Plaintiffs. At the end of those

  efforts, Plaintiffs’ counsel represented that they provided everything in their possession or

  control. Based on this representation, there was no reason to pursue a motion to compel with this

  Court.

  C.       Plaintiffs Serve an “Expert” Report on May 3, 2018 at 12:02 a.m.

           Early on the morning of May 3, 2018 (after the close of discovery), Plaintiffs served the

  report of Phillip Plato on Defendants. Approximately 25 minutes earlier, at 11:37 p.m. (CDT),

  Plaintiffs served “Supplemental and Amended Responses” to Bridgeton’s First Interrogatories

  and Request for Production of Documents. In that “supplemental” response, Plaintiffs identified,

  for the first time in any document or conversation, Phillip Plato, and provided “Draft #3” of his

  report. Plato’s final draft appeared in defense counsel’s email inboxes 25 minutes later at 12:02

  a.m. on May 3, with a request from Plaintiffs’ counsel to disregard the one sent at 11:37 p.m.

  The Plato report attempts to formulate an opinion to support the allegation that the Dailey

  property has been contaminated. However, even now the Plato report is incomplete. For

  example, he has failed to provide key information, including the calculations used by him to

  determine his purported dose and risk assessment at the Dailey property.



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           Earlier, at 5:33 p.m. (CDT) on May 2, 2018, Plaintiffs also served their “Supplemental

  Initial Disclosures,” which identified at least 23 categories and thousands of pages of documents

  not previously identified in any prior Initial Disclosure.2 At that time, Plaintiffs’ counsel wrote

  that he would “share a Dropbox folder with all materials referenced shortly.” That Dropbox link

  was provided later in the evening. This Drobpox contained 3.28 gigabytes of data.

           The last-minute “supplemental” Initial Disclosures, data dump, “supplemental” discovery

  responses, and out-of-time “expert” report left Defendants with no opportunity before the end of

  the discovery period to analyze the new productions or assess and test the validity or

  admissibility of the Plato report. Much like the report of Richard Stewart, which was sprung on

  Defendants in an earlier reply brief, it appears that Plaintiffs’ decision to withhold the Plato

  report until the last hours of discovery was intended to deny Defendants the chance to timely

  depose him pursuant to Rule 26(b)(4)(A), and calculated to engage in an end-run around the

  parties’ upcoming dispositive motions concerning, among other things, the standard applicable to

  Plaintiffs’ claims and the level of contamination allegedly present at Plaintiffs’ property.

  Ultimately, Plaintiffs’ efforts to skirt the basic procedural requirements for the introduction of

  expert reports, opinions, and testimony have prevented Defendants from probing the bases for

  Plato’s opinions, resulting in severe prejudice to Defendants.3

  D.       Plaintiffs Also Mischaracterized the Contents of a Thumb Drive Produced at the

           Deposition of Marco Kaltofen

           On April 20, 2018, Plaintiffs engaged in a similar effort to sandbag Defendants. Despite

  the fact Marco Kaltofen was the individual who coordinated and hired others to do all of the

            2
              Initial Disclosures were due under the Court’s CMO on February 9, 2018. No attempt was made by
  Plaintiffs to supplement the Initial Disclosures between February 9 and the evening of May 2, 2018.
           3
             At this juncture, Defendants are opposing Plaintiffs’ use of the Plato report based only on the timing of its
  late production. Defendants reserve the right to raise additional issues should the Court allow Plaintiffs to use the
  report or allow Plato to testify.

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        4:17-cv-00024-CDP Doc.
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                                           Filed: 05/18/18Page: 666
                                                            Page:   of 10
                                                                  6 of 903PageID
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  sampling at the Dailey home, Plaintiffs did not voluntarily produce him. Instead, Defendants

  had to subpoena him to appear in Boston for his deposition. At that deposition, Plaintiffs and

  Kaltofen produced for the first time a thumb drive, which was marked as Deposition Exhibit 10.

  During the Kaltofen deposition, plaintiffs’ counsel, Celeste Brustowicz, represented to defense

  counsel that the contents of the thumb drive was “a duplicate of everything that appears here that

  [sic] has already been produced with the exception of the spreadsheets and, I believe, the

  photograph we discussed off the record.”4 Deposition of M. Kaltofen, 71:5-19, an accurate copy

  of the relevant part of which is attached as Exhibit A.

          Taking Ms. Brustowicz at her word, the thumb drive did not become a significant area of

  questioning during the deposition. Although there was some discussion of limited additional

  materials on the thumb drive (e.g., Kaltofen’s bills to counsel and contract for services), the

  extent of the materials contained on the thumb drive was not revealed. Only after the deposition

  was complete did defense counsel learn that Ms. Brustowicz’s characterization of the contents of

  Exhibit 10 was incorrect, and that it in fact contained over four gigabytes of data and over four

  thousand files.

          Had the contents of the drive been disclosed, defense counsel could have questioned

  Kaltofen about the material or, at least, requested an adjournment of the deposition to allow for a

  meaningful review of the contents before the deposition was reconvened. Once the Brustowicz

  mischaracterization was made and accepted, however, there was no opportunity to further

  explore the drive with Kaltofen or anyone else because the production of the drive on April 20

  occurred only 12 days (and only eight business days) before the close of discovery.




           4
             At this point in time, Plaintiffs had produced some documents from Eberline, Microvision, and AccuStar
  labs, some field notes (some were reported to be lost), photographs, and data from a survey instrument.

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                                           Filed: 05/18/18Page: 667
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  E.       Plaintiffs Should Not Be Rewarded for Their Intentional Efforts to Withhold

           Evidence Until the Last Moment of the Discovery Period

           It is now apparent, in light of the last-second production of materials, that Plaintiffs

  believe they can withhold information and produce it in a manner that prevents Defendants from

  having a meaningful opportunity to review it or ask questions of witnesses about it.5 They have

  employed a modus operandi that is now clear and undeniable: they delay the release of

  information and production of materials, even after representing that they have nothing

  remaining, and then engage in last-minute data dumps and discovery “supplementation” which

  provide the defense no time to review or challenge it, or depose witnesses about it.

           The Plato report, the data developed and used for the Plato report, the supplemental

  disclosures and discovery responses, and the 3.26 gigabytes of data on the Dropbox were not

  produced until the evening and night of May 2, and early morning hours of May 3, 2018.

  Likewise, the contents of the thumb drive produced during the April 20, 2018 deposition of

  Kaltofen should have been identified and produced much earlier. Kaltofen was the individual

  responsible for coordinating all sampling at the Dailey property, and it is now clear the vast

  majority of the drive, if not its entirety, had been in his possession for months and possibly years.

  It is also indisputable that Plaintiffs and their counsel had control over the ability to produce the

  data and other information in Kaltofen’s possession – as was definitively demonstrated when he

  ultimately produced the material at his April 20, 2018 deposition. Plaintiffs’ counsel’s decision

  to, even then, mischaracterize the contents of the previously unproduced drive speaks volumes to

  their intent and the strategy behind the now-revealed effort to withhold evidence until a time late



           5
             The attempt to spring experts and expert reports without notice was also attempted by Plaintiffs when they
  identified and used the report of undisclosed “expert” Richard Stewart in an earlier reply brief. See Doc Nos. 135
  and 135-3.

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                                           Filed: 05/18/18Page: 668
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  enough in discovery to prevent Defendants from any real opportunity to review it or question

  witnesses about it.

                                          RELIEF SOUGHT

         Because this motion stems from the schedule established under the Amended CMO,

  relief is sought under Fed. R. Civ. P. 16(f) and this Court's inherent power to enforce its own

  orders. See Travel Tags, Inc. v. UV Color, Inc., No. 09-1619 (JRT/AJB), 2010 U.S. Dist. LEXIS

  144874, at *5 (D. Minn. Apr. 9, 2010) (citation omitted).

         Plaintiffs should not be rewarded for under-handed tactics. The decision to withhold the

  Plato identification and report, the underlying data, the supplemental disclosures, the 3.28

  gigabytes of data, and the supplemental discovery responses until the night of May 2 and

  morning of May 3, 2018 is calculated and improper. Accordingly, all the materials produced by

  Plaintiffs on May 2 and 3, 2018 should be unavailable to them during this phase of the litigation.

         Similarly, the thumb drive produced on April 20, 2018 (Kaltofen Exhibit 10), which was

  ultimately found to contain over 4 gigabytes of data and four thousand files, should be

  unavailable to Plaintiffs during this phase of the litigation and plaintiffs should not be allowed to

  refer or use it in any way. Any other outcome would be severely prejudicial, especially after the

  contents of the thumb drive were incorrectly represented.

         Any other outcome would also be unjust. Defendants were not given an opportunity to

  review the material with sufficient time to meaningfully use it or challenge it before the end of

  discovery. Similarly, the late identification of Plato and the production of his report out of time

  have prevented Defendants from questioning him, challenging his theories and methods, or

  exploring his knowledge about the validity of the underlying data he uses. Defendants have been

  severely prejudiced by Plaintiffs’ sandbagging efforts and last minute production tactics, and

  respectfully request that the Court prevent and enjoin Plaintiffs from using the contents of the
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  thumb drive (Exhibit 10 of the Kaltofen deposition), and all supplemental discovery responses

  and disclosures and reports (as well as data and materials provided with those reports and

  supplemental responses) that were produced on May 2 and 3, 2018. This use prohibition should,

  at least, apply to any briefing and responses to briefing contemplated under Paragraph 2 of the

  Amended CMO. A proposed order providing for this relief is attached as Exhibit B to this

  Motion. Alternatively, if the Court allows Plaintiffs to use this material, Defendants seek

  additional time to analyze the late-produced materials, conduct additional discovery into it, and

  challenge and rebut Phillip Plato’s report if his testimony will be allowed.

         Finally, Defendants seek an opportunity to be heard in oral argument on this Motion. Not

  only is this a time-sensitive matter in light of the briefing deadline of June 4, 2018, but the relief

  sought in this Motion would affect the materials that could be used in those briefs and may affect

  the deadline under the Amended CMO.

  Dated: May 18, 2018                            LATHROP GAGE LLP


                                                 By: /s/ William G. Beck
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                                                     Peter F. Daniel         33798MO
                                                     Robert G. Rooney        43381MO
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                                                  Telecopier:       (314) 613-2801
                                                  psilva@lathropgage.com

                                                  ATTORNEYS FOR DEFENDANTS


                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 18, 2018, I electronically filed the foregoing document via
 the Court’s CM/ECF system, which will serve notice on all counsel of record.



                                                 /s/ William G. Beck
                                                 An Attorney for Defendants




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                         Exhibit A
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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI


              Michael Dailey, et al.,  )
                        Plaintiffs,    )
                                       )           Case
                  versus               )           No. 4:17-CV-00024-CDP
                                       )
              Bridgeton Landfill, LLC, )
              et al.,                  )
                         Defendants.   )




                  VIDEOTAPED DEPOSITION OF MARCO KALTOFEN, PH.D.

                                      April 20, 2018

                                         9:29 a.m.

                                    Lathrop Gage, LLP

                               28 State Street, Suite 700

                                 Boston, Massachusetts




               ---- Reporter: Julie Thomson Riley, RDR, CRR ----
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                                                                                   Page 3

         1 APPEARANCES (continued)

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       10

       11     Also Present:

       12     Shawn Budd, Videographer

       13

       14

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         1                 MR. BECK: Thank you.

         2                 (Document was marked Exhibit No. 10 for

         3    identification.)

         4    BY MR. BECK:

         5         Q.      Dr. Kaltofen, I'm going to hand you what

         6    I've now marked, jumping over some numbering, as

         7    Exhibit 10, which is a thumb drive you brought to

         8    the deposition today. Is that what that is?

         9         A.      Yes, sir.

       10          Q.      All right. That will be with the record.

       11     We'll make copies for everybody for their copies of

       12     the deposition --

       13                  MS. BRUSTOWICZ: I appreciate it.

       14          Q.      -- and we'll know what you produced today.

       15                  MS. BRUSTOWICZ: Which is a duplicate of

       16     everything that appears here that has already been

       17     produced with the exception of the spreadsheets and,

       18     I believe, the photograph we discussed off the

       19     record.

       20                  THE WITNESS: Somebody take this out of my

       21     custody. It's so tiny.

       22                  MR. BECK: The court reporter has all the

       23     exhibits.

       24                  THE WITNESS: Ah, there you go. It's not
       25     my worry then.



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         1                      CERTIFICATE OF REPORTER

         2         I, Julie Thomson Riley, RDR, CRR, do certify

         3    that the deposition of Marco Kaltofen, Ph.D., in the

         4    matter of Michael Dailey, et al. vs. Bridgeton

         5    Landfill, LLC, et al., on April 20, 2018, was

         6    stenographically recorded by me; that the witness

         7    provided satisfactory evidence of identification, as

         8    prescribed by Executive Order 455 (03-13), issued by

         9    the Governor of the Commonwealth of Massachusetts,

       10     before being sworn by me, a Notary Public in and for

       11     the Commonwealth of Massachusetts; that the

       12     transcript produced by me is a true and accurate

       13     record of the proceedings to the best of my ability;

       14     that I am neither counsel for, related to, nor

       15     employed by any of the parties to the above action;

       16     and further that I am not a relative or employee of

       17     any attorney or counsel employed by the parties

       18     thereto, nor financially or otherwise interested in

       19     the outcome of the action.

       20

       21     April 29, 2018

       22                                 Julie Thomson Riley, RDR, CRR

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Based on the Supreme Court Rules governing eFiling, an eService email has been issued to the
following parties:



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                                              U.S. District Court
                                     Eastern District of Missouri (St. Louis)
                                CIVIL DOCKET FOR CASE #: 4:17-cv-00024-CDP


 Dailey et al v. Bridgeton Landfill, LLC et al                                      Date Filed: 01/06/2017
 Assigned to: District Judge Catherine D. Perry                                     Date Terminated: 03/23/2020
 Case in other court: Circuit Court St. Louis County 21st Judicial                  Jury Demand: Both
                      Circu, 16SL-CC04240                                           Nature of Suit: 890 Other Statutory Actions
 Cause: 28:1441 Petition for Removal                                                Jurisdiction: Federal Question
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                                                                         Swathi Bojedla
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                                                                                  Daniel T. DeFeo
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                                                                                  TERMINATED: 02/21/2018

                                                                                  Michael G. Stag
                                                                                  (See above for address)
                                                                                  TERMINATED: 02/21/2018

                                                                                  Michaela G. Spero
                                                                                  (See above for address)
                                                                                  TERMINATED: 12/22/2017

                                                                                  Richard S. Lewis
                                                                                  (See above for address)
                                                                                  TERMINATED: 12/22/2017

                                                                                  Steven J. Stolze
                                                                                  (See above for address)
                                                                                  TERMINATED: 02/21/2018

                                                                                  Swathi Bojedla
                                                                                  (See above for address)
                                                                                  TERMINATED: 12/22/2017


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 V.
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                                                                                  Fax: 816-292-2001
                                                                                  Email: peter.daniel@lathropgpm.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  SHOOK HARDY, LLP
                                                                                  2555 Grand Blvd.
                                                                                  Kansas City, MO 64108
                                                                                  816-559-2846
                                                                                  Fax: 816-421-5547
                                                                                  Email: rrooney@shb.com
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  LATHROP GPM LLP
                                                                                  2345 Grand Boulevard
                                                                                  Suite 2200
                                                                                  Kansas City, MO 64108
                                                                                  816-728-8061
                                                                                  Fax: 816-292-2001
                                                                                  Email: william.beck@lathropgpm.com
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                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

 Defendant
 Republic Services, Inc.                                             represented by Allyson Elisabeth Cunningham
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Peter F. Daniel
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  (See above for address)
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Allied Services L.L.C.                                              represented by Allyson Elisabeth Cunningham
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Peter F. Daniel
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  (See above for address)
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
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                                                                     Page: 683 of 903 PageID #: 2364

 Defendant
 Rock Road Industries, Inc.                                          represented by Allyson Elisabeth Cunningham
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  (See above for address)
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Mallinckrodt LLC                                                    represented by David R. Erickson
 TERMINATED: 03/20/2018                                                             SHOOK HARDY, LLP
                                                                                    2555 Grand Blvd.
                                                                                    Kansas City, MO 64108
                                                                                    816-474-6550
                                                                                    Fax: 816-421-5547
                                                                                    Email: derickson@shb.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Steven D. Soden
                                                                                  SHOOK HARDY, LLP
                                                                                  2555 Grand Blvd.
                                                                                  Kansas City, MO 64108
                                                                                  816-474-6550
                                                                                  Fax: 816-421-5547
                                                                                  Email: ssoden@shb.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 MI Holdings Inc.                                                    represented by David R. Erickson
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Defendant
 Cotter Corporation N.S.L.                                           represented by Brian O'Connor Watson
                                                                                    RILEY SAFER LLP
                                                                                    70 W. Madison

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                                                                   Suite 2900
                                                                   Chicago, IL 60602
                                                                   (312) 471-8776
                                                                   Fax: (312) 471-8701
                                                                   Email: bwatson@rshc-law.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                         Dale A. Guariglia
                                                                         BRYAN CAVE LLP - St Louis
                                                                         One Metropolitan Square
                                                                         211 N. Broadway
                                                                         Suite 3600
                                                                         St. Louis, MO 63102
                                                                         314-259-2606
                                                                         Fax: 314-552-8606
                                                                         Email: daguariglia@bclplaw.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         John McGahren
                                                                         MORGAN AND LEWIS, LLP
                                                                         502 Carnegie Center
                                                                         Princeton, NJ 08540-6241
                                                                         609-919-6600
                                                                         Email: jmcgahren@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Stephanie Feingold
                                                                         MORGAN AND LEWIS, LLP
                                                                         502 Carnegie Center
                                                                         Princeton, NJ 08540-6241
                                                                         609-919-6643
                                                                         Fax: 609-919-6701
                                                                         Email:
                                                                         stephanie.feingold@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Su Jin Kim
                                                                         MORGAN AND LEWIS LLP
                                                                         1701 Market Street
                                                                         Phildelphia, PA 19103
                                                                         215-963-1738
                                                                         Fax: 215-963-5001
                                                                         Email: su.kim@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Erin Lynn Brooks
                                                                         BRYAN CAVE LLP - St Louis
                                                                         One Metropolitan Square
                                                                         211 N. Broadway
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                                                                   Suite 3600
                                                                   St. Louis, MO 63102
                                                                   314-259-2393
                                                                   Fax: 314-259-2020
                                                                   Email: erin.brooks@bclplaw.com
                                                                   ATTORNEY TO BE NOTICED
 Defendant
 Commonwealth Edison Company                                         represented by Dale A. Guariglia
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 John McGahren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Stephanie Feingold
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Erin Lynn Brooks
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Exelon Corporation                                                  represented by Dale A. Guariglia
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 John McGahren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Stephanie Feingold
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Erin Lynn Brooks
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Mallinckrodt Inc.                                                   represented by David R. Erickson
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


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                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 686 of 903 PageID #: 2367
  Date Filed             #     Docket Text
  01/06/2017              1 NOTICE OF REMOVAL from Circuit Court for 21st Judicial Circuit, case number
                            16SL-cc04240, with receipt number 0865-5752287, in the amount of $400 Jury Demand,,
                            filed by Cotter Corporation N.S.L.. (Attachments: # 1 Civil Cover Sheet, # 2 Original
                            Filing Form, # 3 Exhibit Exhibit A, # 4 Exhibit Exhibit B, # 5 Exhibit Exhibit C, # 6
                            Exhibit Exhibit D)(Guariglia, Dale) (Attachment 1 replaced on 1/9/2017) (MFG).
                            (Entered: 01/06/2017)
  01/06/2017              2 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Cotter Corporation N.S.L.. Parent companies: General Atomics Uranium Resources,
                            LLC,. (Guariglia, Dale) (Entered: 01/06/2017)
  01/06/2017              3 NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Cotter Corporation
                            N.S.L. Sent To: Plaintiff (Guariglia, Dale) (Entered: 01/06/2017)
  01/06/2017              4 Consent to Removal by Defendant MI Holdings Inc.. (Erickson, David) (Entered:
                            01/06/2017)
  01/06/2017              5 Consent to Removal by Defendant Mallinckrodt Inc.. (Erickson, David) (Entered:
                            01/06/2017)
  01/06/2017              6 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendants
                            MI Holdings Inc., Mallinckrodt Inc.. Publicly held company: Mallinckrodt plc,.
                            (Erickson, David) (Entered: 01/06/2017)
  01/06/2017              7 Consent to Removal by Defendant Allied Services L.L.C.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017              8 Consent to Removal by Defendant Bridgeton Landfill, LLC. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017              9 Consent to Removal by Defendant Republic Services, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             10 Consent to Removal by Defendant Rock Road Industries, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             11 DEMAND for Trial by Jury by Defendants Allied Services L.L.C., Bridgeton Landfill,
                            LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             12 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Allied Services L.L.C... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             13 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Bridgeton Landfill, LLC.. (Beck, William) (Entered: 01/06/2017)
  01/06/2017             14 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Republic Services, Inc... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             15 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Rock Road Industries, Inc... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             17 Petition (Removal/Transfer) Received From: St. Louis County Circuit Court, filed by
                            Michael Dailey, Robbin Dailey.(MFG) (Entered: 01/09/2017)
  01/09/2017             16 ENTRY of Appearance by Erin Lynn Brooks for Defendant Cotter Corporation N.S.L..
                            (Brooks, Erin) (Entered: 01/09/2017)
  01/09/2017                   Case Opening Notification: All parties must file the Notice Regarding Magistrate Judge
https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                                  9/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:       MOED01/28/22
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                           Jurisdiction Form consenting to or opting out of the Magistrate Judge jurisdiction. Click
                           here for the instructions. and all non-governmental organizational parties (corporations,
                           limited liability companies, limited liability partnerships) must file Disclosure of
                           Organizational Interests Certificate (moed-0001.pdf). Judge Assigned: Honorable Shirley
                           P. Mensah. (MFG) (Entered: 01/09/2017)
  01/09/2017             18 Pursuant to Local Rule 2.08, the assigned/referred magistrate judge is designated and
                            authorized by the court to exercise full authority in this assigned/referred action or matter
                            under 28 U.S.C. Sec. 636 and 18 U.S.C Sec. 3401. (CSAW) (Entered: 01/09/2017)
  01/10/2017             19 NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Cotter Corporation
                            N.S.L. Notice of Removal Filed with State Court Sent To: State Court - Executed
                            (Attachments: # 1 Exhibit)(Brooks, Erin) (Entered: 01/10/2017)
  01/12/2017             20 NOTICE Consent to Removal: by Defendant Exelon Corporation re 1 Notice of Removal
                            Petition, (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             21 NOTICE Consent to Removal: by Defendant Commonwealth Edison Company re 1
                            Notice of Removal Petition, (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             22 CJRA ORDER (GJL). IT IS HEREBY ORDERED that the above styled case is randomly
                            reassigned from Magistrate Judge Shirley P. Mensah to District Judge Catherine D. Perry.
                            In all future documents filed with the Court, please use the following case number
                            4:16CV1407 CDP. (ARL) (Entered: 01/12/2017)
  01/12/2017             23 ENTRY of Appearance by Erin Lynn Brooks for Defendants Commonwealth Edison
                            Company, Exelon Corporation. (Brooks, Erin) (Entered: 01/12/2017)
  01/12/2017             24 ENTRY of Appearance by Dale A. Guariglia for Defendants Commonwealth Edison
                            Company, Exelon Corporation. (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             25 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Commonwealth Edison Company. Parent companies: Exelon Energy Delivery Company,
                            LLC, Subsidiaries: RITELine Illinois, LLC, Publicly held company: None,. (Guariglia,
                            Dale) (Entered: 01/12/2017)
  01/12/2017             26 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Exelon Corporation. Parent companies: None, Subsidiaries: None, Publicly held
                            company: None,. (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             27 Joint MOTION to Transfer Case to Judge Audrey G. Fleissig by Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                            Inc.. (Beck, William) (Entered: 01/12/2017)
  01/13/2017             28 MOTION to Dismiss Case and Memorandum in Support by Defendants MI Holdings
                            Inc., Mallinckrodt Inc.. (Erickson, David) (Entered: 01/13/2017)
  01/13/2017             29 ANSWER to Complaint by Allied Services L.L.C..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             30 ANSWER to Complaint by Bridgeton Landfill, LLC.(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             31 ANSWER to Complaint by Republic Services, Inc..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             32 ANSWER to Complaint by Rock Road Industries, Inc..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             33 JOINT MOTION to Dismiss Case and Memorandum in Support by Defendants Allied
https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                                 10/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
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                           Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services,
                           Inc., Rock Road Industries, Inc.. (Guariglia, Dale) Modified on 1/17/2017 (CBL).
                           (Entered: 01/13/2017)
  01/13/2017             34 MOTION to Dismiss Case by Defendants Commonwealth Edison Company, Exelon
                            Corporation. (Attachments: # 1 Exhibit Declaration of Scott N. Peters, # 2 Exhibit
                            Declaration of Bruce G. Wilson)(Guariglia, Dale) (Entered: 01/13/2017)
  01/17/2017             35 ENTRY of Appearance by William Garland Beck for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck,
                            William) (Entered: 01/17/2017)
  01/17/2017             36 ENTRY of Appearance by Robert G. Rooney for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Rooney,
                            Robert) (Entered: 01/17/2017)
  01/17/2017             37 ENTRY of Appearance by Allyson Elisabeth Cunningham for Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                            Inc.. (Cunningham, Allyson) (Entered: 01/17/2017)
  01/17/2017             38 ENTRY of Appearance by Patricia L. Silva for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Silva,
                            Patricia) (Entered: 01/17/2017)
  01/17/2017             39 First MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold. The Certificate of
                            Good Standing was attached.(Filing fee $100 receipt number 0865-5764575) by
                            Defendant Cotter Corporation N.S.L.. (Attachments: # 1 Certificate of Good Standing
                            Certificate for Stephanie Feingold)(Feingold, Stephanie) (Entered: 01/17/2017)
  01/17/2017             40 First MOTION for Leave to Appear Pro Hac Vice John McGahren. The Certificate of
                            Good Standing was attached.(Filing fee $100 receipt number 0865-5764681) by
                            Defendants Commonwealth Edison Company, Cotter Corporation N.S.L., Exelon
                            Corporation. (Attachments: # 1 Certificate of Good Standing Certificate for John
                            McGahren)(McGahren, John) (Entered: 01/17/2017)
  01/17/2017             41 AMENDED MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold. The
                            Certificate of Good Standing was attached.(Filing fee $100 receipt number 0865-
                            5764786) by Defendants Cotter Corporation N.S.L., Commonwealth Edison Company,
                            Exelon Corporation. (Attachments: # 1 Certificate of Good Standing Certificate for
                            Stephanie Feingold)(Feingold, Stephanie) Modified on 1/18/2017 (CBL). (Entered:
                            01/17/2017)
  01/18/2017             42 Consent MOTION for Extension of Time to File Response/Reply as to 34 MOTION to
                            Dismiss Case , 33 MOTION to Dismiss Case and Memorandum in Support, 27 Joint
                            MOTION to Transfer Case to Judge Audrey G. Fleissig, 28 MOTION to Dismiss Case
                            and Memorandum in Support by Plaintiffs Michael Dailey, Robbin Dailey. (Stolze,
                            Steven) (Entered: 01/18/2017)
  01/18/2017             43 MOTION for Leave to Appear Pro Hac Vice Richard S. Lewis. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5767364) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Lewis,
                            Richard) (Entered: 01/18/2017)
  01/19/2017             44 Docket Text ORDER: Re: [40, 41, 43] MOTIONS for Leave to Appear Pro Hac Vice
                            John McGahren, Stephanie Feingold, Richard S. Lewis: ORDERED GRANTED; 39 First
                            MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold: ORDERED DENIED
                            AS MOOT; 42 Consent MOTION for Extension of Time to File Response/Reply to


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                           various motions : ORDERED GRANTED.. Signed by District Judge Catherine D. Perry
                           on 1/19/17. (CDP) (Entered: 01/19/2017)
  02/03/2017             45 MOTION for Leave to Appear Pro Hac Vice Michael G. Stag. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5793529) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing #1)(Stag,
                            Michael) (Entered: 02/03/2017)
  02/03/2017             46 Docket Text ORDER: Re: 45 MOTION for Leave to Appear Pro Hac Vice Michael G.
                            Stag; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 2/3/17.
                            (CDP) (Entered: 02/03/2017)
  02/03/2017             47 Consent MOTION for Leave to File in Excess of Page Limitation by Plaintiffs Michael
                            Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 02/03/2017)
  02/06/2017             48 (MOTION WITHDRAWN PER ORDER 67 DATED 4/6/17) MOTION to Remand Case
                            to State Court by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1, #
                            2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                            Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                            13, # 14 Exhibit 14)(Lewis, Richard) Modified on 4/6/2017 (EAB). (Entered:
                            02/06/2017)
  02/06/2017             49 Docket Text ORDER: Re: 47 Consent MOTION for Leave to File in Excess of Page
                            Limitation; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            2/6/17. (CDP) (Entered: 02/06/2017)
  02/07/2017             50 Consent MOTION for Leave to Modify the Briefing Schedule on Defendants' Motions to
                            Dismiss by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis, Richard) (Entered:
                            02/07/2017)
  02/07/2017             51 Docket Text ORDER: Re: 50 Consent MOTION to Modify the Briefing Schedule on
                            Defendants' Motions to Dismiss; ORDERED GRANTED; responses to motions to
                            dismiss will be due 21 days after the Court rules on the Motion to Remand. Signed by
                            District Judge Catherine D. Perry on 2/7/17. (CDP) (Entered: 02/07/2017)
  02/08/2017             52 RESPONSE in Opposition re 27 Joint MOTION to Transfer Case to Judge Audrey G.
                            Fleissig filed by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis, Richard) (Entered:
                            02/08/2017)
  02/09/2017             53 First MOTION for Extension of Time to File Response/Reply as to 48 MOTION to
                            Remand Case to State Court by Defendant Cotter Corporation N.S.L.. (McGahren, John)
                            (Entered: 02/09/2017)
  02/09/2017             54 Amended MOTION for Extension of Time to File by Defendant Cotter Corporation
                            N.S.L.. (McGahren, John) (Entered: 02/09/2017)
  02/09/2017             55 Docket Text ORDER: Re: 54 Amended MOTION for Extension of Time to File respone
                            to motion to remand ; ORDERED GRANTED. Signed by District Judge Catherine D.
                            Perry on 2/9/17. (CDP) (Entered: 02/09/2017)
  02/14/2017             56 MOTION for Leave to Appear Pro Hac Vice Michaela G. Spero. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5811844) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Spero,
                            Michaela) (Entered: 02/14/2017)
  02/15/2017             57 JOINT REPLY MEMORANDUM in Support of Motion re 27 Joint MOTION to Transfer
                            Case to Judge Audrey G. Fleissig filed by Defendants Allied Services L.L.C., Bridgeton
                            Landfill, LLC, Commonwealth Edison Company, Cotter Corporation N.S.L., Exelon

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
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                                                                             Page: 690 of 903 PageID #: 2371
                           Corporation, MI Holdings Inc., Mallinckrodt Inc., Republic Services, Inc., Rock Road
                           Industries, Inc.. (Beck, William) Modified on 2/16/2017 (CBL). (Entered: 02/15/2017)
  02/16/2017             58 Docket Text ORDER: Re: 56 MOTION for Leave to Appear Pro Hac Vice Michaela G.
                            Spero by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. Signed by
                            District Judge Catherine D. Perry on 2/16/2017. (CBL) (Entered: 02/16/2017)
  02/16/2017             59 ORDER. I have fully considered the arguments raised by the parties in the motion to
                            transfer this case to another judge of this district. No party has the right to have a case
                            assigned to any particular judge of this court, and the random assignment of cases serves
                            the interests of justice. Accordingly, IT IS HEREBY ORDERED that defendants' motion
                            to transfer this case to the Honorable Audrey G. Fleissig 27 is denied. Signed by District
                            Judge Catherine D. Perry on 2/16/2017. (CBL) (Entered: 02/16/2017)
  02/21/2017             60 MOTION for Leave to Appear Pro Hac Vice Swathi Bojedla. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5820974) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Bojedla,
                            Swathi) (Entered: 02/21/2017)
  02/21/2017             61 Docket Text ORDER: Re: 60 MOTION for Leave to Appear Pro Hac Vice Swathi
                            Bojedla; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            2/21/17. (CDP) (Entered: 02/21/2017)
  02/24/2017             62 Consent MOTION for Extension of Time to File Response/Reply to Defendants'
                            Response to Plaintiffs' Motion to Remand by Plaintiffs Michael Dailey, Robbin Dailey.
                            (Lewis, Richard) (Entered: 02/24/2017)
  02/24/2017             63 Docket Text ORDER: Re: 62 Consent MOTION for Extension of Time to File
                            Response/Reply ; ORDERED GRANTED. Signed by District Judge Catherine D. Perry
                            on 2/24/17. (CDP) (Entered: 02/24/2017)
  02/27/2017             64 MEMORANDUM in Opposition re 48 MOTION to Remand Case to State Court filed by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Commonwealth Edison
                            Company, Cotter Corporation N.S.L., Exelon Corporation, MI Holdings Inc.,
                            Mallinckrodt Inc., Republic Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1
                            Affidavit Declaration of Stephanie Feingold in Support of Opposition to Motion to
                            Remand, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7
                            Exhibit F, # 8 Exhibit G)(McGahren, John) (Entered: 02/27/2017)
  03/16/2017             65 REPLY to Response to Motion re 48 MOTION to Remand Case to State Court filed by
                            Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1)(Lewis, Richard)
                            (Entered: 03/16/2017)
  04/05/2017             66 MOTION to Withdraw 48 MOTION to Remand Case to State Court by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Text of Proposed Order)(Stag,
                            Michael) (Entered: 04/05/2017)
  04/06/2017             67 ORDER. IT IS HEREBY ORDERED that plaintiffs' motion to withdraw their motion to
                            remand [Doc No. 66 ] is granted. Plaintiffs have twenty-one (21) days from the date of
                            this order to file a response to the motions to dismiss. Signed by District Judge Catherine
                            D. Perry on 4/6/17. (EAB) (Entered: 04/06/2017)
  04/20/2017             68 MOTION for Leave to File Amended Complaint and Modify the Briefing Schedule for
                            Responsive Pleadings and/or Motions to Dismiss (Unopposed) by Plaintiffs Michael
                            Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1 - First Amended Complaint)(Lewis,
                            Richard) (Entered: 04/20/2017)
  04/21/2017             69 Docket Text ORDER: Re: 68 MOTION for Leave to File Amended Complaint and
                            Modify the Briefing Schedule for Responsive Pleadings and/or Motions to Dismiss
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
                                                                 - CM/ECF (LIVE)
                                                                              Page: 691 of 903 PageID #: 2372
                           (Unopposed) : ORDERED GRANTED; amended complaint deemed filed today; original
                           motions to dismiss [28, 33, 34] denied as moot without prejudice to defendants' right to
                           file motions to dismiss directed to amended complaint within 21 days. Signed by District
                           Judge Catherine D. Perry on 4/21/17. (CDP) (Entered: 04/21/2017)
  04/21/2017             70 AMENDED COMPLAINT against defendant Allied Services L.L.C., Bridgeton Landfill,
                            LLC, Cotter Corporation N.S.L., Mallinckrodt LLC, Republic Services, Inc., Rock Road
                            Industries, Inc.,Terminating MI Holdings Inc., Commonwealth Edison Company and
                            Exelon Corporation filed by Michael Dailey, Robbin Dailey.(MCB) (Entered:
                            04/24/2017)
  05/12/2017             71 MOTION to Dismiss Case, MEMORANDUM in Support and REQUEST for Oral
                            Argument by Defendant Mallinckrodt LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                            (Erickson, David) Modified on 5/15/2017 (CBL). (Entered: 05/12/2017)
  05/12/2017             72 Joint MOTION to Dismiss Case and Memorandum in Support by Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services,
                            Inc., Rock Road Industries, Inc.. (McGahren, John) (Entered: 05/12/2017)
  05/12/2017             73 ANSWER to 70 Amended Complaint, by Allied Services L.L.C..(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             74 ANSWER to 70 Amended Complaint, by Bridgeton Landfill, LLC.(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             75 ANSWER to 70 Amended Complaint, by Republic Services, Inc..(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             76 ANSWER to 70 Amended Complaint, by Rock Road Industries, Inc..(Beck, William)
                            (Entered: 05/12/2017)
  05/26/2017             77 MEMORANDUM in Opposition re 72 Joint MOTION to Dismiss Case and
                            Memorandum in Support, 71 MOTION to Dismiss Case (Omnibus Opposition to Both
                            Motions to Dismiss) filed by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B)(Lewis, Richard) (Entered: 05/26/2017)
  05/31/2017             78 Consent MOTION for Extension of Time to File Response/Reply as to 77 Memorandum
                            in Opposition to Motion, and MOTION for Leave to Exceed Page Limitation by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L.,
                            Mallinckrodt LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William)
                            Modified on 6/1/2017 (CBL). (Entered: 05/31/2017)
  06/01/2017             79 Docket Text ORDER: Re: 78 Consent MOTION for Extension of Time and to exceed
                            page limits: ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            6/1/17. (CDP) (Entered: 06/01/2017)
  06/06/2017             80 *** Incorrect PDF filed. See Document 81 REPLY to Response to Motion re 71
                            MOTION to Dismiss Case filed by Defendant Mallinckrodt Inc.. (Erickson, David)
                            Modified on 6/7/2017 (CBL). (Entered: 06/06/2017)
  06/06/2017             81 REPLY to Response to Motion re 71 MOTION to Dismiss Case (corrected filing) filed
                            by Defendant Mallinckrodt LLC. (Erickson, David) (Entered: 06/06/2017)
  06/06/2017             82 REPLY to Response to Motion re 72 Joint MOTION to Dismiss Case and Memorandum
                            in Support filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter
                            Corporation N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (McGahren,
                            John) (Entered: 06/06/2017)
  07/13/2017             83 MOTION to Consolidate Cases by Defendants Allied Services L.L.C., Bridgeton

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                               - CM/ECF (LIVE)
                                                                            Page: 692 of 903 PageID #: 2373
                           Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William)
                           (Entered: 07/13/2017)
  07/13/2017             84 MEMORANDUM in Support of Motion re 83 MOTION to Consolidate Cases filed by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.,
                            Rock Road Industries, Inc.. (Attachments: # 1 Exhibit A)(Beck, William) (Entered:
                            07/13/2017)
  07/25/2017             85 Consent MOTION for Extension of Time to File Response/Reply as to 83 MOTION to
                            Consolidate Cases by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC,
                            Republic Services, Inc., Rock Road Industries, Inc.. (Rooney, Robert) (Entered:
                            07/25/2017)
  07/25/2017             86 Docket Text ORDER: Re: 85 Consent MOTION for Extension of Time to File
                            Response/Reply as to 83 MOTION to Consolidate Cases ; ORDERED GRANTED.
                            Signed by District Judge Catherine D. Perry on 7/25/17. (CDP) (Entered: 07/25/2017)
  08/07/2017             87 REPLY to Response to Motion re 83 MOTION to Consolidate Cases filed by Defendants
                            Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road
                            Industries, Inc.. (Beck, William) (Entered: 08/07/2017)
  10/23/2017             88 Docket Text ORDER: Re: 83 MOTION to Consolidate Cases ; ORDERED DENIED as
                            moot as other case has been remanded to state court. Signed by District Judge Catherine
                            D. Perry on 10/23/17. (CDP) (Entered: 10/23/2017)
  10/27/2017             89 MEMORANDUM AND ORDER. (See Full Order.) IT IS HEREBY ORDERED that
                            defendant Mallinckrodt LLC's motion to dismiss [# 71 ] and defendants Allied Services
                            LLC, Bridgeton Landfill LLC, Cotter Corporation, Republic Services Inc., and Rock
                            Road Industries, Inc.'s motion to dismiss [# 72 ] are GRANTED in part and DENIED in
                            part. Counts II through IV of the First Amended Complaint are dismissed. Plaintiffs'
                            claims for medical monitoring and emotional distress are also dismissed. IT IS
                            FURTHER ORDERED that defendants' requests for oral argument on the motions to
                            dismiss are DENIED. This case will be set for a Rule 16 Scheduling Conference by
                            separate order. Signed by District Judge Catherine D. Perry on 10/27/2017. (CBL)
                            (Entered: 10/27/2017)
  10/27/2017             90 ORDER SETTING RULE 16 CONFERENCE. (See Full Order.) This case is assigned to
                            Track: 3 (Complex). Joint Scheduling Plan due by 12/1/2017. Rule 16 Conference set for
                            12/8/2017 09:30 AM in Chambers before District Judge Catherine D. Perry. Signed by
                            District Judge Catherine D. Perry on 10/27/2017. (CBL) (Entered: 10/27/2017)
  11/10/2017             91 ANSWER to 70 Amended Complaint, by Mallinckrodt LLC.(Erickson, David) (Entered:
                            11/10/2017)
  11/10/2017             92 ANSWER to 70 Amended Complaint, by Cotter Corporation N.S.L..(McGahren, John)
                            (Entered: 11/10/2017)
  11/28/2017             93 ORDER. IT IS HEREBY ORDERED that the Scheduling Conference pursuant to
                            Fed.R.Civ.P. 16, is reset from December 8, 2017 to Friday, December 15, 2017 at 10:30
                            a.m. in my chambers. The Joint Proposed Scheduling Plan is now due no later than
                            December 8, 2017. Signed by District Judge Catherine D. Perry on 11/28/17. (EAB)
                            (Entered: 11/28/2017)
  12/08/2017             94 JOINT SCHEDULING PLAN by Defendant Cotter Corporation N.S.L.. on behalf of all
                            parties. (McGahren, John) (Entered: 12/08/2017)
  12/11/2017             95 SUPPLEMENTAL re 94 Joint Scheduling Plan Exhibit A to Joint Scheduling Plan by
                            Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered: 12/11/2017)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                         - CM/ECF (LIVE)
                                                                      Page: 693 of 903 PageID #: 2374
  12/22/2017      96 MOTION to Withdraw as Attorney ;attorney/firm Richard S. Lewis, Michaela G. Spero,
                      Swathi Bojedla, and Hausfeld LLP by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis,
                      Richard) (Entered: 12/22/2017)
  12/22/2017             97 Docket Text ORDER: Re: 96 MOTION to Withdraw as Attorney ;attorney/firm Richard
                            S. Lewis, Michaela G. Spero, Swathi Bojedla, and Hausfeld LLP by Plaintiffs Michael
                            Dailey, Robbin Dailey. (Lewis, Richard) filed by Michael Dailey, Robbin Dailey ;
                            ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 12/22/17.
                            (CDP) (Entered: 12/22/2017)
  12/22/2017             98 MOTION to Withdraw as Attorney ;attorney/firm DeFeo, Stolze, Calvert by Plaintiffs
                            Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 12/22/2017)
  12/27/2017             99 MOTION to Withdraw 98 MOTION to Withdraw as Attorney ;attorney/firm DeFeo,
                            Stolze, Calvert by Plaintiffs Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered:
                            12/27/2017)
  12/27/2017           100 Docket Text ORDER: 99 MOTION to Withdraw 98 MOTION to Withdraw as Attorney
                           by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. 98 MOTION to
                           Withdraw as Attorney Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: DENIED
                           AS MOOT. Signed by District Judge Catherine D. Perry on 12/27/2017. (CBL) (Entered:
                           12/27/2017)
  12/28/2017           101 ENTRY of Appearance by Steven D. Soden for Defendant Mallinckrodt LLC. (Soden,
                           Steven) (Entered: 12/28/2017)
  01/02/2018           102 INITIAL CASE MANAGEMENT ORDER. This case is assigned to Track: 3 (Complex).
                           Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan and the
                           Differentiated Case Management Program of the United States District Court of the
                           Eastern District of Missouri, and the Rule 16 Conference held on December 15, 2017, the
                           Court will set an initial schedule for this case to proceed as detailed herein. (See Full
                           Order.) Signed by District Judge Catherine D. Perry on 1/2/2018. (CBL) (Entered:
                           01/02/2018)
  01/12/2018           103 MOTION for Leave to Appear Pro Hac Vice Barry Cooper. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6330831) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing
                           Certificate of Good Standing (Barry J. Cooper))(Cooper, Barry) (Entered: 01/12/2018)
  01/16/2018           104 Docket Text ORDER: Re: 103 MOTION for Leave to Appear Pro Hac Vice Barry
                           Cooper by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. Signed by
                           District Judge Catherine D. Perry on 1/16/2018. (CBL) (Entered: 01/16/2018)
  02/08/2018           105 MOTION to Withdraw as Attorney ;attorney/firm Michael Stag/Smith Stag by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Stag, Michael) (Entered: 02/08/2018)
  02/20/2018           106 MOTION to Withdraw as Attorney ;attorney/firm DeFeo, Stolze, Calvert by Plaintiffs
                           Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 02/20/2018)
  02/21/2018           107 Docket Text ORDER: Re: [105, 106] MOTIONS to Withdraw as Attorney ;attorney/firm
                           Michael Stag/Smith Stag, attorney/firm DeFeo, Stolze, Calvert ; ORDERED GRANTED.
                           Signed by District Judge Catherine D. Perry on 2/21/18. (CDP) (Entered: 02/21/2018)
  02/21/2018           108 MOTION for Extension of: TIME ON INITIAL CASE MANAGEMENT ORDER
                           SCHEDULE and MOTION for Status Conference by Plaintiffs Michael Dailey, Robbin
                           Dailey. (Cooper, Barry). (Added MOTION for Status Conference on 2/22/2018.) (CBL).
                           (Entered: 02/21/2018)
  02/22/2018           109 AMENDED MOTION re: 108 MOTION for Extension of: TIME ON INITIAL CASE
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                               - CM/ECF (LIVE)
                                                                            Page: 694 of 903 PageID #: 2375
                           MANAGEMENT ORDER SCHEDULE and MOTION for Status Conference by
                           Plaintiffs Michael Dailey, Robbin Dailey. (Cooper, Barry) Modified on 2/23/2018 (CBL).
                           (Entered: 02/22/2018)
  02/26/2018           110 MOTION for Leave to Appear Pro Hac Vice Celeste Brustowicz. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6400783) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)
                           (Brustowicz, Celeste) (Entered: 02/26/2018)
  02/27/2018           111 ORDER. As requested by the parties, the Court will hold a telephone status conference to
                           discuss the disputes between the parties and the motion for extension of time as to the
                           Initial Case Management Order. Accordingly, IT IS HEREBY ORDERED that plaintiffs'
                           Motion for Leave to Appear Pro Hac Vice Celeste Brustowicz 110 is GRANTED. IT IS
                           FURTHER ORDERED that a telephone conference with counsel will be held on
                           Monday, March 5, 2018 at 2:00 p.m. Counsel for plaintiffs Michael and Robbin Dailey
                           will place the call and have all necessary counsel on the line before joining the
                           undersigned at (314) 244-7520. Signed by District Judge Catherine D. Perry on
                           2/27/2018. (CBL) (Entered: 02/27/2018)
  02/28/2018           112 RESPONSE to Motion re 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing, 109 MOTION to
                           Amend/Correct 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing filed by Defendants
                           Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic
                           Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1 Exhibit 1)(McGahren, John)
                           (Entered: 02/28/2018)
  03/02/2018           113 MOTION for Leave to Appear Pro Hac Vice Victor T. Cobb. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6408510) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Cobb,
                           Victor) (Entered: 03/02/2018)
  03/02/2018           114 Docket Text ORDER: Re: 113 MOTION for Leave to Appear Pro Hac Vice Victor T.
                           Cobb; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 3/2/18.
                           (CDP) (Entered: 03/02/2018)
  03/02/2018           115 REPLY to Response to Motion re 108 MOTION for Extension of: TIME ON INITIAL
                           CASE MANAGEMENT ORDER SCHEDULE MOTION for Hearing, 109 MOTION to
                           Amend/Correct 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing filed by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Attachment Declaration by Barry J.
                           Cooper, Jr., Esq.)(Cooper, Barry) (Entered: 03/02/2018)
  03/05/2018           116 Minute Entry for proceedings held before District Judge Catherine D. Perry: Telephone
                           Conference held on 3/5/2018. Parties present for telephone conference. Parties discuss
                           case status with the court. Certain discovery deadlines and dispositive motions deadlines
                           extended 60 days. Amended case management order to follow with complete details.
                           (Court Reporter:Gayle Madden, Gayle_Madden@moed.uscourts.gov, 314-244-7987)
                           (FTR Gold Operator initials:N/A) (FTR Gold: No) (EAB) (Entered: 03/05/2018)
  03/05/2018           117 Joint MOTION for Protective Order by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc., Rock Road Industries,
                           Inc.. (Rooney, Robert) (Entered: 03/05/2018)
  03/05/2018           118 MEMORANDUM in Support of Motion re 117 Joint MOTION for Protective Order filed
                           by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation
                           N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1 Exhibit A,

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
                                                                - CM/ECF (LIVE)
                                                                             Page: 695 of 903 PageID #: 2376
                           # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Rooney, Robert) (Entered:
                           03/05/2018)
  03/06/2018           119 AMENDED CASE MANAGEMENT ORDER - IT IS HEREBY ORDERED that
                           plaintiffs' amended motion for an extension of time of initial case management order
                           schedule [#109] is GRANTED in part as follows: 1. The parties shall complete all
                           discovery related to the samples collected at Plaintiffs home and property, and the issue
                           of whether the levels of radioactive contamination are sufficient to show a PAA violation,
                           no later than May 2, 2018. 2. Any motions for summary judgment or motions for
                           judgment on the pleadings pertaining to the issue of whether plaintiffs can show levels of
                           radioactive contamination sufficient to show a violation of the PAA must be filed no later
                           than June 4, 2018. Opposition briefs shall be filed no later than thirty days after the
                           motion or July 5, 2018, whichever is earlier. Any reply brief may be filed no later than
                           ten days following the response brief or July 16, 2018, whichever is earlier. IT IS
                           FURTHER ORDERED that plaintiffs' first motion for an extension of time of initial case
                           management order schedule [#108] is DENIED as moot. All other provisions of the
                           Initial Case Management Order [ECF # 102] remain in full force and effect. Failure to
                           comply with any part of this order may result in the imposition of sanctions. ( Discovery
                           Completion due by 5/2/2018. Dispositive Motions due by 6/4/2018.) Signed by District
                           Judge Catherine D. Perry on March 6, 2018. (MCB) (Entered: 03/06/2018)
  03/16/2018           120 STIPULATION FOR DISMISSAL with Prejudice of Mallinckrodt LLC Only by
                           Defendant Mallinckrodt LLC. (Erickson, David) Modified on 3/19/2018 (CBL).
                           (Entered: 03/16/2018)
  03/20/2018           121 Docket Text ORDER: Re: 117 Joint MOTION for Protective Order ; ORDERED
                           GRANTED without objection. Signed by District Judge Catherine D. Perry on 3/20/18.
                           (CDP) (Entered: 03/20/2018)
  03/20/2018           122 Docket Text ORDER: Re: 120 STIPULATION FOR DISMISSAL with Prejudice of
                           Mallinckrodt LLC Only ; ORDERED GRANTED and plaintiffs' claims against defendant
                           Mallinckrodt, LLC are dismissed with prejudice with each side to pay its own costs.
                           Signed by District Judge Catherine D. Perry on 3/20/18. (CDP) (Entered: 03/20/2018)
  03/27/2018           123 MOTION for Leave to Amend Complaint, Remand, Stay Pending Discovery and
                           Alternatively Amend CMO by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: #
                           1 Memo in Support of Motion to Amend Complaint, Remand, Stay Pending Discovery
                           and Alternatively Amend CMO)(Brustowicz, Celeste) (Entered: 03/27/2018)
  04/02/2018           124 Joint MOTION for Extension of Time to File Response/Reply as to 123 MOTION for
                           Leave to Amend Complaint, Remand, Stay Pending Discovery and Alternatively Amend
                           CMO by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter
                           Corporation N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (Rooney,
                           Robert) (Entered: 04/02/2018)
  04/03/2018           125 Docket Text ORDER: Re: 124 Joint MOTION for Extension of Time to File
                           Response/Reply ; ORDERED GRANTED over plaintiffs' objection. Signed by District
                           Judge Catherine D. Perry on 4/3/18. (CDP) (Entered: 04/03/2018)
  04/06/2018           126 Consent MOTION for Leave to File in Excess of Page Limitation by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                           Inc.. (Rooney, Robert) (Entered: 04/06/2018)
  04/09/2018           127 Docket Text ORDER: Re: 126 Consent MOTION for Leave to File in Excess of Page
                           Limitation by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc., Rock Road Industries, Inc. ORDERED: LEAVE GRANTED. Signed by
                           District Judge Catherine D. Perry on 4/9/2018. (CBL) (Entered: 04/09/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                          - CM/ECF (LIVE)
                                                                       Page: 696 of 903 PageID #: 2377
  04/10/2018    128 MEMORANDUM in Opposition re 123 MOTION for Leave to Amend Complaint,
                      Remand, Stay Pending Discovery and Alternatively Amend CMO filed by Defendant
                      Cotter Corporation N.S.L.. (Feingold, Stephanie) (Entered: 04/10/2018)
  04/10/2018           129 RESPONSE in Opposition re 123 MOTION for Leave to Amend Complaint, Remand,
                           Stay Pending Discovery and Alternatively Amend CMO filed by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                           Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Rooney, Robert) (Entered:
                           04/10/2018)
  04/12/2018           130 MOTION for Leave to Appear Pro Hac Vice Su Jin Kim. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6481333) by Defendant
                           Cotter Corporation N.S.L.. (Attachments: # 1 Certificate of Good Standing)(Kim, Su)
                           (Entered: 04/12/2018)
  04/12/2018           131 Docket Text ORDER: Re: 130 MOTION for Leave to Appear Pro Hac Vice Su Jin Kim
                           by Defendant Cotter Corporation N.S.L. ORDERED: GRANTED. Signed by District
                           Judge Catherine D. Perry on 4/12/2018. (CBL) (Entered: 04/12/2018)
  04/16/2018           132 MOTION for Extension of: Time to File Reply to Defendants' Responses In Opposition
                           to 123 Plaintiffs' Motion for Leave to Amend Complaint to dismiss Price-Anderson Act
                           Claims and Reinstate State Law Claims, Motion to Remand, Motion to Stay Pending
                           Discovery and Alternatively Motion to Amend Case Management Order by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) Modified on 4/17/2018 (CBL).
                           (Entered: 04/16/2018)
  04/17/2018           133 AMENDED DISCLOSURE OF CORPORATE INTERESTS by Defendant Rock Road
                           Industries, Inc. . (Beck, William) Modified on 4/17/2018 (CBL). (Entered: 04/17/2018)
  04/17/2018           134 Docket Text ORDER: Re: 132 MOTION for Extension of: Time to File Reply to
                           Defendants' Responses In Opposition to 123 Plaintiffs' Motion for Leave to Amend
                           Complaint to dismiss Price-Anderson Act Claims and Reinstate State Law Claims,
                           Motion to Remand, Motion to Stay Pending Discovery and Alternatively Motion to
                           Amend Case Management Order by Plaintiffs Michael Dailey, Robbin Dailey ;
                           ORDERED Motion is GRANTED. Signed by District Judge Catherine D. Perry on April
                           17, 2018. (MCB) (Entered: 04/17/2018)
  04/24/2018           135 REPLY to Response to Motion re 123 MOTION for Leave to Amend Complaint,
                           Remand, Stay Pending Discovery and Alternatively Amend CMO filed by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit Landfill Defendants Motion to
                           Dismiss in Adams, # 2 Exhibit Deferral of regulatory oversight to US EPA, # 3 Exhibit
                           Declaration of Richard Stewart, # 4 Exhibit Ware II Petition for writ of certiorari, # 5
                           Exhibit Declaration of Stephanie Feingold, # 6 Exhibit Cotter's response to CERCLA
                           request)(Brustowicz, Celeste) (Entered: 04/24/2018)
  04/26/2018           136 Joint MOTION for Leave to File a Sur-Reply by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc..
                           (Attachments: # 1 Exhibit A, # 2 Certificate of Service)(Feingold, Stephanie) (Entered:
                           04/26/2018)
  04/27/2018           137 Docket Text ORDER: Re: 136 Joint MOTION for Leave to File a Sur-Reply by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L.,
                           Republic Services, Inc.; ORDERED GRANTED. Signed by District Judge Catherine D.
                           Perry on 4/27/18. (KXS) (Entered: 04/27/2018)
  04/27/2018           138 RESPONSE to Motion re 136 Joint MOTION for Leave to File a Sur-Reply filed by
                           Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) (Entered: 04/27/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
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                                                                      Page: 697 of 903 PageID #: 2378
  05/08/2018    139 SURREPLY to Motion re 123 MOTION for Leave to Amend Complaint, Remand, Stay
                      Pending Discovery and Alternatively Amend CMO filed by Defendants Allied Services
                      L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.. (Beck, William) (Entered:
                      05/08/2018)
  05/08/2018           140 ENTRY of Appearance by Peter F. Daniel for Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc.. (Daniel, Peter) (Entered: 05/08/2018)
  05/08/2018           141 SURREPLY to Motion re 123 MOTION for Leave to Amend Complaint, Remand, Stay
                           Pending Discovery and Alternatively Amend CMO filed by Defendant Cotter
                           Corporation N.S.L.. (Feingold, Stephanie) (Entered: 05/08/2018)
  05/18/2018           142 MOTION to Exclude Motion and Memorandum in Support Requesting Plaintiffs be
                           Prevented and Enjoined from using Information and Materials they Withheld Until Late
                           in the Discovery Period by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC,
                           Republic Services, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Beck, William)
                           (Entered: 05/18/2018)
  05/25/2018           143 RESPONSE to Motion re 142 MOTION to Exclude Motion and Memorandum in Support
                           Requesting Plaintiffs be Prevented and Enjoined from using Information and Materials
                           they Withheld Until Late in the Discovery Period filed by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Brustowicz,
                           Celeste) (Entered: 05/25/2018)
  05/30/2018           144 REPLY to Response to Motion re 142 MOTION to Exclude Motion and Memorandum in
                           Support Requesting Plaintiffs be Prevented and Enjoined from using Information and
                           Materials they Withheld Until Late in the Discovery Period filed by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.. (Beck, William)
                           (Entered: 05/30/2018)
  06/01/2018           145 MOTION for Extension of Time to File Dispositive Motion ;Proposed extension date
                           6/11/2018, MOTION for Leave to File in Excess of Page Limitation by Defendant Cotter
                           Corporation N.S.L.. (McGahren, John) (Entered: 06/01/2018)
  06/01/2018           146 Consent MOTION for Leave to File Excess Pages by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc.. (Silva, Patricia) (Entered: 06/01/2018)
  06/02/2018           147 MOTION for Extension of Time to File Dispositive Motion ;Proposed extension date
                           June 11, 2018 by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc.. (Beck, William) (Entered: 06/02/2018)
  06/04/2018           148 Docket Text ORDER: Re: 145 MOTION for Extension of Time to File Dispositive
                           Motion and MOTION for Leave to File in Excess of Page Limitation by Defendant Cotter
                           Corporation N.S.L.; 147 MOTION for Extension of Time to File Dispositive Motion by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.; 146
                           Consent MOTION for Leave to File Excess Pages by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc. ; ORDERED: Motions are GRANTED. (
                           Dispositive Motions due by 6/11/2018.) Signed by District Judge Catherine D. Perry on
                           June 4, 2018. (MCB) (Entered: 06/04/2018)
  06/05/2018           149 MEMORANDUM AND ORDER - IT IS HEREBY ORDERED that plaintiffs' motion
                           for leave to amend, to remand, and to stay [#123] is GRANTED ONLY with respect to a
                           STAY of future Amended Case Management Order (ECF No. 119) deadlines, and is
                           HELD IN ABEYANCE with respect to leave to amend, remand, and alternatively,
                           amendment of the case management order. Once the Court has ruled pending motions, a
                           new schedule shall be established for this matter, if necessary. Signed by District Judge
                           Catherine D. Perry on June 5, 2018. (MCB) (Entered: 06/05/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
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                                                                        Page: 698 of 903 PageID #: 2379
  06/06/2018    150 NOTICE of Supplemental Authority re 123 MOTION for Leave to Amend Complaint,
                      Remand, Stay Pending Discovery and Alternatively Amend CMO by Defendants Allied
                      Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc. . (Attachments: # 1
                      Exhibit A)(Daniel, Peter) (Entered: 06/06/2018)
  06/12/2018           151 ORAL MOTION for Argument by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Republic Services, Inc.. (Beck, William) (Entered: 06/12/2018)
  06/20/2018           152 MOTION for Leave to Appear Pro Hac Vice Stuart H. Smtih. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6600931) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Smith,
                           Stuart) (Entered: 06/20/2018)
  06/21/2018           153 Docket Text ORDER: Re: 152 MOTION for Leave to Appear Pro Hac Vice Stuart H.
                           Smith ; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 6/21/18.
                           (CDP) (Entered: 06/21/2018)
  03/14/2019           154 MOTION to Withdraw as Attorney by Robert G. Rooney ;attorney/firm Robert G.
                           Rooney by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc., Rock Road Industries, Inc.. (Rooney, Robert) (Entered: 03/14/2019)
  03/18/2019           155 Docket Text ORDER: Re: 154 MOTION to Withdraw as Attorney by Robert G. Rooney
                           by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.,
                           Rock Road Industries, Inc.; ORDERED: Motion is GRANTED. Signed by District Judge
                           Rodney W. Sippel on behalf of District Judge Catherine D. Perry on March 18, 2019.
                           (MCB) (Entered: 03/18/2019)
  04/08/2019           156 MEMORANDUM AND ORDER. (See Full Order.) IT IS HEREBY ORDERED that
                           plaintiffs' motion for leave to amend and to remand, or to amend case management order
                           123 is denied without prejudice. Defendants' motion to prevent plaintiffs from using
                           material and information 142 is denied as moot. IT IS FURTHER ORDERED that not
                           later than April 29, 2019, plaintiffs shall file either: 1) a motion to dismiss this case
                           without prejudice under Fed. R. Civ. P. 41(a)(2); or 2) a renewed motion for leave to file
                           a Second Amended Complaint, accompanied by the proposed amended complaint. The
                           Federal Rules of Civil Procedure and the Local Rules of this Court govern the time to file
                           any responses and/or replies to plaintiffs' motion. IT IS FURTHER ORDERED that
                           defendants' Motion for Oral Argument 151 is denied. The parties thus far have clearly
                           and articulately presented their respective arguments in their prepared briefs. If I
                           determine that oral argument is necessary to assist in my consideration of plaintiffs'
                           anticipated motion to dismiss or to amend, I will not hesitate to schedule a hearing. IT IS
                           FURTHER ORDERED that the case management deadlines in this case remain stayed.
                           Signed by District Judge Catherine D. Perry on 4/8/2019. (CBL) (Entered: 04/08/2019)
  04/29/2019           157 MOTION for Leave to File a 2nd Amended Complaint by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Memo in Support of Motion, # 2 Exhibit 2nd Amended
                           Complaint)(Smith, Stuart) (Entered: 04/29/2019)
  05/06/2019           158 MOTION for Extension of Time to File Response/Reply as to 157 MOTION for Leave to
                           File a 2nd Amended Complaint by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Republic Services, Inc.. (Daniel, Peter) (Entered: 05/06/2019)
  05/06/2019           159 Docket Text ORDER: Re: 158 MOTION for Extension of Time to File Response to
                           MOTION for Leave to File a 2nd Amended Complaint ; ORDERED GRANTED. Signed
                           by District Judge Catherine D. Perry on 5/6/19. (CDP) (Entered: 05/06/2019)
  05/20/2019           160 RESPONSE to Motion re 157 MOTION for Leave to File a 2nd Amended Complaint
                           filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services,

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
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                                                                             Page: 699 of 903 PageID #: 2380
                           Inc.. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Beck, William) (Entered:
                           05/20/2019)
  05/20/2019           161 MEMORANDUM in Opposition re 157 MOTION for Leave to File a 2nd Amended
                           Complaint Pursuant to April 8, 2019 Order filed by Defendant Cotter Corporation
                           N.S.L.. (McGahren, John) (Entered: 05/20/2019)
  05/20/2019                   NOTICE: IF YOU HAVE ALREADY UPGRADED YOUR PACER ACCOUNT YOU
                               CAN DISREGARD THIS NOTICE. IF YOU DO NOT UPGRADE YOU WILL NOT
                               BE ABLE TO FILE IN THE SYSTEM AFTER MAY 31, 2019. PLEASE UPGRADE
                               IMMEDIATELY. If you are using a shared account to file cases, you will need to create
                               an individual account; instructions can be found
                               at:https://www.moed.uscourts.gov/sites/moed/files/Register-for-New-PACER-
                               account.pdf. If you already have an individual account, it will need to be upgraded;
                               instructions can be found https://www.moed.uscourts.gov/sites/moed/files/Upgrade-
                               Current-PACER-Account.pdf. If you need further assistance contact the MOED CM/ECF
                               Help Desk at 314-244-7650 or moedml_cmecf_help@moed.uscourts.gov. (CSAW)
                               (Entered: 05/20/2019)
  05/22/2019           162 MOTION for Extension of Time to File Response/Reply as to 157 MOTION for Leave to
                           File a 2nd Amended Complaint by Plaintiffs Michael Dailey, Robbin Dailey. (Cobb,
                           Victor) (Entered: 05/22/2019)
  05/28/2019           163 Docket Text ORDER: Re: 162 MOTION for Extension of Time to File Response/Reply ;
                           ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 5/28/19. (CDP)
                           (Entered: 05/28/2019)
  06/10/2019           164 REPLY to Response to Motion re 157 MOTION for Leave to File a 2nd Amended
                           Complaint filed by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1
                           (Judgment denying appeal), # 2 Exhibit 2 (Silva Deposition Transcript))(Brustowicz,
                           Celeste) (Entered: 06/10/2019)
  10/22/2019           165 ORDER : IT IS HEREBY ORDERED that plaintiffs Motion for Leave to File a Second
                           Amended Complaint 157 is GRANTED, and the Clerk of Court is instructed to file and
                           docket plaintiffs Second Amended Complaint (ECF 157-2) as of todays date. IT IS
                           FURTHER ORDERED that plaintiffs shall have twenty-one (21) days from the date of
                           this Order within which to file a motion to remand, and defendants shall have fourteen
                           (14) days thereafter within which to respond. Any reply brief may be filed within seven
                           (7) days of the response. Signed by District Judge Catherine D. Perry on 10/22/2019.
                           (KCB) (Entered: 10/22/2019)
  10/22/2019           166 SECOND AMENDED COMPLAINT against defendant Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc., Rock Road
                           Industries, Inc., filed by Michael Dailey, Robbin Dailey.(KCB) (Entered: 10/22/2019)
  10/23/2019           167 Docket Text ORDER: Defense counsel have contacted chambers indicating uncertainty
                           about whether the Court's orders somehow meant that they were not obligated to respond
                           to the Second Amended Complaint. To clear up any confusion: Defendants must respond
                           to the Second Amended Complaint within the time set by the Federal Rules of Civil
                           Procedure. Signed by District Judge Catherine D. Perry on 10/23/19. (CDP) (Entered:
                           10/23/2019)
  11/04/2019           168 MOTION for Extension of Time to File Answer to Plaintiffs' Second Amended
                           Complaint by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/04/2019)
  11/05/2019           169 Docket Text ORDER Re: 168 MOTION for Extension of Time to File Answer to
                           Plaintiffs' Second Amended Complaint by Defendant Cotter Corporation N.S.L..
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
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                                                                           Page: 700 of 903 PageID #: 2381
                           (McGahren, John); ORDERED GRANTED. Signed by District Judge Catherine D. Perry
                           on 11/5/2019. (BRP) (Entered: 11/05/2019)
  11/05/2019           170 ANSWER to 166 Amended Complaint by Allied Services L.L.C..(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           171 ANSWER to 166 Amended Complaint by Bridgeton Landfill, LLC.(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           172 ANSWER to 166 Amended Complaint by Republic Services, Inc..(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           173 NOTICE Exhibit 1 to Defendants' Answers to Plaintiffs' Second Amended Complaint: by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc. re
                           171 Answer to Amended Complaint, 172 Answer to Amended Complaint, 170 Answer to
                           Amended Complaint (Beck, William) (Entered: 11/05/2019)
  11/12/2019           174 MOTION to Remand Case to State Court to State Court by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Memo In Support of Motion to Remand)(Brustowicz,
                           Celeste) (Entered: 11/12/2019)
  11/12/2019           175 MOTION to Dismiss Case by Defendant Cotter Corporation N.S.L.. (McGahren, John)
                           (Entered: 11/12/2019)
  11/25/2019           176 MOTION to Stay by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit
                           Memo in Support of Unopposed Motion to Stay)(Brustowicz, Celeste) (Entered:
                           11/25/2019)
  11/25/2019           177 MOTION for Leave to File in Excess of Page Limitation for Response to Plaintiffs'
                           Motion to Remand by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/25/2019)
  11/26/2019           178 Docket Text ORDER: Re: 177 MOTION for Leave to File in Excess of Page Limitation ;
                           ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 11/26/19.
                           (CDP) (Entered: 11/26/2019)
  11/26/2019           179 Docket Text ORDER: Re: 176 MOTION to Stay : ORDERED GRANTED to the extent
                           that deadlines for briefing the motion to dismiss are stayed pending the Court's ruling on
                           the motion to remand. Signed by District Judge Catherine D. Perry on 11/26/19. (CDP)
                           (Entered: 11/26/2019)
  11/26/2019           180 MEMORANDUM in Opposition re 174 MOTION to Remand Case to State Court to
                           State Court filed by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/26/2019)
  11/26/2019           181 RESPONSE to Motion re 174 MOTION to Remand Case to State Court to State Court
                           filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services,
                           Inc.. (Beck, William) (Entered: 11/26/2019)
  12/02/2019           182 MOTION for Extension of Time to File Response/Reply as to 174 MOTION to Remand
                           Case to State Court to State Court, 180 Memorandum in Opposition to Motion, 181
                           Response to Motion by Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste)
                           (Entered: 12/02/2019)
  12/03/2019           183 Amended MOTION to Amend/Correct 182 MOTION for Extension of Time to File
                           Response/Reply as to 174 MOTION to Remand Case to State Court to State Court, 180
                           Memorandum in Opposition to Motion, 181 Response to Motion , MOTION for
                           Extension of Time to File Response/Reply by Plaintiffs Michael Dailey, Robbin Dailey.
                           (Brustowicz, Celeste) . (Entered: 12/03/2019)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
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                                                                       Page: 701 of 903 PageID #: 2382
  12/03/2019    184 Docket Text ORDER Re: 183 Amended MOTION to Amend/Correct 182 MOTION for
                      Extension of Time to File Response/Reply as to 174 MOTION to Remand Case to State
                      Court to State Court, 180 Memorandum in Opposition to Motion, 181 Response to
                      Motion , MOTION for Extension of Time to File Response/Reply by Plaintiffs Michael
                      Dailey, Robbin Dailey; OREDERED GRANTED. 182 MOTION for Extension of Time
                      to File Response/Reply as to 174 MOTION to Remand Case to State Court to State
                      Court, 180 Memorandum in Opposition to Motion, 181 Response to Motion by Plaintiffs
                      Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) filed by Michael Dailey, Robbin
                      Dailey; ORDERED DENIED AS MOOT. Signed by District Judge Catherine D. Perry on
                      12/3/2019. (BRP) Modified on 12/4/2019 (BRP). (Entered: 12/03/2019)
  12/10/2019           185 REPLY to Response to Motion re 174 MOTION to Remand Case to State Court to State
                           Court filed by Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) (Entered:
                           12/10/2019)
  03/23/2020           186 MEMORANDUM AND ORDER: IT IS HEREBY ORDERED that plaintiffs Michael
                           and Robbin Daileys' Motion to Remand 174 is GRANTED. IT IS FURTHER ORDERED
                           that this case is REMANDED to the Circuit Court of St. Louis County, Missouri, from
                           which it was removed. All other motions that remain pending in this action are reserved
                           for ruling by that court. Signed by District Judge Catherine D. Perry on 3/23/2020.
                           (TMT) (Entered: 03/23/2020)
  04/04/2020           187 ENTRY of Appearance by Brian O'Connor Watson for Defendant Cotter Corporation
                           N.S.L.. (Watson, Brian) (Entered: 04/04/2020)



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                                                               04/20/2020 16:08:59
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 Case:4:22-cv-00116-CDP
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                         Exhibit B
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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

 MICHAEL DAILEY, et al.,                          )
                                                  )
                Plaintiffs,                       )
                                                  )
 vs.                                              )   Case No. 4:17-cv-00024-CDP
                                                  )
 BRIDGETON LANDFILL, LLC, et al.,                 )
                                                  )
                Defendants.                       )


                                      [PROPOSED] ORDER

        Upon consideration of Defendants’ Motion Requesting Plaintiffs Be Prevented and

 Enjoined From Using Information and Materials They Withheld Until Late in the Discovery

 Period [#____], the Court finds good cause for the relief requested.

        IT IS HEREBY ORDERED that Defendants’ Motion is GRANTED. Plaintiffs shall

 not be able to use any of the following materials as support in any motion, response, or reply

 filed in accordance with paragraph 2 of the Amended Case Management Order [#119]:

        (1)     All materials contained on the thumb drive identified as Exhibit 10 to the

 Kaltofen deposition; and

        (2)     All documents and materials produced for or served on Defendants as

 supplemental initial disclosures, supplemental discovery responses, or expert reports on May 2

 and 3, 2018.


                                              CATHERINE D. PERRY
                                              UNITED STATES DISTRICT JUDGE

 Dated this _____ day of May, 2018.




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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 704 of 903 PageID #: 2385
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 705 of 903 PageID #: 2386
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 706 of 903 PageID #: 2387
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 707 of 903 PageID #: 2388
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 708 of 903 PageID #: 2389
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 709 of 903 PageID #: 2390
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 710 of 903 PageID #: 2391
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 711 of 903 PageID #: 2392
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 712 of 903 PageID #: 2393
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 713 of 903 PageID #: 2394
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Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 714 of 903 PageID #: 2395
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 715 of 903 PageID #: 2396
                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 716 of 903 PageID #: 2397
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4144Filed:
                           Doc.                 01/28/22
                                            Filed: 05/30/18Page: 7171 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2398
                                                                                     2303



                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.,                           )
                                                   )
                 Plaintiffs,                       )
                                                   )
 vs.                                               )   Case No. 4:17-cv-00024-CDP
                                                                4:17-cv-00024-CDP
                                                   )
 BRIDGETON LANDFILL, LLC, et al.,                  )
                                                   )
                 Defendants.                       )   ORAL ARGUMENT REQUESTED




       DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF THEIR MOTION
       DEFENDANTS'
            REQUESTING PLAINTIFFS BE PREVENTED AND ENJOINED
         FROM USING INFORMATION AND MATERIALS THEY WITHHELD
                   UNTIL LATE IN THE DISCOVERY PERIOD

         Defendants Bridgeton Landfill, LLC, Republic Services, Inc., and Allied Services, LLC

  (“Defendants”), offer this Reply Memorandum in Support of Motion Requesting Plaintiffs Be
  ("Defendants"),

  Prevented and Enjoined from Using Information and Materials They Withheld Until Late in the

  Discovery Period. The
                    The Court
                        Court should
                              should either preclude Plaintiffs'
                                                     Plaintiffs’ use
                                                                 use of
                                                                     of the
                                                                        the late
                                                                            late provided materials

  and witness, or allow moving Defendants additional time for discovery and to further develop

  their own expert testimony.

  I.     Factual Issues Admitted or Not Refuted by Plaintiffs

         Defendants’ Motion
         Defendants' Motion sets
                            sets out
                                 out aa number
                                        number of
                                               of grounds for their request to prevent Plaintiffs

  from using materials withheld until late in the discovery period, as well as the report and

  opinions of Phillip Plato, Ph.D. (“Plato opinions”), which were not provided until after the
                                   ("Plato opinions"),




                                                   1
                                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4144Filed:
                           Doc.                 01/28/22
                                            Filed: 05/30/18Page: 7182 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2399
                                                                                     2304



  discovery period lapsed. In their
                   lapsed. In                      143),1 Plaintiffs acknowledge or do not dispute
                              their Response (Doc. 143),1

  the following facts:

           1. Under the Amended CMO, the Court ordered that all discovery was to be
           1.
           complete by May
                       May 2,
                           2, 2018.
                              2018. Doc. 119 at 1.

           2. Plaintiffs waited until May 3, 2018 to produce the “expert”
           2.                                                    "expert" report of Dr.
           Phillip Plato, which was outside the period established by the Court for discovery.
           See Doc. 142 at 4 (unrefuted).

           3. On the night of May 2, 2018, at 11:37 p.m., Plaintiffs served “Supplemental
           3.                                                               "Supplemental
           and Amended Responses”
                         Responses" to Bridgeton's
                                        Bridgeton’s First Interrogatories
                                                          Interrogatories and First Request
           for Production of Documents (which had been served on Plaintiffs on January 28,
           2018). See Doc. 142 at 3-4 (unrefuted).

           4. On the night of May 2, 2018, at 5:33 p.m., Plaintiffs served their
           “Supplemental Initial Disclosures,"
           "Supplemental          Disclosures,” which identified at least twenty-three
           categories and thousands of pages of documents not previously identified in the
           prior Initial Disclosure (last updated on February 9, 2018). See Doc. 142 at 5
           (unrefuted).

           5. The thumb drive produced at Dr. Marco Kaltofen’s
           5.                                           Kaltofen's April 20, 2018 deposition
           (identified as Exhibit 10) was not accurately characterized
                                                         characterized by
                                                                       by Plaintiffs’
                                                                          Plaintiffs' counsel
           during the deposition and described only as copies of materials that had already
           been produced. See Doc. 142 at 6 (unrefuted).

           6. There is nothing in the Kaltofen deposition testimony, set out in Plaintiffs’
           6.                                                                   Plaintiffs'
           Response (Doc. 143 at 3-4), which contradicted the representation of Plaintiffs’
                                                                                  Plaintiffs'
           counsel regarding the thumb drive, or would have caused defense counsel to
           believe that anything new and relevant to the Daileys’
                                                         Daileys' claims was being provided
           on the drive.

           7. After the Kaltofen deposition, it was discovered the thumb drive contained
           over 4 gigabytes of data and over four thousand files. See Doc. 142 at 6
           (unrefuted).

           8.
           8. As of April 19, 2018, the only materials that had been produced were the
           twenty-two items identified in a letter from Plaintiffs’
                                                        Plaintiffs' counsel, Celeste
           Brustowicz, of that same date (attached as Exhibit
                                                       Exhibit 2 to
                                                                  to Plaintiffs’
                                                                     Plaintiffs' Response). See
           Doc.143-2.

           9. The list of twenty-two items identified in the Brustowicz April 19, 2018 letter
           9.
           fell far short of the four thousand files produced on April 20, 2018. Compare
           Doc. 143-2, with Doc. 142 at 6.
            11 Plaintiffs have characterized their
                                              their brief
                                                    brief responding
                                                          responding to
                                                                      to the
                                                                          the Motion
                                                                              Motion as
                                                                                     as aa “Reply”
                                                                                           "Reply" brief.
                                                                                                   brief. Defendants will
  refer to that document (Doc.
                            (Doc. 143)
                                  143) as
                                        as Plaintiffs’
                                           Plaintiffs' “Response.”
                                                       "Response."

                                                               2
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4144Filed:
                           Doc.                 01/28/22
                                            Filed: 05/30/18Page: 7193 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2400
                                                                                     2305



           10.  Plaintiffs’ production
           10. Plaintiffs'  production of
                                       of the Plato opinions on May 3, 2018, and production
              “Supplemental and Amended"
           of "Supplemental        Amended” Responses and disclosures on the night of May
           2, 2018, denied Defendants a chance to depose Dr. Phillip Plato or do any
           additional meaningful discovery into the new information and materials produced
           at that time. See Doc. 142 at 5, 7 (unrefuted).

           11. By failing to clearly identify what was contained on the thumb drive
           11.
           produced at the Dr. Kaltofen deposition (Exhibit 10), Plaintiffs prevented
           Defendants from questioning Mr. Kaltofen about its contents or, at least,
           requesting adjournment
                      adjournment until its
                                          its contents
                                              contents could
                                                       could be
                                                             be reviewed.
                                                                 reviewed. Doc. 142 at 6, 7
           (unrefuted).

           12. In the testimony quoted in Plaintiffs’
           12.                             Plaintiffs' Response, Dr. Kaltofen admits he had
           received a request to produce materials “about
                                                     "about two months”
                                                                  months" before his deposition
               “about the time"
           and "about      time” that he was also served with a subpoena. See Doc. 143 at 3.
           Because Dr. Kaltofen
                         Kaltofen was
                                   was Plaintiffs'
                                       Plaintiffs’ consultant
                                                   consultant responsible
                                                               responsible for
                                                                            for coordinating the
           sampling, these materials were in the control of Plaintiffs’
                                                              Plaintiffs' counsel.  Yet, by Dr.
           Kaltofen’s admission, Plaintiffs waited two months to produce the thumb drive
           Kaltofen's admission,
           and provided Defendants no opportunity to review its contents in advance of the
           Kaltofen deposition.

  II.      The Undisputed Facts Support Defendants’
                                        Defendants' Request that Plaintiffs be Prevented

           from Using Phillip Plato, Ph.D., as
                                            as an
                                               an Expert
                                                  Expert As
                                                         As Well As Any of the Materials

           Produced on April 20, and May 2 and 3, 2018

           To defend their actions and choices during the discovery phase,
                                                                    phase, Plaintiffs’
                                                                           Plaintiffs' Response

  asserts four positions: (1) a “meet
                                "meet and confer”
                                          confer" after Plaintiffs’ late production
                                                        Plaintiffs' late production of materials could

  have solved the issues and
                         and prevented
                             prevented the
                                       the filing
                                           filing of
                                                  of Defendants’
                                                     Defendants' Motion;
                                                                 Motion; (2)
                                                                         (2) Plaintiffs’
                                                                             Plaintiffs' late

  production of materials on Exhibit 10 to the Kaltofen deposition was appropriate; (3) the late

  production was beyond the scope of the Amended CMO; and (4) the appropriate relief is

  additional time for discovery, and not preventing Plaintiffs’
                                                    Plaintiffs' use of the late-produced materials

                opinions.2
  and the Plato opinions.2




           2
           2 Additionally, Plaintiffs attempt to re-argue their position regarding the application of the PAA and their
  view that this Court does not have jurisdiction.   Defendants have
                                       jurisdiction. Defendants  have already
                                                                       already provided formal argument on these points
  and will not repeat them here.

                                                            3
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4144Filed:
                           Doc.                 01/28/22
                                            Filed: 05/30/18Page: 7204 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2401
                                                                                     2306



          As to Plaintiffs’
                Plaintiffs' initial point, an additional meet and confer
                                                                  confer over
                                                                         over Plaintiffs’
                                                                              Plaintiffs' late

  productions would have done no good. First,
                                       First, Defendants
                                              Defendants had made an earlier effort to ensure

  that Plaintiffs had produced all materials
                                   materials responsive
                                             responsive to
                                                        to discovery.
                                                           discovery. This effort included five

  pieces of correspondence from Defendants setting out positions on discovery as well as two prior

 “meet and confers.”
 "meet                Plaintiffshad
           confers." Plaintiffs  hadalready
                                     alreadyindicated
                                             indicatedthey
                                                       theyhad
                                                           had produced
                                                               produced everything
                                                                        everything in their

  possession or control. ItIt isis obvious
                                   obvious now
                                           now that,
                                                that, in
                                                       in fact,
                                                          fact, the
                                                                the documents
                                                                    documents were not all provided,

  despite Defendants’
          Defendants' efforts. AAmeet
                                 meetand
                                      andconfer
                                          confer to
                                                  to discuss
                                                     discuss the
                                                             the May
                                                                 May data
                                                                     data dump
                                                                          dump could not have

  solved any issue prior to the receipt
                                receipt of
                                        of the
                                           the data
                                               data dump. Defendants were unaware they were
                                                    dump. Defendants

  going to receive
           receive the
                    the data
                        datadump
                             dumpuntil
                                  untilthe
                                        theclose
                                            closeofofdiscovery.  The Court's
                                                      discovery. The Court’s appropriately
                                                                             appropriately

  aggressive schedule provided for only one month from the end of discovery to the filing of

  dispositive motions. There
                       There was
                             was no
                                 no time
                                     time to
                                          to go
                                             go back
                                                back to the table with Plaintiffs.

          Second, Plaintiffs suggest that the production of thumb drive materials on April 20

  (Kaltofen Exhibit
            Exhibit 10)
                    10) and
                        and later
                             later was
                                   was appropriate.
                                       appropriate. However, they ignore
                                                                  ignore aa major
                                                                            major point.
                                                                                  point. The

  materials produced by Kaltofen had been requested in discovery from Defendants in December

  2017 and January 2018. No
                         No explanation
                            explanation is
                                         is attempted
                                            attempted for
                                                      for why
                                                          why Plaintiffs withheld these materials

  for nearly four
             four months.  Plaintiffsoffer
                  months. Plaintiffs offer no
                                           no real
                                               real reason
                                                    reason why
                                                           why they withheld Dr. Kaltofen’s
                                                                                 Kaltofen's

  documents —
  documents – documents
               documents they
                          they clearly
                               clearly rely upon —
                                                 – despite
                                                    despitethe
                                                            the earlier
                                                                earlier request.
                                                                        request.

          Third, Plaintiffs argue that they went
                                            went “well
                                                 "well beyond
                                                       beyond the
                                                              the scope
                                                                  scope of
                                                                        of the
                                                                           the Court’s
                                                                               Court's CMO”
                                                                                       CMO" with

  their late productions.
             productions. This is not so. Defendants'
                                          Defendants’ discovery
                                                      discovery was tailored to the Court’s
                                                                                    Court's CMO

  and the sampling performed
                   performed at
                             at the
                                the Dailey
                                    Dailey property. Plaintiffs’ production
                                           property. Plaintiffs' production of any materials

  outside the scope is voluntary
                       voluntary and
                                 and not
                                     not an
                                         an issue
                                             issue here. Defendants’ Motion,
                                                   here. Defendants' Motion, however,
                                                                             however, is concerned

  with the multitude of files that were not produced until late in discovery and were squarely

 within the CMO. These materials were not produced or identified until the last moments of the



                                                      4
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4144Filed:
                           Doc.                 01/28/22
                                            Filed: 05/30/18Page: 7215 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2402
                                                                                     2307



  discovery period. Plaintiffs
                    Plaintiffs first
                               first argue
                                     argue that they have gone beyond the CMO’s
                                                                          CMO's scope (Doc. 143

  at 1), but later say the late-produced materials were provided “out
                                                                 "out of an abundance of caution”
                                                                                         caution"

  because they feel those materials will be relevant to their opposition to any summary judgment

  motion filed under the CMO (Doc. 143 at
                                       at 2-3). These are
                                          2-3). These are inconsistent
                                                          inconsistent positions; the materials

  are either relevant to the scope of the Amended
                                          Amended CMO
                                                  CMO or
                                                      or they
                                                         they are
                                                              are not.
                                                                  not. Plaintiffs cannot have it

  both ways.

         Finally, Plaintiffs have suggested that Defendants should be given more time to review

  the materials and depose Dr. Plato as an alternative
                                           alternative to
                                                       to precluding
                                                          precluding Plaintiffs’
                                                                     Plaintiffs' use of the late-

  produced opinions and materials. Defendants continue
                        materials. Defendants continue to
                                                       to believe
                                                          believe that the appropriate remedy is

  to preclude Plaintiffs from using Dr. Plato in this phase of the litigation and the materials

  produced on April 20 and May 22 and
                                  and 3,
                                      3, 2018. If, however,
                                         2018. If, however, the Court decides to allow

  Defendants’ additional
  Defendants' additional time
                         time for
                              for discovery,
                                  discovery, Defendants seek a tight window that will (1) allow

  them to depose Dr. Plato, (2) reconvene the Dr. Kaltofen deposition
                                                           deposition to
                                                                      to ask
                                                                         ask him
                                                                             him about
                                                                                 about the
                                                                                       the drive’s
                                                                                           drive's

  contents, and (3) allow Defendants ample opportunity to identify appropriate experts and

  produce expert reports addressing the Plato opinions.

                                            CONCLUSION

         For the foregoing reasons, Defendants Bridgeton Landfill, LLC, Republic Services, Inc.,

  and Allied Services, LLC request that the Court prevent Plaintiffs from using in this initial phase

  of the litigation (1) all materials contained on the thumb drive identified as Exhibit 10 to the

  Kaltofen deposition, and (2) all documents and materials produced for or served on Defendants

  as supplemental initial disclosures, supplemental discovery responses, or expert reports on May 2

  and 3, 2018, including the report of Dr. Plato.




                                                    5
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4144Filed:
                           Doc.                 01/28/22
                                            Filed: 05/30/18Page: 7226 of
                                                             Page:    of 903 PageID
                                                                         6 PageID #: #: 2403
                                                                                     2308



  Dated: May
         May 30, 2018                          LATHROP GAGE LLP


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                                                      ATTORNEYS FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 30, 2018, I electronically filed the foregoing document via
  the Court's
      Court’s CM/ECF
              CM/ECF system,
                        system, which will serve notice on all counsel of record.



                                                  /s/ William
                                                      William G.
                                                              G. Beck
                                                  An Attorney for Defendants




                                                  6
                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4149Filed:
                           Doc.                 01/28/22
                                            Filed: 06/05/18Page: 7231 of
                                                             Page:    of 903 PageID
                                                                         3 PageID #: #: 2404
                                                                                     2318


                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

  MICHAEL DAILEY, et al.,          )
                                   )
          Plaintiffs,              )
                                   )
      vs.                          )                    Case No. 4:17 CV 24 CDP
                                   )
  BRIDGETON LANDFILL, LLC, et al., )
                                   )
          Defendants.              )

                           MEMORANDUM AND ORDER

        This matter is before the Court on plaintiffs’ motion for leave to amend

  complaint, to remand, to stay pending discovery or alternatively, motion to amend

  the case management order. ECF No. 123. Three of the defendants have also filed

  a joint motion to prevent and enjoin plaintiffs from using information and materials

  plaintiffs withheld until late in the discovery period. ECF No. 142. The Court also

  recognizes that the dispositive motion deadline for the initial phase of discovery in

  this matter is Monday, June 11, 2018.

        Plaintiffs brought this suit for damages and injunctive relief from alleged

  radioactive contamination of their home caused by neighboring West Lake Landfill

  against defendant Landfill owners and operators, and defendant waste generators

  and disposers. Their complaint is brought under the Price-Anderson Act (PAA) as

  amended in 1988, 42 U.S.C. § 2210, et seq., which provides a federal

  compensation regime for damages resulting from a nuclear incident. Plaintiffs
                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4149Filed:
                           Doc.                 01/28/22
                                            Filed: 06/05/18Page: 7242 of
                                                             Page:    of 903 PageID
                                                                         3 PageID #: #: 2405
                                                                                     2319


  now seek leave to amend their complaint, arguing that the PAA is not applicable

  here and therefore this Court lacks subject-matter jurisdiction. Defendants oppose

  amendment of the complaint, remand, and a stay of discovery deadlines outlined in

  the Court’s Initial Case Management Order (ECF No. 102) and amended deadlines

  established in the Amended Case Management Order (ECF No. 119). However, as

  of this date, all discovery deadlines have passed. The only future case

  management order deadlines concern the filing of dispositive motions regarding

  issues relevant to the initial phase of discovery.

        The Court needs to rule plaintiffs’ motion to amend and remand in order to

  determine the operative claims in this matter and whether this Court has subject-

  matter jurisdiction. The Court recognizes the parties’ desire for this matter to

  proceed; however, these are complex issues that the Court needs to closely

  scrutinize. Federal court opinions examining issues of jurisdiction under the PAA

  have resulted in different interpretations. See Strong v. Republic Servs., Inc., 283

  F.Supp.3d 759, 767-72 (E.D. Mo. 2017) (discussing cases representing the

  “conflicting interpretations of the PAA” in determining whether a federal court has

  subject-matter jurisdiction). In the interest of saving the parties the time and costs

  of preparing dispositive motion arguments that could potentially be irrelevant after

  the Court rules pending motions, I will stay future case management order

  deadlines until further order from the Court.



                                           -2-
                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4149Filed:
                           Doc.                 01/28/22
                                            Filed: 06/05/18Page: 7253 of
                                                             Page:    of 903 PageID
                                                                         3 PageID #: #: 2406
                                                                                     2320


        Accordingly,

        IT IS HEREBY ORDERED that plaintiffs’ motion for leave to amend, to

  remand, and to stay [#123] is GRANTED ONLY with respect to a STAY of future

  Amended Case Management Order (ECF No. 119) deadlines, and is HELD IN

  ABEYANCE with respect to leave to amend, remand, and alternatively,

  amendment of the case management order. Once the Court has ruled pending

  motions, a new schedule shall be established for this matter, if necessary.




                                          CATHERINE D. PERRY
                                          UNITED STATES DISTRICT JUDGE

  Dated this 5th day of June, 2018.




                                           -3-
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4150Filed:
                           Doc.                 01/28/22
                                            Filed: 06/06/18Page: 7261 of
                                                             Page:    of 903 PageID
                                                                         2 PageID #: #: 2407
                                                                                     2321



                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.,                           )
                                                   )
                 Plaintiffs,                       )
                                                   )
 vs.                                               )   Case No. 4:17-cv-00024-CDP
                                                   )
 BRIDGETON LANDFILL, LLC, et al.,                  )
                                                   )
                 Defendants.                       )


                          NOTICE OF SUPPLEMENTAL AUTHORITY



         Defendants Bridgeton Landfill, LLC; Allied Services, LLC; and Republic Services, Inc.

  (“Defendants”) respectfully inform the Court of supplemental authority relating to Plaintiffs’

  Motion for Leave to Amend, Motion to Remand, Motion to Stay pending Discovery and,

  Alternatively, Motion to Amend Case Management Order [Doc. No. 123] (“Plaintiffs’ Motion”).

         In their Reply in support of Plaintiffs’ Motion, Plaintiffs challenged Defendants’ reliance

  on Estate of Ware v. Hosp. of the Univ. of Pa., 871 F.3d 373 (3rd Cir. 2017) (“Ware II”) by

  stating, “Moreover, a petition for writ of certiorari was filed in Ware II on December 15, 2017

  and it was docketed by the Supreme Court on March 12, 2018.” [Doc. No. 135 at 5]

         Defendants file this notice to inform the Court that on May 14, 2018, the Supreme Court

  denied the Petition for writ of certiorari in Ware II. See Exhibit A Report from Supreme Court of

  the United States (entry May 14 2018).
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4150Filed:
                           Doc.                 01/28/22
                                            Filed: 06/06/18Page: 7272 of
                                                             Page:    of 903 PageID
                                                                         2 PageID #: #: 2408
                                                                                     2322



  Dated: June 6, 2018                          LATHROP GAGE LLP

                                               By: /s/ Peter F. Daniel
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                                                    ATTORNEYS FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 6, 2018, I electronically filed the foregoing document via the
  Court’s CM/ECF system, which will serve notice on all counsel of record.



                                                   /s/ Peter F. Daniel
                                                   An Attorney for Defendants
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4151Filed:
                           Doc.                 01/28/22
                                            Filed: 06/12/18Page: 7281 of
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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.,                            )
                                                    )
                 Plaintiffs,                        )
                                                    )
 vs.                                                )   Case No. 4:17-cv-00024-CDP
                                                    )
 BRIDGETON LANDFILL, LLC, et al.,                   )
                                                    )
                 Defendants.                        )

                               MOTION FOR ORAL ARGUMENT

         COME NOW Defendants Bridgeton Landfill, LLC and its affiliated companies Republic

  Services, Inc. and Allied Services, LLC (“Moving Defendants”), by and through their attorneys,

  and hereby join in Plaintiffs’ request that the Court hear oral argument on Plaintiffs’ Motion for

  Leave to Amend Complaint, Remand, Stay Pending Discovery and, Alternatively, Amend Case

  Management Order (Doc. No. 123) (“Motion to Amend and Remand”). In support of this

  Motion, Moving Defendants state as follows:

         1.      There are numerous pending filings presently before the Court. Plaintiffs’ Motion

  to Amend and Remand was met with two Responses, a Reply, and two Sur-Replies (Doc. Nos.

  128, 129, 135, 139, 141).

         2.      Each individual brief addresses complex substantive issues at the heart of this

  case. Plaintiffs’ Motion to Amend and Remand requests significant relief which, if granted,

  could potentially send this matter to state court, transform the causes of action against

  Defendants, and cause new procedural rules to govern the case.

         3.      Plaintiffs requested oral argument on their Motion, stating, “Oral argument is

  warranted to provide the opportunity to discuss the complex issues presented, the parties’

  position on these issues, and the cited case law.” Doc. No. 123 at 5. Plaintiffs also noted, “oral
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4151Filed:
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                                            Filed: 06/12/18Page: 7292 of
                                                             Page:    of 903 PageID
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  argument will afford the parties an opportunity to discuss and answer any questions the Court

  may have regarding these issues.” Id.

         4.      Defendants agree and join Plaintiffs in requesting oral argument

         5.      Beyond the relief sought in the Motion to Amend and Remand, oral argument

  would permit discussion of questions raised by the Court in its Order on a prior Motion to

  Dismiss (Doc. No. 89) regarding the standard of care applicable under the Price-Anderson Act to

  Plaintiffs’ allegations. The Court’s questions may impact the pending Motions.

         6.      Moving Defendants believe oral argument would assist the Court in analysis of

  the various issues at stake. Oral argument is warranted because the issues are complex and are

  presented in at least six different filings. Presentation before the Court would allow the parties to

  present their positions in a cohesive manner across the numerous documents.

         7.      Further, the force of a possible remand makes oral argument critical. An order

  remanding a case is only reviewable on appeal under very narrow circumstances. 28 U.S.C. §

  1447 (d) (with limited exceptions, an order remanding case is not reviewable on appeal or

  otherwise). Several statutory and court-made exceptions have been created to permit appeals,

  but these exceptions are exceedingly narrow. See generally Wright & Miller Fed. Prac. and

  Procedure §3740 Appealability of Orders Relating to Removal. Thus, it is of utmost importance

  that the issue be fully argued and understood.

         8.      At oral argument, Moving Defendants can also answer any questions the Court

  may have on Moving Defendants’ pending Motion Requesting Plaintiffs be Prevented and

  Enjoined From Using Information and Materials They Withheld Until Late in the Discovery

  Period (Doc. No. 142).




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         WHEREFORE Moving Defendants respectfully request the Court grant this Motion; hear

  oral argument on Plaintiffs’ Motion for Leave to Amend Complaint, Remand, Stay Pending

  Discovery and, Alternatively, Amend Case Management Order (Doc. No. 123); and grant such

  other and further relief as the Court deems necessary.


  Dated: June 12, 2018                         LATHROP GAGE LLP

                                               By: /s/ William G. Beck
                                                   William G. Beck          26849MO
                                                   Peter F. Daniel          33798MO
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                                                    Telecopier:       (314) 613-2801
                                                    psilva@lathropgage.com

                                                    ATTORNEYS FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 12, 2018, I electronically filed the foregoing document via
  the Court’s CM/ECF system, which will serve notice on all counsel of record.


                                                   /s/ William G. Beck
                                                   An Attorney for Defendants




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Case: 4:22-cv-00116-CDP
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                                  UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

   MICHAEL DAILEY, et al.,                               )
                                                         )
            Plaintiffs,                                  )
                                                         )
            v.                                           )        Case No. 4:17 CV 24 CDP
                                                         )
   BRIDGETON LANDFILL, LLC, et al.,                      )
                                                         )
            Defendants.                                  )


  PLAINTIFFS’ MOTION FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT
                   PURSUANT TO APRIL 8, 2019 ORDER

           Come now, Michael Dailey and Robbin Dailey (“Plaintiffs”), through undersigned counsel

  and pursuant to this Court’s April 8, 2019 Order hereby move this Court for leave to file a Second

  Amended Complaint because:

           1.       This matter was initially filed on November 15, 2016 in the 21st Judicial Circuit of

  the State of Missouri alleging numerous state law claims related to radioactive mill tailings wastes

  that were dumped in the West Lake Landfill.

           2.       Defendants filed a Notice of Removal based on the claim this Court has subject

  matter jurisdiction over this action because it arises under the Price Anderson Act (“PAA”).

           3.       Plaintiffs’ prior lead counsel filed a Motion to Remand (ECF No. 48) but

  erroneously withdrew it before a ruling. Said counsel has subsequently withdrawn and was

  terminated by Plaintiffs.

           4.       Then, both Defendants’ counsel and Plaintiffs’ prior lead counsel believed that the

  PAA applied giving this Court federal subject matter jurisdiction.




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            5.      On April 21, 2017, Plaintiffs’ prior lead counsel erroneously amended the state

  court Petition to assert claims under the PAA as well as state law causes of action based on the

  same facts and circumstances alleged in the Original Petition.

            6.      Defendants filed Motions to Dismiss the Amended Complaint on May 12, 2017.

            7.      On October 27, 2017, this Court granted Defendants’ Motions to Dismiss with

  respect to Plaintiffs’ state law claims and denied Defendants’ Motions to Dismiss with respect to

  Plaintiffs erroneously plead PAA claims. The Court reasoned that “[a]lthough the Eighth Circuit

  has not addressed the issue of PAA preemption of state-law claims, numerous other courts have

  found that the PAA is the sole avenue for recovery when a public liability action for a nuclear

  incident is plead”. 1 (emphasis added)

            8.      Undersigned counsel became involved in this matter in early 2018, and after

  reviewing the file, undersigned counsel determined, as have two other Judges in this District, that

  the PAA is not applicable in this matter as it does not apply to these Defendants under the

  circumstances sued on; to wit, these defendants had no license for the mill-tailings at issue (the

  source of the radiation), there was no indemnity agreement, and there has been no nuclear incident

  as per Strong v. Republic Services, Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017). The reasoning from

  the Strong decision has since been adopted in Banks v. Cotter Corp., 4:18-CV-00624 JAR, 2019

  WL 1426259 (E.D. Mo. Mar. 29, 2019). These decision within this Court are entitled to comity.

            9.      On March 27, 2018, Plaintiffs filed a motion for leave to amend to withdraw the

  PAA claims, reinstate state law claims and remand this matter to state court because the court lacks

  jurisdiction under the PAA.




  1
      ECF No. 89 – Memo and Order

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           10.      This Court denied Plaintiffs motion for leave to amend to withdraw the PAA

  claims, reinstate state law claims and remand to state court on April 8, 2019. This court indicated

  that the Eighth Circuit has stated quite clearly that “granting leave to amend a complaint where the

  plaintiff has not submitted a proposed amended complaint is inappropriate.” (citations omitted).

  This Court further indicated that it would be “inappropriate to grant a motion to remand based on

  an unfiled complaint, which the Daileys also ask me to do. On this basis, therefore, I will deny the

  motion to amend and to remand.”

           11.      This Court allowed Plaintiffs until April 29, 2019 to either file a motion to dismiss

  the case without prejudice or to file a renewed motion for leave to file a Second Amended

  Complaint, accompanied by the proposed amended complaint.

           12.      Plaintiffs considered the options offered by this court including dismissing this

  action without prejudice and refiling in state court. The dismissal option seems inappropriate

  considering Plaintiffs will likely be right back in federal court because Rock Road Industries

  changed its domicile during the time this matter has been pending by merging with Bridgeton

  Landfill, LLC, thus creating diversity jurisdiction. Plaintiffs’ desire is to sue on state law claims

  in state court as other state court actions are pending involving identical issues. 2 Undersigned

  counsel have gone above and beyond to avoid any unnecessary work by this Court and have made

  efforts to limit this Court’s involvement in a case where it lacks jurisdiction. State court will save

  the parties’ and the court resources. Thus, dismissing this action without prejudice and refiling in

  state court is not a viable option.

           13.      Accordingly, Plaintiff bring this Motion for Leave to File a Second Amended

  Complaint so that the erroneously plead PAA claims can be withdrawn and the Plaintiffs’ state


  2
   Strong v. Republic Services, Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017); Banks v. Cotter Corp., 4:18-CV-00624
  JAR, 2019 WL 1426259 (E.D. Mo. Mar. 29, 2019).

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  Case: 4:17-cv-00024-CDPDoc. #: #:1-4157Filed:
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  law claims can be reinstated. The proposed Second Amended Complaint is attached hereto as

  Exhibit 1. All as more fully set forth in the memorandum supporting this motion.

                                                Respectfully submitted,

                                                /s/ Stuart H. Smith
                                                Stuart H. Smith (LSBA 17805), Pro Hac Vice
                                                Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                                Celeste Brustowicz (LSBA 16835), Pro Hac Vice
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                                                         cbrustowicz@sch-llc.com
                                                         vcobb@sch-llc.com
                                                ATTORNEYS FOR PLAINTIFFS,
                                                MICHAEL AND ROBBIN DAILEY

                                   CERTIFICATE OF SERVICE

           I hereby certify that on April 29, 2019, I electronically filed the foregoing document with

  the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

  counsel of record.


                                                /s/ Stuart H. Smith
                                                Stuart H. Smith (LSBA 17805)




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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

  MICHAEL DAILEY, et al.,                              )
                                                       )
           Plaintiffs,                                 )
                                                       )
           v.                                          )        Case No. 4:17 CV 24 CDP
                                                       )
  BRIDGETON LANDFILL, LLC, et al.,                     )
                                                       )
           Defendants.                                 )


  MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR LEAVE TO FILE A
     SECOND AMENDED COMPLAINT PURSUANT TO APRIL 8, 2019 ORDER

   I.     FACTS

          The plaintiffs were ordered to decide how they wish to proceed by this Court’s April 8,

 2019 Order. (ECF No. 156) The choices were to file the present motion for leave with an attached

 Second Amended Complaint or to dismiss and refile in state court. Because the plaintiffs desire to

 proceed on state law claims in state court they have decided to file in this court and to seek remand

 once leave is granted.

          This matter was initially filed on November 15, 2016 in the 21st Judicial Circuit of the

 State of Missouri alleging numerous state law claims related to radioactive mill tailings wastes that

 were dumped in the West Lake Landfill. Defendants filed a Notice of Removal based on the

 argument that this Court has subject matter jurisdiction over this action because it arises under the

 Price Anderson Act (“PAA”). Plaintiffs’ prior lead counsel, who has since withdrawn, filed a

 Motion to Remand (ECF No. 48) but erroneously withdrew it before the Court made a ruling.

 Then, both Defendants’ counsel and Plaintiffs’ prior lead counsel believed that the PAA applied

 giving this Court federal subject matter jurisdiction.

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          On April 21, 2017, Plaintiffs’ prior lead counsel erroneously amended the state court

 Petition to assert claims under the PAA as well as state law causes of action based on the same

 facts and circumstances alleged in the Original Petition. Defendants filed Motions to Dismiss the

 Amended Complaint on May 12, 2017. On October 27, 2017, this Court granted Defendants’

 Motions to Dismiss with respect to Plaintiffs’ state law claims and denied Defendants’ Motions to

 Dismiss with respect to Plaintiffs erroneously plead PAA claims. The Court reasoned that

 “[a]lthough the Eighth Circuit has not addressed the issue of PAA preemption of state-law claims,

 numerous other courts have found that the PAA is the sole avenue for recovery when a public

 liability action for a nuclear incident is plead”. (ECF No. 89) (emphasis added)

          Undersigned counsel became involved in this matter in early 2018, and after reviewing the

 file, undersigned counsel determined that the PAA is not applicable in this matter as it does not

 apply to these Defendants under the circumstances sued on; to wit, these defendants had no license

 for mill-tailings (the source of the radiation), there was no indemnity agreement, and there has

 been no nuclear incident as per Strong v. Republic Services, Inc., 283 F. Supp. 3d 759(E.D. Mo.

 2017). The reasoning from the Strong decision has since been adopted in Banks v. Cotter Corp.,

 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D. Mo. Mar. 29, 2019).

          Accordingly, on March 27, 2018, Plaintiffs filed a motion for leave to amend to withdraw

 the PAA claims, reinstate state law claims and remand this matter to state court because the court

 lacks jurisdiction under the PAA. The motion was based on Judge Jean C. Hamilton’s ruling in

 Strong v. Republic Servs., Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017), a case dealing with the exact

 same landfill, which determined that the PAA does not apply to the same wastes at issue here

 because the Defendants lack the appropriate federal license or indemnity agreement to trigger the

 PAA and because the mill tailings wastes were not subject to the PAA. See also Banks v. Cotter



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 Case:4:22-cv-00116-CDP
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 Corp., 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D. Mo. Mar. 29, 2019), a decision to remand

 based on the Strong case.

          On April 8, 2019, this Court denied Plaintiffs motion for leave to amend to withdraw the

 PAA claims, reinstate state law claims and remand to state court. This court indicated that the

 Eighth Circuit has stated quite clearly that “granting leave to amend a complaint where the plaintiff

 has not submitted a proposed amended complaint is inappropriate.” (ECF No. 156) (citations

 omitted). This Court further indicated that it would be “inappropriate to grant a motion to remand

 based on an unfiled complaint, which the Dailey’s also ask me to do. On this basis, therefore, I

 will deny the motion to amend and to remand.” This Court allowed Plaintiffs until April 29, 2019

 to either file a motion to dismiss the case without prejudice or to file a renewed motion for leave

 to file a Second Amended Complaint, accompanied by the proposed amended complaint.

          Rock Road Industries changed its domicile during the time this matter has been pending

 by was merging with Bridgeton Landfill, LLC, thus creating a great potential for diversity

 jurisdiction. Plaintiffs’ desire is to sue on state law claims in state court as other state court actions

 are pending involving the same defendants, the same wastes and identical issues. State court will

 save the parties’ and the court resources. Accordingly, Plaintiffs bring this Motion for Leave to

 File a Second Amended Complaint so that the erroneously plead PAA claims can be withdrawn

 and the Plaintiffs’ state law claims can be reinstated. The proposed Second Amended Complaint

 is attached hereto as Exhibit 1.

   II.    ARGUMENT

          Federal Rule of Civil Procedure 15(a) provides that leave to amend “shall be freely given

 when justice so requires.” Unless there is a good reason for denial, “such as undue delay, bad faith,

 or dilatory motive, repeated failure to cure deficiencies by amendments previously allowed, undue



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 Case:4:22-cv-00116-CDP
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 prejudice to the non-moving party, or futility of the amendment, leave to amend should be

 granted.” Thompson-El v. Jones, 876 F.2d 66, 67 (8th Cir. 1989) (citing Foman v. Davis, 371 U.S.

 178, 182, 83 S. Ct. 227, 230, 9 L. Ed. 2d 222 (1962)). A motion to amend should be denied on the

 merits “only if it asserts clearly frivolous claims or defenses.” Gamma-10 Plastics, Inc. v.

 American President Lines, Ltd., 32 F. 3d 1244, 1255 (8th Cir. 1994), cert. denied, 513 U.S. 1198,

 115 S.Ct. 1270, 131 L.Ed. 2d 148 (1995).

          The amendments would not be futile. To the contrary, the proposed Second Amended

 Complaint cures the defect in the First Amended Complaint which erroneously plead claims under

 the PAA. Plaintiffs have not unduly delayed proceedings and have not acted out of any dilatory

 move. To the contrary, Plaintiffs find themselves in this position because of decisions made by

 their prior counsel, who has since withdrawn and been terminated by Plaintiffs. Plaintiffs have not

 repeatedly failed to cure deficiencies. To the contrary, plaintiffs have done all that has been asked

 of them; despite plaintiffs’ belief that the PAA does not apply, Plaintiffs spent considerable

 resources to prove they have evidence to support a PAA claim. Defendants will not be unduly

 prejudiced by the amendments as this matter has been stayed.

          For the foregoing reasons, Plaintiffs pray this Court grant them leave to file their Second

 Amended Complaint, attached hereto as Exhibit 1, and grant such further relief as is proper.




                           [Signature and Certificate on Following Page.]




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                                               Respectfully submitted,

                                               /s/ Stuart H. Smith
                                               Stuart H. Smith (LSBA 17805), Pro Hac Vice
                                               Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                               Celeste Brustowicz (LSBA 16835), Pro Hac Vice
                                               Victor T. Cobb (LSBA 36830), Pro Hac Vice
                                               COOPER LAW FIRM, LLC
                                               1525 Religious Street
                                               New Orleans, Louisiana 70130
                                               Phone: 504-399-0009
                                               Facsimile: 504-291-1352
                                               E-mail: ssmith@sch-llc.com
                                                        bcooper@sch-llc.com
                                                        cbrustowicz@sch-llc.com
                                                        vcobb@sch-llc.com
                                               ATTORNEYS FOR PLAINTIFFS,
                                               MICHAEL AND ROBBIN DAILEY


                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 29, 2019, I electronically filed the foregoing document with

 the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

 counsel of record.



                                               /s/ Stuart H. Smith
                                               Stuart H. Smith (LSBA 17805)




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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

  MICHAEL DAILEY, et al.,                              )
                                                       )
           Plaintiffs,                                 )
                                                       )
           v.                                          )         Case No. 4:17 CV 24 CDP
                                                       )
  BRIDGETON LANDFILL, LLC, et al.,                     )
                                                       )
           Defendants.                                 )


                               SECOND AMENDED COMPLAINT

          COME NOW Plaintiffs Michael Dailey and Robbin Dailey, by and through their counsel,

 and for their Second Amended Petition against Defendants Bridgeton Landfill, LLC, Rock Road

 Industries, Inc, Republic Services, Inc., Allied Services, L.L.C., and Cotter Corporation, state and

 allege as follows:

 1.       Since World War II, big companies have made significant profits processing, handling, and

 storing radioactive materials in the St. Louis area. This activity began seven decades ago, when a

 government contractor began processing uranium ores in downtown St. Louis City. The hazardous,

 toxic, carcinogenic, radioactive mill tailings wastes resulting from the processing of these ores are

 ounce for ounce some of the most dangerous materials on the planet. Despite knowing that these

 materials were some of the most harmful substances on Earth, Defendants treated these hazardous,

 toxic, carcinogenic, radioactive mill tailings wastes with about the same level of care that a

 reasonable person might give to common household garbage, dumping it without authority from

 the State of Missouri and in violation of law, like everyday trash into the West Lake Landfill—a

 landfill which experts indicate is not even suitable for garbage, as it contains no liner.

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 2.       Since then, that radioactive material, negligently dumped in an area surrounded by peaceful

 neighborhoods and playgrounds, has tormented the lives of everyday people—moms and dads who

 thought they were raising their kids in a clean home in a safe, quiet neighborhood; kids who want

 nothing more than to play in the backyard; and small business owners who had invested everything

 to build the American dream for their families. These everyday St. Louisans now find their lives

 disrupted, their homes contaminated, their businesses upended, and their properties devalued. They

 find their once-quaint neighborhoods filled with technicians testing and prodding their backyards

 and the dust of their vacuum cleaners to identify the quantity and the toxicity of the radioactive

 material Defendants have dumped into their lives.

 3.       Tests conducted by representatives of the United States of America and others now confirm

 that the areas around the West Lake and Bridgeton Landfills (referred to herein as the “Landfill”

 which consists of several inactive landfills including West Lake and Bridgeton) are contaminated

 with the same radioactive mill tailings wastes generated in the processing of uranium ores in the

 St. Louis area. The off-site radioactive mill tailings wastes found today in the real property, which

 contains businesses and homes, surrounding the Landfill has the fingerprint (or profile) of the ore

 processed in St. Louis which generated the hazardous, toxic, carcinogenic, radioactive mill tailings

 wastes that were dumped into and around the Landfill.

 4.       These radioactive mill tailings wastes are known human carcinogens that can cause chronic

 damage to the skin, reproductive system, blood forming system, digestive system, central nervous

 system, and immune system in addition to numerous cancers. Illnesses such as cancers or birth

 defects may take a number of years after exposure to the radioactive material to appear.

 5.       Defendants have failed to take responsibility for their negligent behavior, failed to clean

 up the area, failed to move the residents and businesses out, and failed to make amends for the

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 4840-7843-1124, v. 4
                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 157-2      01/28/22
                                         Filed:        Page:
                                                04/29/19     7423of
                                                         Page:    of903 PageID#:
                                                                     40 PageID #:2352
                                                                                 2423




 widespread damage they have caused. Instead, Defendants have hidden behind misstatements and

 omissions, misleading the public about the widespread contamination Defendants have caused and

 minimizing the immense risks to public health and safety that resulted from Defendants’ actions.

 6.       It is time that Defendants finally be held accountable for their reckless and tortious conduct.

 This particular lawsuit seeks to correct the harm Defendants inflicted on just a few of the victims.

 7.       Plaintiffs Michael Dailey and Robbin Dailey (hereinafter “Plaintiffs”) own property in

 Bridgeton, Missouri that Defendants contaminated. The Dailey Property, including the land and

 Plaintiffs’ home (hereinafter “Dailey Home”), is contaminated with radioactive material from the

 Landfill. The radioactive material consists of high levels of Uranium (U-238) decay products,

 including Thorium (Th-230), Lead (Pb-210), and Radon (Ra-226). Dusts inside the Dailey Home

 were shows to contain radioactive Th-230 at levels at least two hundred times higher than

 Background levels, as depicted in the graphic immediately below.




                                                    3


 4840-7843-1124, v. 4
                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 157-2      01/28/22
                                         Filed:        Page:
                                                04/29/19     7434of
                                                         Page:    of903 PageID#:
                                                                     40 PageID #:2353
                                                                                 2424




 8.       Plaintiffs Michael Dailey and Robbin Dailey have sustained significant damages as a result

 of Defendants’ conduct. Defendants should remediate the Dailey Home and compensate Plaintiffs

 for their damages, and provide further relief as set forth below in the Petition.

 9.       Authorities have recently ordered a cleanup that will take many years to complete. This

 cleanup will result is the uncovering and handling of radioactive mill tailings wastes that will result

 in additional releases from the site. (This statement is provided for informational purposes only,

 as Plaintiffs are making no claims under the laws of the United States).




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 4840-7843-1124, v. 4
                                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 157-2      01/28/22
                                         Filed:        Page:
                                                04/29/19     7445of
                                                         Page:    of903 PageID#:
                                                                     40 PageID #:2354
                                                                                 2425




                          I. JURISDICTION, AUTHORITY, AND VENUE

 10.      The Twenty-First Judicial Circuit of the State of Missouri is St. Louis County has

 jurisdiction and authority over the subject matter and the parties in this case because the causes

 of action stated in this Petition arose out of business activities conducted solely in Missouri, and

 out of torts committed solely in Missouri by resident and non-resident defendants.

 11.      Complete diversity does not exist in this matter as Defendant Rock Road Industries was a

 Missouri corporation at the time this action was commenced, and Plaintiffs are Missouri citizens. 1

 12.      Venue is proper in the Twenty-First Judicial Circuit of the State of Missouri in St. Louis

 County pursuant to Mo. Rev. Stat. §508.010, because Defendants’ conduct giving rise to this action

 took place in St. Louis County, Missouri.

 13.      Plaintiffs do not allege any causes of actions arising under any laws of the United States.

 14.      Plaintiffs’ claims do not fall within the scope of the Price Anderson Act.

        A. The Landfill is not and has never been a licensed nuclear facility.

        B. Defendants have never received a license to possess, transport, or dispose of any

            radioactive wastes on or in the Landfill.

        C. Defendants have never entered into an indemnification agreement with the United States

            government under 42 U.S.C. § 2210 with respect to the complained activities.

 15.      Defendants Rock Road Industries and Bridgeton Landfill, LLC previously, and correctly,

 declared that the Price-Anderson Act does not apply to them because the West Lake Landfill is

 not a licensed nuclear facility: “Count One, arising under the Price-Anderson Act, is wholly




 1
  When this action was initially filed on November 15, 2016, Rock Road Industries was a Missouri Corporation.
 Thereafter, on April 10, 2018, Rock Road Industries was merged into Bridgeton Landfill, LLC.
                                                        5


 4840-7843-1124, v. 4
                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 157-2      01/28/22
                                         Filed:        Page:
                                                04/29/19     7456of
                                                         Page:    of903 PageID#:
                                                                     40 PageID #:2355
                                                                                 2426




 inapplicable to Rock Road and Bridgeton Landfill, as the West Lake Landfill is not a nuclear

 facility subject to licensing by the nuclear Regulatory Commission.” 2

 16.      Plaintiffs expressly contend that no occurrences that form the basis for this suit rise to the

 level of a nuclear incident. Plaintiffs’ claims are freestanding state law claims concerning

 traditional state regulation and do not implicate the Price-Anderson Act and its textually manifest

 concerns related to liability limitation and indemnification. This principle was clearly enunciated

 by the Hon. Neil Gorsuch in the case of Cook v. Rockwell Intern. Corp., 790 F.3d 1088 (10th. Cir.

 2015) also known as the Rocky Flats litigation.

 17.      Other decisions in the United States District Court, Eastern District of Missouri have

 determined that the Price Anderson Act does not apply to the same wastes at issue here because

 the Defendants lack the appropriate federal license or indemnity agreement to trigger the Price

 Anderson Act. 3

 18.      At the time of the outrageous, reckless, negligent acts that form the basis for this lawsuit

 occurred, the Price-Anderson Act did not apply because the wastes at issue were not subject to said

 Act.

 19.      Plaintiffs claims do not fall within the Jurisdiction of the Price Anderson Act because the

 mill tailings that Cotter disposed of and the Landfill Defendants accepted were not at the time

 subject to the Atomic Energy Act and the Price Anderson Act. 4




 2
   Defendants Rock Road Industries and Bridgeton Landfill, LLC’s Memorandum in Support of Motion to
 Dismiss (Doc 15), Adams v. MI Holdings, Inc. Case No. 4:12-cv-00641-JCH
 3
   See Strong v. Republic Servs., Inc., 2017 WL 4758958 (E.D. Mo. 2017); see also Banks v. Cotter Corporation,
 2019 WL 1426259.
 4
   See Exhibit 1 – Declaration of Richard B. Stewart (April 24, 2018)
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 4840-7843-1124, v. 4
                                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 157-2      01/28/22
                                         Filed:        Page:
                                                04/29/19     7467of
                                                         Page:    of903 PageID#:
                                                                     40 PageID #:2356
                                                                                 2427




 20.      Plaintiffs claims do not fall within the Jurisdiction of the Price Anderson Act because

 Cotter’s disposal and the Landfill Defendants’ acceptance of mill tailings was not undertaken

 pursuant to an appropriate federal license or indemnity agreement. 5

 21.      The Price-Anderson Act does not apply to the mill tailings wastes at issue in this Second

 Amended Petition.

                                        II. THE PARTIES

                                              Plaintiffs
 22.      Plaintiffs Michael Dailey and Robbin Dailey are Missouri citizens who own real property

 located at 3550 El Ferrol Court, Bridgeton, Missouri (the “Dailey Property”). Plaintiffs purchased

 their home in 1999. The property is approximately 0.25 acres in St. Louis County adjacent to what

 is now the Landfill in Bridgeton, Missouri, more fully described as follows: Lot 18 in Subdivision

 Spanish Village Plat Two. Plaintiffs Michael Dailey and Robbin Dailey first learned that their

 property was contaminated with radioactive materials in 2016.

 23.      As a result of Defendants’ acts and omissions, Plaintiffs have sustained significant damages

 including damages to their property and the loss of use and enjoyment thereof.

                                            Defendants

 24.      In this Petition, the defendants in this lawsuit are categorized into three groups, namely

 Landfill Owner Defendants, Landfill Operator Defendants (collectively “Landfill Defendants”),

 and Radioactive Waste Disposer Defendant: 6

        A. Landfill Owner Defendants


 5
  Id.
 6
  When this action was initially commenced it also included Radioactive Waste Generator Defendants MI Holdings,
 Inc. and Mallinckrodt Inc. In Plaintiffs first Amended Complaint, this action was brought against the Radioactive
 Waste Generator Defendant Mallinckrodt, LLC. Thereafter, Plaintiffs settled with Mallinckrodt, LLC and the claims
 against them were dismissed on March 20, 2018.
                                                        7


 4840-7843-1124, v. 4
                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 157-2      01/28/22
                                         Filed:        Page:
                                                04/29/19     7478of
                                                         Page:    of903 PageID#:
                                                                     40 PageID #:2357
                                                                                 2428




             i.    Bridgeton Landfill, LLC, which owns the Bridgeton and West Lake Landfills; and

            ii.    Rock Road Industries, Inc., which owned or owns the West Lake Landfill. 7

        B. Landfill Operator Defendants 8

             i.    Republic Services, Inc., which owns, oversees, and directs the environmental

                   decisions and conduct of Bridgeton Landfill, LLC, Allied Services, L.L.C., and

                   Rock Road Industries, Inc., and operates the Bridgeton and West Lake Landfills;

                   and

            ii.    Allied Services, L.L.C, which operates Bridgeton and West Lake Landfills.

        C. Radioactive Waste Disposer Defendant

           iii.    Cotter Corporation, which owned and disposed of the hazardous, toxic,

                   carcinogenic, radioactive residue wastes.

 25.      Bridgeton Landfill, LLC formerly “Laidlaw Waste Systems” (“Landfill Owner”) is a

 Delaware limited liability company with its principle place of business in the State of Missouri. It

 continuously and systematically conducts business activities in the State of Missouri.

        A. Upon information and belief, Bridgeton Landfill, LLC owns the Bridgeton Landfill and

            the West Lake Landfill.

        B. Bridgeton Landfill has continuously and systematically availed itself of the protection

            of Missouri laws in St. Louis County courts, and regularly appears to defend itself in

            lawsuits tried there.

        C. This lawsuit arises out of damages that resulted from Bridgeton Landfill’s acts and

            omissions within the State of Missouri. Specifically, since 2008, Bridgeton Landfill has


 7
   As noted in footnote 1, Rock Road Industries, Inc. was a Missouri corporation at the time this action was
 commenced.

                                                           8


 4840-7843-1124, v. 4
                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 157-2      01/28/22
                                         Filed:        Page:
                                                04/29/19     7489of
                                                         Page:    of903 PageID#:
                                                                     40 PageID #:2358
                                                                                 2429




              owned, operated and maintained daily operational and managerial control over the

              management and environmental decisions of the Bridgeton Landfill and the West Lake

              Landfill, which gave rise to the violations of law and damage to property alleged in this

              Petition.

 26.        Rock Road Industries, Inc. (“Road Road”) was a Missouri corporation with its principle

 place of business in St. Louis Missouri at the time this action was commenced. Rock Road was a

 wholly-owned subsidiary of Republic Services, Inc. that continuously and systematically

 conducted business in the State of Missouri. After commencement of this action, Rock Road was

 merged into Bridgeton Landfill, LLC on April 10, 2018.

          A. This lawsuit arises out of damages that resulted from Rock Road Industries, Inc.’s acts

              and omissions within the State of Missouri. Upon information and belief Rock Road

              Industries, Inc. owned the West Lake Landfill along with Bridgeton Landfill, LLC. Rock

              Road Industries maintained daily operational and managerial control over the

              management and environmental decisions of the West Lake Landfill, decisions which

              gave rise to the violations of law and damage to property alleged in this Petition

 27.        Republic Services, Inc. (“Republic”) is a Delaware corporation with its principal place of

 business in the State of Arizona that carries on continuous and systematic business activities within

 the State of Missouri.

          A. Republic describes itself as a “leader in the domestic non-hazardous solid waste industry, as

              measured by revenue as well as a Fortune 500 company, publicly traded on the New York Stock

              Exchange (NYSE: RSF).”9 Despite Republic’s record of violations and the widespread

              injuries resulting from Republic’s conduct, Republic promises the public that it lives by


 9
     https://www.republicservices.com/about-us
                                                      9


 4840-7843-1124, v. 4
                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 749
                                                         Page: 10ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2430
                                                                                   2359



              “high environmental and sustainability standards.” 10 Republic has engaged in extensive

              professional public relations efforts to downplay the significance of the problem, and

              their misleading statements can only be characterized as mere “puffery.”

          B. Republic’s presence in Missouri is immense, servicing more than 300 cities and towns

              throughout the state, including many in St. Louis County. 11 Republic continuously and

              systematically avails itself of the protection of Missouri laws in St. Louis County courts,

              and regularly appears to defend itself in lawsuits tried there. Republic is responsible for

              promulgating and enforcing environmental and health and safety policies and procedures

              to its subsidiaries, which in this case they failed to adequately do.

          C. This lawsuit arises out of damages that resulted from Republic’s acts and omissions within

              the State of Missouri. Since 2008, Republic and its subsidiaries have maintained daily

              operational and managerial control over the management and environmental decisions of

              the Bridgeton and West Lake Landfills, decisions which gave rise to the violations of law

              and damage to property alleged in this Petition. Republic did so directly and through its

              subsidiaries Allied Services, LLC, Bridgeton Landfill LLC, and Rock Road Industries,

              Inc.

 28.        Allied Services, LLC (“Allied”), a Delaware limited liability company with its principal

 place of business in the state of Arizona, is a wholly-owned subsidiary of Republic Services, Inc.,

 that continuously and systematically conducts business in the State of Missouri under its own name

 and under the fictitious name “Republic Services of Bridgeton.”

          A. Allied conducts daily operations of the Bridgeton Landfill and the West Lake Landfill.



 10
      http://www.republicservices.com/customer-support/facilities
 11
      https://www.republicservices.com/locations/missouri
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 4840-7843-1124, v. 4
                                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 750
                                                         Page: 11ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2431
                                                                                   2360



        B. Allied regularly and routinely avails itself of the protection of Missouri laws in St. Louis

            County courts, and regularly appears to defend itself in lawsuits tried there.

        C. This lawsuit arises out of damages that resulted from Allied’s acts and omissions within

            the State of Missouri. Since 2008, Allied has maintained daily operational and managerial

            control over the management and environmental decisions of the Bridgeton and West

            Lake Landfills, decisions which gave rise to the violations of law and damage to property

            alleged in this Petition.

        D. Allied has also promulgated environmental and health and safety policies and procedures

            to its subsidiaries, which in this case they failed to adequately do.

 29.      Cotter Corporation (“Cotter”) is a Colorado corporation with its principle place of business

 in Englewood, Colorado, which operates as a subsidiary of General Atomics, Inc., a California

 corporation.

        A. Cotter continuously and systematically carries on business activities in the State of

            Missouri in its own name, as well as through its parent company General Atomics, Inc.

        B. This lawsuit arises out of damages that resulted from the Cotter’s conduct including acts

            and omissions within the State of Missouri, as well as the acts and omissions of the

            predecessors of the Cotter, which gave rise to the violations of law and damage to

            property alleged in the Petition.

                                              III. FACTS

                                        Radioactive Wastes

 30.      Ounce for ounce, radioactive isotopes are the most toxic materials known to man. 12



 12
   Allen v. United States, 588 F. Supp. 247, 292 (D. Utah 1984), rev'd, 816 F.2d 1417 (10th Cir. 1987). Citing J.C.
 Giddings, Chemistry, Man & Environmental Change 412 (1973).
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 4840-7843-1124, v. 4
                                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 751
                                                         Page: 12ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2432
                                                                                   2361



 31.      Radiation is a type of energy transmitted over a distance. Some materials spontaneously

 emit radiation through a process known as radioactive decay. As these materials decay they release

 radiation energy and transform into other radioactive materials which will then also decay by

 releasing radiation energy and transforming into other materials.

 32.      Some radiation energies, including the radiation from the decay of radioactive materials

 used in nuclear and atomic processes, such as uranium, have the ability to penetrate other material.

 When radiation energy interacts with other material, it causes a process called ionization 13 which can

 damage chemical structures. When the “other material” that ionizing radiation passes through is

 human cells, it can cause damage within those cells resulting in mutation in genetic material which

 can lead to cancer and other harms.

 33.      People are exposed to radiation in two ways: external exposure from radioactive material

 in the environment and internal exposure by radioactive material that has entered the body.

 Radioactive material can be taken into the body by consuming foodstuffs and liquids with

 radioactivity in them, by inhaling radioactive gases or aerosol particles, or by absorption through

 wounds in the skin. The material taken in will internally expose the organs and tissues for as long

 as it remains inside the body.

 34.      One characteristic of the impact of exposure to ionizing radiation on the human body

 through both internal and external exposure is that even if the energy absorbed is low, the




 13
   Ionizing radiation is described as follows in the literature: “Ionizing Radiation is a form of radiation that includes
 alpha particles, beta particles, gamma rays, x-rays, neutrons, high-speed electrons, high-speed protons, and other
 particles capable of producing ions. Ionizing radiation has enough energy to cause changes in atoms through a
 process called ionization. Ionization can affect the atoms in living things and depending on the dose and exposure, can
 pose a serious health risk to humans. Ionizing radiation has sufficient energy to cause chemical changes in cells,
 causing damage to tissue and DNA in genes.” https://www.epa.gov/radiation/radiation-health-effects
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 4840-7843-1124, v. 4
                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 752
                                                         Page: 13ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2433
                                                                                   2362



 biological effects can still be gravely serious. The second characteristic is that there are latent

 biological effects of radiation.

 35.      The injuries resulting from exposure to ionizing radiation can also be separated into two

 categories: somatic injuries and genetic injuries. Somatic injuries are damages to the individual

 exposed. This can be damages to the skin, reproductive system, blood forming system, digestive

 system, central nervous system, and immune system, as well as cancers. Illnesses such as cancers

 may take a number of years to appear.

 36.      Genetic injury is damage to the reproductive cells of the exposed individual in the form of

 mutation of their genetic cells. As a result, the probability of detrimental effects to the descendants

 of the exposed persons may greatly increase. These genetic mutations can be passed down to a

 person’s offspring even generations later. These injuries include birth abnormalities and cancer.

 37.      One of the most dangerous aspects of radioactive materials is the length of time that

 radioactive isotopes will persist and accumulate in the environment. As detailed above, radioactive

 materials decay over time and each radioactive material gives off radiation energy as it decays and

 transforms into a different material. The rate at which a radioactive isotope decays is measured in

 half-life. The term “half-life” is defined as the time it takes for one-half of the atoms of a

 radioactive material to disintegrate. For example, after one half life, there will be one half of the

 original material, after two half-lives, there will be one fourth the original material, after three half-

 lives one eight the original sample, and so forth.

 38.      Radium-226 has a half-life of 1,600 years. Radium-226 eventually decays to lead- 210 and

 polonium-210. This means that as the radium-226 decays, it increases the lead-210 and polonium-

 210 at the Landfill and in the surrounding environment. Furthermore, half of the hazardous,

 carcinogenic radium-226 currently contaminating the West Lake Landfill will still remain as a

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 4840-7843-1124, v. 4
                                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 753
                                                         Page: 14ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2434
                                                                                   2363



 grave problem even after 1,000 years from now if it is not physically removed. This is described

 in the scientific literature as follows:

                   Importantly, because the concentrations of short-lived radionuclides
                   will progressively increase, the radioactivity at the site will likewise
                   increase for the foreseeable future. For example, according to NRC,
                   if the present day activity of 230Th is estimated to be 100 times that
                   of 226Ra, then the alpha activity due to 226Ra decay will increase
                   fivefold over present levels in 100 years, nine-fold in 200 years, and
                   35-fold in 1000 years. 14

                                Radioactive Waste in the St. Louis Area

 39.      From 1942 to 1957, uranium ore was processed in downtown St. Louis City in association

 with the Manhattan Project. 15 Milling is the first step in processing natural Uranium ore and the

 milling process generates a sandy process waste known as “mill tailings” which contain radioactive

 decay products. In the late 1940’s, the Manhattan Project acquired land near Lambert airport to

 store the Uranium ore mill tailings wastes from the processing operations in downtown St. Louis.

 The storage site near the airport is now referred to as the St. Louis Airport Site or SLAPS

 (“SLAPS”). Radioactive mill tailings wastes accumulated at SLAPS.

 40.      In the 1960’s, leftover mill tailings (ore residues, and uranium, and radium-bearing process

 wastes) that had been stored at SLAPS were moved to a storage site on Latty Avenue in

 Hazelwood, Missouri (the “Latty Avenue Site”). Mill tailings at the Latty Avenue Site included

 Uranium.




 14
    Robert E. Criss, Risk and Character of Radioactive Waste at the West Lake Landfill 1, Bridgeton, Missouri,
 Department of Earth and Planetary Sciences, Washington University, St. Louis, MO, Mar. 14, 2013 (footnotes
 omitted [hereinafter “Criss (2013)”].
 15
    Robert Alvarez, The West Lake Landfill: A Radioactive Legacy of the Nuclear Arms Race 8, Nov. 21, 2013
 (footnotes and citations omitted) [hereinafter "Alvarez (2013)"]; see also Denise DeGarmo, The Disposal of
 Radioactive Wastes in the Metropolitan St. Louis Area, The Environmental Health Legacy of the Mallinckrodt
 Chemical Works 57, 62, 143 (Edwin Mellen Press 2006) (footnotes omitted) [hereinafter "DeGarmo (2006)"].

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 4840-7843-1124, v. 4
                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 754
                                                         Page: 15ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2435
                                                                                   2364



 41.      In the late 1960’s, Cotter purchased the Uranium mill tailings stored at both SLAPS and at

 the Latty Avenue Site.

 42.      Upon information and belief, as part of the contract between Cotter and the federal

 government for sale of the radioactive residues, Cotter assumed all liability, including ultimate

 disposition of the materials.

 43.      Cotter did not receive indemnity from the government in connection with this transaction.

 44.      Between 1969 and 1973, Cotter stored, processed, and transported the mill tailings at the

 SLAPS and Latty Avenue sites.

 45.      On or about 1973, Cotter mixed uranium mill tailings wastes with soil and upon

 information and belief they marketed the mill tailings as daily cover for landfill operations. Daily

 cover is the layer of soil that is laid on top of the day’s deposition of waste at an operational landfill.

 46.      On or about 1973, Cotter caused to be dumped, and the Landfill Defendants accepted, over

 46,000 tons of radioactive mill tailings wastes without any permit whatsoever.

 47.      Upon information and belief, despite knowing that Cotter was trying to dispose of

 dangerous radioactive materials for which the Landfill was not permitted to accept, the radioactive

 mill tailings waste was used by the Landfill Defendants as daily cover for the Landfill. The Landfill

 Defendants permitted the dumping of radioactive mill tailings wastes into the Landfill and

 intentionally spread these wastes over a large area.

 48.      The scientific literature summarizes the dumping as follows:

                   In 1973, 8700 tons of radionuclide-bearing “leached barium sulfate”
                   was allegedly dumped in an unlined Landfill in Bridgeton, MO that
                   was not licensed to receive radwaste. This report finds that 1) the
                   chemical and physical character of the radioactive materials has not
                   been adequately characterized, and barium sulfate is probably not a
                   major constituent; 2) the alpha and beta emissions of this material
                   will increase 10x to 100x over present levels, reaching maximum

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 4840-7843-1124, v. 4
                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 755
                                                         Page: 16ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2436
                                                                                   2365



                      activity in about 9000 years; 3) the Landfill has no protective
                      barriers and a proximal subsurface fire; 4) the site has several
                      hydrologic and geologic risk factors that magnify its unsatisfactory
                      location in a populated area; 5) nuclear material has been in contact
                      with percolating waters and with a fluctuating water table; 6)
                      groundwaters contaminated with radionuclides have migrated far
                      from the original location of disposal; 7) background levels of
                      radiation have been overstated, while other risks have been
                      underestimated …. 16

                                                 The Landfill

 49.        The West Lake Landfill is situated on about 200 acres at 13570 St. Charles Rock Road, in

 the City of Bridgeton. The Missouri River lies about one and one-half miles to the north and west

 of the Landfill. A shallow aquifer lies beneath the West Lake Landfill and surrounding

 neighborhoods.

 50.        Originally used for agriculture, the land became a limestone quarrying and crushing

 operation in 1939.

 51.        Beginning in the early 1950s, portions of the quarried areas and adjacent areas were used to

 dispose of municipal refuse, chemical wastes, industrial solid wastes, and construction/demolition

 debris.

 52.        The Landfill was never designed to be an adequate storage or disposal site for radioactive

 materials, nor was it ever licensed as such. Despite the Landfill not being properly designed to

 receive radioactive materials, the Landfill Defendants accepted hazardous, toxic, carcinogenic,

 radioactive mill tailings wastes and spread them around the Landfill.

 53.        The inadequacies of the Landfill itself are described in the scientific literature as follows:

                      Although the West Lake Landfill contains significant amounts of
                      long-lived radiotoxic wastes such as those contained in federally
                      licensed commercial radioactive waste Landfills, it meets virtually


 16
      Criss (2013) at 1.
                                                       16


 4840-7843-1124, v. 4
                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 756
                                                         Page: 17ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2437
                                                                                   2366



                      none of legal requirements governing shallow radioactive waste
                      disposal to prevent off-site migration. 17

 54.        The data collected on and around the Landfill documents radioactive contamination of soil,

 water, and air.

                      Onsite 226Ra concentrations in soils as high as 21,000 pCi/g were
                      measured, compared to estimated background levels of 2 pCi/g.
                      Elevated radium contents above the EPA’s MCL of 5 pCi/l are also
                      widespread in both the alluvial and bedrock aquifer within about
                      1500 feet of Areas 1 and Area 2. Airborne surveys established that
                      external radiation levels exceeding 100µR/hr, while distal samples
                      were <10 µR/hr. Levels recorded one meter above Area 2 were as
                      high as 3-4 mR/hr, or as much as 400x higher than background.
                      NRC reports that the subsequent addition of soil cover and
                      construction debris to Areas 1 and 2 diminished these levels several
                      fold. 18

 55.        Other toxic and hazardous materials are expected to have been released via the air pathway,

 in addition to the radioactive materials. This phenomenon contributes to the damages complained

 of herein.

 56.        The Landfill stopped accepting waste on December 31, 2004 and is now used as a transfer

 station for municipal wastes.

 57.        The Landfill waste mass encompasses approximately 52 acres with approximately 240 feet

 below the ground’s surface and a total waste thickness of 320 feet.

                         Radioactive Mill Tailing Wastes at the West Lake Landfill

 58.        Defendants caused or contributed to the improper handling, storage, and disposal of an

 estimated 500,000 cubic yards of radioactive mill tailings wastes in the Landfill. As a result, about




 17                                                                                                 210
                                                                                       Pb at 104,
      Marco Kaltofen et al, Tracking legacy radionuclides in St. Louis, Missouri, via unsupported
 Journal of Environmental Radioactivity, Vol. 153 (2016) [hereinafter "Kaltofen (2016)"].
 18
      Criss (2013) at 2 (citations omitted)
                                                         17


 4840-7843-1124, v. 4
                                                                                                               Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 757
                                                         Page: 18ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2438
                                                                                   2367



 15 acres of the West Lake Landfill are filled with radioactive mill tailings waste at depths up to 20

 feet.

 59.        Cotter failed to obtain a license from any governmental authority to transport radioactive

 mill tailings wastes to the West Lake Landfill. The West Lake Landfill failed to obtain any

 governmental authority to receive or possess radioactive mill tailings wastes from Cotter. The

 West Lake Landfill was not sited, designed, nor operated as a land disposal facility suitable for

 radioactive waste in accordance with any governmental authority. The Landfill is not and has never

 been licensed by the NRC as a land disposal site or to receive or possess radioactive material.

 (These statements are provided for informational purposes only, as Plaintiffs are making no claims

 under the laws of the United States).

 60.        Upon information and belief, Defendants who operated the Landfill used the radioactive

 mill tailings waste mixed with radioactive soil as daily cover in its Landfill operations thereby

 spreading the waste throughout the Landfill.

 61.        Defendants did not take necessary safety precautions when disposing of and handling the

 radioactive mill tailings wastes and radioactive soil to prevent off-site contamination.

 62.        The staff of the Landfill was neither qualified, nor trained to handle or dispose of radioactive

 wastes in a safe manner.

 63.        The Landfill was not intended, nor designed to contain mill tailing radioactive wastes. In

 reality, the Landfill is a chaotic pile of debris covered by unmanaged “natural vegetation,

 surrounded by a fence with radioactive [warning] signs.” Given the significant design and

 operations deficiencies, experts contend that the Landfill is even unsuitable for ordinary domestic

 waste. 19


 19
      Criss (2013) at 4
                                                      18


 4840-7843-1124, v. 4
                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 758
                                                         Page: 19ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2439
                                                                                   2368



                                               The Fire

 64.      The Landfill has experienced problems with subsurface fires throughout its operational

 history. Despite having past experiences with subsurface fires, sufficient precautionary measures

 were not implemented to prevent future fires or to protect the radiologically contaminated areas

 from being affected.

 65.      Upon information and belief, Defendants discovered high temperatures in several

 monitoring wells. Upon information and belief, Defendants continued with aggressive gas

 extraction methods exacerbating the underground fire and enabling it to spread uncontrolled.

 Defendants finally reported to authorities that the Landfill was experiencing high temperatures on

 extraction wells evidencing a subsurface smoldering event.

 66.      Since then, the smoldering has intensified into a spreading subsurface fire evidenced by

 surface soil settlement, increased odors, elevated hydrogen levels, and high temperatures. High

 temperatures and smoke caused by the fire could mobilize radionuclides into the air and ultimately

 into soil, surface water, ground water.

 67.      Due to the fact that the radioactive material was used as daily cover around the landfill, it

 is more likely than not that some fire has already consumed radioactive material. If there is

 sufficient contact with radioactive material, hot gases from the fire will likely cause fissures in the

 overburden material. These fissures will allow additional quantities of radioactive radon gas to

 escape the Landfill and become deposited as lead- 210 onto Plaintiffs’ property as it decays.

 68.      A subsurface fire in the radioactively contaminated areas would be expected to create

 increased pressure conditions within the Landfill and force out entrained radioactive gases,

 including radon which is extremely toxic to breathe. A subsurface fire may be present in the

 radioactively contaminated areas for a long period of time before it is detected, because the only

                                                   19


 4840-7843-1124, v. 4
                                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 759
                                                         Page: 20ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2440
                                                                                   2369



 apparent means to detect a subsurface smoldering event after closure is through annual visual

 inspections.

 69.      Another effect of a subsurface fire or smoldering event would be increased leachate

 production which has been observed in the Bridgeton Landfill from condensation of large amounts

 of steam. 20

 70.      The literature describes the risk of the Landfill underground fire as follows:

                   An underground fire is currently ongoing in the municipal Landfill
                   (OU-2) that is immediately south of Area 1 of OU-1. Such fires can
                   burn for years, creating high underground temperatures, and
                   releasing carbon monoxide, dioxins, VOCs and other noxious
                   chemicals, and particulates into air. Numerous people who reside
                   near the Landfill complained about odor and health problems at the
                   January 17, 2013 public meeting in Bridgeton. Risks for adjacent,
                   radionuclide-bearing OU-1 include but are not restricted to the
                   following 1) fire can spread from OU-2 into OU-1, particularly
                   because demolition and construction Landfills are known to have
                   much higher risk than municipal Landfills; 2: subterranean fires can
                   result in Landfills collapse, landslides and slumping, endangering
                   personnel and exposing dangerous materials to the surface; 3)
                   Landfill fires have high explosion risk because of methane, gas
                   cylinders, and drums; 4) high temperatures and smoke could
                   mobilize radionuclides into surface water, ground water and air. 21

 71.      There are at least two human exposure risk pathways that would exist from a subsurface

 smoldering event or subsurface fire reaching the radioactive materials. The first is the risk of

 people being subjected to increased air exposures to contaminants such as breathing in radon gas,

 radon-226. As airborne concentrations of radon gas increase, so would the risk to the neighboring

 population of breathing in radon gas and developing injuries such as lung cancers. Additionally,

 as radon gas decays it will become deposited onto people’s property and in their homes as



 20
    Leachate means liquid that has percolated through solid waste or has come in contact with solid waste and has
 extracted, dissolved or suspended materials from it. Mo. Code Regs. Ann. tit. 10, § 80-2.010.
 21
    Criss (2013) at 4-5 (citations omitted).
                                                         20


 4840-7843-1124, v. 4
                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 760
                                                         Page: 21ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2441
                                                                                   2370



 radioactive lead-210 and polonium-210 which would subject people to increased risk of internal

 exposure to radioactive materials. The second pathway is increased leachate production that could

 further move contaminants and radioactive materials into the groundwater.

 72.      Despite these risks, the Landfill Defendants have allowed the subsurface fire to spread

 uncontrolled.

 73.      From the start of the subsurface smoldering event and throughout the subsequent fire,

 Plaintiffs have regularly encountered noxious, putrid, and offensive odors on their property coming

 from the Landfill, which diminishes quality of life, results in lost property value and is an absolute

 nuisance.

        The Spread of Defendants Radioactive Wastes to Off-Site Businesses and Homes

 74.      As stated herein, Defendants have violated numerous Missouri standards for protection

 against radiation. Defendants’ negligent handling, storage, and disposal of radioactive wastes and

 radioactive soil as daily cover caused dangerous contaminants to be deposited in several areas

 throughout the Landfill site and to be highly susceptible to off-site migration of radioactive

 materials including radon gas, radioactive particles, and radioactively-contaminated groundwater

 75.      An example of water impacts of the Landfill will put this in perspective. Every day, the

 Landfill generates about 150,000 gallons of contaminated hazardous liquid leachate waste. In a

 doomed attempt to capture that waste, the Landfill Defendants installed a leachate collection

 system. But the leachate collection system itself was inadequate and has resulted in spills, releases,

 and leaks that have contributed to the groundwater and surface water contamination in the area.

 76.      Radiological and organic contamination was also detected in trees adjacent to and off-site

 from the Landfill. The presence of radioactive contamination in the trees resulted from the

 uptake of off-site contamination from the Landfill.

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 4840-7843-1124, v. 4
                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 761
                                                         Page: 22ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2442
                                                                                   2371



 77.      Recent studies of the Landfill area document radioactive radon gas emissions from the

 Landfill are falling out and contaminating soil. Kaltofen reported the following:

                   Levels of 210Pb in key samples were well above background
                   activities, and were significantly out of secular equilibrium with
                   other members of the uranium decay chain. This is strong evidence
                   that the 210Pb originated by decay of short-lived, fugitive radon gas
                   that escaped the Landfill. 22

 78.      Importantly, wherever lead-210 occurs, it will decay to polonium-210, creating an

 additional dose, as a matter of the laws of physics.

 79.      In addition, recent studies of surface water runoff from the Landfill, particularly after heavy

 rains, document radioactive contaminated surface water runoff to off-site properties. 23

 80.      Critical to the legacy of radioactive particles contaminating the homes and communities

 surrounding the Landfill is that the radioactive contamination has gone off-site.

 81.      Landfill Defendants have a long and consistent history of consciously disregarding the

 regulations for the control of radiation in Missouri by:

        A. failing to make such surveys as are reasonably necessary to comply with the regulations;

        B. failing to post adequate warning signs as required by the regulations;

        C. failing to obtain a specific license for the handling of radioactive materials and wastes;

        D. failing to adequately monitor or control its offsite effluent by air and water;

        E. failing to provide dosimetry to workers and more than occasional visits by members of

            the general public to the site;




 22
   Kaltofen (2016) at 110.
 23
   EPA Finds Radiation in West Lake Landfill Runoff, CBS St. Louis, May 26, 2016,
 http://stlouis.cbslocal.com2016/05/26/epa-finds-radiation-inwestlake-landfill-runoff.
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 4840-7843-1124, v. 4
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 762
                                                         Page: 23ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2443
                                                                                   2372



        F. failing to have an adequate or proper radiation protection program for its workers, despite

            knowledge of the significant potential for those workers to be exposed to material

            emitting gamma, beta, alpha radiation;

        G. allowing off-site migration of the radioactive materials, resulting in a release to an

            unrestricted area;

        H. allowing excessive radon emanation from the landfill;

        I. allowing unmonitored offsite migration of contaminated surface waters without a specific

            license;

        J. failing to maintain adequate waste exposure records and reports;

        K. failing retain and employ qualified radiation protection experts;

        L. failing to supply former workers with a summary of their radiation dose;

        M. failing to see that all work with radioactive materials is carried under conditions which

            will minimize the possibility of spread of radioactive materials;

        N. failing to monitor the workplace and prevent worker or visitors’ clothing from becoming

            contaminated with radioactive materials;

        O. failing to require third parties who were disposing of radioactive material at the site to

            obtain a specific license;

        P. allowing the disposal of radioactive waste materials by dumping or burial at a site not

            approved by the Department of Health;

        Q. failing to have an accurate accounting for all radioactive materials at the site; and

        R. failing to have records which show the amount of radioactive material received,

            transferred, decayed in storage, disposed of, and other information as may be necessary



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 4840-7843-1124, v. 4
                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 763
                                                         Page: 24ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2444
                                                                                   2373



            to account for the difference between the amount of radioactive material received or

            produced and the amount on hand.

 82.      Defendants essentially violated every Missouri regulation related to radiation exposure.

 83.      Due to risk of gamma radiation exposure, governmental authorities have directed Republic

 to cover portions of the landfill with six inches of fill to protect workers and innocent members of

 the general public who will be exposed to gamma radiation if they are in that area.

 84.      This zone of excessive gamma radiation was identified in 1978 during a surveillance flight

 by the NRC. Despite being informed of this zone of excessive gamma radiation, the Landfill

 Defendants did nothing.

 85.      The only time Defendants takes any action to remediate or protect workers or the public

 from radioactive wastes is when ordered to do so by a governmental body.

 86.      A recent study of the wastes that have come from the Landfill and migrated off-site to

 contaminate local businesses and homes stated the following:

                   Analysis of 287 soil, sediment and house dust samples collected in
                   a 200km2 zone in northern St. Louis County, Missouri, establish
                   that off-site migration of radiological contaminants from Manhattan
                   Project-era uranium processing wastes has occurred in this
                   populated area.

                                Concealment of Facts Related to Risk

 87.      Republic and other Defendants through their silence have reassured government officials,

 the public and Plaintiffs that the Landfill has not contaminated nearby properties. In particular,

 Republic and its representatives, as well as its professional public relations firm(s), with their puff

 talk that they really care have made misrepresentations that were meant to assure Plaintiffs that:




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 4840-7843-1124, v. 4
                                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 764
                                                         Page: 25ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2445
                                                                                   2374



        A. Any suspicion of off-site contamination from the Landfill are merely rumors “being

            spread by alarmists.” 24

        B. Its activities “should reassure the community that they are safe from and not being

            exposed to any risk from groundwater beneath West Lake Landfill.” 25

        C. The Landfill’s neighbors, including the Plaintiffs “can rest assured that they are safe.” 26

        D. The fire and Landfill are both at a “managed state.” 27

        E. The waste at the Landfill presents no danger to public health. 28

 88.      Republic and other Defendants engaged in extensive professional public relations efforts

 to downplay the significance of the problem and the dangers associated with radioactive wastes

 sitting in a landfill which experts indicate is not even suitable for household garbage, as it contains

 no liner. Defendants misrepresentations can only be characterized as mere “puffery”.

              Defendants’ Radioactive Particles Contaminated the Plaintiffs Property

 89.      The Dailey Property is contaminated by radioactive material.

 90.      Samples taken on and around the Dailey Property confirm an elevated presence of

 radioactive particles.

 91.      Dust samples from inside the Dailey Home contain decay products of radioactive isotopes

 U-238, including Th-230, Ra-226 and Pb-210, which match the fingerprint (or profile) of the

 hazardous, toxic, carcinogenic radioactive wastes generated from the processing of uranium ore in

 downtown St. Louis which was subsequently stored at SLAPS and Latty Avenue before being




 24
    Jacob Barker, Radium above federal guidelines in groundwater near West Lake at 2, St. Louis Today, Dec. 17,
 2014.
 25
    Id.
 26
    Jacob Barker, Frustration with EPA handling of West Lake growing at 5, St. Louis Today, Jan. 3, 2015.
 27
    Frustration with EPA handling of West Lake growing, Jacob Barker, St. Louis Today, January 3, 2015 at p. 5.
 28
    Id.
                                                        25


 4840-7843-1124, v. 4
                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 765
                                                         Page: 26ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2446
                                                                                   2375



 disposed of in the Landfill. These dusts show levels of radioactive Th-230 at least two hundred

 times above background.

 92.        The Dailey Property neighbors the Landfill. This proximity puts the Plaintiffs’ Property in

 the direct path of radioactive and other hazardous air emissions, radioactive particles distributed

 by the wind blowing such contamination off the site in dirt and dust, radon gas, and frequent

 offensive odors; all of which emanate from the Landfill.

 93.        The Kaltofen (2016) published scientific paper identified “strong evidence of short lived

 fugitive radon gas that escaped from the landfill.” 29 These air emissions fall out to soil and dust as
 210
       Pb, a highly radioactive isotope.

 94.        It is also clear that radioactive material will be distributed from the Landfill “by surface

 water and winds.”21 The surface water runoff threat is heightened during periods of high rainfall

 and flooding and has been documented. 30

 95.        Frequent offensive odors from the Landfill are experienced by Plaintiffs.

 96.        The radioactive wastes, which are hazardous, toxic, carcinogenic, that have polluted the

 Dailey Property and continue to threaten, especially during the proposed cleanup, to further pollute

 the Dailey Property match the waste fingerprint (or profile) of the hazardous, toxic, carcinogenic

 radioactive mill tailings wastes dumped in the Landfill.

 97.        This radioactive contamination on the Dailey Property migrated from the Landfill. The

 contamination was caused by the Defendants’ improper handling, storage, and disposal of

 radioactive materials.




 29
   Kaltofen (2016) at 111.
 30
   EPA Finds Radiation in West Lake Landfill Runoff, CBS St. Louis, May 26, 2016,
 http://stlouis.cbslocal.com2016/05/26/epa-finds-radiation-inwestlake-landfill-runoff.
                                                          26


 4840-7843-1124, v. 4
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 766
                                                         Page: 27ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2447
                                                                                   2376



 98.      Radioactive contamination of the Dailey Property and frequent offensive odors render the

 Dailey Property unfit for normal use and enjoyment, and destroys its fair market value.

 99.      As a direct and proximate result of Defendants’ conduct, Plaintiffs are currently being

 subjected to radioactive waste contamination and will suffer irreparable harm if an injunction is

 not granted requiring Defendants conduct a total and complete cleanup of the contamination on

 the Dailey Property.

                                       COUNT I - TRESPASS

 100.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 101.     Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property located

 at 3550 El Ferrol Court, more particularly described in Paragraph 19 above.

 102.     Landfill Defendants own and control property located at the Bridgeton and West Lake

 Landfills, which adjoins Plaintiffs’ property.

 103.     Landfill Defendants store and/or transport radioactive materials and other toxic and

 hazardous wastes on their property.

 104.     Cotter purchased massive quantities of highly toxic radioactive wastes and failed to

 properly dispose of these wastes. Cotter intentionally, maliciously, and wantonly disposed of

 radioactive wastes at a facility unfit to handle such wastes.

 105.     Landfill Defendants have used these radioactive materials in a manner that is unreasonable,

 unlawful, malicious, and wanton, resulting in an invasion of Plaintiffs’ property.

 106.     Landfill Defendants have caused these radioactive materials to migrate from their property

 and contaminate Plaintiffs’ property.



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 4840-7843-1124, v. 4
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 767
                                                         Page: 28ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2448
                                                                                   2377



 107.     Landfill Defendants willfully, wantonly, and maliciously caused the emission of radon gas,

 and radioactive particles onto and around Plaintiffs’ property through their Landfill operations.

 108.     It was reasonably foreseeable that Defendants’ actions would and will continue to

 contaminate Plaintiffs’ property with radioactive particles and other hazardous wastes.

 109.     The migration of radon gas and radioactive particles from Landfill Defendants’ property

 onto Plaintiffs’ property has resulted and continues to result in direct physical interference with

 Plaintiffs’ property. Such contamination is incompatible with the normal use and enjoyment of

 Plaintiffs’ Property.

 110.     Plaintiffs did not give Defendants permission or consent to interfere with their property in

 this manner. Through Defendants’ actions and inactions, they are illegally and improperly using

 Plaintiffs’ property to store hazardous, toxic, carcinogenic, radioactive wastes.

 111.     The contamination of Plaintiffs’ property with radon gas and radioactive particles, and

 other hazardous wastes, has resulted in significant damage to the property.

 112.     As a direct and proximate cause of this continuing and recurring physical interference,

 Plaintiffs have suffered and continue to suffer injury, including decreased property value.

                             COUNT II – PERMANENT NUISANCE

 113.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 114.     Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property located

 at 3550 El Ferrol Court, more particularly described in Paragraph 19 above.

 115.     Landfill Defendants own and control property located at the Bridgeton and West Lake

 Landfills, which adjoins Plaintiffs’ property.



                                                  28


 4840-7843-1124, v. 4
                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 768
                                                         Page: 29ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2449
                                                                                   2378



 116.      Defendants unreasonably and unlawfully stored and used radioactive materials at the

 Landfill, which adjoins Plaintiffs’ property.

 117.      The Defendants caused and contributed to the radioactive contamination of Plaintiffs’

 property.

 118.      The Landfill and the radioactive waste that the Landfill contains are a permanent

 construction that is necessarily injurious to Plaintiffs as installed. It is not practical or possible to

 abate the presence of the Landfill or the radioactive waste stored there.

 119.      Operating an unlicensed radioactive hazardous waste dump in a populated area is a nuisance

 per se.

 120.      Defendants have intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allowed the emission of radon gas and radioactive particles onto and around

 Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and enjoyment of

 their property. Such contamination is incompatible with the normal use and enjoyment of the

 Dailey Property.

 121.      Defendants’ interference with Plaintiffs’ use and enjoyment of the property is substantial.

 122.      Landfill Defendants have intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allowed the emission of noxious, offensive odors and various hazardous

 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property.

 123.      Landfill Defendants’ continuous and unrelenting noxious odors invading Plaintiffs’

 property causes inconvenience to Plaintiffs and prevents them from using the property.




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 4840-7843-1124, v. 4
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 769
                                                         Page: 30ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2450
                                                                                   2379



 124.     As a direct and proximate result of Defendants’ interference with Plaintiffs’ use and

 enjoyment of the property, Plaintiffs have suffered permanent injury, including decreased property

 value.

                            COUNT III – TEMPORARY NUISANCE

 125.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 126.     Plaintiffs Michael Dailey and Robbin Dailey own and control the Dailey Property located

 at 3550 El Ferrol Court, more particularly described in Paragraph 19 above.

 127.     Landfill Defendants own and control property located at the Bridgeton and West Lake

 Landfills, which adjoins Plaintiffs’ property.

 128.     Defendants unreasonably and unlawfully store and use radioactive materials at the Landfill,

 which adjoins Plaintiffs’ property.

 129.     The Defendants caused and contributed to the radioactive contamination of Plaintiffs’

 property.

 130.     The Defendants intentionally, unreasonably, negligently, recklessly, willfully, wantonly

 and maliciously allow the emission of radon gas and radioactive particles onto and around

 Plaintiffs’ property, resulting in unreasonable interference with Plaintiffs’ use and enjoyment of

 their property. Such contamination is incompatible with the normal use and enjoyment of the

 Dailey Property.

 131.     Defendants’ interference with Plaintiffs’ use and enjoyment of the property is substantial.

 132.     Landfill Defendants intentionally, unreasonably, negligently, recklessly, willfully,

 wantonly and maliciously allow the emission of noxious, offensive odors and various hazardous



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 4840-7843-1124, v. 4
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 770
                                                         Page: 31ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2451
                                                                                   2380



 substances into the surrounding air resulting in unreasonable interference with Plaintiffs’ use and

 enjoyment of their property.

 133.     Landfill Defendants’ use of the Landfill causes frequent and unrelenting noxious odors to

 invade Plaintiffs’ property and prevents Plaintiffs from using their property.

 134.     As a direct and proximate result of Defendants’ interference with Plaintiffs’ use and

 enjoyment of the property, Plaintiffs have suffered and continue to suffer injury, including

 decreased property value.

                                     COUNT IV – NEGLIGENCE

 135.     Plaintiffs re-allege and incorporate by reference every allegation of this Complaint as if

 each were set forth fully herein.

 136.     Radioactive isotopes are known human carcinogens and are among the most toxic materials

 known to man. When property becomes contaminated with these wastes, the dangers can persist

 in the environment for thousands of years. Radioactive wastes should be handled, stored, and

 disposed of with the utmost safety in mind. Exposures to radioactive wastes should be as low as is

 reasonably achievable.

 137.     Knowing of the grave dangers posed by these wastes, Cotter owed a duty of care to the

 Plaintiffs and the public to ensure the safe and legal handling, storage, and disposal of the

 radioactive wastes in order to prevent significant injury to property and persons.

 138.     Cotter was negligent in failing to ensure that the radioactive wastes were safely disposed

 of at an appropriate facility. Cotter negligently disposed of these radioactive wastes at a landfill

 located in a residential area that was not capable of safely and properly disposing of radioactive

 materials. The Landfill was not properly licensed, nor configured, nor staffed to handle the disposal

 of radioactive wastes. Upon information and belief, Cotter negligently encouraged the Landfill

                                                  31


 4840-7843-1124, v. 4
                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 771
                                                         Page: 32ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2452
                                                                                   2381



 operators to use the radioactive mill tailings wastes which were mixed with contaminated soil as

 daily cover.

 139.     As a direct and proximate result of Cotter’s failure to ensure that the radioactive wastes

 were properly disposed of at an appropriate facility, Plaintiffs suffered and continue to suffer injury

 to due to the radioactive contamination of their property, including diminished property value.

 140.     The Landfill Defendants owed a duty to the Plaintiffs to operate the Landfill in a safe, legal,

 and reasonable manner so as not to contaminate and interfere with surrounding properties. The

 Landfill Defendants owed a duty not to accept radioactive wastes for which they were not licensed

 or qualified to handle. After accepting radioactive wastes, the Landfill Defendants had a duty to

 safely handle, store and/or dispose of the radioactive wastes in order to prevent significant injury to

 property and persons.

 141.     Landfill Defendants were negligent in the construction, design, operating and maintenance

 of the Landfill.

 142.     Landfill Defendants negligently accepted hazardous, toxic, carcinogenic radioactive mill

 tailings when the Landfill was not designed, nor staffed to handle the disposal of radioactive

 wastes. The negligent design and maintenance of the Landfill by Landfill Defendants failed to

 prevent the release of radon gas and radioactive particles and hazardous and toxic wastes onto

 surrounding properties in excess of guidelines.

 143.     Landfill Defendants were negligent in accepting hazardous, toxic, carcinogenic radioactive

 mill tailings at a landfill located in a residential area that was not capable of safely and properly

 disposing of radioactive materials. The Landfill was not properly licensed, nor configured, nor

 staffed to handle the disposal of radioactive wastes. Upon information and belief Defendants used

 the radioactive materials which were mixed with contaminated soil as daily cover.

                                                    32


 4840-7843-1124, v. 4
                                                                                                          Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 772
                                                         Page: 33ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2453
                                                                                   2382



 144.     Upon information and belief, Landfill Defendants’ negligent training of personnel handling

 radioactive, toxic, and hazardous materials on site was a direct and proximate cause of damage to

 Plaintiffs’ property.

 145.     Landfill Defendants’ negligent use of radioactive wastes mixed with radioactive soil as daily

 cover spread contamination into a broader area and prevented Defendants and regulators from

 knowing the location of these dangerous wastes. The negligent use of radioactive materials as daily

 cover in an unlined Landfill resulted in contamination of the groundwater underlying the Landfill

 and surrounding properties.

 146.     Landfill Defendants were negligent in failing to prevent the subsurface fire. Defendants

 should have implemented adequate practices with respect to gas extraction to avoid subsurface

 fires after they initially dealt with problems with smoldering events and increased subsurface

 temperatures in the 1990’s. The subsurface fire along with the resulting noxious odors and

 increased risk of significant radon gas emissions are a direct and proximate result of the Landfill

 Defendants’ negligence in the operation of the Landfill. Such contamination is incompatible with

 the normal use and enjoyment of the Dailey Property.

 147.     Defendants’ collective negligence throughout the history of the mishandling and improper

 dumping of radioactive wastes in the Landfill has resulted in repeated releases of radon gas and

 radioactive particles and other hazardous materials as well as offensive odors onto Plaintiffs’

 property, in disregard of applicable regulations and property rights.

 148.     Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances and noxious odors. Defendant’s

 negligence diminished Plaintiffs’ property value.

 149.     The injuries sustained by Plaintiffs are of the kind that do not occur without negligence.

                                                   33


 4840-7843-1124, v. 4
                                                                                                            Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 773
                                                         Page: 34ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2454
                                                                                   2383



 150.     Plaintiffs’ injuries were the result of wastes disposed of and controlled by Defendants.

 151.     Defendants’ negligent acts and omissions were a direct and proximate cause of Plaintiffs’

 injuries. Plaintiffs are entitled to recover damages for damage to property and/or loss of use of

 property.

 152.     Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in any way.

                                COUNT V – NEGLIGENCE PER SE

 153.     Plaintiffs re-allege and incorporate by reference every allegation of this Complaint as if

 each were set forth fully herein.

 154.     Cotter violated Missouri regulations for Protection against Ionizing Radiation, 19 C.S.R.

 20-10.070, 20-10.090, and the Missouri Hazardous Waste Management regulations, 10 C.S.R. 25-

 5.262, both of which require the safe storage and disposal of radioactive material so as to protect

 the health and safety of the public.

 155.     Plaintiffs are members of the class of persons that the Missouri regulations for Protection

 against Ionizing Radiation and Hazardous Waste Management were meant to protect.

 156.     The contamination of Plaintiffs’ property is the kind of injury that the regulations for

 protection against ionizing radiation were designed to prevent.

 157.     Cotter’s violations of the regulations for Protection against Ionizing Radiation and

 Hazardous Waste Management were the proximate cause of Plaintiffs’ injuries.

 158.     The Landfill Defendants violated Missouri regulations for Protection against Ionizing

 Radiation, 19 C.S.R. 20-10.070, 20-10.090, Missouri Solid Waste Management Law and

 Regulations, 10 C.S.R. 80-2.020(1)(F), 80-3.010(3)(A)(2), 80-3.010(3)(B)(1), 80-3.010(8)(A), 80-

 3.010(9)(C)(2), 80-3.010(13)(C), 80-3.010(14)(C), 80-3.010(19)(A), 10 CSR 80-3.010(19)(C)(7);

 Mo. Rev. Stat. §§ 260.210.1(4), 260.380(1); Missouri Clean Water Act, Mo. Rev. State. §

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 4840-7843-1124, v. 4
                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 774
                                                         Page: 35ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2455
                                                                                   2384



 644.051.1, and Missouri Air Conservation regulations, 10 C.S.R. 10-6.165, all of which require

 the safe storage and disposal of radioactive material so as to protect the health and safety of the

 public.

 159.      Plaintiffs are members of the class of persons that the Missouri regulations for Protection

 against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations, and

 Missouri Air Conservation regulations were intended to protect.

 160.      The contamination of Plaintiffs’ property is the kind of injury that the Missouri regulations

 for Protection against Ionizing Radiation, Missouri Solid Waste Management Law and Regulations,

 Missouri Hazardous Waste Management Law, and Missouri Air Conservation regulations were

 designed to prevent.

 161.      The Landfill Defendants’ violations of Missouri regulations for Protection against Ionizing

 Radiation, Missouri Solid Waste Management Law and Regulations, and Missouri Air

 Conservation regulations were the proximate cause of Plaintiffs’ injuries.

 162.      Defendants’ collective negligence throughout the history of the mishandling and improper

 dumping hazardous, toxic, carcinogenic, radioactive wastes in the Landfill area has resulted in

 repeated releases of radon gas and radioactive particles and other hazardous materials as well as

 offensive odors onto Plaintiffs’ property in violation of applicable regulations and disregard for

 property rights.

 163.      Defendants’ negligence has damaged Plaintiffs’ property by contaminating it with

 radioactive particles, toxic and other hazardous substances and noxious odors. Defendant’s

 negligence diminished Plaintiffs’ property value.

 164.      Plaintiffs did not consent to the injuries, nor did they contribute to the injuries in any way.



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 4840-7843-1124, v. 4
                                                                                                              Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 775
                                                         Page: 36ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2456
                                                                                   2385



                    COUNT VI – STRICT LIABILITY/ABSOLUTE LIABILITY

 165.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 166.     Defendants engaged in the abnormally dangerous activity of handling, storing, and/or

 disposing of radioactive waste.

 167.     By handling, storing, and/or disposing of radioactive waste, Defendants have created and

 continue to create a high degree of risk of harm to Plaintiffs’ property.

 168.     Defendants have intentionally failed to eliminate the risk of harm caused by their handling,

 storing, and/or disposing of radioactive waste.

 169.     As a direct result of Defendants’ abnormally dangerous activities, Plaintiffs’ property was

 contaminated with radioactive materials and they suffered and continue to suffer injury, including

 diminished property value. Such contamination is incompatible with the normal use and enjoyment

 of the Dailey Property.

 170.     Plaintiffs’ injuries are of the kinds that result from the dangerous nature of handling, storing,

 and/or disposing of radioactive waste.

 171.     The injuries that Defendants’ handling, storing, and/or disposing of radioactive waste have

 caused Plaintiffs to suffer, drastically outweigh the value of the Landfill.

 172.     Accordingly, Defendants are jointly and severally liable for any and all damages Plaintiffs

 have sustained as a result of their strict liability for handling, storing and/or disposing of radioactive

 materials, including, without limitation, any incidental or consequential damages.

                                COUNT VII – INJUNCTIVE RELIEF

 173.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

                                                     36


 4840-7843-1124, v. 4
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 776
                                                         Page: 37ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2457
                                                                                   2386



 174.     Defendants have tortiously contaminated Plaintiffs’ property with hazardous, toxic,

 carcinogenic, radioactive wastes.

 175.     The Defendants’ tortious acts threaten the safety and normal use and enjoyment of the

 Plaintiffs’ property.

 176.     The radioactive contamination of Plaintiffs’ property has caused a significant increased

 risk to Plaintiffs, and therefore Plaintiffs are in need of a thorough scientific evaluation of the

 radioactive contaminant levels throughout their Property.

 177.     The need for such an evaluation is a direct consequence of the Defendants’ tortious conduct,

 and does not arise from the innocent conduct of the homeowners.

 178.     Therefore, Plaintiffs seek injunctive and equitable relief to require the Defendants to

 conduct the necessary scientific evaluation of the Dailey Property, consistent with contemporary

 scientific principles. Plaintiffs seek injunctive and equitable relief to require the Defendants to

 respond to the consequences of this tortious contamination by providing the necessary medical

 monitoring in the form of environmental testing, clean-up, and medical tests as indicated by the

 results of the scientific evaluation.

 179.     Plaintiffs seek this injunctive and equitable relief either in the form of an injunction

 requiring the Defendants to conduct the necessary monitoring themselves, or in the form of a court-

 ordered and court-supervised fund (with a court-appointed trustee if the court deems that

 appropriate) to provide for the necessary monitoring.

 180.     Such injunctive and equitable relief will decrease the radioactive contamination risks of

 Plaintiffs’ Property, decrease the interference with the use and enjoyment of said property, and

 further mitigate Plaintiffs’ damages.



                                                  37


 4840-7843-1124, v. 4
                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 777
                                                         Page: 38ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2458
                                                                                   2387



                               COUNT XIII – PUNITIVE DAMAGES

 181.     Plaintiffs incorporate by reference all allegations of the preceding paragraphs as though

 fully set forth herein.

 182.     Defendants committed one or more of the willful, wanton, malicious, reckless, and

 outrageous acts more fully set forth above which individually or cumulatively justify the award of

 punitive damages in this matter.

 183.     Defendants knew or had information from which, in the exercise of ordinary care, should

 have known that such conduct, as detailed above, created a high degree of probability of injury to

 Plaintiffs.

 184.     The willful, wanton, malicious, reckless, and outrageous acts of Defendants, as detailed

 above, evidence Defendants’ complete indifference to and/or conscious disregard for the safety of

 Plaintiffs.

                                        PRAYER FOR RELIEF

          WHEREFORE, as to each Count, and all Counts, Plaintiffs pray for judgment in favor of

 Plaintiffs and against Defendants Bridgeton Landfill, LLC, Rock Road Industries, Inc, Republic

 Services, Inc., Allied Services, L.L.C., and Cotter Corporation, as well as awarding the following

 to Plaintiffs and against Defendants:

        A. an award of actual, general, special, incidental, statutory, compensatory and

            consequential damages in an amount to be proven at trial, including compensatory

            damages for the loss and use of enjoyment of Plaintiffs’ property; annoyance and

            discomfort; damage to Plaintiffs’ personal property; the diminution in the market value

            of Plaintiffs’ property; as well as the costs and expenses incurred as a result of Plaintiffs’

            exposure to radioactive emissions, including costs of remediation and relocation;

                                                    38


 4840-7843-1124, v. 4
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 778
                                                         Page: 39ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2459
                                                                                   2388



        B. an award of double damages for malicious trespass as provided for under Mo. Rev. Stat.

            § 537.330;

        C. an award of punitive and exemplary damages as fair and reasonable in an amount

            sufficient to punish Defendants and to deter similar conduct in the future;

        D. costs and attorney fees;

        E. interest on the above amounts as allowed by law, including but not limited to pre- and

            post-judgement interest;

        F. for appropriate injunctive and equitable relief, including medical monitoring; and

        G. for any further relief this Court deems just and proper.



                                                Respectfully submitted,

                                                /s/ Stuart H. Smith
                                                Stuart H. Smith (LSBA 17805), Pro Hac Vice
                                                Barry J. Cooper, Jr. (LSBA 27202), Pro Hac Vice
                                                Celeste Brustowicz (LSBA 16835), Pro Hac Vice
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                                                COOPER LAW FIRM, LLC
                                                1525 Religious Street
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                                                Phone: 504-399-0009
                                                Facsimile: 504-291-1352
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                                                         bcooper@sch-llc.com
                                                         cbrustowicz@sch-llc.com
                                                         vcobb@sch-llc.com
                                                ATTORNEYS FOR PLAINTIFFS,
                                                MICHAEL AND ROBBIN DAILEY




                                                   39


 4840-7843-1124, v. 4
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                157-2Filed: 01/28/22
                                        Filed: 04/29/19Page: 779
                                                         Page: 40ofof903
                                                                      40 PageID
                                                                         PageID #:
                                                                                #: 2460
                                                                                   2389



                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 29, 2019, I electronically filed the foregoing document with

 the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

 counsel of record.



                                               /s/ Stuart H. Smith
                                               Stuart H. Smith (LSBA 17805)




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 4840-7843-1124, v. 4
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 780
                                                            Page:   of 15
                                                                  1 of 903PageID
                                                                           PageID#:#:2393
                                                                                      2461




                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 MICHAEL DAILEY, et al.,                           )
                                                   )
                 Plaintiffs,                       )
                                                   )
 vs.                                               )
                                                   )   Case No. 4:17-cv-00024-CDP
 BRIDGETON LANDFILL, LLC, et al.,                  )
                                                   )
                 Defendants.                       )

       DEFENDANTS’ RESPONSE TO PLAINTIFFS’ MOTION FOR LEAVE TO
   FILE A SECOND AMENDED COMPLAINT PURSUANT TO APRIL 8, 2019 ORDER

         Defendants Bridgeton Landfill, LLC (in its own right and as the merger successor to

  Rock Road Industries, Inc.); Republic Services, Inc.; and Allied Services, LLC (collectively,

  “Defendants”), for their Response to Plaintiffs’ Motion for Leave to File a Second Amended

  Complaint (Doc. No. 157), state:

    I.   Introduction.

         Over two years ago, on April 21, 2017, Plaintiffs filed an Amended Complaint naming

  the Price-Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq., and explicitly pleading that their

  claims sound under the PAA. The Court ought not allow Plaintiffs to abandon their own

  positions regarding jurisdiction and the basis for their claims, on which both the Defendants and

  the Court have relied. Plaintiffs may be the “masters” of their own complaint but that does not

  allow them to plead a case, abandon it, plead a new case, attempt to abandon it, and plead yet

  another case. Plaintiffs’ gamesmanship is impermissible and highly prejudicial to Defendants.

         If Plaintiffs have a cause of action, it is under the PAA because their claim is for damage

  arising from radioactive material and they plead a nuclear incident. Plaintiffs sudden switch of

  tactics based on the claim that the material placed in the West Lake Landfill is allegedly “mill
                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 781
                                                            Page:   of 15
                                                                  2 of 903PageID
                                                                           PageID#:#:2394
                                                                                      2462




  tailings” is insufficient to take the case outside PAA. The waste is not, in fact, mill tailings. At a

  minimum, Defendants should be allowed to conduct discovery of the alleged “fact” that the

  material is mill tailings. Justice provides no basis for granting Plaintiffs’ Motion; instead, it

  requires the Motion’s denial.

         If the Court does grant Plaintiff’s’ Motion it would implicitly hold that Plaintiffs’

  proposed state law claims do not bring a PAA claim that belong in federal court. The PAA

  determines not only the forum but also the standard of care. Remand decisions are generally

  unappealable without a determination for interlocutory appeal. Decisions of this District conflict

  with those of most Circuits which hold the PAA governs all claims of injury from radioactive

  material. Should this Court grant leave to amend, the Court should determine that its Order

  qualifies for interlocutory review to materially advance this litigation to allow appellate review

  of the PAA’s preemptive scope.

   II.   Legal Standards

         Leave to file an amended complaint need only be “freely” granted “when justice so

  requires.” Fed. R. Civ. P. 15 (a)(2). “A district court may deny leave to amend if there are

  compelling reasons such as undue delay, bad faith, or dilatory motive, repeated failure to cure

  deficiencies by amendments previously allowed, undue prejudice to the non-moving party, or

  futility of the amendment.” Reuter v. Jax Ltd., Inc., 711 F.3d 918, 922 (8th Cir. 2013) (internal

  quotations omitted). The Eighth Circuit has upheld a district court’s denial of motion to leave

  when numerous motions to dismiss had been briefed and decided and discovery was underway.

  Moses.com Sec., Inc. v. Comprehensive Software Sys., Inc., 406 F.3d 1052, 1066 (8th Cir. 2005).




                                                    2
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 782
                                                            Page:   of 15
                                                                  3 of 903PageID
                                                                           PageID#:#:2395
                                                                                      2463




  III.   Leave Must Not be Permitted Because It Is Highly Prejudicial to Allow Amendment
         At This Stage

         This untimely Motion must be denied because Plaintiffs’ delay has created extreme and

  undue prejudice to the non-moving parties. Plaintiffs began this litigation with media fanfare in

  November, 2016. Defendants removed Plaintiffs’ original complaint and fully briefed a motion

  to remand, moved to dismiss the original and then the amended complaint, won dismissal of the

  state-law claims in the amended complaint, filed answers and conducted substantial discovery on

  the specific claims plaintiffs had brought.

          Plaintiffs obtained leave to explicitly plead a Price-Anderson Act claim on April 21,

  2017, which Defendants answered and moved to dismiss. This Court granted Defendants’

  motion in part and dismissed the state-law claims. Doc. No. 89. On January 2, 2018, the Court

  entered a CMO guiding how discovery was to proceed. Doc. No. 102. The Court ordered

  discovery to proceed only on the issue of alleged contamination of Plaintiffs’ property. The

  CMO was premised explicitly on Plaintiffs’ decision to bring a PAA claim. 1 The parties then

  proceeded with discovery.

         The case was well on its way to a dispositive motion when Plaintiffs, on March 27, 2018,

  filed a motion to amend, remand, and stay discovery. Doc. No. 123. Defendants have been stuck

  in limbo ever since. Before Plaintiffs’ tactics halted progress in the case, the parties had

  exchanged written discovery, appeared before the Court, participated in meet and confers

  regarding discovery disputes, and scheduled and taken depositions. Defendants had already

  taken both Plaintiffs’ depositions as well as two of Plaintiffs’ experts and were in the throes of

  preparing dispositive motions.


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           On March 6, 2018, the Court entered an Amended Case Management Order altering only the
  deadlines, not the substance of the Order. Doc. No. 119.
                                                    3
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 783
                                                            Page:   of 15
                                                                  4 of 903PageID
                                                                           PageID#:#:2396
                                                                                      2464




          Undue prejudice arises because Plaintiffs seek to change the legal framework for their

  lawsuit. This is not a clarification of claims already in the suit; rather, it is a radical change

  which Plaintiff seek to parlay into a change the venue and jurisdiction in an order granting

  amendment that is ordinarily not subject to an appeal. Plaintiffs have already named these state-

  law causes of action, amended to add the PAA, and had these state-law causes of action

  dismissed. Allowing a second amendment that institutes claims this Court has already dismissed

  would be prejudicial to Defendants who have proceeded under the PAA claim for months and

  were in the midst of discovery and defense expert preparation to win the claim.

          Further, Plaintiffs’ request is tantamount to a motion for dismissal under Rule 41. As the

  Court itself noted, “I question the propriety of ‘amending’ the operative complaint to omit the

  only claim that remains pending and over which the Court has subject-matter jurisdiction – this

  essentially amounts to a dismissal.” Doc. No. 156 at 3.

          The Third Circuit recently upheld the denial of a plaintiff’s motion to dismiss its PAA

  claims and remand to state court. Estate of Ware v. Hosp. of the Univ. of Pennsylvania, 871 F.3d

  273, 285-86 (3d Cir. 2017), cert. denied sub nom. Boyer v. Hosp. of the Univ. of Pennsylvania,

  138 S. Ct. 2018 (2018). The court concluded that dismissal would prejudice the defendants

  when the plaintiff waited to seek leave to amend until after an answer was filed and discovery

  was conducted. Id. Defendants adopt and incorporate by reference the additional arguments

  made by Defendant Cotter Corporation (N.S.L.) regarding Rule 41.

          Additionally, as recently ordered, it is inappropriate for the Court to consider a motion to

  amend when the full proposed pleading has not been filed. Doc. No. 156 (citing Popoalii v.

  Correctional Med. Servs., 512 F.3d 488, 497 (8th Cir. 2008)). Plaintiffs reference a declaration

  from Richard B. Stewart as Exhibit 1 to the proposed amendment, but they do not actually attach


                                                     4
                                                                                                           Electronically Filed - St Louis County - April 20, 2020 - 07:09 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 784
                                                            Page:   of 15
                                                                  5 of 903PageID
                                                                           PageID#:#:2397
                                                                                      2465




  it. See Doc. No. 157-1 at 6, n. 4. This declaration is an important part of the proposed complaint

  as Plaintiffs draw on it for two critical arguments – that the waste is mill tailings and a license or

  indemnification agreement is necessary. Without this exhibit, the proposed amendment is fatally

  incomplete. It is prejudicial to allow amendment when neither the Court nor Defendants have

  been provided the full pleading.

  IV.    Amendment is Futile Because the PAA Applies

                 A. Plaintiffs Have Already Conceded Their Claims Are Governed By the PAA

         If Plaintiffs are the masters of their complaint, then their own statements in the Amended

  Complaint must be respected. Plaintiffs were, in fact, correct when they repeatedly and

  affirmatively stated to the Court that PAA applies. The Amended Complaint explicitly pleads a

  PAA claim. In their Response to Defendants’ Motion to Dismiss the Amended Complaint,

  Plaintiffs stated, “Plaintiffs Have Pled a Valid Price-Anderson Act Claim.” Doc. No. 77 at 6.

  The entire 34-page filing defends Plaintiffs’ pursuing a Price-Anderson Act cause of action.

  Plaintiffs’ contention now that the PAA does not apply is illogical when Plaintiffs themselves

  brought the Act into this litigation and continue to plead a case for the same relief on the same

  facts merely under different headings.

         Arguments in the Motion for Leave regarding involvement of counsel are nothing but

  distractions and excuses. The pleading is the party’s, not the attorney’s. To allow amendment

  every time a new counsel came in would create chaos and unfair prejudice and is contrary to the

  intention of the Rules of Civil Procedure to “secure the just, speedy, and inexpensive

  determination of every action and proceeding.” Fed. R. Civ. P. 1.

          Plaintiffs’ amendment was not “erroneous” (157 at ¶¶ 3, 5; 157-1 at 2-3); that implies

  some clerical mistake. Plaintiffs purposely filed the Amended Complaint affirmatively asserting


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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
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                                           Filed: 05/20/19Page: 785
                                                            Page:   of 15
                                                                  6 of 903PageID
                                                                           PageID#:#:2398
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  the PAA. Thereafter, they defended the PAA claims against Defendants’ Motions to Dismiss

  and filed dozens of pages with the Court regarding the validity of the claim. Plaintiffs made a

  purposeful decision to plead the PAA and cannot now, two years later, wash their hands of it and

  argue they did not mean to file the cause of action.

         What is more, counsel’s claim that they are merely correcting prior counsel’s errors is

  alarmingly misleading. Plaintiffs’ current lead counsel, the Cooper Law Firm has been named

  on the pleadings in this case since 2017. The Firm and Mr. Barry Cooper were on the Motion for

  Leave to Amend filed April 20, 2017 (Doc. No. 68) and the Amended Complaint filed April 21,

  2017 (Doc. No. 70). Federal Rule of Civil Procedure 11(c) imposes duty on any attorney, law

  firm, or party appearing on a pleading. Thus, counsel has been involved well before “early

  2018,” as they represent to the Court. Doc. No. 157-1 at 2. The Cooper Law Firm cannot

  pretend they had nothing to do with the amendment when they were on the pleading.

         Plaintiffs’ games must end. As the Court already ruled, “The Daileys cannot have their

  cake and eat it too.” Doc. No. 89 at 13.

                 B. The Plain Language of the PAA Demonstrates the Act Applies to Plaintiffs’
                    Allegations

                             i. The Act’s Plain Meaning is Clear

         The Court need not reach any analysis other than the plain meaning of the Act to find that

  Plaintiffs have artfully pleaded a PAA claim subject to determination in a federal forum. When a

  statute’s plain meaning is unambiguous, the court’s inquiry begins and ends with the text. Nat'l

  Ass'n of Mfrs. v. Dep't of Def., 138 S. Ct. 617, 631 (2018).

         As this Court has read in myriad briefing, the PAA completely preempts state law causes

  of action for injury resulting from radioactive material. Through a series of definitions, the Act

  provides the federal courts “shall have original jurisdiction” over any suit for “any occurrence”
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 786
                                                            Page:   of 15
                                                                  7 of 903PageID
                                                                           PageID#:#:2399
                                                                                      2467




  of bodily injury or property damage arising out of the hazardous properties of radioactive

  material.2 Cotroneo v. Shaw Env't & Infrastructure, Inc., 639 F.3d 186, 194 (5th Cir. 2011); 42

  U.S.C. §§ 2210(n)(2); 2014(hh), (w), (q).

          “Occurrence” is not further defined in the statute. Thus, the word must be given its

  ordinary meaning. Lawson v. FMR LLC, 571 U.S. 429, 440 (2014) (words should be interpreted

  with their ordinary meaning). “Occurrence” simply means “something that happens or takes

  place.” Black’s Law Dictionary (10th ed. 2014). Thus, a Price-Anderson claim is any happening

  that causes bodily injury or property damage due to radioactive material. Carey v. Kerr-McGee

  Chem. Corp., 60 F. Supp. 2d 800, 805 (N.D. Ill. 1999).

          The statute provides that a PAA claim “shall be removed” to the federal courts. 42 U.S.C.

  § 2014(n)(2). With that provision, Congress expressed “an unmistakable preference for a federal

  forum, at the behest of the defending party, both for litigating a Price–Anderson claim on the

  merits and for determining whether a claim falls under Price–Anderson when removal is

  contested.” El Paso Nat. Gas Co. v. Neztsosie, 526 U.S. 473, 484 (1999). In 2018, the Eighth

  Circuit in Halbrook v. Mallinckrodt, LLC, 88 F.3d 971, 977 (8th Cir. 2018) ruled Congress

  “spoke clearly” when stating that a PAA cause of action arises under federal law and creates a

  federal cause of action. Defendants adopt and incorporate their prior briefing at Doc. No. 129

  delving further into the case law.




          2
              One of the materials the Act names is “source material,” defined as “(1) uranium, thorium, or
  any other material which is determined by the Commission pursuant to the provisions of section 2091 of
  this title to be source material; or (2) ores containing one or more of the foregoing materials, in such
  concentration as the Commission may by regulation determine from time to time.” § 2014(z). The waste
  deposited at the Westlake Landfill by Cotter was subject to an AEC-issued Source Material License.
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
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                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 787
                                                            Page:   of 15
                                                                  8 of 903PageID
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                             ii. § 2014(q) Does Not Limit the Act to Licensees or Indemnitees

         Defendants are mindful of the Court’s ruling in Kitchin, et al. v. Bridgeton Landfill, LLC,

  et al., Case No. 4:18-cv-00672, in which the Court relied on § 2014(q)’s reference to 42 U.S.C. §

  2210(c) and (d). Sections 2210(c) and (d) govern indemnification of NRC licensees and

  Department of Energy contractors. The clauses referring to § 2210(c) and (d) are not meant to

  narrow the entire definition of “nuclear incident.” Rather, they are guidance for how to read and

  apply “nuclear incident” in certain specified sections or circumstances. Each clause begins with

  “And provided further, That as the term is used in [§ 2210 (c) and (d)], it shall include…” 42

  U.S.C. § 2014(q) (emphasis in original). By beginning the phrase with “as the term is used in”

  and then augmenting the definitions to “nuclear incident,” Congress indicated it was not

  attempting to constrain the overall definition when the phrase is used in other portions of the

  PAA. See TRW Inc. v. Andrews, 534 U.S. 19, 31 (2001) (statute must be construed so no clause,

  sentence, or word is superfluous, void, or insignificant). The whole should not limited by the

  part. Rather, the Eighth Circuit’s determination that “Congress spoke clearly” in making a PAA

  claim a federal cause of action should be followed. See Halbrook, 88 F.3d at 977.

         Multiple courts have held the statute is not limited to licensees or indemnification

  agreements. Estate of Ware, 871 F.3d 284; Acuna v. Brown & Root Inc., 200 F.3d 335, 339 (5th

  Cir. 2000); Cotromano v. United Techs. Corp., 7 F. Supp. 3d 1253, 1259 (S.D. Fla. 2014);

  Carey, 60 F. Supp. 2d at 806; O'Conner v. Commonwealth Edison Co., 807 F. Supp. 1376, 1378.

  (C.D. Ill. 1992), aff'd, 13 F.3d 1090 (7th Cir. 1994).

                            iii. Prior Eastern District of Missouri Cases Are Not Persuasive

         Much ado has been made of Banks v. Cotter Corp., No. 4:18-CV-00624 JAR, 2019 WL

  1426259 (E.D. Mo. Mar. 29, 2019) and Strong, et al. v. Republic Servs., Inc., et al., 283 F. Supp.


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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
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                                     160Filed: 01/28/22
                                           Filed: 05/20/19Page: 788
                                                            Page:   of 15
                                                                  9 of 903PageID
                                                                           PageID#:#:2401
                                                                                      2469




  3d 759 (E.D. Mo. 2017). Notably, Strong did not conclude that a license or indemnification

  agreement is necessary; rather it believed there was case law on both sides and chose to apply a

  presumption in favor of remand. 283 F. Supp. 3d at 772.

          Strong, on which Banks relies, centered its ruling largely on a Magistrate Judge’s twenty-

  one-year-old ruling that has been overturned in its own Circuit. Gilberg v. Stephan Co., 24 F.

  Supp. 325 (D.N.J. 1998) mistakenly limited the PAA definitions by ignoring the sweeping 1988

  amendments to the Act after Three Mile Island and held an indemnification agreement was a

  jurisdictional requirement. The Third Circuit in Estate of Ware, 871 F. 3d at 283, held Gilberg

  was wrong because an indemnification agreement is not necessary “to trigger the Act’s

  applicability.” Gilberg’s holding on this point was also criticized by the Acuna, 200 F.3d at 339;

  Cotromano, 7 F. Supp. 3d at 1258; and Carey, 60 F. Supp. 3d at 806 decisions.

                              iv. This Court Has Already Found Plaintiffs’ Allegations Are
                                  Preempted by the PAA

          Plaintiffs have, in fact, alleged a Price-Anderson Act claim in the proposed amendment.

  Attempts to disguise the claims as state-law claims are impermissible under the artful pleading

  doctrine. “A plaintiff may not avoid federal jurisdiction by omitting from the complaint federal

  law essential to his or her claim or by casting in state terms a claim that can be made only under

  federal law.” Franchise Tax Bd. v. Construction Laborers, 463 U.S. 1, 22 (1983).

          The state claims suggested now are no different than those in the prior pleading which the

  Court has found were preempted by the PAA. 3 The proposed second amendment and the

  Amended Complaint both claim injuries for bodily and property damage based on the hazardous

  properties of radioactive material that were subject to Cotter’s Source Material License and


          3
          The proposed amendment also misleadingly continues to selectively quote from Adams.
  Defendants adopt and incorporate their prior arguments regarding Plaintiffs’ tactic at Doc. No. 129.
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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    160 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:789
                                                                10 of
                                                                   of 903 PageID#:#:2402
                                                                      15 PageID      2470




 deposited in the Landfill. The only substantive difference between the two pleadings is

 Plaintiffs’ addition of the inaccurate allegation that the waste at issue is “mill tailings.” This

 claim is untrue and cannot be given credence, as outlined further in the following section.

        Examining the facts, the Court dismissed the Amended Complaint’s state-law claims as

 preempted by the PAA. Doc. No. 89. This Court found that “undoubtedly” these allegations

 based on radioactive contamination are governed and preempted by the PAA. Doc. No. 89 at 15

 (“The Court notes that almost every paragraph of the amended complaint in these two state-law

 counts mentions the radioactive contamination….Undoubtedly, these allegations fall under the

 PAA’s definition of ‘nuclear incident…’”). Thus, the Court has already reviewed Plaintiffs’

 essential allegations and found that the very factual claims Plaintiffs now wish to replead are

 governed by the PAA.

                C. The Waste at the West Lake Landfill Is Subject To the PAA

                             i. Materials Are Not Mill Tailings

        Plaintiffs are simply wrong in alleging the radioactive materials were unlicensed mill

 tailings outside the scope of the PAA. They add these baseless allegations in a blatant attempt to

 convince the Court they should be allowed to forum shop back to Missouri state court. Yet, the

 administrative record of the federal government’s oversight of the West Lake Landfill is replete

 with statements that the Superfund site is not a uranium mill tailings site. In 2018, the

 Environmental Protection Agency stated, “The West Lake Landfill OU-1 Site is not a designated

 Title I uranium mill tailings site[.]” Exhibit 1 at 277 (EPA 2018 Amended Record of Decision

 Appendix D-1). The EPA also concludes that the Uranium Mill Tailings Radiation Control Act

 does not govern the site. Id. In their 2008 Responsiveness Summary, the EPA went on to




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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
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                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:790
                                                                11 of
                                                                   of 903 PageID#:#:2403
                                                                      15 PageID      2471




 pointedly state, “Areas 1 and 2 [of West Lake Landfill] do not resemble tailings piles or

 impoundments.” Exhibit 2 at 33-34 (EPA 2008 West Lake OU-1 Responsiveness Summary).

                            ii. PAA Applies Because Material Was Licensed by AEC as
                                Source Material

        The PAA governs source material. Source material is defined as, “(1) Uranium or

 thorium, or any combination thereof, in any physical or chemical form or (2) ores which contain

 by weight one-twentieth of one percent (0.05%) or more of: (i) Uranium, (ii) thorium or (iii) any

 combination thereof. 10 CFR 40.4; see also 42 U.S.C. § 2014(z). Uranium processing is part of

 the nuclear industry that the PAA governs. See Acuna, 200 F.3d at 340; Kerr-McGee Corp. v.

 Farley, 115 F.3d 1498. The estimated 8,700 tons of leached barium sulfate residue that Cotter

 disposed at West Lake contained an estimated 7 tons of Uranium, or 0.08%. The Atomic Energy

 Commission (AEC) issued a Source Material License to Cotter for possession of an unlimited

 amount of uranium from December 3, 1969 to December 31, 1974. Defendants received the

 AEC-licensed waste directly from trucks hired by Cotter, an AEC-licensed entity.

        It is important to understand that the Source Material License attached to the material

 itself, not to the licensee or to the location of the material (in this case, Latty Avenue). The fact

 that the AEC issued a Source Material License for these materials proves that the AEC

 understood these materials to be subject to its jurisdiction. Thus, injuries allegedly resulting

 from activities under the License, including disposal of the waste, are governed by the PAA.

        Cotter’s license also applies to Plaintiffs’ allegations because the material was subject to

 the License, i.e. the License was still attached to the material, when disposal at the West Lake

 Landfill occurred. When seeking to terminate the License, Cotter certified that the material was

 lawfully disposed. Doc. No. 129-3 (Application for Termination of Source Material License

 SUB-1022). In reliance on that representation, the government terminated the License. Doc. No.
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 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    160 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:791
                                                                12 of
                                                                   of 903 PageID#:#:2404
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 129-2 (Feingold Decl. ¶ 6, Ex. E). Thus, Cotter’s License, and the waste governed by that

 License and deposited in the West Lake Landfill, is subject to the PAA, and is the origin of

 Plaintiffs’ allegations. Attempting to plead it another way, or call it a different name does not

 circumvent PAA jurisdiction.

                            iii. Stewart Declaration is Impermissible

         Further, Plaintiffs’ inaccurate claims are founded on the impermissible Stewart

 declaration that was not filed with the Court. Plaintiffs claim that the Stewart declaration they

 intend to include is dated April 24, 2018. For the sake of efficiency and for purposes of this

 argument only, Defendants will assume it is the declaration filed on April 24, 2018 at Doc. No.

 135-3. Defendants adopt and incorporate their arguments against the declaration developed at

 Doc. No. 139.

         Defendants further state that Stewart improperly conflates the PAA and Uranium Mill

 Tailings Radiation Control Act (“UMTRCA”). As outlined supra, the West Lake Landfill is not

 a designated mill tailings site. Ex. 1 at 277. The UMTRCA definition of mill tailings does not

 apply at the West Lake Landfill. Under the plain language of the PAA, the material in the West

 Lake Landfill is source material. Stewart’s attempt to redefine the material as mill tailings

 pursuant to UMTRCA is irrelevant and misleading.

                           iv. At a Minimum, Discovery Should be Permitted Prior to a
                               Ruling

         At the least, prior to granting this Motion, the Court should allow discovery into this

 issue whether the waste is mill tailings because it is potentially critical to the future of this case.

 The parties should not be subjected to remand orders which are only rarely appealable based on

 unsupported and false allegations. Defendants should, at a minimum, be provided to the

 opportunity to prove to the Court that Plaintiffs’ allegations are merely a game to avoid federal
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                    160 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:792
                                                                13 of
                                                                   of 903 PageID#:#:2405
                                                                      15 PageID      2473




 jurisdiction. Further, Defendants deserve to be able to depose and inquire of Mr. Stewart before

 the Court unquestioningly accepts his conclusions.

   V.    The Court Should Certify Its Ruling for Interlocutory Review

         This case is a strong case for interlocutory appeal under 28 U.S.C. § 1292(b). As detailed

 here and in the multiple briefings filed before the Court, there is ample case law supporting the

 PAA’s preemptive scope. If for any reason the Court is inclined to grant leave, the decision will

 necessarily rest on a determination that Plaintiffs may pursue state law claims and forgo the PAA

 and, hence, that the PAA does not preempt state law. Thus, the decision will involve a

 controlling question of law as to which there is substantial ground for difference of opinion.

         Application of the PAA is a critical question as it determines not only the venue and

 jurisdiction but also the standard of care. See, e.g., Roberts v. Fla. Power & Light Co., 146 F.3d

 1305, 1308 (11th Cir. 1998); O’Conner v. Commonwealth Edison, 13 F.3d at 1090, 1105 (7th

 Cir. 1994); In re TMI Litig. Cases Consol. II, 940 F.2d 832, 859-60 (3d Cir. 1991); McClurg v.

 MI Holdings, Inc., 933 F. Supp. 2d 1179, 1187 (E.D. Mo. 2013); Corcoran v. New York Power

 Authority, 935 F. Supp. 376, 387 (S.D.N.Y. 1996); Carey, 60 F. Supp. 2d at 807-08.

         The scope of the PAA’s application to numerous cases in this District has repeatedly

 evaded review. See Banks v. Cotter Corp., No. 4:18-CV-00624 JAR, 2019 WL 1426259 (E.D.

 Mo. Mar. 29, 2019) (remand order); Marc Czapla, et al. v. Republic Servs., Inc., et al. E.D.Mo.

 Case No. 4:18-cv-00357-JAR Doc. No. 41 (remand order); Strong, et al. v. Republic Servs., Inc.,

 et al., 283 F. Supp. 3d 759 (E.D. Mo. 2017) (remand order). 4 Plaintiffs have stated they will


         4
           This Court in John C. Kitchin et al. v. Bridgeton Landfill, LLC, et al., Case No. 4:18-cv-00672-
 CDP, also ruled on the scope of the PAA and remanded the case. The complete remand order in that case
 is appealable under 28 U.S.C. §§ 1453(c) and 1291 because of the Class Action Fairness Act issues raised
 in that case. Defendants are filing a Petition for Permission to Appeal and a Notice of Appeal in Kitchin
 today.
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
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                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:793
                                                                14 of
                                                                   of 903 PageID#:#:2406
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 move to remand if the Court allows amendment. Doc. No. 157-1 at 1. Hence, granting leave to

 amend may set the stage for an unappealable remand order. An immediate appeal of the order

 would materially advance the litigation by providing appellate determination of the PAA’s

 scope. Allowing the Court’s order to be appealed would also help resolve the conflict between

 the Eastern District of Missouri cases and the decisions detailed above ruling regarding the

 PAA’s broad preemptive scope.

  VI.    Conclusion

         This case has proceeded for far too long to allow Plaintiffs to make an about-face and

 dismiss their PAA claim. Defendants will suffer undue prejudice if Plaintiffs are permitted to

 disavow Plaintiffs’ own admissions that the PAA applies to their factual allegations. Although

 carefully pleaded to avoid it, Plaintiffs do, in fact, make a PAA claim in the proposed

 amendment. Both this version of Plaintiffs’ litigation strategy and the prior version are the same:

 injuries allegedly caused by AEC-licensed radioactive waste deposited at the West Lake Landfill

 by an AEC-licensed entity. These facts were reviewed by the Court when it held the PAA

 preempts state law and dismissed the very claims the Plaintiffs now seek to revive. The PAA’s

 plain language also makes clear that the Act applies to Plaintiffs’ allegations because they seek

 recovery for bodily and property damage for harm from radioactive material. Plaintiffs’ attempts

 to plead that the waste at issue is “mill tailings” is an attempt to forum shop and not founded in

 truth. These ploys cannot continue unchecked by the Court. Should the Court find Plaintiffs

 may amend their pleading, it should allow the matter to be an interlocutory appeal to materially

 advance the litigation for all parties.




                                                  14
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
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                                    160 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:794
                                                                15 of
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 Dated: May 20, 2019                                  Respectfully submitted,


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                                                      ATTORNEYS FOR DEFENDANTS


                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2019, I electronically filed the foregoing document via the
 Court’s CM/ECF system, which will serve notice on all counsel of record.

                                                      /s/ William G. Beck




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  Case: 4:22-cv-00116-CDP Doc. #: 1-4 Filed: 01/28/22 Page: 795 of 903 PageID #: 2476

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                                              U.S. District Court
                                     Eastern District of Missouri (St. Louis)
                                CIVIL DOCKET FOR CASE #: 4:17-cv-00024-CDP


 Dailey et al v. Bridgeton Landfill, LLC et al                                      Date Filed: 01/06/2017
 Assigned to: District Judge Catherine D. Perry                                     Date Terminated: 03/23/2020
 Case in other court: Circuit Court St. Louis County 21st Judicial                  Jury Demand: Both
                      Circu, 16SL-CC04240                                           Nature of Suit: 890 Other Statutory Actions
 Cause: 28:1441 Petition for Removal                                                Jurisdiction: Federal Question
 Plaintiff
 Michael Dailey                                                      represented by Barry James Cooper , Jr.
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                                                                                    LEAD ATTORNEY

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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 797 of 903 PageID #: 2478
                                                                   ATTORNEY TO BE NOTICED

                                                                         Daniel T. DeFeo
                                                                         THE DEFEO LAW FIRM
                                                                         1627 Main St.
                                                                         Suite 900
                                                                         Kansas City, MO 64108
                                                                         816-581-4600
                                                                         Fax: 816-581-4646
                                                                         Email: ddefeo@defeolaw.com
                                                                         TERMINATED: 02/21/2018

                                                                         Michael G. Stag
                                                                         SMITH STAG, LLC
                                                                         365 Canal Street
                                                                         Suite 2850
                                                                         New Orleans, LA 70130
                                                                         504-593-9600
                                                                         Fax: 504-593-9601
                                                                         Email: mstag@smithstag.com
                                                                         TERMINATED: 02/21/2018

                                                                         Michaela G. Spero
                                                                         HAUSFELD LLP
                                                                         1700 K Street NW
                                                                         Suite 650
                                                                         Washington, DC 20006
                                                                         202-540-7200
                                                                         Fax: 202-540-7201
                                                                         Email: mspero@hausfeld.com
                                                                         TERMINATED: 12/22/2017

                                                                         Richard S. Lewis
                                                                         HAUSFELD LLP
                                                                         1700 K Street NW
                                                                         Suite 650
                                                                         Washington, DC 20006
                                                                         202-540-7200
                                                                         Fax: 202-540-7201
                                                                         Email: rlewis@hausfeld.com
                                                                         TERMINATED: 12/22/2017

                                                                         Steven J. Stolze
                                                                         HOLLAND LAW FIRM LLC
                                                                         300 N. Tucker Blvd.
                                                                         Suite 801
                                                                         St. Louis, MO 63101
                                                                         314-640-7550
                                                                         Fax: 314-241-5554
                                                                         Email: stevenstolze@sbcglobal.net
                                                                         TERMINATED: 02/21/2018

                                                                         Swathi Bojedla
                                                                         HAUSFELD LLP
https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                       2/24
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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
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                                                                   1700 K Street NW
                                                                   Suite 650
                                                                   Washington, DC 20006
                                                                   202-540-7200
                                                                   Fax: 202-540-7201
                                                                   Email: sbojedla@hausfeld.com
                                                                   TERMINATED: 12/22/2017

 Plaintiff
 Robbin Dailey                                                       represented by Barry James Cooper , Jr.
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Celeste Brustowicz
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Stuart H. Smith
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Victor T. Cobb
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Daniel T. DeFeo
                                                                                  (See above for address)
                                                                                  TERMINATED: 02/21/2018

                                                                                  Michael G. Stag
                                                                                  (See above for address)
                                                                                  TERMINATED: 02/21/2018

                                                                                  Michaela G. Spero
                                                                                  (See above for address)
                                                                                  TERMINATED: 12/22/2017

                                                                                  Richard S. Lewis
                                                                                  (See above for address)
                                                                                  TERMINATED: 12/22/2017

                                                                                  Steven J. Stolze
                                                                                  (See above for address)
                                                                                  TERMINATED: 02/21/2018

                                                                                  Swathi Bojedla
                                                                                  (See above for address)
                                                                                  TERMINATED: 12/22/2017


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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 799 of 903 PageID #: 2480
 V.
 Defendant
 Bridgeton Landfill, LLC                                             represented by Allyson Elisabeth Cunningham
                                                                                    LATHROP GPM LLP
                                                                                    2345 Grand Boulevard
                                                                                    Suite 2200
                                                                                    Kansas City, MO 64108
                                                                                    816-460-5116
                                                                                    Email:
                                                                                    allyson.cunningham@lathropgpm.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  LATHROP GPM LLP
                                                                                  7701 Forsyth Boulevard
                                                                                  Suite 500
                                                                                  Clayton, MO 63105
                                                                                  314-613-2500
                                                                                  Fax: 314-613-2550
                                                                                  Email: PSilva@lathropgage.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Peter F. Daniel
                                                                                  LATHROP GPM LLP
                                                                                  2345 Grand Boulevard
                                                                                  Suite 2200
                                                                                  Kansas City, MO 64108
                                                                                  816-460-5702
                                                                                  Fax: 816-292-2001
                                                                                  Email: peter.daniel@lathropgpm.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  SHOOK HARDY, LLP
                                                                                  2555 Grand Blvd.
                                                                                  Kansas City, MO 64108
                                                                                  816-559-2846
                                                                                  Fax: 816-421-5547
                                                                                  Email: rrooney@shb.com
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  LATHROP GPM LLP
                                                                                  2345 Grand Boulevard
                                                                                  Suite 2200
                                                                                  Kansas City, MO 64108
                                                                                  816-728-8061
                                                                                  Fax: 816-292-2001
                                                                                  Email: william.beck@lathropgpm.com
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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
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                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

 Defendant
 Republic Services, Inc.                                             represented by Allyson Elisabeth Cunningham
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Peter F. Daniel
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  (See above for address)
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Allied Services L.L.C.                                              represented by Allyson Elisabeth Cunningham
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Peter F. Daniel
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  (See above for address)
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 801 of 903 PageID #: 2482

 Defendant
 Rock Road Industries, Inc.                                          represented by Allyson Elisabeth Cunningham
                                                                                    (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Patricia L. Silva
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED

                                                                                  Robert G. Rooney
                                                                                  (See above for address)
                                                                                  TERMINATED: 03/18/2019
                                                                                  LEAD ATTORNEY

                                                                                  William Garland Beck
                                                                                  (See above for address)
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 Mallinckrodt LLC                                                    represented by David R. Erickson
 TERMINATED: 03/20/2018                                                             SHOOK HARDY, LLP
                                                                                    2555 Grand Blvd.
                                                                                    Kansas City, MO 64108
                                                                                    816-474-6550
                                                                                    Fax: 816-421-5547
                                                                                    Email: derickson@shb.com
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                  Steven D. Soden
                                                                                  SHOOK HARDY, LLP
                                                                                  2555 Grand Blvd.
                                                                                  Kansas City, MO 64108
                                                                                  816-474-6550
                                                                                  Fax: 816-421-5547
                                                                                  Email: ssoden@shb.com
                                                                                  LEAD ATTORNEY
                                                                                  ATTORNEY TO BE NOTICED
 Defendant
 MI Holdings Inc.                                                    represented by David R. Erickson
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED
 Defendant
 Cotter Corporation N.S.L.                                           represented by Brian O'Connor Watson
                                                                                    RILEY SAFER LLP
                                                                                    70 W. Madison

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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
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                                                                   Suite 2900
                                                                   Chicago, IL 60602
                                                                   (312) 471-8776
                                                                   Fax: (312) 471-8701
                                                                   Email: bwatson@rshc-law.com
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED

                                                                         Dale A. Guariglia
                                                                         BRYAN CAVE LLP - St Louis
                                                                         One Metropolitan Square
                                                                         211 N. Broadway
                                                                         Suite 3600
                                                                         St. Louis, MO 63102
                                                                         314-259-2606
                                                                         Fax: 314-552-8606
                                                                         Email: daguariglia@bclplaw.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         John McGahren
                                                                         MORGAN AND LEWIS, LLP
                                                                         502 Carnegie Center
                                                                         Princeton, NJ 08540-6241
                                                                         609-919-6600
                                                                         Email: jmcgahren@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Stephanie Feingold
                                                                         MORGAN AND LEWIS, LLP
                                                                         502 Carnegie Center
                                                                         Princeton, NJ 08540-6241
                                                                         609-919-6643
                                                                         Fax: 609-919-6701
                                                                         Email:
                                                                         stephanie.feingold@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Su Jin Kim
                                                                         MORGAN AND LEWIS LLP
                                                                         1701 Market Street
                                                                         Phildelphia, PA 19103
                                                                         215-963-1738
                                                                         Fax: 215-963-5001
                                                                         Email: su.kim@morganlewis.com
                                                                         LEAD ATTORNEY
                                                                         ATTORNEY TO BE NOTICED

                                                                         Erin Lynn Brooks
                                                                         BRYAN CAVE LLP - St Louis
                                                                         One Metropolitan Square
                                                                         211 N. Broadway
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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
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                                                                   Suite 3600
                                                                   St. Louis, MO 63102
                                                                   314-259-2393
                                                                   Fax: 314-259-2020
                                                                   Email: erin.brooks@bclplaw.com
                                                                   ATTORNEY TO BE NOTICED
 Defendant
 Commonwealth Edison Company                                         represented by Dale A. Guariglia
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 John McGahren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Stephanie Feingold
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Erin Lynn Brooks
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Exelon Corporation                                                  represented by Dale A. Guariglia
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED

                                                                                 John McGahren
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Stephanie Feingold
                                                                                 (See above for address)
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED

                                                                                 Erin Lynn Brooks
                                                                                 (See above for address)
                                                                                 ATTORNEY TO BE NOTICED
 Defendant
 Mallinckrodt Inc.                                                   represented by David R. Erickson
 TERMINATED: 04/21/2017                                                             (See above for address)
                                                                                    LEAD ATTORNEY
                                                                                    ATTORNEY TO BE NOTICED


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4/20/2020Case:                                     MOED01/28/22
                  4:22-cv-00116-CDP Doc. #: 1-4 Filed:  - CM/ECF (LIVE)
                                                                     Page: 804 of 903 PageID #: 2485
  Date Filed             #     Docket Text
  01/06/2017              1 NOTICE OF REMOVAL from Circuit Court for 21st Judicial Circuit, case number
                            16SL-cc04240, with receipt number 0865-5752287, in the amount of $400 Jury Demand,,
                            filed by Cotter Corporation N.S.L.. (Attachments: # 1 Civil Cover Sheet, # 2 Original
                            Filing Form, # 3 Exhibit Exhibit A, # 4 Exhibit Exhibit B, # 5 Exhibit Exhibit C, # 6
                            Exhibit Exhibit D)(Guariglia, Dale) (Attachment 1 replaced on 1/9/2017) (MFG).
                            (Entered: 01/06/2017)
  01/06/2017              2 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Cotter Corporation N.S.L.. Parent companies: General Atomics Uranium Resources,
                            LLC,. (Guariglia, Dale) (Entered: 01/06/2017)
  01/06/2017              3 NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Cotter Corporation
                            N.S.L. Sent To: Plaintiff (Guariglia, Dale) (Entered: 01/06/2017)
  01/06/2017              4 Consent to Removal by Defendant MI Holdings Inc.. (Erickson, David) (Entered:
                            01/06/2017)
  01/06/2017              5 Consent to Removal by Defendant Mallinckrodt Inc.. (Erickson, David) (Entered:
                            01/06/2017)
  01/06/2017              6 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendants
                            MI Holdings Inc., Mallinckrodt Inc.. Publicly held company: Mallinckrodt plc,.
                            (Erickson, David) (Entered: 01/06/2017)
  01/06/2017              7 Consent to Removal by Defendant Allied Services L.L.C.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017              8 Consent to Removal by Defendant Bridgeton Landfill, LLC. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017              9 Consent to Removal by Defendant Republic Services, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             10 Consent to Removal by Defendant Rock Road Industries, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             11 DEMAND for Trial by Jury by Defendants Allied Services L.L.C., Bridgeton Landfill,
                            LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William) (Entered:
                            01/06/2017)
  01/06/2017             12 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Allied Services L.L.C... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             13 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Bridgeton Landfill, LLC.. (Beck, William) (Entered: 01/06/2017)
  01/06/2017             14 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Republic Services, Inc... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             15 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Rock Road Industries, Inc... (Beck, William) (Entered: 01/06/2017)
  01/06/2017             17 Petition (Removal/Transfer) Received From: St. Louis County Circuit Court, filed by
                            Michael Dailey, Robbin Dailey.(MFG) (Entered: 01/09/2017)
  01/09/2017             16 ENTRY of Appearance by Erin Lynn Brooks for Defendant Cotter Corporation N.S.L..
                            (Brooks, Erin) (Entered: 01/09/2017)
  01/09/2017                   Case Opening Notification: All parties must file the Notice Regarding Magistrate Judge
https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                                  9/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:       MOED01/28/22
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                                                                               Page: 805 of 903 PageID #: 2486
                           Jurisdiction Form consenting to or opting out of the Magistrate Judge jurisdiction. Click
                           here for the instructions. and all non-governmental organizational parties (corporations,
                           limited liability companies, limited liability partnerships) must file Disclosure of
                           Organizational Interests Certificate (moed-0001.pdf). Judge Assigned: Honorable Shirley
                           P. Mensah. (MFG) (Entered: 01/09/2017)
  01/09/2017             18 Pursuant to Local Rule 2.08, the assigned/referred magistrate judge is designated and
                            authorized by the court to exercise full authority in this assigned/referred action or matter
                            under 28 U.S.C. Sec. 636 and 18 U.S.C Sec. 3401. (CSAW) (Entered: 01/09/2017)
  01/10/2017             19 NOTICE OF FILING NOTICE OF REMOVAL filed by Defendant Cotter Corporation
                            N.S.L. Notice of Removal Filed with State Court Sent To: State Court - Executed
                            (Attachments: # 1 Exhibit)(Brooks, Erin) (Entered: 01/10/2017)
  01/12/2017             20 NOTICE Consent to Removal: by Defendant Exelon Corporation re 1 Notice of Removal
                            Petition, (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             21 NOTICE Consent to Removal: by Defendant Commonwealth Edison Company re 1
                            Notice of Removal Petition, (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             22 CJRA ORDER (GJL). IT IS HEREBY ORDERED that the above styled case is randomly
                            reassigned from Magistrate Judge Shirley P. Mensah to District Judge Catherine D. Perry.
                            In all future documents filed with the Court, please use the following case number
                            4:16CV1407 CDP. (ARL) (Entered: 01/12/2017)
  01/12/2017             23 ENTRY of Appearance by Erin Lynn Brooks for Defendants Commonwealth Edison
                            Company, Exelon Corporation. (Brooks, Erin) (Entered: 01/12/2017)
  01/12/2017             24 ENTRY of Appearance by Dale A. Guariglia for Defendants Commonwealth Edison
                            Company, Exelon Corporation. (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             25 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Commonwealth Edison Company. Parent companies: Exelon Energy Delivery Company,
                            LLC, Subsidiaries: RITELine Illinois, LLC, Publicly held company: None,. (Guariglia,
                            Dale) (Entered: 01/12/2017)
  01/12/2017             26 DISCLOSURE OF ORGANIZATIONAL INTERESTS CERTIFICATE by Defendant
                            Exelon Corporation. Parent companies: None, Subsidiaries: None, Publicly held
                            company: None,. (Guariglia, Dale) (Entered: 01/12/2017)
  01/12/2017             27 Joint MOTION to Transfer Case to Judge Audrey G. Fleissig by Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                            Inc.. (Beck, William) (Entered: 01/12/2017)
  01/13/2017             28 MOTION to Dismiss Case and Memorandum in Support by Defendants MI Holdings
                            Inc., Mallinckrodt Inc.. (Erickson, David) (Entered: 01/13/2017)
  01/13/2017             29 ANSWER to Complaint by Allied Services L.L.C..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             30 ANSWER to Complaint by Bridgeton Landfill, LLC.(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             31 ANSWER to Complaint by Republic Services, Inc..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             32 ANSWER to Complaint by Rock Road Industries, Inc..(Beck, William) (Entered:
                            01/13/2017)
  01/13/2017             33 JOINT MOTION to Dismiss Case and Memorandum in Support by Defendants Allied
https://ecf.moed.uscourts.gov/cgi-bin/DktRpt.pl?97338149801602-L_1_0-1                                                 10/24
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                                - CM/ECF (LIVE)
                                                                             Page: 806 of 903 PageID #: 2487
                           Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services,
                           Inc., Rock Road Industries, Inc.. (Guariglia, Dale) Modified on 1/17/2017 (CBL).
                           (Entered: 01/13/2017)
  01/13/2017             34 MOTION to Dismiss Case by Defendants Commonwealth Edison Company, Exelon
                            Corporation. (Attachments: # 1 Exhibit Declaration of Scott N. Peters, # 2 Exhibit
                            Declaration of Bruce G. Wilson)(Guariglia, Dale) (Entered: 01/13/2017)
  01/17/2017             35 ENTRY of Appearance by William Garland Beck for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck,
                            William) (Entered: 01/17/2017)
  01/17/2017             36 ENTRY of Appearance by Robert G. Rooney for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Rooney,
                            Robert) (Entered: 01/17/2017)
  01/17/2017             37 ENTRY of Appearance by Allyson Elisabeth Cunningham for Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                            Inc.. (Cunningham, Allyson) (Entered: 01/17/2017)
  01/17/2017             38 ENTRY of Appearance by Patricia L. Silva for Defendants Allied Services L.L.C.,
                            Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Silva,
                            Patricia) (Entered: 01/17/2017)
  01/17/2017             39 First MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold. The Certificate of
                            Good Standing was attached.(Filing fee $100 receipt number 0865-5764575) by
                            Defendant Cotter Corporation N.S.L.. (Attachments: # 1 Certificate of Good Standing
                            Certificate for Stephanie Feingold)(Feingold, Stephanie) (Entered: 01/17/2017)
  01/17/2017             40 First MOTION for Leave to Appear Pro Hac Vice John McGahren. The Certificate of
                            Good Standing was attached.(Filing fee $100 receipt number 0865-5764681) by
                            Defendants Commonwealth Edison Company, Cotter Corporation N.S.L., Exelon
                            Corporation. (Attachments: # 1 Certificate of Good Standing Certificate for John
                            McGahren)(McGahren, John) (Entered: 01/17/2017)
  01/17/2017             41 AMENDED MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold. The
                            Certificate of Good Standing was attached.(Filing fee $100 receipt number 0865-
                            5764786) by Defendants Cotter Corporation N.S.L., Commonwealth Edison Company,
                            Exelon Corporation. (Attachments: # 1 Certificate of Good Standing Certificate for
                            Stephanie Feingold)(Feingold, Stephanie) Modified on 1/18/2017 (CBL). (Entered:
                            01/17/2017)
  01/18/2017             42 Consent MOTION for Extension of Time to File Response/Reply as to 34 MOTION to
                            Dismiss Case , 33 MOTION to Dismiss Case and Memorandum in Support, 27 Joint
                            MOTION to Transfer Case to Judge Audrey G. Fleissig, 28 MOTION to Dismiss Case
                            and Memorandum in Support by Plaintiffs Michael Dailey, Robbin Dailey. (Stolze,
                            Steven) (Entered: 01/18/2017)
  01/18/2017             43 MOTION for Leave to Appear Pro Hac Vice Richard S. Lewis. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5767364) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Lewis,
                            Richard) (Entered: 01/18/2017)
  01/19/2017             44 Docket Text ORDER: Re: [40, 41, 43] MOTIONS for Leave to Appear Pro Hac Vice
                            John McGahren, Stephanie Feingold, Richard S. Lewis: ORDERED GRANTED; 39 First
                            MOTION for Leave to Appear Pro Hac Vice Stephanie Feingold: ORDERED DENIED
                            AS MOOT; 42 Consent MOTION for Extension of Time to File Response/Reply to


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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
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                                                                           Page: 807 of 903 PageID #: 2488
                           various motions : ORDERED GRANTED.. Signed by District Judge Catherine D. Perry
                           on 1/19/17. (CDP) (Entered: 01/19/2017)
  02/03/2017             45 MOTION for Leave to Appear Pro Hac Vice Michael G. Stag. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5793529) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing #1)(Stag,
                            Michael) (Entered: 02/03/2017)
  02/03/2017             46 Docket Text ORDER: Re: 45 MOTION for Leave to Appear Pro Hac Vice Michael G.
                            Stag; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 2/3/17.
                            (CDP) (Entered: 02/03/2017)
  02/03/2017             47 Consent MOTION for Leave to File in Excess of Page Limitation by Plaintiffs Michael
                            Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 02/03/2017)
  02/06/2017             48 (MOTION WITHDRAWN PER ORDER 67 DATED 4/6/17) MOTION to Remand Case
                            to State Court by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1, #
                            2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                            Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit
                            13, # 14 Exhibit 14)(Lewis, Richard) Modified on 4/6/2017 (EAB). (Entered:
                            02/06/2017)
  02/06/2017             49 Docket Text ORDER: Re: 47 Consent MOTION for Leave to File in Excess of Page
                            Limitation; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            2/6/17. (CDP) (Entered: 02/06/2017)
  02/07/2017             50 Consent MOTION for Leave to Modify the Briefing Schedule on Defendants' Motions to
                            Dismiss by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis, Richard) (Entered:
                            02/07/2017)
  02/07/2017             51 Docket Text ORDER: Re: 50 Consent MOTION to Modify the Briefing Schedule on
                            Defendants' Motions to Dismiss; ORDERED GRANTED; responses to motions to
                            dismiss will be due 21 days after the Court rules on the Motion to Remand. Signed by
                            District Judge Catherine D. Perry on 2/7/17. (CDP) (Entered: 02/07/2017)
  02/08/2017             52 RESPONSE in Opposition re 27 Joint MOTION to Transfer Case to Judge Audrey G.
                            Fleissig filed by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis, Richard) (Entered:
                            02/08/2017)
  02/09/2017             53 First MOTION for Extension of Time to File Response/Reply as to 48 MOTION to
                            Remand Case to State Court by Defendant Cotter Corporation N.S.L.. (McGahren, John)
                            (Entered: 02/09/2017)
  02/09/2017             54 Amended MOTION for Extension of Time to File by Defendant Cotter Corporation
                            N.S.L.. (McGahren, John) (Entered: 02/09/2017)
  02/09/2017             55 Docket Text ORDER: Re: 54 Amended MOTION for Extension of Time to File respone
                            to motion to remand ; ORDERED GRANTED. Signed by District Judge Catherine D.
                            Perry on 2/9/17. (CDP) (Entered: 02/09/2017)
  02/14/2017             56 MOTION for Leave to Appear Pro Hac Vice Michaela G. Spero. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5811844) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Spero,
                            Michaela) (Entered: 02/14/2017)
  02/15/2017             57 JOINT REPLY MEMORANDUM in Support of Motion re 27 Joint MOTION to Transfer
                            Case to Judge Audrey G. Fleissig filed by Defendants Allied Services L.L.C., Bridgeton
                            Landfill, LLC, Commonwealth Edison Company, Cotter Corporation N.S.L., Exelon

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
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                                                                             Page: 808 of 903 PageID #: 2489
                           Corporation, MI Holdings Inc., Mallinckrodt Inc., Republic Services, Inc., Rock Road
                           Industries, Inc.. (Beck, William) Modified on 2/16/2017 (CBL). (Entered: 02/15/2017)
  02/16/2017             58 Docket Text ORDER: Re: 56 MOTION for Leave to Appear Pro Hac Vice Michaela G.
                            Spero by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. Signed by
                            District Judge Catherine D. Perry on 2/16/2017. (CBL) (Entered: 02/16/2017)
  02/16/2017             59 ORDER. I have fully considered the arguments raised by the parties in the motion to
                            transfer this case to another judge of this district. No party has the right to have a case
                            assigned to any particular judge of this court, and the random assignment of cases serves
                            the interests of justice. Accordingly, IT IS HEREBY ORDERED that defendants' motion
                            to transfer this case to the Honorable Audrey G. Fleissig 27 is denied. Signed by District
                            Judge Catherine D. Perry on 2/16/2017. (CBL) (Entered: 02/16/2017)
  02/21/2017             60 MOTION for Leave to Appear Pro Hac Vice Swathi Bojedla. The Certificate of Good
                            Standing was attached.(Filing fee $100 receipt number 0865-5820974) by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Bojedla,
                            Swathi) (Entered: 02/21/2017)
  02/21/2017             61 Docket Text ORDER: Re: 60 MOTION for Leave to Appear Pro Hac Vice Swathi
                            Bojedla; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            2/21/17. (CDP) (Entered: 02/21/2017)
  02/24/2017             62 Consent MOTION for Extension of Time to File Response/Reply to Defendants'
                            Response to Plaintiffs' Motion to Remand by Plaintiffs Michael Dailey, Robbin Dailey.
                            (Lewis, Richard) (Entered: 02/24/2017)
  02/24/2017             63 Docket Text ORDER: Re: 62 Consent MOTION for Extension of Time to File
                            Response/Reply ; ORDERED GRANTED. Signed by District Judge Catherine D. Perry
                            on 2/24/17. (CDP) (Entered: 02/24/2017)
  02/27/2017             64 MEMORANDUM in Opposition re 48 MOTION to Remand Case to State Court filed by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Commonwealth Edison
                            Company, Cotter Corporation N.S.L., Exelon Corporation, MI Holdings Inc.,
                            Mallinckrodt Inc., Republic Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1
                            Affidavit Declaration of Stephanie Feingold in Support of Opposition to Motion to
                            Remand, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7
                            Exhibit F, # 8 Exhibit G)(McGahren, John) (Entered: 02/27/2017)
  03/16/2017             65 REPLY to Response to Motion re 48 MOTION to Remand Case to State Court filed by
                            Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1)(Lewis, Richard)
                            (Entered: 03/16/2017)
  04/05/2017             66 MOTION to Withdraw 48 MOTION to Remand Case to State Court by Plaintiffs
                            Michael Dailey, Robbin Dailey. (Attachments: # 1 Text of Proposed Order)(Stag,
                            Michael) (Entered: 04/05/2017)
  04/06/2017             67 ORDER. IT IS HEREBY ORDERED that plaintiffs' motion to withdraw their motion to
                            remand [Doc No. 66 ] is granted. Plaintiffs have twenty-one (21) days from the date of
                            this order to file a response to the motions to dismiss. Signed by District Judge Catherine
                            D. Perry on 4/6/17. (EAB) (Entered: 04/06/2017)
  04/20/2017             68 MOTION for Leave to File Amended Complaint and Modify the Briefing Schedule for
                            Responsive Pleadings and/or Motions to Dismiss (Unopposed) by Plaintiffs Michael
                            Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1 - First Amended Complaint)(Lewis,
                            Richard) (Entered: 04/20/2017)
  04/21/2017             69 Docket Text ORDER: Re: 68 MOTION for Leave to File Amended Complaint and
                            Modify the Briefing Schedule for Responsive Pleadings and/or Motions to Dismiss
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
                                                                 - CM/ECF (LIVE)
                                                                              Page: 809 of 903 PageID #: 2490
                           (Unopposed) : ORDERED GRANTED; amended complaint deemed filed today; original
                           motions to dismiss [28, 33, 34] denied as moot without prejudice to defendants' right to
                           file motions to dismiss directed to amended complaint within 21 days. Signed by District
                           Judge Catherine D. Perry on 4/21/17. (CDP) (Entered: 04/21/2017)
  04/21/2017             70 AMENDED COMPLAINT against defendant Allied Services L.L.C., Bridgeton Landfill,
                            LLC, Cotter Corporation N.S.L., Mallinckrodt LLC, Republic Services, Inc., Rock Road
                            Industries, Inc.,Terminating MI Holdings Inc., Commonwealth Edison Company and
                            Exelon Corporation filed by Michael Dailey, Robbin Dailey.(MCB) (Entered:
                            04/24/2017)
  05/12/2017             71 MOTION to Dismiss Case, MEMORANDUM in Support and REQUEST for Oral
                            Argument by Defendant Mallinckrodt LLC. (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                            (Erickson, David) Modified on 5/15/2017 (CBL). (Entered: 05/12/2017)
  05/12/2017             72 Joint MOTION to Dismiss Case and Memorandum in Support by Defendants Allied
                            Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services,
                            Inc., Rock Road Industries, Inc.. (McGahren, John) (Entered: 05/12/2017)
  05/12/2017             73 ANSWER to 70 Amended Complaint, by Allied Services L.L.C..(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             74 ANSWER to 70 Amended Complaint, by Bridgeton Landfill, LLC.(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             75 ANSWER to 70 Amended Complaint, by Republic Services, Inc..(Beck, William)
                            (Entered: 05/12/2017)
  05/12/2017             76 ANSWER to 70 Amended Complaint, by Rock Road Industries, Inc..(Beck, William)
                            (Entered: 05/12/2017)
  05/26/2017             77 MEMORANDUM in Opposition re 72 Joint MOTION to Dismiss Case and
                            Memorandum in Support, 71 MOTION to Dismiss Case (Omnibus Opposition to Both
                            Motions to Dismiss) filed by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1
                            Exhibit A, # 2 Exhibit B)(Lewis, Richard) (Entered: 05/26/2017)
  05/31/2017             78 Consent MOTION for Extension of Time to File Response/Reply as to 77 Memorandum
                            in Opposition to Motion, and MOTION for Leave to Exceed Page Limitation by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L.,
                            Mallinckrodt LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William)
                            Modified on 6/1/2017 (CBL). (Entered: 05/31/2017)
  06/01/2017             79 Docket Text ORDER: Re: 78 Consent MOTION for Extension of Time and to exceed
                            page limits: ORDERED GRANTED. Signed by District Judge Catherine D. Perry on
                            6/1/17. (CDP) (Entered: 06/01/2017)
  06/06/2017             80 *** Incorrect PDF filed. See Document 81 REPLY to Response to Motion re 71
                            MOTION to Dismiss Case filed by Defendant Mallinckrodt Inc.. (Erickson, David)
                            Modified on 6/7/2017 (CBL). (Entered: 06/06/2017)
  06/06/2017             81 REPLY to Response to Motion re 71 MOTION to Dismiss Case (corrected filing) filed
                            by Defendant Mallinckrodt LLC. (Erickson, David) (Entered: 06/06/2017)
  06/06/2017             82 REPLY to Response to Motion re 72 Joint MOTION to Dismiss Case and Memorandum
                            in Support filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter
                            Corporation N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (McGahren,
                            John) (Entered: 06/06/2017)
  07/13/2017             83 MOTION to Consolidate Cases by Defendants Allied Services L.L.C., Bridgeton

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                               - CM/ECF (LIVE)
                                                                            Page: 810 of 903 PageID #: 2491
                           Landfill, LLC, Republic Services, Inc., Rock Road Industries, Inc.. (Beck, William)
                           (Entered: 07/13/2017)
  07/13/2017             84 MEMORANDUM in Support of Motion re 83 MOTION to Consolidate Cases filed by
                            Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.,
                            Rock Road Industries, Inc.. (Attachments: # 1 Exhibit A)(Beck, William) (Entered:
                            07/13/2017)
  07/25/2017             85 Consent MOTION for Extension of Time to File Response/Reply as to 83 MOTION to
                            Consolidate Cases by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC,
                            Republic Services, Inc., Rock Road Industries, Inc.. (Rooney, Robert) (Entered:
                            07/25/2017)
  07/25/2017             86 Docket Text ORDER: Re: 85 Consent MOTION for Extension of Time to File
                            Response/Reply as to 83 MOTION to Consolidate Cases ; ORDERED GRANTED.
                            Signed by District Judge Catherine D. Perry on 7/25/17. (CDP) (Entered: 07/25/2017)
  08/07/2017             87 REPLY to Response to Motion re 83 MOTION to Consolidate Cases filed by Defendants
                            Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road
                            Industries, Inc.. (Beck, William) (Entered: 08/07/2017)
  10/23/2017             88 Docket Text ORDER: Re: 83 MOTION to Consolidate Cases ; ORDERED DENIED as
                            moot as other case has been remanded to state court. Signed by District Judge Catherine
                            D. Perry on 10/23/17. (CDP) (Entered: 10/23/2017)
  10/27/2017             89 MEMORANDUM AND ORDER. (See Full Order.) IT IS HEREBY ORDERED that
                            defendant Mallinckrodt LLC's motion to dismiss [# 71 ] and defendants Allied Services
                            LLC, Bridgeton Landfill LLC, Cotter Corporation, Republic Services Inc., and Rock
                            Road Industries, Inc.'s motion to dismiss [# 72 ] are GRANTED in part and DENIED in
                            part. Counts II through IV of the First Amended Complaint are dismissed. Plaintiffs'
                            claims for medical monitoring and emotional distress are also dismissed. IT IS
                            FURTHER ORDERED that defendants' requests for oral argument on the motions to
                            dismiss are DENIED. This case will be set for a Rule 16 Scheduling Conference by
                            separate order. Signed by District Judge Catherine D. Perry on 10/27/2017. (CBL)
                            (Entered: 10/27/2017)
  10/27/2017             90 ORDER SETTING RULE 16 CONFERENCE. (See Full Order.) This case is assigned to
                            Track: 3 (Complex). Joint Scheduling Plan due by 12/1/2017. Rule 16 Conference set for
                            12/8/2017 09:30 AM in Chambers before District Judge Catherine D. Perry. Signed by
                            District Judge Catherine D. Perry on 10/27/2017. (CBL) (Entered: 10/27/2017)
  11/10/2017             91 ANSWER to 70 Amended Complaint, by Mallinckrodt LLC.(Erickson, David) (Entered:
                            11/10/2017)
  11/10/2017             92 ANSWER to 70 Amended Complaint, by Cotter Corporation N.S.L..(McGahren, John)
                            (Entered: 11/10/2017)
  11/28/2017             93 ORDER. IT IS HEREBY ORDERED that the Scheduling Conference pursuant to
                            Fed.R.Civ.P. 16, is reset from December 8, 2017 to Friday, December 15, 2017 at 10:30
                            a.m. in my chambers. The Joint Proposed Scheduling Plan is now due no later than
                            December 8, 2017. Signed by District Judge Catherine D. Perry on 11/28/17. (EAB)
                            (Entered: 11/28/2017)
  12/08/2017             94 JOINT SCHEDULING PLAN by Defendant Cotter Corporation N.S.L.. on behalf of all
                            parties. (McGahren, John) (Entered: 12/08/2017)
  12/11/2017             95 SUPPLEMENTAL re 94 Joint Scheduling Plan Exhibit A to Joint Scheduling Plan by
                            Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered: 12/11/2017)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                         - CM/ECF (LIVE)
                                                                      Page: 811 of 903 PageID #: 2492
  12/22/2017      96 MOTION to Withdraw as Attorney ;attorney/firm Richard S. Lewis, Michaela G. Spero,
                      Swathi Bojedla, and Hausfeld LLP by Plaintiffs Michael Dailey, Robbin Dailey. (Lewis,
                      Richard) (Entered: 12/22/2017)
  12/22/2017             97 Docket Text ORDER: Re: 96 MOTION to Withdraw as Attorney ;attorney/firm Richard
                            S. Lewis, Michaela G. Spero, Swathi Bojedla, and Hausfeld LLP by Plaintiffs Michael
                            Dailey, Robbin Dailey. (Lewis, Richard) filed by Michael Dailey, Robbin Dailey ;
                            ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 12/22/17.
                            (CDP) (Entered: 12/22/2017)
  12/22/2017             98 MOTION to Withdraw as Attorney ;attorney/firm DeFeo, Stolze, Calvert by Plaintiffs
                            Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 12/22/2017)
  12/27/2017             99 MOTION to Withdraw 98 MOTION to Withdraw as Attorney ;attorney/firm DeFeo,
                            Stolze, Calvert by Plaintiffs Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered:
                            12/27/2017)
  12/27/2017           100 Docket Text ORDER: 99 MOTION to Withdraw 98 MOTION to Withdraw as Attorney
                           by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. 98 MOTION to
                           Withdraw as Attorney Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: DENIED
                           AS MOOT. Signed by District Judge Catherine D. Perry on 12/27/2017. (CBL) (Entered:
                           12/27/2017)
  12/28/2017           101 ENTRY of Appearance by Steven D. Soden for Defendant Mallinckrodt LLC. (Soden,
                           Steven) (Entered: 12/28/2017)
  01/02/2018           102 INITIAL CASE MANAGEMENT ORDER. This case is assigned to Track: 3 (Complex).
                           Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan and the
                           Differentiated Case Management Program of the United States District Court of the
                           Eastern District of Missouri, and the Rule 16 Conference held on December 15, 2017, the
                           Court will set an initial schedule for this case to proceed as detailed herein. (See Full
                           Order.) Signed by District Judge Catherine D. Perry on 1/2/2018. (CBL) (Entered:
                           01/02/2018)
  01/12/2018           103 MOTION for Leave to Appear Pro Hac Vice Barry Cooper. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6330831) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing
                           Certificate of Good Standing (Barry J. Cooper))(Cooper, Barry) (Entered: 01/12/2018)
  01/16/2018           104 Docket Text ORDER: Re: 103 MOTION for Leave to Appear Pro Hac Vice Barry
                           Cooper by Plaintiffs Michael Dailey, Robbin Dailey. ORDERED: GRANTED. Signed by
                           District Judge Catherine D. Perry on 1/16/2018. (CBL) (Entered: 01/16/2018)
  02/08/2018           105 MOTION to Withdraw as Attorney ;attorney/firm Michael Stag/Smith Stag by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Stag, Michael) (Entered: 02/08/2018)
  02/20/2018           106 MOTION to Withdraw as Attorney ;attorney/firm DeFeo, Stolze, Calvert by Plaintiffs
                           Michael Dailey, Robbin Dailey. (DeFeo, Daniel) (Entered: 02/20/2018)
  02/21/2018           107 Docket Text ORDER: Re: [105, 106] MOTIONS to Withdraw as Attorney ;attorney/firm
                           Michael Stag/Smith Stag, attorney/firm DeFeo, Stolze, Calvert ; ORDERED GRANTED.
                           Signed by District Judge Catherine D. Perry on 2/21/18. (CDP) (Entered: 02/21/2018)
  02/21/2018           108 MOTION for Extension of: TIME ON INITIAL CASE MANAGEMENT ORDER
                           SCHEDULE and MOTION for Status Conference by Plaintiffs Michael Dailey, Robbin
                           Dailey. (Cooper, Barry). (Added MOTION for Status Conference on 2/22/2018.) (CBL).
                           (Entered: 02/21/2018)
  02/22/2018           109 AMENDED MOTION re: 108 MOTION for Extension of: TIME ON INITIAL CASE
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                               - CM/ECF (LIVE)
                                                                            Page: 812 of 903 PageID #: 2493
                           MANAGEMENT ORDER SCHEDULE and MOTION for Status Conference by
                           Plaintiffs Michael Dailey, Robbin Dailey. (Cooper, Barry) Modified on 2/23/2018 (CBL).
                           (Entered: 02/22/2018)
  02/26/2018           110 MOTION for Leave to Appear Pro Hac Vice Celeste Brustowicz. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6400783) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)
                           (Brustowicz, Celeste) (Entered: 02/26/2018)
  02/27/2018           111 ORDER. As requested by the parties, the Court will hold a telephone status conference to
                           discuss the disputes between the parties and the motion for extension of time as to the
                           Initial Case Management Order. Accordingly, IT IS HEREBY ORDERED that plaintiffs'
                           Motion for Leave to Appear Pro Hac Vice Celeste Brustowicz 110 is GRANTED. IT IS
                           FURTHER ORDERED that a telephone conference with counsel will be held on
                           Monday, March 5, 2018 at 2:00 p.m. Counsel for plaintiffs Michael and Robbin Dailey
                           will place the call and have all necessary counsel on the line before joining the
                           undersigned at (314) 244-7520. Signed by District Judge Catherine D. Perry on
                           2/27/2018. (CBL) (Entered: 02/27/2018)
  02/28/2018           112 RESPONSE to Motion re 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing, 109 MOTION to
                           Amend/Correct 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing filed by Defendants
                           Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic
                           Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1 Exhibit 1)(McGahren, John)
                           (Entered: 02/28/2018)
  03/02/2018           113 MOTION for Leave to Appear Pro Hac Vice Victor T. Cobb. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6408510) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Cobb,
                           Victor) (Entered: 03/02/2018)
  03/02/2018           114 Docket Text ORDER: Re: 113 MOTION for Leave to Appear Pro Hac Vice Victor T.
                           Cobb; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 3/2/18.
                           (CDP) (Entered: 03/02/2018)
  03/02/2018           115 REPLY to Response to Motion re 108 MOTION for Extension of: TIME ON INITIAL
                           CASE MANAGEMENT ORDER SCHEDULE MOTION for Hearing, 109 MOTION to
                           Amend/Correct 108 MOTION for Extension of: TIME ON INITIAL CASE
                           MANAGEMENT ORDER SCHEDULE MOTION for Hearing filed by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Attachment Declaration by Barry J.
                           Cooper, Jr., Esq.)(Cooper, Barry) (Entered: 03/02/2018)
  03/05/2018           116 Minute Entry for proceedings held before District Judge Catherine D. Perry: Telephone
                           Conference held on 3/5/2018. Parties present for telephone conference. Parties discuss
                           case status with the court. Certain discovery deadlines and dispositive motions deadlines
                           extended 60 days. Amended case management order to follow with complete details.
                           (Court Reporter:Gayle Madden, Gayle_Madden@moed.uscourts.gov, 314-244-7987)
                           (FTR Gold Operator initials:N/A) (FTR Gold: No) (EAB) (Entered: 03/05/2018)
  03/05/2018           117 Joint MOTION for Protective Order by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc., Rock Road Industries,
                           Inc.. (Rooney, Robert) (Entered: 03/05/2018)
  03/05/2018           118 MEMORANDUM in Support of Motion re 117 Joint MOTION for Protective Order filed
                           by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation
                           N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (Attachments: # 1 Exhibit A,

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
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                                                                             Page: 813 of 903 PageID #: 2494
                           # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Rooney, Robert) (Entered:
                           03/05/2018)
  03/06/2018           119 AMENDED CASE MANAGEMENT ORDER - IT IS HEREBY ORDERED that
                           plaintiffs' amended motion for an extension of time of initial case management order
                           schedule [#109] is GRANTED in part as follows: 1. The parties shall complete all
                           discovery related to the samples collected at Plaintiffs home and property, and the issue
                           of whether the levels of radioactive contamination are sufficient to show a PAA violation,
                           no later than May 2, 2018. 2. Any motions for summary judgment or motions for
                           judgment on the pleadings pertaining to the issue of whether plaintiffs can show levels of
                           radioactive contamination sufficient to show a violation of the PAA must be filed no later
                           than June 4, 2018. Opposition briefs shall be filed no later than thirty days after the
                           motion or July 5, 2018, whichever is earlier. Any reply brief may be filed no later than
                           ten days following the response brief or July 16, 2018, whichever is earlier. IT IS
                           FURTHER ORDERED that plaintiffs' first motion for an extension of time of initial case
                           management order schedule [#108] is DENIED as moot. All other provisions of the
                           Initial Case Management Order [ECF # 102] remain in full force and effect. Failure to
                           comply with any part of this order may result in the imposition of sanctions. ( Discovery
                           Completion due by 5/2/2018. Dispositive Motions due by 6/4/2018.) Signed by District
                           Judge Catherine D. Perry on March 6, 2018. (MCB) (Entered: 03/06/2018)
  03/16/2018           120 STIPULATION FOR DISMISSAL with Prejudice of Mallinckrodt LLC Only by
                           Defendant Mallinckrodt LLC. (Erickson, David) Modified on 3/19/2018 (CBL).
                           (Entered: 03/16/2018)
  03/20/2018           121 Docket Text ORDER: Re: 117 Joint MOTION for Protective Order ; ORDERED
                           GRANTED without objection. Signed by District Judge Catherine D. Perry on 3/20/18.
                           (CDP) (Entered: 03/20/2018)
  03/20/2018           122 Docket Text ORDER: Re: 120 STIPULATION FOR DISMISSAL with Prejudice of
                           Mallinckrodt LLC Only ; ORDERED GRANTED and plaintiffs' claims against defendant
                           Mallinckrodt, LLC are dismissed with prejudice with each side to pay its own costs.
                           Signed by District Judge Catherine D. Perry on 3/20/18. (CDP) (Entered: 03/20/2018)
  03/27/2018           123 MOTION for Leave to Amend Complaint, Remand, Stay Pending Discovery and
                           Alternatively Amend CMO by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: #
                           1 Memo in Support of Motion to Amend Complaint, Remand, Stay Pending Discovery
                           and Alternatively Amend CMO)(Brustowicz, Celeste) (Entered: 03/27/2018)
  04/02/2018           124 Joint MOTION for Extension of Time to File Response/Reply as to 123 MOTION for
                           Leave to Amend Complaint, Remand, Stay Pending Discovery and Alternatively Amend
                           CMO by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter
                           Corporation N.S.L., Republic Services, Inc., Rock Road Industries, Inc.. (Rooney,
                           Robert) (Entered: 04/02/2018)
  04/03/2018           125 Docket Text ORDER: Re: 124 Joint MOTION for Extension of Time to File
                           Response/Reply ; ORDERED GRANTED over plaintiffs' objection. Signed by District
                           Judge Catherine D. Perry on 4/3/18. (CDP) (Entered: 04/03/2018)
  04/06/2018           126 Consent MOTION for Leave to File in Excess of Page Limitation by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                           Inc.. (Rooney, Robert) (Entered: 04/06/2018)
  04/09/2018           127 Docket Text ORDER: Re: 126 Consent MOTION for Leave to File in Excess of Page
                           Limitation by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc., Rock Road Industries, Inc. ORDERED: LEAVE GRANTED. Signed by
                           District Judge Catherine D. Perry on 4/9/2018. (CBL) (Entered: 04/09/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                          - CM/ECF (LIVE)
                                                                       Page: 814 of 903 PageID #: 2495
  04/10/2018    128 MEMORANDUM in Opposition re 123 MOTION for Leave to Amend Complaint,
                      Remand, Stay Pending Discovery and Alternatively Amend CMO filed by Defendant
                      Cotter Corporation N.S.L.. (Feingold, Stephanie) (Entered: 04/10/2018)
  04/10/2018           129 RESPONSE in Opposition re 123 MOTION for Leave to Amend Complaint, Remand,
                           Stay Pending Discovery and Alternatively Amend CMO filed by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc., Rock Road Industries,
                           Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Rooney, Robert) (Entered:
                           04/10/2018)
  04/12/2018           130 MOTION for Leave to Appear Pro Hac Vice Su Jin Kim. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6481333) by Defendant
                           Cotter Corporation N.S.L.. (Attachments: # 1 Certificate of Good Standing)(Kim, Su)
                           (Entered: 04/12/2018)
  04/12/2018           131 Docket Text ORDER: Re: 130 MOTION for Leave to Appear Pro Hac Vice Su Jin Kim
                           by Defendant Cotter Corporation N.S.L. ORDERED: GRANTED. Signed by District
                           Judge Catherine D. Perry on 4/12/2018. (CBL) (Entered: 04/12/2018)
  04/16/2018           132 MOTION for Extension of: Time to File Reply to Defendants' Responses In Opposition
                           to 123 Plaintiffs' Motion for Leave to Amend Complaint to dismiss Price-Anderson Act
                           Claims and Reinstate State Law Claims, Motion to Remand, Motion to Stay Pending
                           Discovery and Alternatively Motion to Amend Case Management Order by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) Modified on 4/17/2018 (CBL).
                           (Entered: 04/16/2018)
  04/17/2018           133 AMENDED DISCLOSURE OF CORPORATE INTERESTS by Defendant Rock Road
                           Industries, Inc. . (Beck, William) Modified on 4/17/2018 (CBL). (Entered: 04/17/2018)
  04/17/2018           134 Docket Text ORDER: Re: 132 MOTION for Extension of: Time to File Reply to
                           Defendants' Responses In Opposition to 123 Plaintiffs' Motion for Leave to Amend
                           Complaint to dismiss Price-Anderson Act Claims and Reinstate State Law Claims,
                           Motion to Remand, Motion to Stay Pending Discovery and Alternatively Motion to
                           Amend Case Management Order by Plaintiffs Michael Dailey, Robbin Dailey ;
                           ORDERED Motion is GRANTED. Signed by District Judge Catherine D. Perry on April
                           17, 2018. (MCB) (Entered: 04/17/2018)
  04/24/2018           135 REPLY to Response to Motion re 123 MOTION for Leave to Amend Complaint,
                           Remand, Stay Pending Discovery and Alternatively Amend CMO filed by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit Landfill Defendants Motion to
                           Dismiss in Adams, # 2 Exhibit Deferral of regulatory oversight to US EPA, # 3 Exhibit
                           Declaration of Richard Stewart, # 4 Exhibit Ware II Petition for writ of certiorari, # 5
                           Exhibit Declaration of Stephanie Feingold, # 6 Exhibit Cotter's response to CERCLA
                           request)(Brustowicz, Celeste) (Entered: 04/24/2018)
  04/26/2018           136 Joint MOTION for Leave to File a Sur-Reply by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc..
                           (Attachments: # 1 Exhibit A, # 2 Certificate of Service)(Feingold, Stephanie) (Entered:
                           04/26/2018)
  04/27/2018           137 Docket Text ORDER: Re: 136 Joint MOTION for Leave to File a Sur-Reply by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Cotter Corporation N.S.L.,
                           Republic Services, Inc.; ORDERED GRANTED. Signed by District Judge Catherine D.
                           Perry on 4/27/18. (KXS) (Entered: 04/27/2018)
  04/27/2018           138 RESPONSE to Motion re 136 Joint MOTION for Leave to File a Sur-Reply filed by
                           Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) (Entered: 04/27/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                         - CM/ECF (LIVE)
                                                                      Page: 815 of 903 PageID #: 2496
  05/08/2018    139 SURREPLY to Motion re 123 MOTION for Leave to Amend Complaint, Remand, Stay
                      Pending Discovery and Alternatively Amend CMO filed by Defendants Allied Services
                      L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.. (Beck, William) (Entered:
                      05/08/2018)
  05/08/2018           140 ENTRY of Appearance by Peter F. Daniel for Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc.. (Daniel, Peter) (Entered: 05/08/2018)
  05/08/2018           141 SURREPLY to Motion re 123 MOTION for Leave to Amend Complaint, Remand, Stay
                           Pending Discovery and Alternatively Amend CMO filed by Defendant Cotter
                           Corporation N.S.L.. (Feingold, Stephanie) (Entered: 05/08/2018)
  05/18/2018           142 MOTION to Exclude Motion and Memorandum in Support Requesting Plaintiffs be
                           Prevented and Enjoined from using Information and Materials they Withheld Until Late
                           in the Discovery Period by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC,
                           Republic Services, Inc.. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Beck, William)
                           (Entered: 05/18/2018)
  05/25/2018           143 RESPONSE to Motion re 142 MOTION to Exclude Motion and Memorandum in Support
                           Requesting Plaintiffs be Prevented and Enjoined from using Information and Materials
                           they Withheld Until Late in the Discovery Period filed by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Brustowicz,
                           Celeste) (Entered: 05/25/2018)
  05/30/2018           144 REPLY to Response to Motion re 142 MOTION to Exclude Motion and Memorandum in
                           Support Requesting Plaintiffs be Prevented and Enjoined from using Information and
                           Materials they Withheld Until Late in the Discovery Period filed by Defendants Allied
                           Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.. (Beck, William)
                           (Entered: 05/30/2018)
  06/01/2018           145 MOTION for Extension of Time to File Dispositive Motion ;Proposed extension date
                           6/11/2018, MOTION for Leave to File in Excess of Page Limitation by Defendant Cotter
                           Corporation N.S.L.. (McGahren, John) (Entered: 06/01/2018)
  06/01/2018           146 Consent MOTION for Leave to File Excess Pages by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc.. (Silva, Patricia) (Entered: 06/01/2018)
  06/02/2018           147 MOTION for Extension of Time to File Dispositive Motion ;Proposed extension date
                           June 11, 2018 by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc.. (Beck, William) (Entered: 06/02/2018)
  06/04/2018           148 Docket Text ORDER: Re: 145 MOTION for Extension of Time to File Dispositive
                           Motion and MOTION for Leave to File in Excess of Page Limitation by Defendant Cotter
                           Corporation N.S.L.; 147 MOTION for Extension of Time to File Dispositive Motion by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.; 146
                           Consent MOTION for Leave to File Excess Pages by Defendants Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Republic Services, Inc. ; ORDERED: Motions are GRANTED. (
                           Dispositive Motions due by 6/11/2018.) Signed by District Judge Catherine D. Perry on
                           June 4, 2018. (MCB) (Entered: 06/04/2018)
  06/05/2018           149 MEMORANDUM AND ORDER - IT IS HEREBY ORDERED that plaintiffs' motion
                           for leave to amend, to remand, and to stay [#123] is GRANTED ONLY with respect to a
                           STAY of future Amended Case Management Order (ECF No. 119) deadlines, and is
                           HELD IN ABEYANCE with respect to leave to amend, remand, and alternatively,
                           amendment of the case management order. Once the Court has ruled pending motions, a
                           new schedule shall be established for this matter, if necessary. Signed by District Judge
                           Catherine D. Perry on June 5, 2018. (MCB) (Entered: 06/05/2018)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                           - CM/ECF (LIVE)
                                                                        Page: 816 of 903 PageID #: 2497
  06/06/2018    150 NOTICE of Supplemental Authority re 123 MOTION for Leave to Amend Complaint,
                      Remand, Stay Pending Discovery and Alternatively Amend CMO by Defendants Allied
                      Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc. . (Attachments: # 1
                      Exhibit A)(Daniel, Peter) (Entered: 06/06/2018)
  06/12/2018           151 ORAL MOTION for Argument by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Republic Services, Inc.. (Beck, William) (Entered: 06/12/2018)
  06/20/2018           152 MOTION for Leave to Appear Pro Hac Vice Stuart H. Smtih. The Certificate of Good
                           Standing was attached.(Filing fee $100 receipt number 0865-6600931) by Plaintiffs
                           Michael Dailey, Robbin Dailey. (Attachments: # 1 Certificate of Good Standing)(Smith,
                           Stuart) (Entered: 06/20/2018)
  06/21/2018           153 Docket Text ORDER: Re: 152 MOTION for Leave to Appear Pro Hac Vice Stuart H.
                           Smith ; ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 6/21/18.
                           (CDP) (Entered: 06/21/2018)
  03/14/2019           154 MOTION to Withdraw as Attorney by Robert G. Rooney ;attorney/firm Robert G.
                           Rooney by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic
                           Services, Inc., Rock Road Industries, Inc.. (Rooney, Robert) (Entered: 03/14/2019)
  03/18/2019           155 Docket Text ORDER: Re: 154 MOTION to Withdraw as Attorney by Robert G. Rooney
                           by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc.,
                           Rock Road Industries, Inc.; ORDERED: Motion is GRANTED. Signed by District Judge
                           Rodney W. Sippel on behalf of District Judge Catherine D. Perry on March 18, 2019.
                           (MCB) (Entered: 03/18/2019)
  04/08/2019           156 MEMORANDUM AND ORDER. (See Full Order.) IT IS HEREBY ORDERED that
                           plaintiffs' motion for leave to amend and to remand, or to amend case management order
                           123 is denied without prejudice. Defendants' motion to prevent plaintiffs from using
                           material and information 142 is denied as moot. IT IS FURTHER ORDERED that not
                           later than April 29, 2019, plaintiffs shall file either: 1) a motion to dismiss this case
                           without prejudice under Fed. R. Civ. P. 41(a)(2); or 2) a renewed motion for leave to file
                           a Second Amended Complaint, accompanied by the proposed amended complaint. The
                           Federal Rules of Civil Procedure and the Local Rules of this Court govern the time to file
                           any responses and/or replies to plaintiffs' motion. IT IS FURTHER ORDERED that
                           defendants' Motion for Oral Argument 151 is denied. The parties thus far have clearly
                           and articulately presented their respective arguments in their prepared briefs. If I
                           determine that oral argument is necessary to assist in my consideration of plaintiffs'
                           anticipated motion to dismiss or to amend, I will not hesitate to schedule a hearing. IT IS
                           FURTHER ORDERED that the case management deadlines in this case remain stayed.
                           Signed by District Judge Catherine D. Perry on 4/8/2019. (CBL) (Entered: 04/08/2019)
  04/29/2019           157 MOTION for Leave to File a 2nd Amended Complaint by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Memo in Support of Motion, # 2 Exhibit 2nd Amended
                           Complaint)(Smith, Stuart) (Entered: 04/29/2019)
  05/06/2019           158 MOTION for Extension of Time to File Response/Reply as to 157 MOTION for Leave to
                           File a 2nd Amended Complaint by Defendants Allied Services L.L.C., Bridgeton
                           Landfill, LLC, Republic Services, Inc.. (Daniel, Peter) (Entered: 05/06/2019)
  05/06/2019           159 Docket Text ORDER: Re: 158 MOTION for Extension of Time to File Response to
                           MOTION for Leave to File a 2nd Amended Complaint ; ORDERED GRANTED. Signed
                           by District Judge Catherine D. Perry on 5/6/19. (CDP) (Entered: 05/06/2019)
  05/20/2019           160 RESPONSE to Motion re 157 MOTION for Leave to File a 2nd Amended Complaint
                           filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services,

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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:     MOED01/28/22
                                                                - CM/ECF (LIVE)
                                                                             Page: 817 of 903 PageID #: 2498
                           Inc.. (Attachments: # 1 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Beck, William) (Entered:
                           05/20/2019)
  05/20/2019           161 MEMORANDUM in Opposition re 157 MOTION for Leave to File a 2nd Amended
                           Complaint Pursuant to April 8, 2019 Order filed by Defendant Cotter Corporation
                           N.S.L.. (McGahren, John) (Entered: 05/20/2019)
  05/20/2019                   NOTICE: IF YOU HAVE ALREADY UPGRADED YOUR PACER ACCOUNT YOU
                               CAN DISREGARD THIS NOTICE. IF YOU DO NOT UPGRADE YOU WILL NOT
                               BE ABLE TO FILE IN THE SYSTEM AFTER MAY 31, 2019. PLEASE UPGRADE
                               IMMEDIATELY. If you are using a shared account to file cases, you will need to create
                               an individual account; instructions can be found
                               at:https://www.moed.uscourts.gov/sites/moed/files/Register-for-New-PACER-
                               account.pdf. If you already have an individual account, it will need to be upgraded;
                               instructions can be found https://www.moed.uscourts.gov/sites/moed/files/Upgrade-
                               Current-PACER-Account.pdf. If you need further assistance contact the MOED CM/ECF
                               Help Desk at 314-244-7650 or moedml_cmecf_help@moed.uscourts.gov. (CSAW)
                               (Entered: 05/20/2019)
  05/22/2019           162 MOTION for Extension of Time to File Response/Reply as to 157 MOTION for Leave to
                           File a 2nd Amended Complaint by Plaintiffs Michael Dailey, Robbin Dailey. (Cobb,
                           Victor) (Entered: 05/22/2019)
  05/28/2019           163 Docket Text ORDER: Re: 162 MOTION for Extension of Time to File Response/Reply ;
                           ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 5/28/19. (CDP)
                           (Entered: 05/28/2019)
  06/10/2019           164 REPLY to Response to Motion re 157 MOTION for Leave to File a 2nd Amended
                           Complaint filed by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit 1
                           (Judgment denying appeal), # 2 Exhibit 2 (Silva Deposition Transcript))(Brustowicz,
                           Celeste) (Entered: 06/10/2019)
  10/22/2019           165 ORDER : IT IS HEREBY ORDERED that plaintiffs Motion for Leave to File a Second
                           Amended Complaint 157 is GRANTED, and the Clerk of Court is instructed to file and
                           docket plaintiffs Second Amended Complaint (ECF 157-2) as of todays date. IT IS
                           FURTHER ORDERED that plaintiffs shall have twenty-one (21) days from the date of
                           this Order within which to file a motion to remand, and defendants shall have fourteen
                           (14) days thereafter within which to respond. Any reply brief may be filed within seven
                           (7) days of the response. Signed by District Judge Catherine D. Perry on 10/22/2019.
                           (KCB) (Entered: 10/22/2019)
  10/22/2019           166 SECOND AMENDED COMPLAINT against defendant Allied Services L.L.C.,
                           Bridgeton Landfill, LLC, Cotter Corporation N.S.L., Republic Services, Inc., Rock Road
                           Industries, Inc., filed by Michael Dailey, Robbin Dailey.(KCB) (Entered: 10/22/2019)
  10/23/2019           167 Docket Text ORDER: Defense counsel have contacted chambers indicating uncertainty
                           about whether the Court's orders somehow meant that they were not obligated to respond
                           to the Second Amended Complaint. To clear up any confusion: Defendants must respond
                           to the Second Amended Complaint within the time set by the Federal Rules of Civil
                           Procedure. Signed by District Judge Catherine D. Perry on 10/23/19. (CDP) (Entered:
                           10/23/2019)
  11/04/2019           168 MOTION for Extension of Time to File Answer to Plaintiffs' Second Amended
                           Complaint by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/04/2019)
  11/05/2019           169 Docket Text ORDER Re: 168 MOTION for Extension of Time to File Answer to
                           Plaintiffs' Second Amended Complaint by Defendant Cotter Corporation N.S.L..
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4/20/2020Case:    4:22-cv-00116-CDP Doc. #: 1-4 Filed:   MOED01/28/22
                                                              - CM/ECF (LIVE)
                                                                           Page: 818 of 903 PageID #: 2499
                           (McGahren, John); ORDERED GRANTED. Signed by District Judge Catherine D. Perry
                           on 11/5/2019. (BRP) (Entered: 11/05/2019)
  11/05/2019           170 ANSWER to 166 Amended Complaint by Allied Services L.L.C..(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           171 ANSWER to 166 Amended Complaint by Bridgeton Landfill, LLC.(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           172 ANSWER to 166 Amended Complaint by Republic Services, Inc..(Beck, William)
                           (Entered: 11/05/2019)
  11/05/2019           173 NOTICE Exhibit 1 to Defendants' Answers to Plaintiffs' Second Amended Complaint: by
                           Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services, Inc. re
                           171 Answer to Amended Complaint, 172 Answer to Amended Complaint, 170 Answer to
                           Amended Complaint (Beck, William) (Entered: 11/05/2019)
  11/12/2019           174 MOTION to Remand Case to State Court to State Court by Plaintiffs Michael Dailey,
                           Robbin Dailey. (Attachments: # 1 Memo In Support of Motion to Remand)(Brustowicz,
                           Celeste) (Entered: 11/12/2019)
  11/12/2019           175 MOTION to Dismiss Case by Defendant Cotter Corporation N.S.L.. (McGahren, John)
                           (Entered: 11/12/2019)
  11/25/2019           176 MOTION to Stay by Plaintiffs Michael Dailey, Robbin Dailey. (Attachments: # 1 Exhibit
                           Memo in Support of Unopposed Motion to Stay)(Brustowicz, Celeste) (Entered:
                           11/25/2019)
  11/25/2019           177 MOTION for Leave to File in Excess of Page Limitation for Response to Plaintiffs'
                           Motion to Remand by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/25/2019)
  11/26/2019           178 Docket Text ORDER: Re: 177 MOTION for Leave to File in Excess of Page Limitation ;
                           ORDERED GRANTED. Signed by District Judge Catherine D. Perry on 11/26/19.
                           (CDP) (Entered: 11/26/2019)
  11/26/2019           179 Docket Text ORDER: Re: 176 MOTION to Stay : ORDERED GRANTED to the extent
                           that deadlines for briefing the motion to dismiss are stayed pending the Court's ruling on
                           the motion to remand. Signed by District Judge Catherine D. Perry on 11/26/19. (CDP)
                           (Entered: 11/26/2019)
  11/26/2019           180 MEMORANDUM in Opposition re 174 MOTION to Remand Case to State Court to
                           State Court filed by Defendant Cotter Corporation N.S.L.. (McGahren, John) (Entered:
                           11/26/2019)
  11/26/2019           181 RESPONSE to Motion re 174 MOTION to Remand Case to State Court to State Court
                           filed by Defendants Allied Services L.L.C., Bridgeton Landfill, LLC, Republic Services,
                           Inc.. (Beck, William) (Entered: 11/26/2019)
  12/02/2019           182 MOTION for Extension of Time to File Response/Reply as to 174 MOTION to Remand
                           Case to State Court to State Court, 180 Memorandum in Opposition to Motion, 181
                           Response to Motion by Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste)
                           (Entered: 12/02/2019)
  12/03/2019           183 Amended MOTION to Amend/Correct 182 MOTION for Extension of Time to File
                           Response/Reply as to 174 MOTION to Remand Case to State Court to State Court, 180
                           Memorandum in Opposition to Motion, 181 Response to Motion , MOTION for
                           Extension of Time to File Response/Reply by Plaintiffs Michael Dailey, Robbin Dailey.
                           (Brustowicz, Celeste) . (Entered: 12/03/2019)

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4/20/2020Case:
             4:22-cv-00116-CDP Doc. #: 1-4 Filed:    MOED01/28/22
                                                          - CM/ECF (LIVE)
                                                                       Page: 819 of 903 PageID #: 2500
  12/03/2019    184 Docket Text ORDER Re: 183 Amended MOTION to Amend/Correct 182 MOTION for
                      Extension of Time to File Response/Reply as to 174 MOTION to Remand Case to State
                      Court to State Court, 180 Memorandum in Opposition to Motion, 181 Response to
                      Motion , MOTION for Extension of Time to File Response/Reply by Plaintiffs Michael
                      Dailey, Robbin Dailey; OREDERED GRANTED. 182 MOTION for Extension of Time
                      to File Response/Reply as to 174 MOTION to Remand Case to State Court to State
                      Court, 180 Memorandum in Opposition to Motion, 181 Response to Motion by Plaintiffs
                      Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) filed by Michael Dailey, Robbin
                      Dailey; ORDERED DENIED AS MOOT. Signed by District Judge Catherine D. Perry on
                      12/3/2019. (BRP) Modified on 12/4/2019 (BRP). (Entered: 12/03/2019)
  12/10/2019           185 REPLY to Response to Motion re 174 MOTION to Remand Case to State Court to State
                           Court filed by Plaintiffs Michael Dailey, Robbin Dailey. (Brustowicz, Celeste) (Entered:
                           12/10/2019)
  03/23/2020           186 MEMORANDUM AND ORDER: IT IS HEREBY ORDERED that plaintiffs Michael
                           and Robbin Daileys' Motion to Remand 174 is GRANTED. IT IS FURTHER ORDERED
                           that this case is REMANDED to the Circuit Court of St. Louis County, Missouri, from
                           which it was removed. All other motions that remain pending in this action are reserved
                           for ruling by that court. Signed by District Judge Catherine D. Perry on 3/23/2020.
                           (TMT) (Entered: 03/23/2020)
  04/04/2020           187 ENTRY of Appearance by Brian O'Connor Watson for Defendant Cotter Corporation
                           N.S.L.. (Watson, Brian) (Entered: 04/04/2020)



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Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
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                                 160-2      01/28/22
                                         Filed:        Page:
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                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2715
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                          EXHIBIT 2
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Case:
Case:4:22-cv-00116-CDP
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                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8212of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2716
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                                RESPONSIVENESS SUMMARY


     This section provides the Environmental Protection Agency’s (EPA) responses to all
     public comments received on the Proposed Plan for the West Lake Landfill site (Site).
     The Proposed Plan outlined the proposed remedies for both Operable Unit 1 (OU 1) and
     OU 2. The first public comment period opened on June 14, 2006, and after several
     extensions was ended on December 29, 2006. During this period, two public meetings
     were held – the first on June 22, 2006, at the Bridgeton Community Center and the
     second on September 14, 2006, at the Bridgeton City Hall.

     In response to public comment on the levee system and flood plain issues, EPA decided
     to reopen the public comment period and hold a third public meeting. The comment
     period was reopened and the public meeting was held on March 27, 2008, at the
     Bridgeton Community Center to present more information on flood protection issues. In
     addition, more information was placed in the Administrative Record regarding these
     issues. The second comment period was closed April 9, 2008.

     Transcripts of the proceedings for all three public meetings are part of the Administrative
     Record, and copies are available at the Bridgton Trails Branch of the St. Louis County
     Library in Bridgton and at the EPA Region 7 Records Center in Kansas City, Kansas. All
     written comments received are also part of the Administrative Record.

     Pursuant to section 113(k)(2)(B)(iv) of the Comprehensive Environmental Response,
     Compensation, and Liability Act (CERCLA), 42 U.S.C. §9613(k)(2)(B)(iv), this section
     of the Record of Decision (ROD) responds to “each of the significant comments,
     criticisms, and new data submitted in written or oral presentation” to EPA regarding the
     Proposed Plan.

     EPA wishes to thank all members of the community who took the time to provide
     comments or otherwise participate in this public process. All comments received have
     been thoroughly reviewed and considered by EPA in its decision-making process. To
     minimize redundancy, many recurrent comments are addressed once with a general
     response. Many of the more rigorous or unique comment letters containing comments
     not fully addressed by the general responses have been addressed individually. In these
     cases, copies of the comment letters are attached to assist readers in following the
     responses. All significant comments or criticisms received appear to be related to the
     presence of radiologically contaminated materials at the landfill and are therefore
     considered to be comments on OU 1 which addresses the radiologically contaminated
     areas. No significant comments were received on the proposal for OU 2.




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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8223of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2717
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     General Responses

     1. Comment: Many commenters make the general claim that the radiologically
     contaminated materials disposed in Areas 1 and 2 pose a current public health risk and
     that it is unsafe to manage these materials in place.

     Response: Evaluation of the factual information does not support this claim. For toxic
     materials to pose a health risk to individuals or populations there must be human
     exposure. Exposure to toxic pollutants may occur through three primary exposure
     pathways: ingestion, inhalation, and absorption through the skin. In the case of
     radionuclides, the external (gamma) radiation pathway must also be considered. Under
     current conditions and current land uses, there are no complete pathways for significant
     exposure to the general public. The contamination that could pose an exposure concern
     is in soils and solid waste buried in the landfill. The Site is fenced and access controlled.
     There is no opportunity for members of the general public to contact materials that are
     disposed in the landfill, and there are no contaminated drinking water sources. Radon
     concentrations are elevated only in the immediate vicinity of the buried materials. There
     is little opportunity for unplanned earth moving activities in Areas 1 and 2 that might
     release fugitive dust and cause an inhalation concern. There is no opportunity to take up
     occupancy of Areas 1 and 2 where long-term exposure to radon and external gamma
     radiation might occur. As long as the Site is used in ways consistent with it being a
     landfill, there is no public health concern.

     Significant exposure to the radionuclides at the Site could occur under potential future
     circumstances if no remedial action is taken. The baseline risk assessment (BRA) looked
     at some of these potential scenarios based on reasonably anticipated land use including
     groundskeepers and other workers using Areas 1 and 2 for storage or other ancillary
     purpose. Under the assumption that radionuclides remain at or near the ground surface,
     some exposure to these workers would occur. The assessment uses standard exposure
     factors and toxicity values to estimate the health risks to these hypothetical workers.
     Exposure frequencies and routes of exposure vary depending on the nature of the job.
     Exposure duration, or the time a worker remains in the job, was assumed to be 6.6 years.
     The calculated risks are expressed in terms of increased lifetime cancer risk to the
     exposed individual. Under two of the worker scenarios examined, the calculated risks
     exceed EPA’s acceptable risk range defined as 1 X 10-4 or 1 in 10,000.

     To put some perspective on it, risks of this magnitude expressed in annual radiation dose
     to a residential receptor are in the range of 15 millirem (mrem). The average person in
     the United States receives about 360 mrem of radiation exposure per year, 82 percent of
     which is from natural sources like cosmic radiation and radon exposure. In other words,
     the potential radiation doses being addressed by this remedy are a small fraction of the
     doses people receive from normal background radiation.

     The risk calculations are used to put boundaries on the problem. The methods are
     standardized so that comparisons against the acceptable risk range and across sites can be
     made. The risk assessment contains many estimates and assumptions. Generally, very



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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8234of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2718
                                                                                 2504




     conservative assumptions are used to ensure that risks are not underestimated. Although
     not every possible exposure scenario was evaluated, the assessment does allow some
     relative judgments to be made about other hypothetical exposures. A person living as a
     resident on Area 2 for example would be at higher risk than a groundskeeper due to the
     increased exposure frequency and duration. The risk to a casual trespasser on-site would
     not be significant due to the very low frequency and duration of exposure.

     The general conclusion is that members of the general public, i.e., people who live and
     work in the vicinity of the Site, are not at risk under current conditions. There are
     potential risks to future on-site workers or others who might come in direct contact with
     the contaminated material. The potential risks are not acute and can be managed by
     preventing direct contact with the waste materials.

     2. Comment: Many commenters claim that radiological contaminants at the Site are
     migrating or will migrate to the groundwater and impact off-site water supply wells
     and/or water quality in the Missouri River.

     Response: Groundwater samples obtained from a network of on-site monitoring wells
     over a period of years have been analyzed for a wide range of chemicals including
     radionuclides, trace metals, petroleum hydrocarbons, volatile organic compounds
     (VOCs), semivolatile organic compounds (SVOCs), pesticides, and polychlorinated
     biphenyls. Surface water samples have also been analyzed In the case of radionuclides
     and metals, both filtered and unfiltered samples were analyzed and evaluated. The results
     generally show sporadic and isolated detections of a small number of contaminants at
     relatively low concentration levels. The results are not indicative of on-site contaminant
     plumes, radial migration, or other forms of contiguous groundwater contamination that
     might be attributable to the landfill units being investigated. The analytical results were
     compared to drinking water standards referred to as Maximum Contaminant Levels
     (MCLs).

     Based on frequency of detection and concentration level relative to its MCL, arsenic is
     the most noteworthy constituent found in the groundwater. However, even in the case of
     arsenic no evidence of contiguous radial migration was found, i.e., the elevated detections
     were not supported by nearby monitoring locations. Total arsenic was detected in many
     of the samples at concentrations ranging from 0.010 to 0.420 milligrams per liter (mg/l).
     Most results were nondetect or consistent with background.

     The groundwater results show no evidence of significant leaching and migration of
     radionuclides from Areas 1 and 2. The vast majority of the results are consistent with
     background concentrations. Only four wells exhibited a total radium concentration above
     the MCL of 5 picocuries per liter (pCi/l). These exceedances ranged from 5.74 pCi/l to
     6.33 pCi/l. These slight exceedances are isolated spatially. Two of the four wells with
     total radium exceedances are located in areas that are not downgradient of either
     Radiological Area 1 or Radiological Area 2. Uranium isotopes (U-238 and U-234) were
     generally detected in wells at 5 pCi/l or less. For comparison, the background level is
     about 2 pCi/l and the drinking water standard is about 20 pCi/l (converted from the



                                                 3
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8245of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2719
                                                                                 2505




     uranium MCL of 30 micrograms per liter [ug/l]). Moreover, perched water from
     locations in the waste material contained in Areas 1 and 2 was sampled and analyzed and
     elevated concentrations of radionuclides were not detected. This is the case even though
     the waste materials have been in place without a landfill cover for over 30 years. In other
     words, significant leaching and migration of radionuclides to perched water or
     groundwater have not occurred despite landfilled waste materials having been exposed to
     worst-case leaching conditions from surface water infiltration over a period of decades.

     In conclusion, the results of extensive monitoring over a period of years show that the
     radiological contaminants have not had significant impacts on shallow groundwater
     underlying Areas 1 and 2. Without significant impacts to the groundwater underlying
     and immediately downgradient of the waste material, there can be no significant impact
     to the alluvial aquifer or the Missouri River. Based on the data, it is reasonable to
     conclude that no current or potential water supplies have been affected.

     Other factors were examined to evaluate the potential for future leaching to groundwater.
     A dominant factor influencing the transport and environmental fate of contaminants is the
     sorption-desorption process. Desorption or leaching is the process whereby molecules
     attached to the solid phase (in this case soil) are mobilized into the dissolved phase in
     water. Sorption is the process by which the molecules become or remain attached to the
     solid phase (soil). Partitioning calculations presented in the Remedial Investigation (RI)
     support the conclusion that even in the absence of an infiltration barrier, e.g., landfill
     cover, impacts to groundwater over time may be low. The distribution coefficient values
     for these radionuclides are relatively high which is consistent with the tendency to remain
     in the soil or sediment phases rather than leaching to the water phase. The calculated
     radionuclide concentrations in the water phase are consistent with the groundwater
     sampling data collected during the RI.

     Also, according to the applied chemistry that is known from the reprocessing of ore
     residues, the uranium in barium sulfate is insoluble in water. That is, the uranium cannot
     be leached from the barium sulfate using water. The Mallinckrodt process used sodium
     carbonate solution to recover trace uranium from barium sulfate cake. Based on this
     information, one would not expect to find significant levels of uranium in the water at the
     Site and the groundwater data bear this out.

     However, as long as waste materials in the landfill are exposed to infiltrating surface
     water, the potential for migration to groundwater remains. To address this, the Selected
     Remedy calls for construction of a multi-layer engineered cover that meets sloping and
     permeability requirements designed to shed water and minimize the potential for water to
     infiltrate the waste material. This is the same kind of technology used successfully at
     permitted landfills. With the low leaching potential of the waste materials and an
     engineered cover in place, the probability of continued groundwater protection is very
     high.

     Groundwater protection is a principal objective of the Selected Remedy. The long-term
     groundwater monitoring program will be designed to verify over time that the remedy is



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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8256of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2720
                                                                                 2506




     protective of the groundwater. The objectives of the monitoring program are described in
     section 12 of the OU 1 ROD. The monitoring plan required as part of the remedy will
     specify sampling locations, sampling frequencies, analytical parameters, procedures, etc.
     Periodic sampling reports that include data summaries and interpretation will be
     published. After the baseline is established, trend analysis will be used to verify
     performance.

     3. Comment: Many commenters state that the Site is in a flood plain which could affect
     the integrity of the remedy and could spread contamination or impact water quality in the
     Missouri River.

     Response: Under current conditions, the Site is not located in a flood plain. The Site is
     located behind the Earth City Levee. The Earth City Levee District is protected from
     flooding of the Missouri River by a 500-year earthen levee and supporting flood control
     system. At the end of 2005, this Levee District contained 450 businesses employing
     22,800 people. At one time prior to development of the Earth City area and prior to
     construction of the landfill, the surface elevation at the northwestern half of the Site was
     below the 100-year high water level. About half of the landfill is built onto a historic or
     geomorphic flood plain.

     It is important to understand that the landfill itself has altered the topography such that
     the surface elevation of the Site is 20 to 30 feet or more above the level of the historic
     flood plain. After construction of the remedy, surface grade at the landfill will be a
     minimum of 25 feet above the flood plain. In the event that the levee is breached and
     500-year flood waters were to encroach on the business park, it would be expected to
     result in about two feet of water at the northwestern toe of the landfill. As part of the
     Selected Remedy, the landfill toe in this area will be regraded through placement of
     additional clean fill and capped with an engineered landfill cover resulting in
     approximately 100 lateral feet of additional materials between the current landfill toe and
     the toe at completion of the remedial action. Only cover material and clean fill material
     are potentially impacted by flood water. As part of the remedial design process and in
     response to public comment, flood protection measures will be evaluated during remedial
     design and appropriate bank protection methods will be used in construction of the toe
     area. Any encroaching flood water would be expected to recede with no damage to the
     landfill cover. However, in the event any damage did occur, it will be repaired in
     accordance with the operation and maintenance (O&M) plan.

     The information in the following paragraph was taken from the Earth City Levee District
     website: http://www.earthcityld.com/index.aspx

     The 1,891-acre Levee District is protected on three sides with the main levee running 2.6
     miles along the eastern bank of the Missouri River. The levee system is designed to
     exceed the 500-year flood level and ranges from 462.03 feet above mean sea level
     (ft/msl) at the south end to 459.34 ft/msl at the north end. The 500-year flood elevation
     at these locations is 459.03 ft/msl and 452.15 ft/msl, respectively. Assuming a 500-year
     flood, the Missouri River would be 3 to 7 feet below the top of the Earth City Levee.



                                                   5
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8267of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2721
                                                                                 2507




     Four major floods have occurred since the levee was completed in 1972 including the
     record level flood of August 1993 when the Missouri River crested at 14.6 feet above
     flood stage and remained above flood level for about 110 days. The flood control system
     functioned successfully in each case.

     For more information on this subject, see the attached technical memorandum developed
     in response to congressional inquiry on the levee systems and flood plain issues as they
     relate to the Site.

     4. Comment: Some commenters questioned whether EPA considered what impact an
     earthquake might have on the remedy.

     Response: The Site is in St. Louis County which is located within the New Madrid
     seismic zone. According to the Mercalli Intensity Scale, a major earthquake (magnitude
     7.0 to 7.9) in the New Madrid seismic zone affecting St. Louis County could in some
     locations cause severe damage to poorly built structures, cause partial collapse of
     ordinary substantial buildings, and shift houses on their foundations. Tall structures such
     as towers and chimneys might twist and fall. Damage to structures built to withstand
     earthquakes would be slight.

     Because the Site is in a seismic zone, the remedy design will include an evaluation of
     potential seismic effects. The design will look at estimated horizontal acceleration of the
     earth materials at the Site in the event of a major earthquake and identify appropriate
     engineering characteristics for the materials and structural components.

     Observational data on the performance of solid waste landfills during major earthquakes
     indicate that these structures are not particularly susceptible to earthquake-induced
     damage. Moreover, the Site cover is expected to be constructed entirely of earthen
     materials and will not contain synthetic membranes that might slip or be damaged during
     a seismic event. Also, there are no subsurface drainage systems or other buried structures
     that could be damaged. However, in the event the Site remedy is subjected to a major
     earthquake, the potential for damage exists, e.g., settlement or slumping of cover
     materials. In the event the cover system is damaged, appropriate repairs would be made
     in accordance with approved O&M plans required as part of the remedy. It should be
     understood that any potential earthquake-induced damage to the landfill cover will not
     result in a significant public health threat because the materials in the landfill will still not
     be accessible to the general public and the solubility of the contaminants would not be
     affected.

     The alluvial materials on which the landfill is built are not the type that is vulnerable to
     earthquake liquefaction. Liquefaction occurs in loose, fine-grained materials that are
     saturated with water. When shaken by an earthquake, these loose sediments can lose
     their strength and behave like a liquid. The most vulnerable areas, like the San Francisco
     Bay region, are areas that used to be bay or marshland before being filled with pumped or
     dredged material. By contrast, the Site is built over compact sand and gravels at the




                                                    6
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Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8278of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2722
                                                                                 2508




     margin of the alluvium. These materials possess much greater frictional strength than the
     fine-grained materials that are vulnerable to liquefaction.

     5. Comment: Many commenters questioned whether capping alone with no liner is
     sufficient to isolate the contamination from the environment.

     Response: Capping through the use of engineered covers is a mature and routinely
     applied technology that forms a barrier between the contaminated media and the surface,
     thereby shielding humans and the environment from the contaminants and from the
     effects of radiation. Capping is the approach used at uranium mill tailing sites for
     example. The cap is designed to be sufficiently thick and impermeable to isolate the
     waste and restrict surface water infiltration into the subsurface. When the waste is above
     the water table, as in the case of the radiologically contaminated material at the Site, a
     properly designed cap can prevent the percolation of water from the surface to the
     underlying contaminated materials. The cap will be extended beyond the perimeter of the
     contaminated area and include side slopes to prevent any lateral infiltration. It is
     important to understand that it is the cover, not a liner, which prevents surface water from
     contacting the waste material.

     6. Comment: Many commenters expressed concern about the ability to assure
     protectiveness over the long term, particularly given the long-lived nature of the
     radionuclides at the Site.

     Response: In cases where the remedy results in hazardous substances remaining on-site,
     CERCLA requires ongoing forms of surveillance, monitoring, maintenance, institutional
     control, etc. The expectation is that this will continue for as long as the hazardous
     substances remain. In these cases, the monitoring period will extend beyond the
     foreseeable future. The challenge is no greater at the Site than it is at various Superfund
     sites or other waste sites where long-lived radionuclides, heavy metals, or other
     nondegradable waste materials will be permanently disposed or managed in place. If the
     wastes in the Site were moved to another landfill, the location would change but the
     ongoing stewardship requirements would remain the same.

     The first objective is to make sure the engineering measures are designed for longevity.
     Most of the engineering measures used at the Site will continue to be effective even in the
     event that institutional control becomes ineffective. The conceptual design of the landfill
     cover identified in the Selected Remedy relies on natural materials rather than synthetics.
     Synthetic materials like flexible membrane liners tend to degrade over time; whereas
     natural materials such as rock, clay, and soil should remain effective for vastly longer
     periods. The thickness and properties of the materials used will be more than sufficient
     to shield any future users of the Site from any increased gamma exposure, and the
     materials will act as a barrier to radon gas emissions. The cover will also incorporate a
     layer of rock or concrete rubble. This feature will enhance longevity by inhibiting the
     potential for intrusion into the landfill and limiting the potential damage that could be
     done by erosion. The shallow sloping requirements for this cover will also help to
     minimize the potential for erosion and enhance longevity. Thus, the landfill cover will



                                                  7
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case:4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc.#:
                             #: 1-4  Filed:
                                 160-2      01/28/22
                                         Filed:        Page:
                                                05/20/19     8289of
                                                         Page:    of903 PageID#:
                                                                     58 PageID #:2723
                                                                                 2509




     prevent potential exposures and will remain effective for as long as the cover materials
     are left in place.

     The second objective is to make the long-term Site management plans as robust as
     possible. Long-term O&M plans will establish requirements for long-term groundwater
     monitoring, institutional control implementation and assurance, periodic inspection,
     maintenance, and community involvement. These plans will be approved by EPA and
     made available to the public. The institutional control strategy will use redundant
     mechanisms and employ enforceable proprietary controls that run with the land.

     Finally, CERCLA and the National Oil and Hazardous Substances Pollution Contingency
     Plan (NCP) require that periodic reviews, referred to as Five-Year Reviews, be
     conducted. At least every five years, a review will be performed to evaluate the remedy
     to assure it remains protective and is performing as expected. In the event the remedy is
     not protective or is not performing as expected, these findings will be presented in the
     Five-Year Review Report and corrective measures will be required to be undertaken.
     The Five-Year Review Report will also describe maintenance issues, recommended
     optimizations, identify new requirements, etc. This process also provides for community
     involvement.

     7. Comment: Many commenters refer to the radiological material in the landfill as
     being particularly dangerous because it comes from the extremely hot Belgian Congo ore.

     Response: It should be clarified that there are actually no feed materials (ore or ore
     concentrates) in the landfill and there is no raw Belgian Congo pitchblende in the waste
     materials. The radiologically contaminated material in the landfill is soil blended with
     residues that were the byproduct of processing the ore for its uranium content. Certainly,
     the most reliable way to ascertain the composition of the waste material in the landfill is
     through direct measurement. Therefore, as part of the RI, extensive field study was
     performed on the landfill and the waste materials including overland gamma surveys,
     surface and subsurface sampling through an extensive boring program, downhole
     radiological logging, radon flux measurements, perched water and landfill gas sampling,
     surface water and sediment investigation, etc. The data provide the primary basis for the
     technical judgments that have been made in the EPA decision-making process.

     However, there is clearly a great interest in the origins of the material, and there appears
     to be a general lack of clarity on the subject. This response is designed to summarize
     what is known on the origins of the material based on documents kept by the various
     federal agencies and programs and other parties involved. Under contracts with the
     Manhattan Engineering District (MED) and the Atom Energy Commission (AEC),
     Mallinckrodt Chemical Works processed uranium feed materials for production of
     uranium metal from 1942 to 1957. The processing occurred at the location of the
     Mallinckrodt plant in downtown St. Louis. Feed materials included uranium black oxide,
     uranium ores, and concentrates. In 1944, pitchblende ore from the Shinkolobwe Mine in
     the Belgian Congo was processed. The Shinkolobwe ore is noted for its extremely high




                                                  8
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 829
                                                         Page: 10ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2510
                                                                                   2724



     concentrations of uranium (30 to 65 percent by weight). The plant also processed some
     domestic ores which were much less concentrated (< 1 percent uranium).

     The first two steps of the process performed by Mallinckrodt involved digestion of the
     feed materials in acid and adjustment of the resulting solution. The uranium remained in
     solution as uranyl nitrate while the other constituents of the feed material were
     precipitated out as solids and removed. A condition placed on the Belgian Congo ore by
     the supplier required that radium, radium daughters, lead, and other valuable metals be
     extracted, stored, and returned to the supplier. Therefore, the Mallinckrodt process
     included steps to extract these materials as a separate residue apart from the bulk of the
     ore residue. The separated radium- and lead-bearing residue was known as K-65 residue.

     In 1946, AEC acquired a 21.7-acre tract of land in a then undeveloped area of north St.
     Louis County to store byproducts and scrap from the uranium processing at the
     downtown plant. This tract of land is now known as the St. Louis Airport Site (SLAPS),
     which is part of the St. Louis Formerly Utilized Sites Remedial Action Program
     (FUSRAP) managed by the U.S. Army Corps of Engineers, St. Louis District. The
     radium-bearing K-65 residues were stored in drums at the airport site from 1946 to 1948.
     All the K-65 residues were eventually transferred to federal facilities in Lake Ontario,
     New York, and Fernald, Ohio, in 1948 and 1949. There are no K-65 residues at the West
     Lake Site.

     Other residues and scrap from the uranium processing were stored on the ground at the
     airport site. Ultimately the airport residues were offered for public sale in June of 1960.
     According to the Request for Proposal issued by AEC, the intent was to offer the
     purchaser the opportunity to recover valuable metals including copper, nickel, and cobalt.
     The following residues were included in the offer:

        •   AM-7 pitchblende raffinate cake – This solid residue consisted of various metal
            hydroxides. The approximate gross weight of this material was estimated to be
            74,000 tons containing about 113 tons of uranium.
        •   AM-10 or Colorado raffinate cake – This solid residue consisted of various metal
            hydroxides. The material had an estimated gross weight of 32,500 tons
            containing an estimated 48 tons of uranium.
        •   AJ-4 barium sulfate cake (unleached) – The barium sulfate solids contained the
            remaining traces of radium and lead sulfates that were not removed as K-65
            residue. There was an estimated 1,500 tons of this material containing
            approximately 22 tons of uranium.
        •   AJ-4 barium sulfate cake (leached) – This residue resulted from leaching the
            barium sulfate cake with sodium carbonate solution so that as much of the
            remaining traces of uranium as was feasible was recovered. There was an
            estimated 8,700 tons of this material containing approximately 7 tons of uranium.




                                                  9
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 830
                                                         Page: 11ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2511
                                                                                   2725



     Eventually, all of these residues were purchased by a private company and subsequently
     moved to a nearby location on Latty Avenue. All of the residues were ultimately shipped
     to Canon City, Colorado, for reprocessing except for the 8,700 tons of leached AJ-4
     barium sulfate cake which had such low concentrations of uranium that it was considered
     commercially impractical to further process this material for its uranium content. The
     leached barium sulfate cake was reportedly mixed with 39,000 tons of soil and
     transported to the Site for use as daily and intermediate cover in the solid waste landfill
     operation.

     While the Belgian Congo pitchblende ore concentrates and the radium-bearing K-65
     residue might be described as extremely hot due to the high radium content, it is not
     accurate to refer to the leached barium sulfate cake, which is the material in Areas 1 and
     2, as extremely hot or extremely dangerous. The unleached barium sulfate cake
     contained about 4 X 10-9 grams of radium per gram of residue (0.0000004 percent) and
     about 0.1 percent uranium. After leaching, the residue contained even less of these
     constituents. The material was then blended with soil at approximately 5 to 1 before
     being put in the landfill. An approximate average uranium weight percentage of the soil
     mixture calculates at about 0.015 percent or an order of magnitude less than a common
     low-grade ore body. Analytical results from samples collected during the RI are
     consistent with these conclusions.

     8. Comment: Polonium-210 has been in the news because it was believed to have been
     used to poison the former Russian intelligence officer, Alexander Litvinenko. Some
     commenters claim the presence of polonium-210 in the landfill material is of particular
     concern for public safety due to its highly radioactive nature.

     Response: All of the radionuclides in the waste materials have been considered in the
     evaluation of this Site. The wastes contain naturally occurring uranium-238, thorium-
     232, uranium-235, and all the associated daughters in these decay series. For purposes of
     site characterization, the radionuclides with relatively long half lives are used as
     indicators for all members of their associated decay chains. Consistent with established
     practice, the occurrences of the short-lived daughters were inferred from the
     concentrations of these long-lived indicators.

     Polonium-210 is one of the short-lived daughters of uranium-238. Like uranium-238,
     polonium-210 occurs naturally in the environment and can be found almost everywhere
     in soil, rock, rivers, and oceans. In fact, we all have low concentrations of polonium-210
     in our bodies. Unlike uranium-238, however, polonium-210 is very radioactive
     compared to the same mass of uranium and has a correspondingly short half life of 138
     days (meaning its activity will reduce by half every 138 days). For a given sample of
     material in secular equilibrium, the activity of each radionuclide in the decay series will
     equal the activity of every other radionuclide in the series. Therefore, the activity
     concentration of polonium-210 will equal the activity concentration of its long-lived
     progenitors, e.g., radium-226, but its relative mass concentration will be extremely small.




                                                 10
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 831
                                                         Page: 12ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2512
                                                                                   2726



     The polonium-210 in the radiologically contaminated soils in the Site is in equilibrium
     with radium-226 and they have equal activity concentrations. For site characterization
     purposes, sampling and analysis measures the long-lived radionuclides in the decay series
     and the occurrence of the short-lived daughters such as polonium-210 is inferred. The
     risk assessment methodology is designed to account for dose contributions from all
     radionuclides in the decay chain.

     Polonium-210 is an intense alpha emitter but because alpha particles cannot penetrate
     skin, it poses no external hazard. It must be either ingested or inhaled for it to be a
     potential hazard. Polonium-210 is a radon daughter and contributes to the inhalation
     hazard associated with prolonged radon exposure and cigarette smoking.

     Lethal doses of polonium-210, such as implicated in the poisoning of Alexander
     Litvinenko, would require a nuclear reactor to produce and any significant amounts
     would not persist over long periods of time because of its very short half life.

     As was explained in a prior response, toxic materials present a potential health concern
     only in the event people are exposed to the material. The Selected Remedy is the best
     option for ensuring that no human exposure occurs.

     9. Comment: A few commenters make reference to the 1988 report by the Nuclear
     Regulatory Commission (NRC) which contains a conclusion that on-site disposal would
     likely require that the material be placed in a disposal cell.

     Response: The 1988 NRC report (NUREG-1308, Rev. 1) examines the applicability of
     the 1981 NRC Branch Technical Position (BTP). The NRC’s BTP was established prior
     to the implementation of the revised NRC standards for protection against radiation (10
     CFR 20) in 1996 and was intended to provide options for license termination under
     restricted conditions at uranium and thorium processing facilities. The BTP prescribed
     five acceptable options for disposal or on-site storage of materials containing low levels
     of uranium and thorium. Options 1 through 4 range from conditions requiring no use
     restrictions to conditions of on-site burial with land-use restrictions and institutional
     control. The appropriate option depended on the concentrations of radionuclides present.
     If concentrations exceeded those permitted under Option 4, the materials were to be
     stored on-site pending the availability of an appropriate disposal option.

     The NRC concluded in the 1988 report that the future concentrations of Ra-226 would
     exceed the Option 4 criteria and therefore “…onsite disposal, if possible, will likely
     require moving the material to a carefully designed and constructed ‘disposal cell.’”
     Construction of an on-site disposal cell is not one of the options provided for in the BTP,
     and the report does not describe the rationale that led to this conclusion. A reasonable
     interpretation is that the Site presented circumstances very different from the
     circumstances anticipated in the NRC’s BTP. The BTP was intended to address residual
     contamination in soils and waste materials at uranium and thorium processing facilities.
     The BTP lacks any reasonable option for residual contamination that is mixed with large
     volumes of heterogeneous municipal refuse in an existing landfill.



                                                 11
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 832
                                                         Page: 13ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2513
                                                                                   2727




     The 1988 NRC report was based on very limited field investigations. No comprehensive
     groundwater investigation had been performed. As the NRC explained in the report, its
     conclusions are preliminary and field investigations must be performed to resolve major
     questions and allow proper evaluation of remedial alternatives. The necessary work to
     support the Selected Remedy has since been conducted through the Superfund RI and
     Feasibility Study (FS) process.

     Note that the NRC’s decommissioning rules and associated guidelines have undergone
     substantial changes since the 1981 BTP. The NRC decommissioning standards are
     mainly codified in 10 CFR Part 20, Subpart E, and provide radiological dose limits for
     termination of licenses. The standards apply to facilities decommissioned under 10 CFR
     Part 30 which governs byproduct materials, Part 40 which governs source material, and
     Part 70 which governs special nuclear material. The decommissioning standards
     establish criteria for license termination with unrestricted use, termination under
     restricted-use conditions, and allow the submission of alternative criteria for license
     termination.

     The NRC criteria for operation of uranium mills (Appendix A to Part 40) are the most
     relevant to the conditions present at the Site. These criteria are derived from standards
     set by EPA under the Uranium Mill Tailings Radiation Control Act of 1978 (UMTRCA).
     UMTRCA directed EPA to set standards to govern the stabilization, disposal, and control
     of uranium and thorium mill tailings. These standards were promulgated in 40 CFR Part
     192. The Selected Remedy will meet relevant and appropriate standards from 40 CFR
     192. See section 12 of the OU 1 ROD for a description of these requirements.

     10. Comment: A number of commenters are concerned about radon releases and the
     effectiveness of landfill caps or clay liners in containing radon releases.

     Response: First of all, it should be clarified that any release or potential release of radon
     from the radiologically contaminated disposal areas (Areas 1 and 2) is only an exposure
     concern for someone who occupies the surface of Areas 1 and 2 and the immediate
     vicinity. The average radon flux from the Site under current conditions with no landfill
     cap in place at Areas 1 and 2 is already less than the standard that is considered safe for
     tailings piles at uranium mill tailing sites. The net contribution of radon to the ambient
     air from the Site is very small and would not be detectable at off-site locations. Even if
     left in its current condition, radon from the Site will not pose any sort of threat to the air
     in the St. Louis region and beyond as some commenters claim.

     Multi-layer, natural material cover systems are effectively designed and engineered to
     mitigate the release of radon gas, minimize water infiltration, and remain effective for
     long periods of time. When caps are used to contain radium-contaminated wastes, they
     are typically designed to confine gaseous radon until it has essentially decayed. Such
     systems are used to contain long-lived radionulides at large uranium mill tailing sites
     where radon generation is a larger problem than at the Site due to the vast amounts of
     tailings involved. Since radon decays rather rapidly (Ra-222 has a half life of 3.8 days),



                                                   12
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 833
                                                         Page: 14ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2514
                                                                                   2728



     vertically migrating gas only needs to be detained for a relatively short period of time for
     the radon to decay. The typical depth of a natural materials cover necessary to
     accomplish this is about five feet for radon-222. When the remedy is implemented, it
     will be designed so that radon measurements at the surface of the cap should be
     indistinguishable from background.

     11. Comment: Many commenters refer to the illegal dumping of the radiological
     material at the landfill.

     Response: We assume this refers to conclusions reached by AEC inspectors in 1974
     who judged that the licensee had acted improperly by mixing the barium sulfate residues
     with soil to achieve uranium concentrations (less than 0.05 percent) which would
     otherwise have made the material exempt from licensed disposal. Mixing with clean
     material to achieve this condition was not considered permissible. Follow-up inspections
     of the Site by the NRC in 1976 found no potential for significant radiological hazards to
     the public under the then current circumstances. They did caution that indoor radon
     could be an issue if structures were to be built on-site. (NRC Office of Inspection and
     Enforcement Region III, Investigation Report No. 76-01)

     Nonetheless, regardless of whether the activity that caused the release was legal or illegal
     at the time it took place, CERCLA or Superfund gives EPA the authority to respond to
     releases of hazardous substances from a facility into the environment. Further, EPA has
     the statutory authority to respond to a release or to enter into settlement agreements with
     Potentially Responsible Parties (PRPs) requiring them to respond to the release; in many
     cases, this authority is used to address contamination resulting from old, uncontrolled, or
     abandoned waste sites. The stated purpose of CERCLA as indicated in the legislative
     history is to establish a comprehensive response and financing mechanism to abate and
     control the vast problems associated with abandoned or inactive hazardous waste sites.
     The NCP which can be found at 40 CFR Part 300, provides a regulatory framework for
     implementing the goals of CERCLA. The NCP provides specific decision-making
     criteria for reaching a ROD using those evaluation criteria. The legality of any historic
     activities that may have lead to the problem has no bearing on the decision-making
     process and it is not material to selecting the optimal remedial approach.

     12. Comment: Some commenters question why the Site contamination should be
     managed in place while similar contamination at the nearby North St. Louis County
     FUSRAP sites is being excavated and shipped for commercial disposal.

     Response: The differences in the remedies selected for each site are a function of the
     differing site-specific circumstances; the differences cannot be attributed to the fact that
     one site is FUSRAP and the other is not. The AEC established FUSRAP in March 1974
     under the authority of the Atomic Energy Act (AEA) of 1954 to identify, investigate, and
     take appropriate cleanup action at sites where work was performed in support of MED
     and early AEC programs. FUSRAP provides for federal funding to designated sites. It is
     CERCLA, however, that provides the response authority and governs the decision-
     making process at both North St. Louis County FUSRAP sites and the West Lake Site.



                                                  13
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 834
                                                         Page: 15ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2515
                                                                                   2729




     In the case of the North St. Louis County sites, the contaminated media is generally
     surface soils. The contaminated soil is or was widely distributed across approximately 80
     properties including SLAPS, owned by the city of St. Louis, and a variety of properties
     used for a variety of purposes, e.g., commercial, light industrial, recreational, open fields,
     and transportation facilities. The mostly private properties are criss-crossed with public
     roadways, railroads, and utility right-of-ways. The majority of these soils are accessible
     to the public. The contaminated soil is located in places where workers or members of
     the public might reasonably be expected to come into contact with it. Moreover, many of
     these properties are being used or could be used in ways that are incompatible with
     leaving the soil in place. These considerations were factored into the remedy which calls
     for the accessible contaminated soils to be excavated and shipped for commercial
     disposal.

     A subset of the St. Louis FUSRAP contaminated soils, referred to as the inaccessible
     soils, are located under roads, active rail lines, buildings, and other permanent structures.
     There are over 69,000 cubic yards of contaminated soils in this category. The
     inaccessible soils do not pose an exposure concern as long as the road or other permanent
     structure remains in place. The Selected Remedy for the inaccessible soils at the
     North St. Louis County North FUSRAP sites is to manage these in place using
     institutional controls.

     In contrast to the situation in North St. Louis County, the West Lake Site has been a
     landfill site since the early 1950s and will remain a dedicated landfill site into the future.
     The radiological contamination is disposed with other wastes in the landfill. The current
     use and the reasonably anticipated future use of the Site is as a landfill. In short, waste
     disposal is consistent with current and future land use at the West Lake Site; such is not
     the case for the St. Louis sites. Accordingly, land use at the Site is restricted through
     covenants recorded by the property owners; the restrictions cannot be terminated without
     the written approval of both the Missouri Department of Natural Resources (MDNR) and
     EPA. In addition, more comprehensive land-use restrictions are required as part of the
     Selected Remedy. If there is an analogy to be drawn with the St. Louis FUSRAP, it is
     with the inaccessible soils that, like the soils in the landfill, do not pose a health concern
     as long as the barrier to exposure remains in place.

     13. Comment: Some commenters object to the process that allows the parties
     responsible for the contamination to develop the RI, BRA, and other documents that
     support the decision-making process.

     Response: When CERCLA was enacted in 1980, it contained a broad liability scheme
     which could reach the variety of people who were responsible for the contamination at
     the various sites. This liability scheme focused on requiring the polluters to pay for the
     cleanup of sites. In 1986, Congress amended CERCLA by the Superfund Amendments
     and Reauthorization Act which, among other provisions, authorized EPA to achieve
     cleanup by negotiating with potentially responsible parties (PRPs) to enter into
     agreements to perform response action including RIs. EPA followed this statutory



                                                   14
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 835
                                                         Page: 16ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2516
                                                                                   2730



     process by entering into an Administrative Order on Consent (AOC) in 1993 with the
     PRPs to perform the RI/FS. Various provisions of that AOC require the PRPs (who are
     known as Respondents in the AOC) to submit reports to EPA for approval or disapproval
     and to respond to EPA’s comments or requests for modification of the documents. In
     addition, all data collected by the Respondents were subjected to a rigorous Quality
     Assurance/Quality Control (QA/QC) process which provides yet another safeguard. The
     RI report and all the documents that were submitted by the Respondents in preparation
     for that document were subjected to this process, thus assuring that EPA had the final
     approval on the contents of the documents.

     When the AOC was signed in 1993, it was anticipated that EPA would perform the risk
     assessment; however, late in 1993, EPA changed its practice and allowed the option of
     having the PRPs perform the risk assessment under certain specified conditions. Since
     issuance of the 1993 directive, PRPs have been allowed to perform the risk assessment at
     most sites. EPA’s experience with these risk assessments has shown that with
     appropriate oversight, PRPs can perform acceptable risk assessments and allowing the
     PRPs to perform the BRA can be the most effective and efficient way to complete the
     RI/FS. Subsequent to the new directive, the AOC was modified to allow the PRPs to
     perform the risk assessment with oversight from EPA. The AOC procedures for
     approval, disapproval, and modification were followed for the risk assessment as well.

     Moreover, EPA has a longstanding policy to pursue “Enforcement First” throughout the
     Superfund cleanup process. This policy promotes the polluter pays principle and helps to
     conserve the resources of the Hazardous Substance Response Trust Fund for the cleanup
     of those sites where viable responsible parties do not exist. The process undertaken at the
     Site has been consistent with these requirements of sections 104, 122(a), and 122(d)(3) of
     CERCLA, as amended, as well as the expectations outlined in EPA guidance. At this
     Site, the polluters have been paying.

     14. Comment: Many commenters make the general claim that the Site is a bad location
     to dispose of radiological waste and that the waste should be disposed in a federally
     licensed landfill.

     Response: The objective of the CERCLA decision process for the Site is to identify the
     best option for existing land disposal units considering the risk-based evaluation criteria
     provided in the implementing regulations (NCP).

     The CERCLA evaluation criteria are explained in section 10 of the ROD and can be
     found at 40 CFR Section 300.430(e). The information compiled during the RI/FS
     indicates that the waste can be safely managed in place using mature and well understood
     landfill techniques, while excavation of waste materials from this or any landfill
     introduces a variety of risks and complications. For example, there are risks associated
     with spills during transport and the increased risk of traffic accidents. Excavation
     involves many worker safety issues, both from potential exposure to toxics and from the
     physical hazards of having to manually excavate, sort, and sample various types of
     refuse, debris, and oversized objects. Excavation introduces the potential for spreading



                                                  15
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 836
                                                         Page: 17ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2517
                                                                                   2731



     contamination due to complicated water management issues, decontamination issues, and
     dust suppression concerns. Uncovering putrescible waste introduces the potential for
     odor emissions and bird problems. The potential to attract birds raises specific safety and
     administrative issues for the Site due to its proximity to the Lambert-St. Louis
     International Airport.

     Moreover, there is no clear path to commercial disposal for the wastes in Areas 1 and 2.
     Currently available commercial disposal facilities for radiologically contaminated
     materials are not permitted to accept municipal solid wastes. Therefore, the nature of
     necessary waste handling or treatment prior to disposal as well as the final unit disposal
     cost is highly uncertain. In short, excavation options are much more difficult and time
     consuming to implement, much more expensive, and actually introduce unnecessary
     health and safety risks.

     EPA has a lot of experience with CERCLA municipal landfill sites. Approximately 20
     percent of the sites on the Superfund National Priorities List (NPL) are municipal landfill
     sites. These sites share many similar characteristics including large waste volumes and
     heterogeneous mixtures of municipal waste frequently co-disposed with industrial and
     hazardous wastes. In many cases, the hazardous chemical substances are much more
     toxic and more mobile in the environment than the radionuclides contained at the Site.
     Nevertheless, containment in place is the primary remedy selected in these cases because
     excavation and removal of the landfill simply does not compare favorably with
     containment when evaluated against the nine evaluation criteria from the NCP.

     15. Comment: Some residents of the Spanish Village subdivision, and others who may
     have been living in proximity to the Site in the 1973 time frame when the radiologically
     contaminated soil was placed in the landfill, have expressed concern about the potential
     for cancer or other health effects resulting from airborne dust or other potential exposures
     to these materials at that time.

     Response: While there is no specific information available that could be used to estimate
     potential exposures during this episode, we can make some generalizations. Based on a
     review of the available records, about 43,000 tons of radiologically contaminated soil was
     delivered to the Site from the period July 16 to October 9, 1973. Therefore, the period of
     time over which there could have been exposure is short – less than a few months. The
     soil was reportedly used as daily and intermediate cover in the landfill operation. The
     off-loaded soil would likely have been stockpiled, spread out with heavy equipment, and
     ultimately compacted under successive layers of waste and soil placement. During this
     period, there may have been some variable off-site air releases in the form of radon and
     windblown dust. The potential for off-site migration of contaminated soil particulates or
     radon would have varied considerably depending on the direction and velocity of the
     wind and the moisture content of the soil. However, any releases of this nature would
     have been subject to rapid wind dispersal; people would have had to be on the Site or
     quite near it during late summer or early fall 1973 to have become exposed to Site
     contaminants. It is highly unlikely that people located in Spanish Village, for example,
     would have been exposed to Site contaminants.



                                                 16
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 837
                                                         Page: 18ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2518
                                                                                   2732




     One should keep in mind that the radionuclides at the Site in the concentrations at which
     they occur do not pose acute health risks. A person would generally have to be in contact
     with the contaminated material at the Site over a period of years before significant
     calculated health risks would accrue. Considering the low exposure point concentrations
     and short duration of any potential exposures, the probability of significant public health
     effects from the disposal episode in 1973 is very small.

     There are options available for people who continue to have health questions. Individuals
     can initiate a cancer cluster investigation through the Missouri Department of Health and
     Senior Services (MDHSS). MDHSS staff will work with individuals or communities to
     investigate the concern. MDHSS staff can be reached at (573) 522-2840. This
     information was also provided during one the of EPA public meetings.

     Also, the Agency for Toxic Substances and Disease Registry (ATSDR) can look into
     health concerns at Superfund sites. Upon request, ATSDR will look at various site-
     related factors and draw some conclusions about the potential for human exposure to
     toxic materials at the Site. For more information, you may contact Denise Jordan-
     Izaguirre at (913) 551-1310 or Sue Casteel at (913) 551-1312.

     If there is sufficient interest, a community meeting designed to address potential health
     issues associated with the Site can be arranged. EPA would be willing to organize a
     meeting and make public health officials available to answer questions. To discuss the
     possibility, please contact our community involvement coordinator, Debbie Kring, at
     (913) 551-7725.

     16. Comment: Many commenters, particularly those who live or work near the Site,
     expressed support for the proposed remedy and objected to any plan to excavate materials
     from the landfill. The major concerns included the potential for airborne and waterborne
     releases of contaminants and the potential for accidents associated with increased truck
     traffic. Some are also concerned about the nuisance issues associated with trash hauling
     including truck traffic, noise, and odor. The potential for bird problems is also an issue
     particularly for the nearby Lambert Airport.

      Response: The Selected Remedy is consistent with the remedy presented in the
     Proposed Plan. The concerns expressed by these commenters are consistent with some of
     the trade-offs identified by EPA in the evaluation of the alternatives. No extensive waste
     excavation and trash hauling are planned. Some excavation and relocation of
     contaminated soils may be necessary to address the Buffer Zone/Crossroad Property. If
     so, dust control measures will be used as necessary to ensure no air releases of fugitive
     dust. Work place air monitoring will also be employed. To implement the Selected
     Remedy, some additional local truck traffic will be necessary to bring in materials and
     equipment used to construct the landfill cover; however, the duration of the construction
     activities will be relatively short, i.e., one or two construction seasons.




                                                 17
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 838
                                                         Page: 19ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2519
                                                                                   2733



     17. Comment: Several commenters were of the opinion that there was inadequate
     public notice of the Proposed Plan and the first two public meetings held in 2006.

     Response: EPA implemented its normal notification procedures which are designed to
     inform the affected community and other stakeholders. Concurrent with the release of
     the Proposed Plan in June 2006, display ads were placed in multiple editions of the
     Hazelwood-Bridgeton Journal of the Post Dispatch. Fact sheets were mailed to area
     residents, schools, media contacts, local government, environmental and activist groups,
     state and federal elected officials, and other known interested parties. The ads and fact
     sheets all included notice of the first public meeting in June 2006 and instructions on how
     to obtain Site documents. The Proposed Plan and FS were made available on the Internet
     and the Administrative Record was placed at the Bridgeton Trails Branch of the St. Louis
     County Library near the Site. EPA provided specific documents on request. In
     preparation for the second and third public meetings in September 2006 and March 2008,
     this entire notification process was repeated. EPA believes every reasonable effort was
     made to assure full public participation in the process.

     Specific Responses:

     Individual responses are provided for cases where the commenter submitted very specific
     comments, some of which are not fully covered by the general responses above. These
     comments are in no particular order, but are identified according to the name of the
     person or organization that submitted the comments. The bold headings used to organize
     some responses are taken from the letter submitted by the commenter. In some cases it
     will be necessary to read the comment letters themselves in order to fully understand the
     response. Therefore, copies of the comment letters addressed by these specific responses
     are attached.

     1. Byron Clemens

     1. The commenter states: The BRA should be given NO WEIGHT, etc., (pg. 1 of
     comment letter).

     The purpose of the BRA is to establish a statutory basis for taking a response action. In
     other words, an unacceptable threat to human health and the environment must be
     established before EPA can compel a response action. Both the statute and NCP control
     the manner in which the BRA is prepared, no matter who prepares the document.

     The BRA was prepared in accordance with EPA’s Risk Assessment Guidance for
     Superfund, Volume I, Human Health Evaluation Manual (Part A), EPA/540/1-89/002
     (RAGs). This guidance establishes a standardized conservative methodology for
     conducting human health evaluations at Superfund sites. Standard exposure factors and
     toxicity data are used. The BRA was developed using prescribed methods and verifiable
     data. The document was submitted to EPA and the Missouri Department of Health and
     was reviewed extensively before being approved. There is no basis for the commenter’s
     claim that the BRA misrepresents the case.



                                                 18
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 839
                                                         Page: 20ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2520
                                                                                   2734




     The BRA draws no conclusions with respect to risk management. All risk management
     decisions are made by EPA with participation from the state. These risk management
     decisions are described in the Proposed Plan and ROD, and only alternatives that are
     protective of human health and the environment may be considered for selection.

     The commenter has misinterpreted the reference in the BRA to the no action
     alternative. The NCP requires that a no action alternative be developed in the FS
     [40 C.F.R.300.430(e)(6)]; this alternative then serves as a benchmark for evaluating other
     action alternatives. As such, the BRA must also evaluate a range of risks under the
     condition that no mitigating action is taken. That is why it is referred to as a baseline risk
     assessment.

     2. The commenter states: Page A.2-4 of the BRA indicates that the levels of U-235 are
     “higher than one would expect,” indicates a significant lack of institutional memory, etc.
     (see pg. 1 - 2 of comment letter).

     The commenter has misinterpreted the information. Several points should be made here.
     First of all as previously stated, there is no raw Belgian Congo pitchblende in the waste
     materials at the landfill. The leached barium sulfate residues in the waste material are
     byproduct material left over after a substantial amount of processing had been done to
     remove uranium, radium, and their daughters. Secondly, the observation in the BRA that
     U-235 concentrations were higher than one would expect from natural uranium is not a
     comment on the absolute concentrations. It is a comment on the relative concentrations
     with respect to the other natural isotopes of uranium. The Belgian Congo pitchblende ore
     had high concentrations of uranium (30 to 65 percent by weight); however, the isotopes
     of uranium were in their natural ratios. Concentrations in the contaminated soils average
     less than 0.02 percent or substantially less than would be found in a low-grade domestic
     ore body. Therefore, the absolute concentrations of total uranium in the Site waste
     material are not particularly high.

     3. The commenter states: Page 15 of NUREG – 1308 lists the presence of Th-230 and
     Ra-226 and states, “…indicating a significant increase in radiological hazards”, etc. (see
     pg. 4 of comment letter).

     As explained in the NUREG – 1308 report and the RI/FS documents, one of the effects of
     the ore processing is that the naturally occurring U-238 to Th-230 to Ra-226 equilibrium
     has been altered. The ratio of Th-230 to Ra-226 is much greater than would be the case if
     these radionuclides were in equilibrium. Therefore, radioactive decay of the Th-230 will
     increase the concentration of its decay product Ra-226 with time until these radionuclides
     are again in equilibrium. Ra-226 and its daughters are principal risk drivers in this decay
     series and therefore the radiological hazard from potential exposure to these materials
     will increase with time until equilibrium is reached. The buildup of a daughter
     radionuclide takes about 7 x the daughter’s half life; in terms of Th-230 to Ra-226, this
     would take about 7 x 1,600 years or about 11,200 years. Also, increased Ra-226
     concentrations will lead to increased radon generation. These factors were taken into



                                                  19
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 840
                                                         Page: 21ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2521
                                                                                   2735



     account when evaluating the remedial alternatives. The selected engineered cover system
     will be designed to account for future ingrowth of Ra-226 and future radon gas
     generation. The properties and thicknesses of the materials used to attenuate emissions
     will be developed according to the future composition of the waste material.

     The NUREG – 1308 report states that “some low-level contamination of the groundwater
     is occurring.” The 1988 NRC report indicates that multiple sampling events over several
     years identified a few sporadic detections in groundwater or borehole water at or slightly
     exceeding the drinking water standard of 15pCi/l gross alpha activity. This draws from
     the results of NRC-sponsored field investigations conducted in the early 1980s, most
     notably the radiological survey report developed by Radiation Management Corporation
     (RMC). Without any follow-up radiochemical analysis, it is difficult to draw many
     precise conclusions from this information; however, the tabularized results on alpha
     particle activity provided in the report do not indicate significant or wide-spread impacts
     to groundwater, and most of the sample results fall in a range consistent with background.

     More extensive groundwater investigations were conducted in conjunction with the RI
     and included isotopic analysis for the uranium-238, uranium-235, and thorium-232 decay
     series over a period of years. The results produced only two detections of total radium
     (combined radium-226 and radium-228) exceeding the MCL (drinking water standard) of
     5 pCi/l, with the maximum detected concentration of 8 pCi/l. It is clear from the RI data
     that there are no concentrated or wide-spread radiological impacts to groundwater from
     Areas 1 and 2.

     The NUREG – 1308 report contains a conclusion to the effect that the long-term Ra-226
     concentration will exceed the Option 4 criteria and therefore on-site disposal would likely
     require the material to be placed in a designed and constructed disposal cell. This
     conclusion needs to be looked at in context. The Option 4 reference comes from the
     NRC BTP on options for on-site disposal or storage of thorium or uranium wastes from
     past operations (46 FR 52061, October 23, 1981). The guidance sets out five
     progressively more restrictive options for dealing with residual contamination at former
     processing sites. Options 1 through 4 range from no-use restrictions necessary to burial
     on-site with land-use restrictions. Option 5 consists of on-site storage pending
     availability of a licensed disposal facility. The option of a designed and constructed on-
     site disposal cell is not among the options described in this guidance, so this conclusion
     appears to be based on site conditions not meeting any of the prescribed options.
     However, the NUREG -1308 report does go on to explain that this conclusion is not
     based on groundwater study or engineering evaluation and that investigations must be
     performed to develop the necessary information to resolve major questions and to provide
     a sound basis for evaluation of the feasibility of disposal alternatives. EPA has since
     performed the investigations and engineering evaluations necessary to support the
     Selected Remedy.

     For informational purposes, the NRC’s decommissioning rules and associated guidelines
     have undergone substantial changes since the 1981 guidance. The NRC
     decommissioning standards are mainly codified in 10 CFR Part 20, Subpart E, and



                                                 20
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 841
                                                         Page: 22ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2522
                                                                                   2736



     provide radiological-dose limits for termination of licenses. The standards apply to
     facilities decommissioned under 10 CFR Part 30 which governs byproduct materials, Part
     40 which governs source material, and Part 70 which governs special nuclear material.
     The decommissioning standards establish criteria for license termination with
     unrestricted use, termination under restricted-use conditions, and allow the submission of
     alternative criteria for license termination.

     Most relevant to the West Lake Site are the NRC criteria for operation of uranium mills
     which are derived from standards set by EPA under the UMTRCA of 1978. UMTRCA
     directed EPA to set standards to govern the stabilization, disposal, and control of uranium
     and thorium mill tailings. These standards were promulgated in 40 CFR Part 192. The
     Selected Remedy will meet relevant and appropriate standards from 40 CFR Part 192.
     See section 12 of the OU 1 ROD for a description of these requirements.

     4. The commenter states: U.S. NRC NUREG/CR 2722, May 1982, characterizes the
     Westlake wastes….(beginning pg. 4 of the comment letter).

     In August 1980, the NRC contracted with RMC to perform a radiological evaluation of
     the Site. The NUREG/CR 2722 report provides the results of that study. RMC used a
     variety of methods to evaluate the Site including gamma surveys, surface and subsurface
     sampling, radon flux measurements, and measurement of airborne radioactivity. The
     RMC concluded that radiation exposure risk to Site workers was minimal. Elevated
     concentrations of uranium and daughters exist in landfill soils but elevated levels were
     not found in off-site soils. RMC did not find any indications that groundwater movement
     of materials from the Site had occurred.

     EPA takes no issue with factual representations from this report, and the findings of this
     study are generally consistent with the results of the CERCLA RI phase.

     The commenter provides a series of excerpts and representations from the RMC report.
     Many statements in the comment misrepresent the information presented in the report.
     Some of the statements are addressed below.

        -       The comment says the RMC report, “states 1977 and 1978 monitoring wells
                showed movement of contaminants.” It needs to be clarified that the results of
                this U.S. Geological Survey monitoring indicated movement of leachate based
                on chemical (not radiological) analysis. This finding is consistent with the
                findings of the RI groundwater sampling which detected some limited
                occurrences of VOCs and SVOCs.
        -       The comment misquotes page 15 of the study as finding “water monitoring
                wells with levels of U-238 daughters at more than 19,000 pCi/g.” This
                section of the report is describing the results of subsurface soil analysis and
                perhaps this quote derives from the finding that concentrations of Bi-214 in
                subsurface soils ranged from less than 1 to 19,000 picocuries per gram
                (pCi/g). In fact, the results of water analysis summarized beginning on page
                16 of the report found no significant alpha activities.


                                                 21
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 842
                                                         Page: 23ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2523
                                                                                   2737



        -       Referring to the RMC report, the comment describes, “Westlake samples from
                1980 and 1981 on Page 16 found several water samples exceeding U.S. EPA
                gross beta drinking water standards.” It needs to be clarified as explained in
                the RMC report that the gross beta activity was from the leachate treatment
                lagoons and isotopic analysis attributed the beta activity to potassium-40,
                probably from potassium phosphates. The gross beta activity is unrelated to
                the Mallinckrodt wastes.
        -       Referring to radon flux measurements as high as 858 pCi/sq.m-s, the comment
                states that, “The maximum permissible standard is 20.” Consistent with the
                findings of the RI, radon flux measurements at several discrete locations were
                relatively high. The radon flux standard for uranium and thorium mill tailings
                found in 40 CFR Part 192 is 20 pCi/m2s. The standard is applied to an annual
                and a spatial average across the entire tailings pile or waste site not to a single
                measurement. As explained in section 12 of the OU 1 ROD, this standard,
                although not applicable, is considered relevant and appropriate to Areas 1 and
                2 of the Site and will be met. The average radon flux for all 54 measurements
                was 22 pCi/m2s. After the Selected Remedy has been implemented (after the
                cover has been constructed), the radon flux will be much lower than the
                standard and probably will be indistinguishable from background.


     2. Kay Drey
     I. The headings used to organize this response are not EPA’s and were taken from the
     December 19, 2006, comment letter attached.
     A. Some of the radioactive wastes at West Lake are extremely rare and particularly
     dangerous.
     Many of the claims made here are not true or are misleading. The radionuclides in the
     waste material at Areas 1 and 2 are derived from natural uranium ore. Natural uranium
     ore has both U-235 and U-238. Each of these has a chain of decay products, for a total of
     32 separate isotopes including the isotopes identified in this comment. The nuclides in
     these series are not rare or unusual. Also, the dangers posed by these radionuclides are a
     function of the concentration, the manner in which someone becomes exposed, and the
     period of time over which someone is exposed. Judgments regarding health risk cannot
     be made without considering these factors.

     Uranium is one of the most abundant elements found in the earth’s crust. The following
     comparison is intended to provide a general point of reference for the concentration
     levels found at the West Lake Site. Natural uranium occurs in soil and rock at a few parts
     per million (ppm). Natural uranium occurs in the contaminated soils in Areas 1 and 2 at
     about 150 ppm. Natural uranium occurs in a low-grade ore body (0.1 % U) at about
     1,000 ppm. Natural uranium occurs in a high-grade ore body, like the Belgian Congo
     pitchblende, at a few hundred thousand ppm. The measured uranium concentration in the
     landfill is much lower than the concentration found in uranium ore. In all of these cases,
     the uranium exists as several isotopes in their naturally occurring proportions: primarily



                                                  22
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 843
                                                         Page: 24ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2524
                                                                                   2738



     U-238 (99.275 percent), U-235 (0.72 percent), and U-234 (0.0058 percent). In terms of
     activity concentration, natural uranium has approximately equal activity concentrations of
     U-234 and U-238. The activity concentration of U-235 is approximately 5 percent of the
     activity concentration of U-238 or U-234.

     For purposes of site characterization and risk assessment, the radionuclides with
     relatively long half lives are used as indicators for all members of their associated decay
     chains. The occurrences of the short-lived daughters can be inferred from the
     concentrations of these long-lived indicators. It is true that the short-lived radionuclides,
     such as Po-210, are more highly radioactive than the long-lived members of the decay
     chain, but because of their short-half lives, they are present in relatively small mass
     concentrations.

     See also the General Responses on the Belgian Congo pitchblende ore, contaminant
     migration to groundwater, and the safety of managing the material in place.

     B. Flood plains are for flood waters – NOT for radioactive wastes.

     If we assume some sort of catastrophic failure of the levee as the commenter suggests,
     high velocity water might be expected to scour the ground and spread unconsolidated
     material for miles. Such an event could do considerable damage to many of the buildings
     and structures in the business park. Fortunately, the closest portion of the Site is one and
     one-third mile from the river. Based on flood water elevations, the potential depth of
     flood waters at the Site is small and the energy of the water would be substantially
     dissipated. However, to address this concern, flood protection measures will be
     evaluated in the remedial design.

     EPA has not made the claim that levees do not fail; in fact at the third public meeting,
     EPA arranged for presentations regarding the performance and construction of levees,
     and the impact of levee failures that occurred as a result of Hurricane Katrina. It is
     noteworthy that the vast majority of levee “failures” are actually the result of
     overtopping, i.e., the flood event exceeds the design criteria for the levee. In the event of
     overtopping, flood waters would be expected to fill the protected area behind the levee;
     however, such an event would generally not result in high velocity water. Under this
     scenario, any flood waters reaching the toe of the landfill would be shallow and low
     energy and would not be expected to have significant impact on the landfill cover.

     See also General Response on the flood plain issue above.

     See General Response on earthquake impacts.

     See General Response on groundwater impacts.




                                                  23
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 844
                                                         Page: 25ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2525
                                                                                   2739



     C. Longevity: West Lake’s radioactive wastes will continue releasing dangerous
     particles and rays into the Metropolitan St. Louis environment VIRTUALLY
     FOREVER -- unless they are removed.

     It is certainly true that the principal isotopes of uranium and thorium at the Site are
     extremely long lived. The half life of U-238 is 4.5 billion years, almost as long as the
     earth is old. However, it is simply not true that these wastes are releasing dangerous
     particles and rays into the metropolitan St. Louis environment. It is a straightforward
     task to measure the radiological impacts of these materials, and such measurements have
     been made numerous times including during the RI. The data do not support this claim.
     See also, General Responses above.

     Regarding the interrelationship of the radiological wastes with other chemical toxins at
     the Site, one of the primary purposes of the field studies for both the OU 1 and OU 2 was
     to investigate for the presence of industrial hazardous wastes. Based on extensive
     sampling of groundwater, leachate, soil, and waste material, no evidence of significant
     industrial hazardous waste disposal was found in any of the landfill units. Most of the
     data are consistent with typical sanitary and municipal solid waste disposal.

     Shallow groundwater at the southwest corner of the Site has been significantly impacted
     by petroleum hydrocarbons and VOCs. The source of these impacts could be the OU 2
     Inactive Sanitary Landfill, or more likely, the leaking underground storage tank site
     located to the east near the asphalt plant. The storage tanks which contained diesel fuel
     have been removed, but impacts to the groundwater in this vicinity remain. This will not
     have any impact on the efficacy of the Selected Remedy. The groundwater underlying
     Areas 1 and 2 is not significantly impacted, and the detection monitoring program can be
     designed to account for baseline conditions.

     D. Hot spots are found at and below the surface at West Lake.

     In the context of CERCLA municipal landfill sites, the term “hot spot” is a term-of-art. It
     is used to refer to discrete volumes of highly toxic or highly mobile wastes located within
     the much greater volume of heterogeneous material that makes up the landfill waste.
     Typical examples include buried drums containing hazardous chemicals or lagoons full
     of liquid industrial waste. Under the guidelines, such hot spots should be evaluated for
     removal. Even though the radiologically contaminated areas at the Site do not qualify as
     hot spots under the guidance, the presence of these long-lived radionuclides led EPA to
     determine that an alternative involving removal of material should be developed and
     evaluated. The discussion in the Proposed Plan and ROD on this subject is intended to
     clarify the basis for developing Alternative 6 – Excavation of higher levels of
     radioactivity from Area 2 and regrading and installation of a Subtitle D cover system.
     By assuming a subset of waste material with relatively higher concentrations, the
     objective was to define an excavation alternative that had a chance to compare favorably
     with containment only under the evaluation process.




                                                 24
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 845
                                                         Page: 26ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2526
                                                                                   2740



     Alternative 6 involves many uncertain assumptions. For example, it is not clear that
     identifying hot spots or subsets of more radiologically contaminated material would have
     practicable implementation value. Since the contaminated soil was originally distributed
     in layer-like fashion, it would be expected that multiple, elevated concentration levels
     could be found at similar depths. However, these correlations do not translate into a
     capacity to recover the in situ radiologically contaminated soil as some sort of discrete
     unit. In fact, the data indicate that the soils are variably distributed through the upper 10
     or 15 feet of municipal refuse. The contaminated soils would have to be removed along
     with large quantities of heterogeneous bulk waste materials. The feasibility and
     effectiveness of separating the soils from the bulk waste are uncertain. Also, there may
     not be a correlation between higher radioactivity measurements and the presence of
     greater quantities of soil. So targeting soils that have relatively higher radionuclide
     concentrations might not yield large quantities of contaminated soil. In short, successful
     recovery of a subset of contaminated soil could be achieved; however, successful
     recovery of a subset of soil that truly contains a disproportionate amount of the
     radiological content could be difficult to achieve or verify.

     The commenter questions what she characterizes as the lack of data or data gaps
     associated with the soil sampling conducted during the RI. While it is true that more
     information on the subsurface profile of the radionuclide contamination would likely be
     needed to effectively design and implement a response action consistent with Alternative
     6, the RI data are sufficient to support comparative analysis as required in a FS.

     The question goes to the purpose of the RI soil boring program which was intended to
     identify some of the higher radionuclide concentrations and define the general extent of
     the radiologically contaminated soils. In accordance with the RI Work Plan, soil samples
     were collected at five-foot depth intervals from the various borings and correlated with
     downhole gamma surveys. The plan called for laboratory analysis of two samples from
     each of the 50 borings. One sample was to be analyzed from the location of the
     radiological high as determined by the gamma logs. The second sample was collected
     from immediately below the base of the radiologically elevated interval or from the base
     of the landfill debris if elevated readings were not detected. Samples were analyzed for
     the range of radiological and nonradiological parameters. The general absence of
     radionuclides in the deeper samples from these borings shows that the radiologically
     contaminated soils are generally located in the upper 10 to 15 feet of the landfill material.

     Some of the information contained in this comment about U-235 and its daughters is
     simply not the case. U-235 is not rare and occurs naturally in U.S. uranium mill tailings
     piles and in rock and soils everywhere. At 5 percent the activity of U-238, U-235 is
     present in the background soils at about 0.14 pCi/g. U-235 was not detected in the
     background soil samples at the Site because levels in the 0.14 pCi/g range are below the
     detection limit for the method that was used. The combination of U-235/236 was
     measured in background samples from 0.21 to 0.91 pCi/g.




                                                  25
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 846
                                                         Page: 27ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2527
                                                                                   2741



     1. Some relevant federal regulations and standards:

     a. The reference levels used in the RI come from the soil cleanup standards found in
     UMTRCA, 40 CFR Part 192, Subpart B, which apply to the cleanup of inactive uranium
     processing sites and specify that Ra-226 concentrations should not exceed
     5 pCi/g above background in the top 15 centimeter (cm) of soil and 15 pCi/g in lower 15
     cm layers averaged over 100 square meters. These numbers are used in the RI as a
     simple reference for the purpose of putting a boundary around the significantly impacted
     areas. These standards are also considered relevant and appropriate to the cleanup of
     soils on the Crossroads Property adjacent to Area 2. Design-level investigation will need
     to be done to determine the extent of any necessary cleanup of that property.

     The criterion for gamma exposure rates identified in the NRC’s reports is used in the
     survey methodology to identify the limits of elevated, external gamma radiation. Gamma
     readings are generally taken on a grid at about 1 meter above ground surface. The
     background gamma exposure rate in the area of the Site and in Missouri in general is
     approximately 10,000 counts per minute (cpm) using a 2”x2” sodium iodide detector or
     about 10 Micro Roentgen per hour (uR/hr). At one meter above the ground surface,
     approximately half of this exposure is due to terrestrial radiation and half is due to cosmic
     radiation. The criterion of 20 uR/hr used in the NRC’s investigation of the Site comes
     from the NRC’s BTP (October 1981) which identified elevated, external gamma as
     10uR/hr above background.

     External gamma radiation levels are elevated in Areas 1 and 2. Overland gamma survey
     results identified some locations at several times background. Several downhole gamma
     readings were over 100 times background, e.g., the reading of “nearly 2,300,000 counts
     per minute” referenced in the comment. (Note: background readings using a 2”x2”
     sodium iodide detector of the sort used in this study is approximately 10,000 cpm, not 10
     cpm as claimed in the comment.) This does not present a health concern because there is
     no reasonable way for anyone to be subjected to prolonged contact with the materials
     buried in the landfill. Also, direct comparison of overland gamma readings and borehole
     measurements cannot be made even if a similar detector is used because the geometry of
     the borehole is much different than a reading taken at three feet above the surface. In a
     borehole, the detector is physically closer to the contaminated material and is completely
     surrounded by the contaminated material.

     b. EPA agrees that the radionulides at the Site derive from uranium processing and that
     certain UMTRCA requirements including the groundwater protection standards are
     relevant and appropriate to the selected remedial action. See section 12 of the ROD for a
     description of these applicable or relevant and appropriate requirements (ARARs).




                                                  26
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 847
                                                         Page: 28ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2528
                                                                                   2742



     E. Many unanswered questions remain about the monitoring of the West Lake
     radioactive wastes.

     1. The commenter makes the claim that the RI, having been developed on behalf of the
     PRPs, attempts to discount elevated readings or otherwise explain-away results that might
     be considered unfavorable to the responsible parties.

     EPA rigorously reviewed the reports submitted by the PRPs; as a result of its review of
     the RI reports, EPA did not identify any efforts to improperly explain-away elevated
     readings. Further examination of the examples provided by the commenter does not
     indicate anything improper. A prime example provided by the commenter points to an
     interpretation in the RI that certain radiologically impacted surface material is the result
     of sediment deposition verses original placement. The commenter gives no reason why
     she believes this interpretation represents a more favorable condition. We fail to
     understand how this could be construed as evidence to support the charge of a spurious
     claim.

     The commenter takes particular issue with the sampling and analysis reports prepared by
     McLaren/Hart. As is required, these reports discuss data quality issues and draw
     conclusions about the representativeness of the data. All of the data obtained as part of
     the RI have been presented, evaluated, and considered as part of the interpretive process.
     No data meeting QA/QC criteria were eliminated or otherwise not considered. Any
     complex environmental investigation involving extensive data collection from various
     media, multiple sampling events, rigorous data validation procedures, etc., will result in
     some number of suspect data. The data validation procedures apply standard criteria for
     data quality that address precision, accuracy, representativeness, comparability, and
     completeness of analytical data sets. In the event certain analytical results do not
     conform to expectation, e.g., results are higher or lower than other results obtained from
     the same location over time, and no error is directly attributable to factors associated with
     the precision and accuracy of the laboratory analyses, it is incumbent on the data user to
     consider the representativeness and the comparability of the results relative to the body of
     evidence. Moreover, one of the requirements of appropriate QA/QC is that the analytical
     labs are independent and have no interest in the outcome of these investigations. This
     provides yet another control on outcomes. The RI and supporting documents contain
     some assessments of certain data that are considered unrepresentative; however, all of the
     data are presented and considered as part of the RI process.

     Data Quality Issues:

     Groundwater Results:

     As explained in section 4.5.5 of the RI, the analytical lab identified a data quality issue
     relative to the Th-230 analytical results for the groundwater samples collected during the
     November 1995 sampling round. Poor analytical recoveries of the laboratory spiked
     tracer indicated a problem with the volume reduction step of the sample preparation.
     Repeat samplings using a different sample preparation procedure yielded consistent



                                                  27
                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 848
                                                         Page: 29ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2529
                                                                                   2743



     results meeting the analytical quality assurance criteria. A comparative review of all the
     data indicates that the results from November 1995 are probably biased high. These
     results are referred to as false positive or results that are considered higher than were
     actually present.

     There was also a problem with the analysis of radium-226 and daughters in the
     November 1995 and February 1996 sampling rounds. The RI Work Plan specified EPA
     method 903.0, an isotopic method with a minimum detectable activity (MDA) level
     below the MCL values for radium-226 and radium-228. However, the contractor failed
     to specify this method on the chain of custody forms submitted to the laboratory and the
     samples were analyzed using gamma spectroscopy. Gamma spectroscopy does not
     require chemical separation of the target nuclides and identification is made by
     comparing gamma energies with the instrument’s software library. The method is less
     reliable at identifying specific nuclides and is subject to interferences. Also, the MDA
     levels are greater than the MCL for radium. The gamma spectroscopy results identified
     significant concentrations of radium-226 and/or its daughters in several wells.
     Subsequent rounds of sampling and analysis using the isotopic method did not produce
     any similar results. The gamma spectroscopy results from November 1995 and February
     1996 are presented and considered, but for the reasons just described we do not have a
     high degree of confidence that these elevated reading were accurate. Overall, the body of
     groundwater analytical results is consistent with background for these nuclides.

     Because of these data quality issues, EPA requested an additional sampling round be
     conducted in May 1996; this was completed without problems. Well D-14 was not
     resampled in the May 1996 and subsequent events because the well casing was found to
     be obstructed.

     As part of the RI site reconnaissance activities conducted in 1994, grab samples were
     taken from some of the pre-existing monitoring wells. These wells were not purged, and
     the unfiltered grab samples were analyzed for gross alpha to determine whether any
     special handling of purge water would be necessary when the RI wells were installed and
     developed. Most of the results, 28 of 31 wells sampled, indicated gross alpha
     concentrations were acceptable for discharge to the Metropolitan Sewer District (<15
     pCi/l). The three wells exhibiting high gross alpha concentrations were resampled and
     analyzed as filtered groundwater samples and also analyzed for radiological isotopes.
     The results of re-sampling indicated the water in these three wells would be acceptable
     for discharge to MSD. Monitoring wells S-88 and 1206 were not sampled during
     subsequent RI sampling events because they were not part of the identified OU 1
     monitoring network as described in the work plan. Located on property adjacent to the
     Site, S-80 was intended to serve as a background well because it is hydrologically
     upgradient and quite far removed from any potential influences from the Site. S-80 was
     not sampled in May 1996 or subsequent RI sampling events because the well was
     abandoned due to redevelopment of the property. The network of wells sampled during
     the RI was extensive and appropriate to characterize the groundwater in proximity to
     Areas 1 and 2.




                                                 28
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 849
                                                         Page: 30ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2530
                                                                                   2744



     It should be noted that the RI does not present a statistical evaluation of groundwater
     quality, and such an evaluation will be necessary as part of the long-term monitoring
     program to assess groundwater quality and evaluate trends. (See section 12 of the ROD.)

     Soil Results:

     In 1996, EPA requested split sample analysis for both soil and groundwater samples. The
     split samples came from archived soil samples and newly collected groundwater samples.
     The soil samples were therefore the equivalent of field splits rather than laboratory
     duplicate splits. In the summary report, McLaren/Hart concluded that comparison of the
     soil analytical data from the two analyzing laboratories showed overall good agreement
     except for the Th-230 results where the analysis of the split was consistently higher than
     the original results by about a factor of two. It was noted in the discussion that the higher
     results are consistent with results produced by the original lab prior to adding an
     additional cleanup column to the analytical procedure. The procedure change was
     initiated by the laboratory to address possible interferences, most notably from uranium-
     234. As indicated previously, the analytical laboratory is independent and has no
     knowledge of the Site background information (nor should it) and the reference to
     possible interference from plutonium and neptunium is a generic concern with the sample
     preparation methodology.

     Methods and MDA Levels:

     The field sampling procedures and analytical methods were specified as part of the
     approved RI/FS Work Plan. Laboratory sample preparation and analytical protocols are
     identified as part of the EPA-approved methods. The analytical laboratory may make
     adjustments consistent with the approved methods.

     Both filtered and unfiltered groundwater samples were collected and analyzed for
     radionuclides and metals. Both kinds of samples are important to understanding the
     nature of any potential contaminant migration in groundwater, i.e., the degree to which
     contaminants might be partitioned to the solid phase. Filtered samples remove suspended
     solids in order to determine the concentration of the analyte in the water phase. Both
     filtered and unfiltered results are compared to the drinking water standards. Although
     drinking water standards apply to public water supplies, the unfiltered results may be
     considered a more conservative representation of water that might be consumed by a
     private well owner.

     The MDA levels for radionuclides are determined by the analytical laboratory based on
     instrument response factors, analysis of laboratory standards, and other ongoing QA/QC
     evaluations. Variability in the MDA levels occurs as laboratory samples are analyzed in
     batches that correlate with specific QA/QC data and results. In addition, the MDA values
     are also a function of the duration of the sample analyses (termed the counting time) with
     MDA values varying as a function of the length of the counting times employed for each
     sample.




                                                  29
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 850
                                                         Page: 31ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2531
                                                                                   2745



     The reports regarding the Site which were prepared pursuant to the AOC with EPA do
     not contain monitoring incongruities; the data are accurately reported and any
     (anomolies) are explained or interpreted which is expected and required as part of the
     QA/QC process. The analysis is required to be performed by an independent laboratory
     according to methods and standards dictated by EPA. The scientists who tested the soil
     and water did not have a financial stake in the outcome of the test results, and their work
     was reviewed at length by qualified scientists at both EPA and MDNR.

     F. Other monitoring issues at the Site.

     EPA is the lead agency and will be responsible for tracking the Site for the federal
     government. MDNR will provide assistance to EPA and have lead responsibility for
     tracking the Site on behalf of the state of Missouri.

     The specifics of the O&M program, including the long-term groundwater monitoring
     plan, will be developed as part of the remedial design process. See section 12 of the
     ROD for a description of the monitoring objectives.

     It is EPA’s intent to seek a settlement with the responsible parties for implementation and
     maintenance of the remedy as described in this ROD. This process is in accordance with
     section 122 of CERCLA and is consistent with EPA’s “Enforcement First” and “Polluter
     Pays” policies. The settlement will be embodied in a Consent Decree (CD) and Remedial
     Design/Remedial Action Statement of Work filed with the U.S. District Court, which will
     maintain jurisdiction to enforce the terms of the CD. The terms of the CD are binding on
     the settling defendants, settling federal agency, and their successors and assigns. These
     parties will be required to finance and perform all remedial design/remedial action
     activities under the oversight of EPA and/or the state.

     The O&M plan will specify the requirements for inspection, maintenance, and repair.
     Inspections will be performed on a periodic basis and in response to any unusual
     conditions. Inspectors will evaluate all the physical aspects of the remedy as well as the
     administrative and institutional controls. Maintenance and repair activities will be
     performed on a periodic basis and as identified during inspections. Reports on inspection
     and maintenance activities will be submitted on a periodic basis.

     The long-term groundwater monitoring plan will specify the monitoring well locations,
     sampling frequencies, analytical parameters, procedures, etc. Periodic sampling reports
     that include data summaries and interpretation of the results will be published. Trend
     analysis will be used to verify performance.

     CERCLA and the NCP require that periodic reviews, referred to as Five-Year Reviews,
     be conducted at every site where contamination remains above levels that do not allow
     for unrestricted use. At least every five years, an evaluation will be performed to ensure
     that the remedy remains protective and is performing as expected.




                                                 30
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 851
                                                         Page: 32ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2532
                                                                                   2746



     In the event of new information or if the remedy is not performing as expected, e.g.,
     monitoring shows that groundwater quality is degrading over time, EPA may re-evaluate
     the remedy and select further response actions as necessary to protect human health and
     the environment in accordance with the requirements of CERCLA and the NCP.

     G and H.

     Containment in place consistent with the Selected Remedy is protective of human health
     and groundwater. It is true that safe removal of the wastes is possible. However, it is not
     the option that provides the best balance of trade-offs when considered against the
     evaluation criteria provided in the NCP. See General Responses.

     II. Ms. Drey submitted a second comment letter dated April 9, 2008 (copy attached).
     The numbering for this response corresponds to the numbering in the comment letter.

     1. The commenter reiterates that the Missouri River flood plain is a poor location for the
     waste and cites NRC rule (10 CFR Part 61) which says that a near-surface radioactive
     waste disposal site “must minimize to the extent practicable the contact of water with
     waste.”

     Response: 10 CFR Part 61 provides the licensing requirements for land disposal of
     certain radioactive wastes. Note that the regulations in this part do not apply to uranium
     mill tailings waste which are governed by Part 40 for sites under NRC license and
     developed consistent with health and environmental standards set by EPA pursuant to
     UMTRCA (40 CFR Part 192).

     Keep in mind that the purpose of the Site response action is not to site a new disposal
     facility. The purpose is to determine the best solution for existing landfill areas
     consistent with the requirements of CERCLA and the NCP. Nevertheless, the landfill
     cover required by the Selected Remedy is designed to minimize contact of water with
     waste and employs the same methods used at uranium mill tailing sites.

     2. The commenter notes that the Site is located directly upstream of the St. Louis City
     and North County public drinking water intakes.

     Response: EPA is aware that the Missouri River is a valuable resource and a source of
     drinking water to St. Louis and beyond. The Site is not a threat to the Missouri River or
     public water supplies. The groundwater at the Site is not significantly impacted by the
     radiologically contaminated material in the landfill, and the Selected Remedy will ensure
     that this remains the case. See the response to General Comment 2.

     3. The commenter notes that the radioactive materials at the Site will be radioactive for
     many thousands of years. The commenter claims that the radioisotopes are ranked
     among the most dangerous known and include some not detected in American ore
     residues.




                                                 31
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 852
                                                         Page: 33ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2533
                                                                                   2747



     Response: EPA is aware that the radioactive materials will be radioactive for millennia.
     Managing the West Lake Site over the long term poses the same sort of challenges faced
     at countless waste sites where long-lived radionuclides, heavy metals, or other stable
     toxic materials will remain. See the response to General Comments above. As explained
     in response to the commenter’s first letter above, EPA disagrees that the radioisotopes at
     the Site are unusually dangerous or rare.

     4. The commenter claims that the Selected Remedy would provide neither current nor
     lasting protection from radioactive gases and dust through cracks that develop in the cap.

     Response: The Selected Remedy uses the same methods used at uranium mill tailing
     disposal sites and landfill sites with great success. See General Comment 10 above.

     5. The commenter claims that all the other St. Louis sites contaminated with
     Mallinckrodt Chemical Works wastes have been or are being cleaned up by the U.S.
     Army Corps of Engineers. Why not West Lake too?

     Response: Distinctions in cleanup decisions between the St. Louis sites and the West
     Lake Site have nothing to do with which federal agency is responsible for the cleanup. In
     both cases, the remedy selection is governed by the Superfund process and the
     distinctions have to do with the physical setting and the reasonably anticipated land use.
     In St. Louis, accessible soils are being excavated for commercial disposal because these
     contaminated soils would present potential exposure concerns. The inaccessible soils in
     St. Louis, i.e., soils under roads, buildings, and other structures, are being managed in
     place. Like the soils in the landfill, the inaccessible soils do not present a health concern
     as long as they remain where they are. At the Site, the contaminated soils are disposed in
     a landfill that is dedicated to use as a landfill.

     6. The commenter states that the federal government is paying for the remediation of all
     the other Mallinckrodt nuclear weapons waste sites in metropolitan St. Louis, including
     one billion dollars expended at Weldon Spring. Why not West Lake too?

     Response: Again, the remedy selection for these sites is governed by the Superfund
     process and is not dependent on whether the source of funding is public or private. In
     addition, the federal government will be asked to pay for part of the cleanup at the Site
     because the Department of Energy (DOE) is a PRP.

     3. Great Rivers Environmental Law Center

     I. The headings used to organize this response are not EPA’s and were taken from the
     December 28, 2006, comment letter sent by Henry B. Robertson on behalf of the Great
     Rivers Environmental Law Center (copy attached).
     1. We disagree that RCRA Subtitle C or D is ARAR. The waste is source material and
     byproduct material and is regulated exclusively under AEA. Can’t treat West Lake like
     just another municipal landfill, etc.



                                                  32
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 853
                                                         Page: 34ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2534
                                                                                   2748



     We disagree with the inference that AEA has exclusive jurisdiction over the wastes at the
     Site. CERCLA provides authority to clean up the Site. Section 104 provides the
     authority to respond to releases of hazardous substances, which has a very broad
     definition and includes those subject to the AEA. Section 106 provides the authority to
     issue orders and to secure injunctive relief for the cleanup of sites and section 122
     provides a statutory process for settlements. In addition, CERCLA provides that if the
     responsible parties do not agree to perform the studies, investigations, and response
     actions found to be necessary by EPA, EPA may use trust fund money to clean up a site
     and pursue the PRPs for cost recovery. It is a very comprehensive statute which also
     acknowledges that specific requirements under other environmental laws may be
     considered relevant and appropriate if they apply to contaminants and/or activities that
     are sufficiently similar to that being addressed by the CERCLA action. See section 13.2
     of the OU 1 ROD for a description of all ARARs.

     In addition, NRC (the successor agency to AEC) by letter dated June 16, 1995, deferred
     its regulatory authority to EPA for the remedial actions at the Site. The letter, which can
     be found in the Administrative Record for OU 1, acknowledges that the materials at the
     Site are within the authority of CERCLA which can require the remediation of both
     radiological and nonradiological wastes.

     The Resource Conservation and Recovery Act (RCRA) Subtitle D provides the
     requirements for municipal solid waste landfills. Since the disposal in Areas 1 and 2
     occurred prior to the effective date of RCRA Subtitle D, these requirements are not
     applicable. However, like a solid waste municipal landfill unit, the Site Areas 1 and 2 are
     land disposal units containing large volumes of miscellaneous municipal solid waste.
     Most of the wastes in the Site Areas 1 and 2 are very similar to the sort of wastes to
     which RCRA Subtitle D regulations and corresponding state requirements are intended to
     apply. Therefore, in carrying out any action to close these units, it is appropriate to meet
     the solid waste requirements for closure and post-closure care. The mere presence of
     soils contaminated with long-lived radionuclides mixed in with the larger volume of
     municipal solid waste does not alter this fundamental conclusion. Since Areas 1 and 2
     are like a municipal solid waste landfill and the Selected Remedy is containment, the
     various requirements for closure and post-closure care identified in the Missouri solid
     waste rules for sanitary landfills are considered relevant and appropriate.

     RCRA Subtitle C regulations provide performance standards for the treatment, storage,
     and disposal of RCRA hazardous wastes. Since the disposal in Areas 1 and 2 occurred
     prior to the effective date of RCRA Subtitle C, these requirements are not applicable. In
     addition, there are no records or other evidence that RCRA hazardous wastes were
     disposed of in these landfill units. However, the remedy for the Site involves permanent
     land disposal of hazardous substances; therefore, it was considered reasonable to review
     various closure and post-closure care requirements. During this review, however, no
     RCRA Subtitle C requirements were identified as relevant and appropriate.

     The radiological materials at the Site derive from the processing of uranium ore.
     UMTRCA (40 CFR Part 192) amended the AEA by directing EPA to set generally



                                                 33
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 854
                                                         Page: 35ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2535
                                                                                   2749



     applicable health and environmental standards to govern the stabilization, restoration,
     disposal, and control of effluents and emissions at both active and inactive uranium mill
     tailing sites. These requirements only apply to active and designated inactive uranium
     mill processing sites. The requirements are intended to apply to large tailings piles or
     impoundments. Areas 1 and 2 do not resemble tailings piles or impoundments. Areas 1
     and 2 contain low activity radioactively contaminated soils mixed with large volumes of
     municipal trash and construction debris. The radionuclides at the Site are similar to those
     found at uranium mill tailing sites; therefore, specific requirements under 40 CFR 192
     Subpart A and 40 CFR 192 Subpart B were carefully reviewed to determine which should
     be considered relevant and appropriate to remedial actions at OU 1. Due to the presence
     of the long-lived radionulcides similar to those found at uranium mill tailings sites, the
     state solid waste requirements have been augmented to include appropriate closure and
     post-closure care requirements from the UMTRCA regulations. Therefore, the Site is not
     being treated as just another landfill. In addition, see the discussion below relating to
     other ARARs.

     2. The Plan should consider as an ARAR 10 CFR Part 40, Appendix A, “Criteria
     relating to the operation of uranium mills….”

     These NRC requirements apply to license applicants for the design and operation of a
     uranium mill. Some of the requirements for the disposition of tailings piles and
     impoundments could be considered relevant and appropriate to the remedy for OU 1.
     These requirements derive from standards set by EPA under UMTRCA. UMTRCA
     directed EPA to set standards for the stabilization, disposal, and control of uranium and
     thorium mill tailings. These standards were promulgated in 40 CFR 192. The NRC
     decommissioning rules are excluded from application to uranium and thorium recovery
     facilities subject to 40 CFR 192. The Selected Remedy will meet relevant and
     appropriate requirements from 40 CFR 192 as described in section 13.2 of the OU 1
     ROD.

     The groundwater protection standards in 10 CFR Part 40 incorporate the basic
     groundwater protection standards imposed by EPA in 40 CFR Part 192. The
     groundwater protection standards under 40 CFR 192 are relevant and appropriate and will
     be complied with. Note that Criterion 5 applies to active surface impoundments and
     there is no such comparable activity for OU 1.

     3. It is true that Subtitle D closures do not typically include a rock armoring layer or a
     radon barrier; however, the solid waste closure requirements for the Selected Remedy
     have been supplemented with relevant and appropriate requirements from 40 CFR 192.
     As such, the conceptual cover system includes a rock armoring layer to address longevity
     considerations and a radon barrier. EPA’s Selected Remedy includes what the
     commenter suggested.

     4. Removal and consolidation of residual radioactive material will be used to address any
     contaminated material on the Crossroad Property consistent with the UMTRCA soil
     standards and EPA guidance on the use of these standards at CERCLA sites.



                                                 34
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 855
                                                         Page: 36ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2536
                                                                                   2750




     5. The Site involves low activity ore processing waste which was land disposed with
     municipal waste. Requirements for the management of spent nuclear fuel, high level, and
     transuranic wastes are not relevant or appropriate to any waste materials at the Site or for
     activities selected for implementation of the OU 1 remedy.

     6. Uranium was evaluated in the BRA as both a radiological and chemical toxin. This
     has been accounted for by the Selected Remedy.

     7. EPA’s presumptive approach to CERCLA municipal landfill sites is intended to take
     advantage of considerable experience with these kinds of sites. Approximately 20
     percent of the sites on the NPL are municipal landfill sites. These sites share many
     similar characteristics including large waste volumes and heterogeneous mixtures of
     municipal waste, frequently co-disposed with industrial and hazardous wastes. Many of
     these industrial and hazardous wastes are far more toxic and mobile in the environment
     than the radiolocically contaminated soils in OU 1. The basic purpose of this guidance,
     Application of the CERCLA Municipal Landfill Presumptive Remedy to Military
     Landfills, is to establish that the occurrence of waste types that may differ from a typical
     municipal landfill does not overturn the validity of the presumptive approach.

     Moreover, EPA did not rely solely on the presumptive remedy guidance to select a
     remedy for OU 1. Rather, the RI/FS process involved extensive characterization of the
     landfill waste materials and evaluation of an excavation and remote disposal alternative.
     EPA is not treating the Site as just another landfill. However, the results of this site-
     specific evaluation performed in the RI/FS confirmed the general experience forming the
     basis of the presumptive approach.

     II. An additional comment letter dated April 8, 2008, was sent by Bruce A. Morrison on
     behalf of the Great Rivers Environmental Law Center (copy attached).

     The commenter questions whether EPA should defer to the U.S. Army Corps of
     Engineers’ and/or the Earth City Levee District’s assessment that there is little risk that
     flood waters will reach the landfill’s contaminated waste.

     EPA is not deferring to the U.S. Army Corps of Engineers or the Levee District on the
     potential for flood waters to reach the landfill or on any other aspect of the Selected
     Remedy. Moreover, the U.S. Army Corps of Engineers and the Levee District have
     offered no such assessment. EPA invited the U.S. Army Corps of Engineers and the
     Levee District to present information on the levee system due to the public interest on
     this subject.

     The protectiveness of the Selected Remedy does not rely on the levee system. Even in
     the event the levee failed or was overtopped, the resultant flood water would have
     minimal impact on the landfill.




                                                  35
                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 856
                                                         Page: 37ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2537
                                                                                   2751



     4. Missouri Coalition for the Environment

     I. The headings used to organize this response are not EPA’s and were taken from the
     December 29, 2006, comment letter from Kathleen Logan-Smith, Executive Director,
     submitted on behalf of the Missouri Coalition for the Environment (copy attached).
     All of the subjects covered by this comment letter have been thoroughly studied,
     presented, and considered in the decision process for the Site. The Coalition’s comments
     contain many factual errors and misinterpretations of the technical information. This
     response is intended to provide a more accurate representation of the subject matter
     raised by each of these comments.

     In the Coalition’s introductory remarks, a request was made for an extension of the
     comment period. The comment period opened on June 14, 2006; was extended until
     August 14, 2006; was extended again to October 14, 2006; and was extended again until
     December 29, 2006; as requested by St. Louis County on the Coalition’s behalf. Since
     EPA’s Proposed Plan and Administrative Record had been available for review and for
     comment for more than six months, EPA determined that the comment period was
     sufficient. Initially, EPA held two public meetings (one on June 22, 2006, and another on
     September 14, 2006) which were attended by many local residents, public and elected
     officials, and many of the commenters. During the two public meetings, the attendees
     were provided with information about the CERCLA process, the studies, and
     investigations performed at the Site and the Proposed Plan. Oral comments were taken
     from those present including this commenter, the members of the public, and elected
     officials. EPA did not refuse to meet with public officials as asserted by the commenter,
     but EPA did not agree to have an off the record meeting with these officials during the
     public comment period.

     In response to public comment on the levee system and flood plain issues, EPA decided
     to reopen the public comment period and hold a third public meeting. The comment
     period was reopened and the public meeting was held on March 27, 2008, at the
     Bridgeton Community Center to present more information on flood protection issues. In
     addition, more information was placed in the Administrative Record regarding these
     issues. The second comment period was closed on April 9, 2008.

     These Are Not Uranium Mill Tailings

     See General Response regarding Belgian Congo ore. See section 13.2 of the ROD for
     ARARs analysis.

     The West Lake Waste is Hot and Getting Hotter

     The 1988 NRC report (NUREG – 1308) and the RI/FS documents explain that one of the
     effects of the ore processing is the naturally occurring U-238 to Th-230 to Ra-226
     equilibrium has been altered. The ratio of Th-230 to Ra-226 is much greater than would
     be the case if these radionuclides were in equilibrium. Therefore, radioactive decay of
     Th-230 will increase the concentration of its decay product Ra-226 with time until these


                                                36
                                                                                                   Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 857
                                                         Page: 38ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2538
                                                                                   2752



     radionuclides are again in equilibrium. Ra-226 and its daughters are principal risk drivers
     in this decay series and therefore the radiological hazard from potential exposure to these
     materials will increase with time until equilibrium is reached. Also, increased Ra-226
     concentrations will lead to increased radon generation. These factors were taken into
     account when evaluating the remedial alternatives. The engineered cover system will be
     designed to account for future ingrowth of Ra-226 and future radon gas generation.

     It is worth noting that the NRC staff was working with limited radiochemical data from
     the 1982 radiological survey report prepared by RMC. Because they had such limited
     Th-230 data and in the interest of ensuring conservatism in estimating the long-term
     ingrowth of Ra-226, the NRC staff used a Th-230:Ra-226 ratio of 100:1 to estimate Th-
     230 activity from the mean concentration of Ra-226. The survey data indicated an
     average Ra-226 concentration of 90 pCi/g, which was used to estimate an average Th-230
     concentration of 9,000 pCi/g.

     The more extensive soil analytical results collected during the RI have allowed some
     better estimates. The arithmetic average values of Th-230 and Ra-226 from all of the
     Area 2 samples were 2,140 and 189 pCi/g, respectively. Therefore, the average Ra-226
     concentration from the RI data is about double the concentration determined by RMC,
     but the average Th-230 concentration is about one fourth the NRC estimate. The Th-
     230:Ra-226 ratio is actually 11:1, or about an order of magnitude less than that used by
     the NRC in their calculations. Accounting for the ingrowth of Ra-226 due to the decay of
     2,140 pCi/g of Th-230 results in an estimated average Ra-226 concentration of 749 pCi/g
     in 1,000 years. However, in that same 1,000 years, the existing 189 pCi/g of Ra-226
     would decay to 123 pCi/g resulting in a total estimated average concentration of Ra-226
     of 872 pCi/g after 1,000 years.

     It is unclear what the commenter intends to convey by providing this partial quote from
     the 1988 NRC report: “….even a small concentration of Ra-226 in 1988 implies such a
     large concentration later that it will be necessary to employ more difficult measurement
     techniques to confirm that the cleanup has been satisfactory.” This is merely an
     elaboration on the point by NRC that the controlling radionuclide (Th-230) is a weak
     gamma emitter and, in isolation from the other radionuclides, cannot be reliably detected
     at low levels using the field survey detectors.

     The commenter points out conclusions in the 1988 NRC report quoting: “Under these
     conditions, onsite disposal, if possible, will likely require moving the material to a
     carefully designed and constructed ‘disposal cell.’ ….Any possibility of disposal on site
     will depend on adequate isolation of the waste from the environment, especially for
     protection of the groundwater.”

     These statements need to be looked at in context. In its 1988 report, the NRC, working
     with limited data, looked at the applicability of its 1981 BTP, which outlines options for
     residual contamination at processing sites. Since the circumstances at the Site did not fit
     any of the prescribed options in the BTP, they made a presumption as to the likely need
     for a disposal cell. As the report goes on to explain, the conclusions were not based on



                                                 37
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 858
                                                         Page: 39ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2539
                                                                                   2753



     comprehensive field study or engineering evaluation which should be performed before
     major questions can be resolved and any final judgment is made regarding the
     appropriate remedy. EPA has since gone on to perform the necessary study (the RI and
     all the studies that are comprehended within it) and evaluation (the FS). EPA agrees with
     the statement that the feasibility of on-site disposal depends on adequate isolation of the
     waste and protection of the groundwater. Data collected during the RI/FS support
     conclusions that the Selected Remedy meets these expectations and will provide that
     protection.

     Consider Other Radionuclides

     All of the radionuclides in the waste materials have been considered in the evaluation of
     this Site. The wastes contain naturally occurring uranium-238, thorium-232, uranium-
     235, and all the associated daughters in these decay series. For purposes of site
     characterization and risk assessment, the radionuclides with relatively long half lives, are
     used as indicators for all members of their associated decay chains. The occurrences of
     the short-lived daughters are inferred from the concentrations of these long-lived
     indicators and thus are considered. Also, risk assessment methodology is designed to
     account for dose contributions from all radionuclides in the decay chain; these were
     accounted for in the BRA.

     As opposed to the suggestion in the comment, the remedy prevents migration of
     contaminants to groundwater and does not rely on dilution. See General Response on
     groundwater protection.

     The Radionuclides Are in the Groundwater

     Significant migration of radionuclides to groundwater or perched water within the landfill
     waste material has not occurred. As presented in the RI, the results of extensive
     groundwater monitoring indicate some isolated impacts to the shallow groundwater from
     the landfill activities. Radionuclides, total petroleum hydrocarbons, VOCs, SVOCs,
     pesticides, and trace metals have all been detected. Most of these occur sporadically and
     at trace levels. Most of the results for radionuclides and trace metals are consistent with
     background, although several detections of radium and arsenic have exceeded drinking
     water standards (MCL). The one leachate seep came from perched groundwater in the
     southwest corner of Area 2. The seep is an intermittent flow resulting from periods of
     extended rainfall. The seep flows over the ground for a short distance before evaporating
     or infiltrating back into the subsurface. The results from analysis of the seepage were
     consistent with the results obtained from the perched groundwater, i.e., it contained
     constituents from the uranium-238 decay series at levels similar to background. It also
     contained some VOCs, SVOCs, trace metals, pesticides and total petroleum
     hydrocarbons. While a single sample is considered sufficient to confirm the relationship
     between the seep and the perched groundwater, the seep is not considered a significant
     pathway for off-site migration because of its low flow and the fact that the seepage does
     not migrate off-site. In any event, following implementation of the Selected Remedy, the




                                                  38
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 859
                                                         Page: 40ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2540
                                                                                   2754



     installed landfill cover will prevent the infiltration that is the source of the perched water
     and the seep. See General Response on groundwater protection.

     The Groundwater is Moving

     The hydrogeologic setting, including groundwater levels and gradients, has been
     thoroughly investigated and evaluated. Detailed descriptions are provided in the RI
     reports for OU 1 and OU 2. All of this information has been factored into EPA’s
     decision process for this Site. Based on studies conducted during the RI, groundwater
     movement in the alluvial aquifer is predictable and contaminant monitoring is very
     straightforward. There are no unusual or atypical conditions that would introduce
     unreasonable difficulties or uncertainties.

     The alluvial aquifer has a relatively high hydraulic conductivity but the water levels show
     generally flat gradients that range below 0.0001 ft/ft. The site straddles the edge of the
     alluvial valley where the bedrock and the alluvium meet. The shallow groundwater
     underlying the Site is heavily influenced by the presence of the permitted sanitary landfill
     which operates leachate collection sumps in the upper bedrock units at the former quarry
     pits which create a groundwater sink that causes shallow groundwater across much of the
     Site to draw down toward the sanitary landfill. The alluvial water level in piezometers
     near the sanitary landfill is actually about 80 to 150 feet above the leachate riser level in
     the landfill. If pumping were to cease, water levels would return to the natural water
     level in the alluvial aquifer; however, this would not effect the performance of the
     remedy for OU 1 because the landfilled material at Areas 1 and 2 are above the natural
     water table. Currently, there are no alluvial pumping wells at Earth City or in the vicinity
     of the Site and current state regulations prohibit placement of water wells within 300 feet
     of a landfill. Nevertheless, assuming an alluvial pumping well was placed in close
     proximity to the Site, most of the inflow would be from the direction of the river but it
     could draw a lesser contribution from the direction of the Site. Since the natural water
     table has a lower elevation than the radiological waste material at Areas 1 and 2, this
     would have no influence on the potential for Site contaminants to migrate to groundwater
     and would have no influence on the performance of the landfill cover. Note that the
     nearest registered well is a bedrock well located one mile northeast of the Site. The
     closest alluvial well is about 2.5 miles south.

     The alluvial aquifer consists of unconsolidated sediments including gravels and sands.
     It is not unusual to encounter caving sands when drilling or boring in this hydrogeologic
     setting. The caving sands are not caused by either water or wind and are not moving with
     the groundwater, but rather they are unconsolidated river deposits that move to fill the
     void introduced by the drilling process. This condition did present some difficulty for
     boring and monitoring well installation in certain locations. One of the 52 planned
     borings had to be re-located because caving sand prevented boring to full depth in the
     original location. Also, drilling additives needed to be used to counteract caving sands
     for three of the monitoring well installations. These alluvial sands have nothing to do
     with the prospect of radionuclides in the landfill migrating to groundwater.




                                                   39
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 860
                                                         Page: 41ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2541
                                                                                   2755



     The groundwater monitoring results collected during the RI phase address the potential
     for colloid-facilitated contaminant transport. The groundwater sampling and analysis
     included both filtered and unfiltered samples. The monitoring results include
     contaminants found in both the aqueous phase and the solid phase. This will be true of
     the long-term groundwater monitoring program as well.

     The Waste is Not Just in Water

     The RI/FS does not rely on assumptions about solubility to determine what is in the
     leachate/perched water and groundwater. The results of direct sampling and analysis are
     presented in the RI. The perched water shows some low levels of VOCs and metals.
     Radionuclide values from the perched water were in the background range. EPA
     generally agrees with the conclusion cited by the commenter from the 1988 NRC study,
     i.e., some low-level contamination of groundwater has occurred and the present
     disposition of the wastes may not be adequately protective of the groundwater over the
     long term. Installation of a landfill cover designed to limit surface water infiltration will
     address this concern.

     The Radioactive Contamination Has Already Moved Off-Site

     Most of the radionuclide occurrences at the locations cited in this comment are due to
     original deposition not migration. However, erosional transport of contaminated soils is a
     pathway of concern that will be addressed by the remedy. Some erosional transport of
     radionuclides has occurred in the past, e.g., the contamination on the Buffer
     Zone/Crossroad Property adjacent to Area 2 and contamination in the drainage ditch
     along the access road adjacent to Area 1. Consolidation and containment under an
     engineered landfill cover will prevent any soil or sediment migration from happening in
     the future.

     A History of Assumptions That Proved Wrong

     One of the objectives of the Selected Remedy is to put controls into place including a
     formal O&M plan. This will ensure that the physical remedy and institutional controls
     are subject to periodic surveillance, maintenance, and reporting. O&M for the Site is not
     an assumption but rather a requirement that can be enforced.

     State and Federal Agencies Are Not Paying Attention

     This comment refers to the erosional event that deposited contaminated soil on the
     adjacent Buffer Zone/Crossroads Property. Erosional transport of contaminated soils is a
     pathway of concern that will addressed by the remedy. The remedy requires that any
     contamination on the Buffer Zone/Crossroads Property be consolidated onto the disposal
     area prior to installation of the landfill cover. The remedy does not rely on vegetation to
     limit wind and water migration of contaminants. The cover will ensure that waste
     materials in the landfill will not be exposed to erosion in the future.




                                                  40
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 861
                                                         Page: 42ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2542
                                                                                   2756



     Institutional Controls are Meaningless Over Eons

     While EPA would agree that documents from 700 A.D. would be difficult to locate on
     this continent, EPA has had success locating land records in Missouri dating back to the
     early 1800s. Modern record keeping has greatly improved, and electronic record keeping
     has revolutionized the availability of data once difficult to locate and read. Many historic
     records have been transferred to electronic media.

     The Missouri legislature recently passed the Missouri Environmental Covenants Act
     (MECA) which provides for a better and more durable use restriction than under
     previously existing common law. The ROD requires land-use restrictions be
     implemented using the type of environmental covenants described in MECA.

     The Air We Breathe

     Air sampling was performed during the RI phase and confirmed that airborne transport of
     fugitive dust is not a pathway of concern under the current conditions. However,
     airborne transport of contaminated soil or dust may have occurred in the past, especially
     during the period that the material was placed in the landfill back in 1973. Given the
     episodic nature of the potential release and assuming typical patterns of fugitive dust
     dispersal, it is extremely unlikely that this process could have resulted in any measurable
     accumulation of contamination at off-site locations.

     An extensive study of background radionuclide concentrations was not performed;
     however, gamma exposure rates were recorded and soil samples were collected from
     several locations near the Site. The results were consistent with background values from
     other investigations in Missouri.

     There is no evidence that the 1993 flood had any impact whatsoever on the Site. Given
     its location inside the Earth City Levee, this event could not have resulted in any
     redistribution of materials.

     The discussion in the Proposed Plan on National Emissions Standards for Hazardous
     Pollutants (NESHAP) is part of the determination as to what environmental requirements
     are considered ARAR. Under CERCLA, requirements under other environmental laws
     may be applicable if they are specifically intended to apply to the circumstance being
     addressed. Even if not applicable, requirements may be considered relevant and
     appropriate if they apply to a circumstance that is sufficiently similar to the circumstance
     being addressed by the CERCLA action. The Site is not a designated uranium mill
     tailing pile, therefore, the NESHAP standard for radon-222 emission is not applicable.
     However, the requirement is considered relevant and appropriate and will be met.

     Inadequate Alternative Analysis

     Most of the claims and conclusions provided in this comment are in error and simply not
     supported by the available information. All practicable alternatives have been considered



                                                  41
                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 862
                                                         Page: 43ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2543
                                                                                   2757



     for the Site. The RI/FS for the Site did not rely only on EPA’s presumptive remedy
     guidance for CERCLA municipal landfill sites. For example, the RI/FS included
     thorough in-situ waste characterization and evaluation of large-scale waste excavation as
     a remedial alternative. This extensive site-specific analysis did reconfirm many of the
     basic experiences and observations around which the presumptive remedy guidance is
     built.

     CERCLA municipal landfill sites share many similar characteristics including large waste
     volumes and heterogeneous mixtures of municipal waste, frequently co-disposed with
     industrial and hazardous wastes. In many cases, the hazardous chemical substances are
     much more toxic and more mobile in the environment than the radionuclides contained at
     the Site. In some cases, these sites contain industrial wastes with radiological contents
     similar to the Site radiological residues, including oil and gas production wastes and
     water treatment plant sludges. The Feasibility Study Analysis for CERCLA Municipal
     Landfill Sites (EPA540/R-94/081), which provides a technical basis for the presumptive
     remedy guidance, considered full-range FSs at 30 municipal landfill sites. In all cases,
     containment in place was the primary remedy selected. Where containment is feasible,
     wholesale excavation and removal of a landfill simply does not compare favorably with
     containment when evaluated against the nine evaluation criteria from the NCP.

     Groundwater flows in the alluvial and bedrock formations that underlie the Site. This
     fact was not ignored and, in fact, was studied quite extensively. No current or future
     sources of groundwater are contaminated. Groundwater protection is a principal goal of
     the Selected Remedy and remedy performance will be verified through groundwater
     monitoring. Active groundwater remediation options were not considered as part of the
     evaluation process because the data collected during the RI showed that there are no
     contaminant plumes or significant groundwater releases associated with the landfill areas.

     We did not find any consideration of groundwater intercept approaches in the 1982 NRC
     report; however, we do generally agree with the basic conclusions provided in the report
     that the lack of radiological contamination found in groundwater and leachate indicates
     that the ore residues are not soluble and are not moving off-site via groundwater. The
     landfill cover system will be designed to mitigate surface water infiltration. The cover,
     together with long-term groundwater monitoring, ensures that the Selected Remedy will
     address any ongoing groundwater concerns.

     The Niagra Falls Storage Site involved above ground storage silos containing the radium-
     bearing K-65 residues. The situation at the Site is not comparable. See general responses
     above on risk and Belgian Congo wastes.

     The Evaluation of Alternatives is Flawed

     The evaluation of the alternatives in the FS is comprehensive and does not focus on cost,
     as charged by the commenter. As indicated previously, EPA reviewed the investigations
     and the studies prepared by the PRPs; the Proposed Plan itself was prepared by EPA. The
     alternative proposed in the plan was based on consideration of all of the evaluation



                                                42
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 863
                                                         Page: 44ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2544
                                                                                   2758



     criteria provided in Superfund’s implementing regulations (the NCP). Many
     considerations beyond cost work against the excavation alternative including the greater
     potential for human exposures and increased physical hazards during implementation.
     See general response above on PRP-lead RI/FS.

     The Plan Does Not Fully Consider Human Health Risks

     The plan does fully consider human health risks. The human health risk assessment
     was conducted in accordance with EPA’s Risk Assessment Guidance for Superfund,
     Volume 1, Human Health Evaluation Manual. It is true that the biological effects
     associated with chronic exposure to ionizing radiation in the environment may include
     carcinogenicity, i.e., induction of cancer; mutagenicity, i.e., induction of mutations in
     somatic or reproductive cells, including genetic effects; and teratogenicity, i.e., effects on
     growth and development of an embryo or fetus. However, the cumulative risk of cancer
     due to chronic exposure is considered to be many times greater than the risk of genetic or
     teratogenic effects. Therefore, under EPA guidance, evaluation of teratogenic and
     genetic effects is not required because these risks are small in comparison. Similarly,
     consideration of acute effects is not required since these effects occur at much higher
     doses than any potential doses being addressed at the Site.

     Again, it should be kept in mind that the purpose of the BRA is not to evaluate each and
     every conceivable risk. The purpose is to determine whether acceptable risk thresholds
     are exceeded, in which case there is a basis for taking a response action under CERCLA
     and EPA reaches this conclusion in the Proposed Plan and the ROD.

     The remedy selected in the ROD is designed to address all potential pathways for human
     exposure. In preventing human exposure to Site contaminants through these pathways,
     the Selected Remedy addresses all types of potential health effects. Residential use of the
     landfill was not evaluated because the process is designed to examine risks under current
     and reasonably anticipated land use. The potential health risk posed by direct
     consumption of the contaminated groundwater was not calculated. There are no
     significant offsite areas of groundwater contamination attributable to the contaminants in
     Areas 1 and 2. As a matter of policy, EPA generally does not calculate the risk from
     drinking groundwater on landfill sites because such activity is incompatible with the land
     use. Moreover, the remedy for CERCLA landfill sites presumes the need to protect
     groundwater from any ongoing or potential contaminant migration.

     See sections 5 and 8 of the ROD for a discussion of migration pathways and remedial
     action objectives.

     See general responses above on risk and groundwater.

     It is not clear where the commenter’s information on water wells comes from but it does
     not appear to be current. Based on information from the state of Missouri, there are no
     registered wells between the Site and the Missouri River in the direction of regional
     groundwater flow. The nearest registered well is about one mile northeast of the landfill



                                                  43
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 864
                                                         Page: 45ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2545
                                                                                   2759



     and is drilled to 245 feet indicating bedrock completion. The closest registered well that
     appears to be completed in the alluvium is 2.5 miles south of the landfill. A review of
     unregistered wells, i.e., private wells installed before the adoption of formal registration
     requirements, was also conducted. Field reconnaissance of unregistered wells in the area
     found only one existing well. The owner indicated that the well is no longer used
     because the property is serviced by municipal water.

     The Proposed Plan Fails to Apply Appropriate Legal and Scientific Standards

     EPA disagrees that the remedy fails to protect public health and the environment. The
     various environmental requirements were determined by EPA in consultation with
     MDNR. See ROD section 13.2 for a list of ARARs. Although operated prior to RCRA
     regulation, the Site Areas 1 and 2 are land disposal units containing large volumes of
     miscellaneous municipal solid waste. Most of the wastes in the Site Areas 1 and 2 are
     very similar to the sort of wastes to which RCRA Subtitle D regulations and
     corresponding state requirements are intended to apply. Therefore, in carrying out any
     action to close these units, it is appropriate to meet the solid waste requirements for
     closure and post-closure care. The presence of soils contaminated with long-lived
     radionuclides mixed in with the larger volume of municipal solid waste does not alter the
     fundamental conclusion that Areas 1 and 2 are similar to municipal solid waste units.
     Due to the presence of the long-lived radionulcides similar to those found at uranium mill
     tailings sites, the state solid waste landfill closure and post-closure care requirements
     have been augmented to include appropriate closure and post-closure care requirements
     from the UMTRCA regulations.

     RCRA requirements that have been identified as relevant and appropriate are the
     Missouri solid waste regulations for closure and post-closure care. There are no
     requirements for risk assessment or otherwise that would limit the time frame over which
     the remedy must remain protective. Also, it should be pointed out again, that the
     Selected Remedy is a response action under CERCLA not RCRA. Under CERCLA, the
     remedy must be maintained for as long as hazardous substances, pollutants, or
     contaminants remain on-site above levels that allow for unlimited use and unrestricted
     exposure. A statutory review of the remedy must be conducted to confirm that the
     remedy remains protective no less often than every five years.

     Removal Can Be Achieved

     Removal of waste materials from the Site is feasible. That is not in question. The
     question is what available option for remediating the Site provides the best balance of
     trade-offs against the nine evaluation criteria provided in the NCP. See general responses
     above on FUSRAP and comparative analysis.

     There is No Better Time to Remove the Waste

     The results of various field investigations over the years, including the RI, do not support
     any of the statements contained in this comment. The groundwater data fully



                                                  44
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 865
                                                         Page: 46ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2546
                                                                                   2760



     demonstrate that contaminants are not migrating in the fashion described. There are no
     impacts to any current or future drinking water sources. The Selected Remedy addresses
     all potential migration pathways and ensures long-term protection of human health and
     the environment.

     II. Additional comments were submitted on behalf of the Missouri Coalition for the
     Environment in an April 9, 2008, letter from Kathleen Logan-Smith, Executive Director
     (copy attached). These comments are addressed below.

     Comment 1: The commenter cites the Site OU 1 FS Report which states that the RI was
     not designed to support definitive conclusions about the potential for contaminants to
     leach to groundwater over time. It also concludes that leaching of contaminants to
     groundwater is a potential migration pathway that must be addressed by the remedial
     action. The commenter proposes that these statements are evidence that the RI did not
     fully investigate and explore groundwater contamination and questions how EPA could
     therefore conclude that the groundwater is protected.

     Response 1: The commenter has misinterpreted the meaning of these statements. The
     groundwater investigations conducted during the RI were designed to characterize the
     current nature and extent of contaminant migration to the groundwater. The results of
     these investigations can be used to confidently draw conclusions about the current extent
     of groundwater contamination and can be used to support qualitative judgments about the
     leaching potential of the contaminants in the source areas. However, these investigations
     are not considered sufficient to rule out leaching to groundwater as a pathway of concern
     at some point in the future if no response action is taken. It was not part of the intent of
     the RI to undertake the sort of studies that might be necessary to make the case that a
     barrier to surface infiltration is unnecessary. Consistent with this approach, the Selected
     Remedy requires a landfill cover designed to shed water and minimize infiltration.

     Comment 2: The commenter questions the completeness of the groundwater data and
     the validity of EPA’s conclusions regarding groundwater contamination given that many
     of the perimeter monitoring wells are identified in the FS as damaged or no longer
     existing.

     Response 2: The wells that are identified as no longer existing were lost due to
     construction along St. Charles Rock Road and development on the Crossroad Property
     after the RI investigations had been completed. The fact that these wells are no longer in
     service does not invalidate the data collected during multiple rounds of groundwater
     sampling during the RI. Going forward, EPA will be relying on a long-term groundwater
     monitoring program that will be designed, implemented and maintained as part of the
     remedial design/remedial action process. Specific monitoring locations, sampling
     frequencies, and analytical parameters will be developed according to the objectives
     identified in section 12 of the ROD. New monitoring wells will be installed as necessary
     to accomplish these objectives.




                                                 45
                                                                                                      Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 866
                                                         Page: 47ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2547
                                                                                   2761



     Comment 3: Groundwater is present in the bedrock. What evidence does EPA rely on
     to conclude that bedrock aquifers are: (1) not impacted by radiotoxic materials, and (2)
     not likely to be impacted by radiotoxic materials?

     Response 3: Both alluvial and bedrock aquifers are present at the Site. Alluvial deposits
     of varying thickness are present over most of the northern half of the Site ranging from
     less than 5 feet in the vicinity of Area 1 and increasing in thickness in the direction of the
     river to approximately 100 feet beneath Area 2. The monitoring well network was
     designed to give coverage across the Site at shallow, intermediate, and deep intervals.
     Many of the monitored intervals are in bedrock. Likewise, in the long-term monitoring
     program, many of the monitored intervals will be in bedrock.

     The groundwater monitoring data collected to date did show the presence of
     radionuclides in the shallow groundwater beneath the Site, but the radiological
     contaminants occur at low concentrations that are generally consistent with background
     levels. The data do not indicate the presence of groundwater plumes or contiguous areas
     of groundwater contamination associated with the landfill area. Groundwater transport of
     contaminants to off-site areas does not appear to be significant under current Site
     conditions. The long-term monitoring program will be designed to detect contaminant
     migration to the groundwater, including the bedrock aquifer, should such a condition
     develop sometime in the future.

     Comment 4: The risk assessment did not address irrigation scenarios from groundwater
     or the risks from flood waters carrying radionuclides onto crop fields. The risk
     assessment took a very short view of very long-lived wastes. Thus, it was inadequate and
     should not guide decisions about the Site.

     Response 4: The Selected Remedy requires institutional controls to prevent the use of all
     groundwater underlying the Site. In addition, the Missouri Well Construction Code
     prohibits the placement of wells within 300 feet of a landfill. Because there are no
     sources of groundwater contaminated with radionuclides, irrigation would not result in a
     complete pathway for exposure to radionuclides under current conditions.

     The specific purpose of the BRA is to establish a statutory basis for taking a response
     action. The BRA was prepared according to Superfund guidelines to estimate risks under
     a range of scenarios assuming reasonably anticipated land use. There is no expectation
     that the BRA evaluate every possible scenario. See General Response 3 on the potential
     for flood water impacts.

     After the Selected Remedy is in place, there is no foreseeable mechanism that would
     result in radionuclides being carried away by flood waters.

     As to the BRA taking a short view, the future exposure conditions were evaluated based
     on the future source term which accounts for radionuclide ingrowth and decay over a
     1,000-year study period.




                                                  46
                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 867
                                                         Page: 48ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2548
                                                                                   2762



     Comment 5: Referring to erosional transport of contaminated soils from the western
     portion of Area 2 onto the adjacent Buffer Zone/Crossroad Property, the commenter
     suggests that erosion of contaminated material off-site will continue to be a problem and
     asks what volume we can expect to erode off the site over thousands of years.

     Response 5: As has been demonstrated through sampling and documented and explained
     in the FS, significant areas of radionuclide-contaminated soils in Areas 1 and 2 are
     currently located at or near surface. Although mostly vegetated now, these areas have
     been and could be subject to rainwater runoff and sediment transport as well as potential
     erosional events. In one erosional event, mudflow on the western portion of Area 2
     transported contaminated soils to the adjacent Buffer Zone/Crossroad Property resulting
     in surficial contamination of the eastern edge of the property. In addition, rainwater
     runoff has resulted in minor amounts of sediment transport to the drainage ditches along
     the landfill access roads. The Selected Remedy is designed to eliminate these conditions.
     After the multi-layer landfill cover has been installed, the contaminants will be isolated
     from rainwater runoff. The plan is to inspect and maintain the cover for as long as the
     landfill remains; however, even without such maintenance, the cover will function in this
     regard long past the foreseeable future.

     Comment 6: The commenter suggests that the contamination on the Buffer
     Zone/Crossroad Property will pose a threat in the future if the Earth City Levee were to
     fail and the flood waters were to encroach on the toe of the landfill.

     Response 6: The data demonstrate that the contaminant concentrations on the Buffer
     Zone/Crossroad Property are very low, marginally above background, and may very well
     meet unrestricted use standards under current conditions. Neither flooding nor any other
     transport mechanism could redistribute these contaminants in a way that would pose any
     sort of health threat. More importantly, the Selected Remedy requires that any soils on
     this property exceeding standards for unrestricted use will be excavated and consolidated
     in the disposal area.

     Comment 7: The commenter questions the FS description of the Site as being two miles
     from the river when the Site is actually one-half mile closer to the river and wonders
     whether any of EPA’s assessments need to be adjusted to fit this reality, particularly
     relating to groundwater and the number and type of wells in range of the Site.

     Response 7: EPA agrees that describing the Site as one and one-half miles from the river
     is a more precise description. The FS description was intended for general orientation
     purposes and is not a material factor in any of the technical assessments. A regional well
     survey was performed using data from MDNR. There is no current groundwater use in
     the vicinity of the Site. The nearest well is a deep bedrock well located about one mile
     northeast of the Site. Figure 2-3 of the Site OU 2 FS shows the locations of registered
     wells in the vicinity of the Site. For easy reference, a copy of this figure is attached.




                                                 47
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 868
                                                         Page: 49ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2549
                                                                                   2763



     III.   Additional comments were submitted on behalf of the Missouri Coalition for the
     Environment in an April 9, 2008, letter from David Lobbig, President, Board of Directors
     (copy attached).

     Comment: In summary, the commenter attempts to make the case that EPA’s decision
     making in this case must be politically motivated. The argument is made by pointing out
     that long-lived radionuclides will remain toxic long after EPA, the United States
     Government, and civilization itself have ceased to exist. Since EPA knows that even a
     sincere promise to monitor the remedy must eventually come to an end, so the logic goes,
     EPA is engaging in delusion or falsehood by proposing to manage the waste in place.

     Response: EPA’s motivation is protection of human health and the environment in
     accordance with the mandates set out in the Superfund law and its implementing
     regulations. It is true that EPA’s assurances are subject to the limits of human capacity to
     plan for the future. This is true at the West Lake Site as well as the countless other
     Superfund sites and disposal sites where waste will be permanently managed. This is a
     limitation that cannot be overcome by moving the waste from one location to another.
     The reality is that all potential remedies are ultimately reliant on the durability and
     adaptability of human systems, and Superfund provides the current human construct
     under which we must work. Many commenters have expressed concern about the ability
     to assure protectiveness over the long term. See the response to General Comment 6
     above.

     5. Daniel W. McKeel, Jr., MD

     I.    The following responds to the December 29, 2006, comment letter provided by
     Dr. McKeel (copy attached).

     1. The commenter was part of a group of concerned stakeholders that met with
     representatives of St. Louis County to seek assistance in having the public comment
     period extended and arranging open dialogue meetings to discuss various issues on the
     Proposed Plan. The commenter is disappointed that these meetings were not arranged.

     Response: EPA generally welcomes and encourages open dialogue on site issues;
     however, EPA cannot hold off the record meetings of this sort during the public comment
     period. The NCP § 300.430 sets out specific requirements for public participation in the
     remedy selection process intended to ensure that the public has a reasonable opportunity
     to review the plan and submit written and oral comments. The public process used by
     EPA, i.e., public notice, structured public meeting format, recorded transcripts, etc., was
     established to meet these requirements. During the public comment period, EPA may not
     meet off the record and may not give special access to individuals or stakeholder groups
     outside the public process. All timely requests to extend the public comment period were
     granted, and the first public comment period was held open for over six months. In
     addition, there will be further opportunities for public involvement during the design and
     implementation phases of the remedy. If the group continues to have an interest in
     holding meetings, EPA would be more than happy to participate.



                                                 48
                                                                                                    Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 869
                                                         Page: 50ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2550
                                                                                   2764




     2. The commenter suggests that the absence of an off-site radiological contaminant
     plume is not confirmed because there are no off-site monitoring wells that could detect
     the migrating plume.

     Response: This comment reflects a misunderstanding of hydrogeology and the
     mechanisms of contaminant fate and transport. The first place to look for evidence of a
     groundwater contaminant plume is in the groundwater underlying and immediately
     downgradient of the contaminant source area. If groundwater monitoring data show no
     evidence of a contaminant plume underlying and immediately downgradient of the source
     material, then it is reasonable to conclude that there is no contaminant plume further
     downgradient that could be attributable to the source area of interest. The groundwater
     monitoring results for the Site indicate there is no radiological contaminant plume on-
     site; therefore, there is no radiological contaminant plume off-site. Further supporting
     this conclusion are the results from sampling and analysis of perched water within the
     landfill waste material itself, indicating no significant radiological contamination in the
     aqueous phase. See also the general response on groundwater study above.

     3. The commenter states that Spanish Village immediately abuts the landfill and that
     these residents will be at risk by leaving the waste in place.

     Response: The Spanish Village subdivision is located almost a mile from the southern
     extreme of the Site with intervening commercial development. It does not abut the
     landfill. Further, the residents of Spanish Village are not at risk from wastes at the Site
     because there is currently no reasonable pathway for exposure. See responses to General
     Comments above.

     II.    The following responds to written comments by Dr. McKeel dated April 9, 2008.
     The numbering applied here corresponds to the numbering of the comments (copy
     attached). Each significant comment is summarized here and followed by a response.

     The commenter states that the Site is not designed to safely contain radioactive wastes by
     any criteria of any regulatory agency (NRC, EPA, DOE, MDNR).

     Response: EPA is not proposing to take no action. Implementation of the Selected
     Remedy will safely contain the waste materials including the radiologically contaminated
     soils. Consistent with the Superfund law and implementing regulations, the Selected
     Remedy requires that ARARs be met. The Selected Remedy will meet appropriate
     closure and post-closure care requirements for both uranium mill tailing disposal sites
     and sanitary landfills. See section 13.2 of the ROD for a full description of these
     requirements.

     (1) The commenter states that violent rainstorms could relocate the radioactive soil
     within the confines of the landfill itself and cause runoff from the steep slopes. The
     commenter states that severe flooding is a danger, and EPA and MDNR understate the
     concern by disputing that the landfill is in a flood plain. The commenter states the Site is



                                                  49
                                                                                                     Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 870
                                                         Page: 51ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2551
                                                                                   2765



     protected by levees of the type that failed during Hurricane Katrina in New Orleans and
     that levee failure is certain at some point in the future.

     Response: As explained and documented in the RI/FS reports, some radiologically
     contaminated soils are currently located at or near the surface. EPA agrees that
     rainstorms have in the past and could in the future cause soils and sediments to be re-
     suspended or eroded. The Selected Remedy is specifically designed to prevent this from
     occurring. After the cover has been installed, the waste materials will be isolated from
     rainfall runoff.

     EPA does not dispute that parts of the landfill are built on the historic or geomorphic
     flood plain. This fact is well documented in the RI/FS reports and was presented at the
     third public meeting on March 27, 2008. It is also fact that the landfill is located behind
     the Earth City Levee system designed to exceed the 500-year flood protection level.
     Whether the Site is in a flood plain or not is a function of the definition being applied.
     There has been no intent on EPA’s part to confuse anybody on this issue.

     Note that Earth City is protected by an engineered levee system that is much more
     sophisticated and robust than the various agricultural levees and flood walls that failed or
     were overtopped during Hurricane Katrina. Nevertheless, the protectiveness of the
     Selected Remedy does not depend on the Earth City Levee system. In the unlikely event
     that the Earth City Levee fails or is overtopped, the resultant flooding would have little
     impact on the Selected Remedy. See the response to General Comment 3 for more
     explanation.

     (2) The commenter states that the Site is unlined and is not a hazardous waste landfill
     designed to contain radioactive waste. Although some municipal landfills similar to the
     West Lake Site do accept radiological waste, the practice is being reduced. No U.S.
     hazardous waste landfills are licensed to accept radiological waste of the Site’s type.

     Response: The purpose of the Site response action is to determine what should be done
     with existing landfill units. The Site will not be receiving any new waste streams. If the
     remedy for the Site involved excavation and commercial disposal of waste, as in FS
     Alternative 6 for example, then the licensing and waste acceptance criteria of potential
     receiving facilities would become relevant.

     The following is offered to help clear up some apparent confusion about what the
     Selected Remedy requires and how it fits in the regulatory frame work established under
     other environmental laws:

     The Selected Remedy requires that the landfill cover, at a minimum, meets the Missouri
     requirements for sanitary landfills. The cover will be designed to shed water and include
     a low permeability barrier to surface water infiltration. It is the cover system that
     functions to prevent water from contacting the waste material. Consistent with the
     requirements for uranium mill tailing sites, the cover design will be augmented as
     necessary to address the radiological concerns, i.e., the cap will be of sufficient thickness



                                                  50
                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 871
                                                         Page: 52ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2552
                                                                                   2766



     to shield the gamma radiation and the compacted clay component will also serve as a
     radon barrier.

     The Missouri sanitary landfill requirements derive from the RCRA Subtitle D rules.
     Hazardous waste landfill requirements derive from the RCRA Subtitle C rules. Briefly,
     the conventional Subtitle D design relies on natural materials and the low permeability
     component in the liner and cover is a compacted clay layer. The conventional Subtitle C
     design uses flexible membrane liners (FML). The Subtitle C design includes a double-
     lined leachate collection system.

     There is no RCRA hazardous waste in the Site, i.e., no listed chemicals or chemicals that
     are flammable, corrosive, mobile, or highly toxic. The Site is most like a municipal solid
     waste landfill which is why the Subtitle D design is considered more appropriate. In
     addition, the Subtitle D design is arguably more compatible with long-lived radioactive
     waste disposal which typically relies on natural material designs due to longevity
     considerations. The FMLs have a more limited design life than the natural materials.

     The commenter is correct that RCRA landfills are not licensed to accept waste streams
     that are regulated for their radiological content. However, there are no technological
     reasons that low-level radiological waste cannot be safely managed in a RCRA-permitted
     landfill provided that the cover design and long-term monitoring and maintenance plans
     are modified accordingly.

     (3) The commenter suggests NRC should have jurisdiction over the Site and questions
     the lack of NRC involvement. The commenter is interested in seeing a copy of the letter
     in which NRC defers oversight to EPA.

     Response: The Site was never licensed by NRC. However, the Site was listed on NRC’s
     Site Decommissioning Management Plan due to the radiological waste material having
     originated with one of its licensees. NRC followed up with some preliminary studies in
     the 1980s.

     In 1990, EPA placed the Site on the NPL. CERCLA provides the authority to clean up
     the Site. Section 104 of CERCLA provides the authority to respond to releases of
     hazardous substances which has a broad definition and includes substances subject to the
     AEA. There was coordination and cooperation between the two agencies as EPA
     initiated its RI process. In 1995, NRC staff recommended to the Commissioners that
     NRC defer regulatory oversight to EPA. The basis for the recommendation is
     documented in a paper dated March 9, 1995. NRC concluded that the Superfund
     program administered by EPA will protect public health and the environment. The
     recommendation was approved and formally sent to EPA under a letter dated June 16,
     1995. This document has been available in the Administrative Record for the Site. A
     copy is attached for ease of reference.

     (4) The commenter states that capping the waste is a temporary solution. Someday the
     wastes will need to be removed. The cost to excavate and move off-site will rise as the



                                                 51
                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 872
                                                         Page: 53ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2553
                                                                                   2767



     years go by. The commenter suggests that the Selected Remedy is a function of the
     regulatory climate being business friendly which may change after the elections.

     Response: The Selected Remedy is intended to be a permanent solution. The Selected
     Remedy is not a function of regulatory climate. It is a function of the requirements
     established by CERCLA and NCP. If the requirements are modified in the future, EPA
     will adhere to the then current requirements.

     EPA is required by statute to conduct periodic reviews (called Five-Year Reviews) for
     the purpose of certifying that the remedy continues to be protective of human health and
     the environment. Any changes to requirements or health standards will be factored into
     the evaluation. Based on significant new information, EPA can require new work and/or
     make changes to the remedy as necessary to protect human health and the environment.

     (5) The commenter claims that EPA and MDNR have misrepresented the difficulty of
     suppressing dust and other airborne emissions were the wastes to be excavated and
     transported off-site. Portable buildings with negative pressure filters and other similar
     technologies could be used. The commenter cites FUSRAP and another example of sites
     where excavation of waste materials was safely done. The commenter references
     information circulated by Kay Drey on dust-containment technologies.

     Response: There was no intent by EPA or MDNR to misrepresent the difficulty of
     suppressing airborne emissions during excavation of the wastes. However, this comment
     contains many inaccurate representations. As documented in the FS, it is clearly feasible
     to excavate waste materials from the Site. EPA has tried to convey that excavation of the
     wastes would come with many challenges and introduce potential risks that can be
     avoided by managing the material in place. Furthermore, excavation could be done using
     conventional dust suppression methods, work place monitoring, and personal protective
     equipment for the workers. It is unlikely there would be any need to resort to exotic
     solutions such as portable buildings.

     EPA has never declared that “cost was not a factor in remedy selection” as the
     commenter claims. On occasion, EPA has responded to oral comments by explaining
     that cost was not the only factor considered in remedy selection. Cost Effectiveness is
     one of five primary balancing criteria enumerated in the NCP against which the feasible
     alternatives are compared. The objective is to assess the relative advantages and
     disadvantages of each alternative when evaluated against these criteria. See section 10.0
     of the ROD for a summary of the comparative analysis.

     It should be noted that conditions at the St. Louis FUSRAP sites are not comparable to
     those at this west Lake Site. Large-scale excavation of municipal trash and debris from a
     landfill presents much greater challenges than large-scale excavation of accessible soils
     from mostly surface locations.

     EPA did receive an article circulated by Kay Drey about a portable shelter used at the
     Hanford site. This innovative shelter was used to facilitate targeted retrieval of drummed



                                                 52
                                                                                                  Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 873
                                                         Page: 54ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2554
                                                                                   2768



     wastes including transuranics and potentially pressurized drums, etc., from burial
     trenches. The primary purpose of this shelter is to protect workers from weather and
     temperature extremes. This allows workers in protective clothing to be more comfortable
     resulting in increased work time and productivity. Use of such a shelter would also
     protect against windblown migration of contaminants. The circumstances being
     addressed at the West Lake Site are not comparable to the Hanford situation. It is
     questionable whether this technology is useful or practicable for the circumstances at the
     Site where heavy excavation and earth moving equipment would be needed to perform
     the large-scale excavation of municipal trash from the Site.

     (6) & (7) These comments have to do with being denied open dialogue meetings during
     the public comment period. See the response to the first comment in Dr. McKeel’s first
     letter.

     (8) The commenter continues to have questions about whether new groundwater studies
     are planned and why the ROD was delayed.

     Response: As a result of EPA’s review of the public comments regarding the
     groundwater data, EPA decided to present more extensive summary of the groundwater
     data and analysis in the ROD. This work required some additional time and is the
     primary reason for not meeting the September 2007 projection. There are no additional
     groundwater characterization studies planned except as they relate to the design and
     implementation of the long-term groundwater monitoring program.

     (9) The commenter makes a series of points which are addressed as follows:

             (a) These questions about the levee system, flood plain status, and the impact on
     the Selected Remedy have already been addressed.

            (b) EPA developed a technical memorandum responding to Senator Bond’s
     concerns. A copy is attached.

             (c) See response to (8) above. The OU 1 ROD is the final planned ROD for the
     Site. There is no separate groundwater ROD planned for the Site. There is no evidence
     to support the commenter’s claim that contaminated groundwater has migrated off-site.
     As indicated by the presence of radionuclides in the upgradient and background wells,
     these radionuclides are naturally occurring. The well that was located on the St. Louis
     Rams Training Center in Earth City was a background location. It is upgradient of the
     Site. There is no plausible hydrologic mechanism for this well to be impacted by
     contaminants migrating from the Site. The relatively high levels of gross alpha from this
     location could be indicative of shale bedrock in the area.

     As has been addressed in a number of responses, the Selected Remedy will meet relevant
     and appropriate closure and post-closure care requirements. The landfill cover will
     provide the barrier to prevent water from contacting the waste material. This is the
     standard landfill method for limiting water percolation and preventing the ongoing



                                                 53
                                                                                                       Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 874
                                                         Page: 55ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2555
                                                                                   2769



     generation of leachate. As explained in Number (2) above, the Site contains no
     hazardous waste and hazardous waste rules are not relevant and appropriate. Long-term
     monitoring of the shallow groundwater underlying the waste will verify that groundwater
     is protected.

     The OU 1 cap has not been designed yet. As explained in Number (2) above, the cap will
     be of sufficient thickness to shield the gamma radiation; and the compacted clay
     component will also serve as a radon barrier. In the same fashion as it was done at the
     Weldon Spring Site and mill tailing disposal sites, the landfill cover will be designed to
     act as a diffusion barrier for radon. Rn-222 has a half life of 3.8 days. Radon is
     continually produced from the radium source, but need only be detained in the cover
     materials for a few days before it decays to its solid progeny thereby eliminating
     significant emissions to the atmosphere. After the cap is in place, radon measurements at
     the surface of the cap will be consistent with background. The radon may also be vented
     or diverted to a gas control system. The commenter is mistaken about the thickness of
     the Weldon Spring Site disposal cell cap. The cap is actually 8.5 feet (2.6 meters) thick.
     The upper 3.5 feet are a limestone rip rap layer. The principal radon/infiltration barrier is
     a 3-foot thick layer of compacted low permeability clayey soil. Likewise, the Site will be
     sufficient to meet the performance objectives.

     6. City of Bridgeton

     The mayor and the city council of the city of Bridgeton, Missouri, passed a resolution
     asking EPA to recommend removal of the radioactive wastes from the Site. The reasons
     cited include: the Site being located in a flood plain, the landfill is not a location designed
     to store radioactive waste, institutional controls do not solve the problem, and
     contamination will continue to spread.

     Response: EPA understands that the council’s primary concern is for the safety of the
     public, and this resolution is intended to request the best solution possible for Bridgeton
     and the Site. We want to assure the council that protection of human health and the
     environment is EPA’s primary concern. Based on extensive field study, we have every
     reason to believe that the Selected Remedy is and will be protective. Following
     construction of the remedy, EPA will carefully monitor the Site over the long term to
     verify the performance of the remedy and demonstrate to the public that the
     contamination is not migrating. We would like to point out that institutional controls are
     not being used to solve the problem but rather to augment the engineering solution.

     7. American Water Company

     American Water Company (AWC) generally supports the Selected Remedy but submits
     comments to emphasize the importance of conducting rigorous long-term monitoring and
     implementing any necessary action to protect the Missouri River, a major source of
     St. Louis public drinking water. AWC specifically requests the plan: (1) include
     measures to periodically test the Missouri River for radioactive materials, beginning with
     an initial test to establish baseline levels; (2) better delineate groundwater monitoring



                                                   54
                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 875
                                                         Page: 56ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2556
                                                                                   2770



     activities and include specific plans to address any migrating contamination; and (3)
     include procedures for keeping the public, and specifically AWC and other drinking
     water purveyors in the area, informed of monitoring activities and results.

     Response: EPA is in full agreement on the importance of rigorous long-term monitoring
     and taking any action necessary to protect the Missouri River. The primary objective of
     the Selected Remedy is to protect groundwater and surface water from ongoing or future
     impacts from the waste materials in the landfill. A long-term groundwater monitoring
     program will be designed and implemented to demonstrate that the remedy is protective
     of groundwater over time. The program will include a system of monitoring wells
     designed to intercept any potential migration to groundwater from the source materials.
     This will provide the best possible indicator of any potential contaminant migration. If
     monitoring shows any statistically significant deterioration in groundwater quality with
     time as a result of contaminant migration from Areas 1 and 2, appropriate response action
     will be taken including remedy change as necessary to protect the groundwater.

     Monitoring plans and groundwater protection standards will be consistent with the
     requirements found in the Health and Environmental Protection Standards for Uranium
     and Thorium Mill Tailings (40 CFR 192 Subparts A and B) and the Missouri Solid Waste
     Rules for Sanitary Landfills [10 CSR 80-3.010 (11)].

     Detailed monitoring plans requiring specific monitoring locations, sampling frequencies,
     parameters, sampling and analysis procedures, and evaluation approach will be developed
     as part of the remedial design/remedial action process. The community relations plan
     will include procedures for keeping the community informed of monitoring activities and
     results. These plans will be made available to AWC and other stakeholders. EPA will
     consider any comments AWC may have on how these plans can be improved.

     8. Missouri Department of Natural Resources

     MDNR provides assistance to EPA in its oversight role and provides review and
     comment on the Site’s documents as they are developed. EPA consults with MDNR
     during the remedy selection process. MDNR provided a statement to be included in the
     ROD describing state acceptance of the remedy (see section 10.8 of the ROD). MDNR
     supports the Selected Remedy provided that the long-term care and monitoring is robust
     and durable. In addition, MDNR provided specific comments during the public comment
     period. The comments and EPA’s responses are provided below.

     1. For risk management purposes, EPA should provide estimates of the number of years
     needed to reduce toxicity, i.e., radioactivity, and the volume of radiological
     contamination below levels of health concern (using both dose assessment and risk
     assessment approaches).




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Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 876
                                                         Page: 57ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2557
                                                                                   2771



     Response: EPA does not believe the requested calculations would add anything useful to
     the analysis. It is sufficient to understand that the principal isotopes of uranium and
     thorium at the Site are extremely long lived. The half life of U-238 is 4.5 billion years or
     almost as long as the earth is old. For all intents and purposes, the radiological
     contamination will remain above levels of concern and would not allow for unrestricted
     use for as long as the landfill remains on the Site.

     2. Due to the extremely long half lives of the radionuclides within the landfill, plans for
     carrying the remedy beyond the 30-year scope for Alternative L4 should be demonstrated
     to cover the estimated time needed to reduce the radioactivity below levels of concern.

     Response: The Selected Remedy does not have a “30-year scope” nor do any of the
     alternatives that were evaluated. The expectation from the NCP is that the remedy will
     remain enforce for as long as contaminants remain on-site above levels that allow for
     unlimited use and unrestricted exposure. The 30-year evaluation period is used in the FS
     only to allow for present worth cost calculations and has nothing to do with the expected
     duration of the remedy. This is fully explained in the description of the Selected Remedy
     in the ROD.

     3. The performance of the concrete rubble used in the final landfill cover design should
     be evaluated and reported to ensure integrity of the cap in perpetuity.

     Response: Specifications for the concrete rubble layer will be developed in remedial
     design. MDNR will have full opportunity to review and comment. The specifications
     will be developed with longevity in mind. Performance standards for mill tailing sites
     (40 CFR 192) indicate that the design life should be 200 to 1,000 years.

     4. Trigger criteria based on long-term monitoring data such as newly detected
     groundwater contamination should be set forth in the ROD which potentially requires
     additional investigation and/or remedy modification discussions. The five-year review
     events would be an effective tool in the collection and evaluation process for any such
     future decision-making events.

     Response: Agree. The Selected Remedy identifies the groundwater protection standards
     in 40 CFR 192 and the Missouri solid waste rules as relevant and appropriate
     requirements. The “trigger” criteria are found in these requirements. In addition, the
     Selected Remedy provides that groundwater quality not degrade over time due to
     contaminants migrating from sources at Areas 1 and 2. Specific monitoring plans will be
     developed in the remedial design/remedial action implementation. MDNR will have full
     opportunity to review and comment. The five-year review event is an appropriate tool
     for identifying issues that could lead to remedy re-evaluation or remedy change.

     5. To supplement the five-year reviews, an agreement with the U.S. Army Corps of
     Engineers and the Earth City Levee District should be developed to perform regular
     inspections and maintenance of the levee system surrounding the Site.




                                                 56
                                                                                                Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
Case: 4:22-cv-00116-CDP
      4:17-cv-00024-CDP Doc.
                        Doc. #:
                             #: 1-4
                                160-2Filed: 01/28/22
                                        Filed: 05/20/19Page: 877
                                                         Page: 58ofof903
                                                                      58 PageID
                                                                         PageID #:
                                                                                #: 2558
                                                                                   2772



     Response: Surveillance and maintenance plans will be developed as part of the remedial
     design/remedial action process. MDNR will have full opportunity to review and
     comment. It seems reasonable to incorporate coordination with the U.S. Army Corps of
     Engineers and the Earth City Levee District on levee inspection and maintenance in these
     plans.




                                                57
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 878
                                                            Page:   of 17
                                                                  1 of 903PageID
                                                                           PageID#:#:2773
                                                                                      2559




                         THE UNITED STATES DISTRICT COURT FOR
                           THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


  MICHAEL DAILEY and ROBBIN DAILEY,

                               Plaintiffs,               Case No. 4:17-cv-00024

         v.

  BRIDGETON LANDFILL, LLC, et al.,

                               Defendants.


            MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
          MOTION FOR LEAVE TO FILE A SECOND AMENDED COMPLAINT
                     PURSUANT TO APRIL 8, 2019 ORDER

         Defendant Cotter Corporation (N.S.L.) (“Cotter”) (improperly named as Cotter

  Corporation) submits this memorandum of law in opposition to Plaintiffs Michael Dailey and

  Robbin Dailey’s (“Plaintiffs”) Motion for Leave to File a Second Amend Complaint Pursuant to

  April 8, 2019 Order (“Motion”), ECF No. 157.

         In their Motion, Plaintiffs request permission to file an “amended” complaint that would

  “essentially amount[] to a dismissal.” ECF No. 156 at p. 3. Despite this Court’s April 8, 2019

  Memorandum and Order “question[ing] the propriety of ‘amending’ the operative complaint to

  omit the only claim that remains pending and over which the Court has subject-matter

  jurisdiction,” id., the Motion asks this Court to countenance that exact gambit. Plaintiffs admit

  as much. E.g., Motion at p. 3, ¶ 12. Allowing Plaintiffs to dismiss their claim under the Price-

  Anderson Act (“PAA”), 42 U.S.C. § 2011 et seq., and resurrect their state-law claims would

  prejudice Cotter and unduly delay this matter. The Motion thus fails under both Federal Rules of

  Civil Procedure 41(a) and 15(a).




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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 879
                                                            Page:   of 17
                                                                  2 of 903PageID
                                                                           PageID#:#:2774
                                                                                      2560




         Further, the Motion—and the success of the larger scheme outlined therein—relies on

  Plaintiffs’ position that the PAA would not preempt their proposed amended complaint’s “state-

  law claims.” But as the overwhelming weight of federal authority has concluded, the PAA

  applies to nearly all claims alleging radiation-based injuries or damages, including the claims

  Plaintiffs will assert if the Motion is granted. This is not Plaintiffs’ first attempt to improperly

  manufacture state court jurisdiction based on these same arguments. Indeed, Plaintiffs’ Motion

  simply echoes the arguments advanced in their original Motion for Leave to Amend Complaint

  to Dismiss Price-Anderson Act Claims and Reinstate State Law Claims, to Remand, to Stay

  Pending Discovery or, Alternatively, to Amend Case Management Order (ECF No. 123).

  Accordingly, Cotter incorporates by reference its April 10, 2018 Memorandum of Law in

  Opposition to Plaintiffs’ Motion for Leave to Amend Complaint to Dismiss Price-Anderson Act

  Claims and Reinstate State Law Claims, to Remand, to Stay Pending Discovery or,

  Alternatively, to Amend Case Management Order (“April 10, 2018 Memorandum”), ECF No.

  128, and the arguments set forth therein. For these reasons, and those set forth below, this Court

  should deny the Motion.      Should this Court grant leave to amend, Cotter joins Bridgeton

  Landfill, LLC’s request for interlocutory review pursuant to 29 U.S.C. § 1292(b), as set forth in

  Part V of their opposition brief, ECF No. 160, to allow appellate review of the PAA’s

  preemptive scope.

                                            ARGUMENT

  I.     The Motion Fails to Address the April 8, 2019 Memorandum and Order, and
         Instead Seeks to Manufacture a Remand

         This Court’s April 8, 2019 Memorandum and Order cautioned Plaintiffs against pursuing

  the very relief they now seek. ECF No. 156 at p. 3. In their Motion, Plaintiffs ask for leave to

  eliminate their claim under the PAA, in a transparent attempt to deprive this Court of subject



                                                  -2-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 880
                                                            Page:   of 17
                                                                  3 of 903PageID
                                                                           PageID#:#:2775
                                                                                      2561




  matter jurisdiction and manipulate the forum in which Plaintiffs’ claims are heard. 1 Motion at p.

  3, ¶ 12 (“Plaintiffs’ desire is to sue on state law claims in state court . . . .”). Less than one

  month ago, however, this Court “question[ed] the propriety of ‘amending’ the operative

  complaint to omit the only claim that remains pending and over which the Court has subject-

  matter jurisdiction.” ECF No. 156 at p. 3. Yet Plaintiffs’ Motion does not attempt to address

  this Court’s concerns or explain how a dismissal-through-amendment strategy is appropriate.

  Rather, the Motion doubles down on Plaintiffs’ rejected position that this Court lacks subject

  matter jurisdiction and makes clear that Plaintiffs’ “desire is to sue on state law claims in state

  court . . . .” Motion at p. 3, ¶ 12. Plaintiffs’ desire does not make amendment procedurally

  proper, and granting the Motion would condone such manipulative practices and prejudice

  Cotter.

            Plaintiffs’ apparent explanation for pursuing their dismissal-through-amendment strategy

  underscores its impropriety. They spend much time and paper blaming their prior counsel for

  “erroneously amend[ing]” their state court Petition to assert claims under the PAA. E.g., Motion

  at p. 2; ECF No. 157-1 at p. 2. As an initial matter, however, prior counsel’s “erroneous”

  amendment was no error: This Court has implicitly found that it has subject matter jurisdiction

  under the PAA. E.g., ECF No. 89 at p. 13 (“Because [Plaintiffs] allege that [D]efendants ‘caused

  damage to Plaintiffs’ property and/or the loss of use of the Plaintiffs’ property which constitutes

  a ‘nuclear incident’ or series of ‘nuclear incidents’ under the [PAA],’ their amended complaint

  asserts a federal cause of action . . . that supplants all state causes of action.”). Regardless, and

  as Cotter explained in its April 10, 2018 Memorandum, a change of counsel is not an adequate


  1
   For all intents and purposes, Plaintiffs’ proposed Second Amended Complaint (ECF No. 157-2) and their
  November 2016 state court Petition are identical. Aside from removing allegations against former defendants like
  Mallinckrodt, LLC, which were voluntarily dismissed from this matter by stipulation (see ECF No. 120) or
  otherwise, Plaintiffs are quite literally asking this Court for permission to rewind this matter back to 2016.


                                                         -3-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 881
                                                            Page:   of 17
                                                                  4 of 903PageID
                                                                           PageID#:#:2776
                                                                                      2562




  excuse for unravelling over two years of litigation in this forum. April 10, 2018 Memorandum at

  pp. 5-6; see also ECF No. 112 at 5. Plaintiffs’ recycled change-of-counsel argument is

  especially unpersuasive where, as here, the Court and defendants have expended significant time

  and resources in moving this cause forward. Id. Indeed, at the time this action was stayed in

  June 2018, the parties were in the process of briefing summary judgment motions. See, e.g.,

  ECF Nos. 148, 149.

          Further, the stated purpose of Plaintiffs’ Motion is to deprive this Court of subject matter

  jurisdiction by eliminating their federal cause of action. E.g., Motion pp. 3-4, ¶¶ 12-13.

  Permitting Plaintiffs to amend would thus facilitate their attempt to re-litigate their previously

  dismissed state-law causes of action in state court, but not before filing (and prevailing on) a

  contested motion to remand in this Court.2 Granting Plaintiffs this procedural windfall would

  conflict with the Eight Circuit’s general disapproval of such gamesmanship whereby plaintiffs

  dismiss claims to deprive defendants of otherwise proper federal jurisdiction. See, e.g., Donner

  v. Alcoa, 709 F.3d 694, 699 (8th Cir. 2013). Because Plaintiffs are pursuing an improper

  amendment that disregards this Court’s earlier warnings, the Motion should be denied.

  II.     Plaintiffs’ Motion Fails Under Rules 41(a) and 15(a)

          A.       Plaintiffs’ Motion Should Be Analyzed Under Rule 41(a), and Would
                   Prejudice Defendants if Granted

          Plaintiffs’ memorandum in support of their Motion assumes without analysis that Federal

  Rule of Civil Procedure 15(a) applies in these circumstances. See ECF No. 157-1 at pp. 3-4.

  Plaintiffs are wrong. This Court has already observed that the “amendment” Plaintiffs seek

  would “essentially amount[] to a dismissal.” ECF No. 156 at p. 3. Plaintiffs’ Motion should

  accordingly be viewed as a motion for voluntary dismissal under Rule 41(a), rather than a motion

  2
    Any future motion to remand that Plaintiffs might file under their dismissal-through-amendment strategy would
  fail for the reasons set forth in the April 10, 2018 Memorandum.


                                                         -4-
                                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 882
                                                            Page:   of 17
                                                                  5 of 903PageID
                                                                           PageID#:#:2777
                                                                                      2563




  to amend under Rule 15(a). Under Rule 41(a)’s standard, Plaintiff’s Motion fails.

           To deny a motion under Rule 41(a), this Court need only find “plain legal prejudice

  arising from the dismissal.” Armstrong v. Adams, 869 F.3d 410, 414 (8th Cir. 1989).

  Although “plain legal prejudice” is not precisely defined in case law, courts generally consider

  the following factors: (1) the extent to which the action has progressed; (2) the movant’s

  diligence in prosecuting the suit or bringing the motion; (3) the “duplicative expense” of re-

  litigating the matter; and (4) the adequacy of plaintiffs’ explanation for the motion. See 8 James

  W. Moore, Moore’s Federal Practice § 41.40[6]; see also U.S. v. Thirty-two thousand eight

  hundred twenty dollars & fifty-six cents ($32,820.56) in U.S. Currency, 838 F.3d 930, 937 (8th

  Cir. 2016) (“U.S. Currency”) (explaining that courts may consider whether party has presented a

  proper explanation for desire to dismiss claim and whether dismissal would result in waste of

  judicial time and effort). In addition, the Eighth Circuit has stated its disapproval of permitting

  plaintiffs to voluntarily dismiss claims merely to deprive a defendant of otherwise proper federal

  jurisdiction. See, e.g., Donner, 709 F.3d at 699; Thatcher v. Hanover Ins. Grp., Inc., 659 F.3d

  1212, 1214-15 (8th Cir. 2011).

           Here, granting Plaintiffs’ Motion would substantially prejudice Defendants for at least

  three reasons.3 First, this matter has been pending in this Court since January 2017, after

  Plaintiffs initiated it in state court in November 2016. During that time, the defendants have

  opposed Plaintiffs’ attempts to remand, moved to dismiss Plaintiffs’ initial pleading and

  Amended Complaint, answered the Amended Complaint, participated in case management

  conferences, engaged in settlement discussions, initiated and exchanged discovery, engaged in

  multiple meet and confers, and prepared (and taken) depositions of Plaintiffs’ witnesses, and


  3
   Those reasons set forth in Section I, supra, also show that Cotter would be significantly prejudiced if Plaintiffs’
  Motion were granted.


                                                            -5-
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Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 883
                                                            Page:   of 17
                                                                  6 of 903PageID
                                                                           PageID#:#:2778
                                                                                      2564




  were poised to file summary judgment briefs. These activities have caused Cotter (and this

  Court) to expend considerable time and resources – prejudice that remains even if Plaintiffs’

  hypothesis that “[s]tate court will save the parties’ [sic] and the court resources” were true.

  Motion at p. 3.

         Second, Plaintiffs’ Motion comes “at a critical juncture in the case.” Facing the prospect

  of their sole remaining claim under the PAA being dismissed, Plaintiffs are attempting to create

  state court jurisdiction where there is none and begin this case anew. Given the choice of filing

  either a motion to dismiss this matter without prejudice or a renewed motion for leave to file a

  Second Amended Complaint, Plaintiffs essentially chose neither, opting instead for a procedural

  ploy aimed at forcing Cotter into state court. As this Court has explained, however, “[t]o the

  extent the Daileys express their intent to resurrect their previously-dismissed state law claims

  and pursue them in state court, this objective can be met by refiling their state claims in state

  court upon the dismissal of this action without prejudice.” ECF No. 156 at p. 3. The Daileys

  made plain their intention to pursue their state law claims in state court, e.g., Motion at p. 3 ¶ 12,

  but chose the very procedural route against which this Court cautioned, ECF No. 156 at p. 3.

         Finally, Plaintiffs’ Motion explicitly seeks to deprive this Court of subject matter

  jurisdiction by eliminating their express federal cause of action. E.g., Motion pp. 3-4, ¶¶ 12-13.

  Far from “present[ing] a proper explanation for its desire to dismiss,” U.S. Currency, 838 F.3d at

  937, Plaintiffs actually acknowledge that they are attempting to dismiss through amendment for

  an improper purpose. Granting Plaintiffs leave to proceed with their telegraphed plan would run

  afoul of Rule 41(a) and Eighth Circuit law. E.g., Donner, 709 F.3d at 699; Thatcher, 659 F.3d at

  1214-15. Accordingly, this Court should analyze the Motion under Rule 41(a) and deny it.




                                                   -6-
                                                                                                                             Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 884
                                                            Page:   of 17
                                                                  7 of 903PageID
                                                                           PageID#:#:2779
                                                                                      2565




           B.       Plaintiffs’ Motion Also Fails Under Rule 15(a)

           Assuming for the sake of argument that the Motion were a proper request for leave to

  amend (for a third time), Plaintiffs’ undue delay, dilatory motives, bad faith, and the resulting

  prejudice to Cotter would also warrant denial under Rule 15(a).

           “After an answer has been filed in response to the plaintiff’s complaint, the plaintiff ‘may

  amend the party’s pleading only by leave of court . . . and leave shall be freely given when

  justice so requires.’” Bell v. Allstate Life Ins. Co., 160 F.3d 452, 454 (8th Cir. 1998) (quoting

  Rule 15(a)). A motion for leave to amend should be denied, however, where there is “undue

  delay, bad faith or dilatory motive on the part of the movant, [and] undue prejudice to the

  opposing party by virtue of allowance of the amendment.” Id. (internal quotation omitted).

           Cotter’s arguments in its April 10, 2018 Memorandum showing undue delay and dilatory

  motive apply a fortiori here, after another year has passed in this forum. See April 10, 2018

  Memorandum at pp. 5-6. The history of Plaintiffs’ position could cause whiplash: Plaintiffs

  initially argued that the PAA did not apply to their alleged radiation injuries, but later amended

  their pleadings to assert claims under the PAA alongside state-law claims. After all of their

  state-law based claims were dismissed as preempted by the PAA, Plaintiffs then moved to amend

  to withdraw their PAA claims while resurrecting their state-law claims. Since the Court rejected

  this motion to amend, Plaintiffs again seek to withdraw their PAA claims and replead their state

  law claims, making no change to their substantive position, but simply attaching the proposed

  pleading that they omitted from their earlier motion.4 Plaintiffs should not be permitted to

  benefit from their pattern of delay and self-contradiction.




  4
   This pleading, moreover, is defective, insofar as it fails to include the declaration of Richard B. Stewart relied upon
  by Plaintiffs, referenced as Exhibit 1 to the proposed amendment. See ECF. No. 157-1 at 6, n. 4.


                                                            -7-
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 885
                                                            Page:   of 17
                                                                  8 of 903PageID
                                                                           PageID#:#:2780
                                                                                      2566




         Nor does Plaintiffs’ purported change of counsel justify their abrupt shifts in strategy, as

  explained above. As a preliminary matter, this assertion is belied by the fact that current

  counsel, Barry Cooper, has been named counsel for Plaintiffs from the very beginning of this

  litigation. See ECF No. 1, Ex. A. pp. 47-48. In any event, Plaintiffs’ reliance on this inadequate

  explanation shows that Plaintiffs lack a good-faith explanation for their current Motion. The

  Motion would also prejudice Defendants for the reasons set forth in Sections I and II. A., supra,

  and the April 10, 2018 Memorandum. Allowing Plaintiffs to eliminate a claim they now regret,

  while reasserting state law claims to try to secure a remand, would prejudice Cotter and waste

  additional time and resources. Moreover, Plaintiffs’ proposed amendment would be futile. Silva

  v. Metro. Life Ins. Co., 762 F.3d 711, 719 (8th Cir. 2014). The Court should deny Plaintiffs’

  Motion.

  III.   Plaintiffs’ Claims Are Subject to Exclusive Federal Jurisdiction Under the PAA

         While we are dealing here specifically with a question of amendment of a pleading,

  because Plaintiffs have stated their intent to use this proposed amendment to strip this Court of

  jurisdiction, smoothing the path for their planned remand, discussion of the applicability of the

  PAA, and why this applicability renders Plaintiffs’ proposed amendment futile, is necessary

  here. Indeed, the success of the Motion’s telegraphed plan is contingent on Plaintiffs’ position

  that the PAA does not apply if defendants lack an Atomic Energy Commission (“AEC”) or

  Nuclear Regulatory Commission (“NRC”) license or an indemnity agreement with the United

  States. The majority of federal courts to have analyzed that position have rejected it, however,

  concluding that the text of the PAA establishes no such requirement. E.g., Acuna v. Brown &

  Root, Inc., 200 F.3d 335, 339 (5th Cir. 2000) (“There is nothing [in the PAA’s language

  establishing exclusive federal jurisdiction] which suggests it should be contingent on . . . whether




                                                  -8-
                                                                                                        Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
 Case:4:22-cv-00116-CDP
        4:17-cv-00024-CDP Doc.
                           Doc.#:#:1-4
                                     161Filed: 01/28/22
                                           Filed: 05/20/19Page: 886
                                                            Page:   of 17
                                                                  9 of 903PageID
                                                                           PageID#:#:2781
                                                                                      2567




  the facility is covered under the separate indemnification portions of the Act. . . .”); Cotromano

  v. United Technologies Corp., 7 F. Supp. 3d 1253, 1257 (S.D. Fla. 2014) (“The plain language of

  the statute indicates that the possession of a license for radioactive material is unrelated to the

  jurisdiction issue.”); see also April 10, 2018 Memorandum, ECF No. 128, at 8-13. The Motion

  should thus be denied, because it is contrary to the PAA’s history, text, and applicable case law,

  and any amendment would be futile.

         Since the PAA was enacted in 1957, the federal government has regulated the generation,

  processing, use, and handling of radioactive materials through a comprehensive federal scheme

  designed to preempt the states from regulating the health and safety aspects of essentially all

  radioactive materials. See Pacific Gas & Elec. Co. v. State Energy Res. Conservation & Dev.

  Comm’n, 461 U.S. 190, 212 (1983); Skull Valley Band of Goshute Indians v. Nielson, 376 F.3d

  1223, 1240-45 (10th Cir. 2004); see also Kerr-McGee Corp. v. Farley, 115 F.3d 1498, 1508

  (10th Cir. 1997) (“Hazards arising from atomic radiation were made a particularly federal

  concern, as to which the state had no authority to regulate.”). In 1988, Congress amended the

  PAA to create an exclusive and retroactive federal cause of action, called a “public liability

  action,” for any “public liability” arising from a “nuclear incident.” El Paso Natural Gas Co. v.

  Neztsosie, 526 U.S. 473, 477 (1999); see also McClurg v. Mallinckrodt, Inc., 2015 WL 857455,

  at *6 (E.D. Mo. Feb. 27, 2015) (citing 42 U.S.C. §§ 2014 (hh), 2014(w); Pub. L. No. 100-408 §

  20 (b)(1), 102 Stat. 1084 (“The amendments [governing judicial review of claims arising out of a

  nuclear incident] shall apply to nuclear incidents occurring before, on, or after the date of the

  enactment of this Act.”) (emphasis added)). The PAA defines “public liability” as “any legal

  liability arising out of or resulting from a nuclear incident . . . .” 42 U.S.C. § 2014(w).




                                                    -9-
                                                                                                         Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:887
                                                                10 of
                                                                   of 903 PageID#:#:2782
                                                                      17 PageID      2568




        Under the plain language of § 2014(hh), the PAA applies to “any suit asserting public

 liability,” arising from a “nuclear incident.” The definition of “nuclear incident” does not

 include any requirement that a defendant possess either a license or an indemnity agreement in

 order to trigger federal jurisdiction. 42 U.S.C. § 2014(q); Acuna, 200 F.3d at 339; Cotromano, 7

 F. Supp. 3d at 1257. In contrast, since the PAA’s 1988 amendment, courts throughout the

 country have consistently recognized that the PAA preempts state-law causes of action for nearly

 all injuries allegedly stemming from radioactive materials (like those the Motion requests leave

 to assert). See Adkins v. Chevron Corp. 960 F. Supp. 2d 761, 767 (E.D. Tenn. 2012) (finding

 that virtually every court to address the issue—including the Third, Sixth, Seventh, Ninth, Tenth

 and Eleventh Circuits—has held that the PAA “completely preempts state law causes of action

 for public liability arising out of or resulting from nuclear incidents”); McClurg v. MI Holdings,

 Inc., 933 F. Supp. 2d 1179, 1186 (E.D. Mo. 2013). Indeed, consistent with the plain statutory

 text, courts have rejected efforts by plaintiffs since the 1988 amendment to limit or restrict the

 scope of federal jurisdiction under the PAA. See, e.g., Acuna, 200 F.3d at 339 (rejecting attempt

 to limit PAA jurisdiction to indemnitees of United States); Carey v. Kerr-McGee Chem. Corp.,

 60 F. Supp. 2d 800,804-06 (N.D. Ill. 1999) (rejecting attempt to limit PAA jurisdiction and

 recognizing that the term “nuclear incident” was intentionally defined broadly to avoid situation

 where defendants were left without a federal forum and were forced to defend against lawsuits

 “in various jurisdictions under various state laws”).

        Recently rejected efforts include attempts by plaintiffs to tie federal jurisdiction under the

 PAA to the possession of a license for radioactive material or an indemnity agreement with the

 United States. See Cotromano, 7 F. Supp. 3d at 1257 (“None of the statutory definitions limit

 the jurisdiction over nuclear claims to licensed activity.”); see also Estate of Ware ex rel. Boyer




                                                 -10-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:888
                                                                11 of
                                                                   of 903 PageID#:#:2783
                                                                      17 PageID      2569




 v. Hosp. of Univ. of P.A., 73 F. Supp. 3d 519, 530 (E.D. Pa. 2014) (rejecting view “that the PAA

 is limited to nuclear incidents occurring at utilization and production facilities and other licensed

 facilities”) (internal quotations marks omitted). As courts have repeatedly explained in denying

 such efforts to graft unwritten conditions on federal jurisdiction, the PAA is “broad enough to

 create a federal forum for any tort claims even remotely involving atomic energy production.

 The [PAA] on its face provides the sole remedy for the torts alleged.” Farley, 115 F.3d at 1504.

         Notwithstanding this authority, Plaintiffs’ plan to effectively dismiss this action through

 amendment would require this Court to further extend what Cotter respectfully submits is a

 mistaken interpretation of the scope of the PAA, as first set forth in Strong v. Republic Services,

 Inc., 283 F. Supp. 3d 759 (E.D. Mo. 2017).5 In Strong, Judge Hamilton concluded that there

 cannot be federal jurisdiction under the PAA without a license or an indemnity agreement, and

 that Cotter’s 1969 License does not create jurisdiction because it does not apply to uranium mill

 tailings (although, at the same time, Judge Hamilton declined to determine whether the

 radioactive materials in the landfill were, in fact, uranium mill tailings). 283 F. Supp. 3d at 772-

 774. The statement in Strong that a nuclear indemnity or license is needed to establish federal

 jurisdiction under the PAA, however, is almost exclusively based on a district court opinion from

 New Jersey that the Third Circuit has since criticized and rejected. See id. at 767-69

 (acknowledging that Gilberg v. Stepan Co., 24 F. Supp. 2d 325, 333 (D.N.J. 1998) was “recently

 criticized by” the Third Circuit in Estate of Ware v. Hosp. of the Univ. of Penn., 871 F.3d 273

 (3rd Cir. 2017)). In other words, the case on which Strong’s foundation was built has been

 rejected in its own Circuit and elsewhere. See Estate of Ware, 871 F.3d 273, 282-83 (3rd Cir.


 5
  Because Cotter was not a party in Strong at the time of this opinion, it had no opportunity to brief the issues
 considered by Judge Hamilton concerning federal jurisdiction or Cotter’s 1969 License. In this matter, however, the
 Court has already considered PAA preemption and concluded that state-law claims are preempted by the PAA. See
 ECF No. 89 at p. 13.


                                                        -11-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:889
                                                                12 of
                                                                   of 903 PageID#:#:2784
                                                                      17 PageID      2570




 2017), cert. denied sub nom. Boyer v. Hosp. of the Univ. of Pennsylvania, 138 S. Ct. 2018

 (2018); Acuna, 200 F.3d at 339 (noting Gilberg’s analysis and rejecting attempt to limit federal

 jurisdiction over claim for radiation injuries); Carey, 60 F. Supp. 2d at 806-07 (criticizing and

 declining to follow Gilberg); Cotromano, 7 F. Supp. 3d at 1258 (same).

          In addition, both Judge Hamilton’s 2017 decision in Strong and this Court’s more recent

 interpretation of 42 U.S.C. § 2210 in Kitchin v. Bridgeton Landfill, LLC, 18-cv-672 (ECF No.

 51) fail to take into account the part of the statute that expressly states that the AEC/NRC may

 require indemnity agreements, but does not mandate that all source material license holders hold

 such agreements. Specifically:

          Each license issued under section 2133 or 2134 of this title and each construction permit
          issued under section 2235 of this title shall, and each license issued under section 2073,
          2093, or 2111 of this title may, . . . have as a condition of the license a requirement that
          the licensee have and maintain financial protection of such type and in such amounts as
          the Nuclear Regulatory Commission (in this section referred to as the “Commission”) in
          the exercise of its licensing and regulatory authority and responsibility shall require in
          accordance with subsection (b) of this section to cover public liability claims. Whenever
          such financial protection is required, it may be a further condition of the license that the
          licensee execute and maintain an indemnification agreement in accordance with
          subsection (c) of this section.

 42 U.S.C. § 2210(a) (emphasis added). 6 Section 2093 (referenced above) pertains to source

 material licenses. Thus, indemnification agreements may be a condition for a licensee but are

 not required in every instance that the AEC issues a source material license. 7

          Cotter is not a party to Kitchin, but it has read this Court’s recent opinion remanding that

 action to state court and respectfully submits that the Court’s reasoning, like Judge Hamilton’s

 decision in Strong, should not be extended here, and doing so would result in a holding at odds


 6
   Since all activities occurred within the United States, provisions relating to activities or occurrences outside the
 United States (such as those found in 42 U.S.C. § 2014(q)) are not applicable here.
 7
   Cotter was at all times relevant the holder of an AEC License, which authorized Cotter to process source material
 in anticipation of shipping it elsewhere. See ECF No. 64-1, Ex. D (License SUB-1022 issued to Cotter on December
 31, 1969).


                                                         -12-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:890
                                                                13 of
                                                                   of 903 PageID#:#:2785
                                                                      17 PageID      2571




 with congressional intent, the applicable statutory scheme, and Plaintiffs’ own positions at

 various times throughout this litigation.

        In significant part, Plaintiffs here have specifically alleged that “Cotter transferred source

 material from Latty Avenue to the West Lake Landfill without a license in violation of 42 U.S.C.

 § 2092.” Am. Compl., ECF No. 70, ¶ 62. This referenced statutory provision expressly

 provides: “Unless authorized by a general or specific license issued by the Commission which

 the Commission is authorized to issue, no person may transfer or receive in interstate commerce,

 transfer, deliver, receive possession of or title to, or import into or export from the United States

 any source material after removal from its place of deposit in nature, except that licenses shall

 not be required for quantities of source material which, in the opinion of the Commission, are

 unimportant.” 42 U.S.C. § 2092 (emphasis added). While Plaintiffs seek to artfully plead

 around the specific statutory references in their proposed Second Amended Complaint, the

 substance of the allegation is unchanged. Compare, e.g., Am. Compl., ECF No. 70, ¶ 62 (above)

 with ECF No. 157-2, ¶ 59 (“Cotter failed to obtain a license from any governmental authority to

 transport radioactive mill tailings wastes to the West Lake Landfill….”). Although the latter

 allegation omits the specific reference to 42 U.S.C. § 2092 and tries to (incorrectly) change the

 characterization of the source material to “mill tailings,” the result remains the same: If the

 disposal was of “unimportant quantities” (which it was), no license was required to dispose of

 the material at West Lake Landfill, even accepting Plaintiffs’ allegation that West Lake Landfill

 is not licensed by the NRC.

        According to 10 C.F.R. § 40.13, “Unimportant quantities of source material,” disposal of

 source material is permitted if the mixture or compound consists of “less than one-twentieth of 1

 percent (0.05 percent)” of the source material. This regulation has been in place since the 1960s.




                                                  -13-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:891
                                                                14 of
                                                                   of 903 PageID#:#:2786
                                                                      17 PageID      2572




 See 26 Fed. Reg. 284 (Jan. 14, 1961). The material allegedly transferred by Cotter to the

 Westlake Landfill contains less than 0.05 percent source material. See, e.g., Remedial

 Investigation Addendum, West Lake Landfill – OU-1, at Section 6.1 (pp. 159-161), available at

 https://semspub.epa.gov/work/07/30352110.pdf (describing the LBSR as containing 0.05-0.1

 percent source material prior to being combined with 39,000 tons of soil, which would have

 reduced this percentage by a further 22%, or to between 0.01%-0.02%). This material is an

 “unimportant quantity” that did not require the issuance of a license for its disposal at West Lake

 Landfill. In other words, Cotter held a source material license issued by the AEC (predecessor to

 the NRC); the material Cotter possessed was licensed source material; and Cotter’s alleged

 transfer of some of that material to West Lake Landfill for disposal, which the NRC would have

 considered an unimportant quantity of source material under 10 C.F.R. § 40.13, did not require a

 license. The law specifically provides for this. See 42 U.S.C. § 2092.8 Accordingly, the scope

 of the PAA adopted in Strong and Kitchen is narrower than what the statute provides. For the

 same reasons, Plaintiffs’ allegations (whether the allegation at ¶ 59 of the proposed Second

 Amended Complaint, or ¶¶ 60 and 62 of the First Amended Complaint) that Cotter needed a

 license to transfer or dispose of these materials is beside the point, since no license was required

 for these unimportant quantities.9 The proposed amendment to Plaintiffs’ allegations does not

 alter the fact that these claims are subject to the PAA, and thus Plaintiffs’ proposed amendment

 (particularly in light of their stated purposes of allowing for remand) is futile.




 8
   Even today, the prevailing NRC regulations provide for several mechanisms whereby licensed material may be
 disposed of in an unlicensed facility. This activity does not destroy the applicability of the PAA to these materials.
 9
   For the same reasons expressed herein, Judge Ross’s opinion in Banks v. Cotter Corporation, et al., 4:18-CV-
 00624, ECF No. 75, which also drew heavily upon Judge Hamilton’s decision in Strong, is mistaken. Moreover,
 this Court’s conclusion in Kitchin that “Cotter’s Source Material License did not cover its delivery or transfer of the
 material to such unauthorized entities,” id. at 20, does not account for the “unimportant quantity” exception, and
 instead makes factual findings concerning facts that have not been developed.


                                                          -14-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:892
                                                                15 of
                                                                   of 903 PageID#:#:2787
                                                                      17 PageID      2573




         The Motion seeks permission to allege “state-law claims” against Cotter in name only.

 These purported “state law claims,” if Plaintiffs are granted leave to assert them, will remain

 claims subject to exclusive federal jurisdiction under the PAA. Plaintiffs acknowledged this

 inconvenient truth at other points during this litigation, but now disclaim it because they “desire

 [] to sue on state law claims in state court[.]” Motion at p. 3, ¶ 12. Plaintiffs’ position will fail

 and the Motion should be denied.

                                           CONCLUSION

         This Court should reject Plaintiffs’ attempt to turn back the clock to November 2016 to

 eliminate their express claims under the PAA. Granting the Motion would improperly allow

 Plaintiffs an attempt to restart this matter (in its pre-removal, pre-amendment, and pre-motion-to-

 dismiss form), following motion practice over an ill-conceived remand attempt. Cotter has

 expended significant resources defending this matter for over two years in this forum, and

 granting the Motion would prejudice it. In addition, the “state-law claims” that Plaintiffs seek to

 assert through an amendment would remain subject to exclusive federal jurisdiction under the

 PAA. For the foregoing reasons, Plaintiffs’ Motion should be denied. Should this Court grant

 leave to amend, Cotter joins Bridgeton Landfill, LLC’s request for interlocutory review pursuant

 to 29 U.S.C. § 1292(b).


 Dated: May 20, 2019                                Respectfully submitted,

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                                                  -15-
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Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:893
                                                                16 of
                                                                   of 903 PageID#:#:2788
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                                          -16-
                                                                                                 Electronically Filed - St Louis County - April 20, 2020 - 07:20 PM
Case:
 Case:4:22-cv-00116-CDP
       4:17-cv-00024-CDP Doc.
                          Doc.#:#: 1-4
                                    161 Filed:
                                         Filed:01/28/22
                                                05/20/19 Page:
                                                          Page:894
                                                                17 of
                                                                   of 903 PageID#:#:2789
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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2019, I electronically filed the foregoing document

 with the Clerk of the Court by using the CM/ECF system which will send a notice of electronic

 filing to counsel of record.

                                                            /s/ John McGahren




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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4164Filed:
                           Doc.                 01/28/22
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4164Filed:
                           Doc.                 01/28/22
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4164Filed:
                           Doc.                 01/28/22
                                            Filed: 06/10/19Page: 8973 of
                                                             Page:    of 903 PageID
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Case: 4:22-cv-00116-CDP
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Case: 4:22-cv-00116-CDP
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Case: 4:22-cv-00116-CDP
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Case: 4:22-cv-00116-CDP
  Case: 4:17-cv-00024-CDPDoc. #: #:1-4164Filed:
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                                            Filed: 06/10/19Page: 9017 of
                                                             Page:    of 903 PageID
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Case: 4:22-cv-00116-CDP
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Case: 4:22-cv-00116-CDP
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                           Doc.                 01/28/22
                                            Filed: 06/10/19Page: 9039 of
                                                             Page:    of 903 PageID
                                                                         9 PageID #: #: 2584
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